                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS CRUZ, JUANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, JUANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, KAMALICH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, MANUEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, MARCIAL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, MARIA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, MARIBEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, MILAGROS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, MYRNA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, NILSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, NILSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, NILSA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, NILSA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, ODEMARIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, ODEMARIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, SANDRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, STHELLA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ, VICTOR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CRUZ,JOSE D.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CUEVAS, HECTOR J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CUEVAS, JENNIFER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CUEVAS, ROBERTO J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CUEVAS, YISEIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS CURBELO, HECTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DAVID, ERIC R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DAVID, YANERIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DAVILA, ALEJANDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DAVILA, GABRIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DAVILA, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DAVILA, MELISA V.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DAVILA, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE ADORNO, MARIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE ALICEA, MERCEDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE JESUS, CARLOS L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE JESUS, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE JESUS, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE JESUS, IDUVINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE JESUS, JERRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE JESUS, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE JESUS, LYMARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE JESUS, LYMARI G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE JESUS, MAGDALENA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE JESUS, MIRTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE JESUS, NATALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE JESUS, RAMONA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE LEON, HECTOR L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE LEON, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DE PEREZ, WILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DEIDA, TERESA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5001 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS DEL VALLE, ALBA NYDIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DEL VALLE, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DEL VALLE, OLGA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DEL VALLE, SUZETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DELGADO, ANYCEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DELGADO, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DELGADO, HORACIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DELGADO, JOSEFINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DELGADO, MYRNA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DIAZ, ALBA E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DIAZ, BERMARI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DIAZ, BERMARI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DIAZ, CARMEN B             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DIAZ, CARMEN L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DIAZ, ELIEZER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DIAZ, HUGAL R.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DIAZ, IRMA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DIAZ, JESUS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DIAZ, LUIS R               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DIAZ, MARIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DIAZ, MARIA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DIAZ, MARIBEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DIAZ, MARLA D.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DIAZ, RAMONITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS DIAZ, VICTOR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ELLIN, KENETH D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ESCALERA, DOLORES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ESCOBALES, ARNERYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ESCOBALES, ARNERYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ESCOBAR, CESAR R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ESCRIBANO, ARTURO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ESCRIBANO, SILVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ESCRIBANO, SILVIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ESCUDERO, JENNIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ESPADA, SABINO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ESPINOSA, BRENDA LIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ESTEBAN, MADINES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ESTEVE S, MAGDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ESTEVES, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ESTEVES, SULINNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ESTEVES, SULINNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ESTEVES, WALESKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FALCON, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FARIAS, GEORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FARIAS, GEORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FEBO, ELIZABETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FELICIANO, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FELICIANO, EDITH I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FELICIANO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5002 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 3 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS FELICIANO, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FELICIANO, IRMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FELICIANO, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FELICIANO, JOSE LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FELICIANO, LUZ S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FELICIANO, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FELIU, ROSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FERNANDEZ, IRIS C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FERNANDEZ, KAREM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FERNANDEZ, KAREM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FERNANDEZ, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FERNANDEZ, RUTH M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FERREIRA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FERREIRA, JOSE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FERRER, WALESKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, ADA A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, ANTONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, BRENDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, JUDITH IVETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, KATHERINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, KATHERINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, KATHERINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, LAURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FIGUEROA, NILDA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FLORES, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FLORES, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FLORES, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FLORES, YANIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FRANCO, ZAMARIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FRANCO, ZAMARIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FRANQUERI, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FRANSQUERI, REBEKAH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS FRATICELLI, ANA S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GABRIEL, SARAI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GAETAN, VILMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GALAN, ZADIRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GALAN, ZADIRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GALARZA, ANA H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GALARZA, ANA H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GALARZA, LESLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GALARZA, LESLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 4 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS GALBAN, HIPOLITO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GALBAN, HIPOLITO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GALBAN, WALDEMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GALLARDO, AIZA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARAY, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARAY, NOELIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARBAN, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARCIA, ADA L.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARCIA, AMANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARCIA, ANAIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARCIA, ANAIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARCIA, CARMEN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARCIA, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARCIA, EDNA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARCIA, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARCIA, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARCIA, JOSE F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARCIA, MARIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARCIA, MARY A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARCIA, RAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARCIA, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GARRASTAZU, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GERENA, LUZ E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GIL DE RUBIO, JOSE E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GIL DE RUBIO, JOSE E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GINES, JOSE A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GIRALD, ADRIAN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GIRALD, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GIRALD, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GIRALD, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GOLDEROS, NILDA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GOLDEROS, NILDA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GOMEZ, ANA L.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GOMEZ, DEANEE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GOMEZ, GABRIELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONGON, SHARON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONGON, SHARON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONJZALEZ, NYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, AILEEN Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, BERNARDO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, BIENVENIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, CARLOS L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, CELENYD D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, DELIAMINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5004 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 5 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS GONZALEZ, ELBA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, ELIBEATRIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, GLORIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, HECTOR A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, HECTOR A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, JAIME A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, JOEL F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, JOHNATTAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, JOSE OMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, LEONOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, LINNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, LINNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, LISSETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, LUIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, LUZ P.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, MARIA B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, MARIA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, MARIANGELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, MARICELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, MARICELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, NATALIE N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, NELSON D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, PEDRO N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, RAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, SANDRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, SHEYLA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, TANIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, VIVIAN S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, WAILEEN Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, WILBERT O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, ZENAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GONZALEZ, ZENAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GREEN, ELIS D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GRILLASCA, TANIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GUADALUPE, RAMON L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GUADARRAMA, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GUADARRAMA, HECTOR E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GUERRERO, WILMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5005 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 6 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS GUILLET, EDDIE N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GUISAO, VIRELI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RÍOS GÜISAO, VIRELI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GUTIERREZ, LYMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GUZMAN, ELIEZER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GUZMAN, HECTOR L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GUZMAN, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GUZMAN, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GUZMAN, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS GUZMAN, LOURDES M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HALL, AILEEN M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HEREDIA, MARIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HEREDIA, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HEREDIA, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HEREDIA, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, ANDRES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RÍOS HERNÁNDEZ, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, ARMANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, AUREA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, CARMEN N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, ELISA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, FRANCISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, GLADYS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, GLORIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, INGEMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, IRIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, LUZ D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, LUZ I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, MARIA T.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, MARILU          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, MARILU          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, MYRNA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, SARAH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, SARAH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, SARAH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, SARAH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, VIVIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, WILFREDO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5006 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 7 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS HERNANDEZ, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS HERNANDEZ,JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ILLAS, ISRAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS IRIZARRY, ALEXI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS IRIZARRY, CRISTIAN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS IRIZARRY, EDDIE N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS IRIZARRY, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS IRIZARRY, JOHN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS IRIZARRY, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS IRIZZARRY, LOURDES M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ISERN, DAISY I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS JAIME, ALICE T             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS JAVIER, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS JAVIER, CARLOS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS JAVIER, CELINDA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS JIMENEZ, BRYAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS JIMENEZ, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS JIMENEZ, ELISA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS JIMENEZ, IVAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS JIMENEZ, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS JIMENEZ, LUIS F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS JIMENEZ, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS JIMENEZ, NYDIA DEL C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS JOHNSON, NATALIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS JOHNSON, NATALIE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS JUARBE, NAITSABES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS JURADO, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS KUILAN, PROVIDENCIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LA LUZ, LOURDES R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LA LUZ, LOURDES R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LA LUZ, MELISSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LA SANTA, BENJAMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LABOY, CARMEN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LABRADOR, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LAMOURT, RAMONA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LARRIUZ, MARIA DEL R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LASALLE, EURIPIDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LASALLE, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LASSUS, OSVALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LASUS, CARMEN I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LATORRE, DEBORA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LAVIERA, FELIPA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LAVIERA, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LEBRON, FERNANDO A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LEBRON, MARY E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LEBRON, MARY E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LEBRON, SONIA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 8 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS LEBRON, YVONNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LEGARRETA, ROMMEL G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LEON, SOLIMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LICIAGA, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LINARES, RICHARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ABDIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ADA E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, AMARILYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ANA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ANGEL D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, BETZABE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, CARIDAD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, CARLOS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, CARMEN M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, CLEMENCIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, DAVID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, DAVID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ELIGIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ELIOMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ELIZA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ELVIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, EMMANNUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ESTHER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ESTHER A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, EVELYN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, EVELYN M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, FERMAIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, FRANCISCO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, GLORIMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, HERENIA DEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, IRENE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ISMAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, IVELISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, IVELISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, JOSE A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, JOSE M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, JUAN E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, JUAN E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, JUSTO H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, LUIS RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, LUZ M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, MAGALY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, MAGALY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, MARIA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, MATILDE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, MILAGROS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5008 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 9 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS LOPEZ, MYRIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, NELSON I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, NYDMARIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, NYDMARIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, NYDMARIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, REBECCA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, REINALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, REYNALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ROSA IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, RUTH                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, SANDRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, SENONA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, SENONA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, TAMARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, VANESSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, VANESSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, WANDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, WANDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ZAIBELIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ZAIBELIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LOPEZ, ZAIBELIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LORENZANA, JOEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LORENZO, GREDDER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LUCIANO, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LUCIANO, JUAN B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LUGO, ADA S                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LUGO, EMMANUEL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LUGO, JENNIFER M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LUGO, JOSE LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LUGO, JOSE LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LUGO, LUIS E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LUGO, REBECA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LUGO, ROSA N.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LUGO, SAMUEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LUGO, VALERIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS LUNA, ROBERT M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MACHADO, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MACHUCA, ANA DELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MADERO, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MADERO, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MAISONET, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MALAVE, MAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MALAVE, NITZA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MALDONADO, ALEX M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MALDONADO, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MALDONADO, ANGELICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MALDONADO, ARSENIO A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MALDONADO, BLANCA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MALDONADO, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 10 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

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                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS MALDONADO, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MALDONADO, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MALDONADO, HIDELISA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MALDONADO, JOHN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MALDONADO, JUAN C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MALDONADO, LESLIE F.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MALDONADO, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MALDONADO, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MALDONADO, YEIDEE B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MALDONADO, YEIDEE B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MALDONDO, AIXA N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MANGUAL, KARLA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARENGO, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARFISI, SHIRLEY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARIN, CLAUDIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARIN, LESLIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARIN, LESLIE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARQUEZ, BLANCA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARQUEZ, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARQUEZ, JANICE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARQUEZ, JOSELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARQUEZ, MARIA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARRERO, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARRERO, IRAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARRERO, MARIA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARRERO, MYRNALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARRERO, MYRNALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARRERO, MYRNALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARRERO, NOEL J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTI, DAVID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTI, MARIELI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTI, MARIELI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, AIDA C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, ARLYNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, CHRISTIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, CYD D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, CYD M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, DIONISIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, GLENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, GREDHES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, JORGE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, JUAN J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, LIZBET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, LYDIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIOS MARTINEZ, MARGARET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 11 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS MARTINEZ, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, MARIA DE LOS A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, MARIA DE LOS A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, MARIANELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, MILCA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, MYRTHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, PRISCILLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, PRISCILLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, SHERLEY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, VERONICA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, VERONICA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, WANDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MARTINEZ, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MASS, FREDDIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATIENZO, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATOS, ALAN J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATOS, ANGEL J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATOS, ANGEL M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATOS, CARMEN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATOS, CELIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATOS, EFRAIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATOS, ELENA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATOS, IRIS Y              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATOS, JORGE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATOS, JORGE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATOS, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATOS, MAGALY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATOS, MAGALY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATOS, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATOS, NORBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MATOS, SABINO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MAURY, SOL DE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MAURY, SOL DE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MAYSONET, PRISCILLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MEDIAVILLA, FELIX E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MEDINA, CARMEN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MEDINA, JANET              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MEDINA, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MEDINA, JEANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MEDINA, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MEDINA, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MEDINA, LUIS R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MEDINA, MARGIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5011 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 12 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS MEDINA, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MEDINA, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MEDINA, RODNEY J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MEDINA, TEYMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MEJIAS, ALEX J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MEJIAS, LUIS R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MEJIAS, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELECIO, HORTENSIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELECIO, LAURA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELENDEZ, ALBERTO C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELENDEZ, AMARILIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELENDEZ, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELENDEZ, CATHYA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELENDEZ, CHRISTIE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELENDEZ, CHRISTINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELENDEZ, CHRISTINE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELENDEZ, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELENDEZ, MARIA P          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELENDEZ, NATASHA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELENDEZ, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELENDEZ, SHEILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELLADO, LUIS R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELLADO, NYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELLADO, NYDIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MELLADO, WENDELL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MENA, IVAN E.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MENDEZ, AMARIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MENDEZ, AMARIS V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MENDEZ, ARNET              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MENDEZ, ARNET              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MENDEZ, DARYZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MENDEZ, IDIALIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MENDEZ, IDIALYZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MENDEZ, JUAN C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MENDEZ, MAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MENDEZ, PABLO C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MENDEZ, PASTOR F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MENDEZ, VICTOR L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MENDOZA, BRENDA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MENDOZA, LERIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MERA, MERCEDES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MERA, MILDRED              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MERCADO, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MERCADO, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MERCADO, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MERCADO, CARMEN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MERCADO, HAROLD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MERCADO, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MERCADO, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5012 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 13 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS MERCADO, LIGIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MERCADO, VILMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MERCADO, ZULEYKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MERCED, GERARDO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MERCED, GERARDO JOSUE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MERCED, NADJA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MIRANDA, ANGEL L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MIRANDA, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MIRANDA, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MIRANDA, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MIRANDA, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MIRANDA, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MIRANDA, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MIRANDA, MYRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MOJICA, FRANCHESKA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MOLINA, ABIGAIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MOLINA, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MOLINA, HERMINIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MOLINA, MARIANELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MOLINA, MARIANELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MOLINA, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MOLINA, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MOLLENO, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MONROIG, SANDRA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MONTALVO, DOLORES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MONTALVO, JACOB            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MONTALVO, MARTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MONTANEZ, CARLOS E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MONTANEZ, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MONTAQES, LUZ H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MONTIJO, OMARDRANAZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MONTOYA, MELISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MONZON, ELBA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORA, JORGE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, ALFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, ANDRELIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, ANGEL EDGARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, CARLOS G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, CARMELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, DAISY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, DEBORAH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, ELISEO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, ELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, FELIPE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, FELIX L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5013 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 14 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS MORALES, FELIX L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, KARLA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, LIZA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, MARIA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, MARTIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, MERARI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, OSCAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORALES, ROSA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORENO, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORENO, CARMEN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORENO, LESLIE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORENO, NYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORENO, PROVIDENCIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MORO, ANA C                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MUNDO, MYRNA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MUNDO, MYRNA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MUNIZ, ABIGAIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MUNIZ, ABIGAIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MUNIZ, HECTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MUNIZ, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MUNIZ, VALERIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MUNOZ, ANGEL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MUNOZ, BRENDA LIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MUNOZ, CARLOS J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MUNOZ, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MUNOZ, LUIS G              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MUNOZ, LUZ                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MUNOZ, MARILYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MUNOZ, REYES M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS MUNOZ, RICHARD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NATER, AIXA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NAZARIO, ANGELINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NAZARIO, GUILLERMO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NAZARIO, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NEGRON, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NEGRON, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NEGRON, DIANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NEGRON, ELIECER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NEGRON, FILIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NEGRON, HECTOR M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NEGRON, HECTOR M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NEGRON, JUAN MARCOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NEGRON, LIZA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NEGRON, PEDRO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NEGRON, PEDRO A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5014 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 15 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS NEGRON, XAIRA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NEVAREZ, JESSENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, ADRIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, ARIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, ASHLEY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, AUREA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, AUREA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, EZEQUIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, GISELLE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, GLORY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, JEREMY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, MARTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, NERLIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, RICARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NIEVES, RUPERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS NUNEZ, GRETZER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OCASIO, CARLA S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OCASIO, CARLOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OCASIO, ENID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OCASIO, ERCILIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OCASIO, HUGO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OCASIO, HUGO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OCASIO, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OCASIO, JOSE R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OCASIO, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OCASIO, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OFARRILL, BETSY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OJEDA, MELISSA B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OLIVARRIA, JOSEFINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OPPENHEIMER, IRIS Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OQUENDO, AMAGDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OQUENDO, AMAGDY S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OQUENDO, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORENGO, KARLA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORLANDI, ADALEXIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OROZCO, AIDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORSINI, JOSE C.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTEGA, ISABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTEGA, ROSAURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTEGA, VIVIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, ADA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, ADA L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, ANGEL R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, CARMEN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, CARMEN A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5015 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 16 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS ORTIZ, CARMEN M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, CYNTHIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, CYNTHIA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, FELIX R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, GENARO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, GLORIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, GLORIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, JESSICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, JOSE M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, JOSUE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, JUAN J.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, JUAN M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, JUAN M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, JUANITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, JUANITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, JULIA A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, KEILA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, LUIS S              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, MARIA DE LOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, MARIA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, MARIBEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, MARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, NANCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, OLGA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, ROSA D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, SANTOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, SYLVIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, WILFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, ZORAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ORTIZ, ZORAIDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OSORIO, ALVIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OTERO, ANDRES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OTERO, JOSE R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OTERO, NELSON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OTERO, YARILYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OTERO, YARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS OYOLA, CARMEN L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PABON, VIVIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PACHECO, DANIEL E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PACHECO, XIOMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PADILLA, JANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PADIN, HERMINIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PADIN, HERMINIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PADIN, LUANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PADUA, DAVID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PAGAN, ANDRES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PAGAN, ANDRES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PAGAN, CARMEN G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PAGAN, GABRIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5016 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 17 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS PAGAN, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PAGAN, MARIA Z             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PAGAN, RUBEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PAGAN, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PANET, JIMMI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PANETO, DIGNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PARDO, ELBA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PARRA, KELVIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PASTOR, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PASTOR, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEDRAZA, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PELATI, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RÍOS PELATI, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PENA, ANGEL L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PENA, DAMARIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PENA, FLOR I               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PENA, LORNA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PENA, LORNA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PENA, SENEN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PENA, YASHIRA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREIRA, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREIRA, TAINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, ALEXIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, ANA I               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, ARLEEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, EDGARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, EDWARD M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, ELISETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, ELSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, ELSA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, ESMERALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, GUILLERMO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, GUILLERMO J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, HECTOR L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, HERIBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, HILDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, HOLVYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, IGNACIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, JIMMI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, JOANNE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, JOANNE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, JOSE L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, JOSE M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, JOSE R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, JOSE RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, KARMARI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, LILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, LUIS A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, LUIS D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5017 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 18 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS PEREZ, LUZ                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, LUZ D.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, LYANNE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, MARIA DE LOURDES    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, MARIELI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, MAYRA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, MAYRA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, MIRIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, NARANGELI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, NELSON O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, OSCAR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, OSCAR A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, PEDRO H.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, PEDRO H.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, REY O               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, ROBINSON J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, SUSANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, VICTOR M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, WILMA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PEREZ, YESSIKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PIERLUISI, CARLOS JOSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PINEIRO, ANGEL M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PINO, YELITZA N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PLAZA, EDUARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PLAZA, ERIC DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PLAZA, JOSE A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PLAZA, LUZ N.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PLAZA, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS POLANCO, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS POLL, MAURA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PONCE, NORMA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PORTELA, EUGENIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PORTELA, MARIE T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PORTO, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PORTO, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PORTO, CARMEN I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS POU, ELIZABETH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PRATTS, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PRATTS, JOSE R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS PRATTS, JOSEPH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS QUILES, ADELAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS QUILES, CARLOS G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS QUILES, DANNY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS QUILES, DANNY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS QUILES, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS QUILES, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS QUINONES, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS QUINONES, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS QUINONES, LUIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5018 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 19 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS QUINONES, MARY J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS QUINONES, NAYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS QUINONEZ, MARY J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMIREZ, AYNICHA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMIREZ, BEATRICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMIREZ, CARMEN N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMIREZ, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMIREZ, DIANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMIREZ, DIANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMIREZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMIREZ, JANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMIREZ, LILIANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMIREZ, LIZA A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMIREZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMIREZ, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMIREZ, RICHARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMIREZ, RICHARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMIREZ, ROSA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, ALFREDO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, ANA E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, ANGEL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, ANIXA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, ANIXA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, BONNETH Z           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, CARMEN J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, DAVID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, FRANCISCO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, INES R.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, IRIS N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, IRMA J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, JESSENIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, JULIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, ROLANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, TAYRIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, WANDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, WANDA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, WILFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, WILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, YASMIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, YASMIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, ZULEIKA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RAMOS, ZULEYKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RANCEL, FABIOLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REICES, FRANKY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RENTAS, DAHIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RESTO, MELISSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RESTO, MELISSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, ANA L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5019 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 20 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS REYES, BERVERLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, BLANCA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, BLANCA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, CARLOS E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, CARLOS E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, ELVIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, EUGENIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, EVARISTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, LILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, MARIBEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, MARIE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, PEDRO A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, RICARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, ROSALIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, SAMUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, YARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS REYES, YAZMIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIGAU, ADLIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, ARELIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, BRENDA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, CARMEN I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, CESAR                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, CYNTHIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, DEBRA A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, DELIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, EDWIN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, GERMARILIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, ILEANA T             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, IVETTE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, JOSE A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, JUAN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, JUANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, KENNY B              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, LIMARY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, LUZ I                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, LYDIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, MIRTA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, MYRTA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, ROBERTO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, SUGEIRY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIOS, YADHIRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVAS, JUAN B              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVAS, LUZ E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ABNER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ADA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, AIDA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5020 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 21 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS RIVERA, ANGEL M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ANGEL R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ANGELINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ARGELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ARIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ARNALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ASHLEY M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, BELEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, BETZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, BETZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, BETZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, BIANCA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, BIANCA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, BLANCA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, BLANCA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, BRAULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, CARLOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, CARMEN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, CELEDONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, CLARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, DAYANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, DIANDRA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, EDITH N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, EDWIN R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, EDWIN R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ELENORE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ELVIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ERASMO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ERICK              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ERICK G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ESTANISLAO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ESTRELLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, FELIX A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, GENEROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, GERARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, GISELLE E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, GLADYS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, GLORIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, GRISELLE J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, HANSEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, HECTOR G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, HECTOR R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, HILDA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, IRMA R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ISABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5021 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 22 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS RIVERA, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JAIME              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JESUS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JORGE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JOSE E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JOSE L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JOSE L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JOSEFINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JUAN G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JUDIMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, JUNIOR M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, KARINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, KEILA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, KEILA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, LAURA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, LAURA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, LILLIAM R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, LUIS JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, LUIS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, LUZ                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, LUZ B              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, LUZ E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, MABELLE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, MARIA DE LOS A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, MARIA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, MARIA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, MARIA S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, MARTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, MARTA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, MAYRA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, MELISSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, MONSERRATE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, MONSERRATE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5022 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 23 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS RIVERA, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, NELLIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, NELLY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, NORIANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, RAFAEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, RAMON L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, RICARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, ROSA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, SANDRA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, SARITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, SILVIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, SONIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, VALENTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, WANDA IVETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, WILDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, YADIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, YADIRA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, YAJAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RIVERA, YOSMAELIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROBLES, ARLENE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROBLES, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROBLES, JENNIFER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROBLES, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROBLES, LEILANIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROBLES, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROBLES, MORAIMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, ANDREA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, ANDREA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, ANGEL G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, ARMANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, AURELIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, BETSY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, BETTY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, BRENDA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, DAMIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, DANNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, EDNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, EDNA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, ELSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, ESTHERVINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5023 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 24 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS RODRIGUEZ, EUGENIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, HECTOR F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, IDTA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, ISAAC           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, IVONNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, JAMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, JAREFAMELI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, JAVIER E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, JESSELLE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, JONATHAN D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, JOSE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, JOSEFA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, JOSEPHINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, JOSMARIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, KAREN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, LEYDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, LUIS G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, LUIS G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, MARGLEE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, MARIELLIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, MARIELLIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, MILADY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, NANCY J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, OLGA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, PEDRO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, RAMON L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, SERAFIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, SHARON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, SHARON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, SHEILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, WALDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, YANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, YAZMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RODRIGUEZ, ZAHIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROJAS, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROJAS, CARMEN E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROJAS, HECTOR J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROJAS, NORMA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5024 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 25 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS ROLDAN, DAGMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROLDAN, JESUS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROLDAN, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROLON, ANGEL M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROLON, JOARIS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROLON, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROMA, CARLOS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROMAN, AIDA I.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROMAN, CARMEN G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROMAN, DORIS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROMAN, DORIS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROMAN, JOSUE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROMERO, GLORIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROMERO, LOURDES ZOE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROMERO, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROMERO, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROMERO, YVETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROQUE, HERMINIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSA, BENJAMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSA, FELIX E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSA, JOCELYN M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSA, LIZBETH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSA, NOEMI PRISCILLA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSA, SUHAIL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSADO, ARACELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSADO, ARACELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSADO, CARLOS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSADO, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSADO, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSADO, JAIME              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSADO, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSADO, JUAN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSADO, JUANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSADO, JUANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSADO, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSADO, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSADO, VIVIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSADO, ZENAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, CARLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, CARLA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, DELIA Y.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, JOSE DAVID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, JOSE N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, LOUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, LUIS C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, LYDARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5025 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 26 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS ROSARIO, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, MARIA T.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, RADAMES A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, WILMALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ROSARIO, YANITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RUIZ, ANGEL L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RUIZ, ANTONIO E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RUIZ, DAVID                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RUIZ, LILLIVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RUIZ, LISSETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RUIZ, MARIA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RUIZ, MILAGROS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RUIZ, MILAGROS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RUSSI, AWILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RUSSI, AWILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS RUSSI, SONIA F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SALAS, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SALAS, CARMEN B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SALAS, ENELIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SALDANA, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SALDANA, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SALGADO, EDGAR M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SALGADO, IRMA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SALICRUP, BRENDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SAN INOCENCIO, MADELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SAN MIGUEL, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANABRIA, VIRGINIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANCHEZ, ALMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANCHEZ, BRENDA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANCHEZ, BRENDA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANCHEZ, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANCHEZ, ENEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANCHEZ, ERIK              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANCHEZ, GABRIEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANCHEZ, JOHANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANCHEZ, KASANDRA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANCHEZ, VALERIE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANCHEZ, YOMAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTANA, ESTEBAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTANA, IVAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTANA, IVAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTANA, LILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, ADAMARYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, ARTEMIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5026 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 27 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS SANTIAGO, AUREA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, CARMELO J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, DINAH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, DINAH L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, ELIEZER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, ERICK W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, GUIMARRY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, JOSE W           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, KEISHLA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, MELQUISEDEC      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, MIGUEL ANGEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, MIRIAM E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, MYRNA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, ROBERTO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, SALOMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, TAMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, TAMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTIAGO, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTONI, GEORGINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTONI, JULIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTOS, CANDIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTOS, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTOS, ELICA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTOS, JONATHAN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTOS, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTOS, JULIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTOS, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTOS, RAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTOS, TAMARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTOS, WILFRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SANTOS, WILFRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SARRAGA, SORAYA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SEDA, YAIZA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SEMIDEY, GIL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SEPULVEDA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SEPULVEDA, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SEPULVEDA, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5027 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 28 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS SERRANO, ANDRES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SERRANO, CLARA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SERRANO, GERALDINE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SERRANO, GERALDINE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SERRANO, GYPSY E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SERRANO, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SHEPPS, LILLIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SHEPPS, LILLIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SIERRA, ELBA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SIERRA, LUZ H              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SILVER, GUSTAVO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SIMMONS, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SIURANO, LILLIANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SIURANO, ULISES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SKERRETT, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SOBERAL, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SOLER, ANGEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SOTO, AWILDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SOTO, AWILDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SOTO, CARMEN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SOTO, IDANIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SOTO, IRIS M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SOTO, JESUS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SOTO, JOSE A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SOTO, JOSE L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SOTO, MARCOS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SOTO, MAYRA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SOTO, MAYRA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SOTO, MILAGROS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SOTO, RAMONA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SOTO, RAMONA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS STEINER, PETRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS SULIVERAS, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TAPIA, WANDA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TEJERAS, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TEXEIRA, PAULA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TIRADO, BURNICE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TIRADO, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TIRADO, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TIRADO, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TIRADO, NORAYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TIRADO, REYNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TOLEDO, VICTOR M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, ALEXIS O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, AUREA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, BARBARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, CARLOS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, CRUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5028 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 29 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS TORRES, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, EMILIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, GISELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, GISELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, GLORIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, HECTOR F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, IRIS Y             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, ISABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, IVONNE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, JAVIER A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, JOEL M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, JOHANNA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, JOSE LYNN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, LYNETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, MARIA DE LOS A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, MARIA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, MARILU             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, MAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, MIGUEL ANGEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, NILZA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, NILZA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, RAMON L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, SAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TORRES, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS TREVINO, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS UBINAS, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS UBINAS, IRIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VALADARES, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VALENTIN, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VALENTIN, DORIS N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VALENTIN, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VALENTIN, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VALENTIN, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VALENTIN, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VALENTIN, JULIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VALENTIN, MARIO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VALENTIN, SHARON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VALLE, MARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VALLE, MARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VALLEJO, CHRISTIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAN DER LINDEN, TANIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VARGAS, ELSIE B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VARGAS, GLENDA IVELISSE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VARGAS, LIZZETTE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5029 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 30 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIOS VARGAS, LIZZETTE M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VARGAS, NILSA W.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, ADIANET            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, ADIANET            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, ADIANET            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, AGNES              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, AIXA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, AIXA I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, ALIDA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, ANGEL LUIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, BRENDALY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, BRENDALY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, CARMEN G           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, FELICITA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, GLORYANES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, JILLIAN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, JORGE L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, JOSE M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, LILLIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, LORAINE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, LUZ Z.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, MAGDALY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, MARIA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, RICARDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VAZQUEZ, YVETTE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VEGA, DIANA T               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VEGA, JESENIA M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VEGA, JORGE                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VEGA, JORGE A               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VEGA, LUZ C                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VEGA, LYDIA                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VEGA, MARK A                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, ABIGAIL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, CARMEN N         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, EDA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, ELIZABETH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, GERLYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, GUILLERMINA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, ISAAC            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, MARIA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, MARIA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, MYRNA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, MYRNA Z          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, PRISCILA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, PRISCILLA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, SYLVIA R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, VIRGEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5030 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 31 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIOS VELAZQUEZ, VIRGEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELAZQUEZ, ZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, ABRAHAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, AMY                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, AMY                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, ANGEL A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, CARMEN I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, DAISY I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, DENISSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, DORAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, ENERIS Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, ERIC                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, ERIC M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, JULIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, KEILA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, KEILA D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, KRITZIA N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, LOURDES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, LUIS M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, MARGARITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, MILITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, NERY L.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, NERY LIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, ROSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, ROSA I.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, RUBEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, SHEILA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, SHEILA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, SUSAN M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VELEZ, VICENTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VERA, ABIGAIL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VERA, ABIGAIL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VERA, GLORIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VERA, JESSICA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VICENTE, JENNIFER M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VICENTE, MARIA DEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VILCHES, FRANCHESKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VILLAFANE, ANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VILLAFANE, DARLENN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VILLANUEVA, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VILLANUEVA, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VILLANUEVA, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VILLANUEVA, IBRAHIM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VILLEGAS, BRANDO RAUL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VILLEGAS, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VILLEGAS, MARTA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VINER, JESSICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS VIRUET, OMARIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS ZENO, BRENDA J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5031 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 32 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIOS ZENO, OMAR J.               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS, ABNER                      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS, ANGEL L.                   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS, ELIZABETH                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS, GLORIA                     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS, HERIBERTO                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS, HIRAM                      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS, JUAN R                     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS, NELSON                     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS, OLGA                       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS, PEDRO G.                   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS, SARA                       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOS, WILLIAM                    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOSLOPEZ, LUIS A                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIOSRODRIGUEZ, PAULA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIPOL MOLINA, MILAGROS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIPOLL DE AGUILAR, MARIA I.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIPOLL GOMEZ, FERDINAND          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIPOLL GONZALEZ, MARISOL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIPOLL OLMEDA, CARLOS A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIPOLL RIVERA, CARLOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIPOLL RIVERA, MAYRA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIPOLL SIERRA, KENNY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIPORT VILLAMIL, WAYNE J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIQUELME ABRAMS, JUAN J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIQUELME ACEVEDO, MICHELLE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIQUELME ALDARONDO, MIGUEL A.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIQUELME CORTES, SALVADOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIQUELME DROUET, MARLON F        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIQUELME GARCIA, WILFREDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIQUELME HERNANDEZ, LYSUANETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIQUELME MATOS, ROSA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIQUELME MUQIZ, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIQUELME RAMOS, MARIA DE LOS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ANGELES
RIQUELME RIVERA, SHELIMAR        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIQUELME RODRIGUEZ, JAVIER       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIQUELME ROMAN, CARLOS A         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIQUELME ROSA, CLAY              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIQUELME SANCHEZ, JOSUE          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIQUELME VELAZQUEZ, ZULEIMI      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RISSE GARCIA, ENIO               REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIUTORT GONZALEZ, LUISA C        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIUTORT VEGA, DAMARIS            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIUZ CORTES, YELITZA             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVA LOPEZ, SANDRA               REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVAAS RIVAS, MARTA              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVALTA LOPEZ, BENJAMIN          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVALTA LOPEZ, LUZ E             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5032 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 33 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVARA RODRIGUEZ, LOURDELIZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ABRAHAM, GISELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ABRAHAM,JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ABREU, ANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ABREU, ANA R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ABREU, ANA R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ADORNO, ENEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ADORNO, RAYMOND           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS AGOSTO, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS AGOSTO, MILCA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS AGUILERA, LIDIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS AGUILERA, LYDIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ALAYON, WILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ALGARIN, CARLOS X.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ALVARADO, DORAMIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ALVARADO, MARELSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ALVAREZ, ISAID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ALVAREZ, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ALVAREZ, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ANDINO, IBRAHIM A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ANDINO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ANDINO, NELSON D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ANDINO, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ANDINO, NILSA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ANDINO, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS APONTE, ADA N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS APONTE, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS AYALA, SILVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS AYALA, SILVIA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BAEZ, ALEJANDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BAEZ, AUREA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BAEZ, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BAEZ, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BAEZ, PAULINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BAEZ, PEDRO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BAEZ, SANTOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BARBOSA, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BELLIARD, YOMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BERDECIA, GERMAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BERMUDEZ, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BERMUDEZ, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BLANCO, YANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BONILLA, JULISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BONILLA, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BRACHE, GLORIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BRONO, LAVINIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS BURGOS, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS CARDOZA, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS CARTAGENA, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5033 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 34 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVAS CARTAGENA, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS CASTRO, GISELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS CINTRON, MAYRA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS CINTRON, MAYRA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS CLASS, XIOMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS COLLAZO, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS COLON, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS COLON, HECTOR L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS COLON, NERY L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS CONCEPCION, WILNELIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS COSTOSO, RONALD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS CRUZ, BRENDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS CRUZ, BRENDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS CRUZ, JEAN C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS CRUZ, PEDRO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS CRUZ, SONIA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS CRUZ, SONIA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS CUBA, WALKER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS DAVILA, INDHIRA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS DEL VALLE, XIOMARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS DELGADO, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS DELGADO, GUALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS DELGADO, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS DELGADO, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS DIAZ, CARMEN M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS DIAZ, FRANCISCO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS DIAZ, JOSE E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS DIAZ, JUAN A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS DIAZ, RAMON LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS DIAZ, TERESA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS DIAZ, TERESA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS DURAN, SONIA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ECHEVARRIA, DOMINGO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ENCARNACION, JUAN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ESPINOZA, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS FELIX, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS FERNANDEZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS FERNANDEZ, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS FIGUEROA, ALICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS FIGUEROA, DEYANEIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS FIGUEROA, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS FIGUEROA, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS FIGUEROA, LYDIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS FONSECA, CRUCITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS FONSECA, SECUNDINO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS FONTANEZ, JOSELINE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS FRANQUIZ, MARIVI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GARCIA, ALBA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GARCIA, AXEL G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5034 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 35 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVAS GARCIA, FLAVIA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GARCIA, JOHN DAVID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GARCIA, JUAN L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GARCIA, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GARCIA, MARIA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GARCIA, MARIO R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GARCIA, OLGA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GONZALEZ, LINDA J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GONZALEZ, MARIA DE L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GONZALEZ, OLGA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GONZALEZ, ZAHIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GRULLON, LILLIAN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GRULLON, LILLIAN G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GUEVAREZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GUEVAREZ, LUIS U.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GUEVAREZ, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS GUEVAREZ, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS HERNANDEZ, ABNER R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS HERNANDEZ, ELSIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS HERNANDEZ, MORAIMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS HERNANDEZ, MORAIMA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS HERRAN, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS HUERTAS, ELSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS HUERTAS, ELSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS HUERTAS, SOL M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ILARRAZA, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ILARRAZA, VALERIANY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ILARRAZA, VALERIANY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS JIMENEZ, EMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS JIMENEZ, ERIC             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS JIMENEZ, JOSE H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS JIMENEZ, LUIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS JIMENEZ, ROBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS LABOY, AIDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS LABOY, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS LANDRO, JULIE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS LANDRO, JULIE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS LAUREANO, TOMASITA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS LAUREANO, TOMASITA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS LEBRON, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS LOPEZ, ANGEL E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS LOPEZ, CATHERINE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS LOPEZ, ROSALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS LUGO, ALBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS LUYANDO, ANIBAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS LUYANDO, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MALDONADO, ANGEL T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MALDONADO, CATALINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MALDONADO, ISIDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5035 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 36 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVAS MALDONADO, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MALDONADO, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MARINEZ, FRANKLIN B.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MARQUEZ, GLENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MARRERO, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MARRERO, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MARTINEZ, FRANKLIN B      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MARTINEZ, JULIA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MARTINEZ, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MARTINEZ, ZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MATEO, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MC CLIN, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MCCLIN, CARMELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MCCLIN, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MCCLIN, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MEDINA, DOREEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MEDINA, JOSE W            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MELENDEZ, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MELENDEZ, MICHELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MENDEZ, ELWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MENDEZ, IRENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MENDEZ, VIRGINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MERCADO, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MERCADO, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MERCADO, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MIRANDA, EDILIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MOLINA, MAYRA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MONET, BAGSHALLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MONTALVO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MONTANEZ, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MONTANEZ, ANGEL O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MONTANEZ, JELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MONTANEZ, JELISSA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MONTANEZ, JULIAN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MONTES, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MORALES, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MORALES, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MORALES, CARMEN H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MORALES, GREGORIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MORALES, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MORALES, SANTA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MUNIZ, RICARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MUNOZ, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS MUNOZ, MAVER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS NIEVES, LILLIANET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS NINA, ESTELA DEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS NUNEZ, DANIANGELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS OCASIO, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS OCASIO, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5036 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 37 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVAS OJEDA, JESSICA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS OLIVERAS, MAGDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS OLIVERAS, MAGDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS OLMEDA, AIDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS OLMEDA, CARMEN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS OLMEDA, CARMEN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS OLMEDA, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS OLMEDA, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS OLMEDA, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS OLMEDA, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS OLMEDA, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS OLMEDA, ULISES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS OLMEDO, JOSE O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ORTIZ, ANA M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ORTIZ, ENID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ORTIZ, ENID R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ORTIZ, FELICITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ORTIZ, HECTOR A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ORTIZ, HECTOR A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ORTIZ, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ORTIZ, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ORTIZ, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ORTIZ, JOSE R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ORTIZ, LUZ                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ORTIZ, MARCELINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ORTIZ, MARIA DE LOUR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ORTIZ, NITZA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS OTERO, JOSE J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS PADILLA, JACHIRA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS PENA, JUAN C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS PENA, JUAN CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS PEREZ, AILEEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS PEREZ, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS PEREZ, CARMEN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS PEREZ, DALIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS PEREZ, ELBA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS PEREZ, KELLY A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS PEREZ, LISSETTE J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS PEREZ, LUZ B              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS PEREZ, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS POLANCO, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS QUINONES, CARLOS D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS QUINONES, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RAMOS, BARBARA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RAMOS, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS REMIGIO, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS REYES, RAMONA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS REYES, ZENAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS REYES, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5037 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 38 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVAS RIOS, BEATRIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVAS, MYRNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVAS, MYRNA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVAS, MYRNA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVERA, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVERA, ELSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVERA, FERNANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVERA, KARLA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVERA, MAGALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVERA, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVERA, MARTA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVERA, MODESTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVERA, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVERA, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVERA, SECUNDINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVERA, SERGIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVERA, SERGIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVERA, SHEILA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RIVERA, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, ANA ROSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, BRENDALLY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, CARLOS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, CHRISTIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, DOMINGO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, GLENDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, GRISELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, GRISELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, GRISELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, MILITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, MILITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, TANIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, URSULA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RODRIGUEZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ROLDAN, MARIA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ROSADO, ANTHONY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ROSADO, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ROSARIO, ANTONIO G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS ROSARIO, ENID L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RUIZ, CARMEN D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RUIZ, CARMEN N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS RUIZ, EDGARDO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SALAVARRIA, JUANA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SANCHEZ, CARMEN I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SANCHEZ, CLARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SANCHEZ, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SANCHEZ, SAMUEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5038 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 39 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVAS SANTANA, FELIPE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SANTANA, GABRIELA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SANTIAGO, ANNICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SANTIAGO, LUIS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SANTIAGO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SANTIAGO, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SANTIAGO, RODOLFO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SEPULVEDA, JORGE I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SEPULVEDA, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SEPULVEDA, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SEPULVEDA, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SEPULVEDA, MARTIN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SERRANO, ILEANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SERRANO, SYLMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SIMMONS, NANCY LISSETTE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS SUAREZ, EDWIN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS TOLENTINO, GLORIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS TORRES, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS TORRES, DINOCHKA MARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS TORRES, GRACIELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS TORRES, JOSE ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS TORRES, KERMARENID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS TORRES, LYANN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS TORRES, MARIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS TORRES, OLGA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS TORRES, SOCORRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS TORRES, WILLBERT A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS URBINA, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VARGAS, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VAZQUEZ, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VAZQUEZ, AUREA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VAZQUEZ, CARMEN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VAZQUEZ, CARMEN G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VAZQUEZ, ELSIE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VAZQUEZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VAZQUEZ, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VAZQUEZ, RUTH A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VAZQUEZ, SARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VEGA, RAFAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VELAZQUEZ, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VELAZQUEZ, MILDRED E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VELAZQUEZ, OLGA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VELEZ, CAROLINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VELEZ, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VELEZ, JOANNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VELEZ, JOANNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VILANOVA, SONIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VILLANUEVA, LIANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VILLANUEVA, LIANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5039 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 40 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVAS VILLANUEVA, LIANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VITAL, ARLETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS VITAL, ARLETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS, ALEJANDRA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS, DIANITZA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS, FELIX                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS, MANUEL A.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS,JOSE                      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVAS,RAFAEL                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVASRIVERA, CARMEN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVE PADILLA, LESTER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVE VELEZ, VIVIAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVEA ROSADO, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVEAR MARTINEZ, AXEL E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVEERA, ALMA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVEIRO CALDER, EDGARDO F.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVEIRO CASTILLO, EVELYN I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVEIRO CASTILLO, EVELYN I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVEIRO CASTILLO, EVELYN I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVEIRO CRUZ, VIOLA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVEIRO VEGA, CHEILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVER FIGUEROA, OSCAR A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, JESUS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NORMA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YAHAIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ., ABRAHAM J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ., BLADIMIR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ., NEFTALI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ., TINASHA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ABADIA, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ABOLAFIA, LEOCADIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ABRAMS, IVETTE V.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ABRAMS, MAGDALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ABRAMS, MAGDALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ABRAMS, VICTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ABREU, AIDA IRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ABREU, EVA N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ABREU, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ABREU, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ABREU, MEGDALEA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ABREU, VIRGINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ABREU, YANHYR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ABRIL, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, ADRIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, AGLAE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, AIDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, ALEJANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, ALEJANDRA N     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5040 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 41 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ACEVEDO, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, AUGUSTIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, ELBA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, ERIKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, FILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, FRANCIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, IDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, IDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, JOSE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, JOSE R .        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, JOSELITO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, JUAN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, LUIS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, LYMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, MANUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, MICHELLE D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, MIGNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, MOISES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, NELIDA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, NELIDA J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, NOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, NOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, ODALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5041 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 42 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ACEVEDO, ROSA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, SONIA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, VICTORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, VIVIAN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, VIVIAN C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, WALTER N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, YARELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, YELITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO, YESENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACEVEDO,WALTER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, CONSTANCIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, DAVID E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, EILEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, FRANKLIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, IRASEMIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, JOSE G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, KELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, KELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, KEYLIN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, LYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, RADAMES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, ROMAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, ROMAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, ROMAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, SYLVIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, YERILIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ACOSTA, ZURISADAI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ADAMES, JAIME A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ADAMES, OLGA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ADAMES, XIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ADORNO, CARMEN G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ADORNO, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ADORNO, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ADORNO, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ADORNO, ILEANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ADORNO, LORENZO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ADORNO, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ADORNO, SHAIRA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ADROVET, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ADROVET, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AFANADOR, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTINI, OMAYRA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5042 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 43 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA AGOSTO, ADRIANA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, ANA T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, ANA TERESA T     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, BLANCA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, CARLOS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, CARMEN E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, CHARLENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, GLORIA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, GLORIA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, IVIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, IVONNE G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, JOMMART          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, JOSE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, LISBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, LYDIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, MIRELLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, MIRELLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, NEFTALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, NITZALIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, NITZALIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, ROSA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, SANDRA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, SANTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, SONIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, SONIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGOSTO, VILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGRONT, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGRONT, MICHAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGUILA, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGUILA, JESUS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGUILA, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGUILA, REIMUNDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGUILAR, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGUILAR, DANIEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGUILAR, FLOR I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGUILAR, IRENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGUILAR, JASDELL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGUILERA, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGUIRRE, EVA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGUIRRE, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGUIRRE, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGUIRRE, ZELMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AGUIRRE, ZELMA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALAMEDA, JENNYFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5043 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 44 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ALAMO, CHRISTIAN O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALAMO, DEUEL R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALAMO, JENNIFER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALAMO, JENNIFER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALAMO, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALAMO, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALARCON, ALFONSO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBALADEJO, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBALADEJO, YAMIL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBALADEJO, YENITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBARRAN, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBARRAN, EMILY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBARRAN, JONATHAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBARRAN, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBARRAN, NYDIA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBELO, MAYRA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBELO, MELBA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBINO, BELITZ A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBINO, CARLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBINO, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBINO, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBINO, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBINO, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBINO, LOUSNEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBINO, LUISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBINO, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBINO, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBINO, RUTH I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALBIZU, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALCALA, SHEILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALCARAZ, BRENDA LEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALCARAZ, MARLYNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALCAZAR, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALCAZAR, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALDARONDO, PABLO E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALDARONDO, VILMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALEJANDRO, ALEXANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALEJANDRO, ANDRES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALEJANDRO, EMMANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALEJANDRO, GENOVEVA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALEJANDRO, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALEJANDRO, NATALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALEJANDRO, NELSY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALEJANDRO, NESTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALEJANDRO, NILDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALEJANDRO, NILDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALEMAN, AMARILIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALEMAN, NORMAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALEQUIN, MAXIMINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5044 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 45 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ALERS, IDA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALERS, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALERS, MARTA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALERS, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALERS, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALERS, SIDNIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALFONSO, HERMINIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALGARIN, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALGARIN, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALGARIN, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALGARIN, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALGARIN, DALIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALGARIN, JAIME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALGARIN, JOSUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALGARIN, LINNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALGARIN, RACHELYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, ADMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, AIDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, ALCIDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, ALMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, ANA H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, ANGEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, ANGEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, CECILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, CECILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, EMMANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, FELIX A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, GENARO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, GLADYS N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, GRISSELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, HECTOR J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, HOPE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, JOE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, JOSE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, JOSE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, JOSUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, KATHIA R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, KEYRILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5045 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 46 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ALICEA, LAUDELINO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, LESLIE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, LUIS ANTONIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, LUZ N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, LYMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, MARCELINO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, MIRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, RAWELL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, RICARDO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, SOCORRO I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, VICTOR O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, YALENSKY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, ZAMIRA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALICEA, ZULIE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALLENDE, LUIS O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALLENDE, MARIA DE L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALLENDE, OLGA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALMEDINA, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALMEIDA, JUAN P          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALMESTICA, PEDRO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALMESTICA, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALMESTICA, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALMODOVAR, ADALBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALMODOVAR, ANA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALMODOVAR, BELLYANETTE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALMODOVAR, BETZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALMODOVAR, JOAQUIN P     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALMODOVAR, LYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALMODOVAR, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALMODOVAR, NILSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALONSO, FRANCES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALONSO, WILORYS Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALONZO, BENJAMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALSINA, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, ADELINES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, ADELINES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, AIDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, ALVA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5046 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 47 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ALVARADO, AMELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, ANGEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, ARNALDO X      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, ASTRID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, ASUNCION       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, AUREA Y.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, BEATRIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, BETZY I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, CARMEN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, CARMEN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, CAROLINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, DAIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, DAIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, DAIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, DENISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, DENISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, DENISSE I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, DERMALISSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, DERMALISSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, DERMALISSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, EDNAMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, EFREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, EFREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, EMMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, GLENDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, HIRAM M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, IDA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, IDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, IDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, JOAQUIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, JUAN J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, JUAN J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, JUAN LUIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5047 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 48 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ALVARADO, KATHERINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, LETICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, LETICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, LIDUVINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, LIZZETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, MADELINE R.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, MARLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, MICHAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, MILCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, NATHALIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, NELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, NILDA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, OMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, PEDRO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, RAMON A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, WILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARADO, WILSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARDO, MARANGELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, ALMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, ALMA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, CARMEN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, CATHERINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, CATHERINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, CRISTINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, CRISTINA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, DIOSDADO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, DOMITILA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, ELIZABETH M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, GLORIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, GRISELL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, GUSTAVO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, HARRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, HIRAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, HIRAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, IMILCEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, IMILCEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, JAIME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, JAMILETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5048 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 49 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ALVAREZ, JANEMARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, JUAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, KARINA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, LINELLE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, LUIS G.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, MADELINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, MARIA DEL C      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, MARIA DEL MAR    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, MARIA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, MARIA T          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, MARVIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, MIGDALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, MILAGROS DEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, MILAGROS DEL R   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, MITZI            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, RAFAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, RAFAEL E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, RAMON J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, RAMON J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, RUTH             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, SHAYRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, VIVIANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, WANDA L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, YARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVAREZ, YOARICK          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVARRADO, BEATRIZ        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVELO, JOSE A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVELO, MAGDALY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVERIO, CRISTINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVERIO, DOLORES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVERIO, GLORIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVERIO, MYRIAM I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVERIO, MYRIAM I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ALVIRA, KEISHLA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMADOR, EILEEN M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMADOR, EILEEN M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMADOR, EVANGELISTA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMADOR, GUILLERMO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMADOR, WANDA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMADOR, WANDA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMALBERT, MAYRA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMARO, ABEL               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMARO, AMBAR E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMARO, FELIPE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMARO, JACQUELINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMARO, RUTH               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMARO, SAMUEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMARO, VICTOR D           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMEZQUITA, MYRNA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 50 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA AMILL, FRANCES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMILL, FRANCES A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMILL, FRANCES A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMILL, JANIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMILL, MARGUILEAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMILL, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AMOROS, JUANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANAYA, ADALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANAYA, NOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANAYA, RAMON L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDALUZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDALUZ, KATHERINE A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDALUZ, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, GLORIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, HERMINIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, JULIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, MORAIMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, NESTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, NESTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, NOE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, NOEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, ROBERTO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, WALESCA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDINO, YARIELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDRADES, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDRADES, YARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDREU, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDREW, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDREW, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDUJAR, ELSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDUJAR, KENNYANGELYS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDUJAR, MAGALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDUJAR, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDUJAR, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDUJAR, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDUJAR, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDUJAR, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANDUJAR, SONIA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANGELL, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANGLERO, ARNALDO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANGLERO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5050 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 51 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ANTONETTI, VERONICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANTONETTY, WILMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANTUNA, FRANK            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ANTUNEZ, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APARICIO, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, ADELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, ANA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, ANA ROSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, ANGEL J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, ANTONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, ANTONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, ARLENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, BERNARDINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, BRENDALIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, CARLOS ABRAHAM   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, CARMEN S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, CERVULO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, DELIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, EDGAR F.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, ELVIN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, ESTEBAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, ESTHER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, FRANCES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, FRANCISCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, GERMAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, GISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, GLORIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, HILDA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, IVANGS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, JESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, JESSY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, JESSY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, JESSY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, JOHE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, JOSE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, JOSE GERARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, JOSELYN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, JOSUE N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5051 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 52 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA APONTE, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, JUAN F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, JUAN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, KEILA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, LIANABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, LILLIAM S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, LIMARYNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, LIMARYNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, LOURDES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, MARIANGELYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, MIGNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, NORMA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, ROSIMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, SANDRA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, SARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, SHEILA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, SONIA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, VICTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, WADDIE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, WADDIE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, WALESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA APONTE, YVONNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AQUINO, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AQUINO, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AQUINO, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AQUINO, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5052 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 53 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA AQUINO, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AQUINO, JAVIER A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AQUINO, JOHN E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AQUINO, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AQUINO, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AQUINO, LYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AQUINO, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AQUINO, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARAGONES, GISELLE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARBELO, DAYLENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARBELO, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARBOLAY, EDELMIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARBOLAY, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARBOLAY, HECTOR I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARBOLAY, MARIA DE LOS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, EDGARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, FERDINAND          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, JANETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, JUAN CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, JULIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, LEONOR V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, LEONOR V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, LISANDRA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, LOURDES M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, MICHELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, MICHELLE Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, MIGNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, NILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, ROSA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCE, ROSA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARCELAY, DAISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARENAS, ANA MARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARENAS, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARES, CARMEN G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARES, JIM K              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARES, STEPHANIE P        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARES, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARGUINZONI, GILBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARIAS, KARINA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARIAS, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARIAS, MARIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARNAU, HECTOR R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARNAU, JOHANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARNAU, SONIBER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AROCHO, ANDRES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AROCHO, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5053 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 54 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA AROCHO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AROCHO, FRANCIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AROCHO, FRANCIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AROCHO, FRANCIS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AROCHO, LISSETTE D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AROCHO, PEDRO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AROCHO, TANIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AROCHO, TANIA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AROYO, PAULETTE K        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARREAGA, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARRIAGA, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARRIAGA, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ADA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ADNA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, AIDA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ANA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ANA MERCEDES     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, BARBARA T.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, BEATRIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, CIRO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, CLAUDIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, CORAL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ELBA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ELENA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ELIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, FLORA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, FLORA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, FLORA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, FRANK R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, FRANSUANY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, GETSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, GLORIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ILIANETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, JELITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, JOSE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, LEONARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5054 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 55 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ARROYO, LEONOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, LINDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, LOLIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, LORNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, LYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, MARCOS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, MARIA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, MIGUEL ANGEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, MONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, NEREIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, OLBIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, PAULA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, RAMON L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, RAUL O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ROCIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ROCIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ROSA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, ROSDIANN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, SALLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, SARAI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, TANIUSHKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, VICTOR E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, VIVIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, WALESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, WANDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, WANDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARROYO, YODISETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARTILES, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARVELO, DEBORAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARVELO, DEBORAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARVELO, IRMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARVELO, IRMA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5055 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 56 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ARVELO, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARZOLA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARZOLA, JUAN O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARZUAGA, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ARZUAGA, JOVITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ASTACIO, CARMEN B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ASTACIO, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ASTACIO, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ASTACIO, YASHYRA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ATANACIO, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ATANACIO, DIANA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ATILES, AMARILIS C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ATILES, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ATILES, LISMABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ATILES, PRISCILLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AUILA, JEAN E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AULET, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILA, CARLOS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILA, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILA, YOLANDA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, ADALIS S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, ELENA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, ENEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, FRANCES Y.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, FREDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, GRACE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, IRMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, JESELLE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, JESELLE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, JESSICA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, JOHN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, KARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, LUCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, LUIS DANIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, MANUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, MARLYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 57 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA AVILES, MILAGROS I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, NANCY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, NANCY M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, NELSON H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, NELSON H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, NORBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, PEDRO H.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, PEDRO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, RANDY O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, SANDRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, SANTOS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, WILMER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, YARITZA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, YVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, ZULAILET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, ZULEYCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AVILES, ZULMA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, AGNELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, AIMEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, AITZA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, AITZA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ALEJANDRINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ALVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ALVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ALVIN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ALYSSA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ANA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ANDY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ARELIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, AYVELEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, BEATRIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, BENJAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5057 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 58 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA AYALA, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, CRISTOBAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, DENISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, DERIKSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, EDWIN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, EDWIN E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ELIUD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ELSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, EUDES M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, EUDES M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, GRISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ILIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ILIA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, JACKELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, JEISLE MARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, JESSIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, JESUS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, JUAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, JUAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, JUAN ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, JUAN JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, JUDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, MARCELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, MARCOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, MARTINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, MIRIAM V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, MIRIAM V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, MIRIAM V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, MYRIAM L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, MYRIAM L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, NAIRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, NAIRY G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, NELLY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, NERY E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, PABLO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5058 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 59 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA AYALA, PEDRO M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, PEDRO MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, RAFAEL E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ROSA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ROSA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, ROSA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, SASHA IRIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, VANGIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, WILMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, YANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYALA, YOMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYBAR, HECTOR J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYBAR, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYENDE, AIXA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYENDE, CHRISTOPHER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYENDE, CHRISTOPHER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYENDE, RAMON E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYENDE, RAMON E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYENDE, WESLEY G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYUSO, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA AYUSO, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BACENET, CYD MARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BACHIER, GENESIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BACO, CELIMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BACO, CELIMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BACO, FRANCES G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BACO, IVONNE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BADILLO, CONNIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BADILLO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAERGA, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAERGA, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAERGA, LOURDES I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAERGA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, ABEL E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, AIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, ANATOLIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, ANGEL J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, ARNALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, AWILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, DORIS I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, ERNESTO L..        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5059 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 60 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA BAEZ, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, FELICITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, FRANKIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, IRIS D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, JAIME              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, JESSENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, JORGE D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, JOSE E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, LEONARDO S.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, LYDIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, MABEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, MAGDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, MARCELINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, MARIA DEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, MARIA DEL C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, MELISSA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, MERIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, MIRELY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, MOISES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, NELYMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, NORA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, NORA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, PATRICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, QUINTINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, RAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, RAYMOND            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, ROBERTO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, ROSA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, ROSA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, SAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, VERONICA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, VERONICA A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAEZ, XAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAJANDAS, MARILUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAJANDAS, NILKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BALAY, ELIEZER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5060 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 61 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA BALLESTER, ADLIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BALLESTER, ADLIN Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BALLESTER, JESSICA H     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BALLESTER, JESSICA H     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BALLESTER, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BALLESTER, NILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BALLESTER, NILDA O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BALLS, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARBOSA, ARELIES M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARBOSA, CARLOS L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARBOSA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARBOSA, DORIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARBOSA, DORIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARBOSA, JEANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARBOSA, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARBOSA, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARBOSA, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARBOSA, MARLENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARBOSA, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARRANCO, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARREIRO, LIZANDRA A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARREIRO, PEDRO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARRERA, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARRETO, ANGELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARRETO, DAPHNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARRETO, DAPHNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARRETO, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARRETO, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARRETO, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARRETO, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARRIOS, DOMINGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARRIOS, MICHAEL E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARRIOS, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARROSO, RITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARROSO, RITA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARTOLOMEI, ILEANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARZANA, CARLOS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BARZANA, JOSE F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATALLA, ANABELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATISTA, BORICUA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATISTA, BORICUA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATISTA, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATISTA, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATISTA, DINORAH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATISTA, GIOVANNY M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATISTA, GLORISBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATISTA, GLORISBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATISTA, IDALIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATISTA, IRIS D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 62 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA BATISTA, MARIO R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATISTA, PAULA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATISTA, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATISTA, WALLIS L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATISTA, WALLIS L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATIZ, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATIZ, BRENDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATIZ, CHRISTIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATIZ, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BATIZ, NESTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAUTISTA, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAYALA, GINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAYALA, GINA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAYON, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAYON, VALESKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAYRON, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BAYRON, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BEAUCHAMP, ABIMAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BEAUCHAMP, BRUNILDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BEAUCHAMP, LUZ E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BEAUCHAMP, MARIA DEL C   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BEAUCHAMP, OCTAVIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BEAZ, BEATRIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BECERRA, ADA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELARDO, ALIZIRIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELARDO, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELAVAL, BLANCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELBRU, ORLANDO LUIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELEN, SERGIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELLO, CARLOS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELLO, HILDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, ALICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, CRISTINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, DELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, DELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, DIANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, DORIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, ESTEBAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, IRMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, JANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, JANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, KAMARILY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, KAMARILY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, MARTHA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, MYRIAM L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5062 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 63 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA BELTRAN, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, SILKA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, VICTOR O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BELTRAN, YASHIRA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENES, SYLVIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENGOCHEA, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENGOECHEA, PABLO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, AGNES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, AIDA LUS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, ANGEL DANIEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, BLANCA IRIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, CARLOS I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, CARMEN M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, EMMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, EVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, FERNANDO E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, GILMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, JESSICA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, JESUS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, JORGE I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, JUANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, JULIO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, KEYLA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, LUZ O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, LYMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, OLGA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, ROSANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, SERGIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, SUSANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENITEZ, WILLIONEX       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENNETT, LAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BENVENUTTI, YANITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERAS, JUDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERAS, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERBERENA, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERBERENA, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERDECIA, AGUSTIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERDECIA, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERDECIA, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERDECIA, MARICELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 64 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA BERDECIA, OTILIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERG, JOSE M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERIO, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERIOS, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERLY, SANDRA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, ADELAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, AUREA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, BERNICE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, CARLOS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, CARMEN D.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, GONZALO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, HAYDEE M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, JEAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, MARISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, MEVALIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, NARMARYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, NELSON M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, ROSA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERMUDEZ, ZULMA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERNARD, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERNARD, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERNARD, CARLOS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERNARD, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERNARD, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERNARD, KRYSTAL L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERNARD, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERNARD, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERNARD, SHIRLEY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERNIER, ERIC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERNIER, ERIC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERNIER, FERMINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERNIER, GLADYS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERNIER, MARIA DEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5064 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 65 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA BEROCAL, ZAHIRA G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ADA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ALBA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ALEX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ANGEL R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ARELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ARELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ARIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ARIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, BEATRIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, CARIDAD DEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, CARLOS H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ELDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ENEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, FRANCES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, HECTOR M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, HUGO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, IGDANIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, IGDANIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, IRIS H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, JENNYFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, JORGE O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, JOSE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, KAMALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, KAMALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, KAMALIA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, KIDIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, LILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, LISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, LORENZO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, LORNA K         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MARCOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MARCOS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MARIA ANTONIA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 66 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA BERRIOS, MARIA C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MARIA DE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MARIA ISABEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MARIELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MARIO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MARIO O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MARTA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, MIRIAM ELSA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, NIKXA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, NIVEA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, NYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, PEDRO E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, RAMONITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, RAYMOND E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, SONIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, SUYELYS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, TEODORO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, VIRGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, WALESKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, WALTER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, WILMELLY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, WILMELLY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, YABDIEL R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, YABDIEL R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, YADIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERRIOS, ZAIDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERROCAL, ZAHIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BERROCALES, HAYDEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCES, GLENDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCES, LUISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCES, LUISA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCOURT, ANGELICA M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCOURT, ARACELIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCOURT, ARQUIMIDES   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCOURT, ATHONY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCOURT, BLANCA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCOURT, CARLOS J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 67 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA BETANCOURT, DANISHA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCOURT, DINARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCOURT, HARRY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCOURT, JESSMARIL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCOURT, JOAMARA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCOURT, MARISOL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCOURT, MARISOL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCOURT, RICARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCOURT, ROSA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BETANCOURT, WILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BIAMON, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BIAMON, JOSE G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BIRRIEL, NISOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BISBAL, LUIS L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BLANCO, DALIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BLANCO, EMILY V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BLANCO, IDALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BLANCO, LIZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BLANCO, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BLANCO, SARAH C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BLAS, IVAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BLAS, LOURDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BLONDET, JULIO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BOBE, EVA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BOCACHICA, IGSI E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BOCANEGRA, AIMEE J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BODON, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BOIRIE, ANGELES A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONAFE, GLORISEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONANO, MEI‐LING         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONANO, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONELI, EDWIN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONES, PEDRO A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONET, ANGEL G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONET, HAYDEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONETA, YVONNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, ALVING          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, CARLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, DINELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, EDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, EDWIN H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, EDWIN H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, JESUS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, JOHNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5067 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 68 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA BONILLA, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, LUZ H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, MARIA B.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, MARIA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, MAYRA Y.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, MICHAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, PEDRO J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, RONNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, RONNY J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BONILLA, SONIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BORGES, IVONNELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BORGES, JULIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BORIA, KARLA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BORIA, KEVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BORIA, LEFTY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BORIA, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BORIA, LUZ V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BORRERO, ELBY D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BORRERO, JOSE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BORRERO, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BORRERO, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BORRES, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BORRES, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BOSCH, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BOSCHETTI, JOELLIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BOSQUE, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BOULOGNE, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BRACETY, ELSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BRANA, NELLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BRANUELAS, ROLANDO A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BRAVO, CLARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BRETANA, ROSALINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BRICENO, EDDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BRILLON, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BRILLON, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BROWN, MARYSALIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BRUNO, AMPARO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BRUNO, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BRUNO, GLORIVEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BRUNO, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BRUNO, ZACHIRA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BUDUAN, RAMON JR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BULA, EMILY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BULERIN, KARLA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BULTRON, ASDRUBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BULTRON, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BULTRON, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5068 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 69 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA BULTRON, YAMILET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BULTRON, YARIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BUONOMO, ITALA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGADO, CARLA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGADO, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, AGUSTIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, AGUSTIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, AGUSTIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, AIDA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, AIRALYNNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, ANTONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, ARELYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, CARLOS W.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, CHRISTIAN J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, DELMIN Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, DELMIN Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, DELVIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, DINELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, DINORAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, EDDIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, ELIZABETH M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, ELVIN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, ELVIN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, EMILIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, EMMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, ENEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, ENRIQUE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, EVANGELISTA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, FRANK            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, FRANRICK         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, IRMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, JANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, JANNIKAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, JASMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5069 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 70 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA BURGOS, JAZMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, JEARJAZUB        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, JEARJAZUB        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, JOSE W.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, JUAN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, JULIO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, LEGNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, LUDMILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, LUIS FRANCISCO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, LUIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, LUIS O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, MARIA DE LOS A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, MARIA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, MARLESLIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, MARTA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, MAYRA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, NESTOR E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, NILDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, NILDA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, PURIFICACION     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, REBECCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, ROSA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BURGOS, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BUSTAMENTE, JUAN A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BUSTELO, REY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BUTHELL, CELSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BUTHER, YANIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BUTLER, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BUXO, DIANNE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA BUXO, FRANCES M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABALLERO, GERMAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABALLERO, GERMAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABAN, BENJAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABAN, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABAN, ELVIA J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABAN, INGMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABAN, IVYS Y.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABAN, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABAN, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABAN, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABAN, NILSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABAN, RAYMOND           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABAN, RAYMOND O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5070 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 71 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CABAN, ROSALIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABAN, SAUL                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABAN, SOFIA J.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABAN, STEVEN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABAN, VICTOR              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABAN, WESLEY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABASSA, SANTOS G          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABEZAS, AIXA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABEZAS, AIXA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, AGNES             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, ALEXIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, ALONDRA O         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, AMARILYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, ANA M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, BERNICE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, CARMEN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, DELMA D           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, ENID Y.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, ENID Y.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, FELIX             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, FERNANDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, HELEN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, HIPOLITO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, IVAN G.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, JAHAIRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, JOSE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, JUAN C            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, LOURDES           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, LUIS A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, LUIS ROBERTO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, MARIA DE LOS A.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, MARIA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, MARIA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, MILAGROS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, NYDIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, SANDRA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, VERONICA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, VERONICA S        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, YARIB M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, YOLANDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CABRERA, YOLANDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CACERES, AMARILYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CACERES, JOSE A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CACERES, LILIBET           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CACERES, VIMARYS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CACHO, JOSE V.             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CADELARIA, JOBANNA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CADELARIA, JOHANNA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAINES, DEBORAH            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5071 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 72 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CAINES, DEBORAH A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAJIGAS, MIRTHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALAF, LISBETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERO, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, ANA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, CARMEN R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, EDNA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, ELMER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, GERMALIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, IRIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, KRYSTAL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, KRYSTAL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, LYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, MARCELINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, NILDA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, NITZA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, OLGA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, OLGA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, PATRIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, PATRIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, PEDRO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, PRUDENCIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, WILLIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALDERON, YADIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALERO, ELBA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALERO, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALES, SHEILA O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALIZ, LOURED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALIZ, MARIBEL M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALIZ, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CALIZ, RAMON E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, CARLOS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, CARLOS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, CARMEN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, CELIE S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, CORALLYS Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, CORALLYS Y.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5072 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 73 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CAMACHO, CRUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, DESIREE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, ELBA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, EMILY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, EMILY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, EUGENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, FREDDIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, GREISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, GREISA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, HERMINIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, IDA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, IRIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, JANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, JANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, JEANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, JOAQUIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, JUAN E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, JUANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, JUANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, LUIS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, LUIS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, LUIS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, LUISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, MARCOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, MARIA DEL R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, MARIA DEL R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, MARIA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, MARISELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, MARISELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, MYRIAM H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, MYRNA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, MYRNA LUZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, NEFTALI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5073 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 74 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CAMACHO, NILDA E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, NILDA G           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, RAFAEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, RUBEN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, RUBEN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, RUDERSINDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, VIRGINIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, WILFREDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, WILLIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, WILMARY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, YASHIRA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMACHO, YASHIRA M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMARENA, DEANNETTE M.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMARGO, EVELYN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMILO, MARIA K            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMILO, MARIA K            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMIS, EDWIN               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMPIS, JUANITA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMPOS, JOSE L.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMPOS, JOSE L.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMPOS, MELVIN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAMPUDONI, TATIANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANABAL, LIBYA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANABAL, LYBIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANALES, ANNIE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANALES, IVAN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANALES, JUSTINA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANALES, LUZ E             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANALES, MARIA T           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANALES, MIGNA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANALES, MILDRED           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANALES, ORLANDO X         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANALES, RAYMOND           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANALES, REBECA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANALES, YALICIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANALES, YALICIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, ADA NELLY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, AIVLYS M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, ANA L              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, ANA L              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, ANA L              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, DESIREE I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, EFRAIN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, FRANCISCO JAVIER   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, HECTOR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, JESUS M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, JUAN               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, JUAN R             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, MARA A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5074 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 75 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CANCEL, MARIA C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, RAFAEL O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, RAFAELA U        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, WALESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCEL, ZENAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCHANI, MARIA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANCHANY, JIVANNY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIA, ABNER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIA, ADIANEZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIA, DAINA N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIA, DORIS V      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIA, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIA, ELBA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIA, IRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIA, IRIS Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIA, JENNIFFER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIA, JESSICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIA, JESSICA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIA, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIA, MARGARITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIA, RAMON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIA, SUJEIL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIA, SUJEIL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIO, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIO, BIENVENIDA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIO, CAROLINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIO, EMILIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIO, HERMINIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIO, JORGE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIO, JORGE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIO, MARIA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANDELARIO, NORMA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANNEGIETER, STEPHANIE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANO, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANO, NEYLA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANO, SYLVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANTERO, LUIS E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANTRES, ANTONIO T.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANTRES, ANTONIO T.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANTRES, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANTRES, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANTRES, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANTRES, YOHARELYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANUELAS, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 76 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CANUELAS, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANUELAS, ERMELINDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CANUELAS, ERMELINDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAPO, MAGDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAQUIAS, EMILIMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, ADA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, ALEIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, ARACELIS I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, AXEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, BRENDA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, CECILIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, GERALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, GISELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, IVETTE M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, IVETTE M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, IVETTE M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, JAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, JORGE R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, KEILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, KEILA V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, LAURA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, LAURA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, LUIS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, MADELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, MARI CARMEN   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, MARIANO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, MIGNA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, MIGUEL A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, NILSA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, NILSA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, RAQUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, TOMAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARABALLO, ZOE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARATTINI, AIDA G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARATTINI, BETTY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARBALLO, HILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARBALLO, MAGALI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARBALLO, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDE, LEONIDAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDEC, KATHERINE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDEC, MARA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDENALES, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDENALES, ROSA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDERA, DAMARY Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDERA, EVELYN Y.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5076 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 77 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CARDONA, BRENDALIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, DIEGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, ELBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, ELBA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, EMMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, EVANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, EVANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, IDELISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, IONET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, KENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, KENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, LEYDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, LEYDA O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, MARIA T.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, RICHARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, WILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, WILDA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARDONA, WILSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARIDE, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARMEN, NARVÁEZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARMONA, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARMONA, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARMONA, IRMA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARMONA, JESSE R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARMONA, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARMONA, JESSICA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARMONA, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARMONA, MARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARMONA, NORDELYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARMONA, RODOLFO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARMONA, RODOLFO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARMONA, SORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARMONA, SORIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARMONA, TAURINO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARMONA, WANDA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARPIO, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASCO, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUI, CARLOS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUIL, DIONISIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, ANA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, ARCELIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5077 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 78 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CARRASQUILLO, DAMARIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, DAMARIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, DAMARIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, DORAIMA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, ELIZAIDA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, GILMARIE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, IRIS Y      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, IRIS Y      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, IRIS Y      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, JENNIE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, JOSE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, JOSHUA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, JUAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, LILLIAM     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, LORNA ZOE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, LUISA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, LUZ M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, LUZ M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, MARGARITA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, MARGARITA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, MARIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, MARIA A     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRASQUILLO, MARIA DE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
LOS ANGELES
RIVERA CARRASQUILLO, MARIA M.    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRASQUILLO, MARIADELI   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRASQUILLO, MARILIA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRASQUILLO, MILDRED     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRASQUILLO, MIRIAM      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRASQUILLO, OSCAR       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRASQUILLO, RAFAEL      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRASQUILLO, RAFAEL      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRASQUILLO, REBECA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRASQUILLO, SAUL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRASQUILLO, WANDA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRASQUILLO, ZORAIDA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRER, RUTH              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRER, RUTH M            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRERAS, RAYSA R         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRERAS, ROSALIA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRERO, ALBERTO C        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRERO, ANGEL D          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRERO, HEYDA A.         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRERO, IBBIS            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRERO, JOSE A           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRERO, JULIO            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRERO, LIZ E            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRERO, VALERIA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA CARRERO, ZULMA            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5078 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 79 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CARRETERO, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, AVELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, AVELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, BETTY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, JACKELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, JOSE.J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, JUAN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, JUAN R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, JUANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, LUIS G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, MARISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, MYRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, NATALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, NATALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRILLO, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, GENESIS N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, ILUMINADA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, IVAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, IVAN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, JESUS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, JOAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, LAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, MARIA DEL P     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, MORIANNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, NARCISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, PEDRO D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, ROXANNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRION, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRUCINI, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRUCINI, YAMILKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARRUCINI, YAMILKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, ALEJANDRO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, ANGEL F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, BENNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, BENNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, CARMEN I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5079 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                       Schedule E3 Page 80 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CARTAGENA, CATHY            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, CRISTIAN F       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, DAVID A.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, EDGARDO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, EDWIN            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, ELSIE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, FELIX            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, FELIX            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, GLADYS           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, GUILLERMO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, HILDA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, JERRY L          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, JORGE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, JORGE L.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, JOSE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, JOSEFA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, LAURA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, LISSETTE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, LUIS             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, MARIA DE LOS A   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, MARIA E          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, MIRIAM           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, NELSON           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, NELSON H         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, NORMA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, PEDRO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, ROBERTO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, RUTH             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, RUTH N           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, STEVEN J         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, VICTOR E         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, YASMIN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAGENA, ZULMA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CARTAJENA, MELISSA E        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASALDUC, KARLA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASALDUC, KARLA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASANOVA, CLARIBEL          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASANOVA, CLARIBEL          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASANOVA, EILEEN M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASANOVA, HERIBERTO         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASANOVA, JAIME L           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASANOVA, JENNIFER          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASANOVA, JOSE              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASANOVA, KARLA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASANOVA, KARLA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASANOVA, LUZ N             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASANOVA, MILAGROS          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASANOVA, NORMA IRIS        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASANOVA, SHARLEEN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5080 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 81 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CASASUS, JULIO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASCIO, EMANUEL O          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASELLAS, CARMEN A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, ABIGAIL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, ANTHONY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, AWILDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, DAMARIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, EDWIN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, ELGA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, ILIA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, IVEMAR            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, IVEMAR            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, MADELINE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, MYRIAM            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, RENE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, STEFANIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, STEFANIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, STEPHANIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, WESLEY E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASIANO, WILSON D          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASILLAS, ANGEL C          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASILLAS, CARMEN J.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASILLAS, KEVIN JOEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTELLANO, ANGEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTELLANO, BLANCA D       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTELLANO, CARMEN M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTELLANO, JONATHAN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTELLANO, LUIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTELLANO, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTELLANO, VALERIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTELLANOS, VALERIE ANN   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTEN, LUIS O.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTEN, LUIS O.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, ANA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, ARGELIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, CARMELO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, ED DANIEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, ELBA C           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, GIOVANNA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, GIOVANNA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, GLADYS Z         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, GLORIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, HERIBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, INOCENCIO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, IVAN ENRIQUE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, JUAN A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, LIZETTE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, LIZETTE C        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5081 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 82 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CASTILLO, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, MARIA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, MARIA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, MITZA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, NADIA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, NELIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, NELIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, ROGELIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTILLO, SANDRA V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRELLO, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, ADA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, ADELAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, AIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, ALY M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, ANDRES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, BENITO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, CARMEN F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, DIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, ERICKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, ERNESTO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, GASPAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, IRENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, IRENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, JOEY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, JOSELINE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, LETICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, LISA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, LUCY M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, MAYBEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, MAYRA C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, MICHELLE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 83 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CASTRO, MIRELSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, NELITZA O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, NELITZA O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, NESTTOR O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, ROBERTO C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, RUTH L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, WILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, XAMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, XAMAYRA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, XAMAYRA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CASTRO, ZORELYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CATALA, ALEX J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CATALA, ENYBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CATALA, ENYBETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAY, JESUS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAY, NARCISA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CAY, NARCISA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEBALLOS, EMMANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CECILIO, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEDENO, AGUEDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEDENO, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEDENO, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEDENO, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEDENO, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEDENO, RAYMOND          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEDENO, VIVIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEDENO, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEDENO, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEDENO, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEDRES, FRANCISCO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENICEROS, ARTEMIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, ANGEL ARIEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, DOMINGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, JEANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, JOEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, JOEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, JOEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, JUAN J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5083 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 84 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CENTENO, LIZ SANDRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, LOURDES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, MARIA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, MARIBELL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, MARIE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, NADYA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, NADYA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, NADYA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, RAMSEY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, TOMASA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, WILFREDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CENTENO, YESSIKA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEPEDA, ANA M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEPEDA, DAVID             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEPEDA, DAVID             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEPEDA, GLENDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEPEDA, JOSE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEPEDA, LESBIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEPEDA, LUZ B             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEPEDA, MANUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEPEDA, ROSA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEPEDA, ROSA H            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CEPELLA, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CERPA, ANGEL J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CERPA, YAMILKA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CESARIO, SILVIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHAIZ, NAOMI              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHALLENGER, BELKY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHAMORRO, ANA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHAMORRO, FREDDIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHAMORRO, LUZ             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHAMORRO, LUZ N           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHAMORRO, MARTA T         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHANZA, JOSE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHAPARRO, CARLOS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHAPARRO, CARLOS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHAPARRO, KEILA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHAPARRO, LIZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHAPARRO, LIZA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHAPARRO, LYDIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHAPARRO, MARIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHAPARRO, NOEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHAPARRO, SONIA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHARON, MARILYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHARON, VIRGINIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHARRIEZ, JOSE ANTONIO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5084 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 85 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CHARRIEZ, LISETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHARRIEZ, LISETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHARRIEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHARRIEZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHARRIEZ, SUSAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHAVES, GRISELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHEVALIER, JOSEFINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHEVERE, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHEVERE, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHEVERE, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHEVERE, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHEVERE, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHEVRES, ANGELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHEVRES, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHICLANA, CELINES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHICLANA, JULISSA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHICLANA, NICOLAS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHICLANA, YARITZA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHINEA, BEATRIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHINEA, WALESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CHRISTIAN, ARSENIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, ABELARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, ALAN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, ANGEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, ARACELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, ARKEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, ASUNCION        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, AUREA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, CARMEN M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, DALIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, DELMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, DYLAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, EDICTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, ELGA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, EMANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, EVELYN M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, GERARDO R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, GISELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5085 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 86 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CINTRON, GISELA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, GLADYS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, GRACIELA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, GUILERMINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, IDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, IRMA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, ISAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, JEALYNNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, LAUDELINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, LEONIDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, LILLIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, LORIANN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, LUCIA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, LUIS T.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, LUZ B.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, LYDIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, MARA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, MARIA V.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, MARISELYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, MAYRA S.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, MICHAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, MONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, NAJED I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, NANCY S.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, NELLY A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, NIVIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, NORBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, ROBERTO C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, RYAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, SANDRA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, SHARON L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, SHIARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, SHIARA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, SOL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, THAMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, VIOMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5086 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 87 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CINTRON, WILMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, YADIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, YARIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CINTRON, YARIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CIRILO, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CIRINO, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CIRINO, AMPARO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CIRINO, CYNTHIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CIRINO, ELVIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CIRINO, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CIRINO, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CITRON, NYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CIURO, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CIURO, LUZ V.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAMOUR, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAS, NOEMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAS, NOEMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLASS, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLASS, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLASS, ELYAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLASS, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLASS, GRISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLASS, GRISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLASS, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLASS, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLASS, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLASS, ROSA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLASS, TIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAUDIO, ALLAN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAUDIO, ALTAGRACIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAUDIO, ANA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAUDIO, ANA G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAUDIO, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAUDIO, AURORA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAUDIO, BETZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAUDIO, CARMELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAUDIO, FRANCISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAUDIO, LYDIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAUDIO, MARIA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAUDIO, MIGUEL ANGEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAUDIO, TATIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAUDIO, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAUSELL, ELINOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAUSSELL, CARMEN D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAVELL, NILDA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLAVEROL, LUISA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLEMENTE, ALEXIS N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLEMENTE, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLEMENTE, JUAN B.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5087 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 88 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CLEMENTE, MARICRUZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLEMENTE, ROSENDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CLIMENT, CARLA J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLA, FRANKIE LOUIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLA, LOUIS PHILIPPE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLAMER, NILSA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLBERG, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLBERG, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, ARNALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, BENJAMIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, CARMEN F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, CARMEN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, CARMEN GLORIA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, CARMEN Z        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, CATHERINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, DAVID RAUL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, DORIS I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, ERNIE X         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, EUNICE G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, GIOVANNI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, GRACILIANO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, HECTOR N.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, IRIS N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, IVAN F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, JOANNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, JOANNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, JUANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, JULIUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, LAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, LUIS F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, MARCOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, MARCOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5088 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 89 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA COLLAZO, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, MELISSA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, NAYDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, NEIDA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, NILDANID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, PAUL G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, RAMON A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, RITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, RITA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, ROSITA B.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, SINER M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, SONIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, ULPIANO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLAZO, VILMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLLET, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLMENARES, MARTA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ADA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ADA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ADA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, AIDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, AIXA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, AIXA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ALEJANDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ALEJANDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ALEXIES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ALICIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ALICIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ALINA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ANA D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ANA G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ANA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ANA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ANA V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ANGEL L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ANGEL R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ANITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 90 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA COLON, ANNABEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, AUREA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, AUREA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, AWILDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, BETHSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, BETZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, BRENDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, CAMIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, CARLINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, CARLOS I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, CARMEN I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, CARMEN IVETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, CARMEN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, CAROL M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, CAROLYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, CATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, CINDY I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, DANITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, DANITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, DAVID J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, DIANE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, EDDIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, EDELBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, EDNA B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, EDWIN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ELIVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ELIVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ELMER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ELSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ELVIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ENEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ENEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ERIC              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ERIC              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA COLON, ERIC              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ERIC J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ERIC L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ERICK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ERICK J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, EUSEBIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, EVA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, EVARISTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, EVELYN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, FELIPE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, FLORENCIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, GAMALIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, GERALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, GERMAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, GIELMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, GLADYS I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, GLORIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, GLORIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, GLORIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, GUARIONEX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, GUARIONEX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, HECTOR L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, HERMINIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, HILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, HILDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, HILDA Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, HIRAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, HOMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, IAN ALEXIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ILEANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, INES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, INGRID V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, IRAIDA F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, IRIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, IRIS N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, IRMA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ISABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ISABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ISAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ISAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, IVONNE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5091 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 92 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA COLON, JACKELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JACKELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JACQUELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JACQUELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JACQUELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JACQUELINE D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JARIZMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JELLIZA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JESSICA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JOEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JOSE F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JOSE I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JOSE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JOSEAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JOSUE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JUAN A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JUAN D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JUAN L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JUAN R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JUANITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, KADISHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, KEILA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, KELVIN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, KEVIN Y.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LAURA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LAURA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LEYDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LEYDA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LILLIAM R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LILLIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LINET M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LINETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LINETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LISMELISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LIZ S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LIZA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LOANIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 93 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA COLON, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUIS D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUIS F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUIS O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUZ I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUZ I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUZ N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUZ S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LUZ S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, LYMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MADELYNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MANUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA DE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIA V.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIE Z           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5093 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 94 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA COLON, MARIE Z           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARIVIR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARLINE I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MARTA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MAURICIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MAYRA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MAYRA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MAYRA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MILDRED G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MILDRED I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MILIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MILIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MIRELYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MISLADY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MITHSARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MONICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MONICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, MYRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, NACHELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, NEFMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, NEFTALI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, NEIDA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, NELSON D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, NICOLAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, NICOLE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, NILDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, NILDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, OBED              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, OLGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, OMAR L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, OMARA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, PEDRO L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, PORFIRIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, PRISCILLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 95 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA COLON, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RAUL E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, REINALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, REINALDO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RENEDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, REVECA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RICARDO M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RITA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RITA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ROSANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ROSANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RUTH N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RUTH N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RUTH N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, RUTH Y.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, SANDRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, SASHA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, SATCHA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, SAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, SHARON M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, SHEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, SHEILA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, SHEILA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, SONIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, SONIA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, SUSANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, SUSSANE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, SYLVIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, TERESITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, TERESITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, VALOIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, VERUSHKA K        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, VICTOR M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, VICTOR M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, VILMA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, VILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, VILMARIE I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5095 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 96 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA COLON, VIRGINIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, VIVIAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, VIVIAN I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, WILMA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, WILMARIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, XAVIER             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, YANITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, YEIDI V.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, YOLANDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, YOLANDA R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ZORAIDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ZORVIE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ZORYLEEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ZORYLEEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ZORYLEEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ZULIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ZULLEY M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ZULMA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON, ZULMARIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLON,JOSE A              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COLONDRES, MAYRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COMAS, VIVIAN I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, ARAMIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, ARMINDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, AURELIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, CARLOS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, CARMEN L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, CARMEN M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, CHRISTIAN R   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, EDWIN O       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, ERNESTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, FRANCYS E     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, IRMA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, JACOB         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, JANNETTE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, JULIO A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, LUZ A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, MARIA DE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, MARIELY L J   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, OSBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, RICARDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONCEPCION, VIVIAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONNICK, KRISTINA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONSTANTINO, VANESSA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONSTANTINO, VANESSA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONSTANTINO, XIOMARA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CONTRERAS, MAGDALENA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORA, HECTOR              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORA, HECTOR B            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5096 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 97 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CORA, HECTOR E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORA, HERMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORA, LUIS MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORALES, EDISON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORALES, MARIA J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORALES, NILDA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORCHADO, MARIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORCHADO, YAMIXA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORCINO, MARIANO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, AGNES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, AMARILYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, AMARILYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, ANGEL R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, CARMEN V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, HECTOR N.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, HILDA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, IDAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, JODALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, JULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, LISSETTE M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, MARICELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, MELVIN E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, OLGA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, PAULA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, SINDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDERO, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDOVA, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDOVA, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDOVA, MARIA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDOVA, MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDOVA, ROSA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDOVA, ZULMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORDOVA, ZULMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORIANO, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORIANO, JOSEFINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORIANO, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORIANO, LUZ N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORIANO, PURA Z          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORIANO, RAYMOND         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORIANO, ROSA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORNIER, GIL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORNISH, LAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5097 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 98 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CORREA, ANGEL H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, CARMEN R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, DARIANA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, DENNIS G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, EDUARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, EDUARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, ELSIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, GERALDINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, ILEANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, IRIS G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, JOELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, JOSUE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, LAURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, LISS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, LORNA S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, LUZ C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, MARCEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, MARCEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, MARTA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, MISAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, PETRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREA, REY D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORREDOR, BLANCA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, ADA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, AIDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, ALBA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, ANA S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, ANGEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, ANGEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, BUENAVENTURA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, BUENAVENTURA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, CARMEN S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, DELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5098 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 99 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CORTES, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, EDAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, EDSEL R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, ELSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, GRISELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, ISAAC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, JOSE J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, JOSUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, JULIO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, KATHERINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, LUIS C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, MIGUEL ANGEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, PEDRO DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, RUTH M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, SILVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, SILVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, VICTOR A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, VICTOR ANTONIO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, YAMIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, ZAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, ZAIDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTES, ZAYMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORTEZ, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORUJO, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORUJO, CARLOS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORUJO, JULIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CORUJO, MARIA T.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, ARACELY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, BRENDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, GUILLERMO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, JACKELINE I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, LYDIA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5099 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 100 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA COSME, MARIA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, MARIA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, MARIELIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, MORAIMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, NILDA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, NOEL               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, NORMA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, ROCHELLY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, RUTH L             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSME, YAMILET            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSS, YAMARI              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSTA, HERMIDES           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSTA, LOURDES            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSTAS, CRISTINA DEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSTAS, CRISTINA DEL C.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COSTAS, MONSERRATE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTE, ADALGESA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTES, JOSHUA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, ANA D              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, ANETTE I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, ANGEL L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, ANGEL M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, ANGELICA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, ANGELICA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, CARMEN I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, CLARIBEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, EUDALIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, HERMINIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, JESSICA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, JORGE R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, JULIO              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, KELLY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, LILLIAN A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, LILLIAN A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, LIZMARIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, LUIS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, LUIS A             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, LUIS M.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, MARITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, MARY C             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, MIGUEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, MIRIANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, MYRNA L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, NORBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, PEDRO C            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, VICTOR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, WILLIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTO, WILLIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTY, JENARO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5100 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 101 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA COTTY, LARRY J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COTTY, NORCA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA COUVERTIER, CARMEN E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CQLQN, NESTAR M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPI, MIGUEL A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPI, MIGUEL A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPI, OLGA E.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, ADA I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, ALICIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, AMY               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, BLASINA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, CARMEN D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, CARMEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, CRISTINO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, DAVID             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, EDNA J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, EVELYN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, EVELYN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, GABRIEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, GISSELLE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, HECTOR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, IDALIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, ISMAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, JANE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, JANE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, JESUS L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, JOSE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, JOSE O            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, KRISTY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, KRISY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, LYMARIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, MADELINE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, MARIA DEL C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, MARIA J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, MELISSA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, MIGUEL A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, MIRIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, MYRNA DEL PILAR   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, NANCY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, NICHOLLE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, SYLMA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, VICENTE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, VICENTE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, ZENAIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRESPO, ZENAIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CROMPTON, JULIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CROUCH, EVELYN A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ADA I               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ADA L               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 102 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CRUZ, ADA L.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ADELAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ADRIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, AIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, AIDA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, AITZA T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ALBA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ALBA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ALBA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ALBA G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ALFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ALMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ALMA N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ALMA N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, AMELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ANA ESTHER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ANA H              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ANA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ANARIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ANARIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ANARIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ANDRES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ANGEL M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ANGEL S.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ANIBAL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ANTONIO R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ARTHUR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, BARBARA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, BENEDICTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, BETIMARLIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, BETSY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, BLANCA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, CAMILLE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, CARLOS J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, CARMEN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, CARMEN L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, CARMEN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, CARMEN P           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, CEFERINO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, CHIRSTINE N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, CHRISTIAN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, CRUCIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, DAISY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, DAISY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5102 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 103 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CRUZ, DALIZZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, DARIELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, DIANA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, DONATIS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, DORIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, EDGAR R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, EDGAR R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, EDGARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, EDILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, EDILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, EDNA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, EDUARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, EFRAIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ELBA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ELBA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ELBA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ELIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ELISAMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ELISAMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ENCARNACION        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ENEIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ENEIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ENID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ERIKA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ERIKA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ERIKA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ESTEBAN J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, EVA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, EVA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, FRANCISCO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, GADIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, GADIEL R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, GEORGIANNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, GEORGINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, GEOVANNIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, GERMAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, GISEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, GISEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, GLORIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5103 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 104 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CRUZ, GREISSA Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, GRISEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, GUELMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, GUILLERMINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, GUILLERMO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, HECTOR J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, HECTOR L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, HEDWIN X.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, HERMELINDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, HERNAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, HERNAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, HERY J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, IDALIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ILEANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ILIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ILIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, INGRID J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, IVAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, IVANISE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, IVONNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, IVY J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JAIME              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JEANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JESUS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JESUS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JESUS O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOAQUIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOEL M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JORGE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JORGE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JORGE C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JORGE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 105 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CRUZ, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOSE E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOSE I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOSE R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOSE R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JOSEFA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JUAN F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JUAN R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JULIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, JULIO L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, KALIANI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, KATERI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, KENNIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, KEVIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, KEYSHLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, KIMBERLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, KIMBERLY I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, KYARA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LEONARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LETICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LETICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LEYDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LISMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LISMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LISSETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LORAINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LOURDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LUIS GABRIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LUIS LEONARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LUIS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LUIS MANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LUIS R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LUIS R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LUIS ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LUZ M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LUZ V              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5105 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 106 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CRUZ, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LYDIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, LYSETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MAGALY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARAGELI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARANGELI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARGIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIA DEL CARMEN   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIA T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIA T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIA T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIA T.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIA TERESA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIGLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARY I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MARYARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MAYRA S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MELISSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MELIZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MICHELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MIGNA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MIGUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MIGUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MIGUEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5106 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 107 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CRUZ, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MONICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MONICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MONICA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MYRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MYRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MYRNA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, MYRNA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, NAHED P            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, NAHED P            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, NASHALIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, NATALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, NATHANIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, NELIDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, NEREIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, NILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, NILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, NILSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, NITZIA A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, NOELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, OLBIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, OLGA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, PABLO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, RADAMES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, RAFAEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, RAFAEL J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, RAFAEL J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, RAMON A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, RAMON L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, REYNALDO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, RICARDITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, RICARDITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, RICARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, RICARDO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ROCIO DEL MAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, RONY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ROSA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ROSA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ROSABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ROSABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ROSAURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5107 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 108 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CRUZ, RUBEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, SALESKY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, SALVADOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, SANDRA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, SANTIAGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, SANTIAGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, SARAI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, SHEYLA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, STEPHANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, STEPHANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, STEPHEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, SYLKA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, TATIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, TEDWIN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, VICMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, VICTOR J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, VICTOR M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, VILMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, VILMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, VILMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, VILMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, VIVIAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, VIVIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, WALESKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, WILLIE U.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, WILLIE U.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, WILLNER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, XAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, YADIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, YAHAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, YARA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, YARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, YASMIN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, YESSENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, YESSENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, YOLANDA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ZARELIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ZOILA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ZOILA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZ, ZULEIKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CRUZADO, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUADRADO, ADELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUADRADO, ARGENIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 109 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA CUADRADO, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUADRADO, ILIANA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUADRADO, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUADRADO, KERVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUADRADO, MARIA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUADRADO, MINADAL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUADRADO, MYRIAM Z.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUADRADO, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUADRADO, ROSANJELICK    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUADRO, EUNICE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUADRO, WESLEY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUBA, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUBA, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUBANO, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUBERO, BRENDA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUBERO, LUIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUCHI, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEBAS, ERIC F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEBAS, LUIS H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVA, FELIPE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, ABIMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, ALEXANDER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, ANNETTE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, AUREA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, CHARLES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, FREDDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, GLENID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, JAVIER A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, JOSE F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, LUZ E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, MILTON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, NAYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, NORMA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUEVAS, WILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUMBA, OLGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CURBELO, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CURBELO, GLENDALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CURET, JOSE F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CURET, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA CUSTODIO, ANGEL R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5109 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 110 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA D JESUS, KEILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAMIANI, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVID, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVID, AXEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVID, GLORIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVID, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, ALMA C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, AMERICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, ANGEL M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, ANNETTE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, AYEISHA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, BIENVENIDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, CESAR E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, CHRISTOPHER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, GIOVANNI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, IRIS V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, JOSE O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, JOSEFA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, LAIRALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, LUIS F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, LUIS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, MARIELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, MARIELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, MARINETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, MAYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, MAYDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, MICHELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, NANCY I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, RAMONA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, SHAKIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5110 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 111 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA DAVILA, VIVIAN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DAVILA, YANIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE ALVARADO, AIDA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE ARCE, SONIA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE AVILES, CARMEN I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE BERRIOS, ROSA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE BROOKS, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE CINTRON, OLGA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE CORREA, ANA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE CRUZ, NITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE CUEVAS, WANDA Z       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE DELGADO, NORMA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE FIGUEROA, NILSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE FLORES, MARINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE GONZALEZ, LILLIAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE GRACIA, LUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE GRACIA, LUZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE GUZMAN, LEIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE HENKE, GRACE C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE HERNANDEZ, ANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, AIDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, AIXA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ALBA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ALEIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, AMY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ANA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ANGEL T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ANGELICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, AURA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, BENJAMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, CANTALICIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, CARMEN I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, CARMEN U       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, CARMEN U.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, CATHERINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, CYNTHIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, DORIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, EMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ERIC I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ERIC M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, EUGENIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, FELICITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, FELIPE GIL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5111 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 112 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA DE JESUS, FILIBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, GLENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, GLENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, GRISSELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, HECTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, HECTOR M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, HIPOLITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, HIRAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ILUMINADA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, IMELDA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, IMELDA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, IRIS G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, IRIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ISAAC          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ISAAC          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, IVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, IVAN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, JAIME L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, JANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, JANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, JESUS R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, JOANNIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, JOSE I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, JOSE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, JULINETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, LEONEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, LINETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, LORAINE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, LORAINE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, LUCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, LUDWING        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, MARCOS H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, MARIA B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, MARTA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, MICHAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, MILDRED E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, NELIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, NEREIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5112 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 113 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA DE JESUS, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, OLGA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, OLGA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, RAMON L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, RENE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, SYLVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, TANIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, TOMAS O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, VERONICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, VILMAREE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, VILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, VIRTUOSO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, WALTER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, WILMER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, WILMER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, WILMER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, YAJAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, YARATZED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, YARATZED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, YARLEEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, YOMAYRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, YOMAYRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ZAIDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ZENON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ZENON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JESUS, ZURI E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE JUAN, JAIME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LA CRUZ, MAYRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LA PAZ, VERONICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LA TORRE, ANGEL Y     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LA TORRE, MARCOS Y    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LARACUENTE,           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
PROVIDENCIA
RIVERA DE LEON, ALVIN           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA DE LEON, AMARILIS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA DE LEON, AMARILIS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA DE LEON, AMARILIS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA DE LEON, BRENDA I        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA DE LEON, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA DE LEON, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA DE LEON, CARMEN G        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA DE LEON, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA DE LEON, DIGNA J         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA DE LEON, DINELIA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA DE LEON, EILEEN G        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA DE LEON, ESTHER          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA DE LEON, EUNISIS D       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5113 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 114 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA DE LEON, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, GRACIELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, IRIS Z          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, KERMIT M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, LISANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, LISANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, MICHELLE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, NELCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, RAMITO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, WILLIAM A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, YADIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, YADIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE LEON, YAMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE MARFISI, NEREIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE MARTINEZ, YGRI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE MELENDEZ, VIRGINIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE MENDEZ, JOSEPHINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE MENENDEZ, MYRNA S     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE MOLINA, AURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE MORALES, TERESA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE NEVAREZ, MILAGROS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE NIEVES, EVELYN I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE PENA, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE PINO, SONIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE QUINONES, CECILIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE REYES, GRACIELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE RIVERA, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE RODRIGUEZ, ANA C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE RODRIGUEZ, MARIA V    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE ROMAN, MARTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE SANTIAGO, AGNELIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE SANTIAGO, NYDIA R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE SANTIAGO, SONIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE SANTIAGO, WILFREDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE SOLIVAN, MARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE SOTO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE TORO, JEANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE TORRES, ZULMA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE VALLS, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE VILLANUEVA, CARMEN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5114 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 115 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA DE WILLIAMS, EMMA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DE, LILLIAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DECELIS, KEVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEDERICK, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEJESUS, JUAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEJESUS, KARLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEJESUS, RUTH Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL CORO, REBECA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL HOYO, OMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL RIO, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL RIO, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL TORO, DANIEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, ANA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, BRENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, CYNTHIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, GILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, KEVIN R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, LUIS D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA‐ DEL VALLE, MARIA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, MARISEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, MARTHA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, MARTHA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, MAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, MAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, MICHELL M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, MIREYA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, MYRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, MYRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, OLINDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, PETRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, RODMELL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, TANIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, XARENI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DEL VALLE, YOMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELBREY, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELFIN, AXEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, AILEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, ALAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, AMPARO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, ANA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, ANDISON R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, ANIBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, ANNA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 116 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA DELGADO, CARMEN L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, DAMARIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, DANIEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, DENISE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, EFRAIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, ELEONOR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, ELISA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, ELSA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, ELYOMAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, EMILIA Y         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, FREDDIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, GLORIA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, HECTOR M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, HIDELIZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, HILDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, JAZMIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, JENNIFER M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, JIMMY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, JORGE E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, JORGE L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, JOSE ANTONIO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, JOSE O           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, JOSELYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, JUAN A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, KENNETH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, LILLYBETH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, LOURDES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, LOURDES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, MADELINE E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, MELBA G          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, MIGDALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, MORAYMA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, NANCY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, NASHALY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, NELLY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, NELLY M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, NORMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, PEBBLES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, RAFAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, RAMONA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, REGINALD         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, ROSA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, ROSA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, SAMY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, SAMY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5116 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 117 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA DELGADO, SANDRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, SARAI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, SARAI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, SARAI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, STEPHANIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, TASHIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, TOMAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, VALERIA N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, VICTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, WILNELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, YADIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELGADO, YMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELILLO, CRISTINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELILLO, MARY G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELIZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELIZ, ILIANA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELPIN, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DELVALLE, YOMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DENIS, IVAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DENIS, VIANCA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DENIS, VIANCA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DENIZARD, NOELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DERALAT, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DERIEUX, JOSE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DESPIAO, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DI CRISTINA, JAIME       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ABNERIS Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ADA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ADA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ADELAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ALFONSO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ANA H              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ANA H              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ANA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ANAMARYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ANGEL G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ANGEL LUIS JOSUE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ANGEL R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ANGIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ANGIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 118 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA DIAZ, ARACELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ARIANA K           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ARMANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, AUDELIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, AVELINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, BARBARA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, BELEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, BLANCA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, CARLOS I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, CARLOS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, CARMEN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, CARMEN I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, CARMEN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, CARMEN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, CARMEN S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, CHRISTINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, CONFESORA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, CYNTHIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, DAILU              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, DALIXI L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, DANIA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, DANIEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, DAVID J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, DELIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, DELIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, DENISSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, DIOCELYN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, DOMINGO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, EDGAR J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, EDWIN JOEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, EFRAIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ELIEZER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ELIEZER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, EMELY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, EMMA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ENRIQUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 119 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA DIAZ, ENRIQUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ERIC               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ESTHER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ESTHER L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, EVA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, EVA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, FERNANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, FERNANDO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, FERNANDO M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, FLOR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, FRALIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, FRANKIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, FRANKIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, FREDDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, GAMALIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, GERARD D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, GERYONEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, GIOVANNI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, GLORIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, GRISELE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, GRISELE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, GUILLERMO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, HANNIA B.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, HARRY J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, HECTOR A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, HEIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, HEIZEL D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, HEMELY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, HEMELY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, HERO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, IDA E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, IRIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, IRIS L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, IRMA N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, IRMA SOCORRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ISAAC              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, IVAN F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, IVONNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JACKELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JACKELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JAILEEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JAILENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JAIME              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JAIME H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5119 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 120 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA DIAZ, JANICE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JAPHET C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JASMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JAYNET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JENISSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JESMARI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JOANNY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JOBET              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JORGE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JOSE E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JOSE IGNACIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JOSE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JOSE O             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JOSE R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JOSELIE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JUAN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JUAN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JUAN F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JUAN F.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JULIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JULIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, JULIO A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, KARLA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, KEISHLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LAURA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LAURA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LEISHLA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LEWIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LIONEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LIONEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LIZ                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LOURDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LOURDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LUCRECIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LUIS F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LUIS G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LUIS J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LUIS ORLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5120 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 121 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA DIAZ, LUZ E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LUZ E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LUZ G              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LUZ N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, LYMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIA DE LOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIA DE LOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIA DEL C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIA DEL C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIA ELISA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIA JUDITH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIA JULIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIELYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARILIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARINILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARIYANYELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARTA C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MARVIN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, MYRIAM J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, NAZARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, NEREIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, NOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, NOELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, NOEMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, OMAR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5121 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 122 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA DIAZ, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, OSVALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, PAMELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, PAULA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, PEDRO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, PEDRO L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, PURA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, RAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ROSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ROSA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ROXANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, SANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, SANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, SOL M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, SYLVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, SYLVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, TERESITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, VERONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, VERONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, VICTOR M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, VILMA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, VILMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, VIRGINIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, WENCESLAO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, WENCESLAO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, WILFRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, WILMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, XAYMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, XIOMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, XIOMARA MARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, YASHIRA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, YELIXZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, YERILIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, YERIMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, YESENIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, YESENIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ZAILYMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5122 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 123 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA DIAZ, ZOE                  REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ZORAIDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ZULEIKA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIAZ, ZULEIKA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIBO, JOSE A.              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIEPPA, YOMARI             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DIOU, NORMA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DOMENA, AHILAM             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DOMENA, AHILAM             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DOMENA, CLARIVEE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DOMENECH, EILEEN Z.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DOMENECH, WILFREDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DOMINGUEZ, ANNIE XENIA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DOMINGUEZ, CARMEN E.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DOMINGUEZ, CARMEN E.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DOMINGUEZ, ERIKA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DOMINGUEZ, NILSA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DOMINGUEZ, RUBEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DOMINGUEZ, YOMAR J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DOMINICCI, JUANITA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DONCELL, LUCY I.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DONCELL, ZULMA C           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DONES, GRACE               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DONES, SHAIRY M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DORAN, FELIX A.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DUCOS, JUANITA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DUENO, JAIME               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DURAN, ANGELITA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DURAN, JAIME               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DURAN, KIMBERLY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DURAN, MARIA G             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DURAN, ROSITA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DURAN, WALESKA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA DURAND, CARMEN R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ECHANDY, ENID D.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ECHANDY, NELVIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ECHANDY, NELVIS M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ECHEVARIA, WIDALIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ECHEVARRIA, ALFONSINA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ECHEVARRIA, BEVERLY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ECHEVARRIA, CLAUDIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ECHEVARRIA, DORIS G        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ECHEVARRIA, EVANGELINA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ECHEVARRIA, EVELYN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ECHEVARRIA, FRANCISCO G.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ECHEVARRIA, GLORIA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ECHEVARRIA, ISABEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ECHEVARRIA, JANET          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED




                                                                                                                                                                 PAGE 5123 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 124 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ECHEVARRIA, JORGE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ADALBERTO
RIVERA ECHEVARRIA, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ECHEVARRIA, JULISSA M    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ECHEVARRIA, LAVINIA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ECHEVARRIA, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ECHEVARRIA, MARIA I      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ECHEVARRIA, MARIA I      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ECHEVARRIA, MARIA M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ECHEVARRIA, NANCY        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ECHEVARRIA, NELLIE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ECHEVARRIA, ZULEYKA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA EDGARDO, CASTRO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ELIAZAR, CRUZ            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ELIZA, DIANA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ELIZA, DIANA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA EMMANUELLI, FLOR I       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA EMMANUELLI, JAIME        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ENCARNACION, AXA L       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ENCARNACION, DORIS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ENCARNACION, JAVIER      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ENCARNACION, LIVIA A     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ENCARNACION, LUCRECIA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ENCARNACION, MARTA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ENCARNACION, MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ENCARNACION, MIRIAM L.   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ENCARNACION, RUT D       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ENCARNACION, SILKA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ENCARNACION, SONIA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ENCARNACION, WANDA I     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ENRIQUEZ, MAGALIE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ENRIQUEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ENRIQUEZ, PEDRO L        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ESCALANTE, CLAVELINA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ESCALERA, ALVIN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ESCALERA, ALWIN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ESCALERA, BARBARA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ESCALERA, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ESCALERA, EMERIDA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ESCALERA, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ESCALERA, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ESCALERA, NYLMA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ESCALERA, NYLMA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ESCALERA, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ESCALERA, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ESCALERA, WALMA Y        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ESCALERA, WALMA Y        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ESCARFFUYETS, AIDA E     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ESCOBALES, JOSE D        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5124 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 125 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ESCOBALES, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESCOBALES, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESCOBAR, ARAZELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESCOBAR, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESCOBAR, EDNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESCOBAR, GERARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESCOBAR, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESCOBAR, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESCOBAR, LIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESCOBAR, LIZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESCOBAR, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESCRIBANO, EDWIN X       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESCRIBANO, JOSE N.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESCUDERO, REINALDO J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESMURRIA, ADA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPADA, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPADA, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPADA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPADA, LUISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPADA, MARTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPADA, MICHELLE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPADA, PAULA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPARRA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPARRA, MARIE CH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPENDEZ, NIDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPINELL, ADELAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPINELL, DAISY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPINELL, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPINELL, SILVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPINO, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPINOSA, MARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPINOSA, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPINOSA, ROBERT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPINOSA, ROBERTO S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESPINOSA, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESQUILIN, ALEXIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESQUILIN, ALEXIS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESQUILIN, GABRIEL G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESQUILIN, GLENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESQUILIN, HECTOR L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESQUILIN, PEDRO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESQUILIN, SHAYNA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESQUILIN, WANDA IBELIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESQUILIN, YAMILKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESQUILIN, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTADES, JEDITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTADES, JEDITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTADES, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTELA, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5125 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 126 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ESTELA, RAMON A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTERA, TANINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTEVA, TANINA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, CARIDAD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, CARIDAD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, ELBA B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, GLENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, HAROLD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, IVONNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, JUAN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, KARILYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, LYMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRADA, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRELLA, CARLOS E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTRELLA, RICHARD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTREMERA, BERENITH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTREMERA, BERENITH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTREMERA, BRUNILDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ESTREMERA, JOSE W        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FABREGUES, PATRICIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FAJARDO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FAJARDO, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FALCON, ANGELICA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FALCON, IDA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FALCON, MELBA G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FALCON, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FALU, JOSE C.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FALU, MARIANELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FALU, MISAEL N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FALU, ODETT L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FALU, ODETT L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FALU, YAMITEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FANTAUZZI, ANGELITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FARGAS, MANUEL F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FARGAS, MARIA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FARIA, FELIX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEAL, AIDA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEAL, MONICA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBLES, CESAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBLES, LUIS O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBLES, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBLES, NEYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5126 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 127 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA FEBO, BERELYN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBO, LUISA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBO, MARGARITA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBO, MAYRA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBO, NOEMI               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBO, TERESA D            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBRES, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBRES, CATHERINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBRES, IRVING A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBRES, JORGELUIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBRES, LUIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBRES, MARIA DE FATIMA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBRES, RAMONA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBRES, SANDRA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBRES, WILBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBRES, WILLIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBRES, WILLIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBUS, ADALBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBUS, JOSE               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBUS, JOSE L             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBUS, LUIS R.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBUS, MARIA V            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBUS, MARITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBUS, VASTY M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBUS, VICTOR M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEBUS, WILFREDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEICIANO, JORGE L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELIBERTY, PAMELA T       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, ADA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, ALEXIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, ANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, ANDREA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, ANGEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, ANGEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, ANTONIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, AXEL J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, BRUNILDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, BRUNILDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, CARLOS M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, CARMEN S       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, DAVID A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, DILCA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, ELMER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, ENID           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, ERIK           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, FELIPE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, FELIX          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, GLORIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, HILKAMARIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5127 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 128 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA FELICIANO, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, IRIS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, IRIS H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, IRIS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, JACKELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, JACKELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, JEANETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, JEIDY D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, JEIDY D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, JESUS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, JUAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, JULIO A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, KEILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, KENDRA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, KEYLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, LENNYS Z.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, LIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, LIZA J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, LIZA J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, LOALY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, LUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, LUZ O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, LYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, MARIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, NEFTALI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, NEIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, NELLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, NEREIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, NORMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, OSCAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, RUTH E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, RUTH E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, SARAHI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, SUHEILY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, VICTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, YOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, ZORAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, ZORAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, ZULMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIANO, ZULMA Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELICIE, ERIKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5128 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 129 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA FELIX, ANTHONY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELIX, GRISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELIX, JOAQUIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELIX, JOSHANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELIX, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELIX, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELIX, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELIX, NORA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELIX, WILLIAM A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FELIX, ZULMA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEO, CARMEN I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FEO, ROSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERMAINT, IRAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERMAINTT, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERMAINTT, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, AISHA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, ALEXIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, ANGELICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, ANGELICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, BENJAMIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, BEVERLY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, BEVERLY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, DIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, DIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, ELBA W        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, ELBA W        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, ELIAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, ELISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, ELSIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, FRANCIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, HERIBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, IVETTE M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, JACKSON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, JAMES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, JOSEFINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, JUAN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, KATHIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, KATHIE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, KEIMY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, LUIS RAUL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, LUIS RAUL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, LYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, LYDIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5129 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 130 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA FERNANDEZ, MANUELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, MARIELYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, RICARDO R.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, TANIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, VERONIKA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, VERONIKA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, WILMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDEZ, WILMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDINI, EDITH C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDINI, NANCY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERNANDINI, NANCY E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRA, HECTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRA, HECTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, ADA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, ALEJANDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, BETTY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, DAINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, DAINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, IRVING           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, JORGE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, MARANGELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, MARANGELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, MILTON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, NAVAL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, RAUL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, RUTH N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, ZULIET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRER, ZULIET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FERRERIS, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIEGUEROA, GABRIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEREO, ANA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEREO, CANDIDA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ALINA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ANGEL R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ANGELA N.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ANGELITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ANGENID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ASUNCION       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, BATRICH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, BENJAMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5130 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 131 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA FIGUEROA, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, CARLOS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, CARLOS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, CHRISTIAN J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, CRISTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, CRISTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, CRISTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, DAHILINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, DALIBETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, DALILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, DARLENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, DARLENE J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, DARLENE J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, DEBORAH L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, DIMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, DOMINGO L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, EDGARDO L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, EDNA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, EDWIN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, EFREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ELIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ELISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ELISABET       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ELIZZETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ELIZZETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, EMMANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ENEIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ENID J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ERIC E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ERIC G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ESTHER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, EVELYN V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, EVELYNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, GERARDO L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 132 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA FIGUEROA, GLORIA ANTONIA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, GLORIA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, GLORIMAR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, GRISELLYS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, HECTOR A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, HECTOR L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, HECTOR LUIS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, HERIBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, HILDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ILEANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, IRIS E.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, IRIS N           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ISAAC            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ISABEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, JANICE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, JAVIER           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, JERIKA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, JESSICA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, JESSICA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, JOSE E.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, JOSE H           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, JOSE I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, JOSE R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, JOSUE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, JOSUE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, JUAN O           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, JUSTO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, KAREN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, KAREN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, KARLA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, KELVIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, KYSHA S.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LILIBETH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LILLIAM E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LISANDRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LISANDRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LISANDRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LISANDRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LIZA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LOURDES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LUIS R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LUISA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LUZ M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LUZ M.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5132 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 133 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA FIGUEROA, LUZ MARIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LYDIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LYDIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LYDIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LYDIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, LYNDAMARI        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MAGRIE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MARIA DE L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MARIA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MARIA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MARIA ESTHER     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MARIELY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MARIELY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MARISA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MARTA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MARTA A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MARTHA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MARYDELLY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MIGDALIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MIGDALIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MIRIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MIRIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, MIRTA IRIS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, NANCY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, NANCY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, NATHALIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, NELSON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, NILSA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, NILSA N          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, NYDIA N          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, OMAR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, OMAR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, OMAYRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, OMAYRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ORCETTE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ORLANDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ORLANDO L.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, PATRICIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, PEDRO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, RAFAEL A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, RAFAEL A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, RAFAEL D         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, RAFAEL D.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, RAQUEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, REINALDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, RENE D           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5133 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 134 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA FIGUEROA, RENE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, RITA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ROELFI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ROELFI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, RUTH D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, SHIRLEY M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, SOCORRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, STEPHANIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, SYLVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, VICTOR J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, VIRGILIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, WILDARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, YAJAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, YAMILIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ZAIDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ZAIDA LEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FIGUEROA, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FILOMENO, LUZ D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FILOMENO, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FILOMENO, RAMON A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLECHA, AGAPITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLECHA, BLANCA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLECHA, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORENCIANY, BLANCA H    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, AIDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, ANA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, ANGELICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, ANIBAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, CARLOS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, CARLOTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, CARMEN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, CARMEN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, CELSO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, DORIS I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, EDILIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, ELIAZIB          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5134 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 135 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA FLORES, GLORIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, HAROLD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, HECTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, HERY G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, IRIS S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, JANICE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, JANITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, JENNIFER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, JIMMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, JIMMY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, JOANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, JOAQUIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, JOHANNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, JOHSUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, KETSYANN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, KETSYANN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, LEYDA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, LLANILIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, LUZ M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, LUZ M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MARCOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MARIA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MARIA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MARINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MAYRA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MAYRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MELANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MELISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MICHELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MICHELLE B       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, NATASHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, NYDIA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, NYDIA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, OSCAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 136 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA FLORES, PABLO A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, PAULA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, PAULA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, RAMONA D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, SHAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FLORES, SYNDIA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONALLEDAS, DALYMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONALLEDAS, DALYMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, CARLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, CARLA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, CARLOS F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, GLORIA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, JANET B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, JOSE J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, LISMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, LISMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, LUZ A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, LUZ A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, MAYDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, OSVALDO A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, RODRIGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, RUTH K          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, RUTH K          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, UALIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONSECA, WALDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTAN, GAMALIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTAN, IDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTAN, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTAN, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTAN, WILLIAM R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANET, OLGA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, ADA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, BRENDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, CESAR E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, DAISY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, DEBORAH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, ESTEVAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, FE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, IRMA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, LOURDES E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 137 of 2285
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA FONTANEZ, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, MARIE C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, MARIE C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, MARK A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FONTANEZ, SELENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FOURNIER, IVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FOURNIER, YAN C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRAGUADA, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRAGUADA, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRAGUADA, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCES, ADA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCES, MIREILE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCES, MIREILLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCESCHI, FRANK        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCESCHI, MARLINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCESCHI, MARLINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCESCHI, REINALDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCESHINI, CARLOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, ANTONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, ELIEZER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, JUAN P           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, MARIA T.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, SHARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, SHARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, SHARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, VILMA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, VILMA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, YOMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, YOMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCO, YOMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANCOIS, JOSEPH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRANQUI, SHAURI I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRATICELLY, MARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FREIRE, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRESE, KARLA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRESE, KARLA CRISTINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRESE, KAROLINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRESSE, LIVIA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FRET, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FREYTES, LILLIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FREYTES, NELLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5137 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 138 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA FUENTES, AIDA LUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, ALBA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, ANA CECILIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, ASHLEY Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, CARLOS F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, EDNA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, ESTEBAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, GLADIBELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, HECTOR L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, HEIDY M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, IVIS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, JACKELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, JOSE E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, JUAN C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, JUAN C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, KARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, KARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, MAGDA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, MARIDALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, MERCEDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, MERCEDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, NEFTALI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, NYLVIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, OLGA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, PEDRO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, RAMIRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, RAYMOND         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, RIGOBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, RITA O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, TAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, TAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, TERESA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, TOMAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5138 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 139 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA FUENTES, VIOLETA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, VIOLETA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, YOLANDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUENTES, YOLANDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUERTES, CARMEN M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUERTES, JUANITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA FUERTES, MARIA DEL C      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GABINO, MARITZA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GABINO, MARITZA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GABRIEL, HECTOR L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GAETAN, CARLOS J.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALAN, EDUARDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALAN, REYNALDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALARZA, AIDA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALARZA, CRUZ             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALARZA, DOUGLAS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALARZA, FERNANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALARZA, FERNANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALARZA, FRANCISCO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALARZA, IZAAC PAUL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALARZA, JOSE R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALARZA, LUZ N            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALARZA, MARITERE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALARZA, RAUL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALARZA, ROBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALARZA, WALKY M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALARZA, WILFREDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALI, ANGEL L.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALINDO, DILEAN JOHANNE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALLOZA, MIGDALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALLOZAA, NEREIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALVEZ, AITZA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GALVEZ, MARIA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GAMBARO, SONIA I.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GANDULLA, ALEXIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GANZALEZ, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARAY, CANDIDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARAY, CARMEN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARAY, CARMEN M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARAY, JARITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARAY, MARIA S            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARAY, MELISSA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARAY, MELISSA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARAY, NELIDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARAY, SANTA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARAY, VIC MANUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCED, AIDA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ADA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ADA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 140 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GARCIA, ADA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ADALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ADARILYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ADARILYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, AGUEDO E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, AIDA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, AITZA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ALEJANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ALVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, AMARELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, AMELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ANDREITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ANGEL M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ANGEL X.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ANGELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ANGELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ANGELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ARIEL I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ARIEL I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ARLENE Y.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, AUREA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, AWILDA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, BENJAMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, BIANCA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, BRENDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, CANDIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, CARLOS L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, CARMEN S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, CHRISTIAN O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, CLARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, CLOTILDE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, CRISTINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, DAVID A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, DEBORA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, DENNIES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, DIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5140 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 141 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GARCIA, DORIS E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, EDWIN D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ELSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ELSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ENID CRISTINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, EVA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, FELIPE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, FRANCISCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, GABRIEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, GEYSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, GINAMARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, GLADYS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, GLADYS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, GLORINETT        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, HECTOR L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, HEIDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, HILDRED D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, IDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ILIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, IRMA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, IRMA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ISMARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, IVONNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JANINE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JAVIER G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JAZMILIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JELINSKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5141 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 142 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GARCIA, JESSICA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JESSICA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JESSICA LESLIER   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JESUS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JORGE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JORGE A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JOSE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JOSE A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JOSE A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JOSE ANGEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JOSE F            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JOSE J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JOSE J.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JOSE L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JUAN C            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JUAN R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JUAN R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JUAN R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, JUSTINO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, KAREM             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, KARLLANETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, KATHERINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, KIZIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, KIZIA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LEMUEL A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LILIBETH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LISANDRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LISANDRO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LIZAIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LORENIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LORENIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LOURDES           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LOURDES           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LOURDES M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LOURDES N         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUIS A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUIS A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUIS A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUIS A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUIS A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUIS A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUIS D            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUIS G            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUIS I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUIS I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUIS N.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUIS O            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 143 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GARCIA, LUIS O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUIS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUZ A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUZ D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUZ M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LUZ M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LYMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, LYMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MALVINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARIA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARIA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARIA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARICELLY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARISEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MAYRA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MAYRA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MIGDALIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MIRDA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, NILDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, NILDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, NORMA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 144 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GARCIA, NYDIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, OSCAR E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, PEDRO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, RAMONA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, REYNALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ROBERTO C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, RONALD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ROSA H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ROSANY E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ROSAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, RUBEN JOSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, RUTH M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, SANTOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, SAYEIL B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, SAYEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, SINDIALI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, SONIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, SONIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, SUTTHER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, SUTTNER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, SUTTNER I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, TEODOSIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, TEOFILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, VICTOR H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, VICTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, VIDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, VIRGINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, VIRTUOSO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, VIRTUOSO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, WALESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, WANDA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, WANDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5144 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 145 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GARCIA, WILFREDO J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, WILFREDO J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, YARELIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, YEIDRA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, YOLANDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, YORELIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIA, ZAIDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARCIANI, JUAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARNICA, MARIA L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GAROFALO, FRANCISCO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GARRASTEGUI, DANUSKA D.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GASCOT, ARELIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GASCOT, ARELIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GASCOT, MICHELLE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GASCOT, MICHELLE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GASTON, CHRISTIAN M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GASTON, FABIOLA A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GAUD, FATIMA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GAUD, FRANCISCO J.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GAUTHIER, DIARELIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GAUTIER, DIARELIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GAVINO, ANA G             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GEIER, AURORA T.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GEIER, JORGE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GEIGEL, MARIO E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GELPI, DILLIAM J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GELPI, DILLIAM J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GENARO, LIZYNET           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GERALDINO, JUAN R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GERARDINO, CARMEN M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GERENA, CARLOS D.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GERENA, DENNIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GERENA, JUAN C            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GERENA, LEONEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GERENA, SANDRA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GERENA, SHEILA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GERENA, SHEILA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GERENA, WANDA G           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GHIGLIOTTY, CALIXTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GHIGLIOTTY, DELMA Z       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GHIGLIOTTY, IRASEMA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GIBOYEAUX, JOSE I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GIBOYEAUX, MARTIN O       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GIBOYEAUX, YAILYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GIERBOLINI, JOSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GIERBOLINI, JOSE M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GIERBOLINI, NELSON J.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GIL, IRMA                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GIL, PEDRO J.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5145 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 146 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GILL, PETER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GINES, ABNER A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GINES, ABNER A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GINES, CARLOS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GINES, KEILA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GINORIO, CARMEN V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GINORIO, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GIOVANETTI, IRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GIRAU, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GIRAU, NOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GIRAUD, CESAR S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GIRAUD, ROSA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GIRIBALDI, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GIRONA, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOLDEROS, AXEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOLDEROS, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, AMARILYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, ANERIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, AZALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, CAMILLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, DANIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, DARLY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, DELIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, DIANNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, DIGNALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, DIGNALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, DORIS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, ELISAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, ELSA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, GABRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, ILEANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, IRMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, IRMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, IVETTE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, JESANIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, JOSE E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, JOSEPH A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, LILLIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, LOURDES M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, LUCIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, LUIS R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, LUZ D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 147 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GOMEZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, MARLEENE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, MIRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, NORA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, NORA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, NORA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, NORA O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, SOCORRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, VICTOR M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, VIRGEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, VIVIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, WENDY J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, ZAIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, ZULMA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, ZULMA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOMEZ, ZULMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONALEZ, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONSALES, EDELIS G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ADA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ADA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ADELITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ADIANEZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, AIDA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ALEX O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ALFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ALICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ALIDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ALIZARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, AMALIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANA H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANA LUISA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANDREA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANDRES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5147 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 148 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GONZALEZ, ANGEL M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANGEL MANUEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANGEL R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANGEL R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANGELES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANGELICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANGELICA R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANGIE Y.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANTONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ARCELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ARELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ARLEEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ARLENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ARNALDO R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ARTURO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, AWILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, BENOLVI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, BETZY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, BETZY E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, BRENDA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, BRYAN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARLOS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARLOS O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARLOS O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMELINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMEN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMEN D.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMEN G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 149 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GONZALEZ, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMEN L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CAROL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CATALINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CATHERINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CHRISTIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CONCHITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CRISTINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, CRISTOBAL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, DAISY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, DAISY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, DAISY I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, DALMA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, DANIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, DENISE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, DIFREDO A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, DILLIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, DILLIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, DORA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, DORCAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ED OMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EDICEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EDITH M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EDITH M M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EDWIN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EDWIN U        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ELBA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ELBA ROSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ELEANNIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ELISABET A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ELIZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ELMER J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EMILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EMILY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EMILY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EMINELIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GONZALEZ, ENEIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ENEIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ENID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ERIC J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ERICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ERICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ERNESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ERNESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ESMERALDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ESTHER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EUGENIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, EVELYN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, FERNANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, FERNANDO G     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, FERNANDO L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, FRANCES M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, FRANCHESKA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, FRANCISCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, FREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, GILBERTO L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, GLADYS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, GLADYS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, GLADYS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, GLADYS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, GLORIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, GLORIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, GUILLERMINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, HARRY R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, HECTOR R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, HECTOR R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, HECTOR R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, HECTOR V.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, HEIDY V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, HERIBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, HILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ILIAMIL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ILKA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, IRIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, IRIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, IRIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZÁLEZ, IRIS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5150 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 151 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GONZALEZ, IRIS N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ISABEL C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, IVETTE E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JABDIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JAMILET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JAMILET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JAMILET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JANEVETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JANIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JEAN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JENNY L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JESUS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOAQUIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOEL H.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JORGE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JORGE I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JORGE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE LUIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE MIGUEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSE R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JOSUE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JUAN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JUAN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JUAN B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JUAN F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JUAN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JUAN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5151 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 152 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GONZALEZ, JUAN J           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JUAN MANUEL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JUANA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JUANA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JUANITA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JUDITH           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JUDITH           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JULIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JULIO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, JULITZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, KAREN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, KARLO A.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, KATHERINE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, KENIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, KRIZIA M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LAURA C          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LEMUEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LEMUEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LESTI            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LILLIAM ALICIA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LINDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LISANDRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LITZA ENID       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LIZA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LIZA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LIZMARIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LIZMARY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LOEDNY Z.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LOURDES E.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LOYDA E.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LUCILA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LUIS A.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LUIS R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LUZ              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LUZ E            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LUZ H            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LYDIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LYDIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LYDIA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, LYDIA M.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5152 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 153 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GONZALEZ, MABELIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MAIDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MALEANE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MANUEL R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIA DE L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIA DE L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIA DE L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIA DE LOS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIA DEL C.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIA ESTHER   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARICARMEN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARIELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARITSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MARYLYN V.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MELBA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MELISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MELISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MELISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MELVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MILAGROS J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MILDRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MINELLIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MONSERRATE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5153 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 154 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GONZALEZ, MORAIMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, MYRIAM E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NATALIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NAYDA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NELIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NELIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NERISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NESTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NICOLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NILDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NILSA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NORBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NORILIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ODARISSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, OFELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ONEIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ORLANDO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, OSVALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, OSVALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, PASCUAL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, PATRIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, PEDRO J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, PEDRO JOSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, PRISCILA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, PRISCILLA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RAFAEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RAFAEL O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RAFAELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5154 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 155 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GONZALEZ, RAMON           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RAMON ANTONIO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RAMONITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RAUL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RAUL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RAUL E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RAUL J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RICHARD         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ROBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ROBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RODNEY J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ROLANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ROSA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ROSA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ROSA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ROSA N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ROSEMARY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RUBEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RUBEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RUTH            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, RUTH E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, SAIKALIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, SAIKALIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, SAMARIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, SANDRA E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, SARA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, SATURNINO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, SENNY M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, SHEILA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, SONIA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, SUZETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, SYLVIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, SYLVIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, VICTOR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, VICTOR K        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, VICTOR LUIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, VICTOR M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, VIRGINIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, VIRGINIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, WALESKA I.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, WANDA DEL C     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, WANDA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, WENDY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, WILDA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, WILLIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, WILLIAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, WITO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YADIEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YADIRA P        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 156 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GONZALEZ, YAHAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YAHAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YAHLIZBETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YAJAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YAJAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YALIBETH C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YAMIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YAMILI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YANELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YANIRIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YARA V.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YEIDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YEIDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YELITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ZAIDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ZAIDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GONZALEZ, ZENAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GORDIAN, GRISHEIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GORDILLO, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GORDON, LEONEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOTAY, EILEEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOTAY, ENID M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOTAY, ILBIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOTAY, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GOYCO, IRENE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GRACIA, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GRACIA, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GRACIA, KIMBERLY C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GRACIA, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GRACIANI, CAROLINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GRACIANI, CAROLINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GRAJALES, MARIA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GRAU, IRMADY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GRAU, LAURA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GRAU, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GRAU, MILDRED M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GRAU, RAMON B.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GRAU, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GRAU, SYLVIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GRAULAU, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GREEN, ILEANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GREEN, MICHAEL J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GREEN, SONIA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GREGORY, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUADALUPE, ALEXANDER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUADALUPE, DIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 157 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GUADALUPE, IGNACIO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUADALUPE, JOSE J           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUADALUPE, JOSE M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUADALUPE, JULIO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUADALUPE, MARTHA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUADALUPE, SOCORRO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUADALUPE, WILLIAM          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUARDIOLA, ALVIN R.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUARDIOLA, CARLOS           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUARDIOLA, PERLA I          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUASP, ZAYRA L              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUERRA, ABRAHAM             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUERRA, CARMEN LUZ          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUERRA, JOSE L              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUERRA, MARGARITA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUERRA, MIREYA E.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUERRERO, MILAGROS          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUERRERO, MILAGROS          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUERRERO, ROSABELL          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUERRERO, UBALDO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUERRERO, UBALDO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUERRERO, VANESSA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUERRIDO, ALEIDA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUEVAREZ, AMPARO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUEVAREZ, AMPARO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUEVAREZ, ELIZABETH         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUEVAREZ, ELIZABETH         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUEVAREZ, JOHNNY            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUEVAREZ, ROLANDO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUILBE, JOSEFRAIN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUILLAMA, ARIEL             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUINAND, JOSE               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUINDIN, SARY M             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUINDIN, SARY M             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUISAO, DANIEL              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUISHARD, ESTEBAN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUISHARD, JUANA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, ALEXANDER        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, AMARILIS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, DELY I.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, GLORIA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, HECTOR           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, HECTOR L         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, HECTOR L.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, IRIS E.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, JAVIER           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, JUAN FRANCISCO   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, MANUEL A         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, MARALIZ          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5157 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 158 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GUTIERREZ, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, MORAIMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, OLGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, PAUL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, RADAMES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, SHEILA N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUTIERREZ, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, AIDA LUZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, ALMA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, AMILCAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, AMILCAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, ANDRES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, ANDRES A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, ASHMEDALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, ASHMEDALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, CRUZ MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, DORILLY A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, ELIAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, EMERITO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, ESTHER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, FRANCISCO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, HILDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, ILIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, ISHTAR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, JANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, JANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, JASON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, JAVIER O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, JEANETTE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, JULIO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5158 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 159 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA GUZMAN, KARELY A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, KAREN I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, LUZ V.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, MARIA DE LOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, MARIA DE LOS A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, MARIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, MIRIAM E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, NAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, PRIMITIVO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, RAFAEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, RUBEN JOSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, RUTH L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, SARAI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, SARAI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, TANIA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, WILMER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, YAMINETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, YOLANDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA GUZMAN, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HADDOCK, CARMEN L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HANCE, EVA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HANCE, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HANCE, MARIA DE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HENANDEZ, JESUS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HENRIQUEZ, JOSE J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HENRIQUEZ, LUIS S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HENRIQUEZ, MARLYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HEREDIA, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HEREDIA, CARMENCITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HEREDIA, JOSEPH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HEREDIA, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HEREDIA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HEREDIA, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HEREDIA, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HEREDIA, SARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNAIZ, LUZ I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNAIZ, LUZ I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNAN DEZ, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ADA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, AIDA LUZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, AIDYLIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5159 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 160 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA HERNANDEZ, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ALEX IVAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ALMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ALONDRA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, AMAURY J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ANA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ANA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ANGELA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ANGELICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ANIBAL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ARACELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ARMANDO L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ARMANDO L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ARTURO A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ASTRID I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, BEATRIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, BRENDA LEE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, BRENDA LEE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, BRICEIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, CARLOS A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, CARLOS R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, CARMEN M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, CARMEN M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNÁNDEZ, CARMEN M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, CELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, CESAR J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, CHRISTIAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, CYNTHIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, CYNTHIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, CYNTHIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, DEBORAH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, DIONISIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, EDUARDO E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ELBA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ELBA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ELIGIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ELISMARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ENID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ENID Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5160 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 161 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA HERNANDEZ, FELICITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, FELIX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, FELIX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, FELIX O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, FERNANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, FERNANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, FLOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, FRANCIS O     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, GILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, GLAMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, GLAMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, GLORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, GLORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, GLORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, GLORIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, GRACIELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, HECTOR L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, HERIBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, HILDA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, HIPOLITO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, HIRAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, IRVING G.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, IVAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, IVAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, IVAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, IVONNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JACQUELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JAIME L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JANET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JAQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JAVIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JAVIER O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JEANETTE V    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JEANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JEANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JEFFREY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JESIELYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JESSICA K     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5161 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 162 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA HERNANDEZ, JESUS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JESUS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JESUS O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JEUDIEL R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JEUDIEL R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOANA P       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOHANNA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOHANNNA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JORGE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOSE G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOSE LUIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JOSE Z        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JUAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JUAN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JUAN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JUAN I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JUANA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JUANITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JULIE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, JULIO E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, KEYCHA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, KEYLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, LILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, LINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, LINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, LIS O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, LIZENETTE M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, LUCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, LUIS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, LUIS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, LUZ HAYDEE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, LYANNIE J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MAGDALENA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MANUEL E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARCIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5162 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 163 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA HERNANDEZ, MARGARITA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARIA D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARIA DE L.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARIA E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARIA H        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARIA H        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARIA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARIA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARIA P        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARIA S        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARIEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARILUZ        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARILYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARISOL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MARY L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MELIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MIGDALIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MIGUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MIGUEL A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MIGUEL ANGEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MILLY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MILLY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MIRTA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, MONICA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, NELSON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, NELSON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, NELSON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, NEYSHA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, NILSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, NOEMI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, NORMA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, OSVALDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, PRIMITIVO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, RACHAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, RAMONITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, RAUL A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, REINALDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, RICARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, RICHARD        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, RICHARD Y      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ROSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, RUBENEDITH     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, RUBENEDITH     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, RUBENEDITH     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, SALVADOR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, SANDRA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 164 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA HERNANDEZ, SAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, SHIRLEY M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, SILVIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, STEPHANIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, STEPHANIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, SUHEIL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, SUHEIL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, TANISHA N     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, TERESITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, THISBET       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, TITO O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, TOMAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, VALERIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, VICENTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, VICTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, VICTOR O.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, VILMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, WANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, WILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, WILLIAM J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, WILMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, WISAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, YAHAIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, YAIDALICE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, YARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, YESENIA B     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ZORAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERNANDEZ, ZORAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERRERA, NANCY R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERRERA, PROVIDENCIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERRERA, PROVIDENCIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERRERA, SOCORRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HERRERO, JUAN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HIDALGO, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HIDALGO, ISMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HIDALGO, RUTHSY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HIRALDO, LUZ D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HIRALDO, LUZ D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HORRACH, JOSE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HORRACH, NORMA IRIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HOYOS, HILDEWALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HOYOS, IDAMARYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HOYOS, IDAMARYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HOYOS, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HOYOS, SYNTHIA ENID      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5164 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 165 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA HUERTAS, BETH Z          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HUERTAS, CARMEN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HUERTAS, CARMEN M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HUERTAS, GUIDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HUERTAS, HAYDEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HUERTAS, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HUERTAS, JINETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HUERTAS, MIGDALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HUERTAS, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HUERTAS, SANDRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HUERTAS, SASHA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA HUERTAS, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IBARRA, CONRADO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IGARTUA, IRIS B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IGARTUA, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IGLESIAS, ERNESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IGLESIAS, ERNESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IGLESIAS, LIZETTE E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IGUINA, AGNES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ILARRAZA, MARIA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ILARRAZA, MYRNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ILARRAZA, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ILDEFONSO, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ILDELFONSO, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA INCHAUTEGUI, ANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA INDART, IDA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA INDART, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA INOA, ALEX J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA INOA, MELBA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA INOSTROZA, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA INSERNI, CIARA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRI, DIOMARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, ADAN A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, AIDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, ALEXANDER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, ANA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, ANGEL M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, ANGELICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, ARIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, BLANCA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, CARLOS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, CARMEN A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, DENICE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, DIADELIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5165 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 166 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
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                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA IRIZARRY, ENRIQUE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, EVANGELINE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, FRANCISCO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, GLORIMIR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, JAIME E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, JESUS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, JOMARIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, JORGE A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, JORGE L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, JOSE D           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, JOSE E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, JOSE V           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, JULIA K.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, JULIO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, LOARINA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, MADELINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, MARIA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, MARIA MILAGROS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, MARIANA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, MARTY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, MAYRA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, MAYRA A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, MIRIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, MIRIAM M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, NATIVIDAD        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, NELSON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, NELSON G         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, RAMON A.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, REYES            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, RICARDO A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, RITA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, ROBERTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, ROSA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, ROSA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, SCHERAYZA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, SONIA J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, SONIA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, STACY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, VIRGENMINA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, WANDA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, WANDA ENID       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, YAMILETTE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, ZORAIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5166 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 167 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA IRIZARRY, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRIZARRY, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IRRIZARRY, VERALINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ISAAC, CHONTAIN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ISAAC, ELSIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ISAAC, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IZQUIERDO, AIDA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IZQUIERDO, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IZQUIERDO, DENISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IZQUIERDO, JORGE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IZQUIERDO, PEDRO C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA IZQUIERDO, SANTIAGO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JACA, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JAIME, ROSA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JAIME, ROSA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JANEIRO, CYNTHIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, ABNERIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, ABNERIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, AIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, ANGEL F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, ARCILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, ARMANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, BERNARDA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, BLANCA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, CARLOS O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, CARLOS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, CARMEN G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, CARMEN N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, CARMEN S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, CARMEN S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, CLARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, CRISTIAM M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, DIEGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, EDGA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, EDWIN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, ELENA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, FRANCISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, GLADYVIRG       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5167 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 168 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA JIMENEZ, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, IRIS N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, ISIDORA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, JEAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, JOSE W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, JUSTINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, LESBIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, LETICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, LOURDES A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, LUIS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, LYULMA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, MARICARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, MYRNA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, NAYDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, NORALMIL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, NYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, PAOLA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, RAFAEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, RAFAEL G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, REBECCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, TERESITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, THAEANN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, WALDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, WANDA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, ZENIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5168 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 169 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA JIMENEZ, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JIMENEZ, ZULEYKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JORDAN, CRUCITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JORGE, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JORGE, OLGA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JOURNETT, AUREA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JOURNETT, BLANCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JOVET, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JOVET, YVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUANATEY, EDUARDO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUARBE, EDAYRA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUARBE, JOHANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUARBE, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JULBE, SAHARELLIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JULBE, VALERY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUMENEZ, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JURADO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUSINO, ANGEL L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUSINO, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUSINO, GLENDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUSINO, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUSINO, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUSINO, LUIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUSINO, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUSINO, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUSINO, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUSTINIANO, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUSTINIANO, CARLOS A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA JUSTINIANO, DALMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA KIRKCONNELL, OSCAR M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA KUILAN, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LA LUZ, OLGA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABARCA, EDGARDO R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOIDA, FRANCES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOY, CARMENCITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOY, EDNYBET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOY, FABIOLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOY, GERARDO W         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOY, IVETTE E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOY, JOSEAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOY, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOY, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOY, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOY, LUIS R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOY, MONICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOY, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOY, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOY, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOY, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 170 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA LABOY, WANDA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABOY, ZAIKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABRADO, EMMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABRADOR, ISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABRADOR, IVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABRADOR, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LABRADOR, MARIA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LACEN, JEANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAFFITTE, ALEX J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAFUENTE, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAGO, ALEJANDRINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAGO, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAGO, LOURDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAGO, MARIA DE LOS A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAGOA, EDGAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAGOA, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAGOA, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAMBERTY, GEANCARLO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAMBOY, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAMBOY, JAYSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAMBOY, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAMBOY, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAMBOY, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAMBOY, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAMOURT, EVA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAMPON, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAMPON, MARIJULIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LANCARA, ERIC M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LANDRAU, ESPERANZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LANDRAU, JOSE S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LANDRAU, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LANDRAU, LUIS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LANDRAU, LUIS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LANDRON, DARYNEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LANDRON, DIALA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LANDRON, LILLIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LANDRON, LILLIAN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LANDRON, MYRNA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LANDRON, SANDRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAO, LUDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAPE, CHRISTIAN R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAPORTE, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAPORTE, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAPORTE, MAXIMINO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAPORTE, MAXIMINO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAPORTE, OLGA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LARA, BELENCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LARA, BELENCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LARA, DELISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5170 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 171 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA LARA, MARIELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LARA, RAMON L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LARA, ZULMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LARACUENTE, ADRIAN F     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LARACUENTE, CRISTINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LARRAGOITY, LYDIA C.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LARROY, DIANA IVELISSE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LASANTA, DORIS H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LASANTA, LETICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LASANTA, NESTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LASANTA, NESTOR D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LASANTA, NESTOR D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LASSEN, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LATIMER, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LATORRE, HERONILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LATORRE, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LATORRES, MANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAUREANO, BARBARA .      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAUREANO, GRISELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAUREANO, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAUREANO, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAUREANO, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAUREANO, MARIELLYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAUREANO, MINERVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAUREANO, NANCY I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAUREANO, NORMA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAUREANO, WARNELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAUREANO, WARNELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAUREANO, ZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAWRENCE, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAWRENCE, JOSSELIE M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAZU, JUAN A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAZU, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LAZU, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, ADA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, ADELAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, ADELAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, ADNUSHKA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, ALVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, ANGEL G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, ANGEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, CARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, CARLOS R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, EDNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, EDNA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5171 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 172 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA LEBRON, EVA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, FELWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, GENARO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, GENARO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, HAROLD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, JENIFFER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, JOHNNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, JOMARA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, JORGE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, JOSE G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, JUAN J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, JULIO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, KAREN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, KEISHLA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, LILLIAM I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, LIZETTE C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, LUIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, LUIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, MAGDA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, MARIELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, MARIELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, RAMON L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, SAMUEL I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, SONIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, SONIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, SONIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, SONIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEBRON, VICTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEDEE, CARLOS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEDOUX, GABRIELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEDOUX, JAZEF            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEFEBRE, CHRISTOPHER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5172 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 173 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA LEON, ANTHONY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, ANTONIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, DAMARIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, ELIZABETH           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, ERIK A.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, JESUS M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, JOSE                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, LUIS A              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, LUIS A              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, LUIS F              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, LYDIA E             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, MADELINE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, MAGALI              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, MARGARITA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, MARIANO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, MIGUEL A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, MIRIAM              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, ORIALYS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, RENE                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, SOLARITZA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, SUSANA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, SUZETTE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, VIRGEN S.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, WILSON              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LEON, WILSON              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LIMA, AMALIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LIMBERT, IDALIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LIMBERT, IDALIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LIMBERTH, AIDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LISBOA, ELYNES            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LISBOA, EVA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LISBOA, MARIA ANTONIA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LISBOA, MONSERRATE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LISOJOS, MIRYAM E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LIZARDI, ASHLY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LIZARDI, RUBEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LIZARDI, RUBEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLANERA, AILEEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLANERAS, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLANOS, ALOHA E.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLANOS, ALOHA ENID        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLANOS, JULIO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLANOS, JUSTINA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLANOS, MARIA DEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLANOS, WILLIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLANTIN, WILLIE DE LA C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLERA, HECTOR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLERA, IVETTE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLERA, JOSE ENRIQUE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5173 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 174 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA LLERA, MABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLERAS, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLOPIZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLOPIZ, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLOPIZ, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLORENS, CARLOS H.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLUVERAS, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLUVERAS, JORGE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLUVERAS, JORGE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LLUVERAS, LIGIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOMENA, JUAN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LONGCHAMPS, ROY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LONGO, GRACE Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEA, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ADA S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ADALIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, AIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ALICIA DEL MAR    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ALICIA DEL MAR    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ALICIA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ALIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ALIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ALISSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ALMA Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ANA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ANA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ANA R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ANDY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ANGEL I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ANGEL J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ANGEL M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ANGIEMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ANTHONY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ARACELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ARACELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ARCADIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ARMANDO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, AUREA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, AUREA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, AURELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, BARBARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, BAUDILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5174 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 175 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA LOPEZ, BERNARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, BETHZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, BONIFACIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, BRENDA LEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARLOS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARLOSJ J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARMEN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CARMEN V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CAROLINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CIARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CILSIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, COSME L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, CRUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, DABARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, DANIRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, DANIRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, DANNY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, DELMA D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, DELMA D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, DESIREE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, DOLORES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, DORILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, EDGARDO A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, EDNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, EDWIN O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5175 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 176 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA LOPEZ, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ELVIN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, EMELITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, EMELITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, EMMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ERIK M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ESTRELLA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, FRANCES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, FRANCES M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, FRANCHESKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, GABRIEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, GABRIEL I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, GERNAIDA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, GIAMILLY K        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, GLORIA S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, HECTOR L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, HECTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, HECTOR R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, HECTOR R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, HERMINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, HIRAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, HIRAM R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, HOWARD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, IDALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, INGRID M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, IRAIDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, IRIS D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, IRIS D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, IRIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JANITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JAVIER E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JAY M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JENNIFER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5176 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 177 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA LOPEZ, JESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JESYLMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOANNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOANNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOHN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOHN E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JONATHAN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JONIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JORGE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOSE F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOSE F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOSE F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOSE J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOSE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOSEPH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JOYCE MAGALI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JUAN M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JUANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, KAREN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, KAREN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, KARLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, KARLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, KARLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, KATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, KATHERINE B       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, KEIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, KHALILO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LEONOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LILLIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LILSA Z           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LITZA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LIZBETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 178 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA LOPEZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LUIS F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LUZ DAINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LUZ E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LUZ H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LUZ S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LUZ S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LYAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LYDIA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, LYDIA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARANCEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARCO L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA DEL C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIA V.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MAXIMINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5178 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 179 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA LOPEZ, MAXIMINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MAYRA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MIGUEL ANGEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MITZIE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, MONICA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, NELIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, NILKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, NORBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, NORETZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, NORMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, OLGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, OLGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, OLGA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, OLINDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, OSVALDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, OSVALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, PAULEANNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, PLACIDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, RAFAEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, RAFAEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, RAMON A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, RANDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, RANSEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, RAYMOND           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, REINALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, REY SANTIAGO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ROBERTO C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ROBERTO C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ROCKY D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, RODOLFO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ROSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, SABINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 180 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA LOPEZ, SANTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, SANTIAGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, SARA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, SASHMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, SHEILA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, SHEILEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, SHEILYMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, SOL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, SOL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, SOL E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, TAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, VICTOR R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, VICTOR R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, VICTORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, WANDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, WANIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, WILBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, WILLEIDA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, WILMA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, WILMA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, YAIRANISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, YAZID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, YEIDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, YILKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ZAIDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ZAIDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ZAYIRA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ZEIDA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ZUE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ZUE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ZULEYKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOPEZ, ZULMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LORENZANA, LEXIRIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LORENZO, CELINEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LORENZO, ROBINSON J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOSADA, TERESA DE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOUBRIEL, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOUBRIEL, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOYOLA, ARNALDO J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, ASBEL XAVIER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, BETSY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5180 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 181 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA LOZADA, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, CARMINA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, ELISA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, EVELYN N.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, HECTOR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, JOSE L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, LUZ               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, LUZ C             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, LUZ I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, MARIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, MERCEDES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, MERCEDES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, MYRIAM J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, NORMA IRIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, RAMON             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, ROBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, ROBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, SANDRA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, SANDRA J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, SONIA O           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, SORMARIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, TERESA DE J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZADA, VALERIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZANO, CORALYS N         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LOZANO, MIGUEL A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCCA, VIRGINIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCENA, ELIU              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, ARLENE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, ARLENE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, CARLOS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, CARMEN C         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, CARMEN E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, GUADALUPE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, JESUS A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, JOSE A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, JOSE M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, JOSE R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, JOSE RAFAEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, LEOPOLDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, LEOPOLDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, LEOPOLDO J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, LUIS M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, RITALINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, SONIA N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, SONIA N.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUCIANO, WANDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGARDO, ORLANDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5181 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 182 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA LUGO, ANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, BRYAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, EDGAR I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, ELVIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, ENRIQUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, GIOVANNI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, GLADYS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, HARRY J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, HERSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, JAZMIN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, JOSE F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, JUAN M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, KAREN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, KARLA V.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, LESBIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, LIZA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, LOURDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, LUIS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, LUZ M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, MANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, MANUEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, NATASHA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, NESTOR E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, NICOLE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, NICOLE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, NILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, NILDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, PAULA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, SONIA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, SONIA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, SYLVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, YOMARYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, ZILKIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUGO, ZILKIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUIS, BRUNILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUIS, BRUNILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, ADALIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, EDNA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5182 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 183 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA LUNA, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, JACKELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, JANDERIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, JANDERIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, JEAMEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, JEAMEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, LOURDES E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, LUIS ELIEZER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, MAYRA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, NANCY M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, PABLO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, RIGOBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, VICTOR M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUNA, WIDALYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUPIANEZ, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUQUE, ARTURO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUQUI, HILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUQUIS, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUQUIS, ELBA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUQUIS, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUQUIS, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUQUIS, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUQUIS, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUYANDA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LUYANDA, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LYNN, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA LYNN, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MACEIRA, GRISELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MACHADO, ADA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MACHADO, CLARA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MACHADO, GLORIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MACHICOTE,NITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MACIAS, EDVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MADERA, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MADERA, ALBERTO X        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MADERA, CINDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MADERA, CINDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MADERA, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MADERA, JESUS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MADERA, JOSE H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MADERA, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MADERA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MADERA, MONSERRATE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MADERA, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MADERA, PEDRO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MADERA, PEDRO J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5183 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 184 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MADERA, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAGDALENO, NORA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAGDALENO, NORA H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAGRIS, SILMA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAISONET, CARMEN J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAISONET, PALMIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAISONET, RAFAEL M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAISONET, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAISONET, RICARDO A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAISONET, VIVIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAISONET, VIVIANA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, CECILIA DEL P    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, EMILY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, GERARDO E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, JANICE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, KIMBERLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, LIMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, LIMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, LIZIE O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, MARIELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, MARIELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVE, WILSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALAVET, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ABNER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ADA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ADA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, AIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ALBERT        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ALEXANDER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, AMARILIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ANA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ANA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ARELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ARELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ARMANTINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, BARBARA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, BENITO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, BENJAMIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5184 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 185 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MALDONADO, CARLOS I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, CARLOS J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, CARLOS J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, CARMEN A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, CARMEN B       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, CARMEN E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
EMILIA
RIVERA MALDONADO, CARMEN J       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, CEFERINO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, CRISTINA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, CYNTHIA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, DAISY          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, DORIS          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, EDWARD         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, EDWIN D        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, EDWIN T        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, EILEEN         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, EILLA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, ELIZABETH      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, ELSA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, ESTRELLA E.    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, FELIX          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, FELIX L        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, FELIX L        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, FRANCHESKA L   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, FRANCISCO      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, GERARDO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, GILBERTO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, GLORIMAR       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, HECTOR         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, HECTOR         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, HECTOR         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, HECTOR L       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, HECTOR L.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, INEABELL       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, IRMA I         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, ISABEL         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, ISMAEL         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, IVELISSE       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, JACQUELINE     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, JAVIER         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, JENNY          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, JESUS M        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, JOHANA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, JOSE A         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, JOSE D         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MALDONADO, JOSE J         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5185 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 186 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MALDONADO, JOSE R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, JOSELYNE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, JOSELYNE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, JUAN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, JUAN G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, JULIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, JULIO C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, KENET J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, LAURA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, LAURA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, LESLIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, LESLIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, LISANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, LUIS MANUEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, MANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, MARIA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, MARIA T.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, MARILUZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, MARTA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, MELBA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, MILCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, MILITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, MYRNA Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, MYRTA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, NANCY L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, NATALIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, NEFI H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, NELLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, NELSON LUIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, NILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, PEDRO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, REBECA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ROLANDO L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ROSA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5186 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 187 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MALDONADO, RYAN N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, SANDRA H      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, SARAI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, SARAI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, SHEILA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, SIXTO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, STEPHANIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, STEPHANY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, SYLVIA R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, UBALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, VICTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, VICTOR M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, WIGBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, WILBERT       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, XAVIER E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, YAHAIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, YAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, YARIBELISSE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, YESENIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, YETZENIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONADO, ZAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALDONDO, RAQUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALPICA, JUANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALPICA, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MALPICA, WILLIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANFREDY, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANGUAL, AGNES E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANGUAL, CARMEN S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANGUAL, EUGENIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANGUAL, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANGUAL, KATHERINE L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANGUAL, LAURITZ EFERN   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANGUAL, MARIANELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANGUAL, NIRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANGUAL, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANGUAL, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANSO, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANSO, ANGEL RAMON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANSO, DIALMA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANSO, ELGA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANSO, ELGA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANSO, IRLI A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANSO, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANSO, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANSO, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANSO, PEDRO L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5187 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 188 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MANZANO, CARMEN F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANZANO, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANZANO, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANZANO, FRANCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANZANO, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANZANO, WENDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MANZANO, WENDY M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCANO, BARELIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCANO, GLORIA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCANO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCANO, HENRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCANO, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCANO, JOSELITO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCANO, JUAN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCANO, JULIA Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCANO, LINO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCANO, MARTA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCANO, NOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCANO, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCANO, SARAI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCANO, WILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCANO, YADIELIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCHAND, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCHAND, EDWIN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCHAND, MONSITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCHAND, MONSITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCHAND, WILMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCIAL, IVONNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCIAL, VIONETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCUCCI, ELENA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCUCCI, EUGENIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCUCCI, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARCUCCI, LYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARENGO, DEISA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARI, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARIANI, IRVING          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARIANI, LYNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARIANI, MARISEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARIANI, ROSE MARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARIETTI, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARIN, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARIN, DARIO M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARIN, ELIENID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARIN, GREGORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARIN, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARIN, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARIN, MARISEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARIN, PETER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARINI, DAIREINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5188 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 189 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MARINI, DAVID G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARINO, SANTOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARQUES, ARCADIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARQUEZ, ALEX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARQUEZ, AMARILIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARQUEZ, ANA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARQUEZ, ANA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARQUEZ, ANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARQUEZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARQUEZ, EDGAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARQUEZ, EDWIN RIVERA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
MARQUEZ
RIVERA MARQUEZ, ELBA L          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, GLORIA E        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, GREGORY         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, LETICIA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, LUIS F          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, MARIA DE LOS    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, MARIELIS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, MEREDITH        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, RICKY           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, SARA I          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, THAINA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, WANDA L.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, ZULEYKA M.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, ZULMA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARQUEZ, ZULMA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARRERO, ALEXANDER       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARRERO, ALEXANDER       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARRERO, ALFREDO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARRERO, ANA D           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA MARRERO, ANA R           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5189 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 190 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MARRERO, ANGEL L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, BETZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, BETZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, BLANCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, CARLA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, CARLOS DE J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, CARMELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, CARMEN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, CECILIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, CYNTHIA Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, DELIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, DILIA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, DORIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, EDWIN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, ELENA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, ELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, EUGENIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, FELICITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, GLADIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, GLADYVEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, GLORIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, HEMPWILL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, ILSA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, INGRID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, JAIME Y.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, JANICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, JEANNINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, JOSE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, JOSE J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, JOSE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, JOSE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, LAURIE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, LAURIE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, LILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, LORENNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, LORY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5190 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 191 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MARRERO, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, MAGALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, MANUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, MANUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, MARI R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, MARIA T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, MARINELLY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, MARYMEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, MARYMEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, MAYRA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, NAYDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, NAYDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, NEFTALI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, NESTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, NICOLASA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, NORKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, PATRIC M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, ROSA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, ROSALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, ROSALYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, ROSEMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, SARA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, SASCHA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, SOL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, SOL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, SONIA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, SONIA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, VICENTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, VICTOR J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARRERO, WALDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARSACH, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTE, RANDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTELL, AIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTELL, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5191 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 192 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MARTI, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTI, DALIXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTI, GABRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTI, IRIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTI, IVAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTI, LUIS H.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTIN, GLORIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ABIMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ADALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ADALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ADAMARYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, AIDA D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, AIDA D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ALEXANDER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ANA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ANA B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ANA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ANA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ANDRES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ANDRES E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ANGEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ANGEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ANGEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ANGEL R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ANGEL S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ANGELES J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ANTONIO E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ANTONIO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ARACELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, AUREA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, AWILDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, AXEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, BEATRICE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, BEATRIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, BECKY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, BETHAZAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, BETHZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, BETHZAIDA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CANDIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CARLA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CARLINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CARLOS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CARLOS H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CARLOS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CARLOS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5192 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 193 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MARTINEZ, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CARMEN DEL R.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CARMEN E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CARMEN M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CARMEN M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CARMEN N.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CARMEN S        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CATALINA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CECILIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CINDY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CLARA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, CYNTIA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, DAINA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, DAINA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, DAISY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, DAMARIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, DAMARIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, DAMARIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, DAMARIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, DANIEL J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, DAVID           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, DEBORAH         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, DIANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, DIANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, DIANI I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, DORALLY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EDDIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EDDIE W         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EDELMIRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EDGARDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EDNA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EDWIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EDWIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EDWIN A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EFRAIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EFRAIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EILEEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EILEEN Y        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ELBA N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ELBA N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ELIU            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ELIZABETH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ELIZABETH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ELSA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ELSA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ELVIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ELVIN J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EMILIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 194 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MARTINEZ, EMILIA Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EMILY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ERIC I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ESTRELLA L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EULALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EVA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, EVELYN Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, FELICITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, FELICITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, FELICITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, FERNANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, FERNANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, FRANCES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, FRANCIS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, GABRIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, GLADYS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, GLENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, GLENDA LEE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, GLORIMARYS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, GRACE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, HERIBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, HILDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, HIRAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, IDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, IRENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, IRIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, IRIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, IRMALIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ISADORA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, IVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JACKELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JANICE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JAZMINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MARTINEZ, JESUS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JILMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JOANNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JOAQUIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JOAQUIN R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JODSELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JOSE ANIBAL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JOSE O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JOSE O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JOSEFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JOSEFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JUANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JUANA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JUANITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JULIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, JUVENCIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, KAREN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, KATRICIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, KEVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LARIZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LARIZA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LAURA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LAZARO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LESTER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LILIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LILLIAM E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LIMARYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LISSETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LUCERMINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LUCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LUIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LUIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5195 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 196 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MARTINEZ, LUZ S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, LYNNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MADELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARIA D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARIA DEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARIA H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARIA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARTA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARTA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MARTA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MAYDE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MERCEDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MERCEDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MICHAEL A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MIGUEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MIGUELINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MILAGROS E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MILAGROS E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MILARYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MISAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MIZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, MYRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, NATASHA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5196 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 197 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MARTINEZ, NELSON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, NILDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, NIVIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, NOELIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, NORMAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, OLGA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ORLANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ORLANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ORQUIDEA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, PEDRO J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, PEDRO L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, PERLA T         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, RADYS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, RAFAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, RAFAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, RAMON           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, RAMON           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, RAMONITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, RAUL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ROBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, RODALYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ROOSEVELT       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ROSA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ROSA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ROSA HILDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ROSA HILDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ROSA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ROSARIO DEL P   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, RUBEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, SANDRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, SANDRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, SANDRA LEE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, SANTOS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, SILVIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, SOEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, SONIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, SYLVIA F        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, TAMARA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, TAMARA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, TATIANA G       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, VALERIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, VALERIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, VANESSA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, VANESSA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, VICTOR E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, VIVIAN E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, WALESKA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, WANDA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, WANDA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5197 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 198 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MARTINEZ, WANDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, WANDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, WANDIMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, WANDIMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, WANDIMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, WILMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, WILMER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, YADIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINEZ, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINZ, GUILLERMINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTINZ, GUILLERMINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTIR, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTIR, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTIS, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTIS, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTIS, SANDRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTIS, SANDRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTIS, SARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTY, CHRISTIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARTY, OSVALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARZAN, JERRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARZAN, JUANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARZAN, MANNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARZAN, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARZAN, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MARZAN, MERCEDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MASA, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MASA, MARIA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MASS, ENRIQUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MASS, ERIKA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MASS, ERIKA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MASS, TOMAS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MASSA, ANA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MASSA, LYNDA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MASSARI, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MASSINI, SORAYA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MASSO, JUANA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MASSO, NILSA B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MASSO, SANDRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATEO, ANTHONY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATEO, DECIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATEO, DECIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATEO, DILFIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATEO, GLORIA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATEO, HECTOR J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATEO, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATEO, MAGDIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MATEO, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATEO, NANCY G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATEO, NANCY G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATEO, ORESTES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATEO, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATEO, WALESKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATEO, WALESKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, ADELAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, ALEXANDER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, ALFONSO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, ANDRES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, BETSICA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, CARMEN H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, IRIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, JUANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, MARIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, PABLO D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, RENE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATIAS, SANTIAGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATO, ANARDI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, ANA D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, ANA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, ANGEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, CARLOS B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, CARLOS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, CARMELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, CARMELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, CATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, CATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, DENISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, EDGARDO J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, ELIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, ELIS J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, FRANCES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, FRANCISCO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, GISELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 200 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MATOS, GLENDALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, GLENDALY I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, HECTOR J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, IDALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, ISMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, ISMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, JANELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, JOCELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, JOHANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, JORGE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, JOSELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, JOSELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, JOSHUA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, JULISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, KEILA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, KRETNATHAN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, LARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, LEONARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, LEONARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, LEONARDO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, LIANA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, LUIS H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, LYDIA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, MADELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, MARIA LOURDES     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, MARIA LOURDES     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, MARIA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, MARIA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, MILTON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, MOISES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, NOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, OSCAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, OSCAR A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, OSVALDO R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, PAULINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, RAMON A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 201 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MATOS, ROBERT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, ROSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, ROSALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, ROSALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, ROSALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, ROSALINDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, RUDOLPH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, SANTOS I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, UTILIDANIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, ZILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, ZORAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATOS, ZORAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATTA, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATTA, MARITZA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATTA, ROSA JULIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATTA, SHEILA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATTAS, LUZ MARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MATTEI, JOSE E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAURAS, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAYMI, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAYMI, NANCY I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAYMI, NANCY I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAYOL, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAYOLI, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAYORAL, NILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAYORAL, NILDA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAYSONET, LUZ D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MAYSONET, SHEILA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MCDERMONT, CARLOS M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MCFERRIN, PAUL S.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MCFERRIN,PAUL S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MECA, NYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDERO, ALBIS C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDERO, BETHZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDERO, FRANCES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDERO, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDERO, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, ADELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, AMBAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, AMBAR E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, ANAISKKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, ANGELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, AURA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, BRENJANELIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5201 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 202 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MEDINA, BRYAN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, CARMEN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, CARMEN S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, CORALY IVETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, DIMAS S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, EDNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, EDNA G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, EDNA G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, GERMAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, GILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, GILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, GLADYS G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, GLAMYRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, GUSTAVO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, HAROLD N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, HELEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, IVAN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, IVONNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, IVONNE D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, JESSENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, JOHN G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, JOSE MANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, JUAN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, KAILAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, KAILAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, KAYRA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, KEVIN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, LIZBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, LUIS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, LUZ C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MARCO A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MARIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5202 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 203 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MEDINA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MARICELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MAYRA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MAYRA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MELANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MERCY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, MOISES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, NAHIR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, NANCY J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, NOEMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, PAOLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, PASCUALA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, RENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, SHEILA G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, WANDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, YAHAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, YEINY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, YOMARIE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEDINA, YOMARIE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEJIA, MARIA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEJIAS, ARMANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEJIAS, CELESTINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEJIAS, JACQUELINE S.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEJIAS, JAYMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEJIAS, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEJIAS, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEJIAS, MARITERE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEJIAS, RAMON J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MEJIAS, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELECIO, ELIA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELECIO, SONIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5203 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 204 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MELENDEZ ROJAS, CELIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ADELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ALEJANDRO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ALFONSO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ALICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ANA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ANGELINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ANTONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ASTRID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ASTRID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, AWILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, AWILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, BASILISA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, BEATRIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, BEJAMIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, CARLOS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, CARLOS L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, CARLOS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, CARLOS R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, CARMEN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, CARMEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, CARMEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, CARMEN R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, CLARYMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, CLARYMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, DELIA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, DENISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, DILIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, DILIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, DILIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, EDUARDO E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ELBA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ELYENITTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ELYENITTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ELYENITTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ESTEBAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ESTHER M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, FABIOLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5204 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 205 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MELENDEZ, FELIX R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, FRANCISCO J.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, GLENDA LEE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, GLORIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, GLORIAA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, GUILLERMINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, HECTOR J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, HECTOR LUIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, IDA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, IDALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, IRENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, IRIS R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ITZAMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JAIME L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JANISSE M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JAVIER A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JESUS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JOHANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JOMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JOMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JOMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JOSE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JOSE O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JOSEFA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JUAN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JUAN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, JUAN O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, KARYNA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, KEILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, KEILYANN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, LETICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, LILLIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, LIMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, LIZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, LIZ N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5205 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 206 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MELENDEZ, LUCAS             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, LUIS              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, LUIS              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, LUIS C.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, LUIS ENRIQUE      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, LUIS J            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, LUZ               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, LUZ C             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, LYDIA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, LYNNETTE V        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MAGDALENA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MARIA D           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MARIA D           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MARIA DE LOS A    REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MARIA DE LOS A    REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MARIA DE LOS A.   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MARIA E           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MARIA M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MARIA T           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MARIA V           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MARIBEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MARIENA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MARISA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MARISA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MAYRA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MELVIN R.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MIGDALIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MIGUEL            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MIGUEL A          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, MINELLI           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, NEYSHA M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, NITZA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, NOEMI             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, NYDIA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, NYMIA E           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, OSVALDO A         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, PATRICIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, PEDRO A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, RAMON             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, RAMON A.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, RAYMOND           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, RENE              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, RENE              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, RICARDO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, RICARDO L         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ROBERTO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, ROSA MARIA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, RUTH              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, RUTH J            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5206 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 207 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MELENDEZ, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, SIANY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, SIANY M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, SONIA N.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, SUSAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, VALENTINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, VICTOR R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, YAHAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, YAMIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELENDEZ, YELITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELERO, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELIA, FRANCISCO J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELIA, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELO, CARLOS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MELO, CARLOS J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENA, DENISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENA, JUANA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, AIXA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, ALMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, ALMA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, CAMILO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, CARLOS L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, CAROLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, DALILA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, EDWIN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, ELBA N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, FRANCISCO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, FRANCISCO L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, FRANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, GLADYS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, GLORIA_M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, HIRAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, HORTENSIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, JOMARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, JOSE R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, JULIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5207 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 208 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MENDEZ, LEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, LILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, LUIS ANTONIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, LUIS C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, LUIS E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, LUIS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, LYMERKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, MARIA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, MARTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, MARTHARANYELIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, MAYRA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, MELQUIADES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, RAFAEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, RAFAEL E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, ROSANGELES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, ROSANGELES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, TEODORO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, WANDA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, YOSHADARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDEZ, ZEIDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, ALFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, CARLOS RUBEN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, DEBORAH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, ELSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, HIRAM J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, ISVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, LUIS E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, MAYRA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, NESTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, NOEL J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5208 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 209 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MENDOZA, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENDOZA, WILLIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENENDEZ, CARLOS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENENDEZ, DENISSE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENENDEZ, MARCOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MENENDEZ,CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, AILEEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ANA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ANGEL G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ANGEL R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ANGELA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ANGELES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, BIONET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, BLANCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, CARLOS L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, CARMEN S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, CHRISTIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, DAGMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, DELIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, DORIANNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, DORIS N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, EDWIN NOEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, GEORGE K.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, IDALISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ISABEL M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JANICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JANICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JEANYVETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JESHUA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JESUS D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JOEL JOSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JONATHAN DE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5209 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 210 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MERCADO, JORGE L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JOSE A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JOSE A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JOSE ANTONIO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JOSE L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JOSE R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JOSE R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JUAN C           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JUAN C           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JUANITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JUDY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, JULIO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, LILLIAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, LORNA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, LOURDES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, LOURDES M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, LUZ E.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, MADELINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, MARGARET I.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, MARGARITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, MARIA C.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, MARIA J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, MARIA J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, MAYRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, MAYRA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, MELISSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, MELISSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, MIGUEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, MIGUEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, MIGUEL A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, MILTON           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, MINERVA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, NAHIOMY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, NANCY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, NANCY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, NAOMI            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, NAOMI            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, NAOMI            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, NELSON           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, NINIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, NINIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, NORMA N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, PABLO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, PAMELA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, PAMELA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, PATRIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5210 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 211 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MERCADO, PAULA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, PRISCILLA T     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, RAMON L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ROMAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ROMAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ROSA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, SONIMIR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, SORIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, TOMAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, VICTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, VIVIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, VIVIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, WALESKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, WILMER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, YANID M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ZINIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ZULMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCADO, ZYNNIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCED, ADOLFO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCED, CATIRIS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCED, DELIANIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCED, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCED, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCED, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCED, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCED, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCED, LUZ C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCED, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCED, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCED, VILMA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERCED, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERLE, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERLO, MIRIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MERLO, VIRGEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MESTEY, LUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MESTRE, DANELYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MICHEO, NESHKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MILAN, ETHEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MILIAN, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MILIANO, KELINETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MILLAN, EMMA R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MILLAN, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MILLAN, JULIO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MILLAN, KATHERINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5211 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 212 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MILLAN, LUIS S.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MILLAN, MINERVA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MILLAN, NANCY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MILLAN, NILKA J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MILLAN, NILKA J.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MILLAN, YILLMARIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRABAL, DIANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRABAL, DIANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRABAL, FRANCISCO J.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRABAL, LOURDES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRABAL, MILAGROS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, AIDA D.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, AIDA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, ALEXANDRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, ANGEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, ANTONIO J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, CARMEN H         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, CARMEN M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, CINDY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, DAMARIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, DAMARIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, DIEGO R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, EDNA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, EMANUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, ENID M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, ERICK ALBERTO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, EVA D.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, GRISEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, GRISEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, ILIANIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, JAIME            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, JANNESSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, JEANNETTE M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, JESUS D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, JOHANNA E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, JORGE IVAN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, JOSE A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, JUAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, LYDIA E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, MARA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, MARA I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, MARALIZ          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, MARIA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, MARIA MERCEDES   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, MARIANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, MARIANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, MARIO L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, MARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, MELVIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5212 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 213 of 2285
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MIRANDA, NOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, OLGA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, RAMON V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, RITA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, ROSIRY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, ROSIRY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, SANTOS D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, SASHA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, SUSAN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, VICMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, VILMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, YAIRAMIR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MIRANDA, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MITCHELL, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MITI, YAIDE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOCTEZUMA, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOENCK, DANIELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOJICA, CARMEN A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOJICA, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOJICA, JOSE O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOJICA, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOJICA, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOJICA, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOJICA, NAOMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOJICA, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOJICA, NILDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOJICA, VIRGEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, ALVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, ANA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, AUREA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, BRAULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, CARLOS J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, CESAR SAMUEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, DAMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, EDDIE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, EDWIN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, ELIOENAIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, EMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, EMILY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, GAMALIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5213 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 214 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MOLINA, GILBERT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, IRMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, ISAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, JAIME J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, JOSE F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, KAREN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, LILLIAM J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, LILLIAM J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, LINDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, LUIS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, MARICARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, NOLBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, NORAIMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, PAOLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, RAMON L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, RENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, ROSALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, ROSALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, ROSALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, ROSALINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, RUTH M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, SAMUEL G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, SANDRA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, VIVIAN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, WALESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOLINA, WILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONAGAS, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONCLOVA, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONGE, ANGEL D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONGE, CHANELLI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONGE, WILFRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONSERRAT, LUMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONSERRAT, LUMARIS C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONSERRATE, INES M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONSERRATE, INES M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 215 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MONSERRATE, JUANA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONSERRATE, JULIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONSERRATE, NANCY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, ADELAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, AMARILIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, ANGEL R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, BETSY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, CARLOS B.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, CARLOS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, CARLOS J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, CARMEN G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, CARMEN G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, CARMEN G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, DANNA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, ELIUD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, FERDINAND      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, FRANKLYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, GERMAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, HECTOR A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, HECTOR L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, IVAN D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, LINDA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, MARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, MARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, MILDARI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, SALVADOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, SANTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, STEPHANIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, XAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, YOMARI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, YOMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTALVO, ZULMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, AIDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, AMADO I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, ANA P          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, ANGEL LUIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 216 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MONTANEZ, CARLOS I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, CARLOS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, CARLOS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, CLAUDIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, DIANA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, ELIAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, ELMER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, FULGENCIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, GILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, HECTOR L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, ISBELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, JULIO O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, LISETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, LISSETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, MAREIVY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, MINERVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, NEREIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, QUINTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, RAFAEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, REYNALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, ROSALINDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, SARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, SARA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, STEPHANIE M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, STEPHANIE M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, WALESKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZ, YAJAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTANEZZ, ELMER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTAQEZ, JULIO O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTAQEZ, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTERO, JESSENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTERO, JUAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTERO, JULIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTERO, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTERO, SERGIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTERO, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTERROSA, MYRNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, ESTHER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, JANIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5216 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 217 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MONTES, LUISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, MARLENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, MIGDALIA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, MONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, NORMA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, WANDA IVETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTES, WILMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTESINO, GRETCHEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTESINO, MARIA D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTESINO, MARIA DEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTESINO, MARILYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTIJO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTIJO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTIJO, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTIJO, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTIJO, ORLANDO D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTIJO, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONTOYO, CESAR O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONZON, BELMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONZON, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONZON, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONZON, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONZON, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MONZON, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOORE, BRIAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORA, ELIA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORA, ELVIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORA, JEFFREY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORA, YANELYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ADELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ADRIANA MARI    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, AIDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, AIDA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ALEXANDER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ALEXANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ANA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ANA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ANA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ANGEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ANGEL R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ANGELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 218 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MORALES, ANGELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ARACELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ARACELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ARACELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ARTURO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ARYAM A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ASHLEY N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, AURIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, BRENDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, BRENDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CARLOS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CARLOS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CARLOS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CARMELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CARMELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CARMEN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CARMEN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CARMEN L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CARMEN T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CECILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CESAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CHRISTIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CORAL DEL M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CRUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, CRUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, DAYMARIE S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, DEBBIE ANN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, DEBBIE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, DIANA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, DIGNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, EDDIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, EDIA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ELBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ELENA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ELENITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ELENITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ELIACIM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ELIANETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5218 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 219 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MORALES, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ELSIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, EMANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, EMMA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, EMMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ERIC O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ESTHER D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, EUGENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, FELIX A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, FRANCHESKA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, GEREMY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, GIANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, GLADYS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, GLENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, GUSTAVO R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, HECTOR A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, HECTOR A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, HELGA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, HELGA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, HJALMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, IKSEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, IRADIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ISAAC           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ISANDER J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JAVIER A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JEANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JOANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JOANNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5219 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 220 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MORALES, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JORGE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JOSE G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JOSE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JOSE O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JOSE O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JOSE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JOSELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JOSUE D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JOVANNA W       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JUAN F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JUAN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JUANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JUANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, KARIAN Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, KARIAN Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, KARLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, KARLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, KARLA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LETICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LIANKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LILIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LINOSHKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LINOSHKA F      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LISANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LIZARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LIZBETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LUIS O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LUISA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5220 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 221 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MORALES, LUZ D            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LUZ M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, LUZ M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MANUEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARIA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARIA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARIA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARIA L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARICARMEN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARIELA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARILYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARITZA N        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARTA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MARTA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MAYRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MAYRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MAYRA D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MERCEDES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MILDRED          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MIRIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MIRIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MYRIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MYRIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MYRIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MYRNA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, MYRTA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NANCY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NANCY I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NANCY IVETTE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NARCISO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NATALIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NATALIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NEELIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NELSON           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NEMESIS MARIE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NIKE R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NILDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NILDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NILSA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NORIS N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5221 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 222 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MORALES, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, NUMIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ODALYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, OLGA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, PABLO M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, PATRIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, PELEGRIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, RAFAEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, RAMON F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, RANERLEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, RENATO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, RIONALEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ROLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ROLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ROSS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, RUPERTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, SANTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, SHEILA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, SHEILA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, SOLIS I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, SOLIS I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, SONIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, SYLVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, SYLVIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, TANIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, TRIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, TRIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, VICTOR M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, WALESKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, WANDA LIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, WANDA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, WILDALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 223 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MORALES, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, WILMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, WILSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, XIOMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, YARICEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, YARICEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, YARIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, YESENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALES, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORALEZ, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORAN, MICHAEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORAN, SHEYLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORAN, SHEYLA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORCILIO, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORELL, GILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORELL, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORELL, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORELL, MELISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, ANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, ARISTIDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, CLARISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, CLARISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, DIADINA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, HECTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, LUIS F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, LUZ A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, MARIE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, MARIVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, MELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, NILDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, OBRIAN J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORENO, QUIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORET, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORET, NADINE V.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MORGAN, NEFTALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOURE, FRANCIS ARMANDO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOYA, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOYA, MOISES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOYET, FREDDIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MOYET, KEVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MSTOS, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5223 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 224 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MUDAFORT, ASTIR B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUDAFORT, ASTIR B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MULERO, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MULERO, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MULERO, EDWARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MULERO, ERNESTO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MULERO, EVA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MULERO, MARLENY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MULERO, MINNELLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MULERO, WILLIAM I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNDO, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNET, JAYLINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNET, JORGE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNET, LILIBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNET, LILIBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, ALEX D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, CARLOS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, CAROLYN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, EIMIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, FELIX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, GLISSETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, GUSTAVO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, GUSTAVO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, GUSTAVO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, HIRAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, IRIS V.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, JESSICA A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, JESYVETTE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, MILDRED T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, PEDRO J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, RAMON L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, SHERILEEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, YAJAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNIZ, YASHIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNOZ, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNOZ, CARLA A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNOZ, EDNA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNOZ, EDWARD A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 225 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA MUNOZ, EDWARD A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNOZ, ERIKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNOZ, EUNIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNOZ, IRIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNOZ, JOHANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNOZ, LOLINNE DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNOZ, LUZ C.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNOZ, MARIZOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNOZ, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNOZ, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNOZ, VICTOR M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MUNOZ, ZULEYKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MURIEL, WANDA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MURILLO, ERICH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA MURILLO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NADAL, GUADALUPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NADAL, GUADALUPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NADAL, GUADALUPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NADAL, HUMBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NADAL, JUAN A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARANJO, MARICEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, AMARILIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, ANIBAL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, CARLOS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, LENISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, LUZ Z           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, NYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, NYDIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NARVAEZ, YANITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NATAL, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NATAL, FRANCES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NATAL, JACKELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NATAL, MARIA DEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NATAL, OLGA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NATAL, OLGA N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NATER, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NATER, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 226 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA NATER, RICARDO D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVARRO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVARRO, CLARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVARRO, DELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVARRO, ELBA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVARRO, FRANCISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVARRO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVARRO, JULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVARRO, LUIS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVARRO, NERIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVARRO, NORMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVARRO, REILIANIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVARRO, TANIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVARRO, VILMARYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVARRO, YELIXZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVEDO, ANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVEDO, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVEDO, FRANCISCO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVEDO, LUAN MARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVEDO, MARIA DE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVEDO, MARLYN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVEDO, MERLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAVEIRA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, ARLENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, CRISTIE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, DIEGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, DIEGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, DORIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, DORITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, ERIC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, ESMERALDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, GLENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, GLENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, GLORIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, JEAN C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, MAYRA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, OLGA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, OLGA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5226 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 227 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA NAZARIO, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, VANESSA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, YASIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, YASIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NAZARIO, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ADA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ADRIAN O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, AIDA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ALEX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ALMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ALMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, AMALIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ANA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ANAIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ANNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ANTONIO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, AUREA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, BELISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, BENJAMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, BENJAMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, BLANCA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, BLANCA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, BLASDENIRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, CARMELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, DALIS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, DIEGO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, EMILIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, EMILY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, FLOR H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, FRANCISCO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, FRANCISCO O.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, GERADO E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, GILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, HOMERO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5227 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 228 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA NEGRON, IRIS D.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, IRIS M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, IRMARYLLIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, IRMARYLLIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ISABELO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ISMARIE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, IVETTE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, JOHANNY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, JONY               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, JOSE A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, JOSE A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, JOSE J             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, JOSE J             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, JOSE L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, JOSUE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, JUAN C             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, JUAN CARLOS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, KENNY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, LILIANA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, LIZ M              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, LOYDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, LOYDA L.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, LUIS               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, LUIS D             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, LUZ C              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MADELINE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MAGALY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MARIA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MARIA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MARIA DE F.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MARIA DE LOURDES   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MARIA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MARIBEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MARICARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MARICONCHI         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MARISEL M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MIGUEL A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MILAGROS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MILAGROS M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MILDRED A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MILTON             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MIRNA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, MYRNA E            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, NELIDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, NELIDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, NELSON             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, NIVIA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, NORMA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, NORMA I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5228 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 229 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA NEGRON, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, PASCUAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, PASCUAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, PASCUAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, PEDRO J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, REBECA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, REBECA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, RUTH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, RUTH N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, VILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, VILMA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, WILLMAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, WILSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, XAVIER A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ZULMA DAMARA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRON, ZUSSETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEGRONI, JUAN CARLOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NERIS, JOSE ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEVAREZ, DHYALMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEVAREZ, DHYALMA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEVAREZ, ELIUT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEVAREZ, JOSE G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEVAREZ, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEVAREZ, KEILA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEVAREZ, LUCY Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEVAREZ, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEVAREZ, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEVAREZ, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEVAREZ, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEWTON, AIDA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NEWTON, AIDA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIETO, JAHZEEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVE S, NELLIE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ADA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ADA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ADALIZZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, AIDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ANA IVETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ANA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ANGEL ANTONIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5229 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 230 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA NIEVES, ANIBAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ARIEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ARMANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, BLANCA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, BRENDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, BRENDA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, CAMELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, CARLOS S.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, CARMELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, CHARLES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, CHRISTOPHER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, EDELMIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, EDUARDO E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ELBA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ELIZAURA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ERIKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, EVANGELISTA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, FABIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, FRANCES N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, FRANCISCO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, GIVANMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, GLORIVILL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, GLORIVILL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, GRIMILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, HECTOR L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, HILDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, HORACIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ILIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ILYANA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, IVETTE C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, IVETTE C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, JEAME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, JEANNETTE D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, JERONY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, JOHN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5230 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 231 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA NIEVES, JOSE A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, JOSE M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, JOSE M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, JUANITA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, JUANITA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, KAREN E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, LEEZA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, LIZBELLE M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, LUCIANNE Y.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, LUIS A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, LUIS R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, LUZ C.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, LUZ N             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, LYDIA E.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MAGALY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MANUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MARCO A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MARGARITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MARIA A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MARIA D           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MARIA DE L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MARIA DE LOS A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MARIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MARIBEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MARIBEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MARIBEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MARIBEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MARIEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MARLENE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MARLENE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MAYRA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MIGDALIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MIGUEL A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MILDRED           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MONICA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MONICA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MORAYMA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, MYRIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, NAYCHALY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, NORMA I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, PEDRO I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, PEDRO J.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, RASHA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ROBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ROSA B            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ROSA B            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, SHEILA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, SHIRLEY I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, TATIANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5231 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 232 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA NIEVES, TATIANA C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, VALERY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, VICTOR I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, VILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, VILMA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, WALDEMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, WANDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, WESLIE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, YAIDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, YANIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, YANIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, YASMIN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, YOMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIEVES, ZULMA Z.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NIVAR, YAITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NOBLE, YOCCIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NOBOA, RAFAEL B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NOGUE, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NOGUE, BRENDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NOGUE, ZOILA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NOGUE, ZOILA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NOGUE, ZOILA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NOGUERAS, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NOGUERAS, ZAIDELISE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NOLLA, HILDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NORAT, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NORAT, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NORIEGA, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NORIEGA, ERIKA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NORIEGA, KEYLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NORIEGA, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NORIEGA, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NORMANDIA, ARTURO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NORMANDIA, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NOUGE, ADANELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NOVALES, SOR A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NOVOA, AIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, ALMA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, AMELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, BETTY N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, CARMEN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, DAMIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, DORIS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, ELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, ENID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5232 OF 7285
SCHEDULE E
                                    Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                 Desc:
AS REPRESENTATIVE OF                                       Schedule E3 Page 233 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                    UNLIQUIDATED
                                                                                                                       CONTINGENT


                                                                                                                                                   DISPUTED
CREDITOR                            ADDRESS 1                  ADDRESS 2   ADDRESS 3       CITY       STATE ZIP CODE                                               AMOUNT
RIVERA NUNEZ, HECTOR                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, HECTOR L              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, HECTOR M              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, IDAMARI               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, JACQUELINE            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, JAIME H               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, JOSE                  REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, JOSE M                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, JOSE M.               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, JULIA M               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, JULIA M               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, MANUEL A              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, MARIA S               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, MARTIN                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, MIGUEL                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, MIGUEL A              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, MIGUEL ANGEL          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, NILDA                 REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, ROXANA                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, SHEILA Y              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, VICTOR M              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, VIRGEN                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, YESENIA               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, YESENIA               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, ZABDIEL M             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA NUNEZ, ZENAIDA               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA O' FARRELL, MARIA DE LOS A   REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA O FARRIL, MARIA DE LOS A     REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OBISPO, MARITZA              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, ABIGAIL              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, ALBA N               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, ALBA N               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, ANA E                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, ANGEL                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, ANGEL                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, ANTONIO              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, ANTONIO              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, BETZAIDA             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, BRENDA               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, CARLOS               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, CARLOS D             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, CARMEN L             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, CARMEN Z             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, DALVI G              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, DALVI G              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, DIANA                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, DOMINGO              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, ELIEZER              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, ENID                 REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                   PAGE 5233 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 234 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA OCASIO, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, FREDDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, GLOMARYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, GLOMARYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, IRIS Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, JOYLIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, JUAN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, LUIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, LUISSYVETTE N.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, LUZ R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, MARIELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, MYDALYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, SHIRLEY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, SOLIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, VILMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, WILLIAM R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, XIOMARA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, YAITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, ZAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO, ZAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OCASIO,PAULINO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA O'FARRIL, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OFARRIL, LUZ E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OFARRILL, LUIS E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OFRAY, JOHANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OFRAY, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OFRAY, NURIA P           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OJALA, RAYMOND           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OJEDA, ARNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OJEDA, ARNALDO R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OJEDA, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5234 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 235 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA OJEDA, EDDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OJEDA, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OJEDA, FRANCISCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OJEDA, GLORIVEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OJEDA, LUIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OJEDA, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OJEDA, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OJEDA, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OJEDA, TEDDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OJEDA, ZORIMAR I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OJEDA, ZORIMAR I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLAN, FRANCIS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLAN, ISABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLAN, RAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLAVARRIA, ALFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLAVARRIA, FRANCY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLAVARRIA, LETICIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLAVARRIA, VICTOR M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLAZAGASTI, RAUL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIQUE, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIQUE, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIQUE, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVARI, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVARO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVENCIA, ANDRES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVENCIA, DENISSE M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVENCIA, GABRIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVENCIA, GEIGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVENCIA, GERARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVENCIA, NELLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVENCIA, PABLO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERA, AIDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERA, ELSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERA, ELSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERA, EUGENIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERA, EUGENIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERA, FERDINAND       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERA, MARIAN E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERA, MARIAN E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERA, OLGA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERA, PEDRO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERA, RAFAEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERA, ROUSSELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERAS, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERAS, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERAS, ANDRES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERAS, ANDRES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERAS, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERAS, AWILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5235 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 236 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA OLIVERAS, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERAS, GLADYS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERAS, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERAS, JUAN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERAS, MARTINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERAS, MILADYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERAS, OMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERAS, OMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERAS, PEDRO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERAS, TERESITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERO, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERO, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERO, KENNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERO, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVERO, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVIERI, DAISY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVIERI, GLORIMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVIERI, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVO, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVO, INEABELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVO, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVO, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVO, LIZANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVO, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVO, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLIVO, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLMEDA, GABRIEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLMEDA, IRMA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLMEDA, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLMEDA, NAZARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OLMEDA, TEODORO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ONEILL, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ONEILL, JULIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ONEILL, TAINA C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, ABIGAIL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, ANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, ARELYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, BLANCA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, CARMEN I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, CHRISTIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, DAISY L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, GUADALUPE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, IRIS Z.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, JANICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5236 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 237 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA OQUENDO, JANICE M         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, JAVIER           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, JOSE F           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, LUZ M            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, LYDIA            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, MADELINE         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, MARGARITA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, MELVIN           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, MIGUEL           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, OSVALDO          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, RAFAEL           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, RAMON W.         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, RUBEN            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, SANDRA I         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, VIVIAN           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OQUENDO, WALTER           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORAMAS, EDNA G            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORAMAS, EDNA GISELL       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORELLANA, ARMANDO         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORELLANA, LEONEL          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORENGO, DANIEL            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORENGO, MELANIE           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORENGO, SALVADOR          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORLANDI, ANNETTE M        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORLANDO, DIANA            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORLANDO, DIANA            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORLANDO, YESENIA MILAGROS REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

RIVERA ORONA, CRISTINA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORONA, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORONA, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA OROPEZA, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA OROZCO, JUANA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA OROZCO, JUANA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORRACA, ZILKIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORRACA, ZILKIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORSINI, ISRAEL J.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORSINI, MYRNA O          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORSINI, MYRNA O.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORSINI, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORSINI, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORSINI, ZULIMI           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORTA, JOAN               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORTA, SYLVIA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORTA, SYLVIA M           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORTA, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORTAS, LUZ V.            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORTEGA, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA ORTEGA, ANDREA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5237 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 238 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ORTEGA, ANGEL L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, ANTONIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, HAYDEE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, IRIS H.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, JESSENIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, JOHNNY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, JOHNNY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, JOSELINE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, LILLIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, LUIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, LUZ E.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, LYDIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, MARANGELIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, MARIA DE LOS A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, MARIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, MARIA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, MARTINA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, MILDRED           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, MILDRED I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, MIRVELISSES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, OLGA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, PETRA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, RAFAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, ROBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, SAMUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, SUANETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, SUANETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, TOMASA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, VICTOR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, VICTOR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, WILDALLYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTEGA, WILMEN E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIS, SHAIDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ABIGAIL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ABNER J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ACNNERIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ADALBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ADELICIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ADELINE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ADIANIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, AGRIPINA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, AIDA L             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, AILEEN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, AIRZA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, AIXA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, AIXA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ALBERT J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ALBERTO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ALBERTO J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5238 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 239 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ORTIZ, ALMA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ALMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, AMERAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ANA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ANA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ANA V.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ANGELICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ANGELINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ANTONIO F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ARLENE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ARQUIMEDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ARTEMIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ARTURO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ASTRID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ASTRID L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, AXEL J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, AXEL J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, BASILIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, BENIGNO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, BENJAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, BETSY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, BETSY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, BETZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, BLANCA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARLOS D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARLOS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARLOS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5239 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 240 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ORTIZ, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CARMEN N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CAROL N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CHRISTIAN X       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CINDIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CINDIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CINDIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CLARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CRISTIAN F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CRISTIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CRUCITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, CRUCITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, DAISY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, DALIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, DALIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, DARWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, DENISE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, DERMALIZ O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, DIGNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, DIGNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, DIMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, DORIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EDDIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EDNA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EDNA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EDNYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EDNYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EDWIN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5240 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 241 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ORTIZ, EDWIN XAVIER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ELBA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ELIEZER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ELSIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ELVIN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EMANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EMILIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EMILIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EMILIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EMILIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EMMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ENID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ENID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ESTHER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, FELIPE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, FELIPE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, FRANCES M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, FRANK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, FRANK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GENESIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GIANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GINA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GINA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GLAMIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GLAMIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GLENDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GLENDA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GLORIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GLORIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GLORIVIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GONZALO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GRISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5241 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 242 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ORTIZ, GRISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GRISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, GUILLERMO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, HAILIE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, HANSEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, HAROLD Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, HARRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, HAYBED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, HECTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, HECTOR M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, HERVIN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, INEABELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, INGRID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IRIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IRIS J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IRIS J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IRIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IRMA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IRMA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IRMA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ISABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ISANDER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IVAN J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IVONNE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, IVONNE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JACKELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JACKELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JAFET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JAIME T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JAMES D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JANELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JAVIER A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JAVIER A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JEANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5242 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 243 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ORTIZ, JESENNIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JESENNIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JESUS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JESUS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOANNE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOHAN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOHANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOHN DAVID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JORGE J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JORGE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE FRANCISCO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSEAN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSEIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSELINNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSUE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOSUE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JOYCE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 244 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ORTIZ, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JUAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JUAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JUAN C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JUAN C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JUAN DE JESUS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JUAN R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JUANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JULIAN C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, JULISSSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, KARLA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, KATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, KATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, KATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, KATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, KIARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LAURA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LAURA H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LAURO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LESLIE ANN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LESLIE I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LEYDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LILLIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LILLIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LINITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LISA N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LIZBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LUCIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LUZ C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LUZ I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LUZ V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LUZMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LYDIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, LYDIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5244 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 245 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ORTIZ, LYMARIE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MAGALY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MAGALY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MANUEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MANUEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MANUEL DE J.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARANGELLY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARCELINO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARGARITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARGARITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA DEL C.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA DEL CARMEN   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA DEL R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA DEL R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIA M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIAN D           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIBEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIBEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARIBEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARILYN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARISEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARTA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MARYLIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MATILDE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MAYDELINE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MAYRA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MAYRA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MEI LING           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MEILING            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MERCEDITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MIGDALIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MIGDALIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MIGUEL A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MIGUEL A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 246 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ORTIZ, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MIGUEL E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MONICA Z          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MYRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MYRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MYRTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MYRTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, MYRTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NEISA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NELLY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NILDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NILSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NOELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NORA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NORA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NORBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, NORMA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, OLGA B.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, OMARYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, OMARYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, OMAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, PABLO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, PABLO S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, PALOMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, PEDRO L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, PROVIDENCIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, RAFAELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, RAMON LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, RAMON O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, RAUL I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, RAUL J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 247 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ORTIZ, REINALDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ROSA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ROSA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ROSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ROSANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ROSAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ROSELIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ROSSE V.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, RUTH I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, RYAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SAMARIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SAMARIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SAMUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SANTIAGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SANTIAGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SANTIAGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SAUL R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SENEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SHEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SHEILA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SOCORRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SOLIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, STEPHANIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, STEPHANIE I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, SUE HELLEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, TRAECY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, VICTOR J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, VICTOR M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, VIDALIZ L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, WALESKA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, WALTER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, WANDA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, WANDA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5247 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 248 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ORTIZ, WENDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, WENDY A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, WILLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, WILNERIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, XIOMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, YADIEL E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, YAMELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, YAMELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, YANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, YANIRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, YARINETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ZENAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ZORAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTIZ, ZULMA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ORTOLAZA, WILSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSORIO, ANA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSORIO, ANTHONY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSORIO, EDDIE O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSORIO, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSORIO, ELBA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSORIO, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSORIO, IRIS Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSORIO, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSORIO, RALPH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSORIO, SANTA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSORIO, WANDA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSSORIO, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSTOLAZA, DALILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSTOLAZA, ENEDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSTOLAZA, ESTHER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSTOLAZA, WALDEMAR A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OSTOLAZA, WANDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, ABIGAIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, ANET J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, CARLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, CARLOS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, CARLOS L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, ELENA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5248 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 249 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA OTERO, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, GRISEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, HAYDEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, JOSE E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, JOSE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, JOSEFINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, JOSUE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, JUAN P            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, JUANA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, KANYSHA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, MADELINE IVETTE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, MARCELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, MARIANNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, MARTA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, MARTA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, MELISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, MYRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, RONALD E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, RONALD E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, ROSA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, ROSA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, SHEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, SUZETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, WILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, XIOMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, YAIRELYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OTERO, YAIRELYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5249 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 250 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA OVIEDO, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, AIME              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, AIMEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, ANA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, FRANCES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, HECTOR MANUEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, IZAMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, IZAMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, JULIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, MARIANELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, MARIANELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, MARIO L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, RENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, ROSALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA OYOLA, YANIRA C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABELLON, JOSE O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABELLON, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABELLON, MARTA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABELLON, MARTA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABELLON, REYNALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, ALICE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, ARMANDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, CRISMILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, GERALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, IRIS N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, JESUS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, MARISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, PAOLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, SHABELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, SUHEIL M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, SYLVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, YADIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PABON, YADIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5250 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 251 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA PABON, YARITZA ENID      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, ANGEL L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, AUDELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, AXEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, BRENDA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, CORALYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, ELGA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, ELSIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, ENID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, FEDERICO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, IRIS L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, JUAN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, JULIO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, KHARINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, KHARINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, MAGGIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, MARIANELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, MORAYMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, MORAYMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, NEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, NEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, NORMA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, RAMONA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, RENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, ROYCE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, SUZIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, XIOMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PACHECO, ZULMALEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, ANGEL L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, BELMARI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, BRIAN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5251 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 252 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA PADILLA, CONSUELO E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, EDDIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, ELLIOT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, ENID M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, FELIX L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, IRISMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, JOALYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, JOSE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, JOSEPH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, JULIO V.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, LESMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, LIZBETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, LORAINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, MABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, MARTIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, MELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, MILTON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, MIRIAM L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, MIRNALY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, SHARIZETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, THAIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, VICTOR M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLA, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADILLLA, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADIN, JOHNATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADIN, LIZBELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADIN, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADIN, ONEYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADRO, FELIX V.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADRO, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADRO, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADRO, JOSE E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADRO, JULIO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADRO, MITCHEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADUA, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 253 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA PADUA, CAMIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADUA, HANNIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADUA, JOYCE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PADUA, JUAN R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ALBA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ALEJANDRINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ALEJANDRO G.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ALVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ANDRES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ANDRES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ANGEL D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ANGEL JAVIER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ANGELITO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ANGELYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ANTHONY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ARNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ARNALDO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, BENJAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, BETSY E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, CANDIDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, CANDIDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, CARMEN S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, CARMEN S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, DARITCIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, DAVIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, EDNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ERIC D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ERNESTO E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ESTERVINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, FRANCISCO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, GLISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, GLORYMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, GLORYMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, GONZALO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, GONZALO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, GRISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, HECTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, HILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, HUMBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, IRMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 254 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA PAGAN, IRMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, IVAN JESUS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, JOHANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, JOHANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, JOSSIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, JOSSIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, JOSUE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, JUAN G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, JUAN GABRIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, LAURA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, LAUREN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, LESLIE JOANNE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, LILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, LILLIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, LINDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, LINDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, LINETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, LUIS ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, LUIS S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, MARIA DE LOS A.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, MARTA A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, PEDRO G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, PERFECTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, RAMON A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, RAUL J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ROBIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ROSEMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, SEBASTIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, STEFANIE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, SYLVIA O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, TEODORO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, VICMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, VICMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, VICMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, VICTOR J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, VILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, VIVIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, WALDEMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5254 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 255 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA PAGAN, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, WIDALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, WIDALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, YAITZA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ZOHARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN, ZULMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAGAN,RAMON A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PALACIOS, ARTURO J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PALACIOS, MELISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PALACIOS, MELISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PALOMARES, SARAI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANAS, JOHANN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANAS, JOHANN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANAS, JOHANN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANELL, YANITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANELL, YASEIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANELL, YOMARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANELL, YOMARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANELLI, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANIAGUA, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANTALEON, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANTOJA, DANNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANTOJA, JESSENIA D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANTOJA, LUIS ANTONIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANTOJAS, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANTOJAS, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANTOJAS, LOURDES T.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANTOJAS, SOL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANTOJAS, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANTOJAS, VIRGINIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PANZARDI, EMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PARDO, ERNESTO A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PARES, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PARES, EDNIN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PARES, MYRSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PARIS, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PARRILLA, BELMARI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PARRILLA, CAMILLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PARRILLA, CAMILLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PARRILLA, RAIZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PARRILLA, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTOR, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTOR, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTOR, JOSE ANTONIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTOR, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTOR, MIGBELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTOR, NATALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTOR, WALTER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTRANA, ANGELICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5255 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 256 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA PASTRANA, AVIMAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTRANA, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTRANA, GLADYS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTRANA, GLADYS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTRANA, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTRANA, JOSHUA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTRANA, JOSHUA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTRANA, JULIO A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTRANA, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTRANA, MYNERVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTRANA, MYNERVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PASTRANA, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PAZ, NOEMI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEDRAZA, CARMEN IRIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEDRAZA, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEDRAZA, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEDRAZA, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEDRAZA, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEDRAZA, ZAIDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEDROGO, ELSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEDROGO, LISMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEDROGO, TAINEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEDROGO, TAINEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEDROZA, JUSTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEDROZA, MIRTA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEGUERO, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PELLOT, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PELLOT, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, ANA R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, EISHAMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, GRACIELA K         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, LEE M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, LESSENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, LEYNICE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, MARCOS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, PURA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, REIMUNDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, SARA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, TANIMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENA, ZULMARIELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENALOZA, JENNY L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PENALOZA, LUZ Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PERALES, FRANCISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5256 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 257 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA PERALTA, EDNA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PERCY, VICTOR T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PERDOMO, CARLOS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PERDOMO, KATIRIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREA, MIRTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREIRA, ALBA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREIRA, ELBA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREIRA, ELBA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREIRA, GRACIELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREIRA, JEAN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREIRA, KENDRA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREIRA, MANUELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREIRA, MARIVELISSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREIRA, MARTITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PERELES, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PERELEZ, AGNES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PERELLO, VALERIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PERERA, STEPHANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ABIGAIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ADA S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ADALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ADDIE Z           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ADRIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, AIDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, AIDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ALEJANDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ALEXANDER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ALEXANDER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ANA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ANETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ANGEL Y.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ANIBAL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ANTONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ANTONIO R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ARELIS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ARIS O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ARNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ARNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ASTRID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, AVIANCE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, BENJAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, BERNADETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, BERNADETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, BLANCA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, BLANCA R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 258 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA PEREZ, BRENDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, BRENDANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CAMILLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARLOS E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARLOS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARLOS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARMEN D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARMEN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARMEN I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARMEN L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARMEN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CARMEN S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CESAR H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CHRISTIANNE J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, CLAUDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, DAMAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, DARIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, DEBORAH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, DEBORAH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, DELFINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, DELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, DENISE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, DOMITILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, DONATO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, DORIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, EDDIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, EDITH J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ELI S.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ELIKA J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5258 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 259 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA PEREZ, ELLIOT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ELSIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, EMMA LYDIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ERIK              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ESTERBINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, EVA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, EVA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, FABIOLA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, FELIPE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, FELIX JAVIER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, FRANCES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, FRANCES E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, FREDDIE E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, GABRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, GENEROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, GERALDINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, GERALDINE E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, GERALDINE E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, GERMAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, GILBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, GILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, GISELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, GLORIA D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, GLORIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, GUILLERMINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, GUIMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, HILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, HILDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, IDAH M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ILEANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ILIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, INDIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, INES V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, INGRID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, IRNIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ISABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ISABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ISIDORO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, IVONNE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 260 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA PEREZ, JACQUELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JANET L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JANET S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JEAMALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JEAN F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JEANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JEFFREY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JEFFREY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JENNIFER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JENNIFER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JESUS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JESUS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JESUS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JHOMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JOAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JONNALLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JONNALLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JORGE I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JORGE I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JOSE F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JOSE F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JOSE G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JOSEFA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JOSUE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JUAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JUAN DE J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JUAN MARCOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JUDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JUDY W            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JULIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JULIA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, JULISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, KAYRA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, KERENIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 261 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA PEREZ, LAURA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LESTER A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LETICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LIBIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LILLYMAR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LISSANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LIVANIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LIZMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LIZMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LOTTY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LOTTY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LOTTY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LOYDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LUCILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LUIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LUIS O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LUIS O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LUISA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LUISA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LUZ G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LUZ N.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LUZ S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LUZ V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LUZ V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, LYMARI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARCELINO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARCOS G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARIA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARIA DE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARIA DE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARIA DE LOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARIA DEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5261 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 262 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA PEREZ, MARIA VICTORIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARICELI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARISELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MARTA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MELISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MERIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MICHAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MIGUELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MILLICET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MILLICET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MINERVA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MINERVA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MINERVA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MIRIAM E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MYRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MYRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MYRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MYRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, MYRTHA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, NATALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, NORBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, NORMA LUZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, NYDIA DEL C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ODALYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, OILDA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, OLVIN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, OMAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, OMAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5262 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 263 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA PEREZ, ONEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ONEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ONEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, OTONIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, PABLO L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, PAULA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, PAULA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, RAMIRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, RAMON R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, REY ARNALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ROBINSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ROSA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ROSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ROSA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ROSANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ROSARIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ROSEMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ROSEMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, SALLY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, SALVADOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, SANDRA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, SANDRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, SARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, SARAH DEL P.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, SHEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, SONIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, VERIDIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, VICTOR M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, VICTOR M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, VILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, VIVIETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, WALDEMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5263 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 264 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA PEREZ, WANDA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, WANDA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, WILLMAI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, WILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, YAMILET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, YASMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, YELINSKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, YENITZA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ZAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ZAIRALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ZUESLYANN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEREZ, ZUESLYANN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEROZA, MAYRA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEROZA, ZAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PEROZA, ZAIDA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PESANTE, JAPHET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PESQERA, FRANCES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PESTANA, VANESSA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PFEIFFER, ANTHONY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PICART, LOURDES I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PICORELLI, YVONNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIMENTEL, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIMENTEL, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIMENTEL, JUSTINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIMENTEL, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINA, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINEIRO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINEIRO, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINEIRO, JANETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINEIRO, JANETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINEIRO, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINEIRO, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINEIRO, RAFAEL J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINEIRO, RENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINEIRO, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINERO, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINERO, IMARA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINERO, LUZ L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINET, OBNELLIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINET, OBNELLIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINO, CARMEN N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINO, CARMEN N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINO, NITZA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINTA, NITZA BEATRIZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINTADO, JULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PINTO, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, AILEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, ANABELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5264 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 265 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA PIZARRO, ANGEL C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, ARACELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, CARLOS G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, DAGMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, DORILIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, EDDIE Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, EDNA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, GLENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, GLENN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, JUDITH M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, KAREN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, MARIA J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, NEYLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, ROSELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, SAHECT D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, VICTOR T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PIZARRO, YAMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PLA, SARA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PLA, SARA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PLACERES, YADIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PLANADEBALL, ENITTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PLANADEBALL, ENITTE M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PLAZA, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PLAZA, BERNARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PLAZA, CARMEN C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PLAZA, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PLAZA, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PLAZA, MARIELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PLAZA, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PLAZA, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5265 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 266 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA PLAZA, WANDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA POLANCO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA POLANCO, HERMES A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA POLANCO, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA POLANCO, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA POLANCO, MIGUELANGEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA POLANCO, PATRICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA POMALES, ALICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA POMALES, GENESARET       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA POMALES, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA POMALES, RICHARD H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PONCE, MINERVA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PONS, MARTA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PORATA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PORRATA, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PORRATA‐DORIA, ELBA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PORTALATIN, KARILYN R.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PORTALATIN, LUZ E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PORTALATIN, LUZ E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PORTELA, ARICELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA POU, ANDRES A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA POU, RAFAEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA POUEYMIROU, EDDIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PRADO, KRISTY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PRADO, SILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PRATTS, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PRATTS, JUAN C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PRATTS, YANILET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PRATTS, YESILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PRETTO, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PRINCIPE, DEXTER O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PRINCIPE, DEXTER O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PRINCIPE, JOSUE C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PRINCIPE, JUANITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PRINCIPE, WILNA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PRINCIPE, WILNA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PUGA, MARCO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PUJOLS, JOHNNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA PURCELL, YAHAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUIANES, FRANCISCO C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUIJANO, ADAIRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUIJANO, ADAIRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUIJANO, IDALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUIJANO, PEDRO LUIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUIJANO, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUIJANO, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, ABIMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, ANGEL MANUEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, CARMEN S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5266 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 267 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA QUILES, CIRILO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, ERIK O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, IDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, IDSIA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, IDSIA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, JAILENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, JOSE LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, JOSE MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, JOSE MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, LUZ M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, LUZ Z            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, MARIA DE LOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, MARIA DE LOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, MARIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, MAYRA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, NILSA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, ROSA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, ROSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, SALVADOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, SONIA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, VIRGILIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUILES, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, AIDALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, ANA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, ARACELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, ARISTIDES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, AXEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, BENITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, CARLOS R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 268 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA QUINONES, CARMEN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, CARMEN N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, CHRISTIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, CRUZ A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, EDDIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, EDDIE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, EILEEN JANET   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, ELBA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, ELENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, FELICITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, GISELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, GRETCHEN V     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, HAINZE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, HERIBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, INGRID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, IRIS N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, JANELIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, JANELIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, JERRY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, JESSICA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, JIM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, JOSE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, JOSE J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, KENNETH H      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, KEVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, LORELL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, LUIS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, LUZ D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, LYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, MARIA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, MARIA T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, MARILUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, MARISELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, MEREDDY M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, MILLY E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 269 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA QUINONES, MIRSANDRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, MYRELIS I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, MYRELIS I.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, MYRNA T.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, MYRTA I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, NELSON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, ORLANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, ORLANDO L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, ORLANDO L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, PABLO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, RAMON           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, RICARDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, RUBEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, SHEILA K.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, SONIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, SUSAN M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, VIVIAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, VIVIAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, WANDA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, YISELCA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, YOLANDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONES, YOREIMY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONEZ, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONEZ, CARMEN E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONEZ, JOAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONEZ, JOSE A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONEZ, NORMA I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINONEZ, WALDEMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTANA, ADELAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTANA, GISELLE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTANA, GLORIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTANA, JACQUELINE I.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTANA, JEANETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTANA, JEANETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTANA, JEANETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTANA, JULYVETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTANA, JULYVETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTANA, MANUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTANA, MARITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTANA, NILDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTANA, NILDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTANA, WANDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTERO, ABNER JAY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTERO, JELINDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTERO, JELINDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTERO, JESSICA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTERO, JOSE O.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTERO, MARIBEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUINTERO, MYRNA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5269 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 270 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA QUIQONES, CARMEN L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUIQONES, HENRY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUIQONES, JELIXSA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUIQONES, MARIA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUIQONES, MIGDALIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUIQONES, MILAGROS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUIRINDONGO, REENA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA QUIROS, ALEX              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RABASSA, JESUS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RABASSA, LILLIAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RALAT, SUEANNETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, ALBAIRIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, ANGEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, ANGEL L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, ANGEL L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, BRENDA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, BRENDA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, BRENDA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, CARLOS A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, CARLOS J.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, CARMEN T.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, CRUZ             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, CRUZ             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, DEXEL A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, EDUARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, ELOINA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, EZEQUIELA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, FRANCHESKA X     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, FRANCHESKA X     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, GEORGINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, GEORGINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, GISELA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, GLENDALY C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, HECTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, HECTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, HECTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, HECTOR J.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, HIPOLITO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, ISRAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, JOSE R.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, JOSE S.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, JUDITH           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, LEOVIGILDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, LINDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, LINDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, LIZZY I.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, LYDIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, MARIA DEL C      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5270 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 271 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RAMIREZ, MARIA DEL C      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, MARILU           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, MARISEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, MARISEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, MELVYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, MIGDALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, MYRTHA E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, NICOLMARI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, OSVALDO JUNIOR   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, RITA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, ROSA N           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, RUTH             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, RUTH N           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, VILMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, VIRGENMINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, WALESKA M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, WAYNE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, YARIZEL N.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, YASLIZ M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, YASLIZ M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMIREZ, ZORALIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ABRAHAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ADA                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ADA                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ADA H.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ADAD G             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ADAD G             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ADALBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ADELAIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ALBERTO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ALBERTO C.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ALEGNA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ALEJANDRO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ALEXANDRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ANA R              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ANGEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ANGEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ANGEL L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ANGEL M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ANGEL R.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ANGELICA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, BARNEY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, BLANCA D           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, BRENDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, BRENDA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, CARLOS J.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, CARLOS R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, CARMEN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, CARMEN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 272 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RAMOS, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, CARMEN S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, CHRISTOPHER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, CRISTINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, CRISTOBAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, CRUCITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, DAMARI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, DORA ALICIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, EDER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, EDGAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, EDGAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, EDITH M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, EDNA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, EDNA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, EDWIN E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ELBA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ELBA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ELEONOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ESTHER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, EVANGELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, FERMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, FRANCES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, FRANCISCO D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, GABRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, GABRIELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, GABRIELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, GEORGINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, GERMAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, GIOVANNI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 273 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RAMOS, GLORIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, GLORYVEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, GREGORIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, GUILLERMO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, HAYDEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, HECTOR A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, HECTOR R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, HERILIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, HEUMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, IRIS B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ISACIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, IVAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, IXA MARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JACKELINE J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JAIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JESUS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JOCELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JORGE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JOSE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JOSE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JOSE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JOSELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JOYCE I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JUAN B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JUAN B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JUAN C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JUAN E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JUDITH J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, JULIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 274 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RAMOS, LAUDY OMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, LEIDALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, LESLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, LEYLA V.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, LISSETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, LIZBETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, LUIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, LUZ N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, LUZ ZENAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MABEL J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MAGALY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MAGDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MAILEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MARIA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MARIA O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MARICARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MARISELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MELISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MERCEDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MIGDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MIGUELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MINERVA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MIRIAM E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MISAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MISAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MOISES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MORGAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MYRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, MYRIAM M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 275 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RAMOS, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, NERY I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, NESTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, NICOLE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, NILSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, NIURCA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, NIURCA V.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, NOELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, NOELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, OLGA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, OVIDIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, PAOLA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, PAULINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, PRISCILLA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, REBECCA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, REINALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, REINALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ROLAND            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ROSA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ROSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ROSA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, SANEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, SANEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, SILA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, SILVETTE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, SUSANA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, TANIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, TANIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, VIRGEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, WILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, WILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5275 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 276 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RAMOS, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, WILLIAM E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, WILSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, XAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, XAVIER A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, YADIEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, YADIEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, YAHAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, YAHAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, YARIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, YARITZA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, YIANABELL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, YOARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ZULLY A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ZULMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAMOS, ZULMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAPALE, IVETTE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAPALE, JEANNETTE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAPALE, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RAPALE, MYRNA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RASONABLE, VINCENT       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RASONABLE, VIVIAN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REILLO, EMERITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REILLO, EMERITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REILLO, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REILLO, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REILLO, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REILLO, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REINA, ESTRELLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENDON, TAURINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENE, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENEDO, LINDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENTA, HECTOR R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENTA, LU Z M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENTA, MANUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENTA, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENTA, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENTA, ROXANA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENTAS, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENTAS, CARLOS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENTAS, ELOISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENTAS, ELOISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENTAS, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENTAS, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENTAS, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENTAS, RAMON A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5276 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 277 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RENTAS, ZAMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RENTAS, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REPOLLET, EDWIN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REPOLLET, EMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REQUENA, JUSTO PASTOR    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RESTO, CLARA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RESTO, DIMAIRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RESTO, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RESTO, GILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RESTO, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RESTO, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RESTO, LUIS D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RESTO, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RESTO, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RESTO, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REVERON, AIDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REVERON, DEREK J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REVERON, MARIA O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REVERON, ROSA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REVERON, WILLIAM A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REXACH, LOURDES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REXACH, LOURDES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REY, GENESIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REY, GÉNESIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, ABNER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, ADA L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, ADELAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, AIDA ESTHER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, AILEEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, AILEEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, AIXZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, AIXZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, ALEJANDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, ANA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, ANGEL M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, ANGEL M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, ARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, ARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, AUREA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, BENJAMIN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, CARLOS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, CARMEN N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, CARMEN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5277 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 278 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA REYES, CONCESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, CONCESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, DAISY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, DIGNA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, EDDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, EDITH M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, ELENA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, FRANCES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, GERTRUDIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, GLADYNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, GLENDALYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, GLORISSETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, GRISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, GRISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, GUILLERMO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, HECTOR J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, HILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, IDA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, ILEANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, IREYZA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, IRMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, IRVING JOSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, ISABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, ISAMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, IVAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, IVAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, JIM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, JIM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, JOCELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, JOCELYN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, JORGE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, JOSE E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, JUAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5278 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 279 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA REYES, JUAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, JULIO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, KETZY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, LEONORA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, LESLIE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, LUANNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, LUIS R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, LUISA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, LUZ E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, LYDIALIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, MAGALY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, MARELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, MARIA C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, MARIELY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, MARTA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, MAURYNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, MILAGROS K        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, MYRNA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, NILSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, NITZA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, OSCAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, OSCAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, RAFAEL J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, RAFAELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, RAMONA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, ROBERTO C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, RUTH N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, SANDRA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, SANDRA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, SHAIRA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, SHAIRA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, SHEILA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, SHEILA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, SIXTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5279 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 280 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA REYES, SURGEI M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, VILMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, WILBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, XIOMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, YAHAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, YAMARIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, YARELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, YARILYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, YARILYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, YELITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA REYES, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIBOT, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIBOT, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIBOT, JOSE O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIBOT, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RICHAR, CARMEN DEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO
RIVERA RICHARDSON, BARBARA K    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIESTRA, NAOMY           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIGAU, ILEANA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIGUAL, TYRONE           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIJOS, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIJOS, GILLERMINA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIJOS, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RINCON, VIRGEN M.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOLLANO, IVETTE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOLLANO, IVETTE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOLLANO, IVETTE D       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOLLANO, SHELLY         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, ABNER              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, ABNER              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, ALEXANDRA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, ALMA N             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, ANILIZ             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, ANTONIO R          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, ATDI               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, CARLOS J           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, CARLOS J           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, CARMEN D           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, CARMEN G           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, CRISTOBAL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, DAYANA L.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, DENISSE            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIOS, DIGNA I            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5280 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 281 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIOS, EDUARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, EFRAIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, ELVIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, EMANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, FAUSTINO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, FELIX MOISES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, FRANCIS L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, GADIEL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, GILDA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, GILDA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, IRIS G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, IRIS G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, IRIS L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, IRMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, ISABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, IVETTE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, JORGE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, JOSE JOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, JUDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, KIMBERLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, LOYDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, LUBED D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, LUZ D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, MANUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, MARCOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, MARIA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, MELISSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, MICHELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, MILITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, MINERVA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, MINERVA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, MIRIAM J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, MYRIAM A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, OLGA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 282 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIOS, OLGA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, OMAR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, OMAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, PETER A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, RAMONA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, ROSAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, ROSAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, SANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, TANIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, WANDA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, YARELIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, YARELIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIOS, ZULEYKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIPOLL, JULIA D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIPOLL, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, AIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, ARMANDO R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, BERTHA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, CYNTHIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, CYNTHIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, EDNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, EDNA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, FRANCISCO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, JULIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, LUIS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, MARIA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, NOELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, OLGA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, PEDRO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, REINALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, SANTOS L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, SHEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVAS, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5282 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 283 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, ABIGAIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ABIGAIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ABIGAIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ABIMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ABIMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ABRAHAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ADA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ADA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ADA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ADALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ADALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ADALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ADAM N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ADAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ADAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ADELINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ADNEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ADRIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ADRIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AIDA LUZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AIDA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AIDA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AIDELIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AILED C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AILEEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALANIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALBA N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALDEMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALEX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALEX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALEX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALEX X           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALEX X.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALEXANDER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ALVIN D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AMARILIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5283 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 284 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, AMARILIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AMARILYS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AMELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AMILMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANA A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANA H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANABELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANDRES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANEBELIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGEL G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGELA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGELES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGELICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGELICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANGELICA R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANIEVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANSELMO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANTONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANTONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 285 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANTONIO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ANTONIO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ARELIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ARIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ARMANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ARMANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ASHIA IMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ASTRID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AUREA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AUREA V.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AURELIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, AYLEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BALTAZAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BASILISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BEATRICE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BEATRIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BEATRIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BEDDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BELEN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BELINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BELINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BENJAMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BETSY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BETSY J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BETSY J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BISELVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BLANCA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BLANCA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BLANCA O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BRENDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, BRITTANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARIDAD M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARLIVETTE M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 286 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARLOS F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARLOS I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARLOS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARLOS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARLOS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARLOS O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARLOS R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARLOS RAFAEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5286 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 287 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMEN V.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CARMI J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CAROL E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CASILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CELESTINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CESAR L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CHRISTIAN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CHRISTOPHER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CLARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CLARIBELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CLARIBELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CLAUDIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CONSUELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CRISTICEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CRISTICEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CRISTICEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CRISTINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, CRUCITO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DAFNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DAIRA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DAMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DANIEL D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DANIEL O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DANITZA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DANNY M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DARIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DARY Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DAVID A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DEBBIE E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DEBORA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DELIANI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DELMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 288 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, DIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DIANA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DIEGO A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DORCA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DORCAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DORCAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, DORISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDDIE N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDGAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDGAR X          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDGAR X.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDGARDO L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDISON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDITH Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDLEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDMEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDMUNDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDNA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDNA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDNA R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDNAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDUARDO LUIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDWIN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EDWIN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 289 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, ELAINE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ELBA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ELBA ILEANA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ELBERT CHRISTOPH   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ELGA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ELIAS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ELISANDRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ELISIA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ELIZABETH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ELIZABETH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ELIZABETH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ELIZABETH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ELIZABETH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ELIZABETH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ELIZABETH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ELIZABETH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ELSIE I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EMIGDIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EMIL ABNER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ENEIDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ENEIDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ENEIDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ENID               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ENID H             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ENID J             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ENITZA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ENITZA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ENRIQUE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ENRIQUE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ERIC VAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ERICK              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ERNESTO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ERVING             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ESPERANZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ESTEBAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ESTEBAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ESTHER             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ESTHER             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EUFEMIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EVA C              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EVA M              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EVA R.             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EVELYN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EVELYN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EVELYN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EVELYN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EVELYN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EVELYN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EVELYN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5289 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 290 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, EVELYN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EVELYN S.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EVERLIDIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, EVIZAEL CARMELO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FELICITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FELIPE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FELIX             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FELIX             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FERDINAND         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FERNANDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FERNANDO L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FERNANDO L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FERNANDO L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FIDELINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FLORINDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FRANCES           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FRANCHESKA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FRANCIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FRANCISCO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FRANCISCO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FRANCISCO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FRANCISCO J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FRANKIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FRANKLIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, FRANKLIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GADIEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GAMALIEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GARYMAR DE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GENOVEVA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GEORGE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GERARDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GERARDO J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GERARDO J.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GILBERT           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GINNETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GISELA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLADYS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLADYS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLADYS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLADYS E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLADYS E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLADYS V.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5290 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 291 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, GLORIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORIVEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORYANN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORYLU          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORYLU          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GLORYLU          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GRACIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GRACIANO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GREGORIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GREIGHTON J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GUILLERMO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, GUSTAVO A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR IVAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HECTOR R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HELGA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HERMINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HERMINIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HIGINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HILDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HILDA S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 292 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, HIPOLITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HIRAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HIRAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, HITAMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ILEANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, INES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, INGRI E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IRENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IRIS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IRIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IRMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IRMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IRMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IRMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IRMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IRVING OMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ISAAC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ISABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ISAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ITHMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVETTE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVIS V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVIS V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVONNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVONNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVONNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVONNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IVONNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, IXIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 293 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JAIME L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JAINIES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JANCARLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JANISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JANISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JAVIER A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JAVIER D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JAVIER O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JEANETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JEANETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JENNIFER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JENNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JENNY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JERMIRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JESSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JESSICA N.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JESUS DEL C.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JESUS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JESUS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JESUS MANUEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JESUS ORLANDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOANNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOAQUIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOHANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOHANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOHANNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOHN ANTHONY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JORGE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JORGE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JORGE ENRIQUE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JORGE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JORGE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5293 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 294 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE H.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE JUAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSE V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSEPH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOSHUA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JOYNELIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 295 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUAN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUAN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUAN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUAN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUAN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUAN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUAN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUANA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JULIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JULIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JULIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JULIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JULIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JULIO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JULIO C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JULIO E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JULIO G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, JUSTINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, KARELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, KAREN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, KARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, KARLA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, KARLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, KAROL M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, KATIUSKA Z       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, KEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, KEILA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, KEILA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, KENDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, KETSY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, KEVIN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, KHATIRIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LARIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LAURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LAURA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LAURA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LEIRA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 296 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, LEISHKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LESLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LESLIE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LIBNI M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LILY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LILY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LIMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LIMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LIMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LIMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LINDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LINNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LINNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LIREIZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LISMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LIZAIDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LIZBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LIZMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LLAJAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LLAJAIRA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LOIDA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LORIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LORNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LOURDES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LOURDES S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LOURDES Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUCILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5296 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 297 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, LUIS F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUIS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUSMARIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUSMARIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUZ A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUZ E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUZ E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUZ H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUZ I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUZ I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUZ L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUZ L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUZ S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LUZ V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LYDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LYNETTE I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LYSBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LYSETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LYSSETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, LYZETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MAGALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MAGDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MAGDIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MALENI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 298 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, MANUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARCELA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARCELA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARCELA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARCELINO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARCELINO E.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARCOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARCOS A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARENA J.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARGARITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARGARITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARGARITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARGARITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARGARITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARI C            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA D           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA D           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA D           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA D           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA DE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA DE L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA DE LOS A    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA DEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA DEL C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA DEL C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA DEL C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA DEL PILAR   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA DEL R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA E.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA E.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA E.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA F           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA G           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA H.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 299 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA ISABEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA P          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA P          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIANELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIANGELES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIANGELES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIANGELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARICELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIE TERE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIE V.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARIELLI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARILUZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARILYA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARILYA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARISEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARLENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARY L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARY L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARYBELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MARYLIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MAUREEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MAXIMINO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MELANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MELANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MELANY M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MELBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MELITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MELQUIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MERIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIDELY S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIGUEL ANGEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MILTON E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MILVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MINETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIRELLYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIREYA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5300 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 301 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIRTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIRTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MIRTA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MISAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MISAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MITKEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MOIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MOIRA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MOISES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MOISES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MOISES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MYRNA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MYRNA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MYRNA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MYRTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, MYRTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NANCY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NANCY E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NAOMIK           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NASHALEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NATALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NATALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NATASHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NATASHA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NATIVIDAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NAYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NAYDA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NEFTALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NEFTALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NEILL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NELLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NELSIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NELSIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NELSON G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NERY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 302 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, NERY L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NEWTON            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NIEVES            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NILMA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NILMA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NILSA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NILSA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NIRMA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, NITZA DE LOS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ANGELES
RIVERA RIVERA, NITZA E.          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, NIURKA            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, NIVIA J           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, NIVIA J           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, NOE               REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, NOEL              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, NOELIA            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, NOEMI             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, NOEMI             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, NORA H            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, NORA I.           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, NORIS DE LOS A.   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, NORMA             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, NYDIA             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, NYDIA             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, NYREE DEL C.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, OBED              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, ODAMARIS          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, ODAMARIS          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, ODETTE            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, OLGA I            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, OLGA LYDIA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, OLIBERTO          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, OMAR              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, OMAYRA            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, OMAYRA            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, ORLANDO           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, ORLANDO           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, OSCAR             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, OSCAR             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, OSCAR             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, OSVALDO           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, OSVALDO           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, OSVALDO           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, OSVALDO           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, OSVALDO E         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, PABLO             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, PASCUAL           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RIVERA, PEDRO             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 303 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, PEDRO E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, PEDRO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, PEDRO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, PEDRO JUAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, PEDRO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, PETRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, PRISCILLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, QUETSY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RABRIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAFAEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAHIZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAMON L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAMONA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAMONA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAQUEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RAQUEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, REINALDO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, REY FRANCISCO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, REYES M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, REYMUNDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RICARDO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RICARDO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RICKY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5303 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 304 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROBERTO E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROBERTO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROMARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROSA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROSA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROSA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROSA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROSA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROSALINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROSALYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROSAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROSAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROSELYN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ROSSIE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RUBEN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RUTH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RUTH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, RUTH N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SALLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SALVADOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SANDRA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SANDRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SANDRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SANDRA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SANDRA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SANTOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SANTOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SANTOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SARA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SARAH M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5304 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 305 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, SERGIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SERGIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SHEILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SHEILA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SHEILA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SHEILA T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SHEILLA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SHEYLARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SHEYLARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SILVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SILVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SIX A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SONIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SONIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SONIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SONIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SUGEILY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SYLKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, SYLVIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, TIRZA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, TOMAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, TOMASITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VICENTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VICENTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VICTOR A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VICTOR J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VICTOR J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VICTOR K.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VICTOR L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VICTOR ROBERT    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VILMA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VILMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 306 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, VILMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VILMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VIRGEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VIRGEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VIRGEN N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VIRGENMINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VIRGINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VIRGINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VIVIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VIVIANA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, VIVIANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WANDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WANDA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WANDA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WENDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WILFRIDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WILLIAM J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WILMA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, WILSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, XAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, XAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, XAVIER J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, XENYA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, XIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, XIOMARA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YADARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YADIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YAEL MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YAHAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YARELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YARISSA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YASANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YASHIRA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YASMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YASMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YASMIN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YASMIN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 307 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RIVERA, YELISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YELIZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YISEIDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YOHAIRA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YULIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YULIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, YVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ZAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ZAMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ZAMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ZULMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERA, ZULMA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIVERO, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIZZO, GULNER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RIZZO, GULNER R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBERTO, ESTHER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBERTO, ESTHER E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBERTO, MARIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLEDO, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, ALICE B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, ANEUDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, CARMEN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, EDNA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, ELEINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, FLORENCIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, IRIS Y.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, ISABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, ISHOMALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, ISHOMALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5307 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 308 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ROBLES, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, JENIXA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, JORGE RAUL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, JOSE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, JOSUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, KELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, LIZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, LIZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, LUZ I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, MIGDALIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, NAYLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, NESTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, NISHMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, ROSA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, SYLVIA N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, VIVIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, WILSON Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROBLES, ZAYMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROCHE, FREDDIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROCHE, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROCHE, MARCOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROCHE, MARIA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROCHE, MARIA V.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROCHE, NORMA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROCHE, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUE, SHERLY ANN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ABNERYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ABRAHAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ADA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ADILET M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, AGUSTIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, AGUSTIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, AIDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, AIDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, AIDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 309 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RODRIGUEZ, AIDA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, AIDYMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, AIMEE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ALAIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ALBERTO E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ALEJANDRO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ALEX           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ALEYDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ALFREDO D      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ALICIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ALIDA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ALLANYS M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ALMA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, AMARILIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, AMELIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANA A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANA C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANA MARIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANA MARIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANA R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANA R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANDRE G.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANDREA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANDREA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANDREA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANGEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANGEL DANIEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANGEL F        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANGEL F.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANGEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANGEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANGELA M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANGELA R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANTONIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANTONIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ANTONIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ARIEL R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ARMANDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ARNALDO A.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ARNALDO L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ASDRUBAL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ASHLEY A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5309 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                   Schedule E3 Page 310 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RODRIGUEZ, AWILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, AXEL D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, AXEL D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BASILIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BEATRIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BEATRIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BEATRIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BEATRIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BEATRIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BENITO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BENJAMIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BERENITH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BETHZAIDA M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BETSY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BETTY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BETZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BIENVENIDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BLANCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BLANCA R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BRADLEY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BRENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BRENDA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BRENDA L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, BRENDA LEE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARLOS A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARLOS J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARLOS R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARLOS R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5310 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 311 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RODRIGUEZ, CARMEN D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN DE L.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN DEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
PILAR
RIVERA RODRIGUEZ, CARMEN E       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN E       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN G       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN I       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN I       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN I       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN L       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN L       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN M       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN M       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN M.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CARMEN M.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CATHERINE      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CHAIGNA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CHRISTIAN      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CHRISTIAN      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CIRA D.        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, CYNTHIA I      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DAISY M.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DAISYVETTE     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DALIANNE       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DAMARIS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DANIEL J       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DARIEN A       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DAVID          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DAVID          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DAVID          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DEANNA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DELMARIE       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DENNIS         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DENNISE        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DIANA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DIANA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DIANA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DIANA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DIANA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DIANA E        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DIANA L        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DIANA LYN      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DIANA M        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DIGNA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DIGNA M        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DILIA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DILIA DEL CA   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5311 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 312 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RODRIGUEZ, DIRITXIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DISNARDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DOMINGO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DOMINGO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DORIEL Y.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DORIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DORIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DORIS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DORIS E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DORIS E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, DORIS Z         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EBIZAI          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDAN G          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDDIE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDGAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDGAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDGARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDGARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDGARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDICTA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDICTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDNA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDNA F.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDUARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDUARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDWIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDWIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDWIN A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EDWIN O.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EFRAIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EFRAIN A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELADIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELBA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELBA B          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELBA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELBA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELEAZAR O       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELENITH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELENITH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELIEZER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELIS S          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELIZABETH       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELIZABETH       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELIZABETH       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELIZABETH L     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELLIOT          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELLIOT          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELMER ENRIQUE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ELSA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5312 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 313 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RODRIGUEZ, ELVIN D.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EMMA A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EMMANUEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EMMANUEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ENID            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ENNIE O.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ERASMO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ERIC            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ERICK M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ERNAND          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ERWIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ESLICEIL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ESTEBAN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ESTHER          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EUGENIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EUNICE A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EVA H.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EVA M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EVA M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EVELYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EVELYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EVELYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EVELYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EVELYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, EVIAN O         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, FELIX           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, FELIX M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, FERNANDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, FERNANDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, FLORINDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, FLORINDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, FRANCISCO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, FRANCISGELICA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GABRIEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GEORGE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GILBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GILBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GLADYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GLADYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GLADYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GLENDALIZ       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GLORIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GLORIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GLORIMAR        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GLORY MAR       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GREGORIO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GREIGHTON I.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GRISSELLE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GUILLERMINA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RODRIGUEZ, GUILLERMO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GUSTAVO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, GUSTAVO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HAROLD B      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HECTOR I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HECTOR L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HECTOR L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HECTOR M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HECTOR W.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HENRY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HERIBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HERVIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HERYKA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HILDA C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HILDA D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HILDA P.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HIPOLITO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HIRAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HIRAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HIRAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, HUMBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ILEANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ILEANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, INDHIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, INDHIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, INDIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, INEABELLE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, INEABELLE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, IRELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, IRELA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, IRIS I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, IRIS L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, IRMA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, IRMA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, IRVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ISA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ISABEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ISAMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ISAMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ISMAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ISMAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5314 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 315 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RODRIGUEZ, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, IVONNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JACKELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JACKELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JACKELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JACOB         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JACQUELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JACQUELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JAIME L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JAIME O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JANETTE I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JAVIER O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JEAN CARLOS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JEASETT       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JENNIFER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JERRY L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JESENIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JESSY S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOALIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOANN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOEL RODNEY   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOHNNY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JONATHAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JORGE E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JORGE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JORGE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JORGE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JORGE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JORGE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5315 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 316 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RODRIGUEZ, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE G         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSE O         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSEFINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSSIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOSSIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOVITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOZABET        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JOZABET C.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUAN A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUAN ANTONIO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUAN B         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUAN B         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUAN C         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUAN C.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUAN G         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUAN J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUAN M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUAN R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JULIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JULIO E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JULISSA M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUSTINA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, JUVENAL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, KARLA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, KASANDRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, KASSANDRA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, KEILA Y.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, KELLEANA M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 317 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RODRIGUEZ, KEVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, KEVIN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, KEYLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, KYRSIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LEIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LEIDA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LEONARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LESLIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LESLIE A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LETTYCIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LIDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LILLIAM H     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LIMAYRIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LIZ M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LIZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LIZMARI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LLELIANN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LLELIANN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUIS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUIS D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUIS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUIS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUIS F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUIS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUIS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUISETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LURIN B       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUZ A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUZ E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUZ M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LUZ M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LYDIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LYNNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, LYNNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5317 OF 7285
SCHEDULE E
                                    Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                 Desc:
AS REPRESENTATIVE OF                                       Schedule E3 Page 318 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                    UNLIQUIDATED
                                                                                                                       CONTINGENT


                                                                                                                                                   DISPUTED
CREDITOR                            ADDRESS 1                  ADDRESS 2   ADDRESS 3       CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RODRIGUEZ, LYNNETTE          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MADELINE          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MADELINE          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MADELINE S        REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MADELLINE         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MAGALY            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MAGALY            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MANUEL            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MANUEL            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MANUEL A          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARALEXIS         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARAM Y.          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARCOS D          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARGA             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARGARITA         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARGARITA         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARGARITA         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARGARITA         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARGARITA         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARGARITA         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARGARITA         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA A           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA DE LOS A.   REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA DEL C       REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA DEL S.      REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA E           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA E           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA E           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA I.          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA J.          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA L           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA L           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA M           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA M           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA M           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA M           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA M           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA M           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA M.          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA M.          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA P           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA S           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA T           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIA W           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 319 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RODRIGUEZ, MARIA ZULEIMA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIANELA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIANNE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIE A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIELA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARIELY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARILINE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARILUZ         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARILUZ         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARILYN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARILYN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARINELL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARISELA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARISOL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARISOL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARISOL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARITZA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARITZA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARITZA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARJORIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARTA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARTA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARTA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARTA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MARTA S.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MATT            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MAXIMINO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MAYRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MAYRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MAYRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MAYRA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MAYTE N.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MAYTEE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MELVIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MERCEDES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIGDALIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIGDALIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIGDALIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIGDALIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIGUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIGUEL A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIGUEL A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIGUEL A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIGUEL A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIGUEL A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIGUEL A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5319 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 320 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RODRIGUEZ, MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MILDRED        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MINELIS DE L   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MINERVA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MINERVA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIRELLY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIRIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIRIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIRIAM I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIRIAM R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MIRNA J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MOISES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MONICA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MYRA Y         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MYRIAM Y.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, MYRNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NANCY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NASHALIE I     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NATACHA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NATALIE N      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NAYDA L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NEFTALI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NEFTALI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NEFTALI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NEFTALIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NEIDALYZ M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NELIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NELLY I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NELSON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NELSON A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NELSON G       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NEREIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NEREIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NEREIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NILDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NILDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NILDA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NILITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NILITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NILMARIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NILMARIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NILSA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NITZA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NOEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NORBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5320 OF 7285
SCHEDULE E
                                    Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                 Desc:
AS REPRESENTATIVE OF                                       Schedule E3 Page 321 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                    UNLIQUIDATED
                                                                                                                       CONTINGENT


                                                                                                                                                   DISPUTED
CREDITOR                            ADDRESS 1                  ADDRESS 2   ADDRESS 3       CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RODRIGUEZ, NORMA             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NORMA I           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NORMA I           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NORMA I           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NYDIA             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NYDIA I           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NYDIA T           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, NYDIA T           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, OLGA I            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, OLGA L            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, OLGA M            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, OMAYRA            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, OMAYRA            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ORELYS            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ORELYS            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, OTZALY            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, PABLO             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, PABLO G.          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, PEDRO J.          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, PRISCILLA         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, PRISCILLA MARIE   REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, PURA              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, PURA S            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, QUINTIN           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RACHEL            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RADAMES           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAFAEL            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAFAEL            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAFAEL            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAFAEL            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAFAEL            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAFAEL A.         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAFAEL E.         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAMON             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAMON             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAMON L           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAMONA            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAMONITA          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAMONITA          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAMONITA          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RANDY             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAQUEL            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAQUEL            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAQUEL            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAUL              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAUL              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAUL              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RAUL              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, REBECA            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 322 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RODRIGUEZ, REBECCA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, REBECCA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, REINA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, REINALDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, REINALDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, REINALDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, REINALDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, REINALDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, REINALDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, REYNALDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RICARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RICARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RICARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RICARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RICARDO J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RICHARD         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ROBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ROBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ROBERTO O       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ROCIO DEL MAR   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RODNEY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ROLANDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ROSA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ROSA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ROSA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ROSA E.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ROSA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ROSA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ROSA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ROSALY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ROSARIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RUBEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RUBEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RUBEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RUBEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RUBEN R.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RUTH I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, RYAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SAMUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SANDRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SANDRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SANTOS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SARA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SARAH I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SARAH IVETTE    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SARAHY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SARAI M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SARAI M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SARAINA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 323 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RODRIGUEZ, SERGIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SHEILA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SHEILY M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SOFIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SOFIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SONIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SONIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SONIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SOTERO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, STEVE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SUZANNE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, SUZET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, TALSICIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, TANIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, TEODORO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, TERESA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, THERESA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, VALERIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, VANESSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, VANESSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, VANESSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, VANESSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, VERONICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, VERONICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, VICENTA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, VICTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, VICTOR M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, VILMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, VILMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, VIMARIE L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, VIVIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, VIVIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, VIVIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WALDEMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WALDEMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WALESKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WALESKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WALESKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WANDA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5323 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 324 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RODRIGUEZ, WILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WILMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WILMA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WILNARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, WILSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, XIOMARA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YAIMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YAJAIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YAJAIRA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YAJAIRA I.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YAMILEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YAMIR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YANCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YANIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YANNELIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YASMIN O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YAZMIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YESENIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YEZIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, YOMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ZORAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ, ZULMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIGUEZ,LUIS E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RODRIQUEZ, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROHENA, ALEXANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROHENA, EDNA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROHENA, JENNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROHENA, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROHENA, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROHWER, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROIG, ENRIQUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROIG, FERNANDO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROIG, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, ANGELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, ANGELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, ENGRACIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, KEISHLA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, KENNY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, KRYSTAL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, LIZMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, LUIS C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5324 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 325 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ROJAS, LUIS C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, NAHAELY A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, NAHELY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, ODALYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, ODALYS I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, VALMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, VALMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, VIRGEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, WANDY I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, WANDY I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROJAS, WILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLA, DALMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLA, MAYRA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLDAN, ANGEL M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLDAN, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLDAN, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLDAN, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLDAN, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLDAN, DARLENE J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLDAN, DELKA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLDAN, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLDAN, JOSEAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLDAN, JOSEAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLDAN, LILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLDAN, QUETZIA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLDAN, QUETZIA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLDAN, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLDAN, SHEILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLDAN, SYLVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLÓN, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, ANGEL F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, ANGEL F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, EILEEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, ERNESTINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, GERARDINO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, HECTOR H.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, JOLEYRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, JORGE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, JUAN B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5325 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 326 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ROLON, KARLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, LUIS G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, LUIS J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, MARIELA Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, MARIELYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, MARIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, NILSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, NORA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, OTONIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, ROLANDO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, SALVADOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, SONIA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, YAMILETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, YVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, ZIDNIA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROLON, ZULEYKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, ABEL E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, AIXSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, AIXSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, ANGEL R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, ANNETTE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, ARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, ARNALDO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, CARLOS J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, CARLOS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, CHRISTIAN O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, CHRISTOPHER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, DALYMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, EMILIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, FARAH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, FRANKIE W.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, FREDDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, GEYSHA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, GRAMIED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, HAYDEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5326 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 327 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ROMAN, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, HECTOR L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, HECTOR M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, HIRAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, ILEANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, IRIS J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, ISABEL C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, ITZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, ITZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, JEANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, JESUS DANIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, JOHN L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, JORGE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, JOSEFINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, JOSELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, JOSELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, JUANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, JULIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, KARLA PAMELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, LESENIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, LUIS G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, MAGALY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, MARTA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, OLGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, PURA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, RENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, ROBERTO E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, ROSAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, STEPHANIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, TAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, TAYRA EILEEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, VALERIE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, VIANCA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, WALESKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, WILLIAM R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5327 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 328 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ROMAN, YOMAYRALIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, YONAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, YVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMAN, ZORAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMANA, LYNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMANA, LYNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, ENELLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, ESTEBANIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, GEANCARLO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, IVANIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, JOANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, JOSE PEDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, JULIO M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, KAREN D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, MARIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, MAYRA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, NELDA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, RAPHAEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, SIXTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMERO, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMEU, AIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROMEU, AIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RONDON, ALEXANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RONDON, EILEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RONDON, KEREN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RONDON, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RONDON, SONIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROQUE, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROQUE, CARMEN S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROQUE, ELSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROQUE, ELSA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROQUE, HILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROQUE, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROQUE, MARIA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROQUE, MIGUELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROQUE, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROQUE, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 329 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ROSA, ANA A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, ANA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, ANGEL M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, ARIEL L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, ARTURO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, BLANCA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, CARMEN L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, CECILIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, CINTHIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, DEBORAH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, DEBORAH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, DENISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, DENISSE Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, EDISBURGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, EDNA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, EDWIN F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, EDWIN F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, ELINED             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, ELINED             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, EMILY J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, EVELYN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, FELICITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, FELIX A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, FELIX A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, FELIX L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, GLORIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, GLORIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, HAYDEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, HECTOR G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, HECTOR M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, IDALMIS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, ILUMINADA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, ILUMINADA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, IRKA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, IRKA D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, JACOB              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, JEANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, JESUS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, JOHANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, JOHN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, JUAN M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5329 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 330 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ROSA, KARINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, KENETH M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, KESHIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, LUIS F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, LUIS O.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, LUIS R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, LUZ R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, MAGDALY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, MAGDALY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, MANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, MARIA T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, MARTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, MARTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, MERALYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, NATALIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, NILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, NOEL O             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, RAFAEL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, RICARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, RICARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, ROSELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, YAJAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, YARICELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, YNONNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, YVONNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSA, ZELIDETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSAD O, JEANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, ABELARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, AMPARO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, ANA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, ANA W            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, ANTHINY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, ANTHONY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, ARLENE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5330 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 331 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ROSADO, ARLINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, AURORA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, BARBARA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, CARLOS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, CARLOS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, CARLOS R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, CARMELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, CARMEN C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, CARMEN ISOLINA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, CHRISTINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, CRISTIAN E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, DAGMAR I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, DANILUZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, DESIREE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, DIANETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, EDWIN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, EDZIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, EVA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, FRANCHESKA M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, HECTOR E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, HECTOR L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, HENRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, ILEANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, IRIS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, IRIS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, IVAN JUNIOR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JAIME O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JANET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JANET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JANET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5331 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 332 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ROSADO, JAVIER O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JESUS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JOHAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JOHANN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JOHANN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JOHNNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JOSE E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JOSE E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JOSE O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JOSEFINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JUAN I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JUAN J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JUDITH B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, LILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, LILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, LORNA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, LOURDES R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, LUCILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, LUIS ENRIQUE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, LUIS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MADELENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MARIA DE LOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MARIA MILAGROS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MARIELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MARIELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MARIVELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MARIVELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MARTA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MIREILY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 333 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ROSADO, MIRIAM             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MIZRAIN O          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MONICA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MYRNA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MYRNA I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, MYRNA L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, NYDIA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, OSCAR              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, PEDRO              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, RICARDO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, ROBERTO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, SONIA I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, SONIA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, SYLVIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, SYLVIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, VANESSA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, VIVIAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, WANDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, WANDA I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, WILFREDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, WILMARIE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, WILMARIE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, XIOMARA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, YADHIRA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, YILDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSADO, ZABASKAMARY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARI, ANA R              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO FERNANDEZ, MARIA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, ADA I.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, ALIDA IVETTE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, AMARILIZ          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, AMILDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, ANA D             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, ANABEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, ANTONIO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, BRENDA ELIS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, CARLOS JAVIER     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, CARMELO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, CARMEN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, CARMEN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, CARMEN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, CARMEN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, CARMEN AWILDA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, CARMEN E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, CAROLIM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, DANIEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, DELIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, DENISE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, DOMINGO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 334 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ROSARIO, DORIS S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, DULCE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, DULCE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, DULCE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, ELISBET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, ELISBET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, ENEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, EVA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, FELICITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, FELIPE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, FELIPE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, FELIX E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, FRANCHESCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, FRANCHESCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, GERARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, GLOAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, GLORIBELL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, GRACIELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, GUILLERMO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, GUILLERMO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, HECTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, HECTOR T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, HUGO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, IVETTE J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, JANELLIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, JANNELYN N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, JEANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, JENIFFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, JENNIFER D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, JOSE F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, JOSE JAVIER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, JOSE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, JOSE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, JUAN C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, JUAN C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, JUAN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, KETTY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, KRISSIA Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, LARISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, LILA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, LILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5334 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 335 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ROSARIO, LIVIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, LIZ J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, LIZETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, LORNA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, LUIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, LUIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, LUIS ANTONIO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, LUIS F           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, LUIS F.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, LUIS M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, LUIS VLADIMIR    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, LYANED Y         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, MARIA D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, MARIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, MARISOL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, MARTA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, MAYRA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, MELANY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, MICHAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, MIGUEL A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, MILAGROS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, MILDRED          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, NAIDA Y.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, NANCY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, NASHALY Z        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, NILDA H          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, NYDIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, NYDIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, NYDIA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, OLGA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, OLGA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, OLGA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, OSCAR E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, OSCAR O          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, PABLO J.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, PEDRO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, RAMON            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, ROBERTO J.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, ROSANNIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, ROSANNIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, RUDY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, RUTH EVELYN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, SAMUEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, SARA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, SOL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, SONIA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5335 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 336 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ROSARIO, SUCHEI           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, SUHEIL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, SUHEIL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, SUHEIL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, TITO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, WANDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, WILMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, WILMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, YADIRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSARIO, YADIRA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSAS, JORGE R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSAS, PEGGY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSELLO, JULIO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSICH, JESSICA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSSY, ELADIO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSSY, LUZ N              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSSY, LYDIA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROSSY, WILFREDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROUCHET, AXEL L.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ROURE, MARIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUBERT, CARMEN L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUBERTE, LUIS J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUBERTE, MYRNA R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUBIN, ALMA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUBIN, ALMA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUBIN, OLGA M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUBIN, OLGA M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUBIO, JOSE A             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUBIO, JOSE A.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUBIO, MILAGROS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUEDA, JORGE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ DE PORRAS, ROBERTO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ABNER V             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ADLIN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ADLIN M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, AGNES I.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, AGNES I.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, AGUEDO              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, AGUEDO              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, AIDA B.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, AIDA L              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ALFREDO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ALICIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ANGEL MIGUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ANNETTE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ANNETTE Y           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ARMANDO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ASTRID K            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, BRAULIO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5336 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 337 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RUIZ, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, CAMILLE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, CARLOS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, CARLOS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, CARLOS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, CARLOS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, CARLOS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, CARMEN DEL P       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, CARMEN S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, CAROL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, CAROL I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, CATALINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, DALIED M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, EDGAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, EDWIN X.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ELBA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ELBA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ELBA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ERWIN J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, EUGENIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, EVA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, FERDINAD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, FRANCISCO A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, GEOVANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, GIANLUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, GUILLERMO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, GUILLERMO E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, GUILLERMO E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, HEDY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, HERMENEGILDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ILEANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ILEANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, IRIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, IRIS J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ISABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ISRAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 338 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RUIZ, JORGE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, JOSE I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, JOSE M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, JUAN BAUTISTA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, JUAN M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, KETTY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, KETTY J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, LILLIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, LUIS E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, LUZ M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, MADELINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, MADELINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, MADELINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, MANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, MARIA DE LOURDES   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, MARIA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, MARILUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, MARILUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, MARTA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, MAYRA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, MIRIAM L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, MYRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, NATACHA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, NEREIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, NEREIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ONITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, OSCAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, RAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, RENE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, RENE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, RICARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ROBERT             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, ROSA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, SHARON J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, TEDDY R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, TRISHA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5338 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 339 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA RUIZ, VICTOR E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, WANDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, WILLIBALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, YAHAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, YAMIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, YARICZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, YARICZA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ, YAZMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUIZ,AIDA L.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RULLAN, EDISON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RULLAN, STEPHANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RULLAN, STEPHANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUSSE, ROCIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA RUSSE, ROCIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAAVEDRA, BEVERLY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAAVEDRA, EDDIE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAAVEDRA, WALESKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SABALIER, AXEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SABALIER, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SABATER, AMPARO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SABATER, DORIS Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SABATER, JOSEFINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAENZ, LORCAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAENZ, LORCAN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, ALEXANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, ANA L.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, BELEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, BRISELLE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, BRISELLE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, CARLOS J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, EDMI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, EDWIN I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, FELIZNEIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, HILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, IVETTE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, JOSE D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, KAREN D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, NOEMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, PEDRO J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, PEDRO J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, ROBERT             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, RUPERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAEZ, WALDERT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALABARRIA, NILSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALAMAN, ALEXIS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALAMAN, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SALAMAN, CARLOS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALAMAN, EULALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALAMAN, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALAMANCA, FELICITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALAMANCA, FELICITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALAS, JOSE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALAS, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALAZAR, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALAZAR, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALDANA, ELSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALDANA, JORGE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALDANA, LORRAINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALDANA, LUIS G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALERNA, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALERNA, LILLIAN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALES, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALGADO, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALGADO, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALGADO, ANGELES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALGADO, ANGELES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALGADO, BARBARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALGADO, CARMEN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALGADO, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALGADO, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALGADO, EDNA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALGADO, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALGADO, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALGADO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALGADO, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALGADO, MARTA B.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALICHS, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALICRUP, JONEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALINAS, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALINAS, YAMIRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALIVA, WILNNETTE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALVA, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALVA, ANGEL O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SALVA, GABRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAMUEL, MARIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAN FELIZ, LUZ DE L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAN MIGUEL, ANIBAL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAN MIGUEL, ANNIE I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANABRIA, CARMELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANABRIA, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANABRIA, ELVIN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANABRIA, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANABRIA, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANABRIA, JOSE AXEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANABRIA, JOSE J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5340 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 341 of 2285
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

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                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SANABRIA, LEONARDI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANABRIA, MABEL C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANABRIA, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANABRIA, SALI N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANABRIA, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANABRIA, WANDA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANABRIA, WILMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ADELAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, AGNES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, AGNES E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, AGNES E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, AMARILIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, AMNERIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ANA H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ANGELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ARIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ARIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ARIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ARNOID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, BENJAMIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, BLANCA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, BLANCA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, CARLOS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, CARMEN N.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, CARMEN Z        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, CAROL M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, CHRISTIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, DAISY J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, DAMARIS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, DEBORAH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, DENISE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, DOLORES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, EMILSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, EMILSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, EMMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5341 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 342 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SANCHEZ, ETANISLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, EUGENIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, EVARISTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, FELIX A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, FRANCHESKA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, GENNESIS M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, GISELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, GISELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, GLORIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, HAROLD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, HAROLD L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, HECTOR I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, HECTOR M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, HEIDY M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, HERMINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, HILDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, HIRAM B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, IRIS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, IRMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, IVONNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, JESUS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, JOSE MANUEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, JOSE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, JUAN F.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, JUAN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, JUAN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, JUAN P          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, KARLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, KEISHLA D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 343 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SANCHEZ, LAURA IVETTE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, LESLIE I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, LEVI             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, LEYDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, LORELL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, LUDWING J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, LUIS G           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, LUIS R.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, LUISA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, LUZ              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, LUZ V            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MARGARITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MARIA DE LO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MARIA DEL C.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MARIA L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MARIOLA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MARISOL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MARISOL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MARISOL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MARISOL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MARITERE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MELVIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MICHELLE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MIGDALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MIGDALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MIGDALIA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MILAGROS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MILAGROS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MILDRED          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MILDRED I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, MIRIAM E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, NANCY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, NANCY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, NANCY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, NOEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, NOEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, NOEL A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, NOELIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, NOELIS J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, NORMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, NORMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, NORMA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, NURAIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, OLGA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, OLGA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5343 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 344 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SANCHEZ, PABLO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, PEDRO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, PRISCILA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, RAFAEL E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, RAMON L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, RAMSES YORDAN   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, REYNALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ROSA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ROSA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ROSA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, ROSMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, SACHA S.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, SARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, SERGIO E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, SONIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, TILSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, TIRZAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, TIRZAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, VICTOR D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, VICTOR D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, VICTOR M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, VILMA N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, VIRGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, WALTER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, WILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, XIOMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANCHEZ, YANAIRI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANDOVAL, JESSILLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANDOVAL, JULISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANDOVAL, JULISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANDOVAL, NEYSA A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANDOZ, NILDA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANDOZ, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5344 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 345 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SANFELIZ, LUIS R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANFIORENZO, MIBARI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANGUINETTI, DERICK G    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANJURJO, CESAR D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANJURJO, IMANOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTA, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTA, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTA, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTA, NITZA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTAELLA, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTAELLA, CARMEN L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTAELLA, GADIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTALIZ, EDUARDO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTALIZ, EDWARDO J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, ANA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, CARLOS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, CARMEN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, DAMIAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, DENIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, DOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, EDDIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, EDDIE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, EDNA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, EDWAR G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, ELSA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, FRANCHESCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, FRANCISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, FRANK           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, HILDA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, HUMBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, JANICE I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, JANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, JESUS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, JESYMOTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, JIMMY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, JOHANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, JUAN G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, JUAN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, KATHIAMARY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, KATIUSCHKA N    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5345 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 346 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SANTANA, LESLIE X        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, LIRELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, LIRELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, LUCILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, MABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, MABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, MARIO E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, MISAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, MONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, NORELIX M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, NORELIX M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, PEDRO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, SEZCOV          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, SHEILA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, WANDA W         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, YESENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, YOSAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTANA, ZULMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ABAD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ADA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ADALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ADALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ADELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ADELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ADELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ADNERI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, AGUSTIN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ALBA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ALECXA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ALEX O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, AMARELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, AMARELIS D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, AMPARO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, AMPARO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, AMPARO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ANA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ANA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5346 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 347 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SANTIAGO, ANA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ANA TERESA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ANA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ANDRES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ANGEL E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ANGEL LUIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ANTONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ARELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ARMANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, AWILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, BELKIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, BELKIS Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, BENJAMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, BETHZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, BETZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, BLANCA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, BLANCA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CAMELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CANDELARIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARILIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARLOS J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARLOS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMEN I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMEN N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMEN S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CARMEN S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CHARELIZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, CHRISTIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5347 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SANTIAGO, CHRISTIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, DAISY MARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, DANNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, DAVID J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, DAYANNA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, DELIA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, DELIRIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, DESIREE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, DESIREE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, DESIRRE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, DIEGO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, DILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, DILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, DORIS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EDDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EDDY A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EDILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EDNA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EDWIN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EDWIN A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EFREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ELENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ELIXAVIER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ELSILUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EMILIANO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ERICA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EVA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EVA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EVELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, FELICITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, FELIPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, FERNANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, FERNANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, FLORENCIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, FREDESWINDA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, GABRIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, GEORGINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5348 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 349 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SANTIAGO, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, GISELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, GITLAINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, GLORIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, GLORIA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, GRISELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, HARRY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, HAYDEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, HECTOR L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, HECTOR OMAR    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, HERMINIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, HERNAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, HEYDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, HIRAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ILKA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, INES M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, IRAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, IRIS Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, IVETTE Z.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JACKELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JACOBO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JAHNNISMARY    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JAHNNISMARY    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JAMILE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JANETTE Z.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JANNET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JAYLEEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JEICALYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JESUS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JOHANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JOHANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JONATHAN J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JONNATHAN O    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5349 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 350 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SANTIAGO, JORGE LUIS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JOSE A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JOSE A.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JOSE D.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JOSE L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JOSE L.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JOSE L.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JOSE M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JOSE M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JOSE R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JOSELINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JOSUE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JUAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JUAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JUAN A.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JUAN F           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JUAN F           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JUAN F.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JUAN G.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JUAN JOSE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JUANA C          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JUANITA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JULIA VERONICA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JULIO R          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, JULIO R          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, KAREN M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, KARLA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, KEIRA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, KRITZIA L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, KUAY CHAN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LATISHA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LEGNA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LENITZIA J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LEONARDO J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LEONIDES         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LI ABNELI        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LILLIANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LINDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LINDA LEE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LINETTE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LIONEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LISANDRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LIZAMAR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LORNA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUIS A.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5350 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 351 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SANTIAGO, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUIS D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUIS G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUIS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUIS O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUIS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUZ B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUZ L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LUZ Z.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LYANERAIME     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, LYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MAGALI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MANUELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARCOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIA D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIA DEL A.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIA S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIA Z.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIANELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIDELI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIE D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIELA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARIELEY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5351 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 352 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SANTIAGO, MARITZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARLY J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARTA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARTA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARY LIZ         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MARYBELL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MELBA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MICAELA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MICHELLE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MICHELLE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MIGUEL A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MIGUEL A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MIGUEL A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MILDRED          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MILITZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MINERVA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MINERVA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MURIEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MYRNA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, MYRNA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, NANNETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, NANNETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, NANNETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, NAYARITH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, NELIDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, NESTOR ESTEBAN   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, NILDALY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, NOELIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, NORMA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ODALYS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ODALYS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ODRI             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, OLGA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, OMAR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, OMARIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, OMAYRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ONEIDA I.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ORLANDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ORLANDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, OSCAR M.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, PABLO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, PABLO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, PEDRO F.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, PORFIRIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, RAFAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, RAFAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, RAFAEL J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, RALPHIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, RAMON            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5352 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SANTIAGO, RAMON A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, RAMON E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, RAMON E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, RAMON L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, RAQUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, RAQUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, RAYMOND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, REGALADA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, RITA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ROSA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ROSANETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, RUTH E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, RUTH M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, SALVADOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, SALVADOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, SARAH H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, SASHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, SHEILA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, SHEILA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, SIDNEY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, SYLVETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, TATTIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, TEDDY JOEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, VALERIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, VALERIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, VALERIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, VANASSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, VILMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, VIVIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, VIVIAN G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, WALDEMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, WALDEMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, WALDEMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, WALTER E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, WARXELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, WILLIAM H      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, WILMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, XIOMARYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5353 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 354 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SANTIAGO, XIOMARYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, YADIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, YAHARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, YAHARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, YAJAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, YANIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, YASIETTE M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, YATZEL M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, YESENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, YESENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ZADETH D.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ZERAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ZERAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ZOE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTIAGO, ZULMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTINI, MELBA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTORY, DAVID E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, AMARILYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ANA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ANA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ANA D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ANDRES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ANDRES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ANGEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ANNELISE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ANNELISE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ARNALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, CANDIDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, CARMEN D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, CARMEN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, CARMEN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, CARMEN R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, CARMENISA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, DANIEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, DANIEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ENEMIR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ERIC             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, GINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, GINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, GINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, HIPOLITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, HIPOLITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, HIRAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ILEANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SANTOS, IRAIDA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, IRMA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, JESMAR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, JOSE G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, JOSEAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, JOSMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, JULIO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, JUSTINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, LISA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, LUIS I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, LYANNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MAGDALENA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MALENI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MARIA DE LOS A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MARIANGELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MARIANGELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MARIANGELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MEADY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MEADY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5355 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 356 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SANTOS, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, MYRNA C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, NAIDALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, NAIDELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, NILSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, NORMA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, PRISCILLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, REYNALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ROBERTO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ROBERTO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ROBERTO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ROSANYELI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, RUTH D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, RUTH E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, RUTH M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, SANTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, SHEYRA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, SONIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, SONIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, SONILEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, SUEHEILY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, SURIEL R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, VIRGEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, YAMILET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, YAMILLET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, YAMILLET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, YESSENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ZUANIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTOS, ZULMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTUCHE, HERNAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SANTUCHE, HERNAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SARATE, RAINIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SARATE, RAINIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SARMIENTO, ANA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SARMIENTO, ANA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SARRAGA, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SARRAGA, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SASTRE, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SAURI, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 357 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SAURI, LUZMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SCHATZ, THOMAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SCHETTINI, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SCHNEIDER, ANA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SCLANK, ARLENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SCLANK, ARLENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SCOTT, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SCOTT, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEARY, TOMAS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEDA, ALEXANDER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEDA, JINX               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEDA, JINX               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEDA, JOSUE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEDA, JOSUE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEDA, LESTER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEDA, NILSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEGARRA, ARACELYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEGARRA, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEGARRA, GUSTAVO M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEGARRA, HIRAM A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEGARRA, MARLYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEGARRA, NORVAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEGARRA, STEPHANIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEGUI, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEGUI, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEIJO, LUIS GUSTAVO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEMIDEY, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, ALTAGRACIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, ANA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, ANA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, DILMAYRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, DILMAYRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, ERIC M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, ISAMIL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, JOSE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, JOSE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, LUDGERIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, MARTA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, MISAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, MOISES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, PAULA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, ROSA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, SARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5357 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 358 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SEPULVEDA, SOLMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEPULVEDA, VICMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERBIA, SYLVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERNA, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERNA, LUIS E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERPA, MIGUEL ANTONIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, ADANITTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, ADELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, ALEXANDRA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, ANITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, ARACELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, BENITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, BEVERLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, CARMEN S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, CELIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, DARYNESS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, DARYNESS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, DENISSE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, DORIS S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, EDDIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, EDDIE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, ELADIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, ERIC J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, FREIDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, GORIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, GRACE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, GREGORIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, INEABELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, IRIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, JIMMY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, JOSE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, JOSE O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, JUAN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, JULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, KATHIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, LAZARO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, LUISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, LYANN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5358 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 359 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SERRANO, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, MARIA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, MISAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, MISAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, MYRNA Z.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, MYRNA Z.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, NATALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, NILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, RAMON L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, ROSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, RUTH M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, SYLKIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, YANIRA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SERRANO, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEVILLA, ANGEL R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SEVILLA, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SHA, IRIS Y              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIACA, GLORIA B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, ALBERTO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, AMOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, AMPARO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, BETHZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, GENOVEVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, HILDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, JANISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, JANISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, JANISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, JOSE LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, JOSEAN Y.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, KAREN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, KAREN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, LUIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, MARICARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5359 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 360 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SIERRA, MAYRA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, NYDIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, SIGFREDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, STEPHANIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, VICTOR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, WILMARIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, ZORAIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIERRA, ZUHEIL F          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIFONTE, CARMEN J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIFONTE, EDGARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIFRE, ALFREDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SIFUENTES, RADAMES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, CARLOS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, CARLOS R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, DAMARIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, DAMARIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, GRISSELE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, JANIE M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, JAYSON             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, JOSE               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, KATYA MICHELLE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, LOURDES            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, LUIS D.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, LYMARIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, MACHERRIE I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, MACHERRIE I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, MADELINE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, MARIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, MARIA A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, MARTA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, MARTA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, PEDRO A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVA, ROLANDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVERMAN, ELIU           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SILVERMAN, RICARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SINIGAGLIA, PROVIDENCIO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SINIGAGLIA, PROVIDENCIO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SKELTON, LYDIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SKERETT, ISMAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SMITH, NATALIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SMITH, NATHALIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SMITH, TRINI J.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SMITH, TRINI JAVIER       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SMITH, YANIRA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOBERAL, LUZ D.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOBRADO, EVELYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOBRADO, MARIA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOLER, CARLOS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOLER, IVAN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5360 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 361 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SOLER, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOLER, LORNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOLER, LORNA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOLERO, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOLIS, EDDIE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOLIS, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOLIS, JUAN E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOLIS, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOLIS, MYRIAM L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOLIS, ROSANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOLIS, SIXTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOLIS, YARETZIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOLIVAN, , LUCAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOLIVAN, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOLIVAN, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SORRENTINI, AWILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOSA, AIDA L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOSA, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOSA, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOSA, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOSA, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOSA, LUIS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOSA, ZULMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOSTRE, BELEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOSTRE, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOSTRE, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOSTRE, HIPOLITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOSTRE, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOSTRE, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ABNER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, AIDA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, AIXA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ALEX               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ALEXANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ANA D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ANGEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ANGELA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ARIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, BECZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, CARLOS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, CARLOS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, CARMELO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, CARMEN HAYDEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 362 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SOTO, CARMEN N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, CARMEN S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, DEBORAH M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, DEICIRI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, DEICIRI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, DORA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ELMER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ELMER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, EMMA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, EMMANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, EMMANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ESAUD              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, EVANGELISTA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, FRANCHESKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, FRANCISCO A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, GLORIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, GREGORIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, HAYDEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, HECTOR L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, HIDANIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, IGDA S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ILIA H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, IRIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ISAAC              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ISAAC              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JAYDEE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JAYDEE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JEANETTE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JIDMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JORGE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JORGE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JOSUE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JUDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JUDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JUDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JUDITH M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, JUSTINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, KEVIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5362 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 363 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SOTO, LEONARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, LOREINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, LUIS D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, LUIS D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, LUZ C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, LUZ C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, LYDIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MARGIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MARYBELL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MAYTEE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MELANIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MERARI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MIGDALEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MIGUEL O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MIKEY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MIKEY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MILAINY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MIRELLIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, NAIDA MABEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, NATALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, PILAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ROSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ROSA H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, SILVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, SIXTO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, SONIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, STEVENS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, WELDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, WIDALIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTO, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTOMAYOR, ADLIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTOMAYOR, ANA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTOMAYOR, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTOMAYOR, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTOMAYOR, JAIME O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTOMAYOR, MAGNOLIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTOMAYOR, MARLENE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTOMAYOR, PURA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOTOMAYOR, PURA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 364 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA SOTOMAYOR, VICTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOUFFRONT, DORELI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SOUFFRONT, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA STEPHEN, NILKA F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA STISO, ESTRELLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, AMELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, ARAMINTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, DHALMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, DIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, DIMARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, GISELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, HECMIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, JANET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, JASIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, JOHNNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, KARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, KARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, LISMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, MARIA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, MERARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, NEYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, NIDZA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, RAMON A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, SONIA N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, WILMALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAREZ, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAZO, JOMAR O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAZO, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAZO, NYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAZO, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUAZO, SONIA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SULIVERAS, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SULIVERES, EVANGELITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SULIVERES, EVANGELITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SULIVERES, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SURITA, EDISON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA SUSANO, YOMARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TALAVERA, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TALAVERA, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TANON, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5364 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 365 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA TANON, CARMEN N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TAPIA, DAISY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TAPIA, GLORIBETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TAPIA, HAYDEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TAPIA, IVAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TAPIA, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TAPIA, LUCILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TAPIA, NILSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TAPIA, TRINIDAD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TAPIA, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TAPIA, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TAVARES, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TAVAREZ, ANA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TAVAREZ, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TAVAREZ, JOSUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TAVAREZ, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TEJEDA, ALINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TELLADO, YESSENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TERRON, ANA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TERRON, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TEXIDOR, EMANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TEXIDOR, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TEXIDOR, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TEXIDOR, PABLO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIBURCIO, CESAR A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIBURCIO, CESAR A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIBURCIO, JUAN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, AMIGDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, AMIGDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, ANGEL R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, CARLOS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, EDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, IRMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, JAZMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, JOSE RAUL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, JUAN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, KEVIN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, LILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, MADIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5365 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 366 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA TIRADO, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, MIDIAM E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, MIDIAM E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, MILDRED DEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, NICHOLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, ONEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, RAFAEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, REY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, ROBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, ROSAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, ROSAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, YAINA G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TIRADO, YARIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOLEDO, ARLEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOLEDO, DASLIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOLEDO, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOLEDO, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOLEDO, MATIAS R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOLEDO, MATIAS R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOLEDO, NILDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOLEDO, RAFAEL ANGEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOLEDO, RAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOLEDO, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOLENTINO, JALINETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOLENTINO, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOMASSINI, LIZZETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORES, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORMOS, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, ALICE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, ANGEL D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, ANGEL L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, BETSY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, BETSY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, CHARLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, DAIANARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, DIADEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, DORCAS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, ELBA N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, JESUS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, JESUS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, JOHANNA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5366 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 367 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA TORO, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, LUIS E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, ROBERT L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORO, VERONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRADO, MAGALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRENS, YADIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ADA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ADRIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ADRIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, AIDA Y.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, AIDARIALYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, AILEEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, AITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ALBA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ALBERT A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ALBERTO A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ALBIT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ALBIT J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ALEJANDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ALEXANDER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, AMNERIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANA MARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANATILDE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANDRES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANGEL D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANGEL L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANGEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANGEL M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANGEL R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANGEL RAFAEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANGELICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANGELICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANGELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANGELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANGELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANGELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANIANO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 368 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA TORRES, ANIBAL A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANIBAL DAVID      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANTONIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ANTONIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ARNALDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, BEATRIZ           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, BEATRIZ           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, BENJAMIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, BETSIE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, BETSY M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, BETTY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, BETTY L.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, BIENVENIDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, BRENDA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CANDY M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARLOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARLOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARLOS A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARLOS A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARLOS H          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARLOS I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARLOS R.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN D.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN G          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN G.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN MILAGROS   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN O          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 369 of 2285
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA TORRES, CARMEN R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARMEN T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CARY M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CATHERINE L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CHAILINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CHARLES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CHIMERE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CINTHIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CLARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CLARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CLARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CONSUELO I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, CORAL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, DANNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, DELFIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, DENISE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, DIEGO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, DORALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, DUHAMEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EDDIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EDDIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EDITH E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EDITH M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EDNA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EDNISOMALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EDWIN DAVID      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EILEEN N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ELBA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ELBA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ELENA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5369 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 370 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA TORRES, ELENYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ELIEZER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ELIEZER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ELIUD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ELVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EMILIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ENEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ESTHER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EUGENIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EVA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EVA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EVA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, FELIX J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, FELIX J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, FELIX J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, FERDINAND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, FRANCES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, FRANCIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, GILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, GISELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, GLENDALIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, GLORIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, GRISELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, GUADEMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, GUILLERMO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, GUILLERMO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, HARRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, HEIDY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 371 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA TORRES, HEIDYMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, HILDA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, HILDA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, HILDA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, HILDA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, HIRAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, HIRAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, HIRBERT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, HIRBERT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, IMALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, IRIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, IRIS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, IRIS YANICE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, IRMA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, IRMA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, IRMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, IRMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, IVY I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JACKELINE O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JACKELYNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JANIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JANIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JEANERIKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JEMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOEL R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JORGE I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JORGE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JORGE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 372 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA TORRES, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE RAFAEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE U           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSE U           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSEPH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSIAN J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOSUE D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JOVANY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JUAN B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JUAN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JUAN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JUAN L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JULIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, KAREN H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, KATE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, KATHLEEN ANN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, KEYLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, KEYLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, KIARAMIL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LAURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LAURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LAURA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LEILANI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LENNYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LESBIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LESLIE D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5372 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 373 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA TORRES, LETICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LEYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LIONEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LITZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LIZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LIZBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LIZBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LIZETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LIZETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LIZY E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LIZY E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LORIANN M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LORIANN M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LORIS L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LOURDES M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUCELENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS H.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUIS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUZ N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUZ N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LUZ S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, LYSBIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5373 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 374 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA TORRES, LYSBIA M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MANUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MANUEL DE J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MANUEL DE J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARANGELY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARCELA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIA C           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIA DE LOS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIA DE LOS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIA DE LOS A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIA DEL C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIA DEL P       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIA ELENA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIA J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIA P.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIBEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIBEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIBEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARIGELY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARILEINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARILYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARION L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARION L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARISEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARISOL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARITZA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARITZA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARK A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MARYALIN Y        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MASSIEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MAXIMINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MAYRA I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MAYRA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MAYRALEE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MELBA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MELQUIADES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MICHAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MICHAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MICHAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MICHAEL A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MICHELLE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MIGUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5374 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 375 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA TORRES, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MILTON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MOISES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MYRIAM E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MYRNA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, MYRNA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NAIDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NANCY L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NAOMI M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NATALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NATALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NATALIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NILSA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NITZA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NORMA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, NYDIA W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, OLGA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, OLIVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, OMARILIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, OMAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, OMAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ORVILLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 376 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA TORRES, OTONIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, PAOLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, PAULA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, PLACIDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, RAFAEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, RAMON A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, RAMON J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, RAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, REBECCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, REBECCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, REBECCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, REBECCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, RIGOBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ROSA H.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ROSANGELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ROSARIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ROXANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SANDRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SANDRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SANTOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SARAI I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SERGIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SHEILA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SHEMANE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SHEMANE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SHEYLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SHEYLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SHIRLEY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5376 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 377 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA TORRES, SIMON PEDRO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SOL I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SOLIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SONIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SONIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SONIA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, SULEYKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, TATIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, TRINIDAD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, VERONICA S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, VICKY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, VICTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, VICTOR R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, VILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, VIVIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, WALDEMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, WALDEMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, WALESKA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, WANDA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, XARIEL ANTONIO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, XAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, YAJAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, YAMAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, YAMITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, YARA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, YARA LIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, YAZMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, YEZENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ZAIDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES, ZULMAREE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRES,MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRESOLA, EDWIN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRUELLA, NILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TORRUELLAS, EDNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOSADO, HUMBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOSADO, HUMBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOSADO, LUIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOSADO, MIKE D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOSADO, STEVEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TOVAR, JORGE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRABAL, CARMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRANI, ROSAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRAVERSO, SARA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5377 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 378 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA TRAVERZO, NESTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRAVIESO, JANET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRENCHE, CAROL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRENCHE, CAROL J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRICOCHE, MAYRA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRICOCHE, ZAYRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRICOCHE, ZAYRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRINIDAD, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRINIDAD, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRINIDAD, GLORIA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRINIDAD, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRINIDAD, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRINIDAD, KARELYS M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRINIDAD, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRINIDAD, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRINIDAD, MILDRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRINIDAD, MISAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRINIDAD, NITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRINIDAD, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRINIDAD, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRINIDAD, YESENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRISTANI, JENNIPHER S    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRISTANI, JENNIPHER S.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRISTANI, VIMARYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TROCHE, DIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TROCHE, IRIS N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TROCHE, IRMA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TROCHE, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TROCHE, PAULINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TROCHE, RAYMOND          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TROCHE, ROSA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TROYANO, IRRAS G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRUJILLO, JANET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRUJILLO, JIMMY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRUJILLO, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRUJILLO, LILLIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TRUJILLO, MOISES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TUBENS, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TUBENS, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TUBENS, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TULIER, CARMAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TULIER, CARMAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TULIER, LILIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TURNER, KAREN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TURPEAU, TAMAYDA F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA TURPEAU, TAMAYDA F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA URBINA, INGRID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA URRUTIA, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA URRUTIA, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA URRUTIA, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA USERA, NORMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA USERA, NORMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VACQUEZ, BELINDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VADI, CRISTINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VADI, IVONNE C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VADI, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALCARCEL, ANA LOURDES   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALCARCEL, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALDES, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALDES, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALDES, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALDES, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALEDON, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENCIA, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENCIA, FRANCISCO A.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENCIA, NORA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, AIDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, ANGEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, BENITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, BENITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, CARMEN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, CARMEN N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, CATIRIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, CIRILO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, DENICE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, DOLORES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, EDDA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, EDISON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, ESTHER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, EVANGELINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, FERDINAND      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, GLORIA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, HECTOR A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, IDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, JANET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, JESUS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, JHOMAYRA T     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, JHOMAYRA T     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, JUAN B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, KEISHLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, LILIBETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, LILIBETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, LOURDES M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5379 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 380 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VALENTIN, LOYDA H.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, LUIS F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, LUIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, MARIA DE LOS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, MARTHA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, MONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, ROBERTO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, ROCIO K        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, ROSA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, SURIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, VIVIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, YADIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALENTIN, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALES, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALLE, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALLE, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALLE, DAMARYS I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALLE, ENID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALLE, GERMAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALLE, GUADALUPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALLE, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALLE, MIRTELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALLE, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALLE, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALLES, CESAR RAUL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALLES, HIPOLITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALLES, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALLS, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALLS, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VALPAIS, ANGEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VANDERHAAGEN, LIZA A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARA, SAUDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARCARCEL, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARELA, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARELA, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARELA, IVETTE G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARELA, LAURA SHYLENE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5380 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 381 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VARGAS, ABIGAIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, ADA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, ADALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, AIXA T.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, ALEX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, ANA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, ANGEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, ANIBAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, AUREA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, BRUNILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, CEFERINO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, CESAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, CESAR A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, EDNA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, ELIENID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, GENOVEVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, GLORIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, GREGORIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, HERMINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, IRENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, IRIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, IRIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, JADEYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, JULISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, KEIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, KEIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, LUZ N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, MARIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, MARILIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, MARILY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, MILTON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, MONIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, NICOLE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5381 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 382 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VARGAS, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, SOFIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, STEPHANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, SUHEILY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, VICTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VARGAS,JULIO G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VASQUEZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ABDEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ADALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, AIDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, AIXA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ALBERT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ALEXIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ALICE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ALICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ALIZIRIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, AMPARO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, AMY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ANDRES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ANEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ANGEL L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ANGEL L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ANGEL R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ANGEL V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ANGELICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ANIBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ANIBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ARTURO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, BETZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, BRYAN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CARLOS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CARLOS J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CARMEN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5382 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 383 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VAZQUEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CARMEN M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CECILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CELIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CHASIRA LEE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CHRISTIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, CLARA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, DAISY O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, DENISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, DERDLIM A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, DERRICK         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, DESIREE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, DOLORES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, DORCAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, EDGAR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, EFRAIN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, EFREN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ELBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ELSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, EMMA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ENID M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, EVYAN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, EVYAN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, FELICITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, FELIX A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, FRANCISCO R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, FRANKI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, GISELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, GLADYS E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, GLENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, GLENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, GLORIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, GLORIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, GRISELE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, HEIDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, HOMMIS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, HUMBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, IDALI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, IRAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 384 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VAZQUEZ, IRAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, IRAIDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JACKELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JAIME L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JAMES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JAMES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JANNETTESARI    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JANNIE I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JANNIE I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JUAN CARLOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JUAN CARLOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, JUANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, KARELYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, KEISHA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, KEVIN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, KEYLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LEONER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LEXA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LIVIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 385 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VAZQUEZ, LIVIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LIZ J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LORNA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LUIS ERNESTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LUIS IVAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LUIS O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LUZ D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LUZ I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LUZ Z           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LYLINETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, LYMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIA LUISA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIA T.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIANGIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIANGIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARIELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARINES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARINES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARTITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MARTITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MELITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MERCEDES M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 386 of 2285
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VAZQUEZ, MIBERT J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MILEIDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MILEIDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MYRTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, MYRTA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, NATALIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, NATALIE I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, NEFTALI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, NELIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, NYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, NYDIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ONEISIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ORLANDO G.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, PEDRO W         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, PROVIDENCIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, REBECCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, REBECCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, RICARDO J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ROSE MARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ROSELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, SAHADIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, SANDRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, SHEILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, SHERLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, SONIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, SONIA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, STEFANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, STEVEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, TEODORO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, VIRGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5386 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 387 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VAZQUEZ, VIVECA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, WANDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, WANDA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, YADELIZ M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, YAZMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, YEIDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, YEISHINETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ZENAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VAZQUEZ, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VECCIOLY, FRANCES Z      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, ALICIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, AMALIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, AMARILIS DEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, ANAHI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, ANIBAL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, ANTONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, AURELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, AUSBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, BLANCA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, CANDIDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, CANDIDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, CARLOS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, CARLOS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, CARMEN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, CARMEN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, CARMEN E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, CARMEN R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, CAROL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, DAMARIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, EDGARDO L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, EFRAIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, EILEEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, ELISA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, ELSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, ELSIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, EMY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, ENRIQUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, ERICA X            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 388 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VEGA, ESTHER A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, FELICITA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, FERNANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, FRANKLIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, GILBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, GILMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, GLORIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, GLORIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, GUILLERMO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, IVETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, IVETTE DE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, IVETTE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, JACKELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, JEANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, JENNIFER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, JESUS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, JOEL S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, JUAN ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, JUAN C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, JULIO A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, JULIO M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, KAREN Y.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, KEILA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, LEGNA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, LILLIAM H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, LINDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, LUZ                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, LUZ E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, LUZ E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, LUZ E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MARCOLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MARIA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MARIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MARIELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MARTA Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MAYRA G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MAYRA J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 389 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VEGA, MERIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MERIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MILAGROS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, MYRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, NEFTALI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, NELITZA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, NELSON L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, NYDIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, OBDULIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, ODALIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, OLGA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, PEDRO J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, RICARDO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, RODOLFO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, ROSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, ROSSANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, RUBEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, RUBEN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, RUBEN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, SANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, SANTOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, SANTOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, SANTOS I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, SANTOS I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, SERGIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, SILVIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, SONIA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, STEPHANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, VANESA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, VICENTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ‐VEGA, VIRGINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, WILBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, WILHEM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, YALISSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGA, ZULMA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGAS, NIRIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGUILLA, ARIANA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGUILLA, ARIANA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGUILLA, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 390 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VEGUILLA, CLARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGUILLA, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGUILLA, MARIA T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGUILLA, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VEGUILLA, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, ABIGAIL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, AIXA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, ALEXANDER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, ALEZANDER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, AMY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, ANA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, ANDREA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, ASTRID M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, AURORA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, CANDIDA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, CARLOS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, CARLOS R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, CARLOTA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, CARMEN I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, CHAKIRA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, CLAUDIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, DALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, DAVID J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, DIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, EBONY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, ENID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, ENID C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, ERIC          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, FRANCISC      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, GUETSY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, HELIOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, HILDA R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, ISAAC         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, JAMES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, JOAQUIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, JONATHAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5390 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 391 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VELAZQUEZ, JOSE A.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, JOSE D          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, JOSE J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, JOSE Y.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, JOSEPH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, JOSEPHINE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, JUAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, JULIANNIE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, KATHERINE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, LAZARO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, LEXLLY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, LISBETH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, LIZA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, LIZA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, LIZA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, LUIS B.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, LYDIA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, LYNNETTE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, LYSANDER        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, MARIA DEL C     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, MARIA L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, MARIA L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, MARIA V         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, MARIBEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, MARITZA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, MICHAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, MIGUEL A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, MIGUEL A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, MYRNA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, NATIVIDAD       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, NOEMI           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, OSVALDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, PAOLO A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, QUINTIN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, RAFAEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, ROGELIO SAMUE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, SONIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, SONIA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, VICTOR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, VIVIANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, WANDA I.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, WANDA I.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, WILLIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, WILLIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ, WILSON          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELAZQUEZ,JOAQUIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ADA I               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ADA N               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, AKYRA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 392 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VELEZ, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ALMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ALMA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, AMERICO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ANA C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ANDRES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ANGEL H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ANGEL LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ANIANO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ANNIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ASHLEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, BRENDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, CALEB             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, CARMEN S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, CARMEN Z          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, CLARIZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, DAILYNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, DIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ESMIRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, EVA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, FELIX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, FELIX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, FELIX E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, FRANCIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, FRANK E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, GILBERTO D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, GILBERTO D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, GLENDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, HECTOR DAVID      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, HECTOR E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ISMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, ISRAEL ANTONIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, JAVIER O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, JOHANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VELEZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 393 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VELEZ, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, JOSE ALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, JOSE E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, JOSE F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, JOSEPH X          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, JUAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, JUAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, JUAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, JUAN R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, JUANITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, JULIO V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, KENNETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, LAURAMIR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, LAURIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, LEIDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, LINDA V.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, LITHVIANETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, LIZETT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, LIZETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, LIZMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, LIZZETTE W        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, LORENA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, LUIS D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, LUIS E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, LUZ L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, LUZ R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, MARCELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, MARCELINO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, MARIA DEL C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, MARIA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, MARISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, MARTA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, MAYRA G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, MELVIN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, MELVIN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, MYRTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, NANCHELLE M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, NANCY N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, NATASHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 5393 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 394 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VELEZ, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, NIASHYRA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, NYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, PAMILIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, RAFAEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, RAFAEL T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, ROBERTO I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, ROSALINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, ROSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, ROSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, ROSY M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, RUTH ANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, SANTOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, SONIA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, SUGEIRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, WANDA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, YAHAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, YAHAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, YAHAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, YAISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, YARIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, YELITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, YVONETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELEZ, YVONETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELLON, JISSENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VELLON, WALESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VENDREL, AIDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VENEGAS, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VENEGAS, ZUHEILY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VENES, CARMEN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VENTURA, JULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VENTURA, JULIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VERA, ANDRES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VERA, ELBA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VERA, HECTOR J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VERA, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
RIVERA VERA, LUIS N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 395 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VERA, PEDRO J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VERA, ROLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VERA, SAED               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VERDEJO, DIMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VERDEJO, FELIPE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VERDEJO, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VERDEJO, OLGA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VERDEJO, SYLVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VERDEJO, SYLVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VERDEZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VERGES, DIGNA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VERGES, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VERGES, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VERGES, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIALIZ, AIDA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VICENTE, JESSICA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VICENTE, LILLIAM I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VICENTE, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VICENTE, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VICENTE, LUIS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VICENTE, LUIS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VICENTE, RICHARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VICENTE, RICHARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VICENTE, SONIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIDAL, HEIDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIDAL, IRAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIDAL, IRAIDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIDAL, JAMINETT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIDAL, MICHELLE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIDAL, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIDAL, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIDOT, CARMEN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIDOT, LISGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIDOT, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIDOT, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIENTOS, CYNTHIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIENTOS, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, ALFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, ELIAS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, ENEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, IRMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, IRMA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, JENNIFFER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, JUAN B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, MARCOS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, MARIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5395 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 396 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VIERA, MARIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, MOISES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, PERSIE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, REYMUNDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIERA, TERESA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIGO, RAMON L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIGO, WUALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILA, LEANNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILA, LEANNE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILCHES, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILCHES, VIANELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLAFANE, BRENDA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLAFANE, CARLOS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLAFANE, GREGORIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLAFANE, IRMA G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLAFANE, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLAFANE, MANUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLAFANE, TAYSHA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLAFAQE, SHEILA B      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLALBA, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLALBA, SUHJIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLALOBOS, GLORIA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLALONGO, ELMO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLALONGO, GLORIMAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLALONGO, TERESA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLAMIL, CARLOS J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLAMIL, JOSE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, ADA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, CARMEN I.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, GADIEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, IRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, IRIS D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, JENNIFER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, JOEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, JOEL HIRAM   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, LUIS R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, MILAGROS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, MYRIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, NOEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, NOEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, RICARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, RUBEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLANUEVA, WILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLAREAL, MARIA B       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5396 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 397 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA VILLARREAL, VICTOR M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLEGA, ALFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLEGAS, GERMAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLEGAS, GERMAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLEGAS, IVONNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLEGAS, KARLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLEGAS, MITCHELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLEGAS, PABLO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VILLEGAS, VIRGINIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VINCENTI, MILVIN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VINCENTY, ROWENA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIRELLA, AIXA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIRELLA, CARMEN E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIRELLA, CRISTINA R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIRELLA, REYNALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIRUET, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIRUET, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIRUET, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIRUET, PAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIVAS, MAGALI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIVAS, MAGALI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIVAS, MAGALI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIVES, MISSAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIVES, NAHIR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIZCAINO, KATHISSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIZCARRONDO, ANDRES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIZCARRONDO, EVELYN M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIZCARRONDO, GLORIMER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIZCARRONDO, ZAIDA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA VIZCAYA, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA WAGNER, JOHANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA WAGNER, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA WALKER, CARLOS J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA WATTERSON, MILAGROS S.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA WEBBER, ALEX G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA WILKES, DORCAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA WILKES, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA WOOD, ANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA WOOD, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA YAMBO, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA YAMBO, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA YAMBO, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA YAMBO, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA YIASKI, KARLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA YIP, LIA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA YOBOBY, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA YOU, SOCORRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZABALA, CLARIBEL M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZABALA, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5397 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 398 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ZABALA, NESTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAMBRANA, ANGELICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAMBRANA, CARLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAMBRANA, CARLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAMBRANA, CARLA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAMBRANA, ELIUD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAMBRANA, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAMBRANA, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAMBRANA, FRANCES M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAMBRANA, GERMAN A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAMBRANA, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAMBRANA, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAMBRANA, MIRIAM T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAMBRANA, PABLO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAMBRANA, TOMAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAPATA, LUIS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAPATA, MALU             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAPATA, MIGUEL F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZARAGOZA, GILBERTO I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAVALA, KARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAVALA, KARLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, ALBERTO R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, ALICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, ALICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, ARIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, BETZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, CARMEN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, CARMEN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, CATHERINE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, DELISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, GABRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, GRETCHEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, GRISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, GUILLERMO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, ILDEFONSO A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, IVETTE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, JASMIN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, JOAN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, JOHANIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, JOHVANNA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, JOHVANNA LIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, JOSE I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, JUAN C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, JUAN J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, LEIDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, LESLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5398 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 399 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA ZAYAS, LESLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, LESLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, LIZMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, MADELYN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, MARANGELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, MARCOS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, MARTA B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, MELVIN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, ROSA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, RUBEN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, RUTH J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, WILMA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZAYAS, ZORAYA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZENO, DORCAS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZENO, RUTH               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZENO, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZENO, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZUNIGA, JOACIM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA ZURITA, CARLOS I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ADA R.                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, AIDA IRENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ALBERTO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ALICIA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ALLISON                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ANA                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ANA JULIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ANGEL                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ANGEL A                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ANIBAL                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ANTONIO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, AWILDA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, BIENVENIDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, BRENDA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, BRENDA E                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, BRIAN                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, CANDIDA E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, CARLOS E.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, CARLOS J                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, CARMEN                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, CARMEN I.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, CARMEN L                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, CARMEN M                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, CARMEN M.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, CARMEN N                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, CARMEN RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, CASANDRA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5399 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 400 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA, CORALYS ROCIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, DALIRIS                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, DOMINGA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, EDUARDO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, EDWIN                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, EDWIN                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, EDWIN                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, EFRAIN                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, EIDEL F                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ELIZA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ELIZA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, EMERIDA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ERIC S.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, EZEQUIEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, FELIX J.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, FERNANDO A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, FRANCISCO X.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, GEORGINA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, GERIAN D                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, GERIAN D                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, GLORIA E                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, GLORIVEE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, GUSTAVO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, HAROLD L.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, HECTOR                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, HECTOR M                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, HECTOR M                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, HIPOLITO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, INES                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, IRIS BETHZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, IZAMAR                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JAIME                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JAVIER                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JESUS                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JESUS M.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JOEL A.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JORGE L.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JOSE                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JOSE A                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JOSE A                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JOSE J.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JOSE L                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JOSE L.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JOSE R.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JOSE R.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JOSEPHINE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JOSUE                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JUAN A.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JULIA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5400 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 401 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA, JULIO                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JULIO A                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, JULIO E.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, KARLA P                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, KATHERINE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, KEILA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, KEISHLA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, KISIANY                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, KRYSTAL LEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, LEONARDO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, LIZBETH                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, LUIS A.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, LUIS B.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, LUIS G                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, LUIS J                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, LYNNETTE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MANUEL A.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MARCIAL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MARIA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MARIA DE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MARIA DE LOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MARIA DE LOS ANGELES    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MARIANGELY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MARIANGELY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MARIBEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MARIBEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MARJORIE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MAXIMINO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MAYRA C.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MELVIN                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MIGUEL                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MIGUEL                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MIGUEL A.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, MOISES                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, NATALIA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, NATIVIDAD               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, NELIDA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, NELSON                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, NORBERTO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, NYDIA E                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, OLGA                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ORLANDO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, PATRICIA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, PEDRO                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, PEDRO                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, PEDRO LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, RAFAEL                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, RAQUEL                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, RICHARD                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5401 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 402 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERA, ROBERTO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ROBERTO J.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ROBERTO JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ROBINSON                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ROLANDO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ROLANDO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ROSA                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, SILAS M.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, SOCORRO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, SONIA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, SUHEILY                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, SULLY M                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, TAMARA L                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, TILSA MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, VERONICA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, VICTOR                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, VICTOR                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, VICTORIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, VIRGINIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, WALESKA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, WILFREDO J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, WILLIAM JR.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, WILSON                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, WILSON                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, YAMIL                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, YAMIL                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, YANIRMA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, YISAIRA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA, ZAIDA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,ANGEL                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,ANGEL                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,ANGEL                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,CARLOS M.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,DENNIS                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,EDWIN                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,ELIEZER                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,FELIX                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,FELIX R.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,HECTOR                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,HECTOR                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,LIZMARA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,LUIS                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,LUIS M.                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,LUIS R.                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,MIGUEL A.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,NATALIA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,NIRIAN                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,RAMON                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA,RONALD D.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5402 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 403 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERA,SALEM                     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAANDINO, CARMEN A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAAYALA, MARIA I.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERACLASS, TIANA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERACOLON, AHEN                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERACOLON, DAVID               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERACOLON, EDWIN A.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERACOLON, EMMA I              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERACORREA, EZEQUIEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERADEJESUS, JOSE E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERADIAZ, MARIA DE LOS A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERADIAZ, WANDA I              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERADOMINGUEZ, NANCY I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA‐DUENO, CAMILIE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAESTERAS, HECTOR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAFLORES, ANGEL M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAGARCIA, ANIBAL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAGARCIA, LIZBETH            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAGOMEZ, ABAD                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAGONZALEZ, MIGDALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAGONZALEZ, MIRIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAGUZMAN, ANGEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAHERNANDEZ, CLAUDIO E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAINCHAUTEGUI, MAXIMILIANO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAIRIZARRY, WANDA I.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAJIMENEZ, MARIA V           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAL LEON, ALEJANDRO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERALABIOSA, FELIX             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERALOPEZ, HERIBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAMALDONADO, HERIBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAMARQUEZ, JOSE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAMARTINEZ, ANDELICIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAMARTINEZ, JUAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAMARTINEZ, LUIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAMATOS, ARELIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAMAYSONET, YADIRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAMELENDEZ, PERFECTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAMORALES, JACKELINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAMORALES, PABLO J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERANEGRON, NOEMI              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAPEREZ, KEILA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAQUINONES, CARLOS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERARAMOS, JUAN C              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERARIOS, JOHANNA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERARIVERA, IVAN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERARODRIGUEZ, ALICIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERARODRIGUEZ, JONATHAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERARODRIGUEZ, RAUL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERARODRIGUEZ, ROLANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5403 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 404 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RIVERAROMAN, JESUS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAROSADO, SANDRO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAROSADO, WILLIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERARUIZ, ALVARO M.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAS RAMIREZ, YARIZEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAS RUIZ, YARITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERASANTANA, TAVITA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERASANTIAGO, JOAQUIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERA‐SANTIAGO, JOSE A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERASANTIAGO, JUANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERATORRES, MIGUEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERATORRES, NANCY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAVALENTIN, TEODORO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAVALLE, JUAN B              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAVAZQUEZ, RAMON             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAVEGA, GLORIA I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAVEGA, JOSE A               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERAVELEZ, JUAN A              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO ACEVEDO, RAFAEL A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO CINTRON, AEMIE A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO CINTRON, AEMIE A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO CRESPO, FELISA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO CRUZ, LEE Z               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO CUBANO, LUIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO DE FEBRES, MERCEDES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO DE SAN ANTONIO, ANA I.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO DIAZ, EDWIN R.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO FELICIANO, JAIME          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO GARCIA, MARIA T           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO GIRONA, YANELY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO LOPEZ, CARMEN I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO LUZUNARIS, ARLEENE E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO MALDONADO, LUIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO MARTINEZ, JORGE R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO MARTINO, VICTOR R.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO MENDEZ, CAROLINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO MENDEZ, QUILONIDES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO OLMEDO, MIGUEL ANGEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO ORTIZ, MONICA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO PEREZ, RAUL               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO QUILES, AMARILIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO QUILES, CARLOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO QUILES, MARIA DEL PILAR   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO QUILES, RUTH D.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO RAMIREZ, MERCEDES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO RIVERA, GLORIMAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO RODRIGUEZ, LEIDY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO RUIZ, RAUL E              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO SERRA, MYRNA L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5404 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 405 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RIVERO SERRA, MYRNA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO VERGNE, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERO, SONIA F                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERON GARAYALDE, ROSELL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERON REYES, CECILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVEROS BERNAL, HUGO F.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVEROS RIVEROS, JOHANNA A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVERY RENGIFO, DIANA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVFRA RIVERA, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVIEL ANDINO, YANIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVIERE VAZQUEZ, MONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVIERE VAZQUEZ, RODOLFO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIVRERA, TOMMY                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIZEK, LOURDES JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIZIK LOPEZ, OSCAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RIZZO, VALENTINA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RNTAS ALGARIN, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA BETANIA, ADAMES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA COLON, LYDIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA CUEVAS, JAZEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA DEL VALLE, GEORGINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA ENCARNACION, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA ENCARNACION, SANDRA S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA FERRER, NIXA R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA GIL, MARIBEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA JUSTINIANO, ABIGAIL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA MARTINEZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA MENDEZ, MITZY E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA MENDEZ, MYRAINNE ZUZETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA MERCADO, BRENDALYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA MERCADO, BRENDALYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA MERCADO, BRENDALYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA NUNEZ, RUTH E.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA RODRIGUEZ, LITSY D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA ROMAN, ISMAEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA SERNA, ANA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROA SERNA, ANA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROARK MENDOZA, DONALD W         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBELLO AYALA, CATHERINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERGE AGOSTO, DENNISSE N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERT CANCEL, PEDRO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERT CARRASQUILLO, ENRIQUE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERT COLON, CARLOS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERT GARCIA, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERT ORTIZ, EDUARDO C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERT REYES, ROBERT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERT RIVERA, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERT SANTIAGO, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTO CAES, OMAR M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5405 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 406 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBERTO CALZADA, ANAITZA N.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTO MERCADO, LUIS O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTO PONCE, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTO QUINONES, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTO QUIQONES, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTO RIVAS, JESSENIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTO RIVAS, JESSENIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTO RIVAS, JESSENIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTS VILELLA, AIDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTS VILELLA, AIDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTS VILELLA, BLANCA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTS VILELLA, BLANCA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTS VILELLA, RODOLFO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTS VILELLA, RODOLFO C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTS VILELLA, ZAYDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTS VILLAVILENCIO, ROBERT   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTS, ANA D                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON DURAND, JOHN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON DURAND, JOHN J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON GALARZA, YVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON LOPEZ, PAMELA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON MELENDEZ, LUIS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON MONELL, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON OJEDA, ELIAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON RIVERA, DINORAH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON RIVERA, ELIAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON RIVERA, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON RIVERA, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON RIVERA, MARIA DEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON ROSADO, SHIRLEY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON ROSADO, SHIRLEY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON SANTANA, ALEXANDER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON SANTANA, KATHERINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON SIERRA, CATHERINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON SIERRA, OSCAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON SIERRA, OSCAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBINSON‐ALVAREZ, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBIRA, JUAN C                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLE ROCHE, JORGE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLE RODRIGUEZ, RUBEN E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO BURGOS, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO CASTRO, JUAN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO COLON, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO COLON, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO CORTES, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO DE LEON, ANTONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO DE LEON, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO DE LEON, SILMA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO DE LEON, WEYNBERT       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5406 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                    Schedule E3 Page 407 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROBLEDO DIAZ, WANDA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO FELICIANO, LUIS M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO GONZALEZ, HECTOR M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO GUZMAN, MARIBEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO IRIZARRY, RUGGLES I.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO JIMENEZ, ANGEL A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO LEON, WILFREDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO MARTINEZ, GREGORY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO MEDINA, EDWIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO MEDINA, ELSA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO MORALES, MARITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO ORTIZ, ANGELLYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO PAGAN, GLADYS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO RAMOS, IDA LUZ           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO RIVERA, CARMEN M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO RIVERA, GILBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO RIVERA, JUDITH           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO RIVERA, RENE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO SANCHEZ, MELISA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO SOLIS, OFELIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO TRINIDAD, ELDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO TRINIDAD, ELDA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO TROCHE, YETSABEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO TROCHE, YETSABEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO TROCHE, YETSENIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO TROCHE, YETSENIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO VARGAS, BEVERLY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO VAZQUEZ, AIDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO VAZQUEZ, AIDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDO VEGA, KARINA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLEDOSERRANO, JOANNA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ., JANMARIE               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ACEVEDO, CARMEN M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ACEVEDO, DIANA J.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ACEVEDO, ENID M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ACEVEDO, JORGE L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ACEVEDO, LESLIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ACEVEDO, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ACEVEDO, XAIMARA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ACEVEDO, YARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ACOSTA, MARIO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ACOSTA, SANDRA L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ADORNO, ANGEL L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ADORNO, CARMEN A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ADORNO, JOSE A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ADORNO, JOSE A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ADORNO, JUAN A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ADORNO, KATIANA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ADORNO, MARIA DEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5407 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 408 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBLES AGOSTO, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES AGOSTO, JOAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES AGOSTO, JOAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES AGOSTO, LIZAMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES AGOSTO, LIZETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALAGO, ANA L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALAGO, ANGEL M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALAMO, EDWIN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALBELO, DAVID S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALEMAN, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALEMAN, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALICEA, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALICEA, ELVIN E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALMODOVAR, BRAIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALMODOVAR, BRAIAN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALMODOVAR, CHRISTIAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALMODOVAR, MAIRA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALVARES, JUAN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALVAREZ, ELSA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALVAREZ, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALVAREZ, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ALVAREZ, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES AMARO, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ANAYA, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ANDINO, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES APONTE, AUREA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES APONTE, JOSE C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES APONTE, KEISHLA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES APONTE, KEISHLA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES APONTE, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ARCE, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ARIAS, CARLOS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ARROYO, CARLOS E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ARROYO, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ARROYO, MARCOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ARROYO, MARTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ARROYO, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ARROYO, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES AVILES, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES AVILES, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES AYALA, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES AYALA, ONAILYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES AZMEZQUITA, HECTOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BAEZ, CHRYSTAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BAEZ, CHRYSTAL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BARADA, CYNTHIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BARBOSA, OLGA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BARTOLOMEI, CELESTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BARTOLOMEI, NATALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5408 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 409 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROBLES BATIZ, MIGUEL A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BELLIDO, NESTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BELTRAN, DORIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BENITEZ, GYNESS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BERMUDEZ, LUZ E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BERRIOS, MIGUEL A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BETANCOURT, LESLIE E.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BETANCOURT, OMAR G.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BORRES, JOHANNY E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BRILLON, ARMANDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BULLAT, ISRAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BURGOS, ALEJANDRO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BURGOS, GLAYDS E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BURGOS, JOSE M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BURGOS, MARIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BURGOS, WANDALIZ          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BURGOS, WILMARIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES BUTTER, GUANINA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CABALLERO, WILFREDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CABAN, VANESSA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CABRERA, JOSE L.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CABRERA, MARITZA ISABEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CABRERA, MAYRA M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CALERO, HARRY W.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CALERO, ROSALY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CAMACHO, FELIX L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CAMACHO, LETTY I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CAMPOS, MYRNA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CANCEL, BEVERLY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CANCEL, JOSE A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CANDELARIA, ANGEL L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CANDELARIA, IVELISSE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CANDELARIO, FRANKIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CAPARRO, JUAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CAPARROS, JUAN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CAPELLA, YASEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CAPELLA, YASEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CARABALLO, ISMAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CARBALLO, JORGE LUIS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CARDE, ANETTE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CARDE, ANETTE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CARDE, ANETTE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CARDE, MARILYN V          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CARDONA, LIBIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CARMONA, ROLANDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CARRASQUILLO, JESSIE A    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CARRENO, MAYRA A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CARRERO, CARLOS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CARRILLO, LYMARI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5409 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 410 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBLES CARRILLO, LYMARI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CARRILLO, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CASANOVA, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CASTRO, CARLOS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CASTRO, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CASTRO, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CASTRO, LUMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CASTRO, LUMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CENTENO, PEDRO O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CEPEDA, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CHAMORRO, CARMELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CHAMORRO, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CHEVERE, MAGALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CHICO, LUCILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CIARES, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CINTRON, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CINTRON, PATRICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CINTRON, WIDDEL J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CIRINO, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CIRINO, MYRNA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLLAZO, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLLAZO, ANGEL L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLLAZO, DAMELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLLAZO, DAMELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLLAZO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLLAZO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLLAZO, HAYDEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLLAZO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLON, BLANCA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLON, BLANCA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLON, DOMINGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLON, ELBA IRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLON, JESLANE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLON, JESLANE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLON, MARIA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLON, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLON, RAISA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLON, VILMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLON, VILMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLON, VILMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLON, ZULMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COLON, ZULMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CORCHADO, ELADIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CORCHADO, JUAN A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CORDERO, CARLOS J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CORDERO, FERNANDO M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CORDERO, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CORDERO, WILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CORDOVA, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 411 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBLES CORREA, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CORREA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CORTES, HECTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CORTES, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CORTES, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CORTES, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COSME, ENID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COSME, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COSTOSO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COSTOSO, LYNNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COTTO, JOSE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES COURT, DINORAH M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CRESPO, JOMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CRESPO, KARLA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CRUZ, ALMARILYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CRUZ, ANGEL M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CRUZ, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CRUZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CRUZ, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CRUZ, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CRUZ, LUZ A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CRUZ, MATILDE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CRUZ, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CRUZ, RICARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CRUZ, SONIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES CUBERO, ERIKA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DAVILA, MARIA DE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE HORNEDO, CARMEN M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE JESUS, BELISA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE JESUS, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE JESUS, HECTOR L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE JESUS, IRMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE JESUS, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE JESUS, LETICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE JESUS, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE JESUS, REINALDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE JESUS, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE JESUS, YARMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE LA PAZ, ISABEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE LA PAZ, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE LEON, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE LEON, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE LEON, JUANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE LEON, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE LEON, NANCY C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE LEON, NANCY C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE LEON, NILDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE RIVERA, ANGELES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DE SEMIDEY, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5411 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 412 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBLES DEL VALLE, EMANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES DEL VALLE, VIRGEN DEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
CARMEN
ROBLES DELGADO, GERMAN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES DELGADO, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES DIAZ, ANGEL M            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES DIAZ, CARMEN J.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES DIAZ, ELSA               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES DIAZ, JANELLA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES DIAZ, JOMARIE            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES DIAZ, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES DIAZ, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES DIAZ, MARIA DE LA PAZ    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES DIAZ, MIRIAM L           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES DIAZ, YARIMAR            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES DIAZ, YARIMAR            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES DIAZ, YARIMAR            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES DIAZ, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES DOMINGUEZ, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES DOMINGUEZ, JACINTA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES ECHEVARRIA, ISMAEL       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES EMMANUELI, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES ESQUILIN, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FANTAUZZI, ARLENE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FEBLES, KEISALIZ         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FEBUS, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FELICIANO, CRISTINA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FELICIANO, JULIO A       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FELICIANO, MILDRED D     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FERNANDEZ, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FERNANDEZ, LUZ           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FERNANDEZ, LUZ M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FERNANDEZ, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FERRER, JACINTO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FERRER, JACINTO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FERRER, VIRGINIA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FERRER, VIRGINIA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FIGUEROA, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FIGUEROA, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FIGUEROA, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FIGUEROA, JESSENIA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FIGUEROA, JOSE R.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FIGUEROA, KEILA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FIGUEROA, KEVIN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FIGUEROA, LEONILDA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FIGUEROA, LORELAY        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FIGUEROA, LORELAY        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FIGUEROA, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES FIGUEROA, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 413 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROBLES FIGUEROA, MYRIAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES FIGUEROA, NORMA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES FIGUEROA, NORMA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES FIGUEROA, TAILEEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES FIGUEROA, YADARIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES FIGUEROA, YADARIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES FLORES, JOSE A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES FONSECA, ILEANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES FRANCESCHI, EMILY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES FUENTES, RUBIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES FUENTES, RUBIS M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES FUENTES, WILFREDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GABRIEL, LUZ M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GARCIA, ALEXANDER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GARCIA, BENEDICTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GARCIA, EDWIN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GARCIA, ELIEZER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GARCIA, ERIC              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GARCIA, FRANCISCO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GARCIA, HECTOR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GARCIA, MARIA DE LOS A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GARCIA, MARIEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GARCIA, MARIEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GARCIA, NESTOR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GARCIA, NOELIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GARCIA, ORLANDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GERENA, ANGEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GIRAU, CAROL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GIRAU, CAROL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GLEASON, MARCELINA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GLEASON, MARCELINA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GOMEZ, BEN R              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GOMEZ, BENJAMIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GOMEZ, FLOR M.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GOMEZ, GUELBA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, ANA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, ANA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, BRIGITTE M.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, CARMEN A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, HAYDEE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, ISABEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, JOSE E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, JUAN JOSE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, LILLIAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, LUIS A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, LUZ A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, LUZ E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, RICHARD         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, SANDRA L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5413 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 414 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBLES GONZALEZ, SOL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, SONIA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, WILSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, YALITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GONZALEZ, YALITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GRACIA, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GUEITS, ELSIE DENISE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES GUTIERREZ, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES HERNANDEZ, EDISON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES HERNANDEZ, ELSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES HERNANDEZ, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES HERNANDEZ, JANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES HERNANDEZ, JANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES HERNANDEZ, LISANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES HERNANDEZ, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES HERNANDEZ, LYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES HERNANDEZ, MARIA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES HERNANDEZ, SHEILA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES IRIZARRY, DEBORA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES IRIZARRY, ELSA N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES IRIZARRY, IVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES IRIZARRY, JOSE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES IRIZARRY, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES IRIZARRY, KAREN O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ITHIER, CARLOS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES JAVIER, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES JAVIER, DIANA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES JIMENEZ, AIDE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES JIMENEZ, CAROLINE V      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LAGUERRE, ANA CELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LAJARA, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LANZA, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LANZOT, ALEJANDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LANZOT, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LARACUENTE, IRENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LATORRE, LUIS J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LAZU, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LAZU, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LAZU, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LAZU, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LEON, JANNY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LEON, PEDRO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LOPEZ, CARLA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LOPEZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LOPEZ, KAREN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LOPEZ, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LOPEZ, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LOPEZ, RAUL E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LOPEZ, REINALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5414 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 415 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBLES LOPEZ, RONALD E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LOPEZ, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LOZADA, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LOZADA, WANDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LOZANO, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LOZANO, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LUGO, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LUGO, AUREA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LUGO, CELIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LUGO, RAMONA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES LUGO,NEFTALI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MACHADO, AIDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MAESTRE, LISSETTE Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MAISONET, ISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MALAVE, LOUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MALAVE, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MALAVE, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MALAVE, SANDRA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MALDONADO, CARMEN D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MALDONADO, MARIA D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MALDONADO, MARIA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MALDONADO, OLGA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MALDONADO, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MALDONADO, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MALDONADO, SANTOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MALDONADO, TERESA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MALDONDO, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MANSO, MARTA IRIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MARCHAN, SUHELEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MARRERO, CRISTIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MARRERO, OLGA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MARRERO, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MARTINEZ, ABIMAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MARTINEZ, GERMAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MARTINEZ, HECTOR I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MARTINEZ, HECTOR I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MARTINEZ, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MARTINEZ, KATHYA Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MARTINEZ, MARTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MARTINEZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MARTINEZ, ZENAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MATHEW, JOSE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MATHEWS, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MATOS, LYDIA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MATOS, NESTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MATTA, LILLIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MEDINA, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MEDINA, FRANCES L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MEDINA, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5415 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 416 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBLES MEDINA, YALIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MEDINA, YALIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MEJIAS, ROJO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MELENDEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MELENDEZ, CARLOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MELENDEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MELENDEZ, GLENDALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MELENDEZ, KENNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MELENDEZ, KENNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MELENDEZ, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MELENDEZ, LYZZETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MELENDEZ, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MELENDEZ, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MELENDEZ, RADAMES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MELENDEZ, RAMON H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MERCADO, IRVIN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MERCADO, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MERCADO, ROSALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MESTRE, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MESTRE, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MIRANDA, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MIRANDA, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MIRANDA, IDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MOJICA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MOJICA, KIRALYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MOJICA, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MOLINA, BLANCA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MOLINA, CARLOS O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MOLINA, RAFAEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MONGE, DEBBIE C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MONGE, MERALYS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MONROIG, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MONTANEZ, IRIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MONTANEZ, OLGA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MONTANEZ, ZAHIRA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MONTAQEZ, IDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MORALES, ANA G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MORALES, ELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MORALES, JUAN CARLOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MORALES, NESTOR R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MORALES, NESTOR R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MORALES, NILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MORALES, NIURKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MORALES, NIURKA Z        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MORALES, REY OMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MULERO, EVA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MULIER, AMARILIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MUNIZ, MAYRA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MUNIZ, MAYRA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5416 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 417 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBLES MUNIZ, ROLANDO I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MUNOZ, ESTEBAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES MUNOZ, KAREN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NARVAEZ, BLANCA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NARVAEZ, LUIS O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NATAL, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NATAL, GLORIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NATAL, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NAVARRO, CELESTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NEGRON, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NEGRON, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NEGRON, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NEGRON, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NIEVES, ADA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NIEVES, CARMEN SOCORRO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NIEVES, GIL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NIEVES, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NIEVES, JUAN C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NIEVES, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NIEVES, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NIEVES, OLGA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NIEVES, OLGA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NIEVES, WILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NOGUERAS, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NUNEZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NUNEZ, CARMEN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES NUNEZ, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OJEDA, SUHAIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OLAVARRIA, CHRISTIAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OLIVERA, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OLIVERO, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OLIVERO, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OLMEDA, ZAIDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES O'NEILL, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OQUENDO, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OQUENDO, LETICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ORAMAS, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ORELLANO, JUANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OROZCO, ELIEZER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OROZCO, VERONICA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OROZCO, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ORTEGA, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ORTIZ, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ORTIZ, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ORTIZ, GEISA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ORTIZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ORTIZ, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ORTIZ, JOSE N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ORTIZ, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 418 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBLES ORTIZ, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ORTIZ, MAYRA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ORTIZ, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ORTIZ, SORAYA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ORTIZ, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OSORIO, ALMA S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OSORIO, ALMA S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OSORIO, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OTERO, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OTERO, CRISTINA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OTERO, ERIC F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OTERO, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OTERO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OTERO, ROSA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OTERO, WALTER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OTERO, WALTER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OTERO, YETTYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES OTERO, YETTYS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PABON, LARIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PABON, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PABON, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PABON, ZULMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PADILLA, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PADILLA, MELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PADRO, YIRA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PAGAN, DIEGO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PAGAN, EMILIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PAGAN, KEILA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PAGAN, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PAGAN, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PAGAN, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PARRILLA, CARMEN N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PARRILLA, CARMEN NYDIA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEDRAZA, JENNIFER E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEDRAZA, JENNIFER E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PENA, ABID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PENA, ANA H              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PENA, GIOMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PENA, LYDIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PENA, MISAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PENA, MONSERRATE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PENA, RAMONA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PENALOZA, DIANERIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PERALES, VILMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, ALICE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5418 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 419 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBLES PEREZ, ENOC              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, FELIX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, GERTRUDIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, IDALIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, IDALIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, IRMA N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, IZAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, JENNIFER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, JOAQUIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, JONES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, LUIS G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, LUIS G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, MARIA MARGARITA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, MONSERRATE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, OLGA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, SELENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, SIXTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, SYLVIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PEREZ, WALDEMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PIZARRO, CESAR A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PIZARRO, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PIZARRO, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PIZARRO, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PIZARRO, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PLACERES, LIANEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PLACERES, LIANEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PLAZA, CARMEN D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES PLAZA, HECTOR D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES POLLOCK, ANGEL D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES QUINONES, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES QUINONES, ELSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES QUINONES, HECTOR R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES QUINONES, KATHERINE E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES QUINONES, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES QUINONES, MYRTHA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES QUINONES, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES QUIRINDONGO, MYRNA L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES QUIROS, PEDRO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMIREZ, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMIREZ, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, AIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, AIDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBLES RAMOS, ANA D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, ANA D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, DALLYMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, DORA H.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, HAROLD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, JOSUE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, KARIN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, KENNETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, MARIA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, MELISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, RUTH E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, TAISHA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, XIOMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, XIOMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, YARELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAMOS, YARELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RAYA, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RESTO, ANA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RESTO, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RESTO, ILIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RESTO, LUZ S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RESTO, LUZ S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES REYES, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES REYES, EDELMIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES REYES, ELIUT             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES REYES, ELIUT             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES REYES, JORGE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES REYES, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES REYES, PATRICIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIBBOT, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RICARD, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIOS, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIOS, JOSE R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIOS, LILIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIOS, LORRAINE Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIOS, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIOS, YUKLINIA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVAS, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVAS, LEOPOLDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVAS, LEOPOLDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, ABIMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, CARLOS G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, CRISTOBAL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, DORY J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, ELISAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 421 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBLES RIVERA, EMMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, ESTEBAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, GREGORIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, IDENISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, JACQUELINE V     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, JOSE V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, JUAN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, LEYLANNIE B      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, LUZ E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, LUZ J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, MARIA D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, NAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, NELLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, NILSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, NILZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, NYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, OLGA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, ROSENDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, SANDRA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, SANDRA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, SANTIAGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, SHERYL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, WALESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERA, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RIVERO, NANCY C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROB LES, IRENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROBLES, BERNARDITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROBLES, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROBLES, ELBA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROBLES, IRENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROBLES, JOSE O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROBLES, JOSUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROBLES, ROGELIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROCHE, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RODRIGUEZ, ANA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5421 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 422 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBLES RODRIGUEZ, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RODRIGUEZ, ANGELICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RODRIGUEZ, ARIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RODRIGUEZ, AWILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RODRIGUEZ, CARLO J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RODRIGUEZ, CARMEN D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RODRIGUEZ, CARMEN N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RODRIGUEZ, DELIA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RODRIGUEZ, EDWIN O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RODRIGUEZ, GRIMILDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RODRIGUEZ, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ARNALDO
ROBLES RODRIGUEZ, HECTOR D.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, HECTOR M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, ILEANA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, ILEANA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, KARLA M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, KIARA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, LILIANA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, LILIANA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, LIZBET        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, MABEL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, MARIA I       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, NATALIE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, PRISCILLA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, PURA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, VIRGINIA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, VIRGINIA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, VIVIANA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, WILDANIL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, YESSINIA M    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES RODRIGUEZ, ZAIDA L       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES ROJAS, NEIDAI.           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES ROMAN, DAYANARA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES ROMAN, FRANCELI          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES ROMAN, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES ROMAN, NELMARIE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES ROMAN, NELMARIE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES ROMAN, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES ROMAN, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES ROMAN, SHALIMAR          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES ROMAN, SONIA N.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES ROMAN, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES ROMERO, YVONNE T         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES ROQUE, JOSE F.           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROBLES ROQUE, TATIANA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5422 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 423 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBLES ROSA, ADALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSA, ADALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSA, ANA M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSA, HUGO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSA, HUGO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSA, JACQUELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSA, JESUS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSA, MAYDEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSA, NEREIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSA, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSA, NORMA G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSADO, ALMA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSADO, ARIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSADO, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSADO, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSADO, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSARIO, AMARILIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSARIO, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSARIO, CARMEN R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSARIO, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSARIO, ERICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSARIO, ERICA J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSARIO, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSARIO, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSARIO, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSARIO, NIDZA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSARIO, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSARIO, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSARIO, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSARIO, VICTOR M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSARIO, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSARIO, YEIDALYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSES, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ROSES, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RUIZ, ADELAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RUIZ, EDITH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RUIZ, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RUSSE, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RUSSE, NITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES RUSSI, ADELINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SALCEDO, CARMEN A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SALGADO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SALGADO, ISMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SALVADOR, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANABRIA, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANABRIA, HAYDEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANABRIA, MELVIN W.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANABRIA, RAMON L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANCHEZ, ADALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5423 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 424 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBLES SANCHEZ, ADALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANCHEZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANCHEZ, CLEMENCIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANCHEZ, ELSIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANCHEZ, HEIDI D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANCHEZ, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANCJEZ, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTANA, LUZ A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTIAGO, BLANCA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTIAGO, EDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTIAGO, GLADIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTIAGO, IRMA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTIAGO, LEONEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTIAGO, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTIAGO, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTIAGO, MARIA ISABEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTIAGO, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTIAGO, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTIAGO, NEFTALI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTIAGO, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTIAGO, URBANO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTOS, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTOS, ANA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTOS, JOHANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SANTOS, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SCHMIDT, ANGEL L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SCHMIDT, ANGEL L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SEPULVEDA, SYLVETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SERRA, PEDRO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SERRANO, BERNARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SERRANO, BERTA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SERRANO, YAGLYN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SEVILLA, LEE BETSY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SHERMAN, DORIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SIERRA, SARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SILVA, MARIELY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SILVA, SARA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SISAMONE, JORGE I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SOTO, LILLIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SOTO, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SOTO, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SUAREZ, MYRNA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SUAREZ, SARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES SUAREZ, SARA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES THOMAS, IVAN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES THOMAS, MYRNA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TIRADO, ABIGAIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TIRADO, DIANILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TIRADO, HECTOR MANUEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5424 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 425 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
ROBLES TIRADO, MYRIAM             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TIRADO, OMAYRA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TIREDO, CHRISTIAN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, ALEXA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, ANA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, ANGELA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, ANTONIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, CARMEN SOCORRO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, CORALYS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, ILKA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, JENIFFER           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, JESUS A.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, JOSE M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, JOSE M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, KATHERINE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, LOURDES ADRIENNE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, LUIS               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, LUIS E             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, MARIA C            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, MILAGROS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, OLGA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, OLGA I             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, RAUL E             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, WANDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, YAHAIRA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TORRES, YARRET             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TRINIDAD, INOELIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES TRINIDAD, INOELIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VALENCIA, ENILDA M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VALENTIN, ELSA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VARELA, IVAN J             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VARGAS, MARIBEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VARGAS, MARIBEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VARGAS, MARTA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VARGAS, MARTHA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VAZQUEZ, AWILDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VAZQUEZ, CARMEN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VAZQUEZ, CARMEN A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VAZQUEZ, CARMEN M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VAZQUEZ, GILBERTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VAZQUEZ, ISAAC             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VAZQUEZ, NITCHA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VAZQUEZ, WANDA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VAZQUEZ, WILLIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VAZQUEZ, YESHICA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VEGA, ANGEL R              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VEGA, EVELYN               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VEGA, JULIO R.             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VEGA, LAURA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5425 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 426 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROBLES VEGA, LAURA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VEGA, REY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VEGERANO, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VELAZQUEZ, JUANITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VELAZQUEZ, LUIS F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VELAZQUEZ, LUZ H.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VELAZQUEZ, PRISCILLA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VELEZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VELEZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VELEZ, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VELEZ, YADIRA ALICIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VELEZ, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VELILLA, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VIERA, GLORANGELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VIERA, MARCIA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VIERA, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VILLALOBO, GABRIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VILLEGAS, IDALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VILLEGAS, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES VILLEGAS, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES WILLIAMS, JONATHAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES ZANUTTI, DYANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES, BENJAMIN R.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES, BRENDA L                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES, BRENDA L.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES, CARLOS O                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES, CELIS                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES, ERIC D.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES, GILBERTO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES, HARRY W                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES, JUAN                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES, LILLIAN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES, LILLIAN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES, LILLIAN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES, OMAYRA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLES, VIVIAN E                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLESBAEZ, LUIS M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLESGONZALEZ, AZLYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLESLUGO, ANGEL D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLESMERCADO, MARIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBLESROSADO, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBRENO RAMOS, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCA CARRILLO, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCA CEBALLOS, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCA COLON, MARIA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCA CORIANO, GRACE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCA GARCIA, RAFAEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCA LA SANTA, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCA MARTINEZ, DIEGO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5426 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 427 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROCA MATTEI, ANA M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCA OSSMAN, ZOILA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCA RIVERA, WANDALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCA RIVERA, WANDALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCA ROBLES, JUAN R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCA, ROCCO                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCAFORD OLIVERO, MISCHELLE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCAFORT CORCHADO, IRIS V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCAFORT DOMINGUEZ, KENNET I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCAFORT MALDONADO, SYLVIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCAFORT RIVAS, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCAFORT RIVAS, IVAN J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCCA CASTRO, LUIS R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCCA RIVERA, EZEQUIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCCA SANTIAGO, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCCA VAZQUEZ, ADELIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCCA VAZQUEZ, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCCA VAZQUEZ, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCCA VAZQUEZ, LUIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCES GARCIA, ERNESTO S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCES GARCIA, ERNESTO S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHA ACOSTA, ESBELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHA ACOSTA, ESBELIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHA GALLEGOS, SERGIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHA SANTIAGO, WANDA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHA SANTIAGO, WANDA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHA SEPULVEDA, VANESSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE ACEVEDO, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE AGUIRRE, EMMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE ALVARADO, ALICE Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE ALVAREZ, DIANA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE APONTE, ANA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE ASTACIO, MARTHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE ASTACIO, MARTHA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE BURGOS, CAROL B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE CANALES, JORGE I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE CARTAGENA, ADA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE CARTAGENA, DANNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE CARTAGENA, DANNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE CASANOVA, LUIS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE CLAVELL, OMAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE COLON, MARIENID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE COLON, MICHELLE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE CONDE, JULIO A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE CONDE, LUIS F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE CORA, JULIO A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE CORA, OMAR                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE CORTES, SARAH R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE CORTES, SARAH R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5427 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 428 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROCHE COSME, SORLIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE COSME, SORLIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE DAVILA, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE DAVILA, PEDRO F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE DE JESUS, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE DE JESUS, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE DEL VALLE, ANGELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE DIAZ, LIZ                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE DIAZ, SONIA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE DIAZ, SONIA Y             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE DOMINGUEZ, ELBA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE ECHEVARRIA, EDGAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE ESCOBAR, NYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE FIGUEROA, KAREN J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE FONSECA, PATRIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE FRANCESCHI, ZULIMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE GARCIA, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE GARCIA, NORMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE GARCIA, VIVIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE GONZALEZ, NANCYLEIDY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE GONZALEZ, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE GUAL, ABIGAIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE JUSINO, GRACE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE LABOY, EDITH W            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE LEON, IRMA R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE LEON, JULIO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE LEON,JULIO E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE MADERA, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE MALDONADO, RAFAEL ANGEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE MENDEZ, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE MENDEZ, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE MIRANDA, JOSE R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE MOLINA, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE MORALES, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE MORALES, LUIS O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE MORALES, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE MORENO, ALNARCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE MORENO, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE MORENO, EDWIN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE MORENO, ELVIN J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE MORENO, NANCY E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE NEGRON, ENID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE NEGRON, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE NEGRON, JULIO R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE NEGRON, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE NEGRON, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE ORTIZ, EVA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE ORTIZ, EVA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE ORTIZ, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5428 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 429 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROCHE ORTIZ, JOSE                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE ORTIZ, JOSE L              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE ORTIZ, MABILIN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE PABON, JOSE J              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE PABON, LEONIDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RABELL, NORMA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE REYES, EVELINDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE REYES, VANESSA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RIOS, MARLY                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RIVERA, FRANCHESKA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RIVERA, FRANCHESKA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RIVERA, JACQUELINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RIVERA, JACQUELINE E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RIVERA, JANNETTE M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RIVERA, LIZAIDA MICHELLE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RIVERA, YAMILA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RIVERA, ZULEYDIAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE ROCHE, FELIX               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RODRIGUEZ, AMANDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RODRIGUEZ, DIANA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RODRIGUEZ, DIANA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RODRIGUEZ, DOMINGO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RODRIGUEZ, ISABEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RODRIGUEZ, JOSE DEL C.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RODRIGUEZ, LEXDYS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RODRIGUEZ, LUIS F.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RODRIGUEZ, MIGUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RODRIGUEZ, NILSAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE RODRIUGEZ, CARLOS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE ROJAS, HECTOR L.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE SANCHEZ, ANA S             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE SANTIAGO, CAROLA E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE SANTIAGO, GERSON           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE SANTIAGO, ROBERT           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE SANTIAGO, ROBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE SANTOS, ELIAS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE SERGES, JOSE               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE TORRES, EDGARDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE TORRES, JUAN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE VELAZQUEZ, RICHARD         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE WILLIAMS, EDWIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHE WILLIAMS, ROBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHER, ERNESTO                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHET CARDONA, ILIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHET CARDONA, ILIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHET IGLESIAS, MARIELLE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHET OLIVIERI, JENISSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCHET TORRES, NICOLE M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROCRIDUEZ GUZMAN, VIRINIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5429 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 430 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROD IGUEZ CRZ, MARIANELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODAS RUIZ, YADDIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODENA RODRIGUEZ, VIMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODENA RODRIGUEZ, WANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODENA WALKER, MARIA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODENAS MEDINA, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODENAS MEDINA, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODENAS MEDINA, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODES CRUZ, HUGO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODGUEZ. DONATE, MONSERRATE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODGUEZ. MARTINEZ, ALEJANDRO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODGUEZ. MARTINEZ, ALEJANDRO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODGZ ORTIZ, MARIA DE LOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODIGUEZ MERCADO, ARAMIDES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODIGUEZ, CHRISTOPHER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODIL CLASS, CARLOS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODIRGUEZ VEGA, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODIRUGEZ CRUZ, YESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODNEY MORALES, CAROL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODNEY MORALES, CAROL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODNEY, RONY                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODON MELENDEZ, MARIA ESTHER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODON MENDEZ, ILSA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODREIGUEZ HERNANDEZ, MAGALY    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRGIUEZ ORTIZ, EDWIN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRGUEZ DIAZ, JOSE F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRGUEZ FERREIRO, LETICIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRGUEZ LOPEZ, JASON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRGUEZ MALDONADO, CARLOS J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRGUEZ NAVEDO, VIVETTE Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRGUEZ PEREZ, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRGUEZ QUINONES, ZORAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRGUEZ RAMIREZ, EVELYN D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRGUEZ RIVERA, LISA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRGUEZ SANTIAGO, IRYAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRGUEZ TORRES, AIIRI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRI. BETANCOURT, JARRETT      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGEZ BONET, ANGEL D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGEZ BONILLA, JOSE R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGEZ CORTES, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGEZ LOPEZ, VIVIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGEZ LUGO, JOCELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGEZ PABON, CAROL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGEZ QUESADA, MARIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGEZ, INES                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGIEZ COSS, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUE LUCIANO, GEOVANNI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUE RIVERA, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUE Z VALENTIN, MONIQUE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5430 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                   Schedule E3 Page 431 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUES ALMODOVAR, NASHIRA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUES LOPEZ, ODETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, ELSIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNDO, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOKSAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, GLORIVEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ., EDWIN L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ., JONAS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABAD, REYNOLD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABAD, REYNOLD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABADIA, HAYDEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABAUNZA, SANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRÍGUEZ ABNER, PÉREZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABRAHAM, JOSE F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABRAHAM, YARITZA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABRAHAM, YARITZA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABREU, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABREU, EDELMIRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABREU, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABREU, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABREU, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABREU, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABREU, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABREU, NELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABREU, NELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ABREU, ROSALIND       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACABA, REBECCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, AIDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, ALEXANDRA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, ALKELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, ANGEL LUIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, ANGEL M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, ANNA LEE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, ARSENIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, BRESLEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, BRESLEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, CARLA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, CARMEN M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, DAIN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, DESIRRE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, EDGAR O.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, EDUARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, ENID M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, GABRIELA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5431 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 432 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ACEVEDO, GAMALIER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, GERARDO J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, INEABELLE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, ISRAEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, ISRAEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, IVAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, JANET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, JESSICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, JORGE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, JORGE A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, JOSE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, LAURY M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, LILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, LISNEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, LIZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, LOURDES I.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, LUIS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, LYDIA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, MARILYN J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, MARILYN L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, MARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, MIGUEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, MILAGROS H   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, MIRIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, MYRNA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, NEREIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, RAMONA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, RAYMOND      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, ROSE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, ROUSANA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, RUTH N.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, SONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, SONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, VIANNETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, WANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, YARIMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, YARIMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, YARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, YARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, YESENIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACEVEDO, ZAIDA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, ADALBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, AMARILYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, ARLENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, CAMILLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, CARMEN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, CARMEN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5432 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 433 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ACOSTA, CRISTINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, HELSON L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, IDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, JANET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, JANNET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, JOSE R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, JOSEPHINE M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, JUANITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, LENA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, LEO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, MARIA Z       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, MIGUEL S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, NEREIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, NILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, NYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, NYDIA IMARA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, OLIVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, RAMON R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, ROSARIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, SNAIDER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, SNAIDER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, THELMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, WILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, YAITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, YASHIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ACOSTA, YASHIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ADAMES, JOHN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ADAMES, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ADDARICH, JOANNE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ADORNO, BELISA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ADORNO, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ADORNO, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ADORNO, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ADORNO, HERIBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ADORNO, MYRTA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ADORNO, ORLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ADORNO, ORLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ADORNO, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ADORNO, VICTOR M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ADORNO, YARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ADROVER, RAFAEL E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5433 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 434 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ADROVER, RAFAEL E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AFANADOR, NESTOR        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, ANABEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, CARMELO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, CARMELO I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, CECILIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, DELIRIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, EDGARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, EDGARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, ELIEZER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, LUIS W.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, LUZ E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, LYDIA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, LYZA YADIRA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, MARGARITA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, MARGARITA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, MARIA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, MARINA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, NANCY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, RAMONITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, VICTOR M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, WANDA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGOSTO, WILBETH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGRON, NOEMI            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUAYO, ARELYS M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUAYO, JOSE DANIEL     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUAYO, RAFAEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUAYO, TOMAS M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUAYO, WALESKA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUIAR, DORA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUIERRE, PRISCILLA A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUILA, MIGUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUILA, ZOADMEE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUILAR, JESSICA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUILAR, JUAN E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUILAR, MILDRED A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUILAR, WILFREDDY      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUILAR, WILFREDDY      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUILAR, YOLANDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUILO, GABRIEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUILO, MAILYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUILO, MAYLIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUILU, XIOMARA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUIRRE, KEYLA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUIRRE, MARITZA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AGUIRRE, PAULA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALAGO, ANA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALAMO, CARLOS F         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALAMO, ROSANY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5434 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 435 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ALAMO, SOE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALAYON, FELIX           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALAYON, FELIX C.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBALADEJO, IRIS N      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBARRAN, CARMEN I.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBELO, GLADYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBERLO, HERNAN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBERTORIO, LIZBETH     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBERTY, JOSE A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBINO, DORIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBINO, EDWARD          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBINO, ELIZABETH       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBINO, GLENDALEE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBINO, JINETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBINO, JOHANNA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBINO, KIMBERLY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBINO, MAGALY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBINO, RAFAEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBINO, ROSARITO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBINO, VECKY M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBINO, VIRGEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBIZU, ALEXIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBIZU, CECILIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBIZU, CHRISTIAN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBIZU, JUAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBIZU, NEREIDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBIZU, NORMA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALBIZU, SANTOS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALCAZAR, ELBA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALCAZAR, RAQUEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALDARONDO, KEISLA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALDEA, ISRAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALDEBOL, LOURDES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEJANDRO, AIDA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEJANDRO, AMPARO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEJANDRO, AMPARO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEJANDRO, ANGELA M     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEJANDRO, GLADYS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEJANDRO, IRELIS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEJANDRO, JACQUELINE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEJANDRO, LUZ E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEJANDRO, MADELINE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEJANDRO, MARIA DE L   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEJANDRO, MARY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEJANDRO, MARY C       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEJANDRO, MILKA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEJANDRO, VICTOR M     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEMAN, ALEX G.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEMAN, CARLOS O.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5435 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 436 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ALEMAN, ESADY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEMAN, INGRID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEMAN, MARIEL D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEMAN, NADYA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEMAN, WANDA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALEQUIN, EVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALERS, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALERS, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALERS, CLAUTTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALERS, ENID M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALERS, MAGALI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALERS, MAGALI B.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALERS, RAMONA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALFARO, HILDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALFINES, TAMARA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALFONSO, JUAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALFONSO, MARCOS R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALGARIN, ALICIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALGARIN, AMARILYS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALGARIN, AVELINO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALGARIN, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALGARIN, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALGARIN, GEORGE D.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALGARIN, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALGARIN, LUCIDALIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALGARIN, LUZ E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALGARIN, LYMARI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALGARIN, PEDRO L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALGARIN, SARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, ALFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, ANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, ANA H.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, ANDREA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, ANTONIO J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, BELEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, CELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, CRUZ M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, DAISY M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, ERIC          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, ERICK         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, ERICK         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, ESTHER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5436 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 437 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ALICEA, FELIX A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, FIDEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, FRANCISCO A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, GLENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, GLENDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, GREYS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, IRIS D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, IVONNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, JESUS O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, JOSE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, JUAN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, LETSY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, LINDA C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, LISSETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, MARIA D.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, MARIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, MARTA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, MAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, NADYA D.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, NASTASSIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, OLGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, OMARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, PABLO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, ROSENDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, SYLKIA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, YARA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALICEA, YOVANY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALLENDE, JEAN C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALLENDE, JESUS H.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALLENDE, SANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALLENDE, WANDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMEDINA, NORMA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMEDINA, ORLANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMENA, LUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMENA, LUZ C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMENAS, VICTORIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, ADELAIDA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, ANGEL D    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, ANGEL D    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, ANTONIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, ANTONIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, BRYANT     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, CARMEN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, ELBA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, GERMAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, IVELISSE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5437 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 438 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ALMODOVAR, IVETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, IVETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR,            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
JACQUELINE
RODRIGUEZ ALMODOVAR, JUAN E     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, JUAN R     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, LIZETTE    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, LIZETTE    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, MARIA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, MATILDE    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, MATILDE    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, MONDELIZ   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, NACHALIE   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, NASHIRA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, SANTIAGO   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALMODOVAR, WALESKA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALMONTE, CARMEN L.    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALOMAR, BRENDA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALOMAR, JULIO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALOMAR, JULIO A       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALOMAR, LETICIA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALONSO, MARIAMOR      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALONSO, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALONSO, WALDO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALSINA, JUAN M.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALSINA, YAIDIMAR      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALTRECHE, JUAN R.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVALADE, MARCO A     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVALLE, JOHNATTAN    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARAD, GILBERTO     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, AGUSTIN     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, AIXA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, AIXA L      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, ALEJANDRO   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, ANGEL M     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, AVELYN      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, BERTA E     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, BRENDA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, BRENDA L    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, CANDIDA M   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, CANDIDA M   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, CRISTOBAL   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, DELIA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, DIGNA J     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, DINELIA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, DINELIA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, EDWIN       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, ELIEZER J   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5438 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 439 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ALVARADO, ERICK         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, EVELYN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, HECTOR        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, HILDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, JOCELYN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, JONATHAN      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, JOSE A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, JOSE A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, JOSE A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, JOSE A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, JOSE I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, JOSE O.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, JUDITH M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, KAREN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, LILIANET      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, LUZ           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, LUZ E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, LUZ N         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, MARCO A.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, MARIA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, MIGDALIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, MIGUELINA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, MIGUELINA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, MILAGROS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, NELIDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, NIURKA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, NOELIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, NOELIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, OMAR J.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, PEDRO J.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, RAFAEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, REINALDO B    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, ROSAEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, RUBEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, SOANGELY      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVARADO, TERESA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, ALBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, ALBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, ALEXANDRA M.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, ANA C.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, ANGEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, ANGEL M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, BARBARA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, BARBARA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, BARBARA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, BENJAMIN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, BRENDA L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, BRENDA L.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, CARLOS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 440 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ALVAREZ, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, CARLOS A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, CARMEN E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, CONSUELO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, CYNTHIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, DAMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, DANNA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, EDNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, EDNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, GERARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, GUSTAVO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, GUSTAVO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, HAMILTON     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, HECTOR A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, HERMINIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, HERMINIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, IRIS T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, ISABEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, ISMAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, IVELISSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, JAILENE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, JANET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, JAVIER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, JAVIER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, JOSE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, JOSE I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, JOSE J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, JOSEFA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, JOSHUA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, JUAN J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, JULIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, JULIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, LISSETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, MAGDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, MANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, MARIA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, MARISOL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, MIGDALIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, OMAYRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, ROXANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, RUBEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, SILKIA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, SONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, SONIA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, VALERIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5440 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 441 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ALVAREZ, VANESSA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, WANDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVAREZ, YESENIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVELO, ANGEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVELO, ANGEL L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVELO, GLADYS E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVERIO, ALVIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVERIO, ALVIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVERIO, ANTONIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVIRA, FLORA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVIRA, GEORGE L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ALVIRA, MARIA DE LO A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMADEO, NITZIA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMADOR, ANABELLE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMADOR, ROSENDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMADOR, XIOMARA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMAN, ROBERTO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, ADAMARIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, AMARILYS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, CARMEN L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, EDWIN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, EVELYN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, EVELYN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, GLORIA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, IRIS M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, JANICE M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, JENNIFER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, JENNIFER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, LUIS J.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, MARIA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, MARIA S          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, MATILDE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, MIGDALIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, MIGDALIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, PEDRO E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, RAMONA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, SARA L.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMARO, YANIZ A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMEZAGA, OMAR A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMILL, JULIO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMILL, WILFREDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMOROS, JOSE R          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AMOROS, MARIA DEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
CARMEN
RODRIGUEZ AMPUEDA, JESSICA J      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ANAYA, GILBERTO         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ANAYA, GILBERTO         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ANAYA, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ANAYA, JOSE J           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5441 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 442 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ANAYA, LOURDES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANAYA, LOURDES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDALUZ, LUIS SAMUEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDINO, ANA S.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDINO, ANGEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDINO, ANGEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDINO, CARMEN B.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDINO, CARMEN L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDINO, CATHERINE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDINO, DANITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDINO, DAVID          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDINO, EDUARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDINO, ILIA S         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDINO, IRIS D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDINO, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDINO, MINELYS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDINO, REYNA A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDINO, VIVIANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDINO, VIVIANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDUJAR, ALEJANDRO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDUJAR, AUREA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDUJAR, HECTOR L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDUJAR, IRIS M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDUJAR, ISAIRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDUJAR, ISAIRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDUJAR, JEAN C        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDUJAR, JONATHAN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDUJAR, MARIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDUJAR, MICHELLE M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDUJAR, RENE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANDUJAR, RICARDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANGELA, CRISTINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANGELES, LAURA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANGELI, INGRID A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANGLERO, FEDORA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANGLERO, YAMILA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANGLERO, ZULMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANGULO, JENNIFER       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANGULO, MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANGULO, RAFAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANTONETTI, WILFREDO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANTONGIORGI, GABRIEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ANTONGIORGI,           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
GUILLERMO
RODRIGUEZ ANTONGIORGI, MELANIE   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ APARICIO, SANDRA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ APONTE, AMEIRA M       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ APONTE, ANA L          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ APONTE, ANGEL J        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5442 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 443 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ APONTE, ANGEL L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, AUREA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, DAGOBE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, DALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, DALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, DANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, ENRIQUE J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, GERSON D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, GLAMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, JANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, JORGE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, JOSE C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, JOSE J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, KARLA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, LEEMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, LILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, LILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, LUZMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, MARCOS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, MARIA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, MARIVETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, MARIVETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, MARTIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, NELLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, RADAMES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, REINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, SYLVIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, VICTOR O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, YARITZA M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, YECELIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ APONTE, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AQUINO, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AQUINO, HECTOR X      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5443 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 444 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ AQUINO, JOSEA.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AQUINO, KAREN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AQUINO, LIZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AQUINO, LIZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AQUINO, ROBERTO E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AQUINO, ZORIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARAUD, EDLYN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARAUJO, ROSALINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARBELO, ABNER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARBELO, AMILCAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARBELO, IRENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARBONA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCANO, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCE, ANGEL L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCE, AUREA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCE, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCE, ELBA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCE, FELIPA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCE, HILDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCE, IMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCE, IMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCE, JANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCE, JOSE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCE, LO‐RUHAMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCE, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCE, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCELAY, SARA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCHEVAL, LUIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCHILLA, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARCHILLA, MARIA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARENAS, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARES, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARGUELLES, IVELISSE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARGUELLES, VILMARIE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARGUINZONI, FIDEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARGUINZONI, IRMA L.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARIAS, CELESTE D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARIAS, JOSE O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARIAS, JOSE O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARISTY, EUNICE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARIZMENDI, MARIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARIZMENDI, MARIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARMESTICA, EFRAIN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AROCHO, ERIC          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AROCHO, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AROCHO, MARIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AROCHO, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AROCHO, YOSHARA D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARRIAGA, ELIZABETH    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5444 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 445 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ARRIAGA, SHAKIRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARRIBES, ANGELICA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, ADRIAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, ADRIAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, AIDA R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, ALBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, ALBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, ALICIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, ALLISON        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, ANIBAL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, CARMEN I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, DENISSE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, DORIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, EDWIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, ERIC           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, ESPERANZA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, FELIX          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, GABRIEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, GLARILYS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, HELEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, HERMINIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, ILEANETTE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, ISABEL DE L    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, IVAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, JEFRY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, JOANNE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, JORGE L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, JOSE A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, JOSE A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, JOSE A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, JOSE R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, JOSUE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, JOSUE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, JUAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, LUIS G         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, LUZ C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, MADELINE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, MARIA DEL C.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, MARIA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, MARIA T        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, MARTA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, MARTA S        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, MELISSA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, MIOSOTIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, OLGA A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, OLGA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, PAMARIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, PAMARIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5445 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 446 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ARROYO, PAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, RAMON A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, RAMONA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, ROMUALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, ROSALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, SAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, SANTOS L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, SONIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, TERESA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, WALDEMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, YAILIANA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, YARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARROYO, YARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARTIGA, NEXZA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARVELO, CARMEN S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARVELO, JEAN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARZOLA, CARMEN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARZOLA, VANESSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARZOLA, WILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARZUAGA, ANGEL R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARZUAGA, CLARIBEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ARZUAGA, MARIA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ASAD, SAHARA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ASAD, SAHARA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ASAD, YESMIN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ASENCIO, YOLANDA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ASENCIO, YOLANDA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ASTACIO, JESUS Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ATILES, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ATILES, FLORMARI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ATILES, ISAAC         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ATILES, LENYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ATILES, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ATILES, SOLMARI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ATILES, TOMAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AUBRET, CARLOS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AULET, KENDALL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVELLANET, RAMON L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILA, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILA, PEDRO L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILA, YAMAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, ALEXANDER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, ANABELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, BLANCA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, CARMEN G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, CARMEN G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5446 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 447 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ AVILES, CARMEN J         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, DORIS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, ELEONOR          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, ELIZABETH        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, EMMANUEL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, FELIX            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, IRMA A.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, JOHANA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, JOHANA I         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, JOHANA I         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, JUANITA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, LILLIAM R        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, LISSETTE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, LORAINE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, LUCIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, LUIS M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, LUISA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, LUZ L            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, LUZ M            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, LUZ S            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, MARIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, MARIA I.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, MIGUEL A         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, MIGUEL ANGEL A   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, MILAGROS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, NOLASCO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, RICARDO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, SAHUDI Z         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, SANDRA I         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, SANTIAGO         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, SYLVIA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, SYLVIA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, TOMAS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, TOMAS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, WILFREDO         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, WILFREDO         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVILES, YARLIN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AVINO, SARA I            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, ABIGAIL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, AIDA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, AIDA Y            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, ALIS B.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, ALVIN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, ANGELICA M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, ANIBAL E.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, BERNARDO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, BLANCA M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, BRENDA L.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, CARMEN I          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5447 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                               Desc:
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ AYALA, DELSEY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, DELSEY R         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, EDGARDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, EILEEN G         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, EILEEN G         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, GIANNI           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, HERY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, JOHANNA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, LAURA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, LILLIAM M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, LOURDES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, LOURDES M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, LUIS E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, LUZ Z            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, MARGARET         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, MARIA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, MARIA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, MARILEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, MARYLIN DEL C.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, MAYRA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, MICHAEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, MILAGROS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, MILAGROS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, NILMARA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, NILMARA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, NORILYSA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, NORMA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, NORMA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, NYDIA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, ORLANDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, OTONIEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, RAFAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, RAUL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, SASHA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, VANESSA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, VANESSA M.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, VILMA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, WILDA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, WILFREDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, WILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, WILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, WILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, YADIRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYALA, ZAIDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYOROA, WILLIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5448 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 449 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ AYUSO, IDANIA ROSA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ AYUSO, ROSA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BABILONIA, IRIS M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BABILONIA, RONALD     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BACHIER, NESTOR R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BADILLO, ASHLEY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BADILLO, EDWIN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BADILLO, RAMON A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BADILLO, YOLANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAERGA, JAVIER A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, ALEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, ALLYNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, AMPARO D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, BLANCA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, CAMILLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, CARLOS J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, CARMEN Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, DAINA J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, DORIS N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, EDDIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, ESTEFANIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, ESTEFANIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, EUGENIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, FELIX A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, FRANCHESKA D    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, GERARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, ILIA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, IRIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, IVAN T.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, JAMES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, JAMES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, JOANNIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, JOSUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, JUAN CARLOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, LAYDINES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5449 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 450 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ BAEZ, LESLIE ANN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, LYDIVETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, MARIA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, MARIA DEL C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, MARILIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, MORAIMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, NELIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, NORMA J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, RAMON L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, SHIRLEY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, SILVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, TOMAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAEZ, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BALAGUER, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BALAGUER, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BALAGUER, JOSE N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BALAGUER, JOSE N.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BALAGUER, LUZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BALASQUIDE, WANDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BALAY, ENID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BALAY, HAROLD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BANCHS, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BANDANO, KEISHLA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARALT, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARBOSA, ALICIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARBOSA, ELSA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARBOSA, JAIME        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARBOSA, JAIME        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARBOSA, NATALIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARBOSA, PEDRO E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARBOSA, ROSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAREA, MARICARMEN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARILLAS, JULIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARLEY, MARIA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRAL, RUTH I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRERAS, EDRICK      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRERO, MARIA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRET, ABELARDI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRET, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRETO, ADA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRETO, ANGEL L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRETO, EDITH V      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5450 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 451 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ BARRETO, ELBA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRETO, ELSIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRETO, JESUS M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRETO, JOSE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRETO, KIARA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRETO, MARY C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRETO, SANTOS A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRETO, WALDEMAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRETT, IRIS E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRETT, JUAN J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRETT, WILFREDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRIOS, GLADYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARRIOS, JOSE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARROSO, ALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BARTOLOMEI, CESAR O   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BASCO, DITZA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BASS, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BASSATT, IVELISSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BATIS, NILMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BATISTA, AGNES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BATISTA, ANGEL L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BATISTA, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BATISTA, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BATISTA, JANIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BATISTA, JANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BATISTA, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BATISTA, MAGALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BATISTA, MYRNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BATISTA, PEDRO C.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BATISTA, ROSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BATISTA, ROSA N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BATTISTINI, NERIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAUTISTA, ELI M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAUZA, BETHSAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAUZA, CRISTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAUZA, KADESH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAUZA, LOURDES M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAUZA, MILDRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAUZA, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAUZO, JOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAYON, MARIHERMY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAYON, PEDRO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAYON, YOMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BAYONA, NORAIMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BEABRAUT, ANGEL R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BEABRAUT, LUIS R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BEALL, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BEAMUD, JANILLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BEAUCHAMP, SANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5451 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 452 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ BECERRA, CARMEN A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BECERRA, IRIS R         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BELEN, ALEXANDER        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BELGODERE, LUIS F       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BELLO, EDWIN E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BELLO, SYBELE A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BELTRAN, CARLOS J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BELTRAN, GLORIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BELTRAN, HILDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BELTRAN, JULIO L.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BELTRAN, LESLIE A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BELTRAN, MARIA DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BELTRAN, MARTA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BELTRAN, MARTA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BELTRAN, SANDRA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BELTRAN, SANDRA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BELTRAN, WILLIAM        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BELTRAN, YELISSA M.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENGOA, DANIEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENIQUEZ, ANTONIO J     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENIQUEZ, JOEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, ANA I.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, AUREA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, AUREA E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, CARMEN R       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, EDNA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, FELIX G        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, FELIX G        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, HILDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, HILDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, JAVIER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, JOHANNA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, JOHNNY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, JOSE E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, JOSE E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, JOSEFINA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, JOSUE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, LINETTE M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, LINNETTE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, LUIS E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, LUIS E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, LUIS M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, LUIS S         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, LUZ M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, MIRNA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, MIRNA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, NANCY I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, SANDRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, SANDRA L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 453 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ BENITEZ, SANDRA L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, SARA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENITEZ, VICTOR M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BENVENUTI, MIGUEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERDECIA, JESSICA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERDECIA, JESSICA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERDIEL, ELSIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERGOLLO, ANGEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDE, BENJAMIN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, ADA N         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, ANGEL L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, ANGEL L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, AURIA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, BENJAMIN      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, CELSO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, DAVID         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, ERIKA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, ERIKA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, FELIPE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, GLEN J.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, IRISELYS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, IVAN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, JUAN C.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, LUIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, LUIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, LUZ           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, LUZ N         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, MARIBEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, MARISOL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, MELISA J      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, SHAQUIL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUDEZ, SOEMI         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERMUEZ, MELISA J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERNABE, MIGUEL S       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERNACET, ANGEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERNACET, ANGEL G       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERNACET, JUAN A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERNANRD, ALEX          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERNANRD, ALEX          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERNARD, DIGNA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERNARD, DIGNA I.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERNARD, ISAI           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERNARDI, YOLANDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERNECER, EVELYN L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERNECER, EVELYN L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERNIER, CARLOS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERNIER, FRANCISCO J.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERNIER, LUISSETTE M    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERNIER, MIRIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ BERRI, GLENDA LEE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOIS, JOSE A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, AIDA I.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, AIXA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, AUREA L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, BRENDALY       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, BRENDALY       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, CARMEN E.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, CARMEN J.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, EDDIE S        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, ELBA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, ELBA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, ELMER A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, EMMA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, ENERIDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, FRANCISCO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, GLENDA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, GLENDA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, GUILLERMO J    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, HECTOR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, JESENIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, JESUS M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, JOSE I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, JOSE ORLANDO   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, JUAN E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, KATHLIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, LINNETTE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, LOURDES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, MARIA C        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, MARIA DEL C    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, MARIA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, MARITZA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, MIRNALIZ S.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, NELSON R       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, NILDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, OLGA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, OLGA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, OLGA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, OMAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, ORLANDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, RAFAEL J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, RITA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, YAMILKA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, YESENIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, YIRA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BERRIOS, YOADIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BETANCES, CINERCA G.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BETANCOURT, ALEX A.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5454 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 455 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ BETANCOURT, ALFREDO REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BETANCOURT, ANA M.   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BETANCOURT, CARLOS   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BETANCOURT, GABRIELA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BETANCOURT, GABRIELA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BETANCOURT, IRAIDA   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BETANCOURT, JOHN     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BETANCOURT, JOSE A.  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BETANCOURT, JOSEPH   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BETANCOURT, MARGIE M REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BETANCOURT, MARIA D REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BETANCOURT, REYNALDO REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BETANCOURT, WENDY M REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BETANCOURT, WENDY M REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BEZARES, JOSE A      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BIDO, LISANDRO       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BIDO, LISANDRO       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BIDOT, MANUEL A      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BIDOT, MARIA M       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BIDOT, SONIA E       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BIDOT, SONIA E.      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BILBRAUT, JOSE       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BILBRAUT, YAHAIRA    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BIRRIEL, CYNTHIA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BIRRIEL, ELKET Y     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BIRRIEL, MILLI A     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BIRRIEL, SAMUEL      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BISBAL, HERTHA J     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BIZALDI, PROVIDENCIA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLANCO, CARLOS D     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLANCO, CARMEN       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLANCO, CARMEN       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLANCO, CARMEN L     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLANCO, EDITH        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLANCO, GERARDO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLANCO, JESUS M      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLANCO, JESUS M.     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLANCO, LUIS         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLANCO, LUIS A       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLANCO, LUIS A       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLANCO, LYDIA M.     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLANES, JESUS M      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLAS, RAMONITA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLASINI, FRANCES     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLASINI, YOLANDA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BLOISE, LINNETTE     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOLIER, LUISETTE     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOLTES, JUANA        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOLTES, JUANA J      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 456 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ BON, MODESTO            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BON, VILMA              REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BON, WANDA I            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONANO, ANA LUZ         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONELLI, GARY A         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONET, ANGEL            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONET, CARLOS           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONET, CARLOS L.        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONET, DENI             REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONET, EDWARD A         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONET, EMIRE            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONET, GILBERTO         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONET, LYDIANT          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONET, YAHAIRA          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONET, YAHAIRA          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONET, YAHAIRA          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONIFACIO, BETHZAIDA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONIFACIO, BETZAIDA     REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, ANDY E         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, ANGEL A        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, ARNALDO        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, BENJAMIN       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, CLARIBEL       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, EVELYN         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, FRANCES        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, FRANCISCO J.   REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, GLADYS         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, HAYDEE         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, IVETTE         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, JESSENIA       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, JONATHAN       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, JONATHAN       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, JORGE L        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, JOSE J.        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, LOYDA          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, LOYDA          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, LOYDA T        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, LUIS FRANCISCO REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, MARIA V        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, MERISSABEL     REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, MIGUEL A       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, MOISES         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, NORALY         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, OMAR           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, PEDRO          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, PEDRO A.       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, REINALDO       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, ROBERTO        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, ROBERTO        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5456 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 457 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ BONILLA, ROCIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, ROSA A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, SANTA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, WALESKA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, WALESKA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, WALESKA J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, WILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, WILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, ZAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, ZAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONILLA, ZOE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BONNIN, JAIME A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORGES, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORGES, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORGES, MARIA DE L.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORGES, MARIA DE L.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORGES, MARIA N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORGES, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORGES, YAHAIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORGES, YAHAIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORIA, GLADYS D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORIA, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORRAS, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORRERO, ALEJANDRO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORRERO, BRISEIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORRERO, GLORIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORRERO, ISABEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORRERO, ISABEL C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORRERO, JOANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORRERO, JOANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORRERO, RICARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORRERO, SHEILA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BORRERO, VANESSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOSCANA, CARMEN E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOSQUE, DANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOSQUE, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOSQUE, OLGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOSQUEZ, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOTTI, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOTTI, TOMASA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOYET, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOYET, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOYET, TEDDY A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOYETT, GESSLANE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOYRE, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOYRIE, ANTONIO F     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BOYRIE, FELIX A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRACERO, CAROLINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRACERO, ISRAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5457 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 458 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ BRACERO, JUAN R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRACERO, PEDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRACETTY, CARMEN M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRACETTY, ROSA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRACHE, LAILAH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRAVO, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRAVO, HECTOR J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRAVO, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BREVAN, FERNANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRIGNONI, MAYDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRIGNONI, MILKA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRIGNONI, NELIA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRITO, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRITO, CARLOS O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BROWN, JOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRUGMAN, YASHIRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRUN, CARLOS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRUNET, ILEANA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRUNET, NORMA IRIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRUNO, CAMELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRUNO, JANET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRUNO, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRUNO, MARIELI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRUNO, MELISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BRUNO, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BULGALA, DEBORAH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BULGALA, NORAH M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BULGALA, NORAH M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BULGARA, DANIELLIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BULTRON, DEBBIE A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BULTRON, JESSICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BULTRON, JESSICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BULTRON, JESSICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGADO, MAYRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, ADOLFO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, AMARILIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, ANA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, CARMELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, CELSO L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, DORIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, DORIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, EDWIN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, EFRAIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, GEORGINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, GERARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5458 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 459 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ BURGOS, GILBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, GLADYS E.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, HECTOR E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, HERNAN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, HILDA J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, INOCENCIO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, IVETTE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, JANETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, JANETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, JETSIBEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, JORGE L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, JOSE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, JUAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, LESLIE E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, LISANDRO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, LISANDRO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, LUIS T          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, LUZ             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, LUZ I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, LUZ M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, LUZ M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, LUZ N           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, MARIA DE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, MARIA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, MARIA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, MARIA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, MARIELA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, MARLYN M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, MICHELLE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, MIRTA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, OJEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, RANDOLPH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, SAMUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, SAMUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, SANDRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, SANTOS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, TERESA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, THELMA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, WALTER          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, WILDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, YAHAIRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, YAMARA E.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, YAMARA E.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, YAMCY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURGOS, YARILIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURNS, FRANCISCO JOSE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURROLA, MARTHA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BURROLA, MARTHA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ BUSIGO, JANIELLY M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5459 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 460 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ BUSTILLO, RUBI C       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CABALLERO, CARLOS A    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CABALLERO, FERNANDO J. REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

RODRIGUEZ CABALLERO, HAYDEE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABALLERO, HECDIA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABALLERO, LITH A     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABALLERO, LUIS A     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABALLERO, VANESSA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABALLERO, VANESSA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABALLERO, VANESSA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABALLERO, VIOLA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABALLERO, VIOLA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABAN, ADA I          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABAN, ANA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABAN, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABAN, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABAN, ARSENIO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABAN, CARMEN N       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABAN, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABAN, EDGAR E        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABAN, JESUS MARIA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABAN, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABAN, JUANITA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABAN, ODETTE M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABAN, REINALDO D     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABAN, REINALDO D.    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABANAS, DIANA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABASSA, EDGAR        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABASSA, ELADIO       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABASSA, JOSE R       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABEZUDO, ABIGAIL     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRANES, SONIA J     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRANES, SONIA J     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRERA, CORALY       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRERA, CORALY       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRERA, JOSE R       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRERA, JUAN A       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRERA, JUDITH       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRERA, LIANA T      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRERA, LUZ S        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRERA, LYMARIE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRERA, LYMARIE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRERA, MARTIN       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRERA, MONSERRATE   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRERA, ROSA M.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRERA, SUGEILY      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRERA, VENUS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CABRERA, VENUS I      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5460 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 461 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CABRERA, WILNELIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CABRERA, YARELYNE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CACERES, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CACERES, CARMEN J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CACERES, CARMEN J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CACERES, ELIO T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CACERES, HILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CACERES, LOURDES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CACERES, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CACERES, MARIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CACERES, ROSA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CACERES, RUTH E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CACERES, VERONICA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CACERES, WANDELIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CADIZ, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAEZ, MARIA S.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAEZ, MARIA S.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAINS, DEBORA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAJIGA, JOHNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALAF, FREDDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALAF, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERIN, CHARISSE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERIN, HUMBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERIN, MILDRED     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERO, MILAGROS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERO, SANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, AGAPITO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, CARLOS M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERÓN, CARLOS M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, CARMEN B    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, DAMARYS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, DIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, DIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, ERIC        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, ERICA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, EVELYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, IVAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, JOSE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, JUAN B      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, JUSTINO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, LEIKA M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, MARIA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, MARICIELO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, MINERVA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, NELSON      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, NELSON F    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, NELVIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, ORLANDO W   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, PEDRO A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5461 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 462 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CALDERON, RICARDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, VANESA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, VANESA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALDERON, WANDA I.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALES, ORLANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALIXTO, ANTONIO J     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALIXTO, HIRAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALIXTO, JUANITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALIXTO, JUANITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALIXTO, LAZARO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALIXTO, MARIA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALIXTO, VICENTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALO, ASHLEY M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALO, CARMEN A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALVENTE, OLGA N       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALVENTI, AMALIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CALVO, TOWIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, ALCIDES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, ANA D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, ANGEL L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, ANTONIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, CARMEN M.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, CHRISTIAN J   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, CONCEPCION    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, DAMIR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, DIEGO L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, ELIGIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, GIOVANNY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, HECTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, ILEANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, ILEANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, IRIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, IRIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, ISRAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, ISRAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, IVIA S        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, JEAN C        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, JEAN C        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, JEHIELI       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, JENEVIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, JONATHAN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, JORGE J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, JOSE S        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, JULIO C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, KEVIN O       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, LESTER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, MARIA A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, MARIA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, MARITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5462 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 463 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                      ADDRESS 1                        ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CAMACHO, MELVIN     REDACTED                         REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, MONSERRATE REDACTED                         REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED

RODRIGUEZ CAMACHO, NILDA        REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, NILDA L      REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, NITZA E      REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, OLGA C       REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, OMAR         REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, OMAR         REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, OMAYRA       REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, RAQUEL DEL C REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ CAMACHO, RICARDO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, ROSALIND      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, ROSELY        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, SARY E.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, SHARLENE      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, TERESA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, YANIRA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMACHO, ZORAIDA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMARGO, SONIA I       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMBRELEN, JANICE L    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMBRELEN, YADIRIKA    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMERON, MICHAEL       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMILO, JOSEANN D      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMPA, MARIA O         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMPBELLS, MARIA I.    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMPOS, BRENDA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMPOS, BRENDA E       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMPOS, BRENDA L.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMPOS, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMPOS, JUDITH         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMPOS, LIZZETTE       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMPOS, MILEDYS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMPOS, MILEDYS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMPS, CELESTE         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CAMPS, TANIA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CANALES, CARLOS E      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CANALES, JAGADI        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CANALES, LUIS R.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CANALES, LUMARA Y      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CANALES, MARIA D       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CANALES, SARA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CANALES, VICTOR M      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CANARIO, CRISTINA M.   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CANCEL, ALEXIS         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CANCEL, EDWIN A        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CANCEL, GERARDO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CANCEL, INES           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5463 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 464 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CANCEL, IRMA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANCEL, MARISOL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANCEL, MIRIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANCEL, MYOSOTI         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANCEL, RAMONITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANCEL, ROSA H          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANCEL, ROSA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIA, JESSICA L   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIA, JOSE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIA, JOSE A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIA, JOSE A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIA, JUAN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIA, LUZ M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIA, NALIAN      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIA, NORMA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIA, NORMA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIA, YADIRA I    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIO, AIDA I.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIO, ALEXIS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIO, FRANCISCA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIO, LISSETTE    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIO, LUIS A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIO, LUIS A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIO, MIGUEL A.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIO, MINERVA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIO, NICOLLE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANDELARIO, SYLVIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANUELAS, ANGEL R.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANUELAS, EVELYN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANUELAS, EVELYN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANUELAS, GLORIA N      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CANUELAS, GRACIELA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAPIELO, ANGEL D        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAPPA, CARLOS R         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAPPA, CARLOS R         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAPPA, CARLOS R         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAPPA, JOSUE E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAPPA, JOSUE E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAPPA, OLGA R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAPPAS, EMILY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAQUIAS, ANGEL M.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAQUIAS, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAQUIAS, CARMEN J.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAQUIAS, CARMEN M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAQUIAS, EDWIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAQUIAS, MAGALY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAQUIAS, MAGALY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAQUIAS, MAGALY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAQUIAS, MARIBEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5464 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 465 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CARABALLO, ANA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, ANTONIO     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, BRILTON     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, CARMEN I    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, CARMEN I    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, CARMEN L    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, CESAR E     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, DIONISIO    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, DORALMA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, DORIS       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, DORIS N     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, EDNA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, EDNA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, ELIZABETH REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, EMERITO     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, ENEIDA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, EUNICE      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, HARRY       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, ILEANA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, IRVING      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, JEANNETTE REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, JOSE R      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, JOSE R      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, JULIO A     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, LAVINIA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, LEIDA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, LUIS        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, MABEL       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, MADELINE REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, MARIA DEL C REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, MARISOL     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, MARISOL     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, MARITZA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, MARITZA I   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, MARY        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, MAYLEEN     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, MIRNA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, MYRIAM      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, NANCY       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, NEIDA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, NEIDA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, NELLY       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, NELSON      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, NELSON      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, PEDRO       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, RAFAEL E    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, RICARDO     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, ROSA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, ROSA E      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5465 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 466 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CARABALLO, RUTH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, SANTIA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, SANTIAGO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, SHIRLYAN     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, YADIRA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, YANIRIS M.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, YOLANDA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARABALLO, YOLANDA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARAMBOT, FRANCISCO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARAMBOT, MIRNA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARATTINI, JOSE A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARAZO, MARITZA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARBO, LOURDES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARBONELL, ELMO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARBONELL, JONATHAN     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARBONELL, JONATHAN     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARBONELL, MARIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARBONELL, MARIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDE, EVELYN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDEC, YARITZA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDENALES, KAREN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDI, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDI, CARMEN H         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDI, CARMEN H         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDI, ENEROLIZA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, AIDA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, DAVID          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, EMILIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, ERMILA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, FRANKIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, JAVIER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, JENNY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, JOEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, JOSHUA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, JOSUE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, JUDITH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, LUIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, LYDIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, NATALIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, OSCAR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, SAMUEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, SYLVIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, SYLVIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, VANESSA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, WANDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, WANDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, WILBERTO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5466 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 467 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CARDONA, YALITZA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDONA, ZENAIDA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARDOZA, SANTA N       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, AGRIPINA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, ANGEL X       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, DAVID         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, FRANCES Y.    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, GERALD        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, HECTOR Z      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, HECTOR Z      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, HUMBERTO REDACTED                           REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, IRIS M.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, JENNY         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, JOSE          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, JOSE          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, JOSE A        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, JOSE I.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, LUZ M         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, LUZ S         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, RAQUEL        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, YANIRA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARMONA, YARITZA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARO, CARLA            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARO, DAISY            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRASCO, LUIS F.      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRASCO, MARCO        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ANTON
RODRIGUEZ CARRASCO, RICHARD A.   REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQILLO, FRANCISCA REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ CARRASQUILL, RITA      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, BENNY    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO,          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
BERNARDO
RODRIGUEZ CARRASQUILLO, BRENDA REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
L.
RODRIGUEZ CARRASQUILLO, CARLOS REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
M
RODRIGUEZ CARRASQUILLO, CARMEN REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
G
RODRIGUEZ CARRASQUILLO, CARMEN REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
S
RODRIGUEZ CARRASQUILLO, CARMEN REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
S
RODRIGUEZ CARRASQUILLO, DIANOLIS REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, DIANOLIS REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, ELISMARY REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED




                                                                                                                                                               PAGE 5467 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 468 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CARRASQUILLO, ELISMARY REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

RODRIGUEZ CARRASQUILLO, ELISMARY REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ CARRASQUILLO, ESTEBAN REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, FELIX    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO,          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
FRANCISCA
RODRIGUEZ CARRASQUILLO,          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
FRANCISCO
RODRIGUEZ CARRASQUILLO, GLORIBEL REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ CARRASQUILLO, GLORIBEL REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ CARRASQUILLO, JOSE A   REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, JUAN J. REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, KARLA M REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, KEILA    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, KIARA    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, LISANDRA REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ CARRASQUILLO, LISANDRA REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ CARRASQUILLO, LORENZO REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, MARIA   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, MARIA   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
DEL
RODRIGUEZ CARRASQUILLO,         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
MARISELA
RODRIGUEZ CARRASQUILLO, MARITZA REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, MARITZA REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, MARTHA REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, MARTIN REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO,         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
MIGDALIA
RODRIGUEZ CARRASQUILLO, NELIA I REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, NILDA R REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, NOEMI REDACTED                         REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, NOEMI REDACTED                         REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, NYDIA N REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, OLGA I  REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO,         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ORLANDO
RODRIGUEZ CARRASQUILLO,         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
PETRONILA
RODRIGUEZ CARRASQUILLO, RUTH N REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CARRASQUILLO, SHARLIM REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
M
RODRIGUEZ CARRASQUILLO, URSULA REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5468 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 469 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CARRASQUILLO, VILMA L.   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRAU, RAFAEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERAS, GERARDO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERAS, GIL            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERAS, MARIA A        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, ADA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, GILBERTO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, GILBERTO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, GLADYS          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, GLORIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, GRISELDA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, ILONKA M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, JENNIFER        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, JOSE E          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, MARIA M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, MILAGROS        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, NELSON          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, NELSON J        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, NERITZA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, PABLO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, PABLO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRERO, PABLO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRIL, CARMEN D         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRIL, OLGA S           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRILLO, BRENDA L.      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRILLO, CHIARA G       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRILLO, DELIA I.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRILLO, EDWARD         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRILLO, ERIC J         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRILLO, GEORGINA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRILLO, JANITZA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRILLO, JOSE N         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRILLO, KARLA L        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRILLO, LOURDES        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRILLO, LUZ M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRILLO, MANUEL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRILLO, MIGDALIA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRILLO, SONIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRILLO, SONIA E.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRION, ADALBERTO       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRION, CARLOS A        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRION, DAMARIS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRION, IRMA S          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRION, JESENIA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRION, MARIA DEL P.    REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRION, MILAGROS        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRION, MILAGROS        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRION, NITZA I         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRION, OLGA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5469 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 470 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CARRION, OLGA E      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRION, ROBERTO G   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRION, SHARLEEN    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRION, VICKY       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRION, WILFREDO    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRO, IBIS          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARRO, IBIS L.       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARTAGENA, ALEXANDRA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARTAGENA, ARIEL     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARTAGENA, AVILIO    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARTAGENA, EDGARDO REDACTED                          REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARTAGENA, GLENDALY REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARTAGENA, LILLIAM   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARTAGENA, LINETTE   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARTAGENA, LUIS R.   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARTAGENA, MARIA M   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARTAGENA, MARIA M. REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARTAGENA, MARTITA   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CARTAGENA, SANDRA    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASADO, GIZZELL      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASADO, GIZZELLE     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASADO, LISETTE      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASADO, LISETTE      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASALS, MARAINES     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASANOVA, AWILDA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASANOVA, CARLOS A   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASANOVA, CARMEN G   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASANOVA, GLORIA M   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASANOVA, ISABEL     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASANOVA, JUAN B     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASANOVA, LUIS R.    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASANOVA, MARIA L    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASANOVA, MARIA L.   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASANOVA, NESTOR R.  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASANOVA, RAFAEL J   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASELLAS, ZINIA      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASERES, MIRZA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASIANO, ALBERTO I   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASIANO, ANNETTE     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASIANO, ELBA I      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASIANO, HIRAM       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASIANO, ISABEL      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASIANO, JANNETTE M  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASIANO, JOSE A      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASIANO, JOSEPH      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASIANO, JULIO A     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASIANO, KEYLA T     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASIANO, LIZA V      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASIANO, MILAGROS R. REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5470 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 471 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CASIANO, SANDRA I     REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASIANO, STEPHANIE M REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASIANO, XAVIEL       REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASILLA, ARSENIO      REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASILLAS, ABEL        REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASILLAS, ADALIAN     REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASILLAS, ALEXAMIL    REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASILLAS, DIANA       REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASILLAS, DORCA I     REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASILLAS, DORCAS      REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASILLAS, GAMALIER    REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASILLAS, MAGDALENA   REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASILLAS, MARIA       REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASILLAS, MARIA E     REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASILLAS, ROBERTO     REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASILLAS, VALENTIN    REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTA, SUSET          REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTA, SUSET M        REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTAING, MARIA A     REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTANER, SUSANA M.   REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTELLANO, ALEJANDRO REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED

RODRIGUEZ CASTELLANO, ARLENE       REDACTED                    REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTELLANO, ARLENE       REDACTED                    REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTELLANO, JOSE A       REDACTED                    REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTELLANOS, MICHELLE REDACTED                       REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTELLO, FELIX A        REDACTED                    REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, BLANCA         REDACTED                    REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, CARLOS         REDACTED                    REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, CHRISTIAN JOET REDACTED                    REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ CASTILLO, EDUARDO       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, EDWARD        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, ELIZABETH     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, FEBE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, FELICITA      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, FELIX G       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, FRANCIS       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, FRANCIS G     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, ISMAEL        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, JAVIER        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, JOSE M        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, MARIA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, MARIA DEL C   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, MILAGROS      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, ORLANDO       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, ROSA L        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, ROSA L        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, VICTOR        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5471 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 472 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CASTILLO, VICTOR M       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTILLO, ZORAIDA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTILLO,ISMAEL          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, AIDA I           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, ALEXANDRA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, ARMANDO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, ASHLIM M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, CARMEN V         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, DAVID            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, DAVID E          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, EDITH            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, ELIAS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, ELIZABETH        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, ENID             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, ERIC J.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, ERICK            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, ESTEBAN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, EVELYN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, EVELYN N         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, FREDERICK X      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, IRAIDA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, IRELIS           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, JACQUELINE       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, JANETZA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, JORGE R          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, LIZBETH          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, LOURDES M.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, LUIS A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, LYDELIS Z.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, LYDIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, LYDIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, MAGDALIS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, MARCELINA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, MARIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, MARIA DE LOS A   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, MARIA DEL C      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, MARIA DEL P.     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, MARILYN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, MATILDE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, MICHELLE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, MICHELLE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, MIGDALIA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, MIGUEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, MILLIAM          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, NAHILA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, NANCY I.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, NILSA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, OLGA I           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, RAMIRA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5472 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 473 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CASTRO, REINA J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, SARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, TATYANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, VICTOR M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, WALESKA A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, WANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, WANDA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, WIDNA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CASTRO, YAITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CATALAN, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAY, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CAYCEDO, NATALIE M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEBALLOS, ORLANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEDENO, ANDRES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEDENO, BENJAMIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEDENO, FELIX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEDENO, ILEANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEDENO, IRMA N.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEDENO, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEDENO, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEDENO, JORGE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEDENO, JOSE N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEDENO, JOSE N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEDENO, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEDEQO, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEDRES, LINORCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEDRES, LINORCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEDRES, LISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEDRES, RAFAEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CENTENO, ABIEZER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CENTENO, ALMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CENTENO, DOMITILA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CENTENO, JOSE R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CENTENO, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CENTENO, MIGDALIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CENTENO, MIGUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CENTENO, OSWALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CENTENO, PEDRO I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CENTENO, PEDRO IVAN   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CENTENO, ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CENTENO, SONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CENTENO, SONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CENTENO, TASHIRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CENTENO, YOLANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEPEDA, GABRIEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEPEDA, GLORIA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEPEDA, HECTOR E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5473 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 474 of 2285
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CEPEDA, HILDELISA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEPEDA, ROSA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CEPERO, SORALISS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CERVERA, SAYRA E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHACON, ANGEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHACON, IVAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHALUISANT, ILIANNIE    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHAPARRO, MARIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHARLES, JAMES P        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHARRIEZ, EVELYN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHARRIEZ, MONICA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHARRIEZ, MONICA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHAVES, AIXA M.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHAVEZ, TAMARA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHAVEZ, TAMARA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHERENA, BETHZAIDA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHEVERE, EDWIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHEVERE, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHEVERE, MARIA ISABEL   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHEVEREZ, HAYDEMARIE    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHEVEREZ, HAYDEMARIE    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHEVRES, CARMEN L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHICO, CESAR A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHICO, CESAR A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHIESA, DIANA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CHIN, JESSICA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CID, LUIS G             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, ADA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, AGNES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, AGNES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, ALEXIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, CARLOS J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, CARMEN M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, CARMEN R       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, CARMEN V       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, CHRISTIAN      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, CINDY I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, DAMARIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, DAMARIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, DAVID          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, EDGARDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, EDWIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, ELIEZER        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, ERIC           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, EVELYN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, FRANCISCOJ     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, GLORINES       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, HECTOR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, IRIS N.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5474 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 475 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CINTRON, ISMAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, IVETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, JANET         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, JANET         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, JANNETTE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, JESUS E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, JONATHAN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, JORGE F       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, JOSE J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, JOSE J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, JURIANA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, LUIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, LUIS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, MANUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, MARGIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, MARGIE L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, MARIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, MARIA DEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, MARIA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, MARIELIS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, MARITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, MARTIN A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, MARYCEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, MILANERYS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, MILANERYS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, MILLIETTE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, MILLIETTE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, MIREILLIE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, MYRTHA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, NORA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, NORMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, OLGA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, OMAR E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, RADAMES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, RADAMES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, RAMON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, ROBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, ROBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, ROBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, ROBERTO B     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, ROBERTO E     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, ROSA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, RUBINETTE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, SANDRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, SHAILEEN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, SYLMA E.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, VANESSA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, VANESSA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, WILFREDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 476 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CINTRON, YALID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, YEIDIE E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, YOLANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, YOLANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CINTRON, ZULEYCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CIRINO, ALEXANDER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CIRINO, TAMARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CIRINO, TAMARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAS, SHEILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLASS, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLASS, ODETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAUDI, ILEANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAUDIO, AIXA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAUDIO, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAUDIO, BRIGIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAUDIO, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAUDIO, IRIS V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAUDIO, JAVIER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAUDIO, JERICH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAUDIO, JULIANNA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAUDIO, MARIBEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAUDIO, NANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAUDIO, NORA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAUDIO, NORA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAUDIO, OLIBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAUDIO, PEDRO R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAUDIO, REBECA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAVELL, ILEANA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAVELL, LILLIE M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAVIJO, LUIS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLAVIJO, ZORAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLEMENTE, ANTONIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLEMENTE, ANTONIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLEMENTE, CINTHIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLEMENTE, DAMARIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLEMENTE, DAMARIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLEMENTE, DAMARIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CLEMENTE, SANDRA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COCA, LUCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COCHRAN, ORLANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COIMBRE, RAFAELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLDERO, ADELAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLADO, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLADO, GRISELDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLADO, JANICCE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLADO, JASON J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLADO, JAVIER F.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLADO, JOSUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLADO, PETER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5476 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 477 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ COLLADO, SYLVIA M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, ALEXANDER     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, ANA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, ANGELA B      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, ANGELA B      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, BRYAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, CARLOS A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, CARLOS A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, CARMEN L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, DANIEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, DENNISSE V.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, EDDIE O.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, EDGARDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, ELIZABETH     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, ELIZABETH     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, EMANUEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, ERNESTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, FELICITA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, FELIX         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, FRANK A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, FREDDY O.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, GERALDO A     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, IVONNE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, JENNIFER      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, JOSE L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, JOSE L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, JOSE L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, JOSE R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, LIZA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, LIZZET        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, LIZZET M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, LOURDES I     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, LUIS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, LUIS A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, LUZ M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, LYMARI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, LYMARI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, MADELINE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, MANUEL A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, MARIA DEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, MARIA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, MARIA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, MARIMELLY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, MARITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, MIGDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, MIGDALIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, MIRIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, NADIA A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, NESTOR L.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5477 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ COLLAZO, OLGA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, OLGA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, RAMON           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, RICARDO         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, SANDRA P.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, TERESA E        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, ULBIA L         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, VICTOR ALEXIS   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, VICTOR R.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, VIRGINIA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, VIRGINIA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, WILLIAM         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, YOLANDA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, YOLANDA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, YOLANDA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLLAZO, YOLIMAR         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ADA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ADA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ADA O             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ADRIANA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, AGUSTIN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, AGUSTIN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, AIDA I            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, AIDA I            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, AIDA L            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ALBA M.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ALMA D            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, AMELIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ANA CELIS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ANA L             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ANDRES            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ANGEL             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ANGEL             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ANGEL F           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ANGEL G           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ANGEL LUIS        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ANGEL M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ANGEL M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ANGEL R           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ANGELA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ANGELITA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ANIBAL            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ANTONIO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ARLENE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ARLENE M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, BETSIE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, BIENVENIDO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, BIENVENIDO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, BONIFACIO         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5478 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 479 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ COLON, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, BRENDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, BRENDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, BRENDA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, BRENDA J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, BRENDA LIZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CANDIDA R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CANDIDA R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CARLOS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CARLOS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CARLOS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CARLOS R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CARMEN D.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CARMEN D.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CARMEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CARMEN L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CARMEN P.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CARMEN W       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CAROLINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CELIA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CHARLES A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CHRISTINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CORAL D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CYNTHIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CYNTHIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, CYNTHIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, DALMA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, DAVID R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, DAVID R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, DELMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, DENISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, DILFIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, DORIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, DORIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, DORIS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, EDILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, EDNA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5479 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 480 of 2285
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ COLON, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, EDWIN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, EDWIN R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ELENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ELENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ELSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ERNESTINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, EVA LYNN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, FAUSTINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, FRANCES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, FRANCIS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, FRANCIS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, FRANKIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, FREDDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, GABRIEL R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRÍGUEZ COLÓN, GABRIEL R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, GENOVEVA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, GERMAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, GINA P         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, GISELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, GLADYS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, GLENDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, GLORIA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, GLORIA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, GREGORIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, GRISELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, GUILLERMINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, HARRY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, HECTOR H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, HECTOR L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, HERBER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, IDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, IDANIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, INGRID G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, IRAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, IRENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

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                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ COLON, IRENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, IRIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, IRIS N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, IRMA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ISMAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ISMAEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, IVAN V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JANET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JANET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JANET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JAYDIE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JESUS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JIMMY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JO ANN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOHN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JORGE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JORGE LUIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JORGE O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JORLAND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOSE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOSE E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOSE H.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5481 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 482 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ COLON, JOSE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOSE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOSE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JOSE R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JUAN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JUAN A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JUAN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JUAN F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JULIO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JULIO C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JULIO C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JULIO CESAR    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, JULIO I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, KARINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, KARL O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LAURA ENID     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LENZEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LENZEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LICEL H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LILLIAM E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LILLIBETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LOURDES M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LOURDES M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LOURDES N.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LOURDES N.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LUIS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LUIS O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LYS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, LYS E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MADELINE J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MANUEL E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MARIA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MARIA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ COLON, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MARIELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MARIELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MARIELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MARLA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MARTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MARTA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MARTIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MAYRA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MELVIN O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MERLIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MERLIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MINERVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MINERVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MIRNA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MYRNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MYRNA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, MYRNA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, NAIDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, NEREIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, NEREIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, NICOLE M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, NILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, NILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, NILDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, NIRZA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, NOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, NOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, NORBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, NORMA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, NORMA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, NORMA J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, OLGA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, OSVALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, PEDRO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, PEDRO JUAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, PEDRO N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, RAMON A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5483 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ COLON, RAMONITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, RAMY A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, RAMY A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, RAY D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, RAYMOND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ROBERTO L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ROSA A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, SANDRA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, SANDRA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, SARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, SILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, SOFIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, SUGEIL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, SUGEIL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, TOMAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, VIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, VICTOR D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, VICTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, VIRGEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, VIVIAN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, WALESKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, WALESKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, WANDA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, WANDA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, WANDA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, XAIMARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, XAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, XIOMARA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, XIOMARA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, XIOMARA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, YADIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, YAITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, YAMIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, YANITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, YENITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5484 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 485 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ COLON, ZULMA           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COLON, ZULMARIEVELISSE REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

RODRIGUEZ COLONDRES, EMMA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ COLONDRES, NERIDA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ COLTON, JOHN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ COLTON, ZASHI         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, ARICELIS  REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, AXEL A    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, CLARA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, DAVID     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, DYLAN     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, ELSIE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, FABIOLA   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, HONIL     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, JAVIER M REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, JESUS     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, KEREN     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, KEREN     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, LUIS A    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, MARIVEL   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, MAYRA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, NOEMI     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, RAFIEL Y  REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, SARAH     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, WILLIAM   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, YAJAIRA   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONCEPCION, YITZA I   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONDE, ISAI           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONDE, ISAI           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONDE, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONDE, LUCIA M        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONDE, LYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONGOLINO, JHONY      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
MAURICIO
RODRIGUEZ CONSTANTINO, CARLOS R REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONSTANTINO, CHARLES REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONSTANTINO, OLGA I   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONTRERAS, GENESIS M REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CONTRERAS, MAGALY     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORA, ALFREDO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORA, ELDA MAGALI     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORA, JOANNIELIZ      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORA, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORA, KARLA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORA, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORA, VIVIAN I        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORALES, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORALES, ROSA M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 486 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CORCHADO, MELODY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORCHADO, NELSON       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORCHADO, VANESSA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, ADRIAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, ADRIAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, AUREA H.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, CHRISTIAN     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, EDUARDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, EVELITH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, GLENDA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, GLORIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, GLORIMAR      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, HECTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, HECTOR E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, IRIS M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, JANET         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, JENNY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, JENNY I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, JOSE E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, LESLIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, MARY B        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, MAYTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, MIGDALIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, OLGA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, ORLANDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, PEDRO J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, PETER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, VILMARYS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDERO, WILLIAM J.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDOVA, ANTHONY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDOVA, JUDITH E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDOVA, JUDITH E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDOVA, MANUEL G      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDOVA, OSCAR J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORDOVA, PETRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COREANO, ZULMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COREANO, ZULMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORIANO, FRANCISCO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORIANO, ROXANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORNIER, BLANCA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORNIER, CARMEN LUZ    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORNIER, GILBERTO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORNIER, JOSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORNIER, SARA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORNIER, ZORAIDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORNIER, ZORAIDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORPORAN, PATRICIA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORPORAN, PATRICIA A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORPORAN, PATRICIA A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5486 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 487 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CORREA, ALICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, ALMA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, ANGEL M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, ANGEL M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, BELKYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, EDELYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, EDELYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, FREDESWINDA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, FREDESWINDA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, GILBERTO L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, GLAMARYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, HILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, HILDRED M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, IVAN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, IVELYSSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, IVELYSSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, JEREMY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, JORGE W.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, KIDIAM Y.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, LESLIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, LILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, LILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, LUIS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, MAGDA C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, MANUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, MARIA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, MARILU        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, MAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, MAYRA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, MIGNA H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, MIGUEL A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, MYRNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, MYRNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, MYRNALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, NARCISO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, NOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, NORBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, OSCAR H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, OTILIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, RAYMOND       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, ROSA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, RUBEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5487 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 488 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CORREA, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, VICTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORREA, WANDA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORRETJER, IZAMAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORRETJER, IZAMAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, ALVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, ANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, DENISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, ELVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, FELIX A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, JANET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, JEANETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, JENNIFER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, JESUS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, JUANITO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, JULIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, LIZA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, MAGALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, MANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, MARIA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CORTES, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
MILAGROS
RODRIGUEZ CORTES, MARIA V       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORTES, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORTES, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORTES, NANCY E       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORTES, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORTES, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORTES, WANDA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORTES, WILSON        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORTEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORTEZ, ENDEL HIRAN   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ CORTEZ, KIARA M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ COSME, AIDA I         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ COSME, ANDRES         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ COSME, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ COSME, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ COSME, ANGELMIRO      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ COSME, ARACELIS B     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ COSME, BELISA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ COSME, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ COSME, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5488 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 489 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ COSME, CARMEN Z        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COSME, CHEILA Y        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COSME, INGRID D.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COSME, JOSE LUIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COSME, LESLIE ANN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COSME, MELVIN A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COSME, RUTH            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COSME, SORILIZ         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COSME, TERESA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COSS, KAMILA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COSSIO, IRMA ADELINA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COSTA, DANIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COSTA, ROSAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COSTAS, ANNABELLE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTT, GUSTAVO A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTE, YALEXIREL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, ADELAIDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, ADELIZ          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, AIDA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, AMARILIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, ANIBAL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, BENJAMIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, DAGMAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, DANIEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, DIANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, ELIZABETH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, FELIX I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, GLADYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, ISABEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, JAVIER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, KRIOSQUI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, LUIS F.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, LUIS V.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, MARIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, MARIA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, MARIA ISABEL    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, PABLO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, PABLO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, ROBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, VANEVEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, VANEVEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, VICTOR M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, XIOMARA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ COTTO, XIOMARA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPI, MIGUEL F       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, ALEXIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, ANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, CARLOS H.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, CARMEN B.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5489 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 490 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CRESPO, DAREEM G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, DELVIN O.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, EDNA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, HECMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, JUAN B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, KATHYA N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, KATHYA N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, KEILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, MARIA G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, MICHAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, MILAGROS D    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, PAULITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, RUBEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, SILVESTRE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, STEVEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRESPO, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRISTOBAL, ANTONIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRISTOBAL, ISABEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRISTOBAL, JOSEFA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRISTOBAL, LUZ E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, AIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ALEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ALEJANDRINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ALEXANDER J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ALVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, AMPARO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ANA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ANA O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ANABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ANGEL G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ANGEL I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ANGELA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ANGELICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ANGELLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ANNIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5490 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 491 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CRUZ, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ARMANDO J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, AURORA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, AUSTRIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, BERSY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, BRAYAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, CARLOS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, CARMEN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, CARMEN D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, CARMEN I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, CARMEN R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, CHARLENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, CHRISTIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, CHRISTINA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, DAISY I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, DENICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, DENICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, DIANA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, DIANA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, DIANA W         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, DORA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, DORA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, DORIS Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, EDGAN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, EDIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, EDNA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, EDWIN O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ELAINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ELENA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, EMILIANO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, EMMA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, EMMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5491 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 492 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CRUZ, ESTEBAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, EUFEMIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, FRANCES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, FRANCES A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, GIOVANY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, GLADYS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, GRACE H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, GRISELLE A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, GUILLERMO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, HARRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, HAYDEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, HECTOR J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, IDALIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, IRAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, IRAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, IRIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, IRMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, IRSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, IVAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, IVONNE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JACK            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JESUS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JESUSALYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JESUSALYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JIMMY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JOEL J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JORGE H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JOSE C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JOSE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JOSE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JOSE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JOSEPH H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JOSUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 493 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CRUZ, JOSUE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JUAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JUAN A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JUAN A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, JULIO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, KARILLYN L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, KATHERINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, KATHERINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, LAURA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, LILLIAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, LIONEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, LISANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, LIZA J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, LUCY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, LUIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, LUIS DANIEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, LUIS J.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, LUIS M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, LUIS M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, LUZ A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, LYDIA G          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, LYDIA M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARANGELY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARBELISSE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARGARITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARGARITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIA C.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIA DE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIA DE L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIA DE LOS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIA M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIA MERCEDES   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIAM L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIBEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIBEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARIBEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARISOL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MARY L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5493 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 494 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CRUZ, MARY LUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MAYDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MAYRA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MELANNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MERIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MIGUEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MIGUEL J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MIRTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MORAIMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MORAIMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, MYRTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, NEFTALI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, NELIDA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, NORELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, NORMA IRIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, NYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, OLGA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, OLGA N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, OLGA W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, OSCAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, OTILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, PATRIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, RADAMES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, RAMON M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, RAMONITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, RAMONITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, RAMONITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, REINERIO R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, RENEYDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5494 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 495 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CRUZ, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ROBERT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ROBERTO E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ROGELIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ROSALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, SAMUEL I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, SANTIAGO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, SAULO N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, SERGIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, SERGIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, SHARON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, SHARON J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, TERESA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, VICENTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, VIOLETA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, VIRGENMINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, WANDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, WILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, YAMILETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, YAMILETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, YANILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, YANILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, YOMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ZAYIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ZENAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ZENAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZ, ZULMA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZADO, ALICIA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZADO, NILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZADO, ROSALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CRUZADO, VIVIANA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUADRADO,             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ANDREANNETTE
RODRIGUEZ CUADRADO, BLANCA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5495 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                      Schedule E3 Page 496 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ CUADRADO, EFRAIN         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUADRADO, FELICITA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUADRADO, GLORIA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUADRADO, JORGE A        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUADRADO, LILIBETH       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUADRADO, LISSETTE       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUADRADO, LUIS E         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUADRADO, MARIA P        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUADRADO, SONIA E        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUBERO, DIANERIS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEBAS, ANA M            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEBAS, JUAN V           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, AIDA L           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, CARMEN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, CRISTINA M       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, EZEQUIEL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, HELISA M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, IRAIDA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, IRMA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, JEAN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, JOSE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, LIZBETH M.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, MARIA DE LOS A   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, MICHAEL A.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, NILKA A          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, ROSABEL          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, ROSAURA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, ZIEBEL E         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, ZIEBEL E E       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUEVAS, ZULAIKA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUMBA, KELIMAR           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUMBA, MARIELA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUMBA, ROSAIMAR          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUPELES, ELLIOTT R       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CURBELO, CANDIDA A       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CURBELO, CARMEN M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CURBELO, CARMEN S.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CURBELO, LUIS A          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CURBELO, SYNTHIA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CURET, AGAPITO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CURET, DAISY             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CURET, RAMON B           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CURET, ROBERTO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CURET, SOCORRO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUSTODIO, CARMEN         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUSTODIO, CARMEN         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ CUSTODIO, WILLIAM        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ D'ANDREA, JOSE C         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DANIELS, MINERVA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5496 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 497 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ DATIL, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVID, DALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVID, DALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVID, DALIA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVID, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVID, LORAINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVID, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVID, MARIANITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVID, YANIRA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, ABIGAIL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, ABIGAIL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, AIXA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, AIXA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, ALBA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, ALICIA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, ANA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, ANA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, ANGEL M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, BRENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, BRENDA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, DAYSHA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, DEBORA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, EDGARDO I.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, EFRAIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, EFRAIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, FERNANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, FRANKLYN J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, GRISEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, GUSTAVO A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, JORGE A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, JOSE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, JUAN A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, JUAN A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, JUAN C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, JUAN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, KATHRYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, LESLIE I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, LUIS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, LUIS R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, LYGIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, MELANIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, OLGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, RAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, REINA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5497 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 498 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ DAVILA, REINA I          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, REINA I.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, ROSE M.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, SHAYRA M.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, SONIA J          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, TANYA M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, TOMAS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, WANDA I          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DAVILA, WILLIAM          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE ABREU, NELLY E.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE ARCE, ZAYDEE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE BAYALA, JANNETTE      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE BURGOS,               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ENCARNACION
RODRIGUEZ DE CARLO, MARIA          REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE CHOUDENS, MARTA S     REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE CRESPO, EVELYN L      REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE CRUZ, SONIA           REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE DIAZ, NYDIA           REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE DURAN, IVETTE         REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE FIGUEROA, CELESTINA   REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE GONZALEZ, MARLYN      REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE HOSTO, JUAN           REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE HOYOS, JOAQUIN        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, ADA M          REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, ADA M          REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, ARMANDO        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, CARLOS         REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, CARLOS I       REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, CARMEN         REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, CARMEN M       REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, DAMIAN         REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, EDITH W        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, EDNA L.        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, EDNA L.        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, EDWIN          REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, EDWIN          REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, EMANUEL        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, ESTHER         REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, EVELIS         REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, EVELYN         REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, FRANCISCO      REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, FRANCISCO R    REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, FRANKLIN       REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, GERMAN         REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, GLORISELMA     REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, HAYDEE         REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, HECTOR         REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, HECTOR         REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5498 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 499 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ DE JESUS, HECTOR L       REDACTED                    REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, HECTOR L       REDACTED                    REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, HEYDA E        REDACTED                    REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, IRIS V         REDACTED                    REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, JOANNE CECILIA REDACTED                    REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED

RODRIGUEZ DE JESUS, JOHANNA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, JOSE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, JOSE O        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, JOSE O        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, JOSE R.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, JOSE R.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, JULIO         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, JULIO         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, JULIO C.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, KENNETH J     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, LUIS          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, LUIS          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, LUIS N.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, LUIS RAMON    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, LYDIA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, LYNDA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, MARGARITA D   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, MARIA C       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, MARIA DEL C   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, MARIA M       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, MARIBEL       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, MARIBEL E     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, MARILYN       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, MARIO         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, MARTA I       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, MAYRA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, MELISSA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, MIGUEL        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, MILAGROS      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, NANCY         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, NANCY         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, NATALIA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, NELLIE        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, NICOLE D.     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, NILSA E       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, NORMA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, OMAR          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, PABLO         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, PAULA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, PEDRO A       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, ROBERTO       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, ROSA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, ROSA JULIA    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5499 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 500 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ DE JESUS, RUBEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, SENAIDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, SENAIDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, SHARON Y      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, TABITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, TANIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, TERESA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, TERESA M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, VIONNETTE G   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, VIVIAN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, WALESKA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, WILLIAM       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, WILLIAM       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, YESSICA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JESUS, YEZER S       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE JEUS, ALISHKA M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE LA CRUZ, INES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE LA CRUZ, YARIVETTE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE LA FUENTE, NANCY     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE LA PAZ, JOSE J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE LA ROSA, BRENDA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE LA ROSA, FARRAH      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
MARIE
RODRIGUEZ DE LA ROSA, IVETTE      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LA VILLA, CARMEN M   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LABOY, NEREIDA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, CARMEN D.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, CINDY          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, EFRAIN J.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, FELIX          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, FRANCISCO      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, ILEANA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, IVELISSE       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, JORGE L.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, JUANA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, LOURDES        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, LUIS M         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, MARIA L        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, MIGUEL         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, MILAGROS       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, NATALIE        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, NORMA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, RAFAEL A       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, SONIA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, SONIA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, SONIA I        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LEON, YVETTE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE LOS SANTOS, FELIPE   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5500 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 501 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ DE LUGO, CASILDA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE LUYANDA, WANDA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DE MARTINEZ, CARMEN REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
M
RODRIGUEZ DE MARTINEZ, MARIA E. REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE MONSANTO, NELLY     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE MORALES, JESSICA    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE OMS, NEREIDA        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE ORTEGA, MIRIAM      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE PEREZ, MIRNA        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE PEREZ, NOEMI        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE QUILES, MYRNA       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE RAMIREZ, MARISOL    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE RAMOS, MARIANA      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE RIVERA, MIRIAM      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE ROSA, JUANA M       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE SANCHEZ, NEIDA      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE SANTANA, GERTRUDIS REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE SEVILLA, LETICIA M. REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE SILVA, ZORAIDA      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE SOLLA, CARMEN L.    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE SOTO, ISABEL        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE TAVAREZ, NOEMI      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE TORO, IRIS M        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE WEST, ALISIS A      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE_JESUS, ANA D        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DE_JESUS, GLORIA E     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEBERLING, CARMEN      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DECLET, ELIZABETH      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DECLET, JORGE          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DECLET, LOURDES        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DECLET, LOURDES        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DECLET, LOURDES        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DECLET, MAYRA I.       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DECOS, SABRINA         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEJESUS, LIZA          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEJESUS, SARAH         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEJESUS, YESSENIA      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL RIO, ANA M.        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL RIO, JULISSA       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL RIO, MARIANGEL     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL RIO, MARISOL       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL RIO, MARISOL       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL RIO, PATRICIA      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL TORO, CHARIZ       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL TORO, JENNIFER     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL TORO, JOSE M.      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, ANA         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, ANA M       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5501 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 502 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ DEL VALLE, CARLOS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, DELMARIE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, DELMARIE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, EDGAR M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, FRANCIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, GERARDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
FELIPE
RODRIGUEZ DEL VALLE, HERMINIO    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, HILDA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, IRIS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, JEANETTE    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, JOHN G      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, JOHN G      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, JOSE        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, JUAN        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, JUAN A.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, LEYVA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, LUZ I.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, LYVIA N.    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, MATILDE     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, OMAR        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, SUGEY       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, TERESITA    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, YAMILETTE   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL VALLE, YAMILETTE   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DEL, RI C              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELANNOY, CARLOS M.    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, ADLYN D       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, ALEJANDRO     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, ALIDA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, ANTONIO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, BENJAMIN      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, BRYAN         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, CARLOS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, CARLOS J      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, CHRISTIAN G   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, DAISY         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, DAISY         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, DALMA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, DANIEL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, ELIPHAZ       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, FRANCELIN     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, FRANCELINE    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, GENARO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, HECTOR I      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5502 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 503 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ DELGADO, IVELISSE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DELGADO, JOCELYNE Y     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DELGADO, JOCELYNE Y     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DELGADO, JOSE J.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DELGADO, JOSE L.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DELGADO, JOSE M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DELGADO, JOSE O         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DELGADO, JUAN I.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DELGADO, JUAN M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DELGADO, JULIO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DELGADO, LIZANDRA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DELGADO, LUIS D         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DELGADO, LUIS D         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DELGADO, LUZ            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DELGADO, LUZ            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DELGADO, MARIA DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DELGADO, MARIA DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
A
RODRIGUEZ DELGADO, MARIELIS       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, MAYRA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, MELISSA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, MICHELLE       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, OSCAR          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, OSVALDO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, RAMILDA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, RAMONA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, RAMUEL         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, RENE           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, ROBERTO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, ROSA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, SARAH I.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, VANESSA M      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, WANDA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, WANDA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, WANDA I        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, WANDA I.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, WILLIAMS       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, WILMA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELGADO, ZULAIKA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELIZ, ANASTACIA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELIZ, REBECCA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DELRIO, PATRICIA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DENIS, ERIK             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DENIS, INES M           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DENIS, IVAN             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DENIS, IVAN Y           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DENIS, SILINETTE M      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DENIZAR, CEFERINO       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ DESIDERIO, MARIA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5503 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 504 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ DEYNES, VICTOR A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ADELAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ADELAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ADLIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ALEX E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ALEXANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ALEXIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ALMA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, AMAURY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, AMELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ANA G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ANA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ANDREA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ANGEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ANGEL I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ANGEL L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ANIBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ANIBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ARLENE D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ASHLEY C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ASTRID L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, AZALEA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, BARBARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, BARBARA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, BLANCA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, BLANCA N.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, CARLOS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, CARLOS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, CARMEN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, CARMEN G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, CARMEN G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, CARMEN IRIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, DAYANARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5504 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 505 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ DIAZ, DIANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, EDGAR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, EDGARDO RAFAEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, EDWIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ELENA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ELMER            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, EMITANIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ENID             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ENID             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, EPIFANIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ERIC M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ERNESTO M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, EVELYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, FELIX            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, FRANCISCO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, FRANCISCO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, GILBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, GILDA E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, GILMARIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, GUADALUPE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, HARRY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ILDEFONSO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ILEANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ILIA I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ILUMINADA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, IRIS C.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, IRMA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, IRMA R.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, IRMA R.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ISABEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, IVELISSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JAHAIRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JANET            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JAVIER F         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JEANNETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRÍGUEZ DÍAZ, JEROSHKA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JOAN M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JOSE A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JOSE A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JOSE F           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JOSE L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JOSE L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JOSE L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JOSE M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JOSE R.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JOSMARIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JOVANA I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JUAN A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JUAN L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5505 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 506 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ DIAZ, JUANA B           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JUANITA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JUDITH A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JUDITH M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JUDITH M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JULIA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JULIO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, JULIO A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, KAREN MARIE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, KAYRA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, KEHYLA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LAURA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LESLIE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LESLIE A.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LIANMARIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LILLIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LILLIAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LIONEL J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LISANDRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LISANDRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LIZANDRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LIZANDRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LIZBETH           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LIZETTE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LIZETTE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LORAINE S         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LORNA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LUIS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LUIS A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LUIS A.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LUIS ANGEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LUIS D            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LUIS D.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LUIS DANIEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LUZ A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LUZ E.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LUZ E.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LUZ E.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LUZ M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LYDIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, LYDIA Y           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MARGARITA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MARGARITA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MARIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MARIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MARIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MARIA DE LOS A.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MARIA DEL R       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MARIA E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5506 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ DIAZ, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MARIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MARIANO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MARIELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MINEDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, MIRIAM I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, NATIVIDAD       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, NEXY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, NORA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, NORMA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, OHAME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, OLGA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, PAULA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, PETRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, PROVIDENCIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, RAMIRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, RAUL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, RENSO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ROCIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5507 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 508 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ DIAZ, ROSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ROSA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ROSELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, RUTH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, RUTH L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, SARAHI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, SARIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, SARIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, SARIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, SILVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, SILVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, SUGEIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, SUGEIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, SYLVIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, TERESITA S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, VICTOR A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, VIOLETA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, WALDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, WALDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, WILMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, WILMER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, WILSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, YADIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, YAHAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, YELITZEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, YESENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, YESSENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ, ZORAIDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIAZ,ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIEPPA, BETZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIEPPA, BETZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIEPPA, BRENDALISSA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIEZ, GREGORIO A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIEZ, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIEZ, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIFFUT, CANDIDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DIMAIO, EDISON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMENA, WILKINS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMENECH, EILEEN A.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMENECH, MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMENECH, TAMARA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMIGUEZ, RAMON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMINGUEZ, AIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMINGUEZ, ANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5508 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 509 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ DOMINGUEZ, AWILDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMINGUEZ, ELIZABETH    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMINGUEZ, LAURA E.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMINGUEZ, LILLIAM      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMINGUEZ, LUIS D       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMINGUEZ, MILDRED      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMINGUEZ, MYRIAM       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMINGUEZ, PABLO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMINGUEZ, PEDRO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMINGUEZ, SARA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMINGUEZ, TOMAS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMINGUEZ, YANIRA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DOMINICCI, CARMEN I     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DONES, HIPOLITO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DONES, JOSE FRANCISCO   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DONES, MADELINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DONES, MADELINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DONES, SARAH            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DONES, SONIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DONES, SONIA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DONEZ, EVELYN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DONOATIU, GRACE M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DORBAT, LUCIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DORTA, LUZ M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DROZ, ARNALDO X         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DROZ, ARNALDO X         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DROZ, CARMEN M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DUBOCY, CHRISTIAN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DUMAS, ALEXIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DUMENG, ADA J.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DUMENGS, ANA L.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DUMENGS, RIGOBERTO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DUMEY, JUAN C           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DURAN, ANGELA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DURAN, NIOVE E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ DURAN, ZULMA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHANDY, AWILDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEANDIA, RAQUEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARIA, MARIBEL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARIA, SANTIA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, ANDRES      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, ANGEL E     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, ANTONIA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, AUGUSTO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, EDUARDO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, EFRAI       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, ELMO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, EMILIO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, EUGENIO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5509 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                     Schedule E3 Page 510 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ECHEVARRIA, GLADYS   REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, GRACE J  REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, HECTOR   REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, HECTOR A REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, JOSE L   REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, LUIS     REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, LUIS A   REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, MARIA I  REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, MARIA J  REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, MILAGROS REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, NAYDA    REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, NELSON   REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, ROSE M   REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, YARITZA  REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ECHEVARRIA, ZULMA J  REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ EDWARDS, WILLIAM     REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ELBA, ANA M          REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ELIAS, MARIA L       REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ EMA, MARCOS          REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ EMA, MARIFE          REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ EMANUELLI, CARLOS R  REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ EMMANUELLI, AIXA     REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ EMMANUELLI, ANNETTE REDACTED                         REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ EMMANUELLI, JONATHAN REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED

RODRIGUEZ ENCARNACION, BIANCA     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ENCARNACION, DAVID      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ENCARNACION, DORCAS     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ENCARNACION, DORCAS     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ENCARNACION, ELVIN N    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ENCARNACION, FELICITA   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ENCARNACION,            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
GENOVEVA
RODRIGUEZ ENCARNACION, JOAN S.    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ENCARNACION, RAFAELA    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ENRIQUEZ, AILEEN        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ERAZO, CHRISTIE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ERAZO, DANIEL           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ERAZO, DANIEL           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ERAZO, GLORIA M.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ERAZO, VALERIE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ESCALANTE, MIGUEL A     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ESCALERA, ADA M         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ESCALERA, ADA M.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ESCALERA, ILEANA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ESCALERA, ILEANA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ESCALERA, TOMAS         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ESCALERA, TOMAS         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ESCALONA, JAIME R.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5510 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ESCARFULLERY, DIANA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESCOBAR, ALBA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESCOBAR, DAVID         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESCOBAR, GISELLE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESCOBAR, JOSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESCOBAR, MARGARITA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESCOBAR, MICHELLE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESCOBAR, SAHILIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESMURRIA, CLARISSA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPADA, CARMEN M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPADA, MAYRA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPADA, MICHELLE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPADA, MIGUEL A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPADA, OLGA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPADA, OLGA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPADA, ROSA A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPADA, SIOMARY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPADA, SIOMARY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPARRA, CASILDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPARRA, ORLANDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPINO, ALEXIS R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPINOSA, ANGEL L.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPINOSA, DANIEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPINOSA, FELIX G      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPINOSA, JOEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPINOSA, JOHNNY A.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPINOSA, LISABEL M.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPINOSA, LISSETTE R   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESPOLA, ROSTY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESQUILIN, ANTONIO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESQUILIN, ANTONIO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESQUILIN, IVETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESQUILIN, SHARY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESQUILIN, TEOFILO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTADA, JOSE A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTADA, MYRNA A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTADA, ROSA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTEBAN, JANET         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTELA, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTELA, WILMER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTERAS, MARY N        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTEVES, ELARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTEVES, ELARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTEVES, ELARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, ANA I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, CARMEN R      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, DALIA I.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, DINORAH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, EFRAIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5511 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 512 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ESTRADA, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, HEISHA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, HENRY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, INES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, JOHANNIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, JOMAYRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, JUANITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, JULIO A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, LIZEDIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, LUZ I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, NILSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, PETRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, SAMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, SAMMY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRADA, SONJA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRELLA, LOURDES     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTRELLA, MARISOL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTREMER, JULIO E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTREMERA, ABIGAIL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTREMERA, ADLIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTREMERA, ADLIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTREMERA, ROSA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ESTREMERAS, OSVALDO L REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ EXCIA, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALCHE, AXA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALCHE, AXA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALCIANI, RITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALCIANI, RITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALCON, ELSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALCON, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALCON, JUAN DE DIOS  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALCON, JUDITH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALCON, MARIA DEL P   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALCON, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALCON, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALCON, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALCON, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALCON, PAULA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALCON, SONIA H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALCON, WILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALEK, RUTH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALERO, RUTH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALERO, RUTH M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALU, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FALU, NOLKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FANTAUZI, FLORIPE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FANTAUZZI, CARLOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FANTAUZZI, YARELIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5512 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 513 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ FARBELLE, NAYDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FARIAS, CARMEN M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FARIAS, MARILYN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FAVALE, HAMILTON T      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FAVALE, NATHALIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBLES, CARLOS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBLES, DAMARIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBO, BEATRIZ           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBO, GLORIA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBO, JANER             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBO, PEDRO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBO, PEDRO L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBRES, ANGELA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBRES, ELVIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBRES, HECTOR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBRES, IRIS N          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBRES, JESUS M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBUS, ALBA C           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBUS, ASTRID M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBUS, GERARDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBUS, HECTOR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBUS, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBUS, RAUL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBUS, YAIRA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEBUS, YAIRA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEIJOO, TAMAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FEIJOO, TAMAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELIBERTY, LIONEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELIBERTY, NANCY A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELIBERTY, RAFAEL A     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, ABELARDO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, AIDA L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, ALBA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, ANGEL L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, ANNETTE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, BELBET       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, BELBET J     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, CARMEN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, CARMEN D     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, CARMEN M     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, CARMEN M.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, CELESTE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, CRUCITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, DANIEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, DAVID        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, EDNA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, EDWIN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, EDWIN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, EPIFANIO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5513 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 514 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ FELICIANO, ERIK         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, FELIX E      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, FERNANDO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, GABRIELA S   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, GLORIA I     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, GLORIA I     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, HELGA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, HELGA E      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, HELGA E      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, IBIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, ISMAEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, ISMAEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, ISRAEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, JAEN GIN     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, JAVIER E     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, JEANELIZZE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, JERRY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, JERRY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, JESSICA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, JOSE A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, JOSE A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, JOSE A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, JOSE A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, JOSE I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, JOSE L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, JOSE O       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, JOSE O       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, LOURDES R    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, LOURDES R    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, LUZ N        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, MABEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, MABEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, MABEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, MARIBEL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, MARIBEL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, MARIBELLE    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, MARISOL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, MARISOL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, MIGDALIA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, MONICA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, NEIDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, NIDIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, NORMA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, NORMA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, NORMA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, PAMELA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, PAMELA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, PEDRO L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, RADAMES      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5514 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 515 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ FELICIANO, RAMON A.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, RENE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, ROBERTO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, SARAHINN     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, TAMARA O.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, TEDDY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, VICTOR       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, VICTOR       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, WAYKA L.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, WIL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, WILLIAM      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, WILLIAM      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELICIANO, YOLANDA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELIX, BELKYS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELIX, MARLENE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELIX, MARLENE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELIX, NERI B           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FELIX, NORIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERER, JOSELIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDES, CRISTINA S   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, ADA J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, ASTRID M.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, BRUNILDA L   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, CAMILLE L    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, CARLOS E     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, CARLOS E     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, CARMEN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, CARMEN D     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, CARMEN I     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, EDNA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, ELOINA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, EVELYN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, FELIX J      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, FERNANDO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, FERNANDO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, GIOVANNA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, GLORIA E     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, HECTOR R.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, HENRY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, ISMAEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, JEANETTE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, JEANNETTE    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, JULIA B      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, LAURY M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, LAURY M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, LIREIDA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, LISSETTE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, LIZETTE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, LUIS A.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 516 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ FERNANDEZ, MARGARITA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, MARGARITA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, MARIA M   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, MARTA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, MARTA L   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, MARTA M. REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, MAYDA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, MAYDA E   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, MIGUEL A  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, MIGUEL A  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, PERLA DEL REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, RONALD    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, ROSALIA   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, SHEYDY    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, VANGIE    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, VICTOR    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNANDEZ, YOLANDA I REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNOS, JUAN J       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERNOS, JUAN J       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRA, MYRNA Y       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERREIRA, ALICIA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERREIRA, LETICIA    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERREIRO, LETICIA    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, CARMEN S     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, DANILO       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, DAVID        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, EDITH        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, EVANGELINA   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, GRISEL       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, HORACIO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, INOCENCIA    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, JAVIER       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, JOSE         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, JOSE         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, JOSE H       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, JUANA        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, LOURDES M    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, LUIS R       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, MAGALY       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, RAUL         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, RUTH N       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, TERESITA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, VERONICA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, VERONICA L   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, WANDA        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FERRER, YAMITZA      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEREO, DAPHNE     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUERO, MIGDALIA    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUERO, NYDIA I     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 517 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ FIGUERO, VICTOR A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ABIGAIL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, AIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ALANIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ALANIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ALDWIN T.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ALEXIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ALEXIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ALFREDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, AMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, AMERICO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, AMPARO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ANA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ANGEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ANGEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ANGEL L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ANGEL L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ANTONIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ANTONIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, AURELIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, BENEDICTA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, BENJAMIN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, BIANCA M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, BRENDA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, CARLOS R    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, CARLOS R    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, CARLOS R    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, CARMEN D.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, CARMEN E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, CARMEN E.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, CARMEN L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, CARMEN S.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, CIALDDY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, CRISTAL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, DENISE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, DESIREE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, DESIREE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, DESIREE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, DORIS V     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, EDWIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, EGBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ELBA C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ELIZABETH   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ELIZABETH   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, EMANUELLE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ENRIQUE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ERICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 518 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ FIGUEROA, FRANCHESKA     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, FRANSHESKA     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, GERARDO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, GISELLE M      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, GLENDA L.      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, GLENDALYZ      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, GLORIANN       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, GRICELIDES     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, HARRY J        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, HECTOR         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, HECTOR L.      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, HECTOR R       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, HERMES         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ILEANA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ILEANA I.      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ILEANA J.      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, IRMALIS        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRÍGUEZ FIGUEROA, IRMALIS        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ISABELLE       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, IVELISSE       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, IVETTE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, IVETTE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, IVETTE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, IVETTE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, IVONNE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JACQUELINE J   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JAIME          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JAVIERE        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JEANNETTE      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JENIFFER       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JOHANNA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JOHN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JORGE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JORGE L.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JOSE           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JOSE           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JOSE A         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JOSE A.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JOSE ANGEL     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JOSE L.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JOSE OMAR      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JOSE R.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JUAN A         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, JUDITH         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, KAREN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, KAREN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, KAREN O        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, KASHMIR        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, LIZNETTE       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5518 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 519 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ FIGUEROA, LORNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, LORNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, LUIS E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, LUIS G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, LUIS G.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, LUIS I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, LUZ C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, LUZ D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, LUZ P       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, LYMARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MADELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MADELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MARIA D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MARIA D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MARIA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MARIA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MARIA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MARIA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MARIA T     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MARIA T     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MARIANA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MARICELLY   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MARIELA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MARITZA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MELVIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MICHAEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MICHELL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MICHELLE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MICHELLE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MIDDALY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MIGDALIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MIGDALIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MIGDALIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, MIRELYS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, NATIVIDAD   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, NEIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, NOEMI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, NOEMI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, NORMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, OMAR A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ORISELLE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, OSCAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, PABLO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5519 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 520 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ FIGUEROA, PAMELA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, PEDRO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, PETER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, RAFAEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, RAMIRO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, RAMON        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, RAMON A.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, RAYMOND      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, RAYMOND      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, RONNIE F     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ROSA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ROSA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ROSA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ROSA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ROSA M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, RUTH E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, RUTH J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, RUTH N.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, SENAI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, SHIRLEY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, SHIRLEY N    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, SOMALLY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, STEVEN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, SYLVIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, SYLVIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, TIANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, TIANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, VIAMEL M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, VICTOR M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, VICTOR R     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, VILMA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, VILMA Y.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, VIVIAN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, WANDA A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, WILFREDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, YAMALIE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, YOLANDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, YOLANDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, YOLANDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, YOLANDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ZAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIGUEROA, ZENOBIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIQUEROA, GRICELIDIS   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FIQUEROA, LBA C.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLAHARTY, JUAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLECHA, JILLIAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLECHA, JILLIAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLECHA, JUAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLECHA, MARY L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5520 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 521 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ FLECHA, SAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLECHA, ZAIDA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ABIGAIL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ADNELLYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ADRIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ADRIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ADRIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, AIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, AMAIRANI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ANGELES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ARIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, BARBARA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, BARBARA J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, BENITA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, CARLOS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, CARMEN D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, CRYSAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, DAISY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, DENISE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, EDWARD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, EILLEEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, EMILIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ENRIQUE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ENRIQUE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, FELICITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, FERNANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, GABRIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, GERMAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ISAMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, JACKELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, JOSE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, JULIO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, LUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, LUZ D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, LUZ S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, LYVIAN I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, MAGALIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, MARIA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5521 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 522 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ FLORES, MARIA L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, MARILIZ         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, NATALIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, NELSON          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, NORMA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, RADAMES         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRÍGUEZ FLORES, RADAMÉS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, RAUL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, RICARDO J.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ROSA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ROSA A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, SHARON          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, SILVESTRE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, SONIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, TANIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, TANIALEE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, VIVIAN L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, WANDIK          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, WILFREDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, WILFREDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, WILMARIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ZELIDEH H       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FLORES, ZORAIDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONOLLOSA, ALVIN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONSECA, CARMELO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONSECA, GISELLE M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONSECA, IRIS E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONSECA, JOSE D.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONSECA, JOSEFINA O.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONSECA, LUCILA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONSECA, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONSECA, LUISA A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONSECA, LYNERIC        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONSECA, MABEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONSECA, MARTA T        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONSECA, ORLANDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONSECA, ORLANDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONT, GLORIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONT, RAFAEL O          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONTAN, BRIAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONTANES, ANDRES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONTANEZ, CHRISTIAN J   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONTANEZ, DIANA L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONTANEZ, EDMEE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONTANEZ, JENNY I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONTANEZ, JUAN J.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONTANEZ, JUAN J.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONTANEZ, KAROLINA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONTANEZ, LUZ N         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5522 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 523 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ FONTANEZ, MANUEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONTANEZ, MARISOL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONTANEZ, MARISOL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONTANEZ, MIGDALIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONTANEZ, NOEMI         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONTANEZ, REYMOND       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FONTANEZ, TANYA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FORTES, ALEXANDER       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FORTIS, DAISY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FORTIS, DAISY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FORTIS, GLADYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FORTIS, RAMONITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FORTIS, RENE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FORTIS, ZORAIDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FORTY, JOSE J.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRADERA, CARLOS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRAGOSA, WILMARY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRAGOSO, JOHANABEL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRAGOSO, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRAGOSO, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCESCHI, EILEEN N.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCESCHI, MARIA A     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCESCHI, MARTA I     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCESCHINI, ADA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCIS, ISIS M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCO, ANGEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCO, DELFIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCO, DELIA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCO, IVELISSE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCO, JANELBA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCO, JOSE F          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCO, JOSE R.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCO, JULIO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCO, MIGUEL A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCO, MINERVA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCO, RAUL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANCO, RICARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANQUI, ANNETTE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANQUI, CARMELO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANQUI, DAVID          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANQUI, DIANA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANQUI, DIANA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANQUI, DIANA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANQUI, DIGNA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANQUI, EULALIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANQUI, FELICHA M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANQUI, JOSE E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANQUI, LUIS A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANQUI, SONIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5523 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                              Desc:
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ FRANQUI, YAIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRANQUI, YAIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRATICELLI, LISSETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRATICELLI, LISSETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRATICELLI, LISSETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRATICELLI, MAYDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRATICELLI, YOLANDA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRATICELLI, ZULMA I    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRATICELLY, ZULMA I    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRED, CARMEN A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRED, FRANCES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRED, KEISHLA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FREITAS, JOSEPH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FREYTES, EDWIN M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FREYTES, GUILLERMO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FREYTES, MIGUEL A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FREYTES, MYRNA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FREYTES, MYRNA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FREYTES, WANDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRONTERA, GLADYS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FRONTERA, GLADYS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ELENA
RODRIGUEZ FRONTERA, MICHELE      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, AIDELLE M     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, AIDELLE M     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, ALEXANDER     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, ALEXANDER     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, ALEXANDER     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, ALEXANDRA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, ANA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, ANGELA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, ARLYN         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, CATHERINE     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, CATHERINE     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, DENISSE       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, DENISSE I.    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, ELBA R.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, GLADYS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, HECTOR        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, HECTOR R      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, LUZ DE L      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, MAGALY        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, MARIA M.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, MARIA S       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, MARID         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, MARTA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, MARTA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, MERCEDES      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ FUENTES, MILMARIE      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5524 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 525 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ FUENTES, NAARA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FUENTES, NAARA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FUENTES, NORALI         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FUENTES, ORLANDO LUIS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FUENTES, RAFAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FUENTES, ROBERTO R.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FUENTES, VERONICA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FUENTES, VERONICA M     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ FUENTES, WALLY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALAN, IRIALIZ          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALAN, RAHIZA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, CARLOS M.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, CARMELO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, EDNA L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, EDNA L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, ELIBETH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, FERNANDO J     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, GLORIA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, JOSE A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, LEYKA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, LUIS R         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, MARIA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, PEDRO A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, RAMON          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, SANTA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, SHARIMAR       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALARZA, YAHAIRA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALI, CONRADO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALI, CONRADO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALIANO, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALINDEZ, BELITZA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALINDO, MADELINE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALLARDO, LINDA E.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALLETTI, GLENDA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALLETTI, KEILA J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALLIANO, MARIANA I.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALVAN, ROBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GALVEZ, ROSELY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GANDIA, MARIBEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GANDIA, MARILYN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARAY, AIXA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARAY, AIXA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARAY, EDGAR            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARAY, JUAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARAYALDE, ANGEL W.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCED, MILITZA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ABIGAIL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5525 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 526 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GARCIA, ABIMAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, AIDA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, AIDA R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ALBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ALBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ALEXANDRA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ALICIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ALMA N.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ANA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ANA MARIELA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ANDREA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ANGEL R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ANIBAL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ANIBAL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ANNETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ANTONIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ANTONIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ANTONIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, AURORA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, BENJAMIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, BETZABETH      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, BIANCA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, BLANCA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, CARLOS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, CARLOS R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, CARMEN L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, CARMEN L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, CARMEN M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, CLARIBEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, DAMARIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, DENICE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, DOMINGA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, DORIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, DULCE M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, EDWIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, EDWIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, EILEEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ELIZABETZ      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, EMILIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ENID           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, FELIPE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, FRANCISCO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, FRANCISCO J.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, FRANK          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, GABRIEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, GENAY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, HECMARIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, HECMARIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 527 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GARCIA, HECTOR L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, HEIDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, HENRY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, HENRY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, HEYDI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, IDELISA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, IMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, IRIS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, IVIS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JAN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JAN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JANYL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JEANNESKA J   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JEANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JORGE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JOSE D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JOSE DAVID    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JOSE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JUAN C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JUDITH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, JUSTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, KELLY A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, KENNETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, KERYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, KIOMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, KIOMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, LEZETTE A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, LIZETTE A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, LOURDES M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, LUIS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, LUIS H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, LUIS H.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, LUIS H.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, LUIS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, LUIS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, LUZ D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MAGDALIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MALENIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5527 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 528 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GARCIA, MARGARITA       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MARIA C         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MARIA DEL       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MARIA DEL C     REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MARIA DEL C.    REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MARIA DEL PILAR REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MARIA E         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MARIA M         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MARIA M         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MARIBEL         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MARIBEL         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MARIBEL         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MARICELYS       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MARIEL          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MARIEL          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MARYLIN         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MAYDA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MELBA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MIGUEL          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MIGUEL A        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MIGUEL A        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MIGUEL A        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MIGUEL A        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MILAGROS        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MILAGROS        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MILTON          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MILTON          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MIRHEILEN       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, MIRIAM          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, NATIVIDAD       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, NELLIE A        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, NESTOR          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, NICOLAS         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, NICOLAS         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, NICOLAS         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, NILDA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, NILSA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, NORELIS         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, NORLAN          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, NORLAN          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ORLANDO         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, PAOLA A.        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, PEDRO J         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, PRISCILA M      REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, PRISCILLA       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, PURA            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, QUECSIE O       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, RAFAEL          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, RAFAEL          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5528 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 529 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GARCIA, RAFAEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, RAFAEL L         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, RAQUEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, RAQUEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, RAQUEL M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ROBERTO A.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ROSA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ROSA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ROSA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ROSA E           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ROSA L           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ROSA M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, SANDRA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, SANDRA S.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, SARI R           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, SHEILA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, SUHAIL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, SUHAIL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, SUHAIL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, SUZETTE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, TOMAS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, VALERIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, VANESSA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, VERONICA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, VIRGINIA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, VIVIAN M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, WANDA E          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, WIDALYS          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, XIOMARA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, YAHAIRA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, YAMARIE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, YANILUZ          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, YASMIN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, YURITZA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARCIA, ZULEYMALISSE     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARDESLEN, LINDA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARDSLEN, ANGEL          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARNIER, PEDRO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GAROFALO, MARIA DEL P    REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARRAFA, MARCIA M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARRAFA, MIGUEL          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARRAFA, MIGUEL          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARRASTEGUI, ELIZABET    REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARRASTEGUI, RAFAEL E.   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARRIGA, JUAN            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GARROTE, SILVIA R.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GASCOT, CARMEN R         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GASCOT, JOSE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GASPAR, EMMA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5529 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 530 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GASTON, GLADYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GASTON, LYDIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GAUD, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GAUD, MANUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GAUTHIER, RAQUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GAUTIER, MARIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GAUTIER, MARIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GAUTIER, ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GAUTIER, ZORAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GAY, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GAYA, ANDRES F.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GELPI, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GELPI, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GEORGI, ANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GEORGI, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GEORGI, CARLOS R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GEORGI, ENID E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GEORGI, PERCIDA A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GERENA, AILEEN G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GERENA, JACQUELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GERENA, JANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GERENA, JANETTE M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GERENA, LUZ A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GERENA, MERALLY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GERENA, MICHELLE E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GERENA, MYRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GERENA, PEDRO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GERENA, RUTH E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GERENA, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GERENA, YAMIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GERMAIN, PABLO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GERMAN, JESSICA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GHIGLIOTTY, ASTRY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GHIGLIOTTY, ASTRY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GHIGLIOTTY, NITZA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GHIGLIOTTY, NITZA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GHIGLIOTTY, VIRIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GHIGLIOTY, CARLOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GIERBOLINI, TANIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GILER, JOSHUA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GILIBERTYS, JUAN J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GIMENEZ, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GIMENEZ, ANGEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GIMENEZ, ANGEL M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GINES, JOHNAYRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GINES, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GINES, YADIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GIORGI, JANICE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GIRALD, ALEXANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5530 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 531 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GIRAUD, MIGNA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GIRONA, LUZ E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOITIA, NILSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOLDEROS, ELAINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, ADRIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, ANGEL E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, ANTONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, CELIA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, CELIA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, EDITH L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, HECTOR L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, HILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, ILLIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, JANET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, JAZMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, JOSE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, JOSE R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, KAREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, LUZ D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, MARCOS R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, MARIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, MIGDY M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, MYRTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, NESTOR E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, NIURKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, ROSAURA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, SANTIAGO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, SYLDIA R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, VICTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOMEZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONCALVES, MARIA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZAL, ANTHONY E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALE, NORBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ADANIT      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, AIDA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, AIDA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, AIMEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5531 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 532 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GONZALEZ, AIMEE M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, AIXA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ALBERTO L   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ALFREDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, AMARILIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, AMPARO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ANA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ANA H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ANA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ANA S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ANA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ANA T.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ANGEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ANGEL L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ANGEL L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ANGEL M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ANGEL M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ANGELISE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ANGELISE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ANIBAL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ANTHONY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ANTONIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ARIANA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ARMADO Y    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, BENJAMIN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, BENJAMIN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, BETHZAIDA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, BLANCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CARIMAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CARLOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CARLOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CARLOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CARLOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CARLOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CARLOS A.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CARLOS M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CARMEN G.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CARMEN M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CAROLINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CASIMIRO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CATHERINE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CECILIANA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, CECILIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5532 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 533 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GONZALEZ, CESAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, DAISY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, DAMARIS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, DAMARY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, DAMIAN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, DANELIS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, DARLYN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, DAVID        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, DIANY M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, DIYEIDI      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, DOLORES      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, DOMINGO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EDDIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EDGAR A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EDNA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EDUARDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EDUARDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EDUARDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EDWARD       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EDWARD       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EDWIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EDWIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EDWIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EFRAIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EGLAIM       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ELIZABETH    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ELSA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ELVIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ELVIN J      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ELVIRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ELVIS G      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ELVIS LUIS   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ELWIN J.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EMANUEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EMILIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ENID         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ENID         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ENID         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ENSOL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ERIC D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ESTEBAN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ESTEBAN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EULALIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EVA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EVA N        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, EVANGELINA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, FLOR D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, FLOR I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, FLOR L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5533 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 534 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GONZALEZ, FLOR L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, FRANCISCO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, FRANCISCO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, FRANCISCO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, FRANCISCO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, FRANCISCO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GENESIS M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GERARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GERSON J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GILBERTO A REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GINETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GINETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GISELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GLADYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GLADYS N    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GLORIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GLORIA E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GLORIE M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GLORIMAR    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GREYVY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GRISEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GRISSELL L. REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, GUILLERMINA REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, HARRY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, HARRY L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, HAYDEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, HAYMARA E REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, HECTOR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, HECTOR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, HECTOR J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, HECTOR R    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, HELGA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, HELIX M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, IDALIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, IDANIA L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, IGRID       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, INES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, INOCENCIO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, IRIS Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, IRMARIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ISAMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JACKELINE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JAIME E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JANETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JANMARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JAVIER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JENNIFER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JENNIFER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 535 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GONZALEZ, JENNIFER M REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JENNY      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JENNY J    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JESSICA M. REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JESUS A.   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOMARIS    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JONATHAN   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JONATHAN M REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JORGE L.   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JORGE L.   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JORMY      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSE       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSE       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSE A     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSE A     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSE A     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSE A.    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSE D     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSE E     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSE G     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSE G.    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSE J.    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSE L     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSE L     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSE M     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSE O     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSEAN     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSEFINA   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JOSUE R    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JUAN       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JUAN       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JUAN       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JUAN A     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JUAN C     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JUAN J     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JUAN M.    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JUDITH     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JUDY       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JULIO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JULIO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JULIO C.   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JULIO E    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, JULIO O    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, KAREN M    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, KATHERINE  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, KEISHLA A  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, KEISHLA A  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, KORALIE    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, KORALIE    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5535 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 536 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GONZALEZ, LEILA W       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LEONEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LEONOR        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LESANDRA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LESANDRA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LILLIAM       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LILLIAM       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LILLIAM       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LILLIAN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LIMARY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUIS A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUIS A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUIS A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUIS A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUIS A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUIS A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUIS ANGEL    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUIS G.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUIS M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUIS O        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUIS O.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUIS R        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUZ D.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUZ E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUZ M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LUZ M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LYMARIS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LYMARIS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, LYSBETH       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MAGDALUZ      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MAGDALUZ      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARGARITA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARIA DE L    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARIA DEL C   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARIA DEL P   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARIA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARIA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ESTHER
RODRIGUEZ GONZALEZ, MARIA L       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARIA M       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARIA M       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARIA M       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARIA T       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARIBEL       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARIBEL       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 537 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GONZALEZ, MARISEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARLENE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARLENE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARTA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MARTHA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MAYRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MELESSY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MELISSA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MELISSA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MELVIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MICHAEL J   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MIGDALIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MILAGROS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MILDRED E.  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MINERVA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MINERVA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MIRIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MISAEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MONIQUE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MYRIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MYRIAM C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, MYRIAM C.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, NANCY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, NATIVIDAD   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, NATIVIDAD   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, NAYDA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, NELLY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, NORMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, OCTAVIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, OMAR E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, OMAR E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ORLANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, PABLO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, PAMELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, PASCASIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, PEDRO A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, PEDRO L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, PETRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, PROVIDENCIA REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RADAMES     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RAFAEL A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RAFAEL E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RAFAEL S.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RAMON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RAMONA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RAMONITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RAQUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 538 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GONZALEZ, RAUL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RAUL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RAUL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, REINALDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, REINALDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, REYES G     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RICARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RICARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RICHY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ROBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ROGER R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ROMUALDO REDACTED                          REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ROSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ROSA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ROSA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ROSANGELA REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ROSAURA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RUBEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RUBEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, RUBEN O.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, SAMUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, SANDALIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, SANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, SANDRA I.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, SANDRA T    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, SANTOS R    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, SHARON ENID REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, SILVIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, SONIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, SONIA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, SONIA I.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, SONIA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, TANIA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, TANYA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, TEODORA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, TERESA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, THAMARA L REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, VANESSA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, VERONICA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, VICTOR A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, VICTOR M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, VILMA T     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, WALTER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, WANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, WANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, WANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, WANDA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, WILDE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5538 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 539 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GONZALEZ, WILFREDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, WILLIAM      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, WILLIAM      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, WILLIAM C    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, WILLIAM I    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, WILMARIE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, XIOMARA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, YAHAIRA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, YAHAIRA M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, YAHINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, YALEIZA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, YALEIZA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, YALEIZA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, YANINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, YASMINELLY   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, YAZMIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, YESENIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, YESENIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, YOLANDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, YOMAIRA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ZAYEIRA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ZULMA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZ, ZULMEDY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GONZALEZJ, JUAN A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GORBEA, MARILUZ        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOTAY, ANETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOTAY, LUZ M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOTAY, VICTOR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOTAY, ZAIDA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOVEO, CAROLYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOVEO, CAROLYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOVEO, CAROLYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GOYCO, ALI             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRACIA, BETHABETH      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRACIA, BRENDA LIZ     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRACIA, LUIS A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRACIA, NELLYS M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRACIA, PAOLA A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRACIA, SOLIMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRAJALES, ZORAIDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRAJALES, ZORAIDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRANDONE, PAUL D.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRANELL, ANA ELBA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRANIELA, ANA A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRATACOS, ALEXANDER    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRAU, LINDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRAULAU, FRANKLIN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRAULAU, FRANKLIN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRAULAU, GIANNA C.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GRAULAU, KAREN M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GRAULAU, TATIANA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GREEN, CARMEN L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GREEN, CARMEN L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GREO, MARIA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GROVES, MARJORIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GROVES, MARJORIE E     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUADALUPE, ALBERTO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUADALUPE, BRENDALY    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUADALUPE, BRENDALY    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUADALUPE, EZEQUIEL    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUADALUPE, FRANCISCO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUADALUPE, ISMAEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUADALUPE, LUZ V       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUADALUPE, LUZ V       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUADALUPE, MARIA M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUARDIOLA, AMALIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUERRA, JANETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUERRA, JANETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUERRA, JANETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUEVARA, GLADYS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUEVARA, GLADYS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUEVARA, HARRY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUEVARA, LESBIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUEVARA, MILAGROS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUEVARA, MILAGROS I    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUEVAREZ, CARMEN M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUILBE, AIDA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUILLEN, JUAN A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUILLEN, JUAN A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUILLOTY, JEAMSIE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUISAO, ABRAHAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUISAO, ANGELA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUITIERREZ, MICHELLE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUTIERREZ, ALEXANDER   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUTIERREZ, CARMEN A    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUTIERREZ, DORA L.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUTIERREZ, EDDIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUTIERREZ, EDGAR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUTIERREZ, EDWIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUTIERREZ, ELAISA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUTIERREZ, GLADYS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUTIERREZ, JOSE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUTIERREZ, JOSE J      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUTIERREZ, JUAN E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUTIERREZ, MARISOL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUTIERREZ, MILAGROS    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUTIERREZ, PEDRO L.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUTIERREZ, RAQUEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5540 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 541 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GUTIERREZ, YAMAYRA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, ANGEL N.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, ANGELINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, CARMEN D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, CARMEN N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, CARMEN Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, DALMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, DIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, DIANA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, DOLORES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, DORA H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, EDGAR N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, EDGAR NOEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, ELBA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, ELIOT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, ENIDM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, EVELYN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, GERARDO L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, GILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, GLENDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, GLORIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, GUARIONEX     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, HAYDEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, IVELIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JAIME         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JANET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JESUS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JOAN MARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JORGE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JOSE G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JOSE R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JOSE W        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JOSEFINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, JUAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, KARINA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, LUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, LUZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5541 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 542 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ GUZMAN, MANIEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, MARIA DEL C.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, MARIA DEL P.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, MARISARA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, MARITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, MIGUEL A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, MINERVA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, MOISES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, NOEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, PABLO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, PABLO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ GUZMAN, PAOLA A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HANCE, IRIS H          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HANI, AMARILIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HANI, EDNA D.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HARRISON, ARDELLIES    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HARRISON, HERMINIO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HARRISON, JUAN G.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HARRISON, MILAGROS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HARRISON, MINNUETTE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HEBENS, JANITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HENRIQUEZ, MIRIAM      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERDANDEZ, EDWIN R     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HEREDIA, CARLA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HEREDIA, EDGAR C.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HEREDIA, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HEREDIA, JUAN C        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HEREDIA, NESTOR H      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HEREDIA, RICHARD       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HEREDIA, SALVADOR      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HEREDIA, WANDA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERMINA, NILSA M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERMINI, ANIBAL A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNAD, WALDEMAR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNAND, MYRIAM E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNAND, WILFREDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDE, OSVALDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ABNER       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ,             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ADRIANNETTE
RODRIGUEZ HERNANDEZ, AGUSTIN     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, AGUSTIN     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, AINALEM     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ALBERTO     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ALCIDES     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED




                                                                                                                                                                PAGE 5542 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 543 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ HERNANDEZ, ALEJANDRO REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
E
RODRIGUEZ HERNANDEZ, ALVIN I     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ANA E       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ANA L       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ANDRES      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ANIBAL      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ANTONIA     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ANTONIA     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ARMINDA     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, AWILDA      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, BLANCA J. REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, BLANCA J. REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, BRENDA A REDACTED                         REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, BRENDA L    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, BRENDA L    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, CARLOS      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, CARLOS A    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, CARLOS B    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, CARMEN      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, CARMEN      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, CARMEN      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, CARMEN      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, CARMEN E REDACTED                         REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, CARMEN L. REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, CARMEN M REDACTED                         REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, CELIA M.    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, CHRISTIAN S REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ HERNANDEZ, CHRISTIAN S REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ HERNANDEZ, CHRISTIE   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, CLARA L.   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, COSETTE M. REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, CYNTHIA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, DAMARIS    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, DAMARIS    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, DAVID      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, DAVID      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, DAVID      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, DIANA E    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, DOMINGO REDACTED                          REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, DORIS M    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, EDGARDO REDACTED                          REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, EDNA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, EDNA E     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, EDWIN      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, EDWIN H.   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, EILEEN     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5543 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 544 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ HERNANDEZ, EILEEN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ELISA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ELSA M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ELVIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, EMANUEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, EMANUEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, EVELYN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, EVELYN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, EVELYN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, EVELYN D    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, FABIAN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, FELICITA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, FELIX       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, FRANCISCA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, FRANCISCO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, GENESIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, GILBERT     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, GILBERT     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, GLADYS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, GLADYSBEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, GLADYSBEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, GLORIMAR    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, HECTOR      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, HECTOR L    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, HECTOR L    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, HECTOR      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
MANUEL
RODRIGUEZ HERNANDEZ, HENRY       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, HERIBERTO   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, HERIBERTO   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ILIAM       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, INGRID J.   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, IRMA I.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ISMAEL      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ISMAEL      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ISRAEL      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ISRAEL F    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ITZA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ITZA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, IVELISSE    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, IVELISSE    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, IVELISSE    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JANELLA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JANET       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JANIT       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JAVIER      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JENNIFER    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JESIBEL     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JESSICA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 545 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ HERNANDEZ, JESSICA M. REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JESSICA V. REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JESUS      REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JIMMY      REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JOHANNA R. REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED

RODRIGUEZ HERNANDEZ, JONATHAN     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JORGE        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JOSE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JOSE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JOSE A       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JOSE A.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JOSE G.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JOSE G.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JOSE J       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JOSE L.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JOSE R       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JUAN C       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JUAN C.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JUAN I       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JUANA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JULIA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, JULIO E      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, KATHERINE    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, KIANI        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LEASHKA M    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LETICIA      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LILIANA      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LILLIAM      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LILLIAN      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LISA I       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LISSETTE M   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LIXMARIE     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LIXMARIE     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LOURDES      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LOURDES      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LUIS         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LUIS A.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LUIS E       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LUIS E       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LUIS J       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LUIS W       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LUZ          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LUZ A        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LUZ E        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LUZ N        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LYDIA E      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, LYDIA E      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARCIAL      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 546 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ HERNANDEZ, MARIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIA C      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIA D      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIA DE L   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIA DEL    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
C
RODRIGUEZ HERNANDEZ, MARIA DEL    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
C
RODRIGUEZ HERNANDEZ, MARIA L      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIA L      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIA L.     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIA M      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIA M      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIA P      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIA S      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIANA Y    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIELA      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIELA      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIELY      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIELYS     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARIO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARITZA      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARITZA      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARJORIE     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARJORIE     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARTA I      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MARY L       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MELANIE      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MELISSA N    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MICHELLE     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MIGDALIA     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MILAGROS     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MILAGROS     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MILAGROS     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MILAIDY M    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MILITZA      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ,              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
MONSERRATE
RODRIGUEZ HERNANDEZ, MYRNA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, MYRNA C.     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, NADIA E      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, NADYA I      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, NANCY        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, NANCY        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, NANCY        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, NAYDA E      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, NAYDA L.     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5546 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 547 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ HERNANDEZ, NELLY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, NELLY L     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, NOEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, NOEMI       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, NORMA I     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, NORMARIS    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, OMAYRA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, OMAYRA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ORLANDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, OSCAR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, PAMELA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, PATRIA I    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, PEDRO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, RAFAEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, RAFAEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, RAFAEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, RAMON L     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, RAYMOND     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, RICARDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, RICARDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, RICHARD     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, RICHARD     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ROBERTO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ROBERTO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ROBERTO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ROBERTO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, RODOLFO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ROSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ROSA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ROSA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ROSA N      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, RUTH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, SANDRA E    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, SANDRA I.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, SARA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, SONIA E     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, SONY J      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, TULIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, VANESSA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, VANESSA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, VANESSA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, VICTOR R    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, VILMARIES   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, VILMARY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, WANDA I     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, WANDA I     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, WANDA I.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, WANDA I.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, WILFREDO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5547 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                    Schedule E3 Page 548 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ HERNANDEZ, WILNARYS    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, WILSON      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, YADIVETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
M
RODRIGUEZ HERNANDEZ, YANY L      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, YANY L      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, YARELIS     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, YESENIA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, YESENIA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ZORAIDA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ZULEIMA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERNANDEZ, ZULEIMA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERRERA, ANTONIA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERRERA, ANTONIA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERRERA, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERRERA, LIZBETH C     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERRERA, MAXIMINA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERRERA, NATIVIDAD     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERRERA, NERIANA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HERRERA, NERIANA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HEYLIGER, MILAGROS     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HILERIO, MELISSA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HILERIO, MELISSA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HIRALDO, ARDELIE       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HIRALDO, ARDELIE       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HIRALDO, FRANDELIZ     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HIRALDO, PASTORA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HNDZ., JOHANNA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HOMS, BEATRIZ          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HOMS, BEATRIZ          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HOMS, PAULA A          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HORRACH, EDWIN         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HOWELL, MIOLANYS       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HOWELL, MIOLANYS       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HUERTAS, HECTOR R.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HUERTAS, ISABEL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HUERTAS, ISABEL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HUERTAS, JOSE A.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HUERTAS, JOSEFINA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HUERTAS, MARIANNE      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HUERTAS, ORLANDO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HUERTAS, ROSE MARY     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HUERTAS, VILMARIE      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ HUERTAS, VILMARIE M.   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ IBARRA, CARLOS M       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ IBARRONDO, JESSICA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ IBRAHIM, ZUHEILY       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ IGLESIAS, BRENDA M     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ IGLESIAS, CARMEN M.    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5548 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 549 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ IGLESIAS, JOSE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IGLESIAS, LUIS F.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IGLESIAS, LUZ Z         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IGLESIAS, MANUEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IGLESIAS, OLGA E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IGLESIAS, RAMON         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IGLESIAS, VICKY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ILARRAZA, JEAN CARLOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ILARRAZA, LUIS H.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ INFANZON, LUISA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ INFANZON, LUISA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ INGRID, BALDERA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ INOA, EVELYN A.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ INOSTROSA, MARIA G      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ INOSTROZA, ANA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ INSERNI, ANGEL LUIS     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ INSERNI, VERONICA E.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRENE, LUZ E.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, AGLAER        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, AGLAER        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, ALEXIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, AMAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, ANASTACIO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, ARACELIS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, AUREA N       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, CARLOS A.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, CARMEN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, CARMEN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, CARMEN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, CARMEN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, CARMEN M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, CARMEN M.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, CHARLES       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, CLARIBEL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, EDGAR R       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, EDGAR R       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, EDNA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, EDNA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, ELSA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, ERIANN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, GEOVANNI      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, GRISSEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, ISABEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, ISRAEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, IVELISSE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, IVETTE N.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, JANNETTE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, JEANDALI      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, JESUS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ IRIZARRY, JOAMALYZ       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, JOHN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, JOSE H         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, JUAN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, JUAN J         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, JULIA E        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, LISA M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, LUCIEANNE      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, LUCINETTE      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, LUIS H         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, LUZ I          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, MAGDA E        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, MARIA DEL M.   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, MARIA S        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, MARIA S        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, MARIBEL        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, MARISSA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, MAYBELIZ       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, MELISA I       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, MELISA I       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, MIGUEL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, MILAGROS       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, MILTHOLADY     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, NADYA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, ORLANDO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, PATRIA I       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, RAFAEL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, RAFAEL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, RAFAEL A       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, RAMON          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, ROBERT A       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, ROBERTO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, TERESITA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, VERONICA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, WILSON A       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, YARIMAR M      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, YORANID        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, YORNELICE      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, ZAHYDIE Y      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRIZARRY, ZONNIA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IRRIZARY, LUIS C         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ISAAC, ELSIE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ISAAC, ELSIE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ISAAC, MARIA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ISAAC, MARIA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ISAAC, ROCIO E           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ISAAC, SIGFREDO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ISALES, YOLANDA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IZQUIERDO, GLADYS        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5550 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 551 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ IZQUIERDO, GLADYS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ IZQUIERDO, ROSA DEL C   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JACA, ARSENIO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JACKSON, IOMARIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JACOME, ARNALDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JAIMAN, JACKELINE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JAIMAN, JOSE R          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JAIMAN, LIDA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JAIMAN, LYNETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JAIMAN, MARIBEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JAIME, DARWIN R.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JAVIER, PATRICK         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JAVIER, YASMIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMEN, MARIA DE L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, ALVARO J.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, ANA V          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, ANDROS D       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, CANDIDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, CARLOS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOCORRO
RODRIGUEZ JIMENEZ, CINTHYA K      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, CRISTINO       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, CYNTHIA I      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, EUQUERIA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, FAUSTINO       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, GERALY         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, GLADYS         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, GLORIA I       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, IRENE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, IRVIN          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, IRVIN          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, ISABEL         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, JAVIER         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, JESUS R        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, JESUS RAFAEL   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, JOAN M         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, JOAN M         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, JORGE F        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, JOSE A         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, JOSE A         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, JOSE J         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, JOSE M         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, JUANITA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, KAREN          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, KEILA A        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, LAURA M        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, LIDIA E        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5551 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 552 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ JIMENEZ, LISSETTE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, LUIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, MARIA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, MARTA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, MIDALIS J     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, MINELLYS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, MIRELSA M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, MIRIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, MIRYS J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, MYRIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, NYDIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, PAULA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, RAFAELA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, ROSA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, ROSAURA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, SAMIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, SHEILLA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, SHEILLA D     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, WILFREDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, YAHAIRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ, YAHAIRA I     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JIMENEZ78, JAVIER      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JOA, EDGAR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JOA, EDGAR A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JOA, EDGAR A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JOGLAR, JEMEILY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JORDAN, EDWIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JOUBERT, ADIEMARIE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JOVET, NATALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUARBE, ANA DEL C      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUARBE, ANA DEL C      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUARBE, EDWIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUARBE, FRANCISCO J    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUARBE, ISABEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUARBE, ROSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JULIA, JAIME           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JULIA, LUIS E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JURADO, CARMEN H       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUSINO, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUSINO, CRISTIAN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUSINO, JEAN C         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUSINO, JOSE A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUSINO, JOSE L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUSINO, LIZZETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUSINO, MARISOL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUSINO, MARISOL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUSINO, RAMON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUST, WILMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUSTINIANO, IRMA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5552 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 553 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ JUSTINIANO, MAIRA E    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUSTINIANO, SOCARY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUSTINIANO, WANDA J.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ JUSTINIANO, WERNER     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ KINNALLY, JOEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ KUILAN, JURHAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ KUILAN, MARILU         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ KUILAN, OMAYRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ KUILAN, OMAYRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LA FUENTE, MABELIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LA LUZ, CARLOS D.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LA LUZ, MICHELLE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LA PUERTA, ZORALIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LA TORRE, VERONICA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LA VERSA, EDSEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABARCA, ENMANUEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, ADA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, ADA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, ADA Y           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, ALEXIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, AMPARO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, ANA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, CARLOS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, CARMEN M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, CINDY J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, CINDY J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, ELIZABETH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, EUGENIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, GLADYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, GLADYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, GLADYS E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, HILDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, JOSE R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, JOSE R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, JUAN C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, LILLIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, LUIS DEL C      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, LUZ S.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, MARIA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, MARTINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, NORBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, ROBERT          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, ROSA M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LABOY, URIEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LACLAUSTRA, DIGNA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LACLAUSTRA, ELBA M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LACOT, EVELYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAFONT, ARTURO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5553 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 554 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ LAGARES, GILBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAGUER, SANTOS E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAGUER, ZACARIAS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAGUERRE, ANA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAGUNA, ANGEL M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAMB, EMIGDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAMBERTY, FERNANDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAMBERTY, LUIS E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAMBOY, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAMBOY, JOSE NOEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAMBOY, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAMBOY, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAMBOY, YABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAMELA, GLADYS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAMELA, JASON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAMOURT, KEIDY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAMOURT, LORIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LANDIN, JILL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LANZAR, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LANZOT, AIDARITZA E   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LANZOT, JESUS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAO, MARIVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LARA, CARLA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LARA, CARLA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LARA, GLENDA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LARACUENTA, BELKIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LARACUENTE, HIRAM     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LARACUENTE, LUIS L.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LARRACUENTA, BENNY    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LASALLE, CARMEN I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LASALLE, DAVID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LASALLE, JOSE A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LASSALLE, LUIS R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LASSALLE, NARCISA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LASSALLE, SAMILY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LASSUS, LESLIE G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LATIMER, GENOVEVA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LATORRE, GABRIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, ALDRIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, ALFREDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, ALICE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, ALICE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, ANDREA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, CARMEN M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, CARMEN M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, CRUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, CRUZ M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, DILIA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, JOSUE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5554 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 555 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ LAUREANO, JOSUE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, JUDITH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, MARIA C       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, MARIA DEL     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, MARIA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, VERONICA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, VIRGINIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAUREANO, WANDA J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAURIANO, MELISSA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAVERGNE, JOSE E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAZANEY, LUIS B.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAZU, ANGEL L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAZU, ANGEL R.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAZU, ELIZABETH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LAZU, MARITZA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEAL, ANGEL A.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEANDRY, ALFREDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEANDRY, ALFREDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, ADA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, ANGELA N        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, AUREA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, DANNY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, DIANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, DORCAS N        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, EVELYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, GLADYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, ILBIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, ILEARIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, JEREMIAS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, JESSICA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, JESUS ANTONIO   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, JESUS M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, JUAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, JUAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, JULIAN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, KELVIN L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, LESLIE O.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, LUCILA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, LUCILA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, LUICEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, LUICEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, LUIS M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, LUIS O.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, MARIA DEL C     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, MARIA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, MARIA S         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, MILAGROS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, MILDRED         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, MIRIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5555 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 556 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ LEBRON, NADIA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, NADIA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, NYREEN R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, OLGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, OLGA C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, RAQUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, REINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, ROBERTO C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, SANTIAGO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, SONIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, SYLVIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEBRON, YEISSA Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LECOEUR, JAIME A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LECOEUR, JAIME A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEDEE, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEDEE, GUILLERMO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEDEE, JESUS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEDEE, JESUS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEDEE, LUZ H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEGRAN, FRANCISCO I   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEGRAND, FELICITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, ANA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, CARMEN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, EDMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, ELBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, ELBA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, ELLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, ELLA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, ETNA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, GERELDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, JUAN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, KEMUEL G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, KEYLA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, LOURDES V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, NANCY L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, NEYSHA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, PRIMITIVO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, ROSA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, RUTH I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, WANDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5556 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 557 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ LEON, WILMA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEON, YOLANDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LERDO, LINDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LEVANTE, JUDITH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LICIAGA, ANGEL L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LICIAGA, GLORISEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LIMBERT, NARCISO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LINDSEY, SHASKIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LINERA, GABRIEL A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LIQUET, FORTUNATO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LISBOA, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LISBOA, MARJORIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LISBOA, NELSON A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LIZARDI, ELIZABETH     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LIZARDI, JESSICA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LIZARDI, JORGE A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LLAMAS, LORAINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LLANERA, JOSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LLANOS, ADACELIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LLANOS, ADRIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LLANOS, JUAN J.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LLAUGER, REYNALDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LLAURADOR, MARIMER     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LLERA, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LLERAS, RUBEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LLINAS, RAFAEL E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LLOVET, CARMEN T       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LLOVET, MARTA T.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOARTE, CARMEN I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOCRICCHIO, ABDIEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPE, MARIA DEL P      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPES, OSVALDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ABEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ADLINE E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ADRIAN A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, AIDA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, AIDA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ALBA SYLVETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ALBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, AMERICA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, AMERICO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANA H           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANA M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5557 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 558 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ LOPEZ, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANGELINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANGELINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANIVETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, AUREA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, AUREA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, BENITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, BENITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, BRENDA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, BRENDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, BRENDALIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, BRENDALIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, CARLOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, CARMEN N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, CAROLYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, CESAR D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, CIADARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, CIADARYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, CONCEPCION     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, CRISTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, CRUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, CYNTHIA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, DAMASO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, DANIA G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, DIGNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, DIOMARI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, DORIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, DORYAN S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, EDDIE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, EDGARDO A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5558 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 559 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ LOPEZ, EFRAIN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ELIUT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ERICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ERNESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, EVA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, EVA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, EVA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, FELIPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, FELIX MANUEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, GLENDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, GLORIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, GLORIVEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, GRACIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, GRACIELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, GREGORIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, GRISEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, GUILLERMINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, HAYDEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, IDABELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, IDABELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, IRIS S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, IRMA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRÍGUEZ LÓPEZ, IRMA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ISBELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ISMAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, IVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JAHAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JAHAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JAVIER A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JESENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JESMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JESMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JOAQUIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JOHN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JONATHAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5559 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 560 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ LOPEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JOSE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JOSE I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JOSE J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JOSE J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JOSE R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JOY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JOY N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JUDITH N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, JULIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, KELVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LAURA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LILIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LILIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LINNETTE M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LIZ D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LIZMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LIZZETTE I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LOUANELIS E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LOURDES E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LUIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LUIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LUIS O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LUIS O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, LYDIA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5560 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 561 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ LOPEZ, MARIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARIA D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARIA D.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARIA DE LOS    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARIA DEL L     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARIA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARIA MICHAEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARIA R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARIA Y.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARIANA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARICARMEN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARILITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARILYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARILYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARILYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARIMAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARISEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARK ANTONIO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARY ANN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARY ANN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MARY ANN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MAUREEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MAXIREE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MAXIREE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MAYRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MAYRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MAYRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MAYRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MELEITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MELISSA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MICHELL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MICHELLE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MIGUEL A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MILAGROS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MILANIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MILDRED M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MILKA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MINERVA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MINNIE H        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, MYRIAM M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, NATALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, NAYDA C         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, NAYDA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, NELIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, NELSON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, NELSON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, NEREIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, NICOLE M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5561 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 562 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ LOPEZ, NIVIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ODEMARYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, OMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, OMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, OSCAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, OSVALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, PEDRO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, RAFAEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, RAFAEL J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, REBECCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ROLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ROSITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ROSSIE I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, RUHAMEY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, RUTH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, SANDRA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, SARAI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, SARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, SHIRLEY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, SONIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, SONIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, STEPHANIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, SYLVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, SYLVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, TANIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, TIANNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, TISHA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, VICTOR M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, VICTOR M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, VICTOR R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, VICTORIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, VIRGEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, WANDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, WANDA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, WENDALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, WILFRIDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5562 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 563 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ LOPEZ, WILLIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, YAMINET         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, YARAH S.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, YASHIRA D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, YESSICA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, YEXICA Y        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, YOLANDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ZORAIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ZORAIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ZULYAKMA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOPEZ, ZULYAKMA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LORENZO, LISANDRA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LORENZO, MADELINE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LORENZO, MARILU        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LORENZO, MARILU        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LORENZO, MELISSA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LORENZO, MELISSA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LORENZO, WILSON M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOYOLA, PABLO J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZADA, AIDA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZADA, ANA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZADA, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZADA, CATALINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZADA, EDDIVAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZADA, EDNA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZADA, HECTOR M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZADA, JOHANNA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZADA, JOSE M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZADA, JUAN E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZADA, JULIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZADA, MIGUEL ANGEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZADA, NEIDYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZADA, OLGA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZADA, ROSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZADA, SHEILA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZANO, JOSE O         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LOZANO, RICARDO O      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUCAS, MIGDALIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUCCIONI, YISSETTE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUCIANO, JESUS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUCIANO, JIMMY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUCIANO, JORGE I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUCIANO, MELISSA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUCIANO, MELVIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUCIANO, MILAGROS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUCIANO, ROBERTO A     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, ADAN A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, ALVIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, ANA C            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5563 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 564 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ LUGO, ANA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, ARIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, AUREA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, CARLOS R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, CARMEN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, CHRISTIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, CONSTANCIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, CYNTHIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, CYNTHIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, EDITH C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, ELBA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, EMANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, EUGENIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, HERBERT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, JESSIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, LETICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, LISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, LIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, LIZBETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, MAGDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, MARCELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, MARIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, MARIE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, MARINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, MARINELDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, MARINELDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, MIGUEL J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, MORAIMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, NEPHBIA Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, NEPHBIA Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, NEPHTALI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, NORMA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, OMAYRA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5564 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 565 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ LUGO, ROSA A         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, ROSA M         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, SHARON         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, VERONICA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, VIVIANA M      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, YAMIL          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUGO, ZOILA          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUIGGI, EDGAR        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUIGGI, LUZ L        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUIGGI, MARIA DE L   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUIS, EDWIN M        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUNA, AWILDA         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUNA, CECILIA        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUNA, DAISY          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUNA, ISLAIM         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUNA, IVONNE         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUNA, IVONNE         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUNA, JORGE          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUNA, MARTHA         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUNA, SANDRA         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUNA, VICTOR J       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUNA, ZOE            REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUYANDO, CECILIA C.  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LUYANDO, NISHMARIE   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LYNCH, ALVIN B       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ LYNN, KAREN          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MACHADO, MARILDA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MACHICOTE, TAILIN    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MACHIN, MARIA L      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MACHIN, MARITERE     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MADERA, ALEXANDER    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MADERA, ERNESTO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MADERA, EUNILDA      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MADERA, LISSETTE     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MADERA, LUISA L.     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MADERA, MARIA E      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MADERA, MELIZA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MADERA, NYDIA        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MADERA, SHEILA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MADERA, SORGALIM     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MADERA, TIFFANY      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MADLDONADO, GLORIA E REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MADRIGAL, MONICA M   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAESTRE, ANGEL M     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAGENST, JEREMY L.   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAISONET, ABNER      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAISONET, AIDA L     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAISONET, AUDELINA   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAISONET, AUDELINA   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5565 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 566 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MAISONET, EDWIN      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAISONET, LORRAINE   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAISONET, LUIS A.    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAISONET, MIGDALIA   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAISONET, NITZA L    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAISONET, RAQUEL     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAISONET, XIOMARA S  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALABET, ANGELINE K  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALAVE, ALICIA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALAVE, CARMEN       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALAVE, EDNA         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALAVE, IRENE        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALAVE, JOSE ORLANDO REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALAVE, LUIS A       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALAVE, MARIA I.     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALAVE, MARIANNE     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALAVE, NILDA        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALAVE, PEDRO        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALAVE, SAMMIE       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALAVE, VILMA        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALAVE, WANDA        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALAVE, WANDA I.     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONA, CAROLINE    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONA, MARIA DEL C REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONAD, JAIME R    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, ABAD      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, ABAD      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, ADA I.    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO,           REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ADALBERTO
RODRIGUEZ MALDONADO, AILEEN    REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, ALEX      REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, ALEXIS    REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, ALEXIS    REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, ALEXIS    REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, AMARILIS REDACTED                         REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, AMARIS    REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, ANA H     REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, ANIBAL    REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, ANIBAL    REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, AUREA LUZ REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ MALDONADO, BERNICE    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, CANDIDO    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, CARLOS     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, CARLOS     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, CARLOS R   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, CARMEN     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, CARMEN     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5566 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 567 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MALDONADO, CRUZ M.   REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, DENISSA   REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, DENISSA   REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, DIANA     REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, DIANA     REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, DIANA     REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, DIANA V   REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, DIMARYS REDACTED                          REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, EDWARD REDACTED                           REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, EDWIN     REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, EGBERT    REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, ELISA     REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, ELIZABETH REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
C
RODRIGUEZ MALDONADO, EMILY     REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, ERIC      REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, EVELYN    REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, EVELYN M. REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, FELIX     REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, FRANCISCO REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ MALDONADO, FRANCISCO REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ MALDONADO, FRANCISCO REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ MALDONADO,             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
FRANCISCO D
RODRIGUEZ MALDONADO, FRANK       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, FRANKIE     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, GERMAN      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, GREGORIA    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, HARRY       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, ISAIAS C.   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, IVETTE M    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JAIME       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JAIME       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JOEL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JOEL A      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JORGE R     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JOSE        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JOSE        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JOSE A      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JOSE A      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JOSE E      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JOSE L      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JOSE M.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JOSE M.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JUAN        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JUAN A      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 568 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MALDONADO, JUANA     REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JULIO     REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, JULIO E   REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, KIARA M REDACTED                          REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, LIZ       REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, LOURDES REDACTED                          REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, LUIS      REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, LUIS M    REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, LUIS O    REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, LUZ       REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, LUZ E.    REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, LUZ M     REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO,           REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
LYANNYARRY
RODRIGUEZ MALDONADO,           REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
MARGARITA
RODRIGUEZ MALDONADO, MARIA C REDACTED                          REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, MARIA C REDACTED                          REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, MARIA E   REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, MARIANO REDACTED                          REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, MARIBEL REDACTED                          REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, MARIELA REDACTED                          REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
DEL C.
RODRIGUEZ MALDONADO, MARISOL REDACTED                          REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, MARISOL REDACTED                          REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, MAYRA     REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, MELIZA    REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, MIGNA     REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, MIGUEL    REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, MIGUEL A REDACTED                         REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, MIGUEL A REDACTED                         REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, MISAEL    REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, NELSON    REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, NILSA M   REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, NOEL      REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, OSCAR     REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, OSCAR     REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, PAULA     REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, PEDRO     REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, RAFAEL    REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, RAMON     REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, SAMUEL    REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, SANDRA I. REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, SANDRALIZ REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ MALDONADO, SANTITA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, SIRIO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, STEFFANIE   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, VANESSA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5568 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 569 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MALDONADO, VIRGINIA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, WILFREDO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
S
RODRIGUEZ MALDONADO, WILMA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, XIOMARA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, XIOMARA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, YANCER      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, YANIRMA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, YOLANDA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, YOLIMAR     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, ZULMA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALDONADO, ZULMA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALPICA, AXEL          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MALPICA, JESMARIE      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MANDES, DANIEL         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MANDRY, JACQUELINE     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MANGUAL, LUIS R        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MANGUAL, MERELYN       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MANGUAL, RAMON E       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MANGUAL, RODOLFO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MANZANO, HILDA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
MILAGROS
RODRIGUEZ MANZANO, JAY           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MANZANO, WALTER J      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARCANO, CARLOS J      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARCANO, CINDY A       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARCANO, HECTOR LUIS   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARCANO, RUBEN         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARCANO, RUBEN         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARCANTONI, PEDRO F.   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARCH, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARCHANY, MARTA I      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARCIAL, DANIEL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARCUCCI, HECTOR       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARCUCCI, HECTOR       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARCUCCI, MANUEL       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARCUCCI, ROBERTO      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARIN, ANA L           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARIN, BRENDA I        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARIN, BRIAN           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARIN, CARMEN G        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARIN, JENNIFER M.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARIN, MARIA M         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARIN, MARICELI        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARIN, MARISOL         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARIN, MILAGROS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARIN, MIRLA M         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARIN, MIRLA M         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARIN, NELSON J.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5569 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 570 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MARIN, PEDRO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARIN, SUSANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARIO, ELENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARMOL, ELIOMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, CARMEN I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, CARMEN I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, DIANA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, ENID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, ERNESTO L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, ESADY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, HECTOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, JORGE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, KELVIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, LORENZO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, LUIS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, LYNNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, MADELINE Y   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, MAITE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, MARTA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, NANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, NORBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, RAFAEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, RAMON E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, ROSA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, VICTOR M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARQUEZ, WILMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, ADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, ADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, AIDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, ANSELMO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, ANSELMO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, ANTONIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, BRENDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, CARLOS J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, CARMEN D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, CARMEN E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, DAMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, EDWIN J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, EFRAIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, EILEEN V     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, EMANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, EVELIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, FCO.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5570 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 571 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MARRERO, FCO.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, GASPAR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, GASPAR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, GEORGINA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, GEORGINA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, GLADYS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, JAVIER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, JAVIER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, JORGE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, JOSE M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, LISANDRA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, LISANDRA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, LORNA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, LOURDES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, LOURDES M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, LUIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, LUIS ANGEL     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, LYDIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, LYDIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, MARIA DEL C.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, MARIBEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, MARICEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, MARILIZETTE    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, MARINELLY      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, MARISOL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, MARISOL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, MARITZA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, MARY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, MATILDE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, MERCEDES       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, MIGUEL A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, MIGUEL A.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, MILDRED I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, NANCY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, NELSON J.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, NILSA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, NILSA A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, NIMIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, PABLO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, ROBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, ROBERTO C      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, ROSANI         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, ROSARIO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, SONIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, VIVIANA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, WALESKA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, YADIRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARRERO, YOLANDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5571 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 572 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MARTELL, IVELISSE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTELL, IVELISSE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTELL, IXIA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTELL, IXIA M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTELL, MARILYN G      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTES, MELISA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINE, CARLOS A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ADALBERTO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, AIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ALFREDO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ALFREDO G     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ALICIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, AMANDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ANA A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ANA D.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ANA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ANA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ANA L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ANA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ANA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ANDRES A.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ANDY A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ANGEL R       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ANTONIA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ARACELIS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ARIEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ARIEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ARIEL G.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, AURIE V.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, BEATRIZ       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, BEATRIZ       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, BETSY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, BETZAIDA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, BIENVENIDA    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, CADANDRE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, CARLOS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, CARLOS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, CARLOS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, CARLOS A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, CARLOS R.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, CARMEN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, CARMEN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, CARMEN L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, CARMEN L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, CARMEN M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, CARMEN M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, CESAR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, CHRISTIAN M   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, CRECENCIA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5572 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 573 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MARTINEZ, CYNTHIA T.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, DAMARIS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, DANIEL J.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, DAVID         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, DAVID J.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, DENNIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, DEVA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, DEVA L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, DIANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, DIANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, DORIS M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, EDA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, EDWIN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, EDWIN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ELBA N        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ELUDINA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, EMIGDIO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ENEIDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, EVA N         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, EVELYN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, EXOL E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, EXOL E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, FAUSTO G      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, FEDERICO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, FERNANDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, FRANCHESKA    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, FRANCISCO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, FRANCISCO A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, GABRIEL A     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, GENESIS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, GILBERTO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, GILBERTO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, GILBERTO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, GIOVANI       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, GLADYS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, GLENDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, GLENDA J.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, GLORIA E      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, GLORIA I.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, GRISELLE V.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, HARRY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, HECTOR        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, HECTOR        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, HECTOR L.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, HECTOR L.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, HECTOR R      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, HEIDY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, HILDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ILEANA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5573 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 574 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MARTINEZ, INARA A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ISABEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ISMAEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ISMAEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ISRAEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JACKELINE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JACKELINE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JACKELINE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JACKELINE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JACQUELINE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JACQUELINE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
G.
RODRIGUEZ MARTINEZ, JANICE       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JANSENNY     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JEANETTE     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JESUS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JESUS A      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JOHAN A.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JORGE        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JORGE        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JORGE L.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JOSE         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JOSE         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JOSE A       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JOSE A       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JOSE A       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JOSE L       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JOSE M       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JOSE M       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JOSE N.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JOSE R       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JOSE V.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JOSEFINA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JUAN         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JUAN A       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JUANITA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JUANITA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JUDITH       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JULIO C      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JULISSA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, JUSTINA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, KELVIN J     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, KENNETH      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LAURA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LESLLIAM     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LESVIA M     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LIDDA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LILLIAM      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LILLIAM J    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5574 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 575 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MARTINEZ, LISANDRA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LISANDRA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LISANDRA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LOURDES M      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LUIS           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LUIS A.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LUIS E.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LUIS J         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LUIS M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LUIS M.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LUIS R         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LUIS R         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LUZ D.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LUZ M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LUZ M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LUZ M.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, LUZ T          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MAGDALENA      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARGARITA      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARGARITA      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIA B        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIA C        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIA DE L     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIA DE L A   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIA DE       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
LOS A
RODRIGUEZ MARTINEZ, MARIA DE       REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
LOS A
RODRIGUEZ MARTINEZ, MARIA DEL C.   REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIA F        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIA F.       REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIA I        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIA I.       REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIA M        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIA V        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIANELA      REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIBEL        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARIELY        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARILYN        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARILYN        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARITZA        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARITZA        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARTA I        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARTA S        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MARTITA        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MAYRA I        REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5575 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                   Schedule E3 Page 576 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MARTINEZ, MAYRA W     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MAYRA W     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MELISSA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MICHELLE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MIGUEL A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MIGUEL A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ANGEL
RODRIGUEZ MARTINEZ, MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ANGEL
RODRIGUEZ MARTINEZ, MILDRED     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MILDRED     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MIRIAM      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MONICA L    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MYRIAM      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MYRTA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, MYRTA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, NILDA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, NILDA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, NORMA I     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, NORMA I     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, NYDIA E.    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, OLGA M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, OLGA M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, OMAR        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, PEDRO A     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, PEDRO R.    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, RAFAEL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, RAFAEL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, RAFAEL A.   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, RAFAEL J.   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, RAMO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, RAMONITA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, RAUL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, RAUL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, REINALDO    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, RICARDO     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ROBERTO     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ROSA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ROSA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ROSA E      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ROSA I      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ROSA I      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ROSA M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ROSA M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ROSA M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ROSALINE    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5576 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 577 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MARTINEZ, ROYNASHMIL    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, RUTH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, RUTH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, SANTOS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, SOL M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, SONIA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, TIRSO H       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, VICTOR A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, VILMA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, VIRGINIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, VIRGINIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, WANDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, WANDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, WANDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, WANDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, WANDA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, WANDA L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, WANDA L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, WILBERT       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, WILDALISSE    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, WILFREDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, WILFREDO R.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, YAMILA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, YANIRA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, YARA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, YARIXA M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, YOLANDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, YOSUE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, YVONNE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ZORAIDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ZORAIDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ZULMA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINEZ, ZULMA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTINTEZ, HUMBERTO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTIR, SOCORRO ENID    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARTY, ISAMAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MARZAN, MARGARITA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MASA, JUAN J.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MASS, MALJOURIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MASS, MALJOURIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MASSA, DESIREE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MASSA, LEONARDO A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MASSAS, BEATRIZ         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MASSAS, NILDA L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MASSAS, SAMUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MASSAS, SHIRLEY A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MASSO, FRANCHESCA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MASSO, SERGIO RAFAEL    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MASSOL, LIMARIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5577 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 578 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MATANZO, ERASTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, ADLEEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, ALEXIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, ANIMELIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, CARMEN Y        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, DIANA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, DIANA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, ESTHER MARIA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, FERNANDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, FERNANDO L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, GLORIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, GLORIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, ISMAIVA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, JORGE I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, JOSE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, LISSETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, LUZ I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, MARCOS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, MIGUEL A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, ODEMARIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, PEDRO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATEO, YELITZA A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATIAS, DAMIAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATIAS, DANIEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATIAS, IGNACIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATIAS, PABLO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATIAS, YENITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATIENZO, GRIZELLE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATIENZO, MARIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, ANA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, ANA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, ANA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, ANA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, ANGEL M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, ANTONIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, ANTONIA C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, CYNTHIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, CYNTHIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, EDGAR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, FEDERICO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, FELIX L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, FREDDIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, GISELA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, GLADYS YADIRA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, HECTOR L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, IRIS M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, IRIS V          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, IRVIA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, IVELES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5578 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 579 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MATOS, IVELES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, JOANNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, JOHNNATAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, JOSEFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, LENIS L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, LIZ I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, LOURDES E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, LYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, MANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, MARIELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, MARIO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, MARYSOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, MELISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, MELISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, MELISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, MICHAEL J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, MYAVA LISA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, OLGA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, RODOLFO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, SORYLIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, VICTOR A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, VIRGENMINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, VIRGENMINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATOS, WILLIAM G.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATTA, DAIANA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATTEI, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATTEI, NEREIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MATTOS, BENJAMIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAURAS, DAMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAURAS, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAYMI, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAYMI, YANIRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAYSONET, ANGEL R.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAYSONET, ANTONIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAYSONET, FELICIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAYSONET, FELIX       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5579 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 580 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MAYSONET, IVONNE     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MAYSONET, PRIMITIVA  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MC DERMONT, SHARON L REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MC DERMOTT, SHARON REDACTED                          REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MC FALINE, VICTOR M  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MCDOUGALL, FRANCES   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MCDOUGALL, FRANCES M REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDAL, SANTOS        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDERO, PEDRO A      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDIAVILL, LUIS A    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDIAVILLA, AMARILIS REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDIAVILLA, ARAMINTA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDIAVILLA, DAVID    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDIAVILLA, DAVID    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, ADA E        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, AIDA N       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, ALBERTO J    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, ALBERTO J    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, ALFONSO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, ANGEL F      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, ANGEL G.     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, ANGEL L      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, ANIBAL       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, ANTHONY      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, BRAYANNE     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, CANDIDO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, CARMEN B     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, CESAR E      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, CESAR E      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, CRISTINA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, DAISY M      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, DENISSE      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, DENISSE      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, DENISSE A    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, EFIGENIO     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, ELIEZER      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, ELIZABETH    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, ELPIDIO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, EVELYN       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, FELIX        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, GERARDO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, GLACHELY     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, GLACHELY     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, GLACHELYN    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, GLADYS       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, HAZAEL       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, HENRRY       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, HENRY        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, HILDA A      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5580 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 581 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MEDINA, HUGO D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, ISABEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, ISMAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, JACKELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, JOAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, JORGE O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, JOSE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, JUAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, JUAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, JUANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, KEVIN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, LAURIE J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, LEONIDES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, LOURDES I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, LOURDES M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, LUIS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, LUIS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, LUIS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, LUZ N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, MANUEL A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, MARI OLGA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, MARIA A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, MARIA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, MARIDSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, MELBA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, MYGNA D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, MYRNA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, NEFTALI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, ORLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, REGINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, ROSENDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, RUTH L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, SANTOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, SANTOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, SONIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, VALERIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, WILFREDO J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, WILFREDO J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, YABRIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEDINA, YAZMIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5581 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 582 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MEJIAS, ADORIS ZOE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEJIAS, DAMARIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEJIAS, JUAN R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEJIAS, MARGARITA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MEJIL, JORGE D.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDE, FERNANDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ABIGAIL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ABIHAIL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ABIHAIL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ADOLFO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, AIDA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ANA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ANA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ANA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ANDRES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ANGEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ANGEL T.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ANGELICA F   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ANTERO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ARACELIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ARACELIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ASTRID C     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, AUREA E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, AWILDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, AWILDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, BIENVENIDA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, BRENDA M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, CARLA M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, CARLA M.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, CARLOS A     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, CARLOS E.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, CARLOS O     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, CARMEN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, CARMEN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, CARMEN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, CARMEN J     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, CARMEN L     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, CARMEN M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, CARMEN N.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, CARMEN Y     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, DOLORES      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, EDWIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, EFRAIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ELBA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, EMANUEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ESPANA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ESTHER       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, FRANCISCA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, GABRIEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5582 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MELENDEZ, HENRY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, IRIS M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, IVAN O       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JAIME        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JESUS A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JESUS F      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JOAN D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JOAN D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JOEL J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JORGE L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JOSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JOSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JOSE A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JOSE A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JOSE M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JOSE W       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JOSE W       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JUAN F.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JUAN J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JULIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, JUSTA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, KAREN D      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, LAURALIZ P   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, LEILA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, LETICIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, LILLIAN M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, LUIS J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, LUIS J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, LUIS M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, LUIS O.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, LUZ N        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, LYDIA E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MADELINE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MANNELLY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MANNELLY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MANUEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MANUEL O     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MARCOS L.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MARIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MARIA A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MARIA D      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MARIA E.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MARIA M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MAYRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MELANYE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MELITZA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MIGDALIA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MILINES      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, MINERVA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5583 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 584 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MELENDEZ, MORALIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, NAYDA R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, NAYDA R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, NEFTALI     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, NELIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, NESTOR R.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, NIVIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, NIVIA J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, NORMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, OMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, OMAR N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, OMAR N.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ORLANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ORLANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ORLANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, PABLO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, PAOLA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, PEDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, RAFAEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, RAYMOND     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ROSALY J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, RUPERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, SARA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, SILVYA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, VICTOR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, VICTOR M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, WANDA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, WIDDIE Z    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, XIOMARA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, YAMILET     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, YAMILET     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, YANMARIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, YASHA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ZAIDA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ZORAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELENDEZ, ZULMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELIAN, ERIC          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MELY, RAMONA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENA, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENA, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENAY, ABELARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENAY, ABELARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENAY, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, ALEJANDRO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, AMARILIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, AMARILIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, ANGEL L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5584 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 585 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MENDEZ, ANGEL RAFAEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, AXEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, BENJAMIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, BETSY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, BIENVENIDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, CALIXTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, CARLOS R.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, CARMEN J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, CARMEN M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, EDGARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, EDITH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, ELIZABETH      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, ERNESTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, ERNESTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, GLORIA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, HECTOR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, HECTOR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, HECTOR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, HECTOR J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, IRMA Y         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, JANICE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, JAVIER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, JAVIER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, JAVIER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, JOSE G         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, JOSE L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, JOSE LUIS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, JOSE LUIS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, JOSE V         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, LIZA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, LIZBETH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, LUZ            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, LUZ            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, LUZ E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, LUZ M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, LUZ M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, LYSSETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, MARIA D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, MARIBEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, MARITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, MARITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, MARITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, MARY LUZ       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, MIGUEL A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, MIRNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, NEVILLE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, NORIS E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, NORMA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5585 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 586 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MENDEZ, OLGA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, PABLO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, PAULA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, ROSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, ROSAYDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, SHAKIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, SHATSEI V.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, TAMARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, TAMARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, TATIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, TATIANA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, TATIANA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, WILMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, YAMILIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, YAMILIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, YANELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDEZ, YESENIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, ANGELICA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, ANTONIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, BLANCA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, BRUNILDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, CARMEN D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, CARMEN D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, DIEGO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, EDITH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, ISRAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, IVAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, JORGE D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, MANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, MARGARITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, MARIA J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, MARILYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, MIGDALIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, PAULA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, ROSALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, RUBEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, SHIRLY A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, SONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENDOZA, SUSANA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENENDE, ARLENE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENENDEZ, ADELAIDA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MENENDEZ, ORLANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCAD, PRIMITIVO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, ALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, ALEXIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5586 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 587 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MERCADO, ARLENE J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, BLANCA S     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, CARMEN A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, CARMEN A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, CARMEN I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, CARMEN L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, CERMINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, CHRISTIAN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, CLARIBEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, DAMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, DANIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, DENNIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, DENNISSE J   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, DIGNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, DORIS E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, EDISON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, EDMEE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, EDNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, ELI E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, ELIZABETH    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, ELSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, FRANCES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, FRANCES L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, GABRIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, GILBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, HENRY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, ISAMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, ISRAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, IVETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, JANET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, JANNIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, JANNIA V     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, JARED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, JESSICA R    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, JESSICA R    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, JESUS M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, JORGE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, JOSE A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, JOSE A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, JOSE G.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, JOSEPH A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, JUANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, LENNY J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, LUIS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, LUIS D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, LUIS I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                     Schedule E3 Page 588 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
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                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MERCADO, MAGALY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MARA L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MARA L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MARCOS A.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MARGARITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MARIA DEL P.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MARIA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MARIA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MARIBEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MARIELIS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MARIO R.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MARIS J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MARITZA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MARTINA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MILAGROS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MIRIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MIRIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, MYRIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, NATHANIEL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, NICOLE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, RAFAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, RAMON L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, RAUL A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, RUBY A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, SHEMIKA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, SORANGEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, VALENTI        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, VANESSA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, VERONICA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, VICTOR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, WANDA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, YAHAIRA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, YAMILET        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCADO, ZENAIDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCED, AIDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCED, AIDA J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCED, ANTONIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCED, CARMEN M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCED, GRISELLE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCED, MILAGROS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCED, RAFAELA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERCED, VIRGENMINA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERISOLA, CHAYA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERLE, MIGUEL O         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERLO, CLARITZA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERLO, ORLANDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MERLO, SALVADOR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MESSA, MELISSA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5588 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 589 of 2285
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MESTRE, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MICHEL, FRANCISCO J.  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MICHEL, ROSA LUZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MICO, CARMEN S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIELES, NILSA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIELES, NILSA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIER, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MILLAN, ANGELITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MILLAN, ANGELITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MILLAN, DORIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MILLAN, EDYINS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MILLAN, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MILLAN, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MILLAN, ERNESTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MILLAN, EVA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MILLAN, GLADYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MILLAN, HERBERT       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MILLAN, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MILLAN, NATASHA MARIE REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MILLAN, NILDA O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MILLAYES, LUIS N.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MILLS, INA MARGARITA  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MILLS, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MINGUEL, PASCASIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MINGUELA, KIANNE L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRABAL, MARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRABAL, WANDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, AGNES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, AGNES L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, ANGEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, ANGEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, ANGEL E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, ASHLEY M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, CHRISTIAN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, DANIVER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, DAVID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, ELIZABETH    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, ELVING       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, EMMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, FRANCES I.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, GABRIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, HILDA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, ISABEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, JAIME        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, JAYDEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5589 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 590 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MIRANDA, JAYDEE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, JONATHAN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, JORGE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, JORGE L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, LILLIAM        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, LUZ N          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, MARGARITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, MARIA DEL C    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, MARIA DEL C.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, MARIA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, MARISOL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, MARITZA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, MARTHA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, MARY ANN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, MELISA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, MIGUEL A.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, NILDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, OSVALDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, RUNELIO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, SARA M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, SUJHEIRY       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, SUJHEIRY       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, VIMARI         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, VIVIANA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, WANDA L.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, ZORAIDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRANDA, ZORAIDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRO, JOSE A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MIRO, WANDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, AMAURI M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, DAISY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, DARLENE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, EDUARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, EUGENIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, HECTOR L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, IVONNE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, JONATHAN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, JOSE L.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, LEGNA M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, MARIA C         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, MIGDALIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, MIGUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, MIRIAM N.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, MIRTA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, ZULEIKA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOJICA, ZULEIKA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, AIDA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, ANGEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, ANTONIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 591 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MOLINA, AURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, CARLOS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, CRUZ M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, CRUZ MARIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, CYNTHIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, CYNTHIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, EDGARDO P.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, EDNA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, ENID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, ESTHER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, IVONNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, IVONNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, JOHANY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, KRYTAL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, LAURA G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, LEILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, LUIS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, MIGDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, RAFAEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, ROBERTO J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, SAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, SAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLINA, ZEINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLL, LIZAMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOLL, MICHEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONDESI, YERALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONEGRO, DAMARYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONEGRO, DAMARYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONELL, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONGE, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, ANTONIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, BENJAMIN REDACTED                          REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, BIENVENIDO REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, CAROLYN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, CHRISTIAN J REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, EDWIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, EDWIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, ELVIS F.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, ERIKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, FLERIDA DEL REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
C
RODRIGUEZ MONTALVO, FLERIDA DEL REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
C



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MONTALVO, GLORIA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, HILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, IDALIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, IRIS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, IRVING      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, JANICE Z    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, JASMIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, LENNIN D    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, MAGALY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, MIGUEL A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, MIRTHA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTALVO,             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
MONSERRATE
RODRIGUEZ MONTALVO, NEFTALI     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, NEYSHA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, NICOLE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, NITZA J     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, NOEL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, NYDIA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, VANESSA J   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTALVO, WENDALIZ    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, ANGELICA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, DARILOU     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, EDGARDO     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, EDGARDO     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, EMMA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, FLOR M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, GABRIELA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, IRIS B      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, JUAN        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, JUAN        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, LAURA I     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, LEONEL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, LUZ M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, LUZ M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, MAGALY      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, MARIA T     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, MARIOLA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, MIGUEL A    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, NELSON J    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, OLGA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, PEGGY       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, RICHARD     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, SANTOS      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, THAIS S     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, VIRGINIA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, YADIRA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ MONTANEZ, YADIRA I    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5592 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 593 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MONTANO, RAQUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTAQEZ, MODESTA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTECINO, EDWIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTEMOINO, ANDY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTERO, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTERO, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTERO, LIMARYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTERO, MARILYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTERO, NORMA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTERO, RITA A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTERO, RITA A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTERO, SARA C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTES, AMIL J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTES, CARMEN C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTES, CARMEN C.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTES, CRUZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTES, DANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTES, EDWIN JOSE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTES, FRANCISCO A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTES, GERMAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTES, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTES, MARIA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTES, MARIA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTES, OSCAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTIJO, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTIJO, JOSE R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MONTILLA, JULIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORA, ALICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORA, CECILIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORA, CLEMENTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORA, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORA, JUAN F.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORA, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORA, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, AIDA LIZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ALDO L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ALEXIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ANGEL L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ANGEL L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ARELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ARIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ARLINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, AUREA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, BEATRIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, BERTA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, BIBIANA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, BRUNILDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, CARLOS E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5593 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 594 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MORALES, CARMELO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, CARMELO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, CARMEN M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, CARMEN M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, CHRISTIAN     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, CONNIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, CYNTHIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, DIANA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, DORA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, DORA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ELIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ELIZABETH     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ELIZABETH E   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ELSIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ERNESTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ESTEBAN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ESTEBAN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, FRANCESCA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, FRANCISCO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, GIL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, GISELLE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, GUDELIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, HARRY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, HECTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, HECTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, HECTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, HECTOR M.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, HEIDY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, IBIS J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, IRAIZALY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, IRIS N        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, IRMA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ISAAC         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ISRAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, IVETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JAN E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JANICE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JANICE M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JENNIFER      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JERRY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JIMMY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JOHNNY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5594 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 595 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MORALES, JONATHAN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JORGE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JOSE A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JOSE A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JOSE A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JOSE L.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JOSE O         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JOSE O         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JUAN C         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JUAN D         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JUAN E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JUANITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JUDIT          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JUDITH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, JULIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, KARLA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, KEILA N        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, KEISHLA M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, KELMAN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, KRIMILDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LEILA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LEILA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LISA V         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LUIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LUIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LUIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LUIS A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LUIS E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LUIS E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LUIS M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LUZ B          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LUZ E.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LUZ T.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LUZ V          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LYDIA E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, LYVELISES      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MAGDA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MAGDA I.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MARGARITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MARIA A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MARIA DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MARIA DEL C    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MARIA DEL C    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MARIA E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5595 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                    Schedule E3 Page 596 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MORALES, MARIA M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MARIA V       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MARIANO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MARIBEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MARIELYS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MARIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MARITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MIGUEL A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MIRIAM J      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MODESTA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, MYRNA I.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, NAYDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, NAYDA S       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, NEMARIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, NIRIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, NOEMI         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, NORMA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ORLANDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, PEDRO A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, PEDRO L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, PETRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, RAFAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, RAFAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, RAUL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, RAUL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, RAUL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, RAY O         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, RAYMOND       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, RAYMOND       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, REBECA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, RICARDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, RICARDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, RICARDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, RIESNER G     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ROBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ROSALVA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ROSANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ROSANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ROSANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ROSSELINE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, SALVADOR      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, SAMUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, SAMUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, SANDRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, SARAI         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, SARI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, STEPHANIE M   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, VICTOR J.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, VILMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5596 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 597 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MORALES, VILMA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, WANDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, WILFREDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, WILFREDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, WILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, WILLIAM E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, WILLIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, XIOMARA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, YADNIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, YARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, YOLANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, YOLANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, YOLANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, YOLANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ZORAIMA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ZORAIMA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALES, ZULAY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORALEZ, DIANA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORAN, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORAN, MARIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORAN, MARIA A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORAN, NYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORAN, SOL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORAN, SUANIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORAO, SHEYLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORAO, SHEYLA K       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOREIRA, ANNETTE D    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORELL, CLAUDINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORELL, RINA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, ALMA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, ANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, ANA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, ANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, DENISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, GLADYS C.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, HAYDEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, JANETT        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, JESUS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, LISANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, LUIS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, LUIS J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, MICHAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, OLGA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, OLGA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, OSCAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, ROSARIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, SAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5597 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 598 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MORENO, VIVIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORENO, VIVIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORERA, LOURDES M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORERA, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORI, JAMES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORI, MARIEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORI, MARIEN Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MORI, WALTER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOTA, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOTA, CARLOS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOTA, NORBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOULIER, ARIZBELIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOULIER, CHARLES R.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOURA, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOUX, VIRGEN DEL M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOYA, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOYA, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOYENO, MANOLIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOYET, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MOYET, MARYELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUJICA, RAYSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MULERO, ALTAGRACIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MULERO, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MULERO, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MULERO, MAGALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MULERO, MARIA DEL C   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MULERO, PEDRO I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MULET, GILBERTO J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MULET, GLENIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MULET, HECTOR M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MULINELLY, AUREA E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MULLER, ZULMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNDO, MILDRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNDO, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNET, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, ALBA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, ARCANGEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, BENJAMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, CESAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, ERIKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, ERIKA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, HECTOR L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, JACINTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, LAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5598 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 599 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MUNIZ, LEONOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, MANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, MIRAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, PEDRO J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, RUDIANN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, SUHAIL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, SUHAIL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNIZ, SUHAIL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, ADA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, ADALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, AINEE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, AINEE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, ALBA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, BRENDA V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, EDWIN F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUÑOZ, EDWIN F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, ELAINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, HECTOR L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, HERMAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, JUAN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, LUZ H.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, MAGDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, MARIA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, MARIA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, ROXANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, ROXANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, SHIRLEY E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, WALESKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, WALESKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, WANDA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, WENDALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNOZ, YIRALYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUNTEZUMA, ANGELICA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUQIZ, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MUQIZ, OSCAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5599 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 600 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ MURIEL, EDITH          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MURIEL, EDITH M        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MURIEL, EDITH M.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MURIEL, IRMA           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MURIEL, IRMA N         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MURIEL, LILIANA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MURIEL, LUIS X         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MURIEL, LUZ            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MURIEL, LUZ            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MURIEL, WILLIAM        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MURIEL, YAZMIN         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ MURIEL, YAZMIN         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NADAL, ALEJANDRA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NADAL, ALEJANDRA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAJERA, ROSA           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAPOLEON, FRANCISCO J. REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NARVAEZ, ALBERTO       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NARVAEZ, AWILDA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NARVAEZ, GUILLERMINA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NARVAEZ, LUIS A.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NARVAEZ, NOEL          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NARVAEZ, NOEL          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NATAL, HERIBERTO       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NATAL, HILDA           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NATAL, HILDA F         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NATAL, JIMMY           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NATAL, JUSTINO         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NATALI, CRISTINA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NATALI, CRISTINA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NATER, ADIENA J        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NATER, LIZA M          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAVARRETE, REYNALDO REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAVARRETE, REYNALDO REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAVARRETO, RAMON       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, ALEJANDRA M. REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

RODRIGUEZ NAVARRO, ARMIDA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, CANNY        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, CARMEN I     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, ENID         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, GERARDO      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, JASON        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, JOEDMAR      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, JOEDMAR      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRÍGUEZ NAVARRO, JOHANNA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, JOSE A       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, LILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, LILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5600 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 601 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ NAVARRO, LYDIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, MARIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, MARTA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, MIRLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, SANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, TAMARA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAVARRO, VILMA R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAVAS, EDWARD J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAVEDO, IRENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAVEDO, SAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAVEDO, SYLVIA B      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAVEDO, SYLVIA B      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAVEDO, VIVETTE Y     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, AMARILIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, AMNERIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, ANGEL A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, CLARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, DENISE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, DENISE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, FLOR A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, HEIDY M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, IRIS G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, IRIS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, JAIME F.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, JENIFFER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, JENIFFER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, KATHIRIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, LAURA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, LAURA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, LUIS ANGEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, LUIS R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, MARIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, MARTHA A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, MIRIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, MIRIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, MONSERRATE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, NIRVA D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, PETER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, RAUL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, ROBERTO A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, RUSSELL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, SARAI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, STEVEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, VICTOR M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, VIMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5601 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 602 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ NAZARIO, WANDA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NAZARIO, WENDELINE     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NECO, JOSE             REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NECO, JOSE A           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, AIDA           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, AIDA I         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, ALICIA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, ANABEL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, ANGEL          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, ANGEL M.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, ARACELIO       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, ARMANDO J      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, BEATRIZ        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, BEATRIZ D      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, BEATRIZ DEL C REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, BENJAMIN       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, BENJAMIN       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, CARLOS         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, CARLOS A.      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, CARLOS J       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, CARLOS J       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, CARMEN         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, CARMEN M       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, CARMEN S       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, CARMIN         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, DARISABEL      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, DARISABEL      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, EDNA           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, EMERITE DEL C. REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, ENID           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, ENRIQUE        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, ESTHER         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, FERNANDO       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, FRANCIS        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, GILBERTO       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, GINNY          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, HERIBERTA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, IRIS D         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, IVIA R         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, JANICE         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, JANICE         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, JOEL           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, JOSE           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, JOSE A         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, JOSE J         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, JOSE J.        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, JOSE LUIS      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, JOSUE          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, KATHIA Y       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5602 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 603 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ NEGRON, KATHIA Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, LUZ MARILYN   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, MAGDALENA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, MAILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, MARCOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, MARGARET      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, MARIA DEL C   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, MARIO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, MARTA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, MICHELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, MICHELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, NILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, OLGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, OLGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, ROSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, SARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, SORESNIL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, VIRGEN YADIRA REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, ZORAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, ZULMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRON, ZULMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEGRONI, JEANETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NELSON, VANESSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NELSON, VANESSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NERIS, ALFONSO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NERIS, ANA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NERIS, CATALINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NERIS, ILIAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEVAREZ, ELBA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEVAREZ, ELBA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEVAREZ, ELBA V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEVAREZ, PEDRO L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NEVAREZ, WANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NICHOLS, EDDIE S.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NICHOLS, HAYDEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIETO, FRANKLYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ABDIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, AIDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, AIDALIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ANA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ANEZLI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ANTONIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 604 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ NIEVES, ANTONIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ARACELIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ARIEL J.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, BLANCA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, CARMEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, CARMEN L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, CARMEN Y        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, DAISY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, DAMARIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, DAVIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, DELIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, DENIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, DIANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, DIANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, DIANA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, EDWIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ELBA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ELBA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ELIZABETH       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ELIZABETH       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ERNESTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, FELIX           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, FRANCISCO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, FRANCISCO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, FRANCISCO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, GENESIS L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, GLADYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, GLADYS E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, GLORIA E.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, HARRY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, HECTOR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, HECTOR L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, IRMA IVELISSE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ISABEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, IVAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, IVAN R          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, IVELIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, JACKELINE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, JAMILETTE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, JASON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, JAVIER          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, JAVIER E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, JOANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, JOHANNA L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, JOSE H          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, JOSE M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, JOSE R          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, JUAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, JUANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5604 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 605 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ NIEVES, JULISSA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, LOURDES M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, LUIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, LUIS A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, LUIS R          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, MARIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, MARIA DEL PIL   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, MERCEDES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, MEZAIBE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, MEZAIBE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, MEZAIBE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, MIGUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, MILAGROS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, MYRNA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, NATALIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, NELSON          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, NILDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, NILDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, NYDIA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, PEDRO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, PEDRO J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, RAISA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, RAIZA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, RAMON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, RAMON A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, REMI            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, REY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, REYSHA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ROSA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ROSA A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ROSA J.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ROSALISSE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, ROSALISSE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, RUTH            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, SANDRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, SHEILA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, SHEILA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, SONIA N         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, SYLVIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, VIVIAN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, VIVIAN J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, WILLIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, YARA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, YARA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, YASMIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, YESENIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIEVES, YOLANDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIGAGLIONI, BENE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NIGAGLIONI, CARMEN M    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5605 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 606 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ NOBLE, ELBA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NOEL, CARLOS D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NOGUE, MARIELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NOGUE, RAMONITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NOGUERAS, MADELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NOGUERAS, MARIBEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NOGUES, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NORIEGA, ANA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NORIEGA, MARISOL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NOVOA, MARTA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, CATHERINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, CATHERINE F    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, GLADYMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, JOHNNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, JORGE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, JOSE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, MARIA DE L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, MODESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, REBECCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, REBECCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, SANTOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, SORHANNIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUNEZ, YALIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ NUQEZ, GLADYS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ O NEILL, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCACIO, LIZA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCANA, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCANA, DALIAN B.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCANA, GUILLERMINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCANA, GUILLERMINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, ASHLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, CARMEN D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, DIANA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
MANUEL
RODRIGUEZ OCASIO, ELIUD         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ OCASIO, FELIX         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ OCASIO, HIRAM         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ OCASIO, HIRAM         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ OCASIO, ISABEL C      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ OCASIO, ITSIA E       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ OCASIO, JESSENIA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5606 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 607 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ OCASIO, JOSE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, JOSE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, JOSEFINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, JOSEFINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, LOIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, MARIAN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, MARIELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, MARILYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, MARISEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, MARTA R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, MONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, PABLO M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, SAMARIE R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, STEPHANIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, TOMAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, VIRGINIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, WILMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, YETZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCASIO, YETZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OCHOA, CRISTIMARI     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OFARRIL, EFRAIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OFARRIL, IRMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OFRAY, GABRIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OFRAY, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OFRAY, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OFRAY, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, DULCIDIO A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, HUMBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, ILEANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, ILEANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, IVONNE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, JOSE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, LILLIAN I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, LUIS G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, MATILDE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, NYDIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, RUTH M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, RYAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5607 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 608 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ OJEDA, YAHAIRA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, YAMELYS M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OJEDA, YANIRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLAN, CARLOS J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLAN, EDWIN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLAN, ELIZABETH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLAN, ELIZABETH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLAN, LUIS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLAN, NEREIDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLAZAGASTI, GLORIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVEN, JOAQUIN J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVENCIA, WILLIAM      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVER, MARGARITA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERA, DIONISIO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERA, ISAIAS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERA, LIZZETTE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERA, ROBINSON       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERA, SERGIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERA, TERESA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERA, TERESA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, ANA R         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, BRENDA LIZ    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, CARMEN L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, CARMEN L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, CARMEN L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, ISAIAS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, IVAN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, JOSE A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, JUAN B        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, LEONELALIS    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, MANUEL A.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, MARIA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, MARILUZ       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, MARTIN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, MIGUEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, MIRIAM        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, NANCY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, OLGA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, TOMAS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, VICTOR        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERAS, WILKINS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVERO, MICHELLE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVIERI, AIDA E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVIERI, CANDIDO J     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVIERI, FRANCISCO J   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVIERI, HILDA L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVIERI, NEREIDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVIERI, NEREIDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVO, BETZAIDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5608 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 609 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ OLIVO, EFRAIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVO, LEILA W         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVO, MARILIS DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLIVO, VICTOR J.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMEDA, EDWARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMEDA, FRANCISCO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMEDA, GODOFREDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMEDA, IVETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMEDA, JOSE H.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMEDA, JOSEFINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMEDA, JOSEFINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMEDA, MARISOL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMEDA, NELIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMEDA, PABLO J.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMEDA, SANTOS J.A.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMEDA, YARIMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMEDA, YURIVANI       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMO, ARACELIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMO, ELIZABETH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMO, ERIKA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMO, HERMINIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMO, ITHAMAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMO, ITHAMAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMO, ITHAMAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMO, RAFAEL ANTONIO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OLMO, YANIRA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ONEILL, ODALYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ONGAY, RAFAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OPPENHEIMER, JUAN E.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, AILEEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, ANGEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, ARELYS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, BETTY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, CARMEN I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, CARMEN I.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, CARMEN L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, CARMEN S      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, CARMEN Y      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, CARMEN Y      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, CATALINA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, ELISA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, FRANCISCO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, GABRIEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, IVELISSE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, JOSE A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, LYDIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, LYDIA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5609 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 610 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ OQUENDO, MARIA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, MIRIAM L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, NANCY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, NANCY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, NANCY L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, NAYDA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, NIXA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, TASHIRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, YASMIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OQUENDO, ZOHARYS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORAMA, GRISELLE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORAMA, IDALYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORAMA, IDALYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORAMA, MARCOS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORAMA, MARIBEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORAMA, MIRIAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORANGEL, MIGDALIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORDONEZ, HECTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORELLANA, MANUEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORELLANES, MIGUEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORELLANES, MIGUEL A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORELLANES, RUBEN M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORENGO, ADALBERTO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORENGO, ANA H          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORENGO, DIANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORENGO, DIANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORENGO, DIANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORENGO, FRANKIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORENGO, GLORIVETTE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORENGO, JUAN F.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORENGO, LUIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORENGO, NILSA S.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORENGO, NOEL A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORENGO, RAMON I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORIOLA, JOSE F         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORIZAL, ELVIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORJALES, MAYRA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORONA, JAVIER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OROPEZA, TOMAS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OROZCO, AIDA N         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OROZCO, GEORGE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OROZCO, RAMON L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OROZCO, RUTH N         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OROZCO, VICTOR R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORSINI, BRENDA L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORSINI, CLARIBEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORSINI, JOSE J.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORSINI, ROSALIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTA, LEE MARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5610 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 611 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ORTA, LEEMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTA, NELSON G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTA, NICOLE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTA, XAIMARA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, ADALIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, ANGELIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, ANGELICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, CARMEN L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, CRISTINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, ELSIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, GEORGINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, IRIS Z        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, IRIS Z.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, JEAN P        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, KARLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, KARLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, LOURDES I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, LUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, LUZ R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, MARIA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, MILAGROS J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, RAFAEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, TERESITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTEGA, YANIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ABIGAIL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ABIMAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ABNER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ADOLFO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, AGNES J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, AIDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, AILID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, AILID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, AILID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, AIXA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, AIXA B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ALBA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ALBERT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ALCIDES G.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ALEXANDER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ALFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ALLANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, AMBAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5611 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ORTIZ, AMELIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANGEL A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANGEL D.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANGEL E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANGEL G         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANGEL J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANGEL M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANGEL M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANGEL R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANGELI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANGELIZ         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANGELIZ         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANNETTE MARIE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANTONIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ANTONIO R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ARACELIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ARLEENE J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, AUBREY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, AWILDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, BASILIDES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, BASILIDES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, BEATRICE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, BEATRIZ M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, BELISSA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, BELISSA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, BELKIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, BENJAMIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, BENJAMIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, BENNY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, BERLITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, BETSY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, BETZAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, BRENDA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, BRISMA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, CALEB J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, CARILIN V       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, CARLOS A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, CARLOS J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, CARLOS J.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, CARMELO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, CARMEN E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5612 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 613 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ORTIZ, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, CARMEN S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, CARMEN V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, CAROL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, CINTHIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, CLARITZA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, CONSTANCIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, CRYSTAL M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, DAWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, DEBORAH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, DELIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, DELMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, DENISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, DIANA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, DIANA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, DIANA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, DIMAS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, DORILIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, DRUSILLA V.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, EDGARDO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, EDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, EDNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, EDNA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, EDWARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, EDWIN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ELENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ELIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ELISABET       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ELPIDIO J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, EMELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, EMILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ENID Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ERASMO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ERIKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ERIKA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ERIKA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ESTHER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, EVELYN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, EVENEIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, EVENEIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5613 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 614 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ORTIZ, EVENEIDA         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, FELIBERTO        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, FELIX DANIEL     REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, FERNANDO         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, FERNANDO L       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, FRANCES          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, FRANCES M        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, FRANCISCO        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, FRANCISCO J      REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, GABRIEL          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, GILBERTO         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, GISELA.          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, GISELLE          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, GLADIBEL         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, GLADYS           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, GLADYS           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, GLORIA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, GLORIA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, GLORIA E         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, GRISELLE         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, GUILLERMO        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, HARRY            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, HECTOR           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, HECTOR R.        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, HEYSHA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, HILDA R          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, IDEN             REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ILEANA DEL ROCIO REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ILIA I           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ISABEL M         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ISABEL M         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ISABEL M.        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ISRAEL           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, IVELISSE         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, IVETTE           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, IVONNE D         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, IVONNE D.        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JACKELINE        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JAIME F.         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JALICHA          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JANICE           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JANICE           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JEAN             REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JESSICA          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JESUS            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JOAQUIN          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JOENID M.        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JORGE            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JORGE H          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5614 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ORTIZ, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JOSE D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JOSE J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JOSE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JOSE R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JOSE S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JOSELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JOSETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JUAN G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JULIO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, JUSTO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, KAREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, KAREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, KAREN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, KARINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, KARINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, KATHERINE I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LAURIMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LESTER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LETICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LETICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LEYDIENID      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LIRA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LISSETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LISSETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LISSETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LIZ D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LIZ D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LIZBETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LOIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LOIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LOIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LOURDES M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5615 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 616 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ORTIZ, LUIS D.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LUIS F          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LUIS G.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LUIS G.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LUIS R.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LUISA A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LUZ M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LUZ M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LUZ M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LYDIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LYDIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, LYMARI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MADELINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARCEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARI ELENA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIA DEL C.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIA DOLORES   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIA E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIA E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIA G         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIA N         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIANGELY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIBEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIBEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIELA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIELA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARIELA A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARILYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARILYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARILYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARISOL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARISOL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARLYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARTA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MARTA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MAYRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MAYRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MERCEDES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5616 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 617 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ORTIZ, MERCEDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MERCEDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MERCELI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MIGUEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MIGUEL E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MILDRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MIRIAM R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MODESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MORAYMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MYRNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, MYRNA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, NELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, NEYSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, NOEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, NORMA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, NORMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, NURIS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, NYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, OLGA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, OLGA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, OLIVER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, OMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, OMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, PABLO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, PATRIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, PAULITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, PEDRO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, PEDRO J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, PURA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, RAMONITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, RAQUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, RAQUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5617 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 618 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ORTIZ, ROBERTO A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ROSA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ROSARIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ROSININ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, RUDDY A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, RUTH A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, SALOMON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, SANDRA A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, SANTA B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, SARA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, SARAI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, SARAI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, SOL E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, SONIA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, SULLYBETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, TABEEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, TERESITA J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, TIARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, TIARA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, TIMOTHY B      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, TOMASITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, VANESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, VANESSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, VANESSA C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, VICTOR J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, VICTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, VICTOR M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, VIRGEN C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, VIRGINIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, WAIKA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, WALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, WANDA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                     Schedule E3 Page 619 of 2285
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ORTIZ, WILLIAM JAVIER   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, WILMA G          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, WILMA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, WILMAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, YARITZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, YEISY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, YEISY M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, YITZA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, YOELIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, YOELIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, YOLANDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, YOLANDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, YOLANDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ZAIDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ZAIDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORTIZ, ZORAIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ORZA, YESENIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OSORIO, BEATRIZ         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OSORIO, CARLOS J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OSORIO, CARMEN L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OSORIO, ENID            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OSORIO, MARIA J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OSORIO, MICHAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OSORIO, WILFREDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OSTALAZA, CRISTIAN      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, ALEXA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, ALEXA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, AMARILYS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, AMARILYS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, ANA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, ANGEL M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, ANGELA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, ANGELA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, AURORA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, CARMEN I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, CARMEN L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, CARMEN V         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, DIANE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, ELBA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, ESTEBAN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, EVELYN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, FRANCISCO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, GILBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, HERIBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, IDALINA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, JETSABEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, JOEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, JOHANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, JOHANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5619 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 620 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ OTERO, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, JOSE N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, JUSTINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, LUCEYDA D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, LUZ D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, MARIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, MARIELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, MARIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, NADIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, OLGA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, OSCAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, RAMON L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, SONIA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, SONIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, YOMAYRA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OTERO, ZAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OVALLE, MARCOS F      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OYOLA, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OYOLA, FELISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OYOLA, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OYOLA, JUAN R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OYOLA, JUAN R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OYOLA, LINNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OYOLA, MABEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OYOLA, MABEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OYOLA, RUTH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OYOLA, TABITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OYOLA, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ OYOLA, WILFREDO D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, ANGELIMARI     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, ANGELIMARI     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, EMILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, EVER A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, GEORGINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, GIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, GILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, GLORIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, IVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, JENNIFFER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5620 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 621 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ PABON, JOSE F.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, JOSUE C          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, JUAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, JUANITA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, LUZ E            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, MAGDALENA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, MARGARITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, MARIA CELIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, MYRTA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, NELLY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, NELLY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, NEREIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, RAFAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, RUBEN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, RUBEN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, SAUL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PABON, ZENAIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, AMAURY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, ANTONIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, ANTONIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, ARAMI          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, ASUNCION       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, DORA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, ENRIQUE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, GABRIEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, GERARDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, GILBERTO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, HABRIEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, IRIS BETSY     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, JAVIER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, JESSICA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, JESSICA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, JOSE A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, JOSE L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, JOSE R.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, LOURDES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, LUIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, LUIS GABRIEL   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, LUMARIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, MARISOL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, MAYRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, MAYRA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, MIGDOEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, NANCY M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, NELLY M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, NELLY M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, RAFAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, REBECCA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, RUTH           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5621 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 622 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ PACHECO, SANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, SANDRA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, VIANCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, VIANCA V.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, WANDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, WILFREDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, WILMARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, WILMI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, WILSON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, WILSON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, WILSON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, YADIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, YADIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PACHECO, YALITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, ANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, ANA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, ANA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, ANDREW A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, ANGELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, ANGELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, ANTONIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, BETHZAIDA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, CARMEN E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, EDWIN F.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, ERNESTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, FRANCES A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, GLENDA L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, GLORIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, GLORIA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, HARRY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, JAIME T      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, JAMILETT     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, JORGE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, JOSE A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, MARIA A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, MARIA A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, MARISOL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, MICHELLE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, MILTON M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, MILTON M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, NORMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, PUBLIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, ROGELIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, ROSA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5622 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 623 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ PADILLA, SHEILA M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, SHEILA M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, TOMAS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, VERONICA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLA, WILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADILLAS, TOMAS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADIN, ADALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADIN, HECTOR J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADIN, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADIN, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADIN, WANDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADIN, WANDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADRO, EILEEN Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADUA, ANGIE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADUA, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADUA, GRISSELL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADUA, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADUA, JOSE F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PADUA, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, AGNES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, ANA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, ANA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, ANA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, ANTHONY K      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, ARMANDO LUIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, BASILISA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, BENIGNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, BERMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, BETHSAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, BETHZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, CARLOS J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, CARLOS L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, CARMEN E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, CARMEN N.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, CAROL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, CAROL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, CRUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, DANIEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, DENISSE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5623 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 624 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ PAGAN, DOMINGO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, ELISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, ELVIN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, EMMANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, FRANCES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, GABRIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, GERALDINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, GERMAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, GERSOM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, GISELL M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, GLORIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, GLORIMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, GLORIMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, GRACIELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, GRACIELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, GUILLERMINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, GUILLERMO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, HAYDEE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, HERIBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, IBRAHIM A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, INEABELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, INEABELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, INES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, ISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, IVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, JOHANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, JOHN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, JOMAR J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, JORGE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, JOSE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, KAROLINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, LEONOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, LETICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, LIDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, LIGLORIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, LIMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, LIZDELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, LIZZETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, LIZZETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, LOALIS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5624 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 625 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ PAGAN, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, MARY I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, MELANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRÍGUEZ PAGÁN, MIGUEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, MITCHELL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, NANCY I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, NEISY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, NELSON E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, NELSON L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, NILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, OMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, SAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, TAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, THAIZZA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, THALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, TOMAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, WILLIAM A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, XIOMARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, YOJAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAGAN, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PALERMO, ELSIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PALERMO, NANCY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PALES, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PALMER, NORMA Z.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANCORBO, BRENDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANCORBO, BRENDA A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANCORBO, DELMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANCORBO, DELMA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANTOJA, LIZA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANTOJA, LIZA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANTOJA, MYRNA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5625 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 626 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ PANTOJA, VELKIS        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANTOJA, YAZMIN        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANTOJA, ZAIMARA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANTOJAS, ALEJANDRO    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANTOJAS, DAMALLANTY REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANTOJAS, FRANCISCO    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANTOJAS, JOSE E       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANTOJAS, MARYNELLY    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANTOJAS, NEFTALI      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANTOJAS, SARAH E      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANZARDI, JOHANNA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PANZARDI, JOHANNA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARDO, EMANUEL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARDO, LAURA E         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARDO, MARIA DE LOS A REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARDO, RAFAEL A        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARDO, VILMARY         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARDO, WILMER          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAREDES, CRISTINA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARES, CARMEN A        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARES, CYNTHIA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARILLA, JANETTE       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARIS, FABIOLA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARIS, ROSELYN         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARIS, ZAIDA E         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARISSI, JOSE E        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARRILLA, ELIZABETH    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARRILLA, FRANCISCA    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARRILLA, RAFAEL       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PARRILLA, REYNOLD      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PASTRANA, ELI J.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PASTRANA, JOSE J.      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PASTRANA, JULI         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PASTRANA, SONIA N      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PASTRANA, VERONICA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAUSA, LILLIAM         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAZ, CARLOS E          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAZ, FELIX             REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAZ, LEONIDES          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PAZO, JEAN             REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEDRO, ROSANGELA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PELICOT, BELLERMINDA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PELICOT, BELLERMINDA M REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

RODRIGUEZ PELLOT, MARIA A       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ PELULLERA, RAFAEL J   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ PENA, ANA L.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ PENA, ANA L.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ PENA, ANGELA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5626 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 627 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ PENA, CARMEN D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENA, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENA, ELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENA, HARRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENA, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENA, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENA, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENA, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENA, JOSE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENA, JUSTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENA, MAGGIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENA, RUTH D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENA, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENA, ZAIDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENALBERT, ELBA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENALBERT, ROSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENALBERT, ROSA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENALVERT, JOSE A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PENZORT, LIZMARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PERALES, GILBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PERALTA, NARMY N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PERAZZA, MARIA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PERAZZA, MARIA D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREIRA, MARIA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREIRA, MIGUEL A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ABRAHAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ADALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ADELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, AGAPITO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, AIDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, AIDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ALEJANDRA S    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ALEJANDRA S    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ALEJANDRO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ALFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, AMARILIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, AMARILIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, AMARILIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, AMELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ANABELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ANGEL Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ANGELICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ANGELITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5627 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 628 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ PEREZ, AUREA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, AUREA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, AWILDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, AWILDA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, BERNARDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, BERNARDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, BETZAYDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, BOLIVAR A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, BRENDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, BRENDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, BRENDA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, BRIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, BRIAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CANDIDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CARLOS E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CARLOS R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CARMELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CARMEN G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CARMEN L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CAROLYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CATHERINE F    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CESAR A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CHEILY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CHRISTINE A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CHRISTOPHER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CLARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CLARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, CRIMILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, DANNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, DEBORAH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, DEBORAH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, DEIDAD M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, DIANIVETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5628 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 629 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ PEREZ, DIONISIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, DOMINGO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, DORIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, EDGAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, EDIL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, EDITH J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, EDWIN A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, EDWIN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ELAINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ELBA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ELISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, EMMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, EMMA R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, EVA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, FRANCES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, GABRIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, GENOVEVA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, GEORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, GERMAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, GILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, GISELA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, GLORIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, GLORIMER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, GLORIVAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, HECTOR A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, HEIDI J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, HERMAS V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, IDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, IDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ILEANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ILEANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ILEANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, INES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, INES M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, IRIS I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ISMAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, IVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, IVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5629 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 630 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ PEREZ, JACKELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JADYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JAJIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JARINES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JASMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JAVIER A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JEAN C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JEAN C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JEAN PAUL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JENNIFFER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JESSICA Y.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JESUS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOHNNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOHNNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOHNNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JONATHAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSE J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSE O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSEFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSEPH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOSUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JOYCE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JUAN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JUANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JUDITH T.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, JUSTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, KEYSHLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, KRYSTAL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5630 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 631 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ PEREZ, LAURA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LAURA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LEONARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LESBIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LILLIAM DEL C    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LISANDRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LISANDRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LISETTE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LOURDES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LOURDES L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LUIS A.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LUIS D           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LUIS D.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LUISA D          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LUZ H            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, LYDIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARCELINO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARCOS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARGARITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARIA DEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARIA DEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARIA DEL C      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARIA DEL M.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARIA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARIA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARIA S          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARIBEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARIBEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARILYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARILYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARISOL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARTA E.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MARY C           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MAYRA A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MELANIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MELVIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MIGUEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MIGUEL A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MIGUEL G         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5631 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 632 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ PEREZ, MIGUEL G        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MIGUEL O        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MILAGROS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MILITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRÍGUEZ PÉREZ, MILITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MINERVA NOEMI   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MIRIAM E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, MIRIAM E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, NANCY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, NANCY M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, NAYDEE I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, NELSON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, NELSON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, NEREIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, NILSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, NOELIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, NOEMI           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, NOEMI           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, NOEMI           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, NOLIA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, NORIS E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, NORMA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, NUVIA D.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, NYDIA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, OMAR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, OMAR E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ORLANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ORLANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ORLANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, OSCAR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, OSCAR A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, OSVALDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, PEDRO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, PEDRO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, PEDRO L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, RADAMES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, RADAMES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, RAFAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, RAMON G.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, RAQUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, REINALDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, RIGOBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, RIGOBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ROBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ROSA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ROSA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ROSA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ROSANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ROSARIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5632 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 633 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ PEREZ, ROSEMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ROSEMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, SAMMY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, SANDRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, SANDRA S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, SANDRA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, SANTOS H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, SARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, SARYLUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, SHARET M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, STEPHANIE M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, SYDMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, SYDMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, TAIRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ULISES A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, VALERIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, VANESSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, VICTOR H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, VILMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, VIVIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, VIVIAN C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, VIVIAN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, VIVIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, VIVIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, YAJAIRA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, YAMILET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, YAMILET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, YANIRA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ZAIDA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ZAYMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ, ZORAYDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PEREZ,ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PESQUERA, JORGE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PICART, LINDA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PICORELLY, IRIS D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PICORELLY, ISABEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIETRI, NORMA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIMENTEL, CARMEN L.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIMENTEL, KHEIRA L.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIMENTEL, MILAGROS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIMENTEL, NORAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIMENTEL, NORAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIMENTEL, YAISA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5633 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 634 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ PIMENTEL, YAISA Y        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PINEIRO, ANIBAL          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PINEIRO, JOSE M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PINERO, MARISABEL        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PINO, CLARA L            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PINO, EBERTO             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PINTO, ANA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PINTO, CARMEN E          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIZARRO, BRUNYVETTE      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIZARRO, CARMEN M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIZARRO, DIANELIS        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIZARRO, JACQUELINE      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIZARRO, JUAN            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIZARRO, JUAN            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIZARRO, LILLIAM         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIZARRO, LUIS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIZARRO, LUIS A          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIZARRO, LYMARIS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIZARRO, MARI A          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIZARRO, MARIA J         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIZARRO, MILDRED I       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIZARRO, NELSON D.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PIZARRO, XAVIER A        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLA, GISSEL T            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLACERES, MELITZA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLANAS, JOSE E           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLANELL, JULIO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLANELL, JULIO ALBERTO   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLANELL, SERGIO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLAUD, CARLOS X          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLAZA, ANTONIO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLAZA, BENERICE R        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLAZA, BETSY B.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLAZA, EDDY              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLAZA, ERIKA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLAZA, EVELYN            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLAZA, IDELLISSE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLAZA, IDELLISSE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLAZA, MADELYN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLAZA, ROSA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLAZA, RUBIELL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLAZA, SALLY             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PLAZA, WILDA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ POLA, CHRISTIAN N        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ POLA, JOSE A             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ POLL, SIMARA I           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ POMA, MELQUIADES         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ POMALES, DAMARIS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ POMALES, JASON           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5634 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 635 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ POMALES, JOANNIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ POMALES, JOANNIE M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ POMALES, LUIS M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ POMALES, MILDRED       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ POMALES, MILDRED       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ POMALES, SAMUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ POMBAR, MIRIAN A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PONCE, CARLOS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PONCE, JACKELINE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PONCE, MARIA DEL C.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PONCE, WILMARY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PONS, ANA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PORTALATIN, MAYDA I    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PORTELA, ANA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PORTELA, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ POTTER, LINNETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PRADO, ANA J.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PRADO, FIDEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PRATTS, AIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PRATTS, AIDA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PRATTS, LILLIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PRATTS, MADELINE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PRATTS, MELISSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PREMACK, SHARON        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PRESTAMO, ISRAEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PRIETO, JUSTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PRIETO, OMAYRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PRIETO, ROBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PRIETO, ROBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PRINCIPE, JOSE A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PROSPER, SONIA I.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PUCHALES, RAMON        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PUIGDOLLERS, CAMILLE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PUJADAS, ISABEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ PUMAREJO, MELVIN E     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUESADA, MARIANA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUESADA, OLGA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIJANO, CARMEN L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIJANO, JACINTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIJANO, JESUS T       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIJANO, JOSE E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIJANO, RAMON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIJANO, TERESA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, ALBA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, ALBA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, ALEXIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, AMALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, AMALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, ANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5635 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 636 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ QUILES, ANA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, BYRON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, DIANA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, DIANA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, DORIS V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, FELICITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, GILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, GLADYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, HETTY A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, HILARIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, JOSE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, JULIO C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, LUIS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, LUIS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, LUZ S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, MARIANE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, MARIMER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, MARIMER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, MIGUELINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, MILCA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, MIREYLLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, NESTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, OLGA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, REBECCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILES, ZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUILEZ, HELSON G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, ADITH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, ALEXANDER   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, ALVIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, ANAGALY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, ANGELES     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, ANGELES     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, CARLOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5636 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 637 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ QUINONES, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, CARMEN L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, COLORINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, DAISY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, DAVID R.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, DELMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, DENISSE A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, EFRAIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, ELBA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, ELBA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, ELSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, EVA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, EVELYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, EVELYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, EVELYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, GLADYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, GLADYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, GLADYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, IDALIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, IRAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, ISAURA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, JANDY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, JEFFREY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, JORGE L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, JORGE L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, LILLIAM     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, LUCY E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, LUIS A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, LUZ M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, LYDIA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, MADELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, MADELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, MADELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, MARIA A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, MARIA DEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, MARIA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, MARIANELA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, MARIELY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, MARIELY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, MARIELY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, MARLYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, MIGDALIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, MILTON I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, MIRIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, MYRNA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, NELIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, NELLYSSA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5637 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 638 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ QUINONES, NELLYSSA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, NEREIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, NILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, NILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, NILDA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, PEDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, PROVIDENCIA REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, RAFAEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, RAMON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, RAMON L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, RICARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, RIKIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, ROBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, RUTH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, SOLMARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, SONIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, VERONICA M. REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, WANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, WILBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, ZOE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, ZORAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONES, ZULMARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, ANA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, AYEISHA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, EDUARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, HERIBERTO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, IRADIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, ISRAEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, JORGE LUIS  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, LUIS E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, LUZ S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, MARIA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, MILAGROS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, NOEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, ROBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, SABRINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, SANTA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, WANDA E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, YASIL M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, ZOE W       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINONEZ, ZUANILIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINTANA, ANGEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINTANA, CIRIAM N    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINTANA, QUEXY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINTANA, QUEXY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINTANA, QUEXY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINTANA, WILMARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINTANA, YALIXA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINTERO, AIDA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5638 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 639 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ QUINTERO, ANGELA R      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINTERO, DARISABEL     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINTERO, ERNESTINA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINTERO, ERNESTINA A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUINTERO, NICOLE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIQONES, ANA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIQONES, MARIA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIQONES, SONIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIQONEZ, LOYDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIROS, ALBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIROS, HECTOR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIROS, JAVIER          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIROS, LETICIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIROS, LEYDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIROS, MARIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIROS, MARIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIROS, MARICELYS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUIROS, VICTOR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ QUITANA, CARLOS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RABASSA, MARY S.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ALBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ALBERTO L.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, AMINTA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ANGEL N        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ANGEL O        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ASTRID         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, BETTY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, CHRISTIE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, DIANA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, EDITH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, EDWIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ELIZABETH      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ELLIS E.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, FRANCISCA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, GLORIA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, IDELISSE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, IDELISSE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ILEANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ILEANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ISMAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, IVETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, JANET          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, JANICE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, JANIRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, JESUS H        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, JOSE E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, JOSSIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, JUAN J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 640 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RAMIREZ, JULIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, LEYDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, LEYDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, LUIS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, LUIS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, MANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, MARIA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, MARILYNA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, MERIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, MIRIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, MOISES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, MYRGIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, NAYDA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, NESTOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ODEMARIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, OLGA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, PEDRO M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, REYNALDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ROSA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ROSA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ROSALINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, RUBY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, SAUDI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, SAUDIE A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, VALERIA L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, VIOLETA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, WILBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, YADIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMIREZ, ZERIMAR I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ADORADA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, AGUEDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, AGUEDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, AIDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, AILEEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ALANNIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ALBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ALBA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ALEX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ALEXA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ALEXANDER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ALEXANDER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ALICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ALYSHIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, AMPARO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5640 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 641 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RAMOS, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ANA ELISA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ANGELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ANGELA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ANGELITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ARELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ARELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ARELIS L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ARMANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ASTRID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, AURA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, BLANCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, BLANCA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, BRENDALIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ANTONIO
RODRIGUEZ RAMOS, CARLOS L.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, CESAR          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, CHRIS          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, CLARA L        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, CORALYS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, CRISALMA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, CYBELL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, DOLORES S      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, DORA E.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, DORA M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, DORA M.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, EDDIE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, EDITH V        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, EDNA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, EDNA M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RAMOS, EDNA M.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5641 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 642 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RAMOS, EDUARDO L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ELINES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, EMILY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, EMMANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ERIKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ERIKA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ERNESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ESTELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ESTHER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ESTHER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, EVA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, FLOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, FLOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, FRANCHESKA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, GABRIELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, GENESIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, GERARDO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, GIL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, GILNIA G.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, GIOVANNI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, GISELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, GISELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, GISELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, GLENDALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, GLENDALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, GLORIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, GLORIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, GLORIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, HAYDEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, HERIBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, HUMBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, INGRID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, INGRID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, IRIS D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, IRIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, IRIS N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, IRMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ISA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ISAMARIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 643 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RAMOS, ISMAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ISMAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, JANET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, JESUS W        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, JOAQUIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, JOE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, JORGE E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, JOSE C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, JOSE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, JOSE O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, JOSEFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, JOSMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, KALYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, KAREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, KASANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, KATHIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, KEYSHAMARI     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, KYANDRA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, LEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, LEIDA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, LETICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, LIGIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, LILIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, LINDISHETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, LUCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, LUIS G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, LUIS G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MAGALI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MAGDALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARIA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARIA DEL C.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5643 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 644 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RAMOS, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARIA J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARIA T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MARTA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MAYRANGELY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MELBA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MERCEDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MILCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, MYRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, NANCY I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, NANCY I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, NEDIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, NEFTALI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, NELIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, NELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, NESTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, NESTOR O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, NILSA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, NISIS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, NIVIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, NORBERT R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, NORMA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, OBDULIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, OSCAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, OSVALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, PABLO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, PABLO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, PAULA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, PAULITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, RAFAEL G.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, RAMONA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, RAMONA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, RAMONITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, RAYSON J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, REBECA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, RENALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, RENALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5644 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 645 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RAMOS, RENIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, REYNALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ROSELYNE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, RUTH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, SARAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, SOLEDAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, SONSIRE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, SONSIRE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, STEPHANIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, TERESITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, TERESITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, VICTORIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, VICTORIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, VIRGEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, VIVIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, WALESKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, WILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, YAMARIS M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ZAIRA N.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAMOS, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RANGEL, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RANGEL, NORMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAPALE, VICTOR A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAPPA, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RAPPA, LILLIAM I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RDGRIGUEZ, GLENDALY   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REICES, DIANA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REILLO, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REILLO, RUBENEDITH    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REINOSA, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REINOSA, ANGEL L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RENTA, DORIS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RENTAS, ADRIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RENTAS, ANGEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RENTAS, ANGEL R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RENTAS, DAISY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RENTAS, DANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RENTAS, FERNANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5645 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 646 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RENTAS, GLADYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RENTAS, ILSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RENTAS, JULIO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RENTAS, LUIS P        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RENTAS, LUIS P        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RENTAS, LUZ A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RENTAS, MARIBETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RENTAS, MATILDE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RENTAS, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RENTAZ, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REPOLLET, EMMANUEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REPOLLET, IRMA N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REPOLLET, ZOILA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REQUENA, JOSE J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RESTO, JOSUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RESTO, KIARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RESTO, LEIDA Z        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RESTO, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RESTO, MARY C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RESTO, MARY C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RESTO, VICTOR H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REVERON, PEDRO NOEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REY, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REY, AIDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REY, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REY, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, ADA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, AIDA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, ANGIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, ANGIE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, ANIBAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, ARNALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, BRYAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, CARLOS H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, CHRISTIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, DIDUVINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, DIDUVINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, DIGNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, DIGNA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, EDNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, ELIEL R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, ERIC M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, ERNESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ REYES, FELIPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, FRANCISCO J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, GERINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, GLORY Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, IRMA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, ISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, ISAIAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, IVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, JANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, JESSICA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, JOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, JOEL O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, JOSE H.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, JOSE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, JUAN L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, KAREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, KAREN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, LAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, LESLIE D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, LESLIE D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, LINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, LINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, LIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, LUIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, LUIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, LUIS E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, LUIS G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, LUIS GERARDO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, MARANGELY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, MARIA DEL P.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, MARIA T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, MARICARMEN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, MARIELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, MARILENA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, MIGDOEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, MINELI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5647 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ REYES, MINELLI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, MYRNA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, NATIVIDAD      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, OLGA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, RAFAEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, RAMON E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, VALERIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, VICENTA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, WALESKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, WILLIAM E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, WINDELI G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, WINDELI G.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, YADIRA D.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, YARLIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYES, ZULMA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYEZ, MARCELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYEZ, MARCELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYMUNDY, MYRNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ REYNALDO, MARIANELA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIBOT, IGDDY N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIERA, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIERA, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIERA, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIJOS, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIJOS, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOPEDRE, WALESKA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOPEDRE, WALESKA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, AIDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, AMEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, AMEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, ANA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, ANA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, ANAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, ANGEL G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, ANTOLIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5648 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 649 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIOS, ARLEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, ARNALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, ARNALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, BETTY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, BRENDA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, BRENDA LEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, CARMEN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, CARMEN N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, DIANA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, DIANA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, DIEGO M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, EDITH Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, EDNA LUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, EDWIN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, GREGORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, HOJILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, JOHNNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, JOSE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, JOSELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, JULIO E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, LEOMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, LINETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, LIZETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, LIZETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, LIZZIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, LOURDES M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, LYDIA Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, MANUEL R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, MARC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, MARC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, MARC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, MARIA H.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, MARIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, MARIA V.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, MARIANGELIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5649 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 650 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIOS, NIVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, NYDIA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, OLGA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, PABLO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, PRISCILA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, RAMONITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, RENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, ROSA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, VIRGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, WALTER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, XAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIOS, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIPOLL, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVARA, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, ARLEEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, BRENDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, BRENDA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, CHRISTIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, CHRISTIAN J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, CYNTHIA J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, HENRY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, IXCIDIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, JUAN C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, LIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, LIZ A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, MARCOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, MARIA S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, MARISELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, MARTINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, MAYRA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, MILDRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, RAYMOND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5650 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 651 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVAS, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVAS, YAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ABIMAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ADA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ADA LUISA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ADA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ADA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ADA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ADLERYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ADRIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ADRIAN G.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, AHMED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, AIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, AIDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, AIDA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, AIDA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, AIDA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, AIXA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, AIXA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, AIXA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ALBERTO L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ALEXIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ALEXIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ALEXIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ALEXIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ALFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ALICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ALICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ALICIA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ALICIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, AMARILIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANA C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANA T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 652 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, ANASTACIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANAYLLIL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANDREA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANDREA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANDRES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANG L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANGEL E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANGEL L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANGEL L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANGEL R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANGEL R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANGELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANGELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANGELICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANIBAL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANILDA S.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANTONIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANTONIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANTONIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANTONIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ARCADIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ARIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ARLENNE D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ARMANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ARNALDO L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ARSENIO J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ASHLEY M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, AUREA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, AUREALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, AWILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, AWILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, AWILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, AWILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, BEATRIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, BETSY I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, BETTZY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, BETZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, BIANCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, BLANCA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, BRENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, BRENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, BRENDA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, BRENDA J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, BRENDA L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, BRUNILDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5652 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 653 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, BRUNILDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, BRUNILDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, BRYAN I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CAMILO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CANDIDA R       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS F        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS F        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS M.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS N        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARLOS O.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMELO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN D        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN D        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN IVETTE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN M.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMEN M.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMENCITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CARMENCITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CATALINO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CAYMMI A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5653 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 654 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, CELIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CHRISTIAN        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CHRISTIAN        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CHRISTIAN C      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CHRISTOPHER E.   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CINDY            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CLARIBETTE       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CRISTINA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CRISTINA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CRISTOBAL        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CYNTHIA M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, CYNTHIA M.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DAFNE J.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DAISY J.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DALILA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DAMARIS          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DANIEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DANIEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DAVID            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DAVID            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DAVID J          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DEBORAH          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DELIRIS          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DELVIS           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DELVIS Y         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DELWY            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DENISSE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DENISSE M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DENNICE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DESIREE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DESIREE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DIANA A.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DIGNA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DIGNA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DIMARIE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DIONISIO S       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DOMINGA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DOMINGO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DORA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DORA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DORA A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DORCAS           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DORIS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, DORIS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EBELIZ           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDDIE M.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDDIE O          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDDIE O          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDGAR            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 655 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDITH M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDITH M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDITH R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDNA C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDRAS Y.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDRIANET M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EFRAIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ELBA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ELBIN R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ELENA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ELIEZER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ELTA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EMELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ENID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ENID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ENRIQUE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ERIKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ERIKA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ERNESTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ESMYRNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EUSEBIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, FABIOLA K     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, FELIX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, FELIX C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, FERDINAND     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5655 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 656 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, FERDINAND        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, FERNANDO J.      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, FERNANDO J.      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, FIDEL R          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, FILIBERTO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, FLORIBEL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, FRANCES M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, FRANCISCO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, FRANCISCO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, FRANCISCO J      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, FRANCISCO J.     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, FRED             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, FREDDY           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GEORGINA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GERARDO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GERARDO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GERARDO M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GILBERTO         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GILIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GIMARY           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GIOVANNI A       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GISSELLA M       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GLADYS           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GLADYS           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GLADYS E         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GLADYS Y         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GLENDA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GLORAIDA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GLORIA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GLORIA I         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GLORIA J         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GLORIMAR         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GUADALUPE        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, GUILLERMO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, HAROLD N         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, HAYDEE           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, HAYDEE           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, HECTOR L         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, HECTOR M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, HEIDI            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, HERIBERTO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, HERIBERTO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, HERMINIA DEL P   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, HILDA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, HOMERO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IDA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IDA A            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IDALY            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IGDALIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5656 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 657 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, IGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ILEANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ILEANA L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ILIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ILIANILDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ILSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, INGRID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, INGRID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, INGRID Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IRIS D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IRIS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IRIS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IRIS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IRMA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ISMAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ITNERY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ITNERY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ITZEL I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IVAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IVAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IVAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IVAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JAIME         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JAISIE L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JAMIE LEE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JANET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JANET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JANIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JANNET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JANNET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JAVIER H      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JAVIER R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JEAN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5657 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 658 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, JEANNIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JENNY L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JERRY G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JESUS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JESUS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOHANNA O     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOHN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOHN F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOHN F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOHN W.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOHNNY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOHNNY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JONATHAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JORGE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JORGE DAVID   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JORGE M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE GIL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5658 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 659 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE LUIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSE R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSEFINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSELYN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSELYN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOSIRIS M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JOVITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JUAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JUAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JUAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JUAN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JUAN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JUAN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JUAN F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JUAN MANUEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JUAN O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JUANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JUANA R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JUDITH M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JUDITH M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JULIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JULIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JULIO C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JULIO C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, JULIO R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, KARINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, KARLA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, KATE V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, KATHERINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, KATHERINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, KATHERINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, KEISHLA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, KEISHLA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, KEISLA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 660 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, KELVIN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, KEMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, KEY S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, KEYLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, KEYLA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, KEYLA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LAURA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LEIKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LEONIDES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LEONOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LETICIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LIANABEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LILLIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LILLIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LILLIAN G     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LILLIAN I.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LILLY I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LINA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LIZ V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LIZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LIZA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LIZBETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LIZBETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LIZBETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LORAINNE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LORNA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LOURDES M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LOYDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LOYDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUANNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUCIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUCILA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5660 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 661 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS F.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUIS Y.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUZ B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUZ E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUZ I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUZ M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUZ N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUZ N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LUZ Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LYDIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LYDIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LYDIA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LYDIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LYNNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, LYNNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MAGALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MAGALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MAGDA N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MAGIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                    Schedule E3 Page 662 of 2285
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, MANUELA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARANGELY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARCIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARCOS E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARGARITA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARGARITA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARGARITA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARGOT         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARGOT         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA B        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA DE L     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA DE L     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA DE L.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA DEL C.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA DEL R.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA G        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA G        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA J.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA P        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA P        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA T        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA T        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA V        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA V.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIA Y        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIBEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIBEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5662 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 663 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, MARICARMEN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARICARMEN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARICARMEN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARIELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARILUZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARILUZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARILYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARILYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARILYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARK A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARLENE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARLYNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARTA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARTA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARTHA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MATILDE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MAYRA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MAYRA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MAYRA ENID    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MAYRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MAYRA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MELISSA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MELISSA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MERCEDES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MICHELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MICHELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 664 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, MIGUEL A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIGUEL A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIGUEL A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIGUEL A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIGUEL A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIGUEL ANGEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIGUEL E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MILAGROS E.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MILDRED        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MILDRED        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MILDRED I.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MILENG         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MILTON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MILTON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MILTON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MINERVA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIRIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIRIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MIRIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MONICA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MONICA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MONICA Y       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MYRKA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MYRNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, MYRNA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NAIMA I.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NAISHLA M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NANCY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NANCY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NANCY I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NATALIA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NAYRIS Y       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NEFTALY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NEFTALY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NELLY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NELLY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NELSON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NELSON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NELSON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NEREIDA J      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NEXY M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NICOLE M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NILDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NILDA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NILSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NIVIA B        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 665 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, NIVIA B       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NIXZALIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NOEIMEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NOEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NOEMI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NORBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NORBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NORBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NORMA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NORMA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NORMAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, NYDIA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, OLGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, OLGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, OLGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, OLGA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, OLGA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, OLGA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, OLGA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ONAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ORLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ORLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, OSCAR E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, OSCAR L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, PAMELA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, PEDRO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, PEDRO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, PEDRO C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, PEDRO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, PEDRO L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, PILAR A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RADAMES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RAMON J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RANDALL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RAQUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RAQUEL I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5665 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 666 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, RAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RAYMOND       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, REBECA G.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, REBECCA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, REINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, REY S.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RICHARD       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RITA G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROCIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROLDAN G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RONALD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RONNIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RONNIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROSA A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROSARIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROSSANET      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ROXANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RUBEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RUBEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RUT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, RUTH M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SAMUEL O.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SANDRA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SANDRA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SARA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SARAH J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SARAH J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SHARON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5666 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 667 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, SHEARLY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SHEILA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SHEILA L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SHEILAH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SHEILAN E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SIGILFREDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SIGILFREDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SIXTO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SONIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SONIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SONIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SONIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SONIA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SONIA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, STEPHANIE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, STEPHANIE M     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SUAHIL M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, SUGEIL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, TAMAIRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, TANIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, TANYA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, TERESITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, TIMOTHY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, TOMAS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VALERIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VALERIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VERONICA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VICTOR F.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VICTOR J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VICTOR L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VICTOR M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VICTOR MANUEL   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VICTOR O        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VILMA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VILMA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VILMA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VILMA L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VILMA R         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VILMALIRYS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VIRGEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VIRGEN M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, VIVIANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, WANDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, WANDA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, WANDA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, WANDA M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, WANDY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, WILFREDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, WILLIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5667 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                    Schedule E3 Page 668 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RIVERA, WILLIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, WILLIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, WILLIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, WILMARIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, WILMARY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, WILSON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, XENIA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, XIOMARA A.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YAIDYMAR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YAIZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YALITZE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YAMARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YAMILE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YAMILET        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YAMISELL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YANIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YARINELLE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YARINELLE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YARITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YAZMIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YESENIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YESIMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YOMARA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, YOMARA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ZAHILY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ZAIDA J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ZAIDETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ZAYDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ZOE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ZORAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ZULMA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ZULMA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ZULMA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ZULMARY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ZULMARY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVERA, ZYLKIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVIEL, ALMA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RIVIEL, ANGEL M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBERTO, ALFONSO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBERTS, VANESSA A.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBERTS, VIVIANNE A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLEDO, ELISAMUEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLEDO, JAIME         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5668 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 669 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ROBLEDO, YESENIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, ADALBERTO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, ANGEL T        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, CARMEN A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, CATALINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, CRUZ           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, DEBORAH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, EDITH N        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, EMILIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, ESMERALDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, GADIEL A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, HIRAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, ISRAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, IVAN R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, IVONNE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, JANETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, JOSE A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, JOSE A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, KARYMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, KEILYMAR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, LUZ D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, MARIA DE LOS   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, MARIA DEL L    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, MARIBEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, NAILY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, NELSON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, NEYSHIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, RUBYSOL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, RUBYSOL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, RUBYSOL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, RUTH           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROBLES, WILDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROCHE, JOSE A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROCHE, JOSE A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROCHE, JOSEPH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROCHE, LUIS A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROCHE, MARITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROCHE, RAQUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROCHE, REINALDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROCHE, RIGOBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROCHE, SANDRA E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODAS, KELVIN J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODAS, KYHARA J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODGZ, LOIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODR, OSVALDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRGUEZ, MARIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
CELIMAR
RODRIGUEZ RODRI., CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIG EZ, MYRIAM R    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 670 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGEZ, JULIO        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUE Z, GLORIA E   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUE, ANGEL L      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUE, ANTONIA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUE, MYRTA E      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUE, SELENIA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUES, RICARDO     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ABIMAEL     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ABRAHAM     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ADA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ADA M       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ADRIANEZ    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ADYMARA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AGUSTINA    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AIDA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AIDA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AIDA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AIDA DEL R. REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AIDA L      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AIDA M      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AIXA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AIXAMARIE REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AIXAMARIE REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALBA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALBA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALBERT      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALBERTO     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALEJANDRO REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALEJANDRO REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALEJO       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALEJO       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALEX J      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALEXANDER REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALEXANDER REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
J.
RODRIGUEZ RODRIGUEZ, ALEXANDRA REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALEXANDRA I REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ RODRIGUEZ, ALEXIS     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALEXIS     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALEXIS     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALEXIS     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALFREDO    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALIPIA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALMA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALMER A    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALVIN      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ALVIN O    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AMADIS     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5670 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 671 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGUEZ, AMARILYS     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AMERICO D. REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AMNERIS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AMNERIS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AMNERIS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANA C        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANA E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANA E.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANA J.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANA L.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANA M.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANA M.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANA N.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANABELLE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANASTACIA REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANDREA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANGEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANGEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANGEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANGEL L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANGEL R      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANGELICA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANGELICA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANGELITA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANIBAL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANNET J      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANTONIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANTONIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANTONIO E. REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANTONIO J REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ANTONIO J REDACTED                        REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ARACELIS     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ARCY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ARQUELIO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ARSENIO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ASTRID DEL C REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED

RODRIGUEZ RODRIGUEZ, AUREA E      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AURELIA      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, AURIMAR      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, BASILISA     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, BEATRIZ      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, BEATRIZ      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, BEATRIZ      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, BELMARIZ     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, BERLISSE D   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5671 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 672 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGUEZ, BETSY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, BETTY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, BIENVENIDA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, BLANCA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, BLANCA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, BLANCA I     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, BLANCA I.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, BRENDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, BRENDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, BRENDA M     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, BRISEIDA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, BRUNILDA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CARLOS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CARLOS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CARLOS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, CARLOS A.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CARLOS A.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CARLOS J     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CARLOS J     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, CARLOS J.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, CARLOS R     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CARLOS R.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CARLOS V     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CARLOS W.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CARMELO X    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CARMEN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 673 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGUEZ, CARMEN L    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CARMEN M REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, CARMEN      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, CARMEN N REDACTED                         REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CARMEN Q REDACTED                         REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CARMEN T. REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CAROLA      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CATHERINE REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, CECILIO     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CELESTINO REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CELESTINO REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CESAR       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CESAR O     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CHARLIE     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, CHRISTIAN O REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, CRISTINA I  REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, DAISY J.    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, DAVID       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, DAVID       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, DAVID       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 674 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGUEZ, DENISE M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, DENISE M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, DIANA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, DIANA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, DILFIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, DIMARY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, DIMARY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, DIMAS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, DIMAS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, DIONISIO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, DIVINA M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, DIXON G     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, DORIS E.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDDIE W.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDGAR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDGAR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDGARDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDGARDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDGARDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDGARDO L   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDITH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDITH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDITH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDITH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDNA I.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDUARDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDWARD      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDWARD      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDWARD M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, EDWIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, EDWIN O     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EDZEL V     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EFRAIN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EFRAIN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EFRAIN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EILEEN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ELBA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, ELBA M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ELBA P      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ELIAZAR     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ELIZABETH   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGUEZ, ELMENLINDA REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED

RODRIGUEZ RODRIGUEZ, ELSA I     REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ELVIS      REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EMANUEL    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EMANUEL    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EMERITA    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EMERITA    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EMIL E     REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EMILY I    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ENERLINDA REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ENID       REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ENID       REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ENID       REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ENRIQUE    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ENRIQUE L REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ERICK J.   REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ERIDANIA   REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ERIKA M    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ESTHER     REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ESTHER     REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EVA        REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EVA M      REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EVANGELIA REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, EVELINA    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, EVELYN     REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, FABIAN     REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, FELIPE     REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, FELIX      REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, FELIX      REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, FELIX      REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, FERDINAND REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, FERMIN     REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, FLOR M     REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, FLOR M     REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 676 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGUEZ, FRANSHESCA REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

RODRIGUEZ RODRIGUEZ, FREDDY     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, FREDDY     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, FREDDY A   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, FREDERICK REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, GERARDO    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, GERARDO    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, GERMAN     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, GILBERT    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, GLADYMIL   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, GLADYMILL REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, GLADYS     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, GLENDA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, GLENDA L   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, GLORIA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, GLORIA E   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, GORIVI     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, GRISELLE   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, GRISSELLE  REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, GUALESCA   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, GUILLERMO REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, HARRY      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, HAYDEE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, HAYDEE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, HAYDEE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, HAYDEE M REDACTED                         REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, HECTOR L.  REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, HECTOR N   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, HECTOR R   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, HELEN      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, HELGA S    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, HENRY      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, HERIBERTO REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, HILDA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 677 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGUEZ, HIPOLITA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, HYLSA E.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IDARMIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ILDEFONSO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, INES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IRAIDA M.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IRENE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IRIS D      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IRIS M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IRIS V.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IRMA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IRMA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IRMA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IRMA N      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IRMA R      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ISMAEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ISRAEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IVAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IVELISSE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IVELISSE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, IVETTE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IVONNE M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IVY S       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IVY S.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IXIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, IZA A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JACQUELYN   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JAIME A     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, JANICE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, JARITZA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JAVIER E    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, JEAN C      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, JELIZA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
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SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                      Schedule E3 Page 678 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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RODRIGUEZ RODRIGUEZ, JENNIFER      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JENNIFER      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JENNY         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JESENIA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JESSICA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JESSICA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JESSICA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JESSICA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JESSICA I     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JESSICA N     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JESUS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JESUS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, JESUS A       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JESUS M       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JILKA E       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOEL JAVIER   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOESSY        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOH           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JONATHAN      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JORGE J       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JORGE J       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JORGE L       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JORGE R.      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, JOSE F        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSE F.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, JOSE L        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, JOSE L        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSE L.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSE M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSE M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 679 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGUEZ, JOSE M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSE M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSE O       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSE O       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSE R       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSE R       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSE R.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSE V       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSEFA M     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSEFINA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSELYN I.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSHUA G     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JOSUE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JUAN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JUAN A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JUANA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JUANA C      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JUANITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JUDITH       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JULIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JULIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JULIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JULIAN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JULIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, JULIO E      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, KARINA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, KARINA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, KARINA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, KATHY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, KATHY L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, KEILA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, KEILA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, KEILA L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, KENIANN      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, KENNY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, KEVIN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, KEVIN O.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, KIMBERLY     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, KYRYHAN      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LAURA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LAURA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LAURA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LAUREANO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LEIDA E      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LEONCIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LEONICIO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LEONOR       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LESLIE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 680 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGUEZ, LESLIE I   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LESLY L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LESSLY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LICY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LICY E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LILDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LILI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LILLIANA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LIMARYS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LISA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LISANIA D  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LISSETTE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LISSETTE R REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LIZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LIZA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LIZA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LIZA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LIZAIDE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LIZZETE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LOIDA A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LOIDA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LORIMAR    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LOURDES    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LOURDES    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LOURDES    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LOURDES E REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, LOYDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, LUIS A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LUIS C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LUIS D.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, LUIS G.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, LUIS R.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 681 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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RODRIGUEZ RODRIGUEZ, LUZ D       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LUZ E       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LUZ M       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LUZ MAYRA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LUZ V       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LYDIA E     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LYDIA R     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LYLLIAM M REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LYNETTE     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LYNETTE     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LYNETTE I   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, LYZAIDA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MADELINE REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MADELYN     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MAGALY      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MAGDA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MAGDA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MANUEL      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MANUEL E REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARCIAL     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARCO A.    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARGARITA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARGARITA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, MARIA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, MARIA D     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIA DE L REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIA DE L REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIA DE L. REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, MARIA DEL C REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIA DEL REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
C.



                                                                                                                                                               PAGE 5681 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 682 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGUEZ, MARIA DEL R REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIA E     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, MARIA H     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, MARIA L     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIA M     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIA R     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIA S     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIA S.    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIA T     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIA V     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIAN      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIAN D    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIBEL     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIBEL     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARICEL     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, MARIEL      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIEL      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARIELA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, MARILUZ     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, MARISER     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MARISOL     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, MATILDE     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, MAYRA M     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, MICHAEL     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 683 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGUEZ, MICHAEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MICHELLE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MICHELLE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MIGDALIA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MIGDALIA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MIGDALIA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MIGUEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MIGUEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MIGUEL A    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MIGUEL A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MIGUEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ANGEL
RODRIGUEZ RODRIGUEZ, MILAGROS    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MILIBETH    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MILITZA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MINERVA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MIREILLE    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MIREILY     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MIRNA O     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MIRTA G     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MONICA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MONICA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MONICA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ,             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, MYRIAM      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, MYRNA E     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, MYRTA N     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, NANCY       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, NANNETTE    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, NELSON      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, NEREIDA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, NEREIDA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, NESTOR      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, NESTOR L    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, NILDA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, NILMA I     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, NIMIA C.    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, NOEL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                   Schedule E3 Page 684 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGUEZ, NOEMI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, NOEMI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, NORAYDA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, NORMA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, NORMA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, NORMA L.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, NORMARIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, OBED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, OEMI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, OLGA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, OLGA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, OLGA B     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, OLGA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, OMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, OMAR L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, OMAYRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, OMAYRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ONIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
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RODRIGUEZ RODRIGUEZ, OSCAR J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, OSDALYS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, OVIDIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, PABLO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, PABLO F    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, PASCUAL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, PAULA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, PEDRO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, PEDRO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, PILAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, PORFIRIO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RADAMES    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RADAMES    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAFAEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAFAEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAFAEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAFAEL A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAMON      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAMON      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAMON A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAMON D.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 685 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGUEZ, RAMON L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAMONA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAMONITA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAUL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAUL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAUL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAUL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAUL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAUL A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAUL A.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAUL B.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RAYMOND      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, REINA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, REINALDO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, REINALDO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, REYES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, REYNALDO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, REYNALDO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RICARDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RICARDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RICARDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RICARDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RICARDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RICARDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RICARDO A.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RICARDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
MIGUEL
RODRIGUEZ RODRIGUEZ, RICHARD      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RICHARD R    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROBERTO      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROBERTO      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROBERTO      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROBERTO      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROBERTO      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROBERTO E.   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROBERTO J    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROLANDO      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROLANDO      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROLANDO      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RONALD       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROSA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROSA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROSA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROSA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROSA E       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROSA E       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROSA L       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROSA M       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROSALIA      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                    Schedule E3 Page 686 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGUEZ, ROSAURA    REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROSAURA    REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROSELIS Y  REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ROSMARIE REDACTED                         REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RUBEN O    REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RUDDY A.   REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RUTH       REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RUTH A     REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RUTH E     REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RUTH M     REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RUTH M     REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RUTH M     REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RUTH M     REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RUTH N     REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, RUTH N     REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SACHIRA I. REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SANDRA     REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ISABEL
RODRIGUEZ RODRIGUEZ, SANTIA     REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SARA       REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SARA       REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SHEIDALIZ  REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SHEILA     REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SHEILA L   REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SIMON      REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SINDIA     REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SINDIA     REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SOBEIDA    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SOCORRO    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SOFIA M    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SONIA      REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SONIA      REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SONIA I    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SUGEILY    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SULMENEIDA REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED

RODRIGUEZ RODRIGUEZ, SUSAN N     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, SYLVIA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, TAYMEI      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, TERESA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, TERESA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, THAMAR      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, TIRSA I     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, VALERIA M   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, VERONICA    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, VERONICA    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, VERONICA    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, VERONICA    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, VICTOR      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGUEZ, VICTORIA A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, VIDALINA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, VILMARIS     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, VILNA L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, VIRGEN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, VIRGEN E     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, VIRGINIA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, VIVIAN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, VIVIAN E     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WALESKA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WALESKA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WALTER       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WALTER       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WANDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WANDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WANDA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WANDA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WANDA Y      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WETLY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WILFREDO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WILFREDO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WILHELM Y    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WILLIAM      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WILLIAM      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WILLIAM      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WILMA D.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, WILMA L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, XAVIER       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, XAVIER       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, XIOMARA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, XIOMARA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YADIRA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YAIRA M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YANCI        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YANITZA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YANITZA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YARELIS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YARIMYL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YARISEL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YARISEL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YARISEL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YARITZA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YASEMILIT    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YASEMILIT    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YESENIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YESENIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YESENIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YGNACIO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YOLANDA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5687 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 688 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RODRIGUEZ, YOLANDA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YOLANDA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YOLANDA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YOLANDA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YOLANDA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YOMARIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YOMARIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YVETTE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, YVETTE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ZAIDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ZAIDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ZAIDA A.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ZAIDA J     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ZAIRA B.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ZORAIDA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ZULEIKA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ZULMA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ, ZULMARIE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGUEZ,PEDRO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIGURZ, RODRIGO L   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RODRIQUEZ,             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
FRANCHESCA M
RODRIGUEZ RODZ, ALEJANDRO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODZ, CARMEN G         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RODZ., REICARLO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROHENA, ANDRES         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROHENA, CHRISTIE       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROHENA, GINDY Z        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROHENA, MARIA M.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROHENA, RAFAEL         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROHENA, SONIA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROHENA, YAMILET A.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROIG, MADELINE Z       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROJAS, ADALID          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROJAS, AMARILYS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROJAS, ARELIS          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROJAS, DOLORES         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROJAS, DOLORES         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROJAS, ELENA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROJAS, JOAQUINA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROJAS, JUAN A.         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROJAS, LUZ E.          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROJAS, LUZ S           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROJAS, MARGARITA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROJAS, MARIA A         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROJAS, MAYRA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROJAS, REMY            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROJAS, SONIA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROJAS, SONIA M         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5688 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ROJAS, WALDEMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROJAS, WALDEMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROJAS, XAXIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROLDAN, CARMELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROLDAN, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROLDAN, GABRIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROLDAN, GRISEL E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROLDAN, NELIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROLDAN, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROLDAN, YESSENIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROLON, AIDA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROLON, PABLO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROLON, VIVIAN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, ABIGAIL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, AEISHA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, AIDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, ANA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, ANAIDA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, ANAIDA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, AUREA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, AUREA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, AURORA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, AYNIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, CARMEN G.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, CESAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, DAVID A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, DESIRRE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, EDWIN N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, ELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, ELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, ELISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, ENID E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, FREDDIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, HEIDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, IDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, INGRID S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, IRIS L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, JOAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, JOSEPH E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, JUAN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5689 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 690 of 2285
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

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                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ROMAN, JUAN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, KERMIT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, LUIGGI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, MADELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, MARIA DE LOS A REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, MARIA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, MARICRUZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, MIRZA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, NEREIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, NYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, ONEIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, ONITT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, OSCAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, RAMON L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, REBECA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, REBECA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, REBECCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, RENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, ROSA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, ROSENDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, WENDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN, ZULMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMAN,JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMERO, DUBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMERO, JORGE A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMERO, LYDIA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMERO, MAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMERO, MAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMERO, MAYRA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMERO, MAYRA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMERO, NINOTCKA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMERO, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMERO, RAISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMERO, RAISA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMERO, ROSALINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMERO, SIXTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ROMERO, SIXTO          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMERO, SOL L.         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMEU, JANYRA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROMEU, JANYRA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RONDA, JOSE            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RONDA, JOSE J.         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RONDA, JOSE J.         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RONDON, MARIA C        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROQUE, MARIA D         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROQUE, MARIA DE LOS A. REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RORIGUEZ, JOSE         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, ADA E            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, AIDA R           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, AIDA R           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, ALAN             REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, ALMA N           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, ANGEL L          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, ANGEL L.         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, BETSY A          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, BETZAIDA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, BRENDA           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, CARLOS J         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, CARLOS M.        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, CARMEN           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, CARMEN           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, CARMEN I         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, CARMEN S         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, CHAZMIN          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, EDDY A.          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, EDWIN            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, EFRAIN           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, ELSA L           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, FAVIOLA K        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, GLORIA M         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, HELEN            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, ILIA             REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, ILIA B           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, ISABEL           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, JEANISE          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, JELITZA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, JOANNE M.        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, JOHN J           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, JOSE A.          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, JOSE R.          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, JOSE R.          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, JOSE R.          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, JUANITA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, LAURA            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, LEONEL           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5691 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 692 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ROSA, LILLIAM E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, LUZ ODILIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, MARY L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, MELITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, MELITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, MIGUELINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, NEFTALY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, NIEVES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, NOHEMI D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, NYDIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, OSCAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, RAIXA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, RENE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, REYNALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, ROXANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, VIVIAN E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, WILMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, WILTON J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, YAHAIRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, YERICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, YERICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSA, YERICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, ADA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, AGUSTIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, AIDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, ALBERT        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, ALFRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, ALFRED R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, ANAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, ANGEL L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, ARTURO J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, AWILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, BEATRIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, BELINDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, BENITO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, BILLIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, BRENDALEE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, BRENDALEE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5692 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 693 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ROSADO, CARMEN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, CARMEN T      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, CARMEN T      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, CAROL J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, CECILIA DEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
CARMEN
RODRIGUEZ ROSADO, CELIA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, CELIA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, CLARA L       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, CLARICIA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, CRISPIN       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, CRISPIN       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, DANIEL A      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, DARLENE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, DEBORAH       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, DEBORAH       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, DELIA F       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, DORA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, ENID          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, ENID          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, EVELYN J      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, FELIX         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, HAROLD E.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, HENRY         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, IVETTE A      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, JONATHAN I    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, JOSE R        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, JUAN D        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, KEVIN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, LEDA I        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, LOUANN        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, LOUANN        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, LUIS A.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, LYMARI        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, LYMARI        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, MANUEL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ ROSADO, MARIA I       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5693 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 694 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ROSADO, MARIA T.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, MARIDALIZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, MARTA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, MARTA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, MARTA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, MARY L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, MINERVA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, NELIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, NESLIBER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, NILSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, NIVIA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, OLGA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, OMAR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, RAFAEL W.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, RICARDO J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, RUBEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, RUBEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, SALLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, TOMAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, VICTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, VICTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, VICTOR M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, WAILANI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, WENDY N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, YANITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSADO, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSALES, PETRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, ADOLFO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, ALVIDALIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, ANA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, ANGELES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, ARTURO L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, AURELIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, BEATRIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, BENIVETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5694 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 695 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ROSARIO, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, CARMEN E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, DAMARIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, DENIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, DIANA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, DIANA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, EDGAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, EDGAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, EFRAIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, ELADIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, ELADIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, ELBA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, ELBA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, ESPERANZA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, EUGENIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, EVANGELINA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, FELICITA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, FELIX         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, FERNANDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, GENOVEVA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, GLORIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, GLORIA E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, HECTOR S      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, HILDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, HILTON        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, JACKELINE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, JESUS F       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, JETHICA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, JETHICA A     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, JOCELYN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, JOSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, JOSE E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, JOSE F        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, JOSE J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, JOSE L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, JOSE M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, JOSE R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, JOSE R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, JUAN B        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, JUAN DEL C    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, KAREN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, KARILYN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, KARLA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, LUIS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, LUZ A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, LUZ C         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, MANUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, MARELISA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5695 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 696 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ROSARIO, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, MARIA DE L     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, MARIA DEL C.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, MARIA E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, MARIEL L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, MARIEL L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, MARISELA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, MARTINA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, MILAGROS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, MYRIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, MYRIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, NANETTE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, NAYDA J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, NOEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, ODALYS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, PEDRO L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, PEDRO L.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, RAFAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, SANDRA J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, SHELLYMAR      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, SOLYMAR        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, SOLYMAR        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, VICTOR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, VICTOR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, WALESKA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, WILFREDO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, WILLIAM        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSARIO, ZULEYKA M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSAS, ANA B            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSAS, FELICITA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSAS, LUZ H            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSDRIGUEZ, OSCAR       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSELLO, FELIX          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSELLO, MONICA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSELLO, RAFAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROSSY, HECTOR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROTH, MELISSA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROURA, LYMARIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ROZADA, GILBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUBERT, LUIS A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUBERTE, VIRGILIO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUBIN, SANTA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, AIDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, ANA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, ANA I             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, ANGEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, ANGIE M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, ANTONIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5696 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RUIZ, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, ARLINDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, ARNALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, AURORA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, BENJAMIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, BIANCA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, CARLOS RUBEN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, CARMEN V.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, DOMINGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, DOMINGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, EDWIN O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, EDWIN O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, ELBA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, EMMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, EMMA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, ERIKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, FABIOLA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, FRANCES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, FRANCES M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, FRANCIS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, GEMINELLY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, GUILLERMO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, HILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, HIRAM A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, ILUMINADA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, INEABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, INEABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, IRIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, JEANETTE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, JENNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, JIMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5697 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 698 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RUIZ, JOSE J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, JOSE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, JUAN CARLOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, JUAN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, JUANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, KEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, LISA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, LUCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, LUIS G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, LUZ DELIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, MAGALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, MARANGELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, MARANGELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, MARCOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, MARIA DE LOS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ANGELES
RODRIGUEZ RUIZ, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, MARIDAIDA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, MARILINDA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, MILENA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, MITZA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, MYLENIE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, NELIDA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, NELSON L.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, PABLO J         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, RAFAEL M        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, RAMON EDGARDO   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, RICARDO J       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, SANDRA M        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, SERAFIN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, SOLEDAD         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, SONIA I         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, SONIA I         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, VILMA J         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, VILMA J         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, WALDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ RUIZ, WALESKA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ RUIZ, WARREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZ, ZULMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUIZZ, DULCIDIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RULLAN, LUIS G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ RUPERTO, MARGARITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAAVEDRA, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAAVEDRA, JAVIER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SABATER, SADER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SACRISTAN, JULIAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, ARIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, CARIDAD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, GLADYMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, ISABEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, ISAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, LOURDES M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, MALCOM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, MALCOM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, MALCOM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, RUTH I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, SANDRA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, SANDRA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, WILLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAEZ, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALABERRIOS, GLORIMAR REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALAMAN, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALAMAN, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALAS, ARNALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALAS, CESAR A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALAS, FANNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALAS, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALAS, PABLO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALAS, PABLO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALAS, ROSANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALAS, YAHAIRA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALAZAR, GRISETTE M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALAZAR, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALAZAR, LORELEI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALAZAR, SAREMMY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALAZAR, SAREMMY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALCEDO, CLARIBEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALCEDO, EDALISH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALCEDO, JENNIFER L   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5699 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 700 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SALCEDO, JENNIFER L    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALCEDO, JENNIFFER     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALCEDO, JOHANNE C     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALCEDO, NATALIA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALCEDO, RAMON         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALDANA, ALICE G       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALDANA, ASHLEY N.     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALDANA, BEVERLY       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALDANA, BEVERLY       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALDANA, IRVING        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALDANA, LUZ N         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALDARRIAGA, VIVIANA A REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALGADO, ALMA L        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALGADO, CASANDRA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALGADO, IRIS D.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALGADO, IRIS D.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALGADO, LILIA M       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALGADO, LYDIA E.      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALGADO, ORLANDO       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALGADO, SONIA N       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALGADO, TOMAS         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALINAS, LUIS          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALINAS, NORMA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALINAS, NORMA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALINAS, SAMUEL        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALVA, DAMARIS         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALVA, DAMARIS         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALVA, LIZAIRA N       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALVA, MARTA           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SALVA, MARTA E         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAMBOLIN, BRENDA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANABRIA, BERTHA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANABRIA, CORNELIO     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANABRIA, DANIEL       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANABRIA, DOLCEY R     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANABRIA, LEILA I      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANABRIA, LOURDES M. REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANABRIA, YASMIN       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANAVITIS, ALEJANDRO   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHE, NATHANAEL      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, ALANI L       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, ALEXANDER     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, ALFONSO       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, AMELIA E      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, ARLENE M      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, ARNALDO IVAN REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, ARNOLD        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, ARTEMIO       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, BARBARA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
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                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SANCHEZ, BENJAMIN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, BRUNILDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, CARLOS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, CARLOS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, CARMEN L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, CARMEN M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, CARMEN M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, CHARLIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, CRISANTO J.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, DANIA M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, DANIEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, DORALIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, DORIMAR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, DORIMAR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, EDGARD        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, EDUARDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, EDWIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, ELGA A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, ELIEZER       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, EMELYNDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, EMELYNDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, ENID          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, FELIPE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, FRANCISCO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, FRANCISCO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, GERMAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, GILDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, GLENDALIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, GRISELA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, IRIS M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, IRMA D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, IVELISSE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, IVELISSE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JAN M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JEANNILIZ     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JOHANNA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JOHANNA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JOHANNA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JORGE L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JORGE L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JORLIANN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JOSE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JOSE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JOSE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JOSE A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5701 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 702 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SANCHEZ, JOSE I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JOSE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JOSE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JOSE R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JOSEFINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JOSEFINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JUAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, JULITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, KARIMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, KATIRIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, KEILA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, LEONCIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, LILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, LOIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, LOIDA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, LUIS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, LUIS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, LUZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, LUZ E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, LUZ M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, LYDIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MADELINE J   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MAGALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MAGALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MAGALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MAGDA R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MARIA C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MARIA C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MARIA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MARIELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MARJORIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MARLY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MELBA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MELIXSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MELIXSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MERCEDES Q   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MICHELE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MIGDA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MIGUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MIGUEL A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MIOSOTY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MIRIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, MIRIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, NAHOMI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5702 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 703 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SANCHEZ, NAIDA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, NAYDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, NELSON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, NELVIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, NERY I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, NOEMI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, ODALIS E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, ODALIS E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, PABLO L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, PEDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, RAMONA H.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, RAUL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, RAUL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, RAUL R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, RENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, ROSA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, ROSANNA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, ROSITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, RUBEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, SANDRA D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, SANDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, SOL I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, SONIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, TEODORO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, VANESSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, VANESSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, VICTOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, VIVIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, WALDEMAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, WIGBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, WILFREDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, WILFREDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, YILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, YOLANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANCHEZ, YONATHANE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANDOVAL, JULIANA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANDOVAL, KATIRIA M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANFELIZ, ERNESTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANFELIZ, RENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANFELIZ, ROBERT R.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANFIORENZO, MANUEL A REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

RODRIGUEZ SANGUINETTE, NAYLIN   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SANJURJO, CRUZ M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SANJURJO, JOSE L      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SANJURJO, KEILA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SANJURJO, NORMA I     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5703 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 704 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SANOGUET, LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTA, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTA, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTA, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTA, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTA, MARIA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTA, PABLO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTA, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTA, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTACRUZ, JOSE J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTAGO, REBECCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTALIZ, CARLOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, ANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, CARLOS A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, CRISTINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, DANIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, DAVID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, DELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, EUNICE M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, EXOR M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, FELIBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, FRANCISCO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, GERMAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, IRIS R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, IRMARILIZ    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, IRMARILIZ    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, ISRAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, JENNIFER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, JESICCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, JESICCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, JOANESHKA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, JONATHAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, JONATHAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, JULIE E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, JULIE E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, JULIO E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, KAMILLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, LETICIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, LUIS D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, MARILUZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, MARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, MARJORIE V   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, MIOSOTIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, PEDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, PEDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, RALPH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, RAYMOND      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, RUTH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, VERONICA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5704 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 705 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SANTANA, VICTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, VICTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, VICTOR J.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, WANDALIZ      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, WILLIAM       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTANA, ZAILY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAG, HECTOR L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAG, MIGUEL A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ADA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, AIDA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, AIDA E.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, AIDA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, AIDA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, AIDIMAIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ALEX O       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ALEXIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ALMARIE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, AMOS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ANABELLE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ANABELLE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ANGEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ANGEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ANGEL L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ANGEL L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ANGEL M.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ANGEL R.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ANGEL R.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ANGELA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ANGELICA E   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ANIBAL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ANNIE D      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ANTONIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ARNALDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ARNALDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, AURELIO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, AXEL R.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, BARBARA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, BARTOLO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, BEATRIZ      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, BEATRIZ      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, BETSY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARLOS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARLOS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARLOS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARLOS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARLOS M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARLOS O     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARLOS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RAFAEL



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 706 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SANTIAGO, CARLOS X     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARMEN       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARMEN       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARMEN       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARMEN       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARMEN       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARMEN E.    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARMEN L     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARMEN R     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARMEN R     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARMEN S     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CARMEN S     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CHRISTIAN E REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CINDY Y      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, CUTBERTO     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, DAISY        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, DANIEL       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, DORIS M.     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, DORKA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EDGARDO      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EDGARDO L. REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EDGARDO R REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EDGARDO R REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EDNA L.      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EDUARDO      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EDWARD       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EDWIN        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EDWIN        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EFRAIN       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ELBA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ELBA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ELBA I       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ELIEZER      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ELISALIZ     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ELIZABETH    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EMERITA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EMMA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ESTHELA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EUDEL        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EVAHILDA J   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EVELYN       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EVELYN       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, EVELYN Y     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, FABIOLA Z    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, FELIX        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, FELIX        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, FRANCELINE A REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

RODRIGUEZ SANTIAGO, FRANCISCO   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 707 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SANTIAGO, FRANKIE    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, FRUTO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, GABRIEL    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, GABRIELA   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, GIGI       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, GILBERTO   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, GILBERTO   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, GLADYS Y   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, GLENDA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, GLORIA B   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, GLORIA E.  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, GONZALO    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, GUILLERMO REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, GUMERSINDO REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, GUMERSINDO REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, HAYDEE     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, HIMILCE    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, HIPOLITO   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, IDA N      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ILIA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, IRMA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, IRMA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ISAURA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, IVAN       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, IVAN J     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, IZUAN M    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JAIME      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JAIME A    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JANET      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JAZMIN M   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JEANETTE   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JEANNETTE  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JESSYKA M  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JESUS M.   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JIM        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOHANA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOHANNA    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOHNNY     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOMAYRA    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JORGE      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOSE A     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOSE A     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOSE A     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOSE E     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOSE E     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOSE E     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOSE J.    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOSE L.    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOSE M     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5707 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 708 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SANTIAGO, JOSE O.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOSE R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOSE R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOSE R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOSIAN O.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOSUE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JOSUE A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JUAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JUAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JUAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JUAN C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JUAN C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JUAN E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JUAN R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JULIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JULIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, JULIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, KARLA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, KATIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, KATIA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, KATIANA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, KELVIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, KRITZIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LEIDALYS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LEIDALYS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LESBIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LESLIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LESLIE A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LILLIAM     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LIZA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LUIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LUIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LUIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LUIS F.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LUIS M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LUIS M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LUZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LUZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LUZ A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LUZ A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LUZ B.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LUZ E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LUZ E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LYDIA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, LYDIA R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MAGDA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
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                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SANTIAGO, MANOLIN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MANUEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MANUEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MANUEL A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARCOS A.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARELYN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARGARITA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARIA A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARIA A.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARIA DEL C   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARIA FELIX   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARIA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARIA L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARIA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARIA M.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARIAM        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARIAM        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARIAM        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARILYN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARILYN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARILYN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARILYN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARILYN E     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARINELIA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MARTIN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MAYRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MAYRA LIZ     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MEHYDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MELANIE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MELODY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MELODY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MERCEMAR      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MIGUEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MIGUEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MIGUEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MIGUEL A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MIGUEL A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MIGUELINA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MILAGROS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MILAGROS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MILDRED       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MINERVA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MIRIAM J      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MIRNA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MIRNA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MISAEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, MYRIAN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5709 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SANTIAGO, NANCY          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, NEFTALI        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, NEFTALI        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, NERY           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, NICOLE E       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, NILDA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, NILDA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, NILSA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, NILSA N        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, NILSA N        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, NINIVE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, NIVEA DEL C.   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, NOEMI          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, NORIS          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, OLGA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, OMAIRA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ORLANDO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ORLANDO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, PABLO A        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, PAOLA N        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, PEDRO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, PEDRO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, PETRA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, PETRA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, RACHEL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, RAFAEL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, RAFAELA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, RAMON          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, RICARDO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, RICARDO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, RICARDO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, RICARDO E      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ROBERTO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ROBERTO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, RUTH           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, RUTH L         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SAHILIS        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SAMUEL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SAMUEL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SAMUEL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SANDRA M       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SANDRA M       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SANTIAGO X.    REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SHEILA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SHEILA M       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SILVIA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SILVIA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SONIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SONIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5710 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 711 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SANTIAGO, SONIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SONIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SONIA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SONIA N       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SONIA N.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, STEPHANIE M   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, SUHAIL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, TANIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, TATIANA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, TATIANN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, VICTOR        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, VILMARIE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, VIMARIE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, VIMARIE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, VIVECA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, VIVIAN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, VIVIAN Y      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, WANDA V       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, WHITNEY       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, WILFREDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, WILFREDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, WILHEM        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, WILMARIE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, XIOMARA L     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, YADIRA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, YADIRA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, YARIRA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, YARITZA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, YIZAIRA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, YOLANDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, YOLANDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, YVONNE M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTIAGO, ZAIDA L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTINI, DHALMA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTINI, HECTOR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTINI, IVETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTINI, JOSE L.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTINI, MARIA DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTONI, ARMANDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTONI, ARMANDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTONI, HERNAN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTONI, JERRY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, ADA N           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, ADELAIDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, AIDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, ANA T           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, ANDRES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, BLANCA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, CARLOS R        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5711 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SANTOS, CARMELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, CARMELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, CESAR O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, CESAR O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, CLARISSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, DAISY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, EDDIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, ENITYASET     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, ENRIQUE C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, ERNESTINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, FELIPE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, GLORIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, ISABEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, ISMAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, ISMAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, IVAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, JAZMIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, JAZMIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, JOANN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, JOSE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, KEILA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, KRISTEL O     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, KRISTEL O     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, LETICIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, LORNA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, LUIS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, LUIS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, LUIS J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, LUZ E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, LUZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, LUZ P         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, MARIA C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, MARIA DEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, MARIA DEL C   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, MARIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, MARIA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, MARIA T.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5712 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 713 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SANTOS, MARIANELA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, MARILYN        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, MARIO          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, MAYRA C        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, MIGUEL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, MIRIAM         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, NORMA D.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, NYDIA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, ORLANDO        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, RAFAELA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, RAMIRO         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, RAQUEL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, RICARDO        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, RICHARD        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, SELENIA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, SILVIA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, SILVIA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, SONIA N        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, VICTOR M       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, YANITZA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANTOS, ZULEYKA E      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANYET, NORMA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SANYET, NORMA I        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SASTRE, YADIRA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SASTRE, YADIRA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAUNDERS, AMAIDA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAUNDERS, AMAIDA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAUNDERS, KINDIA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAUNDERS, LUZ M        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SAUNDERS, MARGARITA REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SCHARON, DEBORAH       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SCHARON, DEBORAH       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SCHELMETTY, BRENDA LIZ REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SCHMIDT, FELIX D.      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SCHMIDT, MARIA M       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEBASTIAN, DILMA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEDA, BETZAIDA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEDA, IRIS L           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEDA, IVAN A.          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEDA, JOSE             REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEDA, JUAN C           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEDA, LUIS A           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEDA, LYDIA            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEDA, MARYSEL          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEDA, MIRIAM           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEDA, OLGA E           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEDA, RAFAEL           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEDA, ZELMA D          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEDA, ZELMA D          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5713 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 714 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SEGARRA, ANGEL D       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEGARRA, ANGEL L       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEGARRA, DIANILEE      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEGARRA, ERNESTINA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEGARRA, EVELYN        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEGARRA, EVELYN A      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEGARRA, IRAIDA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEGARRA, JESUS R       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEGARRA, LUIS A        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEGARRA, MARIA DE LOS REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
A
RODRIGUEZ SEGARRA, MARIA DE LOS REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
A
RODRIGUEZ SEGARRA, MARIA DEL S   REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEGARRA, MARIA DEL SOL REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEGARRA, MARIA DEL SOL REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEGARRA, MARIA G       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEGARRA, SYLVIA T      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEGARRA, WANDA J       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEGUI, ALEJANDRA       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEGURA, MARTHA I       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEIN, MIGUEL A         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEIN, NASHALIE         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEISE, MAYRA I         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SELLES, ILEANA         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SELLES, ILEANA         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SELLES, JOSE R         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SELLES, VANESSA E.     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEMIDEY, DANIEL        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEMIDEY, DANIEL        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEMIDEY, DANIEL        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEMIDEY, IRVING        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEMIDEY, IRVING        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEMIDEY, JACQUELINE I  REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEMIDEY, MARIA E       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEMPRIT, CELIA         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEMPRIT, DORIS         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEMPRIT, ELISEO        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SENERIZ, FRANCISCO     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SENQUIZ, LISETTE       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SENQUIZ, MARLENE       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEPULVED, WILBERT      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, ALVIS       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, ANABELLE    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, ANDEL       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, ASHLEY M    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, CARMEN M REDACTED                         REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, DAISY       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, DAMARIS     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5714 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 715 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SEPULVEDA, DAMARIS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, DIOMARIE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, FITTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, JESUS A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, JOHIRAM      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, JOSE C       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, LUIS A.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, MILAGROS     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, SHEILA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, SHEILA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, SHEILA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, STEVEN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, STEVEN X     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, WANDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, YARILYS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEPULVEDA, ZENAIDA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEQUINOT, ADA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERANO, YAGEITZA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERPA, AIDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRA, DANIEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRA, KATHERINE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRA, MARIA A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, ADRIANA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, ANA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, ANGEL L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, ANTONIO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, ASTRID M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, ASTRID M.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, BLANCA H.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, BONIFACIO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, CARMEN I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, CARMEN I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, CARMEN M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, CORALYS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, EDNA D         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, EDWIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, EVA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, EVELYN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, FERNANDO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, FRANCISCO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, GADIEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, GUILLERMO D.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, GUILLERMO D.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, GUZTAVO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, HILDA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, HILDA L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, IRIS N         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, IVAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, JAHADIEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5715 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 716 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SERRANO, JANERI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, JENILSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, JOSE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, JOSE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, JOSEFINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, JUAN L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, KARLA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, KARLA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, LIZBETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, MARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, NELSON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, NELSON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, NELSON D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, NEVELYNE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, NEVELYNE M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, OMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, RAMON L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, RAMONITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, RIMARYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, RITA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, SAMUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, SAMUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, SUVANI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, VICENTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, WANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, WILFRED      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, WILFRED      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, WILSON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, YASED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, YEXAVELL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, YOLANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, YOLANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SERRANO, ZALIANY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEVILLA, EDGAR L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEVILLA, EDGAR L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEVILLA, GLADYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SEVILLA, GLADYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, AIDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, ANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, ANA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, ANTONIO M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, CARMEN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, DIADINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5716 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 717 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SIERRA, EDNA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, ELSIE J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, FERNANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, FERNANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, FORTUNATO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, GIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, GRACE D.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, HELEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, HENRY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, HILDA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, JENNIFER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, LUZ D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, LUZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, MARKIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, MARKIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, NILDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, REBECA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, ROBERTO R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, SAMUEL O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, STEVEN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, YAMINETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIERRA, YARITZA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, AIDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, CELIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, HERIBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, JASHIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, JASHIRA G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, JETSEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, JOSELYN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, JULIO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, LISMAR I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, MARTA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, OMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, OSCAR I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, RAQUEL J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, VIVIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, YEIDIE Z.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA, YEIDIE Z.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SILVA,JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIMEON, EDUARD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIMONO, BARBARA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5717 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 718 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SIMONO, BARBARA C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIMONO, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIMONO, YOLANDA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SIURANO, ELIEZER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SKERETT, JOHNNY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SMALLS, JUANA B       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SMOLEN, BARBARA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOBA, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOBA, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOBA, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOBA, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOIZA, MARIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLA, ARACELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLA, ELISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLA, NABILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLA, SALLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLANO, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLER, BLANCA S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLER, GIOVANI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLER, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLER, JOANNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLER, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLER, NALIS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLER, PRIMITIVA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLER, RAMON E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLER, RAMONITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLER, YARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLER, ZAHIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLERO, MYRNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLIS, CANDELARIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLIS, CHRISTIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLIS, EDNA F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLIS, JOSE ARNALDO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLIS, LUIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLIS, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLIVAN, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLIVAN, EMILIANO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLIVAN, FELIX        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLIVAN, LYDIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLIVAN, MARIA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLIVAN, MARIA L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOLLA, WILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SORIA, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SORIA, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOSA, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOSA, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOSA, DANTE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOSA, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOSA, IVETTE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5718 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 719 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SOSA, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOSA, LAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOSA, LAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOSA, RICHARD K       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOSA, RICHARD K       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOSA, TOMAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOSA, YOLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ADA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ALEIDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ALEXANDER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ALEYDI L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ANDERSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ANDERSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ANDERSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ANDRES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ARIANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, BONNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, CARLOS F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, CARLOS G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, CARMEN N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, EDWIN H.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ELBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ELENA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ENEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ENEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ENEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ERIKA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ERIKA ADLIN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, EROHILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ESTEFANIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ESTHER Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, EUFEMIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, GLORIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, GUILLERMINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, HECTOR J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, HILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, HILDA ENID      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, IRMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5719 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 720 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SOTO, IRMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, IRMA AMELIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ISA CRISTINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ISABEL C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ISABEL C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, JANICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, JOEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, JOHANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, JORGE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, JORGE ALBERTO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, JOSE G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, LISSETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, LUCIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, LUIS D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, LUMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MARIA J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MARIENID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MARINES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MARIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MAYRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MELBA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MICHAEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MIRTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, MIRTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5720 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 721 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SOTO, MYRIAM R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, NEISHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, OLGA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, OSCAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, PEDRO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, ROBUSTINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, RUSSELL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, SANDRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, VICENTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, VICTORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, VILMA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, WALTER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, YAJAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, YENITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, YENITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, YENITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTO, YESENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTOMAYOR, CARMEN D   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTOMAYOR, HILDA R.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTOMAYOR, KIARA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTOMAYOR, OMAR D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SOTOMAYOR, YARELICE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ STEIDEL, DAMIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ STEIDEL, DENISE Y     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ STEIDEL, DENISE Y     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ STEIDEL, EMILIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ STEIDEL, EMILIO V.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ STERLING, NITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ STGO, BRENDALIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ STOEHR, SHARON S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ STRIKER, ARMANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ STRUBBE, CATHY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, ADA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, ANIBAL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, CARMEN N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, CHRISTIAN J   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, CHRISTIAN J   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, CINDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, DECIRE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, JANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, MARIA A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5721 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 722 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ SUAREZ, MARIA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, MARIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, MINERVA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, WILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUAREZ, YESSENIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUED, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUERO, KENNETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SULIVERAS, JUAN E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SURIEL, BETTY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SURIEL, BETTY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SURIS, NORIS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ SUSTACHE, ZORAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TALAVERA, IRIS D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TALAVERA, LESBIA E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TALAVERA, LESBIA E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TALAVERA, SONIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TANCO, HELIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TAPIA, ANGEL IVAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TAPIA, ISMAEL E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TAPIA, JOSE R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TAPIA, LIZNEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TAPIA, SOLIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TAPIA, SOLIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TARDI, NANICHI C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TAVAREZ, ABDIEL G     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TAVAREZ, JAIME E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TELLADO, FRANKIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TELLADO, GILBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TELLADO, GILBERTO A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TELLADO, MORAIMA E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TELLADO, MORAIMA E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TERRON, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TEXIDOR, BERNARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ THILLET, AGNES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ THILLET, SONIA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIBURCIO, CARLA M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TINEO, YVONNE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, ADA DEL S     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, ADA DEL S     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, ALEIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, ANIBAL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, ANIBAL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, DAMARIS E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, ELTON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, ENEIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, ENEIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, GABRIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, GILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5722 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 723 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ TIRADO, ILIA E           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, JAVIER           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, JOSE J           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, JOSE R           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, JULIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, LUIS M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, LUZ M            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, LYDIA R          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, LYDIA R          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, MAREDITH         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, MARIA DE LOS A   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, MARIA S          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, NEFTY J.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, ROSA M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, ROYLANDO         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, ROYLANDO         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, SONIA N          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TIRADO, SONIA N          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOLEDO, ANTONIO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOLEDO, EMILIA I.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOLEDO, KATIRIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOLEDO, SALUSTIANA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOLEDO, SALUSTIANA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOLEDO, SURRIEL          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOLLINCHI, JEFFREY       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOMASINI, EDDA L         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, AGUSTIN            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, CARLA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, CARMEN G           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, CARMEN M.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, CARMEN M.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, CATALINA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, DAMARIS C          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, DENISE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, EDWIN              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, EFREN A.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, ELVIN              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, GRISELLE           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, HECTOR             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, HECTOR L           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, JUAN C             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, MABEL              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, MABEL              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, MABEL              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, MARIE L            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, MILLIANNE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, MILLIANNE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, MIRTEA J           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORO, MYRNA I            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5723 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 724 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ TORO, RAFAEL J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRE, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRELLA, JOSE A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRELLA, SAUL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRENS, DANIEL A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRENS, DO ANN M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRENS, JUANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRENS, WANDA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ABIGAIL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ADA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ADLIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ADRIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ADRIAN N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ADRIAN N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, AIDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, AIDA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, AIDA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, AIDYL M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, AIRI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, AIRI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ALEIDA L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ALEX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ALEXANDER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ALEXANDER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ALEXIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ALFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ALICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ALICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ALIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, AMILCAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, AMILCAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ANA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ANA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ANA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ANA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ANATILDE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ANDRES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ANGEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ANGEL G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ANGEL O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ANGELICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ANGELICA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ANGIE M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ARACELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ARELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, BEATRIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 725 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ TORRES, BENJAMIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, BIENVENIDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, BRENDA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, BRENDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, BRENDA L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, BRUMILDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, BRUMILDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARLOS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARLOS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARLOS A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARLOS E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARLOS E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARLOS F      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARLOS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARLOS J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARLOS LUIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARLOS M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARLOS M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARMELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARMELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARMEN I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CARMEN R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CATALINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CATHERINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CECILIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, CRESCENCIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, DALCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, DAMARYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, DEBORAH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, DEBORAH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, DELISE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, DELMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, DELMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, DIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, DIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, DIANA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, DIANA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, DJAMILETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, DOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5725 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 726 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ TORRES, DOMINGO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, EDGAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, EIMY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ELBA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ELENA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ELIGIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ELLIST        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ELSIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ELSIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ELVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, EMERITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ENID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ENID T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ENRIQUE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ENRIQUE J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ENSOL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ESPERANZA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ESPERANZA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ESPERANZA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, EVELIO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, FELICITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, FERNANDO L.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, FERNANDO L.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, FIDENCIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, FRANCES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, GABRIEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, GERALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, GERARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, GISELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, GLADIMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, GLADYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, GLADYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, GLADYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, GLORIA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, GRACE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, GREGORIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, GRETCHEN Z    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, GRISETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, HAYDEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 727 of 2285
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ TORRES, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, HECTOR I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, HENRY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, HERIBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, HERNAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, HEXLYS E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, HILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, HILDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, HILDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, HJALMALR G    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, IDAELI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, IDAELI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ILKA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ILKA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, INEABELLE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, INEABELLE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, IRIS B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, IRIS C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, IRIS C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, IRIS I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, IRIS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JANET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JANICE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JENNIFER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JERALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JINESKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOHN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOHN A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JONATHAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JORGE E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JORGE I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JORMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5727 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 728 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ TORRES, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSE R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSEFINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JOSUE M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JUANITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JULIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JULIA D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, JUVENAL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, KAREEM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, KAREN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, KAREN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, KELVIN N.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LAURA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LAURA V.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LEIDIANA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LEIRA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LENNIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LEOCADIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LEONEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LEONEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LILIBETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LILLIAM M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LISANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LIZBETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LOURDES A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LOURDES M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUADYS I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUADYS I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 729 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ TORRES, LUCIANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUIS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUIS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUIS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUIS A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUIS A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUIS A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUIS E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUIS E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUIS M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUIS M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUIS O         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUIS O         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUZ E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUZ M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUZ M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LUZAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LYDIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, LYNETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MAGDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MAGDA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MAITEE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARANGELI      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARGARITA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARGIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARGOT         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIA DEL C    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIA F        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIA TERESA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIA V        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARIELY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARILYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARISELI       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARISELI       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 730 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ TORRES, MARIVIER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARLENE R.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MARVIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MAYRA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MELISSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MELVIN E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MELVIN E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MELVIN F      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MERCEDES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MERCEDES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MICHAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MILTON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MINDELIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MIRAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MIRIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MISAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MONSERRATE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, MYRNA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NAHOMI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NARLIBEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NEREIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NEREIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NILSA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NILSA M .     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NOEL D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NOEL D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NOEMI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NOEMI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NORMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NORMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NORMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NORMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NORMA N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5730 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 731 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ TORRES, NORMA N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, NYVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, OLGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, OLGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, OLGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, OLGA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, OLGA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, OMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, OMAYRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, OMAYRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, OMAYRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, OMAYRA J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, PATRIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, PEDRO A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, PEDRO E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, PETRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, PETRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, PILAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, PROVIDENCIO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, RADAMES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, RAFAEL A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, RAQUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, RAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, RAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, REINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, REINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, REYNALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, RICHARD       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, RICHARD       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ROGELIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ROGELIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ROSA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ROSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ROSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ROSALINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ROY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, SAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, SANDRA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, SARAI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, SHARON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, SHARON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, SHIOMAYRA I   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5731 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 732 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ TORRES, SHIRLEY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, SOL M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, SONIA L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, STEVEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, STEVEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, SUHEILL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, SYLVIA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, THALIA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, TOMAS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, TOMASITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, VANESSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, VICENTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, VICTOR L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, VICTOR L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, VILMA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, VIRGINIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WANDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WANDA E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WANDA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WANDA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WANDA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WANDA I.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WANDA I.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WANDA IVETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WANDA IVETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WENDALIZ       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WENDALIZ       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WENDALIZ       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WENDY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WENDY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WILMA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WILNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, WILNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, YADIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, YAIRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, YAMILY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, YAMIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, YANEIZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, YANINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, YARILDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, YERITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, YESSENIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, YESSICA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, YVETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 733 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ TORRES, ZAHIRA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ZARITZZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ZOANIRYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ZORAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRES, ZULMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORREZ, MARICARMEN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRUELLA, ILIAM K    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRUELLA, LUZ C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRUELLA, SANDRA I   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TORRUELLAS, AISHA I   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOSADO, ANGEL M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOSADO, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOSADO, BRYAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOSADO, JUAN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOSADO, JUAN R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOSADO, MIGDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOSSAS, ANA T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOUCET, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TOUCET, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TQRRES, JUANITA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TRAVERZO, IVAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TRINIDA, BRENDA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TRINIDAD, GLORIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TRINIDAD, IDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TRINIDAD, JESUS M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TRINIDAD, JUAN C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TRINIDAD, MINERVA I   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TRINIDAD, MYRIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TRINIDAD, MYRNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TRINIDAD, PETRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TRINIDAD, ROSARIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TRINIDAD, SARAH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TROCHE, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TROCHE, CAROLINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TROCHE, CIENI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TROCHE, ILDEFONSO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TROCHE, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TROCHE, JEANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TROCHE, JEANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TROCHE, JEANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TROCHE, SONIA N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TROCHE, TAMARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TRUJILLO, REMI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TRUJILLO, SUJEI M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ TUBEN, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ UBARRI, AIDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ UBARRI, IVAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ UGARTE, REY A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ UMBERT, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5733 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 734 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ URBISTONDO, MIGUEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ UTSET, GILBERTO W.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VACQUEZ, JULIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALDERRAMA, FELIX     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALDERRAMA, GLORIVER REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALDES, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALDES, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALDES, RUTH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALDES, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALDES, VANELSIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALDEZ, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALDEZ, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALDIVIA, OMAR O.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALDIVIA, OMAR O.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENCIA, DINAURA E   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENCIA, FAVIOLA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENCIA, JUSTO J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, ABNER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, ALBA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, ANA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, ANA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, ARIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, ARIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, CARMEN L.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, CARMEN M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, COSSETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, DENISSE M.  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, DENISSE M.  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, DIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, DIANA D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, EDWARD      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, ELSA Y.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, ERIKA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, EVELYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, FREDESWINDA REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
F
RODRIGUEZ VALENTIN, GLENDA J    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, GRETZEL     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, HAYDEE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, HECTOR L    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, JANET L.    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, JOEL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, JOET        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, JONATHAN    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, JORGE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, JOSE A.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, JOSE A.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, JOSE C      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5734 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 735 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VALENTIN, JUAN I       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, JULIO        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, LISSY        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, LUIS A       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, LUIS F       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, LUIS F       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, MARIA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, MARIA DE LOS REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ANGELES
RODRIGUEZ VALENTIN, MARIA DEL C REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, MARIA I      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, MARIA R      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, MELANIE      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, MERARIS      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, MERARIS      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, MILAGROS     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, MIRIAM S     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, MONIQUE      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, NICHOLE M    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, NILZA        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, NOEMI        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, RAFAEL       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, ROBERTO      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, ROBERTO      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, ROSA E       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, RUTH E       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, STEPHANIE A REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, TERESA       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, VIRGINIA     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, WIDILIA      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, WILFREDO     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTIN, ZAIDA        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALENTN, MARIA R       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALERA, RAFAEL         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALERA, WALESKA        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALERO, ZADIA Y.       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALES, BEATRIZ         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALES, EDGAR M         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALES, JOSE DEL C      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALES, MARIA           REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALES, MARIA M         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALETIN, LUIS A.       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALEZ, MIRIAM          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALLE, ANTONIO         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALLE, DIGNA           REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALLE, DIGNA L         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALLE, ELIE            REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALLE, ELIE M          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VALLE, GILBERTO        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5735 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 736 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VALLE, JACKELINE G      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALLE, JOSE R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALLE, JUSTO P.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALLE, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALLE, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALLE, MADELINE A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALLELLANES, VILMARYS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALLES, CARLOS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALLES, LIANNESSA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALLES, RICHARD         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VALLES, YAHAIRA N.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARCALCEL, ANA A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARELA, JESUS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARELA, MIGUEL A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARELA, OLGA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARELA, RUBEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARELA, WILMA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, ADOLFO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, ALEXIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, AMARIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, AMARIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, AMED A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, ANA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, ANA L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, ANGEL A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, ANGEL E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, ANTONIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, CARLOS L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, CARMEN L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, CARMEN S        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, CINTYA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, DAISY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, DAVID           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, DINAMARCA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, DIOMEDES R      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, ELSA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, EMMANUEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, FELIX M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, FRANCISCO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, HECTOR M.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, JACQUELI        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, JANNYRIS G      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, JAVIER A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, JESINIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, LINETTE D       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, LORAINNE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, LOURDES I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, LUIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, LUIS A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5736 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 737 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VARGAS, LUIS D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, LYDIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, MADELINE M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, MARIA S        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, MARICELY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, MARTA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, MINERVA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, NEFTALY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, NELSON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, NILSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, NORBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, PRIMITIVO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, RAFAEL A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, RAMON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, RAUL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, RUBEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, SAYMARA T      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, SAYMARA T      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, VANESSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, VIVIANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, YADIRA S.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, YESENIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VARGAS, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUE Z, GLORIA M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUESTELL, VANESSA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ABELA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ABIGAIL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ABIGAIL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ABIGAIL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ABIGAIL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ADRIAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ADRIAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ADRIAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, AGUSTIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ALBA N        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ALBA N        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ALBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ALEX O        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ALMA R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ALTAGRACIA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ANA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ANA V         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ANDRIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ANDRIA S      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ANGEL J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ANGEL M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ANIBAL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ANIBAL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VAZQUEZ, ANIRMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ARELYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ARLENE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ARNALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ARNALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ARNALDO J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, BRENDALI     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, CARMEN E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, CARMEN J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, CARMEN L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, CARMEN L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, CARMEN L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, CARMEN S     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, CARMEN W.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, CRUZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, DAGMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, DAMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, DANISA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, DARLEEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, DIONISIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, EDAN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, EDDIE E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, EDELMIRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, EDELMIRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, EDGARDO LUIS REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, EDNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, EDNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, EDWIN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, EDWIN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, EFRAIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ELBA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ELIZABETH    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ELSIE I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ELVIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, EMANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, EMMANUEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ENRIQUE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ENRIQUE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, FELIX        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, FELIX J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, FERDINAND    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, FLOR N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, FLOR N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, FRANCES M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 739 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

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                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VAZQUEZ, FRANCISCO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, GILBERTO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, GISELA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, GISELA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, GISELE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, GLADYS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, GLORIMAR      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, GRENDA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, GRISEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, GUILLERMO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, GUILLERMO E   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, GUILLERMO E   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, INGRID D      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, INGRID D      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, IRAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, IRMARIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ISAYDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ITZA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, IVETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, IVETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, IVONNE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, IVONNE D      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JACKELINE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JACQUELINE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JAIME         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JANAIZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JANNETTE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JAVIER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JEANNETTE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JENNIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JENNIFER      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JESSICA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JESSICA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JESUS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JOSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JOSE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JOSE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JOSE H.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JOSE J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JOSE J.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JOSE L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JOSE L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JOSE M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JUAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, JULYMAR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, KARYNA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, KEDRI         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LAURIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LEIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VAZQUEZ, LESLIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LIZZIE W       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LOIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LORIANETTE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LOURDES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LOURDES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LOURDES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LOYDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LUIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LUIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LUIS ANTONIO   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LUIS E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LUIS E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LUIS J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LUIS P.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LUZ C          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LUZ M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LUZ M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, LYDIA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MANUEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MARANGELI      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MARCELINO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MARCOS A.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MARGARET       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MARIA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MARIA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MARIA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MARIA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MARIBEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MARIELA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MARITZA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MARTIN E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MAYRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MELANNY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MIGDALIA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MIGUEL A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MILAGROS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MILAGROS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MILAGROS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MILDRED        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MIRIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MIRIAM R       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MITNA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, MYRIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, NANCY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, NANCY E.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5740 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 741 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VAZQUEZ, NAYDA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, NITZA M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, NOEMI         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, NORBERTO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, NORMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, NORMA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, NORMA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, OFELIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, OLGA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ORIA V        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ORLANDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, OSCAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, OSCAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, PEDRO JUAN    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, PETRA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, RAFAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, RAFAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, RAMON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RAFAEL
RODRIGUEZ VAZQUEZ, RAMONITA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, REINALDO      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, RICARDO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, RICARDO A     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ROBERTO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ROLANDO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ROSA M        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, SHEILA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, SHEILA M      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, SHIRLEY       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, SONIA M       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, STEPHANIE M   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, SYNDIA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, VERONICA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, VERONICA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, VICTOR        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, VIVIANA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, WANDA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, WILDA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, WILDA L.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, WILDA L.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, YANEL         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, YARITZA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, YARLIN        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, YARLIN        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, YARLIN        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, YELIN O       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ZORAIDA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ZORAIDA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ, ZORAIDA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 742 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VAZQUEZ, ZUHEIDY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VAZQUEZ,OSCAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VECCHINI, LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, AIDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, AIDYL E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, AILEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ALFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ALIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ALIZ N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ALONSO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, AMARILIS D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ANAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ANAIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ANGEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ARLENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, BETSIE I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, BETSY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, CARLOS D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, CARYNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, DEISHA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, DIGNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, DINORAH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, DORA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, EDGAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ELBA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ELMER N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, EMMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ENEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, FAUSTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, FAUSTO I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, FELIPE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, FRANCISCO J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, GISSELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, GYLMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, HECTOR M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5742 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 743 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VEGA, HEIDI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, HIRAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, HIRAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, HIRAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, INES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, IRIS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, IRZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ISAAC           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, JESUSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, JIMMY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, JOSE H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, JOSE I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, JUAN JOSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, JULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, JUSTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, KEYSHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, LIMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, LISBETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, LIZ M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, LOPE J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, LOPE J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, LYDIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MARCOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MARIA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MARIA DEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
CARMEN
RODRIGUEZ VEGA, MARIA H         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VEGA, MARIA T         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VEGA, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VEGA, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VEGA, MARIO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VEGA, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VEGA, MARIXA V        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VEGA, MARIXA V        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRIGUEZ VEGA, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5743 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 744 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VEGA, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MILDRED W       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MIRELYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MIRYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MONICA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MONICA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MYRIAM N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, MYRMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, NANCY E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, NANCY J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, NAYRIM A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, NEDYNARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, NEISHA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, NELSIMEDY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, NICOLETTE L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, NILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, NILSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, NYURKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, OLGA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, OLGA IRIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, PAULA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, PAULA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, PAULINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, PEDRO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, RAMON L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, RICKY ALI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ROSA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ROSA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ROSALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, ROSE C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, SANTOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, SARA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, STACY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, STEVE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, VERONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, WIGBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, WILNELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 745 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VEGA, YAHAIRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGA, YENZA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGUILLA, ALEX F       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGUILLA, ENEIDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGUILLA, EVELYN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGUILLA, HECTOR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VEGUILLA, JOSE A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, ANA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, ANA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, ANDREA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, ANGEL L.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, ANGELITA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, ANGELITA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, ARIADNE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, BALBINO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, BASILIO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, BENEDICTO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, BENEDICTO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, BRENDA L    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, CARLOS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, CESAR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, CRISTINO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, DESIREE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, ELIZABETH   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, ENRIQUE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, ESTHER      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, ESTHER      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, EVELISSE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, FAVIO T     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, FAVIO T     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, FRANCISCA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, GISELA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, GISELA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, HECTOR      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, HECTOR M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, HERNAN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, IRIS B      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, IRIS O.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, ISRAEL L    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, JANICE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, JOHANNA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, JOSE A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, JUAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, JUAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, JUAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, JUAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, KATHERINE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, LESBIA M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, LILLIAM     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5745 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 746 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VELAZQUEZ, LOIDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, LOURDES M.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, LUIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, LUIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, LUZ N.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, MADELINE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, MANUEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, MARGARITA    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, MARLYN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, MARTHA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, MAYRA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, MIGUEL A     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, MINERVA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, NAYDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, NELTA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, NILSA M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, RAFAEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, ROSA D       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, ROSALIE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, RUBEN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, SHIRLEY      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, THAMAR       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, VIRGEN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, WILFREDO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, WILFREDO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, YOLANDA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELAZQUEZ, ZELIDETH     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELELZ, WILSON E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ADA N            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, AIDA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ALBA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ALEJANDRINA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ALEX             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ANA C            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ANA C            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ANGEL DAVID      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ANGELIQUE M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ANTONIA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ARNALDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ASUNCION         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, AURORA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, AWILDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, AWILDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, AWILDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, BRENDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, CARMEN H         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, CARMEN N.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, CHRISTIAN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5746 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 747 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VELEZ, DANIELA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, EDNA E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, EDUARDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, EILLEEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ELAINE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ELBA L.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ELIUD            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ELIUD            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, EVELYN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, GLADYS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, GLENDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, GLENDA L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, GLENDY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, GLENDY E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, HECTOR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, HERIBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ILEANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ILEANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ILEANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, IVETTE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, JEANNETTE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, JIVANNY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, JORGE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, JORGE A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, JOSE G           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, JOSE G           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, JOSE M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, JOSE R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, JOSE R.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, JOSHUA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, JUAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, JUAN M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, LETICIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, LICELIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, LUIS D           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, LUIS E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, LUIS O           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARELYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARGARITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARGARITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARIA A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARIA D          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARIA DEL C      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARIA DEL C.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARIA F.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARIA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5747 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 748 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VELEZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MARVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MIRTA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MIRTA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MOISES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MORAIMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, MORAIMA T      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, NANICHI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, NESTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, NIVIA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, OSCAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, PABLO A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, PEDRO E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, PEDRO I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, PRISCILA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, RICHARD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, RODOLFO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ROSA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, RUBEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, SHEILA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, VERONICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, VERONICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, VICTOR G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, VIRGINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, VIRGINIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, WALTER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5748 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 749 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VELEZ, WANDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, WANDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, YAILET A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, YARA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, YESENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ZULAY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ZULMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELEZ, ZULMA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELILLA, NATALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELLON, EVELYN M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELLON, FRANCHESKA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VELOZ, ROSAURY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VENDRELL, ORLANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VENEGAS, RAFAEL E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VENTURA, JONAIDA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VENTURA, JONAIDA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VENTURA, JONAIDA I.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VENTURA, MAYRA J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VENTURA, YAMALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VENTURA, YAMALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VERA, CLARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VERA, DIANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VERA, DIANA MARIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VERA, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VERA, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VERA, LEONARDI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VERA, LUZ D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VERA, LUZ E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VERA, MARJORIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VERA, MARJORIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VERA, MARJORIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VERA, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VERGARA, EVELYN E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VERGES, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIALIZ, ROSA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VICENS, LOIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VICENS, LUCETT        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VICENS, NYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VICENTE, DIANA D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VICENTE, MITZY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VICENTE, UBALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VICENTE, UBALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VICENTE, WENDELL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VICENTY, CARMEN A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VICENTY, CARMEN J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VICENTY, ELBA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VICENTY, MARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VICTOR, JUAN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIDAL, ALEJANDRO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VIDAL, CARMEN M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIDAL, ENILDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIDAL, ENILDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIDAL, KRISTELL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIDAL, MARISABEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIDAL, MIGDALIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIDAL, RAMON           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIDAL, WILFREDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIDRO, HECTOR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIDRO, IRIS M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIEJO, JOSE M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIERA, ANGEL L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIERA, BENJAMIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIERA, CARMEN G        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIERA, CARMEN M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIERA, CARMIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIERA, DAVID           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIERA, EVA J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIERA, GLYNNISS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIERA, JENNIFER A.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIERA, JOSE E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIERA, JOSEE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIERA, LISSETT         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIERA, MAYRA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIERA, SONIA J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIERA, WILFREDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIGO, HECTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIGO, NORMA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILA, ADA C            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILA, LEIDA V          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILANOVA, JOADITH      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILANOVA, JOADITH M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLA, JENNIFER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLA, JENNIFER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLA, JINETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLA, MONSERRATE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLA, NERY K          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLAFANE, DAVID       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLAFANE, NILDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLAFANE, ROSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLAFANE, SANDRA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLAFANE, SANDRA I    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLAFANE, WALLACE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLAFANE, WALLACE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLAFANE, YILMARIES   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLALBA, ANA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLALBA, ARTHUR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLALONGO, MIRIAM     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, ANA M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5750 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 751 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VILLANUEVA, ANGEL L.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, ANGELICA    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, EVA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, GREGORIO    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, INES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, JOHARRY     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, JUAN J      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, JUANA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, KENDRA L    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, LUIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, MELVIN      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, MELVIN E    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, PEDRO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, SANDRA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, SANDRA I    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, SANDRA I    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, SONIA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, VIVIAN      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, VIVIAN      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, VIVIAN A    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLANUEVA, YOLANDA I   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLAREAL, AIDA R.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLAREAL, CARMEN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLAREAL, CARMEN I     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLARREAL, CARMEN L    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLARRUBIA, JANNETTE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLEGAS, ANTONIO A.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLEGAS, GLORISEL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLEGAS, HERIBERTO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLEGAS, IVELISSE M    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLEGAS, MARGARITA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VILLOT, AGUSTIN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIRELLA, ANA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIRELLA, ANA D          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIRELLA, ANA D.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIRELLA, MYRIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIRELLA, MYRNELLIA F    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIRELLA, SONIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRÍGUEZ VIRGINIA, ROBLES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIROLA, ONELIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIROLA, VIVIANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIROLA, VIVIANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIRUET, DIANNETTE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIRUET, HERIBERTO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIVES, KATTY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIVES, TOMMY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIVES, TOMMY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIZCARRONDO,            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
GERALDINE



                                                                                                                                                                 PAGE 5751 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 752 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ VIZCARRONDO, JOSE M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ VIZCARRONDO, JOSE M.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ WALKER, ITZALIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRÍGUEZ WALKER, ITZALIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ WALKER, JOSE E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ WALKER, JOSE M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ WALKER, MARIA D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ WALKER, ZAHIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ WEBER, CARMEN A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ WILLIAMS, LUIS A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ WILLIAMS, LUIS A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ WYS, BRENDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ YACE, JOSE R.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ YAMBO, GLADYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ YAMBO, LUIS G          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ YAMBO, LUIS G          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ YAMBOT, GLADYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ YAMBOT, MARIA G        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ YAMBOT, SONIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ YOURNET, ROSA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ YU, AMY A              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ YU, IRIAN G            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ YULGO, DIANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZABALA, EDWIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZABALA, GEORGINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZACARIAS, JOANNE Y.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAMORA, JIMMY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZANABRIA, ZULMA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAPATA, ANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAPATA, LISETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAPATA, REBECCA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZARAGOZA, ABIGAIL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZARAGOZA, LUIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZARAGOZA, SANDRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZARAGOZA, SANDRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAVALA, EDNA LUZ       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, ABEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, ANA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, ANGEL L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, ANTONIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, CARLOS J.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, DAISY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, ELADIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, EMMANUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, ERIKA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, GILBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, GILBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, GLADYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, GLORIMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5752 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 753 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ ZAYAS, GUILLERMINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, JOHNNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, JUAN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, KARLA F.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, LUISA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, MARIA Z        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, PAULA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, SANDRA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, TAISHA V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, VERONICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZAYAS, WILLIAM Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZEQUEIRA, ALEJANDRO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZEQUEIRA, REBECA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ ZEQUEIRA, REBECA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ADA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ADANIVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ALEXANDER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ALEXANDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ALTAGRACIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, AMARILIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ANA C.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ANELYS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ANGEL M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ANGEL M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ANGEL M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ANGELITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ANTONIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ANTONIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ANTONIO S.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ARMANDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, BRENDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, BRYAN E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, CARLOS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, CARLOS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, CARLOS J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, CARMEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, CARMEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, CARMEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, CARMEN C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, CARMEN L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, CELIBERMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, CRISTINA SIERRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5753 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 754 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ, DARCY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, DARELYS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, DAVID                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, DELFINA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, DERICK A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, DOLORES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, EDDIE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, EDUARDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ELBIN JR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ELIAS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ELIZABETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, EMILIO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, EMMA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, EMMANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ENRIQUE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ENRIQUE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ERMELINDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ESTRELLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, EUSEBIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, EVA L.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, EVANGELINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, FELIX J.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, FELIX M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, FERNANDO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, FLORENCE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, FRANCHESKA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, FRANKLYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, GABRIEL EDUARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, GAMALIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, GILMARIE VANESSA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, GLADYS E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, GLORIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, GLORIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, GLORIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, GLORYAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, GLYSSETTE MARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, GUARIONEX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, HARRY G              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, HILTON JR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, IDALIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, IDALIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, IRENE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, IRIS V.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ISABEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ISABEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ISMAEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, IVONNE E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JACKELINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JACQUELINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5754 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 755 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ, JASON                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JAVIER D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JEAN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JEISY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JENNIFER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JESUS B.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JOAN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JOANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JORGE A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JOSE A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JOSE D               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JOSE I               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JOSE R               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JOSE R.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JOSE R.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JOSEFINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JUAN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JUAN A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JUAN MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JULIO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JULIO A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, JULIO I.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, KALEB E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, KAREN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, KAREN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, KARIM                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, KARIN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, KARLA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, KARLA M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, KEVIN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, KIDAISHA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, LAIXA T              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, LILLIAM M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, LISSETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, LIZVETTE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, LIZZA M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, LOU WILSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, LUCIANNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, LUIS                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, LUIS                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, LUIS E.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, LUZ M                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, LUZ M                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, LYDIA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MANUEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MARANGELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MARCIAL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MARIA DE LOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MARIA DE LOS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5755 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 756 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ, MARIA DEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MARIA DEL C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MARIA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MARIA L.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MARIA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MARIA R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MARIBEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MARISELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MARISELLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MARISOL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MARITZA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MARJORIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MARK ANTHONY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MAYRA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MAYRA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MELVIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MEYLIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MEYLIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MIGDALIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MIGDALIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MIGUEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MIGUEL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MIGUEL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MIGUEL A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MIGUELINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MINERVA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, MONICA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, NANCY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, NANCY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, NANCY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, NELSON H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, NOEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, NORMA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, NYDIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, OANA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, OSVALDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, OSVALDO LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, PEDRO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, PEGGY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, PRISCILLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, RAFAELA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, RAFIEL Y.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, RAMON                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, RAMONA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, RAMONITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, REYNALDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, RICARDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ROBERTO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ROBERTO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5756 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 757 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ, ROXANA MARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, RUBEN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, SALVADOR R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, SAMUEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, SAMUEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, SANDRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, SANTOS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, SATURNINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, SERGIO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, SOL E.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, SONEL G              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, SONIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, UBALDO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, URSULA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, VANESSA DEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, VICTOR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, VICTOR M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, VICTORIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, VICTORIANO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, VIVIANA H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, WANDA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, WILLIAM J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, WILMA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, XANDRA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, XIOMARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, YASHIRA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ZACARIAS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ZAMARIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ZORYMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ, ZULMA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,ANGEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,ANIBAL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,ARNALDO H.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,CARLOS M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,CARMEN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,EFRAIN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,ERIC                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,JAYSON                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,JOSE                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,JOSE                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,JOSE A.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,JOSE A.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,JOSE J.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,JOSE M.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,JOSE R.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,LUIS                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,LUIS                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,LUIS R.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,NELSON                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5757 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 758 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZ,RAMON                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ,SANTOS E.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZALAMO, VICTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZARRILLAGA, GUS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ‐BEAMUD, JANILLE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZBENITEZ, LYDIA IVETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZCARRASQUILLO, MARIA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZCLEMENTE, FELIX         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZCOLLAZO, MAGALI         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZCONCEPCION, JORGE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZCOTTO, HECTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZDEJESUS, EVELYN M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZDELGADO, IRIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZFALCIANI, RITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZFRANCO, BENEDICTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZFUENTES, KARINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZGARAY, MILAGROS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZGONZALEZ, PABLO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZGONZALEZ, ROBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZGUZMAN, JOSE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZHERNANDEZ, WANDA I.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ‐IRIZARRY, TERESITA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZLABOY, JOSE L.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZLOPEZ, FRANCISCO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZLOPEZ, JAVIER E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZLUGO, WILLIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZMALDONADO, ARSENIO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZMARTINEZ, SYLVIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZMEDINA, MARIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZMELENDEZ, JORGE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZMELENDEZ, PEDRO L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZMENDOZA, JOHANA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZMORALES, ILEANA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZMORALES, MARGARITA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZMUNIZ, LAURA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZMUNIZ, LYDIAE.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZMUNOZ, MIGUEL A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZMUNOZ, WANDA V.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZNIEVES, ALBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZOJEDA, RENAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZOQUENDO, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZORTIZ, DAVID            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZORTIZ, LUIS E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZORTIZ, XAVIER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZROLDAN, TOMAS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZROMERO, ELAINE M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZROSA, ANGEL M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZ‐ROSA, BETZAIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZROSARIO, ANGEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5758 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 759 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RODRIGUEZSANCHEZ, GASPAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZSANCHEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZSANCHEZ, VICTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZSUAREZ, BENJAMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZTORRES, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZTORRES, JOSE J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZVALLE, JUSTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZVAZQUEZ, CRISTINO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZVAZQUEZ, GUSTAVO A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZVAZQUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZVEGA, GONZALO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUEZVILLALONGO, DAVID      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGURZ RODRIGUEZ, EVELYN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUZ FIGUEROA, NATALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUZ SANTIAGO, JAIME        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIGUZ SOTO, SIUL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIIGUEZ ROSA, ROXANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIQUEZ ALBINO, JUAN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIQUEZ APONTE, DAGOBE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIQUEZ CASTILLO,EDUA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIQUEZ CORDERO, RAYMOND      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIQUEZ MILLAN, ETELVINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIQUEZ ORTIZ, CARLA J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIQUEZ RODRIQUEZ, RAYMOND    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIQUEZ ROSA, LAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIQUEZ SANTIAGO, ANA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIQUEZ SANTIAGO, JUANITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIQUEZ SANTOS, MELIANET      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIQUEZ SERRANO, JOSE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIQUEZ VALENTIN, LOIRIAM     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIQUEZ VAZQUEZ, LUIS E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRIUEZ LEON, MAYLIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRRIGUEZ FERNANDEZ, MARLYN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RODRRIGUEZ HERNANDEZ,           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
HECMARIELYS
RODRUIGEZ RODRIGUEZ, WILMARIE   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODRUIGUEZ PLAUD, GUSTAVO       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RODZ. ENCARNACION, HECTOR       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROFRIGUEZ MARTINEZ, JOSELYN R   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROGER RODRIGUEZ, CARLOS A.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROGER STEFANI, SYLVIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROGER, JOSEPH R.                REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROGERS MENDOZA, JACKELINE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROGERS RIVERA, DAVID W.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROGERS ROSARIO, DEAN A          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROGERS SANTANA, LYAN O.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROGES GANGES, MIRTA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROHENA ACEVEDO, JAVIER R.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROHENA ACEVEDO, ROSEMERY        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5759 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 760 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROHENA ACOSTA, LEYCHA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA ALVARADO, ASBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA ALVAREZ, ROSA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA ANDINO, LINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA BENITEZ, ALEJANDRY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA BENITEZ, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA BONILLA, DAISY V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA CARMONA, ANA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA CARMONA, JANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA CRUZ, IVONNE G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA CRUZ, JESSICA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA DAVILA, MARIA DEL C.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA DIAZ, HECTOR L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA DOMINGUEZ, ARACELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA DOMINGUEZ, ESTEBAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA DOMINGUEZ, LUZ N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA DOMINQUEZ, OLGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA ENCARNACION, JENNIFER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA FIGUEROA, CARMEN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA GARCIA, GERMAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA GARCIA, GUARDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA GONZALEZ, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA GOTAY, JORGE ISAAC       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA HERNANDEZ, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA HERNANDEZ, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA LINARES, YALINED M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA MARQUEZ, AIDA ELENA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA MARTINEZ, JUVETZY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA MARTINEZ, LEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA MEDINA, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA MONZON, ANGELICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA NUNEZ, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA PAGAN, ALICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA PAGAN, LOURDES M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA PAGAN, LOURDES M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA PEREZ, CARMEN H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA PEREZ, CARMEN H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA PEREZ, IDA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA PEREZ, JACINTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA PEREZ, JOSE ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA PEREZ, MARIA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA PEREZ, MARIA DEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA QUINONES, JOHANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA QUINONES, MARIE F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA RIVERA, ILEANEX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA RIVERA, JEAN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA RIVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA RIVERA, JULIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA RIVERA, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5760 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 761 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROHENA RIVERA, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA RIVERA, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA RIVERA, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA ROBLES, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA ROHENA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA ROSARIO, ERIC A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA ROSARIO, RAMONITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA SANCHEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA SANCHEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA SANCHEZ, FRANCISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA SANTIAGO, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA SANTIAGO, MARTA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA SOSA, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA VALDES, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA VALDES, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA VELAQUEZ, ICHA K         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA VELAZQUEZ, AVELINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA VELAZQUEZ, JOSEAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHENA VIZCARRONDO, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROHLSEN, RICARDO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG ALICEA, NORMA IRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG ALVARADO, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG ALVAREZ, GISELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG ARGUIZONI, VILMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG AYUSO, ROSANGELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG BERNARDI, MARICRUZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG BERNARDIE, JOSE MIGUEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG CARDENALES, ARNALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG CASILLAS, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG CASILLAS, LUIS E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG COLON, JORGE RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG COLON, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG CORREA, EMELY J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG DAVILA, MANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG FRANCESCHINI, ZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG FUERTES, SUZANNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG FUERTES, SUZANNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG GRANT, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG LOPEZ, JAVIER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG LOPEZ, LUIS A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG MATEO, IVELISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG MENDEZ, JOSE D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG MENDEZ, MARIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG MIRANDA, CLARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG MIRANDA, CLARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG MOLINA, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG MORENO, JUAN J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG MORENO, MARTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG NARVAEZ, LEYKA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5761 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 762 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROIG NIEVES, CARLA M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG ORTIZ, LUIS A.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG ORTIZ, WILMAYRIE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG PEREZ, AIDA L.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG RIOS, JOSE A.               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG RIVERA, CARLOS A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG RODRIGUEZ, HERLIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG RODRIGUEZ, KAREN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG RODRIGUEZ, KAREN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG RODRIGUEZ, ROBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG RODRIGUEZ, ROBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG RODRIGUEZ, RUBEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG ROSARIO, PEDRO              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG SEPULVEDA, IVELISSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG SEPULVEDA, LUIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG SIERRA, CARMEN M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG SILVIA, ADRIANA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG TORRES, CARMEN M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG TORRES, EDGARDO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG TORRES, MINERVA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG ZAYAS, MARIA DEL C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROIG, SUZANNE                    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROISENSVIT BIASSONI, JORGELINA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJA SANTIAGO, BIBIANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, JOSE L.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ., LILLIANA                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ADORNO, ALBERTO F.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ADORNO, DAVID              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS AGOSTO, CARMEN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS AGOSTO, CARMEN J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS AGOSTO, ENRIQUE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ALAMO, KEYSHA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ALBALADEJO, ANAHER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ALBALADEJO, ANAHER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ALBALADEJO, ANAHER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ALBINO, ANGEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ALICEA, BIONETTE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ALICEA, BIONETTE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ALICEA, GISELLE M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ALICEA, GISELLE M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ALIEGRO, JEANPAUL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ALLIEGRO, JEAN P           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ALVAREZ, DAVID             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ALVAREZ, JACKELINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ALVAREZ, MARIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ALVAREZ, WANDA I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS APONTE, CRISTINA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS APONTE, KENIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS APONTE, KEYLA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5762 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 763 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROJAS APONTE, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ARROYO, ANDREA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ARROYO, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ARROYO, GIANFRANCO G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS AYALA, CARMEN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS AYALA, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BAEZ, FRANCIS Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BAEZ, JESUS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BANREY, YESENIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BANUCHI, MARIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BANUCHI, MARIAM D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BATISTA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BATISTA, XIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BATISTA, XIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BENITEZ, FRANCISCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BENITEZ, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BERMUDEZ, ALBA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BERMUDEZ, JOMAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BERNIER, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BERTY, GREGORIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BLANCO, CONSUELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BONET, ANTHONY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BRANA, ERIKA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BRUNO, GLORIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BRUNO, GLORIA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS BURGOS, LEONCIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CACERES, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CACERES, LUZ M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CALAFAT, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CAMPOS, LAYDA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CAMPOS, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CANDELARIO, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CARTAGENA, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CARTAGENA, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CARVAJAL, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CASTRO, CARMEN LYDIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CASTRO, EVA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CASTRO, MARY L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CASTRO, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CENTENO, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CENTENO, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CENTENO, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CENTENO, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CENTENO, JUANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CENTENO, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CENTENO, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CHEVERE, JULIANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CINTRON, EUNICE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS COLON, JORGE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5763 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 764 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROJAS COLON, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS COLON, MIRTA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CORDERO, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CORDERO, CHARLENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CORREA, CARLOS F.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CORREA, SOPHYA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CORTES, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CORTES, LOURDES I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS COSME, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS COSME, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS COTTO, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS COTTO, LITZA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS COTTO, YINA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CRESPO, JUAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CRUZ, ADA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CRUZ, ANA G               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CRUZ, IDALYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CRUZ, MARIA DEL C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CRUZ, MIGUEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CRUZ, NAYZA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CRUZ, NAYZA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CRUZ, ROSA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CRUZ, YOLANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CRUZ, ZORIMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CRUZADO, CRUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CUEVAS, HECTOR L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CUEVAS, MARIA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CUMMINGS, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS CURBELO, ANDREW           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DAVILA, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DAVIS, ELI S.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DE ARROYO, NORA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DE GOTAY, ALBA ROSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DE JESUS, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DE JESUS, GIOVANNI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DE JESUS, GIOVANNI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DE JESUS, GIOVANNI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DE VIRELLA, HILDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DEL VALLE, DANIEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DELGADO, MARIA DEL R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DELGADO, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DELIZ, ZULEYKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DELIZ, ZULEYKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DIAZ, ANGEL L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DIAZ, DAVID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS DILAN, DORIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ESCOBAR, KISHA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ESQUILIN, ABIGAIL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ESQUILIN, LUZ V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5764 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 765 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROJAS ESQUILIN, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ESTELA, CAROLYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ESTELA, CAROLYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ESTELA, JUAN R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ESTRADA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FELICIANO, ENEROLIZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FELICIANO, FERNANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FERNANDEZ OSVALDO, M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FERNANDEZ, HENRY D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FERNANDEZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FERNANDEZ, RAPHAEL G.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FIGUEROA, CLARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FIGUEROA, GLORIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FIGUEROA, GREGORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FIGUEROA, GREGORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FIGUEROA, JOHNNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FLORES, BRENDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FLORES, DOMININA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FLORES, DOMININA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FLORES, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FLORES, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FLORES, JAVIER A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FONTANEZ, CRYSTAL M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FONTANEZ, JOSE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS FOPPIANO (DE BELMONTE),   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ANAMARIA
ROJAS FRANQUI, WILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GALAN, CARLOS R           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GARCIA, ANGEL M.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GARCIA, DAISY R           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GARCIA, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GARCIA, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GARCIA, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GERENA, OMAR M            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GIMENEZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GINES, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GINES, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GOMEZ, GLORIA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GOMEZ, MAYRA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GOMEZ, PAULA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GONZALES, ELIAS           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GONZALEZ, BETHZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GONZALEZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GONZALEZ, CARMELO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GONZALEZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GONZALEZ, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GONZALEZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GONZALEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROJAS GONZALEZ, PEDRO O.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5765 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 766 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROJAS GREEN, JORGE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS GUTIERRES, JOSE LUIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS GUZMAN, DENISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS GUZMAN, JEANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS GUZMAN, LILIBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS HERMINA, NILDA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS HERNANDEZ, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS HERNANDEZ, FRANCISCO J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS HERNANDEZ, JORGE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS HERNANDEZ, MARIA DEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS HERNANDEZ, MARIELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS HERNANDEZ, MARIELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS HOFFMAN, AHYRATT J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS HOFFMAN, OBED             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS HOFFMANN, RICHARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS IRIZARRY, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS IRRIZARRY, AGNES R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS JIMENEZ, ADA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS JIMENEZ, FRANKLIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS JIMENEZ, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS KALBACH, EDUARD M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS LABRADOR, OLGA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS LACOURT, RAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS LEDESMA, ANA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS LEON, LUIS M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS LEON, VICTOR M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS LLANOS, LEYDA VIRGINIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS LOPEZ, CELESTINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS LOPEZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS LOPEZ, HERANIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS LOPEZ, OSCAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS LOPEZ, PEDRO J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS LOPEZ, PRISCILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS LQPEZ, MAYRAH M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MAISONET, AIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MAISONET, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MAISONET, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MAISONET, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MALDONADO, BLANCA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MALDONADO, BLANCA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MARIN, LINDA Z            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MARRERO, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MARRERO, ERIC D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MARRERO, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MARRERO, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MARRERO, NILDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MARRERO, NILDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MARRERO, ROSARIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MARRERO, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5766 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 767 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROJAS MARRERO, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MARTINEZ, BENITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MARTINEZ, FELICITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MARTINEZ, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MARTINEZ, MARTINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MARTINEZ, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MARTINEZ, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MATOS, BEVERLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MATOS, MERILYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MAYSONET, ANDRES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MEJIAS, ALBERTO F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MENDEZ, EMILIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MENDEZ, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MENDEZ, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MERCADO, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MIRANDA, DAYANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MIRANDA, YALIXA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MOLINA, LUZ N.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MONTALVO, CARMEN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MONTALVO, ILENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MONTALVO, MARTIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MONTALVO, YESENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MONTANEZ, CLAUDIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MONTANEZ, EDNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MONTIJO, LEIRAM D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MONTIJO, MARIEL Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MORALES, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MORALES, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MORALES, RITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS MORALES, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS NATAL, NORMA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS NEGRON, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS NIEVES, GRISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS NIEVES, GRISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS NIEVES, JACQUELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS NIEVES, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS NIEVES, JOSE T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS NIEVES, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS NOGUERAS, ANMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS NUNEZ, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS OCASIO, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS OCASIO, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS OCASIO, SILVIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS OROZCO, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ORTEGA, JANICE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ORTEGA, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ORTEGAS, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ORTIZ, ADRIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ORTIZ, ANABELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5767 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 768 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROJAS ORTIZ, FRANCHESKA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ORTIZ, HORACIO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ORTIZ, JAHAIRA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ORTIZ, RITA M              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS OSORIO, ELIAS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS OYOLA, EDWIN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS OYOLA, JORGE I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS OYOLA, SILKIA G            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PABON, CARMEN L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PACHECO, ELIAS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PAGAN, ANTONIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PAGAN, FRANCISCO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PAGAN, REBECCA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PAGAN, RICARDO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PAGAN, RICARDO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PANTOJA, MERVALIZ          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PASTRANA, DEBORAH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PASTRANA, DEBORAH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PASTRANA, RUTH             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PASTRANA, SYLKIA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PENA, DAVID                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PENA, DAVID                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PEREIRA, LIZA M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PEREIRA, VANESSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PEREIRA, VANESSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PEREZ, ARIAM M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PEREZ, ERICA M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PEREZ, ERICA M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PEREZ, JANICE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PEREZ, LIZ G.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PEREZ, LOURDES             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PEREZ, LOURDES B           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PEREZ, MARANGELLY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PIEDRAHITA, MARIA V        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PIEDRAHITA, MARIA V        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PINA, ALEXANDER            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PIZARRO, AMY               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS PONCE DE LEON, YOSSEMITE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS QUEVEDO, WILFREDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS QUILES, MAGDALENA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS QUINONES, CARMEN Y         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RAMIREZ, ABRAHAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RAMIREZ, DELIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RAMIREZ, NEIDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RAMOS, ANGEL               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RAMOS, ELBA I              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RAMOS, JANITZA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RAMOS, JUAN A              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RAMOS, SIOMARYS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5768 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 769 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROJAS REYES, MARIA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS REYES, MIGUEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS REYES, MIGUEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS REYES, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS REYES, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS REYES, NEREIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS REYES, NORMA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIESTRA, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIESTRA, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIESTRA, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA III, VICENTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, ADA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, AIDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, AIDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, ANGEL R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, CHRISTIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, CONCHITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, DEBBIE Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, DOMINGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, EDNA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, ELICA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, ELSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, ELSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, JOSEFINA V.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, JOSHUA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, JUANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, LUIS J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, MARIA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, MILITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, NYDIA N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, PETRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, SARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RIVERA, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROBLES, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROCA, AUREA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, ABRAHAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, ADA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, ADA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, ANA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, ELISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, ENOC           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, FRANCISCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5769 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 770 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
ROJAS RODRIGUEZ, HECTOR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, JUAN C.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, LUZ D            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, MARIA DEL PILA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, MARIA JUDITH     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, MARILYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, MARILYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, MIGUEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, MIGUEL A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, MILAGROS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, NELIDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, RAFAEL R.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, RAUL E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, ROSA A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, ROSA A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, TERESA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, TIFFANY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, TIFFANY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, VICTOR M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RODRIGUEZ, YIVETTE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROJAS, ALICIA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROJAS, ALICIA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROJAS, ALICIA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROJAS, CARMEN               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROJAS, FRANCISCO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROJAS, JOHANA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROJAS, JOHANA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROJAS, TOMAS                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROJAS, WANDA I              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROMAN, ANA I                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROMAN, JOSE E               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROMAN, MARIA DE LOS A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROSADO, LUIS A              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROSADO, LUIS A              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROSADO, MARIBEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROSADO, REBECA A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROSARIO, CARLOS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROSARIO, PORFIRIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROSARIO, RAFAEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROSARIO, RAFAEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS ROSARIO, SANTIAGO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RUIZ, ELIZABETH             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RUIZ, ELIZABETH L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS RUIZ, EZEQUIEL MISAEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANABRIA, ALEX              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANABRIA, JOSEPH            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANCHEZ, ALBA N.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANCHEZ, ALICIA J.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANCHEZ, ALICIA JANETTE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5770 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 771 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROJAS SANCHEZ, LISSETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANCHEZ, LISSETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANCHEZ, LISSETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANCHEZ, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANCHEZ, MIRIAM I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANCHEZ, ROSALYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANCHEZ, RUTH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANCHEZ, RUTH M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTANA, ANEUDY J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTANA, ISRAEL O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTANA, SIGFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTANA, SIGFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTIAGO, ANDRES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTIAGO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTIAGO, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTIAGO, JENNIFER M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTIAGO, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTIAGO, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTIAGO, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTIAGO, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTOS, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTOS, JESUS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTOS, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTOS, PEDRO I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SANTOS, WILMARYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SERRANO, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SERRANO, SANTIAGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SOSA, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SOSA, GLADYS J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SOTO, LUZ M.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS SOTO, WANDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS TALAVERA, KEISSY J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS TIRADO, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS TOBI, LUIS JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS TORRES, ADA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS TORRES, EDNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS TORRES, ELIAS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS TORRES, GUADALUPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS TORRES, JUAN R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS TORRES, LOANMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS TORRES, LOANMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS TORRES, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS TORRES, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS TRINIDAD, VELMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VALENTIN, DIANA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VASALLO, ADALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VAZQUEZ, CARMEN N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VAZQUEZ, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VAZQUEZ, JUAN DE JESUS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5771 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 772 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROJAS VAZQUEZ, LILIBETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VAZQUEZ, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VEGA, INES B              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VEGA, OSVALDO M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VEGA, OSVALDO R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VEGA, XIOMARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VELAZQUEZ, ALFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VELAZQUEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VELAZQUEZ, ISRAEL E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VELAZQUEZ, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VELAZQUEZ, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VELAZQUEZ, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VELEZ, ADVIDA B.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VERAS, ANA D.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VERGARA, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VERGARA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VILA, JULIA E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VILLAFANE, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS VILLEGAS, LESLIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS, GERMAN                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS, GILBERTO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS, JEANPAUL C               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS, JORGE L.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS, PEDRO                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJAS, SANTIAGO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJASAGOSTO, RUBEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJASARROYO, SERGIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROJASSANCHEZ, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLA GOMEZ, KARLA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLA RAMOS, NILSA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLA ZABALA, MARGIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLAN JIMENEZ, MONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ALMEDA, MARGARITA R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ALOMAR, PATRISHEA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ALVAREZ, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN AMBERT, LOURDES S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN APONTE, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN APONTE, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ARROYO, GLEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ARRUFAT, MARITZA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ARRYFAT, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ARZUAGA, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDÁN ARZUAGA, NORMA IRIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN AYALA, AYXA X            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN BADILLO, CELESTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN BADILLO, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN BADILLO, MARICELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN BARRETO, JOSE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN BETANCOURT, ANGEL L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5772 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 773 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLDAN BETANCOURT, MARIA A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN BLANCO, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN BURGOS, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CABRERA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CAEZ, LERNY Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CALDERON, LILLIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CAMACHO, ALEJANDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CAMACHO, GLADYS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CARRASQUILLO, MARIA E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CASTILLO, SUSANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CINTRON, PRISDALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN COLLAZO, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN COLLAZO, LYMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN COLON, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN COLON, EVELINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN COLON, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN COLON, JOANNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CONCEPCION, JOSE R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CONCEPCION, JULIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CONCEPCION, LAURA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CONCEPCION, VERONICA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CONCEPCION, VERONICA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CORA, DANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CORA, DANA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CORDERO, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CORREA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CORTES, GLADYS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CORTES, JOSE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN COSME, JUAN J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN COSME, ROSA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN COSTAS, IRAIDA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN COTTO, GENESIS Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CRUZ, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CRUZ, IVAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CRUZ, MIGUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CRUZ, PEDRO A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CRUZ, SYLVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CRUZ, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN CUADRADO, JUANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DAUMONT, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DAUMONT, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DAVILA, ROSALIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DAVILA, ROSALIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DE GARCIA, WANDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DE JESUS, MARINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DE LEON, ZULMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DE MONZON, ANA ROSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DELGADO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DELGADO, JESSIKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5773 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 774 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLDAN DELGADO, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DIAZ, ARIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DIAZ, CARLOS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DIAZ, ELSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DIAZ, FELIX R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DIAZ, JAIME J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DIAZ, QUETZY E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DIAZ, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DIAZ, YOMAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DIAZ, YOMAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DONES, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN DONES, YARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ESTRADA, HELGA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ESTRADA, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FELICIANO, CESAR A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FELICIANO, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FELIX, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FERNANDEZ, SANDRA F      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FIGUEROA, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FIGUEROA, GLADYNES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FIGUEROA, SYLVIA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FIGUEROA, VANESSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FIGUEROA, VERONICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FIGUEROA, ZULMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FLORES, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FLORES, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FLORES, DOMINGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FLORES, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FLORES, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FLORES, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FLORES, YVONNE MARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FONTANEZ, LYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FONTANEZ, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FONTANEZ, YAMILYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FRANQUI, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FUENTES, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FUENTES, CELESTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN FUENTES, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GALVAN, ARELYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GARCIA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GARCIA, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GARCIA, GISELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GARCIA, GISELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GARCIA, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GARCIA, LUIS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GARCIA, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GARCIA, ONIX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GARCIA, RAFAEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GARCIA, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5774 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 775 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLDAN GOMEZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GOMEZ, EDDIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GOMEZ, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GOMEZ, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GONZALEZ, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GONZALEZ, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GONZALEZ, JORGE D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GONZALEZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GONZALEZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GONZALEZ, RAPHAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GUALDARRAMA, REINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN GUZMAN, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN HERNADEZ, ANDRES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN HERNANDEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN HERNANDEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN HERNANDEZ, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN HERNANDEZ, LILLIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN HERNANDEZ, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN HERNANDEZ, LUIS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN HERNANDEZ, NEREIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN HILERIO, SASHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN HIRALDO, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN HOYOS, CARLOS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN IRIZARRY, DILIANI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN LEBRON, RAYMON D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN LOPEZ, JOSE J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN LOPEZ, MISAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN LOPEZ, VALERIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN LOPEZ, YAMIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN LUCCA, ARGENIS MARCELL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN LUGO, ROSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN LUGO, ROSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MALAVE, LUZ N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MALDONADO, ARGENIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MARCIAL, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MARCIAL, MILAGROS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MARQUEZ, IRAZEMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MARQUEZ, MYRNA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MARQUEZ, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MARQUEZ, TABITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MARTINEZ, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MARTINEZ, GILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MARTINEZ, RAMON J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MARTINEZ, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MARTIR, CHRISTOPHER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MASSA, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MATOS, ALICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MATOS, ALICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MATOS, JAESMERYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5775 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 776 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLDAN MATOS, JOMMER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MEDINA, ADARIS L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MEDINA, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MEDINA, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MEDINA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MEDINA, SUZETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MEJIAS,CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MENDEZ, SULEIKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MERCADO, JEAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MERCADO, SARA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MERCADO, SYLVIA O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MIRALLA, OSCAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MIRALLA,OSCAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MONTALVO, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MONTAQEZ, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MORALES, ANA H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MORALES, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MORALES, GRASHEMARY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MORALES, GRASHEMARY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MORALES, ROLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MORELL, DORIS N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MORELL, DORIS N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MUIZ, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MUNIZ, DAMARILIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MUNIZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MUNIZ, NAYDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MUNOZ, ANTONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MUNOZ, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN MUNOZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN NEGRON, DGIOVANNI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN NIEVES, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN NIEVES, WANDA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN OCASIO, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN OCASIO, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN OQUENDO, FRANCISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN OQUENDO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN OQUENDO, VICTORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ORTEGA, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ORTIZ, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ORTIZ, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ORTIZ, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ORTIZ, BETHZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ORTIZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ORTIZ, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ORTIZ, ROLANDO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ORTIZ, ZULMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN PADILLA, JEANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN PADILLA, JEANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN PAGAN, HILDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 777 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLDAN PALMERO, ESTELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN PALMERO, ESTELA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN PARDO, ABRAHAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN PEREZ, HAYDEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN PEREZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN PEREZ, LUIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN PEREZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN PEREZ, NOELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN PEREZ, ROLDAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN PEREZ, XIOMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN PEREZ, YVONNE Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN PINERO, ELISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN PLUMEY, BLANCA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN POLANCO, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN PONTE, ODALIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN QUINONES, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN QUINONES, LYDIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN QUINONES, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN QUINONES, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN QUINONES, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RAMIREZ, CORALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RAMIREZ, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RAMIREZ, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RAMOS, EILEEN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RAMOS, FELICITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RAMOS, HECTOR M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RAMOS, IRMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RAMOS, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RAMOS, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RAMOS, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RAMOS, LESLIE ANN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RAMOS, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RAMOS, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RAMOS, WANDA IVELISSE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN REILLO, ALMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN REILLO, ALMA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN REYES, JEANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN REYES, YUBELIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN REYES, YUBELIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RIOS, NESTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RIVERA, ABNER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RIVERA, ABNER J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RIVERA, ANGEL LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RIVERA, CAMELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RIVERA, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RIVERA, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RIVERA, ELBA IRIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RIVERA, GLADYS V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RIVERA, JEANNETTE I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5777 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 778 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLDAN RIVERA, LYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RIVERA, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RIVERA, SUE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RIVERA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RIVERA, YAMIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ROBLES, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ROBLES, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RODRIGUEZ, ANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RODRIGUEZ, ANA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RODRIGUEZ, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RODRIGUEZ, FIDENCIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RODRIGUEZ, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RODRIGUEZ, JANET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RODRIGUEZ, JEANETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RODRIGUEZ, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RODRIGUEZ, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RODRIGUEZ, NESTOR E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RODRIGUEZ, SHEILA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RODRIGUEZ, VICTOR M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ROHENA, IRIS Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ROHENA, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ROHENA, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ROSA, CARMEN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ROSA, CAROL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ROSADO, LUIS O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ROSADO, LUIS O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ROSARIO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ROSARIO, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ROSARIO, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN RUIZ, VICTORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SANABRIA, BIENVENIDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SANCHEZ, CARMEN L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SANCHEZ, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SANCHEZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SANCHEZ, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SANES, PEDRO C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SANTANA, EMILIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SANTIAGO, BRENDA LEE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SANTIAGO, GIOVANNY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SANTIAGO, GIOVANNY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SANTIAGO, GIOVANNY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SANTIAGO, KATHIA Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SANTIAGO, LISMAR S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SANTIAGO, YIMARLYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SANYET, LUCIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SERRANO, AMADIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SERRANO, AMADIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SERRANO, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SERRANO, EMILIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5778 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 779 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLDAN SERRANO, RAFAEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SIERRA, GLARISBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SIERRA, ZUHEILLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SOLTREN, GISELL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SOTO, ROSALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN SOTOMAYOR, LUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN TAPIA, NYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN TAVAREZ, BENNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN TIRADO, JOSE G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN TORRES, YELIXZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN TRINIDAD, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN TRINIDAD, MARIA T.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN UBINAS, SANTO I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN URBINA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VALENTIN, BETHZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VALENTIN, MARCOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VALENTIN, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VALENTIN, YADIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VALLE, MINERVA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VARGA, NESTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VARGAS, NESTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VAZQUEZ, CARMEN S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VAZQUEZ, DALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VAZQUEZ, DALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VAZQUEZ, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VAZQUEZ, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VAZQUEZ, LOPE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VAZQUEZ, MARIA DEL C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VAZQUEZ, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VAZQUEZ, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VEGA, WANDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VELAZQUEZ, YARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VELAZQUEZ, YARITZA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VELILLA, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VELILLA, LUIS ALBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VELILLA, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VENACIO, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VENACIO, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VENANCIO, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VENANCIO, MATILDE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VICENTE, MARIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VICENTE, MARIA J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VICENTE, WANDA D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VICENTE, WANDA D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VIERA, GIOMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VILLEGAS, ANTHONY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VIVES, LYMARI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VIVES, MARIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN VIVES, MARIE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5779 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 780 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLDAN VIVES, MARIE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ZAPATA, SOL D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ZAYAS, NILSA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN ZENO, JOSE J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN, ARCADIA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN, IRIS YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN, LEOPOLDO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN, MARIA L                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN,LUIS A                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDAN,RAFAEL A.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDANM MIRANDA, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDOS BAYRON, SANTOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDOS MATOS, AKBY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLDOS SEPULVEDA, ELENA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLENA COTTO, MELANY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLLAND REYES, ANABELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLLAND SAEZ, EDNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLLAND SAEZ, GILBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLLINS VELEZ, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLLOCKS RIVERA, RAYMOND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLLOCKS RIVERA, RAYMOND R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLLOCKS RODRIGUEZ, JOHN P      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ACEVEDO, EMMANUELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ADORNO, AIDYL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ADORNO, DAFNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ALBINO, RAQUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ALICEA, NOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ALINDATO, ANJELICA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ALMESTICA, CHRISTIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ALVARADO, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ALVARADO, ROSANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ALVAREZ, DENISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ALVAREZ, DENISSE D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ALVAREZ, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ALVELO, ALVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ALVELO, FRANKIE G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ALVELO, FRANKIE G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON AMARAL, ANA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON AMARAL, ANA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ANDINO, JOCELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON APONTE, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON APONTE, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON APONTE, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ARROYO, JOSE C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON AYALA, GABRIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON AYALA, GABRIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON AYALA, GUILLERMINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON AYALA, ILEANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON BARADO, NORMA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 781 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLON BELTRAN, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON BELTRAN, YOELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON BELTRAN, YOELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON BERRIOS, VICTOR A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON BONILLA, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON BONILLA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON BONILLA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON BORRES, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON BORRES, NITZA Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON BRITO, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON BRITO, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CABRERA, OLGA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CABRERA, OLGA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CAMACHO, SHIRLEY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CAMACHO, SHIRLEY M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CANINO, ROSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CARTAGENA, AGUSTIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CARTAGENA, BETTY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CARTAGENA, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CARTAGENA, JESUS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CARTAGENA, LUZ N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CASTILLO, MARIA DEL C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CASTRO, ELIEZER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CHINEA, MELISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CHINEA, TERESITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON COLLAZO, SONIA N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON COLON, ALEIRA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON COLON, BERTIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON COLON, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON COLON, GILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON COLON, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON COLON, JANNISE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON COLON, JESUS E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON COLON, LAURA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON COLON, MYRNA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON COSME, FRANCISCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON COSME, GRACE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON COSME, SHEILA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CRESPO, AYSHA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CRESPO, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CRUZ, LIZBETH V.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CRUZ, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CRUZ, MARIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CRUZ, NANCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CRUZ, NITZA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CRUZ, ZULMA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CRUZADO, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CRUZADO, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON CUEVAS, KARLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5781 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 782 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLON DAVILA, JEAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DAVILA, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DE JESUS, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DE JESUS, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DE JESUS, ELY G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DE JESUS, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DE JESUS, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DE JESUS, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DE MEJIAS, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DELGADO, CARMEN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DELGADO, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DELGADO, JUAN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DELGADO, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DIAZ, EVA L.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DIAZ, JACEMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DIAZ, JANICE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DIAZ, MANUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DIAZ, SABY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DIAZ, SHEILA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DIAZ, YELISKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DUPREY, MILTON A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON DURAN, JOSE O.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON ESCOBAR, ADILIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON ESCOBAR, ADILIA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON ESCOBAR, ADILIA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON ESTRADA, WALESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON FELICIANO, IRMA N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON FERNANDEZ, CARMEN S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON FIGUEROA, ANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON FIGUEROA, MARGIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON FONSECA, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON FONTANEZ, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON FUENTES, MARIMEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON FUENTES, MARIMEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON FUENTES, WALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON GARCIA, ANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON GARCIA, AUREA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON GARCIA, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON GARCIA, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON GARCIA, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON GARCIA, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON GARCIA, REINA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON GARCIA, SONIA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON GARCIA, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON GARCIA, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON GEIGEL, JOSE F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON GINES, LILIBETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON GONZALEZ, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROLON GONZALEZ, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 783 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLON GONZALEZ, GLORIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON GONZALEZ, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON GONZALEZ, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON GONZALEZ, LUIS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON GONZALEZ, MARIA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON GONZALEZ, NERIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON GRAU, ANA B.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON GUERRA, ANGEL F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON GUZMAN, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON GUZMAN, MONALISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON HENRIQUE, LEILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON HERNANDEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON HERNANDEZ, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON HERNANDEZ, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON HERNANDEZ, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON HERNANDEZ, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON HERNANDEZ, SYLMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON HERNANDEZ, SYLMA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON HERNANDEZ, YAMIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON HERNANDEZ, YANIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON HERNANDEZ, YERIKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON IRAOLA, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON IRIZARRY, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON JACKSON, DIANNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON JOSE, JUAN CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON LOPEZ, CYNTHIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON LOPEZ, HERMINELLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON LOZADA, ANABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON LOZADA, SARA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON LOZADA, ZORIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON LOZADA, ZORIBET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON LOZANO, ALICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON LOZANO, ALICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON LOZANO, INES DEL C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON LOZANO, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON LOZANO, IRIS N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MACHADO, MIRIAM M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MACHADO, PAOLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MACHIN, JANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MALAVE, JAVIER A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MALDONADO, ANIELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MALDONADO, HECTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MARCANO, LILLIAM I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MARINA, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MARRERO, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MARRERO, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MARRERO, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MARTINEZ, ADAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MARTINEZ, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5783 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 784 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLON MARTINEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MARTINEZ, MARIA P         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MARTINEZ, NYDIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MARTINEZ, NYDIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MELENDEZ, BELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MELENDEZ, JOSE B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MELENDEZ, LAURA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MELENDEZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MELENDEZ, LUIS L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MELENDEZ, LUIS L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MELENDEZ, MARIA DE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MELENDEZ, MARIA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MENDEZ, AXEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MENDEZ, JUDY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MENDEZ, JUDY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MENDOZA, ESTEBAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MERCADO, ANGEL L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MERCADO, LUIS E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MERCED, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MIRANDA, JOSE O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MOJICA, MARIANO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MOJICA, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MOJICA, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MOLINA, LOUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MONTES, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MONTIJO, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MONTIJO, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MORA, GEORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MORALES, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MORALES, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MORALES, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MORALES, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MORALES, MYRNA LYZZETTE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MORALES, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MORALES, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MORALES, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MORALES, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MORENO, AIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MORENO, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MUNOZ, MARIELIZ A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON MUNOZ, NELSON G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON NARVAEZ, JOSUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON NARVAEZ, RUMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON NEGRON, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON NEGRON, EDGAR J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON NEGRON, GIOHEIDI M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON NEGRON, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON NEVAREZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON NIEVES, ADA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5784 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 785 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLON NIEVES, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON NIEVES, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON NIEVES, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON NOGUERAS, REBECCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON OQUENDO, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON OQUENDO, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORENGO, CARLOS E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTEGA, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTEGA, HARRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTEGA, MATILDE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTEGA, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, AIDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, AIDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, ANGEL L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, CANDIDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, EDGARDO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, GRISEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, GRISEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, LUIS N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, MARIA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, MARIA DE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, MICHAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, PEDRO J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, PEDRO J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ORTIZ, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON OTERO, AWILDALYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON OTERO, KYANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON OTERO, MARILY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PABON, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PADILLA, JORGE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PADILLA, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PARDO, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PARDO, LILLIAN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PEDROZA, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PEREZ, ADA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PEREZ, ADALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PEREZ, ALMA R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PEREZ, BETZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PEREZ, ERIKA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PEREZ, FRANCISCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PEREZ, FRANCISCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PEREZ, LUISA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PEREZ, LUISA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PEREZ, LYDIA MARGARITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 786 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLON PEREZ, SONIA IVELISSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PICOT, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON PIZARRO, WALESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON QUILES, SARA LUZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON QUINONES, ALBERT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON QUINONES, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON QUINONES, GALAXIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON QUINONES, JACKELINE I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON QUINONEZ, ANA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RAMIREZ, ISABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RAMOS, LUZ N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RAMOS, LYMARIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RAMOS, LYMARIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RAMOS, MAYRA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RAMOS, SUHAIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON REYES, YAMIL J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIOS, ANA R               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIOS, CHAROW D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIOS, CHAROW D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIOS, ESMIRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIOS, GLENDALY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIOS, GRACE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, ABNERIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, ABRAHAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, ANA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, ANA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, ANA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, AYMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, BEATRIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, BEATRIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, CARMEN D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, CARMEN D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, CARMEN D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, FRANCHESC         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, GLORIA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, JESSICA B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, JOSE J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, KEISHLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, LORNA G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, LOURDES M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, LUCIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, MADIELIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, MADIELIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, MARGIVONNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 787 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLON RIVERA, MARGIVONNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, MARIA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, MEHIDA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, RAFAEL J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, ROSANNIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, RUTH M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, RUTH M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, SIRI Y.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RIVERA, WANDA IVETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROBLES, MINERVA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, ANABIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, ANGEL J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, ARIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, ARNALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, CARMEN H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, GIANCARLO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, LYNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, MARCELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, MARIA V.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, MELBA G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, RADAMES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, SANDRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RODRIGUEZ, WANDA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROHENA, HILKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROLON, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROLON, ATANACIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROLON, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROLON, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROLON, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROLON, JOSE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROLON, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROMAN, MAGALI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROSA, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROSADO, CARLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROSADO, CARLA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROSADO, CARLA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROSADO, CELYANNIE I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROSADO, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5787 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 788 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLON ROSADO, JAYSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROSADO, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROSARIO, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROSARIO, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ROSARIO, NIBEA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RUIZ, CRUZ NOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RUIZ, DAVID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RUIZ, DELIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RUIZ, ELSA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RUIZ, JOSUE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RUIZ, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RUIZ, VICTORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON RUIZ, ZORAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SAEZ, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SAEZ, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SAEZ, NARCISO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SALGADO, ANA ROSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SANCHEZ, ANA ROSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SANCHEZ, ANTONIO A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SANCHEZ, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SANCHEZ, IRMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SANCHEZ, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SANCHEZ, NILDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SANTIAGO, AMARILIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SANTIAGO, GLORIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SANTIAGO, GUILLERMO J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SANTIAGO, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SANTIAGO, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SANTIAGO, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SANTIAGO, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SANTOS, YELISA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SANYUZT, FERNANDO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SEDA, NEREIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SEGARRA, ANGEL L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SEPULVEDA, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SERRANO, ANA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SOLIVAN, ELIEZER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SOLIVAN, ELISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SOLIVAN, ELISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SOLIVAN, RIGOBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SOSTRE, JULIA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SUAREZ, ERIK              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SUAREZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON SULIVAN, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON TIRADO, BARBARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON TOLEDO, NORKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON TORES, REYSHLIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON TORRES, ALMA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON TORRES, ANGEL F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5788 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 789 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROLON TORRES, EDDIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON TORRES, ENID MABEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON TORRES, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON TORRES, JENNY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON TORRES, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON TORRES, LESBIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON TORRES, LESBIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON TORRES, REYCHEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON TORRES, REYSHLIE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON TORRES, ZULEIKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON VALLE, LOUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON VARGAS, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON VAZQUEZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON VAZQUEZ, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON VAZQUEZ, DENISE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON VAZQUEZ, ELBA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON VAZQUEZ, ELIEZER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON VAZQUEZ, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON VAZQUEZ, REINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON VAZQUEZ, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON VEGA, MYRIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON VEGA, WALESKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON VEGA, WALESKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON VELEZ, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON VILLAFANE, CARLOS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON VILLAFANE, CARLOS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ZAYAS, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ZAYAS, ANGEL M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ZAYAS, EVIANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ZAYAS, KEILA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON ZAYAS, KEYLA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON, CARLOS                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON, MANUEL                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLON, PABLO                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLONDELIZ, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLONHERNANDEZ, ESTHER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROLONROSADO, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAAN PEREZ, JUAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMACHO MENENDEZ, LYDIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAGUERA, MARIANO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAH COLON, DEOGRACIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAM TORRES, JANANDRELYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ABRAMS, AURELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ABREW, JOSE R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, ALEJANDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, DANIRIS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 790 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN ACEVEDO, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, JOCELYN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, JOSE W           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, MARIA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, MYRNA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, SULAI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACEVEDO, SULAI I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACOSTA, ASTRID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACOSTA, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACOSTA, CLARISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACOSTA, DALMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACOSTA, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ACOSTA, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ADAMES, AIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ADAMES, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ADAMES, MICHAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ADAMES, YESSENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ADORNO, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ADORNO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AGOSTO, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AGOSTO, CARMEN Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AGOSTO, JULIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AGOSTO, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AGOSTO, YARALYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AGUAYO, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AGUAYO, ZAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AGUIAR, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AGUIAR, RAMZY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AGUIAR, XAVIER C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AGUILAR, MAGALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AGUILAR, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AHORRIO, ANDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALAMEDA, KATHIRIA H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALAMO, ANA MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALBARRAN, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALBERRO, STEVEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALBINO, FELIPE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALBINO, NORMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALDARONDO, GLORYVEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALDARONDO, GLORYVEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALGARIN, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALGARIN, VILMARIE S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALGARIN, VILMARIE S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 791 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN ALICEA, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALICEA, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALICEA, ZAHIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALICEA, ZAHIRAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALMODOVAR, ANA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALTU, JOEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALVARADO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALVARADO, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALVARADO, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALVARADO, WILMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALVARADO, WILMA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALVAREZ, ALONDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALVAREZ, ARIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALVAREZ, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALVAREZ, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALVAREZ, NELSON A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ALVAREZ, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AMADOR, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ANDALUZ, NIVIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ANDINO, ADA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ANDINO, AMARILYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ANDINO, CIRILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ANDINO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ANDRADES, JULIO C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ANDUJAR, SOCORRO M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ANGUEIRA, BLANCA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ANGUEIRA, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ANTHONY, CORALYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ANTHONY, ODALYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN APONTE, ANGEL J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN APONTE, EDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN APONTE, JOSEFINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN APONTE, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN APONTE, SUHAILY M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN APONTE, WILSON A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AQUINO, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AQUINO, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARBELO, AIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARBELO, AIDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARBELO, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARBELO, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARCE, ANTONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARCE, BENEDICTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARCE, MYRNA R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARCE, SANTOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARCE, SANTOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARCE, WANDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARRIAGA, VICENTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARRIAGA, XIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5791 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 792 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN ARROYO, ABRAHAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARROYO, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARROYO, GLORIBETSY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARROYO, HECTOR J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARROYO, JACQUELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARROYO, JOSE N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARROYO, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARROYO, MARTA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARROYO, VIANI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ARVELO, CARMEN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ASENCIO, SHELLIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ASTACIO, NOELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AUDIFFRED, DHAMYL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AUGUSTO, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AULET, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AVILES, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AVILES, FREDDIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AVILES, JOSELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AVILES, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AYALA, CIELO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AYALA, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AYALA, ESPERANZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AYALA, FIDEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN AYALA, GERARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BADENAS, LUIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BADILLO, BRUNILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BAEZ, ABIGAIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BALAEZ, SMYRNA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BALAGUER, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BANOLA, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BAQUE, NEREIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BARCELO, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BARRETO, JUAN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BARRETO, JULIO E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BARRETO, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BARRIENTOS, PURA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BARRIOS, ALEJANDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BATISTA, EILIEZER A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BATISTA, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BATTISTINI, PATRIA N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BAUZA, GRACINIANO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BEAUCHAMP, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BEAUCHAMP, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BELEN, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BELTRAN, BELKIES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BELTRAN, HELEN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BELTRAN, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BELTRAN, HILDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BELTRAN, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5792 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 793 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN BELTRAN, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BELTRAN, MARIA DEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BENITEZ, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BENITEZ, VICTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BERDECIA, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BERRIOS, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BERRIOS, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BERRIOS, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BERRIOS, LILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BERRIOS, MAGDALENA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BETANCOURT, RAMONA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BLANCO, BLANCA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BLANCO, LAUREANO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BLANCO, RODOLFO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BONANO, YANIRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BONEU, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BONEW, MARIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BONILLA, GILDALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BONILLA, ISAMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BONILLA, ISAMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BONILLA, JUAN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BONILLA, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BONILLA, RAQUEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BONILLA, SANDRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BORDOY, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BORDOY, YASMIN YESENIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BORGOS, EMMA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BORRERO, MANUEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BORRERO, REBECCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BOSQUES, MAGDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BOSQUES, NOEMI DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BULTRON, MARIA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BURGOS, AIDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BURGOS, ANA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BURGOS, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BURGOS, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BURGOS, IRIS G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BURGOS, JERRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BURGOS, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BURGOS, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BURGOS, MILLIAM E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BURGOS, ROBERT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN BURGOS, SONIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CABALLERO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CABALLERO, JOSE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CABALLERO, LURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CABALLERO, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CABAN, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CABAN, ARELIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5793 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 794 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN CABAN, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CABAN, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CABAN, FELIPE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CABAN, JOEL E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CABAN, MELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CABAN, NELIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CABAN, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CADIZ, IRIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CALDERON, ALBA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CALERO, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CALZADA, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CAMACHO, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CAMACHO, KAREN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CAMACHO, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CAMACHO, MARTHA DE LOS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
A
ROMAN CAMACHO, YADIRA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CAMARGO, AUREA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CAMPOS, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CAMPOS, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CANCEL, FRANCISCA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CANCEL, JEFFREY           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CANDELARIA, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CANDELARIA, JOSEFINA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CANDELARIA, PEDRO J       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CANDELARIA, RAUL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CANDELARIO, FRANCES M     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CANDELARIO, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CANDELARIO, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARABALLO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARABALLO, DORALIS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARABALLO, GUSTAVO A.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARABALLO, GUSTAVO A.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARABALLO, RITA M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARDALDA, YASDEL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARDE, IRMA L             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARDONA, MIRIAM M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARRASQUILLO, YOLANDA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARRASQUILLO, YOLANDA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARRERO, EITON            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARRERO, EITON            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARRERO, FRANKLIN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARRERO, LUIS E.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARRERO, ODILIO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARRIL, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARRILLO, WANDA I.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARRION, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARRION, NAYDA M          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN CARTAGENA, CARMEN R       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5794 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 795 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN CARTAGENA, JESLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CARTAGENA, MARGORIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CARTAGENA, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CASILLAS, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CASTANER, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CASTELLANO, JUAN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CASTELLANO, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CASTELLANO, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CASTELLANOS, MABEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CASTILLO, JORGE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CASTILLO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CASTRO, ALFREDO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CASTRO, DELIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CASTRO, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CASTRO, JAICIKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CASTRO, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CASTRO, MONICA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CASTRO, MONICA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CASTRO, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CECILIO, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CECILIO, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CEDENO, AXEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CEDENO, CRISTIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CEDENO, LIZ NOEMI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CENTENO, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CEREZO, AIXA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CEREZO, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CHANZA, YADIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CHEVALIER, EVARISTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CHEVRES, JESSICA DEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CHICLANA, SHEILA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CHICO, ANGEL M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CHICO, LUCIANO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CHIMELIS, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CHIMELIS, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CINTRON, CARLOS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CINTRON, DINORAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CINTRON, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CINTRON, ZULMA V.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CIRINO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CLAS, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CLASS, LAURA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLLAZO, ASTRID E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLLAZO, EUGENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLLAZO, FRANCISCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLLAZO, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLLAZO, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLLAZO, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, ANGEL A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5795 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 796 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN COLON, CARMEN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, CRISTINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, DENNIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, EDDA V.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, GABRIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, GERARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, GILBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, GINESA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, GINESA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, IDALIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, JOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, LOYDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, LUZ E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, MEXY S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, NATALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, NELIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, NICOLE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, SYLVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, VICTORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, YARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, ZAIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COLON, ZAIDA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COMULADA, CAROL V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COMULADA, JENIFFER M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CONCEPCION, NORMAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CONDE, RALPH J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CONTRERAS, JANN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORA, YOLANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORCHADO, GUMERSINDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORCHADO, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORDERO, MOISES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORDERO, STEPHANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORDERO, SYLVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORDERO, SYLVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORDHADO, SAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORDOVA, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORDOVA, MARTINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORPS, VILMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORPS, VILMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORREA, AYLEEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORREA, BLANCA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORREA, JOURSHUA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORREA, LYDIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORREA, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORREA, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORREA, WILSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORTES, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5796 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 797 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN CORTES, FREDDIE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORTES, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORTES, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORTES, JORGE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORTES, JORGE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORTES, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORTES, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORTES, MIRIAM I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORTES, MIRIAM I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORTES, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CORTES, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COTTES, KATHERIN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COTTES, KATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COTTES, KATHERINE G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COTTO, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COVAS, EDDA R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN COVAS, RUTH N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRESPO, AIDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRESPO, ALEJANDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRESPO, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRESPO, ARGELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRESPO, CARLOS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRESPO, RICHARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRESPO, SUSANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, AIXA G              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, ALEXIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, ANA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, ANA M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, ARLENE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, AYLEEN I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, BERENITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, CALIXTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, CESAR E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, DAVID F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, DORIS D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, ELENA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, ENILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, ESPERANZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, HECTOR L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, HECTOR M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, IRIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, JAVIER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, JESSICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, JESSICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, JESUS N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, LUIS F              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, LUZ                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, LUZ L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5797 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 798 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN CRUZ, LUZ L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, MILAGROS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, MINERVA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, MIRIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, NEYDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, NILDA L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, RADAMES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, RAFAEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, RUBEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, SONIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, WALESKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, WILFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, ZULEYKA Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CRUZ, ZULEYKA Y.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CUASCUT, MERCEDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CUBA, EULALIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CUBERO, JANELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CUEVAS, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CUEVAS, JUANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CUEVAS, RAMON L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CURBELO, STEPHANIE C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CURET, ANIBAL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN CURET, LILLIANY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DAVID, MARTHA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DAVID, MARTHA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DAVILA, ANGEL L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DAVILA, ARIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DAVILA, ODETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DAVILA, PALOMA DEL MAR    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DAVILA, SONIA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE JESUS, ALEXANDER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE JESUS, ANGEL G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE JESUS, CARLOS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE JESUS, CARMEN N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE JESUS, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE JESUS, IVETTE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE JESUS, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE JESUS, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE JESUS, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE JESUS, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE JESUS, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE JESUS, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE JESUS, OLGA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE JESUS, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE JESUS, SANTOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE LEON, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE LEON, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE LEON, KEYLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5798 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 799 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN DE MERROW, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE MONTALVO, DIANILDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE PITRE, REBECA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DE SOLIS, ROSA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DEL RIO, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DEL RIO, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DEL RIO, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DEL RIO, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DEL RIO, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DEL VALLE, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DEL VALLE, MARITILDE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELERME, DIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELERME, DIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELERME, JANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELERME, JUAN B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELGADO, BRENDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELGADO, BRYAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELGADO, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELGADO, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELGADO, JOSE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELGADO, LIDUVINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELGADO, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELGADO, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELGADO, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELGADO, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELGADO, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELGADO, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELGADO, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DELGADO, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DESPIAU, ANDREALIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DEYNES, JORGE LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, ANIRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, CARLOS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, CARMEN D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, CARMEN D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, CARMEN M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, DEYANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, DORIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, ESTHER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, FRANSHESKA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, HILSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, ILEAMS I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, ILEAMS I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, JOANIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, JORGE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, KRYSTLE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, LEAMSI I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, LIZETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, LUZ M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5799 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 800 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN DIAZ, MIGUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, NILDA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, NORVA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, ODALY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, ROSALINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, SAMUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, YISSEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, YISSEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DIAZ, YISSEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DOMENECH, SHEYLAMARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DOMINGUEZ, VICTOR J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DORTA, HECTOR S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN DORTA, HECTOR S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ECHEVARRIA, CARMEN M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ECHEVARRIA, DOMINGA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ECHEVARRIA, ELBA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ECHEVARRIA, JARISA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ECHEVARRIA, MANUEL DE JES REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

ROMAN ECHEVARRIA, VALERIE      REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ELIAS, VIVIAN            REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ELIAS, VIVIAN            REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ENCARNACION, STEPHANIE M REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

ROMAN ESCALERA, MARTHA E        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESCOBAR, KRISTAL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESPADA, CARLOS M.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESPIET, RAMFIS A          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESPINAL, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESPINOSA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESPINOSA, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESPINOSA, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESTEVES, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESTRADA, AIDA L           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESTRADA, ANA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESTRADA, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESTRADA, EDGAR J          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESTRADA, EDGAR J          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESTRADA, EDITH            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESTRADA, EDITH            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESTRADA, ELADIO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESTRADA, ELBA I           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESTRADA, YEMELI ANN       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESTREMERA, SIBELLE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESTREMERA, SIBELLE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN ESTREMERA, YETZIBELLE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FARGAS, MARITERE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FELICIANO, ALEXA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FELICIANO, ANTONIA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5800 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 801 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN FELICIANO, ELENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FELICIANO, ELENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FELICIANO, ELENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FELICIANO, JOHANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FELICIANO, LUISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FELICIANO, LUZ Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FELICIANO, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FELICIANO, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FELICIANO, RAMONITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FELICIANO, VIRGEN R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FELIX, ERICK E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FERNANDEZ, BENITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FERNANDEZ, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ARMANDO
ROMAN FERNANDEZ, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FERNANDEZ, LUZ N          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FERNANDEZ, MONICA L       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FERRER, JUAN C            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FERRER, KEILA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FERRER, KEILA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FERRER, KEILA J           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FERRER, LIZA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FERRER, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FERRER, NOEL              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, ADA I           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, ALMA I          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, CHER C.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, ELENA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, GLENDA A        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, GLENDA M        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, JESUS M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, JOSE Y          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, JOSEFINA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, JUAN C.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, LERNICE M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, LUIS D.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, SOCORRO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN FIGUEROA, ZAIDEE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5801 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 802 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN FILOMENO, ADELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FLORES, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FLORES, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FLORES, ESTEBAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FLORES, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FLORES, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FLORES, LUIS J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FONT, WANDA DEL C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FONTANEZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FONTANEZ, LAYRANNISA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FONTANEZ, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FREYTES, ANTHONY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FRONTERA, DARISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN FUENTES, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GALARZA, IRVING           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GANDULLA, SAMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GANZALEZ, AMADOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARAY, SONIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, DAGMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, DAGMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, GLADYS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, ISABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, JUANA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, JUDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, JULYSMETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, LUZ V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, NATALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, VIVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GARCIA, YADISHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GASCOT, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GERENA, IRAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GINORIO, HEDDA SOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GINORIO, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GITTENS, IDESSE T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GOICOCHEA, MIRIAM S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GOMEZ, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GOMEZ, IRIS D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GOMEZ, JOSE L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5802 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 803 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN GOMEZ, MICHAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GOMEZ, PABLO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GOMEZ, SONIA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZˉLEZ, ELBA IRIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, ABET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, ADELAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, AMADOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, AMARILYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, AMARILYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, ANA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, BRENDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, BRENDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, CARLOS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, CARMEN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, CELESTINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, CLARA INES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, CLARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, CLARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, DENISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, DENISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, DORA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, EDWIN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, EILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, ELSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, ELSIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, ENID I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, ENID I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, ERICK OMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, IDALI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, IDALI M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, IVAN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, JARELYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, JAVIER ELIGIO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, JEANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, JUAN CARLOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, LIZNEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, LIZNELL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, LUZ N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, LUZ S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, MARIA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5803 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 804 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN GONZALEZ, MARIA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, MARIA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, MEDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, MERISBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, MILAGROS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, NITSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, OMAR A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, PASTORA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, RAFAEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, RENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, ROSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, SANDRA LISSETTE REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, SONIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, YANITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GONZALEZ, ZULEAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GRAJALES, MARIA DEL C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GRAU, CARMEN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GRAU, MERCEDES G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GRAU, TERESITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GRAULAU, CARLOS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GREO, WANDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GROULAU, CARLOS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GUAY, RUBEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GUERRIOS, KAREN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GUTIERREZ, MAURY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GUZMAN, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GUZMAN, JAN C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GUZMAN, JERRY A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GUZMAN, RENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GUZMAN, RENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN GUZMAN, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HEREDIA, JOSEPH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, ALICIA G.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, ANA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, ANGELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, ANGELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, ASTRID I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, AWILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5804 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 805 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN HERNANDEZ, CARLOS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMÁN HERNÁNDEZ, CYNTHIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, ELMO S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, FELIX J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, ISADELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, JOAN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, JULIO M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, KENNETH X.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, LILLIAM M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, LILLIAM M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, LIZMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, LOLITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, LOLITA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, LUIS F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, LUZ D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN HERNANDEZ, MARIA DE LOS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ANGELES
ROMAN HERNANDEZ, MARLEEN        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, MARLEEN E      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, MARY           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, MARY           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, MAYRA J        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, MELBA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, MYRNA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, MYRNA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, RAQUEL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, ROSILIO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, YAJAIRA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, YARITZA G.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, YEIMILIS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, YEIMILIS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERNANDEZ, YESENIA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HERRERA, YAMARIE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HOMS, ANIBAL              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HOMS, MELECKNISE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HUERTAS, DIEGO            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN HUERTAS, EILEEN           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5805 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 806 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN IBARRONDO, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN IRIZARRY, CELINES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN IRIZARRY, EDDIE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN IRIZARRY, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN IRIZARRY, EDWIN N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN IRIZARRY, IVAN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN IRIZARRY, JORGE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN IRIZARRY, LILIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN IRIZARRY, LILLIAM T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN IRIZARRY, LUISA B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN IRIZARRY, VIRGEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ITHIER, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN JACA, PABLO A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN JACA, RITA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN JAMES, MARIO J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN JAQUEZ, SERGIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN JAQUEZ, SERGIA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN JIMENEZ, ANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN JIMENEZ, CECILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN JIMENEZ, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN JIMENEZ, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN JIMENEZ, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN JIMENEZ, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN JIMENEZ, PETER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN JOHNSON, DENISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN JUARBE, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LANGLOIS, RACHEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LANGLOIS, RACHEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LANTIGUA, NATALIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LANTIGUA, NIVIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LATIMER, CLARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LAUREANO, DARISABEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LAUREANO, LIBETT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LAUREANO, YAMIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LEBRON, ARSENIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LEBRON, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LEBRON, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LEBRON, LUIS E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LEBRON, MYRNA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LEBRON, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LICIAGA, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LLANOS, ASTRID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LLANOS, ENEMIR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LLANOS, IRIS MELCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LLAVINA, MICHAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LLAVINA, MICHAEL O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, ABIGAIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, ADA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, ADAWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5806 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 807 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN LOPEZ, ANNETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, AUDELIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, AYXA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, AYXA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, BRUNILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, BRUNILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, CARLOS G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, DANIVIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, DELMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, DILIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, EDWIN J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, ELSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, ELSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, ENRIQUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, FELICITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, IRIS N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, JENNIFER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, JOE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, JULIANNA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, JULIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, LEONARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, LUIS G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, LYDIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, MAILIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, MARIA F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, MARK H.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, OSVALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, RAMONA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, RUSMILDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, RUSMILDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, SANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, SULLYMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, VICENTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPEZ, WILSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOPZEZ, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOTTI, LARAISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOTTI, LARISSA Z          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOZADA, AIXA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOZADA, BRENDALIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOZADA, YAHAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LOZADA, YAHAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUCENA, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUCENA, LUZ N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5807 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 808 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN LUCENA, YUALIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUCIANO, HECTOR J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUCIANO, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUCIANO, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUGO, ALVIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUGO, ALVIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUGO, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUGO, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUGO, EDWIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUGO, ELIEZER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUGO, ELMER               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUGO, JEANETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUGO, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUGO, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUGO, LIGIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUGO, LIZBETH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUGO, LIZBETH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUGO, NELSON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUIS, RENE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN LUIS, RENE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN M, AIXIA E                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MAESTRE, ESTEFANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MAISONAVE, MARYVETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
DEL C
ROMAN MAISONET, LIZBETH         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MAISONET, MARGIE L        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MALAVE, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MALAVE, JORGE M           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MALAVE, WALDO             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MALDONADO, AMERICA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MALDONADO, TAYSHA T       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MALDONADO, YADIRA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MALDONADO, YELITZA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MANGUAL, GIODALYS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MANGUAL, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MANGUAL, RUBEN E          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MANGUAL,RUBEN E.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MANTILLA, TANIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MANTILLA, VERONICA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MANTILLA, VERONICA M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MARCANO, JEZMARIE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MARCHADO, MARTA D         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MARIN, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MARIN, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MARIN, LUIS FELIPE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MARIN, ZAIRA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MARIN, ZAIRA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MARQUEZ, BRENDALIZ        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMAN MARQUEZ, CAMILA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5808 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 809 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN MARQUEZ, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARRERO, CARLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARRERO, CARLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARRERO, CARLOS C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARRERO, ELISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARRERO, JOSE LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARRERO, RAMON E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARRERO, SUGEILY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTIN, WANDY A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTIN, WANDY A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, AIDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, ALEXIS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, ALGOHIDIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, ANGELES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, ANGELES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, CARLOS B.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, CARLOS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, CESAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, DENISE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, EDWIN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, EDWIN S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, FRANCISCO O     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, IRENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, JASON M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, JESABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, JOSE G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, JULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, LUIS E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, MARIA DEL C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, MARTA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, ONOFRE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, ROSA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, VILMA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, WANDA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MARTINEZ, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5809 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 810 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN MARTINEZ, YANIDSIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MARTINEZ, YASENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MARTINEZ, YOANELL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MARTINEZ, YOANELL M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MARTINEZ, ZAIDA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MARTINEZ, ZAIDA D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MARTIR, ARSENIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MARTIR, FRANK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MARTIZ, CYNTHIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MAS, OLGA E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MATOS, FELIX R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MATOS, IVAN G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MATOS, IVAN G.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MATOS, IVELISSE DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MATOS, JERRAN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MATOS, MARCOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MATOS, MELANIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MATOS, SONIA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDERO, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDERO, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDINA, ADRIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDINA, ANTONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDINA, DOMINGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDINA, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDINA, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDINA, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDINA, GLADYS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDINA, JORGE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDINA, JOSE J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDINA, JUANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDINA, JUANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDINA, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDINA, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDINA, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEDINA, SAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEJIAS, CARLOS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEJIAS, ISABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MEJIAS, NYDIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MELECIO, FLOR E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MELENDEZ, ALEXIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MELENDEZ, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MELENDEZ, CATHERINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MELENDEZ, DULCE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MELENDEZ, DULCE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MELENDEZ, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MELENDEZ, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MELENDEZ, JUAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MELENDEZ, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMAN MELENDEZ, NATHANAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 5810 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 811 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN MELENDEZ, NURIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MELENDEZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MELENDEZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MELENDEZ, TITO J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, ALICE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, ANTHONY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, ASHLEY N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, ASHLEY N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, DAISY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, DELMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, DENESHKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, LUIS S.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, ROSAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDEZ, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDOZA, LISVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDOZA, LISVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MENDOZA, WILLIAM A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, ALEX R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, ASHLEY ANN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, BRENDA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, EDWING           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, FRANCISCO A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, LAURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, LYMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, LYMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, NELSON J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MERCADO, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MILLET, ALEXANDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MILLET, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MILLET, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MILLET, JULIO E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MIRANDA, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MIRANDA, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MIRANDA, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5811 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 812 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN MIRANDA, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MIRANDA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MIRO, FERNANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MIRO, GILBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MIRO, GILBERTO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MIRO, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MIRO, LUISA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MOJICA, IRMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MOJICA, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MOJICA, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MOLINA, DOMINGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MONELL, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MONGE, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MONGE, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MONROIG, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MONROIG, NAOMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MONTALVO, ALAN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MONTALVO, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MONTALVO, ED WILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MONTALVO, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MONTALVO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MONTANEZ, GRETCHEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MONTERO, BRENDA J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MONTES DE OCA, YAHAIRA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MONTIJO, ABIER A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MONTIJO, GILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MONTOYO, SANDRA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, AIDA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, ANIBAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, BELIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, ELSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, ELSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, EMILSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, ISAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, JANNETTE B.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, JOSE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, JOSE R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, LESLIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, LISENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5812 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 813 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN MORALES, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, MARIA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, MARIELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, MARIELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, MARIELYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, MARTA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, MILERSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, NILDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, OMAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, PURA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, REBECCA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, RENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, VELINETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, VILMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, WALDEMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, WALDEMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, YAZMIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORALES, YAZMIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORELL, ALEJANDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORELL, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORELL, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORENO, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORENO, ELIUD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORENO, HECTOR TOMAS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORENO, JULIO I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORENO, LUIS R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MORENO, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MOYA, NANCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MOYA, NANCY O             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MOYA, SANDRA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MUNIZ, SERGIO A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MUNOZ, AIDA G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MUNOZ, LUZ                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MUNOZ, LUZ H              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MUNOZ, LYDIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MUNOZ, MELIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MUNOZ, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MUNOZ, MONICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN MUNOZ, RICHARD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NARVAEZ, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NATAN, ELMER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NAVARRO, SHIRLEY A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NEGRON, ALMARYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NEGRON, ALMARYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NEGRON, ANEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NEGRON, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5813 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 814 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN NEGRON, JENNY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NEGRON, JOSE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NEGRON, LOURDES L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NEGRON, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NEGRON, MAYTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NEGRON, RAMON L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NEVAREZ, FRANCES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, ABNER A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, CARMEN GISELA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, DAMARYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, DARINEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, DARINEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, EMILY M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, ERNESTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, HILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, IRMARYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, JOAQUIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, JULIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, JULIE E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, KEVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, LUZ P             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, MINERVA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, NAHAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, OTILIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, SACHA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, SANTOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NIEVES, YESIKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NORMANDIA, CARLOS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NUNCI, RAFAEL E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NUNEZ, HILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NUNEZ, JAHAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NUNEZ, JANILIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN NUNEZ, SILVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OCASIO, ERMELINDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OCASIO, ERMELINDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OCASIO, FLAVIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OCASIO, JOHNNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OCASIO, OSVALDO E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5814 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 815 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN OCONNER, JOMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OJEDA, DANNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OJEDA, MAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OLIVERA, MONICA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OLIVERAS, HAYDEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OLIVERAS, LAURA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OLIVERAS, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OLIVERAS, WANDA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OLIVERO, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OLIVERO, MARIA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OLIVO, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OLMO, ANGEL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OLMO, EMMANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OLMO, IRIS I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ONEILL, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OQUENDO, MELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OQUENDO, MELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTA, IVY                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTA, MARIA L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTEGA, ARTURO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, ANGEL F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, ANIBAL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, BETHZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, CARLOS J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, DELINES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, FELIPE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, FELIPE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, FRANK              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, HECTOR M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, HEIDI G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, JOHN G.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, JOSE J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, LEIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, LISANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, LORNA Z            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, LUIS O.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, MARIA DE LOS A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, MARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, MILAGROS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, MIRIAM I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, MYRSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, SEIL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5815 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 816 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN ORTIZ, SEIL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, YAMIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, YARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ORTIZ, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OSORIO, TAINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OTANO, VICTOR J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OTERO, FRANCISGINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OTERO, FRANCISGNIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OTERO, JAIME              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OTERO, JUDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OTERO, KATHERINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OTERO, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OTERO, RUBELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OTERO, RUBELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN OTERO, VICTOR MANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PABON, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PABON, ARMINDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PABON, JOSEFINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PACHECO, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PACHECO, YAZMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PADILLA, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PADILLA, GRACIELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PADILLA, HOBBY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PADILLA, RAFAELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PADILLA, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PADIN, JAIME              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PADIN, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PADRO, MABEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PADRO, VILMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PAGAN, ELIEZER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PAGAN, ELIEZER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PAGAN, ELIEZER A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PAGAN, ENEIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PAGAN, GEORGINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PAGAN, IVETTE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PAGAN, MELISSA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PAGAN, NELSON D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PAGAN, PEDRO JUAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PAGAN, RADAMES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PAGAN, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PAGAN, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PAOLI, EDNA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PENA, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PENA, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PENA, RAMON L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEQA, LUZ C               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREIDA, ROSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREIDA, ROSE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5816 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 817 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN PEREIRA, AIXA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREIRA, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, ABIMELEC           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, ANA R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, ANGEL G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, ANTIOQUINO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, AUDELIZ A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, CARMEN G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, CRECENCIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, EMIANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, EVA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, EVA D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, FRANKLIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, GLORIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, ILDELISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, ISRAEL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, IVELIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, IVONNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, JORGE D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, JOSE OMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, JULIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, JULIO E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, LISSETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, LIZANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, LUZ ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, MARIA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, MARILY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, MARIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, MARY ANN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, NILSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, RAFAEL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, RAFAEL J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, RAMIXA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, REBECCA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, REINALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, ROBERT E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, ROBERT E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5817 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 818 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN PEREZ, ROLANDO D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, RUBEN E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, SANDRA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, SANDRA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, SONIA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, SONIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, TANIA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, VERONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, VIVIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, WILSON R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, WILSON R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, XIARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, YAJAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, YAZMIN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PEREZ, ZULEIKA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PICART, LONGINO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PINEIRO, RAFAEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PINEIRO, RAFAEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PINEIRO, RAFAEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PINERO, DENNISE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PIZARRO, ALEXIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PIZARRO, ALEXIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PIZARRO, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PIZARRO, GUSTAVO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PIZARRO, MARIA DE LOS A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PIZARRO, MARTA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PIZARRO, TOMASA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PLUMEY, RAUL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN POMALES, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PONCE, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PORTALATIN, GREGORIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PORTALATIN, MAYDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN POU, RUBY                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN POU, RUBY                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PRADO, FELIX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN PUJOLS, MANUEL E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUILES, AIDA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUILES, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUILES, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUILES, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUILES, EMELINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUILES, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUILES, IRIS J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUILES, IVAN J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUILES, MERELIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUILES, PEDRO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5818 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 819 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROMAN QUILES, RITA E             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUILES, YOLANDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUINONES, ALEJANDRO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUINONES, CARMELO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUINONES, CESAR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUINONES, GERARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUINONES, JANET            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUINONES, LESLIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUINONES, MARGARITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUINONES, MARILYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUINTANA, JOSE FRANCISCO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUINTANA, JUAN A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUIQONES, ADA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN QUIRINDONGO, JOSE L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMIREZ, ALEJANDRO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMIREZ, ANGEL M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMIREZ, ANTONIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMIREZ, CHRISTIAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMIREZ, DORIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMIREZ, ELI               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMIREZ, IVELISSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMIREZ, ROSA A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMIREZ, WANDA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMIREZ, WANDA I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMON, RAHISA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, AEMMY Y             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, ALEX                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, ANA M               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, CARMEN I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, DAVID R             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, DIANA E             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, ELSA I              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, EVELYN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, GERARDO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, GILROY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, GILROY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, IRMA R              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, JACOB               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, JORGE L             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, JOSE                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, LAURA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, LAURA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, MARCOS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, MARITZA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, NORMA E.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, PEDRO J             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, SONIA S             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, VANESSA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RAMOS, WILFREDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5819 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 820 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN RESTO, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RESTO, NORANGELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RESTO, PEDRO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN REVERON, ILZA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN REYES, ANA B              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN REYES, CARMEN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN REYES, CARMEN S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN REYES, CARMEN S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN REYES, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN REYES, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN REYES, IRIS D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN REYES, LEMUEL Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN REYES, MARLYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN REYES, MARLYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN REYES, MILADIZ E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN REYES, MODESTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN REYES, NEFMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN REYES, NIRMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN REYES, SAMMY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIERA, CAROLINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIERA, CAROLINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIERA, MARCOS ARMANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RILEY, TIFFANY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIOS, AIDA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIOS, ELIUD               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIOS, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIOS, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIOS, MAGDA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIOS, MARITHSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIOS, MIGUEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIOS, NANCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIOS, NANCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIOS, OMAR                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIOS, SANDRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, ADA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, AIXA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, AIXA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, AIXA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, ALEX F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, ALEXANDER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, ALTAGRACIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, ANA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, ANDRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, ANGEL M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, ARNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, BLANCA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, BRENMARII         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, CARMEN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5820 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 821 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN RIVERA, CARMEN S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, CRUZMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, DIANE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, DIVINA P          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, ELDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, ELIDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, ELSIE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, GENESIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, GLORIANNE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, HARRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, HAYDEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, HILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, IVAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, JACQUELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, JACQUELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, JOAN F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, JOSE C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, JOSE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, JUAN M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, LAYZA D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, LIZAYIVETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, LOURDES Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, LUISA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, LUZ C.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, LUZ E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, LUZ N.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, LYDIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, MARIA DEL C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, MARIA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5821 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 822 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN RIVERA, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, MARISEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, MONSERRATE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, NILBA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, NILBA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, NILSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, OLGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, OMAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, OSCAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, RAUL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, REYNALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, ROSAMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, ROSARIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, SAMUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, SHIRLEY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, SOLCIRE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, SUSANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, WILLIAM J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, YANITTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, YARITZA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, YORDIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RIVERA, ZAMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROBERTO, ELSIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROBERTO, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROBLES, MADELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROBLES, MADELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROBLES, NILDA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROCA, VIVIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, ADELAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, AIDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, AIDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, ALICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, ANGELES Z      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, ARISBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5822 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 823 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN RODRIGUEZ, BRENDA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, BRENDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, CARMEN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, CRUZ D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, DAMIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, DELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, DELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, FRANCES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, FRANCISCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, FRANK          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, GLADYS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, HAYDEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, HECTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, ILEANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, JANELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, JANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, JENIFFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, JENIFFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, JOSE G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, KAREN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, KORAL DEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, LAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, LAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, LAURA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, LETICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, LETICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, LIZETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, LUCINDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, LUIS D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5823 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 824 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN RODRIGUEZ, LUIS F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, MARIA T.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, MARILU         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, MERIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, MERIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, NANCY J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, NANCY J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, NORMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, NORMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, NYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, NYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, SAELLY M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, TARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, TARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, YERITZABEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, YESENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, YESENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, YESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, YINESKA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, YINESKA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, YVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RODRIGUEZ, ZANDRA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROHENA, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROJAS, DORIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROJAS, GRISELDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROJAS, MARIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROJAS, MELQUIADES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROLDAN, BELINDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROLDAN, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROLDAN, CYNTHIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROLDAN, RENE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROLDAN, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROLDAN, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, ALEJANDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, ANABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, ANGEL L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, CARLOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, CARMEN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5824 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 825 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN ROMAN, CONSUELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, DORIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, FLOR N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, ISAAC              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, JAIMY L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, JOSUE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, JUAN JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, MINERVA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, MONSERRATE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, MYRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, NEIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, NELSON A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, NOEMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, NORBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, NORMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, OLGA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, RAQUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, RIGOBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, RITA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, RODOLFO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, SARAI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, VICTOR R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, WALESKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMAN, YADIRAH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMERO, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMERO, JULIO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROMERO, SANDRA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROQUE, KETTY M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSA, ANTONIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSA, CANDIDA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSA, JANNETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSA, LUCY O              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSA, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSA, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSA, MARILYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSA, NANCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSA, NANCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5825 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 826 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN ROSA, NORMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSA, RAFAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSADO, ADALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSADO, BETZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSADO, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSADO, EVA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSADO, GENESIS K         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSADO, IRIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSADO, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSADO, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSADO, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSADO, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSADO, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSADO, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSADO, YANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSADO, YANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, AMANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, BLADIMIRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, CARMELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, CRUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, EMERITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, EMERITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, JERRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, JOHNNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, JORGE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, MARIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, MARIE C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, VLADIMIR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ROSARIO, XIOMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUBERTE, REYNALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUDON, NORA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, BRUNILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, CARMEN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, ELIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, ENEIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, ENEIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, FERNANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, FRANCISCO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, FRANCISCO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, GILBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, HERIBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, JOSE R.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5826 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 827 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN RUIZ, LOURDES I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, LUIS F              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, MANUELITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, MIGDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, MILITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, MYGDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, NATALIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, NIDRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, RAMFIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, SORAIDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, WANDALIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, YESEILA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, ZENAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUIZ, ZENAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUPERTO, EDNISE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUSSE, ALICIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUSSE, HAYDEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUSSE, LUIS R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN RUSSE, ROGELIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SALAMAN, EDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SALAMAN, LUZ C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SALAMANCA, CARMEN S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SALAS, FILOMENA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SALAS, JORGE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SALAS, MANRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SALDANA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SALDANA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SALDANA, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SALDANA, LORNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SALGADO, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SAMOT, WILKINS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANABRIA, HILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANABRIA, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANCHEZ, ANA D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANCHEZ, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANCHEZ, DAISY I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANCHEZ, GUENDOLINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANCHEZ, JONATTAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANCHEZ, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANCHEZ, MAGDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANCHEZ, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANCHEZ, MARIA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANCHEZ, VICMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANG, SUILAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTANA, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTANA, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTANA, JENRY L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTANA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTANA, ODALYZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5827 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 828 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN SANTIAGO, AMAURY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, ARTURO JOSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, BENJAMIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, CARMELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, EDWIN R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, FREDDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, GAIL J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, GERALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, GISELLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, ISRAEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, JASHIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, JOSE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, JOSSEAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, JOSSEAN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, JUAN G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, JUDITH M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, KEILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, KEILA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, MADELEINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, MANUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, MARIA DE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, MARIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, MARIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, MARYLINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, MIRTA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, MOISES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, NILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, NILSALIZ M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, SOMIR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO, ULPIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTIAGO,LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTOS, BEATRIZ C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTOS, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTOS, MARTA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTOS, NANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTOS, TOMAS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SANTOS, TOMAS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SARRAGA, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 829 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN SEA, XAVIER               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SEGARRA, ILIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SEGARRA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SEMPRIT, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SEPULVEDA, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SEPULVEDA, CLARIVEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SEPULVEDA, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SEPULVEDA, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SEPULVEDA, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SEPULVEDA, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SERPA, HERMINIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SERPA, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SERPA, LUIS E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SERPA, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SERRANO, ELIEZER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SERRANO, ELIEZER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SERRANO, ELIEZER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SERRANO, JOSE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SERRANO, LUIS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SERRANO, RAYMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SERRANO, TAMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SERRANO, TAMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SERRANO, YOMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SIERRA, JAZMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SIERRA, LORAINNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SIFRE, MARIA DE LOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SIFRE, MARIA DE LOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SILVA, CYNTHIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SILVA, DEBORAH M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SILVA, SOL V              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SILVA, SOL V              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOLANO, SANTA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOLARES, JEANETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOLER, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOLER, LUIS F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, ABRAHAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, CARMEN E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, CARMEN I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, ERNESTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, ESTEBAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, HILARIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, IDELIZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, INES                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, INES                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, JOSE R.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, JOSUE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, LILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, LILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, LOURDES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 830 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN SOTO, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, MABEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, MARISOL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, MARYLIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, MARYLIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, RAFAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, SUZANNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, YADIRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, YADIRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SOTO, YAHAIRA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN SUAREZ, DOMINGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TANCO, ISMAEL T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TAVAREZ, LUCELENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TEISSONNIERE, ANETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TERON, LORENA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TERON, LORENA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TERON, YARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TERON, YARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TERRON, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TERRON, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TIRADO, AIDA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TIRADO, FELIX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TIRADO, FELIX A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TIRADO, HAYDEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TIRADO, LORELL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TIRADO, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TOLEDO, DELVIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TOLEDO, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TOLLINCHI, ANNETTE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORO, DORIVYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORO, ESTHER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORO, ESTHER N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORO, JACQUELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORO, JOSE L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORO, MARY E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORO, YAZBETH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORO, YOLANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, ALEJANDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, AMPARO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, AMPARO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, ANDREW            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, AUDREY L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, AURORA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, CARMEN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, DIGNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, EDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, EDITH M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5830 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 831 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN TORRES, EDWIN J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, GERALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, GLADYNEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, HECTOR C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, INES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, INES M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, ISABEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, JESSICA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, JORGE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, LILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, LIMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, LUZ N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, MALVIN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, MARIEVY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, MARTA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, MELVA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, NESTOR J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, NOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, NORMA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, OMAIRY D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, OMAR L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, REINALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, REINALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, ROSALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, ROSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, SONIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, SONIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, VICTOR MANUEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TORRES, YASMER I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TOSADO, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5831 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 832 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN TOSADO, CARMEN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TOSADO, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TOUCET, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TRAVERSO, IRIS L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TRAVERSO, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TRAVERSO, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN TURPEAU, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALDEZ, OLGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALDEZ, OLGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALE, JORGE OSVALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALENTIN, AMILCAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALENTIN, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALENTIN, ANABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALENTIN, ATANACIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALENTIN, CARLOS G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALENTIN, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALENTIN, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALENTIN, KRYSTIEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALENTIN, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALENTIN, RAFAEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALENTIN, RAMONA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALENTIN, ROSARIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALENTIN, SONYA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALENTIN, VENTURA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALLE, ANTONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALLE, EVELYN DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALLE, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VALLE, ROSA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VARGAS, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VARGAS, ILEANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VARGAS, JOHN H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VARGAS, JOSE D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VARGAS, LIZZIEANN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VAZQUEZ, ADIRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VAZQUEZ, ADIRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VAZQUEZ, GERALD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VAZQUEZ, JERRY ALBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VAZQUEZ, LILLIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VAZQUEZ, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VAZQUEZ, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VAZQUEZ, NAYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VAZQUEZ, RAMON A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VAZQUEZ, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VAZQUEZ, YONELLIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, ABEL YAMIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, ANA D               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, CARLOS D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, CARMEN J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, ENEIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5832 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 833 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN VEGA, ENEIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, GERARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, HECTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, JESSICA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, JOSE D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, JOSE M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, LESTER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, LUZ E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, MILLIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, MILTON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VEGA, ROGER               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELAZQUEZ, ADIENNISE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELAZQUEZ, ALIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELAZQUEZ, ALMA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELAZQUEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELAZQUEZ, DAVID HERBER   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELAZQUEZ, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELAZQUEZ, JOSE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELAZQUEZ, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELAZQUEZ, JUAN C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELAZQUEZ, KEYSHLA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELAZQUEZ, LISSANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELAZQUEZ, LUZ J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELAZQUEZ, MIQUEAS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELAZQUEZ, MIRTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELAZQUEZ, VIVIAN G.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, ANA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, BELDREDIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, BENJAMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, CYNTHIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, EDIENID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, ELSIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, JENITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, JESUS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, JORGE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, LISVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, LUIS D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, MARILU             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, NOEL DE JESUS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, OBDULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, RENET              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, RICARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5833 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 834 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN VELEZ, WILNELLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, YANIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, YANIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, YASMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, YASMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VELEZ, YESENIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VENDRELL, PEGGY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VENDRELL, PEGGY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VERA, JAQUELINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VERA, SILVIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VERA, SILVIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VERDEJO, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VERGES, ERNESTINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VERGES, ERNESTINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VIDAL, MIGUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VILLAFANE, MYRNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VILLAFANE, MYRNA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VILLAFANE, MYRNA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VILLANUEVA, AIDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VILLANUEVA, AMARYLLIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VILLANUEVA, IRAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VILLANUEVA, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VILLEGAS, GLENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VILLEGAS, JOSUE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VIZCARRONDO, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN VIZCARRONDO, CLARISA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ZAYAS, FERNANDO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ZEDA, JOSE L.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ZENO, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN ZENO, LUIS O              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, ELSA J                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, FRANK                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, GERALDO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, GERALDO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, GILBERTO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, IRIS Y                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, JAIME N                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, JOSE                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, JOSE ANTONIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, JOSE L.                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, JUANA DEL C.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, LISSETTE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, PAUL                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, SHEILA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, SHEILA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, STEPHANIE M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, STEPHANYE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, SULAI                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, WILLIAM                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5834 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 835 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMAN, ZULAIMA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN, ZULAIMA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN,JORGE                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN,JUAN F.                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN,ROBERTO                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMANACH, RODOLFO J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMANAT RIVERA, GUILLERMO A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMAN‐ORTIZ, SONIA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMANPIZARRO, ANDRES A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMANRODRIGUEZ, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMANY MORALES, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMANY SERRANO, LIZA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMARO RUIZ, MARLIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMEN LOPEZ, LEINAI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERA DE DIAZ, ADA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ACEVEDO, JESSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ACEVEDO, STEVE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ACOBES, EDGAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ACOBES, EDGAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ACOSTA, GERINARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ACOSTA, MARIA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ACOSTA, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO AGUIRRE, ALFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ALBELO, MARIA DEL P      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ALCOVER, ONIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ALDARONDO, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ALEMAN, JUAN O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ALEMAN, SAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ALICEA, EILEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ALICEA, HECTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ALMESTICA, TERESA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ALMEYDA, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ALOMAR, ZENAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ALVARADO, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ALVARADO, GLORIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ALVAREZ, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ALVAREZ, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ANDINO, IVONNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ANDINO, MILEIDY N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ANDINO, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ANTONMATTEI, ESTEBAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO APONTE, SHAQUIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO APONTE, SHAQUIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO AQUINO, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO AQUINO, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO AQUINO, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ARAGONES, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ARAGONES, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ARIAS, DINA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5835 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 836 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMERO ARIAS, DINA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ARREOLA, FERMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ARROYO, CARLOS L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO AVILA, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO AYALA, ABIMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO AYALA, JOSE E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BAERGA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BAEZ, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BAEZ, CARMEN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BAEZ, LUZ L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BARBOSA, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BETANCOURT, MANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BIGIO, TOMAS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BONES, CRUZ Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BONILLA, ABIGAIL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BONILLA, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BONILLA, ENEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BONILLA, ENEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BONILLA, LUZ S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BONILLA, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BONILLA, MARIA C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BONILLA, YESENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BORGES, FAUSTINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BORRERO, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BORRERO, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BORRERO, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BRACERO, MONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BRUNO, CARMEN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BUGLIONE, JOSE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BURGOS, JOSE I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BURGOS, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO BURGOS, SHERRI M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CABALLERO, JORGE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CABRERA, DOROTHY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CACERES, MARIELI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CACERES, MARIELI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CALDERON, DIMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CALDERON, LUIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CALDERON, LUIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CALDERON, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CALDERON, YARIRA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CALES, ALVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CALO, ZORIMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CANALES, ANA A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CANALES, JULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CANALES, LUZ D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CANALES, LUZ N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CANDELARIO, ADELIRIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CARABALLO, ADRIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5836 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 837 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMERO CARABALLO, OLGA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CARDONA, MERCEDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CARDONA, NASHUA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CARRASQUILLO, JACQUELINE REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

ROMERO CARRERO, NILSA M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CARRION, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CARRION, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CASTELLANOS, MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CASTRO, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CASTRO, YAJAIRA N        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CEDENO, ANABEL           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CENTENO, HARRY           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CENTENO, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CENTENO, WALKIRIA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CESPEDES, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CHAPARRO, ANGELICA M.    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CHAPMAN, KEILA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CHAPMAN, LUZ E.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CHAPMAN, MILDRELYS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CHAPMAN, MILDRELYS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CHICLANA, KAROLYN        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CHICLANA, MARCOS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CINTRON, AIXA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CINTRON, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CINTRON, YARILIS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CLEMENTE, GILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CLEMENTE, HILDA E        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CLEMENTE, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CLEMENTE, LUIS R.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CLEMENTE, LYDIA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CLEMENTE, LYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CLEMENTE, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO COLLAZO, LISSETTE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO COLON, ASHLEY            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO COLON, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO COLON, ITZA N            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO COLON, JOSE F.           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO COLON, LIZBETH M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO COLON, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO COLON, ROSA M            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CONCEPCION, ENELIDA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CONCEPCION, MIGUEL A     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CORDERO, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CORDERO, JEILEEN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CORREA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CORTES, JENNIFER         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CORTES, MARTHA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO CORTES, RAYMOND          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5837 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 838 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMERO CORTES, RAYMOND          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CORTIJO, CARMEN L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CORTIJO, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO COSME, ANABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO COSME, ESTHER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO COSME, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO COSME, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO COSME, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO COTTO, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO COTTO, LUZ A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CRESPO, ELVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CRESPO, MILTON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CRUZ, ALBA N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CRUZ, GLORIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CRUZ, IRMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CRUZ, ISOLINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CRUZ, LELIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CRUZ, LUZ E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CRUZ, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CRUZ, YACHIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CRUZ, YACHIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO CUEVAS, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DAVILA, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DE JESUS, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DE JESUS, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DE JESUS, SYLVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DE JUAN, MARIA ANTONIA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DE LEON, ARIEL GUSTAVO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DE LEON, ERIC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DE MUNIZ, GISELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DEL VALLE, ARLENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DELGADO, MICHAELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DIAZ, FELIPE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DIAZ, FELIPE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DIAZ, JOANNIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DIAZ, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DIAZ, LUZ F              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DIAZ, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DIAZ, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DIAZ, MYRIAM DAMARIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DIAZ, OLGA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DIAZ, RAFAEL EMILIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DOMENECH, ERMELINDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DONNELLY, MELINDA K      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DORTA, MONSERRATE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO DURAN, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ENCARNACION, ANA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ERAZO, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ESCALERA, ERNIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5838 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 839 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMERO ESCALERA, JUSTINO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ESCALERA, LUZ Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ESCRIBANO, ROSARIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ESQUILIN, LEYDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO EXCLUSA, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FALCON, WILMA B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FALCON, WILMA B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FELICIANO, ANGEL L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FELICIANO, JAMIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FELICIANO, JOSE LUIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FELICIANO, LOURDES M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FELICIANO, PABLO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FIGUEROA, GEORGINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FIGUEROA, GEORGINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FIGUEROA, LUCILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FIGUEROA, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FIGUEROA, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FILOMFNO, IRIS D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FLORES, CARMEN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FLORES, IRMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FLORES, NARDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FONTANEZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FONTANEZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO FONTANEZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GABRIEL, GAMALIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GABRIEL, GUILLERMO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GALARZA, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GANDARILLA, DOMINGO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GANDARILLA, FRANCISCO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GARCIA, ALIS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GARCIA, BALBINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GARCIA, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GARCIA, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GARCIA, GISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GARCIA, NYDIA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GOMEZ, BENJAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GOMEZ, DORIANN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GOMEZ, SHARLEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GONZALEZ, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GONZALEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GONZALEZ, ELIDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GONZALEZ, FLORA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GONZALEZ, HILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GONZALEZ, IRMA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GONZALEZ, LIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GONZALEZ, LUCY I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GONZALEZ, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GONZALEZ, NYCHOLE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GONZALEZ, ROSAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5839 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 840 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMERO GONZALEZ, VICTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GOYCO, ANTONIO ESTEBAN   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GOYCO, MARIA SOLEDAD     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GUEVARA, EVA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GUTIERREZ, LOURDES I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO GUZMAN, OLGA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO HERNANDEZ, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO HERNANDEZ, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO HERNANDEZ, MARIA DE J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO HERNANDEZ, MERCEDES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO HERNANDEZ, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO HERNANDEZ, SARAH M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO HERNANDEZ, WANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO HORTAS, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO IRIZARRY, AMALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO IRIZARRY, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO JACKSON, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO JACKSON, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO JACKSON, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO JACKSON, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO JACKSON, MARIA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LEBRON, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LEON, ALEX               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LEON, ESTEBAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LEON, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LEON, SARA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LEON, WILBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LLAVANA, FRANCISCO J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LLOVET, EDILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, ADA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, ADA N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, ANA ELBA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, ARTURO R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, BLANCA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, BLANCA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, JONATAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, JONATAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, JOSELITO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, JOSUE G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, LUIS O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOPEZ, SATURNINO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LOSADA, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LUGO, BEATRIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5840 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 841 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROMERO LUGO, CARMEN H            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LUGO, MIGUEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LUGO, MIGUEL A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LUGO, ROSA M              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO LUNA, ALEX S.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MACHUCA, EVELYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MAISONET, YAJAIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MALDONADO, BLANCA R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MALDONADO, JANSULY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MALDONADO, JANSULY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MALDONADO, LENNALY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MALDONADO, ROBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MANSO, ANA C              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARCANO, WALESKA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARCHESE, JORGE L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARCIAL, ELBA I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARRERO, GISELLE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARRERO, KARLA G          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARRERO, LIZ S            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARTE, MANUEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARTINEZ, JOEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARTINEZ, KHAMIS Y        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARTINEZ, LUZ M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARTINEZ, MARIA DE LA C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARTINEZ, MARIA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARTINEZ, RAQUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARTINEZ, RAQUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARTINEZ, YISEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARTINEZ, YIZEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MARTINEZX, KHAMIS Y       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MASSAS, CARMEN B          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MAYSONET, LIZANDRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MEDINA, ELADIO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MEDINA, LEONARDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MEDINA, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MEDINA, MELBA A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MEDINA, OMAR G.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MEDINA, ROSALIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MEDRANO, FATIMA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MEDRANO, JUANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MEDRANO, JUANA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MEJIAS, DAVID             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MELENDEZ, LEIUQUESE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MENDEZ, MARANGELI         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MENDEZ, XIOMARA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MENDEZ, XIOMARA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MERCADO, JESSICA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MERCED, AMARILIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO MERCED, JOSUE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5841 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 842 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMERO MERCED, RAQUEL          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMERO MIRANDA, ANNABELLE      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMERO MIRANDA, ELVIN A        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMERO MOLINA, ARACELIS        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMERO MOLINA, SERGIO          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMERO MONROIG, MARGARITA      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMERO MONTALVO, MILAGROS      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMERO MONTALVO, MILAGROS      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMERO MONTANEZ, RAFAEL        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROMERO MONTES DE OCA, REINALDO REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
III
ROMERO MONTES, SHAYRA          REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO MORALES, AIXA G.        REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO MORALES, CARMEN         REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO MORALES, EVELYN         REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO MORALES, JOEL           REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO MORALES, LUIS A         REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO MORALES, MAYRA I        REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO MORALES, MILTON         REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO MORAN, ZOE L            REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO MORENO, BETTY           REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO MORENO, EDFRA LEE       REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO MORENO, ERNESTO         REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO MORENO, HERMINIO        REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO MORENO, MARINA          REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO MORENO, MARISELA        REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO MUNIZ, JOSE E.          REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO MUNIZ, YOLANDA G        REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO NEGRON, MARIANELA       REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO NEGRON, MARIANELA S     REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO NEGRON, MERARI          REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO NIEVES, ALFREDO         REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO NIEVES, ANA E           REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO NIEVES, ASTRID          REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO NIEVES, AUREA E         REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO NIEVES, ESTHER          REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO NIEVES, GLANEYMI        REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO NIEVES, GLANEYMI        REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO NIEVES, HECTOR          REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO NIEVES, IVETTE          REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO NIEVES, MARIA I         REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO NIEVES, ROBERTO         REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO NIEVES, ROBERTO C       REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO NUNEZ, NORMA Y          REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO OLIVER, JOSE A          REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO OLIVERAS, FRANCES M.    REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO OLIVERO, ESTHER         REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO OLIVERO, GIANNA         REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROMERO OQUENDO, JUAN A         REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5842 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 843 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMERO ORTEGA, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ORTEGA, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ORTIZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ORTIZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ORTIZ, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO OSORIO, ARNALDO O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PADILLA, JUAN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PAGAN, ILEANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PARIS, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PARRILLA, HECTOR O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEDROSA, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PENA, EDNA ZOE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PENA, EDNA ZOE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PENA, IVAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PENALOZA, DORIS Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, ANA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, BENICIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, BENJAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, BEVERLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, BIRINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, CATALINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, ESPERANZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, HERMINIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, HILDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, HILDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, IDELISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, IDELIZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, JOSELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, MODESTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, MOISES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, NELIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, PAULINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, ZULMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PEREZ, ZULMA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PIMENTEL, JOSE E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PINERO, CESAR A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PINTO, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PIZARRO, ADELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PIZARRO, ADELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PIZARRO, ELBA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PIZARRO, HERMAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PIZARRO, HERMAS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PIZARRO, HERMAS E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PIZARRO, KAREN R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5843 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 844 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMERO PIZARRO, MIRZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PIZARRO, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO POMALES, MAGDA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO PORTALATIN, EVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO QUINONES, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO QUINONES, SHAIRA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO QUINONES, SHAIRA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO QUINONEZ, ANTONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO QUINONEZ, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RAMIREZ, BELINDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RAMIREZ, SELIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RAMIREZ, YVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RAMOS, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RAMOS, CARMEN N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RAMOS, ELIUD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RAMOS, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RAMOS, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RAMOS, LUZ Z             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RAMOS, SONIA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RENTAS, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO REXACH, MARIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO REYES, CESAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO REYES, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO REYES, LOURDES I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO REYES, NAYDA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO REYES, NAYDA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO REYES, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO REYES, ROSA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO REYES, ROSA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO REYES, TEOFILO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO REYES, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIOS, ANGEL L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, AIMEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, ALMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, CONFESOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, DAFNE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, DARNEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, DESIREE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, ELIOT J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, EVELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, FLOR M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, GLORIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, JOSE RAUL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5844 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 845 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMERO RIVERA, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, LOYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, LUISA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, LYONEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, MARIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, MERALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, MICHAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, NAHOMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, NAHOMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, NIURKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, PRISCILLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, RAMON L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, RAMON L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, SATURNINO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, VIMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RIVERA, VIMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROBLES, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROBLES, GUMERCINDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROBLES, LUZ D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROBLES, ORESTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, ANA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, CLARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, EMILIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, ENELIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, FERNANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, FRANCISCA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, GLORIA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, GLORIA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, JORGE G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, JUAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, KARLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, LUZ A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, LUZ D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, LYCEDIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, LYDIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, PAULINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, PAULINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, WILKIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, YALIXA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ, YOLANDA G.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RODRIGUEZ,JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROHENA, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROHENA, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5845 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 846 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMERO ROHENA, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROHENA, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROMAN, JOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROMAN, LILIVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROMAN, LILIVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROMAN, LILIVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROMAN, LILLIAM ROSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROMAN, NATIVIDAD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROMAN, YAMILETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROMERO, ALEJANDRINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROMERO, DIMARIS I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROMERO, ESTERVINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROMERO, GLORINES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROMERO, GLORINES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROMERO, MAGDALENA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROMERO, MARTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROMERO, MARTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROMERO, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROSA, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROSA, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROSARIO, ABNER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROSARIO, ABNER O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROSARIO, MYRIAM M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO ROSARIO, NATIVIDAD       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RUIZ, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RUIZ, MARIA DE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO RUIZ, MARIA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SALDANA, YESLEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SALGADO, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANCHEZ, AMANDA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANCHEZ, CENIDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANCHEZ, EMMA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANCHEZ, ESTEBAN D.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANCHEZ, ESTEBAN DAVID   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANCHEZ, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANCHEZ, JOSEFINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANCHEZ, JUAN B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANCHEZ, KATERINE D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANCHEZ, MARCELINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANES, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTANA, RIGOBERTA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTANA, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTIAGO, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTIAGO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTIAGO, DELYDSA N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTIAGO, ERNESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTIAGO, LICEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTIAGO, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTIAGO, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5846 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 847 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMERO SANTIAGO, MARTIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTIAGO, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTIAGO, REBECCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTIAGO, ROSALINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTIAGO, SORAYA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTIAGO, SORAYA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTOS, AIDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTOS, IRMARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTOS, NORA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTOS, PETRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SANTOS, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SEGARRA, BARBARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SERRANO, JOSE F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SERRANO, NITZA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SERRANO, PETRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SERRANO, RICHARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SOBERAL, LIZA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SOTO, ERICK FRANCISCO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SOTO, LUIS R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO SOTO, ROSSANY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TALAVERA, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TANCO, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TANCO, CARMEN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TANCO, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TANCO, MAGDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TANCO, RICHARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TIRADO, BEATRIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TOLEDO, JENNIFER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TORRES, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TORRES, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TORRES, JOHANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TORRES, LUIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TORRES, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TORRES, MARTA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TORRES, MITSI M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TORRES, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TORRES, NOELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TORRES, WANDA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TORRES, YASHIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TORRRES, DARLENE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TOSADO, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO TOSADO, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VALDES, IVAN ALEXEGI     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VALDES, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VALENTIN, CONSTANCE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VALENTIN, IRIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VARGAS, ANGEL R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VARGAS, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VARGAS, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5847 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 848 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROMERO VARGAS, IRIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VARGAS, MARIA T           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VARGAS, SEBASTIAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VAZQUEZ, ALICIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VAZQUEZ, ANGELES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VAZQUEZ, DELFINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VAZQUEZ, HECTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VAZQUEZ, HECTOR M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VAZQUEZ, JOEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VAZQUEZ, JULIO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VAZQUEZ, KIRSE Y          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VAZQUEZ, MARIA L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VEGA, EDWIN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VEGA, MARISOL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VEINTIDOS, MARIA A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VELAZQUEZ, PORFIRIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VELEZ, CYNTHIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VELEZ, CYNTHIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VELEZ, DENISSE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VELEZ, KEREN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VELEZ, MARIA D            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VELEZ, NORMA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VELEZ, ROLANDO L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VELEZ, TAMARA A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VERDEJO, MARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VERDEJO, MARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VILLAMIL, ELSIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VILLAMIL, LIZETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VILLANUEVA, URBIS D.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VILLAVEITIA, DOUGLAS J.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VILLEGAS, ORLANDO R.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VISALDEN, AIDA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VISALDEN, EZEQUIEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO VIVES, SONIA I.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO, ANTONIO                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO, CARLOS M                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO, CARMEN M                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO, FELIX                    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO, FELIX A.                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO, GERMAN                   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO, GERMAN                   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO, OLGA I.                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO, ROBERTO                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO, TATIANA                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO,ANGEL G.                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERO,VICTOR                    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMEROAVILES, LISANDRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMEROPEREZ, OSVALDO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROMEROPEREZ, WILMA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5848 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 849 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROMEROREYES, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMERORIVERA, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMEU TORO, CARMEN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMNEYLOPEZ, CHARLES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMO ALEDO, CARLOS J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMO MATIENZO, JOSE C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMON CARRASQUILLO, LYZETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROMOS ROSADO, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA BRACERO, ELVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA DEL TORO, ERIC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA FELICIANO, JOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA FERNANDEZ, MARITZA Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA MEJIAS, LISSY A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA ORTIZ, LYMARI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA PACHECO, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA PAGAN, LUIS O             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA RAMIREZ, ROXANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA RIVERA, JUSTICIA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA RIVERA, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA RIVERA, PATRIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA RIVERA, REBECA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA RODRIGUEZ, GISELA Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA ROMAN, CARMEN I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA ROMERO, WILLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA SANTIAGO, PEDRO A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA SANTIAGO, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA SANTIAGO, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA SANTIAGO, RUTH E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA TORO, WALESKA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDA TORRES, HAYDELIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDAN CEREZO, CARLOS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDAN NIEVES, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDAN NIEVES, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDINELLY MONTANEZ, YOLANDA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDINELLY MONTANEZ, YOLANDA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON ACOSTA, ISAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON ARROYO, CIDMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON ARROYO, CIDMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON BATISTA, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON BATISTA, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON CANALES, IVETTE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON CARABALLO, ISABEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON CARABALLO, JUANITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON CARABALLO, JUANITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON CARABALLO, ROSALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON CARABALLO, ZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON CARTAGENA, BETHZAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON CARTAGENA, JORGE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON CASANOVA, ANA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5849 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 850 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RONDON CATALA, REYNALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON COSME, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON CRUZ, HECTOR F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON DE LEON, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON DERIEUX, FLAVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON DIAZ, ARLENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON DIAZ, EVANELIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON DIAZ, JENNIFER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON DIAZ, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON FEBUS, EVARISTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON GARCIA, CARMELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON GARCIA, MARISELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON GARCIA, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON GOMEZ, DAGMARIE R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON GONZALEZ, AMANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON GONZALEZ, AMANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON GONZALEZ, CARMEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON GONZALEZ, DAMARIS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON GONZALEZ, LYLIBETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON GONZALEZ, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON HERNANDEZ, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON LEON, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON LOPEZ, GEOVANNIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON LUGO, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON LUGO, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON MALDONADO, MARTA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON MALDONADO, RIGOBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON MARTINEZ, AURORA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON MARTINEZ, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON MEDINA, AIDA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON MERCADO, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON NIEVES, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON OLIVO, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON OLIVO, INES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON OLIVO, INES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON ORTIZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON ORTIZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON ORTIZ, XIOMARA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON ORTIZ, YESSICA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON ORTIZ, ZURAMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON ORTIZ, ZURAMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON OSORIO, WALLYBELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON OSORIO, WALLYBELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON PAGAN, JANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON PEREZ, ADRIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RAMIREZ, RAINIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RAMIREZ, WALDYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RAMIREZ, WALDYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RAMIREZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5850 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 851 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RONDON RAMIREZ, WILLIAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RAMOS, ALEXI              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON REYES, CARMEN Y           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON REYES, MARIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON REYES, MARIA A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON REYES, MARIA J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON REYES, MARIA J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON REYES, MYRTA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RIVERA, EDNA R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RIVERA, JOSUE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RIVERA, JOSUE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RIVERA, NOEMI             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RIVERA, VERONICA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RODRIGUEZ, ARELIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RODRIGUEZ, ERIC S.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RODRIGUEZ, GABRIEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RODRIGUEZ, MARIA TERESA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RODRIGUEZ, YAOMING        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RODRIGUEZ, YARELIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON RODRIGUEZ, YARELIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON ROMERO, CARMEN R.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON ROSARIO, MARJORIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON SANTIAGO, JOSE A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON SANTIAGO, LESLIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON SAYANS, LAURA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON TOLLENS, SALOMON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON TORRES, DIANA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON TORRES, MARITZA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON VELAZQUEZ, MILDRED        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RONDON, JULIO C.                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROODRIGUEZ CINTRON, YOLANDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE ACEVEDO, JOSE C.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE ADORNO, ELBA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE ADORNO, ELBA I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE ALARCON, MARLENE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE ALARCON, MARLENE J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE ALICEA, NILDA I.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE ALICEA, ORMARIE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE ALICEA, ORMARIE F          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE ANTONETTY, ANAIS D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE APONTE, MYRIAM M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE BETANCOURT, NOEMILIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE BURGOS, NELSON A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE CABRERA, ELVIN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE CABRERA, VICTOR M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE CALDERON, SANDRA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE CAMACHO, MICHELLE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE CARRASQUILLO, RAMON L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE CASANOVA, VALERIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5851 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 852 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROQUE CASTRO, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE COLON, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE COLON, BILLY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE COLON, BILLY J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE COLON, BILLY J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE COLON, CARLOS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE COLON, JOHN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE COLON, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE COLON, LUZ J.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE COLON, LUZ J.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE COLON, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE COLON, MIRTON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE COLON, NIVEA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE COLON, RAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE COLON, REYMUNDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE CRUZ, ANGEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE CRUZ, CHRISTIE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE CRUZ, LUZ V               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE CRUZ, MILAGROS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE CRUZ, RAMON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE CRUZ, VIRGINIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE CRUZ, YEIDY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE CRUZ, YEIDY L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE CUMBA, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE DE REYES, DOLORES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE DIAZ, ESLI                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE DIAZ, EZRI                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE DIAZ, JACQUELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE DIAZ, JORGE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE FEBUS, JANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE FEBUS, JANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE FLORES, EUGENIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE GARCIA, FELICIANO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE GARCIA, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE GARCIA, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE GONZALEZ, IRIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE GONZALEZ, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE GRACIA, AXEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE GRACIA, AXEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE GRACIA, AXEL F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE GRACIA, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE GRACIA, LUIS X            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE GUERRERO, SARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE GUZMAN, JOCELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE HERNANDEZ, JOAN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE HERNANDEZ, MARTIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE HERNANDEZ, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE JULIA, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE JULIA, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5852 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 853 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROQUE JULIA, SANDRA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE LEAL, MARIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE LEAL, MARISA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE LERDO, NADIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE LOPEZ, JOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE LOPEZ, ZULMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE LOZADA, JANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE LOZANO, LORRAINE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE MALAVE, ANGELICA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE MALDONADO, ANA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE MALDONADO, MARIA DE LOS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
A
ROQUE MARCANO, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE MARRERO, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE MARTINEZ, JEANETTE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE MEDINA, MARIA V           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE MELENDEZ, SHEILEY         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE MOJICA, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE MOLINA, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE MONTALBAN, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE MORALES, CARMEN R         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE MORALES, MARTA M          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE MORALES, MARUZZELLA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE NAVARRO, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE NAVARRO, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE NGUYEN, RAFAEL R          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE NIETO, GEORGE             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE OFARRILL, ODALYS          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE OLIVERA, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE OLIVERA, RAQUEL N         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE OLMEDA, KENNETH R         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE OQUENDO, BERNARDO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE ORTIZ, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE ORTIZ, HERELYN            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE ORTIZ, HERELYN            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE ORTIZ, HILDA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE ORTIZ, HILDA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE ORTIZ, LEYLA N            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE ORTIZ, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE ORTIZ, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE ORTIZ, THAILI             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE ORTIZ, THAILI             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE ORTIZ, THAILI             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE ORTIZ, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE ORTIZ, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE OSORIO, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE OSUNA, VICTORIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE PENA, GINETTE M           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROQUE PENA, RAYSA N             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5853 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 854 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROQUE PENA, RAYZA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE PEQA, MARTA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RAMOS, LIMARYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE REYES, CAMIR A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE REYES, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RIVAS, BOLIVAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RIVERA, ANGELINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RIVERA, CECILIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RIVERA, LOURDES M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RIVERA, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RIVERA, MYRIAM M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RIVERA, SANTOS V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RODRIGUEZ, ANIBAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RODRIGUEZ, ATANACIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RODRIGUEZ, AURIE D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RODRIGUEZ, CARMEN H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RODRIGUEZ, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RODRIGUEZ, EDNA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RODRIGUEZ, FERNANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RODRIGUEZ, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RODRIGUEZ, MARCOS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RODRIGUEZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RODRIGUEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RODRIGUEZ, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RODRIGUEZ, SHAMIR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RODRIGUEZ, SHAMIR I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RODRIGUEZ, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE RODRIGUEZ, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE ROLON, VICTOR M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE ROQUE, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE ROSARIO, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE ROSARIO, CARLOS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE ROSARIO, ELADIO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE ROSARIO, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE ROSARIO, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE SALDANA, ALEXANDRA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE SANCHEZ, JAHAIRA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE SANCHEZ, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE SANTANA, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE SANTANA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE SANTOS, PABLO E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE SEGARRA, GLORIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE SEGARRA, MITZY L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE SERRANO, ANGEL M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE SERRANO, REGINO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE SOLIS, JANICE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE SOLIVAN, ABIGAIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE SOLIVAN, MARCIAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE TORRES, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5854 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 855 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROQUE TORRES, CARMEN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE TORRES, MERCEDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE TORRES, NIDZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE TORRES, ROSYMEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE VARGAS, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE VAZQUEZ, MARIA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE VELAZQUEZ, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE VELAZQUEZ, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE VELAZQUEZ, MARIA T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE VELAZQUEZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE VICENS, CRUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUE VICENTE, INGRID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUEL MALDONADO, NILDA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUES ARROYO, LAURACELIS M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROQUETOLENTINO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RORDRIGUEZ CALDERON, ANA ROSA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RORDRIGUEZ,FRANCISCO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RORIGUEZ GALARZA, CARMEN D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RORIGUEZ ORTIZ, TERESITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RORIGUEZ ROMAN, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROS ESCALANTE, ANTONIO A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ABRAHAM, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ABREU, IVONNEMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ACEVEDO, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ACEVEDO, AUGUSTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ACEVEDO, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ACEVEDO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ACEVEDO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ACEVEDO, GREGORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ACEVEDO, JEANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ACEVEDO, KRYSTAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ACEVEDO, LUISA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ACEVEDO, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ACEVEDO, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ACEVEDO, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ACEVEDO, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ACEVEDO, ROSARIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ACEVEDO, SONIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ACOSTA, TAMARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ADAMES, XAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ADAMS, ANGELICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ADAMS, MARIFE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ADAMS, YULMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AGOSTO, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AGOSTO, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AGOSTO, CARMEN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AGUINO, LUIS E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALAMO, JESSICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALBERTY, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5855 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 856 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA ALBINO, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALBINO, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALDARONDO, AIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALDARONDO, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALEJANDRO, EDIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALEJANDRO, EDIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALEJANDRO, MARIANGELIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALEJENDRO, GRASIELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALEQUIN, JULIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALERS, DIONISIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALGARIN, JOCELYN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALGARIN, JUAN A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALICEA, HENRY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALICEA, JESUS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALICEA, JOSE M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALICEA, JUANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALVARADO, ENRIQUE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALVARADO, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALVARADO, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALVAREZ, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALVAREZ, OSVALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ALVIRA, AMNERIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AMARO, CARMEN S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AMARO, JOAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AMARO, MAYRA Y             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AMBERT, ALEX               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ANAIS, GALAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ANDERSON, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA APONTE, DIANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA APONTE, RAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AQUINO, EFRAIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AQUINO, GLORIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ARCE, JEIRISEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ARCE, NANCY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ARCE, SHEILA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AROCHO, FRANCISCO M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AROCHO, JULIO C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ARROYO, CESAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ARZAN, EMILIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ARZAN, EMILIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ATANACIO, LYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AVILES, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AVILES, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AVILLAN, KAROLL H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AVILLAN, KAROLL H.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AYALA, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AYALA, EDNA S              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AYALA, EDNA S              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AYALA, GRISELLE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5856 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 857 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA AYALA, WIDALYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA AYALA, ZAIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BADILLO, AGNERIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BADILLO, AGNERIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BADILLO, LUIS R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BADILLO, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BADILLO, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BAEZ, ANGEL M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BAEZ, EMMANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BAEZ, MARITZA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BALLESTER, VIRGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BARBOSA, NEHILY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BARRIOS, ANGEL LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BARROS, ROCIO M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BARTOLOMEY, LESLIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BATISTA, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BAUZA, LUIS M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BAUZA, MARTA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BELEN, DALLYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BENES, AURELIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BENIQUEZ, BEATRIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BENIQUEZ, IRIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BENITEZ, MELVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BENITEZ, PEGGY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BENITEZ, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BENITEZ, SHEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BERBERENA, RUTH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BERBERENA, RUTH E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BERMUDEZ, MARINES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BERNIER, BEDALYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BERRIOS, ABDALIAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BERRIOS, CARMEN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BERRIOS, CAROL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BERRIOS, EDWARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BERRIOS, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BERRIOS, GLORIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BETANCOURT, JASMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BIRRIEL, LIZA Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BIRRIEL, LIZA Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BONANO, BRUNILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BONILLA, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BONILLA, EVA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BONILLA, FELIX J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BONILLA, JORGE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BONILLA, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BRAVO, MARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BRAVO, SAIRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BULTRON, CARMELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA BURGOS, TATIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5857 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 858 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA CABALLERO, CARLOS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CABALLERO, NOHELI MARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CABAN, ANGEL E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CABRERA, JOHANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CACERES, CARMEN D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CACERES, EDNA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CACERES, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CACERES, MARIA DEL C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CACERES, SONIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CALDERIN, LAURA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CALDERIN, LUIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CALDERO, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CALDERO, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CALDERON, ANA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CALDERON, CARMELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CALDERON, HECTOR J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CALDERON, RAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CALVENTE, JORGE H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CALVENTE, MAGDALENA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CALVENTE, NOELLIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CAMACHO, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CAMACHO, EVA Y.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CAMACHO, JULIO C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CANABAL, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CANABAL, YENISE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CANALES, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CANCEL, CARMEN P           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CANDELARIO, ALMA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARABALLO, ARACELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARABALLO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARABALLO, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARABALLO, LUIS ANGEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARDONA, BETZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARDONA, JOHN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARDONA, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARDONA, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARDONA, PATRICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARRASQUILLO, AIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARRASQUILLO, AIDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARRASQUILLO, CARMEN L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARRASQUILLO, JOSE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARRASQUILLO, JOSE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARRASQUILLO, JOSE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARRASTEGUI, IVONNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARRASTEGUI, IVONNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARRERO, DALIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARRILLO, KAROL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARRION, JUANITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARRION, MARIA B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5858 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 859 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSA CARROMERO, GLORIA E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARROMERO, GLORIA E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CARTAGENA, ALEXANDER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASIANO, MILAGROS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASILLAS, JORGE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASTILLO, DANIEL M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASTILLO, LUZ C             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASTILLO, MINERVA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASTILLO, SONIA E.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASTILLO, VICTOR M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASTILLO, VICTOR M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASTRO, ALEXIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASTRO, AUDREY E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASTRO, AUDREY E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASTRO, EDWIN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASTRO, EDWIN A             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASTRO, IVONNE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASTRO, JOHANNA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASTRO, JOHANNA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASTRO, JOSE L              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CASTRO, ROXANNA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CATALAN, DIANA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CATALAN, ISRAEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CEBALLO, TAIRIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CEDENO, ORLANDO J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CEDENO, YAHAIRA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CEPEDA, JOSE                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CESAREO, MARIA DEL CARMEN   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CHARLEMAN, AMARYLIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CHARNECO, JOSE A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CHARNECO, JOSE A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CINTRON, JULIO              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CINTRON, KEILA R.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CINTRON, WANDA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CLAUDIO, NORMA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CLAUDIO, TAMARA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CLEMENTE, LUIS R.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLLAZO, ALBERTO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLLAZO, MARIA DEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLLAZO, MARIA L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLLAZO, MIGDALI            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, ALEJANDRO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, ANGEL                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, ANGEL L              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, BOLIVAR              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, CARLOS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, EDNA L               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, EDNA L               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, EMILIO               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5859 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 860 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA COLON, GIOVANNI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, JENNIFFER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, JUAN C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, JUAN C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, KARLA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, KARLA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, KARLA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, LISSETT M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, LUIS E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, MARA Y              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, NILDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, SHERANED M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, VICTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COLON, WANDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CONCEPCION, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CONCEPCION, RUBEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CONCEPCION, VIONETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORCHADO, DALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORCINO, RUTH I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORDERO, HECTOR O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORDERO, JARECK E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORDERO, JARECK E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORDERO, JOAQUIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORDERO, KATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORDERO, YAMIL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORDERO, YAMIL E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORDERO, YANEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORDOVA, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORDOVA, RAFAEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORREA, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORREA, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORREA, JULIO A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORTES, ELIE E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORTES, JUAN CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORTES, MELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORTES, SYLVIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CORTIJO, DENISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COSME, ELI                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COSS, JACQUELINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COTTE, MARIA C.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COTTE, MARIA C.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COTTO, ISAAC               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COTTO, JUANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COTTO, MILDRED             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA COTTY, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRISPIN, ZENAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, ANTONIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, AUREA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, BRUNILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5860 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 861 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA CRUZ, CECILIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, GLORIA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, HANIA L.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, IRENE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, JANETTE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, JORGE D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, JORGE D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, JUANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, LILLIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, MARTHA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, MAYELA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, MAYRA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, NORAIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, OSVALDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, ROGELIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CRUZ, TOMAS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CUEVAS, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CUEVAS, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA CUEVAS, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DAVILA, EMARELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DAVILA, EUSTAQUIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DAVILA, EUSTAQUIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DAVILA, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DE JESUS, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DE JESUS, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DE JESUS, LIZA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DE JESUS, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DE JESUS, PEDRO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DE JESUS, SHARLEEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DE LA PAZ, EICHALY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DE LA PAZ, EICHALY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DE LEON, CARLEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DE LEON, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DE LEON, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DE LOS SANTOS, RAFAEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DE OTERO, TOMASA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DE RIOS, MIRAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DE ROSADO, ELBA IRIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DE VIDAL, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DEL MORAL, SONIA B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DEL VALLE, JUANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DEL VALLE, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DEL VALLE, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DELGADI, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DELGADO, CANDIDA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DELGADO, GABRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DELGADO, ILEANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DELGADO, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DELGADO, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5861 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 862 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA DELGADO, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DELGADO, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DELGADO, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DELGADO, SANTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DELGADO, SOCORRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DEVILLEGA, SONIAMAGALY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, BRENDA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, CARMEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, CARMEN L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, CARMEN M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, DIANA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, DOLORES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, DOLORES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, EMILIO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, HECTOR L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, JAVIER               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, JORGE L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, JUAN E.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, MADELINE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, MAGGIE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, MAGGIE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, MARIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, MARIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, MARIA DEL C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, MARIA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, MARTIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, MIGUEL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, NANCY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, NOEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, RAQUEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, RODOLFO A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DIAZ, YADIDA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DOMENECH, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DOMENECH, ROXANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DOMENECH, RUTH J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DORTA, MILTON L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DORTA, MILTON L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DUPREY, BETZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA DURAN, JUAN ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ECHEVARRIA, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ECHEVARRIA, MIGUEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ECHEVARRIA, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ELIZA, CARLA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ESCOBAR, BLANCA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ESQUILIN, LUZ DAMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ESTRELLA, KENETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FALCON, YARELIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FALERO, RUBEN J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FALU, FRANCHESCA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5862 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 863 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA FELICIANO, AIXA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FELICIANO, ENEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FELICIANO, ENEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FELICIANO, GERARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FELICIANO, JULIO CESAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FELICIANO, MARCUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FELICIANO, MYRNA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FELICIANO, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FELIX, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FELIX, JOSE A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FERNANDEZ, ALBERTO M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FERNANDEZ, JUDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FERNANDEZ, MYRNA J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FERNANDEZ, OSCAR A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FERNANDEZ, WANDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FERRER, LILLIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, AVELINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, BRENDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, CARMEN N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, CELIA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, CELIA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, EDELMIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, EDNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, ESTHER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, JACKELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, JITSY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, JOAQUIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, KORALIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, ROSARIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, SIGRID A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FIGUEROA, VANESSA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FLORES, ARELIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FLORES, EVILIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FLORES, EVILIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FLORES, HILDA G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FLORES, MADELINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FLORES, RAFAEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FLORES, WANDA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FONSECA, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FONSECA, DIANA G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FONTANEZ, DALMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FONTANEZ, DALMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FONTANEZ, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5863 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 864 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA FRANQUI, JOSE E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FREYTES, JOHNNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FREYTES, JUAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FRIAS, EDWIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FRIAS, EDWIN R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FUENTES, AMOREILY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FUENTES, AMOREILY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FUENTES, MORESLEE ANN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FUENTES, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA FUMERO, MAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GALAGARZA, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GALARZA, IVAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GALARZA, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GALARZA, YARILET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GALLOSA, JOSE E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GALVAN, SONIA Y.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARAY, LILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, ADRIAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, ALMA Y.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, CARMEN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, CHRISTIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, CHRISTIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, ERNESTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, EUDALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, GRICELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, HILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, HILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, INDAMARIEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, JOSEFINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, LIZBETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, MARTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, NEHEMIAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, NYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, SONIA N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, SONIA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, VIRGINIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, YAMILETHE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, YARIMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARCIA, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARRASTEGUI, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GARRIDO, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GAUD, JESSICA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GAUD, JESSICA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5864 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 865 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA GEORGE, OLGA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GERENA, ANA R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GERENA, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GERENA, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GERENA, JOSE N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GERENA, RUBEN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GOMEZ, ALEX A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GOMEZ, ANA V               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GOMEZ, ANGELES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GOMEZ, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GOMEZ, ELBA I.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GOMEZ, EMILIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GOMEZ, KRISTINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GOMEZ, LISSETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GOMEZ, LUMARIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GOMEZ, OREYLIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GOMEZ, OREYLIE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GOMEZ, SYLVIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GOMEZ, WALESKA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GONZALEZ, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GONZALEZ, AIDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GONZALEZ, AYMET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GONZALEZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GONZALEZ, CARMEN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GONZALEZ, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GONZALEZ, EUGENIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GONZALEZ, FELIX A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GONZALEZ, GISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSA GONZALEZ, GISELLE DEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO
ROSA GONZALEZ, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, GRETCHEN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, GUSTAVO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, JOANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, KEREN M.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, MARGIE           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, MARGIE L         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, MELANIE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSA GONZALEZ, MELVIN           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5865 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 866 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA GONZALEZ, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GONZALEZ, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GONZALEZ, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GONZALEZ, SIBELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GONZALEZ, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GONZALEZ, YORJAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GUADALUPE, BEATRIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GUADALUPE, MARVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GUADALUPE, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GUADALUPE, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GUERRA, BRENDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GUERRA, BRENDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GUIDIAN, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GUZMAN, AGRIPINO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GUZMAN, BELEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GUZMAN, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GUZMAN, GUILLERMO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GUZMAN, GUILLERMO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GUZMAN, IVAN E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GUZMAN, IVAN E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GUZMAN, SANDRA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA GUZMAN,IVAN E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, ADA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, BLANCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, CARLOS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, CLARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, DIANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, EFRAIN JR.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, ELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, FELIX A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, FLORENTINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, FLORENTINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, GUDELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, INES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, JOE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, JUAN C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, JUANC           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, MAILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, RENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, RUTH ENID       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, SAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HERNANDEZ, SELHIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA HUERTAS, MARIA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5866 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 867 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA IGLESIAS, HERBERT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA IGLESIAS, RAMESIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA IRIZARRY, KARLA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ISAAC, MARIA C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ISACC, MARIA C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA JAIME, NOELIA Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA JAVIER, ALICE D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA JIMENEZ, CARLOS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA JIMENEZ, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA JIMENEZ, DEBBIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA JIMENEZ, GERMAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA JIMENEZ, LYZETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA JIMENEZ, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA JIMENEZ, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA JORGE, JANYMEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA JUSINO, EVA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA JUSINO, ODETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LABIOSA, JEANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LABIOSA, JULIO ALBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LABOY, ANA E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LABOY, GLORIVEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LABOY, LUZ M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LABOY, WILLIAM F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LAFONTAINE, ALEXANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LAGUERRE, PEDRO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LAI, FRANKIE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LASSUS, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LASSUS, JOSE D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LASTRA, LYDIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LATIMER, IRIS N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LATIMIER, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LEBRON, ALBA N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LEBRON, CARMEN E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LEBRON, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LEON, ELVIA B              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LEON, ELVIA B              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LEON, JOSE L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LEON, ZAIDA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LEYRA, DIANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LLORENS, LUZ IDALMIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LLORENS, LUZ IDALMIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, BRUNILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, BRUNILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, CARLOS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, EDGAR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, ERIC                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, HECTOR L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, ILIANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, JIMARIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5867 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 868 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA LOPEZ, JOHN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, JOSE L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, LETICIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, LETICIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, LILIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, LILIBETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, LUZ N               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, LUZ N.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, MARIA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, MARIA S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, MERCEDES M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, MYRNA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, ORLANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, RAMONA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, SANDRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, TOMAS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, WILNETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, YAMILETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOPEZ, YAMILETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LORENZO, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LORENZO, ZULIANNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOZADA, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LOZADA, SONIA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LUCIANO, SIMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LUGO, CARMEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LUGO, EVELYN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA LUNA, DIGMARI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MALAVE, JAIME              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MALAVE, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MALAVE, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MALDONADO, JOHANN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MALDONADO, MARIA DEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MALDONADO, MICHELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MALDONADO, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MALDONADO, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARCANO, AIDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARCANO, AIDA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARCANO, ELI R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARCANO, LILLIAM S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARCANO, LILLIAM S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARIN, FELIX A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARIN, HAROLD              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARIN, MARILYN C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARQUEZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARQUEZ, TOMAS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARRERO, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, ALBY O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, ALBY O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5868 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 869 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA MARTINEZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, EDWARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, ELSA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, IRIS Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, LUIS F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, MAGDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, RUTH S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, TERESITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTINEZ, WALESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MARTY, ROSA I.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MATOS, EMILY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MATOS, FELIPE D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MATOS, GLENDA Z            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MATOS, JELITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MATOS, JELITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MATOS, MARIA DEL C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MATTEI, GLADYS E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MAYSONET, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MAYSONET, VILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MAYSONET, VILMA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MEDINA, ABRAHAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MEDINA, ABRAHAM A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MEDINA, BENEDICTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MEDINA, CARMEN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MEDINA, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MEDINA, GISELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MEDINA, MARIBY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MEDINA, MARIBY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MEDINA, MARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MEDINA, MARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MEDINA, MIGNA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MEDINA, NILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MEDINA, ROSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MEDINA, ROSSY IVELISSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MELENDEZ, EVELYN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MELENDEZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MELENDEZ, MARIA V.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MELENDEZ, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5869 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 870 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA MELENDEZ, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MELENDEZ, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MELENDEZ, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MENDEZ, ILIAN ENID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MENDEZ, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MENDEZ, JUAN J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MENDEZ, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MENDEZ, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MENDEZ, NORBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MENDEZ, THANNIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MENDEZ, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MENDEZ, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MENENDEZ, AIDA G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MENENDEZ, CARMEN D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MERCADO, AMNERIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MERCADO, ANGEL RAMON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MERCADO, CARLOS J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MERCADO, ELINET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MERCADO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MERCADO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MERCADO, RAQUEL S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MERCED, ISAAC              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MERCED, REINALDO JR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MILLAN, RUBEN D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MIRABAL, FERNANDO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MIRANDA, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MIRANDA, ISOLINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MIRANDA, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MIRANDA, JUAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MOJICA, JESENIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MOJICA, VICTOR J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MOJICA, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MOLINA, LUZ C.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MOLINA, MERCEDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MONSANTO, YUDELKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MONSANTO, YUDERKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MONTANEZ, JUAN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MONTANEZ, MARIANITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MONTANEZ, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MONTANEZ, SALVADOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MONTANEZ, YOMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MONTAQEZ, FRANCISCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MONTERO, GIOVANNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MONTIJO, IRIS J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MONTIJO, IRIS J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MONTIJO, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MONTIJO, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MONTIJO, LOURDES A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORA, GEORGE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5870 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 871 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA MORALES, ALEX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORALES, BRENDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORALES, ELOIZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORALES, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORALES, FREDDIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORALES, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORALES, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORALES, JUAN E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORALES, JULIO C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORALES, KATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORALES, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORALES, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORALES, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORALES, MOISES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORALES, MORAIMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORENO, FELICITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORENO, FELICITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MORENO, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MUNIZ, VICTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MUNOZ, LYDIA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MUNOZ, SONIMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MURIEL, LEONARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA MURIEL, RAMIRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NALES, EDNARIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NALES, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NALES, MARIA S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NARANJO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NARANJO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NARANJO, RAMON LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NAVARRO, CARMEN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NAVARRO, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NAVARRO, MARIA DEL CAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NAZARIO, LYDIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NEGRON, CYNTHIA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NERIS, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NIEVES, CAMILLE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NIEVES, EDWIN N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NIEVES, EVANELLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NIEVES, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NIEVES, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NIEVES, LOURDES AMPARO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NIEVES, LUZ                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NIEVES, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NIEVES, MARIA CELESTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NIEVES, NELIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NIEVES, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NOBLES, LUCIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NOGUERAS, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NUNEZ, ENEIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5871 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 872 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA NUNEZ, KATHIA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NUNEZ, LUZ N.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NUNEZ, MAGALY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NUNEZ, STEVENS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA NUNEZ, WALESKA Y.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA OCASIO, DEBORAH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA OCASIO, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA OCASIO, MELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA OJEDA, ARLEEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA OLIVARES, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA OLIVARES, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA OLIVO, HEYDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA OLIVO, MIGDALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORAMA, TEODORO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTA, EFRAIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, BENJAMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, CARLOS J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, DANIEL R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, ELSA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, ENRIQUE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, GIL EMILIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, JOEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, JORGE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, JOSE M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, LUIS G.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, MANUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, MARIA TERESA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, MARTIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, RAQUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ORTIZ, YESENIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA OSORIO, JORGE DAVID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA OSORIO, YESSIKA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA OTERO, MANUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA OTERO, NEIKA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA OTERO, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA OTERO, SONIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA OTERO, SONIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PABON, MARGARITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PACHECO, OLGA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PADILLA, ANA Z.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PADILLA, PAULA H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PADUA, CARLA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PADUA, CARLA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PAGAN, ADALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PAGAN, CARLOS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PAGAN, JAVIER ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5872 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 873 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA PAGAN, MARIO A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PAGAN, NAYSHA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PAGAN, SANDRA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PAGAN, SYLVIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PALERMO, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PALERMO, MAYRA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PARES, JOAQUIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PELLOT, LOYDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PELLOT, MARTHA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PELLOT, ROSA H.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PENA, MADELINE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PENA, MARIA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PENA, MATILDE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PENA, MATILDE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PENNISTOWN, LITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PENNISTOWN, LITZA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, ANA S               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, ANGEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, ANGEL E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, AURELIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, EGJINIO D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, ELSIE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, HILDY A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, IVELISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, JAVIER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, JENNY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, JOSE LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, MARIA DEL CARMEN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, MARIA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, NESTOR J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, NILMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, OLGA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, ONELIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, ONELIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, ORLANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, OSVALDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, PABLO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, RICARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, SIMON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, TAIRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, TASHYRA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, WILSON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, WISDY LADY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PEREZ, ZULEIDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PINTO, CARMEN M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PIZARRO, AURORA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PIZARRO, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5873 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 874 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA PIZARRO, REYNALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PIZARRO, YAJAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PIZARRO, YAJAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PLANAS, JACKELINE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA POLANCO, JESSIEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA POLANCO, NILDALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA POMALES, BETTY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PONCE, YOLANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA PONS, RAUL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA QUIJANO, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA QUINONES, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA QUINONES, DIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA QUINONES, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA QUINONES, JOSE T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA QUINONES, LUZ B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA QUINONES, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA QUINONES, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA QUINONES, ZAKIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA QUINONEZ, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA QUINTANA, CHRISTIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAFOLS, GLADYS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMIREZ, ELKA Z            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMIREZ, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMIREZ, JORGE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMIREZ, LESLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMIREZ, MINERVA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMIREZ, MINERVA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, ALVARO J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, ANIBAL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, CARMEN M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, CLAUDIA A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, EUGENIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, FERNANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, HECTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, HECTOR DE JE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, JESUS G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, JORGE I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, LILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, MARGARITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, MILAGROS F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, MIRELLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, MONICA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, SAMUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, WILFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, YAZMIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, YAZMIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RAMOS, YESICA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RENDON, EMILIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RESTO, JUAN R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5874 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 875 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA REYES, ABRAHAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA REYES, ANTONIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA REYES, ELIAS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA REYES, FRANKIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA REYES, HECTOR M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA REYES, JOEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA REYES, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA REYES, JUAN J.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA REYES, LUZ M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA REYES, RAMON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA REYES, SONIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA REYES, TANYA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIOS, AIMMETTE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIOS, AIMMETTE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIOS, ALICIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIOS, HIPOLITO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIOS, JEAN C               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIOS, JOANNA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIOS, JOANNA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIOS, MARCELINO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIOS, MYRIAM H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVAS, MAGDA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, ADIL M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, AIDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, ALEJANDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, ANGELICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, ANGELICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, BRENDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, CARMEN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, CARMEN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, CARMEN S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, EDDIE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, EDEL D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, EDGARDO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, EDNA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, EDNA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, ENRIQUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, FELIX O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, FRANCISCO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, HILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, INGRYD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, ISMAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, IVETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, JACKELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5875 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 876 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA RIVERA, JANET              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, JANET              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, JESUS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, JONATHAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, JOSE L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, JUANITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, JULIO E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, KATIRIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, KATIRIA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, KEYLA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, LISSETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, LISSETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, LUIS D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, LUIS ORLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, LUZ                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MARIA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MARIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MARIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MARIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MARIA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MARIELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MELVIN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MICHELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MIGUEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MILEYDI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MIRNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, MONSERRATE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, NELYMAR Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, NILSA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, NOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, NOEMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, OMAR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, OMAR A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, PEDRO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, RAYMOND            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, RICHARD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, RICHARD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5876 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 877 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA RIVERA, ROSA B             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, RUTH EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, SARA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, SASHA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, SONIA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, SUSAN Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, TERESA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, TOMAS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, VIRGINIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, WALESKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, WALESKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, XIOMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RIVERA, YEIDEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROBLEDO, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODDRIGUEZ, MARTA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, ALEXANDER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, ANGEL R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, DORA H.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, ELBA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, EMILIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, ENIVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, ESTRELLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, GLORIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, HARONID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, HECTOR A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, ISAI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, JANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, JEANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, JEANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, JESENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, JOE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, JOHAN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, JOHNNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, JOISETTE M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, JOSE JUAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, JUAN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, LUCIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, LUISA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5877 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 878 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA RODRIGUEZ, MAGDALENA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, MELVIN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, MONICA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, OMAR A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, RADAMES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, ROSA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, SARAI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, SONIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RODRIGUEZ, VANESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROJAS, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROLDAN, FABIOLA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROLDAN, LORENA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROLON, YESENIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, CARLOS H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, EILEEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, GEORGE HAROLD       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, IVAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, JANICE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, JERRY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, LUIS M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, MADELINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, PEDRO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, RAFAEL A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, RAMON L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, TOMAS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, VICTOR M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMAN, YARALEEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMERO, AIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMERO, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMERO, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMERO, JUAN R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMERO, LEYDA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMERO, LIZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROMERO, MAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5878 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 879 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA ROMERO, RUTH M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RONDON, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROQUE, ANGEL F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, AIDA L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, CARLOS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, CARMEN M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, EDUARDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, EDWIN R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, ERIKA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, EUGENIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, FRANCISCO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, JUANA M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, KEYLANIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, LILLIAM T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, LUIS                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, LUIS A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, LUIS B               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, MARIA DE LOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, MARIA DE LOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, MELINA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, NANCY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, RITA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA, ROSARIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSA,WILLIAM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSADO, ARVIN F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSADO, CHRISTIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSADO, CHRISTIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSADO, LISSETTE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSADO, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSADO, MARY J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSADO, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSADO, YARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSARIO, HARRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSARIO, HARRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSARIO, ILIA N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSARIO, JIMMY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSARIO, JIMMY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSARIO, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSARIO, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSARIO, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSARIO, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSARIO, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSARIO, REY F.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSARIO, SARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSARIO, YANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSARIO, YANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSAS, NICOLE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ROSAS, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RUIZ, CARMEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5879 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 880 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA RUIZ, CORALY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RUIZ, DAISY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RUIZ, DEBORAH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RUIZ, DEBORAH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RUIZ, JULIO C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RUIZ, MARIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RUIZ, MARIA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RUIZ, MARIA M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RUIZ, MYRIAM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RUIZ, MYRIAM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RUIZ, RAFAEL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA RUIZ, RAQUEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SAEZ, ASBERTLY A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SAEZ, EDWIN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SAEZ, MARIA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SAEZ, MYRAIDA G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SAEZ, YOLANDA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SALA, JORGE L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SALAS, IVAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SALAS, YEILI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SALAS, YEILI M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SALGADO, ADRIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SALGADO, FREDDY N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SALGADO, YEIDI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SALINAS, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SALINAS, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SALINAS, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANCHEZ, ANA D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANCHEZ, ANA D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANCHEZ, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANCHEZ, CLARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANCHEZ, EDDIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANCHEZ, JUANA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANCHEZ, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANCHEZ, MARISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANCHEZ, SOLMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANCHEZ, SULEIKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANCHEZ, VIVIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANDOVAL, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTAIGO, MAYRA R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTANA, ANTONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTANA, ANTONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTANA, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTANA, CARMEN H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTANA, FATIMA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTANA, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTANA, JOSE G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTANA, LUZ M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTANA, LYDIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5880 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 881 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA SANTANA, MARCELINO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTANA, MARTA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTANA, RUTH N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTELL, EMILYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTIAGO, BETSY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTIAGO, DORIS N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTIAGO, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTIAGO, JULIO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTIAGO, KAIRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTIAGO, MARIA DE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTIAGO, MARJORIE E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTIAGO, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTIAGO, OMAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTIAGO, RAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTORY, EDDIE I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTOS, ALMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTOS, ALMA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTOS, DIEGO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTOS, HECTOR L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTOS, JORGE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTOS, JOSE F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SANTOS, YASIRI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SCHELLHORN, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SEGARRA, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SEPULVEDA, MARIA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SEPULVEDA, RUFO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SERRANO, CONCEPCION        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SERRANO, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SERRANO, IVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SERRANO, KURT J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SERRANO, MARIA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SERRANO, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SEVILLA, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SIERRA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SIERRA, CATHERINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SIERRA, CLARA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SIFRE, MARIA DEL C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SIFRE, MARIA DEL C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SIFRE, MAYRA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SIURANO, BERTA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SKERRETT, MELANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SOBERAL, BLANCA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SOBERAL, EMELINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SOBERAL, LILLIAN N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SOLIS, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SOLIS, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SOLIS, RUTH                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SOTO, DAVID                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SOTO, DAVID                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 882 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA SOTO, ELIZABETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SOTO, FELIX A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SOTO, JOSE A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SOTO, MIOSOTIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SOTO, NORMA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SOTO, VILMA H              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SUAREZ, JESUS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SUAREZ, PABLO R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SUAREZ, RAFAEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA SUAREZ, RAFAEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TALAVERA, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TASADO, NORMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TAVERA, AMAURI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TAVERAS, DILEINY M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TAVERAS, MAYRA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TEVENAL, ANA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TIRADO, ALESSANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TIRADO, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORO, AIZLEEN Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORO, DEAN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORO, DEAN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, ADAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, ANTONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, AURORA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, BARBARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, CHRISTIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, EGELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, HERMAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, IRIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, IRIS E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, JANIRA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, JOSE E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, JOSE F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, JOSE MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, JOSEFA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, LUCILA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, LUIS E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, MARIA DE LOS A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, MARIA J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, MARIELIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, MYRNA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, NARCISO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, RAMON L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, SHARON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 883 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA TORRES, WANDA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, WANDA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, YOLLY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TORRES, ZULEIMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TOSADO, MOISES A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TOSADO, RUTH E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TRINIDAD, ANDREA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TRINIDAD, GLADYS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TRINIDAD, NILSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TRINIDAD, NILSA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA TRINIDAD, YOMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VADI, JULIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VALDES, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VALENTIN, AXEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VALENTIN, JOVANI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VALENTIN, JULIO E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VALENTIN, JULISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VALENTIN, JULISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VALENTIN, MARCO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VALENTINE, JANICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VALLES, MELBA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VALLES, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VANGA, MARIA E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VARGAS, CARIDAD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VARGAS, CARIDAD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VARGAS, LUZ E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VARGAS, MARIO A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VARGAS, SANDRA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VASSALLO, KELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VAZQUEZ, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VAZQUEZ, AURA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VAZQUEZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VAZQUEZ, CINDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VAZQUEZ, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VAZQUEZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VAZQUEZ, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VAZQUEZ, MARIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VAZQUEZ, MARIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VAZQUEZ, SARA K            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VAZQUEZ, SYLVIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VAZQUEZ, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VAZQUEZ, YAMIRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VAZQUEZ, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VAZQUEZ, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VEGA, ANGELA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VEGA, ELIZABETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VEGA, JOSE P               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VEGA, LUZ N                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VEGA, MARIBEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5883 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 884 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA VEGA, MARIBEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VEGA, MAYRA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VEGA, MAYRA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VEGA, RAFAEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VEGA, YOLANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VEGA, ZAYRA M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELAZQUEZ, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELAZQUEZ, CORAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELAZQUEZ, JACKELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELAZQUEZ, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELAZQUEZ, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, ANGEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, BRENDALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, CARMEN I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, DELIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, GILBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, JESUS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, JESUS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, LISSETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, LUZ D               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, NELIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, ORLANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, ROSA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, ROSA M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, ROSALY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VELEZ, ROSALY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VERA, WILMA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VERA, WILMA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VERDEJO, XAYMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VIDAL, EDNA B              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VIDAL, EDNA B              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VIERA, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VIERA, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VIERA, LUIS A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VILLAFANE, MARIA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VILLAFAQE, MARIA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VILLANUEVA, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VILLANUEVA, MARGIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VILLEGA, ELIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VILLEGA, LUISA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VILLEGAS, EZEQUIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VILLEGAS, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VILLEGAS, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5884 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 885 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSA VILLEGAS, SARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA VILORIA, YUDIT             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA YULFO, ISABEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA YULFO, ISABEL E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA YULFO, JORGE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ZAYAS, AIDA C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ZAYAS, AIDA C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ZAYAS, LYDIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ZAYAS, MELANNIE E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA ZAYAS, WILFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA, AXEL                      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA, FRANSHESKA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA, IVETTE                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA, JOHNNY                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA, JOSUE                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA, LORNA M                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA, MAYRA                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA, MELVIN                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA, XIOMARA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA,JOHNNY                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSACHEVRES, DIONISIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ACEVEDO, EDWIN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ACEVEDO, EVA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ACEVEDO, JIMMY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ACEVEDO, LOURDES E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ACEVEDO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ACEVEDO, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ACEVEDO, LYDIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ACEVEDO, LYDIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ACEVEDO, NELIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ACEVEDO, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ACEVEDO, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ACOSTA, JEANETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ACOSTA, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ADORNO, DANYA T.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ADORNO, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ADORNO, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AGOSTO, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AGOSTO, ANA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AGOSTO, ANGELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AGOSTO, CARMEN DE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AGOSTO, MARIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AGOSTO, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AGOSTO, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AGOSTO, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AGUASVIVAS, LUIS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AGUILERA, INES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AGUILERA, INES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AGUIRRECHEA, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5885 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 886 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO AGUIRRECHEA, ZAYRA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALABARCES, MARIVELIZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALAMO, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALBALADEJO, BENJAMIN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALBALADEJO, DORALIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALBALADEJO, JUAN P.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALCAZAR, JOANNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALCAZAR, JOANNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALCAZAR, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALDARONDO, MARISELYS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALDARONDO, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALDARONDO, RAMON D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALDARONDO, RAMON D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALEJANDRO, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALEJANDRO, JULIO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALEJANDRO, LYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALEMAN, CHRIST           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALFARO, MARTIN F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALFARO, MONSERRATE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALFONSO, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALICEA, ARTURO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALICEA, ELIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALICEA, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALICEA, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALICEA, LAURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALICEA, LAURA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALICEA, LOURDES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALICEA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALICEA, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALICEA, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALICEA, PETRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALICEA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALICEA, REBECA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALICEA, TERESA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALMESTICA, MARIA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALMESTICA, VILMA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALMODOVAR, CARMEN E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALMODOVAR, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALMODOVAR, FELIX A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALVARADO, JACQUELINE M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALVARADO, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALVARADO, PEDRO M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALVARADO, PEDRO M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALVARADO, VILLMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALVAREZ, AIDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALVAREZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALVAREZ, CRISTIAN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALVAREZ, GERARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALVAREZ, HELEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 887 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO ALVAREZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALVAREZ, JOSE C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALVAREZ, KEYSHA YARIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALVAREZ, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALVAREZ, MYRTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALVAREZ, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ALVIRA, VICTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AMARO, ARELISS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AMARO, ARELISS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AMARO, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AMARO, DAMAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ANAYA, YASMIN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ANAZAGASTY, RAPHAEL J.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ANDRADES, MAX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ANDRADES, MAX W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO APONTE, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO APONTE, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO APONTE, GERARDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO APONTE, ISAMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO APONTE, JASSIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO APONTE, NYURKA Y.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO APONTE, ROSAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO APONTE, VIVIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO APONTE, VIVIAN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AQUINO, MARIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AQUINO, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ARCAY, DATMARRIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ARCAY, DATMARRIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ARCE, CARLOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ARCE, ROSE I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ARROYO, ALVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ARROYO, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ARROYO, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ARROYO, DIONA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ARROYO, EMMANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ARROYO, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ARROYO, KETSY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ARROYO, LECKSBIA N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ATANACIO, JONATAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AVENANCIO, BRENDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AVENANCIO, BRENDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AVENANCIO, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AVENANCIO, SANDRA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AVILA, JACQUELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AVILA, JAFET D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AVILA, LYSSETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AVILES, JUAN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AYALA, DALIA G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AYALA, MARIA DE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5887 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 888 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO AYALA, NIDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO AYBAR, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BAEZ, ALEX J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BAEZ, ANGEL R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BAEZ, ENRIQUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BAEZ, HECTOR S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BAEZ, JANETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BAEZ, JENNYLSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BAEZ, JOHELY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BAEZ, LISA MICHELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BAEZ, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BAEZ, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BAEZ, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BAEZ, NELLY D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BAEZ, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BAEZ, WILBERT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BALLESTER, LUIS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BARBOSA, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BARBOSA, SERGIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BARREIRO, JORGE LUIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BARRETO, ALICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BARRETO, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BARRETO, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BARRETO, JEIDDY M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BARRETO, MAGDALENA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BARRETO, NEYL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BARRETO, NEYL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BARRETO, RAMON A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BATISTA, ESTEBAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BATISTA, ESTEBAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BATISTA, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BATISTA, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BATISTA, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BATISTA, ORLANDO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BATISTA, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BATISTA, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BAUZA, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BELTRAN, JAIME O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BERIO, GLADYS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BERIO, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BERMUDEZ, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BERMUDEZ, LILLIAN M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BERMUDEZ, MARIA W        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BERNARD, OSCAR I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BERRIO, VICTOR O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BERRIOS, HECTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BERRIOS, HUMBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BERRIOS, ILIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BERRIOS, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5888 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 889 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSADO BERRIOS, LUZ I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BERRIOS, RAUL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BERRIOS, REINALDO G       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BERRIOS, WILFREDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BERRIOS, WILFREDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BIDOT, PAOLA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BONANO, HECTOR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BONEFONT, MARTA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BONILLA, GLORIA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BONILLA, PEDRO J.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BOSQUE, ANIBAL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BOSQUE, MARGELY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BRIGNONI, LAURA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BULTED, LUZ               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BULTES, LUIS A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BULTES, LUIS A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BURGOS, ALBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BURGOS, JANESVETT         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BURGOS, JOSEPHINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BURGOS, SARA N            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BUTLER, IVONNE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BUTLER, IVONNE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO BUTLER, NOEL A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CABALLERO, MARIA DEL C.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CABAN, CLARITA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CABAN, LUIS A             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CABANAS, MARIE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CABRERA, ANA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CABRERA, CARMELO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CABRERA, CARMELO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CABRERA, CARMEN A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CABRERA, HARRY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CABRERA, JONATHAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CABRERA, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CABRERA, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CABRERA, MARIA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CABRERA, SOLYMAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CACERES, OLGA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CAJIGA, PABLO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CAJIGAS, JOHANNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CAJIGAS, JOHANNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CAJIGAS, LYDIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CAJIGAS, ROLANDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CAJIGAS, YAHAIRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CAJIGAS, YAHAIRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CALDERON, ANA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CALDERON, ANA W.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CALDERON, CARMEN M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CALDERON, EVELYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5889 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 890 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSADO CALDERON, EVELYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CALDERON, FELIPE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CALDERON, HECTOR L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CALDERON, JUAN A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CALDERON, JULIAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CALDERON, RAMON L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CALDERON, VICTOR M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CALDERON, VICTOR M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CALDERON, VICTOR M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CALDERON, WILLIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CALDERON, YOLANDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CALDERON, YOLANDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CAMACHO, LILLIAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CAMACHO, MARIA DE LOS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CAMACHO, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CAMACHO, MARIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CAMACHO, MYRNA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CANALES, MILDRED          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CANCEL, ARSENIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CANCEL, EVELYN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CANCEL, ISAAC             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CANCEL, JOHANNA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CANCEL, JOHANNA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CANCEL, JOHANNA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CANCEL, JOSE M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CANCEL, MANUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CANDELARIA, DIANELIS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CANDELARIA, RUBEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CANDELARIO, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CANDELARIO, MARIA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CANDELARIO, MARIBEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CANDELARIO, PETRISHA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARDONA, KEVIN C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARDONA, LUZ              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARDONA, NITZA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARDONA, SONIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARDONA, YARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARDONA, ZAIDA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARMONA, CARMEN S.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARMONA, GREGORIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARO, RAFAEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARO, RUPERTO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARRASQUILLO, DANIEL S.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARRASQUILLO, JUAN L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARRASQUILLO, SONIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARRERAS, SANDRA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARRERO, ALBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARRERO, LIZMARI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARRERO, LIZMARI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5890 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 891 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
ROSADO CARRERO, MICHELLE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARRERO, MIGUEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARRERO, SOLIMAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARRILLO, AIXA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CARRION, MARIA DE LOS A.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CASADO, NANCY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CASADO, NANCY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CASERES, OLGA I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CASES, EVELYN M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CASES, GLORIA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CASIANO, ANAIVY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CASIANO, ISRAEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CASIANO, WILMA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CASILLAS, MINERVA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CASILLAS, NEFTALI          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CASTELLANO, KENNETH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CASTRO, TOMMY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CASTRODAD, EDWIN R.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CEDENO, ELSIE I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CENTENO, CELINA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CENTENO, ELIZABETH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CENTENO, LUZ H.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CENTENO, OLGA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CESTARYS, IVETTE DE L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CHAPARRO, MANUEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CHARON, ANTONIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CHARON, ANTONIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CHAVEZ, ADAMAR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CHEVERE, OSCAR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CHEVEREZ, WILMARY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CINTRON, ANA ANGELICA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CINTRON, GLORIA A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CINTRON, JOSE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CINTRON, LOUIS D           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CINTRON, MANUEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CINTRON, MARISOL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CINTRON, NELSON O          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CINTRON, YARITZA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CLASS, GRISELLA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CLASS, JONATHAN J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CLAUDIO, ROSARIO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CLAUSET, ELIZABETH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLLAZO, CARMEN A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLLAZO, HECTOR R          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLLAZO, IRAIDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLLAZO, JULIO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLLAZO, MARIBEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLLAZO, MARIYN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLOBAN, LUIS MANUEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5891 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 892 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSADO COLOMER, FRANCISCO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, ADELAIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, AIMAR I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, ANILIZ             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, CARLOS ADRIAN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, CARMELO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, CYNTHIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, DAMARIS S          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, EDWIN O            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, ELIZABETH DEL L.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, FELIX A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, FRANCES            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, FRANCISCO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, GUALBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, HECTOR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, HECTOR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, HECTOR L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, HECTOR L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, JEIKA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, JESUS M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, JUAN C             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, JUAN C             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, JUAN C             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, JUAN E.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, LIZ                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, LIZ A              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, MARILYN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, MARITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, MIGUEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, MIGUEL A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, NATALIE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, NELSON             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, PEDRO              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, ROSA V             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, RUTH               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, ULDA R             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, WANDA I.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, WILMARIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, ZORAIDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COLON, ZORAIDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CONCEPCION, CLARA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CONCEPCION, CRISTIAN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORCHADO, EVA N.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORCHADO, JESSICA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORDERO, JOSE A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORDERO, JOSE D.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORDERO, LUIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORDERO, MARILYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORDERO, MINERVA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5892 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 893 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO CORDOVA, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORDOVES, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORREA, AGUSTIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORREA, AILEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORREA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORREA, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORREA, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORREA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORREA, JOSE G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORREA, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORREA, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORREA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORREA, MARY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORREA, MARY C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORREA, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORTES, ANDRES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORTES, EDGARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORTES, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORTES, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CORTES, ZULEYKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COSME, DAIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COSME, DAIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COSME, DAISY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COSME, JAHAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COSME, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COSME, ZARIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COSME, ZARIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COTTO,ALEX               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COUVERTIER, AUDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COUVERTIER, CARLOS A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COUVERTIER, NANCY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COUVERTIER, ROMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COUVERTIER, ROMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO COUVERTIER, ROMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRESPO, ANGELICA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRESPO, BARBARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRESPO, DANIEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRESPO, JANET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRESPO, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRESPO, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRESPO, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRESPO, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, ANISA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, CARMEN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, DORIS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, EDGARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, FRANCIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 894 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO CRUZ, GLENDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, JOSE E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, JOSE L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, JUAN C.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, JUANITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, LUIS R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, RAMONA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, RAUL A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, RICHARD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CRUZ, TONNY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CUADRADO, MISAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CUEVAS, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CUEVAS, NANCY N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO CURET, HECTOR E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DAVILA, ADA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DAVILA, CARLOS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DAVILA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DAVILA, ELSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DAVILA, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DAVILA, HECTOR L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DAVILA, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DAVILA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DAVILA, MAYRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DAVILA, SANTA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE ALBA, LUIS E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, FERDINAND      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, FERDINAND      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, IRMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, IRMA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, IRVIN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, JOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, JOEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, JUAN L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, WILMA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE JESUS, WILMA J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE LA CRUZ, DIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE LEON, ALEXIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE SANTIAGO, GLORIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DE SANTIAGO, GLORIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5894 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 895 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO DE SOTO, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DEJESUS, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DEL RIO, IRMA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DEL VALLE, ELIFA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DELGADO, GERARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DELGADO, JANICE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DELGADO, JUAN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DELGADO, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DEXTER, LIZMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIANA, ERIC L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, ARLENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, ARYCELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, ARYCELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, BETZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, ELMER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, GRIMILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, GWENDELYNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, ILEANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, IVETSY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, IVYS J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, KEYLA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, LEONARDO F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, MARIA F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, MARIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, MARTINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, RIGOBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, VANESSA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DIAZ, XIOMARA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DOMENECH, ETTIENNE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DONES, ADALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DUMAS, GISSELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DURAN, FRANCISCO I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO DURAN, MILTON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ECHEVARRIA, AIDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ESCOBAR, CYNTHIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ESCOBAR, PABLO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ESCUDERO, LORNA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ESCUDERO, ONIKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ESPADA, YAMINEXY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ESPARRA, LETICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FABIAN, LUIS G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FANTAUZZI, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5895 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 896 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
ROSADO FANTAUZZI, JUAN R          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FELICIANO, ANA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FELICIANO, EDGARDO E.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FELICIANO, EDITH E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FELICIANO, EFRAIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FELICIANO, ELI G           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FELICIANO, ERICK           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FELICIANO, JACQUELINE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FELIX, GIANNIE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FERNANDEZ, ANGEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FERNANDEZ, ANGEL M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FERNANDEZ, JOELYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FERNANDEZ, JOELYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FERNANDEZ, JUAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FERNANDEZ, SARIELY DE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
LOURDES
ROSADO FERNANDEZ, WILLIAM         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FERRER, MARIA I.           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FERRER, MARIA I.           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, ALBERTO          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, ANA M            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, BELKIS M         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, BRENDALIZ        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, CARLOS J         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, CARMEN D         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, CARMEN I         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, CHRISTIAN        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
FRANCIS
ROSADO FIGUEROA, CLARIBELL        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, ENAIDA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, EVELIZ           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, GABRIEL          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, GLORIA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, HECTOR           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, HERIBERTO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, IDA L            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, IRIS M.          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, JOSE O           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, JUAN C           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, LILIANA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, MANUEL A         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, MARCOS           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, MARIA M.         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, MARIA T          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, NORBER A.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, SOR V            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO FIGUEROA, SUGEILLEY I      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5896 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 897 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO FILOMENO, GRISELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FLORES, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FLORES, ANNA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FLORES, JUAN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FLORES, JUANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FLORES, JUANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FLORES, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FLORES, MARY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FONSECA, ANDY W.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FONT, PABLO F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FRANCO, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FRANQUI, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FRAU, NELSON JOSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FUENTES, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FUENTES, JORGE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FUENTES, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO FUENTES, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GALARZA, BRENDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GALARZA, EMMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GALARZA, EMMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GALARZA, GREGORIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GALARZA, LUIS G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARALLUA, RAMON A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, ABIGAIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, ADELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, AIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, DOLORES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, EDDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, EDDA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, ESTHER M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, IVONNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, JANICE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, JORGE J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, LOURDES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, LUZ DEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, MAGDALENA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, MILDRED J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, ROSEMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5897 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 898 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSADO GARCIA, ROSITA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, RUTH              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, RUTH              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, WANDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GARCIA, ZORAIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GAVILLAN, TERESA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GERENA, LORI L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GILBES, MELISSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GILBES, MELISSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GILBES, MELISSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GOMEZ, ARELYS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GOMEZ, KAROLYNA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, AIXA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, ALEXIS M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, ANGEL C.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, ANGEL L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, ANGEL L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, ANITA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, ANTONIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, ANTONIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, ARELYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, BENJAMIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, BENJAMIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, BENJAMIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, BERNARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, BETSY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, CARLOS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, CARLOS E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, CARMEN D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, CARMEN T        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, CARMEN Z        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, CYNTHIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, EDUARDO J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, EDWIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, EDWIN R.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, ELBA E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, ELENA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, ELIZABETH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, ELUBER AMAURI   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, ELUBER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ARNALDO
ROSADO GONZALEZ, EVELYN          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO GONZALEZ, FELIX SANTO     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO GONZALEZ, GRISELL         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO GONZALEZ, GUILLERMO J     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO GONZALEZ, IVONNE          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSADO GONZALEZ, IVONNE M        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5898 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 899 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO GONZALEZ, JISELLE E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, JUAN B.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, JUAN R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, KRIZIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, LIZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, LIZA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, LIZANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, LIZANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, LUZ A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, MARCOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, MARIA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, MARIA T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, MAURA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, RAYMOND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, RENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, YARELIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, YESSENIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GONZALEZ, ZELIBETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GOTAY, ILEANEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GRACIA, ANNJANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GRAU, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GRAU, MARIA T.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GREEN, JANICE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GREEN, JANICE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GREEN, JANICE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GREEN, LUZ N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GREEN, MIRIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GUADALUPE, LUZ E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GUARDIOLA, ANGEL L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GUERRIOS, CARMEN IRIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GUERRIOS, JESUS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GUTIERREZ, RAMON L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GUZMAN, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GUZMAN, JOANI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GUZMAN, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GUZMAN, LETZA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GUZMAN, MARIA DE LOS A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GUZMAN, REBECCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GUZMAN, WANDA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5899 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 900 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSADO GUZMAN, WESLEY O.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO GUZMAN, YASMIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, ANGEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, AWILDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, EDGARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, ELIGIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, GILBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, GILBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, JAIME          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, JORGE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, JOSE A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, JOSE E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, KATIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, KEISHLA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, MARANGELIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, MARANGELIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, MARGARITA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, MARIA ISABEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, MARIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, MIGDALIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, MIGUEL A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, MIGUEL A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, NEREIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, RAFAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, SIGFREDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, SIGFREDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, SOL M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, VILMARIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERNANDEZ, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERRERA, MILLYE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERRERA, RUTH E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HERRERO, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HIDALGO, YESENIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO HILERIO, ELBA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO IGLESIA, AXEL A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO IGLESIAS, SUZETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ILLAS, IVETTE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ILLAS, IVETTE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO IRIZARRY, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO IRIZARRY, CECILIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO JIMENEZ, DIANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO JIMENEZ, JANET            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO JIMENEZ, JANET            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO JIMENEZ, JANET            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO JIMENEZ, JASMIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO JIMENEZ, LIANITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO JIMENEZ, LUIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO JIMENEZ, LUZ M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5900 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 901 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO JIMENEZ, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO JIMENEZ, MICHELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO JIMENEZ, RICHARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO JOGAR, WILCARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO JOGLAR, HEIDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO JOVET, TANIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO JUSTINIANO, DOLORES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO JUSTINIANO, MILTON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LA SANTA, SANDRA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LA TORRE, ANGELA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LA TORRE, GABRIEL I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LABOY, ISAMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LABOY, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LABOY, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LAGUNA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LAMBORRI, IMELDA R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LAMBORRI, IMELDA R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LANCARA, ELENA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LANDRON, OLGA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LARACUEN, LYNNETTE M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LARROY, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LASANTA, VANESSA C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LATORRE, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LAUREANO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LAUREANO, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LEBRON, CASTULO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LEON, HAYDE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LEON, JAYSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LEON, JEYLIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LESLIE, M.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LICIAGA, MELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LICIAGA, MILTON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LICIAGA, MILTON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOIZ, GLORIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOIZ, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, ARLIN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, CARLOS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, DAISY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, EYRAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, HEIDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, JOSE MIGUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5901 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 902 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO LOPEZ, JUAN F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, KETTY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, LUCILA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, MARIA DE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, MARIA DE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, MARIA DE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, MYRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, MYRNA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, OMAR M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, PEDRO L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, SILVIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, TEODORO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOPEZ, VIVIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LORA, VERONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LORENZO, JUDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LORENZO, YARIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOZADA, ANA O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOZADA, ANA O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOZADA, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOZADA, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOZADA, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOZADA, HECTOR I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOZADA, MARIA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOZADA, MARTA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOZADA, MYRIAM L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LOZANO, JANET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LUCIANO, LYDIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LUCIANO, XIOMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LUGARO, LYMARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LUGO, ASHLEY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LUGO, DALEYSHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LUGO, MARIA DEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LUNA, EDGAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LUNA, EDGAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LUNA, PLACIDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LUNA, ROSAURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO LYNN, GIOVANNI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MACHUCA, ROMAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MADERA, JULIO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MAESTRE, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MAESTRE, LIZMER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALARET, MARIA DEL C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALAVEZ, CARLOS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, ADA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, AGAPITO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, AIDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, AMARILYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5902 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 903 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO MALDONADO, AMARILYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, ANA H.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, ANA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, ANA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, CARLOS L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, FELIX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, HELEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, HELEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, JENNIIFER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, JOHANNA I.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, JOMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, JOMAYRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, JOSUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, LUIS E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, MARIA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, MARINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, NORMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, PABLO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, RAMON V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, SULIANI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALDONADO, VIOLETA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALPICA, JACINTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MALPICA, PABLO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MANFREDY, MARIA T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MANZANET, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MANZANET, IRIS B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MANZANO, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARCANO, REYES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARCHESE, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARCHESE, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARQUEZ, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARQUEZ, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARQUEZ, SONIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARRERO, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARRERO, BRENDA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARRERO, BRENDA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARRERO, JOSE LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARRERO, LYDIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARRERO, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARRERO, RAMON L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTI, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5903 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 904 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO MARTINEZ, ADALYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, ELSIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, HAYDEE N.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, JOHANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, JOHANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, JOSE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, KATIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, KATIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, LAURILIM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, LUCAS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, LUCAS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, LUIS O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, MARIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, MARIA DE L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, MARILUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, NILSA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, ORVILLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, ROLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, SARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, SHARIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, SHARIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, SIXTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, TONY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MARTINEZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MATIAS, BERNARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MATIAS, DANNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MATIAS, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MATIAS, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MATIAS, LESTER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MATOS, CHRISTIAN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MATOS, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MATOS, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MATOS, SANDRA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MATOS, SANDRA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MAYOL, ISMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MEDINA, ADA EMMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MEDINA, ANGEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MEDINA, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MEDINA, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5904 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 905 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO MEDINA, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MEDINA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MEDINA, LINES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MEDINA, LUIS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MEDINA, LUIS J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MEDINA, MARIA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MEDINA, MARIA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MEDINA, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MEDINA, RUFINO A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MEDINA, SHAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, BETZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, CAMILO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, HERIBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, ISMAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, JOSE H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, LYDSIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, MINERVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, MONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, RAFAEL L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, SHANAZ C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MELENDEZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MENDEZ, FRANCISCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MENDEZ, LUDIN Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MENDEZ, STEVE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MENDEZ, YAHAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MERCADO, ANGEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MERCADO, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MERCADO, IMELDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MERCADO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MERCADO, JOSE D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MERCADO, LEROY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MERCADO, LUCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MERCADO, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MERCADO, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MERCADO, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MERCADO, WOLKYRIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MERCADO, YAMILKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MERCED, EDWIN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MERCED, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MERCED, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MEZA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MEZA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MILAN, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5905 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 906 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO MILAN, ORLANDO R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MILAN, RUBEN R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MILLAN, ARELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MILLAN, ARELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MINGUELA, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MIRANDA, JULIO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MIRANDA, RAMONITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MOJICA, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MOLINA, ANNIE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MOLINA, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MOLINA, LESLIE ANN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MOLINA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MOLINA, MARIE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MOLINA, MIRNA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MOLINA, MIRNA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MOLINA, MIRNA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MOLINA, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MONTALVO, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MONTALVO, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MONTALVO, CARLOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MONTALVO, JADIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MONTALVO, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MONTANEZ, LIZETTE M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MONTANO, INES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MONTAS, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MONTE, LEONIDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MONTES, EDRICK           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MONTES, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MONTES, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MONTES, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORA, CARMEN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORA, DIANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORA, OLGA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, ARACELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, AYMEE DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, DALVIN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, ELVIN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, EUNICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, HECTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, IRIS N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, IVETTE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, JANAIRI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5906 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 907 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO MORALES, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, JULIO E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, JULIO E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, KETSIA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, MYRIAM ESTHER   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, SARAH Y.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORALES, ZULMA DEL P     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORAN, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MORENO, VANESSA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MOURA, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MOURA, JOSE LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MOURA, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNET, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNIZ, BENJAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNIZ, CYNTHIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNIZ, EDGAR J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNIZ, EMILIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNIZ, KIARA P           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNIZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNIZ, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNIZ, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNIZ, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNIZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNIZ, VIRGENMINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNOZ, ARNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNOZ, FRANCISCO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNOZ, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNOZ, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNOZ, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNOZ, JESSEMINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNOZ, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNOZ, LESLIE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNOZ, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNOZ, NYDIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNOZ, NYDIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUNOZ, ROSAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MUQOZ, ALMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO MURIEL, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NARVAEZ, JAIME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NARVAEZ, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NATAL, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NATAL, FREDDIE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5907 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 908 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO NATAL, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NAVARRO, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NAVEDO, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NEGRON, ANGEL L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NEGRON, ELVIN F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NEGRON, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NEGRON, JOSE ALBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NEGRON, LUISA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NEGRON, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NEGRON, MAYRA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NEGRON, MEYLEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NEGRON, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NEGRON, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NEGRON, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NEGRON, NORMA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NEGRON, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NEGRON, YASHIRA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NEVAREZ, BLANCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, ANA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, CATHERINE J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, DANNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, DANNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, FRANKLIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, FRANKLIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, IRAIDA O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, JENNIFER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, LEVIC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, MARIA DE LOS A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, NILKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, XIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, YASCHIRA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NIEVES, YERMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NORIEGA, LILIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NUNEZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO NUNEZ, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OCASIO, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OCASIO, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OCASIO, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OCASIO, DIANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OCASIO, EDWIN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OCASIO, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5908 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 909 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO OCASIO, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ODOM, VERA MARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OJEDA, ANDRES J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OLAN, RENE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OLAVARRIA, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OLIVENCIA, GENESIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OLIVENCIA, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OLIVERAS, DIAHANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OLIVERAS, DIAHANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OLIVERAS, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OLIVIERI, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OLIVIERI, WANDA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OLMEDA, CRISTIAN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OQUENDO, KEYSHLA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORELLANA, MICHELLE M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORENGO, ALEXANDER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORENGO, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORENGO, WILSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OROPEZA, JESSICA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OROPEZA, MONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OROPEZA, MONICA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OROZCO, JUAN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORSINI, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, ADA G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, ALBERT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, ALEJANDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, ANA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, ANGEL S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, ARINED M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, ARSENIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, AUREA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, BEATRICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, CARMEN T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, CYNTHIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, GLORI M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, GLORIA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, HILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, HIRAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, JANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, JENNIFER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, JOELLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5909 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 910 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO ORTIZ, JOSE E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, JUANITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, LINETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, LORNALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, MARCOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, MARCOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, MARGIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, MARGIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, MARGIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, MINERVA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, ROUSANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, ROUSANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, RULEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, VICTOR D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, VICTOR MANUEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, VICTOR R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, VIRGEN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ORTIZ, WADDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OSORIO, DAGMAR E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OSORIO, ELENA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OSORIO, MIGUELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OSORIO, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OSORIO, YAZMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OTERO, HEROINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OTERO, JESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OTERO, JESENIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OTERO, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OTERO, JUAN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OTERO, LIZBETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OTERO, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OTERO, OLGA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OTERO, VIRGINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OYOLA, BETZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OYOLA, FELIX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OYOLA, GABRIELA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OYOLA, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO OYOLA, JULIO C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PABON, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PABON, ISAAC J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PABON, MARIA DEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PABON, WANDA IVELISSE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PABON,JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PACHECO, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PACHECO, FRANCISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PACHECO, JOSE H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PACHECO, LESLIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5910 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 911 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO PACHECO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PACHECO, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PACHECO, REINALDO A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PACHECO, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PADILLA, AMARALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PADILLA, ANDRES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PADILLA, CARMEN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PADILLA, IRVING          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PADILLA, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PAGAN, DORA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PAGAN, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PAGAN, MARIELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PAGAN, NITZA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PAGAN, PASCASIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PANIAGUA, ASTRID A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PANTOJA, ALEJANDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PANTOJA, BETZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PANTOJA, BETZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PANTOJA, FRANCISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PANTOJA, HAYDEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PANTOJA, SARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PANTOJAS, MARIA ESTHER   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PARRILLA, JENETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PASTRANA, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PELLOT, DAVID I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PELLOT, GLORIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PELLOT, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PELLOT, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PELLOT, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PELLOT, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PENA, CAROLYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PERALES, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PERDOMO, IRINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREIRA, LUIS ARMANDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, ADA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, ANGEL D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, ANGEL D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, ANTHONY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, BEATRIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, BRENDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, BRENDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, CARLOS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, CARMEN V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, CRYSTAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5911 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 912 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO PEREZ, GENESIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, IDALIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, IRMA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, JOHN J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, JULIENEFT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, JULIENEFT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, LILIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, LIMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, LINDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, LUDMILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, MARY C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, MYRIAM J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, NELIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, NYDIA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, RAMITO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, ROSA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, ROSARIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, ROSE MARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, UZIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, VILMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, WALESKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, WILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, WILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, YATHDIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PEREZ, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PICORELLI, ORLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PIETRI, AIXA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PINEIRO, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PINEIRO, JOHN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PINET, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PINET, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PINET, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PINET, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO POMALES, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PORTALATIN, YOEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PORTALATIN, YOJAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO PRATTS, MARITZA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUILES, AILEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUILES, BEATRIZ M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUILES, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUILES, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUILES, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUILLET, LUZ S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5912 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 913 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO QUINONES, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINONES, AIDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINONES, AIDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINONES, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINONES, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINONES, IVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINONES, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINONES, LUZ V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINONES, LYDIA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINONES, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINONES, NAIDA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINONES, OSVALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINONES, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINTANA, EDISON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINTANA, JOMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINTANA, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINTERO, JOSE V.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUINTERO, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO QUIRINDONGO, ROSA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAICES, KARIM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMAN, ANA R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMIREZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMIREZ, ESTHER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMIREZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMIREZ, GERRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMIREZ, LIZA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMIREZ, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMIREZ, WILBERT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, AMALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, ANABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, CARLOS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, ERICK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, ERICK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, GLORIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, GLORIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, IDELMIS DEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, IDELMIS DEL R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, LOYDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, MARKOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, MARKOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, MINERVA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, MIRIAM V.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, NAYSHA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RAMOS, NEYSHA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 914 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO RAMOS, NOHEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RAMOS, NYDSIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RAMOS, OLGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RAMOS, ONIEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RAMOS, RICHARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RAMOS, SONIA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RAMOS, SONIA N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RAMOS, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RESTO, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RESTO, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RESTO, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO REYES, ADLIN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO REYES, ANA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO REYES, GRISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO REYES, GRISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO REYES, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO REYES, LAUDELYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO REYES, LUCINIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO REYES, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO REYES, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO REYES, LYDIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO REYES, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO REYES, NILDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO REYES, PABLO E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO REYES, RAUL ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO REYES, TOMAS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO REYES, ZORAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIOS, ALBA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIOS, AUREA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIOS, CARLOS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIOS, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIOS, IMNA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIOS, JESEMMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIOS, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIOS, MARXZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIOS, ROSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIOS, SHEREEZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIOS, TERESA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIOS, TERESA O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIVAS, PASTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIVERA MAYA, JUDITH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIVERA, AIDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIVERA, AIDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIVERA, AIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIVERA, AIDALISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIVERA, AIDALISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIVERA, ALFONSO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIVERA, AMBAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSADO RIVERA, AMBAR N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 5914 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 915 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO RIVERA, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, ANIBAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, ANTHONY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, ARGELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, ARLEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, BEATRIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, BEATRIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, BEATRIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, BETHZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, BETHZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, BILLY A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, CAROL D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, CHRISTIAN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, CHRISTOPHER J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, DIALMA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, EDDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, EDNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, EDWIN O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, ELISA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, ELSIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, EMMANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, EVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, EVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, GIL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, GIL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, GISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, HARRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, HARRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, HARRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, IVAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, JAIDANICE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, JAIME D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, JAIME D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, JECKSAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, JERAIMY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, JESSICA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, JOHN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, JOSUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, JOSUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5915 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 916 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO RIVERA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, LEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, LIONEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, LISSET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, LISSETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, LIZBETH M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, LUCILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, LUZ L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, LYMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, MARIA DE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, MARIA DEL C.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, MARIA S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, MARTHA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, MARY C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, MAYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, MAYRA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, MICHELLE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, NANCY I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, NANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, NANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, NELSON R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, NESHMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, NITZA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, NITZA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, NYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, OLGA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, PETRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, PROVIDENCIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5916 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 917 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO RIVERA, RAFAELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, RAYMOND          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, RICARDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, ROCIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, ROSARITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, SONIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, VANESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, WILFREDO H.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, WILSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, YADIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, YADIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, YASHIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, YASHIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, YILMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, YOMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RIVERA, YOSUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROBLES, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROBLES, CELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROBLES, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROBLES, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROBLES, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROCHE, LILLIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROCHE, ZULIMI I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, ABIGAIL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, ALEXANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, ALEXANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, ALICE A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, ANGEL M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, AWILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, CARLOS G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, CARLOS H      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, CATALINO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, CATALINO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, DAISY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, DANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, DANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, DANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, DENNIS R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, DIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, DIANA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, DORA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5917 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 918 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO RODRIGUEZ, EDDIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, EDDIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, ELSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, EMILIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, ENRIQUE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, FELIX A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, FRANKLIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, GRISSELLE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, HECTOR L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, HILDA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, HIRAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, ILEANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, ILIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, ISABEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, JESSIKA A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, JESSIKA A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, JOHANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, JONATHAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, JOSE F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, JOSE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, JUANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, JULIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, JULIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, KARIN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, KARLO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, LAURA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, LESBIA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, LIZA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, LUIS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, LUIS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, MAGALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, MAITE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, MARIA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, MARIA DEL P   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, MARIA S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, MARIA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5918 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 919 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSADO RODRIGUEZ, MILDRED R.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, MILDRED R.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, MONICA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, NANCY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, NATIVIDAD      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, NELSON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, NEPHTALI       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, NILDA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, NILSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, NIVEA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, NOEMI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, OLGA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, OLGA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, OLGA E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, OLGA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, OLGA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, OMAR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, ORLANDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, PAOLA A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, PURIFICACION   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, RAMON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, RAY MELVIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, REBECA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, REYNALDO R     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, RICARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, ROBERTO L.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, RONNIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, ROSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, ROSA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, ROSANA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, SANDRA C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, SARA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, SATURNINO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, SHEILA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, SHEILA N       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, SHERLY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, SOL E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, VERONICA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, WALDEMAR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, WILLIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, WILLIAM H      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIGUEZ,WALDEM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIQUEZ, GLADYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RODRIQUEZ, MARIA D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROJAS, CAREL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROJAS, IRIS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROJAS, IRIS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROJAS, WANDA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5919 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 920 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSADO ROJAS, YESENIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROLON, ISRAEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, CARLOS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, CARLOS M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, CARLOS R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, CARMEN V           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, DAVID M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, ELIEZER            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, ELIEZER            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, FELIPE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, JEAN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, KIOMARA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, KIOMARA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, MARIANGELY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, MARILUS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, MONSERRATE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, PAMELA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, PAULA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, ROSAURA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, VICTOR M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, VIRGINIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, WILBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, WILBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, YAMIL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, YAMIL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMAN, YENDALIZ           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMERO, MARTHA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROMERO, RAMON             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RONDON, EDUARDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RONDON, JACKELINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RONDON, KARELIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RONDON, LISBETH           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RONDON, MARTHA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSA, HEYRA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSA, LUZ DEL S           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSA, VICTOR M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSA, WILBERT A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO SANTIAGO, SHEILA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, ABELINE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, ABELINE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, ADRIAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, AIXA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, AIXA A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, ANA L             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, ANGEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, ANGEL L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, ANGEL L.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, AWILDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, AWILDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5920 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 921 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO ROSADO, BENIGNO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, CARMEN A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, CARMEN Y.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, DOLORES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, EFREN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, ELIUD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, ENEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, FRANCHESKA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, IRMA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, JESUS MANUEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, JORGE F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, JOSE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, JOSUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, LUIS F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, LUIS G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, NATALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, NESTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, NESTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, PAULA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, RUBEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, SONIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, YADIELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSADO, YOMAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, ESTRELLA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, HECTOR L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, ISMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, JAIME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, JESUS S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5921 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 922 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO ROSARIO, MARK J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, MAYDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, NATALIE S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, RAMONA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, REBECA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, REY F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, SILVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, STEVEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSARIO, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROSAS, ABRAHAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ROVERA, SILVESTRE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RUBIO, DAGMARYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RUIZ, AGNES Y.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RUIZ, AMNERIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RUIZ, AMNERIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RUIZ, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RUIZ, ELEYDIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RUIZ, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RUIZ, LISBETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RUIZ, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RUIZ, MARIA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RUIZ, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RUIZ, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO RUIZ, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SAAVEDRA, ELSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SAAVEDRA, ISARE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SAAVEDRA, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SAEZ, LINA ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SAEZ, PETRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SALGADO, ANGEITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SALGADO, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SALGADO, ELENA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SALGADO, NICOLASA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SALGADO, SARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANABRIA, NOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, AIDA IRIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, ANA MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, CARLOS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, EMILY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, ESTHER M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, EULOGIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, HUMBERTO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, LESLIE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, LIZBETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5922 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 923 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO SANCHEZ, LIZBETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, LOURDES E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, LUIS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, MELVIN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, PABLO E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, PRIMITIVO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, VICKY ANN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, VICKY ANN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, VICKY ANN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, WALDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, WALDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, WALDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANCHEZ, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANDOVAL, ALEXANDER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTANA, CYNTHIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTANA, CYNTHIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTANA, DIMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTANA, EILEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTANA, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTANA, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTANA, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTANA, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTANA, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTANA, JOSUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTANA, LOIDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTANA, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTANA, MARIANO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTANA, NAICHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTANA, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, ABDIAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, ADA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, ADIANEZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, AIDE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, ANA D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, ANA W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, CATALINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, CELIDES A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, DESIREE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, DIANA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, EDGARDO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, EDNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5923 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 924 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
ROSADO SANTIAGO, EDUARDO A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, EDWIN J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, ELADIO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, FELICITA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, GLADYS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, HECTOR L.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, IDALIZ           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, IRIS J           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, IRISMARY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, IVAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, IVAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, JANETTE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, JEAN CARLOS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, JEFFREY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, JEFREY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, JEFREY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, JESSICA ENID     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, JESUS D          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, JORGE L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, JOSE O           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, JUAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, JUANITA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, JULITZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, LEONARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, LUZ K            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, MARITZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, MIGDALIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, MILJAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, MILJAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, NAYDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, NIXA M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, NOEMI            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, NORICELIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, NORMA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, RAQUEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, ROSA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, ROSALINA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, ROSAURA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, ROSAURA DEL C    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, VIRGINIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, VIRGINIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, WILNELIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, XIOMARA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, YESMERALDI       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTIAGO, YESSENIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5924 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 925 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO SANTIAGO, YOHAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTINI, JOSE I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTONI, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, ARNALDO LUIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, IRIS V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, IRIS V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, ISAAC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, ISAMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, ISAMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, MARANGELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, MARANGELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, MARIA R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, MELVIN L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, NATALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, NILDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SANTOS, XIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SEDA, JOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SEGUI, CARLOS RUBEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SEGUINOT, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SEGUINOT, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SEGUINOT, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SEPULVED, MONSERRATE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SEPULVEDA, DANIENSELS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SEPULVEDA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SEPULVEDA, JUAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SEPULVEDA, JUAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SEPULVEDA, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SEPULVEDA, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SEPULVEDA, MARCOS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SERRANO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SERRANO, CRUZ M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SERRANO, LUIS RENE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SERRANO, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SERRANO, MARIA DE LOS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SERRANO, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SERRANO, SILVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SERRANO, ZAIDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SERRANO, ZULEYKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SEVILLA, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SIERRA, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5925 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 926 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO SIERRA, ZULMA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SILVA, CRISTINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SILVA, CRISTINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SILVA, REILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOLANO, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOLIVAN, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SONERA, IRMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOSA, SHEILA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTERO, JAIME L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, AMILCAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, ANDRES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, AYME               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, CARMEN ALICIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, ELSIE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, ELSIE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, FELIX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, GRISELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, JOANMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, JOSE RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, LUIS R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, LUZ V              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, MADELINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, MARIA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, MARIA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, MAXIMINO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, MAXIMINO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, OLGA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, PABLO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, RAMON A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, ROSALINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, ROSALINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTO, SUHEIMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SOTOMAYOR, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SUAREZ, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SUAREZ, EZEQUIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SUAREZ, FRANK            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO SUAREZ, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TAVAREZ, JOSE I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TIRADO, JOSIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5926 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 927 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO TIRADO, JOSIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TIRADO, WILDIENETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TOLLINCHI, ILIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TOLLINCHI, ILIAN S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORO, ANGEL E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, ALEXANDER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, ANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, ARAMIS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, CARLOS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, CARLOS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, CLARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, CLARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, DORAYLIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, EDWIN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, EDWIN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, ERASMO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, FELIX J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, GEMESSE V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, GEMESSE V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, GILBERTO G.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, HAYDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, IRAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, IRAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, JASMINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, JOSE H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, KARLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, LORNA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, LUZ A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, LUZ Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, MARITERE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, MARITERE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, NATACHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, NYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, OLGA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5927 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 928 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO TORRES, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, REYNOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, SARA MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, YANIRA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TORRES, YIMARYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TOSADO, YISELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TRAVECIER, ZORAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TRENCHE, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TRICOCHE, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TRINIDAD, AILEEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO TRINIDAD, BENEDICTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALENTIN, ADA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALENTIN, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALENTIN, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALENTIN, LUIS O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALENTIN, LUIS S.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALENTIN, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALENTIN, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALENTIN, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALENTIN, MINITSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALENTIN, MINITSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALENTIN, MINITSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALENTIN, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALENTIN, SARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALENTIN, SARA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALENTIN, STEPHANIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALLE, EVA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALLE, EVA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALLE, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VALLE, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VARGAS, AIMILL J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VARGAS, EDWIN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VARGAS, HECTOR F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VARGAS, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VARGAS, WANDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, ANGELA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, ARIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, ARIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, FRANCISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, GISELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, GLORIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, GLORIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, ISIS Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 929 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO VAZQUEZ, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, JOSE ANGEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, JOSE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, JULIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, JULIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, JULIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, MARIA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, NORMA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, RAFAELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VAZQUEZ, TIFFANY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, ADAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, ANTHONY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, ANTHONY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, DAYANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, DEFIDELIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, EDWIN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, FERNANDO L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, GUILLERMO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, IRIS J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, ISMAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, JUAN CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, JULIO C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, LESDIANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, LUCILA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, NEISHA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, NURIS L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, REINALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, SYLVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, WALDEMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, WESLEY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VEGA, WILMER N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELAZQUEZ, CHRISTIAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELAZQUEZ, CHRISTIAN E   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELAZQUEZ, DENISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5929 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 930 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSADO VELAZQUEZ, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELAZQUEZ, MARIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELAZQUEZ, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELAZQUEZ, WILLIAM J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, ADELMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, FRANCHESKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, GLADYS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, JANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, LESBIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, MAGDALENA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, MYRNA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, NORMA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, OTILIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, RITA G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, SILVIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, SULYMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VELEZ, VALERIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VENDRELL, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VERDIALES, LILLIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VICENTY, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VICENTY, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VICENTY, NORA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VICTORIA, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VIDRO, ANIBAL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VIERA, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VILLAFANE, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VILLAFANE, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VILLAMIL, JANICE MARIE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VILLEGAS, ELBA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VIRELLA, GLORIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VIRELLA, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VIRELLA, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO VIRELLA, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO WESTERN, ALBANITZY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO WOJNA, SOFIA A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ZABALA, DILIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ZAMBRANA, MYRNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ZAMBRANA, VILMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ZAMBRANA, VILMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ZAMORA, AGNES M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5930 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 931 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSADO ZAPATA, YANIDZA A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ZAPATA, YANIDZA A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ZAYAS, SHERLY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO ZAYAS, SHERLY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, ANGEL L.                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, ARIEL                    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, ASUNSION                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, CARMEN                   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, CHRISTOPHER              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, ELIZABETH                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, GLADIS M                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, JASMINE                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, JOSE                     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, JOSEPH A.                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, LUIS                     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, MARIA DEL C              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, MARIELA                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, NEFTALI                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, OLGA I                   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, ROSA                     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, TOMMY                    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO, VALENTIN                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO,GLADYS                    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO,ISMAEL                    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADO,PEDRO L.                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADOCRUZ, MIRIAM               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADOOLIVENCIA, JOSE R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADORODRIGUEZ, GISELA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADOROSARIO, RAQUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADOSANTIAGO, FRANCISCO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSADOSANTIAGO, MIJAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAIDA CASIANO, NAZARIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALES CARRILLO, RAUL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALES CARRILLO, RAUL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALES CARRILLO, RAUL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALES CONCEPCION, ISIS MARIE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALES CONCEPCION, WILSON       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALES FREYTES, TAIMY L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALES GUZMAN, IVELISSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALES GUZMAN, LISBETH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALES GUZMAN, MARITZA P        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALES VILLEGAS, IRMA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALES, WILLIAM XAVIER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALY ALAMEDA, WILMARIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALY ALAMEDA, WILMARIE N       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALY ALFONSO, YOLANDA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALY ANDREWS, CARLOS R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALY COLON, CARLOS R.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALY FEBO, JENNIFER            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5931 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 932 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSALY GERENA, DIONISIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALY GERENA, DORA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALY MALDONADO, JOSE R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALY MENDEZ, MYRTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALY RODRIGUEZ, EDMUNDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALY RODRIGUEZ, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALY SAMPOLL, EDGARDO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALY SANTIAGO, CONSUELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALY SANTIAGO, CONSUELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALY TORRES, AGNES J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALY VARGAS, GUILLERMO E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSALYRUIZ, ALMA A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAMARTINEZ, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARES VELEZ, JULIO E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIJOS, HECTOR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ABREU, LORELI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ABREU, SOBEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ACEVEDO, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ACEVEDO, EMILIO J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ACEVEDO, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ACEVEDO, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ACEVEDO, NARCISO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ACOSTA, ESTEBAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ACOSTA, LIONEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ACOSTA, LIZBETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ADORNO, GREDUARD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ADORNO, GREDUARD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ADORNO, VICTOR M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AGOSTINI, JAMILCKA J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AGOSTO, ERWIN K         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AGOSTO, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AGOSTO, NATALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AGOSTO, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AGUILAR, JEANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AGUILAR, JEANETTE D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALAMEDA, DALILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALAMO, CARMEN ILIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALAMO, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALAMO, NORMA Z          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALAMO, ZAIDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALBARRAN, ABRAHAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALBARRAN, NOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALBINO, ELAINE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALBINO, JOAN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALBIZU, WALLECE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALCANTARA, JACQUELINE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALEMAN, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALEMAN, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALEMAN, ODETTE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5932 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 933 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO ALFONSO, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALICEA, ALICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALICEA, AUREA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALICEA, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALICEA, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALICEA, RAMONITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALICEA, SHEILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALICEA, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALICEA, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALICEA, VANESSA Z.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALICEA, VILMA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALMEYDA, NELIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALOMAR, ELBA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALOMAR, ELBA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALOMAR, ELBA V.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALOMAR, MANUEL F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALVARADO, CARMELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALVARADO, CARMELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALVARADO, EUGENIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALVARADO, NATALIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALVAREZ, LUIS G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALVAREZ, VALENTIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALVAREZ, VALENTIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALVAREZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALVELO, RENE F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ALVELO, SALVADOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AMADOR, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AMARO, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AMARO, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AMARO, MELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AMARO, SHIRLEY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AMARO, SHIRLEY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ANAYA, CHRISTIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ANDERSON, MELIZA J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ANDINO, JOSE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ANDINO, JUANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ANDINO, NILDA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ANDUJAR, LUIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ANDUJAR, MANUEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ANDUJAR, YULIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ANGLERO, MARIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ANGLERO, MARIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ANGUEIRA, VIVIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO APONTE, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO APONTE, CARMEN H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO APONTE, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO APONTE, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO APONTE, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO APONTE, GRISELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5933 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 934 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO APONTE, HECTOR L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO APONTE, LUZ S            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO APONTE, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AQUINO, DAVID            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARCE, AMELIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARCE, ANA                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARCE, LISSETTE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARES, GILBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARIAS, RENE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARLEQUIN, CARLOS A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AROCHO, BEATRIZ          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AROCHO, GLORYVEE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AROCHO, PEDRO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARRIAGA, ANNETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARRIAGA, GLADYS V        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARRIAGA, GLADYS V.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARRIAGA, MARINET         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARRIAGA, RAMON           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARRIAGA, RAMON L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARROYO, DEBORA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARROYO, EDNA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARROYO, JOHANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARROYO, LOURDES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARROYO, SECYRE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARROYO, YOLANDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ARVELO, LUIS R.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ASENCIO, SILVIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ATILES, GILBERTO E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AVILES, ALEXANDRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AVILES, EDWIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AVILES, HILARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AVILES, HILARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AVILES, LISSETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AVILES, LISSETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AVILES, LUIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AVILES, MARIBEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AVILES, MARIO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AVILES, MARYLYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AVILES, MERCEDES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AVILES, SANDRA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, ARIEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, CARMEN B          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, CLEMENTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, DENNY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, EDWARD            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, HILDA N.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, JANNETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, JEANNETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, JEANNETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5934 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 935 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO AYALA, JOAN P.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, JOSE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, JOSE M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, JOSE M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, JUAN A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, KAREN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, LESBIA J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, NORAIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, RAFAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, RICHARD           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, ROSELYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYALA, WILLIAM L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO AYUSO, JESUS M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BADILLO, LUIS R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BAEZ, CARMEN S           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BAEZ, IVAN MANUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BARBOSA, FRANCHESKA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BARNES, ANA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BARRETO, JULIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BARRIOS, JESUS G.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BARROSO, LILLIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BASSATT, DAISY J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BASSATT, NANCY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BATALLA, AIDA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BATISTA, GEORGIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BATISTA, JOSEPH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BELEN, MARGARITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BELFORT, IDALIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BELTRAN, FREDDIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BELTRAN, MARIA J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BELTRAN, MARIANGELY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BELTRAN, VIANGELY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BENITEZ, LUZ G           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERDECIA, CARMEN J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERDECIA, MIGDALIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERDECIA, ZAIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERMUDEZ, AGNERYS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERMUDEZ, ANGEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERMUDEZ, JOAN D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERMUDEZ, KATEHERINE I   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERMUDEZ, LUIS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERMUDEZ, OSVALDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERMUDEZ, WANDA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERRIOS, ANIBAL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERRIOS, DAMARIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERRIOS, JOSE A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERRIOS, MANUELA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERRIOS, MANUELA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERRIOS, REY F           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5935 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 936 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO BERRIOS, YADIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BERTIN, AMBROSIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BETANCOURT, CRUZ M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BETANCOURT, JAVIER A.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BETANCOURT, JAVIER A.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BETANCOURT, MARIA A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BETANCOURT, SONIA E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BLANCO, DENISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BONANO, SORELIS Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BONANO, SORELIS Y.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BONES, ILEANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BONES, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BONES, LUIS ANTONIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BONES, NAHIR E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BONILLA, AUREA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BONILLA, MARIBET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BONILLA, MIRIAM I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BONILLA, TANIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BONILLA, TANIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BONILLA, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BORRERO, DEBORAH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BORRERO, GERARDINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BORRERO, HIRAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BORRERO, HIRAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BORRERO, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BORRERO, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BORRERO, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BORRERO, JENNIFER M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BORRERO, JORGE B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BORRERO, MOISES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BORRERO, SANTOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BORRERO, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BRUNO, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BRUNO, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BRUNO, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BULTRON, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BURGOS, AGUSTIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BURGOS, ATALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BURGOS, ATALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BURGOS, BETHZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BURGOS, BETHZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BURGOS, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BURGOS, CARMEN N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BURGOS, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BURGOS, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BURGOS, HARRY W         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BURGOS, IRMA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BURGOS, JANE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BURGOS, JUANA F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5936 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 937 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO BURGOS, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO BURGOS, NORBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CABALLERO, FIDEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CABALLERO, ISMAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CABALLERO, JANET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CABALLERO, RAFAEL E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CABRERA, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CABRERA, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CABRERA, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CABRERA, EDGARDO E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CABRERA, HECTOR L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CABRERA, MINERVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CALDERON, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CALDERON, KIANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CAMACHO, CARLOS R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CAMACHO, CONFESOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CAMACHO, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CAMACHO, JOSUE O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CAMACHO, LILLIAM I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CAMACHO, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CAMACHO, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CANALES, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CANALES, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CANDELARIA, NILDA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CANTRES, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CAPELES, ANABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARABALLO, GABRIELA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARABALLO, JAVIER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARABALLO, JONATHAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARABALLO, LIZ Y.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARAZO, VIMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARDENALES, EDGARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARDONA, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARDONA, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARDONA, CARLOS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARDONA, CYNTHIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARDONA, CYNTHIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARDONA, SAMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARLO, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARMONA, LUZ S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARMONA, PRISCILLA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARMONA, SAMARIS A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARRASQUILLO, BETTY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARRASQUILLO, SARA M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARRETERO, EMILY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARRILLO, VANESSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARTAGENA, ALEXANDER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARTAGENA, AURORA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CARTAGENA, GRISELL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5937 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 938 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO CARTAGENA, JESUSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CASIANO, MARIA E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CASILLAS, ARNALDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CASTELLANO, CARMEN ANA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CASTELLANO, LAURA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CASTELLANOS, FRANCIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CASTILLO, AMPARO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CASTRILLO, LUZ NEREIDA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CASTRO, ABNIEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CASTRO, DALICE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CASTRO, JAIME            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CASTRO, JUAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CASTRO, PILAREDYS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CASTRO, PILAREDYS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CASTRO, RAFAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CASTRO, RAFAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CASTRO, RUBEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CEBALLOS, JUAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CEDENO, MELISA L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CEDENO, MELVIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CENTENO, JOAN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CENTENO, MYRIAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CENTENO, RUTH            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CENTENO, YOMAIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CHAPARRO, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CHAPARRO, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CHARLES, PEDRO A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CINTRON, ANA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CINTRON, DIMARY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CINTRON, EMANUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CINTRON, ERNESTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CINTRON, EVELYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CINTRON, REYNALDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CINTRON, REYNALDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CINTRON, SONIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CIRILO, JORGE J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CLASS, LUIS ENRIQUE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CLAUDIO, MARIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CLAUDIO, NOEMI           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CLAUDIO, ZAYRA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CLEMENTE, ANGELO L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CLEMENTE, IRMA P         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CLEMENTE, JUANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLLAZO, DENISE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLLAZO, LUISA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLLAZO, MADELINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLLAZO, MADELINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLLAZO, MARGARITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLLAZO, SILVERIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5938 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 939 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO COLLAZO, SULYMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLLS, JOANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, CARMEN L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, DAMARYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, DILMA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, ELBA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, ELBA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, EVELYN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, FRANCISCO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, GUILLERMO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, HECTOR R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, IVIS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, JACKELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, JADIEL O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, JUAN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, JUAN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, MANUELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, MYRIAM R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, ROSA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, SUEAN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, VIRGINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, WALTER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, YADEL JOSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, YADIRA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COLON, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CONCEPCION, RUBEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CONCEPCION, SANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CONCEPCION, SANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5939 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 940 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO CORA, IRMA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORA, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORA, ROSA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORA, YAHAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORAZON, ARLENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORAZON, ARLENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORCHADO, ALICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORCHADO, CARMEN B      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORCHADO, ELSIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORCHADO, OBED A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORDERO, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORDERO, JANET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORDERO, LUZ N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORDOVA, KADHAFY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COREANO, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORREA, URSULA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORTES, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORTES, BERNARDINO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORTES, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORTES, FUNDADOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORTES, ILIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORTES, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORTES, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORTES, JACKELYN Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORTES, JOSELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORTES, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORTES, RAMON L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CORTIJO, CECILIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COSME, GENOVEVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COSME, GLENDALY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COSME, HARRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COSME, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COSME,HARRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COTTO, LEXTER A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO COTTO, LUIS Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRESPO, EDGAR J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRESPO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRESPO, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRESPO, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRESPO, JAILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRESPO, JOSE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRESPO, MELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRESPO, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRESPO, YVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRESPO, YVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRISTOBAL, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRISTOBAL, CARMEN R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRISTOBAL, EDGAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRISTOBAL, LUZ E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5940 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 941 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO CRISTOBAL, LUZ N.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, ANGEL R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, BLANCA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, CARLOS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, CARLOS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, COTTMAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, DARIN I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, EDNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, ELLIOTT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, FELIPE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, GABRIEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, HARRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, HARRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, HELEN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, ISIS Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, JESUS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, JESUS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, JOSE E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, JOSE F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, JOVINO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, JUAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, KATIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, LUDY E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, LYMARI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, MARIA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, MARIA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, PEDRO L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, PETRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, REINALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5941 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 942 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO CRUZ, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, ROXAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, ROXAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, RUTH N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, SANDRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, SARAI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, SONIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, TANIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, URSULA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, VICTOR D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, VIMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, WANDA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, YAHAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, YAJAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZ, YANZA Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZADO, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZADO, JAVIER A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZADO, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CRUZADO, XIOMARA N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CUEVAS, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CUMBA, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO CUMBA, WANDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DALMAU, GIOVANNI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DAVILA, GLADYS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DAVILA, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DAVILA, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DAVILA, NORIBELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DAVILA, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DAVILA, STEVEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE BRUNET, SONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE CAMACHO, MIRNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE CAMACHO, MIRNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE CAMACHO, MIRNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE JESUS, DANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE JESUS, GRISEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE JESUS, GRISEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE JESUS, ILEANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE JESUS, JOSE R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE JESUS, MARILIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE JESUS, MARILIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE JESUS, MYRIAM E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE JESUS, NILSA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE JESUS, VICTOR J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE JESUS, XAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE LA CRUZ, JOSE A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE LA CUZ, RAMON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE LEON, HECTOR L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5942 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 943 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO DE LEON, LUZ D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE LEON, MARLENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE LEON, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE LEON, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE MELENDEZ, CECILIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DE MORALES, MARIA R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DECLET, EDWIN R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DEL RIO, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DEL RIO, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DEL RIO, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DEL VALLE, CARMEN L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DEL VALLE, JUAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DEL VALLE, JUAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DEL VALLE, MIGUEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DEL VALLE, MYRIAM I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DELGADO, ANGELA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DELGADO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DELGADO, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DELGADO, IRMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DELGADO, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DELGADO, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DELGADO, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DELGADO, SHEILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DELGADO, ZAIDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DENIS, ADASA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DENIS, ISAAC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DESARDEN, EMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, AIXA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, ANA C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DÍAZ, ANA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, ANESKA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, AYLLEEN Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, CARMEN S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, CLARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, DANETTE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, EDNA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, JOHN D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, JOSE N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO DIAZ, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5943 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 944 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO DIAZ, LISIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DIAZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DIAZ, MAGDALENA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DIAZ, MARIA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DIAZ, MARIA DE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DIAZ, MARIA DE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DIAZ, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DIAZ, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DIAZ, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DIAZ, PRISCILLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DIAZ, SARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DIAZ, SERGIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DIAZ, WILLIAM J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DIAZ, YECENIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DOMENECH, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DOMENECH, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DOMENECH, MARITZA A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DOMINGUEZ, ELISA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DOMINGUEZ, JOHANNIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DOMINGUEZ, LAURA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DOMINGUEZ, YORDELIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DOMINGUEZ, ZENEIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DONES, IOMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DORTA, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DORTA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO DURAN, RAMON DE LOS R   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO ECHANDY, LAURA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO ECHEVARRIA, WILFREDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO EGIPCIACO, JOSE R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO ENCARNACION, BRENDA L   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO ENCARNACION, CARLOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO ENCARNACION, YAMILLE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO ENCHAUTEGUI, ANGELICA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO ENCHAUTEGUI, KARLA L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO ESCOBAR, RENI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO ESPADA, ZAIDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO ESPINO, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO ESPINO, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO ESTREMERA, KEILA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO ESTREMERA, KELVIN J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO ESTREMERA, ZORAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO FABREGAS, CARMEN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO FALCON, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO FALCON, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO FALCON, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO FALCON, MIRIAM L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO FALCON, NATIVIDAD       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO FEBLES, LUZ D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO FEBLES, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 5944 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 945 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO FEBRES, YESENIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FELICIANO, CHARLYN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FELICIANO, EUNICE M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FELICIANO, FERNANDO L.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FELICIANO, FREDDMARI     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FELICIANO, JOHNELL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FELICIANO, JONNATHAN     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FELICIANO, MERCEDES      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FELICIANO, SUSANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FELIX, FRANCISCO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FELIX, JESUS M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERMAINT, VICTOR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERNANDEZ, ANTONIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERNANDEZ, CARMEN I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERNANDEZ, CARMEN M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERNANDEZ, IVELISSE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERNANDEZ, JOSE E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERNANDEZ, JOSEFA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERNANDEZ, JUAN C        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERNANDEZ, LUCILA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERNANDEZ, RAYMOND       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERREIRA, GUALBERTO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERREIRA, LUZ E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERREIRA, LUZ E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERREIRA, NITZA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERRER, FRANCISCO J      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERRER, JOEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERRER, JOEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERRER, MARISOL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FERRER, RUTH N           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, AMALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, ANA DELIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, ANA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, ANDRES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, ANDRÉS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, DOMINGO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, GERARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, IVETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, IVETTE V.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, IVETTE V.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, JOSE A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, MARIELI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, MELISSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, MIGUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, MILTON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, MIRIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, NOEMI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, RAQUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, SANTA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5945 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 946 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO FIGUEROA, XAVIER           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, XAVIER           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, YESENIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, YIRELI           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, YOLANDA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FIGUEROA, YOLANDA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FILOMENO, INEABELL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FLORES, ALEIDA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FLORES, DARMIS             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FLORES, GLORAIVY           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FLORES, HAYDEE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FLORES, HAYDEE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FLORES, IRIS D             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FLORES, MARIA S.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FLORES, NOEMI              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FONSECA, CINDY             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FONSECA, LINDA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FONSECA, VIVIAN            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FONTANEZ, IRIANA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FONTANEZ, IRIANA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FONTANEZ, WENDALIZ         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FONTANEZ, WENDALIZ         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FONTANEZ, WILLIAM          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FRANCISCO, EMMA E          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FRANCO, CARMEN Y.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FRANCO, EPIMENIA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FRANCO, JUAN               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FRANCO, JUANITA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FRANCO, PEDRO              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FRANK, TANYA Z             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FRANQUI, ANGEL L.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FRANQUI, EDWIN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO FUENTES, YOLANDA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GAETAN, GISELLE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GALARCE, MARIA DEL PILAR   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GALARZA, ANGEL J           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GALARZA, IVETTE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GALARZA, MYRNA Y           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GALINDO, JENNIFER          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GALLOZA, ADA NILSA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GALLOZA, JANET             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCED, ARIAGNA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCES, EDITH              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, ALCIDES            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, ANGEL              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, ANGEL              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, ARNALDO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, CARLOS H.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, CARLOS M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5946 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 947 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO GARCIA, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, CLARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, CLARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, DIANA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, DIANA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, EDDIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, EDWIN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, ELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, ESMERALDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, FREDDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, IVONNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, LILYBETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, LUZ N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, MIRTA T.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, NEYSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, NEYSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, NILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, NILDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, NILDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, NILDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, OMAR A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, RANSSEL J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, RICHARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, TANIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARCIA, YEZENIA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARRIDO, RAMONA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GARRIDO, RAMONA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GAUD, YAMILKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GAUD, YAMILKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GEIGEL, CARLA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GEIGEL, CARLA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GEIGEL, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GEIGEL, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GEIGEL, SYLVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GERENA, EDDIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GERENA, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GERENA, JASON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GERENA, KATIUSKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GERENA, LIZ D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GERENA, LIZ D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GERENA, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5947 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 948 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO GERENA, LOURDES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GINES, SONIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GOMEZ, ANGEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GOMEZ, CANDIDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GOMEZ, CARMEN I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GOMEZ, DAMARYS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GOMEZ, ENID              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GOMEZ, JOSEFINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GOMEZ, JOSEFINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GOMEZ, LIZANDRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GOMEZ, LUIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GOMEZ, MARGARITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GOMEZ, MISAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GOMEZ, SCHEILEEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, AIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, ALICIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, AMARILIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, AMARILIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, ANA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, BERNARDO R     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, BERNICE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, BLANCA ELISA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, BRENDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, CARMEN J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, CARMEN J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, CARMEN M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, CECILIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, CRESCENCIA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, CRESCENCIA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, DAMARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, DIANORYS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, DIONORYS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, DORIMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, ELIZABETH      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, ELIZABETH      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, ELIZABETH      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, ELSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, EVELYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, EVELYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, EVELYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, FRANCISCO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, GEISA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, GLORINES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, IDSIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, IDSIA M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, IMALAY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, IRMA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5948 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 949 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO GONZALEZ, JESSENIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, JOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, JOSE JUAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, JOSEFINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, JOSUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, JUAN C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, JUANA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, KENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, LUIS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, LYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, MADELINE S.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, MAGDALENO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, MINERVA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, NATALIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, NATALIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, NOELIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, NORMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, RAFAEL O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, REINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, RICARDO O     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, SABINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, SAHARA C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, SAMARY M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, WILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, YADIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZALEZ, ZAYDEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GONZLEZ, MARIA P        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GRACIA, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GUERRERO, EMELENCIANA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
A.
ROSARIO GUTIERREZ, JAIME        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO GUTIERREZ, LUCILA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO GUTIERREZ, NANCY        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO GUZMAN, ANA H           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO GUZMAN, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO GUZMAN, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO GUZMAN, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO GUZMAN, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5949 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 950 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO GUZMAN, JUAN J.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GUZMAN, JUAN J.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GUZMAN, JUAN M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GUZMAN, MARGARITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GUZMAN, NORMA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GUZMAN, PILAR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GUZMAN, RAFAELA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO GUZMAN, YULENIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HANCE, HECTOR I.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, ADA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, ADA J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, ANGEL L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, ANGELA E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, ANTHONY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, AYNADLIN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, BENIGNO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, BENJAMIN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, DAN E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, DAN E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, DELIRIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, EDGARDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, EDGARDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, EDWIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, EDWIN T.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, ELBA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, ELBA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, EMELINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, JAISEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, JOEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, JUAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, JUAN A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, JUDITH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, LORENA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, MARIA A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, MARIA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, MARIA S.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, MAYRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, MELVIN J      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, NELSON M.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, PROVIDENCIA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, PROVIDENCIA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, ROSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, ROSA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, WILFREDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, XIOMARA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, XIOMARA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, YADIRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HERNANDEZ, YESENIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HUERTAS, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5950 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 951 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO HUERTAS, ANGEL M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HUERTAS, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HUERTAS, EVA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HUERTAS, JOSE A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO HUERTAS, JUNIVETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO IGARTUA, FRANCISCO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO IGLESIAS, IRMA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO IRAOLA, OSVALDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO IRAOLA, OSVALDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO IRIZARRY, ANALIZ I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO IRIZARRY, HECTOR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO IRIZARRY, JEANETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO IRIZARRY, JEANETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO IRIZARRY, LUIS R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO IRIZARRY, RICARDO L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO IZQUIERDO, PROVIDENCIA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JIMENEZ, AIDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JIMENEZ, AIDA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JIMENEZ, ARELYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JIMENEZ, ARELYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JIMENEZ, BELMA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JIMENEZ, CARLOS M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JIMENEZ, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JIMENEZ, CARMEN M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JIMENEZ, EMMANUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JIMENEZ, GLORIA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JIMENEZ, JOSE A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JIMENEZ, JOSE F          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JIMENEZ, KEISHLA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JIMENEZ, MANUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JIMENEZ, MIGUEL A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JOHNSON, SANDRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JORGE, ROSALIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO JUARBE, OMAYRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO KUILAN, VICTORIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LABOY, AWILDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LABOY, LUIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LABOY, MIRELYS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LAFONTAINE, CRISTINA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LAFONTAINE, CRISTINA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LAGARES, JOSE R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LAGARES, JULIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LAGUNA, IZARIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LAJES, ELLEY E.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LAMBOY, WANDA J.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LARA, WILLIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LAUREANO, JESUS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LAZU, MARIA S            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LEBRON, ANIBAL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5951 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 952 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO LEBRON, DAMARINE A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LEBRON, KATIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LEBRON, LIZETTE E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LEBRON, MICHELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LEBRON, ROSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LEBRON, SOLIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LEBRON, YAMILETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LEON, EDDIL R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LEON, LIZBETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LEON, LIZBETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LEON, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LEQUERICA, CARMEN I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LIND, ALETZA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LIND, HECTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LLANES, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LLANES, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LLANOS, DAHYANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LLUVERAS, SARA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, ADA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, AIDA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, AIDA N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, ANGELICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, ARIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, CANDIDA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, CANDIDA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, CARLOS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, CARMEN S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, DORIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, EDWARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, ELIAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, EMILSIE I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, IVONNE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, JOHANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, JOHHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, JOSE C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, LIZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, LUZ N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, LUZ N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5952 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 953 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO LOPEZ, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, MARTHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, MAYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, MIGDALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, NELSON F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, PERFECTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, REBECA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, ROSA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, SWINDA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, YASHIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, YOLANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOPEZ, YOLANDA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LORENZANA, LUZ E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOUBRIEL, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOZADA, BELMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOZADA, ELISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOZADA, EUGENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOZADA, LESLIGUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOZADA, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LOZADA, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUGO, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUGO, BRICEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUGO, JOSE F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUGO, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUGO, KATHLEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUGO, LOURDES I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUGO, LOURDES R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUGO, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUGO, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUNA, ANGEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUNA, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUNA, IRMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUNA, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUNA, NORBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUNA, NORIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUNA, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO LUQUE, ANTONIO N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MACHUCA, ANABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MADERA, AMARILIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MAISONET, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MAISONET, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5953 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 954 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO MAISONET, ANGEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MAISONET, NECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MAISONET, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALAVE, NOELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALAVE, RAIMUNDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALAVE, RAIMUNDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, AMY ANN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, ANA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, ANGEL D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, ANGEL D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, BETZAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, CARLOS R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, DAMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, EFRAIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, ELLEN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, EMILIANO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, EMMANUEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, HAYDEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, JENNY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, LISANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, MILITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, OLGA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, RICARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, ROSA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, ROSAURA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, VERONICA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, WANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MALDONADO, WANDA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MANGUAL, AMARELYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MANGUAL, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MANGUAL, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MANSO, DORCAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MANSO, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARCIAL, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARCIAL, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARIN, LINNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARIN, MARILUZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARIN, MARILUZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARQUEZ, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARQUEZ, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARQUEZ, VICTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARQUEZ, VICTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARRERO, DORIS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARRERO, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARRERO, EDGARDO M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARRERO, EDWINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARRERO, FELIZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARRERO, JAIME E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5954 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 955 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO MARRERO, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARRERO, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARRERO, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARRERO, LUIS E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARRERO, LUIS E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARRERO, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARRERO, NICOLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARRERO, RUT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTES, VALERIE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTES, VALERIE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTIN, LUZY M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, ABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, ALEXANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, AZRIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, CARLOS J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, CARMEN H      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, CHRISTIAN L   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, DANIEL E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, EFREN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, ELISE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, ERNESTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, EVE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, HERBERT       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, IRIS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, ISAAC         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, IVAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, JANELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, JOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, JOHANY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, JUDITH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, LOURDES L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, RAMON L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, ROSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, ROTZELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, SARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, VANESSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MARTINEZ, YARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MATEO, MARIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MATEO, TANYA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MATIAS, IRALYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MATOS, ISABEL MARIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MATOS, LOURDES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MATOS, MARICELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MATOS, MARICELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5955 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 956 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO MATOS, MILENA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MATOS, MYRIAM I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MATOS, NANCY I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MATOS, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MAYMI, REY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MAYSONET, ANA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MAYSONET, MYRTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MAYSONET, RAQUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MAYSONET, YAMELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MEDINA, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MEDINA, ALMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MEDINA, DIONISIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MEDINA, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MEDINA, ILIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MEDINA, ILIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MEDINA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MEDINA, LUZ M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MEDINA, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MEDINA, RAMON L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MEDINA, SACHIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MEDINA, SARA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MEDINA, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MEDINA, WILBUR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MEDINA, WILBUR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MEJIAS, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, AURELIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, DANNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, ESTHER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, FRANCISCO J   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, HAILAND       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, IVONNE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, JANICE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, KAREM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, MARIA V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, NOEMI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, RICARDO L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, ROSANELL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MELENDEZ, YENITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENDEZ, DAGMAR E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENDEZ, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENDEZ, GLORIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENDEZ, INES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENDEZ, IRIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5956 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 957 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO MENDEZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENDEZ, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENDEZ, KARINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENDEZ, MARCOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENDEZ, MARCOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENDEZ, NIDSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENDEZ, PABLO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENDEZ, PETER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENDEZ, SARA N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENDEZ, WALDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENDOZA, DR. RICARDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENENDEZ, ALEXIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MENENDEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MERCADO, AIDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MERCADO, AIDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MERCADO, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MERCADO, DASHIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MERCADO, EDDIE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MERCADO, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MERCADO, JOSE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MERCADO, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MERCED, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MERCED, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MERCED, CORAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MERCED, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MERCED, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MERCED, ZAMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MIELES, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MILAN, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MILLAN, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MILLAN, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MILLAN, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MILLET, ZULMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MILLET, ZULMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MIRANDA, AUREA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MIRANDA, AUREA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MIRANDA, DINORATH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MIRANDA, HILDA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MIRANDA, LUIS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MIRANDA, MARIA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MIRANDA, MARIA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MIRANDA, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MIRANDA, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MOJICA, ADRIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MOLINA, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MOLINA, LINEIDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MONGE, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MONSERRATE, WILNELIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MONSERRATE, WILNELIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5957 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 958 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO MONTALVO, RAMON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MONTALVO, VANESSA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MONTANEZ, MARILIZ         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MONTERO, JUAN CARLOS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MONTERO, PRISCILA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MONTES, IRIS BELIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MONTES, VICTOR            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORA, JENNY               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, ANA D            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, ANA I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, ANA J            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, ASTRID Y         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, BLANCA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, CARMEN H         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, CARMEN L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, DAMARIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, DORKAS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, EUGENIO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, EVELYN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, EVELYN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, GRISEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, HECTOR L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, IDALIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, IRIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, ISRAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, ISRAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, JESUS A.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, LUCIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, LUZ E            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, LYDIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, MARIA DEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
CARMEN
ROSARIO MORALES, MARIA M          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO MORALES, MARIA S          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO MORALES, MARITZA I        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO MORALES, NYDIA J          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO MORALES, ORLANDO          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO MORALES, ORLANDO          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO MORALES, ROSITA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO MORALES, SHAYNAARAIS      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO MORALES, SOLEMAR          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO MORALES, SYLVIA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO MORALES, WANDA I          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO MORALES, WILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO MORALES, YAHAIRA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO MORALES, YAMIL            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5958 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 959 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO MORALES, YARITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, YOLANDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORALES, YOLANDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORENO, CECILIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MORENO, FLORENCIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MULERO, NORAIMA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MULINELLI, JAVIER A.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MUNIZ, ERIKA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO MURIEL, JOSE M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NARVAEZ, ANA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NARVAEZ, INES            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NARVAEZ, LUZ M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NATAL, ANGEL L.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NATAL, OTONIEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NATAL, OTONIEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NATER, CARMEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NATER, FILOMENA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NATER, MARIA V           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NATER, MARIA V           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NATER, VICTOR R.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NAVARRETE, JOSE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NAVARRETE, RICHARD       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NAVARRO, ISABEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NAVEDO, CARMEN Z         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NAZARIO, MILADY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEGRON, BRENDA J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEGRON, GLORIA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEGRON, GLORIANI         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEGRON, GUSTAVO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEGRON, GUSTAVO G.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEGRON, JORGE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEGRON, JORGE I.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEGRON, LESLIE A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEGRON, LYDIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEGRON, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEGRON, MARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEGRON, MARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEGRON, MONSERRATE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEGRON, RAMON            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEGRON, VICTOR M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEGRON, YASHIRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NEVAREZ, MARIA TERESA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, ALMERIDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, ANA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, ANA L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, ARNALDO J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, CARLOS I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, CARMEN I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, EDUARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5959 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 960 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO NIEVES, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, ELSIE J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, EMMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, IRIS Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, NATACHA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, NEIDALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, ROXANA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, SOLMARYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, SOLMARYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, UBALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NIEVES, WILLIAM J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NORIEGA, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NUNEZ, AMARILYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NUNEZ, DEVORA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NUNEZ, DEVORA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NUNEZ, DEVORA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NUNEZ, EDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NUNEZ, ILEANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NUNEZ, JUAN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NUNEZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NUNEZ, MISAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NUNEZ, OMAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO NUNEZ, OMAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OCASIO, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OCASIO, CHRISTIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OCASIO, JULISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OCASIO, MARIA P         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OCASIO, VICTOR R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OFRAY, CARMEN S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OJEDA, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OJEDA, JENNIFER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OLIVERA, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OLIVERA, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OLIVERA, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OLIVERAS, ESTHER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OLIVERAS, VIRGINIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OLIVERI, MARIA A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OLIVIERI, LILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OLIVO, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OLIVO, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OLMO, RAMON L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OQUENDO, GUMERSINDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OQUENDO, GUMERSINDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OQUENDO, IVONNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OQUENDO, MARIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5960 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 961 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO ORREGA, WILMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTA, ZULMA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTEGA, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTEGA, DIOR C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTEGA, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTEGA, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, ADA G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, ALEXON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, AMARILYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, ANGEL ANDRES     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, BIANCA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, BRYAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, DELIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, DORIS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, EDILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, GLORIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, IRIS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, JOSE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, JOSELIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, KARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, LUZ L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, MARIGLORIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, MIRIAM E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, NASHIRA G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, NATALY M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5961 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 962 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO ORTIZ, NAYDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, NORMA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, SANDRA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, SANTIAGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, WALLYS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, WALTER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, ZULMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ORTIZ, ZULMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OSORIO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OSORIO, LUZ D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OSORIO, SUSANA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OTERO, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OTERO, AIXA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OTERO, ANGEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OTERO, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OTERO, EUARCIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OTERO, GLADYS G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OTERO, GLADYS GISELA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OTERO, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OTERO, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OTERO, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OTERO, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OTERO, JEANNIE L. L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OTERO, NOE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OTERO, RAMON A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OTERO, RAMON A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OTERO, ROSSANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OYOLA, ANGEL D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OYOLA, ANTONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO OYOLA, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PACHECO, WILMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PADILLA, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PAGAN, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PAGAN, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PAGAN, CARLOS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PAGAN, CLARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PAGAN, GERALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PAGAN, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PAGAN, JUAN ANTONIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PAGAN, KARELIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PAGAN, KARELIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PAGAN, LUCESITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PAGAN, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PAGAN, MIRIAM L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PAGAN, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5962 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 963 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO PAGAN, RAFAEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PAGAN, VICTORIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PAGAN, VICTORIA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PANTOJA, ADALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PANTOJA, ADALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PARIS, EUGENIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PARRILLA, CALIXTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PARRILLA, PILAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PAULINO, MARIELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEDROZA, GIOVANNI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PENA, BRIAN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PENA, INMACULADA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PENA, INMACULADA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PENA, KEISHLA F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PENA, MELVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PENA, NELIA N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PENA, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PERALES, LUZ I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PERAZA, YESENIA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, ADRIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, ALIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, BELEN D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, CARMEN N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, DENISE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, EDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, EIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, EIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, FERNANDO L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, FREDDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, GLORIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, HARRY W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, HIRAMIS S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, JAIME D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, JAIME D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, JAIME I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, JARETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5963 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 964 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO PEREZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, JOSE E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, LISANIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, LOURDES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, NORBERTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, ONEILL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, PABLO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, PEDRO T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, RAMON L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, RUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, RUTHNEIRY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, SHALIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, TIBISAY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, YAHAIRA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, YINESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ, ZIHARA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PEREZ,LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PICON, CAROL D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PINA, KIDANNY L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PITRE, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PIZARRO, AGUSTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PIZARRO, BRENDA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PIZARRO, ENEIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PIZARRO, IRAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PIZARRO, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PIZARRO, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PIZARRO, RUTH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PIZARRO, RUTH N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PLACERES, YARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PLANAS, NILDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PLANAS, NITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PLANAS, NITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO POLANCO, JOSE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO POMALES, BLANCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO POMALES, BLANCA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO POMALES, CRUZ DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO POMALES, SARAI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO PONCE, ANA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUESADA, JOHNNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUILES, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5964 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 965 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO QUILES, IRIS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUILES, MIGUEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, AMBROSIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, ARLEEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, CARLOS R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, CARMEN R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, EDWARD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, EDWARD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, ENID M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, GRACIELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, JORAIKA M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, MARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, MARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, MARA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, MARICELLY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, MARICELLY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, MARTA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, SANTIAGO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINONES, STEPHANIE I   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINTANA, MARICELY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO QUINTERO, RUTH B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RALAT, ISNEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMIREZ, ANGEL J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMIREZ, CHRISTIAN L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMIREZ, EDGARDO E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMIREZ, JOHN F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMIREZ, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMIREZ, MARY S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMIREZ, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMIREZ, RUFINO III     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMIREZ, RUFINO III     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, ANTONIO N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, CARMEN T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, CATALINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, CYNTHIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, DELLY S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, EDDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, HILVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, JOSEFINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, LUIS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, LUIS J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5965 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 966 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO RAMOS, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, MYRTA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, MYRTA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, RAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, RUTH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, RUTH E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAMOS, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RAYA, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REINE, MARIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RENTA, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REQUENA, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RESTO, AILYN Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RESTO, BRENDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RESTO, ELBA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RESTO, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RESTO, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RESTO, JORGE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RESTO, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RESTO, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REVERON, ELDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REXACH, MAYDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REY, LUCIANO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, ADALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, BRENDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, CAMILLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, CARLA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, CARMEN H.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, CARMEN V.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, ELBA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, FAUSTINO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, HECTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, JESUS W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, JESUS W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, JOSE V.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, JUANA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, JUSTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO REYES, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5966 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 967 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO REYES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO REYES, MARIA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO REYES, MELISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO REYES, SARA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO REYES, SILVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO REYES, SOL M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO REYES, SYLVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO REYES, TANIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO REYES, VICTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO REYES, WANDA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIO, BIANCA V.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIOS, BIANCA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIOS, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIOS, IDA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIOS, ISABELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIOS, JOSE C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIOS, JULIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIOS, LIZBETH Z.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIOS, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIOS, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVAS, ORLANDO O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVAS, ROSALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVEIRO, MARIA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ABIGAIL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ABIMAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ABIMAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ADA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, AGNERIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ALBERTO L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ANA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ANA H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ANA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ANDREA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ANGEL D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ANGEL GABRIEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ANGEL O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ANIBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ANIBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ANNA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ARACELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ARIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, ARNALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, BENITO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, BETHZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, BETHZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, BRENDA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ROSARIO RIVERA, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 5967 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 968 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO RIVERA, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, CARMEN R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, DORIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, EDWIN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, FELICITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, FLOR MARIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, GENOVEVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, HECTOR L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, HERIBERTO L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, IDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, ILIA B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, JANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, JANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, JESUS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, JOEX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, JOSE C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, JOSE D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, JUAN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, JUDITHMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, KATIRIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, KEVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, LILLIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, LISNEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, LIZETTE C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, LUCY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, LUISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, LUZ D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5968 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 969 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO RIVERA, LUZ N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, LYDIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MAGALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MAGALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARIA DEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARIA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARIA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARIE J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARLENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, MIRLA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, NELIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, NETTIE I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, NEYSHA T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, NORMA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, PATRICIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, PEDRO D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, ROSALINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, RUBEN N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5969 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 970 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO RIVERA, RUTH N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, SANDRA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, SONIA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, SONIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, SORALLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, VILMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, WANDA G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, WANDA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, WANDA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, WANDA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, YAHAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, YAHAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVERA, ZAIDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RIVIERE, ANGELES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROBLEDO, ANA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROBLEDO, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROBLES, AIXSA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROBLES, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROBLES, ELIOTT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROBLES, JOSE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROBLES, JUAN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROBLES, LEIDA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROBLES, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROBLES, MARICELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROBLES, MARICELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROBLES, MISAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROBLES, NELSON A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROBLES, NESTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ABNER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ADA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ADA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ADA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ADALIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ADALIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ADAMINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, AIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, AIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, AIDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ALICIA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, AMALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ANA H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ANA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ANABELIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5970 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 971 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO RODRIGUEZ, BETZAIDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, CARLOTA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, CARMEN I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, CARMEN M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
MILAGROS
ROSARIO RODRIGUEZ, CARMEN R       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, CELINDA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, CHRISTIAN      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, CLAUDETTE      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, CORALIE        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, CRUZ A         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, DANIA L        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, DEBORAH L      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, DELIA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, DINELIA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, DIOSDADO       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, DORIS          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, EDUARDO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, EDWIN R.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ELOINO         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ENEIDA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, EVELYN         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, EVELYN         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, EVELYN         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, FELICITA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, FROILAN        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, GERARDO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, GRACE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, HAYDEE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, HECTOR J       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, HECTOR R       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, HERIBERTO      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, HERVELT        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, IRMA R         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ISRAEL         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, JAIME          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, JAVIER         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, JEANNETTE      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, JEDIEL         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, JESSICA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, JESSICA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, JORGE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, JORGEDWIN      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, JOSE A         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, JOSE ANTONIO   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 972 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO RODRIGUEZ, JOSE I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, JOSE M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, JOSE M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, JOSE R         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, JOSE R.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, KARLA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, KASANDRA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, LESLIEANN      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, LIZNABEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, LOURDES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, LUIS O.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, LUISA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, LUZ E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, LYDIA E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MANUEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MANUEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MARIA C        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MARIA D        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MARIA DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
A
ROSARIO RODRIGUEZ, MARIA DEL C    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MARIA DEL C.   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MARIA E        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MARIA E        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MARIA J        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MARIA M        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MARTA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MAYRA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MAYRAM         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MAYRAM         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MERCEDES       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MILAGROS       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MINERVA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, MINERVA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, NELSON         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, NYDIA S        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, OBDULIA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, PETER          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, REBECA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ROSAEL         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, RUTH           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, SANDRA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, SHAYRA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, SHAYRA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, SONIA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5972 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 973 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO RODRIGUEZ, SONIA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, TANIA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, VIANCA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, VICTOR M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, VICTOR M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, VILMAREE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, VILMAREE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, WALESKA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, YAMILIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, YOLANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ZAIDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RODRIGUEZ, ZAIDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROHENA, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROJAS, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROLDAN, ARELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROLDAN, HECTOR R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROLDAN, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROLDAN, REINEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROLON, GIOVANNI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROLON, GIOVANY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROLON, HILDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROLON, JENNIFER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROLON, LUCIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROLON, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROLON, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, ALEJANDRINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, AMALYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, ANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, ANGEL J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, BRUNILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, BRUNILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, JUAN LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, MARIA DE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, MARIA DE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, RAMONA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, ZULEIKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROMAN, ZULEIKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5973 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 974 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO RONDON, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RONDON, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RONDON, OSCAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RONDON, OSCAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, CARMEN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, DIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, DIANA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, JUNISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, LILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, MARTHA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, MELQUIADES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, RENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, ROSA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, ROSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, ROSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, ROSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSA, ROSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, ANAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, ARNALDO R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, GLORIA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, JOAQUIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, JOHANY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, JOHANY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, JUAN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, LUZ I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, MIRZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, NILDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, RAYMOND         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSADO, YANIRA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, AMARILIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, AMAURY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5974 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 975 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO ROSARIO, ANGEL L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, ANTONIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, CARMEN I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, CAROLINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, CAROLY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, CAROLY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, CRUZ M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, DAISY M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, EMILY N          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, GAMALIEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, GAMALIER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, GLORIA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, GLORIA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, HECTOR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, HECTOR L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, IRIS N.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, JANNETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, JENIE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, JONATAN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, MARIA DEL C      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, MARIA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, MARIA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, MARITZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, NAYDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, NIOMAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, NIOMAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, NIXA S.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, NORMA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, NORMA I.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, OLGA I.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, RAMON L.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, RAUL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, RODRIGO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, STELLA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, TEODORO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ROSARIO, YOLANDA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, ABIGAIL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, BRENDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, BRENDA L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, BRENDA M.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, CLARA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, CLARA I             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, DAMARIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, FELIX A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, INES                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, IRIS M              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, JEANNETTE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5975 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 976 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO RUIZ, JEANNETTE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, JOSE                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, JOSE L              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, JUSTO               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, MARIA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, MARIA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, MARIA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, MELY                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, MOISES              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO RUIZ, NYDIA E             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SAENZ, JOSE R             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SAEZ, RUBEN               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SALAMO, ENRIQUE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SALAS, KAREN I.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SALAZAR, ROMANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SALDANA, EDUARDO Y        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SALGADO, LEANN M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SALGADO, SONIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SAN INOCENCIO, HECTOR L   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANABRIA, RAMON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANABRIA, RAMON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANABRIA, RAMON L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANABRIA, ROBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, ALBERTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, ALEXIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, ALEXIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, ALEXIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, BRIGIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, CARLOS E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, CARLOS E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, CARMEN D.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, DARLING MARIE    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, EDWIN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, EDWIN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, ELIZABETH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, FRANCISCO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, FRANCISCO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, HECTOR M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, HECTOR M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, IDA R            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, INEABELLE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, JAIME            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, LETICIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, LETICIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, LOURDES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, LYDIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, MARANGELY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, MARIA T          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5976 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 977 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO SANCHEZ, MOISES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, OSCAR E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, SALVADOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, SANTIAGO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, SANTIAGO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, SIGILFREDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, VALERIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, VANESSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANCHEZ, YADIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTA, ARLENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTA, DANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTA, ELSIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTA, MARIA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTA, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTANA, ABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTANA, CARMEN H.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTANA, JOSE R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTANA, JUAN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTANA, LISSETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTANA, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTANA, MARTA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTANA, NELIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTANA, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTANA, RAMON A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTANA, ZOA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTEL, JUDITH M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTEL, MARYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, AIDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, AILEEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, AILENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, AILENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, ALBERTO M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, ANA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, ANTONIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, ANTONIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, ARCADIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, BIENVENIDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, BRENDA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, CARLOS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, CARMEN I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, CINDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, CLARIBEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, CLARIBEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, DENISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, DENISSE A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, DORIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5977 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 978 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO SANTIAGO, EDNA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, EDNA D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, EDWIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, EDWIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, ELIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, EMMA JUDITH    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, EMMA JUDITH    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, EMMANUEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, EMMANUEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, ENEIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, FANIVEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, GAMALIER       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, GENOVES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, HECTOR A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, HECTOR L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, IRIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, JAIME L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, JANICE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, JOEL D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, JOSE E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, JOSE I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, JOSUE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, JUAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, JUAN FRANCISCO REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED

ROSARIO SANTIAGO, LIZVEL         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, LUIS A.        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, LUZ I          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, LUZ I          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, MANUEL F.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, MARIA E        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, MARIA L        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, MARIA L.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, MARIA M        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, MARIANO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, MARIBEL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, MARISELIS      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, MIGDALIA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, MIGUEL ANGEL   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, MIRLA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, MIRTHA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, NORMA S        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, NORMA S.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, OTTONIEL       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, RAFAEL         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, RICARDO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, ROSA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ROSARIO SANTIAGO, ROSAURO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5978 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 979 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO SANTIAGO, SARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, SARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, SHARLEEN D    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, VICTOR L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, VIRGILIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTIAGO, XIOMARA A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTINI, CARMEN R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTOS, AIDA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTOS, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTOS, BETZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTOS, CLARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTOS, EMILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTOS, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTOS, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTOS, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTOS, LISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTOS, LISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTOS, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTOS, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTOS, RANDOLFO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTOS, SONIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTOS, SONIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SANTOS, SONIA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SASTRE, MELQUIADES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SELLES, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SELLES, MELBA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SEMIDEY, JOHANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SEMIDEY, JOHANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SEMIDEY, MARANGELY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SEPULVEDA, MARIANO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SERPA, VICKY L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SERRANO, BERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SERRANO, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SERRANO, ELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SERRANO, ELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SERRANO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SERRANO, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SERRANO, GAMALIER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SERRANO, JESUS J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SERRANO, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SERRANO, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SERRANO, ROBERTICO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SERRANO, ROXANNA K.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SERRANO, SUSANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SIERRA, CARMEN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SIERRA, DANNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SIERRA, MARIANNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SIERRA, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5979 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 980 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO SILVA, DORIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SIMMONS, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOLAS, JANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOLER, BLAS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOLER, BLAS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOLERO, ABIGAIL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOLIS, JESUS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOLIS, JESUS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOSTRE, ANA P.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOSTRE, ANGELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOSTRE, ANGELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOSTRE, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOSTRE, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, ADELAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, CARMEN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, DIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, GENOVES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, GIOVANNI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, ILUMINADA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, JESUS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, LUZ M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, MARIANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, MARIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, MARTIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, MARTIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, MILTON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, MIRIAM J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, NORMAN JOEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, PABLO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SOTO, VIVIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SUAREZ, CATALINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SUAREZ, CATALINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SUAREZ, DEBORAH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SUAREZ, MAGDALENA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SUAREZ, MAGDALENA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SUAREZ, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SUAREZ, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SUAREZ, MELINDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SUAREZ, PEDRO J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SUAREZ, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SUAREZ, SARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SUSTACHE, HECTOR A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO SUSTACHE, HECTOR A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TEBENAL, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5980 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 981 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO TEBENAL, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TELLADO, ANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TELLADO, BELINDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TEXIDOR, ELEIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TIMOTHEE, JUAN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TIRADO, MARIA P.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TIRADO, MONSERRATE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TIRADO, RUBEN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TIRADO, RUBEN D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TIRADO, YARINNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TOLEDO, HECTOR L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORES, GLENDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORO, DALILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, ADA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, ALIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, ARLEEN Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, ARMINDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, ARMINDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, BENJAMIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, CLARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, CLARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, DENISSE MARIE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, EDGAR E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, EDNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, EILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, ELIANA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, ELIDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, FELICITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, FELICITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, GUSTAVO E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, IRIS N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, IRMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, JAIRO J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, JOAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, JOHANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, JOHANA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, JOHANA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, JORGE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, JOSHUA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5981 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 982 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO TORRES, JUAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, JUAN R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, JULIO E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, KAREN J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, LINDA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, LINDA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, LISA Y           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, LIZ Y            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, LUCY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, LUIS EDGARDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, MAGALI           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, MARANGELI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, MARGARITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, MARIA A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, MARIA C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, MARIA DEL C      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, MARIA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, MARIA S          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, MARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, MARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, MARTA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, MAYRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, MELANIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, MELBA J.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, MIGDALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, NANCY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, NANCY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, NANCY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, NERY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, NIRVIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, OLGA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, OLGA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, OLGA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, OLGA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, OLGA N.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, PEDRO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, RAFAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, RICARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, RICARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, ROSA CARMINA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, ROSELYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, SANDRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, SARYAN M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, TERESA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, VIVIAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, WILFREDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5982 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 983 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO TORRES, XIOMARA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TORRES, ZAIRA M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TOSSAS, MICHELIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TRINIDAD, IRIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TRINIDAD, IRIS N         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TRINIDAD, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TRINIDAD, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TRINIDAD, MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TRINIDAD, ROSA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TRISTAN, MAYRA C         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO TURPO, FRAY W            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO UBALLE, ANGELA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO UBALLE, ANGELA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO UBALLE, VANESSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO URDAZ, DORCAS M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO URDAZ, PEDRO J.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALCARCEL, JOSE R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALDES, RUFINO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALENTIN, CARMEN J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALENTIN, JESSICA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALENTIN, LOURDES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALENTIN, LYNETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALENTIN, MERCY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALENTIN, MONICA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALENZUELA, LUIS M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALES, BEATRIZ           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALES, LISANDRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALES, MILDRED           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALLE, ITSIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALLE, ITSIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALLE, PABLO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALLES, WILMA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VALOY, RAMON L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VARCARCEL, MARITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VARGAS, ANA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VARGAS, ANGEL L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VARGAS, ANGELES M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VARGAS, CARMEN D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VARGAS, FELIX            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VARGAS, JOCELYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VARGAS, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VARGAS, LUIS EDUARDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VARGAS, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VARGAS, MARIO L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VARGAS, ROSALIND M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VARGAS, SANTA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VARGAS, WANDA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, ADELINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, ALIPIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5983 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 984 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO VAZQUEZ, CAMELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, CARMEN S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, CRISTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, EDWIN F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, EDWIN F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, ELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, GERMAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, GLENDALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, JEANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, JORGE D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, JUSTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, LEISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, MARIA V.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, ODELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, YAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, YAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VAZQUEZ, YAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, ABIMAEL J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, ANDREW            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, JANITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, JONATHAN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, LIGIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, LILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, LILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, LOYDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, MARCELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, MIRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, NILDALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, OLGA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, PROVIDENCIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, RAMON E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, ROBERT A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, RORAIMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5984 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 985 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO VEGA, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, YANICE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VEGA, YDAMIS L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELAZQUEZ, EILEEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELAZQUEZ, JAVIER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELAZQUEZ, JESUS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELAZQUEZ, JOELYS A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELAZQUEZ, JOSE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELAZQUEZ, LUIS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELAZQUEZ, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELAZQUEZ, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELAZQUEZ, MARIA G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELAZQUEZ, MIGDALIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELAZQUEZ, MIGDALIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELAZQUEZ, MILTON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELAZQUEZ, NIVIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELAZQUEZ, NIVIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELAZQUEZ, NORMAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELAZQUEZ, PEDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, ANA P            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, ANGEL L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, BIBIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, BRENDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, EMMA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, ERIC R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, ERIC RENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, EVLEYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, IVELLISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, LUCINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, MANUEL H.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, RAYMOND          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, ROSANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, SALVADOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VELEZ, SANDRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VENTURA, MARIELYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VENTURA, MARIELYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VERA, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VERA, GUSTAVO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VERAY, JULIO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VERGARA, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VERGARA, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VERGARA, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VERGARA, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VICENTE, JAILISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VICENTE, JOSE O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5985 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 986 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO VICENTE, JOSE O.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VICENTE, MIGDALIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VICENTE, NOEMI            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VICENTE, SHEILA M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VIERA, DAISY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VIERA, DAISY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VIERA, EDITH              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VIERA, MICHAEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILAR, TOMAS A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLAFANE, JOSUE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLAFANE, MARTA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLAFANE, MARTA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLANUEVA, JEANNY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLANUEVA, JEANNY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLANUEVA, LILLIAM       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLANUEVA, LILLIAM       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLEGA, ABIGAIL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLEGAS, ANA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLEGAS, JACQUELIN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLEGAS, JACQUELINE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLEGAS, MARGARITA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLEGAS, RAMON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLEGAS, RAMON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLEGAS, RAQUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLEGAS, RAQUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLEGAS, RUTH            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VILLEGAS, RUTH            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VIZCARRONDO, GABRIEL A.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO VIZCARRONDO, GABRIEL A.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO WEBB, NATALIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO WEBB, PABLO               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO WOOD, JOSHUA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO YANCE, DENISSE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ZAMBRANA, CARMEN R        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ZAMBRANA, ROSA F          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ZAYAS, BERNARDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ZAYAS, GISELLE M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ZAYAS, MARIA L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO ZAYAS, SAMARIE G.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, ADALBERTA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, BENIGNO                  REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, CARLOS                   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, CARLOS E.                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, CARMEN L.                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, CRUZ                     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, DAMARIS                  REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, DAPHNE I                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, EFRAIN D.                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, ETANISLAO                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 5986 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 987 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSARIO, FRANCISCO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, FRANSISCO A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, GABRIEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, GLORIA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, GLORISIX M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, IVONNE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, JACQUELINE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, JOSE A                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, JOSE R.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, KATIDIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, LUIS                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, LUIS                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, MAGALY                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, MARIA DEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, MARIA I                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, MARIANGELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, MERCEDES A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, PABLO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, PEDRO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, PEDRO T                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, RAFAEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, SAMUEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, SECUNDINO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, SHEILYN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, STEPHANIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, STEPHANIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIO, ZAIDA E.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIOCANCEL, ELMER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIODELACRUZ, NITZUGA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIOFERRER, SANTIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIOFIGUEROA, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIOMUNOZ, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIONIEVES, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIOP JIMENEZ, CARMEN Y.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIORIVERA, ESTEBAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIORODRIGUEZ, NEREIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIOROMERO, GRETZA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIOROQUE, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIVERA, CARLOS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIVERA, LUZ M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARIVERA, WILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSARODRIGUEZ, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAROMAN, ENRIQUE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSA‐ROSA, NANCY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS ACOSTA, EVANGELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS ACOSTA, JOYLEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS AMOROS, LUIS R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS AVILES, JOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS AVILES, ROGELIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 988 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ROSAS AVILES, ROGELIO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS BAYRON, JUAN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS CABAN, GARY                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS CABRERA, LUIS ANGEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS CACERES, IVONNE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS CALVENTE, SYLVIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS CAMACHO, RAFAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS CAMACHO, TERESITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS CARDONA, MARIA DE LOS A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS CARO, JOENANIE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS CARO, JOEVANIE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS CASTILLO, JORGE J.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS COLLADO, ANTHONY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS COLLADO, KATHERINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS DE JESUS, EVANGELISTA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS DE JESUS, EVANGELISTA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS DELGADO, JACQUELINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS DIAZ, ALEXANDER            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS FERRER, JOSE A             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS FIGUEROA, ONEIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS FIRPO, DANIEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS FIRPO, IVAN                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS GALLOZA, JOSE E.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS GARCIA, LUIS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS GAUD, EDWIN                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS GAUD, LUZ                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS GAUD, MILTON               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS GAUD, MILTON               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS GAVINO, NATALIA N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS GONZALEZ, BRENDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS GONZALEZ, BRENDA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS GONZALEZ, EDELSEIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS GONZALEZ, EDELSEIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS GONZALEZ, EDUARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS GONZALEZ, NANCY E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS GUERRA, SANTA B            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS GUERRA, TEOFILO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS HERNANDEZ, ALICIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS HERNANDEZ, CARMEN A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS JUSTINIANO, CORALIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS LEBRON, CARMEN L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS LEBRON, NEMUEL A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS LOPEZ, ALEX                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS LOPEZ, ANGELA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS LOPEZ, CARMEN M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS LOPEZ, JORGE               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS LUCIANO, AMARILIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS LUCIANO, AMARILIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS LUGO, AMY                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5988 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 989 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSAS MARIN, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS MARRERO, DORIS L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS MARTINEZ, ELSIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS MENDEZ, ELBA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS MERCADO, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS MORALES, DIANA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS MORENO, GENOVEVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS MORENO, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS MORENO, WILSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS NAZARIO, ROSA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS NEGRON, LOYDA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS NORIEGA, MATILDE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS NORIEGA, MATILDE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS NORIEGA, MATILDE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS NUNEZ, TECLA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS OLIVO, JANE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS ORTIZ, CRISTINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS PEREZ, ANGELICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS PEREZ, JAMILLETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS PEREZ, JAMILLETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS PEREZ, JOSUE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS PEREZ, KEYLA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS PEREZ, MARGARITA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS PEREZ, MARIA DEL P        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS PEREZ, RENE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS PONCE, MARIA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS QUEVEDO, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS RAMOS, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS RAMOS, MINERVA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS RIOS, JIMMY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS RIVE, MARIANITA DE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
MILAGROS
ROSAS RIVERA, EDGAR             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSAS RODRIGUEZ, AMARILYS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSAS RODRIGUEZ, ANDRES         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSAS RODRIGUEZ, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSAS RODRIGUEZ, JUAN B         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSAS RODRIGUEZ, KEYSA G.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSAS RODRIGUEZ, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSAS RODRIGUEZ, YAMITZA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSAS RODRIGUEZ, YAMITZA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSAS ROJAS, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSAS ROMAN, GISELE             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSAS ROMAN, GISELE             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSAS ROSADO, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSAS ROSADO, RAFAEL JR         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSAS ROSAS, RENE A             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSAS ROSAS, RENE A             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSAS ROSAS, SANTA M            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 990 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSAS RUIZ, DORIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS RUIZ, DORIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS RUIZ, DORIS P             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS SANCHEZ, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS SANCHEZ, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS SANCHEZ, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS SANTANA, ANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS SANTANA, ANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS SANTIAGO, VIVIAN E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS SANTOS, ALICE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS SOTO, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS SOTO, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS SOTO, MARIO E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS TORRES, NASHALEE N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS TROCHE, LAURA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS TROCHE, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VARGAS, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VARGAS, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VARGAS, KAREN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VARGAS, LILIBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VARGAS, LISSETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VAZQUEZ, CARMEN R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VEGA, ANA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VEGA, DAMARIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VEGA, MARIA T.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VEGA, YANIRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VEGA, ZULMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VEGA, ZULMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VELAZQUEZ, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VELEZ, AIDA E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VELEZ, GLORIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VELEZ, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VELEZ, OLGA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VILLARINI, MARICARMEN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VILLARINI, NAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VIRELLA, DEIDAD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS VIRELLA, DEIDAD S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS ZAPATA, GENOVEVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS ZAPATA, GENOVEVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS ZAPATA, ZULMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS ZAPATA, ZULMA Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAS, SANTIAGO E.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSATI CHIMENTE, GIAMPIERO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSAVAZQUEZ, RUPERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSELL BERTO, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSELL, EUGEN LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSELLO ESPADA, ADA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSELLO ESPINOSA, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSELLO FUENTES, NATIVIDAD      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5990 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 991 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSELLO HANCE, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSELLO MONTALVO, MARIA DEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOCORRO
ROSELLO ORTIZ, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSELLO REYES, DANNY            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSELLO REYES, GREGORIO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSELLO RIVERA, JOSE H          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSELLO WIRSHING, JOSIANNE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSENDO MOLINA, MELIZA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSENDO PEREZ, CHRISTIAN M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSENDO SANTOS, ANGEL L.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSES HERNANDEZ, CARLOS J       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSES VAZQUEZ, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSES VAZQUEZ, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSICH CAPO, IVAN               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSICH CAPO, JOVANSKA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSICH CAPO, JOVANSKA M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSICH MARTINEZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSICH MARTINEZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSICH MERCED, WANDA L.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSS CARABALLO, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSS CARABALLO, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSS NIEVES, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSS NIEVES, JOSELITO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSS ORTIZ, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSS REYES, LILIBETH            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSS RIVERA, LUZ                REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSS RIVERA, LUZ E              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSS RIVERA, MARIA T            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSS ROBLES, MARLA E            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSS SAN MIGUEL, IVELISSA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSS SUAREZ, MAGDA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSS TIBURCIO, GILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSS TORRES, NICOLE             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSS VALEDON, ELGA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSS VALEDON, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSSELLO GONZALEZ, IVETTE M     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSSELLO GONZALEZ, PEDRO J      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSSELLO HEYLIGER, LARA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSSELLO NEVARES, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSSINI PADILLA, KATIRIA M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSSINI PADILLA, RAYMOND        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSSINI PADILLA, RAYMOND        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSSNER CORREA, HAYDEE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSSNER FIGUEROA, MYRIAM        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSSNER MARRERO, CHRISTIAN      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSSNER MARRERO, ERIC           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSSNER MARRERO, KATHIA D'MARIE REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ROSSNER OSORIO, IRMA E          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5991 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 992 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROSSO BERRIOS, SARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSO GONZALEZ, LEOPOLDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSO GRIFFITH, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSO LEBRON, IAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSO QUEVEDO, CARLOS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSO QUEVEDO, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSO RIVERA, HEIDI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSO SANTOS, JOSE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSO SUAREZ, VENUS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSO VILLANUEVA, DANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY ACEVEDO, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY BURGOS, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY BURGOS, KATHLEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY CABALLERO, MARIA DEL R    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY CAMARENO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY FULLANA, MARTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY GARCIA, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY HERNANDEZ, CHERISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY MUNIZ, ROSA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY PEREZ, ANGIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY ROBLES, GINGER M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY ROBLES, MICHELLE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY RUANO, IVETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY RUANO, IVETTE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY RUIZ, FRANCISCO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY RUIZ, FRANCISCO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY SAAVEDRA, MARCIAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY SANCHEZ, ANTONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY SANTANA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY SANTANA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY SANTANA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROSSY TORRES, CELSO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTGER ARROYO, MARIA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTGER BONILLA, DEIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTGER BONILLA, DEIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTGER BONILLA, DEIRA Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTGER DIAZ, MIRZA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTGER MORALES, MELVYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTGER NAVARRO, ELIX D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTGER OCASIO, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTGER RAMOS, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTGER SABAT, ANGEL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTGER VAZQUEZ, SHARON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTGER VILLAFANE, CARMEN B      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTGER VILLAFANE, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTGER,MARIO                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTGERS FIGUEROA, MARIO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTH, NANCY                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROTHSCHUH FERNANDEZ, GLORIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5992 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 993 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ROUBERT COLON, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUBERT GONZALEZ, EDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUBERT GONZALEZ, EDITH L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUBERT GONZALEZ, HECTOR A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUBERT GONZALEZ, MARIA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUBERT NIEVES, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUBERT OCASIO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUBERT PEREZ, FRANCES E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUBERT RIVERA, HECTOR LUIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUBERT RODRIGUEZ, JOSE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUBERT SANTIAGO, NEYSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUBERT VEGA, WILBYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUCO RAMOS, IVANYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUCO RAMOS, IVANYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUMAIN PRIETO, MARC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURA ARIAS, ALEXANDRA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURA CORDERO, FRANCISCO T.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURA FLORES, SARAH E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURA LOZADA, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURA ORTEGA, BENJAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURA PARDO, POLA T.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURA RONDA, ADAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURA SANABRIA, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURA SEDA, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURA VEGA, CARMEN L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURE APONTE, SANDRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURE FIGUEROA, JUAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURE MOULIER, ANTON G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURE ORTIZ, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURE ROURE, FANY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURE ROURE, OMARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURE ROURE, OMARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURE TORRES, AILENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURE TORRES, JUAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROURE, EDUARDO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUSS CHAPMAN, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUSS CHAPMAN, CYNTHIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROUSSEL GUZMAN, ELIZABETH M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA ACEVEDO, NOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA AVILES, EPIFANIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA BELLIDO, OMAR J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA BLONDET, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA BURSET, BLANCA R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA BURSET, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA CLAUDIO, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA DOMINGUEZ, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA FELICIANO, HELGA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA FIGUEROA, HELEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA GARCIA, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5993 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 994 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


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CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
ROVIRA GARCIA, TEODORO R           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA HERNANDEZ, LYSIE M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA HERNANDEZ, LYSIE M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA MCCORMICK, RICARDO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA NAZARIO, JUAN A.            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA OLIVERAS, ALAN E            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA OLIVERAS, NILDA I           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA OLIVERAS, NILDA I.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA OLIVERAS, NOEL A            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA RIVERA, ELIZABETH           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA RIVERA, ELIZABETH           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA RODRIGUEZ, EVELYN S         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA RODRIGUEZ, JOAN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA RODRIGUEZ, VILMA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA RULLAN, JOSE F              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA SANTIAGO, GRETCHEN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA SANTIAGO, MAIA DE LA PAZ    REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA SANTIAGO, MARIA DE LA PAZ   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA SOLER, ZULMA                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA SOTO, JULIA B.              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA SOTO, JULIA B.              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA TIRADO, RICARDO             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA TORO, JENNIFER M            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA VARGAS, SANDRA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA VILAR, LYDIA B              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA ZUAREZ, MARIA DE LOS A.     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROVIRA, MARIA DE LOS A.            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROZADA SEIN, ELIZABETH             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROZADA SEIN, MARIA                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROZADA SEIN, MARIA C               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROZADA SEIN, MIRIAM                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROZADA SEIN, WANDA I               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROZARIO DUPREY, GEORGE L.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROZAS ORTEGA, JAVIER J             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROZAS ORTEGA, LIRIMAR              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROZO CAICEDO, LILIANA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROZO MONTALVO, EYLA L.             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROZO MONTALVO, EYLA L.             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROZO MONTALVO, ZAHILYN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROZO ORTEGA, DANIEL                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ROZO ORTEGA, VANESSA ZORAYA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RQBLES PACHECO, LOIDY A            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RQDRIGUEZ CARABALLO, EDITH M       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RQDRIGUEZ DELGADO, LIZ B           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RQDRIGUEZ MONTIJO, ANGEL M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RRIVERA DE JESUS, DORIMAR          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RTIZ DIAZ, WIL J                   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RUA DE MAURE, MILTON               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RUA JOVET, JAVIER                  REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 5994 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUAQO TARAZA, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBEL ALGARROBO, RAQUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERO ALVARADO, WILSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERO APONTE, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERO CENTENO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERO JIMENEZ, LIZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERO JIMENEZ, NORIS I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERO LOPEZ, ZURIEL I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERO PADILLA, LESLIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERO RIVERA, ANA B.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERO RIVERA, MYRNA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERO SANTIAGO, ELIA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERO SANTIAGO, SYLVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERO TORRES, EILEEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERO TORRES, EILEEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT ALBIZU, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT ALFONSO, MURPHY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT BURGOS, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT CRUZ, ENELIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT DEL VALLE, SHEILA V.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT FIGUEROA, CARIDAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT FIGUEROA, LYDIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT GARCIA, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT GARCIA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT GONZALES, CARMEN N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT GONZALEZ, ISAIAS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT GONZALEZ, LYANNE JOYCE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT LOPEZ, SANTOS L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT MELENDEZ, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT PACHECO, CARMEN N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT RAMIREZ, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT REYES, DALISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT RODRIGUEZ, EULALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT RODRIGUEZ, ISAIAS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT RODRIGUEZ, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT SOTO, ANATILDE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT TORRES, VIRGEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERT VAZQUEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE ALICEA, MARIETINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE AVILES, PRINCIPE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE CANCEL, ALEJANDRINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE CINTRON, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE CINTRON, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE COLONDRES, MELANIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE DE JESUS, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE ESTRADA, DALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE ESTRADA, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE ESTRADA, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE GRACIA, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5995 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 996 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUBERTE LEBRON, JUAN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE MALDONADO, GUSTAVO J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE MALDONADO, KARINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE PACHECO, JOSE F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE RAMIREZ, BRENDA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE RAMIREZ, JULIO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE RAMIREZ, SANDRA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE RAMOS, DOLORES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE RODRIGUEZ, ELIZABETH    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE RUIZ, NELAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE SANTIAGO, JOSE R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE SANTIAGO, MIRNA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE TORRES, ZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE TORRES, ZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE TORRES, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE VAZQUEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTE VAZQUEZ, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBERTO SERRANO, JORANNIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBI IGLESIAS, PETER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBILDO CANCEL, CARLA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBILDO ROSA, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBILDO ROSA, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBILDO ROSA, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIN RAMIREZ, WALTER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO ACEVEDO, MARIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO BARRETO, SILDA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO CANCELA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO CHAVEZ, JOSUE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO COLLAZO, MARIA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO COLON, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO COLON, CARMEN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO CORDERO, DINORAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO CRUZ, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO DEL RIO, SUSANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO DURAND, HEROILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO FERNANDEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO FERNANDEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO GASCOT, ROBERTO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO GONZALEZ, JULIO E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO HERNANDEZ, CORAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO JIMENEZ, DAGMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO LAGO, NYDIA R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO LEON, JOSE M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO LOPEZ, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO MARRERO, EVA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO MARRERO, LYDIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO MARRERO, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO MAURA, RAMON L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO MEDINA, ENEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 997 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUBIO MEDINA, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO MENA, BRENDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO MENA, BRENDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO MENA, LUIS A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO MENA, LUIS A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO NATER, ANGEL O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO NEGRON, ALICIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO NEGRON, IRVING            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO PACHECO, ALDEMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO PAREDES, SERGIO O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO QUINONES, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO RAMIREZ, DORAIMA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO RAMIREZ, DORAIMA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO RAMIREZ, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO RAMOS, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO RIVARE, ANGEL G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO RIVERA, FLOR S.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO RODRIGUEZ, LIZBETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO RODRIGUEZ, OLGA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO RODRIGUEZ, RICARDO A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO ROLON, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO ROMAN, MAYRA Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIO SANTIAGO, ANA H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUBIOVELAZQUEZ, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUCCI GARCIA, JULIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUCCI HERNANDEZ, TAIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUCCI SERRA, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUCCI SERRA, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUDDICK, KATHERINE S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUDDICK‐SHANNON MELENDEZ,       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
MAXWELL A.
RUDGERS WATTS, VICKY            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUDON URBINA, MARTIN            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUEDA ANGUITA, DOLORES          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUEDA ARENAS, CARLOS E.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUEDA FIGUEROA, KARLA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUEDA FIGUERQA, KARLA S         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUEDA LEON, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUEMMELE VALLECI, FREDERICK     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUFAT GARCIA, YANINA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUFFALO ROMAN, NATASHA M        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUFFALO ROMAN, NICHOLAS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUFFALO, MICHAEL V.             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUFFAT DELGADO, MARY I          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUFFAT OQUENDO, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUFFAT PASTORIZA, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUFO AYALA, LIZMARIE            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUFO VALLE, ANGEL J             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUHLMAN MOYA, EDILKA L          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5997 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 998 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RUHLMAN ORTIZ, JEILA O           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUHLMAN ORTIZ, JEILA O.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUHLMAN ORTIZ, JINA H            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIS MOLINA, SHEILY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIS QUILES, RAISA M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIS RIVERA, CARLOS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUISANCHEZ ALDRICH, MAGIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUISANCHEZ VAZQUEZ, ALBERTO M.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUISANCHEZ VAZQUEZ, ALBERTO M.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUISANCHEZ VAZQUEZ, EDGARDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUISANCHEZ VAZQUEZ, EDUARDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, AIDA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, AIXA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, AIXA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, ALEJANDRO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, ALEJANDRO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, ALEJANDRO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, ALEJANDRO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, ANA I              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, ARSENIO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, CARMEN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, CARMEN E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, DELVIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, HELMA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, HERIBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, HERMINIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, ILIANETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, JESUS R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, JUAN C             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, JUAN C             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, JUAN D             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, LUIS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, MARIBEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, MARITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, MARITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, NATHANAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, NORAIDA A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, NORAIDA A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, OLGA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, RAFAEL A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, RAFAEL A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, ROSA E             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACEVEDO, WANDA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACOSTA, DAMARIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACOSTA, LIZANDRA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACOSTA, YAJAIRA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACUNA, BARBARA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ACUNA, CYNTHIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ADAMES, ALEXIS J.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 5998 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 999 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ ADORNO, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ADORNO, MIGUEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ADROVER, ARELIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ADROVER, ARELIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ADROVER, MARIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ADROVER, NORBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AGOSTO, ELIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AGRONT, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AGUILAR, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AGUILAR, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AGUILAR, SONIA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AGUIRRE, IRLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AGUIRRE, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AHORRIO, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AHORRIO, YELITZA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALAGO, NIVIA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALAMO, GLORIMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALAYON, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALBARRAN, DULCE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALBARRAN, DULCE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALBARRAN, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALBARRAN, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALBEZ, JOSE L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALBINO, ANA C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALCON, MANUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALDARONDO, MARIA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALEMAN, NORMA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALERS, EMANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALFARO, FRANCES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALFARO, PEDRO J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALGARIN, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALGEA, DAHLIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALICEA, ARODI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALICEA, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALICEA, IRVIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALICEA, ISMAEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALICEA, JENNIFER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALICEA, JOANNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALICEA, JOANNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALICEA, JOSELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALICEA, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALICEA, MARCELO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALICEA, MARIA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALICEA, RUTH               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALICEA, RUTH D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALICEA, YAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALICEA, YENITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALMODOVAR, ROSA H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALONSO, JOAQUIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 5999 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1000 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ ALONSO, JOAQUIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALVARADO, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALVARADO, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALVARADO, SYLVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALVAREZ, ADALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALVAREZ, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALVAREZ, IRIS N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALVAREZ, JOSE E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALVAREZ, JOSEFA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALVAREZ, LORELL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALVAREZ, MARIA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALVAREZ, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALVERIO, ELEAZAR A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALVERIO, SYLVIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ALVERIO, YOLANDELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AMARO, EDDIE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AMARO, RUTH                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AMARO, SANDRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ANCIANI, AIDA IRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ANDALUZ, NABYA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ANDINO, CARMEN J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ANDINO, ISABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ANDINO, LOURDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ANDINO, WILMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ANDRADES, MAGDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ANDUJAR, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ANDUJAR, WILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ANDUJAR, WILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ANDUJAR, WILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ANGULO, TAMARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ANTONETTY, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ANTONETY, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ APONTE, ALIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ APONTE, AUREA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ APONTE, AUREA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ APONTE, FRANCISCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ APONTE, FRANCISCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ APONTE, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ APONTE, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ APONTE, IRIS N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ APONTE, LOURDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ APONTE, LOURDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ APONTE, MARIA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ APONTE, MARTHA Y.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ APONTE, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ APONTE, NANCY M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ APONTE, RAQUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ APONTE, ZALESKIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AQUINO, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6000 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1001 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ AQUINO, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARBELO, LILLIAM M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARCE, MARIELA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARCE, SONIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARCE, SONIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARCHILLA, IRAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARIZMENDI, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARIZMENDI, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AROCHO, MERCEDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AROYO, EULALIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARRIETA, CHRISTIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARRIETA, NASHAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARROYO, ALMA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARROYO, ANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARROYO, ANA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARROYO, ANGELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARROYO, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARROYO, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARROYO, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARZOLA, LYDIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ARZOLA, MIGUELINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ASENCIO, AURELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ASENCIO, AURELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ASPRILLA, JUAN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ASTACIO, OSCAR J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AULET, ANGELES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AULET, CRUZ DEL ROSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AVILA, ARMANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AVILA, FRANCISCO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AVILES, ANA CELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AVILES, BENITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AVILES, BETHZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AVILES, CONFESORA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AVILES, HEILEEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AVILES, JOSE LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AVILES, LOURDES M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AVILES, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AVILES, MIRIAM D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AVILES, MIRIAM D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AVILES, MIRNA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AVILES, RUTH E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AVILES, ZAIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AVILES, ZAIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AYALA, ARISTIDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AYALA, DAISY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AYALA, DAISY E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AYALA, EUGENIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AYALA, JULISSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AYALA, KARLA V.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6001 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1002 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ AYALA, MARIA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AYALA, MARIA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AYALA, MIGUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AYALA, NORMA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AYALA, RAMON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AYALA, YANELL M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ AYALA, YESENIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BAEZ, MAGALY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BAGUE, ANA M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BAGUE, ANA M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BAGUE, ANA M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BAGUE, EVELY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BALDARRAMA, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BALDARRAMA, MARCOS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BARBOSA, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BARBOSA, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BARRETO, MONICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BARRIONUEVO, ISMAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BARROSO, ALEJANDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BARROSO, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BARROSO, GABRIEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BATISTA, LUIS D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BAYON, ANTHONY V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BECERRA, ADLIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BELEN, DAYANARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BELMONT, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BELMONT, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BELTRAN, EMMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BELTRAN, EMMA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BELTRAN, KATHLYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BENITEZ, HILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BERGANZO, AZUCENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BERMUDEZ, OSCAR LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BERNARD, IRIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BERRIOS, AIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BERRIOS, ARNALDO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BERRIOS, ARNALDO E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BERRIOS, BENITO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BERRIOS, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BERRIOS, ELIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BERRIOS, LUIGI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BERROCALES, ABIGAIL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BETANCES, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BETANCOURT, JAVIER I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BETANCOURT, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BEZAREZ, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BLAZQUEZ, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BONET, FREDDY Z            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BONET, ISRAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6002 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1003 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ BONET, JONATHAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BONET, JORGE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BONET, MILAGROS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BONET, NOEMI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BONET, WANDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BONET, WANDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BONILLA, ASTRID M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BONILLA, ASTRID M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BONILLA, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BONILLA, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BONILLA, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BONILLA, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BORGES, MARICARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BORGES, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BORGES, WILMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BORRAS, DEBORAH A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BORRAS, WALTER P.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BORRAS, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BORRERO, DIANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BORRERO, JOSE E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BORRERO, ZULLY A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BORRES, FRANCES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BORRES, FRANCES Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BOURDOIN, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BRITO, AMADA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BRITO, AMADA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BRUNO, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BUEHL, LYDIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BUEHL, LYDIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BULERIN, RENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BUNKER, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BUNKER, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BUNKER, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BURGOS, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BURGOS, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ BURGOS, SARA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CABAN, EFRAIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CABAN, JESUS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CABAN, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CABAN, JOSE L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CABAN, LIZ N               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CABAN, LIZ N               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CALES, JOSE J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CALES, JOYCE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CALIXTO, KORALYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CALIXTO, KORALYS D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CAMACHO, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CAMACHO, HARRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CAMACHO, HARRY H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6003 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1004 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ CAMACHO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CAMACHO, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CAMACHO, MARIA B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CAMACHO, REMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CAMACHO, ROSA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CAMARA, ELADIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CAMARA, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CAMARA, PEDRO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CANALES, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CANCEL, LIZMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CANDELARIA, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CANDELARIA, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CANDELARIA, JOSE LUIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CANDELARIA, LESLIE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CANDELARIA, LIZBETH M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CANDELARIO, NATALY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CANINO, FRANCHESKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CAPELLAN, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARABALLO, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARABALLO, AXEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARABALLO, AXEL J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARABALLO, CERMALIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARABALLO, FERDINAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARABALLO, GLENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARABALLO, GLENDA LEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARABALLO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARDONA, EDGAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARDONA, EDGAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARMONA, ILEANA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARO, HECTOR E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARRASQUILLO, MIGDALIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARRERO, EDNIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARRERO, JEANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARRION, VALERIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CARRION, VALERIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CASIANO, ADA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CASIANO, ADA N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CASIANO, AUREA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CASIANO, CORALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CASTILLO, GLORIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CASTILLO, IRMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CASTRO, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CASTRO, JAZMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CASTRO, JAZMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CASTRO, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CASTRO, LUIS M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CASTRO, LUZ E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CASTRO, MARIA DEL C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CASTRO, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6004 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1005 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ CASTRO, PEDRO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CEDENO, CARMEN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CENTENO, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CENTENO, ITAMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CENTENO, YAHAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CENTENO, YAHAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CHABRIEL, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CHABRIER, GLORIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CHABRIER, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CHACON, IRMA N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CHACON, STEPHANY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CHAMORRO, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CHAPA RRO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CHAPARRO, ELVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CHAPARRO, HECTOR OMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CHAPARRO, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CHAPARRO, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CHAPARRO, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CHICO, LUIS A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CINTRON, JUAN M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CINTRON, RUTH E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CINTRON, VALERIE N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CINTRON, ZENAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CINTRON, ZENAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CLASS, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CLASS, IRIS M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CLAUDIO, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CLAUDIO, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLLAZO, EDITH M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLLAZO, JOSE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLLAZO, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLLAZO, MILDRED I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, ANABEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, ANABEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, ANABEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, CARLOS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, CLARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, EMMANAIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, GONZALO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, IRIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, ISABEL C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, JANNETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, JUGEILY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, JULIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, LUIS A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, LUIS E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, MARIELIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6005 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1006 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ COLON, NOELIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, RAFAEL E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, RALPH               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, ROSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, SAMUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COLON, SULEIKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CONCEPCION, EDGAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CONCEPCION, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CONCEPCION, KARLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CONCEPCION, NEISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORDERO, AMARILYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORDERO, AMARILYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORDERO, AMARILYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORDERO, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORDERO, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORDERO, ILEANETTE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORDERO, IVAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORDERO, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORDERO, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORDERO, VIRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORREA, ANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORREA, EMILY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORREA, JOHNNY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORREA, MELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORREA, NAIRYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORREA, NINOSKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORREA, RAISA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORREA, SANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORREA, SANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORREA, WILBERT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORTES, CARLOS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORTES, GEREMIAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORTES, JESUS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORTES, LUCIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORTES, MAILYN Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORTES, MAILYN Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORTES, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORTES, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORTES, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORTES, RUBEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORTES, YELITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORTEZ, CARLOS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CORUJO, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COSTA, RUTH M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COSTA, SONIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COTTO, BRENDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COTTO, GRACE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COTTO, JAVIER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COTTO, MIGUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6006 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1007 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ COTTO, MIGUEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ COX, MARIA EUGENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRESPO, ANA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRESPO, CARMEN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRESPO, EDUARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRESPO, JUAN M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRESPO, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRESPO, RICARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRESPO, SOFIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRESPO, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, ALEYSA A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, ANA M                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, ANGEL L.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, CARLOS R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, DAMARIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, DELIANNETT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, DIANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, EDDIE J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, EDWIN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, EFRAIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, ELVIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, FREDDIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, IREISA S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, IVAN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, IVAN J               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, JAVIER               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, JEANNETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, JESSICA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, JESSICA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, JESUS M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, JESUS M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, JOSE MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, JUAN E.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, JUAN L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, LYNETTE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, MARCO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, MARIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, MARIA DEL CARMEN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, MARIA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, RAXEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, RUBEN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, URANIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, WANDA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, WILVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, YOLANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, YOLANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CRUZ, ZINDY M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CUADRADO, BENIGNO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CUADRADO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6007 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1008 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ CUEBAS, MARISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CUEVAS, AGUSTIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CUEVAS, AGUSTIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CUEVAS, ROSITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CUEVAS, TIANILYBET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CUMBA, GILBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CURBELO, YENITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CURBELO, YENITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CURET, AMILCAR M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ CURET, AMILCAR M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DARDER, VIVIAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DAVILA, CHRISTIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DAVILA, HEYDA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DAVILA, HEYDA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DAVILA, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DAVILA, LUZ P              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DAVILA, YADITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE ABREU, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE ALVAREZ, ELZIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE CANCEL, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE CHOUDENS, NAYDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE FARRAJ, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE FISCHLER, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE FONTANEZ, CRUZ M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE JESUS, CESLIE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE JESUS, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE JESUS, ERIK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE JESUS, ERIK J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE JESUS, ERIK J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE JESUS, ESTEBAN NOEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE JESUS, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE JESUS, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE JESUS, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE JESUS, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE JESUS, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE JESUS, MARIA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE JESUS, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE JESUS, PEDRO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE JESUS, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE JESUS, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE LA CRUZ, IRIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE LA CRUZ, MIRNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE LA CRUZ, MYRNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE LA CRUZ, MYRNA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE LA TORRE, LUZ N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE LA TORRE, LUZ N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE LA TORRE, MINERVA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE LA TORRES, NEREIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE LOPEZ, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6008 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1009 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RUIZ DE LOS SANTOS, MAURA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE PORRA ORTIZ, DEBORAH     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE PORRAS GONZALEZ, BRUNO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DE RIVERA, MARIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DEIDA, MARIA A              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DEIDA, NANCY E              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DEIDA, NANCY E              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DEL PILAR, BLANCA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DEL PILAR, LIZANDRA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DEL PILAR, MARTA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DEL TORO, MARTIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DEL VALLE, CARMEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DEL VALLE, GLORIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DEL VALLE, GLORIA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DEL VALLE, LUIS R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DEL VALLE, SERAPIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DELBREY, RICARDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DELGADO, JADITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DELGADO, JEANNETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DELGADO, MIGDALIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DELGADO, MIGDALIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DELGADO, MIGUEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DELGADO, PEDRO              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DELGADO, RICARDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DELIZ, FRANCES A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DENIZARD, MICHELLE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DESARDEN, CARMEN N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DESARDEN, WILLIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DEYA, JUAN                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DEYA, JUAN C                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAS, DAGMAR C.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, ANGEL L.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, ANGELINA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, CARLOS                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, CARMEN MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, CARMEN MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, CASANDRA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, EDWIN                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, FELIPE I              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, FELIX A.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, IRMA                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, IRMA B                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, IVELISSE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, IVONNE                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, MADELYN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, MARIBEL               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, MELVIN M.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, MILAGROS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, MYRNA L               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6009 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1010 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ DIAZ, NORMA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, REYNALDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, ROSA M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, SULEIKA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, SYLKIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, WILLIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DIAZ, WILLIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DOMENECH, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DONATE, ASTRID E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DONATE, CECILIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DONES, JUSTINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DUCLOS, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DUCLOS, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ DURAN, CARLOS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ECHEVARRIA, HERIBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ECHEVARRIA, INES B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ECHEVARRIA, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ELIAS, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ELIAS, LUIS F              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ELIAS, MADELINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ELIAS, MADELINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ELLIS, AIXA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ESCOBAR, MARIA DEL R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ESCUDERO, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ESPINOSA, ADA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ESTEVES, DAISY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ESTEVES, GRISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ESTRADA, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ESTRADA, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ EXCLUSA, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ EXCLUSA, MYRNA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FEBLES, CAMILLE JOAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, BETHZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, BRENDA LEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, ELIAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, FLOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, GLENDA D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, HARRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, JASON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, JULEISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, LUISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, REYNALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, SABELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELICIANO, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6010 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1011 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ FELICIANO, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FELIX, SYLVIA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FENEQUE, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FERNANDEZ, ASDRUVAL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FERNANDEZ, CIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FERNANDEZ, ETHEL G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FERNANDEZ, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FERNANDEZ, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FERNANDEZ, JACKELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FERNANDEZ, JAMYLET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FERNANDEZ, MONSITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FERNANDEZ, PABLO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FERNANDEZ, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FERNANDEZ, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FERNANDEZ, TOMMY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, ALEXANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, ANGIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, ANGIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, BENJAMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, EMILIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, ERICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, JOSE E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, LEYDA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, MARTA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, MARTA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, MARTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, OMAYRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, ROSA ADLIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, RUBENIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, SILVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIGUEROA, SILVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FIRPO, EMILIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FLORES, CARLOS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FLORES, DEBBIE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FLORES, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FONTANET, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FONTANET, MERCEDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FONTANEZ, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FONTANEZ, JULIO O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FONTANEZ, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FONTANEZ, MARIA DE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6011 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1012 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ FONTANEZ, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FORTUNO, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FRANCO, MARTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FRANCO, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FRANQUI, ESTHER J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FRANQUI, NESTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FRATICELLI, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FREITES, QUETCY G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FREITES, QUETCY G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FREYTES, CARMEN D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FUENTES, ERICK N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FUENTES, GIAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FUENTES, GIAN CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FUENTES, GIAN CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FUENTES, GIANCARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ FUENTES, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GALARZA, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GALINDO, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GALLARDO, JUAN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GALLOZA, JUDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GALLOZA, LINNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GALLOZA, LINNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GANDARILLA, KARLA Z        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GANDIA, SONANGELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARAY, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCES, NAOMY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, ALICIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, AMARILIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, ANGELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, BETSY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, CARMEN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, CARMEN D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, CESAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, GLORIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, HECTOR E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, IRIS Y             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, ISELA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, LYDIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, MONSERRATE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GARCIA, RUBEN D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GERENA, ANTONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GERENA, IVAN E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GERENA, NOEMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GIMENEZ, CHRISTINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, ANGEL M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, ANGEL M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6012 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1013 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ GOMEZ, BENITA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, EDGAR A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, EDWIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, ERNESTINO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, EVANGELISTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, EXPEDITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, HECTOR L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, INOCENCIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, IRIS Y              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, ISABEL C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, LETICIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, LUIS M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, VIVIAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, WILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, WILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOMEZ, YANNISE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, ABEL J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, AIDA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, ALFRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, ANDREA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, ANTONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, CAMELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, CARLITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, CARLITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, CARMEN J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, DOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, GRENDA LIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, HECTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, JOHANY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, JUAN D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, JUAN N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, KEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, LILLIAM J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, LILLIAM J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, LUIS G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, MANUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6013 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1014 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RUIZ GONZALEZ, MARIA F           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, MARIA O           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, MIGUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, MYRIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, NYLSA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, OCTAVIO A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, OLGA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, PEDRO E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, PEDRO E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, PETRA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, PETRA N           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, RICARDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, ROBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, ROSA LYDIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, ROSALYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, SHAKIRA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, SOL M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, VIVIAN E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, WANDA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, WANDA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GONZALEZ, WILLIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOTAY, ALEXANDRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOYCO, DORIS B              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GOYCO, EVELYN A.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GRAFALS, ADOLFO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GUADALUPE, ADRIANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GUADARRAMA, LOIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GUERRA, JETZBEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GUERRERO, LIJIANG M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GUERRERO, LIJIANG M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GUERRIDO, YAZMIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GUTIERREZ, CHARLIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GUTIERREZ, LESLIE A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GUTIERREZ, LESLIE ANNETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GUZMAN, ANGEL               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GUZMAN, CARMEN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GUZMAN, JAIME J             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GUZMAN, MAGALI              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ GUZMAN, MYRNA I.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HASSELMYER, MARTA Y         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, ALBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, AMARILIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, ARLENE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, BEYDA O          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, BRENDA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, CARLOS E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, CARMEN L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, CARMEN M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, CARMEN M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6014 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1015 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ HERNANDEZ, CHARLIE J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, EUFEMIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, GABRIEL G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, GISELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, GISELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, HECTOR M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, HERMELINDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, JUAN B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, MIGUEL ANGEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, MIRTA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, MOISES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, MYRNA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, NILSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, NILSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, OLGA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, ROSALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, ROSALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, ROSEMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, SANDRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, SYLVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, VIMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, YASMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERNANDEZ, ZULEIKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HERRERA, MILKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HEYLIGER, ESTHER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HIRALDO, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HIRALDO, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HIRALDO, VALERIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HORTA, LEONOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HUERTAS, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HUERTAS, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HUERTAS, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HUERTAS, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HUERTAS, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ HUERTAS, ZORAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ IRIZARR Y, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ IRIZARRY, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ IRIZARRY, FELIX A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ IRIZARRY, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ IRIZARRY, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ IRIZARRY, JANICE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ IRIZARRY, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6015 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1016 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ IRIZARRY, KATYUSKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ IRIZARRY, LEOPOLDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ IRIZARRY, LEOPORDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ IRIZARRY, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ IRIZARRY, NILDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ IRIZARRY, PABLO A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ IRIZARRY, YULIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ISENBERG, ARLENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ITHIER, CRIMILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ITHIER, LUCILA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JAIMAN, BRIGITTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JIMENEZ, CARLOS J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JIMENEZ, CARMEN MARIBEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JIMENEZ, CORALYS MARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JIMENEZ, DORCAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JIMENEZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JIMENEZ, FELICITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JIMENEZ, IZANELYA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JIMENEZ, LYDIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JIMENEZ, MARTHA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JIMENEZ, NELLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JIMENEZ, POLICARPIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JIMENEZ, RAMON A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JIMENEZ, RAMON O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JIMENEZ, RAYMOND           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JIMENEZ, RUBDALIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JIMENEZ, VALERIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JUSTINIANO, ANA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ JUSTINIANO, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ KUILAN, GLORIA ESTHER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LABOY, ANGEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LABOY, DAMARIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LABOY, FRANCISCO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LABOY, KAREM M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LABOY, ZORAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LAGUNA, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LAMOURT, HECTOR J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LAMOURT, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LASALLE, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LASALLE, JUAN A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LAUREANO, DAISY R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LEBRON, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LEBRON, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LEBRON, MARIA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LEBRON, NANCY I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LEDEE, UZZIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LEON, JENNIFER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LEON, LOURIE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LEON, PEDRO I.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6016 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1017 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ LEONG, DANIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LISBOA, OMAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LLANEZA, EMMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LLANEZA, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, AIDA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, AMARILIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, ANGEL L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, ANGEL L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, ARNALDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, BENJAMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, CARMELO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, CHARLEEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, DAMARYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, DAMARYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, DEBORAH L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, EDWIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, ENID                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, HERIBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, HERIBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, ISMAEL J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, JESSICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, JOSE L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, JOSHUA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, JOSHUA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, JUAN J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, JUAN JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, LUZ N               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, MARANGELI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, MARGARITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, MARIA V.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, MARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, MIGDA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, MIGUEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, MIREYA DEL P        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, NELSON R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, NEREIDA B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, OBED                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, PERCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, QUETSY D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, ROLANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, ROLANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, ROSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, SONIA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6017 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1018 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ LOPEZ, TAMAR N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, TUANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, WANDA ZOE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, WANDA ZOE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, WILMER D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, YOSLABIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOPEZ, YOSLABIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LORENZO, DAYANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LORENZO, FRANCHESCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LORENZO, FRANCISCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LORENZO, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LORENZO, YAMIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LORENZO, YAMIL G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOZADA, CARMEN G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOZADA, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LOZANO, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUCENA, MARIANO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUCENA, VIVIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUCIANO, DORKAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUCIANO, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUCIANO, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUCIANO, NILDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUCIANO, NILDA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUGO, CARLOS D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUGO, CARLOS E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUGO, CYNTHIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUGO, EVELYN I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUGO, HILDANI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUGO, KARLA C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUGO, LEISMA S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUGO, LUZELIX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUGO, NILDA I.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUGO, ORLANDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUGO, RAMON L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUGO, WILLIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ LUNA, CHRISTIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MADERA, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MADERA, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MADERA, JOSE LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MADERA, NERYLIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MAGUAL, JULIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MALAVE, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MALAVE, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MALDONADO, DAEMELIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MALDONADO, EDITH E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MALDONADO, EDITH E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MALDONADO, ELVING          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MALDONADO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MALDONADO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6018 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1019 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ MALDONADO, KATHIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MALDONADO, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MALDONADO, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MALDONADO, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MALDONADO, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MANGUAL, ALBA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MANGUAL, ALBA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MANGUAL, JULIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MANZANO, FLOR M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARCANO, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARCANO, AURELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARCANO, AURELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARCIAL, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARCIAL, NANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARIN, EDGARD              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARQUEZ, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARQUEZ, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARQUEZ, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARQUEZ, KEVIN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARQUEZ, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARQUEZ, SANDRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARQUEZ, ZENAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARRERO, ANDY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARRERO, CARMELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARRERO, DORIS N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARRERO, HENRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARRERO, ROCHELLE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARRERO,ANDY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTEL, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, ANA F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, ANA F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, AYEISHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, AYEISHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, CHIRISEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, CORAIMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, ELENA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, HECTOR I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, ILIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, ILIA Z.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, JOEL R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, JULIO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, KELMY X          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, LUZ S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6019 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1020 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ MARTINEZ, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, MARILU           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, MIGUEL J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, NICOLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, NORBERTA R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, RAMIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, RAMON A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, REYNALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, SUSANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, YADIRALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MARTINEZ, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MASSARY, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MASSARY, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MATIAS, GLORIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MATOS, CARMEN G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MATOS, CARMEN I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MATOS, LANAVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MATOS, NELIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MATTEI, SARAI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MAURAZ, SANTOS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MEDEROS, ISABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MEDINA, ALICEVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MEDINA, ARNALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MEDINA, GRACE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MEDINA, HELEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MEDINA, ISAURA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MEDINA, JAIME              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MEDINA, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MEDINA, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MEDINA, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MEDINA, NORMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MEDINA, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MELENDEZ, ABRAHAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MELENDEZ, ARNALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MELENDEZ, BRENDALISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MELENDEZ, CARMEN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MELENDEZ, EDGAR J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MELENDEZ, ELADIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MELENDEZ, HECTOR N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MELENDEZ, INGRIMER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MELENDEZ, INGRIMER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MELENDEZ, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MELENDEZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MELENDEZ, MARITZA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1021 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ MELENDEZ, NELLY A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MELENDEZ, NELLY A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MELENDEZ, RAMON L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDEZ, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDEZ, CARMEN N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDEZ, ELVING J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDEZ, EULOGIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDEZ, GILBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDEZ, JANETTE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDEZ, JOHNNY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDEZ, LEONIDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDEZ, LILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDEZ, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDEZ, MARIA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDEZ, MARIA JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDEZ, MARICARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDEZ, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDEZ, RICARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDEZ, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDOZA, BENJAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDOZA, BENJAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDOZA, CARMEN N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDOZA, FERNANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDOZA, IRAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDOZA, MELVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDOZA, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDOZA, MINERVA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDOZA, NILSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MENDOZA, ROSA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MERCADO, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MERCADO, CIRILO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MERCADO, EMMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MERCADO, HECTOR C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MERCADO, ISAAC             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MERCADO, LEMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MERCADO, LUZ M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MERCADO, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MERCADO, MARICELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MERCADO, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MERCADO, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MERCADO, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MERCED, FRANCIS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MERCED, RUTHBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MESTEY, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MESTRE, ADLEEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MESTRE, ADLEEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MESTRE, EDNA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MESTRE, FRANCISCO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MESTRE, FRANCISCO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6021 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1022 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ MIELES, JUAN C.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MILAN, IRIS M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MILLAN, AGAPITO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MILLAN, AWILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MILLAN, IRMA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MILLET, DELIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MIRANDA, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MIRANDA, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MIRANDA, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MIRANDA, DAISY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MIRANDA, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MIRANDA, JUAN A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MIRANDA, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MIRANDA, MARINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MIRANDA, MINERVA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MIRANDA, NIVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MIRANDA, VENTURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MOJICA, GLARISEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MOJICA, STEPHANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MOLINA, JOSE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MOLINA, MANUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MOLINA, MORAIMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MOLINA, SHEILY L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONGE, MARIA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONGE, ROSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONGE, ROSA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONTALVO, ELBA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONTALVO, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONTALVO, WALESCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONTALVO, WANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONTANEZ, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONTANEZ, ELSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONTANEZ, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONTANEZ, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONTANEZ, JACKELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONTANEZ, RAUL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONTANEZ, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONTANO, BLANCA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONTES, FEDERICO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONTES, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONTES, JOSE D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MONTES, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MORALES, CONRADO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MORALES, CORALY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MORALES, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MORALES, EDWIN O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MORALES, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MORALES, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MORALES, FLORA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6022 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1023 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ MORALES, FRANCES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MORALES, FRANCISCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MORALES, JESSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MORALES, JOSE F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MORALES, JUAN D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MORALES, MARIA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MORALES, MARIA DE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ MORALES, MARIA DE LOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ANGELES
RUIZ MORALES, MARIA T           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MORALES, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MORALES, OREALIZ           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MORALES, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MORALES, VIVIANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MORALES, WILMARYS          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MORALES, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MORALEZ, JOSE F            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MORAN, JESUS               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MORAN, LUIS ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MORAN, MARIA DE LOS A      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MORAN, MAYRA W             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MORELL, OLGA               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MOYA, MANUEL               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MRTINEZ, SUSANA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNIZ, ANTHONY             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNIZ, ARACELIS            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNIZ, ARACELIS            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNIZ, CARMEN D            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNIZ, DORIS N             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNIZ, ESAUD               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNIZ, GILDRED             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNIZ, KARINA D            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNIZ, MAYRA IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNIZ, RAUL                REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNIZ, RODNEY              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNIZ, WILFREDO            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNOZ, BERMICILIA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNOZ, JULIA               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNOZ, JULIA               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNOZ, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNOZ, MARIA D             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNOZ, OLGA                REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUNOZ, OLGA                REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUQIZ, DORIS N             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ MUQOZ, RAMONITA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ NATAL, DANIA N             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ NAVARRO, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ NAZARIO, CARLOS J          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
RUIZ NAZARIO, FELIX A           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6023 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1024 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ NEGRON, GLORIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NEGRON, MARIA O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NEGRON, ROLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NEGRON, SIDMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, ANICET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, CARMEN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, DASHIRA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, LAKEISHAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, LISANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, LISANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, MILTON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, NORBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, RAMONA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, RENE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NIEVES, ZASHELLIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NOEL, MIGUEL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NOGUERAS, ADONIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NOGUERAS, ELIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NOGUEZ, PAULA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NORIEGA, EDDIE N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NORIEGA, NANISHKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NUNEZ, HECTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ NUNEZ, MAGDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ O FARRIL, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OBANDO, CARLOS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OCASIO, DOUGLAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OCASIO, GREGORIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OCASIO, HELEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OCASIO, JOSE H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OCASIO, MARCELINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OCASIO, NILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OCASIO, ZENEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OLAVARRIA, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OLIVARES, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OLIVERO, JULIO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OLIVIERI, AIDA ESTHER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OLIVIERI, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OLIVO, ALEJANDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OLMEDA, CHRISTY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OLMEDA, KENIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OLMEDA, MICHAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OLMO, ALONDRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OLMO, LAYLANIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6024 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1025 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ OLMO, WILLIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OMAR, QUINONES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OQUENDO, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OQUENDO, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OQUENDO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORAMA, ALEXANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORAMA, SARA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORENGO, IRMA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORENGO, NOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORENGO, RUBEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORENGO, SANTIAGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORENS, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORONOZ, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORONOZ, JOSE F.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTA, MANUEL ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTEGA, CARMEN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTEGA, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, ADALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, AGUSTIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, AIXSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, AIXSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, ANGEL D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, ARQUIMEDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, CARLOS R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, CARMEN B.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, EDWIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, GIL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, GLORIBELL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, HENDRYCK            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, JESUS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, JOSE HIRAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, LARISSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, LUIS B              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, MAGDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, MAGDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, MARCEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, MARCEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, MARCEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, MARCOS ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, MARCOS I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, MARIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, MARISOL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, MIGUEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, NAZARIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, NELIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ORTIZ, SALVADOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6025 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1026 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ ORTIZ, SOCORRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OTERO, CARMEN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OTERO, DENNISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OTERO, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OTERO, LILLY S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OTERO, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OTERO, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OTERO, MARIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OTERO, NELSON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ OTERO, ROSECELLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PABON, ANGEL L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PABON, JOSE C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PABON, MIRTELINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PACHAS, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PACHECO, LUIS B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PACHECO, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PACHECO, LYNETTE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PACHECO, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PACHECO, NORMA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PACHECO, NYDIA G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PACHECO, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PACHECO, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PADILLA, DAMARYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PADILLA, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PADILLA, JANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PADUA, EILLEN G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PAGAN, JAVIER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PAGAN, JOSE L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PAGAN, KHAIRY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PAGAN, LIZZIE J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PAGAN, MAYRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PASCASIO, MELANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PASCASIO, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PASTRANA, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PELLOT, LUZ N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PENA, IRENE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PENA, MADELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PENA, MARIA N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PENA, NAHOMI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREIRA, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREIRA, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, ALEXIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, ANA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, ANA A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, ANGEL L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, AUREA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, BLANCA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, CARMEN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, CARMEN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6026 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1027 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ PEREZ, CELIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, CINIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, CINIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, DAMARIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, EILEEN M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, EMILIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, EMILIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, ERIC                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, FREDYSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, GENESIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, GLADYS I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, HILDA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, IVAN A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, IVELISSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, JOHNNY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, JOSE E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, JOSE I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, JUDITH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, JULIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, LUIS JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, LUZ E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, MANUEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, MARGIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, MARIA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, NATIVIDAD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, NERIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, NORMA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, OBED                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, PURA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, RAMON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, ROSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, ROSA A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, ROSA DEL C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, SIGFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, VILMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, VIVIAN E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, WALTER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ, WILMARY NICOLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PEREZ,JOHNNY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PESANTE, ALEXANDRA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PESANTE, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PESANTE, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PIERLUISSI, YLENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PIERLUISSI, YLENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PINA, CARMEN ESTRELLA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PINED, MARGARITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PINEDA, EDUARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6027 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1028 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ PINEIRO, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PINEIRO, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PINEIRO, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PINEIRO, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PINEYRO, FRANCIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PLACIDO, BETSY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PLACIDO, BETSY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PLAZA, JO ANN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ POLA, LUIS A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PONCE, CARMEN L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PRADO, ORLENA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ PUJOLS, WANDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUESTELL, ANGEL J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUESTELL, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUILES, ALEJANDRINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUILES, BEATRIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUILES, BEATRIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUILES, HERMES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUILES, JESICA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUILES, LUIS D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUILES, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUILES, MIRELYS N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUINONES, ELISMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUINONES, JOSE ALBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUINONES, LUZ S.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUINONES, MARGIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUINONES, MARIA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUINONES, TANIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUINONEZ, ELIEZER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUINONEZ, ESPERANZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUINONEZ, OSBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUINTANA, ILSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUINTANA, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUINTANA, MERCEDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUINTANA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUINTERO, NARCISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ QUIROS, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, ASTRID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, CYNTHIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, FRANCIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, HECTOR DAVID      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, JANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, JESSICA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, LEYSHA S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, LEYSHAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, LUIS G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6028 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1029 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ RAMIREZ, MARIA DE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, MYRNA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, NYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, NYDIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMIREZ, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, ARCADIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, CARMEN J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, CARMEN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, DARWIN N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, DIANA G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, ENRIQUE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, ERICA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, ERICA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, GLORIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, IVAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, IVAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, JOSE F              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, LILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, LUZ E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, LUZ M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, MARIA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, MEDALLINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, NEREIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, NEREIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, NICKY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, OSCAR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, REINALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, RENE H              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, SAMUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, SYLKIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAMOS, ZENAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RAPALE, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RENTA, JOSE A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RESTO, HILDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ REYES, AMARILIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ REYES, ARACELIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ REYES, CHRISTIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ REYES, DIMANDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ REYES, EMMANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ REYES, KARENLY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ REYES, MARISA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ REYES, MELVIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ REYES, MELVIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ REYES, MILDRED             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6029 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1030 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ REYES, RAFAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ REYES, RICARDO R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ REYES, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ REYES, VERONICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, ALFREDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, ESPERANZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, ESPERANZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, FRANCISCOJ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, GLADYS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, IRIS Y               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, IRNELIZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, IRNELIZ L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, JOANIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, JOSE A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, JOSE R.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, JOSUE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, JUAN MARCELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, KENNETH OMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, MARIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, ORLANDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, PAOLA P              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, PEDRO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, PRISCILLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, ROBERTO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, WILFREDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, WILLIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIOS, YARA L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVAS, ANNELISE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVAS, ANNELISE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVAS, JOHNNY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVAS, JOHNNY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, ANDRES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, ANGEL M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, ARIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, ARTURO R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, AUREA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, CARLOS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, CARMEN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, CARMEN P           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, CATALINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, CINDIE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, CLEMENTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, CRISTINO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6030 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1031 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ RIVERA, DAISY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, DIANE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, EDUARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, EDUARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, ELOY A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, ESTHER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, FRANSHESKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, INGRID Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, INGRID Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, IRIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, IRIS E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, IRVIN G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, ISMAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, ISMAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, IVETTE Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, IVONNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, JOAN M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, JORGE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, JOSE D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, JOSE D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, JUAN R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, JUANITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, JUANITS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, KAREN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, LILIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, LIZ MARIELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, LUIS F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, LUIS G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, LYDIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, LYLMISETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, LYNNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, LYNNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, MADELINE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, MAGALY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, MAGALY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, MANUEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, MARA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, MARIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, MARTINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, MELISSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, MERCEDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6031 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1032 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ RIVERA, MICHELLE O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, MINAYCA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, MIOSOTIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, NEFLIBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, NILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, RAMON R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, RAMONA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, RAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, RAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, RAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, RAYMOND            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, REIMY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, ROSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, ROSA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, ROSA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, RUPERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, SHARON E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, SILVIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, SILVIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, SYLVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, VICTOR J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, VICTOR M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, VIRNA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, WALDEMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, WETSY JANICE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, XIOMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RIVERA, YADHIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROBLES, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROBLES, LIZZETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUE, ANGELIT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ADA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, AMANTINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ANABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ANAIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ANDRES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ANDRES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ANGELITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ASLENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ASLENE T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6032 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1033 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ RODRIGUEZ, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, CARMEN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, CARMEN M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, CLOTILDE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, DAYLINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, DAYLINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, DORCAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, EDGARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ELADIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ELBA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ELEAZAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ENID DEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ENID DEL P      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ERIC J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ERNESTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, FELICITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, FERNANDO A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, FRANCHESKA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, FREDDIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, GENOVEVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, GILBERT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, GIOVANNI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, GUILLERMINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, HILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, HILDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, HIRAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, JEAN P          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, JEDDAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, JEDDAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, JOANN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, JOEL E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, JOHNNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, JOHNNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, JOMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6033 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1034 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ RODRIGUEZ, JOMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, JOMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, JUAN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, KATHY M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, LEIDA J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, LIZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, LUZ I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, MARCELINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, MARIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, MARIRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, MARNIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, MARNIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, MATILDE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, MERVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, MYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, MYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, NATALIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, OLGA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, PETRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, RADAMES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ROMAN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ROMAN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, ROSARIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, SACHA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, SASHIRA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, SILVIE D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, SYLVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, VALENTIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, VALERIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, VANESSA Z       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, VERONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, VERONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, YAHAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, YAMIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, YEIDYMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RODRIGUEZ,PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6034 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1035 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ ROJAS, BERNNY J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROJAS, ENRIQUE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROJAS, LYDIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROJAS, LYDIA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROLDAN, JUANITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROLDAN, JUANITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROLDON, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROLON, JOSE J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROMAN, ALEXIS G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROMAN, ANGELA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROMAN, DERRICK N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROMAN, EDWIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROMAN, GISELLE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROMAN, GISELLE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROMAN, GRACIELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROMAN, JOHAIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROMAN, JORGE E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROMAN, JUAN B              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROMAN, RAFAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROMAN, ROBERT              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROMAN, ROSA ELENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROMERO, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROMERO, OBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROMERO, OSCAR I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROQUE, ALBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROQUE, ROSA A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSA, ARIANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSA, ARIANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSA, CARLOS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSA, DANNY D.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSA, DOMINGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSA, MIRIAM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSADO, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSADO, ANGEL G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSADO, BENJAMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSADO, BRUNILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSADO, BRUNILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSADO, CARMEN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSADO, IDA R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSADO, ISABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSADO, LESTER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSADO, LINDA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSADO, LYDIA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSADO, MARCOS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSADO, NORMA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSADO, SANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSADO, SANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSADO, YARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSARIO, ANGELICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6035 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1036 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ ROSARIO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSARIO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSARIO, ELSIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSARIO, ERLIN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSARIO, IRIS L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSARIO, JUAN B.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSARIO, KIOMARYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSARIO, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSARIO, MEILYN ZOE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSARIO, MIGELDARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSARIO, NATIVIDAD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSARIO, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSARIO, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSARIO, ZULMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ROSSY, YAIDALIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, ALTITA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, ANA M                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, ANTONIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, ASUNCION             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, CARLOS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, CAROL J.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, DAMARIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, DAMARIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, DENISSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, ELSIE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, EMILIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, ENEIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, ENEIDA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, EVELIO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, FRANCISCA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, FRANCISCO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, GLADYS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, HECTOR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, IVETTE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, JAIMIE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, JOSE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, JOSE A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, JOSE A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, JOSE RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, JOSSIE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, KEILA Y              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, LUIS F               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, MARTA I.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, MORAIMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, NAOMY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, NELSON I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, NILDA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, NOEMI                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, OSCAR A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6036 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1037 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ RUIZ, RAYMI                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, RONNIE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, WESLY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, WILSON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUIZ, YANIRA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ RUPERTO, ROSALINDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SALAZAR, NOEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SALDANA, CIDNEY M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SALERNA, ELIEZER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANABRIA, MAGALYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, ANESHLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, ANGELICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, BRAULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, CARLOS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, EDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, EVALEXA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, HERMINIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, IDALIS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, ISIDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, JESUS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, MONICA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, NEREIDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, NILSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, PEDRO G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, VENTURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANCHEZ, YOLANDA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANOGUET, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANOGUET, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTALIZ, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTANA, ANGELICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTANA, ANGELICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTANA, DAI R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTANA, EDISON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTANA, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTANA, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTANA, NORBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTANA, REINALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTANA, RUBY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTANA, RUBY A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, ADRIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RUIZ SANTIAGO, ANGEL L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, ANNETTE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, BENJAMIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, CECILIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, CELIS BETHZAIDA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, DAVID             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, EDNIRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, EDWIN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, EDWIN R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, EVELINDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, EVELYN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, EVELYN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, GERARDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, GLADYS E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, GLENDA Y          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, HAYDEE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, HILDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, IRMA N            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, IVETTE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, IVETTE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, JONATHAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, JORGE L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, LESBIA I.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, LOURDES           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, MARIA V           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, MARISOL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, MARTHA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, MARYLINE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, MIGUEL A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, MILAGROS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, NEFTALI           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, NELSON            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, RAFAEL D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, REBECCA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, SILVINO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, TANIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, TANIA E.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, TATIANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, TERESITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTIAGO, YAIRANNETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTOS, CARLOS J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTOS, EDITH               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTOS, EDITH J             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTOS, EDMANUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTOS, GISELLY MARIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTOS, LAYSSA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SANTOS, MYRTA E             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1039 of 2285
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ SANTOS, RACHEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SARRAGA, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SEDA, XENIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SEGARRA, CARMEN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SEGARRA, ROLANDO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SEGUI, NOIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SENATI, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SENCION, JOHANNA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SEPULVEDA, MELISSA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SERRANO, AGUSTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SERRANO, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SERRANO, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SERRANO, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SERRANO, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SERRANO, IXIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SERRANO, JORGE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SERRANO, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SERRANO, KRYSTEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SERRANO, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SERRANO, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SIBERON, JOANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SIERRA, BELIMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SIERRA, BELIMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SIERRA, MARCOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SIERRA, MARIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SIERRA, ROSALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SIERRRA, RICARDO B.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SILVA, EDWARD              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SILVA, HIRAM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SILVA, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SILVA, JUAN C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SILVA, MARIBEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SILVA, MILAGROS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SISCO, VERONICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOLA, ISAAC                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOLA, ISAAC                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOLER, DANIEL A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOLER, DESIREE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOLER, DESIREE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOLER, GISELLE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOLER, KEVIN I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOLIS, MANUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOLTERO, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOLTERO, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOSA, BEATRIZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOSA, BEATRIZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOSA, DANIEL J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOSA, FELIPE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOSA, MARIA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ SOSA, STEPHANIE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, ALEXANDER A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, AMPARO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, ANGEL M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, ANNETTE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, BEATRIZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, CARLOS I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, EDUARDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, GLORIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, JEANETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, LINETTE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, MADELINE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, MARIA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, MARISOL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, MARISOL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, MARISOL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, MATEO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, MINERVA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, NELSON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, NILDELIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, OBDULIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, PAOLA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, PEDRO R.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, RENE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTO, RENE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTOMAYOR, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SOTOMAYOR, ZULMA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SUAREZ, AMAURY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SUAREZ, ANGEL J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SUAREZ, ANGEL M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SUAREZ, CLARISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SUAREZ, GLORIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SUAREZ, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ SUAREZ, LEYDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TALAVERA, JOAN V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TALAVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TALAVERA, LIZANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TALAVERA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TARDI, JULIA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TELESFORO, CLAUDIA Y.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TEXIDOR, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TIRADO, AGUEDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TIRADO, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TIRADO, ERMELINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TOLEDO, LUISA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TOLENTINO, YANIRE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TOLLINCHI, ABRAHAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TOLLINCHI, MILDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TOMASSINI, MIRTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6040 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1041 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ TOMASSINI, MIRTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORES, DANNY I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORO, ANNETTE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORO, ANNETTE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRADO, MYRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRENS, FRANK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ADA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, AGNES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, AIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, AIDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, AIXA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ALBA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ANA C.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ANTONIO O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, BETSY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, BRENDA LIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, BRYAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, CARMEN G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, CECILIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, CLARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, CLARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, CRUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, DAISY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, DAMARYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, DORA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, DORA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, EDNA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ELEUTERIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ELIMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ELISEO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ELISEO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ERIC               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ERICK              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, FELICITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, FELICITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, GELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, GELSON O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, GELSON O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, GLORIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, JOEL M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, JOSE G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6041 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1042 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ TORRES, JOSE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, KEIRY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, LEONIDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, MARIBELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, MARIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, MIBET              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, MIGDALIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, NEREIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, NICOLE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, NOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, NOEMI Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, OBEL L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, PEDRO A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ROCIO C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ROCIO C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ROSA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, RUBEN D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, SANDRA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, SONIA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, SONYA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, SONYLEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, YAMILETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, YARIBETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ZAHIRA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORRES, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TORREZ, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TQRRES, WILFRIDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TQRRES, WILFRIDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TRINTA, JACKELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TROCHE, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TRUJILLO, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TUBENS, PABLO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ TURELL, JO ANN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALARINO, CARLOS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALCARCEL, JOSE J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALENTIN, ANGELITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALENTIN, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALENTIN, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6042 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1043 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ VALENTIN, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALENTIN, HERMELINDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALENTIN, IDELFONSO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALENTIN, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALENTIN, MADELINE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALENTIN, MARIANE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALENTIN, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALENTIN, MIRIAM Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALENTIN, NICOLLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALENTIN, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALLE, GLORIA B.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALLE, GUSTAVO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALLE, RAMONITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALLE, ROSA E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VALLE, ROSA E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARELA, HILDA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, ALEXIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, CARLOS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, CARMELO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, LYDIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, MARIA DE J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, NILSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, RIGO H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, SUHEILLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, XACHA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, XACHA Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, ZAMARYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VARGAS, ZAMARYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, AIDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, ALEX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, BRIGITT‐ANN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, CARLOS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, CARLOS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, DELMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, DELMA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, DINA B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, DOLORES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, FRANCISCO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, ILEANETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, JORGE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, JUAN R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6043 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1044 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
RUIZ VAZQUEZ, KENIA MARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, LAURA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, MARITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, MILDRED            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, MILDRED            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, NANCY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, NELLY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, ROSA J             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, ROSA MARIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VAZQUEZ, VLADIMIR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, ALFONSO               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, ALICIA                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, ANTONIO               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, CARMEN                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, EDGARDO               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, EDGEEN                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, ELVING                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, GLORIA                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, IVAN R.               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, JOSE E.               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, JOSE M                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, LUIS                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, MARIA A               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, MARIA D               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, MARIA M.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, MARIBEL               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, MAYRA E               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, MILAGROS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, NILDA L               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, ROSA I                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, ROSENDA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, ROSENDA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, VICTOR A              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, VICTOR A              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGA, YOLANDA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VEGUILLA, EDWIN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELAZQUEZ, BEATRIZ          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELAZQUEZ, BEATRIZ          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELAZQUEZ, BENJAMIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELAZQUEZ, CARLOS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELAZQUEZ, CARMEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELAZQUEZ, EIDELMARI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELAZQUEZ, EIDELMARI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELAZQUEZ, JESSICA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELAZQUEZ, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELAZQUEZ, MARITZA E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELAZQUEZ, MILADYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELAZQUEZ, RUTH             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELAZQUEZ, WILMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6044 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1045 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ VELAZQUEZ, YELIXA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, AIXA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, ANA I.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, AURORA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, BLANCA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, DIANABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, DOLORES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, EDDIE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, ERNESTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, EVA A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, FRANCISCO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, IVELISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, JAIME               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, JONATHAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, LUZ M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, LUZ M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, MARGARITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, MARICELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, MARIO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, MARIO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, MARIO L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, MAYDIE C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, MAYRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, MISAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, NILDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, RAMONITA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, RAMONITA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, RUBEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, SAMANTHA N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELEZ, WILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VELLON, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VERAY, MAHARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VIDAL, ALIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VIDRO, BENJAMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VIENTOS, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VIERA, HECTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VILLALPANDO, OCTAVIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VILLANUEVA, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VILLANUEVA, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VILLANUEVA, CRISTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VILLANUEVA, CRISTINA M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VILLANUEVA, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VILLANUEVA, HERMITANIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VILLANUEVA, JEALENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VILLANUEVA, PABLO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VILLEGAS, SORGALIM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ VILLEGAS, SORGALIM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ WALKER, IRIS V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6045 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1046 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUIZ YANTIN, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ZAMBRANA, ARNALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ZAPATA, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ZAPATA, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ZAPATA, ISABELITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ZAPATA, MIRRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ ZAYAS, ANGEL L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, AGUSTIN                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, ALVIN                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, ANGELINA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, ARLEEN                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, CARMEN GISELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, CHRISTOPER A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, DAISY E                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, DOUGLAS                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, ELADIO                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, ELADIO                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, IRMA I                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, JOEL                      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, JOSE                      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, LUIS                      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, NELSON                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, OMAR                      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, PEDRO                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, ROSA M                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, SOLYMAR                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ, VILMA R                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ,HECTOR M.                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ,LEOPOLDO                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ,MIGUEL                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZBAEZ, GLORIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZCRESPO, RUBEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZGONZALEZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZGONZALEZ, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZHERNANDEZ, SYLVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZLOPEZ, PEDRO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZMENDEZ, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZMENDEZ, MARIA DEL C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZPIZARRO, CARMEN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZREYEZ, WILLIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZRIVERA, LESLIE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZ‐SALGADO, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUIZSANTIAGO, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN AGUADO, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN AGUADO, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN AGUADO, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN ALAGO, MARIBEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN ALCOVER, YARISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN ARCELAY, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6046 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1047 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
RULLAN ARLEQUIN, DENNIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN AYALA, TANIA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN BEAUCHAMP, LEZETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN BEAUCHAMP, LIZETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN BIDOT, MARIA DE LOS A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN BORRERO, JANICE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN CABRERA, YAIME M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN CABRERA, YAIME MILAGROS    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN CALCERRADA, ARLENE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN CALCERRADA, ARLENE DEL     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
PILAR
RULLAN CALCERRADA, LEANNETTTE A   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN CAPARROS, FRANCISCO J.     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN CARABALLO, SHEILA I.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN CARABALLO, WALDEMAR        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN COLON, DIANA B.            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN COLON, MARIA               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN COLONDRES, CELSA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN COLONDRES, EVELYN          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN CRUZ, CAROLINA             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN CRUZ, EGDIA                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN CRUZ, EGDIA                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN DE JESUS, MARIA A          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN DE JESUS, MARIA A          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN DIAZ, LILLIAN              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN FERRER, SASHA N            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN FIGUEROA, JUAN E           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN GALARZA, WILLIAM           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN GONZALEZ, JAIME            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN GONZALEZ, KIARA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN GONZALEZ, KIARA J.         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN GRAJALES, SARA R           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN GUZMAN, EDNA E.            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN HRYHORCZUK, JOHN           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN LABOY, JESSICA             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN MATOS, HECTOR J            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN MONTANEZ, JOSE R.          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN MONTANEZ, XHAVIERA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN MUNIZ, HERIBERTO           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN MUNIZ, WALDILLUDY          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN OTERO, JAY                 REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN OTERO, JAY                 REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN PENA, EMERITA              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN PENA, ERENIA               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN PENA, ERVIN                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN PENA, JUANITA              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN PENA, NORMA                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN PUJOLS, BETZAIDA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
RULLAN PUJOLS, BETZAIDA I         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6047 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1048 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RULLAN QUILES, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN RIOS, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN RIVERA, ERY JAYSIER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN RODRIGUEZ, ALICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN RODRIGUEZ, JAIME         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN RODRIGUEZ, JAIME J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN RODRIGUEZ, JAIME S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN ROMERO, TAIRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN RUIZ, NOEMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN RUIZ, SARA E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN SANTIAGO, CARMEN P       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN SANTIAGO, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN SANTIAGO, OSVALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN SANTIAGO, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN SEGARRA, DOLLY A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN SOTO, EDGARDO O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN TORRES, NIXZALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN TORRES, NIXZALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN VARELA, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN VARGAS, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN VAZQUEZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN VEGA, ALFONSO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN VERA, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN VERA, JUAN A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN VILANOVA, AMANDA S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN VILLANUEVA, LUIS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLAN, SANTIAGO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RULLON MASCARO, ANTONIO L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUMMEL ARILL, JOYCE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUNDLE GONZALEZ, RAYMOND E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUNDLE GONZALEZ, VALERIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO CARLOS, DAVID O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO FIGUEROA, OMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO FIGUEROA, OMAYRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO GONZALEZ, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO GONZALEZ, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO GUERRERO, EDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO IBARRONDO, JESSICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO MARTIN, VALERIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO MARTINEZ, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO MERCADO, LUCECITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO MERCADO, LUCECITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO MERCADO, LUCECITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO MUNIZ, ANGEL L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO MUNIZ, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO QUILES, BARTOLO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO QUILES, BARTOLO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO QUILES, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO QUINONEZ, ALEX O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6048 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1049 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUPERTO RIOS, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO RIVERA, ABIGAIL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO RIVERA, ABIGAIL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO RIVERA, DORCAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO RIVERA, LUIS E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO RODRIGUEZ, JESSICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO RODRIGUEZ, VANESSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO ROSADO, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO RUIZ, LUIS ALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO RUPERTO, BENITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO SANTIAGO, PAULA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO SOTO, ANA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO SOTO, ANA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO SOTO, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO SOTO, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO SOTO, WILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO SOTO, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO TORRES, LUIS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPERTO TORRES, OCTAVIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPIZA PEREZ, ALEXANDER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPIZA SANTIAGO, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPP SALNAVE, DAVID HOMER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUPP SALNAVE, DAVID HOMER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSCALLEDA CORTES, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSCALLEDA ESCOBAR, MARGELY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSCALLEDA GONZA, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSCALLEDA GONZALEZ, MARIA J.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSCALLEDA LEBRON, MARGARITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSCALLEDA LEBRON, MARGARITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSCALLEDA REYES, LIBERTAD I.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSK BONILLA, NICOLE N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE ACEVEDO, WALESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE BERRIOS, HECTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE CACHO, JESUS F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE CORDERO, NORCA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE DE LEO, MAYKA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE DE LEON, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE DE LEON, MAYKA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE GARCIA, ROSA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE GOMEZ, LIMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE GONZALEZ, MARIA DEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE HERNANDEZ, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE HERNANDEZ, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE MARRERO, AMBAR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE MARRERO, AYESHA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE MARRERO, EDMARIE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE MARRERO, GRACE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE MARTINEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE MARTINEZ, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6049 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1050 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
RUSSE MELENDEZ, GLENDALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE MELENDEZ, JUNMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE MELENDEZ, JUNMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE MIRANDA, AURA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE ORTIZ, FRANCES B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE ORTIZ, FRANCES B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE PEREZ, ANTONIO J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE RAMIREZ, DANIEL S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE RAMOS, CYNTHIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE RIVERA, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE RIVERA, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE RIVERA, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE ROBLES, MARY C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE SANTOS, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE TORRES, SYLVIA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE, ENIO                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSE, JOSE M.                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSELL, STEPHANIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSELLORAMA, ROBIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSI CASILLAS, GISELE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSI CASILLAS, JAVIER A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSI CASILLAS, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSI CRUZ, BIENVENIDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSI DILAN, RAMON A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSI DILAN, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSI HERNANDEZ, NOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSI SOLER, AIDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSI SOLER, CARMEN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSO CORREA, RACHEL M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSO CORREA, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUSSO RODRIGUEZ, MICHAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUTELL FERREIRO, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUTTELL COLON, SHEILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUTTELL FERREIRO, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUTZEN LOPEZ, CRISTINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUTZEN LOPEZ, ISABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUVIRA MELENDEZ, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUVIRA OCASIO, JULIETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUVIRA OCASIO, SORAYA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUZ FRANCO, JONATHAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUZ FRANCO, LIZ D.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUZ FRANCO, OMAR                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RUZ SOLANO, LOURDES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RYAN GUZMAN, MATILDE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RYAN LOPEZ, OLGA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RYAN MOJICA, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RYAN OCASIO, WILMA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RYBECK LOZADA, WAYNE G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RYES NIEVES, THAILY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6050 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 1051 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
RYFF BERREY, KYLE R.               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
RZADKOWSKI CHEVERE, RICHARD        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
S A N T O S C O R T E S, MARIA I   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SA TIAGO MALDONADO, MADELINE       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAADE ALVAREZ, MILAGROS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAADE FERRER, JOSE A.              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAANCHEZ SOTO, ROSA                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA BARRETO, JOSE R           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA BARRETO, ROLANDO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA BARRETO, ZORAIDA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA BRACERO, JACQUELINE       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA CABALLERO, JESUS          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA CALERO, HUGO              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA CALERO, ZENIA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA CALERO, ZENIA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA CARABALLO, LUIS           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA CHAVES, ANGEL L.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA CHAVES, ANGEL L.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA COSME, MICHELLE           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA CRUZ, ADRIAN              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA DE JESUS, ANGEL L.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA DELGADO, SAMUEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA FIGUEROA, ROXANNA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA GALAN, MABEL              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA GALARZA, ROSELYN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA GARCIA, ALEXANDRA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA GONZALEZ, ANA A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA GONZALEZ, MARIA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA GONZALEZ, MARIA I         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA GUTIERREZ, CARLOS J       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA HERNANDEZ, CARMELO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA HERNANDEZ, CARMEN         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA HERNANDEZ, CARMEN         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
LYDIA
SAAVEDRA HERNANDEZ, JOSE           REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
SAAVEDRA HERNANDEZ, JOSE A         REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
SAAVEDRA HERNANDEZ, LISANDRA       REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
SAAVEDRA LUGO, FRANCES I           REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
SAAVEDRA LUGO, JANITZA             REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
SAAVEDRA LUGO, JANITZA             REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
SAAVEDRA MARTINEZ, EMILIO          REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
SAAVEDRA MARTINEZ, EMILIO          REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
SAAVEDRA MARTINEZ, RICARDA A       REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
SAAVEDRA MARVEZ, MADELINE          REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
SAAVEDRA MONTANEZ, VANESSA         REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
SAAVEDRA MONTANEZ, WILLIAM         REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
SAAVEDRA MONTANEZ, YOLANDA         REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
SAAVEDRA NAVARRO, RAMON            REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
SAAVEDRA PENA, NELSON E            REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6051 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1052 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SAAVEDRA PEREZ, YADIRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA RIVERA, CARLOS S        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA RIVERA, MARESA J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA RODRIGUEZ, HECTOR A     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA RODRIGUEZ, OMAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA RODRIGUEZ, VICTORIA M   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA ROMERO, MARIA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA ROSARIO, MYRNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA ROSARIO, PATRIA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA SAAVEDRA, WALDEMAR      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA SALAS, FELIX J.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA SALAS, JAVIER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA SALAS, RAFAEL I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA SALAS, RAFAEL I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA SANTOS, LIDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA SANTOS, LIDA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA TOSADO, JOSE A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA TOSADO, YAMILKA N       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA VALENTIN, CHRIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA VALENTIN, CHRISTIAN     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA VAZQUEZ, LUIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA VAZQUEZ, VANESSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA VAZQUEZ, VANESSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA VEGA, MAYRA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA VEGA, RAFAEL E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA ZAMOT, DIANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAAVEDRA, JEANNETTE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABALA SOTOMAYOR, ANA A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABALIER CARRILLO, JOSE M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABALIER GONZALEZ, JOSE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABALIER NIEVES, IRMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABALIER RIOS, CARMEN J.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABALIER RIOS, CARMEN J.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABALIER RIVERA, MILAGROS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABAT CARLO, CARLOS J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABAT CARLO, LUIS A.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABAT CARMONA, FRANCISCO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABAT CARMONA, FRANCISCO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABAT FLORES, MARILYN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABAT GUERRERO, ZORAIDA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABAT RIVERA, CARMEN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABAT RIVERA, MANUEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABAT VELEZ, MAYRIN R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER BERROCAL, LILIA T.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER CLAVELL, FERNANDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER CORREA, ADRIAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER JUSINO, BERLISSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER LIBRAN, NIEVES           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER MALDONADO, MARIANO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6052 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1053 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SABATER MARÍA, ESTARELLAS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER PABEY, ANA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER RIVERA, OTILIA H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER RODRIGUEZ, BRUNILDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER ROMAN, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER ROSA, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER SOLA, EVER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER SOLA, RIGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER TORRES, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER TROCHE, VILMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER VALCARCEL, NESTOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER VEGA, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER VIROLA, ALEXANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABATER VIROLA, LISANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABATES RAMOS, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABIN, AISLING                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABO CALDERIN, NINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABO CALDERIN, NINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABO CALDERIN, TANIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABO CALDERIN, TANIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABO CINTRON, EDWIN OMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABO ROMAN, NATASHA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SABUGO ROSADO, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SACARELLO ACOSTA, ADA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SACARELLO ORTEGA, RAFAEL G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SACARELLO ORTEGA, VIRGINIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SACARELLO PEREZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SACARELLO TORRES, TANIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SACCO ROBERK, FRANCES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SADA MATOS, ANTHONY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAENZ ARROYO, JOHANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAENZ QUINONES, GENESIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAENZ RAMIREZ, CARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAENZ RAMIREZ, CARLA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAENZ RAMOS, FLOR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAENZ RIVERA, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAENZ RIVERA, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAENZ SANCHEZ, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAENZ VACAS, JENNIFER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAETTONE RIVERA, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ACOSTA, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ALICEA, NORBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ALMODOVAR, OLGA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ALVARADO, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ APONTE, YIOMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ARCHEVAL, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ARRIAGA, LUIS JOEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ARROYO, CHRISTOPHER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ BAEZ, MIRTA J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6053 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1054 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SAEZ BENIQUEZ, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ BENITEZ, NORA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ BENITEZ, NORA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ BERMUDEZ, NORBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ BERMUDEZ, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ BERRIOS, CORALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ BERRIOS, WANDA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ BURGOS, MARIA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ CABAN, GERARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ CABAN, NANCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ CARABALLO, LEILANY M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ CARRASQUILLO, OMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ CENTENO, IRIS Y.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ CINTRON, ANA H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ CINTRON, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ CLAUDIO, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ COLLAZO, ALFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ COLLAZO, ALFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ COLON, DESIREE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ COLON, DESIREE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ COLON, GEREMY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ COLON, RAFAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ COLON, RAMON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ COLON, RAMON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ CONCEPCION, NEREIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ CORUJO, EDU E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ CRUZ, BRENDA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ CRUZ, SHEILA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ CRUZ, SHEILA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ CRUZ, VIRMARY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ CRUZ, WILFREDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ DE FREYTES, CLARA V.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ DE VAZQUEZ, LUZ N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ DELGADO, JANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ DELGADO, JANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ DIAZ, ERLYN M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ DIAZ, HARRY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ DIAZ, LIZANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ DIAZ, LIZANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ DOMINGUEZ, EDNA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ECHEVARIA, ZULMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ FELICIANO, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ FELICIANO, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ FELICIANO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ FELICIANO, WINOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ FIGUEROA, DIXON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ FIGUEROA, ESPERANZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ FIGUEROA, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ FIGUEROA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6054 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1055 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SAEZ FIGUEROA, LUIS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ FIGUEROA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ FIGUEROA, VIVIAN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ FLORES, BEATRIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ FUENTES, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ GALINDO, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ GASCON, MONICA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ GIORGI, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ GONZALEZ, CARLOS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ GONZALEZ, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ GONZALEZ, EMERSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ GONZALEZ, EMERSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ GONZALEZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ GONZALEZ, WANDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ HERNANDEZ, ANGELITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ HERNANDEZ, ANIBAL R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ HERNANDEZ, LERMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ HERNANDEZ, LERMA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ HERNANDEZ, ONELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ HUERTAS, BENEDICTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ IRIZARRI, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ IRIZARRY, ENIBELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ IRIZARRY, JULIO C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ISAAC, ESTHER M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ LOPEZ, AMILCAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ LOPEZ, ANGEL L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ LOPEZ, IRMA J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ LOPEZ, MARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ LORENZO, DANIEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ LOZADA, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ MALDONADO, GIULIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ MALDONADO, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ MALDONADO, JUSTINIANO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ MALDONADO, MARIA DE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ MALDONADO, MARIA DE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
LOURDES
SAEZ MARMOLEJOS, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SAEZ MARTINEZ, EMILIO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SAEZ MATOS, ALFREDO             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SAEZ MATOS, ALFREDO             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SAEZ MATOS, CARMEN I            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SAEZ MATOS, ELBA I              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SAEZ MATOS, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SAEZ MIRANDA, RAMON L           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SAEZ MONTALVO, DENIS            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SAEZ MONTES, KRIZIA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SAEZ MORALES, BRENDA L          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SAEZ MORALES, ETANISLAO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SAEZ MORALES, GLORIMAR          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6055 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1056 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SAEZ MORALES, HILDA IRENE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ MORALES, JOSE LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ MORALES, MARANGELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ MORALES, OSVALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ MUNOZ, GLORIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ MUNOZ, GLORIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ MUNOZ, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ MUNOZ, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ MUNOZ, MARIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ NEGRON, ANGEL M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ NEGRON, JANET              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ NEGRON, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ NEGRON, NICOLAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ NIEVES, JENNY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ NUNEZ, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ OCASIO, NAHUANI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ OCASIO, RAUL J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ OQUENDO, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ORTA, EDNA I.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ORTIZ, ADALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ORTIZ, ANNIE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ORTIZ, CARMEN T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ORTIZ, DAHIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ORTIZ, EDGARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ORTIZ, EDGARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ORTIZ, IDALISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ORTIZ, JUAN C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ORTIZ, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ORTIZ, NOEMI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ORTIZ, NOEMI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ OTERO, AMARILYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ OTERO, YESENIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ PABON, YADIRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ PADILLA, PEDRO P           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ PARRILLA, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ PEREZ, AIDA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ PEREZ, MARTIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ PHILPOTT, BEATRIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ PHILPOTT, BEATRIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ PIZARRO, KAIRA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ PORTOCARRERO, JUAN L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ QUINONES, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIOS, ALIDA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIOS, NORBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, ALICE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, ALMA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, ANIBAL R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, ANIBAL R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6056 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1057 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SAEZ RIVERA, CARIMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, ISRAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, JESUS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, KATHERINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, LEANDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, LILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, LIOMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, LYDIA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, MARIANGELLYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, MILAGROS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, MILAGROS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, NOMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, SAYMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, SHIRLEY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, VICMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RIVERA, WILBERT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, ALEXANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, ALEXIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, ANDRES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, ERICK D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, GLORYMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, LAURA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, LISANDRA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, LUZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, MORAIMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, NESTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, NESTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, OLGA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, SANTOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ RODRIGUEZ, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ROSARIO, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ROSARIO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ROSARIO, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ROSARIO, VIVIAN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ SAEZ, RUTH R               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ SANCHEZ, EDNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ SANCHEZ, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ SANTIAGO, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6057 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1058 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SAEZ SANTIAGO, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ SANTIAGO, MARILU           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ SANTIAGO, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ SANTIAGO, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ SANTOS, ISRAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ SEPULVEDA, PIERRE WILSON   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ SERRANO, RENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ SOTO, JAMILETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ SOTO, JAMILETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ TANON, EDWARD              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ TANON, YADIRA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ TIRU, LUIS A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ TIRU, NICKY O              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ TORRES, CARLA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ TORRES, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ TORRES, NOEL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ UFRET, MIGDALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ VALENTIN, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ VARGAS, ANNETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ VAZQUEZ, JERRY L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ VAZQUEZ, JOSE F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ VEGA, GLORIA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ VEGA, JULIO A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ VEGA, JULIO A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ VEGA, LUIS D.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ VEGA, ZAIDA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ VEGA, ZAIDA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ VELEZ, NOEMI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ VELEZ, NOEMI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ VERA, RAMON A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ZAYAS, PERFECTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ ZAYAS, VICTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAEZ, PEDRO J                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAGARDIA ABREU, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAGARDIA CASTRO, PABLO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAGARDIA DE JESUS, ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAGARDIA DE JESUS, JOSE E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAGARDIA IRIZARRY, PABLO J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAGARDIA MANZANO, JAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAGARDIA MELENDEZ, EDDIE J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAGARDIA MIRANDA, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAGARDIA MIRANDA, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAGARDIA SOTO, ADALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAGARDIA TIRADO, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAGASTUME LOPEZ, JUDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAHNNON FERRER, ANTHONY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAID PEREZ, WANDA J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAINKITTS RIVERA, MADELINE S    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAINT AMAND, ESTEFANIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6058 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1059 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SAINTE‐ AGATHE DE FERNANDEZ,      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANDRA
SAINTE‐ AGATHE DE FERNANDEZ,      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANDRA C
SAINZ CARABALLO, WALESKA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAINZ CARO, JAIME                 REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAINZ CHABRIER, MARIA V           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAINZ DE LA MAZA DIAZ, MARIA      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAINZ RIVERA, ANTHONY P           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAINZ SERRANO, CARLOS J.          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAINZ SERRANO, LOURDES M.         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAIS DANOIS, WILLIAM S            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAITER VELEZ, ANA A               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAITER VELEZ, LOIDA I             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAKER JIMENEZ, GABRIELA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA BUSSHER, LEYLA A             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA MARTINEZ, CARMEN IRIS        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA ORTIZ, MIGUEL A              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA ORTIZ, MIGUEL A              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA PEREZ, IRMA                  REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA PEREZ, JUAN A                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA RAMIREZ, ARACELIS            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA RAMIREZ, MARIA DE L.         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA RIVERA, BRENDA Y.            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA RIVERA, IVETTE M             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA RIVERA, JOSE M               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA ROSARIO, GABRIELA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA ROSARIO, YARELIS             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA TORRES, NATALIA              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA VERGARA, RAMONITA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA VIRUET, FELIPE               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA VIRUET, GILDA M.             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALA VIRUET, MARIE                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALABARRIA ADORNO, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALABARRIA ADORNO, OMAYRA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALABARRIA BELARDO, JOSE A.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALABARRIA BELARDO, NIMIA O.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALABARRIA ESTREMERA, EDUARDO     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALABARRIA MELENDEZ, FERNADO      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALABARRIAS VALLE, LOURDES M      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALABARRY LLORET, JARITZA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALABERRIOS CENTEN, STANLEY       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALABERRIOS CUEVAS, ELIDIE        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALABERRIOS CUEVAS, MILDRED I     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALABERRIOS DELGADO, HAROLD       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALABERRIOS LOPEZ, HECTOR S       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALABERRIOS MARTINEZ, ELBA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALABERRIOS MORALES, ONNETTE M.   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SALABERRIOS RIVERA, ISAMAR        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6059 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1060 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SALABERRIOS SALABERRIOS, ENRIQUE REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALABERRIOS SARRAGA, KEVIN L.    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALABERRIOS, AIDA G              REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALABERRY HERNANDEZ, DAVID       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALADIN MURPHY, CLAUDIA P        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALADINI ALVARADO, ELYAN         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALADINI HERNANDEZ, MAYRA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALADINI MARCIAL, NYDIA E        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALADINI MARCIAL, WILLIAM        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALADO AYALA, JULIO E            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALADO ESMURDOC, GINA            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAH MENDOZA, REINALDO          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAL HERNANDEZ, ELIZABETH       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN ALVARADO, LUIS ENRIQUE REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN BENITEZ, LUIS            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN CANALES, AWILDA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN CANCEL, PABLO            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN CANCEL, PABLO            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN COLON, EDGAR             REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN COUVERTIER, ISARIS P.    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN DAVILA, ANA L            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN FIGUEROA, YOLANDA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN LAVIERA, JUAN            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN LUNA, ELADIA             REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN MECADO, DORIS            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN MERCADO, DORCA           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN RAMOS, MARIO             REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN RIVERA, HEYDA            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN RIVERA, LEHANY           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN RODRIGUEZ, LAURA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN ROSARIO, RAFAEL J.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN SALAMAN, MARIA L         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN SANTANA, ILEANA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN SANTANA, ILEANA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN SANTANA, WILLIAM A       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN SANTIAGO, LUIS A.        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN SANTIAGO, LUIS A.        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMAN, CARMELO                 REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMANCA AROCHO, LUZ M          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMANCA AROCHO, SYLVIA E       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMANCA LOPEZ, FABIANA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMANCA NIEVES, OSVALDO        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMANCA RODRIGUEZ, ESPERANZA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMANCA RODRIGUEZ, MILAGROS REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMANCA VALENTIN, AURORA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMNCA MIRANDA, CARLOS         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMO BUSANET, ROSE             REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMO DOMENECH, CARLOS A.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMO GONZALEZ, LEMUEL A        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1061 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SALAMO JIMENEZ, NILMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMO MARTINEZ, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMO MARTINEZ, ESTEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMO OLMEDO, EDNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMO RODRIGUEZ, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMO VEGA, VIVIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAMO VEGA, VIVIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ABREU, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ABREU, CARMEN G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ABREU, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ACEVEDO, VANESSA B.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ADORNO, FELIX A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ADORNO, FELIX A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS AGUILA, IRIS R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ALBINO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ALBINO, SANDRA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ALERS, ELIAS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ALERS, JOSE I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ALICEA, JUDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ALVELO, IRMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ARANA, VILMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ARANA, VILMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ARROYO, BLANCA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ARROYO, NESTOR X          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ARROYO, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ARROYO, ZULMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS AYALA, MARIELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS BELLAFLORES, MARIA DE L   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS BELLASFLORES, MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS BENEJAM, ISABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS BERIO, LESLY A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS BRAVO, ALFONZO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS BRUNO, ISIDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS BRUNO, ISIDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS BRUNO, JUANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS BRUNO, JUANITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS BRUNO, RAMONA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS BRUNO, RAMONA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS CARLO, LIZZETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS COLON, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS CORDERO, ADA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS CORDERO, RAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS CORTES, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS CORTES, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS CRUZ, FELIX A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS CRUZ, MAYRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS DE JESUS, AWILDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS DE JESUS, TANIA Y.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS DE LA CRUZ, MARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6061 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1062 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SALAS DESARDEN, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS DIAZ, CARMEN D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS DIAZ, MARIA S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS DISLAS, LEONARDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ESTEVES, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ESTEVES, LYDIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS FERRER, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS FIGUEROA, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS FIGUEROA, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GALARZA, KAREN W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GARCIA, ARLENE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GARCIA, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GARCIA, EDGARDO M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GARCIA, EDGARDO M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GARCIA, NORA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GONZALEZ, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GONZALEZ, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GONZALEZ, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GONZALEZ, ANTONIO J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GONZALEZ, EDELMIRO A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GONZALEZ, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GONZALEZ, GLADYS B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GONZALEZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GONZALEZ, LISSETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GONZALEZ, LIZETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GONZALEZ, LIZETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GONZALEZ, MARIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GONZALEZ, MAYRA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS GONZALEZ, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS HERNANDEZ, ANGEL C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS HERNANDEZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS HERNANDEZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS HERNANDEZ, SAUDHI ENIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS HERNANDEZ, WILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS HERNANDEZ, YOANIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ILLAS, ABRAHAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS IRIZARRY, ELPIDIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS IRIZARRY, ELPIDIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS JIMENEZ, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS JIMENEZ, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS LISBOA, JANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS LOPEZ, EDALYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS LOPEZ, EDDIE J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS LOPEZ, ERIC J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS LOPEZ, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS LOPEZ, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS LOPEZ, MARIELENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS LUGO, DORIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS LUGO, DORIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6062 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1063 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SALAS LUGO, JESSICA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS LUGO, JESSICA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS LUGO, KARINA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MARQUEZ, FERNANDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MARTINEZ, CHRISTINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MARTINEZ, CHRISTINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MAS, JOSE A                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MASTRODOMENICO, ASTRID C.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MATIAS, ESPERANZA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MATIAS, SILVIA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MATTA, EVAGELINA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MATTA, EVANGELINA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MEDINA, MARGGIE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MENDEZ, EDGAR               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MENDEZ, EDGAR               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MENDEZ, ROBERTO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MITID, JACINTA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MORALES, CARMEN D           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MORALES, DAMARIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MORALES, DAMARIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MORALES, JOSE A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MORALES, LUIS A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MORALES, MIGUEL A.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS MOREIRA, ANGEL M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS NIEVES, AIDA L              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS NIEVES, JOSE                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS NIEVES, JOSEPH              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS NIEVES, WILFREDO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS OLIVA, FRANCISCO J.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ORTIZ, ANA L                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS PAGAN, CAROL                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS PAGAN, JOEL                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS PAGAN, NORMA I              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS PENA, ANA E.                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS PENA, MISAEL                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS PEREZ, ANA Z.               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS PEREZ, CARMEN               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS PEREZ, CARMEN               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS PEREZ, ELSIE M              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS PEREZ, LUCILO J             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS PEREZ, LUCILO J.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS PEREZ, OSCAR                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS PEREZ, ROBERT A.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS PORTORREAL, OZIEL M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS QUILES, DORIS               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS QUINONES, BRUNILDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS QUINONES, FELIX             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS QUINONES, MILAGROS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS QUINTANA, CONCEPCION        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6063 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1064 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SALAS QUINTANA, SALVADOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS RAMIREZ, ISAAC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS RAMOS, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS RAMOS, BERNARDINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS RAMOS, BERNARDINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS RAMOS, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS RIOS, NELIDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS RIOS, SAMUEL D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS RIVERA, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS RIVERA, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS RIVERA, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS RODRIGUEZ, NOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ROMAN, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ROMAN, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ROMAN, GAMALIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS ROSADO, SARAH Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS SALAS, YARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS SALGADO, KEVIN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS SANABRIA, CRISTIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS SANCHEZ, EMERITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS SANCHEZ, HIRAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS SANTANA, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS SANTIAGO, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS SANTIAGO, DALYNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS SANTIAGO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS SANTIAGO, PEDRO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS SEGUI, ALEXA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS SEGUI, ALEXA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS SEGUIN, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS SERRANO, BRENDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS SOTO, ROSA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS TORRES, ABIMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS TORRES, ALICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS TORRES, ANTONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS TORRES, MISAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS UGARTE, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS UGARTE, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS VALENTIN, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS VALENTIN, MAYRA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS VEGA, EFRAIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS VELEZ, MILTON A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS, DORIS                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS, LOPE J                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAS, LUIS                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR ALICEA, EILEEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR CERON, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR CUMMINGS, ALTAGRACIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR CUMMINGS, MARIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR DE LUNA, JOLQUIER D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6064 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1065 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SALAZAR DELGADO, ANGEL D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR FELICIANO, NEREIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR FLORES, XIOMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR GARCIA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR GONZALEZ, ERMELINDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR GONZALEZ, VIRGEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR MARTELL, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR MAYORQUIN, HIGINIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR MAYORQUIN, JORGE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR MEDINA, MIRLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR NAPOLEONI, IVELISSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR NUNEZ, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR PARADIZO, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR PEREZ, ROSA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR QUINONES, SEAN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR REYES, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR RIVERA, ELIO F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR RIVERA, GUSTAVO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR RIVERA, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR RODRIGUEZ, MIGDALIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR SERRANO, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR SERRANO, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR SOLIS, PHILIP M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALAZAR, SAMUEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO ACEVEDO, ELADIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO ACEVEDO, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO ACOSTA, INES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO ACOSTA, INES A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO ACOSTA, SANTIAGO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO AGUILERA, VLADIMIR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO BARBOSA, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO CAMACHO, YIMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO CARDONA, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO CENTENO, DIEGO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO CENTENO, SERGIO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO CORA, MARIA DEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO CORPAS, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO CRUZ, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO CRUZ, CARMEN J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO CUEVAS, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO CUEVAS, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO DURAN, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO GARCIA, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO GARCIA, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO GILBES, JORGE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO LUGO, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO MADERA, EDDIE O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO MARRERO, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO MARTINEZ, JULIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6065 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                      Schedule E3 Page 1066 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
SALCEDO MARTINEZ, ZINNIA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO MEDINA, MARY JO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO MERCADO, RAUL              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO MERCADO, SIARA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO MONTANEZ, CECILIO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO MONTES, MARIA A            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO MORALES, CARMEN V          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO MORALES, DIEGO             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO NIEVES, CESAR              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO OQUENDO, RAMON L.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO PACHECO, MICHAEL A         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO PENA, DAMARIS              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO PEREZ, PABLO               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO QUINONES, ALEXANDER        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO RAMIS, ANTONIO R           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO RAMOS, JESSICA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO RODRIGUEZ, CRISTALINA I    REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO RODRIGUEZ, MARIA I         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO ROSARIO, MYRTA DE LOS A.   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO RUIZ, EMMA R.              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO RUIZ, NITZYA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO SANTIAGO, LIZLIANA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO SANTIAGO, YOMARA G         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO SANTIAGO, YOMARA G         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO SANTOS, NANCY              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO TORRES, JOSE L             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO TORRES, LESLIE M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO TORRES, MARIA M            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO TORRES, RAQUEL             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO TORRES, WILMARIE           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO TROCHE, CARMEN L           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO VELEZ, ADELAIDA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO VELEZ, ADELAIDA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO VELEZ, LOURDES             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO VELEZ, LOURDES             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO VELEZ, MAGALY              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO VELEZ, MAGALY              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO VELEZ, MILAGROS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO VELEZ, MILAGROS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO VELEZ, PATRICIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALCEDO YEPES, OSIRIS              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALDALA SEDA, LIVIA DEL            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ALAMO, CARMEN E.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ALGARIN, BENJAMIN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ALGARIN, GUILLERMINA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ALGARIN, VIRGINIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ALICEA, EDGARDO L          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ALICEA, EDUARDO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ALVAREZ, JUAN              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6066 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1067 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SALDANA AYALA, ANGEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA AYALA, MILTON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA BETANCOURT, ANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA BETANCOURT, ANA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA BETANCOURT, IVELISSE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA BETANCOURT, VIVIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA BURGOS, NORELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA CARLE, GLORIA T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA CARRASQUILLO, RAMON     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA CASILLAS, ANGEL D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA CASILLAS, IRIS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA CASILLAS, KAROLINE G.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA CASILLAS, ROXANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA CASTRO, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA CINTRON, JAZAIRA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA COLON, GRISCA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA COLON, JULIO C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA CRUZ, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA DE NIEVES, AWILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA DIAZ, ELUIT             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA DIAZ, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA EGOZCUE, NILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA GONZALEZ, AIDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA GONZALEZ, CECILIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA GONZALEZ, LUZGARDY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA GONZALEZ, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA GRACIANI, CARMEN I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA JORGE, AWILDA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA JORGE, JENNIE I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA LOPEZ, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA LOPEZ, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA LOPEZ, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA LOPEZ, SARA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA LUCIANO, MYAD YARIT     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA MALDONADO, NANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA MARQUEZ, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA MARTINEZ, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA MARTINEZ, KEISHLA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA MATIAS, AURELY E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA MEDINA, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA MELENDEZ, CHRISTINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA MORALES, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA NIEVES, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA NOGUE, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ORTIZ, ANDRES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ORTIZ, ANDRES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ORTIZ, CHRISTINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA PEREZ, MELANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA PEREZ, MILAGROS R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6067 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1068 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SALDANA QUILICHINI, JOSE M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA QUINONES, GLORYMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA REYES, ROSITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RIASCOS, ALICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RIOS, JUSTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RIOS, JUSTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RIVERA, ANGEL M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RIVERA, ANGEL M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RIVERA, ARLEENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RIVERA, CARMEN I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RIVERA, ELIUD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RIVERA, ERMELINDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RIVERA, ESTEBAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RIVERA, JORGE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RIVERA, KRYSTAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RIVERA, LYNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RIVERA, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ROBLES, CORAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ROCHE, ANA R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ROCHE, EDILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ROCHE, GEORGINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ROCHE, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RODRIGUEZ, ANGEL L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RODRIGUEZ, BASILIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RODRIGUEZ, CARMEN L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RODRIGUEZ, FERNANDO I   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA RODRIGUEZ, RICARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ROIG, ROSA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ROMERO, SANDRA INES     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ROSA, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ROSA, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA ROSADO, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA SANTIAGO, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA SANTIAGO, DAVID J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA SANTIAGO, ELVIN E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA SANTIAGO, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA SANTIAGO, JORGE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA SANTIAGO, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA SANTIAGO, MARIA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA TORRES, BRENDALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA TORRES, JOSIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA TORRES, OLGA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA, ANGEL M                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA, STEVEN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDANA‐VILLAFANE, SYLVIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDAQA GONZALEZ, LUZGARDY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDAQA SANTIAGO, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDARRIAGA RAMIREZ, IDALIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDEN RODRIGUEZ, MITCHELL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6068 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1069 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SALDIVAR ALEJANDRO, JASMINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDIVIA CARDONA, AWILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDIVIA CARDONA, MAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALDUONDO‐GARCIA, VIVIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALEH CASTILLO, NAIMAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALEH FORNES, JENINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALEH MORALES, TAYZIR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALEH SANABRIA, BASEM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALEH SANTIAGO, YASMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALELLAS JOVET, JAMES J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALELLAS JOVET, JAMES J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALERNA ORTIZ, AIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALERNO GALAY, JENNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALERNO ORTIZ, GIOVANNI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALES, SHADDAY                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALETA GIL, BERNARDA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ADORNO, JULIO E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ADORNO, MARIA Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO AGOSTO, RAFAEL J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ALAMO, AXEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ALVARADO, HEIDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO AMEZQUITA, ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ANDINO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO APONTE, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO APONTE, ESPERANZA S     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ARIAS, JOSE F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO AYALA, ISAMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO AYALA, LYMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO AYALA, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO AYALA, SCHENDYMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO BAEZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO BAEZ, WILMA J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO BAEZ, ZULEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO BETANCOUR, VICTOR J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO BETANCOURT, LUZ M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO BORIA, YAMIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO BRUNO, XAVIER R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO BURGOS, AMANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CALDERA, ISAURA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CALDERON, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CAMACHO, NYDIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CARABALLO, YADIRAH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CARRERAS, JESUS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CARRION, MARIA ISABEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CASIANO, ROSA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CASTRO, ANGEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CASTRO, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CEDENO, AYDIT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CEDENO, AYDIT M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6069 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1070 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SALGADO CINTRON, LUIS ALBERTO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CINTRON, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CLEMENTE, JOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CLEMENTE, JOEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CLEMENTE, NYDIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CLEMENTE, SHEILA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO COLON, AIDA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO COLON, ALEJANDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO COLON, ANGEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO COLON, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO COLON, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO COLON, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO COLON, TINA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CORCINO, EDNA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CORREA, JOAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CORREA, JOAN N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CRESPO, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CRESPO, NYDIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CRUZ, ANAMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CRUZ, CARMEN D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CRUZ, CRISTINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CRUZ, CRISTINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CRUZ, DORIS E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CRUZ, KELVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CRUZ, MIGUEL O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CRUZ, OMAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO CRUZ, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO DE JESUS, DENNIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO DE LA ROSA, EPIFANIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO DEL VALLE, GRISELL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO DIAZ, EMANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO DOMINGUEZ, ANDRES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO DOMINGUEZ, ANDRES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO DURAN, CRISTINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO DURAN, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO FELICIANO, MARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO FELICIANO, MARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO FELIX, JOSE MANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO FELIX, SAYONARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO FERRER, CARMEN A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO FIGUEROA, ROY G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO FLECHA, BRENDA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO GALINDEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO GARCIA, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO GARCIA, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO GARCIA, ELENA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO GARCIA, ELENA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO GARCIA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO GARCIA, JUAN JOSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6070 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1071 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SALGADO GARCIA, KELVIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO GARCIA, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO GARCIA, MARIO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO GARCIA, OSCAR J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO GONZALES, LISSETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO GONZALEZ, DARIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO GUZMAN, ELIZABETH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO HERNANDEZ, BARBARA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO HERNANDEZ, FRANCISCO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO HERNANDEZ, FRANCISCO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO HERRERA, NEREIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO HERRERA, WANDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO JACKSON, RUTH K          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO LABOY, SONIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO LACEN, LUIS M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO LACEN, LUZ B             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO LACEN, LUZ B             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO LACEN, LUZ B             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO LEON, CARMEN A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO LEON, CARMEN A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO LOPEZ, DANELIZ           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO LOPEZ, EDWIN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO LOPEZ, SARAY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO LORENZANA, ROSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO LUGO, CARMEN M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO LUGO, YARA S             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MALDONADO, GLADYS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MANGUAL, GERARDO J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MANSO, JUAN C.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MANSO, VICTOR J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MARRERO, AIDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MARRERO, AIDA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MARRERO, ANA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MARRERO, JOSE A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MARTINEZ, AGUSTIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MARTINEZ, ANGELICA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MARTINEZ, YENEISHA E     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MARTINEZ, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MATOS, GUILLERMO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MATOS, LIZBETH Y.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MEDINA, SHEILA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MEDINA, SHEILA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MELENDEZ, ALBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MELENDEZ, ALBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MELENDEZ, CARLOS I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MELENDEZ, NILSA Y        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MELENDEZ, NILSA Y        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MELENDEZ, OMAYRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MENDOZA, MIRELLA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6071 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1072 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SALGADO MERCADO, ALAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MERCADO, ENID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MERCADO, FLORENTINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MERCADO, LAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MONTANEZ, SONIA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MORALES, JAMARIS I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MORALES, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MORALES, TAMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MORENO, LUIS F.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MORENO, LYNNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MORENO, LYNNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO MUNET, JOAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO NATAL, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO NATAL, JOSE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO NEGRON, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO NEGRON, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO NOBLES, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO OCASIO, AMADIS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO OCASIO, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO OLIVO, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO OPIO, CARLOS V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO OQUENDO, LUISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO OQUENDO, MICHELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ORLANDO, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ORLANDO, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ORTEGA, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ORTIZ, MARIA H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ORTIZ, SYLVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO OTERO, BENJAMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO OTERO, DANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO OTERO, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO PABON, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO PAGAN, LIZ O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO PEREZ, ISABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO PEREZ, ROSALYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO PIMENTEL, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO PINEDA, KATHERINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO PIZARRO, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO PIZARRO, DISAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO PIZARRO, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO PIZARRO, ROSAURA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO QUINONES, KATIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO QUINTANA, JOHANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RAMIREZ, CARLOS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RAMIREZ, JUAN CARLOS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RAMOS, CLARA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RAMOS, IDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RAMOS, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RAMOS, LUZ N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6072 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1073 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SALGADO REYES, AMARILYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO REYES, GUILLERMO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO REYES, GUILLERMO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO REYES, LIMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIOS, KAREN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIOS, KAREN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIOS, LIZBETH M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIOS, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, AMPARO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, DALIXA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, DALIXA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, ENID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, JUANA F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, RUTH N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, VICTORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, VICTORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, YEIDY Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RIVERA, ZAIDA W.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ROBLES, JENNIFER A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RODRIGUEZ, ANA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RODRIGUEZ, ANANETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RODRIGUEZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RODRIGUEZ, ENRIQUE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RODRIGUEZ, MARCOS A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RODRIGUEZ, MARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RODRIGUEZ, RAMONA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RODRIGUEZ, WILMARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO RODRIGUEZ, WILMARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ROMAN, LESLIE Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ROMAN, LESLIE Y.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ROMAN, LORELL S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ROMAN, ROGELIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ROMERO, LIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ROSARIO, MILDRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO ROSARIO, MILDRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SANCHEZ, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SANCHEZ, MARIA DEL C.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SANES, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SANTANA, MONSERRATE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SANTANA, MONSERRATE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SANTANA, TRINIDAD       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6073 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1074 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SALGADO SANTIAGO, ALEJANDRO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SANTIAGO, AXEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SANTIAGO, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SANTIAGO, HERIBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SANTIAGO, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SANTOS, CARMELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SCHWARZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SERRANO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SERRANO, MAGALYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SIERRA, FRANCISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SIERRA, MARIA T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SOLER, ISABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SOLER, LUPERCIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SOTO, ADA N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SOTO, BEXAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SOTO, CATALINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SOTO, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SOTO, NELLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO SOTO, SANDRALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO TORO, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO TORRES, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO TORRES, DAMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO TORRES, DAMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO TORRES, MARCOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO TORRES, RAYMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO TORRES, TERESITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VARGAS, MARIELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VAZQUEZ, BRYAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VAZQUEZ, MITCHELL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VAZQUEZ, MITCHELL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VAZQUEZ, PERFECTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VAZQUEZ, PERFECTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VELAZQUEZ, SIXTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VELEZ, FELIX L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VENTURA, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VICENTE, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VICENTE, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VILA, JANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VILA, TANIA R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VILA, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VILLANUEVA, IRIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VILLANUEVA, NORMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO VILLANUEVA, NORMA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADO, HECTOR RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADORIVERA, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGADOVELEZ, ROSA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGAGO ASTACIO, TAMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGAS CAEZ, JUAN R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALGAS ROSA, NAICY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6074 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1075 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SALGUERIO FARIA, GIANCARLOS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALGUERO AGUIAR, DAYNA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALGUERO AGUIAR, DAYNA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALGUERO FARIA, GIANCARLO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALGUERO FARIA, GIANCARLO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALGUERO FARIA, GIANCARLO J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALGUERO FARIA, JOSE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALGUERO SANTOS, ALIZ             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALIB PADILLA, RAUL J.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALIB PADILLA, YEMIL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICETI MALDONADO, IRMA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICETI MALDONADO, IRMA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICETI RIVERA, CARLOS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICETI SEPULVED, SILVETTE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICETI SOLIS, MORAIMA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICETI SOLIS, ROBERTO A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICH SEMIDEY, JANET             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICHS DIAZ, AGNES M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICHS MARTINEZ, JOSE E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICHS POU, CARMEN E             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICHS RODRIGUEZ, JOSE O         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICHS SOLDEVILA, JOMAR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICRUP CUELLO, ANA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICRUP DE JESUS, DOMINGO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICRUP DE JESUS, DOMINGO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICRUP MELENDEZ, DANIEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICRUP MELENDEZ, MARIA DEL R.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICRUP RALAT, JOVANSKA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICRUP RIVERA, SANDRA M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICRUP RODRIGUEZ, CAROL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICRUP SANTAELLA, CATHERINE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICRUP TORRES, CARMEN M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICRUP, EFRAIN                  REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALICRUPS MALAVE, EFRAIN J.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALID PADILLA, YARED              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALIM NEVAREZ, BRIGIDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALIM SANTIAGO, SAMIRA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS ACEVEDO, DAVIEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS ARCE, ROBERTO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS ARROYO, LUIS E            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS ARROYO, LUIS E.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS ARZUAGA, EDGARDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS BABILONIA, ELIUD          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS BRITO, JOE A              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS BURGOS, MILDRED           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS CABAN, NATALIE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS CABAN, SIXTO G            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS CARABALLO, CHRISTIAN      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS CRUZ, JOSE LUIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6075 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1076 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SALINAS D ARRASTIA, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS D'ARRASTIA, JOSE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS GONZALEZ, VIRIDIANA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS HERNANDEZ, BENJAMIN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS JORGE, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS MAYORGA, BIELSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS MAYORGA, BIELSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS MEDINA, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS MEDINA, WANDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS MORALES, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS MORALES, IGNACIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS MORALES, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS MORENO, EMILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS MORI, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS MORI, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS NEGRON, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS NEGRON, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS ORSINI, MICHAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS ORTIZ, ALEX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS QUINONES, CARMEN J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS RODRIGUEZ, INDHIRA M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS SANTIAGO, GUALBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS TORRES, PRISCILLA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS TUBENS, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS TUBENS, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS VALENTIN, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALINAS VELEZ, SHEILA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALIVA CABALLERO, PATRICIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALIVA GONZALEZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALIVA GONZALEZ, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALIVA GONZALEZ, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALIVA GONZALEZ, SANDRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALIVA MORALES, LUIS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALIVA MORALES, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALIVA MORALES, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALIVA RODRIGUEZ, LYNNETTE D.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALIVA VALENTIN, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALIVA VALENTIN, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALIVIA FERNANDEZ, GLORIA C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALLENT AQUINO, FREDDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALLES OFARRIL, ROJEANNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALLS ZAYAS, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALMERON APONTE, ANTONIO G.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALMERON APONTE, ANTONIO G.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALMONTE GARCIA, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALOME COLON, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALOME COLON, DAVID A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALOME COSME, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALOME HERNANDEZ, MARINELLI     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6076 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 1077 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SALOME HERNANDEZ, OMAR A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALOME RIVERA, JOAN               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALOME ROSARIO, ENRIQUE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALOME SOBA, ROBERTO              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALOME VILLARINI, JUAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALOME VILLARINI, JUAN MARCOS     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALOMON HIDALGO, YADELY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALON DELGADO, MARIA V.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALORT JURADO, RAFAEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALORT MARQUEZ, BLANCA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALSEDO DELGADO, HILDA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALTAR ARROYO, YAMIL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALTAR ARROYO, YARITZA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALTAR ARROYO, YARITZA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALTAR MATOS, HADAVELL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALTAR NIEVES, MERCEDES           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALTAR NIEVES, NAYDA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALTAR NIEVES, WILLIAM            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALTARES CARDONA, YESENIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALTARES CARDONA, YESENIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALTARES DIPINI, FABIAN A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALTARES GONZALEZ, WANDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALTARES MORENO, AGUSTIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALTAREZ CARO, DAVID              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA AVILES, NANCY               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA CAMACHO, MIGNA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA CAMACHO, RENE A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA COLON, CARMEN L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA COLON, CARMEN L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA CRUZ, ROBERTO A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA CRUZ, WANDA I               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA DE JESUS, SANDRA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA ENCARNACION, CATHERINE E.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA FELICIANO, MIGUEL A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA GONZALEZ, BERNARDINA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA GONZALEZ, IRIS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA GONZALEZ, JUANA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA GONZALEZ, MARIANNE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA GONZALEZ, SANDRA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA GONZALEZ, WILFREDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA GONZALEZ, YARIXA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA HUERTAS, OMAYRA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA LOPEZ, EDWIN                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA LOPEZ, JAIME                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA LOPEZ, LUIS                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA LOPEZ, ROBERTO              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA LOPEZ, ROBERTO A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA LOPEZ, WIDALIS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA MALARET, JORGE L.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6077 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1078 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SALVA MALDONADO, MARIA T          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA MENDEZ, IVAN                REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA MERCADO, EVA N              REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA MONTALVO, MARIA DEL         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA MONTALVO, MARIA DEL C       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA NEGRON, JOSE L              REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA NEGRON, LESVIA W.           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA ORTIZ, GABRIEL              REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA POLANCO, GIOVANNI           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA RAMOS, ANTONIO              REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA RIVERA, LILLIAM             REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA RODRIGUEZ, YADIRA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA RODRIGUEZ, YADIRA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA RODRIGUEZ, YAMARA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA ROSADO, DIANILDA            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA SANDOVAL, MARYLYN C.        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA SANDOVAL, NEREIDA M.        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA SANTIAGO, EZEQUIEL          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA SANTIAGO, YUSERDY           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA SANTIAGO, YUSERDY           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA SOTO, SUHEILL MARIE         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVA VALENTIN, IRMA              REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVADOR BONILLA, DIOS            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVADOR CARDONA, LOUIS R         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVADOR CRESPO, MIRIAM           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVADOR PACHECO, CARMEN          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVADOR TELLES, MICHAEL          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVAT ARAGON, ENRIQUE J          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVAT GUTIERREZ, AMERICA E       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVAT RIVERA, NOEL               REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVAT ROMAN, ROSEMARIE           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVAT TOLEDO, ISMAEL             REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVAT VEGA, JOSE A.              REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVATELLA SERRANO, JOSE A.       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SALVESEN VON ESSEN LOPEZ, BEATRIZ REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT ALVARADO, MIRIAM          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT CHICO, MIGUEL             REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT CHICO, MIGUEL             REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT DOMENECH, MAGALY          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT DOVAL, JOSE               REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT GIOVANNETTI, AMY E.       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT GIOVANNETTI, AMY ENID     REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT GONZALEZ, AGNES G         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT GONZALEZ, GLORIANNE       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT HERNANDEZ, NORMA          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT JIMENEZ, PRISCILA M       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT MERCADO, JOSE             REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT OCASIO, CARLOS M          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT PELLOT, YARLEEN           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6078 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1079 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SAMALOT PEREZ, GILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT PEREZ, GILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT RODRIGUEZ, WANDA Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT SOLER, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT SOLER, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMALOT SOTO, NATALIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMBOLIN FELIBERTY, ANA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMBOLIN GARCIA, JOSSIEBEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMBOLIN GONZALEZ, JAILEEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMBOLIN LAMBOY, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMBOLIN MATTEI, CARLOS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMBOLIN PEREZ, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMBOLIN PEREZ, LISBELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMBOLIN SANTINI, SHARON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMBOLIN SERRANO, ANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMBOLIN VAZQUEZ, LYNNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMBOLIN VILELLA, LUIS F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMBOY, ARLENE                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMO CALDERON, SYLVIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMO CASANOVA, JENNIFER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMO CASANOVA, JENNIFER L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMO CASANOVA, JENNIFER L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMO GOYCO, MARISOL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMO GOYCO, MARISOL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMO MALDONADO, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMO MARTINEZ, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMO RODRIGUEZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOL MONTES, CARLOS J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOL MONTES, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT ABREU, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT BETANCOURT, JESICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT BONILLA, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT BONILLA, JOSE R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT BONILLA, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT COLON, WANDA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT CRUZ, OMAR A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT CRUZ, RENE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT MALDONADO, ALEX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT MALDONADO, BETZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT OLAVARRIA, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT RODRIGUEZ, LAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT RODRIGUEZ, LAURA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT SOTO, JAVIER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT SOTO, LAURA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT SOTO, LAURA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT SOTO, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT VALENTIN, HENRY OMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT VELEZ, LIZVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAMOT, NELSON J.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6079 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1080 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SAMPAYO CARAMBOT, EDDA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMPAYO CARAMBOT, MARIA B         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMPAYO MORENO, ROBERTO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMPAYO RAMOS, EVELYN A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMPAYO SARRAGA, BELEN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMPE LOPEZ, JAUME                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMPER NAVEDO, LUIS               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMPLE MERCED, HAYBET             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMPOLL ALMODOVAR, MAIRIM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMPOLL CORREA, FRANKLYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMPOLL CORREA, FRANKLYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMPOLL GONZALEZ, MARISOL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMPOLL GONZALEZ, WANDA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMPOLL MARTINEZ, ALEX M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMPOLL MOLINA, MARIA DE L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMPOLL SOBA, JOSE A.             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMRAH FONTANEZ, RAUL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMRAH FONTANEZ, RAUL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMRAH MIRANDA, RAUL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMRAH MIRANDA, RAUL A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMUEL APONTE, WILHELM J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMUEL APONTE, WILHEM J.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAMUEL ORTIZ, JOAN I              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN ANTONIO ACHA, GUILLERMO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN ANTONIO BEAUCHAMP,            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ELIZABETH
SAN ANTONIO BEAUCHAMP, ISMAEL     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN ANTONIO RAMOS, ANGEL          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN ANTONIO TORT, GIORDANO R.     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN INOCENCIO CARTAGENA,          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
MIGDALIA
SAN INOCENCIO LANDRON, GLADYS G   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN INOCENCIO OPPENHEIMER,        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
GRISELLE
SAN INOCENCIO SANTIAGO, LUIS A.   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN INOCENCIO, KARIN              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN JOSE GONZALEZ, JUAN A         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN LUCAS SANCHEZ, YARICELY       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN MARTIN CARMENATTY, YOMAR      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN MARTIN GONZALEZ, RAMONITA     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN MIGUEL ALABARCES, WALDO       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN MIGUEL ALABARCES, WALDO       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN MIGUEL BONILLA, CARMEN R      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN MIGUEL BONILLA, ELBA H.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN MIGUEL CABAN, KARLA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN MIGUEL CABAN, KARLA M         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN MIGUEL CRESPO, MARIANGELLY    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN MIGUEL GARAU, VICENTA M.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SAN MIGUEL GARCIA, EDGARDO A      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6080 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1081 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SAN MIGUEL GERENA, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL LOPEZ, JONATHAN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL LORENZANA, CLOTILDE    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL MALDONADO, LUIS R.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL MENDOZA, ESTHER        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL MI RANDA, ANA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL MIRANDA, GLORIMAR      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL ORTIZ, ELIZABETH       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL PASTRANA, FELIX M.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL RIVERA, AIDA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL RIVERA, ALTAGRACIA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL RIVERA, EDALIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL RIVERA, EDITH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL RIVERA, GRETCHEN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL RIVERA, LISANDRA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL RIVERA, LISBETH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL ROMAN, DIPHNA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL ROMAN, LYMARIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL ROSADO, CALEB          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL RUIZ, ENRIQUE JOSE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL SALGADO, AMPARO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL SANTIAGO, HEIDI        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL SANTIAGO, YARESSA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL SANTIAGO, YARESSA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL SANTIAGO, YARESSA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL SERRANO, MARIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL SERRANO, MARIA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL SERRANO, MARIA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL SO SOLIVAN, CARMEN I   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL TORRES, BRUNILDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL TORRES, ELSA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL VELAZQUEZ, IRASEMA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUEL, RIVERA LISBETH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN MIGUELVELAZQUEZ, NORMA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN PABLO BARRET, DEBORAH M.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN ROMAN RODRIGUE, RICARDO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN ROMAN, LEONARDO               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN TANA RUIZ, PATRICIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SAN VICENTE FRAU, JUAN B          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABIA LEON, ANIBAL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABIA VALENTIN, LAURA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABIA VALENTIN, LAURA H         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRARIA ACEVEDO, VICENTE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA DEL VALLE, WILJALIS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ACEVEDO, JORGE L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ACEVEDO, VICENTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ACOSTA, MARIA A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ACOSTA, RAMON            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ALAMEDA, LIDIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6081 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1082 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANABRIA ALAMEDA, ROSA W        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ALDUEN, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ALICEA, MARILIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ALICEA, WILSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ALICEA, WILSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ALVARADO, CARMEN A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ALVAREZ, EDGAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA AMELY, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA AMELY, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ANDINO, NATALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA APONTE, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA APONTE, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ARCHILLA, ANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ARCHILLA, ANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ARIAS, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ARROYO, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA AYALA, IRIS B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA AYALA, JEMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA BAERGA, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA BAERGA, LEIDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA BAERGA, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA BAERGA, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA BAEZ, MARIA D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA BAEZ, MYRNA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA BAREA, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA BELEN, SANEIRIS P      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA BELTRAN, ADELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA BELTRAN, BASILIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA BELTRAN, GLADYS E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA BELTRAN, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA BELVIS, ELIVETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA BELVIS, LILIVETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA BISBAL, ISABEL M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA BONILLA, JOHNNY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CABAN, WILNELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CADIZ, GENOVEVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CAMACHO, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CAMPOS, PEDRO M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CAMPOS, PEDRO M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CAPPAS, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CARABALLO, AUSTRIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CARLO, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CARLO, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CERPA, ANA H.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CERPA, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CINTRON, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CINTRON, NOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA COLON, CARMEN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA COLON, CARMEN C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 1083 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANABRIA COLON, JOSEFA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA COLON, JOSEFA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA COLON, MARIE L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA COLON, MICHELE E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA COLON, REINALDO L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CORA, CLARIBELL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CORA, CLARIBELL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CRUZ, EDNA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CRUZ, HECTOR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CRUZ, JOSE L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CRUZ, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CRUZ, NELSON            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA CUEVAS, MARIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA DE JESUS, ALBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA DE JESUS, ELBA L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA DE JESUS, HECTOR W      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA DE JESUS, LUIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA DE JESUS, RAMONA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA DE JESUS, TOMAS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA DE MATOS, VILMA A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA DEL VALLE, MARIELY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA DEL VALLE, MELVIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA DEL VALLE, WILSON       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA DEL VALLE, WILSON       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA DEL VALLE, WILSON       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA DEL VALLE, WISHEILA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA DELGADO, LUIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA DIAZ, YARIBELLE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA FEBUS, GLENN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA FELICIANO, ENELIDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA FIGUEROA, EDUARDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA FIGUEROA, SANDRA L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA FLORES, ADALBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA FLORES, ADALBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA FLORES, NELSON D.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA GALARZA, LUZ E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA GARCIA, AHMED Y         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA GARCIA, BRUNILDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA GARCIA, NIGSA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA GONZALEZ, CARMEN E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA GONZALEZ, MARIA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA GONZALEZ, RAMON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA GRACIA, CARMEN I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA GUZMAN, JEITZA N        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA HERNANDEZ, CARLOS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA HERNANDEZ, CYNTHIA E.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA HERNANDEZ, ISMAEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA HERNANDEZ, JISELLE M.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA HERNANDEZ, SHEILA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6083 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1084 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANABRIA HERNANDEZ, SHEILA M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA HUERTAS, ANA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA HUERTAS, ANA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA IRIZARRY, MARGARITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA IRIZARRY, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA IRIZARRY, MILAGROS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA IRIZARRY, SALVADOR       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA JARQUIN, MARITZA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA JUSINO, JESUS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA JUSTINIANO, RAMSEY       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA JUSTINIANO, RAMSEY       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LEON, JOSE G.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LOPEZ, ELIZABETH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LOPEZ, ODA LIZ           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LOPEZ, RAFAEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LOPEZ, RICARDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LOPEZ, SUHAIL M.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LOZADA, BLANCA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LOZADA, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LOZADA, JUANITA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LOZADA, MARITZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LUCIANO, WANDA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LUCIANO, YOLANDA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LUGO, JACQUELINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LUGO, JACQUELINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LUGO, JACQUELINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LUGO, MONICA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LUGO, WALDEMAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA LUGO, WALDO              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MARIANI, EDGARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MARIANI, EDGARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MARTINEZ, MARGARITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MARTINEZ, MARGARITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MARTINEZ, MARISELYS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MARTY, ARGENTINA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MARTY, ARGENTINA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MEJIAS, MARIA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MELENDEZ, ELSA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MELENDEZ, FRANCHESKA L   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MERCADO, MONICO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MOLINA, TERESA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MONTALVO, SUGERY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MONTANEZ, JAIME L.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MONTIJO, CAROL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MORALES, ANA L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MORALES, ANILDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MORALES, ANILDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MORALES, FRANCISCO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA MORALES, MARIA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6084 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1085 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANABRIA MORALES, MARY L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA NEDINA, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA NIEVES, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA NUNEZ, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ORTIZ, ANGELES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ORTIZ, MARIA DE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ORTIZ, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ORTIZ, VIVIAN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ORTIZ, ZULMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA PADUA, ELSA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA PENA, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA PENA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA PEREZ, JECENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA PEREZ, LUCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA PEREZ, LUCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA PEREZ, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA PEREZ, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA PEREZ, RITA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA PEREZ, SANDRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA PEREZ, SANDRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA PEREZ, ZENAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA PEREZ, ZENAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA PIRELA, BASILISA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA QUILES, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA QUINONES, IVAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA QUINONEZ, LUIS I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RAMOS, ANGEL X         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RAMOS, CARMEN V.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RAMOS, FERDINAND       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RAMOS, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RAMOS, RUBEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA REYES, CARMEN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIOS, DWIGHT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIOS, GELAMIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIVERA, ANGELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIVERA, BERENICE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIVERA, CARIDAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIVERA, DAIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIVERA, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIVERA, ERNESTINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIVERA, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIVERA, IRIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIVERA, MARILYN E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIVERA, MARYLIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIVERA, MARYLIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIVERA, NOELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIVERA, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIVERA, ROSA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIVERA, VIANGELISSE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1086 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANABRIA RIVERA, VIANGELISSE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RIVERA, WALTER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RODRIGUEZ, AIDA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RODRIGUEZ, CARMEN G    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RODRIGUEZ, EDUARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RODRIGUEZ, EFRAIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RODRIGUEZ, GERARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RODRIGUEZ, IVAN A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RODRIGUEZ, JULIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RODRIGUEZ, LUZ M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RODRIGUEZ, MARIA A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RODRIGUEZ, MARIELY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RODRIGUEZ, MARILYN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RODRIGUEZ, NOELIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RODRIGUEZ, YANIRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RODRIGUEZ, ZAIDA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ROLDAN, MARICELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ROLDAN, MARICELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ROMAN, JOSEPH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA RUIZ, ANA T.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SAMBOLIN, EDWARD       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SANABRIA, AIDALIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SANABRIA, ANGELO M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SANABRIA, CARMEN A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SANABRIA, DALILA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SANABRIA, OSWALD       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SANCHEZ, CARLOS H      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SANCHEZ, DAVIS L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SANCHEZ, LIZ N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SANDOVAL, SANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SANTIAGO, ADRIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SANTIAGO, ADRIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SANTIAGO, EDGAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SANTIAGO, ISRAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SANTIAGO, RAQUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SANTOS, JULIANA T      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SCHLAFER, SHEYLA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SEDA, MONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SEPULVEDA, ANDREA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA SILVA, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA TELMONT, IRINES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA TELMONT, SAHYRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA TOLEDO, YVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA TORRES, JAZMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA TORRES, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA TORRES, JUAN F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA TORRES, MARIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA TORRES, MARIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA TORRES, MARISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6086 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1087 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANABRIA TORRES, MARISA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA TORRES, PABLO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA UJAQUE, ESTEFANIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA VALLE, FLORA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA VARGAS, ELAINE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA VAZQUEZ, HECTOR A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA VEGA, ANA L             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA VEGA, LUIS M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA VELASQUEZ, KEISHLA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA VELAZQUEZ, KEISHLA S.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA VELAZQUEZ, OFELIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA VELAZQUEZ, OFELIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA VELEZ, ANGEL D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA VELEZ, JUAN A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA VELEZ, LUIS C           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA VELEZ, MARIA T          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA VICENS, JANNICE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA VIERA, JUAN C           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA ZAMBRANA, SARAI         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA, IVELISSE               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA, LUIS R                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA, MIRTA                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIA, WILFREDO               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIABONES, MARTIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANABRIABURGOS, IVONNE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANANTONIO MENDOZA, OSCAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANC HEZ RIVERA, JOEL O          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHE Z CRUZ, IRIS N            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHES ALAMO, JONNY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHES CANCEL, GLADIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHES DAVID, WANDA I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHESZ TORRES, JUAN P          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MULERO, ISRAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SAEZ, SHEILA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ., RAYMOND               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ABRAHAM, JOSE R.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ABREU, ALEJANDRO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ABREU, CARMELITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ABREU, ELIZANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ABREU, ELIZANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ABREU, JOEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ABREU, JOEL A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ABREU, MERCEDES E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACEVEDO, CARMEN D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACEVEDO, DORIS E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACEVEDO, EDWIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACEVEDO, ERMELINDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACEVEDO, ERMELINDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6087 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1088 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ ACEVEDO, ERMELINDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACEVEDO, FERNANDO G     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACEVEDO, HAYDERLYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACEVEDO, IVAN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACEVEDO, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACEVEDO, JAQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACEVEDO, JOSE J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACEVEDO, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACEVEDO, ROSA B.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACEVEDO, YAHAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACOSTA, CLARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACOSTA, ERNESTO H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACOSTA, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACOSTA, SANDRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACOSTA, VILMA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ACOSTA, WALESKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ADORNO, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ADORNO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ADORNO, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ADORNO, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ADORNO, JOSE D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ADORNO, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ADORNO, MIRAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ADORNO, MIRIAM R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ADORNO, SUEHEY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ADORNO, SUEHEY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AGOSTO, ALEXIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AGOSTO, BELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AGOSTO, SUJEILY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AGOSTO, SUJEILY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AGOSTO, ZULEIKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AGOSTO, ZULEIMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AGOSTO, ZULEIMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AGOSTO, ZULEIMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AGRINSONI, CARMEN A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AGRINSONI, CARMEN A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AGRON, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AGRON, ZULEYKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AGUILAR, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALAMO, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALAMO, ZURISADDAI A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALAYON, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALCANTARA, LUZ C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALDAHONDO, CARLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALDEA, JOVITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALDEA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALEJANDRO, LUIS R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALEMAN, GISELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALEMAN, GLORIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6088 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1089 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ ALEMAN, SAMIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALEQUIN, CARMEN N.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALEQUIN, EDWARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALEQUIN, NERY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALEQUIN, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALGARIN, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALICEA, HECTOR S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALICEA, NATACHA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALICEA, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALICEA, TERESITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALICEA, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALICEA, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALMEDINA, ANTONIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALMODOVAR, ISIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALMODOVAR, ISIS R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALMODOVAR, WILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALMONTE, NILSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALMONTE, SILVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALMONTE, WANDER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALONSO, JUDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALONSO, LAURA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALTAMIRANO, GLADYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALTURET, NELIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVARADO, ALEXIS A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVARADO, EDWIN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVARADO, FELIX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVARADO, FELIX A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVARADO, GERMAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVARADO, MARYOLGA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVARADO, PEDRO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVARADO, ZULMA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVAREZ, AIDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVAREZ, BENI J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVAREZ, ELIAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVAREZ, HECTOR J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVAREZ, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVAREZ, MIRIAM E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVAREZ, RAQUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVAREZ, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVAREZ, ROSA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVELO, ANA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVERIO, ERNESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVERIO, LYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ALVERIO, LYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AMADOR, WILMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AMARO, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AMARO, ISAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AMARO, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AMBERT, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1090 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ AMEZAGA, INGRID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AMEZAGA, INGRID N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AMEZQUITA, MARIBEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AMIEIRO, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AMIERO, MABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AMILL, JOHANNA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ANDINO, BARBARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ANDINO, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ANDINO, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ANDINO, XIOMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ANES, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ANES, ROSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ APONTE, ANTHONY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ APONTE, ARTURO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ APONTE, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ APONTE, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AQUINO, EDDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARCE, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARCE, OLGA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARCHILLA, MILEDIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARENADO, ANYA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARIAS, ARMANDO H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARIAS, MARIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARIAS, MARIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARIAS, SYLVIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARRIAGA, MARIA T.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARRIAGA, MIGUEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, AMARILIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, BEATRIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, BEATRIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, BEATRIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, GLORIA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, JUAN F.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, JUSTO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, LUIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, MAGDALENA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, MARYAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, MARYAN O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, NYDIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, OMAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, RUTH M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARROYO, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARZON, CARMEN V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ARZUAGA, MARIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AVILA, ARMANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AVILA, SUNAHOLLY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6090 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1091 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ AVILA, SUNAHOLLY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AVILES, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AVILES, ENOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AVILES, FRANLY H.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AVILES, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AVILES, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AYALA, CARLOS J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AYALA, JOSE R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AYALA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AYALA, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AYALA, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AYALA, MARIA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ AYALA, ODALIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BABILONIA, HECTOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BABILONIA, RICHARD      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BAEZ, ANA J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BAEZ, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BAEZ, CHARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BAEZ, DEBORAH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BAEZ, DELIA N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BAEZ, HECTOR G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BAEZ, HECTOR G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BAEZ, ISAIAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BAEZ, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BAEZ, MARIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BAEZ, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BAEZ, OLGA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BAEZ, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BALAGUER, AIXA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BAREA, JUSTO R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BARRETO, EIMY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BARRETO, GLORIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BARRIOS, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BARRIS, MANUEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BATISTA, OCTAVIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BAUZA, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BELEN, STEPHANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BELLBER, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BELTRAN, MELVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BENABE, JOSUE I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BENET, MARIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BENGOCHEA, HECTOR A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BENITEZ, AMEL C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BENITEZ, AMEL C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BENITEZ, DENISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BENITEZ, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BENITEZ, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BENITEZ, PEDRO L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BERBERENA, ANGEL MIGUEL REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6091 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1092 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ BERBERENA, DORCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BERDECIA, OMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BERMUDEZ, IRASEMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BERMUDEZ, LUZ D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BERMUDEZ, LUZ D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BERMUDEZ, RICKY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BERNECER, AMY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BERNECER, AMY J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BERNECER, MARIA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BERNECER, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BERNECER, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BERRIOS, AIDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BERRIOS, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BERRIOS, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BERRIOS, JULIO C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BERRIOS, LINO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BETANCES, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BETANCOURT, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BETANCOURT, LILLIAM     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BETANCOURT, MILEDYS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BEZARES, VIRGINIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BIDOT, ANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BLANCO, KARLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BLANCO, NEXY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BLANCO, NEXY E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BOBONIS, MARIA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BONANO, CARMEN Y.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BONES, DIXIERELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BONES, MELANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BONET, CARLOS J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BONILLA, BRENDALYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BONILLA, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BONILLA, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BONILLA, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BONILLA, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BONILLA, MARYLYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BONILLA, NEREIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BONILLA, ROSA A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BONILLA, WILSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BONILLA, WILSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BORGES, BARBARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BORGES, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BORGES, DIMAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BORRERO, CARLOS F.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BORRERO, LESLIE D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BOSQUES, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BOYER, MANUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BRAS, MARIA A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BRAVO, WILLIAM J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6092 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1093 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ BRITO, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BRITO, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BRUNO, ANA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BRUNO, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BRUNO, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BURGOS, DEINIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BURGOS, IVAN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BURGOS, JEANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BURGOS, JENNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BURGOS, JENNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BURGOS, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BURGOS, RAUL E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BURGOS, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BURGOS, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ BURGOS, YANIBETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CABAN, LUCELENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CABAN, THISBETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CABAN, THISBETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CABEZUDO, MANUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CABEZUDO, MANUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CABEZUDO, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CABRERA, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CABRERA, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CABRERA, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CABRERA, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CABRERA, TATIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CACERES, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CACERES, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CACERES, DORIS S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CACERES, MANUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CACHOLA, TOMAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CALDERON, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CALDERON, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CALO, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CALO, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CAMACHO, EMINETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CAMACHO, EMINETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CAMACHO, FRANCES M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CAMACHO, GRACE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CAMACHO, KELVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CAMACHO, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CAMACHO, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CAMARENO, LISANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CAMPOS, MARIA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CAMPOS, MARY LEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CANALES, YITZ HAK       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CANCEL, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CANCEL, ELSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CANDELARIA, DANIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6093 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 1094 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ CANDELARIA, JUAN        REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CANDELARIA, JUAN H      REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CANDELARIA, MARIA I     REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CANDELARIA, WALDETRUDIZ REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED

SANCHEZ CANDELARIO, MARIA I.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CANDELARIO, RAMON         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CANDELARIO, RAMON         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CANDELARIO, RAUL          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CANDELAS, PRISCILA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CANETTY, MAXWELL          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CAPELES, AMELIA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CAPO, EDNA M              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARABALLO, CARLOS         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARABALLO, CARLOS O.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARABALLO, CRISTOBAL      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARABALLO, HECTOR D       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARABALLO, JOHANNY L      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARABALLO, MABEL          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARABALLO, MELVA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARABALLO, OLGA C         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARAMBOT, LUIS L          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARATTINI, JESSICA A.     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARBALLO, BRIAN S.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARDONA, ALEXANDER        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARDONA, DIANA I          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARDONA, EDGAR MANUEL     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARDONA, RAUL             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARDONA, VICTOR           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARDONA, VICTOR           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARDONA, WALDEMAR         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARDONA, WILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARDONA, ZIARA B          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARINO, HAYDEE            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARINO, IRMA N            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARINO, OMAR              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARMONA, ELIEZER          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARMONA, ELIEZER          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARO, ESTRELLA D          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARO, MIGUEL A            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARO, SANDRA              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARO, STEPHANIE           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARRASQUILLO, ANA C       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARRASQUILLO, ANA C.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARRASQUILLO, CHRISTIAN   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
A
SANCHEZ CARRASQUILLO, DAVID       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARRASQUILLO, DEBORA      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ CARRASQUILLO, ITZA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6094 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1095 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ CARRASQUILLO, MARIANN    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRASQUILLO, SARAHI     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRASQUILLO, SARAHI     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRASQUILLO, SHEILA S   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRASQUILLO, XIOMARA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRERAS, EDA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRERAS, IGNACIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRERAS, SHEILA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRERO, DIGNA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRERO, HERMINIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRERO, LOURDES G       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRILLO, YAIZA N.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRILLO, ZENAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRION, AGAPITO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRION, ALEXANDER       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRION, ANA I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRION, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRION, FRANCISCO J     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRION, IRMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRION, IRMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARRION, NYDIA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARTAGENA, AIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARTAGENA, ANABELL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARTAGENA, ANABELL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARTAGENA, ANGEL L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARTAGENA, DIANA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARTAGENA, DIANA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARTAGENA, HECTOR A.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARTAGENA, JAVIER A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARTAGENA, JULIO E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARTAGENA, LILLIAM       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARTAGENA, LUIS M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARTAGENA, MANUEL A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARTAGENA, NITZA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARTAGENA, NITZA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CARTAGENA, OSVALDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASANOVA, CARMEN M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASANOVA, KATIRIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASANOVA, MIGDALIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASELLAS, GUARIONEX      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASELLAS, VICTOR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASIANO, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASIANO, GLADYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASIANO, MARY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASIANO, WILSON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASIANO, YAMILKA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASIANO, YAMIRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASILLAS, IRIS R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASILLAS, LYDIA A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6095 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ CASILLAS, ULISES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTELLANO, ADA N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTILLO, DIANA J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTILLO, JUANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTILLO, LUIS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTILLO, MARIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTILLO, REBECA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTILLO, ROQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTOIRE, BRUNILDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, BERNARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, BRAULIO I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, JOSHUA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, KEISHLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, LUZ A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, RIGOBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, SULAINEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CASTRO, ZENAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CATALA, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CENTENO, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CENTENO, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CENTENO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CENTENO, ELSIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CENTENO, GILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CENTENO, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CENTENO, LAURA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CENTENO, LUISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CEPEDA, JESSICA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CEPEDA, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CHACON, BETZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CHARDON, CARLOS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CHEVERE, ELBA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CINTRON, CARMEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CINTRON, DAISY A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CINTRON, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CINTRON, LUIS B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6096 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1097 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ CINTRON, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CINTRON, PRISCILLA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CINTRON, WALTER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CINTRON, WALTER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CLASS, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CLASS, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CLAUDIO, BRENDA Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CLAUDIO, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CLAUDIO, LIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CLAUDIO, MAYDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CLAVELL, ELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CLAVELL, MIGDELI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CLAVELL, ROCIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CLEMENTE, MARK          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLL, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLLADO, LOURDES J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLLAZO, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLLAZO, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLLAZO, IVELIZE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLLAZO, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLLAZO, KADISHA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLLAZO, KADISHA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLLAZO, LIZETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLLAZO, LIZETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLLAZO, MARIA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLLAZO, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLLAZO, SAMUEL E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLLAZO, STEPHANIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLLAZO, VERONICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLLAZO, YAHAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, ANGEL J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, AXEL N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, AXEL N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, CACILIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, CACILIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, CARMEN J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, CARMEN N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, CESAR R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, DAIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, DORIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, ELISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, ELVIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, ELVIA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, ILIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ COLON, JACKSIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, JANICE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, JANIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, JESMARIET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, JESSICA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, JORGE LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, JORGE W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, JOSE O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, JOVITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, LEONARIES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, LOIDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, LYNNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, LYNNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, LYSSETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, MAGDALENA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, NILDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, NYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, PEDRO J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, RADAMES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, RAMON L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, RICARDO J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, ROSE Y.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, VICTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, VICTOR L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, WILLIAM A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COLON, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CONCEPCION, EDUARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CONCEPCION, EDUARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CONCEPCION, JEANNETE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CONCEPCION, JENNIFER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CONCEPCION, JOSE O.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CONCEPCION, MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6098 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1099 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ CONCEPCION, MELISSA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CONCEPCION, ROSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CONCEPCION, VERY B.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CONDE, JOHANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CONTRERAS, SHEILA Z.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORA, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORDERO, ABRAHAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORDERO, AXEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORDERO, JUAN JOSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORDERO, MARYLIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORDERO, MELVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORDOVA, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORDOVA, DAMARIS E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORDOVA, DANNETTE L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORDOVA, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORDOVA, SANDRA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORRALIZA, GIL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORRALIZA, IDALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORRALIZA, IDALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORREA, CARMEN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORREA, ELIAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORREA, GLENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORREA, LILIBETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORREA, LILYBETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORREA, LUZ I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORREA, MARIA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORSINO, DIANA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORTES, ARACELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORTES, MANUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORTES, YADIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORTINA, WILLIAM R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CORUJO, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COSME, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COSME, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COSS, YASHIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COSTACAMPOS, SAMUEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COSTACAMPS, ABIZAEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COSTELLO, PABLO L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COSTELLO, PABLO L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COTTO, JOAN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COTTO, NELIDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COTTO, NELIDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COTTO, NICOLASA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COTTO, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COURTNEY, YARIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ COURTNEY, YARRELLY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRESPO, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRESPO, EMMA LEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRESPO, FRANCISCO E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6099 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1100 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ CRESPO, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRESPO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRESPO, JOSEFINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRESPO, JULIO A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRESPO, LEONARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRESPO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRESPO, LYDIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRESPO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRESPO, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRESPO, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRESPO, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRESPO, YOSSELYNE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, ABRAHAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, AGUEDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, ANDRES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, ANITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, ANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, ARCADIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, ARMANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, BRISEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, CARMEN I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, CARMEN J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, CARMEN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, CECILIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, DAISY E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, DOROTEO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, EDNA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, FRANCES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, FRANCISCO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, HIRAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, IGNACIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, JESUS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, JOELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, JOSE D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, JOSE E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, JUSTINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, LILIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, LIZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ CRUZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6100 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1101 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ CRUZ, LUIS FELIPE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, LUZ N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, MIRTA Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, NANCY LEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, NILSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, OLGA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, ONEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, RITA S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, SANTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, SILMA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, TATIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, WENSY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, YADIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, YAMILEZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, YANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, YOANIRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, YOMAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CRUZ, YOMAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CUADRADO, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CUEVA, ANGEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CURBELO, ADA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CURBELO, IDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ CURBELO, IDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DAPENA, VILMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DAVID, DANNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DAVID, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DAVID, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DAVID, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DAVILA, AMARILYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DAVILA, IRAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DAVILA, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DAVILA, MARIELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DAVILA, MYRNELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DAVILA, MYRNELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DAVILA, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DAVIS, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6101 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1102 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ DE ALBA, GUSTAVO A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE ALBA, MARCOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE ALBA, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE APONTE, ANA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE CARVALHO, DECIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE COSTE, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE COSTE, NANCY M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, BELMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, BELMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, CARLOS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, CARLOS D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, CASILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, ELI S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, ELI S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, ENITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, FELIX JOSE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, GUARBERT      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, HECTOR L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, HERICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, JOSE R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, KAREN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, LEMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, MARIA DE L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, MARINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, MYRNA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, ROSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, ROSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, SAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, WANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, YASHIRA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE JESUS, ZORAYA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE LA CRUZ, GUILLERMO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE LA CRUZ, PORFIRIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE LEON, ENID M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE LEON, FLORENCIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE LEON, FLORENCIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE LEON, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE LEON, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE LEON, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE LEON, MODESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE LEON, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE LEON, SANTIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6102 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1103 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ DE LEON, YANIRIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE LEON, YARIBSA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE LOS SANTOS, NORMA E.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE MERCADO, MARTHA C.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE RIVERA, LUZ            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE RIVERA, OLGA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE SOTO, MYRTA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DE VIGOREAUX, NOEMI       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DECLET, MIGUEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DECLET, MIGUEL A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DEFENDI, JOHANYS N        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DEFENDINI, JOHANYS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DEKONY, ANGEL L.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DEL CAMPO DELGADO,        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
MARIO E
SANCHEZ DEL CAMPO, ISABEL E.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DEL TORO, CARMEN M        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DEL VALLE, CARLOS         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DEL VALLE, CARLOS R       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DEL VALLE, ERNESTO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DEL VALLE, JUAN J         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DEL VALLE, JUAN J         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DEL VALLE, LARRY          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DEL VALLE, LARRY          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DEL VALLE, MAYDELIZ       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DEL VALLE, RAQUEL         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DEL VALLE, RAQUEL         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DEL VALLE, ROSA I         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DEL VALLE, ROSA I         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DEL VALLE, VILMA D        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DEL VALLE, YAHAIRA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DEL VALLE, ZULEIMARIE     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, AIDA L           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, AIDA L           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, ANIBAL           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, BRIAN            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, CARMEN L         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, FRANCISCO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, HECTOR M.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, HELEN M.         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, ISABEL           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, JESUS            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, JOSE E           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, JOSE E           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, JUAN             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, LILLIAN          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ DELGADO, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6103 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1104 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ DELGADO, MARIA S         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DELGADO, MIGUEL A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DELGADO, NAYLINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DENIZARD, NORMA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DENNIS, AMARIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DESARDEN, NOEMI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, ALEXANDER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, ANA L              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, CARLA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, DINORAH            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, ELADINA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, ELISEO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, ELVIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, EMILIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, FRANCISCO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, FRANCISCO J.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, GLENDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, GLORIMAR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, HECTOR J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, HEYWOOD            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, HILDA G            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, JANICK O           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, JORGE L.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, JOSE A.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, JOSE L.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, JOSE L.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, JOSE R             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, JUAN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, LUZ N              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, LUZ V              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, MADELINE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, MARIA C            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, MARIA DEL CARMEN   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, MARTA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, MIGUELINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, NURIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, NYDIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, VANESSA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ, VANESSA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIAZ,ALEXANDER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DIEPPA, MARIBEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DISLA, CHRISTOPHER X     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DOMINGUEZ, ANGEL M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DOMINGUEZ, CARMEN L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DOMINGUEZ, JUAN R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DOMINGUEZ, MARIA E.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DOMINGUEZ, YOLANDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DOMINGUEZ, ZILIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DROZ, AGNES K            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6104 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1105 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ DUPREY, MARCOS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DUQUE, NOEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ DUVERGE, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ENMANUEL
SANCHEZ ECHEVARRIA, JUAN P      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ECHEVARRIA, WALLY S     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ELIZA, LUIS G           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ EMERIC, EDGAR           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ENCARNACION, CARMEN L   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ENCARNACION,            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
MARICARMEN
SANCHEZ ENCARNACION,            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
MARICARMEN
SANCHEZ ENCARNACION, MELISSA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ENCARNACION, MIGUEL     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ENCHAUTEGUI, NILDA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ENCHAUTEGUI, WANDA S    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ESCALERA, ADRIA A.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ESPADA, IVAN F          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ESPADA, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ESPINOSA, LIMARIS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ESPINOSA, MICHAEL       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ESPINOSA, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ESTEVES, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ESTRADA, LIMARY         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ESTRADA, RIGOBERTO      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ESTRADA, RUBILIANY      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ESTRADA, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ESTRELLA, SERGIO L.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ EXCIA, YALEIDY          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FAJARDO, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FALCON, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FALERO, NEDELYA K       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FALU, KARLA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FALU, KARLA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FANTAUZZI, CONCEPCION   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FANTAUZZI, CONCEPCION   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FARGAS, ADRIANA M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FEBO, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FEBO, ROSA I            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FEBRES, JOVANNY         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FEBRES, REBECA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FEBUS, DANNY            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FELIBERTY, ANGEL L      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FELICI, VIVIANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FELICIANO, ABNER        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FELICIANO, ABNER        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FELICIANO, ANA Y        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ FELICIANO, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6105 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1106 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ FELICIANO, ANGEL L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, ANGELINA M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, ANGELINA M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, BEATRIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, CLARIBEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, DAMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, EDGARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, EILEEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, IDALI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, IVANESSA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, IVANESSA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, JESUS E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, JOEMIXAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, LUIS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, MARIA D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, MERY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, MILAGROS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, MIRTA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIANO, ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIER, YAIRALIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELICIER, YAIRALIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELIPE, BEATRIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELIPE, BEATRIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELIX, BERTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELIX, DAISY D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELIX, EVA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FELIX, JOEDANNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FERNANDEZ, ALEJANDRO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FERNANDEZ, ANGEL L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FERNANDEZ, BLANCA I.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FERNANDEZ, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FERNANDEZ, JORGE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FERNANDEZ, JOSE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FERNANDEZ, NOEMI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FERNANDEZ, PILAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FERNANDEZ, TANAIKIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FERNANDEZ, YOLANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FERNANDEZ, YOLANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FERREIRA, GERANNIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FERREIRA, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FERRER, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEORA, REINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, AIDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, ANA MARIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, ANELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, ANELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, AUREA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, AUREO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6106 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1107 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ FIGUEROA, BRIAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, CLARISA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, CRUZ           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, CUTBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, DINORAH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, EDDIE C        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, EDRICK         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, EDUARMIL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, EDUARMIL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, EDWIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, ELVIS J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, FRANCISCO J.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, GLORIA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, GLORIA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, GLORILU        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, ILEANA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, IRIS V         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, IRIS V         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, ISMAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, JANET          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, JERIME         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, JOSE L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, JOSE L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, JOSE M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, JUAN DE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, JUAN M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, JUAN R.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, KARELYS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, LUIS F         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, MYRIAM H       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, MYRNA A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, NATALIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, NIMARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, OSCAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, PEDRO L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, SONIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, VIRGILIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FIGUEROA, WILLIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLECHA, JENNIFER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, ALEXANDRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, ANA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, CHRISTIAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, ELISA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, ELISA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, EUGENIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, EUGENIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, GAMALIER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6107 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1108 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ FLORES, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, JOSE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, MARIA T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, MICHELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, RAFAELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, SOL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FLORES, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FONRODONA, AMOS R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FONSECA, JORGE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FONSECA, LUIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FONSECA, LYZETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FONSECA, YVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FONTANEZ, ELISIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FONTANEZ, ENITH M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FONTANEZ, ITAMARA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FONTANEZ, ITAMARA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FONTANEZ, MARIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FONTANEZ, MELANIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FRANCO, GISELE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FRATICELLI, JESINETTE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FUENTES, AUGUSTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FUENTES, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ FUENTES, OLGA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GALARZA, AMARILIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GALARZA, ANN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GALARZA, JOSE R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GALARZA, LUIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GALARZA, NICOLAS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GALARZA, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GALINDEZ, ARACELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GALINDEZ, ARACELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GALINDEZ, FERDINAND     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GALLARDO, LAURA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GALLOZA, MOISES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GALVAN, KENNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GALVAN, KENNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARAY, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARAY, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCED, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, AILEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, ARCADIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, AYMEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6108 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1109 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ GARCIA, AYMEE V          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, BLANCA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, BRENDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, CARMEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, CARMEN D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, CARMEN L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, CARMEN M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, CLARA D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, CLARA DEL MA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, DAMILIZ          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, DANIEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, DAVID            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, DENISE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, DIDIEL J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, ELENA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, EMANUELLE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, EULALIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, EVELYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, EVELYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, EVERIS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, FRANCHESKA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, GERONIMO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, GILBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, GILBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, GLORIMAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, HECTOR L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, IRAIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, IRMA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, ISABEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, IVAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, IVONNE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, IVONNE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, JANET            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, JOKSAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, JOSE A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, JOSE R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, LOURDES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, LUIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, LUIS F.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, MARIA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, MASHELIER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, MICHELLE MARIE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, MIGDALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, MIGUEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, MIGUEL A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, NITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, NOELIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, NORMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, NORMA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6109 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1110 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ GARCIA, PASTOR L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, PETRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, PETRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, RAQUEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, RAQUEL DEL MAR   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, ROSA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, ROSA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, SAUL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, VALENTIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, VICTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, VICTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, VICTOR O         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, VIDALINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GARCIA, WALTER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GERENA, MARICELY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GERENA, MAXIMO A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GIERBOLINI, CLARIBEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GINES, DAMARY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GINES, DAMARYS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GINES, DIMARYS D.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GINES, MYRIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GINES, WILFREDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GOMEZ, ANGEL R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GOMEZ, BRIGIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GOMEZ, GLENDALIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GOMEZ, GLORIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GOMEZ, GREGORIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GOMEZ, JUAN A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GOMEZ, LUIS M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GOMEZ, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GOMEZ, MARIA C.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GOMEZ, MILAGROS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GOMEZ, MONSERRATE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GOMEZ, PEDRO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GOMEZ, SAMUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, AGUSTINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, AIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, AIDA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ALADINO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ALEX           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ALEXANDRA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ANA B.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ANA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ANA MARIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ANGELA M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ARMANDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, CARMEN H       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, CARMEN J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6110 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1111 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ GONZALEZ, CARMEN N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, CATHERINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, CONSUELO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, CRISTINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, CRISTINA M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, DAISY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, DANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, DIMAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, EDIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ELSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, FERDINAND     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, GILMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, GLORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, GLORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, GLORIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, GLORIMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, GLORIMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, HAMID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, HECTOR L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, HILDARELYS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, INIABEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, IRIS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, JACQUELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, JACQUELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, JEANETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, JEANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, JESSICA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, JOSE R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, JOSE R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, JOSEPH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, JUAN RAMON    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, JUANITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, JUANITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, JUSTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, JUSTO R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, LEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, LISSETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, LUCIANO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6111 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1112 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ GONZALEZ, LUIS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, LUZ E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, LYDIA S.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, LYNNETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MANUEL DE J    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MARIA DEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
CARMEN
SANCHEZ GONZALEZ, MARIA DEL      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
CARMEN
SANCHEZ GONZALEZ, MARIA I        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MARIA I.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MARIA JUDITH   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MARILYN        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MARISABEL      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MARISELA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MARTA M        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MAYRA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MELISSA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MIGDALIA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MIGUEL         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MIGUEL         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MIGUEL A       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, MIRNA L        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, NILDA L        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, NINOSHKA M     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, NOEMI          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, NOEMI          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, NORMA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, NORMA I        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, NYDIA R        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, OLGA I.        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, OSCAR          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, RAUL           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ROBERTO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ROBERTO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ROCHELIE       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ROCHELIE       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ROSA E         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, SAMUEL         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, SAMUEL         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, SAMUEL W.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, SULYMAR        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, TOMAS          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, TOMASA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, TOMASA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ GONZALEZ, VICTOR M       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6112 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1113 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ GONZALEZ, VIVIAN A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, WILMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, YARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, YEHIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ZAENID M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ZENAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ZORAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ZORAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GONZALEZ, ZULEYKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GORDIAN, CHARMINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GORDIAN, GRISELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GOTAY, ANGELICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GRACIA, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GRATENOLE, HECTOR R.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GREEN, ALVIN F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GREEN, ALVIN F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUADALUPE, KYRIA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUADALUPE, ORLANDO L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUADALUPE, RAYMOND E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUTIERREZ, JOSEFINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUZMAN, ALEXIS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUZMAN, ANTONIO O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUZMAN, ASUNCION        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUZMAN, GLADYS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUZMAN, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUZMAN, JOAQUIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUZMAN, JULIO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUZMAN, LUZ D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUZMAN, MAYDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUZMAN, NELLIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUZMAN, NELLIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUZMAN, NILSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUZMAN, NILSA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUZMAN, NILSA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUZMAN, ROBERTO A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ GUZMAN, VICENTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HANCE, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HENRIQUEZ, JULIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, AGUSTINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, ALEXSANDER   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, ANA H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, ANGEL L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, ANGEL R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, BELEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, CARMEN D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, CARMEN I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6113 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1114 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ HERNANDEZ, CESAR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, CESAR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, DAMIAN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, DANIEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, DOLORES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, EDDY M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, ELIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, ELIZABETH      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, ELIZABETH      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, ESTEBAN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, GABRIELA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, GLORIA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, HAYDEE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, HECTOR LUIS    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, HILDA E.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, IRIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, IRIS J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, IRIS V         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, JOSE I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, JOSE R         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, JUAN M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, JULIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, LIZBETH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, MARIA A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, MARIA A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, MARIA DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, MARIA DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
A
SANCHEZ HERNANDEZ, MARIA DEL C    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, MAYRA N.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, MELISSA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, MIGUEL A       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, NARDA L        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, RAFAEL         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, RAMON          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, REINALDO       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, REINALDO M     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, ROSA M         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, RUBEN A        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, SARITZIA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, SOLMARY        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, WALESKA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, WALESKA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, WILMARYS       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERNANDEZ, YENIA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERRERA, GLADYS           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ HERRERA, GLADYS           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6114 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1115 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ HIDALGO, DELIVE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HIDALGO, DELIVE E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HIDALGO, DELIVE E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HIDALGO, STEPHANIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HILDALGO, MINERVA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HIRALDO, ELIZABETH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HIRALDO, ELIZABETH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HIRALDO, JOSE A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ HUERTAS, AIDA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ INCLE, MANUEL F.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRV, IRMAGDALIZ     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, AIDA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, ALICIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, AURELIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, AURELIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, AURELIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, AXEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, AXEL A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, CARLOS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, CLARIBEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, CLARIBEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, DAIVID         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, DEBORAH E.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, DEOSCOIDY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, GLORIMAR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, INGRID J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, JOSEFA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, JUAN A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, KARLA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, RAMONA DEL R   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, RICARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, ROBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IRIZARRY, WANDA E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ISAAC, PEDRO D.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ISAAC, ZORAIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ITURRINO, WILFREDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ IZAGAS, LIZANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JAIMAN, ENID J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JAVIER, MARANYELIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JIMENEZ, ALIZA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JIMENEZ, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JIMENEZ, CARLOS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JIMENEZ, CARMEN L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JIMENEZ, ELSIE L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JIMENEZ, ERVIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JIMENEZ, ERVIN J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JIMENEZ, IVAN R.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JIMENEZ, JOSE A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JIMENEZ, JUAN A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6115 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1116 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ JIMENEZ, MARIA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JIMENEZ, MIRELLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JIMENEZ, MIRELLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JIMENEZ, PRUDENCIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JIMENEZ, PRUDENCIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JORGE, JOSE F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ JUARBE, WILSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ KOORNCHORN, CARLOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LA COSTA, BENICIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LA COSTA, CARLOS M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LA SANTA, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LABOY, ARMANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LABOY, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LABOY, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LABOY, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LAGUNA, NILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LAJARA, KAREN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LAJARA, KAREN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LAJARA, SHEILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LAJARA, SHEILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LAMB, RICHARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LAMB,RICHARD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LAMBOY, KEDDIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LAMBOY, OSCAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LAMD, RICHARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LAMOUTTE, MELISSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LANZO, BIENVENIDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LANZO, TAMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LAO, SILVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LARA, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LARREGUI, IDALIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LAZU, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LE RAVEN, IAN Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LEBRON, DOMINGA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LEBRON, ELSIE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LEBRON, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LEBRON, INIABELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LEBRON, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LEBRON, MARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LEBRON, MARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LEBRON, NANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LEBRON, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LEBRON, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LEININGER, ATABEX       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LEON, AMANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LEON, DORA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LEON, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LEON, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LINARES, NATALIE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6116 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1117 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ LINARES, PAULA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LIND, SONIA DEL P.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LIZARDI, ELBA L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LIZARDI, LOURDES D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LLANOS, ANDY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LLANOS, PETRITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LLAVONA, CLARIBEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LLERAS, GABRIEL A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LLORET, ANA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LLORET, EDWIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPERENA, ELIUD I.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPERENA, MOISES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ SANCHEZ, MARISOL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, ALEJANDRO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, ALICIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, ANAMARIES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, ANAMARIES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, ANGELITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, AURORA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, BRENDA LEE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, BRENDA LEE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, CARMEN E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, CARMEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, CLARA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, ELVIS M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, FERNANDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, GLORIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, HECTOR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, ISAIAS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, IVAN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, IVELISSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, IVETTE Y          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, JORGE L.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, JOSE A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, JUANITA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, JUANITA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, KARLA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, LASLIE Z          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, LETICIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, LOUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, LYDIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, LYDIA E.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, MANUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, MARIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, MARIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, MARILYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, MICHAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, MICHAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, MIGUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6117 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1118 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ LOPEZ, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, MIGUEL G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, NAOMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, NELSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, NILSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, NYDIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, NYDIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, PEGGY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, RUTH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, TOMAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, WILLIAM J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOPEZ, YAMIL D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LORENZI, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LORENZI, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LORENZO, GRISELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOYOLA, GIOVANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOZADA, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOZADA, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOZADO, GENOVEVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LOZANO, XIOMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LUCIANO, BLANCA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LUCIANO, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LUGO, FRANCISCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LUGO, JAZMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LUGO, MARIA ANGELICA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LUGO, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LUNA, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LUPIANEZ, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LUYANDO, JANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ LUYANDO, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MACEIRA, ADALIS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MAISONET, GERARD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MAISONET, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MAISONET, WANDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALAVE, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, AUREA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, CARMEN I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, CINTHIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, EDGARDO L.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, GISELA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, HERMINIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, JORGE E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, JUAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, JULIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, JULIO A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6118 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1119 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ MALDONADO, JULIO C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, KARY L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, LOAIZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, LYDIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, MARIELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, MARIELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, MARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, MILDRED O.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, MIRIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, NIXA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, NYDIA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, RAMON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, RAQUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, SINDY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, SINDY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, TYRONNE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, YARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALDONADO, YOHANA E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MALTES, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MAMBRU, CHARISS N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MANZANILLO, NAHOMI I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MANZANO, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MANZANO, MARCEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MANZANO, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MANZANO, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MANZANO, MARLENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARCANO, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARCANO, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARCHAND, CARMEN G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARCHAND, CARMEN G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARCHAND, JOSE D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARCHAND, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARCHAND, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARENGO, ELLIOT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARQUEZ, CARLOS Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARQUEZ, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARQUEZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARQUEZ, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARQUEZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, AILEEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, ANGELES E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, GAMALIER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, GLADYS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, IRMA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, IRMA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, KAROL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6119 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1120 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ MARRERO, LUZ N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, MARIA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, MARIA T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, MICHELLE Y     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARRERO, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTIN, GILIEZER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, ALMIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, AMARILYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, AMELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, ANGEL L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, CARMEN S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, DELVIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, ELI SAMUEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, ELISEO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, ENOCK         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, ERNESTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, ERNESTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, FRANCES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, GLORIBEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, HEIDI L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, HEIDI L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, IRMA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, JOSE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, JOSE F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, JULIO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, LINDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, LOURDES J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, LUZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, LYDIA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, MAGALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, MARIA DEL R   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, MARIA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, MARTA O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, MARTIN R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, MELANIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, MIGUEL A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, MILKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6120 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1121 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ MARTINEZ, MIRIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, MYRNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, NARMO M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, ORLANDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, RAUL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, RAUL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, RAUL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, RICHARD        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, ROSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, ROSA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, SAMIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, SAMUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, SANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, SANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, SHIRLEY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, SUEHALEY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARTINEZ, VALERIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARZAN, ALBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARZAN, ALBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MARZAN, JENNIFER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MASCARO, MARIA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MASSA, BLANCA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MASSA, JACQUELINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MASSAS, ZULEIKA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATEO, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATEO, EDWIN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATEO, JOSE LUIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATEO, MARIELI           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATEO, MICHELLE E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATEO, YISA T            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATIAS, JESSICA V.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATOS, GINETTE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATOS, HIRAM L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATOS, IRIS Y.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATOS, LUIS A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATOS, SARAHI            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATOS, SARAHI            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATOS, STEPHANIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATTA, MARGARITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATTA, MARGARITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATTA, SYLVIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATTA, VANESSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATTEI, FRANCISCO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MATTEI, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MEDIAVILLA, ALBERTO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MEDINA, ANA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MEDINA, ANA C            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MEDINA, ANA C.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MEDINA, CHRISTOPHER L    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6121 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1122 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ MEDINA, ELISEO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MEDINA, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MEDINA, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MEDINA, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MEDINA, IVETTE N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MEDINA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MEDINA, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MEJIAS, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MEJIAS, IRENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MEJIAS, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MEJIAS, YESSMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MEL, MARIA DE LOS A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, ANGEL M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, ANGEL M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, CINDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, KARLA N.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, MAGALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, MARIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, MARIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, MARILIANA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, RAYMOND       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, REBECA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, ROCHELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, ROLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, YANISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, YESSENIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MELENDEZ, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDEZ, ANGELIE M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDEZ, CARMEN G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDEZ, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDEZ, ESTHER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDEZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDEZ, LUIS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDEZ, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDEZ, MARIPURA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDEZ, RUTH N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDEZ, VANESSA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDEZ, VANESSA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDEZ, YAHAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDEZ, YAHAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDIOLA, VANESSA M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDOZA, GRACIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDOZA, GRACIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDOZA, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6122 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1123 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ MENDOZA, LUZ D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENDOZA,JUAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MENENDEZ, SONIA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERAN, ZORA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, ALEXANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, BLASINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, EDGARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, EMILIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, GODOFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, JOSE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, JOSE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, JOSE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, JOVINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, LUIS J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, MIGUEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, NESTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, OTILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, PERSIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, RAYMOND A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, RUTZAHIRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, SYLVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, SYLVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, VICTOR R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, WILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCADO, WILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCED, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MERCED, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MILANES, NORBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MIRALLES, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MIRANDA, JONATHAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MIRANDA, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MIRANDA, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MIRANDA, MIGUEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MIRANDA, REYNALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MIRANDA, REYNALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MIRANDA, ROSENDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MIRANDA, WESLEY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MITCHELL, ALEXANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MOCTEZUMA, YARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MOJICA, MARIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MOJICA, OLGA ELISA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MOLINA, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MOLINA, GILDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MOLINA, ILANE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6123 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1124 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ MOLINA, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MOLINA, LUIS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MOLINA, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONAGAS, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONAGAS, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONGE, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONGE, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONGE, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONSERRATE, JUAN R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONTA&EZ, DENISSE A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONTALVO, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONTALVO, EVELYN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONTALVO, LILLIAM E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONTANEZ, SANDRA A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONTANEZ, TEOBALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONTANEZ, YANSIE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONTANEZ, YANSIE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONTESINO, SOL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONTIJO, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONZON, GRACE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MONZON, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, ADA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, ALICIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, BRYAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, CRUCITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, DARWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, DIANILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, FERDINAND M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, GLORIMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, GLORIMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, HAYDEE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, IVONNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, JACOBO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, JOCABED M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, JUDITH M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, JULIO A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, KIARA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, LESLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, LUZ N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, MARGIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, MARIA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, MILTON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, NELSON J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, NELSON J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6124 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1125 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ MORALES, OREALIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, ORLANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, RUTH M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, VICTOR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, VICTOR M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, WANDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, YOEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, YOEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORALES, ZABDIEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORAN, JOSE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORENO, GABRIEL M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORENO, GUILLERMO JOSE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORENO, HECTOR J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORENO, MICHELLE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORENO, MICHELLE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORENO, ODETTE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORERA, LUIS M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORET, CRUZ M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MORET, EMERITA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MOYET, MIGUEL A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MOYET, MIGUELINA A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MUNICH, LILLIAN M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MUNIZ, CARMEN M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MUNIZ, CESAR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MUNIZ, CRUZ              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MUNIZ, GISELA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MUNIZ, GISELA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MUNIZ, IRIS M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MUNIZ, JEANETT           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MUNOZ, BETSY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MUNOZ, LUIS M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MUNOZ, MARIBEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MUNOZ, ROSA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MUNOZ, SAMALY Z          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MUNOZ, VERONICA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ MURPHY, LUIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NARANJO, MARIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NATAL, CHRISTIAN REY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NATAL, JENNY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NAVARRO, CARMEN L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NAVARRO, JORGE L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NAVARRO, JUSTINO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NAVARRO, MARIA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NAZARIO, ABRAHAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NAZARIO, ARMANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NAZARIO, EMMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NAZARIO, JOSE A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NAZARIO, NELLIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NAZARIO, ROSELIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6125 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1126 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ NAZARIO, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NAZARIO, YADIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, ANDERSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, ANIBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, ANIBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, CECILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, CRIMILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, CRIMILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, DARA D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, DAVIS J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, HECTOR J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, JANICE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, JOSE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, MAYLA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, RHODES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, RHODES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, ROSA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEGRON, VIRGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NERIS, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NERIS, RAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NEVAREZ, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIETO, ODELTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, CAMILLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, DOLORES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, EVA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, FUNDADORA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, IRIS L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, MARIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, NILSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, ROBERTO L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, ROSA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, ROSARIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NIEVES, XAXIVETH I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NOBOA, SHEILA J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NUNEZ, ANNA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NUNEZ, CARMEN I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6126 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1127 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ NUNEZ, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NUNEZ, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NUNEZ, RIGOBERTO JR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ NUNEZ, WILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OBREGON, CLARA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OCACIO, ALEJANDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OCACIO, ALFONSO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OCASIO, AURIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OCASIO, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OCASIO, EMILIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OCASIO, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OCASIO, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OCASIO, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OCASIO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OFARRIL, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OJEDA, FRESMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OJEDA, GLENDALY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OJEDA, ILEANA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OJEDA, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OJEDA, LUIS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OLIVERAS, ANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OLIVERAS, LOURDES C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OLIVERAS, MADELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OLIVERAS, MADELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OLIVERAS, MAYRA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OLIVERO, JOSE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OLIVIERI, ERMELINDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OLIVIERI, ERMELINDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OLIVO, ANA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OLMEDA, TEOFILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OLMEDO, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OLMO, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OLMO, CANDIDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OLMO, JESUS C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OQUENDO, DARLENE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OQUENDO, TOMAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OQUENDO, TOMAS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORENGO, LEDIF           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORENGO, MARIA DE LOS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ANGELES
SANCHEZ OROZCO, CHRISTIAN       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ OROZCO, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ OROZCO, MILDREED        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ OROZCO, PROVIDENCIA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ORTA, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ORTA, GLORIA I.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ORTA, MONICA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ORTEGA, AILEEN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ ORTEGA, BRENDA N        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6127 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1128 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ ORTEGA, DALIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTEGA, IDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTEGA, JANISE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTEGA, NILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, AIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, ANA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, ANTONIO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, CARLOS E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, CARLOS R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, CESAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, CONCEPCION       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, CRISTOPHER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, DIXON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, EDUARDO F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, EDUVIGIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, ELLIOT L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, ERICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, FRANCISCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, GILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, GIOVANI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, GLAIRELYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, GLORIVEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, GLORIVEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, HELEODORA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, ISAAC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, ISAAC R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, ISAAC R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, JADIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, JAYDY E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, JOHNILL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, JUAN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, JUAN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, KATHERINE J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6128 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1129 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ ORTIZ, LUIS F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, LUZ S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, MARANGELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, MARANGELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, MARIA DE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, MARIA DEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, MARILITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, MARTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, MAUREEN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, NATIVIDAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, NERITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, NILSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, NIXIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, NORBERTO O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, PABLO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, PEDRO A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, RAMON E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, ROSELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, SHAKIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, SHEILYMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, VICENTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, VICTORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, VIRGINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, WANDA G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, YARELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, ZAIDA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ORTIZ, ZORAYA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OSORIO, ALICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OSORIO, ANDRES A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OSORIO, BRYAN O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OSORIO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OSORIO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OSORIO, MARANLLELY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OTERO, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OTERO, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OTERO, ANGEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OTERO, BELMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OTERO, BELMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OTERO, BENIGNO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OTERO, CARMEN X         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OTERO, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OTERO, LISANDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OTERO, MARIA DE LOS A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OTERO, MYRNA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6129 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1130 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ OTERO, MYRNALIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OTERO, SOL I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OTERO, ULISES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OTERO, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OYOLA, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OYOLA, CARMEN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OYOLA, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OYOLA, MIREYSHA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OYOLA, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ OYOLA, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PABON, ANA G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PABON, CARELI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PABON, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PACHECO, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PACHECO, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PACHECO, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PACHECO, ROSALIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PACHECO, WANDA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PADILLA, ADMITZAEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PADILLA, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PADILLA, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PADUA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, ADRIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, ALYS Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, ALYS Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, ARLENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, ARLENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, CARLOS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, CARMEN T.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, CARMENSITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, CYNTHIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, DAYRA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, EDALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, HENRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, HENRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, IRIVING          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, ITSAMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, LILLIAM M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, MARIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, SERGIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, STEPHANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAGAN, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PARDO, IDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6130 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1131 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ PARDO, TERESA A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAREDES, DAVID           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PAREDES, WANDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PARRILLA, GLENDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PARRILLA, MARIA C        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PASTRANA, BIANCA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PASTRANA, EDMARIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PASTRANA, RAMON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PATINO, MARIA N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEDRAZA, MARIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEDRAZA, MARIA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEGUERO, IRIS C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PELLICIA, GUILLERMO J.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PELLICIER, MARIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PENA, ANAIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PENA, GERMAN L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PENA, ISALIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PENA, LOURDES            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PENA, MARIA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PENA, MILDRED            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PENA, NYDIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PERALES, EVA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PERAZA, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PERDOMO, MARGARET        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREIRA, NYRMA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREIRA, WANDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREIRA, WANDA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PERELES, SANTIAGO J.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ADNERIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ALEJANDRO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ANA E             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ANGEL L.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ANTONIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, BETSY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, CARLOS A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, CARLOS M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, CORAL DEL MAR     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, CORALYS D.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, CORALYS DEL M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, DAMARIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, EDGARDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ELIER             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ELIER             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ELIZABETH         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ENRIQUE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ENRIQUE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, GERTRUDIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, GLORIA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6131 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1132 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ PEREZ, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ILEANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, INES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, INIABELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ISABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, JAVIER E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, JORELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, JOSE B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, JOSE G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, LEILANIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, LILIA R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, LILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, LILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, LILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, LUCIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, LUZ C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, LUZ D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, LUZ G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, LUZ V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, LYDIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, LYNELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, MARIA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, MARIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, MARIA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, MARIA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, MILAGROS I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, MONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, NITZIE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6132 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1133 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ PEREZ, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ROSA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, ROXANA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, SANDRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, SHEILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, SOFIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SÁNCHEZ PÉREZ, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, SONIA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, STEPHANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, WYDALIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PEREZ, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PESQUERA, CARMEN I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PICON, EVANGELISTA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PILLOT, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PIMENTEL, SORAYA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PINEIRO, CARLOS E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PINEIRO, NELSON L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PINERO, MISAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PINTOR, LOYDA H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PIZARRO, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PIZARRO, BETSABE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PIZARRO, CARMELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PIZARRO, CARMELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PIZARRO, FELIX E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PIZARRO, JOAQUIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PIZARRO, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PIZARRO, PEDRO H.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PIZARRO, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PIZARRO, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PIZARRO, YAJAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PIZARRO, ZAIDA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PLACERES, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PLANADEBALL, NUMARIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PLANADEBALL, NUMARIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ POLONIA, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ POLONIA, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ POMALES, CARMEN S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ POMALES, JOHN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ POMALES, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PONT, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ POSSE, MIRELLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PRADO, JULIO CESAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PRIETO, CLAUDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PRIETO, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PRIETO, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PRINCIPE, IDALIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ PRINCIPE, MYRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6133 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1134 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ PRINCIPE, MYRIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUESADA, RAFAEL A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUILES, CARMEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUILES, DAVID            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUILES, ROSA Y           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINONES, ARLENE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINONES, CARMEN Z.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINONES, DAYANA G       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINONES, JOSE R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINONES, JUAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINONES, KARITSHA Z     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINONES, LOURDES M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINONES, LUZ V          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINONES, MARILUZ        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINONES, NORAH I.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINONES, PEDRO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINONES, PEDRO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINONES, TERESITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINONEZ, ZULEMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINTANA, ANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINTANA, FRANCHESCA N   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINTANA, GLADYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUINTANA, MATILDE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ QUIQONES, MARIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMIREZ, BRENDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMIREZ, ELVIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMIREZ, JEIDY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMIREZ, JESUS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMIREZ, JOSE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMIREZ, JOSE R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMIREZ, LETICIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMIREZ, MIRIAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMIREZ, SANDRA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMIREZ, YOMAIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, ABELMARIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, ALEX J.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, ALTAGRACIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, ARACELIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, CARLOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, CARMEN A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, CARMEN D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, CORAL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, DELIS E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, EDWIN JOEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, ELISEO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, FLOR M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, GLADYS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, GREGORY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, GREGORY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6134 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1135 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ RAMOS, GRISEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, HERMINIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, JACKELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, JACKELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, JOSUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, LIBERTAD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, LINDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, LORENA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, MARCELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, MARIA DEL P      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, MARIA F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, MARIA F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, NATIVIDAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, NAYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, NAYDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, NYDIA LIMARY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, SALVADOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, WANDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RAMOS, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RANERO, MICHAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REBOYRAS, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REGUS, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REMON, YANET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RESTO, DELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RESTO, EDWIN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RESTO, ELADIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RESTO, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RESTO, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REXACH, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REY, NYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, ADA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, ADA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, ANGEL L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6135 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1136 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ REYES, BRENDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, CANDIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, CANDIDA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, CARMEN L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, CARMEN L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, CLARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, ENEIDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, EXPEDITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, FRANCISCO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, JANICE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, JENNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, JERMAINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, JORDI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, JORGE I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, JULIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, LIZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, LYNNETTE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, MARIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, MARTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, MYRTA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, NICOLAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, NOELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, RADAMES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, ROSANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, SARAHI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ REYES, XIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIOS, ANDRES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIOS, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIOS, CARLOS H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIOS, CARMEN IRMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIOS, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIOS, FERNANDO H.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIOS, HILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIOS, ISABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6136 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1137 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ RIOS, JOHANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIOS, JOHANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIOS, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIOS, LEONOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIOS, LYNDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIOS, LYNDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIOS, PETER H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIOS, ROCHELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, AIXA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ALEXANDER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ALEXIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ALICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ALICIA A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ALMA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ALMA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, AMARILIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, AMELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ANDRES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ANGEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ANGEL R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ANGELES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ANIBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ARACELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ASHLEY E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, AUGUSTO CESAR   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, AXEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, BENJAMIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, BLANCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, BLANCA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, BRYAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, CARLA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, CARLOS JOSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, CARLOS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, CARMEN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, CARMEN N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6137 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1138 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ RIVERA, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, DARLENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, DAVID J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, DEBRA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, DORIS V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, EDWIN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ELIKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ENOELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ERMELINDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, EUNICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, EUNICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, FELIX A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, FELIX L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, FRANCE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, GLADYS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, GUELMARI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, GUELMARI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, HECTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, HECTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, HIPOLITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, IDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, IDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, JAQUELINE M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, JESUS G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, JOSE D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, LEIDIA A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, LOIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, LOIDA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6138 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1139 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ RIVERA, LUIS C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, LUNA T.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, LUNILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, LUZ E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, LUZ E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, MADELINE H      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, MARIA DEL C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, MARIA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, MARY LUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, MARYCELI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, MAXIMINO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, MIRTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, MONICA A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, NILSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, NORALIZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, NYDIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, PEDRO J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, PEDRO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, PEDRO R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, PRUDENCIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, RENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ROBERTO L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ROSALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, ROSALINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, SAMERITH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, SANTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, SHIRLEY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, SHIRLEY M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, SONIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, SYLVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6139 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1140 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ RIVERA, VIRGEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, VIRGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, YAIRI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, YANILKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RIVERA, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROBLES, AIDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROBLES, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROBLES, ANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROBLES, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROBLES, PEDRO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROBLES, SAMIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROBLES, XIOMARYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGO, LOURDES L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, ADAMS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, AIDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, AMALEC       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, AMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, ANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, ANA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, ANGEL A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, ANGELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, ARACELIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, AVIDIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, AWILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, BETSY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, BETTY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, BETTY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, BRENDA L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, CARMEN T.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, CLARIBEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, DAMARY L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, DIANE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, DIOSA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, EDITH E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, EILEEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6140 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1141 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ RODRIGUEZ, EILEEN M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, ELISA A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, ELIZABETH     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, ELIZABETH D   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, EMERIDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, EMILIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, EMILIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, ENID M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, EVA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, FERNANDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, FRANCISCO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, FRANCISCO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, GEISHA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, GEOVANNA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, GLADYS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, GLORIALIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, GUILLERMO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, GUILLERMO E   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, HAYDEE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, HAYDEE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, HAYDEE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, HECTOR R      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, HERIBERTO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, HILDA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, ISRAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, IVETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, IVIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JAVIER A.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JAVIER A.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JEITZA Y      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JEITZA Y      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JESUS J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JESZEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JOAQUIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JOAQUIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JOEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JORGE L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JOSE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JOSE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JOSE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JOSE A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JOSE L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JOSE L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JOSMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JUAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JUAN A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, JULIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, LADY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6141 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1142 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ RODRIGUEZ, LILLIAM        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, LILLIAM I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, LISSETTE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
LETICIA
SANCHEZ RODRIGUEZ, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, LUIS A.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, LUIS G.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, LYDIA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, LYDIA E        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARCO A        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARCO A.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARELIN        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARIA A        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARIA DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
A
SANCHEZ RODRIGUEZ, MARIA DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
A
SANCHEZ RODRIGUEZ, MARIA I        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARIA J.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARIA L        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARIA M        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARIA T        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARIBEL        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARICELY       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARIEL         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARILYN        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARILYN        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARILYN        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARISELA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MARISELA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MERCEDES       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MILDRED        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MIRIAM         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, MYRIAM         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, NANCY          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, NELIDA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, NELSON         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, NIGMARY        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, NITZA A        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, NITZA E.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, NOEL A         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, NYDIA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, OMAYRA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, OMAYRA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, PAMELA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, PEDRO J        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, PERSIDA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, PERSIDA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6142 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1143 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ RODRIGUEZ, RAFAEL A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, ROLANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, SAMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, SILVIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, SOLEIM M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, SORAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, SUREY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, SUREY M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, TERESA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, TERESITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, URIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, WANDA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, WILFREDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, WILSON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, WILSON S     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, XIOMARA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, YAMIL R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIGUEZ, ZENAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRIQUEZ, JOSE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RODRZ., PRIMITIVO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROGRIGUEZ, RUTH E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROJAS, CARMEN P         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROJAS, JOSE D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROJAS, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROJAS, JUAN C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SÁNCHEZ ROJAS, JUAN C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROLDAN, CARLOS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROLDAN, ISMAEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROLON, ANA H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROLON, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROLON, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROLON, MARIA DE LOS A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROLON, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROLON, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, ANGEL RAFAEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, ELIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, JOSE G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, KARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, MARIA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, MAYRA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, NIXA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6143 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1144 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ ROMAN, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, PEGGY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, STEPHANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMAN, WANDA IVETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMERO, DARIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMERO, DIEGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMERO, EVELYN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMERO, JUANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMERO, LEONARDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMERO, LEONARDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMERO, NINOSKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMEU, WILFREDO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROMEU, WILFREDO JR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROQUE, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROQUE, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROQUE, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, ANGELITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, ARLETTE I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, CESAR A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, DELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, DELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, DELIA ESTHER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, HILDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, IRIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, JESSICA R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, JUAN CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, NILSA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, NILSA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, NORBERTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSA, ROSANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSADO, EUGENIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSADO, FLOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSADO, HARRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSADO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSADO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSADO, JOSUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSADO, JUAN C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSADO, JUAN C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSADO, MAGDALENA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSADO, MARICELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSADO, MARLYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSADO, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSADO, NORBERTA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6144 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1145 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ ROSADO, RAMON L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSADO, SANTOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, ABNER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, DIGNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, FELIPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, GRISSELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, GRISSELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, ISMAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, JANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, JOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, JORLANY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, JOSEFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, LESLIE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, LESLIE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, LUZ Z          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, LYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, ROSA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, ROSA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSARIO, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSAS, BRUNILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ROSS, MARIA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUBILDO, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, ALBERT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, ALBERT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, ANA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, BELINDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, CARLOS J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, FELIX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, HECTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, JOSE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6145 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1146 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ RUIZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, MARIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, MARIE S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, NATASHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, OSVALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, RICARDO L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, VILKMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, VIVIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ RUIZ, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SAAVEDRA, FELIX J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SABATER, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SABATER, LUIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SAEZ, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SAEZ, GASPAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SAEZ, GUSTAVO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SAEZ, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SAEZ, MARTANGELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SALAMAN, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SALAMAN, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SALCEDO, AUREA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SALCEDO, AUREA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SALERNO, ENSIES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SALGADO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SALGADO, JOAQUIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SALGADO, PAGANEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SALGADO, RAMONITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SALVA, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, ABDIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, ADAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, AIDA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, ANA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, ANTHONY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, BLANCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, BLANCA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, CARLOS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, CESAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, CYNTHIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, DAISY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, GUILLERMINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, HERIBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, IRENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6146 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1147 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ SANCHEZ, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, JOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, JOHANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, JOHANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, JOSE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, JOSE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, JOSEFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, JUANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, LISHA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, LUIS R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, LUZ M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, MILDRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, MILDRED I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, OLGA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, ROSA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, SAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, SUJEIL E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, VIVIAN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, YANIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, YASHIRA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, YAZMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANCHEZ, ZOEDYMARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANDOVAL, VIRGEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTALIZ, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTANA, ADA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTANA, ANA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTANA, CHRISTOPHER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTANA, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTANA, ILIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTANA, IVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTANA, JOSELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTANA, JOSELY H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6147 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1148 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ SANTANA, JOSELY H        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTANA, LUZ             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTANA, LUZ E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTANA, LYDIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTANA, YESSENIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTAS, ANUBIS D.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, ADISONIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, AGUSTINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, ALBERTO JOSE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, ALFREDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, AMPARO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, ANA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, ANABEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, AWILDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, AWILDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, BRENDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, BRENDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, BRENDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, CARLOS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, CARLOS A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, CARLOS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ALBERTO
SANCHEZ SANTIAGO, CARLOS M       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, CARLOS R.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, CARMEN J.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, CARMEN M.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, DAMARIS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, DAMARIS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, EDGAR          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, EDUARDO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, EDWIN L        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, EVA L          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, EVELYN E       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, EVELYN E       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, GIOVANNA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, GISELLE        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, GLADYS         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, GLADYS         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, GUSTAVO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ADOLFO
SANCHEZ SANTIAGO, HAROLD         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, HAYDEE         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, HECTOR         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, HORTENSIA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, ILSA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, ILSA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, IRAN           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, IRIS           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANCHEZ SANTIAGO, ISOEL          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6148 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 1149 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


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CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ SANTIAGO, JAVIER           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, JOEL             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, JORGE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, JOSE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, JOSE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, JOSE A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, JOSE B           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, JOSE I           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, JOSE J           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, JOSE M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, JUAN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, KAREN            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, LUIS             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, LUIS M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, LUIS R           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, MARIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, MARIA DE LOS A   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, MARIANGELIS      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, MARIANNE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, MARIELA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, MARISOL          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, MERCED           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, MIGDALIA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, MIGUEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, MILNELY          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, MILNELY          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, MYRIAM M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, MYRNA E          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, NADEHDA L        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, NANCY            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, NELLY            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, NILDA DEL        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, NILDA DEL MAR    REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, NILDA I.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, NILSA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, OLAMI            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, OMAR DE JESU     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, RAYMOND          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, RAYMOND          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, SANDRA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, SEDA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, SONIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, SONIA N          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, TANIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, YARELIS          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, YOLANDA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTIAGO, YULIANNA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTINI, FREDDIE           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTOS, ANGEL L            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6149 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1150 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ SANTOS, ANNIE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTOS, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTOS, HEILYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTOS, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTOS, LUIS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTOS, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTOS, NELLY M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTOS, NILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTOS, OTHNIEL D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTOS, OTHNIEL D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SANTOS, TANIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SEDA, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SEDA, CARLOS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SEDA, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SEGARRA, FLOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SEMIDEI, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SEMIDEI, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SEPULVEDA, AGAPITO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SEPULVEDA, ALICIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SEPULVEDA, ARACELIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SEPULVEDA, ARACELIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SEPULVEDA, DANNALIZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SEPULVEDA, NORMA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRA, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, ADA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, ADA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, BALTAZAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, BALTAZAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, CARLOS I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, CLINIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, EDDIE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, FELICITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, IRIS J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, IRMA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, JACOBO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, JENNIFER B     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, JOSUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, MIRELYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, MYRTA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, MYRTA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, NORBERTA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, PABLO R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, ROMELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SERRANO, ROMELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6150 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1151 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ SERRANO, VIVIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SEVILLA, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SEVILLANO, AMARILIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SEVILLANO, AMARILIS J   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SIERRA, ARACELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SIERRA, ARACELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SIERRA, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SIERRA, GISELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SIERRA, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SIERRA, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SIERRA, IVETTE Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SIERRA, JOSEFA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SIERRA, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SIERRA, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SIERRA, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SIERRA, RAMONA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SIERRA, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SILVA, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SILVA, DAMARIS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SILVA, ERIC             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SILVA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SILVA, LOYMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SILVA, SOCORRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SILVA, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SILVA, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SMITH, MARIE C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOLA, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOLDEVILA, MARIA J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOLDEVILA, MAXIMO A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOLDEVILA, YADIRA C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOLER, ELAINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOLER, ILEANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOLER, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOLER, JUAN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOLIS, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOLIVAN, VENILIANESE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOLIVAN, VICTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SORRENTINI, IVELISSE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SORRENTINI, WILBERT     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOSA, DINELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOSA, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOSA, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOSA, FELICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOSA, FELICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOSTRE, GEOVANI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOSTRE, LIZMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOTO, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOTO, ANTONY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ SOTO, AXEL FRANCISCO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6151 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1152 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ SOTO, BRENDALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, BRENDALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, CANDIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, CANDIDA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, CARMELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, CARMELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, EDGAMIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, IRIS Y.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, JOSE LEMUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, MARA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, MARTIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, RAMON L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, RAMON L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, RUBEN JR.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, SARA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, SARA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, SARAY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, YANIXIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, YANIXIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, YELITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, ZORAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SOTO, ZORAIDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SPANOS, SONIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SPANOZ, RAIMUNDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SUAREZ, ARIEL I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SUAREZ, FELIX R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SUAREZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SUAREZ, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SUAREZ, ROCIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ SUS, TATIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ TAPIA, LILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ TAPIA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ TAVAREZ, RUBEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ TEJADA, MERCEDES M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ TEXIDOR, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ TIRADO, AUGUSTO CESAR   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ TIRADO, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ TIRADO, ELSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ TIRADO, ERICK           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ TIRADO, ERICK X         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ TIRADO, IARA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ TIRADO, IRMA D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ TIRADO, NOMAYRA G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANCHEZ TIRADO, NOMAYRA G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6152 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1153 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ TIRADO, PEDRO N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TOLEDO, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TOLEDO, FRANCISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TOLEDO, ROSELIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TOLEDO, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TOLENTINO, HECTOR M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORO, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORO, CANDIDA ELISA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORO, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORO, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRELLAS, JAVIER E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRELLAS, MARIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRELLAS, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, ADA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, ADALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, ALEX J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, ALEXANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, ANALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, ANGEL C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, ANGEL L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, ARKEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, BETSY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, BRAYAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, CARLOS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, CARMELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, CARMEN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, CHERILYN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, EUGENIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, EYLEEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, GUIMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, HECTOR L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, HENRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, HENRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, HERMINIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6153 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1154 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ TORRES, IRENE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, IRIS N.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, IVETTE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, JAHAIRA IVETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, JAIMER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, JENNIFFER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, JONATTAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, JOSE G           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, JOSE R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, JOSE R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, JOSE R.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, JUAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, KARILYN Y        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, KELVIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, KELVIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, LEIDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, LEONEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, LORNAIRA C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, LOURDES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, LUZ              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, LUZ E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, LUZ M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, LUZ MILAGROS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, MADELIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, MADELINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, MARCOS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, MARGARITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, MARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, MELANY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, MELBA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, MICHAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, MYRIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, NANCY L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, NERIHAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, NICOLAS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, NICOLAS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, NORMA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, NORMA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, NORMA IRIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, ORLANDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, RAMON E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, SAMUEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, SYLMA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, TIFFANY J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, VICMARIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, VIDAL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, VIVIANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6154 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1155 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ TORRES, WALTER ROGELIO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, WILMARYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, WILMARYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, YAHAIRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, YARILA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORRES, YARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORREZ, ADA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TORREZ, ZORAIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TOSADO, BILLY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TOSADO, LUZ DARY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TOSADO, LUZ DARY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TOSADO, RAMON            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TOSADO, ROY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TOVAR, CELESTINO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TRINIDAD, ANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TRINIDAD, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TROCHE, JUAN C           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TROCHE, YARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ TROCHE, YARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ URBINA, JOSE L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALDERRAMA, EVA N        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALDES, CELINA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALDES, CELINA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALDES, MARTA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALDES, NOEMI            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALDES, OLGA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALDEZ, MIGDALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, ADAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, ANA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, EDDIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, ERICK M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, FRANCISCA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, GRISEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, IVELISSE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, LUIS M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, MIGUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, NANCY M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, REBECA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, REBECA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, ROGER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, RUTH N         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, RUTH N         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, RUTH N         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, VANESSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALENTIN, VIIVIAN L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALLE, AIXA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALLE, MANUEL A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALLEJO, IVAN U          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VALLEJO, NORA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6155 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1156 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ VALLEJO, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VARELA, ABRAHAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VARELA, ABRAHAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VARELA, JUAN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VARELA, JUAN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VARGAS, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VARGAS, IRIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VARGAS, JULIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VARGAS, LILLIAN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VARGAS, ROSA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEX, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, CARMELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, CARMELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, CHRISTIAN O    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, DESIREE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, EDGAR N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, EDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, ELSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, ERIKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, EVELYN I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, GLADYS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, JOSE LUIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, JULIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, LIZETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, MADELEINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, MARIA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, MARITZA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, MARTA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, MINERVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, MONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, MYRNA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, OMAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, RAMONA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, RAYMOND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VAZQUEZ, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, ALEJANDRINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6156 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1157 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ VEGA, ALEXIS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, AMARILIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, ANTONIO E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, CARLOS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, CARMEN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, CARMEN A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, EDNA L              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, EDNA L              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, EILLEN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, ELENA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, ELISAMUEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, HECTOR L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, IVIA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, JOANNIE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, JOANNIE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, JOHANNA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, JOSE D              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, JOSE L              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, JOSEFA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, JUAN                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, JUSTINA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, JUSTINA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, LUIS A              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, LUIS A              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, LUIS R              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, LUZ S               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, MARIBEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, MARITZA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, NILDA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, ORLANDO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, PEDRO               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, PEDRO J             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, SANTA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, VANESSA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, VANESSA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, VILMA R             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, VIRGILIO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, YARIZBETH           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGA, ZORAYA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VEGUILLA, JOSE D          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELAZQUEZ, AMNERIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELAZQUEZ, ANGEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELAZQUEZ, ANIBAL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELAZQUEZ, DELL MARIE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELAZQUEZ, EDWIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELAZQUEZ, GUARIONEX      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELAZQUEZ, ISVELT M.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELAZQUEZ, JARANDELISSE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELAZQUEZ, KEILA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6157 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1158 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ VELAZQUEZ, MARTIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELAZQUEZ, NORMA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELAZQUEZ, NORMA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELAZQUEZ, SAMUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELAZQUEZ, SARIMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELAZQUEZ, VANESSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, ADRIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, AHMMED I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, ARELIS E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, BLANCA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, CHRISTIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, CLARIVETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, JACKELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, JOSE J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, JUAN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, JUANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, LYNETTE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, MARGARITA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, MARIA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, MARIA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, MAYRA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, MIRTA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, ROBERTO J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, ROSA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, SEGUNDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, TAISHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, TAISHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELEZ, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELLON, JUANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VELLON, JUANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VERA, IRIS V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VERA, IRIS V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VERGARA, MELANIE R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VIALIZ, SIXTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VIANA, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VIANA, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6158 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1159 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ VICENTE, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VICENTE, FLOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VICTOR, FAUSTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VIDAL, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VIERA, JULIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VIERA, MARIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VIERA, MARLIN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VIERA, NILSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VILLALONGO, JAIME R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VILLAMIL, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VILLAMIL, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VILLANUEVA, LYDIA E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VILLANUEVA, NANCY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VILLANUEVA, RUTH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VILLANUEVA, SANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VILLANUEVA, YAJAIRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VILLEGAS, DULCE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VILLEGAS, JULIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VILLEGAS, JULIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VILLEGAS, ZULMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VILLICANA, VICENTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VINAS, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VIVALDI, JORGE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ VIVES, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ WALKER, ANDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ WALKER, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ WILLIAMS, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ YAMBO, ELBA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ZABALA, CARIDAD M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ZARAGOZA, HARRY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ZAVALA, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ZAVALA, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ZAYAS, ADA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ZAYAS, CARLO H.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ZAYAS, IRMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ZAYAS, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ZAYAS, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ZAYAS, ROSA MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ZAYAS, SANDRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ ZAYAS, SHIRLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, ALBERTO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, AMARYLIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, ANA M.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, BILLY                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, CARMELO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, CARMEN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, CARMEN M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, CINDY S.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, DEBORAH A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6159 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1160 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZ, ENRIQUE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, GLADYS                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, HECTOR                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, ISRAEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, JOSE F                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, JOSE M.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, JOSELITO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, JUAN R.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, JUAN RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, KATHERINE J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, LORENA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, LUIS                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, LUIS A.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, LUIS A.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, LUIS DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, LUZ E                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, MARGARITA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, MARIA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, MARIA A                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, MARIA DE LOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, MARIEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, MAXIMO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, NILDA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, PAULA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, PEDRO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, PROVIDENCIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, RAMON C.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, SALVADORA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, SHAKIRA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, VANESSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, VICTOR MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, VIRGINIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ, ZILIA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ,DAVID                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ,FELIPE                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ,ROBERTO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZ,VICTOR FAUSTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZALVARADO, KHAREM L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZAVILES, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZDIAZ, SIMEON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZFELIX, JOSE H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZGOMEZ, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZHERNANDEZ, ELLUZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZLOPEZ, OLGA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZLUGO, RAMON A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZMONTANEZ, BLANCA IRIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZMOYET, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZRODRIGUEZ, ARNALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZROJAS, MANUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6160 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1161 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANCHEZROMERO, FAUSTINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZSANCHEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZTORRES, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCHEZVALENTIN, IRENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANCLEMENTE ALEMAN, NYDIA V     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDERS CABAN, JORGE JUAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDERS CONCEPCION, VERONICA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDERS ERAZO, DORALIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDERS MUNOZ, ALMA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDERS MUNOZ, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDERS MUNOZ, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDERS MUNOZ, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDIN ALVAREZ, ALEXANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDIN ORTEGA, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL ., ANGEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL ANDINO, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL ANDINO, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL ANDINO, JUAN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL ANDINO, LIZBETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL APONTE, DANGELO G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL ASPRILLA, BENJAMIN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL AVILES, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL BAEZ, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL BENITEZ, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL CAMAANO, MELISSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL CAMAANO, MELISSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL CARRASQUILL, EDWIN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL CLAUDIO, ARCADIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL COLON, CARLOS J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL COLON, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL COLON, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL CORTES, IVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL CRUZ, ALDO R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL CRUZ, CARLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL DE TORRE, CARMEN N     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL FERNANDEZ, OLGA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL FERNANDEZ, OLGA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL FIGUEROA, CAROLINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL FLORES, HELEN Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL FLORES, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL GARCIA, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL GARCIA, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL GARCIA, CELIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL GONZALEZ, JANICE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL HEREDIA, MONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL IRIZARRY, CARMEN J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL IRIZARRY, CARMEN J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL IRIZARRY, RICKY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL LEBRON, HECTOR I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6161 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1162 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANDOVAL MARTE, DEBORAH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL MATOS, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL MATOS, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL MORALES, FELIX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL NIEVES, CARLOS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL OTERO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL PABON, KRISTOFFER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL QUINTANA, CECILIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL RAMOS, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL RAMOS, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL RAMOS, GRISELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL RIOS, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL RIVERA, CARLOS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL RIVERA, GISELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL RIVERA, JUAN R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL RIVERA, LUIS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL RIVERA, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL RIVERA, OSCAR J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL RODRIGUEZ, ABIGAIL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL RODRIGUEZ, AWILDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL ROSADO, JUANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL SANCHEZ, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL SANTONI, LUIS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL SANTOS, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL SANTOS, RAFAEL V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL SOUBIRAN, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL TORRES, JOSIRIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL TORRES, JUAN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL VEGA, MARTA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL VELAZQUEZ, MARIA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL VELAZQUEZ, MARISOL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL VELAZQUEZ, MARISOL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL YORDAN, TYNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL, HUMBERTO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL, JOSEPH                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOVAL, MARIA A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOZ MELENDEZ, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOZ NOBLE, SULINES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOZ NOBLE, SUZETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOZ PEREA, LILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOZ PEREA, LILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOZ RIVERA, DIANELEE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOZ RIVERA, LYSANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOZ RODRIGUEZ, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOZ RODRIGUEZ, LISANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOZ RODRIGUEZ, LISANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOZ ROSA, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOZ ROSA, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANDOZ SANTIAGO, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6162 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1163 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANDRA, HERNANDEZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES AYALA, ALEJANDRINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES BERMUDEZ, LIZZETTE J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES BERMUDEZ, LUIS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES BURGOS, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES COTTO, MARIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES COTTO, MARIA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES FERRER, MARISOL T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES GARAY, GLORYMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES GARAY, JESUS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES GARCIA, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES GARCIA, JUAN R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES GARCIA, LUCY A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES GUZMAN, RUTH E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES PAGAN, ANGELICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES PAGAN, TATIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES PAGAN, TATIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES RIVERA, PABLO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES RODRIGUEZ, CARMELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES RODRIGUEZ, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES RODRIGUEZ, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES RODRIGUEZ, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES RODRIGUEZ, SILVERIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES ROLDAN, CARMELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES ROSA, DARA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES SANTANA, ANA CRISTINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES SANTIAGO, JAVIER A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES SANTOS, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANES TORRES, ROSALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANEZ RIVERA, BARBARA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIS CASTILLO, GENESIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIU VERA, ANDRES F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ GONZALEZ, ADA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ ALVAREZ, ANA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ ARROYO, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ COSME, ADANIVIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ COSME, ADANIVIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ COSME, NAYDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ CSME, NAYDAL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ MARRERO, CRUZ N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ MARRERO, YILDA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ ORTIZ, ANA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ ORTIZ, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ ORTIZ, ELBA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ PEREZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ PEREZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ PEREZ, WIDALYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ RAMOS, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ RAMOS, CARMEN L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6163 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1164 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANFELIZ RAMOS, NERI A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ RONDON, ANGELICA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANFELIZ VIRELLA, NILDA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANFILIPO RESUMIL, ROSANGELA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANFILIPPO DOYLE, MARY C         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANFIORENZO ADROVET, LAURA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANFIORENZO CACHO, FRANCISCO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANFIORENZO CACHO, FRANCISCO R   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANFIORENZO FERNANDEZ, ENID      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANFIORENZO GIL DE LA MADRID,    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ANDRE RENE
SANFIORENZO ORTIZ, JESLYNN       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANFIORENZO RODRIGUEZ, NORMA I   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANFIORENZO RODRIGUEZ, PALOMA    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANFIORENZO ZARAGOZA, WILFREDO   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANG RIVAS, DIONIS               REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANGUINETTI CARRILLO, MARIA I    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANGUINETTI FRET, SONIA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANHCEZ ORTIZ, JUAN              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANIEL BANREY, MARIA A           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURGO MELENDEZ, MELVA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO ALVAREZ, LUIS           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO AMEZQUITA, LUIS N       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO ANDINO, JOHANNA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO ARCE, CARLOS A.         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO ARROYO, MARYENIS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO AYALA, DAGMARYS         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO AYALA, SHAINA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CALCANO, ANA            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CALCANO, ANA L          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CALDERON, RAMON         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CARRASQUILLO, LYDIA M   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CARRILLO, ANNETTE V     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CARRILLO, ANNETTE V     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CASTILLO, CARMEN T.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CEPEDA, ROSA E          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CORREA, ISIS            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CORREA, ISIS L          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CORREA, LIZAMAR         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CORREA, LIZAMAR         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CORREA, SANTIAGO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CRUZ, GILMARY           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CRUZ, JAIME             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CRUZ, LUDY              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CRUZ, LUISA E           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CRUZ, MARIA V           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO CUEVAS, ZAIRY           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO DAVILA, EDGARDO         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANJURJO DAVILA, JOSE E          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6164 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1165 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANJURJO DELGADO, BRENDA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO DELGADO, BRENDA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO DOMENECH, MIGUEL A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO DOMENECH, SONIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO DONES, JULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO DONES, JULIO R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO DONES, MARTA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO FERNANDEZ, AMANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO FERRER, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO FIGUEROA, BRENDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO FIGUEROA, MARITERE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO FUENTES, ALFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO FUENTES, LYDIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO GONZALEZ, KEISHLA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO GONZALEZ, NELLIE A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO GONZALEZ, NELLIE A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO LANZO, ALEJANDRO E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO MANSO, TOMASITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO MARTINEZ, YEISMARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO MELENDEZ, ANGEL L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO MELENDEZ, ENID A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO MELENDEZ, JUAN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO MELENDEZ, MELVA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO NAVARRO, NYDIA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO NAZARIO, ELBA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO NIEVES, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO NIEVES, OLGA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO NUNEZ, OSCAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO OCASIO, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO OLIVO, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO ORTIZ, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO PABON, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO PABON, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO PEREZ, ROBERTO LUIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO PIMENTEL, LUZ A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO PIMENTEL, ZORAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO PIMENTEL, ZORAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO PIZARRO, ROSA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO POMAR, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO RIVERA, ANGEL T.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO RIVERA, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO ROBLES, INES G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO ROBLES, JUANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO RODRIGUEZ, JESUS M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO RODRIGUEZ, JORGE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO RODRIGUEZ, JORGE E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO RODRIGUEZ, OMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO RODRIGUEZ, OMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO RODRIGUEZ, SANTIAGO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6165 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1166 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANJURJO RODRIGUEZ, SANTIAGO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO SALGADO, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO SANTANA, CINDY M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO SANTANA, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO SANTIAGO, WILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO SANTOS, CYNTHIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO SANTOS, KIMMY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO SANTOS, NAZARIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO SOLIS, GRISELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO SOLIS, SONIA W         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO SOTO, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO SOTO, MICHELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO TORRES, MARIENIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO TORRES, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURJO VERGES, GILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANJURO FIGUEROA, MARITERE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANMIGUELTORRES, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANO RODRIGUEZ, LIZ ODETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUEL BAEZ, IRIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUEL VEGA, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET CANCEL, JISEL I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET CANCEL, OMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET CRUZ, ARIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET DIODONET, ISHA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET FLORES, MARIELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET FRANQUI, BRENDA L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET GONZALEZ, PIO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET MELENDEZ, VANESSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET MELENDEZ, VANESSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET MORALES, AIDELIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET MORALES, AIDELIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET OCASIO, DAVIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET OCASIO, DAVILIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET PADILLA, NEFTALI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET PADILLA, NEFTALI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET ROMEU, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET ROMEU, OBED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET TORRES,EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOGUET, OMAR                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANOQUET PADILLA, ZAHIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANQGUET MERCADO, CARMEN D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANQUICHE CASTRO, JAHAZIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANQUICHE MENDEZ, VINCENT       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA ALICEA, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA ALICEA, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA ALICEA, MARGOT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA ALICEA, MARGOT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA APONTE, ANA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA APONTE, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6166 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1167 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTA APONTE, PETRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA AYALA, AWILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA AYALA, ZORIMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA BAEZ, IRIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA BAEZ, IRIS I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA BENITEZ, LYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA BENITEZ, ROSAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA BETANCOURT, ASHLYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA BURGOS, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA CARRASQUILLO, DAISY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA CARRASQUILLO, DAISY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA CARRASQUILLO, MARITZA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA CARRASQUILLO, MIGUEL A.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA CHABRIEL, BLANCA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA CHABRIEL, KAY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA COLON, FELIX J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA CORREA, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA CRESPO, SALLY E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA CRESPO, WANDA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA DAVILA, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA DE LEON, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA DE LEON, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA DE LEON, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA DE RODRIGUEZ, MARITZA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA DELGADO, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA DIAZ, MAYRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA DIAZ, NAYDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA FELIX, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA FONSECA, YARILIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA GONZALEZ, GIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA GONZALEZ, LUIS H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA GONZALEZ, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA GUZMAN, NORMA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA LOZANO, SHEINELL M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA LOZANO, SHEINELL M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA MALDONADO, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA MALDONADO, MARIA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA MEDINA, ADALINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA MEDINA, ADALINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA MEDINA, ANA C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA MEDINA, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA MELENDEZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA MILANO, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA MILANO, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA MIRANDA, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA MONTES, YANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA MONTES, YANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA NIEVES, JUANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA NORIEGA, DARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6167 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1168 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTA OLIVER, HERMINIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA OLMEDA, ADALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA OLMEDA, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA OTERO, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA PAGAN, DIEGO L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA PAGAN, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA PEREZ, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA PEREZ, RAFAELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RAMOS, NESTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RAMOS, NESTOR I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RAMOS, SINDY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RAMOS, SINDY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RAMOS, ZULMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA REPOLLET, ANGEL I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA REPOLLET, MARIA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA REPOLLET, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RIOS, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RIOS, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RIVERA, LUIS F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RIVERA, LUISA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RIVERA, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RIVERA, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RIVERA, SYLVIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RIVERA, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA ROBLES, PEDRO J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA ROBLES, REYNALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RODRIGUEZ, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RODRIGUEZ, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RODRIGUEZ, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RODRIGUEZ, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RODRIGUEZ, COLETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RODRIGUEZ, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RODRIGUEZ, LYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA RODRIGUEZ, WILDALYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA ROMAN, ABRAHAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA ROMAN, HERSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA ROSA HADDOCK, VERONICA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA ROSA, ELIGIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA SANABRIA, LIZMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA SANCHEZ, LAURA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA SANCHEZ, NORMA IRIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA SANTA, MEROLYNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA SANTIAGO, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA SANTOS, JUAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA SERRANO, VIVIANET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA SILVA, YARIELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA SOSA, EILEEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA TRINIDAD, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA VAZQUEZ, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6168 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1169 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTA VAZQUEZ, NILKA              REDACTED                     REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA ZAYAS, LUZI                 REDACTED                     REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA ZAYAS, ROSIMAR              REDACTED                     REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA, RUTH                       REDACTED                     REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTA,CESAR E.                    REDACTED                     REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTACRUZ ALVAREZ, VICTOR         REDACTED                     REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTAELLA ACEVEDO, NICOLE         REDACTED                     REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTAELLA AGOSTO, EDWIN           REDACTED                     REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTAELLA ARGUINSONI, MARIA DEL S REDACTED                     REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED

SANTAELLA ARROYO, MICHAEL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA BENABE, RUTH N         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA BENITEZ, CARMEN J.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA BENITEZ, NILDA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA BONILLA, FRANCISCA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA BUITRAGO, ALEJANDRO    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA CARLO, HAMED           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA COLON, GILEYXIS X      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA CRUZ, ORLANDO          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA DEL VALLE, ELLIOT A.   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA DIAZ, RAFAEL           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA DIAZ, SERGIOMAR        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA DONES, EFRAIN          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA FIGUEROA, NITZA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA FRANCO, RAMONITA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA LOPEZ, RAFAEL          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA MANGUAL, LIZZY J.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA MENDEZ, MARIA M.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA ORTIZ, EVELYN          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA ORTIZ, HIRAM           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA PEREZ, MARILYNE        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA PONS, GLORIA M         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA QUINONES, YOLANDA I    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA RODRIGUEZ, MARIA C     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA SABAT, BIANCKA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA SALDANA, EFRAIN        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA SANTIAGO, GLADYS M     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA SERRANO, BENJAMIN      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA SERRANO, NILDA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA SERRANO, NILDA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA SOTO, GLADYS I         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA VIDAL, JOYCETTE M.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA, ORLANDO               REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAELLA, TERESA                REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAGO MATOS, MABEL J.          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAGO RODRIGUEZ, ANA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTAIGO RODRIGUEZ, YASHIRA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTALICES APONTE, JAVIER        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTALICES APONTE, JAVIER        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6169 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1170 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTALICES APONTE, JAVIER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ ACOSTA, ISIDRO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ ALVAREZ, EUNICE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ ALVAREZ, EUNICE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ AVILA, IVONNE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ AVILA, IVONNE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ AVILA, VIRGINIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ CUEBAS, ESTRELLA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ CUEVAS, EVELYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ CUEVAS, JOUDY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ DE SANTIAG, SYLVIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ DESALDEN, VANESSA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ ESTEVES, OLGA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ HERNANDEZ, MARITZA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ JIMENEZ, ANAYS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ JIMENEZ, IVAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ JUSTINIANO, GLORISEL    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ JUSTINIANO, GRISEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ JUSTINIANO, GRISEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ MARTI, EDUARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ NEGRON, ANA Y           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ RAMOS, ESTRELLITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ RAMOS, ESTRELLITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ RAMOS, SONIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ RAMOS, SONIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ RUIZ, LUIS E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ SORRENTINI, LUIS A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ SORRENTINI, LUIS A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ TORRES, RAQUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZ, JAVIER                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTALIZVELAZQUEZ, CARL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTAMARIA OTS, DANIEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTAMARIA RODRIGUEZ, BRAUNIER   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTAMARIA TORRES, OSCAR J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTAN GARCIA, MICHELLE M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTAN PEREZ, CLEORFA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ACEVEDO, JUAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ACEVEDO, SHEYLA C        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ACEVEDO, SORAYA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ACEVEDO, SORAYA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ACEVEDO, TOMIRIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ACOSTA, ABRAHAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ACOSTA, EDDIE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ACOSTA, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ACOSTA, JUAN C           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ACOSTA, OBED             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ACOSTA, OBEDILIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ACOSTA, OBEDILIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ACOSTA, OLIVIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6170 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1171 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA ACOSTA, SUE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ADORNO, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ADORNO, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ADORNO, MARIA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ADORNO, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ADORNO, SONIA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA AGUAYO, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA AGUAYO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALAMEDA, ADOLFO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALAMEDA, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALAMEDA, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALAMO, IDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALAMO, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALAMO, MARYZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALAMO, MARYZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALBINO, CLARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALEJANDRO, KENNETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALEMAR, CHELSEA H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALGARIN, ANGELINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALGARIN, ANGELINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALICEA, FLORENCIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALLENDE, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALLENDE, VANESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALMODOVAR, DOMINGO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALMODOVAR, SANTOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALMONTE, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALOMAR, JIMMY J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALOMAR, JIMMY JR.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALVARADO, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALVARADO, MINILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALVARADO, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALVARES, FRANCISCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALVAREZ, CARMEN Z       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALVAREZ, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ALVAREZ, NOELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ANDUJAR, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ANDUJAR, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ANDUJAR, MARCOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ANDUJAR, NATALIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA APOLINARIS, DAMARIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA APONTE, ALEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA APONTE, ALEJANDRINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA APONTE, CRUZ A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA APONTE, ELSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA APONTE, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA APONTE, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA APONTE, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ARCE, ELISETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ARCHILLA, SAYLENID      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6171 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1172 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA ARECHE, DIONISIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ARGUELLES, JUAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ARNAU, MARIA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ARROYO, ANGEL L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ARROYO, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ASENCIO, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA AVILES, CLARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA AYALA, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA AYALA, CHERYL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA AYALA, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA AYALA, IRIS N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA AYALA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA AYALA, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA AYALA, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA AYALA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BAERGA, JANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BAEZ, BLANCA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BAEZ, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BAEZ, CARLOS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BAEZ, IRIS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BAEZ, LILLIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BAEZ, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BAEZ, SANTIAGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BAEZ, YARILIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BALADO, GRACE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BARADA, OLVIN RAUL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BARBOSA, IRMA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BARRETO, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BARRETO, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BARRETO, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BARRIOS, LINOSHKA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BELARDO, PAULINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BERBERENA, JESSICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BERBERENA, KARELYNE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BERRIOS, ANGEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BERRIOS, LUIS O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BERRIOS, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BERRIOS, MIGNELLY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BETANCOURT, ALMA ROSA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BETANCOURT, BERENICE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BETANCOURT, IRIZEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BETANCOURT, IRIZEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BETANCOURT, LUZ V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BEZARES, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BONHOMME, ELISEO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BONHOMME, ELISEO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BONILLA, JOSE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BONILLA, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BOSQUES, GLIZETTE L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6172 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1173 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA BOURDON, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BRACERO, JUANA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BRACERO, MYRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BRUNO, REINARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BURGOS CARMEN D .       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BURGOS, CATHERINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BURGOS, CATHERINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BURGOS, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BURGOS, JULIO M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BURGOS, LOURDES J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BURGOS, LOURDES J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BURGOS, MARANYELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BURGOS, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BURGOS, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA BUSQUETS, JARIANNA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CABAN, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CABRERA, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CACERES, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CACERES, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CACERES, MARIA T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CACERES, MARIA T.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CALDERON, DELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CALZADA, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CAMACHO, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CAMACHO, GILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CAMACHO, IVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CAMACHO, MARIA A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CAMACHO, WANDA LIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CANALES, JOHHAN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CANDELARIO, VERONICA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CANDIA, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CANTRES, JUAN R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARABAL, CRISOSTOMO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARABALLO, DANIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARABALLO, LINDA V      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARDONA, ELSIE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARDONA, ELSIE JANET    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARIRE, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARIRE, NESTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARO, ORIA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARO, RAFAEL J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARRADERO, LAURA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARRASQUILLO, ALI J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARRASQUILLO, GLENDA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARRASQUILLO, YASHIRA M REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARRERO, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARRILLO, RAMON L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARRILLO, RAMON L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CARRION, LUIS G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6173 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1174 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA CASADO, LYDIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CASIANO, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CASTILLO, TOMAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CASTRO, CARMEN P        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CASTRO, CHARLES J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CASTRO, DENISSE N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CASTRO, ELBA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CASTRO, MIOSOTIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CASTRO, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CASTRO, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CENTENO, IVONNE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CENTENO, JOSE J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CENTENO, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CHARRIEZ, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CHEVERE, LILLIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CINTRON, MARIELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CINTRON, MARYBELLA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CIORDIA, ANA S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CLAUDIO, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CLAUDIO, MAYRA J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CLAUDIO, MITCHELL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CLAUDIO, RAYMOND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLLAZO, JOHANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLLAZO, NEREIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLON, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLON, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLON, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLON, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLON, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLON, ELIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLON, ELIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLON, IRAIDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLON, IRMA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLON, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLON, LOURDES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLON, LYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLON, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLON, ROSAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLON, SOLIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COLON, YESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CONCEPCION, ANGEL R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CONCEPCION, CLARIBEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CONCEPCION, MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CONCEPCION, VANESSA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CORCINO, DALILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CORDERO, GUSTAVO A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CORREA, CARLOS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CORREA, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CORREA, MARGIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6174 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1175 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA CORREA, MARGIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CORREA, MARGIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CORREA, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COSME, ELBA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COSME, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COSME, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COSME, MARIA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COSME, NATIVIDAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COSME, RAMONA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COSTOSO, MANUELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COTTO, ALEJANDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COTTO, ALEJANDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COTTO, LUIS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA COTTO, YAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, ANA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, ANGELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, ARELENE DE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, CARMEN L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, CATALINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, DIEGO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, EGSAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, IVAN J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, LINOSHKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, MEILYNG           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, MELVIN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, MELVIN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, MITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, PROVIDENCIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, PROVIDENCIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, ROSALBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CRUZ, SILVIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CUADRADO, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CUEVAS, JACKELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6175 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1176 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA CUEVAS, JACKELINE        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA CUEVAS, LOIDA            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DAVILA, GLADYS           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DAVILA, GLADYS N         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DAVILA, MARIA T          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DAVILA, MYRNA            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DAVILA, MYRNA E          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DAVILA, WILSON E         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DE GARCIA, GLORIA L      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DE JESUS, ANA DEL CARM   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DE JESUS, ANA DEL CARMEN REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

SANTANA DE JESUS, DENNIS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE JESUS, DENNIS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE JESUS, JAMMY         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE JESUS, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE JESUS, LYDIA E       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE JESUS, MAGALY        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE JESUS, MELVIN        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE JESUS, MELVIN O      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE LA CRUZ, JAMILET     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE LA PAZ, RUBEN        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE LA ROSA, MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE LA ROSA, MIGUEL A    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE LEON, AITZA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE LEON, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE LEON, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE LEON, MARIO L        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE LOS SANTOS, FLORA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DE TRUJILLO, GLADYS     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DEL PILAR, WILDER       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DEL VALLE, JOHANNA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DELGADO, ELIOMAR        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DELGADO, FRANCISCA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DELGADO, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DELGADO, LAUDELINA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DELGADO, LYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DELGADO, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DELGADO, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DELGADO, SANTIAGO       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DELGADO, SANTIAGO       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DIAZ, AIDA L            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DIAZ, ALEJANDRO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DIAZ, ANA               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DIAZ, ANA H             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DIAZ, ANA R             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DIAZ, ANGELA B.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DIAZ, BEATRIZ           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA DIAZ, BLANCA I.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6176 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1177 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA DIAZ, BLANCA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, ENEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, GINNA PAOLA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, JANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, JUAN J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, LESLIE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, LICEDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, MADELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, MADELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, MARGARITA R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, MARILUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, MIRIAM S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, MONSERRATE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, MONSERRATE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, SADIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, SADIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DIAZ, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DOITTEAU, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DOMINICCI, IRVING       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DONES, MARIA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DONES, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DUBERRY, MARIA M. R.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA DURAN, DIANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ENCARNACION, ROBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ESCRIBANO, JOSE G.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ESCRIBANO, NAICETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ESPADA, MARCOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ESQUILIN, MARIA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ESQUILIN, MARIA J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ESQUILIN, REINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ESQUILIN, REINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ESTRADA, CARLOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ESTRADA, EDWIN F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FABERLLE, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FEBUS, ELIEZER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FELICIANO, CARMEN A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FELICIANO, IRIS E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FELICIANO, IVELISSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FELICIANO, KEILA D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FELICIANO, MONICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FELICIANO, NORMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FELICIANO, NORMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6177 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1178 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA FELICIANO, NORMA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FELIZ, AFRICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FERNANADEZ, IRENE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FERNANDEZ, DAISY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FERNANDEZ, IRENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FERNANDEZ, LINDA N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FERRER, JOSE D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FERRER, JOSE D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FERRER, KATIRIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FIGUEROA, CAROLYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FIGUEROA, EFRAIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FIGUEROA, JOSELYN Y.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FIGUEROA, SANTOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FIGUEROA, YESSETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FLORES, LILLIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FLORES, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FONTANEZ, YOLANDA I.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FORHAM, ANGEL G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FRANCISCO, MARCOS L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FRASQUERI, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FRASQUERI, JANET T.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FRASQUERI, MELISSA M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FRED, BENJAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FREYTES, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FUXENCH, KEILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA FUXENCH, SHAREE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GAETAN, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GALARZA, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GALARZA, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GALINDO, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, AIXA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, ANA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, ARTURO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, CATIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, CHRISTIAN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, EDNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, EUGENIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, HECHMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, IRMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, IRMA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, JANET M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, JEANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, JOSE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, JUAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, JUAN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, JUANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6178 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1179 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA GARCIA, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, MAUREEN E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, MAYRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, NYDIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, OLGA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, OLGA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, RAMONA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GARCIA, VICTOR A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GIBOYEAUX, ADA LUISA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GIBOYEAUX, EMILY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GIL, VILMA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GIL, VILMA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GINEL, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GOMEZ, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA GONZALEZ MARTINEZ,      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
CARMEN I
SANTANA GONZALEZ, CARMEN M.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, DALIZ         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, DALIZ         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, EUNICE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, GILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, JASMARY N.    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, JOSE R        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, LADIZ         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, LUZ C         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, MARIA N.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, MARILUZ       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, PEDRO JUAN    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, PRISCILLA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GONZALEZ, VANESSA L     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GOYCO, MAGDA C.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GRANDOLE, MARIA E.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GRANDONE, MARIA E.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GREEN, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GUADALUPE, MARYSOL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GUERRERO, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GUTIERREZ, JAYMARIE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GUTIERREZ, MARIA E      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GUZMAN, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GUZMAN, DURCILIA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA GUZMAN, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA HERNANDEZ, EMMANUEL     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6179 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1180 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA HERNANDEZ, JACKELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA HERNANDEZ, JULIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA HERNANDEZ, KAREN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA HERNANDEZ, KAREN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA HERNANDEZ, NICOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA HERNANDEZ, NICOLAS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA HERNANDEZ, NITSALIZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA HERNANDEZ, PEDRO M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA HERNANDEZ, PEDRO M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA HERNANDEZ, SERGIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA HIRALDO, JEAN C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA HUERTAS, BARBARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA HUERTAS, BARBARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA HUTCHINSON, JAIME       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA HUTCHINSON, ORLANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA IRENE, ARSENIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA IRIZARRY, ANGEL S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA IRIZARRY, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA IRIZARRY, MAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA IRIZARRY, MAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA IRIZARRY, MONSERRATE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA IRIZARRY, NORMA G.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA IRIZARRY, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ENRIQUE
SANTANA JIMENEZ, ANA G.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA JIMENEZ, MARIA A.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA JIMENEZ, MARITZA R.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA JORGE, IVIS DAMARIS     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA JORGE, RUTH M           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA JUSINO, ROSA A          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA KUILAN, ZULMA I         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LABOY, ELI              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LABOY, NARRIET          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LAMBOY, CECILIA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LAMBOY, MARIA D         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LAMBOY, MARIA D         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LAMBOY, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LANDRON, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LANTIGUA, JAIME         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LANTIGUA, JENNIFER      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LARACUENTE, ELIAS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LASSUL, HECTOR LUIS     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LEBRON, ADOLFO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LEBRON, ANA J           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LEBRON, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LEBRON, MABEL           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LEBRON, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LEON, EDWARD            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA LEON, ILEANA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6180 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1181 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA LLANTIN, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LLIRAN, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LONGO, YAIDI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LONGO, YAIDI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LONGO, YAIDI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, ABIGAIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, ALEX OMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, ARMANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, CARMELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, EDIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, IDALI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, ISAMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, MARCIANO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, MIGDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, NILSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, NORMA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, OLGA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, SONIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOPEZ, ZOBEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOZADA, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LOZADA, JOHN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LUGO, ALICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LUGO, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LUGO, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LUGO, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LUGO, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LUGO, HERMINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LUGO, MAGDALENA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LUGO, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LUGO, TOMASA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LUGO,ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA LUINA, JESMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MAISONET, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MALDONADO, ANGEL L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MALDONADO, CANDIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MALDONADO, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MALDONADO, HARVEY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MALDONADO, LESLIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MALDONADO, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MALDONADO, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ALBERTO
SANTANA MALDONADO, LUZ          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6181 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1182 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTANA MALDONADO, LUZ N          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MALDONADO, MARGARITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MALDONADO, MARIA J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MALDONADO, VANESSA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MALDONADO, VICTOR M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MANGUAL, BRUNILDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARCANO, FRANCHESKA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARCANO, IRIS M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARCANO, ROSA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARIN, ALEXANDRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARIOT, MILAGROS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARQUEZ, CARMEN D         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARQUEZ, JUAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARQUEZ, LYNNETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARQUEZ, RUTH A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARQUEZ, VICTOR R.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARRERO, ENRICO J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARRERO, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARRERO, LUIS F.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARRERO, MARIA DEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARRERO, MARIA DEL L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARRERO, MARIA DEL L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARRERO, NELSON B         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARRERO, SANTOS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTI, SONIADEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, ANGEL L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, ANGELES M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, CARMEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, CARMEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, CRUZ            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, DARYANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, IVONNE M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, JUAN S          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, JUDITH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, KATIRIA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, LIZBETH M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, MADELINE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, MARIA L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, MARIS D         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, MARITZA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, MAYRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, MILAGROS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, MILTON          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, MILTON          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, MIRIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, ORLANDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, ROSA B.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, TEDDY GABRIEL   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, TOMAS I.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6182 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1183 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA MARTINEZ, YARISA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MARTINEZ, YULISSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MASSA, SANTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MASSAS, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MATEO, ISABEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MATOS, AMARIELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MATOS, ANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MATOS, MAYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MATOS, MAYDA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MATTA, EDGAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MATTA, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MAYMI, RUTH N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MAYSONET, VERA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MEDINA, BLANCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MEDINA, ERIK            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MEDINA, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MEDINA, MIRNA LIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MEDINA, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MEDINA, SONIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MEDRANO, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MEJIAS, JAVIER V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MEJIAS, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MELECIO, ELIEZER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MELECIO, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MELECIO, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MELECIO, ROSA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MELENDEZ, ASHLEY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MELENDEZ, BLANCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MELENDEZ, BLANCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MELENDEZ, BRENDA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MELENDEZ, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MELENDEZ, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MELENDEZ, MAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MELENDEZ, RAFAEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MELENDEZ, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MELENDEZ, ROSA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MENDEZ, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MENDEZ, MARYLINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MENDEZ, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MENDEZ, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MENENDEZ, WILMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MERCADO, ANGEL E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MERCADO, CRUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA METZ, ALMIRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MIRANDA, DORIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MIRANDA, JUAN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MIRANDA,ALFRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MOJICA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MOJICA, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6183 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1184 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA MOJICA, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MOJICA, WILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MONTALVO, AMADOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MONTALVO, HILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MONTALVO, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MONTALVO, ROSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MONTALVO, YAMILETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MONTANEZ, NYDIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MONTANEZ, ZUYANME       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MONTANEZ, ZUYANME       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MONTES, LUISEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MONTES, LUISEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MOORE, ANGEL L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, DIONISIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, DIXON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, ELBA D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, ELSIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, ISIDORO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, JOSE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, JOSE J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, JOSE LUIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, JUAN A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, LUIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, LUZ N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, MAGDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, NILDA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORALES, ROSALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MORELL, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MOTA, KENIA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MOTA, ROSENDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MOTA, ROSENDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MUNIZ, GREASSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MUNIZ, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MUNIZ, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MUNIZ, LENIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MUNIZ, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA MYSONET, VERA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NARVAEZ, DAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NAVARRO, ANYELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NAVARRO, ANYELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NAVEDO, DORALIS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6184 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1185 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA NAZARIO, AIDA LUZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NAZARIO, ASBEL R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NAZARIO, LUIS O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NAZARIO, LUIS O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NAZARIO, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NAZARIO, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEGRON, AGNES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEGRON, AMALY N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEGRON, ANTHONY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEGRON, CARMEN S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEGRON, ELIBETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEGRON, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEGRON, GUALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEGRON, IDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEGRON, JACLYN Z        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEGRON, JEANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEGRON, NOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEGRON, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEVAREZ, ALEX J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEVAREZ, EDWIN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEVAREZ, JORGE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEVAREZ, JUAN C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEVAREZ, JUDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEVAREZ, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEVAREZ, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEVAREZ, NYDIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NEVAREZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NIEVES, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NIEVES, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NIEVES, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NIEVES, ELIAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NIEVES, GAMALIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NIEVES, GLADYS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NIEVES, JANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NIEVES, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NIEVES, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NIEVES, MYRIAM I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NIEVES, OSCAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NIEVES, OSCAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NIEVES, RAMONITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NIEVES, REY F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NOLASCO, JUANITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NOLASCO, YAHAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NUNEZ, ELMER W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NUNEZ, JENNIFER M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA NUNEZ, WILFREDO E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OCANA, GILBERTO L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OCANA, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OCASIO, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6185 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1186 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA OCASIO, ZAHIRA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OJEDA, FRANCHESCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OLAN, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OLAN, MAGDALENA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OLAN, MAGDALENA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OLIVO, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OLIVO, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OLIVO, LEYSHLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OLIVO, LEYSHLA B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OQUENDO, DELISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OQUENDO, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OQUENDO, MARTA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OQUENDO, VIRGINIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTA, KIRIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTEGA, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTEGA, YOHARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, AIDA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, ANA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, CONFESOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, EDWIN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, EDWIN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, GUEDARG          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, HECTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, IDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, IRAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, IRIS N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, JANET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, LUIS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, LUMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, LUZ Z            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, MARINES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, MARIO G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, MAYRA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, MIRZA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, NELSON O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, RALPH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, ROCHELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6186 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1187 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA ORTIZ, ROSA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, ROSALINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, ROSARIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, ROSARIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, SAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, SULMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, SULMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, SYLVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, TANIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ORTIZ, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OSORIO, ROBERTO C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OTANO, IDNAREL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OTERO, CHARLIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OTERO, CRUZ A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OYOLA, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OZUNA, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA OZUNA, ANA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PABON, EMILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PABON, YAHAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PACHECO, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PACHECO, MELISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PACHECO, TATIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PADILLA, AGNES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PADILLA, AGNES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PADILLA, FELICITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PADILLA, LYDIA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PADILLA, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PADRO, CASIANO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PAGAN, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PAGAN, HILDA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PAGAN, IRIS N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PAGAN, IRIS W           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PAGAN, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PAGAN, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PAGAN, RENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PANTOJAS, LETICIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PARACCHINI, JORGE J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PARRILLA, MERCI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PARRILLA, MERICIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEGUERO, KEILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PELLOT, GLORIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PELLOT, JOSSETT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PELLOT, JOSSETT M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PENA, ANTONIO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PENA, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PENA, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, ADOLFO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, ALEJANDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, ALMIRIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6187 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1188 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTANA PEREZ, BRYAN Z            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, CLEORFA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, DAMARIE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, ELVIN E.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, FELIX              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, GEORGE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, GLADYS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, JANET              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, JANET              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, JANET              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, JANICE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, JANICE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, JOHN               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, JOSE L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, JOSE O.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, JUAN G.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, JUAN J             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, LEYZA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, MARGARITA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, MARIA I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, MARTIN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, NANCY E            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, NILDRED            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, SANTIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, SILVIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, VICTOR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, WILLIAM            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PEREZ, YEMMY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PIETRI, MANUEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PILIER, JUAN J            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PIMENTEL, GLADYS E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PINTO, CARMEN I.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PINTO, JUDITH             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PIZARRO, CARMEN L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PIZARRO, RICARDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PLANELL, BRENDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PLANELL, BRENDA LEE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA PORBEN, IDALMIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA QUILES, CARLOS A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA QUILES, EDGARDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA QUILES, EDGARDO R         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA QUILES, MARLON E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA QUILES, MARLON E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA QUINONES, CARMEN I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA QUINONES, FRANCISCO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA QUINONES, KERMIT          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA QUINONEZ, CRISTHIAN A.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA QUINONEZ, LINNETTE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA QUIRINDONGO, CRISTIAN E   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6188 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1189 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTANA RABELL, BENANCIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RABELL, CARLOS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RABELL, OLGA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RAMIRES, MERCEDES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RAMIREZ, JIM             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RAMIREZ, JOHNNY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RAMIREZ, RAFAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RAMIREZ, RAFAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RAMIREZ, YISEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RAMOS, ANGELINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RAMOS, ARACELIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RAMOS, CRISTIAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
NATIVIDAD
SANTANA RAMOS, DANIEL            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS, EDICTO            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS, ERIKA             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS, JESUS M           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS, JOEL              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS, JOSE A            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS, JOSE A.           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS, JOSE C.           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS, JUDITH            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS, KAMILA MICHELLE   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS, MANUEL A          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS, MANUEL A.         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS, MARGARITA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS, MARIA A           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS, MARILUZ           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS, MARILUZ           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS, VICTOR H.         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RAMOS,YOALID             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA REQUENA, GERTI M         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA REQUENA, GERTI M         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA REYES, JUAN C.           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA REYES, REBECA            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA REYES, SHARLENE          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RIBOT, GLORIA M          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RIJOS, LIZA Y            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RIOS, CARMEN E           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RIOS, DALIA I.           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RIOS, LIANA M            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RIOS, LISANDRA E         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RIOS, MARIA M            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RIOS, PETRA              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RIOS, ROSALINE           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RIVERA, ADALBERTO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RIVERA, ALFONSO          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RIVERA, ANAMARIS         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA RIVERA, ANAMARIS         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6189 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1190 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA RIVERA, BETSAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, CARMEN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, CARMEN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, EILEEN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, EILEEN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, ELOISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, ERIC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, FELIX M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, HELBERT A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, HIRAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, INES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, ISMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, ISMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, JAIME L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, JESSENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, JOSE B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, LEE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, LUIS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, LYZA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, MARIA N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, MAYRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, MIGDALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, MIGUEL ANGEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, MORAIMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, NAISHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, NATANAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, NOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6190 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1191 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA RIVERA, OLGA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, SANDRA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, VISITACION      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, WANDA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, WINIFRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, XIOMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, ZAIDA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, ZENAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RIVERA, ZENAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROCHE, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, ABDIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, ADA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, AIDA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, ALBA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, ARMANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, CARMEN L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, CARMEN L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, CLORIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, ELBA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, ELENA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, ELENA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, ELIMELEC     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, ELIZABETH    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, ERICK        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, ERIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, FABIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, FELICITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, FLORENCE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, GLADYS Z     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, GREGORIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, IRIS N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, IRMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, IRMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, ISABELITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, IVELISSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, JESUS A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, JOADALYZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, JORGE E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, JOSE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, JUAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, JUAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, JUAN A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, KAREN G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, LEMUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6191 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1192 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTANA RODRIGUEZ, LILLIAM       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, LINGERY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, MAGDA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, MARISOL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, MARITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, MAYRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, MAYRA C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, MELISSA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, MIGUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, NELSON        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, NELSON        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, NICOLE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, NILDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, RAMON J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, RAUL M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, SHARLY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, SHEILA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, VICTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, WILLIAM       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, YADIRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, YANIRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, YANIRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RODRIGUEZ, 'YOLANDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROJAS, JOSE E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROLDAN, AURIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROMAN, CLAUDIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROMAN, MARIA T           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROMAN, MARIELYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROMAN, MARIELYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROMAN, NORMAN E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROMAN, OLGA N            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROMAN, SANDRA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROMAN, SONIA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROMAN, VIRGEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROMERO, ARLENE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROMERO, CARLOS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROMERO, LUZ N            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROMERO, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSA, ABNER              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSA, CARMEN D           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSA, CRISPULO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSA, CRISPULO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSA, ROSA I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSA, RUTH               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSA, TANAIRI            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSADO, BRUNILDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSADO, EDWIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSADO, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSADO, JOSE J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6192 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1193 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA ROSADO, KARLA M.       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSADO, KARLAM         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSADO, MARCELINO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSADO, MERCEDES       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSADO, NANCY E        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSADO, RAMON A        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSARIO, ALMA N        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSARIO, IRAIDA        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSARIO, LYDIA         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSARIO, MARIA Y       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSARIO, ROSALIA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSARIO, ROSALIA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSARIO, ROSALIA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSSY, BRENDALI        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROSSY, CARMEN R        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ROTGER, NYDIA          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RUIZ, CARMEN L         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RUIZ, JUAN             REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RUIZ, JULIO            REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RUIZ, KAREN M          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RUIZ, KEISHA           REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA RUIZ, MARGARITA        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SABATER, DAVID         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SABINO, ANDREA         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SABINO, SANTA A        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SABINO, SANTA A        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SAGARDIA, KAMILLE      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SALCEDO, PABLO         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SALCEDO, RUTH M        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SALGADO, CARMEN D.     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SALGADO, JUANA M       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SALGADO, ZULMA         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SALICRUP, ZAWAILY      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SAMO, LUZ DEL ALBA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANABRIA, JOSE A.      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANABRIA, MARIA C      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANABRIA, ZAIDA        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANCHEZ, ANGEL L       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANCHEZ, CARLOS        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANCHEZ, HILDA M       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANCHEZ, LUIS A.       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANCHEZ, MARIA I       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANCHEZ, MIRELSA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANCHEZ, YOLANDA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANDOVAL, FRANCHESKA M REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

SANTANA SANJURJO, SELENIA H     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA SANJURJO, SELENIA H     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA SANJURJO, WILMA E       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6193 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1194 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA SANTANA, AMARILY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, AMARILY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, CARLOS R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, CRUZ A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, ERICBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, IRMA D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, JONATHAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, JULIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, MARCOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, NOELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, NOELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTANA, YANIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, AIDALIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, ARACELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, DIANA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, GABRIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, GLORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, GLORIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, INABEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, VANESSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, WILMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTIAGO, XAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTONI, MERALYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTOS, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTOS, CYD A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTOS, GISELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTOS, GISELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTOS, MARILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SANTOS, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SEDA, DORIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SEDA, JANET M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SEGARRA, CARMELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SEIN, ELOISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6194 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1195 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA SEIN, RAMONA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SEPULVEDA, ALEIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SEPULVEDA, JOHANNA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SEPULVEDA, JOHANNA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SEPULVEDA, SONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SERRANO, LUIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SERRANO, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SERRANO, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SIBERON, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SIERRA, CLARISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SIERRA, JAIME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SILVA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SILVA, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SILVESTRE, LIBRADA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOLER, EVELYN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOLER, GRISELDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOLER, ISHA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOSA, JULIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOSTRE, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOTO, AIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOTO, AIDA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOTO, ANA H.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOTO, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOTO, DORIS N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOTO, GRISELL C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOTO, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOTO, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOTO, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOTO, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOTO, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA SOTO, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TAPIA, JUAN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TEJADA, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TEXIDOR, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TIRADO, CARMELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TIRADO, DOLORES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TIRADO, JULIO E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TIRADO, MARIA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TIRADO, MONSERRATE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TIRADO, PERFECTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TOLEDO, RAMONITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORO, SARAHI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, ABNER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, ADA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, ANGELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, ANTHONY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, CARMEN N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, CLARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, DORALYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6195 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1196 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA TORRES, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, ELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, ELVIN J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, LILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, LYMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, PEDRO R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, ROLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA TORRES, YAHAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA UFARY, TIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VALDES, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VALENTIN, ABDELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VALLE, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARELA, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARELA, GRISELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARGAS, BEVERLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARGAS, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARGAS, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARGAS, FRANCISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARGAS, GRISEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARGAS, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARGAS, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARGAS, IVIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARGAS, JOHNNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARGAS, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARGAS, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARGAS, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARGAS, NICOLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARGAS, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARGAS, SULAI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VARGAS, URIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VAZQUEZ, CARLOS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VAZQUEZ, CAROLINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VAZQUEZ, IVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VAZQUEZ, IVONNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VAZQUEZ, JUAN R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VAZQUEZ, LIZETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VAZQUEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VAZQUEZ, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VAZQUEZ, ROGELIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VAZQUEZ, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VAZQUEZ, ROSA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VAZQUEZ, XAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6196 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1197 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA VEGA, ABRAHAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VEGA, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VEGA, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VEGA, EVERILIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VEGA, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VEGA, JOSE O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VEGA, KEITHY L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VEGA, NIMIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VEGA, RAMFY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VEGA, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VEGA, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VEGA, SARA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VEGA, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VEGA, VILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VEGA, VILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VEGA, VIVIAN E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VEGA, YASMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VELAZQUEZ, ADA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VELAZQUEZ, BENITO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VELAZQUEZ, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VELAZQUEZ, ELVIN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VELAZQUEZ, GLORIA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VELAZQUEZ,              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
HERMENEGILDA
SANTANA VELAZQUEZ, JONATHAN     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELAZQUEZ, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELAZQUEZ, JOSE L       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELAZQUEZ, JOSE M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELAZQUEZ, JULIO R      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELAZQUEZ, MARIA M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELAZQUEZ, MAYRA E      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELAZQUEZ, RUBEN O      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELAZQUEZ, RUBEN O      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELAZQUEZ, SHARON M     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELAZQUEZ, SHEILA M     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELAZQUEZ, VILMARIZ     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELAZQUEZ, WANDA I      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELEZ, AWILDA MIA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELEZ, DOLORES          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELEZ, DOLORES T        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELEZ, HECTOR I         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELEZ, HELGA M          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELEZ, JARIVETTE M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELEZ, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELEZ, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELEZ, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELEZ, NOBERTO M.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELEZ, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTANA VELEZ, NORBERTO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6197 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1198 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTANA VELEZ, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VELEZ, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VELEZ, VERUCHKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VELEZ, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VENEGAS, ELSIE H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VENEGAS, MARIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VIDOT, TONY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VIDRO, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VIERA, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VIERA, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VILLAFANE, DAMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VILLAFANE, DAMARIS I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VILLAFANE, DAMARIS I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VILLANUEVA, DANIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VILLANUEVA, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VILLANUEVA, JOSE F.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VILLANUEVA, MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VILLANUEVA, RUTH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA VILLANUEVA, RUTH V      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ZAMBRANA, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ZAPATA, ROSA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ZAYAS, ELVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ZAYAS, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA ZAYAS, WILMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA, CARLOS M.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA, EVELYN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA, GIL                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA, GUEDAR                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA, ISMAEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA, JUAN R.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA, KARLA G                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA, LESDY Y.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA, MIGUEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA, MOISES                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA, ORLANDO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA, RAMONITA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA, REINALDO A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA, ROBIN                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA, WILMARIE D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANA,ARNALDO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANACANALES, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANAPACHECO, JUANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANARODRIGUEZ, ANGEL L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTANASANTANA, ESMERALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTEL MUNOZ, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTEL RIVERA, ANGELICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTEL RIVERA, CATALINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTELL CORA, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTELL DIAZ, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1199 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTELL DIAZ, JOY LENEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTELL DIAZ, MARIA DEL CARMEN   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTELL GONZALEZ, MILEYRIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTELL MORET, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTELL SANCHEZ, EMMA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTELL SANCHEZ, IVAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTELL VELAZQUEZ, IVONNE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTELL VELAZQUEZ, IVONNE M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTELL VELAZQUEZ, RICARDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTELL VELAZQUEZ, RICARDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTER DIAZ, FRANCISCO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTI BURGOS, MARIA DEL CARMEN   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTI MELENDEZ, ROSAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTI PACHECO, GLORIA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAG CARRASQUILO, JULITZ      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, LUIS M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ABRAHAN, JESUS M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ABRAHAN, JESUS M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ABRAMS, ALEXIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ABREU, KEMUEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ABREU, NAARA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ABREU, NAARA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, ADAMINA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, AILEEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, ALBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, ALEZ           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, CARLEEN C      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, CARLEEN C      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, CECILIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, CONFESORA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, DIANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, DIANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, DIOSDADO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, EDWIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, EDWIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, FELIX          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, GLORIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, HECTOR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, HECTOR D.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, ILEANA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, ILEANA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, IRIS D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, ISAMAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, JOANNA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, JOERGE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, JONATHAN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, JONATHAN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, JORGE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, MARGARITA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6199 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1200 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO ACEVEDO, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, MARIA D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, MARTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, MIGUELINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, SONNY E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, SUHEIL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, SUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, SYLVIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, VIRMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, VIRMA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACEVEDO, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, ABIGAIL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, ADA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, ANA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, BENJAMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, DWIGHT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, EMMANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, GERMAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, HERNAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, JUANA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, JULIANNE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, LESLEY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, MAYRA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, PEDRO E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, SERGIO S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, TANAERI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ACOSTA, YALEISKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ADAMES, MABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ADORNO, ALBA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ADORNO, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ADORNO, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ADORNO, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ADORNO, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGOSTO, HECTOR M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGOSTO, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGOSTO, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGOSTO, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGOSTO, LEINAMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGOSTO, LINEUDY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGOSTO, LINEUDY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGOSTO, LIZZETTE M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6200 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1201 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO AGOSTO, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGOSTO, MIGUEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGOSTO, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGOSTO, RUTH N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGOSTO, VANESSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGOSTO, WANDA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGUILAR, DEMESIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGUIRRE, JACQUELYN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGUIRRE, JACQUELYN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AGUIRRE, MELISA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALAMEDA, XAVIER C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALAMO, CARMEN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALAMO, ELINAMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALAMO, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALAMO, ISMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALAMO, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALAMO, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALAMO, JULIO C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALAMO, MARISEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALAMO,ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALBALADEJO, PABLO J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALBALADEJO, TERESA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALBALADEJO, ZENAIDA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALBALADEJO, ZENAIDA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALBALADEJO, ZENAIDA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALBARRAN, JOHN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALBINO, FELIBER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALBINO, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALBINO, JOSE LUIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALBINO, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALBINO, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALBINO, OMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALBINO, OMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALBIZU, RICARDO A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALBIZU, XAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALEJANDRO, JULIA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALEJANDRO, JULY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALEJANDRO, LOURDES     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALEJANDRO, LOURDES     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALEJANDRO, MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALEJANDRO, ROSA C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALEJANDRO, YARIMAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALEQUIN, ANGEL L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALEQUIN, CARMEN N.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALEQUIN, JOSE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALERS, ALBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALERS, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALFONSO, ALEJANDRO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALGARIN, JORGE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6201 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1202 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO ALGARIN, MARIA D.     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALGARIN, MARIBEL      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALGARIN, MARITZA      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, AIDA L        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, ANIBAL        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, CARLOS J      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, CARLOS J      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, CARMEN        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, CARMEN S      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, CARMEN Y      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, CESAR E       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, CESAR E       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, EASY R        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, FRANKLIN M    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, FREDDY        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, HARRY         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, HERIBERTO     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, IVONNE J      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, IVONNE J      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, JACQUELINE    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, JESSICA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, JIMMY         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, JOHAN         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, JOSE          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, JULIO         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, LOIDA         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, MARIA A       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, NORMA         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, RAFAEL        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, WANDA I       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALICEA, WILLIAM       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALMENA, MYRNA I       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALMODOVAR, ABEL J.    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALMODOVAR, ANTHONY    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALMODOVAR, CARLOS M REDACTED                          REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALMODOVAR, CARLOS M REDACTED                          REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALMODOVAR, CAROL D    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALMODOVAR, EDDIE      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALMODOVAR, GERARDO L REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALMODOVAR, IVELISSE   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALMODOVAR, MARIMAR    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALMODOVAR, MAYRA      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALMODOVAR, PEDRO A    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALMODOVAR, ROSE M     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALMODOVAR, ROSE M.    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALMODOVAR, ZORINNETTE REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

SANTIAGO ALONZO, YAZMIN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALTRECHE, DALIA M.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6202 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 1203 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO ALTRUZ, LUZ              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALTRUZ, LUZ M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVARADO, AISVEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVARADO, ANGEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVARADO, ANGEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVARADO, ANGEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVARADO, ANTONIO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVARADO, ARLEEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVARADO, ARMANDO J      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVARADO, CARLOS J.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVARADO, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVARADO, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVARADO, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
GLADY
SANTIAGO ALVARADO, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
GLADYS
SANTIAGO ALVARADO, CARMEN L       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, CAROLINE       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, CRUCELYN       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, EDUARDO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, ELISA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, ERIC S.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, HECNARY        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, JACQUELINE I   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, JOSE A         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, JOSE A         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, JUAN C         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, JULISSA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, JULISSA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, LUIS G.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, LUIS R         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, MARITZA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, MIGDALIA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, NERITZA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, NIDIA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, OMAR E.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, PEDRO E        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, RAMON L        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, VIRGINIA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, WILLIAM        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, WILLIAM        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, ZORAYA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, ZORAYA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARADO, ZORAYA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVARDO, WANDA I.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVAREZ, CARMEN M.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVAREZ, CONCHITA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVAREZ, CONCHITA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ALVAREZ, ILEANA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6203 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1204 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO ALVAREZ, INGRID         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVAREZ, INGRID         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVAREZ, ISMAEL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVAREZ, ISMAEL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVAREZ, RAFAEL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVAREZ, RAFAEL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVAREZ, SONIA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVAREZ, VIVIAN         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVAREZ, ZELIDETH       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVAREZ, ZELIDETH       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVERIO, CANDIDO        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVERIO, GLADYS         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVERIO, MARGARITA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ALVIRA, LUZ M           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AMADOR, ZORIMEL P       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AMARO, CRISTINA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AMARO, FERNANDO         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
RAFAEL
SANTIAGO AMARO, FRANCISCO        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO AMARO, LUZ M            REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO AMBULO, IRINA E         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANDICULA, MARY I        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANDINO, ANA             REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANDINO, FRANCISCO I     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANDINO, IRIS N.         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANDINO, JOSE M          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANDINO, MARIA DE LA P   REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANDINO, SEUL            REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANDINO, WILLIAM         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANDUJAR, ISMAEL         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANDUJAR, MARIA DE LOS A REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANDUJAR, MARIA V        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANDUJAR, MIRIAM D       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANDUJAR, NORA G         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANDUJAR, VIRGEN S       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANDUJAR, WILLIAM        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANGLERO, DELMA I.       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANTOMPIE, CARLOS R      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANTONY, DAGMAR          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANTUNA, LYDIA M         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANTUNA, PEDRO J         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ANTUNA, ZORAIDA         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO APONTE, ANDRETTI        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO APONTE, ANDRETTI G      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO APONTE, BRYAN           REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO APONTE, CARMEN C.       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO APONTE, CYNTHIA         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO APONTE, EDGARDO J       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO APONTE, EDGARDO J.      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6204 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1205 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO APONTE, EDUARD J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, ELMELINDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, GERARDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, HAYNES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, HAYNES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, ISA NYMARI      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, JULIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, JULIO A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, MARIA LOURDES   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, MARISOL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, MIGUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, NEREIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, NILDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, NILDA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, NIXA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, WALDO E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, WIGNA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, XAVIER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO APONTE, ZOE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARCE, CARLOS J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARCE, CARMEN E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARCE, DAISY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARCE, FERNANDO L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARCE, IVAN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARCE, JANET             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARCE, JORGE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARCE, LISSETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARCE, NOEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARCE, RAUL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARCE, WILFREDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARCE, WILFREDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARCHILLA, MINERVA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARCHILLA, NORMA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARMAN, EDWIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARNAU, JASHLEY M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AROCHO, AIDA G          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AROCHO, AIDA G.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AROCHO, EDWIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AROCHO, GABRIELA N.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AROCHO, LUIS M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AROCHO, MARITZA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AROCHO, WILSON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AROCHO, WILSON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARRIAGA, LESLIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARRIETA, MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, BRENDA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, CARLOS M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, CARMEN E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, CARMEN M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6205 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1206 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO ARROYO, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, ELBA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, FRANCES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, IRIS B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, IRIS B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, JONATAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, JOSE F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, KARIELY D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, LESLIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, LINAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, LINIBETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, LUZ A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, MARCOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, MARIA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, PAOLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, PAOLA T.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, PEDRO M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, RAMON L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, VILMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, WALDEMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARROYO, YADIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARZOLA, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARZOLA, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARZOLA, WILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ARZUAGA, CHEMILLIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ASENCIO, MARK A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ASTACIO, OLGA LUZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AVILA, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AVILA, MANUEL I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AVILES, CARMEN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AVILES, CORALYS E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AVILES, CRUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AVILES, CRYSTALEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AVILES, CRYSTALEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AVILES, EDSON L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AVILES, ELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AVILES, ELVIN N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AVILES, JOSE S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AVILES, KEYLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AVILES, LEILANY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AVILES, MARIELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AVILES, OSCARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6206 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1207 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO AVILES, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, AISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, AUDREY J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, AUDREY J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, CARLOS G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, DANITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, DARIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, EMMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, JOELYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, JOSE G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, LETICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, NILDA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, SHALIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYALA, WILLIAM J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO AYBAR, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BABILONI, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BABILONIA, NILSA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BADE, JOSE G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BADILLO, JOHNIEL O     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAERGA, ANGEL D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, AIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, AMARILIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, CARMEN L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, CARMEN Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, EROHILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, HIRAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, ILEANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, JENNIFER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, JOSE GILBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, LEONEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, ROSA J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAEZ, XIOMARA T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAHAMUNDI, JAIME       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAHAMUNDI, JUAN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6207 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1208 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO BAJANDAS, MAGDA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BALINES, SANTA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BALINES, SANTA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BARADA, CARLOS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BARADA, LUIS N           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BARBOSA, ADELAIDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BARBOSA, CARLOS A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BARBOSA, CARLOS D        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BARRERA, BRIAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BARRERA, BRIAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BARRETO, PEDRO A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BARRETO, RUBEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BARRIERA, NILDA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BARROSO, NERILIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BATISTA, JULIO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BATISTA, KATYANA MARIE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BATTISTINI, LILLIAN I    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAYON, MAYRA L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAYON, MYRTA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BAYRON, JULIO O          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BEAUCHAMP, CHRISTIAN     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BEAUCHAMP, CHRISTIAN     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BEAUCHAMP, CHRISTIAN     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BEAUCHAMP, VERONICA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BECERRA, GLADYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BELTRAN, OLGA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BELTRAN, YOLANDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BENGOCHEA, GRACE D       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BENIQUE, CARMEN E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BENIQUE, CARMEN E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BENITEZ, GLORIEMY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BENITEZ, GLORIEMY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BENITEZ, LUIS ANTONIO    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BENITEZ, WILFREDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERDECIA, CYMARIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERDECIA, JOSE R.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERDECIA, YANIRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, ADA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, ARIEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, BILLY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, CARMEN A.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, CARMEN I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, DOMINGO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, ERNESTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, FERMIN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, FERMIN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, JAVIER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, JESSICA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6208 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1209 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO BERMUDEZ, JUAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, KELVIN R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, MELVIN J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, MELVIN J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, MELVIN J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, MIRIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERMUDEZ, SANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERNARD, IRELIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERNARD, JENNIFFER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERNIER, DOMINGO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, ALEXIS M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, BLANCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, CARMEN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, CRISTOBAL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, DANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, ERNESTO M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, GABRIELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, GLADYLIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, KELITT DE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, KELITT DE J   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, LEONARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, LYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, MARIA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, MARIA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, MARIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, MIGUEL A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, RAMONA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, REINALDO A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, REINALDO A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, RICHARD       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, VANESSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, ZOBEIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERRIOS, ZOBEIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERROCAL, ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERROCAL, GERMAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERROCAL, ISRAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERROCAL, RAMIRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BERROCAL, SENEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BESOSA, ISABEL G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BETANCOURT, ANGEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BETANCOURT, CARMEN M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BETANCOURT, CHERYL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BETANCOURT, JOSE M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BETANCOURT, JOSUE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6209 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1210 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO BETANCOURT, LUCY Y     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BIBILONI, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BIGAS, YARISEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BIGAY, MARJORIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BIRRIEL, LIZETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BIRRIEL, LIZETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BLANCO, JUSTINO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONER, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONES, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONET, DAMIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONET, IRIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONET, IRIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, ALICE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, ANGEL R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, AUREA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, CARLOS M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, CELSO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, DENNISE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, DENNISE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, FAUSTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, HERMINIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, IRAMYS D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, IRMA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, JEANETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, JULIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, MARIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, MELVIN I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, RAMON L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLA, SOLYMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BONILLLA, DAVID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BORGES, ADOLFO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BORGES, DINORAH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BORGOS, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BORRAS, ARIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BORRAS, TOMAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BORRERO, ADA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BORRERO, ALEX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BORRERO, ANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BORRERO, ARIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BORRERO, BENJAMIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BORRERO, CARLOS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BORRERO, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BORRERO, NOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BORRERO, ORLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BORRERO, PASCUAL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BOSQUE, FRANCES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BOSQUE, FRANCES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6210 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO BOURDOIN, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BOURDOING, ELISANDRO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BOYRIE, LUZ I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BOYRIE, NIDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BOYRIE, NILCZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BRACERO, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BRACERO, JUAN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BRACERO, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BRANUELAS, GISELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BRIGNONI, MARIE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BRITO, GLORIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BROWN, DORA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BRUNO, ANABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BRUNO, ANABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BRUNO, ANABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BRUNO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BUEDO, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGADO, ARCADIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGADO, ARCADIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, ADELLE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, ANA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, BRENDALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, CARMEN J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, DENISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, DENISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, ELIOT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, ERICK          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, ILIANA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, ISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, ISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, ISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, LEONARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, LUIS DANIEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, LUZ E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, LUZ S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, MATLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, OMAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BURGOS, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO BUSANET, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABALLERO, CARLOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6211 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 1212 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO CABAN, ELSIE              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABAN, GLADYS             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABAN, MARIBEL            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABANAS, FRANCES          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABANAS, HADDY            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABANAS, RAMONITA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, AIDALIS          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, ANDERSON         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, BRENDA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, CARLOS M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, CARMEN E         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, ENEIDA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, ESTHER           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, HARRISON         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, HENRY            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, MANUEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, MARIA DE LOS A   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, NOEMI            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, NORMA E          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, NORMA E          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, WALESKA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, WILLIAM          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CABRERA, WILLIAM          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CACERES, HARRISON         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAEZ, MARIA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAEZ, PROVIDENCIA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAJIGAS, JAVIER           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALCADOR, JANIL I.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALCANO, BRENDA L.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALCANO, CARMEN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALCANO, DANIEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALCANO, DANIEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERO, ELIZABETH        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERO, JOSE D           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERO, LUIS A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERON, ALMA I          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERON, CARLOS A.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERON, EUDEZ L         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERON, GEORGE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERON, GRISEL          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERON, JESUS           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERON, JOSE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERON, JOSE A.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERON, KEVIN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERON, LUIS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERON, MERCEDES        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERON, OLGA I          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERON, RIGOBERTO       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALDERON, SAMALIZ         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6212 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 1213 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO CALIZ, LOURDES I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALIZ, SYLMA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALIZ, WANDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALIZ, WANDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALIZ, WANDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CALZADA, ISMAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMACHO, ALEXIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMACHO, ANGEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMACHO, EDNA E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMACHO, JAIME          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMACHO, JOSE M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMACHO, KAREN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMACHO, KEISHLA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMACHO, MARICARMEN     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMACHO, PABLO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMACHO, STEVENS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMARENO, ZAIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMINERO, NICOLE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMPOS, ANGEL M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMPOS, ESTHER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMPOS, IVONNE E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMPOS, MIGUEL A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAMPOS, RAFAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANALES, JOSE R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANCEL, CONFESOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANCEL, HAYDEE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANCEL, JUDILEE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANCEL, ROBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANCEL, SYLVIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANCEL, SYLVIA A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANDELARIA, CARMEN I.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANDELARIA, DAVID       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANDELARIA, EDNA A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANDELARIA, HILDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANDELARIA, NANCY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANDELARIA, OLGA E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANDELARIO, CARMEN G    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANDELARIO, CARMEN L    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANDELARIO, LYDIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANDELARIO, MIGUEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANDELARIO, MYRNA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANS, ABIGAIL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANS, ABIGAIL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CANTRES, GUSTAVO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAPARROS, SANDRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAPESTANY, LUIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAPETILLO, JOSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CAPPAS, IVAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARABALLO, AGNES D      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6213 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1214 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO CARABALLO, ALEJANDRO    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARABALLO, ANGEL M      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARABALLO, CARLOS       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARABALLO, CARMEN M. REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARABALLO, DANIEL J     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARABALLO, JENIFFER     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARABALLO, JENIFFER     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARABALLO, MARCOS       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARABALLO, MELISSA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARABALLO, NELSON       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARATINI, TATIANA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARATINI, TATIANA M     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARDEC, JACQUELINE      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARDONA, GLORYVETTE     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARDONA, JONATHAN       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARDONA, JONATHAN       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARDONA, JOSE D.        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARDONA, JOSE M.        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARDONA, KABIR          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARDONA, KABIR J        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARDONA, LESLIE A       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARDONA, NEMANUEL       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARDONA, OMAYRA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARDONA, OMAYRA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARDONA, VIRGINIA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARDONA, VIRGINIA M     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARDONA, YAEL J         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARDONA, YOLANDA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARLO, ARTURO           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARLO, IVONNE M         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARLO, JESSICA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARLO, MELISA           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARO, IRAI              REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARO, NYDIA M           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRASCO, FRANCISCO     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRASQUIL, LUIS R      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRASQUILLO, ARIEL     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRASQUILLO, ILEANETTE REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRASQUILLO, IRMARILIS REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRASQUILLO, JUAN E    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRASQUILLO, MARIA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRASQUILLO, MARIBEL REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRASQUILLO, SANDRA    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRASQUILLO, YELIZA    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRERO, ABNER U        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRERO, BRENDALIS      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRERO, BRENDALIS      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRERO, RIGOBERTO      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRERO, WANDA E        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6214 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1215 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO CARRION, HECTOR A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRION, HECTOR A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRION, JUAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRION, LUZ            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRION, MARA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARRION, SANTA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARTAGENA, CARMEN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARTAGENA, CESAR A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARTAGENA, CYNTHIA J    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARTAGENA, CYNTHIA J.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARTAGENA, DANOY A.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARTAGENA, DAVID G      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARTAGENA, ELIAS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARTAGENA, EVELINDA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARTAGENA, EVELINDA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARTAGENA, GLADIZA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARTAGENA, JANICE M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARTAGENA, JULIAN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CARTAGENA, LUIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ANTONIO
SANTIAGO CARTAGENA, MARITZA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CARTAGENA, MARTA L      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CARTAGENA, MYRNA I      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CARTAGENA, NANCY        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CARTAGENA, NANCY        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASAS, JOSEFINA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASAS, JOSEFINA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASIANO, EDNA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASIANO, EDNA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASIANO, FELIX J        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASIANO, JOSE A         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASIANO, LUIS R.        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASIANO, OLGA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASIANO, PEDRO          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASILLAS, MARITZA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASILLAS, MARITZA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASILLAS, MIGUEL A.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASTEJON, MINERVA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASTELLANO, MILAGROS    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASTELLANO, MILAGROS    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASTILLO, JOSE L        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASTILLO, LIZ S         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASTILLO, MICKEY        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASTILLO, PABLO         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASTILLO, RICARDO L.    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASTILLO, TANIA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASTILLO, VIRNA L.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASTILLO, VIRNA L.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO CASTRO, ALEXIS          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6215 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO CASTRO, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, CRUZ            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, DAISY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, EDISON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, ITSAMARIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, JEANETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, JOSE A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, JOSE N.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, JOSE R.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, KARLA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, LOURDES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, LOURDES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, LOURDES M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, LUZ M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, MARICEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, MARIELA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, MICHEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, NANCY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, NYDIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, PEDRO J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, RHENNA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, VICTOR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CASTRO, YVETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CATALA, IDITH           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CATALA, IDITH           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CATALA, IVELISSE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CATRODAD, JOSILANY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CEBOLLERO, JESSICA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CEDENO, ELLERY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CEDENO, EVERANGEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CEDENO, FRANCISCO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CEDENO, FRANKIN R.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CEDENO, JOSE A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CEDENO, LUZ E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CEDENO, RICHARD         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CELESTE, CELENIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CENTENO, AIXA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CENTENO, JOSE L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CENTENO, MARGARITA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CENTENO, MARGARITA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CENTENO, MARGARITA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CENTENO, SANTOS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CEPEDA, KRYSTAL M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CERVERA, MARTA G        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CERVONI, RAFAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CESAREO, DIANA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CESAREO, JOSE A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CHAMORRO, MARIA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6216 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO CHANZA, FELICITA M.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CHAPARRO, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CHEVERE, ANGELICA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CHEVERE, ELSIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CHEVERE, ISABEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CHEVERERE, JEFFREY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CHEVEREZ, ANGELICA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CHEVRES, RAQUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CHICO, EMELIRIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CHUPANY, LYGIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, AIDA A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, ANDREA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, ANGEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, ANGEL M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, BENJAMIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, DANIEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, DENNIS E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, DENNIS M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, EDGAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, ELENA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, ELETICIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, ELISULEICA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, EVA R.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, EVA Y          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, FRANCISCO A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, GILBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, GLENDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, GUILLERMO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, IRMA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, JORGE L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, JUAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, KARELY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, LUIS JORGE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, LUIS O.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, MARIA DE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, MARIA E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, MARIA L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, MARIANELA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, MERCEDES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, OMAR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, PABLO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, PAULA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, PEDRO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, RAMON L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, ULISES M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, VICTOR M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CINTRON, VICTOR M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6217 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1218 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO CLASS, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CLASS, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CLASS, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CLASS, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CLAUDIO, BLANCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CLAUDIO, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CLAUDIO, EDWARD O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CLAUDIO, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CLAUDIO, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CLAUDIO, JULISSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CLAVEL, BRENDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CLAVELL, BRENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CLAVELL, PEDRO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COCHRAN, DIANA R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLCN, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLAZO, ANDREA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLAZO, BRENDA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLAZO, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLAZO, CARMEN L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLAZO, CARMEN L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLAZO, DAISY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLAZO, DAISY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLAZO, DAWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLAZO, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLAZO, EUGENIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLAZO, HELEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLAZO, HELEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLAZO, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLAZO, MARIA DEL C   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLAZO, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLAZO, NOEMI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLLET, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, ADALYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, AFORTUNADO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, ALEXANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, AMALIS I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, ANGEL D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, ANGELITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, BEATRIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, BEATRIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, BLANCA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, CARLOS L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, CARMEN M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, CAROLINE I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6218 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1219 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO COLON, CAROLINE I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, DORCAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, EDIL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, ELBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, ELSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, ELSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, ELSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, FELIX D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, GISELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, INIABELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, IRAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, IRIS B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, IRIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, IRIS V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, IVIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, JANSEPH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, JESSE J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, JOSHUA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, JOSHWALD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, JUAN CARLOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, JUAN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, JUSTINO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, LAURA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, LESLIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, LIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, LIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, LIZMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, MARGIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, MARIA T.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, MARIELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, MARIELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, MAYRA C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, MERCEDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6219 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1220 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO COLON, MILAGROS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, MILLIENETTE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, MIRNA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, MIRTA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, MIRTA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, MYRNA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, MYRTA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, NAHONI            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, NELLY Y           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, NILDA R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, NOEMI             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, NORMA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, NORMA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, OLGA L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, OLGA L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, PEDRO A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, RAFAEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, RAMON             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, RAUL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, RENE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, ROSA I.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, SOLIMAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, SOLIMAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, SYLVIA Y          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, WILDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, WILFREDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, WILLIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, YARENID           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, YEIMARI           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, YESENIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, YOMARIE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COLON, ZULMA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONCEPCION, BENNY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONCEPCION, BRENDA LEE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONCEPCION, CARMEN I     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONCEPCION, GETULIO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONCEPCION, JOSE R       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONCEPCION, LUZ M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONCEPCION, REINALDO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONCEPCION, ROSA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONCEPCION, SHEYLA M.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONCEPCION, YESENIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONDE, CESAR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONDE, ILIS M.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONDE, REY               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONDE, SYLVIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONEJO, ORVILLE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONTRERAS, KARLA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CONTRERAS, KARLA C       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6220 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1221 of 2285
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO COPPIN, IRMA          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORA, AIXA L          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORA, MYRNA E         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORA, RAMON L         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORALES, CARLOS R     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORCHADO, CECILIO     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORDERO, ALEXIS M.    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORDERO, ANNETTE      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORDERO, CARMEN H     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORDERO, HERBERT      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORDERO, HIRAM        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORDERO, JOSE         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORDERO, LOREIN       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORDERO, MIGUEL       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORDERO, MYRIAM       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORDERO, MYRIAM E     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORDERO, SANDRA NOEMI REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORDERO, WILLIAM      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORDOVA, MIGUEL       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORDOVA, MIGUEL       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORDOVA, NEREIDA      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORDOVES, MANUEL A.   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORE, NOEMI           REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORNIER, SARAI        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, ANTONIO R     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, EDGAR J       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, ELIAS         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, ELIAS         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, JANICE        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, JANICE        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, JOSE L.       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, JUAN J        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, JULIO A       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, LOURDES       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, MARIA D       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, RAUL          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, RAUL J        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, ROSA I        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, ROSA I.       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, SANDRA V.     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, SAUL          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORREA, SONIA         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORTES, ALONDRA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORTES, BELFINA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORTES, BINDA Y.      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORTES, CARMEN        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORTES, CARMEN R      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORTES, ELIZABETH     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORTES, ELMER         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6221 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1222 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO CORTES, HERNAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORTES, JOAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORTES, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORTES, LIZMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORTES, RAQUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CORTES, RICHARD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COSME, ADELAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COSME, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COSME, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COSME, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COSME, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COSME, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COSME, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COSME, RAMON A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COSTALES, JESSICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COTAL, YAMILA O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COTTO, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COTTO, ANABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COTTO, ANABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COTTO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COTTO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COTTO, IRMA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COTTO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COTTO, LUIS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COTTO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COTTO, NOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO COUVERTIER, MARIA M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRESPO, ALEX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRESPO, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRESPO, AWILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRESPO, CAROL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRESPO, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRESPO, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRESPO, GLORIVEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRESPO, JOSE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRESPO, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRESPO, REY J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRESPO, ROSA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRESPO, ROSA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRESPO, SANDRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRU Z, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, AIDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, AIDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, AIDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ANA H.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6222 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1223 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO CRUZ, ANGEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ARACELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, BRENDA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, BRENDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, CARMELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, CARMEN R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, CARMEN Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, CESAR J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, CHRISTIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, DALLY F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, DANIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, EDDIE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, EDNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ELLIOT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ELSIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, EMELITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, EMERITO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, EMMA Y.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ERNESTO M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, FERNANDO L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, FERNANDO L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, FRANKLIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, GUMERSINDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, HERBERT A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, HERBERT A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, HERMINIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, INES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, INES M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, IRIS V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, IRIS V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JEAN CARLOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JEAN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6223 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1224 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO CRUZ, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JOSE E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JOSE LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JUAN C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JUAN C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JUAN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, KARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, KARLA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, LAURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, LAURA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, LIZA ENID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, LUIS B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, LUIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, LUIS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, LUZ A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, LYMARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, MADELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, MARIA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, MARICELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, MERCEDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, MOISES J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, MOISES J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, MYRNA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, MYRNA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6224 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1225 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO CRUZ, NICOLAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, NILDA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, NITZALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, NOEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, OLLYMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, OMAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, PABLO H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ROSANGELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, RUTH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, SASHA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, SONISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, VIRGENMINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, WILSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, YARELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, YARIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, YARIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, YELITZA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ZAIRA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CRUZ, ZULMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CUADRA, JUAN A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CUADRADO, GLADYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CUADRADO, MIGUEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CUBANO, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CUBERO, LILLYBETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CUBERO, LILLYBETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CUBERO, MONSE I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CUEVAS, BLANCA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CUEVAS, EDWARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CUEVAS, HARRY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CUEVAS, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CUEVAS, MARIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CUEVAS, MARIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CUEVAS, MARTHA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CUEVAS, MARTHA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CUEVAS, NILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO CURET, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6225 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1226 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO DATIL, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DATIL, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVID, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVID, EVELIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVID, EVELIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVID, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, CARLOS R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, CHARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, CORALY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, ELBA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, GERALDINE M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, JAMILIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, JOYCE I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, OSCAR E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, RUTH L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DAVILA, SANDRA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE ARCE, VENERANDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE ARMA, BETHZAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE ARMAS, BETZAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE ARMAS, ONIX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE CEBALLO, GISELA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE CRUZ, VIDALINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE DAVILA, MARIA C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ALBERTO J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ALEXANDER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ANA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ANA C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ANA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ANA T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ANGEL M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, BEATRIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, BENITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, BIENVENIDA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, CARMEN S     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, CORALYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, DAWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, EDMARIELLY   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ERNESTINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6226 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1227 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO DE JESUS, ESTEBAN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ESTEBAN A.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, GUANINA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, HECTOR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, IDELISSE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ILEANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ILEANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ILEANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, JEANNETTE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, JESSICA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, JOHATHAN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, JOSE A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, JOSE G.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, JUAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, LINETTE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, LUIS E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, LUIS J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, LUZ M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, MARIA L.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, MARITZA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, MARVIN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, MARVIN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, MOISES         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, MYRNA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, NYDIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, OLGA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ORLANDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, RAFAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ROLANDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, ROY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, SULEIDY M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, TAMARY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, TERESA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE JESUS, VICTOR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE LA ROSA, ENID M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE LA ROSA, LEYLA M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE LA ROSA, LUIS E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE LA ROSA, ROSA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE LA ROSA, ROSA LYDIA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE LA ROSA, SAIRA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE LA ROSA, SAIRA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE LEON, CARMEN S        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE LEON, ESTHER M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE LEON, IRIS V          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE LEON, JOSE E.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE LEON, JUANA D         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE LEON, MARIA A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE LOPEZ, NANCY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6227 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1228 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO DE ROMAN, ROSA C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE SALDANA, CARMEN M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE VARGAS, ROSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DE VAZQUEZ, IVETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEIDA, BLANCA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEIDA, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEJESUS, ANA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL RIO, FRANCIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL RIO, LUANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL TORO, YANITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL VALLE, FARAEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL VALLE, JOSELITO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL VALLE, JUAN J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL VALLE, LISANDRA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL VALLE, LISANDRA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL VALLE, MARIBEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL VALLE, MARIBEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL VALLE, MARYSOL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL VALLE, RAFAEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL VALLE, RAFAEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL VALLE, RAFAEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL VALLE, ROBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL VALLE, ROSA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL VALLE, ZENAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DEL VALLE, ZENAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, DANNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, DIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, EDWIN R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, HECTOR J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, IRIS R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, KARLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, KARLA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, LISANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, LUIS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, MANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, MARIA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, MARILU        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, NOELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, NYLSA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELGADO, SANTIAGO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELIZ, ELOY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DELIZ, JULIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6228 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1229 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO DELIZ, MARIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DESCARTES, MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ANA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ANA V.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ANGEL LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ANGELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ANGELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ANNERIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ANNETTE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ANSELMO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ANTHONY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ANTHONY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ARGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ARTEMIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, BELKIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, BELKIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, BENJAMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, BERNICE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, BRYAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, CARLOS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, CINTHIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, CINTHIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, DIANA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, DORIANN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ELBA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ERIKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, EVYS S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, GERONIMO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, GILBERTO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, GUILLERMO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, HIRAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, IRIS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, IRVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, IVELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6229 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1230 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO DIAZ, JANICE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, JESUS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, JIMMY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, JUAN ENRIQUE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, KATHY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, KEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, LAURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, LUIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, LUIS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, LUZ T.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MARIA DE LOS A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MARIA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MARIA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MARILU           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MARILYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MARIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MAUREEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MAUREEN Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MAUREEN Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MICHELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MIREYLLIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, MYRNA ELIDES     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, NANCY I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, NECTAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, NELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, NYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ODEMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, PALMIRA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, RUTH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, SOCORRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, SOCORRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, VALERIE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6230 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1231 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO DIAZ, VIRGINIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, WANDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, YADAIRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIAZ, YADIRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DIEPPA, LUIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DOMENECH, NORMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DOMENECH, NORMA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DOMINGUEZ, ROSALINA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DONATIU, ELIZABETH C    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DONES, CARMEN D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DONES, ISRAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DONES, LINDA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DONES, LINDA I.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DUCO, GLORIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DUCOS, JUANITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DUCOS, MAURA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DURAN, ELSIE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DURAN, ELSIE M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DURAN, JACKELINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO DURAN, JORGE L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARIA, CATALINA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRI, JOSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, AMALIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, ANGEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, CARLOS J.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, EDDIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, ELSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, ERVIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, GUALBERTO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, HECTOR      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, ISAAC       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, ISAAC       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, MARTA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, MARTA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, MARYSELA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, NORBERTO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, RAQUEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, SOLMARIE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ECHEVARRIA, TERESITA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ELIAS, THERESA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ENCARNACION, GRACIELA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ERAZO, YAMIRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ERAZO, YOMARIE DE LOS   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ANGELES
SANTIAGO ESCALANTE, LUIS A       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ESCALANTE, OMAR         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ESCALERA, DAVID         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ESCALERA, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ESCALERA, GUSTAVO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6231 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1232 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO ESCOBALES, EDWIN J.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESCRIBANO, JACOB        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESMURRIA, HECTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESMURRIA, HECTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESOADA, JAQUELIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPADA, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPADA, ANTONIO G       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPADA, ARNALDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPADA, GERSIPO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPADA, GUILLERMO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPADA, IDA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPADA, JUAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPADA, LUZ M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPADA, MARIA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPADA, MIGDALIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPADA, MIGDALIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPADA, YAMAIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPARRA, LYMARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPARRA, SHEILA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPINEL, DALILA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPINOSA, EDUARDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPINOSA, MONICA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESPONDA, LAURA E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESQUILIN, JOSE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESTADES, MOISES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESTRADA, ARGEL MANUEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESTRADA, EDITH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESTRADA, JULIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESTRADA, MYRIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESTRADA, MYRIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESTRADA, YARITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ESTRONZA, YAHAIRA T     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FALCON, ANABEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FALERO, LORIANNE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FARIA, BONIFACIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FARIA, BONIFACIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FARIA, TIRSA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FEBO, ALFREDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FEBO, ANANELLY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FEBO, ELSA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FEBO, JOSE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FEBO, JOSE L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FEBRES, ARELIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FEBRES, KENNETH F.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FEBRES, SYLVIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FEBUS, ALFONSO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FEBUS, CARLOS J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FEBUS, ELBA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FEBUS, FERNANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6232 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1233 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO FEBUS, JULIO A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FEBUS, MARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FEBUS, MARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FEBUS, VILMA Y          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FEIJOO, SERAFIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIA, EDGARDO A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, ADA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, ALEIDY L     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, ANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, ANGELICA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, ANGELY E     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, ANGELY E     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, ARMANDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, ARQUELIO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, CARLOS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, CONCEPCION   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, DAMARIS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, DAMARIS E    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, DENISON      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, EDGARDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, EDGARDO A    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, EMMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, HARRY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, HECTOR K     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, IRIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, IRIS T       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, IVONNE Y.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, JAIME        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, JAIME J      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, JAVIER       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, JOMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, JONATHAN E   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, JOSE E.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, JOSUE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, JOSUE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, JUAN R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, LETTY A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, LUIS A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, LYDIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, MADELINE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, MADELINE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, MAGALY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, MARGARITA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, MARIA J      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, MARISOL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, MARITZA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, MARITZA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, MAYRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, MAYRA E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6233 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1234 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO FELICIANO, MIGDALIA     REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, MIGDALIA     REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, MONICA       REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, NOEL A.      REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, PABLO        REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, RAFAEL E     REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, RAFAEL E     REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, RAYDA        REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, RENE         REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, ROSA J       REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, SAMUEL       REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, SARAH E      REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, SARAH ESTHER REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, STEVEN       REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, THELMA       REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, WILLIAM      REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, YAMILET      REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, YESSENIA I   REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELICIANO, ZENAIDA      REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELIX, CARLOTA          REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELIX, ELISA            REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELIX, ELISA            REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELIX, FRANCISCO        REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELIX, JAYSON           REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELIX, JENNIFER         REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELIX, JOSE M.          REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELIX, LUZ C.           REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELIX, LUZ C.           REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELIX, SANDIE G         REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELIX, SANDIE G.        REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FELIX, ZORAYA           REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, ADA N        REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, ADA N        REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, ANTONIA      REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, ANTONIO      REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, CRISTOBAL    REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, DIANA        REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, ELIET        REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, EMILY        REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, FLOR DE LIZ  REDACTED                      REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, GUILLERMINA REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED

SANTIAGO FERNANDEZ, JORGE L       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, MARIA DEL R   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, MARIA G       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, MARIA G       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, MAYRA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, MAYRA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, RAFAELA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6234 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1235 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO FERNANDEZ, RAMON        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, ROSA J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, ROSA J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERNANDEZ, VYOMAR I     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERRER, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERRER, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERRER, CARMEN AIDA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERRER, CARMEN D.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERRER, HERIBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERRER, LUZ M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERRER, SUZZETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FERRER, YADIRA I.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUE., JOANVELISE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ABIGAIL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ABIGAIL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ALBA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ALYSSA S      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ANA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ANGEL A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ANGEL L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ARI L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ARI LUZ       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ASNALDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ISMAEL
SANTIAGO FIGUEROA, CAIN          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, CARMEN IRIS   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, CARMEN L      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, CASILDA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, DAVID J.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, DIANA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, EDGAR         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, EDGARDO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, EDUARDO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, EDWIN         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, EILEEN        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ELIZABETH     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ETHEL M.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, FELIX J       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, FERNANDO      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, GLORIMAR      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, GLORIMAR      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, HAROLD        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, HAYDEE        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, HILDA Y       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, IDA L         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ILEANA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ILUMINADA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, IRIS          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO FIGUEROA, IRIS L        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6235 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1236 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO FIGUEROA, IRIS S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ISAMARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, IVAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JAIME        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JANETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JANETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JANETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JANICE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JAVIER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JAZMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JAZMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JEANNETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JENNY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JESMARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JESUS D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JOMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JORGE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JORGE G.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JOSE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JOSE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JOSE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, JUSTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, LUIS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, LUIS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, MAGALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, MAITE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, MINERVA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, NELSON L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, NIDZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, NORMA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, NORMA IRIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, OLGA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ORLANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, PIER A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, RAFAEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, RAMON A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, RAUL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ROSA B       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, ROSA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, SANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, SANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, SANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, SELMA N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, SINIA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, SONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6236 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1237 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO FIGUEROA, SONIA N       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, TAMARA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, TANIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, TANIA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, VALERIE C     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, WANDA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, WANDA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, WILFREDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, WILLIAM       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, WILMARY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, YAHAIRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, YARITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIGUEROA, YARITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIHUEROA, CAROL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FILIPPETTI, JOEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FILOMENO, CARLOS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FIOL, JEANNETTE I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLECHA, JUAN R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLECHA, LUIS A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORENCIANI, JACOB      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, ABNER JOSE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, AXEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, BRENDA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, BRYANT          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, CARLOS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, EDWIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, EMERITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, FELIX           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, FRANCES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, IVETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, IVETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, JAIME OSCAR     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, JAVIER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, JAVIER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, JOHANNA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, JOHNNY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, JOSE A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, JOSE GILBERTO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, JOVILIANO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, JUAN C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, JUDITH R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, LETIBEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, LUIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, LUIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, LYDIA V.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, MARIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, MARIBEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, MARIBEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, MARIO A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6237 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1238 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO FLORES, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, NAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, NITZA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, SOLBRIYETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, YAJAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORES, YOMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FLORIDO, LUIS D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FONSECA, ANA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FONSECA, ANA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FONSECA, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FONSECA, JOSE O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FONSECA, TOMAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FONT, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FONTANEZ, CHRIS E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FONTANEZ, GRISEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FONTANEZ, GRISEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FONTANEZ, HUMBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FONTANEZ, JORGE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FONTANEZ, KATIAYARI    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FONTANEZ, NAYDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FONTANEZ, NORMA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FONTANEZ, REGGIE L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FORNES, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FORTIER, VIVIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FORTY, CARMEN B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FORTY, ERIC F.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRAGOSA, BENJAMIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRANCESCH, GILDA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRANCESCHI, LUDIAN I   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRANCESCHI, VICTOR M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRANCESHI, EDNY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRANCESHI, ORLANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRANCO, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRANCO, GLORIMARY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRANCO, JOSEFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRANCO, SUHEILY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRANCO, SUHEILY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRANCO, WALNERY M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRANQUI, MAIRLIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRANQUI, MAIRLYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRATICELLI, MARILYN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRED, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRED, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRED, JANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRONTANEZ, YEIRAMAR    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FRONTANEZ, YEIRAMAR    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FUENTES, ARTURO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6238 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1239 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO FUENTES, CHRISTIAN M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FUENTES, EFRAIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FUENTES, JENNIFFER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FUENTES, JOSE G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FUENTES, JOSEPH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FUENTES, LOURDES E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FUENTES, LUZ H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FUENTES, MARIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FUENTES, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FUENTES, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FUENTES, PETER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FULLER, JOHNNY W       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO FULLER, LILLIAM A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GABRIEL, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GABRIEL, MARIA D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, ALFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, BRENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, CONFESOR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, EFRAIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, EFRAIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, ELSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, IVAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, JANETTE N     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, JUAN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, MARYORIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, MARYORIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, MAYDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, NORMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, RAMON H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALARZA, ROSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GALLOZA, NICOLE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GAMBARO, CHARY L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARAY, XAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARAYUA, EFRAIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, ADALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, AMARILIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6239 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1240 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO GARCIA, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, CRISTINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, DAISY I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, DIANA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, EFREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, ELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, FELICITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, FLOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, FLOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, FRANK          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, GEORGINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, JOELY L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, JOSE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, JOSEFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, JUAN J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, JULIO A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, KERMIT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, LAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, LUIS DANIEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, LUZ A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, LUZ D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, LUZ D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, LYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MAGDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MAGDA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MAGDALEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MANUELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MAREL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MARIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6240 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1241 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO GARCIA, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MARTHA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MARTHA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MAYCO R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MIDELYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MILAGROS Y     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, MIRIAM I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, NATALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, NERY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, OMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, OMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, PABLO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, PEDRO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, RAMON A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, REYES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, REYES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, ROSSANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, RUTH N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, SARAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, SASHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, SONIA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, VICTOR L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, VIVIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, VIVIAN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, WILFRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, WILLMERY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, YAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, YANITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, YASHIRA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARCIA, ZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARRASTEGUI, CARMEN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARRIGA, BRENDA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARRIGA, JOSE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GARRIGA, LYDIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GASTON, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GASTON, NILDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GASTON, SAMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GAUTIER, MARILYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GAUTIER, MARILYN I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GERENA, DOLORES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GERENA, ZENAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GERENA, ZENAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6241 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1242 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO GIERBOLINI, EDGAR L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GIL, HAYDEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GILES, ANNA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GINES, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GIRAU, LYSMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GODEN, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GODEN, MILTON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GODEN, ZULEICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, ANA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, ANA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, ANGELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, ARIANA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, AUGUSTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, CARLOS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, ELISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, EVELYN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, IRIS ZORAIDA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, IVAN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, IVAN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, JULIANA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, LUZ S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, OLGA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, SHEILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOMEZ, SUHEILY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONEZ, FELICITA J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ADALBRERTO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ADELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, AIDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ALEXANDER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ALFONSO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ANA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ANA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ANAIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ANGEL E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ANGEL L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, BETSY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, BLADIMIR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6242 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1243 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO GONZALEZ, BRENDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, BRENDA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, CAMILLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, CARLA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, CARMEN D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, CAROL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, CAROLYNE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, CATALINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, CHARNEIDA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, CHRISTIAN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, CRISTELA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, CRISTINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, DANIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, DENNIS A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, DORIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, EARL W.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, EDGARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, EDGARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, EDIBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, EDWIN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, EDWIN A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ELIEZER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ELVIA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ENRIQUE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ERIC         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ERICK        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ESTHER M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, FELIX        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, FERNANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, FERNANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, FERNANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, GENELISSE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, GLENDALIZ    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, GLORIA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, GRACIELA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, GRISEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, GRISSEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, GRISSEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, GUERLAIN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, HECTOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, HECTOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, HECTOR R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, HENRY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, HERMINIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6243 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1244 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO GONZALEZ, INA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ISABEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ISMAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ISRAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ISRAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, IVAN J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, IVELISSE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, IVELISSE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JACOB         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JAIME         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JAVIER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JENNY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JENNY L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JESUS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JESUS R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JOHN R.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JOSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JOSE A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JOSE A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JOSE I.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JOSE J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JOSE M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JOSUE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JOSUE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JUAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JUAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JUAN A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, JUAN R.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, KATHERINE I   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, KEICHLA Y     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LEBSTER       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LINDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LINDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LISANDRA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LOREN M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LOURDES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LUCYLEE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LUIS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LUIS A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LUIS R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LUIS R.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LUZ E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LUZ M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LUZ M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LUZ S         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LUZ S         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, LYRIA N.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MADELYN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MAIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6244 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1245 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO GONZALEZ, MANUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARGIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARIA A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARIA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARIA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARIA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARIA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARIA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARIA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARIA T       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARILYN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARILYN R     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MARITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MAYRA I.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MAYRA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MAYRA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MIGNA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MIGUEL A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MIGUEL E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MILAGROS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MINERVA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MINERVA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MYRIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MYRIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, MYRNA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, NANCY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, NANCY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, NANCY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, NANCY I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, NAOMI         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, NAYOMI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, NEIMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, NICK          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, NILSA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, NOEMI         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, NOEMI M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, NYDIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, NYDIA S       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, OMAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, OMAYRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, OMAYRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ORLANDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, PABLO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, PABLO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6245 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1246 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO GONZALEZ, PABLO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, PEDRO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, PEDRO J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, QUINTIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, RAFAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, RAMONITA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, RAQUEL N.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, REINALDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, RENE L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, REYNALDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, RHODENIE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ROBERT        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ROBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ROLANDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, SAMUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, SAMUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, SANDRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, SANDRA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, SANDRA M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, SANTOS F      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, SONIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, SONIA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, STEPHANIE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, STEVEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, SYLVIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, VERONICA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, VERONICA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, VERONICA I    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, VERONICA I.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, VICENTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, VICTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, VIDAL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, VIVIAN M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, WALTER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, WILFREDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, WILFREDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, WILFREDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, YAJAIRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, YANIRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, YARITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, YARITZA L     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, YASMELI M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, YEIDA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, YESENIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, YESENIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, YOLANDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ZOILO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GONZALEZ, ZULEIKA N     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GORDIAN, CARLOS A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6246 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1247 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO GORDIAN, JOHANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOTAY, ANA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOTAY, BLANCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOTAY, BLANCA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOTAY, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOTAY, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GOYTIA, JUAN C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GRACIA, NIEVES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GREEN, ALICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GREEN, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GREEN, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GREEN, VANNESSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GREEN, VERONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUADALUPE, FREDDY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUADALUPE, JOSEPH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUADALUPE, VALERY G    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUADALUPE, WALESKA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUADALUPE, ZULEYKA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUADARRAMA, DOMINISA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUADARRAMA, NARCISA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUADARRAMA, VANESA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUEITS, VIRGINIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUERRA, CAROL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUERRA, XIOMARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUERRERO, CHRISTIAN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUERRIOS, AWILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUERRIOS, AWILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUERRIOS, AWILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUEVARRA, JUAN R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUILBE, LOURDES P      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUIVAS, LOURDES C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUIVAS, LOURDES C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUTIERREZ, ALIANA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUTIERREZ, AMARILIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUTIERREZ, AMARILIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUTIERREZ, ELIZABETH   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUTIERREZ, JORGE M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUTIERREZ, MIGUEL A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUTIERREZ, NICOLAS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUTIERREZ, YOMALIZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, ADRIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, ANA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, ANGEL D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6247 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1248 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO GUZMAN, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, DOMINGO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, DOMINGO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, EDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, EMILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, ERIC A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, GADIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, JUAN DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, LEMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, LOURDES A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, MARTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, NARDA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, NICOLAS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, OLGA LYDIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, PEDRO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO GUZMAN, WANDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HADDOCK, SUZETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HENRIQUEZ, FRANCISCO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HEREDIA, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HEREDIA, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNADEZ, BRENDALIZ    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNADEZ, SOLIMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, ABIGAIL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, ALEXANDRA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, ALEXANDRA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, ARCANGEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, ARELI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, BRENDA I.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, CARLOS J.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, CARLOS J.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, CARMEN D    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, CARMEN D    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, CARMEN S    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, CAROLINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, CAROLINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, CLARIBEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6248 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1249 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO HERNANDEZ, DAISY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, DAVID       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, DELBA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, DENISE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, ELBA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, ELBA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, ELBA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, ELSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, ELVIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, EMALY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, ENRIQUITO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, EVELYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, FELIX A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, HECTOR M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, ILLIAN J.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, JAVIER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ANTONIO
SANTIAGO HERNANDEZ, JEANNETTE   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, JESSENIA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, JESSENIA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, JOSE A      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, JOSE C.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, JULIA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, KALEM       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, KRISTAL E   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, LUIS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, LYNETTE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MARIA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MARIA A     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MARIA F     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MARIA L     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MARIA M     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MARIA M     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MARIA M.    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MARIA R     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MARILYN     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MARISA E    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MARISOL     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MARLENE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MIGDALIA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MILAGROS    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MILAGROS    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MIRNA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, MUZMETT     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, NANCY       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, NATALIE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, NELSON D.   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, NILDA E     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6249 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1250 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO HERNANDEZ, NILDA R.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, NOEMI         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, NOEMI         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, NYDIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, OMAYRA Z      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, ORLANDO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, PRISCILA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, RICHARD E     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, SHAKIL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, SONIA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, SYLVIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, TERESITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, WILFREDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, WILSON        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, YALIZ         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, YAMAIRA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, YARIEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HERNANDEZ, YESENIA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HIDALGO, MICHELLE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HOMS, MARIA J.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HUERTAS, ANGEL S         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HUERTAS, CLARITZA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HUERTAS, GLORIA E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO HURTADO, GRACE E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IBANEZ, DENISSE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IBARRA, BEATRIZ          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IGLESIA, WALTER          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IGLESIAS, WALTER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIGOYEN, PEDRO R        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARR Y, WINNA G       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, ALFREDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, ALMA R         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, BENJAMIN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, CLARIBEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, ELENA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, ELIGIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, ELISANEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, ENRIQUE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, HECTOR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, IRIS JANNETT   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, IRIZEMIS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, JOSE R.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, JUAN G.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, JULIO E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, LINDA V        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, LIZ D          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, LIZ D          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, MIGUEL F.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6250 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1251 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO IRIZARRY, MONICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, NANCY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, PEDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, PEDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, PEDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, PEDRO D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, SHEILLA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, SILVIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, VICTOR A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IRIZARRY, WANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO IZQUIERDO, LIZETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JAIME, JESUS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JAIME, JOHANNYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JHAVERRI, AXEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, BRENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, CID M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, GUSTAVO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, JOSE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, JUAN B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, LESTER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, LESTER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, LILIBETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, MINERVA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, OLGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, SAYDIYANIL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, SHAYDILIZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, TERESA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, TERESA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, VIMARI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, YADIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIMENEZ, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JIRAU, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JOAQUIN, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JORDAN, ANAURIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JOUBERT, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JOVET, ROSELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JUARBE, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JUARBE, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JURADO, EDMEE E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JURADO, EDMEE E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JUSTINIANO, CARMEN A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO JUSTINIANO, JOSUE K    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LA SANTA, LEYINSKA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LA SANTA, LEYINSKA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6251 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1252 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO LABOY, CRESCENCIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LABOY, DAHIANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LABOY, DIGNA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LABOY, EDWIN G          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LABOY, ILEANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LABOY, JESUS M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LABOY, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LABOY, JOSE A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LABOY, LUIS A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LABOY, MARIA D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LABOY, NELSON           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LABOY, RUT              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LABOY, ZENAIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LAGARRETA, LAURA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LAGO, LILIANA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LAGO, MING              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LAMBOY, KELVIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LAMOURT, CARLOS M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LAMOURT, DOMINGO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LANGE, JARIELYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LANGE, JENNIFER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LANGE, JENNIFER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LARA, JOSE A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LARACUENTE, AIDA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LARACUENTE, ALBERTO L   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LASSUS, OTTO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LATIMER, ISABELO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LATIMER, YAJAIRA I.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LATORRE, HIPOLITO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LATORRE, LOURDES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LATORRE, LOURDES E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LAUREANO, FELIPE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LAUREANO, LOURDES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LAUREANO, LUZ E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LAUREANO, MIGUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LAURIANO, LOURDES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, BEATRIZ         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, EDGAR L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, EVELYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, FRANCHELY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, ILEANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, IVETTE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, IVETTE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, JOANNIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, LOURDES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, LUIS A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, NELSON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, NILDA S         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, OLGUIMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6252 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1253 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO LEBRON, ROSALITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, ROSE M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, SONIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, SYLVIA J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, VILMA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, WILLIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, WILLIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEBRON, YINESKA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEDEE, ZAIRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEDUC, JULIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEGRAND, EMILIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEGRAND, JULIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEGRAND, MARCELO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEGRAND, MERCEDES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEGRAND, RAFAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEGRAND, ROSELYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEON, BALDWIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEON, DIANA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEON, JIMMY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEON, JUAN L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEON, MARIA S           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEON, MARIA S           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEON, MELANIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEON, TEODORO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEON, TEODORO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEON, VERUSHKA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEVANTE, ALEXIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LEVANTE, ALEXIS G       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LIANZA, LUISA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LIBRAN, EDGARDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LIGUET, MERCEDES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LIND, JULIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LISAMARDIE, QUINONEZ    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LISBOA, MARIBEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LIZARDI, NIDZA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LLANOS, LUZ T           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LLORET, CLARA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPERENA, IRMA S        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPERENA, LAURA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPERENA, MARIA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, ADA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, ADAMINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, AELIX            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, ALEXANDER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, ANGIE L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, ANIBAL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, ANTONIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, AXEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, BEATRIZ          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6253 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1254 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO LOPEZ, BEATRIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, BRENDA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, CARLOS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, CARMEN I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, CARMEN T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, CRISTINA P      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, CRISTINA P      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, DIMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, DOMINGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, DORIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, DORIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, ELBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, ELBA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, ELBA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, ELISENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, ENID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, EVA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, FELICITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, FIDEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, GABRIEL E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, GERMAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, GRISELL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, GUIDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, HAYDEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, HAYDEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, IRENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, IRIS N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, IRMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, IRMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, IVONNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6254 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1255 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO LOPEZ, IVONNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, JOEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, JORGE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, JOSE G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, JOSEPH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, LETICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, LIRIAM I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, LUZ A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, LUZ L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, LYDIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARIA DEL M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARIANGELY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARIETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MEYLEEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MINERVA G.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MIRIAM Y.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MYIWIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MYLWIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6255 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1256 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO LOPEZ, NELIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, QUINCY E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, RANDELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, SANTIAGO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, SOL G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, STEPHEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, TOMAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, VIANNEY N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, VICTOR D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, WALESKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, WANDA G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, WANDA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, WINDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, WINDY I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOPEZ, YONELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LORENZI, FRANK R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LORENZI, REINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LORENZO, JOHN A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOZA, CRISTINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOZADA, ALMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOZADA, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOZADA, IRMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOZADA, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOZADA, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOZADA, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOZADA, OTILIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOZADA, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LOZADA, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LPEZ, ELSYRES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUCERNA, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUCIANO, GLORIA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUCIANO, GLORIA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUCIANO, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUCIANO, IVAN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUCIANO, MARIA DEL C   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUCIANO, MARIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6256 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1257 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO LUCIANO, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUCIANO, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUCIANO, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUCIANO, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUCIANO, SYLVETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, ARNALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, ESTRELLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, ESTRELLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, ESTRELLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, EUNICE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, HERMES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, IRMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, MARSHIDAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, MYRIELLE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, PEDRO D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, RAYMOND          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, RENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, RENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, RUTH M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, SANTIAGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, VITALIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, XAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, XAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, YADIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, YADIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, YAHAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUGO, YAHAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUNA, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUNA, STEPHANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUNAS, YARELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUZUNARI, EDUARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO LUZUNARIS, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
DOLORES
SANTIAGO LUZUNARIS, LUZ M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MAGRIS, ZELIDETH       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALARET, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALARET, SAUL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALAVE, ADOLFO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALAVE, ANABEL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALAVE, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALAVE, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALAVE, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALAVE, YALICE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALAVE, YARISBETH      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6257 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1258 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO MALDONADO, ALADINO    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, ALBERTO    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, ANA M      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, ANGEL      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, ANGEL M    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, ANSELMO REDACTED                           REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, ARLENE     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO,            REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ARQUIMIDES
SANTIAGO MALDONADO, BIENVENIDO REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

SANTIAGO MALDONADO, BRIAN       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, BRIAN       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, CARL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, CARLOS R    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, CESAR H     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, CONFESOR    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, EDDA L      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, ELIZABETH   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, ELIZABETH   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, EUNICE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, FELIPE A    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, GERTRUDIS   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, GLORIMER    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, HAYDEE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, HECTOR A    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, IVETTE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, JANET       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, JENNIFER    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, JORGE L     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, JOSE E      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, JOSE I      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, LAURA G     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, LESYMARIE   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, LESYMARIE   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, LUIS R.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, LUZ N       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, LYDIA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, MARI I      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, MARIA M     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, MARIA M.    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, MARIA T     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, MARIA V     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, MARIFELIX   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MALDONADO, MARITZA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1259 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO MALDONADO, MARTA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, MARTA S     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, MILKA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, NELSON      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, NELSON      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, NITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, NITZA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, NITZA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, NOED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, OSCAR A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, PEDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, PEDRO E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, RAMON J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, RAMON L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, RAMON L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, REINALDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, ROBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, SAMUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, SHEILA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, SHEILA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, VIRGEN M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, WILMA R.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, XIOMARA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, YADIRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALDONADO, YARITZA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALPICA, CONCEPCION    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MALPICA, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MANAUTOU, BEDELIA E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MANFREDY, ZOBEIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MANGUAL, EDNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MANGUAL, LUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARCANO, CARMEN H      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARCANO, CARMEN H      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARCANO, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARCANO, JOSUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARCANO, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARCANO, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARCANO, ROSEMARI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARCUCCI, ISRAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARCUCCI, ISRAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARI, ROSALYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARIANI, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARIANI, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARIANI, MELBA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARICHAL, DENNISSE V   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARICHAL, JACOB R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARIN, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARIN, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARIN, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6259 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1260 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO MARINEZ, WILMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARMOLEJO, ELIZABETH   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARQUEZ, GRISSEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARQUEZ, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, AIDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, ALEIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, ALEXIS D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, ALVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, ANA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, ANA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, ANASTACIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, BETSY I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, CARMELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, CARMEN G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, CARMEN S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, CONCEPCION    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, DELFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, DELFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, EDDIE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, EDDIE R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, ENID M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, EUGENIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, FRANCISCA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, GELITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, GELITZA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, GILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, GLADYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, GRISEL L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, HIONALIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, JESSENIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, JOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, JOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, JOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, JULIANNE M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, JULIO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, KEVIN O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, LISANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, MARINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, NELSON J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, NOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, OLGA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1261 of 2285
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO MARRERO, PROVIDENCIA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, SACHA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, SACHA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, SAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, SONIA N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, VANESSA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERO, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARRERRO, GLADYS L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTE, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTI, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTI, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTI, SANDALIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ADA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ADELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ALBERT       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ALEXANDER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ALEXANDER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ALEXANDER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ALLAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, AMELIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ANA D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ANA T.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ANDRES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ANDRES J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ANTONIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, AWILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, AXEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, BELKIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, CLARIBEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, CYD MARY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, CYNTHIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, DALITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, DOMINGO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ELBA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ELISA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ELISA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, EMANUEL E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, EMANUELLE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ERIC N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, FEDERICO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, FEDERICO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, FELIX        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, FERNANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, FRANCIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6261 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1262 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO MARTINEZ, FRANCISCO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, GEORGINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, GEORGINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, HERIBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, IDALIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, IDRIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, IRMA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ISABEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JAFFER M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JAHAIRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JAHAIRA D    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JAIME        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JEANNETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JENNIFER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JENNIFER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JESUS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JOEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JOEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JOHANNIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JONATHAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JONATHAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JOSE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JOSE A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JOSE A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JOSE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JOSE O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JUAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JULIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, JULIO E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, KALEIMI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, KARINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, KARINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, KARLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, KEISHLA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LESLIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LIDIANA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LILLIAM I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LINA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LINDA C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LINETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LISANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LISANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LISMARY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LISSET       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6262 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1263 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO MARTINEZ, LUIS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LUIS H        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LUZ A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LYDIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, LYDIBETT      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, MAGALY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, MAGALY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, MARIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, MARIA DEL P   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, MARIA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, MARIA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, MARISHEILA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, MARITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, MATILDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, MAYRA M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, MIGDALIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, MIGUEL A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, MIRIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, MODESTA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, NADIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, NANCY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, NEREIDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, NOEMI         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, NOEMI         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, OMELIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ONEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ONIX E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, PRISCILLA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, RAMON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ROSSMARY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, SANDRA E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, SERGIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, SONIA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, VELIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, VERONICA E    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, VICTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, WANDA D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, WANDA D.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, WANDA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, YARIANA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, YARIANA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, YARITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, YARITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, YEREISKA D.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, YESENIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, YINORIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, YINORIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ZABDIEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTINEZ, ZOE A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6263 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1264 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO MARTINO, NATHANIEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTORAL, JANET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTY, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTY, PURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MARTY, PURA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MAS, DELIA H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MAS, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MAS, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MAS, SHEYLA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MASA, ANTHONY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MASOL, ROSA YAMIL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MASON, DEXTER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MASON, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MASSANET, CARMEN A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MASSO, STEPHANIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MASSOL, VERONICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATEI, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATEO, ANA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATEO, ANTHONY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATEO, CECILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATEO, CINDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATEO, DAISY M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATEO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATEO, JOSE I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATEO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATEO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATEO, MARIA DE LOUR   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATEO, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATEO, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATEU, VIRGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATIAS, ELVIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATIAS, MAYRA D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATIAS, VIVIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, ANA H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, CHRISTIAN J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, FERNANDO L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, GLADYS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, GLADYS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, JUANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, LUZ I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, MARIA DEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, NILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, PAOLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6264 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1265 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO MATOS, PAOLA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, PAOLA C           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, PATRICIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, PATRICIA C        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, VIVIAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, WILSON            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATOS, WILSON            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATTA, DORIS H           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MATTA, INES B            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MAYSONET, ADA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MAYSONET, MARILUZ        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MAYSONET, OLGUYMAR Y     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MAYSONET, VICTOR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDERO, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDERO, CARMEN L.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDERO, CRISTIAN C.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDERO, FRANCES G        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, CRISTINA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, CRISTINA M.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, DANIEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, EDUARDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, ELSA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, FERNANDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, GLADYS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, GLADYS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, HERIBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, HILDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, LILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, LYDIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, MARIA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, MARIELI          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, MILAGROS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, NORAIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, RAQUEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, REINALDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, ROBERTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, ROBERTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, SARYBELL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, SONIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, VICTOR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEDINA, XABRIEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEJIAS, CARMEN D         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEJIAS, EDMARIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEJIAS, ESTHER M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEJIAS, JOSE A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEJIAS, MARIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEJIAS, MARICELLY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEJIAS, MAYRA E.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6265 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1266 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO MEJIAS, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEJIAS, ROSA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MEJIAS, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELECIO, JUANITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDE Z, OTTIS Y     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDE Z, OTTIS Y     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDES, JOEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, ADA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, ANA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, ANA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, ANGEL L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, BRENDA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, BRENDA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, CARMEN N.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, CRUZ A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, DANIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, DEBORAH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, DEBORAH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, DEBORAH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, DELMA O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, DICKIE O     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, EDGARDO R    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, EFRAIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, ELIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, ELIZABETH    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, GABRIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, GERARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, GIOVANA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, GLADYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, GLORIA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, ILEYS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, JAVISH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, JEMIMAH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, JESUS M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, JOHANNYS M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, JOSE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, JOSE O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, JOSE R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, JUAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, LENNY JOEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, LUIS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, LUIS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, MARIA A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, MARIA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6266 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1267 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO MELENDEZ, MARIA D        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MELENDEZ, MARIA DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
A.
SANTIAGO MELENDEZ, MARITZA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MELENDEZ, OLGA M         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MELENDEZ, OMAR           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MELENDEZ, PEDRO J        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MELENDEZ, RAMON          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MELENDEZ, RAYSSA M       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MELENDEZ, ROSA M.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MELENDEZ, ROSENDO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MELENDEZ, SALLIZ         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MELENDEZ, SALLIZ L       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MELENDEZ, TOMAS          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MELENDEZ, VICTOR         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MELENDEZ, VIRGEN         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MELENDEZ, YAJAIRA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MELENDEZ, YORITZA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MELENDEZ, YUISA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, ALEXANDRA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, ARACELIS         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, BETSY I          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, CONCHITA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, CONCHITA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, EDWIN            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, FELIX ALBERTO    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, JAVIER E.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, JEANETTE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, JOSE L           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, JOSHUA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, KARY             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, KARY R           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, LAURA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, LORAIDA E        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, LUIS D.          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, MABELY           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, MAYRA M.         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, MIGUEL           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, MILDRED          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, MYRNA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, PASCUAL          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, RAMON            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, SARAHI           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDEZ, SARAHI           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDOZA, ALICIA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDOZA, ANGEL           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MENDOZA, CELESTE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6267 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1268 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO MENDOZA, OCTAVIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MENDOZA, PEDRO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MENDOZA, YOLANDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MENENDEZ, IVONNE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MENENDEZ, LUIS E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, ABIGAIL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, ANTONIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, CARMEN E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, CHRISTHIAN E.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, DELWIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, ESTEBAN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, GLENDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, GLENDA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, IGNACIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, JESUS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, JOMARA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, JORGE R.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, JUAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, JUAN R          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, LEIDA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, LUIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, LUIS A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, LUIS RAFAEL     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, MARIA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, MARIA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, MARIBEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, MIGUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, MIGUEL A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, MYRNA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, NELIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, NYDIA J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, NYDIA J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, RAMONITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, RAMONITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, ROSALY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, ROSE M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, WILLIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, WILLY M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, WILMER S.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, YARITZA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCADO, YARITZA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCED, ANGEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCED, ARMANDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCED, ELIZABETH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCED, MARIA DE L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCED, MARIA DEL P      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCED, ROBERTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCED, VICTOR M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERCED, YOLANDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6268 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1269 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO MERCED, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERDED, ESDRAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERINO, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERINO, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MERLO, REINILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MESA, JOANNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MESTEY, LUIS O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MILLAN, JOSE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MILLAN, LUCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MILLAN, SANDRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, ALFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, BERNIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, DEBORAH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, IRIS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, ISIDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, JESUS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, LIZZIE E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, LOURDES M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, LUIS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, MARIA DE L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, MIRIAM H      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, XAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, YARILIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, ZAIDA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MIRANDA, ZAIDA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MISLA, ISABEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MISLA, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOJICA, HILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOLINA, AIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOLINA, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOLINA, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOLINA, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOLINA, IVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOLINA, JENNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOLINA, JENNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOLINA, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOLINA, NILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOLINA, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOLINA, OSCAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOLINA, PEDRO I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOLINA, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOLINA, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOLINA, WILHEN H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MONGE, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MONSERRATE, ELISA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6269 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1270 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO MONSERRATE, ISRAEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MONSU, JUAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MONT, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MONTALVO, ALBERTO L.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MONTALVO, ALICE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
PATRICIA
SANTIAGO MONTALVO, ANDRES       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTALVO, CHIRISTIAN A REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTALVO, CHRISTOPHER REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTALVO, CRISTINE M   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTALVO, FRANCISCO    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTALVO, JEIMY        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTALVO, NILSA I      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTANES, EFRAIN       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTANEZ, GERONIMO     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTANEZ, HECTOR L     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTANEZ, JULIO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTANEZ, KEILA I.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTANEZ, KIMBERLYN    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTANEZ, LILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTANEZ, MARIA DEL C REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTANEZ, MARISOL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTANEZ, MICHELLE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTAQEZ, LUIS O       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTERO, AMERICO       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTES, DAMARYS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTES, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTES, HECTOR L.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTES, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTES, MARISELY       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTES, MARISELY       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTES, MARLENE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTES, MELVIN G.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTES, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTES, MIGUEL A.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTES, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTES, YEXANIA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTES, YEXANIA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTES, YSUANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTESINO, WILLIAM     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MONTESINO, WILLIAM     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MORA, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MORALES, ADA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MORALES, ANAIDA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MORALES, ANAIDA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MORALES, ANELIS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MORALES, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MORALES, AWILDA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO MORALES, BENJAMIN      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO MORALES, BETSY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, CAMILO E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, CANDIDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, CARLOS G.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, CARMEN D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, CARMEN N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, DAISY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, DAPHNE L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, ELIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, EMMANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, ENID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, ENIDCY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, ERNESTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, ESTEFANIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, GLADYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, GLORIVEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, HAYDEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, ILKA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, INES V.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, JANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, JOSE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, JUAN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, JUAN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, KARLA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, KIMETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, KIMETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, LETICIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, LIZBETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, LOURDES S     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, LUZ I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, LYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, MARIA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, MARIA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, MARILYN I.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, MIRNA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6271 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1272 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO MORALES, NADIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, NADIA Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, NATIVIDAD     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, PABLO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, RAMON A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, REINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, ROSALBA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, ROSALBA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, ROSEMARY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, RUTH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, RUTH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, SARAH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, SONIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, SONIA N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, TERESA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, TERESA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, VICTOR E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, VICTOR J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, WANDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, WILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, WILMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, XIOMARA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORALES, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORELL, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORELL, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORENO, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORENO, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORENO, LUIS ANTONIO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MORIS, CRUZ A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOULIER, MAYRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MOYENO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUJICA, SANDRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MULERO, ANDRES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MULERO, JULISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNERA, NITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNIZ, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNIZ, LIZMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNIZ, LUIS F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNOS, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNOZ, ANA MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNOZ, BEATRIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNOZ, EDNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNOZ, EDNA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNOZ, KEYLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNOZ, KEYLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6272 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1273 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO MUNOZ, LUZ D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNOZ, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNOZ, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNOZ, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNOZ, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNOZ, PATRICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNOZ, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MUNOZ, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MURIEL, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO MURIEL, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NARVAEZ, ALTAGRACIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NARVAEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NARVAEZ, ELIAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NARVAEZ, FREMIOT       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NARVAEZ, IVAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NARVAEZ, KATIRIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NATAL, HENRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NATAL, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NATAL, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAVARRO, CARMELO A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAVARRO, EMANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAVARRO, JENNIFER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAVARRO, KATHERINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAVARRO, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAVARRO, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAVARRO, VANESSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAVARRO, YELIS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAVAS, LINETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAVEDO, AMNERIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAVEIRA, MARIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAVEIRA, MARIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAZARIO, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAZARIO, ANA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAZARIO, ANGEL M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAZARIO, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAZARIO, CINDY E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAZARIO, EDDIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAZARIO, IVONNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAZARIO, JAIME         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAZARIO, LUIS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAZARIO, MARIA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAZARIO, MAYRA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAZARIO, MAYRA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAZARIO, NORBERT       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NAZARIO, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, AGNES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, AGNES M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, ALEJANDRO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, ARELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6273 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1274 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO NEGRON, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, DAMASO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, DARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, EDNA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, EILEEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, EILEEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, EILEEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, ELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, ERIKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, ERIKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, EVELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, FERNANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, GABRIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, GELLIE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, GENOVEVA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, HOMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, JOAQUIN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, JOSE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, JOSELIER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, KAREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, LISSETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, LUIS G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, LUIS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, LYMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, LYMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, MARIA DE L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, MARIA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, MARIA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, MELBA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, MILAGROS I.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, MILDRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6274 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1275 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO NEGRON, MILIANI D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, SALVADOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, SELENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEGRON, WANDA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NERIS, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NERVAEZ, KEVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEVAREZ, FELIX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEVAREZ, JUAN B.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NEVAREZ, MIRSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, ANGEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, ANGEL R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, ANTONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, CARMEN D.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, CARMEN Z       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, CELESTINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, CRISTOBAL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, DELILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, DENISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, DENIZE M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, DENIZE M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, ELADIO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, ELADIO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, ELBA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, HUGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, HUGO Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, INTI G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, INTI G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, IRIS D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, IRMA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, ISAAC          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, JOSUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, KAREN K        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, LISSETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6275 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1276 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO NIEVES, LYDIA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, MONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, MOYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, NATIVIDAD      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, ODALISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIEVES, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NIGLAGLIONI, ROSA E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NOLASCO, MARIA DEL C   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NORIEGA, JULIO C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NORMANDIA, ZORALLIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NUNEZ, AGNERYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NUNEZ, AIDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NUNEZ, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NUNEZ, ANIBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NUNEZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NUNEZ, EDWIN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NUNEZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NUNEZ, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NUNEZ, NAYDA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO NUNUZ, MALILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OCASIO, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OCASIO, CONCEPCION     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OCASIO, EFREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OCASIO, ELLIOT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OCASIO, HECTOR L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OCASIO, HENRY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OCASIO, HILDA MAGALY   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OCASIO, IDEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OCASIO, JOHN A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OCASIO, LUIS F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OCASIO, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OCASIO, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OCASIO, SYLVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OCHOA, IVONNE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OCONNER, MARICELLY I   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO O'CONNER, MARIELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ODIOT, ALEJANDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OFARRIL, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OFARRIL, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OJEDA, ABIGAIL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OJEDA, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OJEDA, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OJEDA, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OJEDA, DIANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6276 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO OJEDA, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OJEDA, IRIS V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OJEDA, IVAN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OJEDA, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OJEDA, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OJEDA, SERGIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OJEDA, SERGIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OJEDA, SOFIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVARES, ALTAGRACIA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVARES, ALTAGRACIA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVARES, VANESSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVARES, VANESSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVENCIA, WILSON      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVENCIA, WILSON      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVERA, CLAUDIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVERA, SARA LIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVERAS, EDGAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVERAS, FRANK R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVERAS, JOSE C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVERAS, JOSE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVERAS, JOSE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVERAS, TOMASA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVERO, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVERO, SARA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLIVIERI, ANA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OLMO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ONGAY, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OQUENDO, ADOLFO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OQUENDO, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OQUENDO, CRUZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OQUENDO, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OQUENDO, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OQUENDO, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OQUENDO, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORAMA, CELSO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORAMA, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORENCH, ELENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORENCH, ELENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORENCH, OCIREM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORENGO, HARRY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORENGO, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORENGO, OSCAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OROZCO, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OROZCO, NELIDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORRIA, ASTRID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTA, ANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTA, JOSEAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTEGA, ARTURO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6277 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1278 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO ORTEGA, IVONNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTEGA, IVONNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTEGA, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTEGA, JOHNNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTEGA, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTEGA, NORMAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTEGA, PEDRO E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTEGA, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTEGA, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, AIDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ALBERTO L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ALEX M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ALEXIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ALEXIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ALLISON N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ALLISON N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ANGEL L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ARLENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ARLENE D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ASHLEY A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, AURORA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, BEATRIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, BEATRIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, BENGIE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, BLAS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, BRIAN THOMAS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, CARMEN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, CARMEN H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, CARMEN H.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, CECILIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, CELIA P         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, CELIA P         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, CHARLOTTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, DAFNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6278 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1279 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO ORTIZ, DIANA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, DOMINGA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, DOMINICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, DORIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, EDGAR E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, EDNA B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ELIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ELISA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ELSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ELVIN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, EMILIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ERIS I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, FELICITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, FELIPA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, FRANCES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, FRANCSCO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, GAMALIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, GASPAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, GERARDO X       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, GISELA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ILIANA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, IVAN ENRIQUE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, IVONNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JAMILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JAMILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JAYSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JEANNETTE V     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JEANNETTE V     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JENIFFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JENIFFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JENNIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1280 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO ORTIZ, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JENNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JESSMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JESUS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JORGE F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JOSE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JOSE O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JUAN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JUDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, JUDITH E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, KEISHLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, KELVIN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, LISMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, LIZBETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, LOAMMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, LOURDES I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARGARO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARICELLY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARISARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARITERE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MARITZA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MAYRA Y.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MERCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MERCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO ORTIZ, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, MYRNA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, NATALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, NELIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, NICOLE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, NORMA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, RAFAEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, RAFAEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, RAMONITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, REINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, REINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, REINALDO T.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, REINALDO T.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, REYNALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, RICARDO J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, RICHARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, RIGOBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ROBERTO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ROSA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ROSAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, SALLY T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, SAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, SOBEIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, SONIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, TOMAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, VALERIE J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, VICMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, VICTOR A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, WILDIG J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, YAMIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, YARELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6281 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1282 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO ORTIZ, YARITZA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ZAIDA I.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ZOBEIDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTIZ, ZULMARELIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTOLAZA, CHEYCA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ORTOLAZA, MARILYN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OSORIO, ILEANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OSORIO, ILIANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OSORIO, JOSE E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OSORIO, OLGA J           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OSTOLAZA, JAVIER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OSTOLAZA, MARIELIS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OSTOLAZA, MARIELIS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OSTOLAZA, REBECCA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTANO, EVELYN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, AMAILYN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, ARLENE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, CARMEN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, FRANK             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, INES              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, IRIS N            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, JESSICA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, LISANDRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, LISANDRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, LUIS R.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, MARIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, MARIA DE LOS A.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, NANCY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, NANCY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, RAFAEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, SONIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OTERO, SONIA N           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OYOLA, AIDA L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OYOLA, HERIBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OYOLA, JANIBETH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OYOLA, JOSE I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OYOLA, LINNETTE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OYOLA, LINNETTE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OYOLA, MARGARITA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OYOLA, MARILIZ           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO OYOLA, VICTOR            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PABON, ISAAC             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PABON, IVONNE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PABON, JEFFREY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PABON, JESSICA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PABON, JESUS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PABON, MYRNA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PABON, MYRNA I.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PABON, RICHARD           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6282 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1283 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO PACHECO, ANA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PACHECO, ANDRES LUIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PACHECO, ERNESTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PACHECO, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PACHECO, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PACHECO, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PACHECO, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PACHECO, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PACHECO, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PACHECO, JULYMARY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PACHECO, MAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PACHECO, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PACHECO, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PACHECO, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PACHECO, ROSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PACHECO, YESENIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, ALICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, DAISY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, EVA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, FE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, FE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, GILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, GILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, GLENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, ISAURA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, JOSE R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, LINDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, MAYRA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, MICHAEL G.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, MYRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, NILSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, YAMILLETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, YANIRA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADILLA, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADRO, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PADUA, IRIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAEZ, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, ALBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, ALVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, AUREA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, CARMEN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, CESAR O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, EMELY M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6283 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1284 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO PAGAN, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, FRANZ X.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, JEFFREY R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, KASSANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, KEISHLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, LUCAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, LUZ L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, MELISSA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, MELISSA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, ROBERTO G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, ROSE MICHELL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, SANDRA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, SANDRA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, VIRGEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, WALESKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, WANDA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, YANITZIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PAGAN, YANITZIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PANTOJA, JORGE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PANTOJA, NICOLE D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PANTOJA, NICOLE D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PANTOJAS, LUIS O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PARDO, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PARRILLA, EDUARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PARRILLA, IRIS N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PASTRANA, GISELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PASTRANA, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PATRON, ANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEDRAZA, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEDRAZA, JULIO D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEDRAZA, PROVIDENCIA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEDROZA, MILAGROS E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEGUERO, NIRELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PELLICIA, MARILYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6284 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1285 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO PELLICIA, MARILYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PELLOT, DAISY L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PELLOT, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PELLOT, MARCELINO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PELLOT, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PELLOT, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PENA, CARLOS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PENA, CARMENCITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PENA, HEDDER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PENA, MAGALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PENA, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PENA, YAJAIRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PERALES, ANA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PERALES, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREA, SANDRA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREIRA, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREIRA, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREIRA, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ADELITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ALEX F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, AMANDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ANA H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ANGEL C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ANIBAL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ARISANTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, BETZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, BETZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, BLANCA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, CARMEN A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, CARMEN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, CESAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, CESAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, CHRISTOPHER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, DALIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, DANNERIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, DEBORAH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ELISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ELSA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ERICK           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6285 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1286 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO PEREZ, ERNESTO G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, FRANCISCO J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, GLORIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, GRISEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, HILDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, HILDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, JANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, JASON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, JAVIER F.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, JOHANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, JOHNNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, JOSE E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, JOSE E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, JOSE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, JOSEFA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, JUAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, JULIO A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, KARALYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, KARALYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, LEONIDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, LEONIDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, LOURDES J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, LUIS C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, LUIS RAUL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, LYDIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, LYDIANN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, LYDIANN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, MANUEL DE J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, MARIA DE L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, MARIELL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, MARIELL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, MARLENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, MARVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, MELBA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, MIGDALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6286 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO PEREZ, MIGUEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, MINELLIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, MOISES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, NESTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, NILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, NYDIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, OLGA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, RAFAEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, RAMON E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, RAUL I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, ROSA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, SANTA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, SANTA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, SERGIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, SERGIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, TOMAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, VERONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, VERONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, VIRGEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, VIRGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PEREZ, YANITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PÉREZ, YANITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PERZ, GRISEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PESCADOR, MARLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PIBERNUS, MARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PIBERNUS, MINERVA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PINEIRO, HECTOR C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PINEIRO, JAIME M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PINEIRO, LINNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PINEIRO, LINNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PINEIRO, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PINERO, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PIRELA, LUIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PIZARRO, ELDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6287 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 1288 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO PIZARRO, MARIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PIZARRO, MARIA DE LOS A   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PIZARRO, STEPHANIE        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PIZARRO, WILLIAM          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PLANAS, BRENDA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PLAUD, ELVIA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PLAUD, LIVIA E            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PLAZA, ANTONIO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PLAZA, ANTONIO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PLAZA, LIMARIS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PLAZA, LIMARIS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PLAZA, NANCY              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PLAZA, NORMAN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PLAZA, WILSON R           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO POCHE, BRENDA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO POCHE, EDGAR G            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO POCHE, GRISELLE           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO POCHE, GRISELLE           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO POMALES, DORIS D          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO POMALES, JULIO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO POMALES, MARIA L          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO POMALES, VICTOR M.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO POMALES, VICTORIA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO POMALES, VIVIAN V         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO POMALES, WANDA I          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PONCE, BLANCA E           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PONCE, DIANA E            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PORRATA, LEDA I           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO POU, SANDRA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO POU, SANDRA Z             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PRATTS, CARLOS M.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PRATTS, LAURA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PRIETO, XIOMARA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PRIETO, YANILKA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PROSPER, IVETTE           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PROSPER, IVETTE           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PUIG, FREDDY              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO PUJALS, JANET             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUESTELL, GIANCARLO       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUESTELL, STEPHANIE M     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUI&ONES, ADRIAN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUIJANO, WILFREDO         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUIJANO, WILFREDO         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUIJANO, YEZENIA E        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUILES, BRENDA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUILES, CYD               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUILES, EDMANUEL          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUILES, HECTOR J          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUILES, IRIS              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6288 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1289 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO QUILES, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUILES, MICHAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUILES, OMAR ALEXIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUILES, ROBERTO A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUILES, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUILES, SOL VANESSA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUILES, ZENAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, AIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, AIDA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, ARAMIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, AURELIA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, EDIRTRUDIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, HILDA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, IVETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, JESSICA X    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, JESSICA X    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, JOSE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, JOSE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, LINDA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, LISAMARDIE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, LISAMARDIE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, LUIS F.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, MARGARITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, MARGARITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, MARIO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, MARITZA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, MAYRA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, MIGUEL A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, MILAGROS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, MILAGROS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, PASCUAL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, PEDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, RAUL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, WILBERT      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONES, WILMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONEZ, ALIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONEZ, HEIDY E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONEZ, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONEZ, JOSE J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINONEZ, VANESSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6289 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1290 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

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                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO QUINTANA, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUINTANA, NEYSHA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUIQONES, ALIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUIROS, ARACELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUIROS, ARACELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUIROS, BRENDALIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUIROS, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO QUIROS, HECTOR J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, AIDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, ALICE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, ALICE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, ANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, CYNTHIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, DELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, DELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, DELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, DORIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, ELEODORO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, ELISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, ELVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, ELVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, ESPERANZA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, INES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, KIM, BERLY    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, LARA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, LYNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, MABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, NORANGELLY    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, NORMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, NORMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, RAMONITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, ROBERT        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, SAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, SYLVETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, VILMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, VILMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, YANIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, ZULMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMIREZ, ZULMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, ANGELICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, ARMANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6290 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RAMOS, ASTRID A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, EDDIE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, EFREN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, ELSIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, EMILIANO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, EMILIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, EYLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, EYLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, GENARIS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, GENARIS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, GLORIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, HAYRA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, HAYRA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, HECTOR ANDRES   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, IDARMIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, IDARMIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, IRAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, IRIS V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, JAIME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, JAIME A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, JORGE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, JORGE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, JOSE G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, JOSEPH E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, JUAN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, JUAN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, JUDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, LAURA T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, LEYNADI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, LILLIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, LILLIAN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6291 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1292 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RAMOS, LUIS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, LUIS E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, LUIS E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, LUZ E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, MAGALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, MALCOM D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, MARIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, MARVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, MIXAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, OLGA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, PAULA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, RAYMOND         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, REY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, REY J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, ROSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, SHARLEEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, SONIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, SONIA H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, SONIA IVETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, SONIA N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, VIVIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, WALESKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, WALESKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, WANDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, WANDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, XAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, XIOMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, YADIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, YADIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, YAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6292 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1293 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RAMOS, YARILIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, YARILIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RAMOS, ZILMA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REAL, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REILLO, GLORIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REILLO, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REMIGIO, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RENTA, ANAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RENTA, EDDIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RENTAS, ANGEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RENTAS, JULIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RENTAS, MARIA DEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RENTAS, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RESTO, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RESTO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RESTO, CARMEN ROSA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RESTO, EUSTAQUIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RESTO, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RESTO, LUIS E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RESTO, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RESTO, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RESTO, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RESTO, MIRNA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RESTO, NILDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RESTO, NILSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RESTO, NILSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RESTO, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RESTO, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, ADDIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, ANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, ANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, ANTHONY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, ARNEDY M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, BENEDICTA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, BETSY D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, CARMEN S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, CLARISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, ELSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, EMMA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, ESTHER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, FERNANDO L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, FRANCHESKA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, GABRIELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6293 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1294 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO REYES, GLADYNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, HARRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, HECTOR M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, INES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, IVETTE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, JAIME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, JORGE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, JOSE I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, JUAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, JUANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, LILLIAM O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, LILLIAM O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, LUIS K          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, LYDIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, MAGALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, MARIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, MARIMER K       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, MARLEEN K       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, MIRIAM I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, NELSON O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, ROSA LYDIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, ROSALINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, ROSALINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, SARAI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, SARAI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, SOLIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, YAHAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO REYES, YANIRA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RICO, VIRGINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIJOS, XABDIEL J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOPEDRE, AUDREY S     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, AIMY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, ANGELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, DIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, ELIAS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6294 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1295 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RIOS, ERNESTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, FRANCISCO L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, GILBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, HECTOR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, ISABELITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, JENNIFER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, JESUS M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, JUAN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, JULIO M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, JULIO M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, LUZ               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, LUZ M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, LUZ M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, MARIA DE LOS A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, MARIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, MARISOL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, MARITZA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, NILSA N.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, NIXA V            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, PALMIRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, PEDRO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, STEPHANIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, VICTOR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, YADIRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIOS, ZORAIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVAS, ANA L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVAS, ANGEL M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVAS, EDWIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVAS, GABRIELA A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVAS, JASMARYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVAS, WILFREDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVAS, ZORAIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ADA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ADA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ADA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ADALBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ADAMARIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ADRIAN A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, AGUSTIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, AIDA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, AIXA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ALBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ALEX F          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ALEXIS O.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ALVARO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ALVARO R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, AMADO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, AMADO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, AMALIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6295 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RIVERA, AMARILYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANA H           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANA L.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANA M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANDREA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANDRES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANDY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANGEL L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANGEL L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANGEL L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANGEL L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANIXA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANTONIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANTONIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANTONIO A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ANTONIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ARNALDO
SANTIAGO RIVERA, ARIELIS I       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, ASHMED          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, AUREA E         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, AWILDA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, AWILDA M        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, BELMA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, BETSY           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, BETZY           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, BETZY A         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, BRENDA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, BRENDA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, BRENDA I.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, BRENDA L        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, BRENDA L        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, BRUNILDA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, BRYAN           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, CARLOS A        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, CARLOS M.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, CARLOS N        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, CARMELO         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, CARMEN E        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RIVERA, CARMEN LEONOR   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6296 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RIVERA, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, CARMEN N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, CARMEN O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, CARMEN O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, CARMEN S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, CARMEN Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, CHRISTIAN O    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, CRUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, DAISY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, DAISY E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, DEISY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, DESSIRE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, DIONIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, DOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, DORELL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, DORIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, EDDIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, EDMUND         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, EDNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, EDNA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, EDNA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, EDWIN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, EILEEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ELIO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, EMMANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ENID G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ENID G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ENNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ENNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ERASMO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ERICK          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ESTHER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, FELIPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6297 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1298 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RIVERA, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, FELIX A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, FELIX R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, FERNANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, FERNANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, FERNANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, FLOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, GEORGINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, GEOVANNI A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, GILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, GILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, GINNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, GLAYDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, GLAYDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, GLENDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, GLORIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, GLORIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, GLORIMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, GRACE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, GRETCHEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, HECTOR J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, HECTOR L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, HERIBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, HORACIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, IDA LIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, IDA LIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, IDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, IDELMARI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ILKA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, INOCENCIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, IRIS D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, IRIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, IRIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, IRIS N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ISMAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ISMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, IVAN A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, IVONNE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, IZAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JANERIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JANICE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JAPELEAIM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6298 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1299 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RIVERA, JEAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JENNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JEREMY R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JERRY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JESUS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JO ANN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOAN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOAN R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOHANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOJNATHAN M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JORGE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JORGE F.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JORGE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JORGE R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOSE C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOSE D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOSE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOSEFA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JOSIAN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JUAN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JUAN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JUAN F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JUAN R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JUDITH R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JULIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, JULIO E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, KIMBERLY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, KIMBERLY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, KYARA MARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LETICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LETICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LIDIMEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6299 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1300 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RIVERA, LIDMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LIMARI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LISBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LISSETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LIXANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LIXANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LOURDES L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUCRECIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUIS J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUZ A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUZ A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUZ B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUZ B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUZ D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUZ DIVINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUZ DIVINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUZ L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LUZ N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LYAN A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LYDIA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, LYMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MADELINE S     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MANUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MANUEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARELISA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARGARITA E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA DE L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA DE L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA DE LOS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA DEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6300 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                    Schedule E3 Page 1301 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RIVERA, MARIA DEL C     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA LUISA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIA S         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIBEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARICELY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARIEL I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARILYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARISOL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARISOL S       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARTA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARTA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARTA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARY L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MARYLIN DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MELANNIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MELIAVEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MEMO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MEMO J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MERYEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MICHELLE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MIGDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MIGDA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MIGDALIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MIGUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MIGUEL A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MIGUEL A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MILDRED         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MILITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MINERVA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MIRIAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MIRIAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MONICA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, MYRNA W         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6301 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1302 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RIVERA, MYRNA Z        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NADIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NATHANIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NATIVIDAD      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NELIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NELIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NEREIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NILDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NILZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NOELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NORMA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NYDIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NYDIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NYDIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NYDIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NYDSY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, NYDSY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, OLGA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, OLGA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, OMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, OMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ONOFRE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, OSVALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, OTILIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, OTTO L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, PEDRO ALEXIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, PEDRO FELIX    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, PEDRO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, PRISCILA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, RAFAEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, RAFAEL D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, RAFAEL E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6302 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1303 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RIVERA, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, RAMON LUIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, RAMONITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ROBERTO A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, RODRIGO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ROSSANA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, RUBEN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, RUSELL J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SANDRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SANDRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SARDIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SHAKIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SHEILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SHEILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SHERLY A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SOCORRITO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SOL E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SOLEIM M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SONIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SONIA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SUHAIL M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, SYLVIAMARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, TAMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, TANAIRI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, TEOFILO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, THOMAS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, TRINIDAD       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, VICTOR I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, VIOLETA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, VIRGEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, VIVIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, WILLIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, WILLIE J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, WILMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, WILMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, WILNELIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6303 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1304 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RIVERA, YADIRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, YANEIZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, YARELIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, YARIEL O         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, YARITZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, YARITZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, YARITZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, YELITZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, YOANDELIZ        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, YOLANDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ZAIDA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ZENAIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ZENAIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ZORAIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RIVERA, ZULMA E.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROA, YASELINE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLEDO, ANGEL M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLES, ANA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLES, ANA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLES, ANGELITA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLES, EFREN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLES, EVELYN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLES, JARITZA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLES, JOANN M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLES, JOSE I.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLES, LOURDES A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLES, LUZ N            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLES, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLES, MARICELY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLES, MIGDALIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLES, MIGUEL A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLES, MINERVA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROBLES, RAMONITA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROCHE, ELIZABETH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROCHE, IRIS M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROCHE, LOURDES I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROCHE, LUZ SELENIA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROCHE, RUBEN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODIGUEZ, LUZ M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIG, JACQUELINE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGEZ, JOSE F         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUE, HECTOR L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUE, MYRTHA V       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ADA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ADALBERTO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, AIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, AIDA NOEMI    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, AIDA O.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ALEXI         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6304 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1305 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RODRIGUEZ, ALEXI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ALFREDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ALFREDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ALMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, AMBAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, AMBAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ANA C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ANA IRIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ANA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ANA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ANA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ANABEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ANACELIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ANGEL D.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ANGEL L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ANGEL R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ANGELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ANTHONY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ANTONIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ANTONIA N   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ASTRID M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, AUREA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, AUREA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, AWILDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, AXEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, BENITO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, BETSY D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, BONNIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, BRENDA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, BRESLIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CARLOS G    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CARMEN B    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CARMEN E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CARMEN I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CARMEN I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CARMEN M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CARMEN M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CARMEN M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CATALINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CATALINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CATHERINE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CHARIN M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CHRISTIAN   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6305 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 1306 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RODRIGUEZ, CRUCITA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, CRUZ M.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, DAILY          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, DAISY          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, DAMARIS        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, DANIEL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, DAPHNE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, DAPHNE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, DAVID          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, DELEINE        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, DELVA T        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, DENNIS ROBE    REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, EDDA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, EDDIE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, EDNA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, EDNA L         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, EDWARD         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, EDWIN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, EDWIN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, EDWIN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, EFRAIN         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ELADIO         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ELBA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ELBA I.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ELENA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ELGAMARIE      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ELIEZER        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ELIUD          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ELIZABETH      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ELIZABETH      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ELIZABETH      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ELIZABETH      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ELSIE I        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ELVIN J        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, EMILY          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, EMMA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ESTEBAN        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, FAUSTINO       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, FAUSTINO       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, FAUSTINO       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, FELIX          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, FELIX          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, FERNANDO       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, FRANCISCO      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, FRANCISCO      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, FRANCISCO      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, FRANCISCO J.   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, GERARDO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED




                                                                                                                                                                  PAGE 6306 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1307 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RODRIGUEZ, GERARDO LUIS REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

SANTIAGO RODRIGUEZ, GILBERTO    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, GILBERTO    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, GIOVANY     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, GISELLE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, GISELLE M   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, GLADYMAR    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, GLORIA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, GLORIA E    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, GLORIA E    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, HAYDEE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, HECTOR I.   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, HELGA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, HERIBERTO   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, HILDA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, HILDA E     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, IDA K       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, IDARLENE    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, IDELLISSE   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, IGNACIO     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, IRAIDA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, IRIS N      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, IRIS V.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, IRMARIZ     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ISMAEL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ISRAEL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ITZAMAR     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ITZAMAR     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, IVETTE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, IVETTE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, IVETTE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, IVONNE M    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JAIME D     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JAIME O.    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JANICE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JANNET      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JEANNETTE   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JEANNETTE   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JESUS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JOALICE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JOALICE M   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JOHNNY      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JORGE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JORGE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JORGE L     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JORGE L     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6307 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1308 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RODRIGUEZ, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JOSE L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JOSE R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JOSE R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JOSEPH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JUAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JUAN R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JUANITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JUDITH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JULIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JULIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JULIA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JULIO M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, JURILIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, KARLA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, KARLA D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, KATHERINE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, KELVIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, KEYLA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, KEYSHA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, KRISBEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, KRISBEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LAURA N     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LEIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LEILA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LEILA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LEILA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LESBIA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LILLIAM D   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LIZ M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LIZETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LOIS L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LOIS L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LORENA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LOURDES     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LUIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LUIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LUIS D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LUIS M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LUIS O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LUISA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LUZ M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LYDIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LYDIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, LYMARI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 1309 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RODRIGUEZ, MADELINE    REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MADIAN      REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MADIAN      REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARCO A.    REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARCOS DANI REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED

SANTIAGO RODRIGUEZ, MARGARITA    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARIA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARIA D      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARIA D.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARIA DE     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARIA DE L   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARIA E      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARIA E      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARIA E.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARIA I      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARIA I      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARIA J.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARIA V      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARIBEL      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARILYN      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARILYN      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARISOL      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARITZA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARITZA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARITZA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARITZA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MARLYN       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MAYRA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MAYRA I.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MELVIN       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MELVIN       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MICHAEL P    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MIGDALIA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MIGDALIA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MIGUEL       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MIGUEL A     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MIGUEL A     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MILAGROS     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MILAGROS     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MILTON J     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MIRTA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MORGIANA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MYRIAM R     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, MYRNA L      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, NANCY        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, NANCY        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, NAYDA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, NELLIE E     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6309 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1310 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RODRIGUEZ, NELLY        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, NELMI S      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, NELSON       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, NEREIDA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, NERIMAR      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, NICOLE       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, NOEL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, NOEMI        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, NORBERTA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, NORBERTA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, NORMA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, NORMA I      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, NYLSA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, OLGA E       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, OLGA E       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, OMAR         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ORLANDO      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, PABLO        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, PABLO        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, PEDRO        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, PEDRO        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, PEDRO J      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, PEDRO J.     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, PEDRO M      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, PEDRO RAUL REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, PETRA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, RAMON        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, RAMONA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, RAMONITA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, RAYMOND A. REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, RENE         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, RENE         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, RICARDO      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, RIGOBERTO E. REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ROBERTO      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ROLANDO      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ROSA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ROSA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ROSA M       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ROSAIDA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ROSALINA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ROSALINA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, RUTH E       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, SAMUEL       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, SANDRA I     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, SANDRA I     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, SANDRA I     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, SANDRA I     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, SANTIA M     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6310 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RODRIGUEZ, SANTITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, SANTOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, SARAH C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, SHEILA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, SONIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, SONIA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, SONIA N     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, SUSANA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, SYLVIA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, TALINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, TOMAS J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, TOMMY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, VANESSA M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, VERONICA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, VERONICA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, VICTOR M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, VILMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, VILMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, VIVIAN R    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, WALDEMAR    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, WALESKA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, WALESKA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, WILFREDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, WILFREDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, WILFREDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, WILLIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, XIOMARA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, YANILUZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, YANIRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, YESHENIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, YOLANDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ZORAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ, ZULMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZ,EDGA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIGUEZX, DAPHNE B   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRIQUEZ, CARMEN I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RODRUGUEZ, VILMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROJAS, ANNETTE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROJAS, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROJAS, JERALINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROJAS, MIRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROJAS, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROLAN, ANIDIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROLDAN, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROLDAN, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROLDAN, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROLDAN, ENID J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROLDAN, ENID L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROLDAN, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6311 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1312 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO ROLDAN, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROLDAN, MARIA DEL CARM REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

SANTIAGO ROLDAN, MARTIN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROLDAN, SHEILA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROLDAN, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROLON, DENNISE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROLON, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROLON, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROLON, LILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROLON, LILLIAM I.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROLON, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROLON, NYDIA M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, AIDZA F         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, ANGEL D         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, ANGEL L.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, ARACELIS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, ARACELIS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, BRENDALIZ       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, CYNTHIA E       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, DEBORAH         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, ELSIE           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, FELIX A         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, MARCIAL F       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, MARCOS A        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, MARIELY         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, NORIBEL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, PEDRO J         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, REY J           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMAN, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMERA, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMERO, ANA CELIS      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMERO, ANGELICA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMERO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMERO, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMERO, HILDA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMERO, HILDA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMERO, IVETTE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMERO, JOSE G         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMERO, MADELYN        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ROMERO, TOMAS          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6312 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1313 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO ROMERO, VICTOR J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROMERO, VIRGINIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROMERO, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROQUE, ALEJANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROQUE, EDDIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROQUE, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, AMALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, ANA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, ANGELICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, ASHLEY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, AURELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, AURELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, CARMEN S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, EDA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, EDWARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, ELIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, ERICK JAVIER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, ESTEBAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, EVA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, JOHANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, JOHANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, VILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, WANDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSA, WILMER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, ADA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, ANA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, AWILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, BIVIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, CARMEN V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, CHRISTOPHER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, CRISTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, DAGOBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, DIONISIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, ENID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, GENOVEVA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6313 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1314 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO ROSADO, HERIBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, JADINET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, JELAINE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, JOSE O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, JUAN D JESUS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, JUAN DE J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, LUMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, MAGALY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, MARIA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, MARIA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, MARIA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, MAXIMINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, MERCEDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, OMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, PEDRO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, PEDRO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, SALVADOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, VICTOR J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSADO, VICTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, ARIEL O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, ASTRID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, CARMEN G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, CELSO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, DENISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, EDGAR R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, ELBA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, ELBA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, ELI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, ELISAMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, ELISAMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, ELVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, ESPERANZA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, EUGENIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6314 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1315 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO ROSARIO, EVA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, FELIX          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, FELIX          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, GENOVEVA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, IWYLVANNETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, JACQUELINE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, JAQUELINE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, JEAN C.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, JIMARY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, JORGE L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, JOSUE R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, JUAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, JUAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, JUAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, JULIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, LISBET         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, LOURDES S      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, LUCIANO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, LUIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, LUIS D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, LYDIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, MARGARITA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, MARIA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, MATILDE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, MILAGROS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, MYRNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, NERIZEIDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, OSVALDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, RAFAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, ROSE M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, ROSEMARY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, SAMUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, SAMUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, SAMUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, VIDAL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, WANDA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, WILCALY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, YESENIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSARIO, ZULINET        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSAS, ALICIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSAS, ALICIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSAS, ELIZABETH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROSAS, SONIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROTH, MARTHA J.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO ROUBERT, PHILIP         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RQSARIO, ULVIA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, AMARILYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, ANGEL L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6315 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1316 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO RUIZ, ARLENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, CAROLYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, DENISE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, EDISSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, EMELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, EMELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, ERIKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, ERIKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, GIVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, HECTOR H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, JESSY BELL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, JOSHUA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, LAURA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, LUZ S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, MARIA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, MAXIMINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, MILKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, MILKA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, MILTON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, MILTON R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, NYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, RAFAEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUIZ, XAVIER O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RULLAN, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RULLAN, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RULLAN, MARCOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUPERTO, DANNY J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO RUZ, HENNETH J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SAAVEDRA, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SABALIER, NESTOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SABAT, ARVIN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SABAT, ARVIN J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SAEZ, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SAEZ, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SAEZ, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SAEZ, ENID A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6316 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

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                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO SAEZ, IVELISSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SAEZ, LIONEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SAEZ, MAITE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SAEZ, MARIA DE C        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SAEZ, MIGDA T           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SAEZ, MINERVA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SAHLI, LINDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALABARRIA, HECTOR J.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALAME, DENISSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALAME, DENISSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALAME, HOLLY A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALAS, IRMA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALCEDO, IVAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALCEDO, JORGE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALCEDO, LUZ S.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALDANA, ALMA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALDANA, ANGEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALDANA, JESSICA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALDANA, JESSICA E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALDAQA, ELSA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALGADO, ANA A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALGADO, GLADYS M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALGADO, JOYCE G.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALGADO, MARIA A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALGADO, MARIA A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALGADO, NYLMARIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALGADO, SANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALGADO, SANTA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALGADO, SARA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALGADO, SARA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALICETTI, LYNETTE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALINAS, FELIX          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SALIVA, HECTOR L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SAN ANTONIO, YARISSA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SAN MIGUEL, HECTOR      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANABRIA, AWILDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, ABIGAIL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, ADA N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, AIDA L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, ANGEL L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, BLANCA I.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, CARMEN F       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, CARMEN M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, COSME A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, DANIEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, DELVIS E.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, ELBA I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, ELIEZER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6317 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1318 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO SANCHEZ, EMERLEINE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, EMILIANO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, ESPERANZA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, EVA L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, FELIX          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, HEIDI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, HEIDI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, ILSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, ILSA V.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, ISAMAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, ISAMAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, ISHA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, IVAN E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, JASON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, JESSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, JESUS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, JOSE A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, JOSE M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, JOSE W         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, JOSE W         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, JUAN C         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, LUZ ESTHER     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, LUZ M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, MARIA T        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, MELISSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, MYRAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, NORBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, NURIA C        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, NYDIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, OSCAR J.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, RAMONA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, RAQUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, ROBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, ROBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, ROSA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, SONIA I.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, YADIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, YADIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, YAJAIRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANCHEZ, ZAIDA J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANDOVAL, INGRID        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTA, ELBA RAQUEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTAELLA, CARLOS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTAIGO, MARIA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, ALEXIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, EDNA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, EDUARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, EDWARD         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, EUSEBIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1319 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO SANTANA, JANICE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, JANICE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, JUAN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, JULIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, LIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, LIZ V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, LUISA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, MERIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, NADIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, OCTAVIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, ROSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, SUGGELIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTANA, SUGGELIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIA, CONCEPCION     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ABIGAIL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ABIGAIL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ABIGAIL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ADA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ADA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ADALBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ADALBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ADIANEZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ADIANEZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, AIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, AIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, AIDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, AIDA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, AIDALIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ALEXANDER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ANA B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ANA G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ANA ROSA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ANDREA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ANDRETTI     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ANGEL L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ANGEL M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ANGEL M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ANIBAL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ANNETTE C.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ANTONIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ARIANA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ARLEEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6319 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1320 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO SANTIAGO, ARNALDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ARTURO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, AWILDA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, BENJAMIN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, BERNARDINA B   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, BLANCA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, BONIFACIO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, BRENDA L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARLOS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARLOS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARLOS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARLOS A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARLOS A.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARLOS M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARLOS R.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARMEN A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARMEN A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARMEN A.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARMEN E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARMEN J.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARMEN L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARMEN M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARMEN M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CARMEN T       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CASILDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CESAR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, CESAR R        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, DAISY L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, DAMARIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, DAVID          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, DAWIN F.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, DENICE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, DENNY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, DILAIDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, DIMAS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, DORIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, EDGARDO L.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, EDNA L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, EDWIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ELIOT          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, EMERITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, EMMA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ERNIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, EROLINDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ESPERANZA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, EUNICE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, FRANKIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, GEORGINA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO SANTIAGO, GERARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, GERDELIZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, GILBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, GLENDALY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, GLORIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, GLORIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, GUILLERMO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, HARRY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, HARRY V.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, HECTOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, HECTOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, HECTOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, HECTOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, HECTOR G.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, HECTOR M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, HECTOR R.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, HERBERT J.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, HERIBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, HILDA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, IDA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, IGNACIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, IGNACIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, IRENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, IRIS D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, IRIS N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, IRIS N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, IRIS Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, IRIS Y.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ISABEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ISMAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, IVAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, IVETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JACKELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JACKELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JAIME        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JANETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JANICE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JAVIER V     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JAVIER V     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JEANNETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JENNIFER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JENNY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JENNY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JESUS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JOANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JOEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JOHN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JORGE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JORGE I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6321 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1322 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO SANTIAGO, JORGE L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JOSE A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JOSE J.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JOSE J.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JOSE M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JOSE M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JOSE O         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JOSE R.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JUAN A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JUANA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JUDITH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, JULIO A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, KENIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LAURA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LETICIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LETICIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LIMARIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LISANDRA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LISANDRA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LIZBETH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LLELIDZA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LOLITA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LUCIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LUCIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LUIS A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LUIS M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, LUZ J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MADELINE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MADELYN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MANUEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARGARITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARGARITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIA A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIA D        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIA D        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIA D        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIA D        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIA DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
A.
SANTIAGO SANTIAGO, MARIA DEL      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIA DEL C    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIA E        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIA L        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6322 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1323 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO SANTIAGO, MARIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIA S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIA T.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIA T.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIA V      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIELA B    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARISEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARISOL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARISOL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARISOL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARISOL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARISOL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARISOL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARISOL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARIXA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARTHA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MARTHA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MELITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MICHELLE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MIGDALIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MIGDALIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MIGUEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MILAGROS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MYBETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, MYRNA R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, NANCY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, NAYDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, NAYDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, NELLIE I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, NILSA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, NOEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, NOEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, NOEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, NOEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, NORMA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, NYDIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, NYDIA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, NYDIA T      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, OMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, OMAYRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, OMAYRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, OSVALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, RAMONA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, REGINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6323 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1324 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO SANTIAGO, REGINA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, RENE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, RICARDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, RICHARD       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ROBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ROGELIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ROSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ROSA E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ROSA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ROSA N        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ROSALINA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, SAMUEL E.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, SANDRA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, SANDRA L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, SOL ENID      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, SOL Y         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, SONIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, SONIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, SONIA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, STEPHANIE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, VERONICA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, VICTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, VICTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, VICTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, VICTOR M.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, VICTOR R      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, VILMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, VILMA A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, VIRGEN M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, VIVIAN A.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, VIVIANA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, WANDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, WANDA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, WANDA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, YAMELIT       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, YANIRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, YARILDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, YASMIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, YASMIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, YESENIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, YESENIA E     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, YESSICA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, YOLANDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ZAIDA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ZAIDY I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ZANIA A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIAGO, ZENAIDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTIGAO, LOURDES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTISTEBAN, CAROLL D   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6324 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1325 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO SANTONI, MARITZA I.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, ALVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, AMARILIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, CARMEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, CARMEN S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, CRUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, DELIMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, FELICITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, GERARDO D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, GLADYS T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, HIGINIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, LUZ O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, LYDIA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, MARIA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, MARIELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, MILDRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, MILDRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, OLGA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, PABLO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, PABLO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, PAULA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, PAULA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, PEDRO JUAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, PEDRO O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, RUTH M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SANTOS, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SASO, JULIO I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SAURI, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SAURI, SOL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SCHELMETY, MATILDE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEDA, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEDA, BLANCA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEDA, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEDA, NILDA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEDA, SARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEGARRA, KARLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEGARRA, MADELAYD      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEGARRA, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEGARRA, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEGUINOT, NILDA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEMIDEY, GERALIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEMIDEY, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEPULVEDA, CARLOS S.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEPULVEDA, ENEIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6325 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1326 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO SEPULVEDA, JOSE A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEPULVEDA, JOSE D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEPULVEDA, NOE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEPULVEDA, OMAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEPULVEDA, OMAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEPULVEDA, ONEIDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEPULVEDA, RAFAEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEPULVEDA, RAQUEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEPULVEDA, ROSA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEPULVEDA, SAMARIS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEPULVEDA, SAMARIS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SEPULVEDA, ZAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERPA, GERMAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERPA, REINALDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, AMELIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, ANA C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, ANA C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, ANDREITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, ANDREITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, CARMEN G       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, DAINAMAR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, DAINAMAR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, DAMARIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, DELIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, ELIENID        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, FELICITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, GLORIA P       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, HUGO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, IRAIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, JORGE L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, JORGE L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, JOSE M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, JOSE M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, JOSEFINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, KEISHA N       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, LOURDES M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, LOURDES M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, LUZ S          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, MADELINE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, MARIA DEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, MARIA V        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, MARIA V        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, MARILINDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, MAYRA JUDITH   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, MERCEDES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, MERCEDES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6326 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1327 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO SERRANO, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, NILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, NILDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, NITZA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, OLGA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, RAQUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, SHARIBEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, VIRGILIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, VIRGILIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, WILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANO, YAMILLETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SERRANT, DORIS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SESENTON, FLORENCIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SIEBENS, YAHIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SIERRA, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SIERRA, LARITSSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SIERRA, MARTA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SIERRA, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SIERRA, RODOLFO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SILVA, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SILVA, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SILVA, EDDIE J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SILVA, MARIA T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SILVA, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SILVA, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SILVA, SECUNDINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SILVA, VERONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SILVA, VERONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SILVESTRE, JOMERY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SIMONETTI, HECTOR A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SINIGAGLIA, JOSE A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SIVERIO, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SIVERIO, VILMA A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOCIA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOCIA, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLA, JULIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLER, ELDA C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLER, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLER, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLER, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLER, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLER, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLIVAN, CONCEPCION    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLIVAN, EVELYN J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLIVAN, FELIX L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLIVAN, JANID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLIVAN, JANID M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6327 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1328 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO SOLIVAN, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLIVAN, LUIS C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLIVAN, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLIVAN, PEDRO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLIVAN, PEDRO M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOLLA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOSA, ARLENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOSA, ARLENE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOSA, CARMEN N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOSA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOSA, MARIA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOSA, MIRTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOSA, MIRTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOSA, NITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, AGUSTIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, AIDA N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, ALEXANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, ALEXANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, ANTHONY A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, ARIEL ANTONIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, ASLIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, BERENICE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, CYNTHIA O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, EDILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, EILEEN P         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, HERMES E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, IVIS L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, JEREMIAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, JUAN C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, JUAN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, KARLAMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, LIZZIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, LUIS DANIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, LYDETTE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, MABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, MARIA DEL RO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, MIKALL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6328 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                      Schedule E3 Page 1329 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO SOTO, MYRIAM T.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, RAMONA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, RAQUEL              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, ROSA                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, ROSALINDA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, TITO                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTO, VIVIAN              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTOMAYOR, MARIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTOMAYOR, MARIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTOMAYOR, MARTA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTOMAYOR, MARTA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTOMAYOR, RITA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SOTOMAYOR, ROBERTO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO STEWART, ANGEL            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO STEWART, RALPH            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SUAREZ, BRENDA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SUAREZ, JACINTO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SUAREZ, JOSE A.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SUAREZ, RUBEN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SUAREZ, SANDRA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SUAREZ, SANDRA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SUAREZ, SEM               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SUAREZ, SONIA N           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO SULSONA, RAFAEL A         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TANTAO, LUZ E             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TAPIA, CARMEN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TAPIA, CARMEN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TAPIA, CARMEN L           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TAPIA, MARIA I.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TAVAREZ, SOLENID          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TELLADO, MADELINE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TEXIDOR, DAISY            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TEXIDOR, MARIA A          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TEXIDOR, VICTORIA DEL M   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TEXIDOR, VICTORIA DEL M   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO THILLET, LIZMARIE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO THILLET, MILAGROS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO THILLET, MILAGROS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TIRADO, BIENVENIDA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TIRADO, ERIC              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TIRADO, GABRIEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TIRADO, JERIANE T         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TIRADO, LARISSA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TIRADO, LUIS              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TIRADO, VICTORIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TIRADO, VICTORIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TOLEDO, ELBA I            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TOLEDO, JOSE D            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TOLEDO, LYDIA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6329 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1330 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO TOLEDO, LYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TOLEDO, MILITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TOLEDO, PASTOR A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TOLEDO, VIVIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TOLEDO, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TOLENTINO, DAMIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORO, ARCADIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORO, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORO, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORO, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, AISHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ALEXANDER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ALEXIS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ALFONSO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ALMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, AMELINES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ANA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ANA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ANA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ANGEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ANTONNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, BEATRICE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, BETSY M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, BLANCA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, BRENDA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, CARLOS L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, CARMEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, CARMEN R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, DAISY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, DANNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, DANNY O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, DAVID A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, DENISSE Z.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, DERICK         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6330 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1331 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO TORRES, DERVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, DOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, DORCAS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, EDDIE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, EFREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, EMERITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, EMILY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, EMILY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, EMMA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, FATIMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, FAUSTINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, FELIX J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, FERNANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, FRANCHESKA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, FRANCISCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, FULGENCIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, FULGENCIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, GABRIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, GABRIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, GABRIEL O.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, GILSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, GREGORIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, GUILLERMO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, HAROLD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, HAROLD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, HECTOR L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, HECTOR L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, HEIDI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, HEIDI M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, HILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, HILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ILEANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ILEANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, IRMA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, IRMA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ISMAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ISMAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, IVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, IVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, IVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JANET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6331 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 1332 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO TORRES, JENITSA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JERRY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JESMARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JESSICA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JESUS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JESUS M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JOCELYN A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JOHANNA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JOMIS M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JOSE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JOSE A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JOSE A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JOSE A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JOSE ANTONIO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JOSE L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JOSE L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JOSE R.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JOSEPH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JOYCE E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JUAN M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JULIA A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JULIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JULIAN JOSE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JULIANA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JULIO A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, JULIO E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, KISHA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, LESTER C.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, LILLIAM I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, LOURDES DEL R   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, LOURDES M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, LUCY W          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, LUIS E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, LUIS M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, LUZ             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, LUZ L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, LUZ N           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, LUZ N           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, LUZ Z           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, LYDIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, LYDIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, LYDIA T         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MAIRIM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MAIRIM J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MANUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARANGELIS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARCELINO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARCELINO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARCOS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6332 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1333 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO TORRES, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARIA D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARIA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARIA N.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARIA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARIA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARIANGELIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARIBET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARIBET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARICELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARITZE L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARTA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MARTA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MAYRA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MAYTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MELBA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MELVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MICHAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MIGUEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MIGUEL E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MONSERRATE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MYRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MYRIBEL H      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, MYRNALIX       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, NANCY M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, NANCY M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, NEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, NELIDA C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, NORAIMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, OSVALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, OSWALD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, RAFAEL R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, RAFAEL R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, REYNALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, RICARDO J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, RICARDO L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO TORRES, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ROSA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ROSA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ROSALYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ROSANI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ROYSELL J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, RUTH O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, SANDRA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, SANDRA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, SANTOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, SERGIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, SERGIO J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, SHEILA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, VERONICA R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, VICTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, VICTOR M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, VILMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, VIVIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, WALDEMAR W.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, WALDERMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, WANDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, XAIMARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, YARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, YELITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, YESSENIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, YIZMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, YIZMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ZUGEILY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES, ZUHEIDY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRES,MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRUELLA, KAREN E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TORRUELLA, YARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TOSADO, CARMEN G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TOSADO, CARMEN G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TOSADO, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TOSADO, LIBETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TOSADO, LIBETH R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TRAVERSO, MAYRA L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TRICOCHE, CECILIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TRICOCHE, MARIO LUIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TRINIDAD, CARMEN G.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TRINIDAD, LYDIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TRINIDAD, ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6334 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1335 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO TROCHE, BERNICE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TROCHE, DALILA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TROCHE, GILBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TROCHE, GLADYS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TROCHE, GLADYS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TROCHE, KENNETH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TROCHE, MARIBEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TURELL, ELIAS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO TURELL, MARCOS JAVIER    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO URENA, LILLIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VACHIER, ELISA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALAZQUEZ, MIGUEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALDES, CARLOS J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALDESPINO, SANDRA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALENCIA, ANGEL L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALENCIA, NILDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALENTIN, ANGEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALENTIN, ELIZABETH      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALENTIN, ISRAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALENTIN, JORGE JAVIER   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALENTIN, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALENTIN, LORENA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALENTIN, LUIS M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALENTIN, LUZ E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALENTIN, RAUL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALENTIN, RICARDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALENTIN, WANDA I.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALLADARES, JOEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALLE, DAMIAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALLE, JOSE L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALLE, JULIO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALLE, OHAMY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALLE, SAMUEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALLELLANES, ALEX F      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VALLELLANES, ALEX F      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VANGA, VIDAL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARELA, BRUNILDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARELA, CARMEN L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARELA, GLORIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARELA, GLORIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARELA, GLORIA N         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, ALEX             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, ALEX             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, AMNERIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, AUREA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, AUREA E.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, BETZAIDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, CARMEN L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6335 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1336 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO VARGAS, CLARIBEL        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, EDUARDO         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, ELVIN           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, EMILIA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, ENEIDA DEL R    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, HECTOR          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, HECTOR M        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, ISMAEL JOSUE    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, IVETTE          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, IVETTE          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, JOSE A          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, JUAN            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, JUANITA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, LILLIAM         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, LUIS            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, LUZ E           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, MARISOL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, MARISOL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, MARISOL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, MIRIAM          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, MIRIAM          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, NELSON          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, NELSON          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, PEDRO           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, PEDRO           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, SALVADOR        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, SANTOS          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, SARA            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VARGAS, WILLIAM         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, ADA I.         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, ADAN A         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, ALEXIS         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, ALFREDO        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, ALFREDO        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, AMANDA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, ANA I          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, ANA I          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, ANA I          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, ANA L          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, ANGEL V.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, ANGELES        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, ARCHIE M       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, AUREA E        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, BELINDA LYMARI REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

SANTIAGO VAZQUEZ, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, CARMEN R      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, CHRYSSBELLE   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6336 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                      Schedule E3 Page 1337 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO VAZQUEZ, DELIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, EDGARDO A.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, EDUARDO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, EILEEN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, ELENA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, ELISABET         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, ERIKA J.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, EVA MARIA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, FRANCHESKA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, GERARDO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, GLORIMAR         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, GRETCHER         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, GRISELD M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, HECTOR L         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, HELME H          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, IRAIDA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, IRAIDA C.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, ISMAEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, JAZMIN E.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, JAZMIN E.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, JESUS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, JOHNNY           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, JORGE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, JORGE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, JOSE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, JUAN E           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, JULIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, JULIA RITA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, KEIRY M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, LEEMARIE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, LINETTE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, LISSETTE DEL     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, LISSETTE DEL D   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, LUIS F           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, LUIS I.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, LUIS R.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, LUIS X           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, MARGARITA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, MARIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, MARIA DEL C.     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, MARIA E          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, MARIA I          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, MARIA S          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, MARIANELA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, MARIE C          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, MARISOL          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, MIGUEL A         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, MIGUEL A         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, MILAGROS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6337 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1338 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO VAZQUEZ, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, MILTIA G.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, NATALEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, NATIVIDAD     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, NEYDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, NILDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, NYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, NYDIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, NYDIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, OLGA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, RAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, RISELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, SAMUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, SANDRYNET     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, VICTOR M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, VIMARIES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, WILMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, YAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, YOMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VAZQUEZ, YOMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, ADA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, ALEJANDRINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, ANGEL D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, ARMANDO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, CRUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, CRUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, DANYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, DENISE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, DIEGUITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, FRANCISCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, ILEANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, INELDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, JOANNE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, JOHNNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, JORGE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, JUDY R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, KARILYN N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, KATIA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6338 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 1339 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO VEGA, LEIDIANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, LETICIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, LISSETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, LISSETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, LIZBETH E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, LUIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, LUIS R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, LUZ DEL C         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, MARGARITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, MARIA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, MARIA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, MARILU            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, MARILU            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, MARITZA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, MARTA I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, MARY B            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, MAYRA DE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, MICHELLE M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, MIGUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, NAIDYMAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, NATANAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, NOELI             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, NORMA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, ODETTE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, OLGA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, OMAR ANTONIO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, OWEN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, PEDRO C           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, RAFAEL F          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, ROBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, ROSA M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, SARITA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, SHEYLA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, SONIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, SONIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, TERESA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, VIVIAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, VIVIANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, VIVIANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, VIVIANA DEL M.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, VIVIANA DEL MAR   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, WIELEISHKA M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGA, WILFREDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEGUILLA, JUAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZCO, URAYOAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, ANGEL M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, ANIBAL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, BENIGNO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6339 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1340 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO VELAZQUEZ, CARMELO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, DAISY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, ELIZABETH   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, ELIZABETH   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, ELWIN J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, GIONAVY R   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, GIONAVY R   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, IVAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, JANELYZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, JAVIER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, KAREN L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, LAMELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, LUIS F      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, MARIA J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, MARIA J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, MARIA L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, MARILYN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, MARILYN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, MIGDALIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, NELMARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, NILSA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, NORMA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, ORLANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, RADAMES     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, ROLANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, ROSSY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, SANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, SILVESTRE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, VICTOR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, YOLANDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELAZQUEZ, ZAYRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELES, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, ADEXTER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, ALFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, AMADEO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, AMADEO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, BLANCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, CARLOS J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, ENEISHA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, ERIC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, JOSE HIRAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6340 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1341 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO VELEZ, JOSE L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, KEVIN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, LIZ Y             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, LUZ               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, LUZ C             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, LUZ L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, MARCOS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, MARIBEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, MARIBEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, MARICELIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, MIRIAM            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, MONSERRATE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, NANCY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, NANCY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, NELLIE E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, NELLIE E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, RAFAEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, RAFAEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, RAMON             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, RAUL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, ROSA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, SONIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, VIRGINIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, WALDO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, WALESKA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, WILLNER           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, YANIRA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZ, ZULEYKA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELEZQUEZ, MADELEINE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELLON, LUZ              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VELLON, ROBERTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VENTURA, ALICIA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEZQUEZ, JOSEFINA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VEZQUEZ, JOSEFINA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VIAS, MARITZA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VICENS, HENRY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VICENTE, CARMEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VICENTE, CARMEN M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VIDAL, YOLANDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VIDRO, RAMIRO A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VIENTOS, JOSE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VIERA, MILTON J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VIERA, NELSON            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VIERA, ORLANDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VIGO, FELIX              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILCHES, IRIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILCHES, IRIS JANILETT   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILLAFANA, ELIZABETH     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILLAFANE, ANGEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6341 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1342 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO VILLAFANE, GLADYS V.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILLAFANE, JOSE A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILLAFANE, JUAN J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILLAFANE, ZAYMARIE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILLAHERMOSA, LUIS L    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILLALOBOS, JULIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILLALONGA, ALBERTO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILLANUEVA, GUSTAVO M REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILLANUEVA, GUSTAVO M REDACTED                        REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILLANUEVA, JORGE L     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILLANUEVA, MARISOL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILLANUEVA, MIRAIDA R   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILLANUEVA, MIRAIDA R   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO VILLANUEVA, ZAHIRAMARIE REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED

SANTIAGO VILLANUEVA, ZAHIRAMERIE REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED

SANTIAGO VILLARINI, DAMARIS      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO VILLARINI, JORGE        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO VILLARINI, JORGE G      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO VILLARUBIA, KRYSTEL M   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO VILLOCH, CHAVELY M      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO VINAS, JOSE A           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO VITALI, JENNIFFER       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO VITALI, JENNIFFER M     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO VIVES, SASHYANN         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO WALKER, MARIA DE L      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO WEST, RICHARD A.        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO YAMBO, ANA Y            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO YAMBO, ANA Y            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO YAMBO, JOAN M           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO YAMBO, JOAN M           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZAMBRANA, KARY A        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZAMBRANA, MATIAS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZAPATA, XIOMARA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZAYAS, AIDALIZ          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZAYAS, ARYLLIAM M       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZAYAS, DORIS I.         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZAYAS, HERIBERTO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZAYAS, JESSICA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZAYAS, JESSICA I        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZAYAS, KELLY L          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZAYAS, LUIS I           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZAYAS, LUZ              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZAYAS, LUZ M            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZAYAS, NORMA I          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZAYAS, VALERIA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZAYAS, YASMIN MARIE     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTIAGO ZEA, GABRIEL A          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6342 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1343 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO ZEA, JAVIER O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, ADELAIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, AGUSTIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, ALEANDRO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, ALEXIS M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, ANA MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, ARIEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, AVELINO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, BILLY B.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, BLANCA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, CAMELIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, CARLOS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, CHRISTINE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, DANIEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, DANIEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, DOMINISA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, EDUARDO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, ELBA I                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, ELIZABETH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, ELSA E.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, FELIX M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, FRANCISCA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, FRANCISCO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, GABRIEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, HECTOR                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, HECTOR L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, HECTOR LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, IRMA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, JAVIER                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, JESSENIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, JESUS                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, JESUS                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, JOHNNY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, JONATHAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, JORGE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, JOSE                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, JOSE A                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, JOSE A.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, JOSE A.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, JOSE R.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, JUAN MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, JULIAN J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, JULIO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, JULIUS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, KATERINA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, LAURA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, LOURDES               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, LUIS                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, LUIS E.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1344 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGO, LUIS R                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, MARIA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, MARIA D               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, MARIA DE LOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, MARIA DEL C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, MARIA DEL C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, MARIBEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, MARIBEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, MARITZA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, MARVIN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, MICHAEL G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, MIGUEL A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, NELSON                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, NORMA I.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, OLGA ESTHER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, RAFAEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, RAYMOND JOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, RICARDO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, ROBERT                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, ROGELIO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, ROSALINA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, SALVADOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, SAMMY                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, VICTOR M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, WALDO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, WALTER                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, WALTER I.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO, WILFREDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO,ALFREDO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO,JESUS M.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO,JUAN A.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO,PASCUAL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO,RAMON                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO,SALVADOR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO,WILBERT                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGOALAMO, ZUHEIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGOALMODOVAR, MARIMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGOCARTAGENA, MARIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO‐CONCEPCION, JEZENIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGOFLORES, KATHIRIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGOGRACIA, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGOMERCADO, RENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGONIEVES, GERARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGOORTIZ, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGOPLANAS, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGORAMOS, MARIA DE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGOREILLO, OLGA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGORIVERA, ERASMO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGORODRIGUEZ, DALICETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6344 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1345 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTIAGORODRIGUEZ, MOISES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGORUIZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGOSANTIAGO, SECUNDINO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGOSOTO, CARMEN S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGOTORRES, JAIME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAGO‐VEGA, OLGA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIAQO TORRES, AMILCAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIESTEBAN DE B, LUCRECIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIESTEBAN HERNANDEZ, LUZ Y.  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIGAO COLON, WANDA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIGO MALAVE, ENID F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIGO MOLINA, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIGO RIOS, CINDY M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIGO ROLDAN, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTIGO SANTANA, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTILLAN ROSADO, YUMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTILLANA VERAN, CESAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI ALEMAN, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI BOCACHICA, JOSE E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI BUSUTIL, ROSELYN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI CAISEDA, ERNESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI CARATTINI, ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI CARATTINI, ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI CARTAGENA, HECTOR R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI COLON, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI COLON, NOEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI CRUZ, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI CRUZ, NANCY Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI DAVID, LUIS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI DAVID, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI DE DIAZ, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI DE JESUS, NITZA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI DE JESUS, TIFFANY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI DELGADO, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI DIAZ, SHEILA W.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI DOMINGUEZ, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI ELICIER, IRIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI GONZALEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI GONZALEZ, OBDULIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI GONZALEZ, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI HERNANDEZ, EVA MARIANNE REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

SANTINI HERNANDEZ, NIXYVETTE    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTINI HERNANDEZ, VANESSA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTINI MALDONADO, MARIA D      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTINI MARCANO, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTINI MARTINEZ, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTINI MARTINEZ, JORGE L.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTINI MARTINEZ, MAGALI        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6345 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 1346 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTINI MARTINEZ, MIGUEL A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI MARTINEZ, MIGUEL A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI MELENDEZ, EVELYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI MELENDEZ, HECTOR V        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI MELENDEZ, YOLANDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI MERCADO, ANA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI MERCADO, ANA L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI NIEVES, JORGE O           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI ORELLANA, KEILA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI ORELLANA, KEILA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI ORTIZ, GRISEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI ORTIZ, HECTOR M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI ORTIZ, JORGE A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI ORTIZ, JORGE A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI ORTIZ, MIGDALIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI ORTIZ, VILMA E.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI PADILLA, ANGEL ENRIQUE    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI PADILLA, CARLOS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI PADILLA, CARLOS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI PADILLA, CARLOS J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI PADILLA, JORGE A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI PADILLA, MIGUEL A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI PALOS, ISMAEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI PEREZ, ROSA B             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI QUILES, AMILCAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI QUILES, NAYDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI QUINONES, LETICIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RAMIREZ, TERESITA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RENDON, MARIE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RIVERA, CARMEN T          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RIVERA, MARIBEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RIVERA, RAUL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RIVERA, ROSELYN J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RIVERA, SUGEIN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RIVERA, WILMARIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RIVERA, YATHIRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RODRIGUEZ, AIXA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RODRIGUEZ, ANA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RODRIGUEZ, CARLOS M.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RODRIGUEZ, GLORIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RODRIGUEZ, KEILA D        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RODRIGUEZ, LUIS RAMON     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RODRIGUEZ, MARIE I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI RODRIGUEZ, MARIELA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI ROSADO, MARIBEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI ROSADO, MARIELYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI ROSARIO, EDNA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI ROSARIO, EDNA A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI SANCHEZ, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6346 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1347 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTINI SANTA, ADALINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI SANTA, ADALINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI TORRES, LINDA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI TORRUELLAS, JESICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI VARGAS, VANESSA H.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI VAZQUEZ, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI VILCHES, ARLENE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTINI, ALBERTO L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTISTEBAN BISBAL, SYLVETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTISTEBAN BISBAL, SYLVETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTISTEBAN BISBAL, SYLVETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTISTEBAN CRUZ, AMARILYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTISTEBAN MORALES, IRIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTISTEBAN MORALES, LUCY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTISTEBAN PADRO, CAROLINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTISTEBAN PADRO, JOYCE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTISTEBAN PADRO, LYNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTISTEBAN PEREDA, CARMEN H.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTISTEBAN RODRIGUEZ, AUSBERTO REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTISTEBAN RODRIGUEZ, ZUANN D REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTISTEBAN RODRIGUEZ, ZUANN D REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTISTEBAN SOTO, SHEILA K.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTO DOMINGO HERNANDEZ, JUAN REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
G.
SANTO DOMINGO LAUSELL, OXALI    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTO DOMINGO RODRIGUEZ,        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
LUMARIE
SANTO DOMINGO RODRIGUEZ,        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
LUMARIE
SANTO DOMINGO TRIAS, YOALYD     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTO DOMINGO VELEZ, JOSE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTO DOMINGO VELEZ, JOSE M     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTO DOMINGO, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTO RAMIREZ, NANCY L          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTO S PASTRANA, KEYLA J       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTO SALAMO, NATIVIDAD         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTO SIERRA, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTODOMINGO BELTRAN, IVETTE    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTODOMINGO BELTRAN, IVETTE    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTODOMINGO PEDROSA, VICTOR R REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTODOMINGO TORRES, LORIMAR REDACTED                          REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTONI BAEZ, YELITZA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTONI CARDONA, NEREIDA M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTONI CARRERO, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTONI CORDERO, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTONI CORDERO, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTONI CRUZ, WILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTONI FELICIANO, YANIRA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTONI FERRER, CARMEN N.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6347 OF 7285
SCHEDULE E
                                    Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                 Desc:
AS REPRESENTATIVE OF                                       Schedule E3 Page 1348 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                    UNLIQUIDATED
                                                                                                                       CONTINGENT


                                                                                                                                                   DISPUTED
CREDITOR                            ADDRESS 1                  ADDRESS 2   ADDRESS 3       CITY       STATE ZIP CODE                                               AMOUNT
SANTONI FIGUEROA, ARACELIA          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTONI FIGUEROA, CARLOS D.         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTONI FLYNN, DANIELLE A           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTONI GORDON, TERESA M            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTONI LOPEZ, ROSA M               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTONI MORENO, CLARA               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTONI MORENO, ROBERTO             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTONI MUNIZ, MARISOL              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTONI MUNIZ, XIOMARA              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTONI ORTIZ, IRIS D               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTONI PEREZ, ARMANDO              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTONI SAEZ, CARLOS A              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTONI SANCHEZ, GLORIA A           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTONI TIRADO, IRIS M              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTONI, JOSE F                     REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTONI, MARIA M                    REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTORI TRISTANI, JULIO             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTORI TRISTANI, MARIA DE LOS A.   REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ABRIL, ESTEBAN               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ACEVEDO, AKEIRA L            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ACEVEDO, EDDIE W             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ACEVEDO, LUZ MILAGROS        REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ACEVEDO, MYRNA L.            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ADORNO, ERIKA                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ADORNO, KEVIN                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ADORNO, KEVIN                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ADORNO, NANCY                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AGOSTO, ANGEL M.             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AGOSTO, HECTOR L.            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AGOSTO, IRMA N               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AGOSTO, ISRAEL               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AGOSTO, JOSE                 REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALAMO, ELIZABETH             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALEJANDRO, CORALY            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALEJANDRO, GYPSY M           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALEJANDRO, MARCELINO         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALICEA, CARMEN L             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALICEA, CARMEN L             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALICEA, DITHMAR              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALICEA, GIOVANNI             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALICEA, ROSA IVETTE          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALICEA, SOL C                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALLENDE, MARANGELY           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALLENDE, MARANGELY           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALVARADO, CHRISTY            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALVARADO, GROSARIO           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALVARADO, LOURDES            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALVAREZ, JAYMARIE            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALVAREZ, JEAN CARLOS         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                   PAGE 6348 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1349 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS ALVAREZ, JOSE E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALVAREZ, MARIA DEL C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALVAREZ, MIGUEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALVAREZ, NAYBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALVAREZ, NAYBEL J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALVAREZ, NAYBEL J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ALVES, LINDA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AMADOR, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AMARO, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS APONTE, ADA NIVEA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS APONTE, ADALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS APONTE, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS APONTE, CARMEN N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS APONTE, EDMELINDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS APONTE, ELVIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS APONTE, HECTOR L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS APONTE, IGNACIO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS APONTE, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS APONTE, REBECA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS APONTE, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS APONTE, YERESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ARCE, GILINETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ARCE, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ARCELAY, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ARCELAY, VICTOR E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ARIETA, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ARRECIO, INOCENCIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ARRIETA, STEPHANIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ARROYO, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ARROYO, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ARROYO, MARIANO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ARROYO, MARILYN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ARROYO, MIRIAM J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ARROYO, NATALIA J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ARROYO, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ARROYO, NILDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ARROYO, NILDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ASTACIO, IRMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AVILES, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AVILES, MICHELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AVILES, REGINO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AVILES, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AYALA, BRAULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AYALA, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AYALA, DEMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AYALA, MARLEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AYALA, MARLEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AYALA, MYRNA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS AYALA, VIRGINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6349 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1350 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS BAERGAS, EDWIN DOEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BAEZ, AWILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BAEZ, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BARROSO, BETZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BAYRON, ANTONIO F.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BELLO, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BELTRAN, MAYDALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BENITEZ, LINDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BERLY, DIANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BERMEJO, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BERMUDEZ, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BERNARD, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BERNARD, JUAN JOSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BERNARD, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BERNARD, LUZ C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BERRIOS, ALBERTO G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BERRIOS, CARMEN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BERRIOS, DORIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BERRIOS, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BERRIOS, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BERRIOS, RITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BON, ANTONIO R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BONET, GUILLERMO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BONETA, SANDRA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BONILLA, MARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BORIA, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BORIA, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BORRERO, BEXSAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BOU, SHIRLEY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BRAVO, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BRUNO, HILDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BRUNO, HILDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BULA, ROSA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BURGOS, IDALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BURGOS, IRIS N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BURGOS, IRIS NOEMI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BURGOS, JESUS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BURGOS, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS BURGOS, TANYA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CABRERA, ROSE MARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CABRERA, VICTORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CABRERA, WILMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CALDERA, ANDERSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CALDERON, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CALDERON, ILEANEXI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CALDERON, ILEANEXI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CALDERON, IRIS Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CALDERON, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CALIZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6350 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1351 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS CALIZ, RICHARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CAMACHO, ARLENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CAMACHO, ARNALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CAMACHO, BELMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CAMACHO, SANDRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CAMACHO, WINDYMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CAMPIS, MAYRA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CANCEL, ADELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CANCEL, MIRELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CAQUIAS, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARABALLO, ARMANDO L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARABALLO, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARABALLO, HILDA R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARABALLO, JEANNETE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARABALLO, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARABALLO, SARAHI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARABALLO, WILBERT       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARATTINI, DELIRIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARBALLO, MARIA S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARBONELL, NOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARDONA, CESAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARDONA, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARMONA, DELIZMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARRILLO, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARRION, CLARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARRUCINI, LUZ J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARRUCINI, LUZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARRUCINI, MYRZADI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CARTAGENA, JANILISSE J   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CASILLAS, FEDERICO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CASTILLO, VANESSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CASTILLO, VANESSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CASTRO, GUILLERMO A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CATALA, ANNED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CATALA, ANNED S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CATALA, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CEDENO, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CEDENO, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CELPA, DANILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CELPA, ELIAS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CEPADA, LUIS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CHABRIER, GLORIMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CHAMORRO, AGUSTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CINTRON, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CINTRON, LUIS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CLEMENTE, BRENDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COIRA, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLLADO, CHRISTIAN G     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLLADO, JOSHUA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6351 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1352 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS COLLAZO, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLLAZO, ANDREA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLLAZO, DERLIYALIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLLAZO, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, ADIN I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, ANA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, ARELIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, BRUNYMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, EDNA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, FRANCISCO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, ILEANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, ILIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, ILIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, IMALAY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, IRIS Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, ISAIAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, JACINTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, JOCELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, JULIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, KAYLEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, LEIDY D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, LIONEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, LUZ A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, NORMA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, NORMA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, WILL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS COLON, ZENAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6352 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1353 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTOS CONCEPCION, FRIDANIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CONCEPCION, MARIA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CONCEPCION, MARILYN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CONCEPCION, ROSA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CONTRERAS, DIANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ANGELICA
SANTOS CONTRERAS, VIVIAN M       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CORDERO, KEILA            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CORDERO, LUIS E           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CORDERO, MARIA A          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CORDOVA, SONIA            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CORREA, AMNERIS           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CORREA, CARLOS            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CORREA, RAMIL             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CORTES, BEVERLY           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CORTES, DIANE             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CORTES, ELENA             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CORTES, ESTEBAN           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CORTES, JESUS             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CORTES, ROBERTO           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CORTES, WANDA I           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CORUJO, JOMAR             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS COSME, ZULMA IDALIA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS COTTO, ENRIQUE            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS COTTO, ISAIAS             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS COTTO, MARIA V.           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS COTTO, MARTIN             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRESPO, ESPERANZA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRESPO, LUZ E             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRESPO, LYDIA E           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRESPO, MILDRED           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRESPO, WALESKA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, ALBERTO L           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, ANNADELLE           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, ARIEL               REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, ARIEL               REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, ARNALDO             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, DAISY               REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, ELBA                REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, ELBA L              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, ELENA               REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, IRMARY              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, JAVIER              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, JAYNILL             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, MARIA B             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, MARIA I             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, MARISELL            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, MARTHA R            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS CRUZ, ROY                 REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6353 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1354 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTOS CRUZ, RUBEN                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CRUZ, RYAN                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CUBINA, JAVIER             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS CUEVAS, KIARA I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DAVID, MARIA L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DAVID, MARIA L.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DAVILA, ANGEL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DAVILA, ANGEL L.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DAVILA, EDUARDO J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DAVILA, LUIS               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DAVILA, LUISA E            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DAVILA, MARIANA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DAVILA, REYNALDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DAVILA, ROSA E.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DAVILA, VANESSA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DAY, CARLOS                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DE FIGUEROA, EDELMIRA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DE HOYOS, WILDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DE JESUS, ANA E            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DE JESUS, ANGEL L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DE JESUS, CARMEN I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DE JESUS, EMANUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DE JESUS, IVETTE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DE JESUS, JOSE R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DE JESUS, MARIA J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DE JESUS, MARIA J.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DE LOS SANTOS, MARCELINO   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DE LOS SANTOS, MARCELINO   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DE MARTINEZ, SYLVIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DE MUNIZ, IRMA R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DE RUIZ, AURA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DE TAPIA, HORTENCIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DELGADO, ADRIANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DELGADO, ALEXANDER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DELGADO, CARMEN G.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DELGADO, MARISOL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, ANA M                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, ANA MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, ANGEL M.             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, ANGELIK N            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, ANIBAL               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, CARMEN               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, ERNESTO R.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, FRANCIS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, HEYDA M              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, ISAAC                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, JOSE L               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, KEILA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, NYDIA I              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6354 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1355 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTOS DIAZ, PEDRO I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, PEDRO L             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, RAFAEL JULIAN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, REBECA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, REBECA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, REBECA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, SONIA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DIAZ, SONIA I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS DONADO, KAREN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ECHEVARRIA, ALTAGRACIA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ECHEVARRIA, ALTAGRACIA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ECHEVARRIA, JEFFREY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ECHEVARRIA, NICOLE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ECHEVARRIA, PEDRO S.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ECHEVARRIA, REYNALDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ENRIQUEZ, ERIC            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ENRIQUEZ, JOSE L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ESCALERA, CARLOS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ESCRIBANO, CARMEN I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ESCRIBANO, ROBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ESPINOSA, IRIS Y.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ESTEVES, TATIAHANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ESTRADA, CELINILSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ESTRADA, WANDA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ESTRADA, ZELIDETH V       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FEBLES, JOSUE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FEBRES, EDGARDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FEBRES, YADIRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FEBUS, CARLOS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FEBUS, CARLOS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FEBUS, CARMEN T.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FEBUS, MIGUEL A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FELICIANO, CARMEN LYDIA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FELICIANO, IDALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FELICIANO, IRIS M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FELICIANO, JOSE A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FELICIANO, JOSE L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FELICIANO, JOSE L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FELICIANO, LUZ M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FERNANDEZ, CARLOS R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FERNANDEZ, KARMARIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FERNANDEZ, KARMARIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FERRER, CAROLINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FERRER, CAROLINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, ADA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, AIDA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, ALBA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, CARLOS MANUEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, CARLOS O.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6355 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1356 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTOS FIGUEROA, CARMEN D         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, FELIX R          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, GLADYS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, JOSE A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, KORALYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, KORALYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, KRISTYAN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, KRISTYAN I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, KRITZIA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, LESLIE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, MARIA D          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, NAZARIO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, NIXZALI          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, ODALIS I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, SOLIMAR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, WAYDA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, YAZNERY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FIGUEROA, YAZNERY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FLORES, AMARILIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FLORES, CARMEN L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FLORES, FABIAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FLORES, HARVEY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FLORES, JAZMIN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FLORES, JAZMIN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FLORES, MELANYS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FLORES, SIXMARIE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FONSECA, ROXANA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FONSECA, ROXANA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FONTANEZ, SONIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FRANCISCO, LILLIAM C       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FRANCISCO, LILLIAM DEL C   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FRANCO, FLORINDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FRANCO, IRIS M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FRANCO, ISRAEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FRANCO, MONICA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS FRONTANEZ, JESUS MANUEL    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GALARZA, YIMARZARETTE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GALINDEZ, DAISY Y          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GALLARDO, HECTOR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GALLARDO, HECTOR L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARAY, TAMYL M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCA, MARK A              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, ANA M              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, ANA M              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, BRENDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, BRENDA L.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, DANNA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6356 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1357 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS GARCIA, DILIANE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, DILIANIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, EDGAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, ELMIR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, ERICELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, GEORGE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, HAMLET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, HAMLET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, HAMLET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, IRINEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, MARIA DEL C.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, MIGUEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, SANDRA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, SANDRA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, VALOI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARCIA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GARLAND, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GERENA, BRENDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GERENA, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GERENA, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GOIRE, MARLENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GOMEZ, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GOMEZ, KAREN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GOMEZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALES, ISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALES, ISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, AWILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, BENYMES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, BETHZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6357 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1358 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SANTOS GONZALEZ, DELIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, EDDIE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, ELSA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, ESTHER           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, FELIX            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, GILBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, GLADYS E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, GLENDALY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, GRISELLE T       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, HERMINIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, JAIME            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, JEANETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, JEANETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, JORGE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, JUAN G           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, LIZBETH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, MAGDALENA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, MARIA V          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, MARIBEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, MIGDALIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, MILVIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, OMAR D           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, ORLANDO JAVIER   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, RANDY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, RANDY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, ROBERTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, ROSA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, SUZETTE M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, SUZETTE M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GONZALEZ, WENDOLYN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GUISONA, JUDITH            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GUTIERREZ, JAISYNETT       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GUTIERREZ, MAYRA L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GUZMAN, ALEXANDRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GUZMAN, ANA L              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GUZMAN, ANA LUISA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GUZMAN, FRANCISCO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GUZMAN, MARIA J            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GUZMAN, MARILENA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GUZMAN, MARILENA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GUZMAN, MERALY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GUZMAN, MERALY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GUZMAN, RAFAEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GUZMAN, RAMON              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GUZMAN, TAYMARIE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS GUZMAN, WANDA I.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6358 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1359 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS HECTOR,P.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNADNEZ, ERICK F.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, ADALIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, ALEXANDER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, ALFONSO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, ALFONSO R.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, ANABELL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, ANABELLA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, DIMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, HECTOR M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, HILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, LETICIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, LILLIAM I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, LUIS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, LUIS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, LUIS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, LUZ D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, MARLEEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, MARLEEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, RENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HERNANDEZ, STEPHANIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HIRALDO, NATALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HOYOS, ILEANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HOYOS, ILEANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HUERTAS, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS HUERTAS, SARAH E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS IRIZARRY, GLADYNEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS IRIZARRY, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS IRIZARRY, WALTER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ISALES, LUANNA LEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS JACOBS, JENNIFER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS JIMENEZ, MOISES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS JIMENEZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS JIMENEZ, RAPHAEL J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS JIMENEZ, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS JIMENEZ, ROSA H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS JORGE, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS JURADO, NORBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS JURADO, NORBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS JURADO, SOLIANY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS KIM, MARILYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LACEND, ANA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LACEND, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LACEND, LUZ Z            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LATIMER, CESAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LATORRE, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6359 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1360 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS LATORRE, JIMMY J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LEANDRY, MARTIZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LEBRON, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LECLERE, JUAN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LECLRE, JUAN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LEON, NATIVIDAD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LIBOY, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LIZANDRA, MARTIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LLANOS, ASIA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LLANOS, CLARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LLANOS, GLORIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOARTE, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LONGO, SYLVETTE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LONGO, SYLVETTE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPERENA, YARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, CARMEN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, CRUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, GRIMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, JOSE F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, JOSE F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, JOSE G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, JUDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, LISIBELL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, LOURDES M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, MARIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, NITZA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, PATRICIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, SAMUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, WALESKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, WALESKA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOPEZ, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LORENZANA, MICHAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LORENZANA, NICOLLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOYO, MYRNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOYO, NILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOZADA, DIMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOZADA, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6360 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1361 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS LOZADA, NATALIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LOZANO, MARK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LUCIANO, NAISHALIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LUCIANO, SHALIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LUGO, ANA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LUGO, ELIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LUGO, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LUGO, JULIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LUGO, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LUGO, RAYNE J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS LUNA, JOSE I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MACHUCA, RODOLFO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MADERA, LEONEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MAISONET, REYNALIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MALAVE, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MALAVE, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MALDONADO, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MALDONADO, ERICBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MALDONADO, ERICBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MALDONADO, MARIA DEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
CAR
SANTOS MALDONADO, MARIA M.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MALDONADO, MARIA R       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MALDONADO, MARIA R       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MALDONADO, VICTOR        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MALDONADO, VIRGINIA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MALDONADO, YASHIRA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARCANO, EUGENIA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARCANO, JOANNY          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARIN, OSVALDO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARIN, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARQUEZ, ENEIDA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARQUEZ, JUSTINO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARQUEZ, ROSAURA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARRERO, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARRERO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
MILAGROS
SANTOS MARRERO, DENISSE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARRERO, DENISSE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARRERO, DORIS           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARRERO, JESUS M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARRERO, JORGE L.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARRERO, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARRERO, MELBA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARRERO, MIRELLA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARRERO, MIRELLA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARRERO, MIRELLA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARRERO, SHEILA A.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS MARROIG, ARLYNN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6361 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 1362 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
SANTOS MARTINEZ, ANA M             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, AUREA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, BERNARDA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, BLANCA E          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, CARMEN            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, CARMEN M.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, CARMEN N          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, CARMEN N          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, EDWIN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, EDWIN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, EDWIN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, ELSA M            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, EVA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, FRANCISCO         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, GERARDO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, GERSON            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, GILBERTO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, HECTOR            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, IDA M             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, IRENA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, ISAIAS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, JESUS A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, JOSE E            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, JOSE E            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, LIRIO DE LOS A    REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, MARIA DEL PILAR   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, MARIA T           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, NIRMA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, RAFAEL            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, SHERLY M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, STEPHANIE M       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MARTINEZ, YAZMIN            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MAS, LUIS                   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MATEO, CLARIBEL             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MATEO, LISBETH              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MATOS, IRMA V               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MATOS, JOSE R.              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MATOS, MARIA                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MATOS, SELMA S.             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MATOS, SILVIA M             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MAYA, KARLA M               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MEDINA, DIOMARIS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MEDINA, DIOMARIS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MEDINA, ELVIA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MEDINA, YANIA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MELEMDEZ, MARIA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MELENDEZ, BENJAMIN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MELENDEZ, CARLOS A          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MELENDEZ, CARMEN T          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6362 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1363 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS MELENDEZ, ELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MELENDEZ, ESMERALDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MELENDEZ, FRANCES M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MELENDEZ, GERMAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MELENDEZ, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MELENDEZ, LUIS ALBERTO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MELENDEZ, LUIS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MELENDEZ, MARIA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MELENDEZ, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MELENDEZ, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MELENDEZ, NELMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MELENDEZ, SONIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MENDEZ, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MENDEZ, RAFAELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MENDOZA, LILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MENENDEZ, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MENENDEZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MERCADO, JENIFFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MERCADO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MERCADO, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MERCADO, MASHLA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MERCADO, PEDRO O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MERCADO, ZULMAIRIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MIRANDA, KIARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MIRANDA, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MIRANDA, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MIRANDA, SIGRIE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOJICA, ANABELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, ANA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, ANA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, CANDIDA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, DENNISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, IVETTE B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, JUANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, LISETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, LISSETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, MARIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, MARYBBET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MOLINA, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MONTALVO, CARLOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MONTANEZ, ABIMAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MONTANEZ, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6363 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1364 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS MONTANEZ, VIVAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MONTERO, GODA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MONTES, LILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MONTES, LILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MONTESINO, VIVIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MORA, TEDDY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MORALES, ADRIANA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MORALES, CIARA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MORALES, DENISE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MORALES, EDNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MORALES, EDNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MORALES, GERARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MORALES, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MORALES, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MORALES, KARINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MORALES, LUIS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MORALES, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MORALES, SANILLE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MORALES, VIRGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MORAN, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MORAN, LUIS F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MULLET, LUZ V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MUNOZ, JOSE E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MUNOZ, TERILI D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS MUNOZ, YENITZA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NARVAEZ, CARMEN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NATAL, ANA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NATAL, EVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NATAL, EVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NAZARIO, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NAZARIO, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, ARLINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, ELIOT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, JOSUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, LYMARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, ORLANDO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, SARABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEGRON, SARABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1365 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS NEGRON, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NEVAREZ, GIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, ADRIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, AHILIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, CARMEN N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, CLEMENCIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, EDDIEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, EILEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, ELIEZER M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, HANSELL E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, IVAN L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, IVONNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, JIMMY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, KARIMDELIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, KATTY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, MARIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, MARIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, MINELLIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, MINELLIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, MINELLIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NIEVES, YARIZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NOGUE, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NOGUE, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NOGUE, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NORIEGA, LUIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NORIEGA, NEDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NORIEGA, NEDIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NOVA, CARLOS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NUNEZ, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NUNEZ, BRENDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NUNEZ, FERNANDO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS NUNEZ, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OCASIO, JAVIER J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OCASIO, LISAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OCASIO, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OCASIO, STEVE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OJEDA, ENID R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OJEDA, NYDIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OLIVARES, MAGDALENA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OLIVO, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ONODA, SHIRLEY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ONODA, SHIRLEY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OQUENDO, MELANE I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OROZCO, LEON D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6365 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1366 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS ORTEGA, ELGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTEGA, ELGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTEGA, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTEGA, JEANETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTEGA, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTEGAS, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, ADAMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, ALBA G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, ALEXANDER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, AMALIE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, ANDRES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, CARLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, CATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, CATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, DELIRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, ELBA Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, ERIKA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, GABRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, HERNAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, IRIS L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, JOSE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, LILLIAM M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, LUZ N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, MARIA DE LOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, MARIE C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, MARIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, MAYRA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, MAYRA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, MELISSA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, NEYSSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, NEYSSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, RITA A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ORTIZ, SANDRA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OSORIO, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OSORIO, HELEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6366 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1367 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS OSORIO, MAGDALIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OSORIO, OFELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OSORIO, YASMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OSORIO, YASMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OTERO, CHRISTIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OTERO, MARIA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OTERO, NATIVIDAD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OTERO, PETRIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OTERO, PETRIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OTERO, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OTERO, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OTERO, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS OTERO, ZAYDA LUZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PABON, DIEGO L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PABON, MIREYZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PACHECO, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PACHECO, LEONOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PACHECO, MIGDALIA Y.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PADILLA, DWAYNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PADILLA, LUZ P.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PADILLA, LUZ P.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PADILLA, YARA LEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PADILLA, ZAHAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PADILLA, ZAHAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PAGAN, ALBERT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PAGAN, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PAGAN, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PAGAN, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PAGAN, GISEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PAGAN, JUAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PAGAN, LINETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PAGAN, LUZ D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PAGAN, MARISEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PAGAN, MARISEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PAGAN, RADAMES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PAGAN, RADAMES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PANTOJA, OLGA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PANTOJA, ROSALINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PASTRANA, ELSON A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PASTRANA, GLENNYS M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEDRAZA, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEDRAZA, SANDRA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEDRAZA, WILLIAM E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEDROSA, VALERIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PENA, ILEANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PENA, ILEANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PENA, RAMONA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, ANABELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6367 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1368 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS PEREZ, ANABELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, ANEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, ARMANDO M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, CARMEN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, DOLORES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, EDNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, FELIPA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, HECTOR A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, IRAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, JEANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, MARICELI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, MARICELI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, MARINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, MILCA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, MIRNA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, VIVIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, YARILIX M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEREZ, ZAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEROCIER, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PEROCIER, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PICO, ANA R.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PIMENTEL, JOANIC Y.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PINET, ILIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PINET, VIVIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PINET, VIVIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PINET, VIVIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PINOL, SANDRA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PIRELA, YISELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PIZARRO, FREDESWINDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PIZARRO, JOSE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PIZARRO, JUAN CARLOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PIZARRO, LEILANI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PLANAS, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS POLLOCK, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PORTALATIN, ASTERIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PORTALATIN, MARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS PORTALATIN, MARIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS QUILES, DOLLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS QUILES, EMMA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS QUILES, EMMA R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS QUINONES, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS QUINONES, LISA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6368 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1369 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS QUINONES, MADELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS QUINONEZ, CASIMIRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS QUIROS, DENNIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS QUIROS, OCTAVIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS QUIROS, OCTAVIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS QUIROS, OCTAVIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RAMIREZ DE ARELLANO,     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
JUAN G
SANTOS RAMIREZ, ADALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMIREZ, BLANCA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMIREZ, BLANCA C        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMIREZ, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMIREZ, CARMEN T        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMIREZ, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMIREZ, JUAN G.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMIREZ, LUIS E          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMIREZ, LUZ A           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMIREZ, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMIREZ, WANDA L         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMIREZ, ZULAINELE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, ANABELLE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, ANABELLE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, ANETXY            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, ANETXY            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, ANGELM            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, DAMARIS E         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, DAMARIS E.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, EDUARDO L         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, FRANCISCA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, INET              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, IRIS N            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, JENNIFER          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, LORENA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, LORENA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, LUISA M           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, MARIA J           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, MARIA V           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, NICOLAS           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RAMOS, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS REMIGIO, HECTOR G.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RENTA, SHEILA M.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS RENTAS, RUBEN A.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS REQUENA, GRETCHEN V.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS REYES, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS REYES, CYNTHIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS REYES, ELUPINA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SANTOS REYES, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6369 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1370 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS REYES, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS REYES, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS REYES, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS REYES, SOLMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS REYES, SYLVIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIOS, AMAURY E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIOS, AMAURY E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIOS, ANGEL R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIOS, CECILIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIOS, CECILIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIOS, DELISA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIOS, ELSIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIOS, ELSIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIOS, HUMBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIOS, IVONNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIOS, MARIA S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIOS, YEMARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVAS, SYLVIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, ANA DELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, ANA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, ANEUDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, ANGEL L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, ANGEL RODOLFO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, BARBARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, BLANCA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, CARLOS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, CARMEN B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, CARMEN D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, CARMEN O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, CARMEN O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, CHARITIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, CHARITIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, CHRISTIAN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, CIRILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, DORA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, DRICO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, EDDIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, EDDIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, EDDIE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, EDGAR J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, EDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, EDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6370 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1371 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS RIVERA, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, ELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, ENELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, ESTERVINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, EUDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, FABIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, FRANKIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, FREDDIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, GERALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, GISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, GRISELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, HILDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, ILEANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, ISABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, JEAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, JELITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, JESUS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, JIMMY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, JORGE D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, JUAN DE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, JUAN O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, JUAN O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, LAURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, LEX R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, LIGIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, LUZ E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, MARIA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, MARIELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, MAYRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, MICHELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, MIRTHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, MIRTHA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6371 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1372 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS RIVERA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, NEFTALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, NEFTALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, NEFTALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, NILDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, NILSA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, NORMA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, PEDRO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, RAIZA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, RAMONA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, ROGELIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, ROSITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, SOCORRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, VICMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, VIRGEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, VIRGEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, VIVIAN I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, WILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, YAMIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, YAMIRA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RIVERA, YAMIRA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROBLES, ANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROBLES, CARLOS RAFAEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROBLES, CYNDIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROBLES, GERTRUDIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROBLES, GLADYS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROBLES, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROBLES, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROBLES, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROBLES, VICTORIA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROBLES, VILMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROCHE, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROCHE, ESTEBAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, ADA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, ADALBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, ALEX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, ALEX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, ALEX X        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, ALEXANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, ALEXANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, ANA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, ANDREA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, ANDREA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, ANNELI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6372 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1373 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS RODRIGUEZ, ANNELI M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, ARIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, ARLENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, ARLENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, BERNARDINO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, CARLOS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, CHRISTIAN O   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, CRISTIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, DIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, DIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, DIANEL R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, FROILO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, GLORIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, HARRY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, HECTOR L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, HERIBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JANDUAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JOMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JOMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JOMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JONATHAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JORGE J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JORGE J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JOSE R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JOSE W        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JOSEPH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JOSMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, JUAN O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, KRIZIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, LUIS F.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, LUIS J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, LUIS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, LUISA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, LUISA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, LULMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, MABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, MAGDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RODRIGUEZ, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6373 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1374 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS RODRIGUEZ, MARIA D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, MARIA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, MARIA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, MARIA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, MARIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, MARIE E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, MARILIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, MERY I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, MERY I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, MIRIAM H      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, MYRNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, NILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, NORMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, NORMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, REINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, ROSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, SANDRA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, VERONICA A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, VICTOR M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, VIVIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, WILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, WILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, WILNELIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, YANIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, ZULEMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIGUEZ, ZULMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS RODRIQUEZ, ISABEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROJAS, CHARLIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROJAS, FELICIANO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROJAS, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROLDAN, DALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROLDAN, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROLON, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROLON, EVELYN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROLON, IDALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROLON, IRMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROLON, LOURDES R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROLON, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROLON, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROLON, MILITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROLON, NANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROLON, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROMAN, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROMAN, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SANTOS ROMAN, TAMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6374 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1375 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SANTOS ROMANO, OLGA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROMERO, CELINA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROMERO, LISANDRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROMERO, LISBETH           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROMERO, VICTOR M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROQUE, CRUZ MILAGROS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSA, MELVIN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSA, MIGDALIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSA, MILDRED             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSA, MILDRED             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, ADA I.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, ALEXIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, ANA L             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, ANGEL M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, AWILDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, CARMEN J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, FREMIOT           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, FREMIOT           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, GLORIA ESTELLE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, ISMAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, JESUS O.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, JOAN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, JOAN A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, JOAN A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, JOSE A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, JOSE DANIEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, JOSE R.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, KATHYA L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, ORLANDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, ORLANDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, RAUL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, SAMALLIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSADO, TERESA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSARIO, ADA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSARIO, ALEIDY LIMARYS   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSARIO, ANTONIO E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSARIO, CARLOS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSARIO, CARLOS A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSARIO, CARMEN M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSARIO, FERNANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSARIO, FERNANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSARIO, HARRY C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSARIO, JACKELINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSARIO, JACKELINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSARIO, JOHANNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSARIO, LUZ E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSARIO, LUZ M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSARIO, ORLANDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ROSARIO, VICTOR A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6375 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1376 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS RUBERO, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RUBIO, YADIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RUIZ, ANNETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RUIZ, DAMARRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RUIZ, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS RUIZ, SONIA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SAEZ, ADA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SAEZ, CARMEN G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SAEZ, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SAEZ, WILSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SAINTKITTS, JOSE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SALGADO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SALGADO, ROSA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SALINAS, INGRID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SALINAS, INGRID M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, ADALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, ELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, ENALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, ERIC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, HEIDI A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, JORGE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, MELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, SANERY D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, TAINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, ZILDALEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANCHEZ, ZILDALEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANJURJO, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTANA, ELIHU           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTANA, ERIKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTANA, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTANA, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTANA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTANA, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTI, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTI, ANA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, ALEXI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, BLANCA R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, CELINAYDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, DOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, FREDDIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, FREDDIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6376 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1377 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS SANTIAGO, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, JIMMY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, JUSTO A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, KEILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, KEILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, LOYDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, LOYDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, MARIA DE J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, MARIDELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, MARIELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, MARITSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, MARITSA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, MERARI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, NYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, RUTH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, RUTH M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, VIVIAN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, WANDA G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, WILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, YAITZA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, ZAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTIAGO, ZAIRA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTORI, GINETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTORI, GYNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTORI, SYLVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, EDNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, IRIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, JOSE N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, JUAN CARLOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, MARIA DE J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, MARYSELLY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, MARYSELLY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, PROVIDENCIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, SARAH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6377 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1378 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS SANTOS, SYDIA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, WILMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANTOS, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SANYIAGO, ESMIRNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SAURI, NORBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SEGARRA, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SEPULVEDA, ALBIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SEPULVEDA, MARIO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SEPULVEDA, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SERRANO, JAZMIN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SERRANO, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SERRANO, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SERRANO, NILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SERRANO, ROSARIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SEVERINO, GILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SIERRA, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SIERRA, ANA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SIERRA, DALILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SIERRA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SIERRA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SIERRA, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SIERRA, FELIX T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SIERRA, LUCIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SIERRA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SIERRA, MARIA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SIERRA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SILVA, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SILVA, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SILVA, REBECA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SOLTERO, MICHAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SOTO, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SOTO, CARMEN P           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SOTO, LUIS F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SOTO, MARIELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SOTO, MARYLUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SOTO, NOELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SOTO, NORMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SOTO, NYLKIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SOTO, NYLKIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SOTOMAYOR, CARMEN N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SUAREZ, ALEXANDER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SUGRANEZ, ANA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS SUGRANEZ, LUIS E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TANTAO, VICENTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TARDY, JACQUELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TAVAREZ, JOSE I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TEJEDA, RAFAELITO B.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TIRADO, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TOLEDO, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6378 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1379 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS TORO, HECTOR E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, ALMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, ANGELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, AWILDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, BELLODGIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, BENITO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, CLAUDIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, DOLORES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, EMMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, GRACE MARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, IDANIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, JOHAN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, JUARLEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, LUZ L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, MARIA DEL CARMEN REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, MILDRED I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, NESTOR ADRIAN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, ROSA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, SAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, SONIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, YADIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TORRES, ZULMA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TOUSET, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TOUSET, MYRIAM W         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TOUSET, ROBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TRINIDAD, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TURULL, ALEJITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS TURULL, JOSEFA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS URLA, EDGAR H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VALCARCEL, MAGALY E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6379 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1380 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS VALCARCEL, MAGALY E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VALCARCEL, MARILYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VALENTIN, ALICE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VALENTIN, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VALENTIN, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VALENTIN, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VALLE, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VALLELLANE, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VARGAS, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VARGAS, BRENDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VARGAS, LOYDA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VARGAS, MARIA DE LOS A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VARGAS, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VARGAS, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VARGAS, XIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VARGAS, YAMILET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VARGAS, YAMILET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VASALLO, MARIA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, ANGELICA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, CARLOS L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, CARMEN Z        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, FELICITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, FELICITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, FERDINAND       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, HILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, KAREN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, LILVET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, LUIS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, MELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, OLGA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, PAOLA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VAZQUEZ, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VEGA, CARMEN T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VEGA, CARMEN T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VEGA, CHARMAINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VEGA, LEMUER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VEGA, MARIA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6380 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1381 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS VEGA, ROBERT             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VEGA, YETSENIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELAZQUEZ, BLANCA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELAZQUEZ, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELAZQUEZ, JAHDIEL N     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELAZQUEZ, JULIA A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELAZQUEZ, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELAZQUEZ, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELAZQUEZ, MILAGROS J.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELAZQUEZ, NYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELAZQUEZ, SYLKIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELAZQUEZ, VANESSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELAZQUEZ, WILKINS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELAZQUEZ, WILKINS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, ANIBAL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, BETTY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, ILIA H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, IVONNE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, KASSANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, LUZ D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, MARIA TERESA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, MERCEDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, MILVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, OTILIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, ROSAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, SHEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, SHEILA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VELEZ, TEDDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VIDOT, BARBARA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VIDOT, LUIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS VILLOCH, GARMARET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS WILLIAMS, EILEEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS WILLIAMS, EILENN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ZAYAS, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ZAYAS, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ZAYAS, MILKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ZAYAS, MILKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ZAYAS, MILKA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ZAYAS, OLGA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS ZORRILLA, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, CARMEN M.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, ENCARNACION             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, ENEIDA L.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6381 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1382 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SANTOS, FELIX                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, HECTOR LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, ILEANA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, JORGE                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, JOSE L                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, LIZAIDA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, LUIS A.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, LUZ E                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, MARIA DEL C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, MARISOL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, MARTIN                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, PEDRO                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, PEDRO L                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, WILDA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS, ZULEIKA E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS,MIGUEL                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS,WILLIAM E                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOSGARCIA, ANGELICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOS‐RIVERA, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOSRIVERA, WANDA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOSSANTIAG, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTOSTORRES, JULIO R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTQS FEBRES, GLORIAMARIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTS, LUIS                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTSANTIAGO, YORDANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTTIAGO VALENTIN, ZULEIKA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTUCHE ALICEA, CAROLEEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTUCHE PEREZ, MARELIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTUCHE PEREZ, SONIA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTUCHE RODRIGUEZ, BRUNILDA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANTUCHE RODRIGUEZ, NOEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANYET DE CRUZ, EDDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANYET MORALES, CINDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANYET MORALES, CINDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANYET PEREZ, ALFRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANYET RIVERA, JOHANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANYET SILVA, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANYET SILVA, JOSE I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANZ CORDERO, NILSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANZ HERNANDES, SORNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANZ JOVE, MARLA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANZ JOVE, MARLA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANZ MARTINEZ, MARIA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANZ MARTINEZ, PATRICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANZ PAMPLONA, MARINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANZ SOTOMAYOR, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANZ SOTOMAYOR, SONIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANZ SUAREZ, GLENDA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SANZ,ANIBAL                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6382 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1383 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SAPIA MENDEZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAPIA OQUENDO, MERCEDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAPIA, MIGUEL                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAPOTKIN DE LEON, DOLLY N.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAPUTELLI BARRIOS, ADRIANA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARA RASHID, NASIMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARAZEN TRISTANI, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARDEN CORDOVA, SUDHEYDIE K     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARDINA HERNANDEZ, MYRNA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARDINA ORTIZ, DANELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARDINAS ARENAS, AMELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARIEGO PANTOJA, AILEEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARIEGO PASCUAL, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARIOL RODRIGUEZ, GLENN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARKIS DE LA CRUZ, YASMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARKIS DE LA CRUZ, YASMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARKIS SANTIAGO, YASIM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARMIENTO ALVAREZ, MARILIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARMIENTO ALVAREZ, MARILYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARMIENTO QUIROA, GENOVEVA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARMIENTO QUIROA, GENOVEVA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ESPERANZA
SARMIENTO RULLAN, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARMIENTO RULLAN, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARMIENTO RULLAN, CARLOS A      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARMIENTO VELEZ, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARMIENTO, MIRTHA               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARMIENTO, MIRTHA               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRAGA AQUINO, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRAGA BELTRAN, HECTOR R       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRAGA HERNANDEZ, RAFAEL A     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRAGA LOPEZ, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRAGA OYOLA, VANESSA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRAGA PLANELL, MARIA G        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRAGA PLANELL, SORAYA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRAGA PLANELL, ZORAYA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRAGA RAMIREZ, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRAGA RAMIREZ, PEDRO J        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRAGA RIVERA, ALEYDA M        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRAGA RIVERA, MAGALI          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRAGA RIVERA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRAGA VELAZQUEZ, GLORIA E     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRANO CAMACHO, DINORAH        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRIA MORALES, CARLOS L.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRIA SEVILLA, MARIA I.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRIAGA RIOS, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRIERA APONTE, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRIERA GUZMAN, MELISSA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SARRIERA LAZARO, GERARDO R.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6383 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1384 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SARRIERA ROMAN, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SARRIERA RUIZ, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASSO BARRETO, ISAMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE ARMAIZ, BLANCA R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE BURGOS, NILDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE CEPEDA, FLOR M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE CINTRON, BRENDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE DE LA PENA, GLADYS C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE DROZ, MIRNA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE FERNANDEZ, PABLO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE LOPEZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE MARRERO, WANDA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE MARTINEZ, VILMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE NEGRON, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE RIVERA, ORLANDO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE SANCHEZ, CARMELO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE SANTOS, YASHIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE SUAREZ, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE VELAZQUEZ, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRE VELAZQUEZ, ROBERTO L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SASTRECRUZ, YAMIR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SATIRICHE GONZALEZ, SANDRA I.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SATISTEBAN FIGUEROA, FERNANDO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SATISTEBAN PADRO, CAROLINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SATOS ORTIZ,MIGUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAULEDA PALMER, ADRIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAUNDERS OJEDA, RANDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAUNDERS TORRES, LUIS G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI CARDONA, BLANCA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI CORTES, IBRAHIM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI CRUZ, ELMERJ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI GARCIA, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI GONZALEZ, ARLENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI MARTINEZ, FRANCES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI ORTEGA, IRENE EMILIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI ORTEGA, REBECCA C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI OSORIO, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI OSORIO, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI RAMIREZ, DIANE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI RIVERA, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI RIVERA, WILLIAM C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI RIVERA, WILLIAM C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI SANTIAGO, HERIBERTO N.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI SANTIAGO, LEONARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI VAZQUEZ, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI VELAZQUEZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI VELAZQUEZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI VENEGAS, OSCAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SAURI, ELMER                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6384 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1385 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SAUVETERRE FIGUEROA, WILLIAM R   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAVARY LEGUILLOW, CONNIE J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAVIGNON ALVAREZ, CATALINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAVINIVICH FERNANDEZ, JORGE M.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAVINOVICH DIAZ, JORGE M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAWARD CALVANO, ISABEL M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAYAN OQUENDO, ALVARO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAYAN RESTO, ADALIZ              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAYAN RESTO, SANDRA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAYAN RESTO, SANDRA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAYANS SALCEDO, ANA V            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAYENGA PAGAN, CYNTHIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SAYERS MALDONADO, ANTONEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCARANO COLON, JAIME             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHARON CRUZ, ANGEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHARON CRUZ, LUIS A             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHARON LATORRES, GLADYS M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHARON PENA, ELOY               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHARRON MIRANDA, JOSE R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHELLEKENS, JOHANNES            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHELMETTY CORDERO, AGAPITO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHELMETTY MONTES, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHELMETTY MONTES, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHELMETTY MONTES, DAMARIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHELMETTY TORRES, GLORY L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHELMETY GOITIA, MARIBELLE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHELMETY JIMENEZ, ROSEMARY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHERRER CAILLET‐BOIS, HEIDI     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHETTINI GUTIERREZ, FRANCISCO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHETTINI GUTIERREZ, INGRID M.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHETTINNI, HENRY                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHINDLER, KEVIN A               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHMIDT DAVILA, CARMEN H         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHMIDT DAVILA, HORACIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHMIDT FIGUEROA, HORACIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHMIDT FIGUEROA, HORACIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHMIDT FLORES, CAROLINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHMIDT MARRERO, DALEYSHA Y      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHMIDT MORALES, WENDY L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHMIDT RAMOS, EVELYN L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHMIDT RIVERA, IRIS E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHMIDT RUIZ, MARGARITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHMIDT SANTIAGO, ROSA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHMIDT VELAZQUEZ, NORMA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHMIDT VELAZQUEZ, RAMON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHMITH, ASTRID                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHRODER DE LEON, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SCHROEDER RIVERA, MARIA M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED




                                                                                                                                                                PAGE 6385 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1386 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SCHUMACHER OLIVO, LA TISHA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELENE
SCHUMACKER ROBLES, KEISHLA M     REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCHURRER LLANIS, MICHELLE M      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCHUTZ TIRADO, ENRIQUE           REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCHWABE RIVERA, SANDRA           REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCHWARTZ ARROYO, RICHARD L       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCHWARZ MIR, RAUL                REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCHWARZ NORTON, CYNTHIA          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCIERRA MARQUEZ, HILDA C.        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCIMECA SPITALE, BETTY A         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCLANK RODRIGUEZ, VIVIAN S       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCOGNAMIGLIO ORTIZ, GIANCARLO    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCORZO SAN ROMAN, OSCAR          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCOTT AMY, EUGENE P.             REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCOTT GONZALEZ, DEBORAH          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCOTT MILLAN, KEILA A            REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCOTT SANCHEZ, JUDITH            REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCULL MATIZ, MARIA D             REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SCURATI VILLAMOR, DANIEL A       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEARY CONDE, ZILHA               REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEARY CRUZ, LIZ I                REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEARY DIAZ, PABLO J              REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEARY ORTIZ, MARISOL             REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEAZ MALDONADO, EVANNIE O        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEBASTIAN BONILLA, WENNY         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEBASTIAN BRINDLE, BENJAMIN      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEBASTIAN CARABALLO, CHRISTOPHER REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

SEBASTIAN ESTEBAN, DANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEBASTIAN GONZALEZ, ADALEE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEBASTIAN IRIZARRY, OMAYRA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEBASTIAN LOPEZ, BENJAMIN E     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEBASTIAN MUNIZ, FREDERICK T    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEBASTIAN PEREZ, MICHAEL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEBASTIAN PEREZ, NAELYK         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEBASTIAN SANTIAGO, RICHARD     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEBATER PABEY, JUSTA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA CHAVES, MARIA DEL CARMEN   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA ACOSTA, CARMEN T           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA ACOSTA, SONIA E            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA ALMODOVAR, ALBA N          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA ALMODOVAR, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA ARCE, JUANITA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA ASTASIO, MARINA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA AVILES, HARRY              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA AVILES, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA AYALA, MILDRED I.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA CAPESTANY, WANDA I.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6386 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1387 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SEDA CAPESTANY, WILMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA CAPESTAY, WILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA CARABALLO, KAYLA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA CARABALLO, RICARDO L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA CARDONA, GLADYS E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA CARDONA, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA CHAVES, MARIA DEL C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA COLLADO, BETSIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA COLLADO, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA COLON, ARNALDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA COLON, DANNY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA COLON, JOEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA COLON, JOEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA COLONDRES, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
BENJAMIN
SEDA CRUZ, LUZ E                REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA CRUZ, WANDA                REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA DAVILA, ENRIQUE            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA DE RIVERA, ARACELIS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA DELGADO, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA DELGADO, JAVIER E          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA DELGADO, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA DIAZ, ENRIQUE              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA DIAZ, JOEL J.              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA DIAZ, ROBERT               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA ECHEVARRIA, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA ECHEVARRIA, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA FELICIANO, IRMA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA FERRE R, BRENDA I          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA FIGUEROA, KATHIA M.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA FIGUEROA, LUIS O           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA FORODONA, YAMILETTE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA GAZTAMBIDE, SONIA M.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA GONZALEZ, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA GONZALEZ, JOEL E           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA GONZALEZ, JOEL E           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA GONZALEZ, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA GRACIA, MARLYN             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA GUTIERREZ, CESAR LUIS      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA GUTIERREZ, LUIS D.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA IRIZARRY, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA IRIZARRY, MIGUELINA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA IRIZARRY, ROSARIO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA JIMENEZ, ANA C.            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA JUSTINIANO, GABRIELA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA KALIL, IVELISSE T          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA KALIL, MILTON A            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA LOPEZ, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEDA LOPEZ, KIMBERLY            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6387 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1388 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SEDA LOPEZ, MARIA DEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA LOPEZ, VERONICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA LOPEZ, VERONICA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA LOURIDO, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA LUCIANO, AIDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA LUGO, ENRIQUE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA LUGO, RAY R                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA LUGO, ROMAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA LUGO, ROMAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MARTINEZ, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MARTINEZ, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MARTINEZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MARTINEZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MARTINEZ, LESVIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MARTINEZ, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MARTINEZ, TRISTIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MATOS, ISABEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MATOS, MILTON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MATOS, VERONICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MATTEI, ADRIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MATTEI, ISABEL B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MEDINA, EDGARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MELENDEZ, DANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MELENDEZ, FLERIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MERCADO, ALICE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MERCADO, ALICE N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MERCADO, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MIRANDA, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MIRANDA, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA MORALES, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA NAZARIO, SANTOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA NEGRON, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA NIEVES, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA NIEVES, ALEXANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA NIEVES, ALEXSANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA NIEVES, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA OLMO, NORBERT J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA ORONA, JOEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA ORTIZ, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA ORTIZ, TAMARA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA PABON, CHRISTOPHER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA PABON, LAIZA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA PABON, LAIZA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA PABON, STACY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA PADILLA, YASMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA PADILLA, YASMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA PAGAN, AMERICO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA PAGAN, ANIBAL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA PAGAN, IDA R               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6388 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1389 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SEDA PAGAN, MARTA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA PAGAN, MATHEAW             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA PAGAN, MATHEAW             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA PEREAZ, FERNANDO K         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA PEREZ, BUENAVENTURA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA PEREZ, GERMAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA QUINONES, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA QUINONES, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA QUINTERO, IRMA SOCORRO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RAMIREZ, ALBA N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RAMOS, EVYN K.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RAMOS, VYNKA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA REYES, MARIELYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RIOS, BENIGNO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RIVERA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RIVERA, CARMEN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RIVERA, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RIVERA, MARTHA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RIVERA, MYRNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RIVERA, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RODRIGUEZ, ARQUIMEDES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RODRIGUEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RODRIGUEZ, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RODRIGUEZ, GLORIA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RODRIGUEZ, HAYDEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RODRIGUEZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RODRIGUEZ, JAFFET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RODRIGUEZ, JAFFET M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RODRIGUEZ, JORGE N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RODRIGUEZ, JOSE O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RODRIGUEZ, MILTON L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RODRIGUEZ, NANCY A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RODRIGUEZ, NILZE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA ROMAN, VICTOR M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA ROMERO, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA ROMERO, CARMEN L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA ROMERO, YASMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA ROMERO, YASMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA ROSADO, RODOLFO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA ROSARIO, ASHIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RUIZ, ANGEL L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RUIZ, GRISCA D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA RUIZ, LEOPOLDO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SANCHEZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SANCHEZ, TAMARALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SANTANA, VICTOR H.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SANTIAGO, MARIA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SANTINI, ANGEL S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SEDA, ANGELA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6389 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1390 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SEDA SEDA, ELIZABETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SEDA, ELIZABETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SEDA, FRANCES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SEDA, JORGE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SEDA, LIZZETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SEDA, NELLY M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SEDA, NORMA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SEPULVEDA, ESMERALDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SIERRA, MARITZA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SOTO, AIDA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SOTO, AIDA I               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA SOTO, AIDA I               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA TORO, JAYSON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA TORO, WALDEMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA TORRES, OMAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA TROCHE, MARLINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA VALENTIN, RONNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA VARGAS, ANGELA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA VARGAS, EDGAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA VARGAS, EMMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA VARGAS, MARIELI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA VARGAS, MIGDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA VARGAS, OLGA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA VARGAS, REINA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA VASSALLO, WILSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA VEGA, EDISON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA VEGA, JOSE A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA VEGA, NANCY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA VELAZQUEZ, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA VELEZ, ILIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA, AIDA                      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA, BENIGNO                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA, JASMIN                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDA, JASMIN                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDAFERRER, MARIANO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDAN TORRES, BELINDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDANO BELTRAN, CAROLINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEDERSTROM, ERIK                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARA RODRIGUEZ, SAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ACEVEDO, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ALICEA, JUDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ALONSO, GALO BENJAMIN   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ALONSO, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ALVARADO, CARMEN I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ALVAREZ, ELDA A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ALVAREZ, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ALVAREZ, VILMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA APONTE, NITZA JOELLY    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA APONTE, SANDRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6390 OF 7285
SCHEDULE E
                                    Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                 Desc:
AS REPRESENTATIVE OF                                       Schedule E3 Page 1391 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                    UNLIQUIDATED
                                                                                                                       CONTINGENT


                                                                                                                                                   DISPUTED
CREDITOR                            ADDRESS 1                  ADDRESS 2   ADDRESS 3       CITY       STATE ZIP CODE                                               AMOUNT
SEGARRA ARROYO, ADELAIDA            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ARROYO, LYMARI              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ARROYO, MARILYN             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ARROYO, MARILYN             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA AVILES, FERNANDO            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA BAEZ, IVAN                  REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA BARRIERA, JUAN L            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA BARRIERA, ZAMAIRA M         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA BARRIERA, ZAMAIRA M         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA BASSAT, IRIS I              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA BORGES, MAYRA               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA BORRERO, LUIS               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA BOSQUES, CARMEN N           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA BRACERO, CARMEN E           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA BURGOS, SENEN               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CALZADA, MAGDA E.           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CAMACHO, AMED               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CAMARENO, JULIO B.          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CANCEL, BLANCA E            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CARABALLO, HECTOR           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CARDONA, DARIEN V.          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CARDOZA, EDWIN              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CARRERO, CARLOS A.          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CARRERO, CARLOS A.          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CARRERO, HUMBERTO           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA COLLADO, JOSE A             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA COLLADO, JOSE HIRAM         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA COLLADO, SANDRA             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA COLLADO, SANDRA L           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA COLON, SANDRA               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CORDERO, YANITZA L          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CORDERO, YANITZA L          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CORREA, AXEL D              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CORTES, FRANCES IVELLISSE   REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CRUZ, CARMEN C              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CRUZ, ELIS V                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CRUZ, IVETTE                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CRUZ, MARIA T               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CRUZ, RAMON L               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CRUZ, RUTH S                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA CUEVAS, MIRTA               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA DE NEGRON, ESTELA           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA DE SMITH, MARTHA L          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA DELEON, MARIA I.            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA DIAZ, IVETTE                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA DIAZ, ZUSSETTE              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ESPINAR, XIOMARA            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ESQUIVEL, GIL               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA FELICIANO, MARIA            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                   PAGE 6391 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1392 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SEGARRA FELICIANO, RAMON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA FELICIANO, RAMON L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA FERRER, DELMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA FIGUEROA, NIDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA FLORES, ISRAEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA FLORES, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA FLORES, NAYIP           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA FLORES, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA FLORES, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA GALARZA, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA GALARZA, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA GALARZA, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA GARCIA, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA GARCIA, DAISY E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA GARCIA, ERVIN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA GARCIA, HERMINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA GARCIA, VICENTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA GARCIA, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA GARCIA, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA GONZALEZ, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA GONZALEZ, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA GONZALEZ, JOSE V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA GONZALEZ, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA GONZALEZ, SANDRA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA GUADALUPE, MILAGROS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA HERNANDEZ, JAIME J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA HERNANSAIZ, VICTOR R    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA HERNANSAIZ, VICTOR R    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA JIMENEZ, CELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA JOVE, DALIA G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA LABOY, LINET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA LARACUENTE, MARLYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA LOPEZ, MAYRA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA LOZADA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA LUCENA, JOSUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA LUGO, OLGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA LUGO, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA LUGO, YRAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MALDONADO, JAVIER N.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MALDONADO, JOSE E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MALDONADO, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MALDONADO, MARIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MALDONADO, MILDRED Y    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MALDONADO, SULLYAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MARTINEZ, ALFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MARTINEZ, ANGEL D.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MARTINEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MARTINEZ, JUAN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MATOS, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1393 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SEGARRA MATOS, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MERCADO, WALESKA Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MIRANDA, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MIRANDA, JOSE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MIRANDA, NORBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MORALES, NADINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MORALES, NADINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MORALES, ROSA J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MORENO, LYNDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MORRO, ANABELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MOYA, SANTOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA MUNIZ, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA NAVARRO, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA NAVARRO, MARIA S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA NEGRON, DOMINGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA NEGRON, JIM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA NEGRON, JIM C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA NEGRON, JINNYVETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA OLIVENCIA, JUANITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA OLIVENCIA, LUISA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA OLIVERA, JUAN C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA OLIVERO, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA OQUENDO, PABLO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ORTIZ, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ORTIZ, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ORTIZ, LYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ORTIZ, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ORTIZ, NYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ORTIZ, RICHARD D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ORTIZ, SILVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ORTIZ, SILVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ORTIZ, TAISHA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA PACHECO, DAMARYS R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA PACHECO, YANITZA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA PAGAN, IRIS N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA PAGAN, LUIS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA PAGAN, NICOLAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA PAGAN, ROSA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA PANCORBO, MILTON E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA PEREZ, CORALY M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA PEREZ, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA PEREZ, JOSE E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA PEREZ, MIRIAM A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA PEREZ, RIGOBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA PEREZ, RIGOBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA PI, DIANA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA PI, DIANA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA PLAZA, VICENTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA POSTIGO, JOSE N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6393 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1394 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SEGARRA POUNDS, STEPHANIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA QUIJANO, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA QUILES, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA QUINONES, IRIS V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RAMOS, AWILDA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RAMOS, GADETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RAMOS, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RAMOS, ZACHAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RIOS, ABDIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RIOS, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RIOS, MERLESH E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RIOS, SONIBELL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RIOS, SONIBELL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RIVEA, IVELISSES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RIVERA, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RIVERA, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RIVERA, GLORILIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RIVERA, GLORILIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RIVERA, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RIVERA, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RIVERA, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RIVERA, LISA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RIVERA, RADAMIL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RIVERA, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RODRIGUEZ, ADA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RODRIGUEZ, ARIEL D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RODRIGUEZ, CARMEN N     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RODRIGUEZ, JULIO A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RODRIGUEZ, MARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RODRIGUEZ, MIRIAM T     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RODRIGUEZ, SAMUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA RODRIGUEZ, YERIKA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ROMAN, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ROMAN, ARQUIMIDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ROMAN, FRANCES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ROMAN, GREGORIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ROSA, JUANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA ROSARIO, DIALMA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA SANCHEZ, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA SANTIAGO, GLADYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA SANTIAGO, SULIAN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA SANTOS, ANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA SANTOS, ANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA SANTOS, ILIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA SEGARRA, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA SEGARRA, ORLANDO A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA SISAMON, JEAN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA SISAMON, JEANM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA SOTO, EDIVIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6394 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1395 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SEGARRA TIRADO, ROLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA TORO, KANY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA TORRES, AMANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA TORRES, AMAURY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA TORRES, EDNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA TORRES, IRIS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA TORRES, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA TORRES, JORGE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA TORRES, JORGE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA TORRES, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA TORRES, MORAIMA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA TURULL, ANA SOCORRO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA VALPAIS, JAMILETTE M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA VARGAS, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA VAZQUEZ, FERMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA VAZQUEZ, HUMBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA VAZQUEZ, MARITZA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA VAZQUEZ, SANDRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA VAZQUEZ, WILSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA VAZQUEZ, WILSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA VELAZQUEZ, ISRAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA VELEZ, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA VELEZ, OBDULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA VELEZ, RAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGARRA VERA, CARMEN P          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGOVIA CHICO, ANA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI ACEVEDO, JACKELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI ACEVEDO, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI ANGLERO, SHERRYL E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI AQUINO, JOSIE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI BABILONIA, MICHELLE I.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI BOISEEN, MIRTHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI CASALDUC, JAIME A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI CASANOVA, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI COLON, LUCRECIA G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI COLON, LUCRECIA G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI COLON, MARIA G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI CORCHADO, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI CORDERO, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI DEL POZO, GLORIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI DIAZ, IDAMIL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI DIAZ, JOSE A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI JIMENEZ, ARIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI JUARBE, SARA A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI JUARBE, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI LOPEZ, DIGNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI LOPEZ, EDWINA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI MARTINEZ, ABE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI MATOS, RAYMOND            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6395 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1396 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SEGUI MEDINA, NOMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI MEDINA, NOMARA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI MEDINA, NOMARA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI MONROIG, CLARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI MORALES, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI MORALES, YARISKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI MORALES, YARISKA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI MORALES, YELITZA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI NEGRON, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI ORAMAS, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI PEREZ, MYRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI REYES, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI RIOS, RAYMOND             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI RODRIGUEZ, FRANCISCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI RODRIGUEZ, FRANK          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI ROMAN, OCTAVIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI ROMAN, OMAIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI ROMAN, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI SEGUI, ELVIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI SEGUI, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI SEGUI, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI SERRANO, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI SERRANO, ROBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI SERRANO, ROBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI SERRANO, ROBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI SUAREZ, LINDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI TIRADO, ENID M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI VALENTIN, BRAULIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUI VALENTIN, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT ACEVEDO, BENJAMIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT ACEVEDO, PABLO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT ARROYO, NORBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT BORIA, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT CARIDE, RENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT DAVILA, PEDRO O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT DIAZ, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT DOMINGUEZ, ALBAMAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT FLORES, JEANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT GUZMAN, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT HERNANDEZ, RAQUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT MELENDEZ, DOMINGO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT MENDEZ, LAYSHA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT MENDEZ, SHAYLA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT PABON, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT PEREZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT QUINTANA, RICHIE D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT RAMOS, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT RAMOS, IRIS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT RIVERA, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6396 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1397 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SEGUINOT RODRIGUEZ, LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT RODRIGUEZ, LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT SALVAT, JANICE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT TORRES, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT TORRES, MARTA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT VELEZ, TATIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUINOT VICENTY, IVELISE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUIS MEDINA, ERIKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUIS MEDINA, EUGENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUIS, EUGENE                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUNDO GAETAN, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUNDO GAETAN, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUNDO GAETAN, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGUNDO GAETAN, VICTOR J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGURA CONTRERAS, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGURA MARQUEZ, INDIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGURA MARQUEZ, MIREYA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGURA NIEVES, JOSEFINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGURA NIEVES, JOSEFINA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEGURA PALACIOS, MERCEDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIFERT PEREZ, JANILLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIGLIE QUINONES, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIGLIE QUINONES, VANESSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO ARCHILLA, CARMEN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO GOMEZ, CARMEN D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO MARTINEZ, ANA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO ORTIZ, BERTHAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO ORTIZ, JENNY E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO RIVERA, EMILIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO RIVERA, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO RIVERA, SAMIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO RIVERA, WANDALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO RIVERA, WANDALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO RIVERA, WANDALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO ROSADO, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO ROSARIO, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO TORRES, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO VELAZQUEZ, VANESSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO VIDAL, MARIA DE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO VIDAL, ROSA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIJO, JOEL                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEILHAMER ANADON, DEBORA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEILHAMER ANADON, DENNIS L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEILHAMER RODRIGUEZ, LAWRENCE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN ACEVEDO, EDDIE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN ALVAREZ, JOSE I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN ALVAREZ, OMAR A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN APONTE, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN APONTE, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6397 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1398 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SEIN BRAVO, CARMEN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN CARDONA, JAVIER             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN CARTAGENA, LUIS K.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN CRUZ, JOCELYN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN EGIPCIACO, JOSE C           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN EGIPCIACO, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN FIGUEROA, BENJAMIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN FIGUEROA, JOHANNA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN GARCIA, EDWARD              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN GONZALEZ, VIRGINIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN GRAJALES, NOEMI             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN LOPEZ, JEFFREY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN LORENZO, ANA M              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN LORENZO, JOSE A.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN LUCENA, MARIA L.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN MELENDEZ, JOSUE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN MORALES, DILCIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN MORALES, DOHANIE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN MORALES, DOHANIE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN MORALES, MOISES             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN MORALES, YAMILITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN NAJERA, RICARDO J.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN PEREZ, HECTOR               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN RIVERA, MOISES              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN RUIZ, ISRAEL                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN TORRES, MARIA L             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEIN VEGA, LUIS                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEINO DE LA ROSA, AMARILYS D     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEISE GONZALEZ, MARGARITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEISE OCASIO, DARILYN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEISE RAMOS, DAISY               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEISE RAMOS, DAISY               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEISE RIBOT, SAMARY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEISE RUIZ, ALBA S               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEISE SANTIAGO, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEISE SEISE, OMARALY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEJUELA AMADOR, LUZ Y            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEJUINOT MEDINA, YOLANDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEKULITS SANTIAGO, NELLY MABEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SELLA MERCADO, ROSA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SELLAS APONTE, JOSE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SELLAS RODRIGUEZ, ERNESTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SELLAS VAZQUEZ, JESSICA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES CALDERIN, LILLIAN R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES CAPARROS, RACHAEL M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES GARCIA, MARIA S           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES GUERRINI, ARLENE DE L     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES GUZMAN, DAMARYS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES MARTINEZ, NOEMI           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6398 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1399 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SELLES MORALES, JAVIER F.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES NEGRON, ABIGAIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES ORTIZ, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES PRIETO, JOCELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES RIOS, CANDIDA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES RIOS, LUISA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES TORRES, JOSE E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES TORRES, TEHANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES TORRES, TEHANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES TORRES, YESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES VELAZQUEZ, INOCENCIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELLES VELAZQUEZ, YAZMIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELMAN FLORES, CRISTIE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELPA AYALA, ZAIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELPA GARAY, ABIGAIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELPA GARAY, ROSIENID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELPA GONZALEZ, ELIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELPA TORRES, GLORIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELVA CORREA, AIXA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELVA VARGAS, ROSARIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SELVA VARGAS, ROSARIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI CAMACHO, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI CAMACHO, FELIX A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI CAMACHO, FELIX A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI CAMACHO, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI CORDERO, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI CORDERO, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI DELGADO, LICIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI DELGADO, LILLIAM I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI FELICIANO, ALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI FELICIANO, MARIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI FRATICELLI, LORNA Y.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI IRIZARRY, MARIA C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI IRIZARRY, PAOLA N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI PORTELA, ANGEL JOSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI RIVERA, CONSUELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI RODRIGUEZ, TERESA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI ROLSHAUSEN, LILLIAM G   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI VAZQUEZ, NESTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI VELEZ, CANDIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI VELEZ, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEI VELEZ, JULIO C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY ALICEA, YAIRA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY AMADOR, MICHAEL R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY BURGOS, DORIEANN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY CASTILLO, FLORA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY CENTENO, HECTOR L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY DAVILA, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY DE JESUS, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6399 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1400 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SEMIDEY DELGADO, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY DESARDEN, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY DIAZ, MELSIE Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY DOMINGUEZ, SONESHKA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY IRIZARRY, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY IRIZARRY, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY LATORRE, LIZZETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY MARQUEZ, YARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY MARTINEZ, MOISES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY MATOS, SANTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY MEDINA, DIANELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY MEDINA, JAISSAR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY MONTANEZ, AWILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY MONTANEZ, BRENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMIDEY MONTANEZ, WANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
IVELISSE
SEMIDEY MORALES, BEATRIZ        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY ORTIZ, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY ORTIZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY ORTIZ, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY ORTIZ, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY ORTIZ, WANDA I          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY PAGAN, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY PAREDES, ANGELICA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY PEREZ, ANA M.           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY PEREZ, ANGELA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY PEREZ, ANGIM E          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY PEREZ, ARMANDO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY PINA, HILDA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY RAMOS, JOSE L.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY REYES, MERARI           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY REYES, PEDRO L.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY RIVERA, ELVIN           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY RIVERA, WILDEN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY ROBLES, HECTOR J.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY ROBLES, LYMARIE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY RODRIGUEZ, BRENDA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY RODRIGUEZ, DAMARY       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY RODRIGUEZ, LUZ E        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY RODRIGUEZ, YAZMIN       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY RODRIGUEZ, YAZMIN       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY SANTANA, KERMIT X       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY SANTIAGO, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY TORRES, JULIA A         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY VAZQUEZ, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY VELAZQUEZ, CARMEN S     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY VELAZQUEZ, MIRNA E      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY VELEZ, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEMIDEY VELEZ, RENE             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6400 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1401 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SEMIDEY, FERNANDO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMINARIO VEGA, ANGELA J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMPER RONDON, ROSSY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMPIT ARCE, SANTOS I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMPRIT MARQUEZ, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMPRIT MARQUEZ, VICTOR M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMPRIT NATER, CAROL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMPRIT RIVERA, JUAN LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEMS MOLINA, CRISTAL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENA PEREZ, CRISTINA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENA PEREZ, CRISTINA C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENA SUNCAR, KISSIS I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENDRAL RODRIGUEZ, DANIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENERIZ LONGO, CARLOS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENERIZ LONGO, KATIRIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENERIZ RIVERA, JULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENERIZ SOLANO, AMANDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENERIZ SOLANO, AMANDA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENERIZ SOLANO, FRANCISCO J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENERIZ VEGA, FRANCHESKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENERIZ VEGA, FRANK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENERIZ VEGA, FRANK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENQUIZ CRUZ, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENQUIZ CRUZ, YOMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENQUIZ ORTIZ, AIDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENQUIZ ORTIZ, ANGEL L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENQUIZ OYOLA, JUDITH M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SENQUIZ SOTO, CARLOS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEOANE MARTINEZ, ANIBAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ACEVEDO, ARNALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ACOSTA, FABIOLA A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ACOSTA, LURA DEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ACOSTA, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ACOSTA, RAFAEL J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ADORNO, LUZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ADORNO, REBECCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ALAMO, CRISTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ALANCASTRO, TERESA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ALBINO, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ALBORNOZ, ELIEZER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ALEMANY, NEREIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ALICEA, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ALMODOVAR, ALBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ALMODOVAR, RUBEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA AMARO, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ANGELVIN, ROBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ANGELVIN, ROBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA APONTE, ANTONIA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA APONTE, NITZA Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6401 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1402 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SEPULVEDA APONTE, OFELIA S       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA APONTE, SHEYLA N       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ARROLLO, MIREILY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ARROYO, ARNALDO J      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ARROYO, MIREILLE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ARROYO, MIREILLE V     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ARZOLA, ALMICILA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ARZOLA, GLADYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ARZOLA, NESTOR L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ARZOLA, NILDA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ARZOLA, ROSA A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ARZOLA, WILLIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA BARNECET, ALBERTO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA BARNECET, IDALE J      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA BARRETT, JORGE D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA BECERRIL, ROBERTO A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA BECERRIL,ROBE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA BENITEZ, RUTH M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA BOYRIE, ADRIANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA BOYRIE, REYNALDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CABASSA, CAROLYN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CABASSA, ELBA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CABASSA, ELBA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CABRERA, MAGALY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CAJIGAS, ARIEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CAMACHO, MAYRA Y       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CANCEL, CARMEN M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CANCELA, JULIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CARABALLO, JESICA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CARMONA, GEORGINA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CARMONA, JORGE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CARO, ODEMARYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CARRERO, AIMARA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CARRERO, JAIME         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CARRERO, JAIME N.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CARRERO, JESSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CARRION, ENID          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CASIANO, IRIS M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CASILLAS, MARILYN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CEPEDA, GILBERT        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CHAVIER, EDWIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CHAVIER, GRACE J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CHERVONY, YOMEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA COLON, BLANCA I.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA COLON, CARMEN L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA COLON, ELENA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA COLON, GLORIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA COLON, MILAGROS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA COLON, WILFREDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6402 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 1403 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
SEPULVEDA CORREA, ARACELIS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CORREA, ESTHER M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CORREA, HELGA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CORREA, HELGA M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CORREA, HELGA M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CRUZ, EDUARDO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CRUZ, NITZA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CUADRADO, GILEMI         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CUADRADO, GILEMI         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CUEVAS, ALEX X           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA CUEVAS, MARCOS           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA DAVILA, MARIA I          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA DAVILA, NILDA M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA DE JESUS, NAKIMA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA DE LA PAZ, AMARILIS C.   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA DELGADO, AIDA E          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA DURAN, ANA L             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ECHEVAR, MIGUEL A        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ECHEVARRIA, MYRNA M      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ESCRIBANO, ANA L         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ESCRIBANO, ANGELA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ESTRADA, JORGE E.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ESTREMERA, LUIS A        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ESTREMERA, ULISES        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA FELICIANO, EDWARD        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA FELICIANO, JESUS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA FERNANDEZ, MONICA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA FIGUEROA, MARGARITA      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA FIGUEROA, MARGARITA      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA FIGUEROA, MARGARITA      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA FLORES, JOMARY           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA FLORES, JOMARY           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA GALINDO, LEXCIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA GARCIA, DANIEL N         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA GARCIA, OLGA NOEMI       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA GONZAGUE, ARNALDO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA GONZALEZ, AUSBERTO       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA GONZALEZ, FELIX          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA GONZALEZ, ROLANDO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA GONZALEZ, YOLMARI        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA GUTIERREZ, JAIME L       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA GUTIERREZ, NYDIA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA GUZMAN, VIRGEN M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA HERNANDEZ, AWILDA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA HERNANDEZ, AWILDA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA HERNANDEZ, CARMEN M      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA HERNANDEZ, GLENDALY      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA HERNANDEZ, ISIS M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA HERNANDEZ, JESUS A.      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6403 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1404 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SEPULVEDA HERNANDEZ, MARILYN   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA HERNANDEZ, NELSON    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA HERNANDEZ, RAUL      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA HERNANDEZ, VIVIANA   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA HERNANDEZ, WILFREDO REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA HUERTAS, JACQUELINE  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA IRIZARRY, ADIN       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA IRIZARRY, ANGIE      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA IRIZARRY, JONATHAN L REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA IRIZARRY, JORGE      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA IRIZARRY, JUAN       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA IRIZARRY, JULIO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA IRIZARRY, LUIS J     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA IRIZARRY, MIGDALIA   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA JIMENEZ, TRINIDAD M  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LABOY, JOHANNA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LABOY, JOHANNA S     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LABOY, PAULINA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LARACUENTE, ADELIS   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LAVERGNE, JIMMY      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LAVERGNE, MICHAEL X. REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LEBRON, EMMA E       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LEBRON, EMMA E       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LEBRON, IRMA N       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LOPEZ, FRANCES       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LOPEZ, FRANCES M     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LOPEZ, QUITERIO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LOPEZ, SONIA A       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LOPEZ, WILMER        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LOZADA, ANTONIO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LOZADA, EVELYN       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LOZADA, JOSE I.      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LOZADA, VICTORIA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LUGO, BLANCA         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA LUGO, BRENDA J       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MALDONADO, CARLOS A. REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MALDONADO, CARMEN A REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MALDONADO, MARINA    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MANDIA, ROSA E       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MANDIA, ROSA E.      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MARTINEZ, ADAMARIS   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MARTINEZ, DORIS      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MARTINEZ, JOSE       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MARTINEZ, LUIS G     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MARTINEZ, MIRIAM     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MARTINEZ, VIVIAN     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MASS, MARTITA        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MATOS, FELICITA      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MATTEI, GUSTAVO A.   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6404 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1405 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SEPULVEDA MATTEY, JOHANNY I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MEDINA, ALEIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MEDINA, ALEIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MEDINA, ALEXIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MEDINA, FRANCISCA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MEDINA, IRMA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MEDINA, OLGA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MEDINA, PEDRO J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MELENDEZ, ANGEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MELENDEZ, GINET MARIE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MELENDEZ, JANN C        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MELENDEZ, JOHN D        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MELENDEZ, JUAN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MELENDEZ, MARIA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MELENDEZ, MARIA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MELENDEZ, MARILEN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MENDEZ, WALDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MERCADO, HENRY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MERCADO, RITA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MERCADO, YOLANDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MERCADO, YOLANDA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MERCED, ANA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MILAN, MAYRENID         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MOJICA, OTTO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MOLINA, ALEMI           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MOLINA, NYDIA L.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MONGE, LUIS A.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MONSERRATE, IRAIDA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MONTALVO, ANGEL A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MONTALVO, DAVID J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MONTALVO, GRISEL I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MONTES, ILIANA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MONTES, JORGE L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MORALE, SEBASTIAN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MORALES, AIXA I.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MORALES, FELICITA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MORALES, GUANINA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MORALES, GUANINA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MORALES, JOSEAN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MORALES, LEILA E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MORALES, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MORALES, MORAIMA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MORALES, PEDRO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MORALES, YALLMARIE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA MORENO, HANS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA NAVARRO, AIDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA NAVAS, ALICETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA NAZARIO, LIZETTE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA NAZARIO, MIRIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6405 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1406 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SEPULVEDA NAZARIO, ROSA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA NICHOLS, MARIA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA NIEVES, CARLOS M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA NIEVES, HERMINIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA NIEVES, RAMON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA OLIVENCIA, MIGUEL A    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ORTEGA, JUDITH         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ORTIZ, BETSY E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ORTIZ, GENOVEVA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ORTIZ, IVETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ORTIZ, JOAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ORTIZ, JUANITA ENID    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ORTIZ, LUZ E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ORTIZ, MARICARMEN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ORTIZ, SHARON M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA ORTIZ, WANDA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA OTERO, HECTOR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA OTERO, HECTOR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PACHECO, IRVING        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PACHECO, ISABEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PACHECO, JAIME         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PACHECO, KENNETH R     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PADILLA, GLORYMIL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PADILLA, LOURDES V     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PAGAN, MANUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PAGAN, NELLY J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PANETTO, ANGEL DE J.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PEDRAZA, MAIRIM E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PENA, ANGELY N         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PEREZ, AGUSTIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PEREZ, GLORIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PEREZ, MARIA A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PEREZ, MARISOL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PEREZ, SOFIA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PEREZ, SONIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PINEIRO, BARBARA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PINEIRO, BARBARA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PINTO, EVELYN M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA PRIETO, FRANCISCO J    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA QUINONES, ERIKA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA QUINONES, IRVING       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA QUINONES, JASON        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA QUINONES, MIRLA B.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA QUINONEZ, MIRLA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RAFFUCCI, JORGE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RAMIREZ, WILLIAM A     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RAMOS, ANA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RAMOS, ANA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RAMOS, CARLOS R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6406 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1407 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SEPULVEDA RAMOS, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RAMOS, CARMEN N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RAMOS, GUALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RAMOS, KEYLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RAMOS, MARCELINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RAMOS, NELMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RAMOS, NELMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RAMOS, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA REYES, DAISY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA REYES, DAISY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA REYES, JESUS W.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA REYES, JOSUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA REYES, MARIA DEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
CARMEN
SEPULVEDA REYES, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA REYES, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA REYES, STEVEN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA REYES, WILBERT        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA REYES, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIOS, JOHN EDWARD     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVAS, EDUVIGES       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVAS, VICTOR M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, CARMEN D      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, CARMEN N      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, CARMEN N.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, DIANA M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, ELBA N        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, EMIGDIO       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, EMIGDIO       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, EVANGELISTA   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, GEISON        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, GEISON        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, IRIS M        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, IVAN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, IVAN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, IVANSKA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, IVANSKA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, JOANY         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, MARIELLE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, MARILYN       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, MELISSA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, NELLY B       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RIVERA, RAFAEL E.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6407 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1408 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SEPULVEDA RIVERA, SONIA N        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RIVERA, VANESSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RIVERA, WILLIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, ALIDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, ALIDA M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, ANA A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, ANGELA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, BLANCA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, BLANCA I    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, ERVING      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, FRANCISCO A REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED

SEPULVEDA RODRIGUEZ, GERARDO     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, GLORIA M    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, IRIS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, IRIS N      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, JAVIER OMAR REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED

SEPULVEDA RODRIGUEZ, JUAN A.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, LUIS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, LUIS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, LUIS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, LUIS M      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, OLGA V      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, PRISCILLA   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RODRIGUEZ, VERONICA    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RODZ, ROBERTO          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA ROLDAN, JOEL A.        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA ROMAN, OBED            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA ROMERO, SONIA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA ROMERO, SONIA M        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA ROMERO, VERONICA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA ROSA, ISRAEL           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA ROSA, LEONARDO         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA ROSADO, EVELYN         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA ROSAS, ROQUE           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA RUIZ, AIDA I           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANABRIA, AWILDA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANABRIA, AWILDA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANABRIA, HECTOR       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANABRIA, KAREN        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANABRIA, MAGALY       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANCHEZ, ANA M         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANCHEZ, DORIBEL       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANCHEZ, JORGE L       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANCHEZ, JORGE L       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANCHEZ, LILLIAM       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANCHEZ, LILLIAM       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANCHEZ, LIZBETH       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6408 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1409 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SEPULVEDA SANCHEZ, MARIA E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA SANCHEZ, MARIA G        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA SANCHEZ, NAHIR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA SANEUX, RAFAEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA SANTANA, AIDA L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA SANTANA, JUAN J.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA SANTANA, JUAN JOSE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA SANTANA, MARIA DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
A
SEPULVEDA SANTANA, YOLANDA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANTIAGO, ALBERTO       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANTIAGO, CARLOS        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
MIGUEL
SEPULVEDA SANTIAGO, CARMEN        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANTIAGO, EDWIN         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANTIAGO, FRANKLYN      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANTIAGO, FREDDIE       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANTIAGO, GRETCHEN      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANTIAGO, LUZ N         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANTIAGO, LUZ Z         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANTIAGO, MARIA M       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANTIAGO, NOEMI         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANTIAGO, VICKMARY      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANTIAGO, VICKMARY      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANTOS, BRIGIDA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANTOS, LIZZETTE        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SANTOS, MARIA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SEPULVEDA, BAUDILIA     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SEPULVEDA, JORGE        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SEPULVEDA, JUSTINO      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SEPULVEDA, LEONARDO     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SEPULVEDA, LEONARDO J   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SEPULVEDA, LESBIA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SEPULVEDA, LILLIAN      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SEPULVEDA, MARITZA      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SEPULVEDA, MILDRED D    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SEPULVEDA, SHADDAI      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SEPULVEDA, UNA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SERRANO, DIONIMARIE     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SIERRA, ZULMA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SOSA, ANA M             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SOSA, CARMEN S          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SUAREZ, ELGA D          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SUAREZ, ELGA D          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SUAREZ, LEONILDA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA SUAREZ, LEONILDA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA TARRIDO, VERONICA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA TORO, JOEL              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
SEPULVEDA TORO, MELISSA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6409 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1410 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SEPULVEDA TORRES, BENJAMIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA TORRES, CARLOS R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA TORRES, CELENE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA TORRES, EILEEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA TORRES, LEEMARYS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA TORRES, LUIS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA TORRES, LUIS M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA TORRES, PRISCILA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA TORRES, ROSE M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA TRINIDAD, SANDRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA TRUJILLO, ARNALDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VALENTIN, ANGEL LUIS   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VALENTIN, TOMAS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VARGAS, CESAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VARGAS, DAVID          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VARGAS, MELVIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VARGAS, WILMER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VAZQUEZ, ADELIZ        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VAZQUEZ, ELISA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VAZQUEZ, ELISA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VAZQUEZ, LYDIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VAZQUEZ, MICHELLE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VAZQUEZ, RAQUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VEGA, HECTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VEGA, IVETTE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VEGA, NELLIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VEGA, NITZALE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VEGA, OMAYRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VEGA, ROSELYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VELAZQUEZ, LILIANA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VELAZQUEZ, NORMITZA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VELAZQUEZ, NORMITZA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VELEZ, ERNESTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VELEZ, JORGE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VELEZ, MADELINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VELEZ, MARIA DEL C     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VELEZ, WILYALIX        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VILLARINI, EMILIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VILLARINI, EMILIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VILLARINI, EMILIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VILLARINI, FELSY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA VILLARINI, ISRAEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA, CARLOS                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA, GLADYS C              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA, GLORIA                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA, INGRID                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDA, ROSA E                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEPULVEDAD LOZADA, EMIGDIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SEQUI ACEVEDO, ILEANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6410 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1411 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERALLES MACLAY, MICHAEL JUAN   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERANO COLON, YOSNEIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERANO DE JESUS, EDWARD G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERANO REYES, JENNIFER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERANO RIVERA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERANO SANCHEZ, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERATE CORIANO, JESUS F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERATE FEBRES, HILDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERATE GONZALEZ, FELIX A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERATE GONZALEZ, SANTOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERATE LOPEZ, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERATE RUIZ, FELIX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERBIA FELICIANO, MARIA DE L.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERBIA MARRERO, ADA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERBIA MARRERO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERBIA MARRERO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERBIA MARTINEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
FERNANDO
SERBIA MARTINEZ, ZARA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERBIA MONTES, LEISHLA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERBIA MONTES, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERBIA MONTES, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERBIA OCASIO, ELENA L          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERGES RODRIGUEZ, ANTHONY       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERGIO ADAMES, NATALIA D        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERGIO RUBIN, JUAN E            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERINO CRUZ, JOHN E.            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERNA TORRES, IBIS              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERNA TORRES, IBIS V            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERNA VEGA, JORGE LUIS          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERNA VELAZQUEZ, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERNA VELAZQUEZ, MARTA Y.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA COLON, BENEDICTA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA COLON, LUZ Y.             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA COTTO, JOAQUIN            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA CRUZ, KARLA M             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA FERNANDEZ, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA FERNANDEZ, MINERVA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA FERNANDEZ, MINERVA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA GARCIA, NEISHA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA GARCIA, NEISHA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA GARCIA, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA HERNANDEZ, SHEILIMAR      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA LOPEZ, AGAPITO            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA LOPEZ, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA LOPEZ, VALERIA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA MELENDEZ, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA MERCADO, SYLVIA L         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERPA OCASIO, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6411 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1412 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERPA OCASIO, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERPA OCASIO, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERPA OCASIO, LUIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERPA OCASIO, PABLO J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERPA PEREZ, GILBERTO J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERPA ROBLES, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERPA ROSADO, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERPA RUIZ, JOSEPH M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERPA SERPA, JUANITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERPA VEGA, JESSENIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERPA VEGA, JESSENIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERPA VELAZQUEZ, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA ATILES, EDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA BADILLO, ANTHONY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA BEAUCHAMP, MARISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA CAMACHO, WILKY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA COLLAZO, JESARIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA COLON, PATRICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA CRUZ, ELSA Y.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA DIAZ, DEBORAH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA FIGUEROA, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA GARCIA, JESUS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA GARCIA, MARELI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA GARCIA, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA GAVINO, MARIA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA GAVINO, MARIA T.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA GONZALEZ, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA JUSINO, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA LARACUENTE, ELBA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA LARACUENTE, MARIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA LARACUENTE, MINERVA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA LARACUENTE, SATUNINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA LOPEZ, JOHN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA LOPEZ, JOHN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA LOPEZ, JOHN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA LOZADA, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA MALDONADO, RAFAEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA MARTINEZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA MELENDEZ, BERNADETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA MONTALVO, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA OLMO, ROXANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA ORTIZ, DAPHNE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA ORTIZ, JELEAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA ORTIZ, WILDALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA RAMIREZ, YASHIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA RIVERA, MICHELLE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA RODRIGUEZ, HUGO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA RODRIGUEZ, PEDRO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA ROMAN, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6412 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1413 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRA SANTIAGO, RICARDO E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA SANTIAGO, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA SOSTRE, DILMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA SOSTRE, DILMA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA SOSTRE, RAMON L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA VAZQUEZ, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA VELEZ, FABIOLA C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRA, CARLOS                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRALLES PEREZ, IRAIDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ABREU, ELBA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ABREU, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ACEVEDO, DIANA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ACEVEDO, FELIPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ACEVEDO, IRMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ACEVEDO, JENNIFER M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ACEVEDO, JENNIFER M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ACEVEDO, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ACEVEDO, JUAN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ACEVEDO, MITZY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ACEVEDO, ROLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ACOSTA, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ACOSTA, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ADORNO, GLORIVEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ADORNO, GLORIVEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AGUEDA, FRANCISCO J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AGUEDA, FREDDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AGUEDA, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AGUIRRE, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALBINO, SANDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALBINO, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALICEA, ASHLEY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALICEA, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALICEA, AXEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALICEA, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALICEA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALICEA, SYLVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALICEA, SYLVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALMODOVAR, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALVARADO, BRENDALYZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALVARADO, CHARLIM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALVARADO, CHARLIM M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALVARADO, SERMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALVARADO, ZULMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALVARADO, ZULMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALVAREZ, CELIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALVAREZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALVAREZ, JUAN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALVAREZ, LIZ D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ALVAREZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6413 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1414 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO ANDUJAR, ESTHER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO APONTE, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO APONTE, DOMINGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO APONTE, JOSE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO APONTE, LOURDES DEL C   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO APONTE, RAMONITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO APONTE, VIRGEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO APONTE, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO APONTE, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AQUINO, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AQUINO, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARAUJO, CANDIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARCE, REGINA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AROCHO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AROCHO, MARIANGELY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARRIAGA, THELMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARROYO, ANA HILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARROYO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARROYO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARROYO, ELIUD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARROYO, GERSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARROYO, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARROYO, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARROYO, JESUS O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARROYO, JORGE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARROYO, MARGARET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARROYO, MARIA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARROYO, MIGUEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARROYO, NELIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARROYO, SILKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ARROYO, SILKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ATANACIO, EMMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AVILA, LISBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AVILES, OLVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AVILES, YAREMID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AVILES, YASHIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AVILES, YASHIRA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AYALA, CARLOS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AYALA, EVELYN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AYALA, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AYALA, IRIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AYALA, JAMELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AYALA, KEILA D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AYALA, YARALYZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO AYENDE, ABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BAEZ, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BAEZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BAEZ, ESTHER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BAEZ, JEANNETE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6414 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1415 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO BAEZ, JEANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BAEZ, MARIA DEL MAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BAEZ, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BAEZ, MERCEDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BAEZ, YAMIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BARRIONUEVO, LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BARRIONUEVO, LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BARRIONUEVO, LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BATISTA, VICTORIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BATTISTINI, NESTOR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BEAUCHAMP, JUAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BEAUVAIX, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BENITEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BERRIOS, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BERRIOS, LEGNAIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BERRIOS, MARISEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BERRIOS, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BERRIOS, VIOLET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BERRIOS, YARIXA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BERRIOS, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BETANCOURT, CARMEN M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BETANCOURT, LUDGARDA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BIRRIEL, MARITZA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BLASINI, EDDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BONANO, ASHLEY R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BONANO, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BONILLA, ALEJANDRA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BONILLA, EUGENIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BONILLA, FRANK R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BONILLA, GERMAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BONILLA, GERMAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BORGES, MAYRA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BOULOGNE, YISTALIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BOULOGNE, YISTALIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BRUNO, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BRUNO, VIMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO BURGOS, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
MARGARITA
SERRANO BURGOS, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO BURGOS, DOMINGO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO BURGOS, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO BURGOS, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO BURGOS, WALDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO BURGOS, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO CABAN, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO CABAN, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO CABAN, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO CABASSA, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO CABRERA, CHARILIS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6415 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1416 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SERRANO CABRERO, GRISELA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CAINS, SANDRA S.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CAJIGAS, MIGUEL ANGEL     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CALDERON, ALBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CALDERON, JOSE A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CALDERON, REYNALDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CALLE, GUILLERMO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CAMPOS, MARISOL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CANALES, EDGARDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CANALES, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CANALES, ZAIDA U          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CAPELLAN, DAYRI           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARABALLO, ELBA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARABALLO, SERGIA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARABALLO,SAUL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARDONA, ERICK            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARDONA, ILANE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARDONA, ILANE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARDONA, ISMAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARDONA, JUANA M.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARDONA, ZAIDA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARMON, JESUS M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARO, MELIZA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARO, MELIZA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRASCO, ANA D           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRASCO, OSCAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRASCO, SAMUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRASQUILLO, ADA N       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRASQUILLO, DEBORAH     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRASQUILLO, DEBORAH     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRASQUILLO, MARLON      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRASQUILLO, MARLON H    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRASQUILLO, OLPHA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRER, BRENDA H          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRERO, LINDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRERO, LINDA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRION, ADALIZ           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRION, ARIEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRION, IVETTE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRION, MADELINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CARRION, ROBERT F         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CASANAS, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CASANAS, MARITZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CASIANO, IVETTE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CASIANO, RADAMES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CASTILLO, JAMES           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CASTILLO, MILITZA R       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CASTILLO, ROSEMARY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CASTILLO, WILLIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6416 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1417 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO CASTRO, CAROLINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CASTRO, DANIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CASTRO, INGRID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CASTRO, JOCELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CASTRO, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CASTRO, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CASTRO, MERCEDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CASTRO, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CEBALLO, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CENTENO, RAMONITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CHANG, CHRISTIAN G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CHANG, SHAI L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CHEVALIER, CARMEN D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CHEVALIER, LILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CHEVERES, YAITZA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CINTRON, CARMEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CINTRON, JOSE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CINTRON, JOSUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CINTRON, PEDRO LUIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CLASS, HONORIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CLAUDIO, ADA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CLAUDIO, ADA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CLAUDIO, AWILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CLAUDIO, BENJAMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CLAUDIO, LUZ ENEIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLLAZO, CARMEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLLAZO, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLLAZO, REINA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, CRISTAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, GENE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, HAYDEE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, LUCILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, LUZ D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, MARICELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, MYRNA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, NELLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, NELLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, NELLY E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6417 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1418 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO COLON, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, YOSNEIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COLON, ZUANIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CONCEPCION, LUIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CONDE, JOSE LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORA, GABRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORA, JAYSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORA, MARITZA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORA, YOHAMMA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORCHADO, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORDERO, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORDERO, ELIAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORDERO, IVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORDERO, MIGUEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORDERO, SYLVIA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORDERO, VANESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORREA, ANA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORREA, BLANCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORREA, BLANCA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORREA, BLANCA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORREA, OSCAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORREA, OSCAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORREA,OSCAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CORTEZ, JOSE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COSME, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COSME, JERRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COSME, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COSME, JUAN J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COSME, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COTTO, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COTTO, ALEXIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COTTO, RAMONA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO COTTO, RAMONA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRESPO, ARELYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRESPO, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRESPO, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRESPO, YAHAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUET, GERLYN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUET, GERMAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUET, GERMAN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, ANIRMA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, ANIRMA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, CANDIDA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, CASILDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, DALILO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6418 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 1419 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SERRANO CRUZ, FELIX J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, GLADYS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, HERIBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, HILDA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, JOSE A.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, JOSE R             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, KAREN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, KELIMARIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, KELIMARIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, LIZ J.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, LUZ M              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, MARIA A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, MARIA A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, MARIA DEL C        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, MARY ANN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, MARY ANN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, MIGUEL A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, NANCELIZ           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, NANCELIZ           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, NELIDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, NELIDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, NELLIE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, NELLIE M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, NORMA D            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, RAFAEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, RAFAEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, ROBERTO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, RUBEN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, VERONICA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, VICTOR J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, YOLANDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CRUZ, YOLANDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CUEBAS, GENARO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CUEBAS, ROBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO CUEVAS, CHRISTOPHER L.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DAMON, ANGELA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DAMON, ANGELA H          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DAVILA, EDUARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DAVILA, JOSSIAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DAVILA, JOSSIAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE CELIS, HARISHA E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE FOLCH, DIGNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE JESUS, ANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE JESUS, AXNERIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE JESUS, BLANCA R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE JESUS, CINTHIA E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE JESUS, ELIZABETH      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE JESUS, EVELYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE JESUS, GERARDO A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6419 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                      Schedule E3 Page 1420 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


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CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
SERRANO DE JESUS, JOAN M.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE JESUS, MARIA DE LOS     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE JESUS, MARIA DE LOS A   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE JESUS, ORLANDO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE JESUS, RIGOBERTO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE JESUS, SANTOS M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE LA TORRE, ELBA I.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE LEON, JOHN              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE LEON, MARIA M.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE SALAS, BLASINA E.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DE TORRES, ENID Z          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DEL VALLE, EDWIN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DEL VALLE, JOEL            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DEL VALLE, NORMA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DELERME, YESIBEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DELGADO, ALEXANDRA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DELGADO, DIANA I           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DELGADO, HECSOR A.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DELGADO, JANETTE           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DELGADO, JANETTE           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DELGADO, JASON             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DELGADO, OLGA I.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DELGADO, RAMONITA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DELGADO, SANTIAGO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DELVALLE, SANDRI           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DENIS, RICARDO A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DENIZARD, MARIBEL          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, ANDREA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, ANGEL L              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, ANTONIO              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, CARMEN I             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, EVELYN               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, EVELYN               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, IXIA T.              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, JUAN                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, JUAN C               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, JUAN C               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, LUIS A               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, MARIA                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, MARIA                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, MARIA A              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, MARIA J.             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, MARIA M              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, MILAGROS             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, MILAGROS             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, SANDRA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, SANDRA I             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DIAZ, VELKYS G             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DOMENA, LEONOR             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6420 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1421 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO DOMINGUEZ, GERALDO A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DOMINGUEZ, GERALDO A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO DOMINGUEZ, MARICELA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ECHEVARIA, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ECHEVARRIA, CARMEN S    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ECHEVARRIA, LUZ D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ELIAS, JUAN ARNALDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ENCARNACION, MIRELYS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ENCARNACION, MIRELYS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ESCOBAR, DIOMARA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ESCOBAR, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ESCOBAR, ERICK          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ESPADA, XAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ESPINO, JUANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ESPINOSA, DOLORES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ESPINOSA, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ESPINOSA, MYRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ESQUILIN, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ESQUILIN, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ESQUILIN, JULIO C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ESTELA, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ESTRADA, SAMANDY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ESTRADA, YARIANICE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ESTREMERA, NORMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FARIA, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FARIA, MELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FEBO, AIXA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FEBO, EMILLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FEBRES, MARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FEBUS, ALBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FELICIANO, SANDY I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FERNÁNDEZ, JOANNE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FERNANDEZ, VIMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FERNANDEZ, VIMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FERNANDINI, JOSE A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FIGUEROA, ARELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FIGUEROA, ARELIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FIGUEROA, FERDIN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FIGUEROA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FIGUEROA, JUAN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FIGUEROA, JULIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FIGUEROA, MARIELYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FIGUEROA, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FIGUEROA, MIRIAM M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FIGUEROA, NELLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FIGUEROA, YESENIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FIGUEROA, YESENIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FLORENCIANI, LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FLORES, ANGEL J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6421 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1422 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO FLORES, ELEUTERIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FLORES, EMILIANO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FLORES, EPIFANIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FLORES, JESUS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FLORES, KEISHLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FLORES, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FONSECA, JORGE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FONSECA, LILLY E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FONSECA, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FRANCO, MARTA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FRANQUI, ALEXANDER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FRANQUI, CARLOS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FRANQUI, NOELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FRASQUET, GEORGINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FREIRIA, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FREIRIA, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FREYTES, LEONARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FREYTES, LEONARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FUENTES, ARLEEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FUENTES, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO FUENTES, WANDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GALARZA, YADIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GANDIA, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARAY, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARAY, NITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARCIA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARCIA, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARCIA, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARCIA, JOELUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARCIA, KARINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARCIA, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARCIA, LUISA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARCIA, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARCIA, MARTA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARCIA, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARCIA, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARCIA, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARCIA, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARCIA, VICENTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARCIA, VICTOR M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GARCIA, YASHIRA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GAVILLAN, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GIMENEZ, LUIS F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GOMEZ, ANDY L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GOMEZ, BILLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GOMEZ, CARMEN L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GOMEZ, JOHAN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALES, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALES, MYRNA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6422 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1423 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO GONZALEZ, ALCIDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, ALICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, ALISANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, ALISANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, AMBAR Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, ANA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, ARGENIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, ARNALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, BRENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, BRENDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, CARMEN D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, CARMEN I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, CARMEN I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, CAROL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, CHRISTIAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, ERIC M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, FELIX O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, GABRIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, GIOVANNI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, GREGORIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, HECTOR F      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, IRIS I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, IRVIN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, JAHAIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, JONATHAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, JOSE F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, JOSE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, JULIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, JULIO I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, LUALMARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, MARIA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, MARIA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, MARIELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, MARIELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, MYRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, OLGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, RAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, RAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, RUTH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, VIRGEN T      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GONZALEZ, WYLMA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GOYCO, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6423 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1424 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO GOYCO, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GOYTIA, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GRACIA, EDNA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GRACIA, EDNA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GRASS, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GUADALUPE, CARMEN L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GUERRA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GUILBE, MARLENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GUILBE, MARLENE E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GUILFU, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GUILFU, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GUZMAN, FABIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO GUZMAN, FABIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, ALEXIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, ALIPIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, CARLOS E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, CARMEN D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, CARMEN D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, CARMEN L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, CARMEN R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, EDGAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, EDGAR E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, EMMANUEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, JOSEFINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, KATERINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, LYNNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, MARIA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, MARISOL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, MIGUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, MILDRED      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, RAFAEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, RAMONA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HERNANDEZ, SONIA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HUERTAS, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HUERTAS, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HUERTAS, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO HUERTAS, MINERVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO IGARTUA, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO IGLESIAS, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO IRIZARRY, BETHZAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO IRIZARRY, FRANCES M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO IRIZARRY, KAREN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO IRIZARRY, MYRNA S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO IRIZZARY, MYRNA S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ISERN, HEIDI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO JIMENEZ, CANDACE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO JIMENEZ, DARLENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO JIMENEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6424 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1425 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO JIMENEZ, JOWELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO JIMENEZ, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO JIMENEZ, PABLO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO JUARBE, JASMINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO JUARBE, JASMINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LAGUNA, YASHIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LAI, ARNALDO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LAMBERT, CYNTHIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LARRIUZ, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LAUREANO, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LAUREANO, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LAUREANO, RAFAEL E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LAUREANO, YARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LEBRON, CARMEN I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LEBRON, ISIDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LEBRON, KATIRIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LEBRON, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LEBRON, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LEBRON, MYRNA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LEON, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LEON, ELINEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LEON, JENNIFER M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LEON, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LESPIER, VICENTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LIBRAN, ALICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LIBRAN, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LLANTIN, JEANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LLANTIN, JEANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, DAVID NATAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, EFRAIN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, HARRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, JOSE F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, LUCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, MAGALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, MYRTA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, NILSA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, SANTIAGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, VIVIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOPEZ, YAHAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LORENZI, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LORENZI, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOZADA, ADELICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOZADA, ARLEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6425 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1426 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO LOZADA, ARLEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOZADA, BETZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOZADA, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOZADA, MARIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LOZADA, RUTH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LUCIANO, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LUGO, CELIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LUGO, CELIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LUGO, CYD MARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LUGO, FRANCES E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LUGO, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LUGO, JONATHAN I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LUGO, LUIS J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LUGO, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LUGO, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LUGO, SHEILA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LUNA, RENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO LUYANDO, ISMAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MACHADO, DANIEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MACHUCA, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MADERA, CARLOS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MAESTRE, MANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MALAVE, CRISTIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MALAVE, LOUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MALAVE, ROSEMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MALDONADO, BLANCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MALDONADO, DAVID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MALDONADO, EDWIN X      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MALDONADO, GISELLA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MALDONADO, LINNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MALDONADO, LUIS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MALDONADO, MARIA DEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
CARMEN
SERRANO MALDONADO, MILDRED      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO MALDONADO, NADIA L      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO MALDONADO, PEDRO J.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO MALDONADO, WANDA Y      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO MALDONADO, WANDA Y      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO MALDONADO, WILFREDO     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO MANGUAL, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO MANGUAL, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO MANTILLA, IVETTE M.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO MANTILLA, LUIS F        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO MARALES, ENID R         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO MARCANO, JOSHUA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO MARCANO, XIOMARA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO MARCANO, YAZMIN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO MARIN, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO MARRERO, HARRY          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6426 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1427 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SERRANO MARRERO, JOSE L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARRERO, NILDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARRERO, SUHEILY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTES, JANET            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, ANA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, CASILDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, DAISY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, DELVIN E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, ELIZABETH      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, EUGENIA J      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, GADIEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, HECTOR O       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, HILDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, IRENE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, JERAMIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, JESUS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, JONATHAN LEE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, JOSE R.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, KARITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, LIZ S          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, MARIA H.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, MARIA H.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, MARISOL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, NADYA R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MARTINEZ, VIRGINIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MATIAS, CARMEN M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MATIENZO, ARNALDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MATIENZO, ISRAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MATIENZO, SANTIAGO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MATOS, ANGELIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MATOS, ANGELIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MATOS, CARMEN D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MATOS, FELIX             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MATOS, JOSE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MATOS, JOSE M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MATOS, SAMUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MATTA, NEYSA S           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MAYOLI, LUZ E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MEDINA, BELSI M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MEDINA, IRIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MEDINA, LUCY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MEDINA, LYDIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MEDINA, MADELINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MEDINA, MELISSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MEDINA, MIGUEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MEDINA, MIGUEL A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MEDINA, MIGUEL A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6427 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                    Schedule E3 Page 1428 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SERRANO MEDINA, MIGUEL A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MEDINA, NEREIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MEDINA, NILSA Z          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MEDINA, OMAR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MEDINA, OMAR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MEDINA, STEPHANY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MELENDEZ, BRENDA LEE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MELENDEZ, CELINES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MELENDEZ, EVA R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MELENDEZ, ISMAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MELENDEZ, IVAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MENDEZ, ANTHONY J.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MENDEZ, OSVALDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MENDEZ, PEDRO I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MENDEZ, TERESA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MENDOZA, JUAN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MENDOZA, KRYSTAL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MENDOZA, MARIBETH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MENDOZA, MARIBETH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MENENDEZ, ISAMAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MERCADO, ALBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MERCADO, CARMEN R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MERCADO, DESSY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MERCADO, JUAN R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MERCADO, LEIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MERCADO, LEIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MERCADO, MIGUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MERCADO, MIGUEL A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MERCADO, NEIDY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MERCADO, NEIDY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MERCADO, NYDIA R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MERCED, SOFIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MILLAN, EDWIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MILLAN, EDWIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MILLS, HERIBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MILLS, HERIBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MIRANDA, CARMEN E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MIRANDA, ILLIANEXISE M   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MIRANDA, ILLIANEXISE M   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MIRANDA, MARCOS A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MIRANDA, MARIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MIRANDA, RHAIZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MOJICA, KELLY J.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MOLINA, JACLYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MOLINA, JACLYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MOLINA, LOURDES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MOLINA, MARIA V          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MONCHE, ALFREDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MONCHE, JORGE L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6428 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1429 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO MONCHE, JULIA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MONDESI, SUSANA C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MONTALVO, ANALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MONTALVO, ANGELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MONTALVO, DAYSVETTE E   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MONTALVO, GEOVANNIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MONTALVO, VICTORIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MONTANEZ, MIRAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MONTANEZ, SONIA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MONTEROLA, JEAN I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MONTES, JOSE LUIIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORA, FRANCES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, ANGEL E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, ANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, CARMEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, CARMEN S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, DAFNE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, DAMARIS N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, DORIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, EVA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, EVALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, HILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, JANICE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, JANICE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, JOSE O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, JOSE O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, JULIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, KAYRA G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, LUIS I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, MAGALY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, MARIELLYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, MINEIRA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORALES, WILSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORAN, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MORAN, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MOYA, SUHAIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MOYETT, SYLVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MULERO, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MUNIZ, JANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MUNOZ, LUCILA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MUNOZ, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MUQIZ, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO MURCELO, YUMAYRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6429 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                    Schedule E3 Page 1430 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SERRANO MURIENTE, DIMARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NATAL, MANUELA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NEGRON, ELIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NEGRON, ENRIQUE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NEGRON, IRIS M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NEGRON, IRIS M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NEGRON, JENNIFER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NEGRON, JENNIFER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NEGRON, SHEILA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NEGRON, WILFRED          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NIEVES, ABDIEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NIEVES, AMINADAB J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NIEVES, AMINADAB J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NIEVES, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NIEVES, MARIA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NIEVES, MARIANO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NIEVES, MIGUEL A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO NIEVES, MILAGROS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OCANA, ALEXIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OCANA, ALEXIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OCASIO, EDGARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OCASIO, EDGARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OCASIO, ESTHER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OCASIO, JENNIFER ENID    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OCASIO, JOSE V           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OCASIO, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OCASIO, SONIA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OLIVER, MARIA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OLMO, ELSIE J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO O'NEILL, MILAGROS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OQUENDO, AYLEEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OQUENDO, ELBA D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OQUENDO, MARISEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OQUENDO, NILSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OQUENDO, VICTOR L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OROZCO, NORMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OROZCO, NORMA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTA, PABLO J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTEGA, JUAN G           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTEGA, LAURA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTEGA, LAURA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTEGA, MARIA A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, ALEXIS J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, ANGELICA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, DOMINGO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, DUVALEXIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, EMELDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, EMMANUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6430 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 1431 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
SERRANO ORTIZ, FERNANDO D.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, HECTOR L.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, HILDA A.            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, IVELISSE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, JAIME               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, JORGE               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, JOSE A              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, JOSE R.             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, LAURA M             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, MARIA M             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, MARIELA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, MARISOL             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, NESHESKA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, NILDA DEL ROSARIO   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, NORMA IRIS          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, RONALD              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, SHEILA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, TEOFILA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ORTIZ, WILLIE              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OSORIO, JESSICA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OSORIO, JUAN               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OSORIO, JUAN               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OSORIO, MAILESS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OSORIO, MAILESS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OTERO, MANUEL              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OYOLA, IVETTE D            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO OYOLA, IVETTE D            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PABON, CARMEN D            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PABON, LIZETTE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PABON, RENE                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PABON, ROSALBA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PACHECO, IRIS              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PACHECO, MARISOL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PADILLA, DEBORAH           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PADILLA, HECTOR M.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PADILLA, JASMINE L.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PADILLA, JENIFFER          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PADILLA, JENNIFER          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PADILLA, MARIA I.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PADILLA, NOEL              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PADIN, ARACELIS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PADIN, ARACELIS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PADIN, ARTURO              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PADIN, ARTURO              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PAGAN, ALICIA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PAGAN, HECTOR              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PAGAN, HECTOR M            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PAGAN, KEVIN               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PAGAN, LISANDRA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6431 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1432 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO PAGAN, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PAGAN, LUIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PAGAN, LUIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PAGAN, MERCEDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PAGAN, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PAGAN, YAHAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PALAU, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PALAU, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PALAU, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PANTOJA, RICARDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PANTOJAS, LIBRADAS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PANTOJAS, PETRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PELLOT, DEBORAH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PENA, EFREN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PENA, JESUS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PENA, ROSYNELL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PERALES, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREA, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, ALBA N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, ALEXANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, AMARILIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, AMARILIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, DENNIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, DIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, GISELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, ILIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, JAVIER E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, JESSICA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, JUAN PABLO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, LUCIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, MELANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, MIRIAM G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, NAHIR A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, NILDA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, PEDRO J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PEREZ, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PINO, JULIO E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PIZA, MARIA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PIZA, MARIA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PIZARRO, ELIGIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PONCE, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PORTALATIN, PEDRO F     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PUIGDOLLER, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6432 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1433 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO PUIGDOLLER, CARMEN L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO PUIGDOLLER, JUAN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO QUILES, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO QUILES, LILLIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO QUILES, LILLIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO QUINONES, CARLOS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO QUINONES, MANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO QUINONES, MARIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO QUINONES, MIGDONIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO QUINONEZ, DEBORAH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO QUINTERO, JUAN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RADRIGUEZ, WANDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMIREZ, AURORA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMIREZ, LOSCAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMIREZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMIREZ, LYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMIREZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, BASILIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, CARLOS J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, HECTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, HILDA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, JESUS I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, JULIO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, LILIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, LILIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, LUIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, LUZ N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, LUZ N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, MYRNA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RAMOS, VICTOR A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RESTO, VIANELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, AIDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, ALEJANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, ALEJANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, ANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, EDNA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, FELIPE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6433 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1434 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SERRANO REYES, JEANNETTE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, JENNIFER           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, JOSE E             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, JUAN               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, LOURDES            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, LUIS D             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, MARIA C            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, MARIA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, NYDIA G.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO REYES, YANIRA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIJOS, JENNIFER M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIJOS, JESSICA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIOS, CARMEN C            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIOS, CARMEN C            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIOS, ESPERANZA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIOS, JAVIER              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIOS, JEANETTE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIOS, JENNIFER M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIOS, MARIA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIOS, WILFREDO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIOS, WILMARY ARIAM       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIOS, YELITZA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIOS, YELITZA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVAS, ANGEL L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVAS, SOCORRO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, ADELAIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, ADELAIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, ADELAIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, AIDA L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, ALEXIS A.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, ANGEL O           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, ANTONIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, AWILDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, BETSY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, BRUNILDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, CARLOS A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, CARMEN I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, CARMEN J.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, CARMEN JOSEFINA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, CONFESOR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, DIADYS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, EDGARDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, EDUARDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, ELBA I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, EVA I             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, FELIX A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, GLADYS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, GLADYS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, HECTOR            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6434 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1435 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO RIVERA, IDIAMIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, ISMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, ITZA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, JANEEN A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, JERAMY A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, JOSE F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, JOSE O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, JUANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, KARLA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, LISANIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, LUZ I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, MAGALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, MAGALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, MARIA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, MARIELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, NILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, RAUL G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, ROBERT G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, ROSA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, SANDRA S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, SANDRA S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, SHEILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, SHEILA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, VICTOR M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, WILDAMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, ZAIDA DEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, ZAYDA DEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6435 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1436 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO RIVERA, ZULEYKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, ZULMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RIVERA, ZULMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROBES, IRMAURY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROBES, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROBES, SIDNEYMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROBLEDO, HAROLD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROBLES, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROBLES, MICHELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROBLES, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROBLES, XIOMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROBLES, ZUHAM M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, ABNER X      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, ADAMARITZA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, ALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, ANIBAL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, ARICK A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, ARLEEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, ARLEEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, AURELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, BRENDA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, CANDIDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, CAROLEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, CESAR N.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, CESAR N.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, DAISY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, ELBA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, ENITZA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, FELIX        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, GERALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, GERALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, HERIMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, IDA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, IDA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, ISRAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, JENNY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, JOSE I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, JOSE R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, JULIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, KELVIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, LISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, LISSETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, LISSETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, LISSETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, LIZAMARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, LIZETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, LIZETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1437 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO RODRIGUEZ, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, LUIS S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, MARTA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, MAYLENE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, MILKA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, MILKA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, NIRVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, NIRVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, NORMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, NORMA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, NORMA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, NORMA S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, RAMONITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, RAYMOND      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, RAYMOND D    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RODRIGUEZ, RODOLFO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ARIEL
SERRANO RODRIGUEZ, ROSALBA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO RODRIGUEZ, RUBY         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO RODRIGUEZ, SONIA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO RODRIGUEZ, VICTOR       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO RODRIGUEZ, VICTOR M     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO RODRIGUEZ, WANDA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO RODRIGUEZ, WANDA I      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO RODRIGUEZ, WANDA I      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO RODRIGUEZ, XAYMARA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO RODRIGUEZ, XAYMARA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO RODRIGUEZ, YADIEL       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO RODRIGUEZ, ZAIDA E      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO RODRIGUEZ, ZENAIDA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO ROJAS, DIANA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO ROJAS, IRIS V           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO ROJAS, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO ROLDAN, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO ROLDAN, JULIO M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO ROLDAN, NOELIA E        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO ROMAN, CRISTIAN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO ROMAN, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO ROSA, ALEXANDRA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO ROSA, CELIA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO ROSA, DOUGLAS           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO ROSA, ELISEDWELL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO ROSA, ELVIS             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO ROSA, FELICIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO ROSA, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6437 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1438 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO ROSA, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSA, JUDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSA, KILAINE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSA, KILANIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSA, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSADO, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSADO, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSADO, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSADO, JUAN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSADO, LARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSADO, LIZ A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSADO, LOURDES A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSADO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSADO, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSADO, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSADO, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSADO, NYDIA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSARIO, ANA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSARIO, ANGEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSARIO, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSARIO, AXEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSARIO, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSARIO, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSARIO, MIRIAM L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSARIO, MIRIAM L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSARIO, MORAIMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSARIO, MORAIMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSARIO, NILSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSARIO, OLGA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSARIO, RICHARD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ROSARIO, WANDA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RUBERT, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RUBERT, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RUIZ, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RUIZ, DAVID M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RUIZ, SUJELY E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO RUIZ, YADIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SAAVEDRA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SAN MIGUEL, CARMEN S    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANCHEZ, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANCHEZ, FELIX S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANCHEZ, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANCHEZ, LERINITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANCHEZ, LUIS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANCHEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANCHEZ, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANCHEZ, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANCHEZ, SARA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANCHEZ, SHAMEYRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6438 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1439 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SERRANO SANCHEZ, VICTOR M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANCHEZ, WILMA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANCHEZ, WILMA IVELISSE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTA, JOSE E             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTANA, ANA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTANA, DALYNE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTANA, EDDIE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTANA, EDWIN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTANA, ISABEL M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTANA, JENNIFER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTANA, JENNIFER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTANA, MABELINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTANA, PEDRO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTANA, STEPHANIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTANA, VIRGEN M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTANA, WILFREDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTELL, MIRIAM L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, ANTONIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, ARIS I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, CARLOS R        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, CARMEN C        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, DAVID           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, DENIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, IVELISSE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, IVONNE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, JOSE L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, JUAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, JUAN E.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, JUAN EMANUEL    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, JUDITH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, LUIS A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, LUIS E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, MARGARITA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, MARITZA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, PORFIDIO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, RAUL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, RUBEN A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, SANDRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, TARY S          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTIAGO, VANESSA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTOS, BRENDA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTOS, ELIA E.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTOS, HEIDA J.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTOS, JAISA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SANTOS, NADJA M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SEDA, ANGELA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SEGARRA, BRYAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SELVA, ROBERTO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, ADA L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6439 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1440 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO SERRANO, AIDA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, ANGELA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, ARMINDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, BERNARDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, CARLINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, CARMEN L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, DIGNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, ELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, ELBA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, EMERITO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, FERNANDO L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, GISELLE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, HIGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, IRMA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, ISIDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, JANE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, JAVISH A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, LUZ M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, MARIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, MONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, MYRNA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, OSCAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, OSVALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, REYNALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, SAMUEL F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, SANTOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, SANTOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRANO, SARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SERRRANO, GLORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SEVILLA, ARIANGELI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SHINSATO, SHARLENE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SIERRA, ALBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SIERRA, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SIERRA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6440 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1441 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SERRANO SIERRA, JOSE L.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SILVA, JOSEFINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOBERAL, GLORIA E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOSA, ANGEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOSA, OMAYRA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOSA, ROBERTO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, DENNISE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, DIEGO              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, GLENDA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, GLENDA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, HECTOR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, HECTOR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, JANICE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, JANICE M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, JANICE M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, LUIS R             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, LUZ M.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, MARIA A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, MATILDE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, MIGUEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, ORLANDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, ORLANDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO SOTO, SANTOS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TAPIA, VELDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TAPIA, VELDA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TERRON, CARLOS ENRIQUE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TEXEIRA, MANUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TEXIDOR, ARACELIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TIRADO, CARMEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TIRADO, DOMINGO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TIRADO, FELIPE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TIRADO, LUZ C            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TIRADO, WALKIRIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TIRADO, YAMIL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TIRADO, YAMIL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TIRADO, YAMIL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TOLEDO, ANGELO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, ANGEL F.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, ANGEL L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, ARTURO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, CARMEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, CARMEN Y         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, CRISTINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, EDUARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, EDUARDO L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, EDWIN D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, FELIX R.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, GIBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, GILBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6441 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1442 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SERRANO TORRES, GILBERTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, HILARIO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, IRPA I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, IVELISSE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, IVELISSE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, IVONNE E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, IXIA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, JEANETTE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, JEANETTE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, JOSE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, JOSE A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, JOSSIE E.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, JUAN ANTONIO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, LEOCADIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, LIZ M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, LOURDES           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, LOURDES E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, LUIS A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, LUIS A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, LUIS A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, MARGARITA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, MARGARITA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, MARIA DE LOS A.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, MARIA L.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, MARILYN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, MARY L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, MARY L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, MERARY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, MILDRED           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, MIRELY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, NANCY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, NILDA E.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, NIVIA I.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, OMARIEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, PETER             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, RAMON             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, RODOLFO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, SHARON            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, SHARON D          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, SYNTHIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, VALERIE A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, WANDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, WILLIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, WILLIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, YAMELIES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, YESICA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, ZAILYNETTE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TORRES, ZOILO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TRAVAL, LILLIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6442 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1443 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO TRINIDAD, ROSA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TRINIDAD, ROSA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO TRIPARI, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VALENTIN, XAVIER A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VALLE, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VALLE, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VARGAS, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VARGAS, GLORIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VARGAS, KATHIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VARGAS, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VARGAS, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VARGAS, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VARGAS, MARILUZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VARGAS, MARILUZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VARGAS, NATASHA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VARGAS, NYDIA J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VARGAS, TAISHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VARGAS, VILMA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, ALBA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, BRENDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, CARIDAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, DALILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, DEBORAH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, EDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, EMMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, ERMELINDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, ILIANETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, JOSUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, JOSUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, JUAN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, JULIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, MARIA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, MARLENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, MOISES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, SYLVIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VAZQUEZ, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6443 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1444 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO VAZQUEZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VEGA, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VEGA, EDGAR E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VEGA, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VEGA, JAVIER H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VEGA, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VEGA, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VEGA, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VEGA, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELAZQUEZ, ANA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELAZQUEZ, ARMANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELAZQUEZ, GUILLERMO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELAZQUEZ, JACKELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELAZQUEZ, JAVIER O.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELAZQUEZ, JOHANNA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELAZQUEZ, JOHNATHAN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELAZQUEZ, KEILA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELAZQUEZ, LUIS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELAZQUEZ, MILAGROSA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELAZQUEZ, STEPHANIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELAZQUEZ, WILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELAZQUEZ, ZIOMARA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELAZQUEZ, ZIOMARA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELAZQUEZ, ZIOMARA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELEZ, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELEZ, DALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELEZ, DALIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELEZ, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELEZ, ELVIN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELEZ, GABRIEL D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELEZ, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELEZ, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELEZ, MARIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELEZ, RICARDO I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELEZ, WESLEY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VELEZ, XAVIER A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VERGARA, EMMANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VERGARA, EMMANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VICENTE, MYRNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VICENTY, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VIERA, JENNIFER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VIGOREAUX, CARLOS J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VIL, CARMEN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VILLAFANA, ERNESTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VILLAFANE, MARIA DEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
CARMEN
SERRANO VILLANUEVA, ISRAEL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO VILLANUEVA, LIMARY      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRANO VILLANUEVA, LIMARY      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6444 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1445 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SERRANO VILLANUEVA, LIMARY       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VILLANUEVA, SONIA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VILLANUEVA, SONIA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VILLEGA, ZULEYKA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VILLEGAS, FRANCISCO      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VILLEGAS, MANUEL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO VILLOCH, WANDA I.        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO YEJO, JOSE               REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ZAVALA, JANET            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO ZENO, AWILDA D           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO, AIMEE T                 REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO, AIMEE T.                REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO, ANGEL E                 REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO, CARLOS J.               REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO, DAMARIS                 REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO, FELIX                   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO, JESUS                   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO, JORGE                   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO, JORGE                   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO, JOSE REINALDO           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO, LAZARO                  REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO, MARIANO L.              REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO, OREALIS                 REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO, RAMON                   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANO, ROBERTO                 REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANOAGUEDA, ISMAEL            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANOFIGUEROA, NOEL            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANOLOPEZ, LUIS               REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANOLUCIANO, JOSE A           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANOMANGUAL, EVELYN M         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANORIVERA, WILFREDO          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANOSERRANO, MIGUEL           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANT ALVARADO, HECTOR I       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRANT MORELL, CARYMELL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SERRATI GALLARDO, ANTONIO RAFAEL REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

SERREIRA PAZ, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERRET MEDINA, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SERVIA PEREZ, KRISTINE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SESENTON VALENTIN, MILTON       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SESSMANN SEBERINO, VILMA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SESSMANN SEVERINO, VILMA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEVER, BRETT J                  REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEVERINO RIOS, GREGORY          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEVERINO SEVERINO, ADA N        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEVERINO VALDEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEVILLA AGOSTO, JUSTIN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEVILLA ALSINA, MARLA E         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SEVILLA AMADOR, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6445 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1446 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SEVILLA AVILA, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA AVILES, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA AYALA, ANABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA AYALA, ANABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA BURGOS, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA BURGOS, MARTA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA CASTRO, FELICITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA CASTRO, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA COLON, BRENDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA COLON, BRENDA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA COLON, JEAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA CRUZ, CARMEN P          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA CRUZ, ILEANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA DE REYES, ANA O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA DOMENECH, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA DOMENECH, MARIA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA ECHEVARRIA, MARTA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA ECHEVARRIA, OLGA N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA ECHEVARRIA, OLGA N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA ESTELA, MANUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA GARCIA, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA GUZMAN, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA GUZMAN, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA HUERTAS, LINDA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA LOPEZ, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA LOPEZ, LUZ I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA LOPEZ, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA LOPEZ, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA MARRERO, ESTELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA MARRERO, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA MARTINEZ, KAROLINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA MELENDEZ, EZEQUIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA MELENDEZ, EZEQUIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA MONGE, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA MONGE, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA MORALES, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA NEGRON, ELSIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA ORTIZ, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA ORTIZ, JOSE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA ORTIZ, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA REYES, GLORIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA RIVERA, EMMA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA RIVERA, HIDELISA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA RIVERA, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA ROBLES, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA ROBLES, ERICK M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA ROBLES, MAELYN M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA ROBLES, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA RODRIGUEZ, ALEX M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6446 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1447 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SEVILLA RODRIGUEZ, VANESSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA ROMAN, JULIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA ROMAN, MARIELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA SANTIAGO, KRYSTLE J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA VAZQUEZ, FERNANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA VIANA, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA VIANA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA VIANA, MARICARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLA, JORGE                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLANO GOMEZ, JUDITH DEL C   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLANO MONTANEZ, YARA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEVILLANO SEDA, ROSA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SEXTO MARTINEZ, MARTA B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SGARBI PASTRANA, PRISCILA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SGROI, ERNESTO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHABAN PEREZ, NYHAD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHARATZ, STEVEN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHARIF, OMER                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHARIF, OMER                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHARON CRUZ, JOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHARON GONZALEZ, ELIHU          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHARON GONZALEZ, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHARON SANTANA, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHARRON MIRANDA, NILMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHEHADEH KALED, ABED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHEHADEH MICOLTA, ISABEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHEPLAN OLSEN, PILAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHERMAN DELGADO, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHERRINGTON ARACENA, ELENA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHIBA, HIROMI                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHIELDS CRUZ, LILYBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHIWDIN RIVERA, SUNDER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHOCK, MARK P                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHOCK,MARK P.                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHOKOOH FERMAINT, ARIANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHORTER GARCIA, PAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHUKRI ESCHEIK, OMAIRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHULL CRANE, VIRGINIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SHUMATE PEREZ, RALPH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIACA ALEQUIN, WIFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIACA BURGO, JENNIFER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIACA CANALS, MIRIAM J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIACA CARRION, LUCAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIACA CEBALLOS, ALEYDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIACA DIAZ, MANUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIACA DIAZ, MARC A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIACA DONES, INGRID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIACA DULIEBRE, MORAIMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIACA FLORES, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6447 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1448 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SIACA FLORES, YAJAIRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIACA FONTANEZ, JUAN C           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIACA GAUTIER, LIBERTAD          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIACA GONZALEZ, WILFREDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIACA GONZALEZ, WILFREDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIACA RIVERA, LIZ                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIACA ROSADO, XAVIER             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIACA RUIZ, ROSARIO M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIACA RUIZ, ZULAYKA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIACA RUIZ, ZULAYKA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIACA SANCHEZ, JUAN L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIACA VELEZ, CARMEN D            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIARES FUENTES, GIANCARLOS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIARES NIEVES, SARA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIAREZ FUENTES, GIOVANI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIAREZ FUENTES, GIOVANI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIAREZ LACEN, ZORAIDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIAREZ PEREZ, CARMEN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIAREZ PEREZ, CARMEN E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIAREZ QUINONES, JOCELYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIAREZ QUINONES, LUIS R.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIAREZ, LUIS F.                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERIO BLAS, IVAN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERIO BLAS, VICMARY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERIO BRIGNONI, ORLANDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERIO BRIGNONI, OSCAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERIO GALARZA, JUAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERIO GALARZA, JUAN E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERIO GALAVZA, BRENDA LEE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERIO MARTINEZ, FRANCES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERIO ORTIZ, EDUARDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERIO TALAVERA, EDUARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERON BELTRAN, LEGNA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERON CARRABALLO, RAFAEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERON GUZMAN, MIGUEL ANGEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERON IRIZARRY, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERON IRIZARRY, DANNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERON MALDONADO, FELIPE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERON NAPOLEONI, CARLA T       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERON TORRES, TOMAS E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBERRON VILLANUEVA, VIVIANA M   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBILIA SANCHEZ, BELGICA M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIBILIA SANCHEZ, GENOVA H.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SICARD DIAZ, CARLOS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SICARD FIGUEROA, DAVID           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SICARD RIVERA, PEDRO C           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SICARD TORRES, DEBBIE A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SICARD VELAZQUEZ, GLADYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SICARD VELAZQUEZ, GLADYS E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                                PAGE 6448 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1449 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SICARDO DIJOLS, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SICARDO DIJOLS, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SICARDO OCASIO, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SICARDO RODRIGUEZ, CARMEN A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SICARDO RODRIGUEZ, JUAN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SICARDO RODRIGUEZ, ROSA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIDDENS BETANCOURT, ESTEBAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIDDENS DIAZ, STEPHANIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIDORENKO LLAURADOR, VICTOR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIEBENS BORRELI, KELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIEBENS BORRELI, KENY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIEBENS RDEZ, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIEERA ORTIZ, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIELING BARTE, KEVIN W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ACOSTA, JOHANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ACOSTA, JOHANA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ACOSTA, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ALAMO, ALFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ALBERTORIO, MARISELA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ALBERTORIO, MARISELA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ALBINO, ADA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ALBINO, ADA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ALEMAN, MILYAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ALEMAN, MILYAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ALICEA, JEAN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ALICEA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ALICEA, NIVIA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ALICEA, SONALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ALMODOVAR, EDITH N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ALVARADO, CARMEN A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ALVARADO, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ALVIRA, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ANRADE, NORAIDA MARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA APONTE, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA APONTE, ELIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA APONTE, ELIAN Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA APONTE, LUIS E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA APONTE, MARIA N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA APONTE, SHEILIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA APONTE, SUHAIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA APONTE, VICTOR I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ARBELO, CRISTINA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ARBELO, CRISTINA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ARCHILLA, FERNANDO A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ARMAIZ, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA AROCHE, KEVIN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ASENCIO, JOHANNA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA AVILES, MARANGELLIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA BAEZ, HARRY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6449 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1450 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SIERRA BARBOSA, DORIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA BAUZA, CARLOS J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA BAUZA, GLADYS L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA BELTRAN, AIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA BLAS, ARISHA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA BLAS, XAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA BONILLA, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA BORIA, CARLOS IVAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA BURGOS, DIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA BURGOS, DIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA BURGOS, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA BURGOS, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CABANAS, JUDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CABEZA, ANA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CABEZA, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CABEZA, IRMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CABEZUDO, CARMEN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CABEZUDO, CARMEN DE L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CABRERA, PRISCILLA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CALDERON, KATHERINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CANDELARIA, LAURA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CANDELARIO, JOSE A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CANDELARIO, NIVIA R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CARABALLO, ANGEL J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CARABALLO, SONIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CARDONA, ANGELICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CARDONA, CARLOS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CARDONA, LISHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CARELA, ALTAGRACIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CARMONA, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CARMONA, YEXENIA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CARRASCO, SULMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CARRASQUILLO, JULIO O    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CARRASQUILLO, SANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CARRILLO, MYRNA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CARTAGENA, CARMEN V      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CARTAGENA, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CARTAGENA, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CASILLAS, KATY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CASTELLANOS, JEANNETTE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CASTELLANOS, JOHN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CASTELLANOS, KAREN M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CASTELLANOS, SHIRLEY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CEPEDA, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CHARNECO, ERIC           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CHEVERE, LORELEYNE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CINTRON, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CINTRON, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CINTRON, NORBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6450 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1451 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SIERRA CINTRON, NORBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CINTRON, ROSA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA COLON, CARLOS J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA COLON, GIONANNI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA COLON, LUZ S.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA COLON, OLGA Y.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA COLON, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CONCEPCION, ISMAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CONCEPCION, JUANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CONCEPCION, PEDRO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CONCEPCION, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CORDOVA, FRANSHESKA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CORONADO, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA COTTO, PRISCILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA COTTO, SHEILA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CRESPO, KARENY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CRESPO, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CRUZ, CARMEN T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CRUZ, ERICK              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CRUZ, JULIO A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CRUZ, VICTOR O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CUELLAS, NYDIA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA CURBELO, KHEISLA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA DE JESUS, ERICK R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA DE JESUS, FRANCHESKA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA DE JESUS, LEINAD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA DE LEON, ENID M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA DELGADO, HILDA G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA DELGADO, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA DIAZ, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA DIAZ, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA DIAZ, NANETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA DIAZ, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA DIAZ, SONIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA DIAZ, TOMAS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA DONATE, MARIA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ECHEVARRIA, LIZBETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ENCARNACION, WANDA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ERAZO, BIBETTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ESCALERA, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ESCOBAR, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ESTRADA, LEYDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ESTRADA, LEYDA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ESTRADA, MERCEDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ESTRADA, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA FALCON, VERONICA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA FEBUS, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA FEBUS, JULIO E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA FEBUS, ROSEMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6451 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1452 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SIERRA FEBUS, ROSEMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA FIGUEROA, BERAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA FIGUEROA, EDNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA FIGUEROA, ERNESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA FLORES, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA FLORES, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA FLORES, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA FLORES, MARIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA FORMISANO, NYDIA O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA FORMISANO, OTTO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA FRANCO, GLORIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA FRANCO, GLORIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA FRANCO, GLORIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GALINDEZ, TATIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GALINDEZ, TATIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GALINDO, DALET D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GARCIA, ALEXANDER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GARCIA, EDGAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GARCIA, EDWARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GARCIA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GARCIA, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GARCIA, KRIZIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GARCIA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GARCIA, NOELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GARCIA, WILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GARCIA, ZANIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GOMEZ, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GOMEZ, MICHAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GOMEZ, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GOMEZ, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GOMEZ, TANICHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GONZALEZ, AXEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GONZALEZ, BENJAMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GONZALEZ, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GONZALEZ, EMIDIO G.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GONZALEZ, EUFEMIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GONZALEZ, HECTOR J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GONZALEZ, ILIANESSYS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GONZALEZ, IRIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GONZALEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GONZALEZ, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GONZALEZ, MARIA DE L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GONZALEZ, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GONZALEZ, NOELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GONZALEZ, PILAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GOROSTOLA, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GORRITZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GOTAY, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GRAJALES, VIOLET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6452 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1453 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SIERRA GUADALUPE, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GUZMAN, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA GUZMAN, MARTHA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA HERNANDEZ, IDANIA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA HERNANDEZ, LUCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA HERNANDEZ, MARTA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA HERNANDEZ, MARTHA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA HERNANDEZ, MARTHA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA HERNANDEZ, TIFFANY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA HERNNADEZ, NORBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA HUGUET, NECMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA HUGUET, NECMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA HUGUETT, NECMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA IGLESIA, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA IRIZARRY, JUANITA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA IRIZARRY, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA IRIZARRY, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA IRIZARRY, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA IRIZARRY, NILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA IRIZARRY, VIRGEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA JIMENEZ, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA JIMENEZ, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA KUILAN, SALLY I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LAFONTAINE, NILSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LAGARES, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LAGARES, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LAGARES, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LAGUNA, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LLANOS, ELBA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LOPEZ, AUGUSTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LOPEZ, CATALINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LOPEZ, FELIX A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LOPEZ, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LOPEZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LOPEZ, JUANITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LOPEZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LOPEZ, NITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LOPEZ, NORMA J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LOZADA, MICHELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LUCCA, MAYRA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LUGO, FELIX D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA LUGO, GLARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MACHADO, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MADERA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MALAVE, ZULMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MALDONADO, ALFONSO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MALDONADO, CARLOS A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MALDONADO, JENNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED




                                                                                                                                                               PAGE 6453 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1454 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SIERRA MALDONADO, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VLADIMIR
SIERRA MALDONADO, SAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MARIN, REINALDO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MARRERO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MARRERO, JOSE C          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MARTINEZ, AMERICO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MARTINEZ, JANICE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MARTINEZ, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MARTINEZ, JOSE E         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MARTINEZ, KENIA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MARTINEZ, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MARTINEZ, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MARTINEZ, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MASTACHE, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MATOS, GINA MICHELLE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MATOS, MATEO             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MATOS, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MAYA, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MAYA, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MAYA, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MAYA, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MEDINA, CARMEN R         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MEDINA, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MEDINA, MARCOS T         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MELECIO, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MELECIO, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MELECIO, DIANA M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MELECIO, JOSEFINA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MELENDEZ, ANA C          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MELENDEZ, DELIA M        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MELENDEZ, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MELIA, EVALISSE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MENDEZ, BLANCA I         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MENDEZ, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MENDOZA, MARLENE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MERCADO, LISANDRA E.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MERCADO, LOENIE C        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MERCADO, MARIELLY        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MERCED, AN JELANI        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MERCED, CARMEN B         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MERCED, CARMEN G         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MERCED, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MERCED, DELFIN           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MERCED, JESUS M          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MILIAN, NERY M           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MIRANDA, DENNIS          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MIRANDA, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIERRA MIRANDA, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6454 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1455 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SIERRA MOJICA, RAYMOND          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MOLINA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MOLINA, CARMEN IVETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MOLINA, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MOLINA, JHOSEDYDEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MOLINA, JUAN E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MONTANEZ, DAISY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MONTERO, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MONTERO, VICTOR M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MORALES, CAROLINE B      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MORALES, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MORALES, IDALMY E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MORALES, IDALMY E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MORALES, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MORALES, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MORALES, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MORALES, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MORALES, MAYRA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MORALES, NAOMI I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA MORALES, VIRGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA NAVARRO, LYDIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA NEGRON, ANA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA NIEVES, CARLOS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA NIEVES, CARLOS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA NIEVES, GISSETTE X       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA NIEVES, JOHANNIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA NIEVES, ROSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA NIEVES, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA NOGUERA, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA OCASIO, LUZ R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA OQUENDO, DIMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA OQUENDO, JUAN ALBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA OQUENDO, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORFILA, GLORIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORFILA, GLORIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORFILA, GLORYMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTEGA, DINORAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTEGA, JUAN D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTEGA, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTEGA, XAYMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTEGA, ZULMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTIZ, CALIXTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTIZ, CARMEN J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTIZ, CARMEN L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTIZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTIZ, JIM W             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTIZ, JOHANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTIZ, JOHANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTIZ, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6455 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1456 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SIERRA ORTIZ, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTIZ, LIZY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTIZ, LIZY M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTIZ, LUZ S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTIZ, LYMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTIZ, MARTHA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTIZ, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTIZ, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ORTIZ, WILNELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA OTERO, YARIVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PACHECO, EMMANUEL J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PACHECO, IRIS L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PADILLA, YOANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PADRO, MILDRED M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PAGAN, CARMEN N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PAGAN, DIONET E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PAGAN, DORIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PAGAN, JACOB             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PAGAN, JULIA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PAGAN, ROSARIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PAGAN, WALLY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PAGAN, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PASCUAL, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PASCUAL, ESTHER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PEDRAZA, ARMANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PEDROZA, DIANA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PENA, EDWARD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PENA, JOAN E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PEREZ, ELSA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PEREZ, ESTEBAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PEREZ, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PEREZ, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PEREZ, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PEREZ, JOSE E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PEREZ, LUZ ESTHER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PEREZ, MARIA DEL P.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PEREZ, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PEREZ, MARIA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PEREZ, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PEREZ, ROSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PEREZ, VICENTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PEREZ, VIRMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PERREIRA, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PIMENTEL, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PIMENTEL, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PINERO, KENDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PIZARRO, AURORA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PLACERES, MARCOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PLAZA, GLADYS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6456 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1457 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SIERRA PLAZA, WILBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA PUPO, CLAUDIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA QUIROS, ANGEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RAMIREZ, ABRAHAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RAMIREZ, CARMEN J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RAMIREZ, IVETTE M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RAMIREZ, MYRNA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RAMOS, AIDA R.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RAMOS, ANGELICA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RAMOS, LUZ D              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RAMOS, YANIRA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RAMOS, YARITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RESTO, YANAIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RESTO, YANCIE M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA REYES, BLANCA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA REYES, MARIA V            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA REYES, MARIA V            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIOS, JESUS M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIOS, KANISHA L.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIOS, MARITZA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIOS, MARITZA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIOS, MAYRA I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIOS, YESENNIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, ANALIZ            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, ANGEL M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, ARMANDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, ARMANDO J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, BENITO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, CARMEN E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, CARMEN L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, CARMEN L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, CAROLINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, CAROLINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, ERIKA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, HILDA T           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, IVELISSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, IVELISSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, JESUSA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, JORGE L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, JOSE L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, JUDYBEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, LUIS A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, LUIS M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, LUZ S             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, LYDA I.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, MARIA DE LOS A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, MERELIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, MERELIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, MILAGROS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6457 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1458 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SIERRA RIVERA, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, NANCY E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, NANCY E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, NORMA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, PEDRO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, RANDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, RENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, TANYA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, VERUSHKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RIVERA, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROBLES, ELSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROBLES, GIOVANNI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROBLES, GIOVANNI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, ANGEL R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, AWILDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, CARLOS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, CARLOS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, CARMEN M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, CARMEN N.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, ENRIQUETA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, EVA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, JAYSON J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, MARIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, MAYKA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, MAYKA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, NITZY I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, SANDRA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, SMYRNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, SONNIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, TERESA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, WANDA D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RODRIGUEZ, ZULEYKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROJAS, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROJAS, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROJAS, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROJAS, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROLDAN, ELBA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROLON, HUMBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROMAN, BENITO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROQUE, JOSEPH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6458 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1459 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SIERRA ROSA, AIDA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSA, DANNY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSA, ELBA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSA, JUAN D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSA, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSA, OLGA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSA, OLGA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSA, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSA, WILMA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSA, YARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSADO, IVONNE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSADO, MARIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSADO, MARICARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSARIO, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSARIO, ELSIE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSARIO, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSARIO, MARIANNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSARIO, NATALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSARIO, NATALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSARIO, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSARIO, YAMILLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ROSARRIO, ELSIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RUBIO, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA RUIZ, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SAEZ, MARIELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SALGADO, FREDDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SALGADO, SOLIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SALGADO, SOLIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANCHEZ, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTANA, CARLOS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTANA, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTIAGO, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTIAGO, HERNALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTIAGO, JIMMY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTIAGO, KENNETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTIAGO, KENNETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTIAGO, LAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTIAGO, LAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTIAGO, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTIAGO, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTIAGO, VIVIAN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTIAGO, VON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTIAGO, VON M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTOS, JAIME O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTOS, KIARA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SANTOS, ZULEIKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SASTRE, YAJAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SEPULVEDA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SERRANO, ANASTACIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6459 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1460 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SIERRA SERRANO, KENNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SEVILLA, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SIERRA, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SIERRA, NOELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SIERRA, NOELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SIERRA, NOELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SIERRA, SERVILIANO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SIERRA, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SIERRA, VILMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SOLANO, SANDRA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SOLER, MARCOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SOLLA, LAURA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SOTO, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA SOTO, HARRY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TELLADO, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TELLADO, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TIRADO, NARCISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORO, JESUS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, ANGEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, ERVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, JUAN CARLOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, JULIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, JULIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, KARLA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, LUIS ROBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, LUIS ROBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, MARIA DEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, ROSALINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, SERAFIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRES, TOMASA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA TORRUELLAS, CRUZ M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VANGA, LUCILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VARGAS, EVARISTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VARGAS, LUIS O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VARGAS, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VAZQUEZ, AIDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VAZQUEZ, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VAZQUEZ, ANA F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VAZQUEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VAZQUEZ, LIZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VAZQUEZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VAZQUEZ, MARISEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VAZQUEZ, MARISEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6460 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1461 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SIERRA VAZQUEZ, WILLIAM GABRIEL   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VEGA, ALBERTO              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VEGA, CARMEN M.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VEGA, JUAN                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VEGA, LIZ                  REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VEGA, LIZ MARIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VEGA, MARISEL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VEGA, MARITZA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VELAZQUEZ, ANTONIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VELAZQUEZ, ANTONIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VELAZQUEZ, BLANCA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VELAZQUEZ, CARLOS C        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VELAZQUEZ, CARLOS C        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VELAZQUEZ, ELIUDES         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VELAZQUEZ, ELIURDES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VELAZQUEZ, MARIA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VELAZQUEZ, MARIA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VELAZQUEZ, MARITZA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VELAZQUEZ, RAMON L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VELAZQUEZ, SOBEIRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VELAZQUEZ, SOBEIRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VELAZQUEZ, SONIA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VELEZ, JULIA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VERA, WILLIAM              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VIERA, RADAMES             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VIERA, RADAMES             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA VIVAS, JOHNNY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ZABALA, MAGALY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ZABALA, MAGALY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA ZAYAS, ANGEL               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA, CANDIDO                   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRA, PEDRO E                   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRAACOSTA, SATURNINO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRADIAZ, JOSE A                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIERRAPEREZ, LUZ E                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIEVENS FIGUEROA, DEBORAH L.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIEVENS IRIZARRY, EILEEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFONTE CALDERO, GRISEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFONTE CALDERO, IVELISSA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFONTE DIAZ, ELBA L              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFONTE DIAZ, WILFREDO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFONTE DIAZ, WILMA I             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFONTE PEREZ, BENJAMIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFONTE PEREZ, HELVYN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFONTE PEREZ, NORKA I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFONTE PEREZ, VESTA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFONTE RIVERA, ISABEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFONTE RIVERA, NEREIDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFONTE RIVERA, RAFAEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6461 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1462 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SIFONTE RODRIGUEZ, MICHELLE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFONTES PEREZ, VESTA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFONTES RAMIREZ, SANDRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFONTES SOTOMAYOR, BEATRIZ M.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFONTES SOTOMAYOR, JOSE J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFRE AYABARRENO, GEORGE W        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFRE BABILONIA, ARNALDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFRE CORDERO, ALBA ENID          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFRE PEREZ, PRISCILLA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFRE ROMAN, AILICEC              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFRES FERNANDEZ, ALPHONSOUS L    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFUENTES CARRASQUILLO, JESSICA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFUENTES LOPEZ, JUAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFUENTES REYES, RADAMES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFUENTES RIVERA, DAMARIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFUENTES VILLAFANE, ENEIDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIFUENTES VILLAFANE, JUAN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIGFREDO RIVERA, NORMANDIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIGURANI MEDINA, NIRVIA A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SIGURANY PEREZ, WANDA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILEN BELTRAN, FRANCISCO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILEN FIGUEROA, SARAHI            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILEN MALDONADO, HECTOR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILEN RIVERA, PAMELA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILEN RIVERA, PAMELA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILEN RODRIGUEZ, MIRIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILEN ZAYAS, JUAN A.              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILFA DELAHONGRAIS, PATRICIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILFA DELAHONGRAIS, RICARDO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ABREU, YOLANDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ABREU, YOLANDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ACEVEDO, MIGDALIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ACEVEDO, RICARTE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ACOSTA, HUMBERTO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ADORNO, DANIEL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALAMEDA, MARILYN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALBERTY, MARIA D            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALBINO, ADA                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALBINO, ADA                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALBINO, ADA                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALBINO, MARGARITA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALBINO, MARTA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALBINO, MARTA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALBINO, MARTA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALBINO, WILFREDO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALEXANDRINO, ROBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALICEA, LUZ I.              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALMODOVAR, JAIME            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALMODOVAR, JOSE A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6462 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1463 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SILVA ALMODOVAR, JOSE D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALMODOVAR, MARILUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALMODOVAR, MARILUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALONSO, INGRID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALONSO, INGRID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALVARADO, VIVIANNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ALVERIO, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ARCE, JENNIFER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA AVILES, ANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA AVILES, ANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA AVILES, EDGAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA AVILES, ELSIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA AVILES, ELSIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA AVILES, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA AVILES, GIANAINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BADILLO, NOEMI B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BAEZ, BENIGNO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BAEZ, IVONNE V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BARBER, FRANCES T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BARBOSA, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BARBOSA, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BARBOSA, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BARRETO, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BASORA, MARIA DE LOS A.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BATISTA, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BATISTA, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BAYRON, CARMEN N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BAYRON, CARMEN N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BELTRAN, JUAN R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BERMUDEZ, MYRTHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BERNIER, BELEN S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BERNIER, JOSE V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BERNUDEZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BERRIOS, AGUSTIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BERRIOS, AGUSTIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BERRIOS, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BERRIOS, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BETANCOURT, JORGE R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BETANCOURT, LETICIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BETANCOURT, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BISBAL, ANA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BLAS, B                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BONILLA, ARICELIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BONILLA, DAVID E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BONILLA, EDWARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BONILLA, OMAR D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BOSCHETTI, JANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA BRETANA, EDWIN MANUELL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA CABRERA, FRANK            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6463 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1464 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SILVA CAMPOS, BRYAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CANALES, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CANALES, WANDA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CANALES, WANDA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CARDONA, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CARLE, LUZ S              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CARO, ROSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CARO, ROSA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CARO, ROSA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CARRASQUILLO, JULIO E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CARRERAS, IXAMARYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CARRERAS, NATANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CARRION, MARIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CASANOVA, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CASANOVA, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CASANOVA, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CASTRO, NOELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CEBALLO, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CENTENO, BRENDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CHAPARRO, VALERIE D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CHERENA, ANABELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CHERENA, EDWARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CHERENA, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CHEVERE, SHIRLEY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CINTRON, LEYMARITE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CINTRON, MARIA DE LOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CINTRON, MAYRA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CINTRON, MAYRA DEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CLAUDIO, ALEXANDER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CLAUDIO, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CLEMENTE, KIMBERLY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA COLL, MARIA J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA COLLAZO, CARMELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA COLLAZO, FERMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA COLLAZO, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA COLLAZO, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA COLLAZO, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA COLLAZO, YAHAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA COLON, ILIANET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA COLON, ILIANET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA COLON, JACOB              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA COLON, LYDIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA COLON, MARGIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA COLON, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA COLON, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CONCEPCION, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CONCEPCION, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CONCEPCION, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CONCEPCION, SONIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6464 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1465 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SILVA CORDERO, ADALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CORDERO, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CORDERO, JAHZEEL O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CORREA, EDNA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CRESPO, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CRUZ, ALBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CRUZ, MANUELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CRUZ, MERIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CRUZ, MERIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CRUZ, MORAIMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CRUZ, ROBINSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA CRUZ, VIVIAN L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DAVILA, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DAVILA, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DE ENCARNACION, AIDA L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DE JESUS, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DE JESUS, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DE LA PAZA, YESMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DELGADO, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DELGADO, REBECA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DELGADO, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DIAZ, BRENDA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DIAZ, JUDITH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DIAZ, LUZ N.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DIAZ, MARTIN O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DIAZ, RAFAEL E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DIAZ, YEIDI V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DIEPPA, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA DIXON, DENISE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA EFRE, CARMEN R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA EMANUELLI, ELBA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA FELICIANO, ELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA FERNANDEZ, PATRICIA E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA FIGUEROA, ADELAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA FIGUEROA, ANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA FIGUEROA, GLENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA FIGUEROA, GLENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA FIGUEROA, JAZMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA FIGUEROA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA FIGUEROA, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA FIGUEROA, MERCEDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA FLORES, MILAGROS I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA FRANQUI, ADRIANA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA FREYTES, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA FUENTES, ELSIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GARCIA, ANTONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GARCIA, CYNTHIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GARCIA, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GARCIA, LUIS J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6465 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1466 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SILVA GARCIA, LUIS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GARCIA, MARCO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GARCIA, YAHAIRA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GARCIA, YAHAIRA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GARCIA, ZULMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GARCIA, ZULMA H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GASTON, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GASTON, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GELABERT, CHARLIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GELABERT, GILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GELABERT, GILDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GOMEZ, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GOMEZ, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GOMEZ, MARIA T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GOMEZ, VICTOR B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GONZALEZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GONZALEZ, CARMEN P        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GONZALEZ, CRISTEE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GONZALEZ, DENISSE I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GONZALEZ, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GONZALEZ, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GONZALEZ, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GONZALEZ, ERIKA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GONZALEZ, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GONZALEZ, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GONZALEZ, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GONZALEZ, JAVIER O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GONZALEZ, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GONZALEZ, NORMA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GONZALEZ, YASHIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GOTAY, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GUARDARRAMA, JORGE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GUERRERO, RAMON S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GUILFU, BASILIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GUILFU, BASILIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GUILFU, NEIDALINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GUILFU, NEIDALINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GUILFU, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GUISHARD, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA GUTIERREZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA HENRIQUEZ, RAMON A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA HERNAIZ, JOHANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA HERNAIZ, ROSSANA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA HERNANDEZ, ABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA HERNANDEZ, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA HERNANDEZ, EVELYN J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA HERNANDEZ, HENRY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA HERNANDEZ, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA HERNANDEZ, MARLIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6466 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1467 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SILVA HERNANDEZ, NOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA HERNANDEZ, RUTH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA HERNANDEZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA HERNANDEZ, YEIDY R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA HERRERA, NYVEA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA HERRERA, NYVEA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA HUERTAS, NYDIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA HUERTAS, PIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA HUYKE, CARMEN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA HUYKE, IVELYS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA IGLECIA, ROLANDO A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA IGNACIO, MERCEDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA INCHAUTEGUI, JOSE A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA IRIZARRY, DEBORAH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA IRIZARRY, FRANCISCO E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA JENARO, DIANE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA JIMENEZ, JOSE G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA JUSTINIANO, EMELLYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA JUSTINIANO, NORBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LABOY, SANTOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LAMB, GRISELIDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LAMB, JOSELINE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LAMBOY, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LARRACUENTE, CARMEN N.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LAUREANO, JOELLY A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LAUREANO, JOELLY A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LAUREANO, ROSA EDITH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LIVERA, LUIS R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LLANERA, TAMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LLANTIN, CASTOR S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LLINAS, RAMONA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LOPEZ, AGUSTIN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LOPEZ, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LOPEZ, EMMARILIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LOPEZ, HARRY A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LOPEZ, MABEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LOPEZ, MIGUEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LOPEZ, YAHVE O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LOPEZ, YASMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LOZADA, PEDRO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LOZADA, PEDRO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LOZANO, ALFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LOZANO, ALFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LUCIANO, ANA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA LUCIANO, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA MADERA, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA MADERA, FERNANDO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA MADERA, OLGA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA MALDONADO, HENRY F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6467 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SILVA MALDONADO, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MARIANI, NORA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MARTI, SORGALIM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MARTINEZ, AIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MARTINEZ, AIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MARTINEZ, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MARTINEZ, BIANCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MARTINEZ, CAROL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MARTINEZ, DOMINGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MARTINEZ, ELITHET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MARTINEZ, HILDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MARTINEZ, INES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MARTINEZ, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MARTINEZ, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MASSO, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MASSO, PATRICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MATOS, MIRTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MEDERO, MARTA J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MEDINA, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MEDINA, JUANITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MEDINA, SANTIAGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MELENDEZ, DORA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MELENDEZ, PILAR E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MELENDEZ, VICTOR J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MENDEZ, LIZA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MENDEZ, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MENDEZ, OMAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MERCADO, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MERCADO, MARICARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MERCADO, MARICARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MERCED, EVA R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MERCEDES, JOSE V.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MESTRE, DEBBIE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MILLAN, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MOJICA, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MOLINARY, ALEX M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MONTALVO, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MONTALVO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MONTERO, KARINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MONTES, ROSA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MORALES, AMY Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MORALES, ANETT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MORALES, ANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MORALES, MARY C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MORALES, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MORALES, SONIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MORALES, SONIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MORELL, MARIA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA MUNOZ, YERITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6468 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1469 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SILVA MUNOZ, YERITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA MUSALEM, MARIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA NAVARRO, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA NAVARRO, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA NAZARIO, LUIS G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA NEGRON, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA NIEVES, LUZ M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA NIEVES, RUTH M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA NUNEZ, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA NUNEZ, WILLMAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA OCASIO, HILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA OCASIO, JULIO H.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA OCASIO, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA OJEDA, RENE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ORTIZ, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ORTIZ, CARMEN S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ORTIZ, CRISTOBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ORTIZ, MARIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ORTIZ, MELBA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ORTIZ, MELISSA G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ORTIZ, NORA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ORTIZ, ROSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA OTERO, JESUS G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA OTERO, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA PADILLA, NYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA PARRA, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA PEREA, SHELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA PEREZ, JOSE E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA PEREZ, MANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA PEREZ, RUTH               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA PEREZ, RUTH ELI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA PEREZ, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA PIAZZA, ROSANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA PLAJA, ROLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA PROSPERES, ABELARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA PURAS, JORGE P.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA QUILES, ORLANDO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA QUINONES, ISCHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA QUINONES, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RAMIREZ, IRAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RAMIREZ, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RAMIREZ, MAYRA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RAMIREZ, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RAMOS, ALEXANDER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RAMOS, ANGEL L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RAMOS, LUZ N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RESTO, ROBERTO C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA REYES, CARLOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA REYES, FELIX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6469 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1470 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SILVA REYES, IVONNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA REYES, LUIS R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA REYES, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA REYES, WILMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA REYES, WILMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIOLLANO, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIOS, DEYRAH O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIOS, JANNETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIOS, LILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIOS, LUZ M.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIOS, LUZ M.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIOS, MARIA DEL P         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIOS, RAQUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIOS, RAQUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, ABNER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, ABNER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, ALBERTO O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, CARELYS N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, CHARLIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, DIANISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, ENRIQUE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, ENRIQUE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, EUNICE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, FLOR M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, GRACIELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, GRACIELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, JAVIER E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, KIMBERLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, MELISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, OLGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, RAFAEL AUGUSTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RIVERA, SARA N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ROBLES, MELITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ROBLES, ROXANNA DEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ROBLES, ROXANNA DEL MAR   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, ABNERIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, ANTHONY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, ANTHONY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, ANTHONY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6470 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1471 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SILVA RODRIGUEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, DENISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, EDITH L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, ERIC           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, EUNICE G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, GERMAN A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, INGRID S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, JANIRIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, JESUS C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, TAMIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RODRIGUEZ, ZORAIDA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ROLON, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ROMAN, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ROMAN, LUIS O             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ROMAN, MABEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ROMERO, CARMEN L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ROMERO, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ROSA, CANDIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ROSA, LUIS J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ROSADO, KIARA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ROSARIO, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ROSARIO, MAYRA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA ROSAS, SAMUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RUIZ, ADELAIDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RUIZ, CARLOS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RUIZ, CARLOS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RUIZ, EMELINDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RUIZ, EMELINDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RUIZ, RENE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA RUIZ, SANDRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SAEZ, LISA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANCHEZ, ALEJANDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANCHEZ, ALEJANDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANCHEZ, ANGEL LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANCHEZ, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANCHEZ, FELICIANO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANCHEZ, KEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANCHEZ, KEILA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANCHEZ, LIZA MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANCHEZ, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANCHEZ, ROSALINDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANCHEZ, WANDA Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANTELL, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANTIAGO, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANTIAGO, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANTIAGO, ERNESTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6471 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1472 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SILVA SANTIAGO, FELIX R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANTIAGO, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANTIAGO, JUAN C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANTIAGO, MARLENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANTIAGO, MELANIE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANTIAGO, MIRTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANTIAGO, YANIRA H.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANTOS, ANTONIO F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANTOS, CECILIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SANTOS, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SEGARRA, NATIVIDAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SEPULVEDA, VIRGEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SILVA, ANTOLIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SILVA, JUANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SILVA, LUZ                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SILVA, LUZ N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SILVA, MARIA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SOLER, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SOSA, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SOTO, JOSHUA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SOTO, ORLANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SOTO, SARA R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SUAREZ, EDNA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SUAREZ, GEORGINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SUAREZ, JOSEFINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA SUAREZ, REGINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA TORO, MARISELIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA TORRES, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA TORRES, ARMANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA TORRES, ARMANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA TORRES, BENJAMIN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA TORRES, ELIENYD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA TORRES, IVANELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA TORRES, JEAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA TORRES, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA TORRES, LEINY E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA TORRES, LUZ A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA TORRES, MANUEL R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA TORRES, MERVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA TORRES, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA TROCHE, ARIEL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA VALLE, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA VARGAS, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA VARGAS, SANTIAGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA VAZQEUZ, SHARALYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA VAZQUEZ, CARMEN H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA VAZQUEZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA VAZQUEZ, PASCUAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SILVA VEGA, CASTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6472 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1473 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SILVA VELAZQUEZ, ADA NIVEA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VELAZQUEZ, ANGEL M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VELAZQUEZ, GLORIA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VELAZQUEZ, JENNIFER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VELAZQUEZ, PEDRO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VELEZ, DORIS W              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VELEZ, EVELYN               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VELEZ, FRANCISCA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VELEZ, HECTOR               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VELEZ, IRIS V               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VELEZ, NERY N               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VELEZ, RICARDO              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VELEZ, ROSA HERMINIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VERGARA, CONCEPCION         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VICENTE, GLADYS E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VIDAL, JEANETTE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VIERA, AMARILLIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA VIERA, AMARYLLIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA, BLAS B.                    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA, CARLOS                     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVA, ELLIOT A                   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGNOLI CASTRO, MARIA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGNOLI CASTRO, MARIA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGNOLI DIAZ, NORMA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGNOLI DIAZ, ROBERTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGNOLI HERNANDEZ, SHEILA D    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGNOLI HERNANDEZ, WILMA I     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGNOLI HERNANDEZ, ZULMA Y     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGNOLI LOPEZ, HILDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGNOLI MANUEL, FRANCES A.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGNOLI MANUEL, ROSA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGNOLI MANUEL, WANDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGNOLI MANUEL, WANDA J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGNOLI SANTIAGO, GLAMARIE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGNOLI SANTIAGO, LUIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGNOLI SANTIAGO, LUIS J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGNOLI TORRES, MILAGROS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVAGROLI RIVAS, JONATHAN D      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVANIEVES, JOSE A               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVER CAMACHO, JOAQUIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVER CINTRON, AIDA DEL CARMEN   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVER RODRIGUEZ, AMARILYS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVERA DIAZ, ROMERY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVERIO ADAMES, MELINDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVERIO CRUZ, JOSE E             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVERIO OSORIO, MELIDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVERIO PAYANO, JOSUE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVERIO PENA, ALFREDO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED
SILVERIO PENA, RUT                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                                 PAGE 6473 OF 7285
SCHEDULE E
                                    Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                 Desc:
AS REPRESENTATIVE OF                                       Schedule E3 Page 1474 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                    UNLIQUIDATED
                                                                                                                       CONTINGENT


                                                                                                                                                   DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3       CITY       STATE ZIP CODE                                               AMOUNT
SILVERIO PENA, RUT                REDACTED                     REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SILVERIO PENA, RUT N              REDACTED                     REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SILVERIO PIMENTEL, VANESSA        REDACTED                     REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SILVERIO PIMENTEL, VANESSA        REDACTED                     REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SILVESTRE LOPEZ, TERESITA         REDACTED                     REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SILVESTRE LOPEZ, TERESITA         REDACTED                     REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SILVESTRE LUGO, JOSE              REDACTED                     REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SILVESTRE MARCANO, MARTA S        REDACTED                     REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SILVESTRINI ALICEA, JORGE         REDACTED                     REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SILVESTRINI ALVAREZ, JUANA        REDACTED                     REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SILVESTRINI BEAGGI, SONIA         REDACTED                     REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SILVESTRINI CARRASQUILLO, YARI X. REDACTED                     REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SILVESTRINI FIGUEROA, IRIS A.     REDACTED                     REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SILVESTRINI MALDONADO, CAMILLE M REDACTED                      REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED

SILVESTRINI RAMOS, GILBERTO         REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRINI ROSALY, MARION C        REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRINI RUIZ, JEAN C.           REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRINI RUIZ, JORGE L           REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRINI RUIZ, LUIS A            REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRINI SANTIAGO, LIZMAR        REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRINI VILLANUEVA, AMY         REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRINI VIRUET, EDNA A          REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRINI, MARGARITA              REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRIZ ALEJANDRO, MICHELLE D.   REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRY ALVAREZ, SYLVIA           REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRY CRUZ, ADRIANA             REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRY GONZALEZ, JOSE L          REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRY HERNANDEZ, IVONNE D       REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRY HERNANDEZ, KATHERYNE      REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRY HERNANDEZ, YVONNE D       REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRY LLORENS, ANDRIA C         REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRY MACHAL, JORGE M.          REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRY MACHAL, RUBEN A           REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRY TORRES, ANGEL F           REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVESTRY TORRES, ANGEL F           REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SILVIA OCASIO, ZAIDA E              REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SIMEONIDES DIAZ, MELINA H.          REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SIMMONDS HECTOR, DENESIA            REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SIMMONS DE RIVAS, FRANCISCA         REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SIMMONS GARCIA, WANDA               REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SIMMONS JAVIER, AIXA I              REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SIMMONS MATOS, HECTOR E.            REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SIMMONS MENDOZA, LUZ D              REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SIMMONS MERCADO, EDWIN E            REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SIMMONS NARVAEZ, LUIS A             REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SIMMONS RIVERA, RICHARD             REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SIMMONS ROSARIO, HECTOR             REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED
SIMO BECERRA, ALMA                  REDACTED                   REDACTED    REDACTED        REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                   PAGE 6474 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1475 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SIMO BECERRA, MYRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIMO RIOS, INES                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIMON ERAZO, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIMON ERAZO, MAYRA Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIMON LOPEZ, REINALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIMON RAMOS, ISRAEL J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIMON ROBLES, URAYOAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SIMONET MALDONADO, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ANTONIO M.
SIMONETTI CRUZ, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONETTI DEL TORO, ISMAEL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONETTI DEL TORO, LAURA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONETTI FIGUEROA, JANETTE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONETTI JIMENEZ, LUIS R       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONETTI MARTINEZ, MARGARITA   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONETTI RODRIGUEZ, YASTKA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONETTI SANTIAGO, NICOLE M.   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONETTI TORRES, CARLOS R.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONETTY GREEN, CARLOS A       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONETTY TORO, SILVIA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONI TORRES, RENATO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONS ENCARNACION, CARLOS      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONS ENCARNACION, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONS GARCIA, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONS HERRERA, JENNY           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONS HERRERA, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONS MARIN, MAGALI            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONS MENDOZA, EDNA L          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONS ORTIZ, JULIO S.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONS RIOS, ERICK X.           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONS RODRIGUEZ, LAURA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMONSORTIZ, LORNA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMOUNET ARDIN, ANDRAUNICK      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMOUNET BEY, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SIMUNOVIC MARIA, XIMENA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SINAGOGUE RAMOS, WILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SINAGOGUE RAMOS, WILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SINDO ROSADO, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SINGH CRUZ, PAUL A              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SINGH, MELISSA B                REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SINGIAN MANITI, LUZMINDA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SINGUL GOMEZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SINGUL GOMEZ, JOSE L.           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SINIGAGLIA CARABALLO, JOSE F    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SINIGAGLIA CORREA, ENRIQUE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SINIGAGLIA CORREA,ENRIQUE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SINIGAGLIA MADERA, ELIZABETH    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SINIGAGLIA MADERA, EYLEEN I     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SINIGAGLIA MERCADO, ELLIOT E.   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6475 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1476 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SINIGAGLIA MONTALVO, DORIANN E   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SINIGAGLIA ORENGO, RUDES E.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SINIGAGLIA SAEZ, SONIA L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SINK GUILLIAMS, TRUDDY M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIPULA OCASIO, MARK              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIRAGUZA ESTRELLA, ROBINSON      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISCO CARRERO, MILAGROS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISCO CENTENO, AMERICO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISCO GONZALEZ, LOURDES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISCO LOZADA, EVELYN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISCO OQUENDO, ANTONIO J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISCO PEREZ, AMNERIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISCO PEREZ, AMNERIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISCO PEREZ, ANTHONY J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISCO PEREZ, ASTRID I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISCO RODRIGUEZ, ELBA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISCO RUIZ, CARMEN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISCO RUIZ, MIGUEL A             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISCO TORO, JOSE L               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISCO TORRES, JOSEPH A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISCO VELEZ, OSCAR               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISCO VELEZ, ROBERTO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISO FELICIANO, NANCY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SISO VAZQUEZ, MARIA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SITTON AIZPRUA, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIURANO HERNANDEZ, DINORAH T     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIURANO LUCIANO, MABEL A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIURANO ORTIZ, ARNALDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIURANO ORTIZ, ARNALDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIURANO ORTIZ, LORENZO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIURANO PEREZ, OSIRIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIURANO PEREZ, SANDRA N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIURANO SIBERON, DAVID L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIVAGNONI SANTIAGO, LUIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIVERIO BRAVO, LAURA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIVERIO HERRERA, REINALDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIVERIO ROSA, MARITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIVERIO VELEZ, MADELIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIVERIO VELEZ, MADELYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SIVERIOLOPEZ, JUAN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SKAPIER ZEIGER, GANITA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SKERETT BURGOS, NASHALIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SKERRET DIAZ, LINDA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SKERRET MERCADO, JUAN R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SKERRET PARRILLA, WILLIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SKERRET, VICTOR                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SKERRETT DIAZ, GEOVANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SKERRETT ESCALERA, DEBORAH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SKERRETT ESCALERA, RAQUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                                PAGE 6476 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                      Schedule E3 Page 1477 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
SKERRETT GARAY, ARIANA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SKERRETT GARAY, TATIANA M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SKERRETT LAUREANO, VILMA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SKERRETT MOLINA, FERNANDO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SKERRETT ORTIZ, SAMUEL             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SKERRETT PARRILLA, EUGENIO         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SKERRETT RIVERA, PAULA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SKERRETT RODRIGUEZ, JANNETTE       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SKERRETT TORRES, JOSE A            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SKERRETT, FERNANDO                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SKINNER PEREZ, JAMES T             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SKOFF BEAUCHAMP, MARY JANE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SLAS LORENZO, RUBEN                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SLOAN ALTIERI, ANIBELLE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMADI COLON, FATIMA                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMALL RYAN, EAMONN M               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMALL, KATHLEEN                    REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMART BAEZ, CHARLES                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMART MORALES, MELISSA A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH BERMUDEZ, MARLENE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH CALDERON, YESENIA M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH CHAMPION, CHARLES L          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH HARRIS, ANNE M.              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH JORGE, MARITZA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH KENNETH, PAUL                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH LOPEZ, CLEVELAND             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH MARTINEZ, NYDIA E            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH MILAN, HARY                  REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH MONTANEZ, LOURDES            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH RIVERA, DEREK                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH RIVERA, YESSIKA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH RODRIGUEZ, MARIA TERESA      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH RODRIGUEZ, RICHARD           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH SANTIAGO, LINDA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH SANTIAGO, LINDA L            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH VELAZQUEZ, RICKEY T          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITH, JORGE                       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMITS VELEZ, WALTER R              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMOLIN, MICHAEL G.                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SMYTH DELGADO, THOMAS P            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SNEED MARRERO, MARIE               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SNEED RODRIGUEZ, WALTER            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SNOW, ENVAGELINA                   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SNTOS MARTINEZ, BERNARDA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SNYDER MORALES, LESLIE CHRISTINE   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SNYDER NIEVES, LOUIS J             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SNYDER ZALDUONDO, LAWRENCE J.      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SOBA MUNOZ, ISMAEL                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SOBA OSORIO, BYANKAH D.            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6477 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1478 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOBA PETERSON, GLORIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBA PETERSON, MIRIAM A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBA SANTIAGO, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL DEL VALLE, MARIBEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL DEL VALLE, NYDIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL DEL VALLE, NYDIA N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL DELGADO, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL DELGADO, GLORIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL DELGADO, NIDZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL DELGADO, TOMAS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL HERNANDEZ, ZULMA Z      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL HERRERA, CARLOS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL HERRERA, GLORIA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL IRIZARRY, GEANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL IRIZARRY, MARIE G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL MARTINEZ, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL MEDINA, RUFINO J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL MOLINA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL MOLINA, CARMEN L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL MONTIJO, LYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL MORALES, MELVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL NOGUERAS, EMMANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL PEREZ, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL PEREZ, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL ROMAN, ISABEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL SERRANO, ALEXIS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERAL VELEZ, JOSE F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBERO FLORIAN, PABLO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRADO CANTRES, MARISELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRADO FIGUEROA, JANILU        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRADO FIGUEROA, JANILU        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRADO FIGUEROA, NICOLAS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRADO GERENA, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRADO RIVERA, JOAN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRADO RIVERA, JOAN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRADO SIERRA, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRINO BORGOS, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRINO ENRIQUEZ, RAFAEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRINO ENRIQUEZ, RAFAEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRINO ENRIQUEZ, RAFAEL A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRINO MEDIAVILLA, MARIA J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRINO RIVAS, MARTA T.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRINO RODRIGUEZ, MARIHER M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRINO RODRIGUEZ, MARYSOL A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOBRINO, JOSE                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOCARRAS FIGUEROA, YANMARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOCARRAS POLANCO, CELIANA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOCIA LEBRON, MAGDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOCIA LEBRON, MAGDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6478 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1479 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOCIA RODRIGUEZ, LUIS F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOHUN GARCIA, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOHUN GARCIA, SYLVIA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOISA RUIZ, RUTH E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOIZA DIAZ, SONIA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOIZA RIVERA, MORAIMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOJO RIVERA, JIMMY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOJO RUIZ, AIDA L.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOJO RUIZ, ORLANDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOJO RUIZ, ZENAIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOJO, ROBERT                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOJOS GONZALEZ, HERMINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOL TORRES, MILAGROS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA ALBINO, FERNANDO CIRILO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA ALBINO, INEABELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA ALBINO, INEABELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA ALGARIN, ALAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA AMOROS, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA APONTE, LISETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA BURGOS, SARAH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA CABALLERO, JAIME E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA CANDELARIO, ADLIN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA CASTILLO, KIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA CENTENO, DOLORES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA CENTENO, DOLORES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA CRUZ, MARIA DEL S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA FLORES, LINETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA GALI, JOSE J.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA GARCIA, EDUARDO L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA GARRIGA, PABLO E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA GAY, LUIS R.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA GIRALT, LUIS E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA GOMEZ, JOSE M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA HIDALGO, FELIPE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA ILARRAZA, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA JIMENEZ, JOEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA LOPEZ, LUZ M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA MARRERO, GLORIA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA MARTI, WANDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA MORALES, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA MORLA, HECTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA NIEVES, MARIA DE LOS A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA OLIVER, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA OLIVER, HEBE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA ORELLANO, JOSE V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA PEREZ, JUAN R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA PLACA, CECILE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA RIVERA, ALMA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA RIVERA, LUISA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6479 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1480 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOLA RODRIGUEZ, MAURICIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA SALGADO, JOHNNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA SANCHEZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA SANCHEZ, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA SANCHEZ, EDUARDO E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA SANCHEZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA SANCHEZ, SONIA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA TORRES, MARCOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA TORRES, MARIA DEL CA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA VARELA, ELDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA ZAYAS, MILAGROS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA ZAYAS, MILAGROS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA, JOSE V                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLA, LUZ CELENIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLANO ANDUJAR, TANIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLANO BURGOS, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLANO DIAZ, MADELINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLANO MALDONADO, KARLA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLANO OQUENDO, JOSE C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLANO PADRO, LUZETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLANO PADRO, SEHILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLANO PEREZ, ENID E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLANO RESTO, LINNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLANO RIVERA, CARMEN R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLANO RODRIGUEZ, JACINTO L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLANO ROSADO, XIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLANO SAMBRANO, FRANCYS N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLANO VELEZ, DILAILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLANO VELEZ, IRIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLANO, HECTOR G.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLARES ALICEA, JEIMIE LEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLARES CRESPO, DOMINGA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLARES ESTREMERA, GIOVANNI     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLARES GARCIA, JONATHAN H.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLARES GARCIA, KABIR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLARES GONZALEZ, ANTHONY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLARES GONZALEZ, JONATHAN J.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLARES MENDOZA, LILLIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLARES NUNEZ, IVAN J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLARES PAGAN, BLANCA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLARES, SONIA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLARI FLORES, LUISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLAS MARQUEZ, ANGELICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLDEVILA ACOSTA, PAOLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLDEVILA GUZMAN, NESHERLEE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLDEVILA MUNOZ, ROMINA P.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLDEVILA NIN, GLORIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLDEVILA PEREZ, JOLIMAR M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLDEVILA RENTA, JORGE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6480 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1481 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOLDEVILA RODRIGUEZ, IRIS M.     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLDEVILA SERRANO, ANDRES        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLDEVILA VEIGA, CARMEN M        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLDEVILA VEIGA, ENID B          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLDEVILLA CUESTA, MARIA W       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLDEVILLA HERNANDEZ, ORLANDO J. REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLDEVILLA VELAZQUEZ, JESSIBEL   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLDEVILLA VIERA, HENRY          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ABRAHAMS, MARIELIZ         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER AGOSTINI, MARIE I.         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER AGOSTINI, MARIE I.         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ALEMAN, SHELAIKA           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ALEMAN, SHELAIKA           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ALFONSO, ANGEL MANUEL      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ALICEA, LUIS               REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER APONTE, MAXIMINO           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER BETANCOURT, FERNANDO       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CAMACHO, ANTONIO           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CAMACHO, MANUEL A          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CANDELARIA, ZULMA I        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CARABALLO, EUGENIA M       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CARABALLO, MIRTA M         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CARABALLO, ROSA I          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CARDONA, ANSELMO           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CARDONA, ANTONIA           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CARDONA, AURELIA           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CARDONA, MABEL Z           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CARDONA, MABEL Z           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CARDONA, MYRIAM            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CARDONA, MYRIAM            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CARRASQUILLO, MARYDELIS    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CASTILLO, JOSEFINA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CENTENO, LORENA            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CORDERO, SYLVIA            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CORTES, IVELISSE           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER COSTA, CARMEN E            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CRESPO, DIMARYS            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER CURBELO, ARMENGOL          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER DAVILA, CARLOS A           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER DE JESUS, DANILO           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER DE JESUS, JOSE L           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER DEL TORO, ANGEL G          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER DEL TORO, ANGEL G          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER DEYNES, LUIS J             REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER DIAZ, EMMANUEL             REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ENCARNACION, NANCY         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ESTRADA, YOLANDA IVETTE    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER FELICIANO, CARMEN          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER FELICIANO, ROLANDO         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6481 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1482 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SOLER FERNANDEZ, DOMINGO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER FERNANDEZ, WANDA I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER FIGUEROA, LILLIAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER FIGUEROA, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER FIGUEROA, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER FREYTES, MIGUEL A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER GARCIA, GLORIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER GARCIA, GLORIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER GARCIA, GLORIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER GARCIA, JESUS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER GARCIA, JOSE               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER GARCIA, JOSE E             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER GARCIA, RAFAEL A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER GARCIA, RUTH               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER GARCIA, RUTH M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER GOMEZ, AIDA L              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER GONZALEZ, ROBERTSON        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER GORDILS, LUIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER GRACIA, VIVIAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER GUERRERO, HECTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER GUERRERO, HECTOR R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER HERNANDEZ, CARLOS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER HERNANDEZ, XIOMARA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER IRIZARRY, DARRELL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER JIMENEZ, HERMELINDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER JIMENEZ, JENILEE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER LOPEZ, REYNALDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER LUGO, CARLOS B             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER LUGO, TANIA Y              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER MALAVE, CARLOS A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER MARTINEZ, JUAN A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER MARTINEZ, ZAIBEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER MEERCADO, JACKELINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER MENDEZ, MARIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER MENDEZ, MARIA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER MENDEZ, MINERVA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER MENENDEZ, PRIMITIVA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER MERCADO, GETULIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER MERCADO, JACKELINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER MERCADO, MAITEE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER OQUENDO, GLORIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ORTIZ, CARMEN B            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ORTIZ, ELVIRA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ORTIZ, NEREIDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ORTIZ, RAUL                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER PEREZ, ANTONIO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER PEREZ, HEYDA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER PEREZ, MIRIAN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER PEREZ, VERONICA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6482 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1483 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOLER QUINONES, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RAMOS, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RAMOS, VICTOR M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RIVERA, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RIVERA, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RIVERA, MILDRED M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RIVERA, ROSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RIVERA, SIXTA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RODRIGUEZ, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RODRIGUEZ, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RODRIGUEZ, MARIA DEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RODRIGUEZ, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RODRIGUEZ, MARTA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RODRIGUEZ, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RODRIGUEZ, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RODRIGUEZ, REBECCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RODRIGUEZ, REBECCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RODRIGUEZ, SARA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RODRIGUEZ, STEPHANIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RODRIGUEZ, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ROJAS, GLADYNELL R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ROJAS, OMAR D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ROMAN, GISELA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ROMAN, JENNIFER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ROMAN, MARY LUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ROSA, REYES E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ROSA, ROSA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ROSA, ROSA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ROSA, SANDRA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ROSARIO, SILVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ROSARIO, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ROSARIO, WILLIAM D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER RUIZ, LIZBETH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER SALAS, HIRAM A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER SANCHEZ, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER SANTANA, LINDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER SANTIAGO, ISAILYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER SANTIAGO, LINNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER SOTO, BRENDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER SOTO, LUISA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER SUARES, VILMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER SULLIVAN, DALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER TORRES, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER TORRES, MARIANO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER TORRES, MONSERRATE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER VADI, JUANITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER VALLE, DORIS N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER VALLE, MARIA T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER VARGAS, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6483 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1484 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOLER VAZQUEZ, MARIELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER VAZQUEZ, ZULMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER VEGA, MARIA E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER VEGA, ROBERT              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER VELEZ, JUNARYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER VELEZ, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER VELEZ, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER VILLANUEVA, JULIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER ZORRILLA, ERIC O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLER, JEANETTE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLERO ALVAREZ, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLERO FERRER, JOSE ANTONIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLERO GOTAY, LYDIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLERO MORALES, JESSICA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLERO RODRIGUEZ, IDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLERO RODRIGUEZ, MARIANELA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLERRODRIGUEZ, CARLOS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLERTORRES, MIGUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIER CONCEPCION, AIDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIER CONCEPCION, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIER ROMAN, LEYTON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIER ROMAN, LIDYA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIER ROMAN, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIMAN PENA, VIRGINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS AGOSTO, NOELANY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS AGOSTO, NOELANY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ALARCON, ANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ALARCON, ANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ALLENDE, IRISBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ALVAREZ, CARMEN N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ALVAREZ, CARMEN N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ANAYA, FANNIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ARROYO, JEANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS AVILES, SALLY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS AVILES, SALLY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS AYUSO, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS BAEZ, ANGEL G.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS BERMUDEZ, WILLIAM I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS CALDERON, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS CALIXTO, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS CARABALLO, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS CASTILLO, MIRELYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS CINTRON, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS CLAUDIO, JOHANNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS CLAUDIO, YAMILIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS CLAUDIO, YAMILIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS CORA, JOSE F              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS CORDERO, GUADALUPE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS CORDERO, GUADALUPE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6484 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1485 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SOLIS CORPS, JOSE WILFREDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS CRUZ, JULIO E.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS CRUZ, YOLIRIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS DACOSTA, MARTA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS DE JESUS, KATHIA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS DE JESUS, NILDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS DE JESUS, RAMON F          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS DE LEBRON, CARMEN L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS DEL MORAL, CARMEN M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS DIADONE, WANDA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS DIAZ, MARY S.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS DIAZ, NESTOR M.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS DIAZ, VIVIAN E             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS ESCOBAR, HILSIA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS ESPINOSA, WANDA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS ESPINOSA, WANDA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS FIGUEROA, BRUNILDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS FIGUEROA, FRANCISCO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS FIGUEROA, RAMON E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS FONSECA, ADA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS FONSECA, CARMEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS FONSECA, IRIS J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS FONSECA, LUZ D             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS FRANCO, ADELA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS FUENTES, CARMEN LISSETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS GALIO, MARIO               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS GARCIA, MARVIN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS GOMEZ,SOLIMAR              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS GONZALES,MANUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS GONZALEZ, BENITO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS GONZALEZ, JERRY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS GONZALEZ, YISELIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS GUZMAN, LYDIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS HERPIN, NORMA F.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS JIMENEZ, RAFAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS LEON, ANDRES               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS LEON, CARMEN C             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS LLANOS, CORALIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS LLANOS, JOSE O.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS LOPEZ, ALEJANDRO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS MACHADO, MAYDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS MACHADO, WALTER            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS MACHADO, WALTER E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS MALDONADO, DEIDY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS MALDONADO, DEIDY I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS MANZANO, CARMEN A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS MARTINEZ, FELICITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS MARTINEZ, JUAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED
SOLIS MERCADO, MIRIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                                PAGE 6485 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1486 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOLIS MERCADO, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS MERLE, CARLOS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS MERLE, JOSE R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS MONTEAGUDO, SOFIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS MORALES, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS MORALES, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS MORALES, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS NAVARRO, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS NAVARRO, PEDRO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS NAZARIO, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS NEGRON, RAUL J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS OCASIO, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS OFARILL, YANIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS OFARRIL, JOHANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS O'FARRIL, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS OFARRIL, YANIRA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ORTIZ, CARMEN G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ORTIZ, CARMEN G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ORTIZ, JOHN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ORTIZ, JOHN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ORTIZ, JOSE J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ORTIZ, JULIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ORTIZ, LILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ORTIZ, LINDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ORTIZ, LINDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ORTIZ, VIRNA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS PASTRANA, ZAMAIRA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS PAZ, CARMEN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS PENA, EDILIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS PENA, EDILIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS PERAZA, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS PEREZ, JOHN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS PEREZ, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS PEREZ, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS PIZARRO, JOSE O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS PIZARRO, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS PIZARRO, MARIA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS PIZARRO, NATALIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RAMOS, JUDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RAMOS, SALVADOR D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS REYES, ANDREA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS REYES, JOSE R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RIJO, RAFAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RIVERA, CARLOS O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RIVERA, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RIVERA, DIALIS Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RIVERA, JANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RIVERA, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RIVERA, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6486 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1487 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOLIS RIVERA, MARIA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RIVERA, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RIVERA, MILTON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RIVERA, NORCA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RIVERA, PRISCILLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RIVERA, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RIVERA, SHAMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RIVERA, SHAMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ROBLES, ELISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RODRIGUEZ, AIDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RODRIGUEZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RODRIGUEZ, LUZ E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RODRIGUEZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RODRIGUEZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RODRIGUEZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RODRIGUEZ, RAMONITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RODRIGUEZ, REBECCA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RODRIGUEZ, VICENTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RODRIGUEZ, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RODRIGUEZ, WESLEY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS RODRIGUEZ, YESIREH N.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS ROSARIO, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS SANCHEZ, AMARILIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS SANCHEZ, EDWARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS SANCHEZ, GUILLERMO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS SANTIAGO, GUILLERMINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS SANTIAGO, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS SANTIAGO, RIGEL ENID      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS SIERRA, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS SOLIS, MARIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS SOTO, ADELAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS SOTO, AMARILYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS SOTO, ANGELES A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS SUARES, EDWIN E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS SUAREZ, EDWIN E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS SUAREZ, MARIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS SUAREZ, MARIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS TACORONTE, ZULEYKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS TIRADO, TAMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS TOCORONTE, ZULEYKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS TORRES, DINELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS TORRES, MODESTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS VEGA, XIOMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS VIERA, SANDRA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS VILLODAS, ALEJANDRIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS, CARLOS                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS, JORGE                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIS, YAVIEL                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN APONTE, ANGELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6487 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1488 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOLIVAN BERLINGERI, NESTAR Y    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN CARTAGENA, HECTOR M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN CARTAGENA, JIMMY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN CARTAGENA, VICTOR J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN CARTAGENA, YOLANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN CARTAGENA, ZAMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN CARTAGENA, ZAMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN CENTENO, ZULMA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN CHAPARRO, HECTOR L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN CHAPARRO, HECTOR L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN COLON, ARLENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN COLON, CLARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN COLON, CLARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN COLON, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN COLON, KATHERYNE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN COLON, LOURDES M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN COLON, LUCILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN DAVILA, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN DIAZ, HARRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN DIAZ, HARRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN DIAZ, LAURA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN DIAZ, LUZ N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN DIAZ, MONSERRATE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN FONTANEZ, JUDITH O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN FRANCISCO, DIANA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN GALIO, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN GONZALEZ, ALMA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN GONZALEZ, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN GONZALEZ, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN GONZALEZ, ELIUD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN GONZALEZ, JENIFFER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN GONZALEZ, JUAN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN GONZALEZ, LIZETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN GONZALEZ, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN HERNANDEZ, JESSICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN LEON, NITZA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN LEON, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN LOPEZ, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN MALAVE, YARELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN MARIN, JESANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN MARRERO, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN MARTINEZ, ALEXA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN MARTINEZ, BRENDA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN MARTINEZ, LEXA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN MATOS, LYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN MERCADO, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN MERCADO, SORIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN MIRANDA, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN MORALES, AIDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6488 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1489 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOLIVAN ORTIZ, BERNICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN ORTIZ, BERNICE I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN ORTIZ, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN ORTIZ, NILSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN ORTIZ, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN PACHECO, HECTOR A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN PACHECO, LILLIAM I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN PEREZ, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN PEREZ, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN PEREZ, MARIA DE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN PLAUD, MARNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN REYES, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN RIOS, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN RIOS, CARMEN D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN RIOS, ERWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN RIVERA, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN RIVERA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN RIVERA, CARMEN E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN RIVERA, ZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN ROBLES, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN ROBLES, SASHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN RODRIGUEZ, ALEJANDRO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN RODRIGUEZ, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN RODRIGUEZ, EMMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN RODRIGUEZ, JAQUELINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN RODRIGUEZ, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN RODRIGUEZ, MIGUEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN RODRIGUEZ, YARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN RODRIGUEZ, YARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN RODRIGUEZ, YARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN ROIG, JANICE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN ROLON, ARICELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN ROLON, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN ROLON, ENID M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN ROLON, NEIDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN ROLON, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN ROMAN, GILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SANTIAGO, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SANTIAGO, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SANTOS, ABRAHAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SANTOS, GERMAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SANTOS, SABINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SANTOS, URSINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SERRANO, STEPHANIE M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SOBRINO, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SOBRINO, PEDRO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SOLIVAN, ANIBAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SOLIVAN, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SOLIVAN, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1490 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOLIVAN SOTO, ANTONIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SOTO, CHIARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SOTO, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SOTO, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SOTO, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN SUAREZ, EDGAR A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN TORRES, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN TORRES, MAGDALENA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN TORRES, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN VAZQUEZ, AIXA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN VAZQUEZ, AIXA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN VAZQUEZ, KATIRIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN VEGA, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN VELAZQUEZ, CRUCITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN VELAZQUEZ, CRUCITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN VELAZQUEZ, LILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN VELAZQUEZ, LILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN, JIMMY                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVAN, LUISA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVERAS COLON, VIVECA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVERAS GARCIA, DANNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIVERAS MORALES, YAJAIRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIZ ESPINOSA, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLIZ GALIO, ZOILO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA APONTE, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA GIERBOLINI, ANGEL L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA GIERBOLINI, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA HERNANDEZ, SONIA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA HUERTAS, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA MATOS, LUZ Z              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA ORTIZ, JAIME E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA REYES, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA REYES, REYNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA REYES, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA RIVERA, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA RODRIGUEZ, RAISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA SANTANA, GLORIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA SERRANO, RUTH L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA TAULE, ANNETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA VARGAS, MILAGROS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLLA, OSCAR                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLOGNIER RAMOS, ANTONIO A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLOMON, JEAN KATHRYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLORZANO GARCIA, LOURDES M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTADIS SELINDIS, ALEXANDROS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTADIS SELINDIS, ALEXANDROS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTERO CARABALLO, HEROILDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTERO CORDOVA, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTERO DIAZ, AUGUSTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                     Schedule E3 Page 1491 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SOLTERO DIAZ, IRENE               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTERO DIAZ, IRENE               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTERO DIAZ, MARIA A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTERO JACOME, MARIA M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTERO LUGO, JANET               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTERO LUGO, JANET               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTERO NUNEZ, ZAIDA E            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTERO OLMEDA, WENDELL R         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTERO VENEGAS, AUGUSTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTERO VENEGAS, LEIDA M.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTERO VENEGAS, SARA R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTREN CUBERO, EFRAIN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTREN GONZALEZ, MARIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTREN LOPEZ, CARMEN L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTREN LOPEZ, GLORIA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOLTREN VILLANUEVA, ORBIN J.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOLUPE ZUBIAGA, SOFIA A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOMARRIBA REYES, HUMBERTO J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOMARRIBA ROSA, WALBERTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOMARRIBA ROSA, WALBERTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOMAVILLA BALBUENA, CARLOS A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOMAVILLA BALBUENA, CARLOS A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOMERSALL STEVENS, CHRISTIAN      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOMERSALL STEVENS, CHRISTIAN E.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOMOZA COLOMBANI, GUILLERMO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA CRUZ, ADALIZ               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA CRUZ, ADALIZ               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA CRUZ, NIDIALIZ             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA DE JESUS, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA FIRPI, MIGUEL A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA FIRPI, MYRIAM M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA GONZALEZ, MIRTA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA GONZALEZ, MYRTA N          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA HERNANDEZ, JUAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA MATOS, OSCAR               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA MATOS, RAFAEL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA MATOS, SONIA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA MEDINA, BETZAIDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA MEDINA, DAMARIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA MEDINA, SYLVIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA OCASIO, RAFAEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA ORTIZ, GLORIA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA PEREZ, ANA                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA PEREZ, HECTOR              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA PEREZ, NICOLAS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA RAMOS, ARLEEN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA RIVERA, CARLOS I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA RIVERA, DANIEL I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA RIVERA, JUAN CARLOS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SONERA RODRIGUEZ, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA RODRIGUEZ, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA RODRIGUEZ, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA TORRES, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA VARGAS, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA VARGAS, CARLOS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA VELEZ, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SONERA, JOACNEL D               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SONN, SHANNON E                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SONNI CRUZ, SUSAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORGALIM YELITZA, LINSAY Z      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORI CRUZ, MARIA ANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIA CRUZ, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIA LEBRON, JOSEFINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIA REYES, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIA REYES, HAYDEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIA REYES, WENDOLYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIA RIVERA, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIA ROMAN, NOEL E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIA ROMAN, NOEL E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIA TORRES, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIA, ALEX                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIANO ABREU, ANDREA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIANO CLAUDIO, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIANO CRUZ, ERNESTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIANO FARDONK, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIANO FELICIANO, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIANO FELICIANO, CARMEN D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIANO FELICIANO, LYDIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIANO GONZALE, ROBERTO E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIANO MADERA, NAJAILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIANO MATIAS, MERCEDES M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIANO MIRANDA, ALEJANDRO L.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIANO MIRANDA, GUSTAVO E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIANO MORALES, VICTOR J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIANO MORALES, VICTOR J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIANO PEREZ, YAMIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIANO SANTIAGO, LIZETTE M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIEL LEON, FLORES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORIS, YORBELL                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOROETA KODESH, IRENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORONDO FLORES, EVA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORRENTINI COLON, LUIS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORRENTINI MERCADO, SONIA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORRENTINI MORALES, FRANK       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORRENTINI ORTIZ, MARIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORRENTINI PADILLA, NORMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORRENTINI RAMOS, CHARLENE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SORRENTINI RAMOS, CHARLENE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6492 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1493 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SORRENTINI RODRIGUEZ, MIGDALIA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SORRENTINI SOTO, BRENDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SORRENTINI TENORIO, EILLEN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SORRENTINI TENORIO, EILLEN M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SORRENTINI TENORIO, LUZ M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SORROCHE RIVERA, GLORIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SORTENO LAFAYE, PETEY E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ACEVEDO, ELISA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ACEVEDO, RAUL               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA AGUILAR, ROSA E             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ALMENAS, LUNA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ALVARADO, IVIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ALVIRA, LUIS M              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA APONTE, CARMEN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA APONTE, MODESTO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA AROCHO, AUREA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA AROCHO, BELDA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ARVELO, EUNICE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ARVELO, RAFAEL A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA BAEZ, VINICIO               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA BARBOT, EWARD               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA BARRETO, JACKELINE A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA BERMUDEZ, KRIMILDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA BETANCOURT, CLARIBEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA BETANCOURT, CLARIBEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA BETANCOURT, IVETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA BETANCOURT, IVETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA BETANCOURT, MARISOL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA BETANCOURT, YIYA C L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA BETANCOURT, ZAIDA T         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA BON, PAOLA                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA BUENO, MARIA                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA BUENO, MARIA P              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA BURGOS, BETTY               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CABAN, LUZ                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CABAN, MARGARITA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CABAN, MARGARITA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CALO, MELISSA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CAMACHO, JOSE E             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CAMACHO, LEOMAR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CANALES, AMARILYS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CARDONA, MAIRIM             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CARDONA, MICHAEL J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CARRASQUILLO, JESUS M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CARRASQUILLO, OLGA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CARTAGENA, EDUARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CASTRO, GLADYS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CASTRO, MARIA DE L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CINTRON, ALEXIS X           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6493 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1494 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOSA CINTRON, RYAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA COLLAZO, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA COLLAZO, SARAH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA COLON, DEBORAH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA COLON, NORAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CORTES, CARMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CORTES, DALIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CORTES, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA COSME, WADDY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA COSME, WADDY E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA COTTO, LILYBETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CRUZ, CARMEN I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CRUZ, FELIPE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CRUZ, FRANCISCO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CRUZ, HERIBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CRUZ, JUAN A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CRUZ, JUAN L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CRUZ, LUIS A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CRUZ, LUIS A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CRUZ, ORLANDO O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA CRUZ, TAMARA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA DE JESUS, BRUNILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA DELIZ, AMARILIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA DIAZ, ABIMELEC             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA DIAZ, ESTEBAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA DIAZ, ESTEBAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA DIAZ, MELINDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA DIAZ, MELVIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ELIAS, MIDIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ENCARNACION, GLORIA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA FALU, OMHAR                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA FALU, OMHAR                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA FANTAUSSY, ALICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA FARIAS, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA FELICIANO, HECTOR E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA FERNANDEZ, LYDIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA FIGUEROA, WANDA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA FIGUEROA, WANDA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA FLORES, ANABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA FLORES, ANGEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA FLORES, ANIBAL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA FONSECA, ADRIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA FONSECA, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA FRANQUI, PAOLA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA FRED, ANNETTE I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA GALARZA, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA GARCIA, LILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA GERENA, MANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA GERENA, MIRTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6494 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1495 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOSA GONSALEZ, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA GONZALEZ, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA GONZALEZ, GILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA GONZALEZ, JESUS ANTONIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA GONZALEZ, JOSCELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA GONZALEZ, JOSCELYN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA GONZALEZ, KEILA Z.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA GONZALEZ, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA GONZALEZ, RAQUEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA GONZALEZ, SOL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA GORI, MERCEDES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA GREGORY, JULIO C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA HERNANDEZ, ARACELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA HERNANDEZ, ARACELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA HERNANDEZ, DELIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA HERNANDEZ, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA HERNANDEZ, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA HERNANDEZ, MERIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA HERNANDEZ, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA HIDALGO, AMANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA IGLESIAS, ANABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA IRIZARRY, ESPERANZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA JIMENEZ, JAVIER A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA JORDAN, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA JORDAN, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA JOVE, JOHANNE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA LEON, ANTONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA LEON, MIRIAM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA LLITERAS, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA LOPERENA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA LOPEZ, HAYDEE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA LOPEZ, JOSE L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA LOPEZ, MARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA LOPEZ, RENE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA LOPEZ, RENE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA LOPEZ, YISENIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA LOPEZ, YISENIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MALDONADO, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MANJARES, KAZZIN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MANJARREZ, BIANCA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MANJARREZ, KAZZIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MANJARREZ, YESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MARTINEZ, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MARTINEZ, NELBIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MATIAS, ELIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MATOS, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MATOS, JUAN A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MATOS, REBECA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MEDERO, NATASHA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6495 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1496 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOSA MEDINA, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MENDEZ, MADELINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MERCED, ZAMARETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MERCED, ZAMARETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MERLO, MIGUEL A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MONTALVO, MADELINE J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MONTALVO, VIRGINIA D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MORALES, HERIBERTO O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MUNDO, ELMER J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA MUNDO, MAGALY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA NEGRON, YANAY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA NEGRON, YANAY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA NIEVES, ANGEL L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA NIEVES, EFRAIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA NIEVES, ESTHER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA NIEVES, ESTHER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA NIEVES, HERMINIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA NIEVES, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA OCHART, INGRID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA OCHART, INGRID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA OLIVARES, ERCILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA OLIVARES, SORANGELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA OLIVENCIA, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA OLIVENCIA, NICOLAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA OLIVENCIA, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA OLIVERAS, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ORTIZ, DOMINGO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ORTIZ, MADELINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA PAGAN, AUREO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA PAGAN, AUREO J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA PASCUAL, GUAILI A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA PASCUAL, TAMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA PASTRANA, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA PENA, LUZ                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA PEREZ, CARLOS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA PEREZ, EDGARDO M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA PEREZ, EFRAIN A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA PEREZ, WILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA PICO, JOSE A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA PORRATA, MORAIMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA PORRATA, MORAIMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA QUILES, NYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RAMIREZ, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RAMIREZ, CARMEN I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RAMIREZ, DIANARYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RAMIREZ, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RAMIREZ, MARIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RAMOS, ALEXANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RAMOS, LYDIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6496 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1497 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOSA RENTAS, EFRAIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RENTAS, LOYDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RETAMAR, JENNIFER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA REYES, PEDRO J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RIVERA, CLARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RIVERA, JENNY M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RIVERA, LAIXA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RIVERA, LAIXA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RIVERA, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RIVERA, LUIS E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RIVERA, MIULKALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RIVERA, NAVAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RIVERA, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RIVERA, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, ABRAHAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, ANIBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, BLESSY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, EMILIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, EMILIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, GLADYS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, GLADYS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, GRACIELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, JISSEL I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, JUANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, JUDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, KIERAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, LIZZETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, LYNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, MANUEL E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, MIIDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, RAISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, RAISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, ROSALIND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, ROSALIND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, SHEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, SILVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIGUEZ, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RODRIQUEZ, MARIE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ROMAN, MIDALI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ROMAN, ROSA H              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ROMAN, TAMARA Y.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ROSA, JEAN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ROSADO, ANGEL G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6497 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1498 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOSA RUIZ, ANA C.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RUIZ, BRUNILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RUIZ, CARMEN D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA RUIZ, NORA E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SALGADO, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SALINAS, AIXA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SALINAS, AIXA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SALINAS, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SANCHEZ, LAURA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SANCHEZ, MARIA DEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SANTANA, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SANTIAGO, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SANTIAGO, AIDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SANTIAGO, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SANTIAGO, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SANTIAGO, NELLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SANTIAGO, TIRSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SANTOS, XIOMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SANTOS, XIOMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SEPULVEDA, BRENDA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SEPULVEDA, JANICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SEPULVEDA, JANICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SERRANO, ESTEFANI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SERRANO, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SERRANO, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SOLTREN, ANNE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SOSTRE, EDELMIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SOTO, ALEJANDRINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SOTO, MAGALY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SOTO, OMAR A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA STAPLE, HELEN E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SUAREZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SUAREZ, JOSE M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA SUAREZ, MILKA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA TIRADO, JUAN J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA TORRES, NATALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA TORRES, NATALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA TORRES, YAHAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA TRUJILLO, DORIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA VALENTIN, STEPHANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA VARELA, AMARILIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA VARELA, AMARILIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA VARGAS, ARMANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA VARGAS, JOHANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA VASQUEZ, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA VAZQUEZ, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA VEGA, ELIEZER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA VEGA, SAMUEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA VEINTIDOS, ALIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6498 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1499 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOSA VELEZ, ANA R               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA VELEZ, RUBEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA VELIS, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA VENTIDOS, LAURA G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA VERA, ALEXANDRA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA VERA, CRISTINA ZOE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA VILLEGAS, CARLOS E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA ZAMORA, RAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA, EDWIN                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSA, JOSE L                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSACOLON, EFRAIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSAFELICIANO, LEONIDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSARIVERA, CYNTHIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE AGRAMONTE, ABIGAIL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE BILBRAUT, JULIO C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE BONILLA, ERICK           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE BURGOS, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE CABRERA, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE CASTILLO, ZOBEIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE CASTRO, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE CINTRON, ANGEL E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE COLON, CYNTHIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE CORREA, MARITZA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE CRESPO, HIRAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE CRUZ, RAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE FIGUEROA, ELIUD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE GARCIA, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE GARCIA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE GONZALEZ, DEBBIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE GONZALEZ, DENNIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE GONZALEZ, HELGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE HERNANDEZ, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE LACOT, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE LAMB, JOSIE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE LAMB, VILMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE LAUREANO, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE LEBRON, CESAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE LEBRON, CESAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE LEBRON, MICAELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE LEBRON, MICAELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE LEYS, WILLIAM M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MALDONADO, WALESKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MALDONADO, WALESKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MALDONADO, WENDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MARCANO, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MARCANO, SARIVETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MARCANO, SARIVETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MARRERO, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MARRERO, PAULA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6499 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1500 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOSTRE MARRERO, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MARTINEZ, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MARTINEZ, LIDELIE A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MARTINEZ, MARIA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MATEO, ANTONIO L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MELENDEZ, ELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MELENDEZ, MYRNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MOLINA, NITZA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MOLINA, VERENIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MOLINA, VERENIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE MORALES, GLORIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE NARVAEZ, GRACILIANO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE ORTIZ, ANGEL L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE ORTIZ, ANGEL M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE ORTIZ, JUAN R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE ORTIZ, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE PAGAN, RIGOBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE PEREZ, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE PONCE, MATILDE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE PONCE, MATILDE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE PORTALATIN, PEDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE QUINONES, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE QUINONES, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE RIVERA, LUZ V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE RIVERA, MARIA JANICE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE RIVERA, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE RIVERA, SILKIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE RIVERA, YAMIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE RIVERA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE RODRIGUEZ, ANGEL M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE RODRIGUEZ, EVA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE RODRIGUEZ, EVA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE RODRIGUEZ, JULIO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE RODRIGUEZ, MARIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE ROSADO, NAYDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE ROSARIO, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE ROSARIO, NORMA H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE ROSARIO, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE SANCHEZ, JEYSHA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE SANFELIZ, YAELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE SANTANA, LUZ A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE SANTOS, PEDRO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE SERRANO, SARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE SOTO, NEREIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE TORRES, LEM ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE TORRES, LORNA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE VAZQUEZ, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE VELAZQUEZ, CRISTOBAL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE VELEZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6500 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1501 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOSTRE VICENTE, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE VICENTE, MARIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRE, VICTOR                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTREGARCIA, AGUSTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOSTRERIVERA, EUGENIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTELO MORALES, NELSON O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTELO ORTIZ, CAROL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTELO ORTIZ, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTELO ORTIZ, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTELO PORTO, MARIA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTELO RESTO, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTELO SANCHEZ, AIDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTELO SANCHEZ, LIZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO BARRETO, GRETCHEN D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO CUADRADO, DALMA ENID     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO GOLDILLA, DAIRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO GONZALEZ, ITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO GONZALEZ, NELITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO IRIZARRY, ISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO IRIZARRY, MARTIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO JACOME, NEIDA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO JACOME, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO LEBRON, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO MARTINEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO QUINONES, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO RODRIGUEZ, CARLOS H.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO RODRIQUEZ, JULIO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO TORRES, ELBA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO TORRES, ELBA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO VELEZ, GRACIELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTERO VELEZ, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTIL RENTAS, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTILLO SOTO, WALDEMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ABREU, GILBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ABREU, ISANGELICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ABREU, MILDRED             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ABREU, ROXANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACABA, ZAREL JOAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, ALMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, ANGELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, ELLIOT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, ELSIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, ELSIE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, FLOR I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, HECTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, HERMINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, HERMINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, HUMBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6501 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1502 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO ACEVEDO, ISABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, ISABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, JANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, MARIA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, MATILDE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, MATILDE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, NITZALID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, NITZALID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, NITZALID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, SHEILYMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, SHEILYMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, SHEILYMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, SUE LAURIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACEVEDO, ZULMA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACOSTA, LUIS E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACOSTA, YOMAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ACOSTA, YOMAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ADAMES, BETZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ADAMES, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ADAMES, JANET              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ADAMES, LISSETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ADAMES, LISSETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ADAMES, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ADAMES, ROSALIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ADAMES, ROSALIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ADAMES, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ADNDUJAR, SOTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ADORNO, BRENDA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ADORNO, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ADORNO, ZINNIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ADORNO, ZINNIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AGOSTO, ANELIS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AGOSTO, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AGOSTO, MARISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AGOSTO, MARISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AGUILA, SOLINAIDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AGUILAR, MARIA DEL P       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AGUILAR, NATASSIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AGUIRRE, LAURA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AGUIRRE, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AGUIRRE, MARIA Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AGULU, JOHANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6502 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1503 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO ALAMEDA, AMINTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALAMEDA, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALAMEDA, LYDIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALBARRAN, ALEX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALDARONDO, ALMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALDARONDO, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALICEA, AIMARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALICEA, ANA N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALICEA, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALICEA, DORIS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALICEA, FRANCISCO J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALICEA, GAMALIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALICEA, JULIO C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALICEA, MARIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALICEA, NORMA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALICEA, OCTAVIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALICEA, REININ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALICEA, TOMAS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALMA, LUCIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALONSO, JOSE E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALONSO, KIARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALONSO, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVARADO, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVARADO, DIMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVARADO, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVARADO, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVARADO, NEIZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVAREZ, ANA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVAREZ, ANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVAREZ, ANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVAREZ, DIANEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVAREZ, HEISHA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVAREZ, LILLIAM I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVAREZ, LUIS F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVAREZ, MARIANGELIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVAREZ, MIGUEL E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVAREZ, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVAREZ, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ALVAREZ, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO AMADEO, JESUS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO AMADEO, LAURA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO AMARO, CARMEN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO AMARO, SONIA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ANDINO, AMADO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ANDRILLON, LILIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ANDRILLON, LILIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ANDRILLON, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ANDRILLON, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ANDUJAR, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6503 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1504 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO ANDUJAR, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ANDUJAR, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ANGLERO, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO APONTE, BEATRIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO APONTE, BEATRIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO APONTE, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO APONTE, CARMEN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO APONTE, DAISY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO APONTE, ERNESTO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO APONTE, IVAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO APONTE, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO APONTE, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO APONTE, LUIS R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO APONTE, LUZ                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO APONTE, LUZ N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO APONTE, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO APONTE, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO APONTE, MIREYA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AQUINO, LIMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AQUINO, MARIA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AQUINO, MIGUEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AQUINO, MYRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AQUINO, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ARCANO, NILSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ARCAYA, LEIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ARCE, WILFREDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ARIAS, IVAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AROCHO, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AROCHO, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AROCHO, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AROCHO, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AROCHO, JOSSELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AROCHO, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AROCHO, MARCELINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AROCHO, MAREYLI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AROCHO, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AROCHO, ROSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AROCHO, ROSE E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AROCHO, SERGIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ARROYO, ALMA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ARROYO, ARELYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ARROYO, DEBORAH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ARROYO, DEBORAH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ARROYO, DEBORAH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ARROYO, HAROLD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ARROYO, HAROLD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ARROYO, JUAN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ARROYO, RAUL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ARROYO, SWAMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6504 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1505 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO AVILES, ARCIDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AVILES, BELINDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AVILES, KAREN M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AVILES, MARIA DE LOS A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AVILES, MAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AVILES, MAYRA DEL C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AVILES, NATIVIDAD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AVILES, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AYABARRENO, BETSY M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AYALA, EFRAIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AYALA, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AYALA, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AYALA, IRIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AYALA, IRIS M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AYALA, IRIS M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AYALA, JEANETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AYALA, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AYALA, MARCOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AYALA, MARTA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AYALA, RAUL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AYALA, ZAIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AYBAR, LOURDES J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO AYBAR, LOURDES J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BABILONI, ADRIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BABILONIA, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BADILLO, FLORENCIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BADILLO, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BADILLO, ODALYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BADILLO, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BADILLO, RITA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BAEZ, INEABELLE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BAEZ, JOSE A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BAEZ, MARIBEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BAEZ, REYNALDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BANKS, VALENTIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BARBOSA, FRANCIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BARRETO, ANGEL LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BARRETO, DIANNETTE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BARRETO, DOMINGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BARRETO, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BARRETO, HUMBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BARRETO, LILLIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BARRETO, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BARRETO, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BARRETO, MARIA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BARRETO, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BARRETO, NARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BARRETO, NARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BARRETO, ROSA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6505 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1506 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO BARRIERA, MARTHA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BATISTA, JUANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BATTLE, ILKA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BEAUCHAMP, ALICE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BEAUCHAMP, JOSEFA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BECERRA, HECTOR EDUARDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BELARDO, CARMELO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BELEN, MARGARITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BELEN, OLGA A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BELTRAN, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BENCON, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BENCON, BRENDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BENIQUEZ, ADAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BENIQUEZ, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BENIQUEZ, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BENIQUEZ, NORMA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BENITES, LEONARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BENITEZ, IRIS V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BENITEZ, IRIS V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BENITEZ, IRIS V.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BENITEZ, JOHANNIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BENITEZ, JULIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BENITEZ, JULIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BENITEZ, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BENITEZ, MAXIMO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BERMUDEZ, AMNERIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BERMUDEZ, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BERMUDEZ, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BERMUDEZ, NELSON E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BERRIOS, EDWIN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BERRIOS, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BERRIOS, NILDA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BERRIOS, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BERRUZ, MARTHA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BERRUZ, MARTHA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BETANCOURT, LIZBETH M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BETANCOURT, YAZMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BONET, RONALD              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BONILLA, ANGEL R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BONILLA, CARLOS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BONILLA, EDITH N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BONILLA, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BONILLA, RICHARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BONILLA, SANDRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BORIA, EIRA T              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BOSQUE, ADENAWER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BOSQUE, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BOSQUES, ADELAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BOSQUES, AUDELIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6506 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1507 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO BOSQUES, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BOSQUES, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BOSQUES, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BOSQUES, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BOSQUES, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BOSQUES, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BOSQUES, LYDIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BOSQUES, MARISEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BOSQUES, YAJAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BOSQUES, YAJAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BOSSA, JESSICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BOSSA, JESSICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BOSSA, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BREVAN, JENNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BRUNO, GLENNIZ W           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BURGOS, ANTOLIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BURGOS, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BURGOS, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BURGOS, MIGUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BURGOS, MIRIAM S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO BURGOS, MIRIAM S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABALLERO, ILUMINADA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABALLERO, LUIS E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, BRUNILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, CARMEN I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, CARMEN I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, EDGARD R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, EDGARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, ENEIDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, FIDEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, HECTOR M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, HIRAM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, HORTENSIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, HORTENSIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, ISIDRO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, JORGE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, LYDIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, MARIBEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABAN, MELVIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABRERA, CARMEN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABRERA, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABRERA, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABRERA, MILAGROS L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABRERA, MILAGROS L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CABRERA, ZAIDA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CACERES, ARNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CACERES, ARNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6507 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1508 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO CAEZ, JUAN C.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CAJIAO, PLUTARCO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CALDERON, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CALDERON, LIZ A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CALDERON, LIZ A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CALDERON, LORNA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CALDERON, LORNA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CALDERON, MIGUEL ANGEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CALVENTE, ELSIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CAMACHO, LOURDES M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CAMPOS, ADINA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CAMPOS, ADINA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CAMPOS, BERNANDINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CAMPOS, BERNARDINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANALES, DARIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANALES, DARIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANCEL, ABIGAIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANCEL, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANCEL, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANCEL, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANCEL, NORBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANCELA, YETSENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANCELA, YETSENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANDELARIA, AMARILYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANDELARIA, AMARILYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANDELARIA, MERARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANDELARIA, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANDELARIA, SULAY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANDELARIA, SULAY Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANDELARIO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CANDELARIO, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CAPELLA, HAZEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARABALLO, LUCRECIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARABALLO, LUIS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARABALLO, MARINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARABALLO, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARDONA, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARDONA, BETSY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARDONA, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARDONA, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARDONA, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARDONA, IRIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARDONA, IRIS E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARDONA, JANICE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARDONA, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARDONA, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARDONA, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARDONA, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARDONA, WILSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1509 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO CARION, JAMES KENNY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARMENATTY, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARO, JEANETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARO, NORMA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARO, RAFAAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARO, ROSA E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARRASQUILLO, ELSIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARRERAS, BALTAZAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARRERO, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARRERO, OSCAR J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARRILLO, IRAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARRILLO, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARRILLO, JESUS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARTAGENA, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CARTAGENA, LUZ I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CASILLAS, MARICELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CASTELLO, EVA S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CASTILLA, CORALYS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CASTILLO, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CASTRO, ANGEL L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CASTRO, AWILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CASTRO, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CASTRO, CARMEN N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CASTRO, HECTOR J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CASTRO, JOSE J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CASTRO, JOSE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CASTRO, JULIO J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CASTRO, MARIELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CASTRO, RUTH N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CASTRO, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CATALA, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CATALA, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CATALA, MARIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CATALA, MYRNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CEDENO, ISABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CENTENO, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CENTENO, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CENTENO, JUDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CENTENO, JUDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CEPEDA, KATHIA MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CEREZO, FELIX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CERVANTES, EDNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CHAPARRO, ANEUDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CHAPARRO, MERCEDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CHEVERE, ANGEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CHEVERE, ZAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CHEVRESTTS, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CHICO, CAROLINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CHICO, JUAN B.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6509 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1510 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO CHICO, JUAN BATISTA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CINTRON, ADALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CINTRON, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CINTRON, CESAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CINTRON, GLADYS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CINTRON, JANICE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CINTRON, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CINTRON, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CINTRON, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CINTRON, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CINTRON, SIBILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CIVIDANES, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CIVIDANES, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CLASS, LESLIANNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CLAUDIO, ANGELICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CLAUDIO, ANGELICA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CLAUDIO, MARY F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CLEMENTE, YAZMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLLAZO, CARLOS H.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLLAZO, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLLAZO, ELIZANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLLAZO, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLLAZO, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLLAZO, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLLAZO, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLLAZO, MYLEISHKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, ANA H               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, ANA L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, BRENDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, BRENDA LEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, CARLOS E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, CARLOS J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, CARMEN G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, CARMEN I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, CARMEN I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, DANIELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, EDWIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, HERMINIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, JACQUELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, JOSHUA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, JUAN J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, LUIS O.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, MARILYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, NADYA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, NADYA C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6510 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1511 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO COLON, NILSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, NORMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, OLGA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, SANDRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, SANDRA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, SANDRA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, SANTIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, SARAI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLON, WANDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COLORADO, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CONCEPCION, ALEXANDER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CONCEPCION, EMELDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CONCEPCION, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CONCEPCION, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CONDE, DAYMARIS I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CONTRERAS, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORA, AIDA D               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORA, GAEZE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORA, JOSE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORA, MARCOS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORA, MARCOS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORA, MYLENE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORA, MYLENE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORALI, GILBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORALI, JULIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORALI, LUIS R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORCHADO, KRISMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORCHADO, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORDERO, GAMALIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORDERO, LILLIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORDERO, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORDERO, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORDERO, OSCAR J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORDERO, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORDERO, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORDERO, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORONAS, ANGELES M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORREA, IRMA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORTES, EMILIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORTES, HIPOLITO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORTES, JORGE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORTES, LESLY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORTES, SAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CORTIJO, MARIO L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COSME, MARILINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COTTO, JAVIER D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COTTO, JAVIER D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6511 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1512 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO COTTO, MARIANELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO COTTO, ZULMA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRESPO, BLANCA F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRESPO, GLORIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRESPO, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRESPO, LINDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRESPO, MAYRIN E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRESPO, MIGUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRESPO, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUET, ANDRES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUET, EFRAIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, ANA M                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, ARIEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, CARLOS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, CARLOS J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, CARLOS R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, CARMEN M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, CINDY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, EFRAIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, ELBA L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, ENEMIAS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, GABRIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, GENESIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, GLADYS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, HAYDEE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, HECTOR R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, HENRY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, HERIBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, ISABEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, JACQUELINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, JANETTE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, JANETTE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, JESUS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, JESUS M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, JOSE A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, JOSE E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, JOSE L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, JOSE L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, JUAN R               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, LUZ I                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, LUZ M.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, LYNETTE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, MARIA DE LOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, MARITZA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, MARJORIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, MIGUEL L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, MIRIAM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, MIRIAM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, MIRIAM E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6512 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1513 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO CRUZ, NELIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, RAMONITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, REGINO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, SAMUEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, SAMUEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, SONIA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, SONIA M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, YANIRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, YANIRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, YASHIRA MARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, ZORAIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CRUZ, ZORAIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CUADRADO, EDITH J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CUBA, JOSE L.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CUBERO, AIDA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CUBERO, BENITO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CUBERO, EDGARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CUBERO, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CUEVAS, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CUEVAS, IXIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CUEVAS, IXIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CUEVAS, MARIDELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CUEVAS, MARIELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CUEVAS, MARIELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CUEVAS, MARISSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CUSTODIO, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CUSTODIO, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO CUSTODIO, ROSA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DATIL, NELIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DAVILA, EDDA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DAVILA, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DAVILA, MARIA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE CARDONA, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE FELICIANO, WANDA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE HERNANDEZ, IRMA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE JESUS, ALMA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE JESUS, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE JESUS, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE JESUS, CARLOS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE JESUS, DEVORA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE JESUS, ELSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE JESUS, ERIKA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE JESUS, EVELY N A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE JESUS, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE JESUS, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE JESUS, JOAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE JESUS, JOEL M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE JESUS, JOEL M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DE JESUS, JOSE O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6513 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1514 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO DE JESUS, LEYDA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DE JESUS, REBECA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DE JESUS, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DE LA CRUZ, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DE LEON, ANNETTE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DE LEON, HECTOR RAUL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DE LEON, LUIS E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DE LORENZO, NEREIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DE PAGAN, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DE SANTIAGO, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DE VALDEJULI, GLORIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DE VELAZQUEZ, JOSEFA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DECLET, DAMARYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DECLET, LIZA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DEGONZALEZ, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DEIDA, DANIEL M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DEL CUETO, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DEL VALLE, AXEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DEL VALLE, AXEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DEL VALLE, KIARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DEL VALLE, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DEL VALLE, VICTOR D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DELGADO, AILEEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DELGADO, JEIDIE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DELGADO, JOSE ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DELGADO, LILLIAN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DELGADO, LUIS ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DELGADO, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DELGADO, MYRIAM E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DELGADO, STEFANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DELGADO, YESSICA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DELVALLE, JOHANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DENIZARD, NEYSHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DEYNES, JUAN ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DIAZ, ANA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DIAZ, ANA G                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DIAZ, ANILDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DIAZ, ANTHONY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DIAZ, ANTONIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DIAZ, ANTONIO IVAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DIAZ, AXEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DIAZ, AXEL M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DIAZ, CARMEN M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DIAZ, DORALIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DIAZ, ELVIN O.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DIAZ, FELIPE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DIAZ, GLENDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DIAZ, JENNIFER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO DIAZ, JOEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6514 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                     Schedule E3 Page 1515 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SOTO DIAZ, JORGE L                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DIAZ, JOSE                   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DIAZ, JOSE DOLORES           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DIAZ, JOSE E                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DIAZ, JOSE R                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DIAZ, JOSUE                  REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DIAZ, JULIA M                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DIAZ, JUNIOR A.              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DIAZ, LEONIDES               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DIAZ, LILLIAM                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DIAZ, LUIS A.                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DIAZ, LUIS R.                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DIAZ, MADELINE               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DIAZ, MIGDALIA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DIAZ, MOISES                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DIAZ, SANDRA                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DIAZ, SERGIO B               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DOMENECH, MARIE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DOMENECH, MARITZA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DOMENECH, NILDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DONATO, YOMARIE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DONES, JOSE E.               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DUMEY, MARTIN A              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DUPERON, JACQUELINE I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DUPERON, JACQUELINE I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO DURAN, GLORIA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ECHEVARIA, NEIDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ECHEVARRIA, CHARLIE J.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ECHEVARRIA, DELBERT I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ECHEVARRIA, GERARDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ECHEVARRIA, GERARDO I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ECHEVARRIA, ILIAMELIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ECHEVARRIA, ILIAMELIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ECHEVARRIA, JOSE A.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ECHEVARRIA, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ECHEVARRIA, MIRNALYS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ECHEVARRIA, MIRNALYS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ECHEVARRIA, MIRTA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ECHEVARRIA, WANDA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ECHEVARRIA, WILSON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ECHEVARRIA, YARELYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESCALERA, CARMEN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESCALERA, CRUZ M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESCALERA, JOSE I             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESCOBAR, OSCAR               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESCOBAR, OSCAR               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESCRIBANO, ARMANDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESCRIBANO, MARILYN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESCUTEL, ROSAURA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6515 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1516 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO ESPADA, ESTEBAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESPADA, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESPINELL, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESPINOSA, LISAIRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESPINOSA, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESTEVES, MAGDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESTEVEZ, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESTEVEZ, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESTEVEZ, MAGDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ESTRADA, SHIRLEY I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FALCON, CORALIS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FALCON, LUIS J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FALCON, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FALCON, RUBEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FALCON, RUBEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FALCON, XIOMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FANTAUZZI, DENNIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, ALEJANDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, CAMILE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, CINDY L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, EDDIE N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, IVONNELLY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, JANNETE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, JANNETE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, JOSE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, JOSELYN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, JULIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, KEYRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, NIXALIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, YALITZA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, YALITZA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, YANNISIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, YARILIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELICIANO, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FELIX, YARIMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FERNANDEZ, ANABELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FERNANDEZ, GRISELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FERNANDEZ, KAREN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FERNANDEZ, KAREN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FERNANDEZ, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FERREIRA, EDWIN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FERREIRA, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO FERREIRA, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FERREIRA, ZILKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FERRER, AWILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FERRER, SHARON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIERRO, BLANCA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIGUEROA, ANA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIGUEROA, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIGUEROA, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIGUEROA, CECILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIGUEROA, DOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIGUEROA, JESSICA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIGUEROA, JESSIKA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIGUEROA, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIGUEROA, MAGDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIGUEROA, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIGUEROA, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIGUEROA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIGUEROA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIGUEROA, STEPHANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIGUEROA, YEXI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FIGUEROA, YITZA O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FLORES, FELIPA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FLORES, FELIPA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FLORES, GERRYTZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FLORES, JAIME              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FLORES, JESUS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FLORES, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FLORES, MIGUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FLORES, MIKE K             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FLORES, ZAILIMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FLORIDO, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FONALLEDAS, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FONSECA, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FONT, ZAIDA B              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FONTAN, MARIA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FONTANEZ, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FORNES, JO ANN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FORTUNO, OMAR G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FUENTES, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FUENTES, KARILYN N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FUENTES, MIRTA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO FUENTES, VIOLETA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GALARZA, ADA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GALARZA, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GALARZA, ANA D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GALARZA, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GALARZA, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GALARZA, WANDA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GALINDEZ, NADJAH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6517 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1518 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO GANGONETA, YOLIMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARAY, MIGUEL A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, ANDRES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, ANDRES L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, BIANCA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, CHEILA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, CHEILA Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, CRISTOBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, HERIBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, ISOLINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, JACKELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, JOSE J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, JOSE S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, JULIO C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, LUZ E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, MANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, MARIA DEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, MAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, MONICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, MYRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, MYRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, OSCAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, OSCAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, RAQUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, VICTOR I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, WALDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, WILMAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GARCIA, YANINA DEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GAY, FRANCIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GERENA, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GIL, GISELLE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GINES, RUBEN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GIRAUD, HECTOR H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GIRAUD, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GIRAUD, MARIA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GIRAUD, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GIRONA, DELIA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GIRONA, ESTEBAN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GOMEZ, AMELIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GOMEZ, ANGEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GOMEZ, BALDOMERO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GOMEZ, BIANCA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GOMEZ, HERIBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                    Schedule E3 Page 1519 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SOTO GOMEZ, MARGARITA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ABRAHAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ADA L             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ALBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ALEX I.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ALJADY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, AMADOR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ANA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ANA G             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ANGEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ANGEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ANGEL M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ANITA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ARELIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, BIENVENIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, CACHEILA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, CARLOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, CARLOS E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, CARLOS I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, CARLOS O.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, CARMEN L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, CARMEN R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, CASIANO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, CHRIS J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, DENISE M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, DIANA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ELISA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ELIZABETH         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ELIZABETH         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ELIZABETH         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ELSIE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ELVIS DE J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ESTRELLA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ETHIEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, FELIX             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, FRANCHESCA MARY   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, FRDESMINDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, GEORGINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, GIOVANY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, GLADYS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, GLORIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, GLORIA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZÁLEZ, GLORIA M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, HECTOR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, HECTOR L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, HECTOR L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, HECTOR M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, IRIS N            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1520 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO GONZALEZ, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ISMAEL R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, IVETTE I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, JACELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, JAMMILAH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, JANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, JOSE W           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, JUAN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, JUAN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, JULIO C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, KATHERINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, KATHERINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, LAUREN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, LOURDES T.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, LUIS ANGEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MAGALI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MAGALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MAGALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MAGALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MARILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MARILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MARIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MARTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MAYRA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MAYRA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MICHELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, NILSA GISELA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6520 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1521 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO GONZALEZ, NYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, PROVIDENCIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, RAMON L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, RODNEY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, ROSANGELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, SANDRA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, WALDEMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, WIRELIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, YAHAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, YANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, YARELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ, YISEL D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GONZALEZ,ALJADY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GRACIA, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GRACIA, JUDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GRACIA, JUDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GRACIA, MARIA A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GRAJALES, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GRANADO, CESAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GREEN, JOSE A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUERREO, NELSO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUERRERO, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUERRERO, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUILLAMA, JEAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUTIERREZ, CARMEN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUTIERREZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUTIERREZ, EDWIN JOEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUTIERREZ, JEFFREY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUTIERREZ, JUAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUTIERREZ, KAREN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUTIERREZ, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUZMAN, AMABEL T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUZMAN, BLANCA H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUZMAN, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUZMAN, EDRYAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUZMAN, ELSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUZMAN, ESPERANZA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUZMAN, ISRAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUZMAN, JUAN C.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUZMAN, MANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6521 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1522 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SOTO GUZMAN, MARIA A.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUZMAN, MARTHA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUZMAN, REBECA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO GUZMAN, VIVIAN M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HARRISON, LUIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HARRISON, LUIS A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HARRISON, LUIS D.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HEREDIA, EDWIN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, AIDA N           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, BENJAMIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, DEEMARYS N       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, EDGAR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, ELBA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, ELBA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, ELIZABETH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, ELIZABETH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, ELVIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, ELVIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, EMELDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, EMMANUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, EVELYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, GLADYS E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, HECTOR H         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, HIRAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, IVELISSE M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, JANET            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, JARICELIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, JOHANNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, JOSE A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, JOSE E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, JOSE E.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, JOSE E.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, JOSSIE I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, JUAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, JUAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, JUAN B.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, JUAN C           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, JUANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, KATIA Y.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, LARITZA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, LETICIA IVETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, LUIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, LUIS D           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, LUZ D            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, LYDIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, LYDIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, MARIA DEL C      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, MARIA DEL C      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6522 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1523 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO HERNANDEZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, MARY LINDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, MYRIAM I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, NICOLAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, NICOLAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, NICOLAS J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, NILDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, NORMA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, RENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, RENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, ROSANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, WALTER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, YALITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, YALIZBETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, YARELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, ZENAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HERNANDEZ, ZULMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HIDALGO, KEYLA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HIDALGO, KEYLA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HUERTAS, VIRGINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO HUERTAS, ZENAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ILLAS, AYBETMARIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ILLAS, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ILLAS, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO IRIZARRI, HAMILTON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO IRIZARRY, DELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO IRIZARRY, DORIS V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO IRIZARRY, ESTHER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO IRIZARRY, JOAQUIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO IRIZARRY, KAREN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO IRIZARRY, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO IRIZARRY, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO IRIZARRY, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO IRIZARRY, OSCAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO IRIZARRY, RIGOBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO IRIZARRY, SOLI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1524 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO ISABATS, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ISOBATS, PASCUAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JAUME, KEILA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JAVIER, MARIANO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JAVIER, MYRNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, ASLIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, CARMEN V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, DENISE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, FELICITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, MISAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, NAYDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, OLGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, RAMON A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, SOR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, SOR E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMENEZ, WILBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JIMINEZ, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JUARBE, KATYA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO JUSTINIANO, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LABORDE, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LABORDE, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LACOURT, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LAMBOY, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LAMBOY, LILLIAM I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LAMBOY, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LAMBOY, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LAMBOY, SONIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LANAUSSE, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LANAUSSE, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LANDRO, ANGEL W            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LANDRO, ANGEL W            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LANTIGUA, DANIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LARACUENTE, ROSA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEBRON, BRENDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEBRON, CARIDAD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEBRON, DENNISSE E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEBRON, EDGARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEBRON, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEBRON, JOSE J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEBRON, LILLIAN F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEBRON, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEBRON, MARIA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6524 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1525 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO LEBRON, MYRNA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEBRON, MYRNA Y.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEBRON, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEBRON, PRISCILLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEBRON, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEBRON, ZULMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEON, ANTONIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEON, LOURDES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEON, LOURDES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LEYVA, MANUELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LINARES, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LLERAS, NANCY A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LLORENS, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LLORET, JOSUE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOMBAY, MYRNA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, ALIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, ARNALDO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, BENJAMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, DANIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, EDNA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, ENID                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, GERARDO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, GUADALUPE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, JOSE A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, JOSE R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, JOSE R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, JOSE RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, JOSEFINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, JULIO A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, KARELEME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, KARELENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, KARELENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, LESLIE K            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, LIZBETH Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, MARIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, MARTA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, MAYDA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, MIGUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, MIGUEL A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, MILAGROS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, NELIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, OLGA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, OSCAR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, PABLO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, RAMON E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, ROSA J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, SALVADOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1526 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO LOPEZ, SANDRA D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, YAJAIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, YARIXA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOPEZ, YOLANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LORENZANA, FRANCES I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LORENZO, CARLOS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LORENZO, DIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LORENZO, IVAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LORENZO, IVAN J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOZADA, CARMEN IRIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOZADA, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOZADA, MARIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOZADA, MILITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LOZADA, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LUCCA, MICHAEL C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LUCCA, VLADIMIR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LUGO, ANGEL D.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LUGO, DIANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LUGO, EDGAR                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LUGO, QUETSY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LUGO, SONIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO LUNA, JACINTO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MACHADO, LILLIAM N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MAINARDI, MARIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MAISONET, QUETCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MAISONOVE, MIGUEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALAVE, DORA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALAVE, HECTOR A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALAVE, ISRAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALAVE, ISRAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALAVE, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALAVE, MARIA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALAVE, MARIA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, ARTURO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, CESAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, CHRISTIAN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, DELIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, DELIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, EDNA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, EDNA V.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, ERNESTO L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, FERDINAND       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, ISMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, JOEL D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1527 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO MALDONADO, LAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, LISBET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, LISBETT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, LISBETT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, LISBETT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, MALENY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, MARCELINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, MARIELISA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, MARIELSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALDONADO, VALERIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MALPICA, JACKELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MANGUAL, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MANZANO, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARENGO, LILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARIANI, MONSERRATE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARQUEZ, ANELISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARQUEZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARQUEZ, CARMEN K          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARQUEZ, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARQUEZ, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARQUEZ, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARQUEZ, IRIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARRERO, ANABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARRERO, ANNIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARRERO, ELBA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARRERO, ELINDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARRERO, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARRERO, LUIS R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARRERO, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTELL, KATHIAYARI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTIN, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, ANIBAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, AURIALINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, DANNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, DELMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, DELMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, DELMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, EMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, FLORA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6527 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1528 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO MARTINEZ, GWENDOLYNE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, JOHANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, JORMIL O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, LIZEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, LOURDES L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, LUISA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, MAGALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, MAGALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, MARCIAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, MARILY I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, MARTIN F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, MILTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, PROVIDENCIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, RAMON L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, RAMON L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, REBECA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, RENAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, RENAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, YADIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTINEZ, YAJAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTIS, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MARTIS, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MASSA, LESLIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MASSAS, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MASSINI, IVONNE G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATEO, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATIAS, CLARIVEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATIAS, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATIAS, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATIAS, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATOS, ANA I.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATOS, ANGELIVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATOS, DIXON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATOS, EDMEE I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATOS, EDMEE I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATOS, EDWIN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATOS, MARIA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6528 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1529 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO MATOS, MARILYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATOS, MARILYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATOS, RENAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATOS, RENAN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATOS, SYLVIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATTA, MONICA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MATTA, WANDA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEDINA, AIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEDINA, ANA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEDINA, ANTONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEDINA, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEDINA, BILLY JOEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEDINA, CLARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEDINA, EDUARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEDINA, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEDINA, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEDINA, IDALIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEDINA, JAMILLIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEDINA, JAMILLIE J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEDINA, MAGDALENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEDINA, MAGDALENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEDINA, MANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEDINA, OSCAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEJIAS, AWILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEJIAS, BENITO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEJIAS, FELIX A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEJIAS, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEJIAS, MIGUEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MEJIASDA, LEONILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, CARMEN MARIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, IRENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, JOHANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, LOURDES M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, MIRIAM E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, NELIDA V.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, RAMON L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, RAMON L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, RICARDO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, RUTH I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, VIVIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, VIVIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MELENDEZ, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDE, JUAN DE LA CRUZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6529 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1530 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO MENDEZ, ABIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, ADELINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, AILEEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, AILEEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, ANA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, ANGEL L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, ANTHONY MAX        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, ARACELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, BENJAMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, CARMEN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, EDGARD E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, ESTRELLITA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, HEIDI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, JOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, LEYDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, LEYDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, MARILIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, MARISA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, MARISA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, MAXIMINO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, MODESTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, OMAR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, VIVIAN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENDEZ, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENENDEZ, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MENENDEZ, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCADO, AMILCAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCADO, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCADO, ELBA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCADO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCADO, ELSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCADO, HILDANES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCADO, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCADO, KARIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCADO, KARIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCADO, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCADO, MARIANGELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCADO, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCADO, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCADO, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCADO, SHEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCADO, VIDALINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCED, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MERCED, EMANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1531 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO MIESES, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MILLAN, EMILIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MILLET, JOSE G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MILLET, WANDA LIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MIRANDA, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MIRANDA, GEISA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MIRANDA, HECTOR X          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MIRANDA, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MIRANDA, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MIRANDA, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MIRANDA, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MIRANDA, MIGUEL S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MIRANDA, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MIRANDA, NELSON J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MOCTEZUMA, GLORIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MODESTI, ARIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MODESTI, ARIEL F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MODESTI, BLANCA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MODESTI, ERIC F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MODESTI, MARIA DE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MODESTI, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MODESTI, MIRIAM E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MODESTI, MYRNA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MOJICA, ELVIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MOJICA, ELVIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MOLINA, ANGEL D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MOLINA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MOLINA, GLENDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MOLINA, IVONNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MOLINA, IVONNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MOLINA, JOSE C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MOLINA, JOSE M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MOLINA, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MOLINA, LAURA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MOLINA, WANDA ELIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MOLINA, WILSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MONROIG, ALICHA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MONTALVO, PETER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MONTALVO, REYNALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MONTALVO, XIOMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MONTANES, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MONTANEZ, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MONTANEZ, MICHELL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MONTANEZ, MICHELL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MONTANEZ, NYLSA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MONTANEZ, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MONTERO, WALESKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MONTES, REYNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO MONTIJO, AIDA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6531 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1532 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO MONTIJO, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MONTIJO, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORA, ANTONIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, ALBERTO E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, ALFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, ANABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, ANDRES H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, AUREA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, BETHSYMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, BETHZAMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, CARLOS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, ELBA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, ELBA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, ESTEFANY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, FRANCISCO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, JUAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, JUAN ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, JUAN CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, MARLENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, REGALADA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, ROSA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, ROSA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, VICTOR A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORALES, WILLIAM O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MORENO, IVETTE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MOYA, CARMEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MOYA, EMELINA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MOYA, JUAN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MUJICA, CHRISTIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MULERO, JORGE IVAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MUNERA, ALBA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MUNIZ, DEBORAH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MUNIZ, GREGORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MUNIZ, IVANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MUNIZ, IVANNELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MUNIZ, JEYDIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MUNIZ, JUAN JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MUNIZ, LUIS Z.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MUNIZ, RUTH N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MUNIZ, ZENON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MUNOZ, EDDIE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO MUNOZ, MILTON D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6532 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1533 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO MUNOZ, NANCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NALES, VICTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NALES, VICTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NARVAEZ, GUALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NATERA, RAMONA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NAZARIO, EVANGELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NAZARIO, GLORIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NAZARIO, HILDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NAZARIO, NILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NECO, ANA E                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NEGRON, AWILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NEGRON, BLANCA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NEGRON, EFRAIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NEGRON, LIBERTAD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NEGRON, LILLIAM R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NEGRON, MAYLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NEGRON, MAYLENE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NEGRON, NATIVIDAD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NEGRON, ZUHAIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIETO, MARIA EUGENIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, ABIMELEC           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, ADA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, AL L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, ANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, ANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, ANGELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, FAUSTINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, FELIXANDER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, FIDELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, GERALD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, GLORIANNE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, IRIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, JERRY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, JERRY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, JOSE R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, JULIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, LUCIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, LUCIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, LUIS F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, MARIA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, MOISES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, PASTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, RAQUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, RAQUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6533 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1534 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO NIEVES, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NIEVES, YANITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NOGUERAS, LOIDA ESTHER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NOGUERAS, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NOVOA, MILDRED             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NUNEZ, BRENDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NUNEZ, DORIS L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NUNEZ, MONSERRATE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NUNEZ, MONSERRATE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO NUNEZ, RODOLFO L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO OCASIO, CARLOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO OCASIO, CARLOS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO OCASIO, MARYBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO OCASIO, MARYBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO OJEDA, GRETCHEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO OLAN, VICTOR V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO OLIVER, ANGEL N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO OLIVER, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO OLIVERA, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO OLIVERAS, ARQUELIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO OLIVERAS, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO OLIVERO, DIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO OLIVO, MANUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO OLIVO, MINERVA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO OLMEDA, BEATRIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO OLMEDA, CESAR A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO O'NEILL, JOHANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ONGAY, MAGDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORAMA, HECTOR G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTA, CLARIBEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTA, CLARIBEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTA, SUGEILYN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTEGA, AMANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTEGA, ARGINNYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTEGA, DAMASO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTEGA, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTEGA, EVA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTEGA, OBED               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTIZ, ALEJANDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTIZ, ALEJANDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTIZ, CARLOS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTIZ, CECILIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTIZ, DAMIAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTIZ, EFRAIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTIZ, ELSIE E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTIZ, ENID                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTIZ, ERIC                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTIZ, ERMY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ORTIZ, FRANCIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6534 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1535 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO ORTIZ, FRANCISCO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, FREDDIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, HELEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, HELGA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, ISABEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, ISABEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, JAVIER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, JAZMIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, JOHANNA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, JOSE J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, JOSE JOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, JUAN F              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, LESLIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, LISA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, LORNA Y.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, LUZ D               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, LUZ M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, MANUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, MARIA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, MAYRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, MICHELLE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, MIGDALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, MIGDALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, MIGDALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, MILDRED             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, MILDRED             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, NANCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, OLGA L.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, RICHARD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, ROSA Y              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, ROSITA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, SHERLY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, SOBEIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, VIVIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO ORTIZ, VIVIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO OSUNA, DONNA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO OSUNA, IVELISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO OTERO, ARACELIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO OTERO, FERNANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO OTERO, WANDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO OTERO, WANDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO OVERMAN, ANEUDI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO PABON, MARIA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO PACHECO, GLADYS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO PACHECO, LESLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO PACHECO, PAULA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO PACHECO, PEDRO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO PACHECO, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6535 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1536 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO PACHECO, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PACHECO, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PACHECO, SARA HILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PACHECO, SCARLETTE F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PADILLA, ADA C.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PADILLA, JAMES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PADILLA, MARIA DEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PADILLA, MIRIAM C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PADILLA, NILSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PADILLA, ROSA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PADIN, EDUARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, ANA I               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, ANA IRMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, CELESTINO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, CELIMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, CELIMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, EDWIN J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, GLADYS I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, HEIDI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, JAYSON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, JESSICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, MARANGELIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, MARIA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, MARIA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, OLGA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, RODERICK            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, RODERICK            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, WALESKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAGAN, WALESKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PALER, RAFAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PANTOJAS, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PARDO, AMBAR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PARDO, ANGEL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PASTRANA, BEXAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PASTRANA, BEXAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PASTRANA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PASTRANA, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAZ, LUZ E                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PAZ, LUZ E                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PELLOT, CATHERINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PENA, DENNIS O             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PENA, ELMA I               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PERAZA, FRANK              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PERDOMO, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PERDOMO, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PERDOMO, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREA, PABLO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6536 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1537 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO PEREZ, AIDE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, AIDE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, AIRIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, ALEJANDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, ALICE J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, AMARILYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, AMELIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, ANN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, ANN D               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, ANTONIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, AXEL A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, BELKYS V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, BETSY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, CARLOS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, CARLOS J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, CARMEN I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, CARMEN L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, CARMEN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, CARMEN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, CELESTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, CIRILA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, DAMARIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, DANIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, DAVID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, DEISY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, DEISY R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, DORIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, ELSA N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, EPIFANIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, GADIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, GRACIELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, HECTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, HECTOR R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, IRIS M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, IRIS V              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, JACKELINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, JASMIN E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, JAZMIN E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, JENNIFER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, JOSE E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, JOSE G              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6537 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1538 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO PEREZ, JOSHUA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, JUDITH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, LINDA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, LUIS S.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, LUZ                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, MADELINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, MAGALY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, MAGDALENA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, MANUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, MARIA DE LOS A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, MARIA DEL C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, MARIA F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, MARIA J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, MARIA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, MARIA N.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, MAYRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, MICHELLE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, MICHELLE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, MOISES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, NACHA‐LEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, NATHANAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, NILSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, OLGA H              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, OLGA H              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, ORLANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, ORVIL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, OSVALDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, RAFAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, RUTH                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, RUTH A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, SAMUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, SILVIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, VALERIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, VANESSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, VANESSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, VILMARIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, WIDALYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, WILFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, YADIRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, YARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, YIRELIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PEREZ, YIRELIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6538 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1539 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO PESANTE, PEDRO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PICART, KEISHLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PILLOT, JUAN R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PINEIRO, MARIA B.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PINEIRO, NYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PINEIRO, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PINERO, SARILY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PINO, PEDRO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PITRES, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PIZARRO, CARMEN Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PIZARRO, ENID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PIZARRO, NORA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PLANAS, CARMEN L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PLANAS, MARIA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PLAZA, ANIBAL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PONCE DE LEON, JESUS A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PONCE DE LEON, OLGA Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PORTALATIN, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PUJOLS, ALEXIS J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PUJOLS, ANGELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO PUJOLS, DARYSABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUIJANO, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUILES, ANGEL L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUILES, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUILES, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUILES, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUILES, LYDIA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUILES, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUILES, MARIA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUILES, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUILES, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONES, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONES, EZEQUIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONES, GIANNINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONES, HUMBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONES, IGNACIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONES, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONES, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONES, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONES, NORY E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONES, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONES, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONES, TAMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONEZ, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONEZ, MARIA DEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONEZ, MARYCRUZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONEZ, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINONEZ, TAMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINTANA, ANGEL R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6539 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1540 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO QUINTANA, JESMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO QUINTERO, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, ARACELYMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, CARMELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, EDGARDO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, EVELINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, GERMAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, GRISELYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, JOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, MARCELINO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, SERGIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, SYLVIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMIREZ, SYLVIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, AIXA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, ALBA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, ANA R.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, ANA Y.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, ANGEL LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, ANTONIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, ANTONIO R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, ARELINE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, AURORA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, AWILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, BENJAMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, BERNABE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, CARMEN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, CAROL M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, CYNTHIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, CYNTHIA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, EDGARDO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, ELVIN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, EMMANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, EZEQUIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, FRANCES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, GERTRUDIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, GLORIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, HELGA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, HELGA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6540 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1541 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO RAMOS, HENRY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, IRMA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, ISABEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, JESUS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, JULIO C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, LILIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, LIZ                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, LIZZETTE DE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, LOURDES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, MADAI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, MARIA DEL C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, MARJORIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, MIGDALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, MIRIAM E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, MOISES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, OLGA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, TITO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, VIRGINIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RAMOS, ZULEYKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RECIO, GLORIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RECIO, GLORIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REINOSA, RAMON E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RENTAS, ZARITZIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REVERON, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REVILLA, AIXA W            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REVILLA, DAHRMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REVILLA, DAHRMA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REXACH, MARIA ISABEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REY, ANA L                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REYES, ANGEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REYES, CARMELO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REYES, DOMINGO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REYES, EDWIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REYES, ESTEFANIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REYES, JORGE U             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REYES, JORGE ULISES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REYES, KELVIN J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REYES, LILYBETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REYES, LILYBETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REYES, LUIS F              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REYES, MARLON J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REYES, NIEVES GLADYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO REYES, ROSA H              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIESTRA, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIOS, BLANCA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIOS, CARMEN L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIOS, CHADIANA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIOS, DIANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIOS, DIANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6541 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1542 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO RIOS, EDWIN A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIOS, FREDY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIOS, GABRIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIOS, KEVIN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIOS, LUIS A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIOS, LUZ S.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIOS, MYRIAM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIOS, PORFIRIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIOS, SAUL J               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIOS, WILFREDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIOS, WILSARY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIOS, WILSARY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ABIGAIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ADA IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, AGUSTIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, AIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, AIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ALICIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ANAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ANGEL L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ANGEL LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ANGEL R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ARTURO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, AXEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, BARBARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, BARBARA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, BENJAMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, BRENDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, BRENDA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, CARLOS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, CARLOS J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, CAROLINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, CHRISTIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, CHRISTOPHER D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, DAGMARIZ Y.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, DARWIN ROLANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, DELMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, DIANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, EDUARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ELBA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, EMANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6542 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1543 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO RIVERA, EMILIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ESPERANZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ESPERANZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, EVALYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, FRANCES A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, FRANK              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, GEORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, GERALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, GERARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, HAYDEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, HAYDEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, HAYDEE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, HECTOR G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, HERMINIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, IRMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, IRMA G.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ISMAEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JAIME              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JARIMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JAZMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JAZMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JAZMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JELISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JELISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JESSICA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JESSICA N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JOHANNA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JOHNNY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JOSE D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JOSE D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JOSE J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JOSE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JOSEFINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JUAN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JUAN I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JUAN R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JUDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JUSEIM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, JUSEIM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, LILLIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6543 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1544 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO RIVERA, LILLIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, LORENA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, LOUIS L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, LUISA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, LYDIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MAGDA W            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MARIA W            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MARIA W            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MARLA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MARTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MARTA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MARTHA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MARTHA C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MELISSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, NATANAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, NILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, NILDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, NILDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, NORMA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, NORMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, NURIA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, OMAR A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, OSCAR J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, OSCAR J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, OSMARIE K.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, RAMONA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, RAMONA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, RAMONA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, RAUL E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ROSA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, RUBEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, RUBEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, SAHEILYS N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, SANDRA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6544 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1545 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO RIVERA, SEFERINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, VICTOR E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, WANDA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, YAJAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, YAJAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, YOMARI Y.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ZULMA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RIVERA, ZULMA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROA, JOSE E                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROBLES, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROBLES, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROCHE, FELICITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, ALBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, ALEX A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, ALEXIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, ALTAGRACIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, ANA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, ANIBAL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, ANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, ANTONIO R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, BERNADETE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, BRIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, BRIAN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, CANY I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, CARLOS J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, CARLOS R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, CESAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, CRISTINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, D' YANIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, DAMARIS ENITH   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, DANNIEL I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, DELMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, DELMARIE J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, DIANA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, DYANIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, EDNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, EDNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6545 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1546 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO RODRIGUEZ, ELSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, EVANGELIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, FRANCES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, GIOVANNI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, GIOVANNIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, GLORIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, GLORIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, INES M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, INGRIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, IRAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, IRIS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, IRIS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, IVAN H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JAHDIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JEANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JESUS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JORGE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JOSE F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JUAN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, JULIO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, KAREN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, LEONOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, LESTER L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, LESTER L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, LETICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, LISANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, LOYDA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, LUCELENIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, LUIS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, MARIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO RODRIGUEZ, MARIELA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6546 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1547 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO RODRIGUEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, MONSERRATE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, NAYDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, NEIDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, NICOLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, NISSETTE S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, NOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, NORBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, NORBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, ODALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, ODALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, PEDRO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, PEDRO R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, RUTH E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, RUTH N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, SHARELLYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, SHARON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, SONIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, VALERIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, VICENTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, WILMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, WILMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, YAMIL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RODRIGUEZ, YARA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROJAS, ALBA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROJAS, CARMEN L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROJAS, CARMEN Z            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROLDAN, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROLDAN, JOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROLDAN, MARANYELI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROLON, FELIX M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROLON, JAVIER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROLON, JULIO A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROLON, LUIS I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROLON, MINERVA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROLON, RAMONA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROLON, ROSARIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6547 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1548 of 2285
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO ROLON, ZWINDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, ABDIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, ALVIN M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, BRUNILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, BRUNILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, DAVIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, EDGARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, EVARISTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, HERMES J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, HIRAM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, IRMA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, JANET               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, JELITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, JUAN A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, JUAN ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, JULIO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, LISBETH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, LISBETH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, LISBETH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, MAYRA S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, MAYRA S.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, NAIDALYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, NIDZA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, OLGA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, SILKIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, STEPHANIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, TAMARIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, TAMARIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, TANIA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, VANESSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMAN, YARELIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMERO, BASILIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMERO, BASILIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMERO, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMERO, CARMEN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMERO, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMERO, NORIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROMERO, NORIS W            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSA, ANABEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSA, CARMEN I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSA, DAVID                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSA, DIANA L.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSA, DIANA L.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSA, EDGAR A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSA, EDWIN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSA, ENRIQUE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6548 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1549 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO ROSA, GLORIMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSA, GRISEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSA, JAVIER               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSA, JAVIER               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSA, JOSE A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSADO, ADALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSADO, ANGEL M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSADO, ARELIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSADO, ARELIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSADO, AWILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSADO, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSADO, GILBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSADO, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSADO, MAITA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSADO, RAMON L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSADO, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSADO, VANNESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSADO, YASHIRA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSALY, GREGORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSARIO, ANA H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSARIO, HECTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSARIO, JANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSARIO, JANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSARIO, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSARIO, JUAN J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSARIO, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSARIO, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSARIO, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSARIO, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSARIO, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSARIO, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSARIO, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSARIO, OMAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSARIO, RAFAEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROSARIO, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ROTGER, SHAVIELY R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUBERTE, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, AELIS V              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, ALEIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, ANGEL L.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, ANTONIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, BENJAMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, CARLOS J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, CHARYTIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, EDGARDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, ELISEO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, ERIKA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, FERNANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, FERNANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6549 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1550 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO RUIZ, FERNANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, GABRIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, GABRIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, GERONIMO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, GRETCHELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, JAZMIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, JOSE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, JULIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, LUIS                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, MAGDALENA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, MAGDALENA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, MARIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, MARIA ISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, MARIA S              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, MARIBEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, NILSA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, NOEMI                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, RUT E                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, SHAIKIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, SHAISA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, SHARON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, SHARON M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, VERONICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, WANDA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, WANDA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, WILLIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, WILLIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, XAVIER               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, XAVIER               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, YAZMIN W             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUIZ, YOLANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUPERTO, URSESINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO RUSSI, MARIO I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SABATHIE, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SAEZ, LUZ E                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SALAS, IVAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SALAS, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SALAS, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SALAS, MARIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SALAS, ZAIDA Y             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SALGADO, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SALGADO, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SALGADO, LILLIAM S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SALGADO, MARIEVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SALGADO, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SALGADO, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SALICRUP, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SALOME, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SALVA, SANDY S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6550 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1551 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO SAN INOCENCIO, ANGEL L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANABRIA, DAVID W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANABRIA, ELISAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANABRIA, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANABRIA, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, BEATRIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, EDWIN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, EMMA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, ESTHER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, HIRANIES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, JORGE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, LOURDIANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, NARDELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, SARA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANCHEZ, TAISHA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTANA, EUGENIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTANA, REGINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTANA, SILVIALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTANA, SILVIALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, ADELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, ADELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, AIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, ALEJANDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, ALEXA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, ARELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, AUREA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, CELESTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, CESAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, DESMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, EUGENIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, IRIS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, ISABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, JEANETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6551 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1552 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO SANTIAGO, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, JOSE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, JUSTINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, LUCIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, LUCIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, LUZ N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, MARIANO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, MARIMER DEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, MICHELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, MICHELLE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, NEFTALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, NEFTALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, REY OMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, TRINIDAD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, XAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTIAGO, YANELIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTINI, MARY CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTINI, ROSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTO, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTOS, ANIBAL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTOS, LUCILA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTOS, LUCILA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTOS, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTOS, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTOS, ROSA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTOS, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SANTOS, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SASTRE, JUAN B.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SEGARRA, JULIO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SEGARRA, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SEGARRA, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SEIJO, PABLO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SEIJO, PABLO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SERRANO, ANIBAL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6552 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1553 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO SERRANO, AURELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SERRANO, CAMILIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SERRANO, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SERRANO, EDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SERRANO, ELSIE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SERRANO, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SERRANO, GLADYS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SERRANO, JOSE D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SERRANO, LORENZO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SERRANO, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SERRANO, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SERRANO, LUZ L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SERRANO, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SERRANO, MARILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SERRANO, NORMA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SERRANO, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SIERRA, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SIERRA, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SIERRA, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SIERRA, JOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SIERRA, LINA R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SIERRA, LINA R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SIERRA, WILMA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SILVA, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SILVA, FELICITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOLA, JOSE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOLER, LUCIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOLER, MANUEL H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOLIS, EDGARDO LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SONERA, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOSA, SAMUEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, ANA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, ANA L                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, ANA L.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, ANGEL A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, ARMANDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, BENJAMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, BENJAMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, CARLOS ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, CARMEN M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, DIGNA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, EDGAR                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, EDGAR F              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, EVELYN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, FERDINAND            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, FIDELITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, FIDELITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, GLORIMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, GUSTAVO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6553 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1554 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO SOTO, ISMAEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, JOHNNY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, JOSE J               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, JUSTINA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, LAURA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, LAURA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, LEONIDES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, LISA M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, LITXIOMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, LUIS E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, LUIS MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, LUZ DEL ALBA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, LUZ DEL ALBA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, LUZ M                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, MARIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, MARISOL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, MARTA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, MIGUEL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, MIRTHA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, MYRTA S              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, NILSA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, NILSA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, OMAR                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, PEDRO L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, RAFAEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, RAMONITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, RAMONITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, RAMONITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, RENAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, ROSANGELI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, SEGUNDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, SOL M                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, SUHAIL DEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, TAMARA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, TAMARA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, VANESSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, WILLIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, WILSON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, YAIMILIT             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, YAUSAMET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, YAZEMI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SOTO, ZUHEILY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SUAREZ, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SUAREZ, MIRIAM V.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SUAREZ, RICARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SUAREZ, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SUAREZ, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SUREN, NATALIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO SUSTACHE, IRALYS O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6554 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1555 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO TALAVERA, HIRAM D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TELLADO, LOURDES M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TENORIO, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TERRON, GRICELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TERRON, HECTOR D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TIRADO, CARIDAD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TIRADO, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TIRADO, MANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TOLEDO, ANA R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TOLEDO, BENITO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TOLEDO, BLANCA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TOLEDO, JESUS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TOLEDO, LUIS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TOLEDO, ROSALINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORO, ALBERTO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORO, ANGELA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORO, ANGELA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORO, MARTA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, AMANDA G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, ANDRES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, ANGELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, ANTONIO E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, DAMARIS L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, DELIA T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, DEYSARI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, DIGNA R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, ELIEZER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, ELSA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, EMANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, ENID D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, FERNANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, GABRIEL E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, GEORGINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, GIOVANNIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, GLORIA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, GRISEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, GRISEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, HAMISH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, HECTOR L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, IRIS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, ISABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, JADE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6555 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1556 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO TORRES, JANET              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, JOELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, JOSE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, JOSE M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, JOSE N.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, LISA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, LIZBETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, LIZBETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, LOURDES E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, LUIS E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, LUIS EFRAIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, MABEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, MARILEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, MARILEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, MARTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, MARTIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, MELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, MERLY K            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, MINERVA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, MODESTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, MYRNA Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, NORMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, NORMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, OMAR A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, OSCAR MANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, PROVIDENCIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, RAMON A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, RAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, RIGOBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, ROSA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, SALVADOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, SARA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, SUSAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, SYLVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, TITO A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, TOMMY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, VIDALINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, VILMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, YANIRA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, YEISHA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TORRES, ZULMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TROCHE, HELBERT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6556 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1557 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO TROCHE, SANDY R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO TRUJILLO, ELOINO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO UJAQUE, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO UJAQUE, HECTOR R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALDEZ, RICARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, ADAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, AMALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, ANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, CARMELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, INES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, JAISIEL E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, JOHANDELINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, LUCY M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, MYRNA V.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, ROSA V.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALENTIN, VICTOR FELIX     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALLE, LOYDA O.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VALLES, CARLOS J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VARELA, MYRIAM D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VARGAS, ANGEL L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VARGAS, ANGEL LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VARGAS, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VARGAS, HECTOR R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VARGAS, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VARGAS, JOSELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VARGAS, JOSELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VARGAS, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VARGAS, MARIA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VARGAS, RITA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VARGAS, WILMELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VARGAS, YARELIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VARGAS, YASLIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VAZQUEZ, BRENDALYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VAZQUEZ, CECILIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VAZQUEZ, CHRISTIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VAZQUEZ, EDETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VAZQUEZ, ELIESER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VAZQUEZ, ELLIOT R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VAZQUEZ, ESPERANZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6557 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1558 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO VAZQUEZ, HILDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, JULIO C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, JULIO MICHAEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, LEONARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, LILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, MARIA DEL R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, MARIA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, MARIA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, MICHELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, MIRZA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, NASHALI M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, NEISY D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, NORBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, SANTOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VAZQUEZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VEGA, ALEX M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VEGA, CYNDIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VEGA, EDGARDO M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VEGA, EMMANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VEGA, GLENDALIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VEGA, ISRAEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VEGA, JACQUELINE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VEGA, JEANNETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VEGA, JOSEPHINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VEGA, LUIS A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VEGA, MADELINE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VEGA, MARTA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VEGA, ROBERTO E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELAZQUEZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELAZQUEZ, ELAINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELAZQUEZ, HECTOR L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELAZQUEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELAZQUEZ, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELAZQUEZ, KARINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELAZQUEZ, LESLEY A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELAZQUEZ, LISETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELAZQUEZ, MIGUEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELAZQUEZ, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELAZQUEZ, NEFTALI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELAZQUEZ, PATRIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELAZQUEZ, PATRICIA L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELAZQUEZ, ZAHIREH I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, AIXA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, ALICIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6558 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1559 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO VELEZ, ALICIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, AMARELYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, AMY E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, DAVIDSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, EMMANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, EREDIA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, ERNESTO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, GRISELLE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, HECTOR S.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, JESSICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, JORGE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, JOSE M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, JULIO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, LEONOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, MANUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, MARIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, MARIBEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, MARILYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, NILDY E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, PEDRO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, PEDRO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, ROSARIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, SORAYA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, VICTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, VIRGEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, VIRGEN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, WILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, WILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, WILMARY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELEZ, YESSENIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VELILLA, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VERGES, IVAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VIERA, VICTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VILLANUEVA, ALEXANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VILLANUEVA, ALEXANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VILLANUEVA, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VILLANUEVA, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VILLANUEVA, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VILLANUEVA, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VILLANUEVA, IVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VILLANUEVA, LORNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VILLANUEVA, OMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VILLANUEVA, RUPERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VILLARINI, JEAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VILLARINI, JEAN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VILLARUBIA, JUAN L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VIRELLA, LUIS ALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SOTO VIZCAYA, NEFTALI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6559 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1560 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTO VIZCAYA, RUT               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO VIZCAYA, RUT               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO WESTERBAND, NYLVIA S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO WESTERBAND, RAYMOND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO YUNQUE, ANIBAL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ZAYAS, LITZADEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ZAYAS, LITZADEÉ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ZAYAS, PEDRO F.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO ZAYAS, VICTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, ADALI                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, ALBERT                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, ALEJANDRO E.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, ARNALDO                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, CARLOS                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, CHARLIN J                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, DAVID                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, EDWIN                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, EDWIN                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, ERIK                      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, GILBERTO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, GLADYS S                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, GREGORIO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, HERIBERTO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, JESUS M.                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, LUIS R                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, MARIA E                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, MARIBEL                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, MIGDALIA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, NILDA E                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, NOEMI                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, OSWALD A.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, PATRICIA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, PEDRO                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, RAYMOND                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, VICTOR                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, WILFREDO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, YOELIZ                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, YOELIZ M                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTO, ZORAIDA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOGONZALEZ, ALEXANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOGRAS SALDANA, AURORA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOHERNANDEZ, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOLONGO FERNANDEZ, ADRY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOLONGO MARTIN, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOLONGO MARTIN, VICKY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOLOPEZ, RAUL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR ACEVEDO, EULALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR ALICEA, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR ALICEA, NELLY E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6560 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1561 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SOTOMAYOR ALONSO, OMAYRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR ANESES, MERCEDES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR AROCHO, DORIS E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR AROCHO, DORIS E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR AROCHO, WANDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR AVILES, MARIA L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR BARBOSA, ISMAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR BOURBON, MILDRED       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR CABAN, SHAIRALYS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR CACHO, LUZZETTE M.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR CARDONA, VIRGILIO JR   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR CARRASQUILLO,          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
NINOTCHKA
SOTOMAYOR CASTRO, YARALID        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR CINTRON, ILIA Y.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR CINTRON, MARIA M.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR CINTRON, PILAR         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR CIRILO, ILIANA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR CLASS, NOEMI           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR COLON, JAIME L         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR COLON, JESSICA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR COLON, LUIS G.         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR COLON, LUZ L           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR COLON, ROSAURA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR COLORADO, ROTCEH M     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR CORCHADO, JOSE         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR CORDERO, NORMA I       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR COSME, JOSE R.         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR COX, JOSEFINA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR CRESPO, MARISEL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR CRUZ, IVONNE           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR CRUZ, IVONNE           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR CRUZ, IVONNE           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR CRUZ, LISA M           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR DE JESUS, HIROHILDO    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR DIAZ, BRENDALIZ        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR DOMINGUE, ORLANDO      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR DOMINGUEZ, ILCA I      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR DOMINGUEZ, ORLANDO     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
J.
SOTOMAYOR ELLIS, DORIVI          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR ELLIS, LAURA C.        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR ELLIS, LIGIA A         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR ELLIS, MARIA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR ESTARELLA, LUIS R      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR ESTARELLAS, MARISOL    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR FELICIANO, JESSENIA    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR FELICIANO, JESSENIA    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR FIGUEROA, ANA M        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6561 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1562 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SOTOMAYOR FRANQUI, ANGELA M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR FUENTES, CARMEN J      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR GLORIA, CRESENCIANO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR GLORIA, SEBASTIAN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR GLORIA, SEBASTIAN E    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR GLORIAN, SEBASTIAN E   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR GOITIA, NOEMI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR GONZALEZ, JORGE L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR GONZALEZ, MIRTA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR HARRISON, LUZ Z        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR HERNANDEZ, LEO D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR HERNANDEZ, MABEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR IGARTUA, LUIS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR JUSTINIANO, LOURDES    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
M
SOTOMAYOR LOPEZ, ADAMS           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR LOPEZ, ERMELINDA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR LOPEZ, EVELYN          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR LOPEZ, FERNANDO J      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR LOPEZ, JOSHUA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR LOPEZ, MERCEDES        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR LUGO, FRANCISCO G      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR LUGO, LISANDRA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MACHUCA, HECTOR M      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MALDONADO, JUAN A      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MALDONADO, VANESSA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MANGUAL, ANA L         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MANGUAL, JORGE I       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MARQUEZ, GRISELLE      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MARTINEZ, CATALINA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MATOS, JOSE A.         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MATOS, MARIETTA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MEDINA, LUIS           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MEDINA, LUIS A.        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MEDINA, LUZ N          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MENDEZ, JUAN C.        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MERCADO, CLAUDIA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MERCADO, CLAUDIA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MIRANDA, SILVIA L      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MOJICA, JOHN M         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MONTALVO, LILLIAM      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MONTES, CAMILLE        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MORALES, MARIA V.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR MORALES, SHARON M      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR NARVAEZ, CARMEN L      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR NEGRON, ARIOSTO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR NEGRON, CARMEN I       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR NEGRON, CARMEN I       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR ORTIZ, MARIA E         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6562 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1563 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTOMAYOR ORTIZ, YAKIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR PAGAN, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR PAGAN, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR PEDROZA, FRANK        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR PEREZ, AMARILIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR PEREZ, MYRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR PEREZ, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RAMIREZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RAMIREZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RAMIREZ, HECTOR R.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RAMOS, ELIMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RIOS, NILZA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RIVERA, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RIVERA, CARLOS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RIVERA, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RIVERA, ELSA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RIVERA, GERARDO R.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RIVERA, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RIVERA, JUAN B.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RIVERA, MELVIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RIVERA, OMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RIVERA, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RODRIGUEZ, DEBORAH REDACTED                          REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RODRIGUEZ, DEBORAH REDACTED                          REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR RODRIGUEZ, JOSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR ROMAN, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
MANUEL
SOTOMAYOR ROMERO, NYDIA M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR ROSA, RAMON A         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR ROSADO, TANIVETTE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR RUIZ, EDGARDO E.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR SAGARDIA, THAISA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR SANTANA, MARIANI      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR SANTANA, ROSAURA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR SANTIAGO, GLADYS      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR SANTIAGO, MARIA DEL C REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

SOTOMAYOR SERRANO, SARIMAR      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR SOTO, ADA NELLY       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR SOTO, OSCAR           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR SOTOMAYOR, ALEXIS     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR TORRES, AILEEN D      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR TORRES, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR TORRES, DANIEL G      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR TORRES, FRANK         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR TORRES, LUIS A.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR TORRES, LUIS M.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR TORRES, MYRNA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SOTOMAYOR TORRES, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6563 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1564 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SOTOMAYOR VAZQUEZ, MARIA R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR VEGA, KELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR VEGA, KEYSA LEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR VEGA, LISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR VELEZ, KATTY M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR VICENT, OSCAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR YAMBO, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR, JORAYA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR, JUAN A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR, KEILA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR, LUIS J               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYOR, TALIA B.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMAYORFRANQUI, ANGEL M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMOJICA, JOSE F              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOMORALES, KEISHLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTORAMOS, CELENIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTORIVERA, ORLANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTORODRIGUEZ, CESAR A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOS CRUZ, LYNETTE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTOVALENTIN, PRUDENCIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOTTO SANTIAGO, SORAYA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUCHET APONTE, SHAYLI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUCHET BURGOS, ISABEL C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUCHET DE RAMIREZ, MARTA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUCHET MORALES, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUCHET OTERO, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUCHET REYES, MAGALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUCHET RIVERA, MILADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUCHET RIVERA, SIGFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUCHET VELAZQUEZ, ADA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUCHET VELAZQUEZ, LUIS G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUCHET VIERA, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUFFRONT ALVARADO, JUAN O.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUFFRONT APONTE, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUFFRONT BORRERO, ENEIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUFFRONT DE EDWARDS, DORIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUFFRONT FEBUS, EDGARDO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUFFRONT FEBUS, EDGARDO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUFFRONT FELICIANO, MARIA T    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUFFRONT FONSECA, JESUS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUFFRONT FONSECA, JESUS M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUFFRONT FONSECA, JOSE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUFFRONT FONSECA, ROSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUFFRONT NIEVES, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUFFRONT RODRIGUEZ, ALEXIS E   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUFFRONT SABATER, IRIS G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUFFRONT VELEZ WEBER, EDITH    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOULETTE VELEZ, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOUSA MORA, JOSE G.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6564 OF 7285
SCHEDULE E
                                    Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                       Schedule E3 Page 1565 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                    UNLIQUIDATED
                                                                                                                       CONTINGENT


                                                                                                                                                   DISPUTED
CREDITOR                            ADDRESS 1                  ADDRESS 2   ADDRESS 3       CITY       STATE ZIP CODE                                               AMOUNT
SOUSA MORGANTY, ANA M.              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SOUSA OROBITG, LUIS ANTONIO         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SPALLONE RULLAN, DOMINIC            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SPEARS SOBRADO, MICHAEL             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SPEARS SOBRADO, MICHAEL             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SPEARS SOBRADO, YURIBETH            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SPIRIDIGLIOZZI, LINDA V.            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SPRENG NIEVES, MAYRA I              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SPROLITO SKERRET, JIM P             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SPROLITO SKERRET, JIM P             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SQTQ MALDONADO, NITZA I             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
SQUIABRO MARIN, OMAR                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
ST. GERMAIN MENENDEZ, RAFAEL        REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STABACK RODRIGUEZ, DANNIELY         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STABILE RIOS, MIRIAM                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STABILE RIOS, MYRIAM LEE IRENE      REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STABILE RODRIGUEZ, MARIA VIRGINIA   REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STACY GONZALEZ, RICHARD M           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STANAZAI, QASIM                     REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STANISLAS APONTE, JOSE R            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STANISLAS APONTE, JOSE R            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STANOWSKI CAJIGAS, CARMEN           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STANOWSKI CAJIGAS, CARMEN           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STANZIOLA GARCIA, JAIME             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STASZESKI, DORIS                    REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEDLEY TOSCANO, DINA               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEFAN ACTA, MIRIAM M.              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEFFENS GUZMAN, GLADYS             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL BOYRIE, YAMILET             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL CADIZ, JOSE A               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL FIGUEROA, MAIALIN           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL FIGUEROA, SIGFRIDO          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL GONZALEZ, NERY L            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL GONZALEZ, SONIA             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL GONZALEZ, SONIA M           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL LEBRON, LILIA E             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL MORALES, ROSHAM V           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL MORALES, SHARON             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL MORALES, SHARON             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL MORALES, SHARON I           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL NAVARRO, GEORGE             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL ORTIZ, FLORDELISSE          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL RAMOS, JOSELYN M            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL RAMOS, JOSELYN M            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL RIVERA, KATHLEEN L          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL RODRIGUEZ, SONIA            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL RODRIGUEZ, SONIA M          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL SANTIAGO, DANIEL            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
STEIDEL TORRES, IRMA R.             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                   PAGE 6565 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1566 of 2285
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
STEIDELL LAO, WILMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STELLA CINTRON, ROQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STELLA DIAZ, ALLAN J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STELLA DIAZ, LORENZO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STELLA DIAZ, SONIA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STELLA FERRER, HELEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STELLA LEBRON, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STELLA MARTINEZ, ALEXANDRA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STELLA TORRES, EVANGELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STELLA UBARRI, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STELLA VELAZQUEZ, YOMAIRIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEPHENSS MARTINEZ, ROSEANN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STERLING FERNANDEZ, DENISEE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STERLING LEBRON, JOSEPH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STERLING MORENO, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STERLING MURIEL, FERNANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STERLING MURIEL, PEDRO L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STERLING SANTIAGO, JOHN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STERLING VAZQUEZ, TERESA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STERLING VILLANUEVA, LYDIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STERLING VILLANUEVA, LYDIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEVENS BURGOS, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEVENS CASTRO, AMARYLIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEVENS CHARLES, CLARION V      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEVENS CHARLES, CLARION V      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEVENS CHARLOTTE, JOSE E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEVENS CHARLOTTEN, CAROLENE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEVENS SALAMO, HIANA C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEVENSON CRISPIN, WILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEWART AHEDO, JOHN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEWART CRUZ, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEWART CRUZ, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEWART CRUZ, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEWART MEJIAS, HECTOR A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEWART RODRIGUEZ, BILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEWART RODRIGUEZ, WILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEWART TORRES, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STEWART‐HILL CASTRO, JESUS M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STHEA LOPEZ, SUSANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STHEA LOPEZ, SUSANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STIEHL BETANCOURT, FRANZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STINE CRUZ, MARY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STODDARD LA TORRE, HAROLD N.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STOLLE MORALES, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STOLLE SANTIAGO, CORALYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STONE MALDONADO, EILEEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STORDE KOHN, ROTRAUD D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STORER HERNANDEZ, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
STORM, MARCH                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6566 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1567 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
STRANG, SHANNON L.               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRAUSS WILLIAMS, MICHAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRAZZARA MATOS, MYRNA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRAZZARA MATOS, MYRNA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRICKER MUNIZ, HAYDEE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRICKER MUNIZ, TOMAS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRICKER ROMAN, DICKSON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRIKER MENDEZ, DAMIAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRIKER MENDEZ, GERALDO L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRIKER ROMAN, RAMON             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRIKER ROSA, CANDELARIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STROUD WASHINGTON, MARISA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRUBBE BELTRAN, ELIZABETH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRUBBE ENCHAUTEGUI, CATHERINE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRUBBE GONZALEZ, CARLOS R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRUBBE HERNANDEZ, MILAGROS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRUBBE MARIN, ALEX              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRUBBE MARIN, AXEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRUBBE MELENDEZ, LEOPOLDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRUBBE ONGAY, SERGIO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRUBBE PEREZ, EFRAIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRUBBE PLANAS, ALEX             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRUBBE PLANAS, ANNETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRUBBE PLANAS, MARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRUBBE REYES, GABRIEL A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRUBBE REYES, ISRAEL G.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STRUBBE SOTOMAYOR, MARIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STUART BELTRAN, HIRAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STUART COLLAZO, ROBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STUART COLON, MARTIN J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STUART GARCIA, BRYAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STUART MORALES, NOEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STUART VARGAS, CARMEN C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STUART VARGAS, VERONICA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STUART VAZQUEZ, BRAYAN O.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STUART VELAZQUEZ, DULCINIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STUART VELAZQUEZ, DULCINIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STUART VILLANUE, ELIZABETH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STUBBE FIGUEROA, HERNANN J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
STUBBE, MARIA C.                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUARE GONZALEZ, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUARES ESAVIVEL, EDWIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUARES LEDEE, MARCOS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUARES LUCIANO, ORLANDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ACOSTA, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ AGUAYO, ADRIAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ AGUILAR, MILAGROS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ AGUILAR, MILAGROS S       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALAMEDA, BRIGGITTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6567 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1568 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SUAREZ ALAMEDA, BRIGGITTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALAMO, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALAMO, JULIO R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALAMO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALFONSO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALICEA, LUZ A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALICEA, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALICEA, MAYRA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALICEA, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALMEDINA, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALMODOVAR, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALVARADO, EDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALVARADO, ILEANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALVARADO, PAMELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALVARADO, RAFAEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALVAREZ, DIOSDADO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ALVAREZ, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ AMADOR, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ANDINO, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ANDINO, PEDRO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ANDINO, SERGIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ANDINO, SERGIO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ AQUINO, NILSA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ARCE, EFRAIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ARISTUD, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ AROCHO, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ AROCHO, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ARROYO, BRENDALIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ARROYO, JESSICA Z        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ARZON, JUAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ARZON, SORIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ARZON, SORIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ AVILES, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ AVILES, ZHAILY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ AYALA, FRANCIS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ AYALA, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ AYALA, MYRTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ BAEZ, JUDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ BAEZ, NORMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ BAEZ, ROSA C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ BARRETO, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ BATALLA, MARCIA H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ BATISTA, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ BATISTA, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ BAYRON, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ BENITEZ, DOLORES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ BENITEZ, ESPERANZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ BENITEZ, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED




                                                                                                                                                               PAGE 6568 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1569 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SUAREZ BERRIOS DE GALLOZ,       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
CONCEPCION
SUAREZ BERRIOS, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ BONILLA, SOA C           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ BORRERO, ANDY            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ BORRERO, EDGARDO J.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ BORRERO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ BORRERO, LUIS F          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ BORRERO, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ BORRERO, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ BURGOS, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CABAN, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CABAN, LUIS F.           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CACERES, AURIS           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CACERES, CARLOS J        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CACERES, JORGE I.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CACERES, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CACERES, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CACERES, MARIA M.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CACERES, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CAJIGAS, MARTA E         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CALDERON, DORALIZ        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CALDERON, NASHLA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CAMPOS, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CAMPOS, VERONICA DE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
LOURDES
SUAREZ CARABALLO, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CARDONA, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CARMONA, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CARMONA, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CARMONA, JUAN C.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CARMONA, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CARRERO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CARRERO, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CARRION, JUAN M          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CARRION, MARIA C.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CARTAGENA, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CASAS, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CASTILLO, EDITH M        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CASTRO, CARMEN S S       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CASTRO, LUIS J.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CASTRO, LUIS J.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CELIS, JACQUELINE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ CISNEROS, RICHARD        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ COLLAZO, ANGELICA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ COLON, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ COLON, CARMEN R.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ COLON, ELSA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ COLON, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6569 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1570 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SUAREZ COLON, LUIS M              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ COLON, MIRIAM              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ COLON, MYRTA J             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ COLON, NILDA P             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ COLON, NOEMI               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CONCEPCION, BRUNILDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CONCEPCION, PEDRO M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CONCEPCION, YOLANDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CONCEPCION, YOLANDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CORA, MIGDALIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CORNIER, RAUL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CORREA, PETER              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CORSIS, MYRNA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CORSIS, NURIA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CORTES, NATHANAEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CORTIJO, EVA T             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CORTIJO, EVA T             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ COTTE, CARLOS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CRESPO, JAHAIRA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CRUZ, BEATRIZ              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CRUZ, BRENDA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CRUZ, BRENDA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CRUZ, DIANA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CRUZ, DIANA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CRUZ, EDDIE                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CRUZ, LIOYD                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CRUZ, MARIA DEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CRUZ, MIGUEL               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CRUZ, NAHIR Z              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ CRUZ, VIRGINIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DAVILA, ELISA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DE DAVILA, CARMEN D.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DE JESUS, GERALD I.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DE JESUS, JUDITH           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DE LEON, GLADYS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DE LOS SANTOS, ANGELA V.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DEL VALLE, CARMELITO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DEL VALLE, CARMEN T.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DEL VALLE, DAMARIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DEL VALLE, DAMARIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DEL VALLE, ELIZABETH       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DEL VALLE, ISMAEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DEL VALLE, MADELINE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DEL VALLE, MADELINE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DELGADO, IBIS N.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DELGADO, LUZ G             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DELGADO, MERCEDES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DELGADO, MERCEDES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DELGADO, SANDRA I.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6570 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1571 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SUAREZ DELGADO, SANTA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DELVALLE, RAFAEL MARTIN   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DERIEUX, ZOE I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DIAZ, DIANA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DIAZ, JOSE A.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DIAZ, KATHIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DIAZ, MARIA M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DIAZ, VILMA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DIAZ, VILMA I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DIODONET, MINERVA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DIODONET, MORAIMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DURAN, GLORIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ DURAND, RAFAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ESPADA, FRANCISCO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ESPADA, FRANCISCO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ESPINAL, REBECA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ESPINAL, REBECA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ESQUIVEL, EDWIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ESTREMERA, JANET          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FAJARDO, VILMA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FELICIANO, JESSICA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FELICIANO, NIMITZY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FERNANDEZ, MIGUEL A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FERRER, ARGELIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FERRER, ARGELIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FERRER, ELBA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FERRER, MIGUEL A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FERRER, MIGUEL A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FIGUEROA, AURA C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FIGUEROA, EMILIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FIGUEROA, EVELYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FIGUEROA, IRMA I.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FIGUEROA, NORMA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FIGUEROA, VIRGINIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FLORES, GEORGE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FLORES, VERONICA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FORNES, DAISY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FREYTES, CARLA V          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ FUENTES, GISELA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GALARZA, DELIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GALARZA, ROMUALDO L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GARCIA, DAISY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GARCIA, JORGE L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GARCIA, LUIS A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GARCIA, LUIS ANGEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GARCIA, ROSAURA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GARCIA, YARA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GOMEZ, YAYMA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GOMEZ, YAYMA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6571 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1572 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SUAREZ GONZALEZ, ANA             REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GONZALEZ, ANA M           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GONZALEZ, ANA M           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GONZALEZ, CARLOS J.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GONZALEZ, CARLOS YADIEL   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GONZALEZ, EDITH {         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GONZALEZ, FRANCISCA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GONZALEZ, FRANCISCA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GONZALEZ, GILBERTO        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GONZALEZ, KEVIN           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GONZALEZ, PABLO           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GONZALEZ, SYLVIA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GONZALEZ, YOLANDA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GUTIERREZ, LUZ I.         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GUZMAN, CARMEN            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ GUZMAN, CARMEN M          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ HERNANDEZ, ELLIOT         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ HERNANDEZ, FRANK D.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ HERNANDEZ, ISMAEL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ HERNANDEZ, ISRAEL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ HERNANDEZ, JOSE           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ HERNANDEZ, KISHNA N       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ HERNANDEZ, LUIS           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ HERNANDEZ, MARIA A        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ HERNANDEZ, MARIA DE LOS A REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ HERNANDEZ, MARIA DE LOS REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
A.
SUAREZ HERNANDEZ, MARTA I        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ HERNANDEZ, OMAYRA         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ HERNANDEZ, SANDRA         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ HERNANDEZ, SHEILA I       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ HERNANDEZ, YAZMIN         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ HERNANDEZ, YAZMIN         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ HERNANDEZ, YIDMA D        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ HERRERO, NILSA I          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ IRIZARRY, FREDDY          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ IZQUIERDO, FRANCES M      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ IZQUIERDO, JUAN C.        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ JEREZ, MARIA M.           REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ JEREZ, MARIA M.           REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ LAUREANO, CARMEN G        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ LINARES, MIRIAM           REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ LINARES, OSCAR            REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ LLANOS, HAYDEE            REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ LLANOS, MOREYMA           REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ LOPEZ, ARTURO             REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ LOPEZ, JORGE M            REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ LOPEZ, LEONIRDES I        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
SUAREZ LOPEZ, MADELINE           REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6572 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1573 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SUAREZ LOPEZ, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ LOPEZ, MANUEL I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ LOPEZ, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ LOPEZ, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ LOPEZ, PAOLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ LOPEZ, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ LOPEZ, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ LOPEZ, WILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ LOPEZ, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ LORENZO, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ LORENZO, ZENAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ LORENZO, ZENAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ LORENZO, ZENAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ LUGO, EMMANUEL J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MACHADO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MAESO, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MALDONADO, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MALDONADO, LUZ C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARCHAN, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARCHAND, YAMIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARIANI, RAMONA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARQUEZ, BRENDALISS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, ALICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, DIONISIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, GABRIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, LUISA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, LUZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, LUZAIDA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, MARIELLA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, MICHAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, MILTON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, RAMONA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MARTINEZ, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MATOS, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MATOS, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MEADE, ANNETTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MEADE, ANNETTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MEADE, ANNETTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MEDINA, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MEDINA, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6573 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1574 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SUAREZ MELENDEZ, DIANA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MELENDEZ, EUGENIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MELENDEZ, EUGENIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MELENDEZ, IRMA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MELENDEZ, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MELENDEZ, NELSON X.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MELENDEZ, PETRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MELENDEZ, PETRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MELENDEZ, VICTOR A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MENDEZ, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MENDEZ, JOHN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MERCADO, CONSUELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MERCADO, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MERCED, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MERCEDES, ABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MILLAN, ARMANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MIRANDA, LIVIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MIRANDA, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MIRANDA, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MOJICA, IVELIZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MOLINA, ADELAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MOLINA, ADELAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MOLINA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MOLINA, LIZ MICHELLE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MONDESI, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MONTALVO, ANGEL LUIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MONTANEZ, AGUSTIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MONTANEZ, LUIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MONTANEZ, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MONTES, GLORIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MONTES, IDA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MONTIJO, EUGENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MORALES, ADAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MORALES, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MORALES, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MORALES, GLENDA LEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MORALES, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MORALES, JULIO C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MORALES, NAYDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MORALES, NYDIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MORALES, PETRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MORALES, ZORALIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MORCIGLIO, LUZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MORENO, KARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MORENO, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MORTINS BOUGER, ROSA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MULERO, ANGELICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MUNIZ, ALEJANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ MUNOZ, AMY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6574 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1575 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SUAREZ MUNOZ, YASIRIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ NAPOLITANO, EDUARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ NEGRON, DARIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ NEGRON, FELISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ NEGRON, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ NIEVES, JOHANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ NORIEGA, JENITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ NORIEGA, YAJAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ NUNEZ, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ NUNEZ, MONICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ NUNEZ, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ OCASIO, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ OCASIO, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ OLIVARES, ZAHIRA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ OLIVERAS, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ OQUENDO, AGNES J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, BRENDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, CINDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, DAURA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, DIANNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, EDDIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, EDDIE N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, EDDIE O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, HERMINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, JUAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, MARICARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, MARICARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, MARICARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, NATALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, NEMESIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, RAMON L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ORTIZ, RUTH N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ OTERO, PEDRO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ PABON, AIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ PACHECO, JAZMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ PACHECO, SUZETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ PADILLA, GRESELIC        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ PADILLA, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ PADRO, PASCUAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ PAGAN, AURORA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ PAGAN, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ PAGAN, JOSE D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ PAGAN, JUANITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ PANTOJA, IDA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ PASTRANA, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6575 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1576 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SUAREZ PEDRAZA, HOLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ PEREZ, ANDRES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ PEREZ, BELEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ PEREZ, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ PEREZ, EVA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ PEREZ, LAURA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ PEREZ, VICENTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ PEREZ, VICENTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ PEREZ, WALESKA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ PEREZ, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ PESANTE, NELLY ANN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ PICA, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ PIZARRO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ PIZARRO, HIRAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ PIZARRO, MELANIE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ PIZARRO, MELANIE M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ PIZARRO, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ QUESTELL, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ QUILES, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ QUILES, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ QUINONES, JEANE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ QUINONES, JEANE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ QUINONES, MIRELLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RAMOS, ANABELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RAMOS, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RAMOS, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RAMOS, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RAMOS, KARLA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RAMOS, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RAMOS, WALTER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ REYES, ELBA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ REYES, KATHLEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ REYES, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIOS, EDNA G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIOS, RUBEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIOS, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIRERA, ROSALINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVAS, MARIA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, ABRAHAM E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, ANGEL DANIEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, ARNALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, ATHALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, BENITO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, BETSY D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, BETZY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, CARMEN S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, CINDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6576 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1577 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SUAREZ RIVERA, DORIS I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, EDNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, ELVA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, EPIFANIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, GENOVEVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, GRACIELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, IDALIA ANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, JOSUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, JUAN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, LINNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, LISBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, LUISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, LUZ D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, LUZ D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, MAGDALIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, MAGDALIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, PAOLA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, REINALDO E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, ROSALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RIVERA, ZAURY G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROBLES, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROBLES, GERARDO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, ADIANETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, ANYELA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, ARNALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, CHARLES R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, CYNTHIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, DANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, DANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, ERMELINDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, JOANNITZA M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, JOSE R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, JOSE R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, KERMITH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, LYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, MIGUEL ANDRES REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, NITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, ROBERTO L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6577 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1578 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SUAREZ RODRIGUEZ, SHANDIRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, WANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RODRIGUEZ, WANDA V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROLON, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROLON, TOMAS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROMAN, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROMAN, EDGAR Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROMAN, GERALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROMAN, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROMERO, MOISES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROMERO, MOISES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RORIGUEZ, CAROL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROSA, CARIDAD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROSA, CARIDAD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROSA, GORMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROSA, JESSICA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROSADO, ELENA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROSADO, HECTOR J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROSADO, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROSARIO, AMPARO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROSARIO, CATALINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ ROSSO, JOSE E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RUIZ, ALMA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RUIZ, DAISY M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RUIZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RUIZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RUIZ, EMMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ RUIZ, YAHAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANCHEZ, ANGELA HAYDEE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANCHEZ, ESTIBALIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANCHEZ, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANCHEZ, IRIS N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANCHEZ, JO ANN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANCHEZ, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANCHEZ, JULIBETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANCHEZ, JULIEBETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANCHEZ, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANCHEZ, LUIS O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANCHEZ, MARIO A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANCHEZ, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANCHEZ, SOLMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANCHEZ, YANIRE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANCHEZ, YANIRE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANTANA, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANTANA, IRIS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANTIAGO, ARMINDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANTIAGO, ARMINDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANTIAGO, BENJAMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANTIAGO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6578 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1579 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SUAREZ SANTIAGO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANTIAGO, HILDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANTIAGO, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANTIAGO, LUZ N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANTIAGO, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANTIAGO, MARIA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANTIAGO, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANTIAGO, ZULIAN S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SANTOS, NATALIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SAWARD, MICHEL R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SEDA, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SEDA, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SEGUI, LINDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SEGUI, MAGALY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SEPULVEDA, ADA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SEPULVEDA, ALBA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SEPULVEDA, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SERRANO, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SERRANO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SERRANO, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SIACA, CYNTHIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SIERRA, ROSAELENA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SOTO, GEORMANY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SOTO, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SUAREZ, BETSY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SUAREZ, DOMINGA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SUAREZ, ELBA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SUAREZ, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SUAREZ, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SUAREZ, LINNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SUAREZ, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SUAREZ, LOURDES A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SUAREZ, LUIS S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SUAREZ, NELBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SUAREZ, NILSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ SUAREZ, NILSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TABOADA, JESSEIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TABOADA, JESSEIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TABOADA, KAREN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TIRADO, LUZ I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, AIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, ANGEL R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, DIALY J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, IRIS C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, IVANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, JESUS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, LUIS E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, LUIS G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6579 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1580 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SUAREZ TORRES, MARANGELI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, MARANGELI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, MARIA DE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, NORANGIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, ROSA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, ROSA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, SIXTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TORRES, VIVIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TRINIDAD, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TRINIDAD, IRIS D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ TRINIDAD, IRIS D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ URBAN, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VALDES, ERIC             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VALENTIN, CARMEN H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VALENTIN, CARMEN H.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VALLE, ELVIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VARELA, EDDIE V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VARELA, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VARGAS, JUVENAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VARGAS, MARILU           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VARGAS, MARILU           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VAZQUEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VAZQUEZ, FELIX J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VAZQUEZ, JENNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VAZQUEZ, JUAN C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VAZQUEZ, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VAZQUEZ, WALTER J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VAZQUEZ, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VAZQUEZ, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VEGA, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VEGA, MYRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VELAZQUEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VELAZQUEZ, EDGAR J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VELAZQUEZ, HIPOLITO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VELAZQUEZ, IDALISE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VELAZQUEZ, LYEMY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VELAZQUEZ, LYEMY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VELAZQUEZ, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VELAZQUEZ, MERELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VELAZQUEZ, ORLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VELAZQUEZ, RAMON R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VELEZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VELEZ, EMMA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VELEZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VELEZ, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VELEZ, YILMALIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUAREZ VERGARA, JOSE B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6580 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1581 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SUAREZ VILLAMIL, PROVIDELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ WILLIAMS, CARMEN V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ WILLIAMS, INMACULADA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ZAPATA, VICTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ ZAYAS, NORMA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ, AGLAE A.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ, AGNES B.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ, ANA                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ, ANGEL L                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ, ANTONIO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ, BLANCA E                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ, EMILIO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ, GUILLERMINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ, JOSE A.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZ, YESENIA MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZHERNANDEZ, VILMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZMARTINEZ, AUGUSTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAREZSANCHEZ, IRMA Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAU GONZALEZ, BERNARDO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAU GONZALEZ, CRISTINA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO ANDREU, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO ANDREU, WILMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO ANDREU, WILMA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO BENTEGEAT, CARLOS R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO CATALA, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO CATALA, JAVIER O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO CATALA, LISSETTE W        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO CATALA, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO CATALA, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO CATALA, SHEILA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO CRUZ, ADALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO DIAZ, SONIA N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO MEDRANO, XIOMARA P        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO MONTESINO, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO MORALES, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO MUNOZ, FELIX G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO NIEVES, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO NIEVES, GLADYS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO RODRIGUEZ, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO RODRIGUEZ, LETICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO RODRIGUEZ, LETICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO ROSADO, HECTOR M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO ROSADP, YAMILEX M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO TEJADA, LEONARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO TEJADA, LEONARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO VARGAS, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO VARGAS, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO VAZQUEZ, LUZ O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
SUAZO VAZQUEZ, LUZ O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6581 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                      Schedule E3 Page 1582 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
SUAZO VAZQUEZ, YOLANDA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUBA DIZON, MELODY                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUBERO COLLAZO, RAFAEL A.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUBIRA CORDOVA, NATALIA M.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUBIRA CORDOVA, TERESA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUBIRA DE CRUZ, ANA C.             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUBIRANA REYES, KATHERINE M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUCART CESSE, JOSE                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUCCETTI CLAVIJO, IRENE B          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUD ALVAREZ, VICTOR S              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUD CABAN, CARLOS M                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUD FANTAUZZI, CARLOS              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUD GONZALEZ, FELIPE               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUD MARTINEZ, VICTOR M             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUD SANTIAGO, FRANCIS M            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUED CAUSSADE, IBRAHIM             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUED JIMENEZ, FILOMENA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUED JIMENEZ, MIA                  REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUED VALLADARES, MIGUEL ANGEL      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUED VEGLIO, YASMIN                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUEIRO ALVAREZ, HECTOR             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUEIRO VAZQUEZ, BERENICE R.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUERIO GARCIA, LUIS A              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUERO ALAMO, WANDA                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUERO ALAMO, WANDA L               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUERO BELEN, JOSE A                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUERO BELEN, ROSELYN C             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUERO DE JESUS, HECTOR J           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUERO MARTINEZ, MIGUELINA M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUERO RIVERA, JOSE                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUERO ROBLES, LUIS E.              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUERO SALAS, CECILIA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUERO SOLIER, ALEXANDRA M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUERO SOLIER, FABIOLA M            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUFRAN VELEZ, ORLANDO              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUGRANES DE LA VEGA, GISELLE M.    REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUGRANES DE LA VEGA, GRISELLE      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUGRANES DE LA VEGA, MICHELLE M.   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUGRANES GARCIA, JOSE A.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUGRANES LEBRON, ALVIN R.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUGRANES RUIZ, IRIS T              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUGRANES TEXIDOR, CARY A.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUGRANES VALLES, JORGE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUGRANES VALLES, JORGE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SUGRANEZ ROSALES, NORMA I          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SULBARAN LOPEZ, MARIELVY           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SULE CHAMORRO, RAYMA Z             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SULE MARTINEZ, SARA                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
SULEIMAN ROSADO, JAZMIN            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6582 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SULIVERAS CASTRO, ARACELIS Y    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULIVERAS CASTRO, ARACELIS Y    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULIVERAS CASTRO, GUILLERMO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULIVERAS ORTIZ, IVELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULIVERAS TEXIDOR, JESSICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULIVERAS TORRES, EDGARDO V     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULIVERAS TORRES, MARTIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULIVERAS VARGAS, MARIA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULIVERES DIAZ, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULIVERES, MARGARITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULLIVAN CORTES, EDWARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULLIVAN CORTES, MARICELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULLIVAN CORTES, MARICELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULLIVAN HOBBS, MARGARET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULLIVAN LAZU, YARISBETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULLIVAN LAZU, YARISBETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULLIVAN MERCADO, HENRY N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULLIVAN REYES, ZULEIMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULLIVAN RIVERA, MARIA A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULLIVAN RIVERA, NOELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULLIVAN RODRIGUEZ, ELMO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULLIVAN RODRIGUEZ, ELMO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULLIVAN ROSADO, HUMBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULLIVAN SOTO, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULLIVAN VAZQUEZ, JELITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULLIVAN VINAS, OMAR MANUEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULSONA OLIVENCIA, RAMON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SULSONA SANTIAGO, MAGDALENA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUNTACHE CRUZ, BRENDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUREDA PLAZA, OLGA C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUREDA VALDESPINO, ISABELITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUREDA VALDESPINO, ISABELITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUREN BONILLA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUREN BONILLA, JOSE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUREN FIGUEROA, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUREN FUENTES, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUREN FUENTES, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUREN FUENTES, WILLIAM O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUREN HUERTAS, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUREN SANCHEZ, MARIA DEL C.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUREN TIRADO, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUREN VALENTIN, JEANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUREN VAZQUEZ, MARIA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURENS PADILLA, ERICK M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURENS RODRIGUEZ, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURENS SANCHEZ, VICTOR G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURENS VELAZQUEZ, ALBERT C.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURENS VELAZQUEZ, EDGAR A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURFACE RIVERA, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6583 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1584 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
SURFACE RIVERA, DAISY B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURI RODRIGUEZ, VIMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURIA CAMPOS, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURIEL BELEN, EDULIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO ANDINO, LUIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO ASCAR, MARIA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO COTTO, IRIS C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO DAVILA, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO DEL VALLE, ERASMO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO FIGUEROA, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO FIGUEROA, SONIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO FUENTES, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO GONZALEZ, MICHELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO GUTIERREZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO MERCADO, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO NIEVES, BELKIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO ORTIZ, LUZ A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO ORTIZ, LUZ A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO RODRIGUEZ, NOEMI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO ROSELLO, FELIX R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO ROSELLO, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO ROSELLO, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO RUIZ, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO RUIZ, ROSA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO RUIZ, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO RUIZ, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO SANCHEZ, ADALINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO VAZQUEZ, VERONICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO VELAZQUEZ, NASTASSJA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURILLO VIDAL, ALEXANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURIS DAVILA, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURIS DAVILA, LYSEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURIS DAVILA, LYSEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURIS ORTIZ, ILSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURIS ORTIZ, KENNETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURIS ROSA, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURIS ROSA, JULYMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURIS SANTANA, VICENTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURITA ACOSTA, FLOR G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURITA CABASSA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURITA CABASSA, MARIA DEL CA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURITA CARMENATTY, ENRIQUE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURITA CRUZ, AMERICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURITA CRUZ, KENNETH D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURITA ESPINOSA, CAMILLE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURITA RODRIGUEZ, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURITA RODRIGUEZ, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURITA RODRIGUEZ, JOSE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SURITA RODRIGUEZ,JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6584 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 1585 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
SURITA SANTANA, SONIA M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SURO PAGAN, NERITTE               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SURO PELLICIER, RUBEN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SURO RIVERA, JEAN                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SURO ROJAS, NESTOR                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SURO SOTO, SAMUEL E               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SURO VAZQUEZ, JESSICA L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SURO VAZQUEZ, JESSICA L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SURREN ROBLES, WILLIAM J.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SURRILLO BETANCOURT, DORCA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SURRILLO RUIZ, RAFAEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSS PLAZA, JAIME                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE ABREU, FELICITA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE ARROYO, ANGEL M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE BONAFONT, MERALYS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE CAMACHO, ANDRES E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE COLON, MIRIAM            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE DE LEON, ILEANA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE DE LEON, ILEANA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE DE LEON, MILAGROS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE GOMEZ, JOSE F            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE GOMEZ, NILDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE GOMEZ, NILDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE MEDINA, ELVIN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE MEDINA, ELVIN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE MEDINA, JUANA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE MELENDEZ, CARLOS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE MELENDEZ, JULIO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE MELENDEZ, MARGARITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE MELENDEZ, SUSANO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE MERCADO, ANGEL J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE MORALES, ENGRACIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE MORALES, MAXIMINO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE RAMOS, GLADYS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE RIVERA, LUIS M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE RIVERA, LUZ E            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE SEPULVEDA, JOSEBASTIAN   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE SUSTACHE, CARLOS A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE SUSTACHE, ELSA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE SUSTACHE, FLORITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE SUSTACHE, IRENE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE SUSTACHE, JOSE A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE SUSTACHE, JOSE M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE SUSTACHE, JOSEFINA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE SUSTACHE, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE SUSTACHE, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE SUSTACHE, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE SUSTACHE, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE SUSTACHE, MODESTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6585 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 1586 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
SUSTACHE TIRADO, MARIA S.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE VAZQUEZ, ELISEO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUSTACHE, ADA                    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUTACHE SUSTACHE, GLENDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUTLIFF RAMIREZ, RONAL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SUTLIFF, RONALD                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SWEAT SMART, JOYCE               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SYED, TANVIR U.                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
SZABO RIVERA, ICSIDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABALES ROSADO, MELINDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABALES ROSADO, MELINDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABALES ROSADO, MELITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABALES VEGA, CARLOS A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABARES SOSSA, MARIA N           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABOADA COLLAZO, HENRY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABOADA GONZALEZ, ALEXANDRA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABOADA, ANTONIO                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABOAS DAVILA, LYMARIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABOAS DAVILA, RAFAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABOAS FIGUEROA, SANDRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABOAS FIGUEROA, SANDRA I.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABOAS OTERO, FRANK A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABOAS PORTALATIN, CARLO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABOAS RIOS, RAYMOND             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABOAS ROMAN, ALBA V             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABOAS SACARELLO, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABOAS, FRANK A.                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABORA MORALES, ELDYMARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TABORA MORALES, ELDYMARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TACORONTE AQUINO, IRIS M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TACORONTE BONILLA, ALEXIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TACORONTE BONILLA, VANESSA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TACORONTE LOPEZ, SANDRA D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TACORONTE OLIVIER, LEONIDES      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TACORONTE ROMAN, EDGARD          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TACORONTE ROMAN, EDGARD          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TACURI GOMEZ, MARISOL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TADDIO ROSALES, ELSA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TADEL SIMON, THERESE MARTHE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAFANELLI FIGUEROA, IRIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAGHBOSTANI RIVERA, VERONICA T   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAGLE RODRIGUEZ, NATALY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAGLE VALENTIN, HAYSER W         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAHA MONTALVO, AMINA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAIME DE CRUZ, JESSIE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TALABA MARRERO, ELMER J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TALAMAS DE MARQUEZ, EMILIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA ACEVEDO, ELIEZER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA ACEVEDO, ELIEZER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6586 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TALAVERA ACEVEDO, ELIEZER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA ACEVEDO, JOSUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA ACEVEDO, KEISHLA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA ALBARRAN, CINDY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA ALBARRAN, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA AVILES, IDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA BADILLO, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA BOSCH, CARMELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA CACERES, JEANETTE M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA CAMACHO, RICARDO E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA CARRERO, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA CARRION, RUTH N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA CORTES, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA CORTES, WILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA CRUZ, BRYAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA CRUZ, BRYAN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA CRUZ, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA CRUZ, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA DEL VALLE, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA DIAZ, LUCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA GARCIA, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA GARCIA, LYNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA GONZALEZ, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA HERNANDEZ, MARIA DE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
LOS A.
TALAVERA IBARRONDO, MARILYN     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA LOPEZ, YANITZA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA LOPEZ, YANITZA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA LOPEZ, ZULINET         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA MALDONADO, ELSIE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA MALDONADO, FRANCES     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA MARCIAL, MALENISSE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA MARTINEZ, CARLOS R     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA MATOS, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA MIELES, DORA A         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA NIEVES, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA OCASIO, MARIAC C       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA PERAZA, ELVIN R.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA QUINONES, JORGE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA RIVERA, GERMAN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA RIVERA, JOSE E.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA RIVERA, JOSE E.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA RODRIGUEZ, RAUL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA RODRIGUEZ, SARA E.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA RUIZ, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA SANCHEZ, JOSEPHER      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA SANCHEZ, JOSEPHER      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA SANTIAGO, SARAI B      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TALAVERA SOTO, BETSY            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6587 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1588 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TALAVERA TORRES, JEFFREY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA VALENTIN, JAMIELEE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERA VEGA, RODNEY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALAVERACRUZ, BRYAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALBOT ALVAREZ, NICOLE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALBOT CASTILLO, GILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TALLADA PENA, ZULMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAMAREZ VAZQUEZ, VLADIMIR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAMAYO MASEDA, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAMAYO SANTIAGO, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO ARROYO, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO ARROYO, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO BAEZ, JOSE JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO CRISPIN, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO CRISPIN, RAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO DE JESUS, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO DONES, KAREN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO GALINDEZ, ANGEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO GALINDEZ, JASMIN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO GARCIA, LAURA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO MAISONET, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO MAISONET, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO NIEVES, ABRAHAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO PIZARRO, CAMILLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO RAMOS, JEANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO RAMOS, JORGE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO RIVERA, JOELYS T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO ROMAN, ISMAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO SANCHEZ, HECTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO VELAZQUEZ, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANCO VILLEGAS, IDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANG YUI, CARLOS M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANNER FEIJOO, SHERRIE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANNER ZALDUONDO, MARY J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANNER, GEORGE R                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON ALVAREZ, NESTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON COTTO, IRMA N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON CRUZ, MADELINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON DE JESUS, KARINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON DIAZ, GRISELLE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON DIAZ, JEAN M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON DIAZ, YOMARIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON GONZALEZ, CARMEN M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON GRACIA, ZAYDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON MAURE, GUALDELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON MAYSONET, ABIGAIL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON MAYSONET, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON MELENDEZ, LIZZETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON MOLINA, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1589 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TANON MOLINA, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON MOLINA, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON NIEVES, CARMEN J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON NIEVES, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON NIEVES, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON REYES, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON ROJAS, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON SANCHEZ, CARMEN D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON SANCHEZ, EMILY J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON SANCHEZ, XAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON SANTIAGO, JAZER J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON VAZQUEZ, BENIGNO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON VAZQUEZ, MARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANON VELAZQUEZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TANTAO ECHEVARRIA, RAQUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAON RODRIGUEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA ALOMAR, HILDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA BERRIOS, ALEJANDRO J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA BIBILONI, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA CAMACHO, AURORA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA CANCEL, CARMELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA CARINO, JOSUE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA CARINO, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA CARRASQUILLO, ADELAIDA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA CARRASQUILLO, GUADALUPE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA CEPEDA, ABIMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA CEPEDA, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA CLEMENTE, CYNTHIA F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA COLLAZO, JAPHET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA COLON, EDUARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA COLON, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA COLON, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA COSME, CARMEN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA CRUZ, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA CRUZ, DANIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA CRUZ, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA CRUZ, MIGUEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA DAVID, ARNALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA DE JESUS, CARMELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA DE JESUS, IRMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA DE PENA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA DELGADO, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA DIAZ, HILDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA DIAZ, RADAMES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA DIAZ, RENE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA ESCALERA, FELIPA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA ESPADA, GLENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA ESPREO, MYRNA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA FEBRES, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1590 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TAPIA FEBRES, DEOGRACIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA FEBRES, ESPERANZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA FERNANDEZ, CARLOS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA FIGUEROA, ARMANDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA FIGUEROA, YANETTSI         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA FLORES, GISELA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA FONTANEZ, HUMBERTO J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA FONTANEZ, HUMBERTO J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA GERENA, CARMEN I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA GOMEZ, ALBA L              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA GONZALEZ, EDITH J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA GONZALEZ, ENID             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA GONZALEZ, ENID             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA GONZALEZ, ENID J.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA GONZALEZ, LUIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA GONZALEZ, MARCOS J.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA GUADALUPE, EDWIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA HERNANDEZ, MELANIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA HERNANDEZ, SAMUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA IDALIS, MARIAM             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA LOPEZ, ALEJANDRO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA LOPEZ, NORBERTO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MAISONET, JOSE A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MAISONET, MARISEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MAISONET, MARISEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MAISONET, RICARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MALAVE, ENID DEL C.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MALAVE, ENID DEL C.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MALDONADO, ANTONIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MALDONADO, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MALDONADO, CARMEN M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MALDONADO, JOYCE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MALDONADO, LUIS A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MALDONADO, LUIS A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MARQUEZ, SHERLEY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MARQUEZ, SHERLEY J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MARQUEZ, SHERLEY J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MARTINEZ, JOSUE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MARTINEZ, MICHELLE M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MATEO, WANDA I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MAYSONET, EMILIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MELENDEZ, ARELIS M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MELENDEZ, CAROL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MELENDEZ, JUAN A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MELENDEZ, MAYRA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MELENDEZ, SUSANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MIRANDA, EDWIN FRANCISCO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MONELL, LUIS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA MORA, SIMON B.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6590 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1591 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TAPIA MULERO, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA NIEVES, JANICE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA NIEVES, OLGA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA OCASIO, JUAN P            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA ORTIZ, NESTOR N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA ORTIZ, PEDRO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA OTERO, ANA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA PENALOZA, AIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA PENALOZA, AIDA LUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA PENALOZA, IDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA PEREZ, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA PIMENTEL, FABIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA PIMENTEL, TATIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA PIZARRO, LYDIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA PIZARRO, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA PIZARRO, MARIA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA PIZARRO, NATALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA PIZARRO, ROSA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA QUEEMAN, GRISSELLE I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA QUINONES, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA QUINONEZ, CANDIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RABELO, JOHANNA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RAMOS, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RAMOS, CARMEN S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RAMOS, MELWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RASCH, ELIZA Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RIOS, BLANCA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RIOS, GLORIA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RIOS, MARIA DE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RIVERA, ALEJANDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RIVERA, ANGELA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RIVERA, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RIVERA, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RIVERA, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RIVERA, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RIVERA, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RIVERA, LUIS R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RIVERA, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RIVERA, RADAMES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RIVERA, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RODRIGUEZ, ADRIAN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RODRIGUEZ, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA ROLON, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA ROSA, LUIS R.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA ROSADO, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA ROSARIO, DORIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA RUIZ, BRYAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA SANCHEZ, IGNACIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA SANTIAGO, ARLENE R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6591 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1592 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TAPIA SANTIAGO, FELICITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA SANTIAGO, JULISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA SANTIAGO, MARIAM I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA SANTOS, DWIGHT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA SOLIS, LILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA SOLIS, LILLIAM E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA SOLIS, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA SOLIS, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA SOTO, JUAN F              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA SOTO, ODALYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA SOTO, ODALYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA TAPIA, IRIS NEREIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA TAPIA, ROSA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA VALLE, ALI JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA VELAZQUEZ, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA VELAZQUEZ, ROSALINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA VERDEJO, FLORENCIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA VIERA, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA VIERA, WANDA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAPIA, MARIA TERESA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAQON FEBUS, AWILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAQON NIEVES, LYDIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAQON TORRES, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAQON VELAZQUEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARABOCHIE GARCIA, ILKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARAFA BOSA, IVETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARAFA BOSA, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARAFA CORTES, BETTY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARAFA FELICIANO, ELIEZER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARAFA IRIZARRY, FERNANDO L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARAFA MARTINEZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARAFA ORTIZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARAFA ORTIZ, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARAFA ORTIZ, MARCOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARAFA ORTIZ, MARCOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARAFA ORTIZ, RAMON A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARAFA PEREZ, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARAFA PEREZ, NILDA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARAFA, EDUARDO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARAZA COLON, VILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARDI GALARZA, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARDI GALARZA, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARDI GONZALEZ, ELAINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARDI GONZALEZ, NORMA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARDI MUNIZ, IRIS N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARDI MUNIZ, RAFAEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARDI ORTIZ, GRISELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARDI ORTIZ, GRISELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TARDI RAMOS, AUREA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6592 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1593 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TARDI RIVERA, DANIEL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARDY BUYE, JOHANNA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARDY GARCIA, AURELIO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARDY GARCIA, MAYRA I.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARDY MERCADO, LESBIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARDY MONTALVO, ANGEL L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARDY NIEVES, JUAN                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARDY NIEVES, JULIAN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARDY RIVERA, FRANCES             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARONJI TORRES, JACQUELINE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARRATS FARRELLY, DELIA R         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARRATS FARRELLY, DELIA R         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARRATS FARRELLY, PAMELA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARRATS FARRELLY, PAMELA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARRATS JIMENEZ, ONIX             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARRAZA ADORNO, HECTOR            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARRAZA ADORNO, INGRID            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARRAZA ADORNO, INGRID L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARRAZA VILLAFANE, KAREN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TARTAK GILIBERTYS, AGNES DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ANGELES
TARUD SABBAG, RAUL E.             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TARZIA DOMENECH, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TATIS SANTIAGO, YOLINNELL         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TATUM GOMEZ, ALMA                 REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TATUM GOMEZ, ASTRID N             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAUB PACHECO, ERIKA LEE           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAUB ROBLES, RUSSELL              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAULL CRUZ, SHEILA                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVALES DEFONTAINE, YADIRA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVARES ABREU, IRENE C            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVARES DE DIAZ, RAMONA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVARES DE DIAZ, RAMONA V         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVARES RODRIGUEZ, FANNY          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVARES RODRIGUEZ, MARIEL         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVARES, SHIRLEY A.               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVAREZ ABREU, MAXIMO             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVAREZ ALFARO, CARMEN            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVAREZ CARBAJAL, NEYDIS          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVAREZ CARDONA, JOEL             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVAREZ CARVAJAL, LUIS D.         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVAREZ CASTILLO, EFREN L         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVAREZ CORDERO, EILEEN           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVAREZ CORDERO, EILEEN           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVAREZ CORDERO, JUAN PABLO       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVAREZ CRUZ, CAROL               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVAREZ CRUZ, LIZVETTE            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVAREZ DIAZ, RAMONA A            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TAVAREZ DUMENG, LYNETTE           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


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CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
TAVAREZ DUQUE, MARISJOSEFINE       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ ECHEVARRIA, MYRNA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ FERMIN, ANA G.             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ FRIAS, JESSICA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ FRIAS, JESSICA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ GARCIA, JANICE L.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ GONZALEZ, ALEXANDRA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ GONZALEZ, LUIS E           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ GONZALEZ, OMAR D           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ GUZMAN, OLGA I             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ GUZMAN, WANDA I.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ LOPEZ, JADE                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ LUGO, REYNALDO             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ MALDONADO, CELIMAR         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ MONEGRO, MAGALY            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ ORTIZ, JAVIER              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ PEREZ, MARIA C             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ PEREZ, MARIA DEL C         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ PEREZ, NELCY A             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ PEREZ, ROSA                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ PINOT, GLORIA M            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ RAMOS, ANTONIO             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ RAMOS, ERNESTO             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ RAMOS, IVETTE A            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ RAMOS, MADELINE J          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ RAMOS, MADELINE J          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ RAMOS, RAUL A              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ RAMOS, SOL I               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ RODRIGUEZ, FANNY           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ RODRIGUEZ, MICHELLE M      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ RODRIGUEZ, RAMON O         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ ROMAN, LEIRIBEL            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ ROMAN, MANUEL DE J         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ ROSA, YOLIBETH             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ SANTIAGO, CARLOS J         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ SANTIESTEBAN, MARIANA T.   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ SOTO, MIREYA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ TAVAREZ, MIGUEL            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ VALENTIN, MILCA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ VELAZQUEZ, JOSEFINA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ VELEZ, AILEEN              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVAREZ VELEZ, DORIS               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVEIRA TIRADO, MICHELLE           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVEIRA TIRADO, VERONICA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVERAS CONSUEGRA, JOSE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVERAS CORDERO, YARIELIS N        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVERAS ENCARNACION, MELODY        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVERAS ENCARNACION, MELODY A      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TAVERAS GONZALEZ, CARLOS D         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6594 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1595 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TAVERAS JIMENEZ, JOSUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAVERAS NEGRON, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAVERAS SANCHEZ, VICTOR R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAVERAS SANTIAGO, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAVERAS TORRES, DANILO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAYLOR NAVEDO, JOHNNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAYLOR SUAREZ, ROBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAYLOR UBINAS, MABEL M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TAYLOR, MAR LEE K.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEIEDOR LEON, NAGIL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEISSONIERE COTTO, MARIA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEISSONNIERE ALMADOVAR, TAINA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEISSONNIERE COMAS, JOHANNA D   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEISSONNIERE COMAS, JOHANNA D   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEISSONNIERE LABOY, PROVI M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEISSONNIERE RUEDA, NIDIA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEITELBAUM MARTINEZ, REBECA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEITELBAUM MARTINEZ, REBECCA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA BATISTA, BERNABE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA CANALES, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA CENTENO, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA CLAUDIO, EILEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA DIAZ, IVAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA FERMAINT, INEABELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA FERMAINT, INEABELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA GARCIA, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA GONZALEZ, GENNESIS B     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA GUERRERO, EDWIN S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA MARTINEZ, JOSE J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA MARTINEZ, LIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA MIRANDA, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA ORTEGA, CYNTHIA A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA PAULINO, ANA J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA PAULINO, ANA MERCEDES    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA PEREZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA QUINONES, CLARISSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA QUINONES, MARISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA RIOS, ISMAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA RIVAS, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA RIVERA, CARMEN T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA RODRIGUEZ, RUBY M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA SANTOS, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA VALERIO, CLAUDIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA VALERIO, CLAUDIA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA VERA, EDGARDO A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJADA, LUIS M.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJAS SAEZ, GUILLERMO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDA AYALA, JESSICA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDA AYALA, JESSICA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6595 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 1596 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TEJEDA CALDERON, JESSICA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDA CHECO, LUZ J              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDA DEL MONTE, CARLOS E.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDA ESTRELLA, EDUARDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDA ESTRELLA, FELIX EDUARDO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDA ESTRELLA, GEOVANNI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDA FIGUEROA, DANILO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDA JIMENEZ, ONIL A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDA JIMENEZ, ONIL A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDA ORTEGA, CYNTHIA A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDA ORTIZ, INGRID B           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDA ORTIZ, WILLIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDA PERALTA, VICTOR R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDA RODRIGUEZ, LOURDES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDOR DAVILA, IRMALI           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJEDOR LEON, MARIA DE L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJERA FERNANDEZ, CARLOS R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJERA FERNANDEZ, JANNETTE M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJERA FERNANDEZ, RAFAEL O       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJERA PEREZ, ORLANDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJERA RIVERA, LUZ VIOLETA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJERA SILVA, KIARA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJERA ZAYAS, ROBERTO LUIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJERAS MORALES, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJERO CABRERA, AGUSTIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJERO ORTIZ, NILDA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJERO RODRIGUEZ, WISTERIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJERO RODRIGUEZ, WISTERIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJERO TORRES, MARIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJERO TORRES, MARIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJERO VEGA, AIDALYS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEJERO VEGA, ANNELYS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELEMACO ADORNO, SUANIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELEMACO OQUENDO, EVANERY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELLADO BETANCOURT, BARNEY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELLADO CHICLANA, IVELISSE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELLADO CHICLANA, IVELISSE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELLADO CHICLANA, JUAN A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELLADO COLON, MIGUEL A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELLADO DOMENECH, REBECA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELLADO GARCIA, AGLAE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELLADO LOPEZ, EMERITA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELLADO LOPEZ, LUIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELLADO LOPEZ, MANUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELLADO MARTINEZ, ELENA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELLADO MATIAS, EUMABEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELLADO MERCADO, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELLADO MUNIZ, CHRISTIAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TELLADO PEREZ, MARIANO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6596 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                      Schedule E3 Page 1597 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


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CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
TELLADO RAMOS, MILDRED             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLADO REYES, CARMEN D            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLADO REYES, LUIS M              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLADO ROSADO, BOBBY              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLADO ROSADO, EDDY               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLADO ROSADO, JIMMY              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLADO ROSARIO, MICHAEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLADO SABATER, MIDALY            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLADO SABATER, MIDALY DE LOS A   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLADO SANTIAGO, JIMMY            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLADO SANTIAGO, LUZ              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLADO SANTIAGO, LUZ E            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLADO TELLADO, ALICIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLERIA CASTRO, JOSEFINA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLERIAS ARRIAGA, WILFREDO        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLES LOZADA, EDUARDO J.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLES LOZADA, EDUARDO J.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLES MARTINEZ, RAMONITA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLES MELENDEZ, FRANK             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLES MELENDEZ, JUANA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLES MELENDEZ, MADELYN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLES ROSARIO, DAISY              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLES ROSARIO, ROSENDO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLES ROSARIO, ROSENDO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLES TELLES, GLORIAN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLES TELLES, VALERIE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLEZ VALENTIN, MILAGROS          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLO BERNACET, YAMIL              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLO COLLI, JOSE F.               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLO RAMOS, MARTIN                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELLO SANTINI, CARMINIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELMONT BAEZ, ZOE M                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELMONT BAEZ, ZOE M                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELMONT RIOS, ANGEL                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELMONT RODRIGUEZ, YOLANDA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TELMONT RODRIGUEZ, YOLANDA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TEMPLAR RIVERA, SAMARA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TEMPLAR, SAMARA                    REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TEN COLON, MINELY                  REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TEN MERCED, RADAMES                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TEN ORTIZ, MIGUEL O                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TENORIO BETANCOURT, HERNAN         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TENORIO BETANCOURT, NILSA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TENORIO GONZALE, EVANGELINA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TENORIO LASPINA, JUAN C.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TENORIO PAGAN, CARMEN G            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TERC ECHEVARRIA, JOAQUIN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TERC ECHEVARRIA, JOAQUIN V         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED
TERC ECHEVARRIA, JOAQUIN V         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                                  PAGE 6597 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1598 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TERC ECHEVARRIA, SHEILA G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERCENO FIGUEROA, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERCENO FIGUEROA, ROBERTO C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERCEÑO FIGUEROA, ROBERTO C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERON COSME, ESTEFANIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERON GONZALEZ, RAMON A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERON MENDEZ, ENID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERON MENDEZ, NATALYA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERON MOLINA, JULIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERON ROMERO, ONIX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERON VAZQUEZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRADA PEREZ, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRASA SOLER, MARIA T.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRASSA BIRD, DESIREE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERREFORT MONTERO, EMILIANO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERREFORTE MONTERO, CARLOS L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERREFORTE RIVERA, JUAN P.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERREFORTE ROSA, MARTA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRERO FERNANDEZ, ALFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRERO MELLA, DILCIA C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRERO SANTOS, ANA DELIA A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON ACEVEDO, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON ARBELO, EDWIN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON CABRERA, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON CABRERA, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON CANDELARIA, BRYAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON CANDELARIA, BRYAN F      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON CANDELARIA, GABRIEL E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON COLON, ALVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON COLON, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON HERNANDEZ, GRISEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON HERNANDEZ, GRISEL M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON IRIZARRY, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON JIMENEZ, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON MALDONADO, BRENDA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON MUNIZ, LETICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON ORTIZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON QUINONES, RAFAEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON REVERON, PEDRO J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON RIVERA, JOSE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON RIVERA, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON RIVERA, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON ROMAN, OMAR T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON RUIZ, ALMA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON RUIZ, EDGARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON RUIZ, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON SOTOMAYOR, MYRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON TAMEZ, IRMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERRON TORRES, AMARILIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6598 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1599 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TERRON TORRES, AMARILIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERSON CARTAGENA, NEYCHA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERSON CARTAGENA, NEYCHA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERUEL ALMODOVAR, EDWIN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERUEL CARABALLO, LUDGERIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TERUEL LOPEZ, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEST, TEST                      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TESTANI VAZQUEZ, FRANCESCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TESTONI PABON, ERIKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEVENAL RIVERA, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXEIRA CARMONA, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXEIRA COLON, ZENAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXEIRA GARCIA, GIOVANNI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXEIRA MELENDEZ, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXEIRA MELENDEZ, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXEIRA MELENDEZ, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXEIRA MELENDEZ, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXEIRA RODRIGUEZ, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXEIRA RODRIGUEZ, PURA A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXEIRA RODRIGUEZ, PURA A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXEIRA RODRIGUEZ, SANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXEIRA RODRIGUEZ, ZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXEIRA RODRIGUEZ, ZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXEIRA SANCHEZ, MARIA DEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXEIRA VAZQUEZ, ROBERTO A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR ARROYO, LIONEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR CAMPOS, EDA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR CAMPOS, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR COLON, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR CORDERO, ALFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR CORDERO, RAMONITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR DAVILA, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR DELGADO, FRANCISCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR ERAZO, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR FELICIANO, AIDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR FELICIANO, NELLY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR FELICIANO, PORFIRIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR FIGUEROA, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR FLORES, TATIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR GARCIA, EFRAIN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR GOMEZ, ALMA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR GONZALEZ, BASILIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR GONZALEZ, BASILIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR GRACIA, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR LOPEZ, MAYTTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR LOPEZ, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR MANGUAL, ANTONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR MANGUAL, JOSE H.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR MANGUAL, LISANDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6599 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 1600 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TEXIDOR MANGUAL, MAYDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR MANGUAL, NEIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR MARIN, FELIPE E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR MARIN, PEDRO M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR ORTIZ, EULALIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR ORTIZ, EULALIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR PAGAN, ISMAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR PAGAN, NILFRANCIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR PEREZ, JOSE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR QUILES, JORGE A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR RAMIREZ, MARIBEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR RAMIREZ, MARY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR RAMOS, ELIZABETH         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR RENTA, LUIS R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR RIOS, FREIDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR RIVERA, MARIA T          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR RODRIGUEZ, LINDA J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR ROSA, JOSELYN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR RUIZ, RAISA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR SALAVARIA, FRANK         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR SANCHEZ, CARMEN I.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR SANCHEZ, RENE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR SANCHEZ, VILMARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR SANTI, HILDA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR SANTI, JESUS M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR SANTI, MIGUEL A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR SUAREZ, DIONISIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR TORO, DAMARY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR VARGAS, CARLOS R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR VEGA, MARGARITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR, AIDA                    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TEXIDOR,LISANDRO                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THEARD THILLET, JAMALICE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THIBOU WALTERS, SHAUNETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THIBOU WALTERS, SHAUNETTE P      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THIELE JUSINO, HENRIETTE M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THIELE SOLIVAN, JULIA C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THIELE SOLIVAN, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THIELE SOLIVAN, MARIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THILLET COLON, YOLANDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THILLET CORREA, ADA DEL CARMEN   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THILLET DE LA CRUZ, GEYLA G.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THILLET DELGADO,JAIME            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THILLET GONZALEZ, LETICIA E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THILLET GUZMAN, HUMBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THILLET LISBOA, WANDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THILLET MORALES, JUANA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THILLET PORRATA, EVELYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THILLET RAMOS, DENISSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6600 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1601 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
THILLET RIVERA, RUBEN L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THILLET ROLENSON, MICHELLE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THILLET, ASTRID S.               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THISMON MANE, LIGIA M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS ALVAREZ, SAM A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS BERRIOS, OLGA MARGARITA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS BURGOS, ABEL C.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS CALDERON, JACQUELINE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS CANO, JOSEPH J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS CRESPO, ANGELITA.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS CRESPO, CARMEN M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS GOMEZ, FRANCERRE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS GRANIELA, OWANNY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS GRANIELA, OWANNY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS JIMENEZ, CARMEN I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS LORA, FELIX               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS MIRANDA, DIANE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS RAMOS, JANET              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS RAMOS, KIMBERLY M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS RIDER, VANCE E.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS SEVERINO, SILVIA C        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS SEVERINO, SONIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS TORRES, GISELLE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS TORRES, LUZ J.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS VITALI, MARITZA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMAS WILLIAMS, CAROLYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMPSON DIA Z, SAMUEL A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMPSON MAS, VICTOR E.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMPSON OLIVIERI, GREICHA M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMPSON RIOS, LUCY E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THOMPSON RIOS, LUCY E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THON PINERO, IVETTE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THON RAUCHLE, SOLEIL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
THYS TORRES, MARC F.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIBEN SANTIAGO, ELBA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIBEN SANTIAGO, ELBA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIBEN SANTIAGO, YARISIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIBEN SANTIAGO, YARISIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIBURCIO CAMACHO, DARLENE M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIBURCIO CANDELARIA, NICOLE E    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIBURCIO GOMEZ, CARLIXTA A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIBURCIO GOMEZ, CARLIXTA A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIBURCIO MALDONADO, MARIA M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIBURCIO RAMOS, ANA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIBURCIO RAMOS, ANA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIDWELL LLABRES, CHERRYL L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIENO MARCELINO, BIANKA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIESO TOSADO, TANIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TILEN BERNABE, ELI J.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6601 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1602 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TILEN BERNABE, FEDERICO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TILEN SOUFRONT, ALEXANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TILES CRUZ, JOSEFINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TILLER, PAUL A                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TILLERO ROSA, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TILLERO ROSAS, MILAGROS T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TILO CHACON, RAMONITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIMBER GIBOYEAUX, JAMES H.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIMBER PENALBER, JAMES H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIMM RIOS, BRIDGET M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIMOTHEE OLIVERIS, JENNIFER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIMOTHEE VEGA, FRANCISCO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TINEO CARRERO, MAGDA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TINEO LLINAS, KATTY M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TINEO MARCELINO, BIANKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TINEO MORENO, JANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TINEO, JOSE                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIO FERNANDEZ, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIO GARCIA, JOSE A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIO QUIJANO, ILIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ABREU, ALMA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ACEVEDO, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO AGOSTO, ANIBAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO AGOSTO, GERSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO AGOSTO, LEYLA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO AGOSTO, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO AGUELLES, PILAR M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ALBANDOZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
JONATHAN
TIRADO ALFARO, ZULIMAR          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO ALICEA, CELIA M          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO ALVARADO, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO ALVAREZ, ANA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO ALVAREZ, ANA Y           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO AMILL, HECTOR M          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO ANDUJAR, SHEILA N        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO APONTE, ARMANDO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO APONTE, ELFFY            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO APONTE, ENNID            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO APONTE, KARINA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO AROCHO, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO ARROYO, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO ARROYO, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO ARROYO, GLORIA M.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO ARROYO, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO ARROYO, JUANA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO AVILES, AISSA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO AVILES, ASTRID           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TIRADO AVILES, ASTRID           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6602 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1603 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TIRADO AVILES, HEATHER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO AVILES, HEATHER J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO AVILES, MARIA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO AYALA, ESTHER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO AYALA, ESTHER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO AYALA, JINNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO AYALA, JINNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO AYALA, JUAN G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO AYALA, PAULA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO AYALA, PAULA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO AYALA, RADAMES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO AYALA, YVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BADILLO, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BAEZ, NORA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BARBOSA, CARMEN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BARRERAS, LISHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BARRETO, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BELEN, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BENITEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BENITEZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BENITEZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BERMUDEZ, MICHAEL J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BERRIOS, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BERRIOS, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BERRIOS, MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BERROCALES, JONATHAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BERROCALES, JONATHAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BETANCOURT, JESSICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BONANO, HECTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BONET, CARMEN S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BONET, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BRITO, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BRITO, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO BURGOS, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CABAN, RAFAEL E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CALDERON, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CALERO, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CALLEJAS, CAROLINE D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CALLEJAS, GABRIELA N     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CAMACHO, EUSTACIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CAMACHO, NORMA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CAMBRELEN, EMMANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CAMBRELEN, EMMANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CAMBRELLEN, JOEL J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CANCEL, JUAN CARLOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CARABALLO, CAROLYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CARDENALES, NICOLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CARDENALES, NICOLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CARDONA, LAURA IRIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6603 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1604 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TIRADO CARLO, FLORENTIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CARMONA, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CARO, MAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CARRADERO, YEMILEEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CARRASQUILLO, EVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CARRASQUILLO, WANDA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CARRILLO, EMMANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CARTAGENA, EMSYE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CARTAGENA, KELLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CARTAGENA, KELLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CASIANO, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CASTILLO, ANA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CASTILLO, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CASTILLO, TOMAS F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CEDENO, RICARDO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CENTENO, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CENTENO, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CHEVERE, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CHEVERE, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CINTRON, JACMIR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CINTRON, JACMIR N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CINTRON, JOAQUIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CLASS, DEBORAH G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CLASS, DEBORAH G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO COLMENARES, LEIDA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO COLON, ALNERIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO COLON, ALNERIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO COLON, ANA A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO COLON, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO COLON, ANASTACIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO COLON, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO COLON, MARIA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO COLON, OMAR A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO COLON, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO COLON, RITA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO COLON, RITA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO COLON, ROBERTO DE DIOS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO COLON, TANIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CONCEPCION, ABIGAIL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CORDERO, ADA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CORDOVA, REYES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CORTES, NAYRA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO COSTACAMPS, CINTHIA L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRESPO, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRESPO, JANILIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRESPO, JOSE ONIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, ADA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, ANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6604 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1605 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TIRADO CRUZ, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, HIPOLITO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, IVONNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, IVOR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, JOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, JOEL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, JOVAIKA DE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, MARTHA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, MAYRA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, MAYRA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO CRUZ, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DASTA, PABLO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DAVILA, FELIPE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DE JESUS, JULIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DE JESUS, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DE JESUS, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DE LEON, DARIANYM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DEL ALBA, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DEL ALBA, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DELGADO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DELGADO, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DELGADO, KAREVEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DELGADO, LEONEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DELGADO, LEONEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DELGADO, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DELGADO, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DIAZ, CHARLES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DIAZ, EDNA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DIAZ, HECTOR L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DIAZ, LUIS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DIAZ, MARIA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DIAZ, MARIA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DIAZ, MINERVA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DIAZ, OMAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO DIAZ, VIVIAN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ENCARNACION, CARMELO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ENCARNACION, LILLIAM J   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ESCOBAR, MICHELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ESPIRITUSANTO, MARIA A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ESQUILIN, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO FALCON, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO FELICIANO, ARLENE O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO FELICIANO, KEVIN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO FELICIANO, NAOMI E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO FELICIANO, WANDA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6605 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1606 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TIRADO FELIX, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO FIGUEROA, ANA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO FIGUEROA, ILIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO FIGUEROA, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO FIGUEROA, ZAIDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO FONSECA, CARLOS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO FONSECA, CARLOS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARCIA, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARCIA, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARCIA, EDGAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARCIA, EDGAR R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARCIA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARCIA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARCIA, MANUEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARCIA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARCIA, MARIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARCIA, MERARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARCIA, MERARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARCIA, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARCIA, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARCIA, RAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARCIA, XAYMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARCIA, XAYMARA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARDON, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GARRIGA, HILDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GIRONA, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GIRONA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GIRONA, MELBA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GOMEZ, MARTA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GOMEZ, WANDA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GONZALEZ, ADA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GONZALEZ, ALFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GONZALEZ, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GONZALEZ, GREGORIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GONZALEZ, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GONZALEZ, JACKELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GONZALEZ, JOAQUIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GONZALEZ, LEYMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GONZALEZ, LEYMARIE X     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GONZALEZ, LONCA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GONZALEZ, MARIA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GONZALEZ, MELISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GONZALEZ, NILSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GRAULAU, JANETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GUEVARA, FUNDADOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GUEVARA, RADAMES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GUEVARA, RADAMES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO GUIDICELLI, SONIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HERNANDEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6606 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1607 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TIRADO HERNANDEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HERNANDEZ, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HERNANDEZ, EDGARDO E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HERNANDEZ, ENRIQUE J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HERNANDEZ, ENRIQUE J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HERNANDEZ, KAREM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HERNANDEZ, KAREM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HERNANDEZ, KELVIN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HERNANDEZ, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HERNANDEZ, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HERNANDEZ, NORMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HERNANDEZ, OSCAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HERNANDEZ, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HERNANDEZ, SONIA N.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HERNANDEZ, VICTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HUERTAS, ELIAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HUERTAS, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HUERTAS, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO HUERTAS, NAYDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ILLAS, TERESITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO IRIZARRY, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO IRIZARRY, MANUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO JAVIER, ADA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO JIMENEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO JIMENEZ, YAHSAI M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO JUSINO, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LABOY, IDALI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LAMELA, JESSICA A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LEBRON, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LEBRON, VICTOR D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LEBRON, VICTOR D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LEBRON, VICTORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LEBRON, VICTORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LEGUILLOU, ELBIA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LEGUILLOU, RADAMES L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LETRIZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LIZARDI, AXEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LOPEZ, AIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LOPEZ, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LOPEZ, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LOPEZ, ISOLINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LOPEZ, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LOPEZ, LIZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LOPEZ, LOURDES M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LOPEZ, MARIELI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LOPEZ, YANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LORENZO, GLORIA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LUGO, ALFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO LUGO, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6607 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 1608 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
TIRADO LUNA, AMILCAR               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MADERA, FRANCHESKA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MALDONADO, ANA L.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MALDONADO, CARMEN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MALDONADO, DORKA I.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MALDONADO, WILBERTO         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MANGUAL, VIRGINIA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MARCANO, ROBERTO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MARCON, DAMARIS             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MARRERO, AGUSTIN            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MARRERO, SANTOS             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MARTINEZ, AIDA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MARTINEZ, ALEX              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MARTINEZ, ANGEL             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MARTINEZ, ANGELIE M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MARTINEZ, JESUSA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MARTINEZ, MARGARITA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MARTINEZ, WILLIAM J         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MARTIR, NEREIDA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MARTIR, VILMA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MATEO, MARIA                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MATOS, AIDA R               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MAYSONET, RICARDO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MEDINA, ADA L               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MEDINA, ADA L               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MEDINA, FILIPO              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MEDINA, JUAN                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MEDINA, WANDA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MEDINA, WANDA I             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MEJIA, JOSE                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MELENDEZ, CARMEN            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MELENDEZ, JOSE A            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MELENDEZ, MARIA DE LOS A.   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MENDEZ, CARLOS M            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MENDEZ, PASCUAL             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MENENDEZ, ELSIE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MENENDEZ, GERARDO E         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MENENDEZ, GERARDO E.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MERCADO, CARMEN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MERCADO, GABRIEL H          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MERCADO, MILAGROS           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MERCED, IVELISSE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MIRANDA, ARIEL              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MIRANDA, GUILLERMO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MOLINA, MARIELIS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MOLINARI, EMANUEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MONTALVO, GLADYS A          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MONTALVO,JOSE A.            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MONTANEZ, EDNA V            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6608 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1609 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TIRADO MONTANEZ, MELITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MONTANEZ, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MONTESINOS, MARIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MONTIJO, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MONTIJO, RAFAEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MORALES, KELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MORALES, KIVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MORALES, LIONEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MORALES, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MORALES, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MORALES, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MORALES, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MORALES, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MORALES, ROSALBA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MOREIRA, MYRIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MOREIRA, NORA H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MORENO, ELBA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MUNIZ, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MUNIZ, HECTOR D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MUNIZ, JOHN V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MUNIZ, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MUNIZ, REBECCA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MUNIZ, REBECCA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MUNOZ, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MUNOZ, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO MUNOZ, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO NARVAEZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO NASSER, NICOLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO NEGRON, LAURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO NEGRON, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO NIEVES, FREDDY J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO NUNEZ, MARY O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO OCASIO, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO OCASIO, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO OJEDA, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO OLIVERAS, CARLOS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO OLIVERAS, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTA, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTEGA, CARMEN L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTEGA, LUIS E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, ALEXANDER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, ANA EVA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, BENJAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, EFREN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, GUADALUPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, GUADALUPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6609 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1610 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TIRADO ORTIZ, JUAN M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, MARIA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, NORMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, NORMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ORTIZ, ZAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO OTERO, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PACHECO, CRISTOBAL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PACHECO, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PADILLA, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PADILLA, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PADILLA, VLADIMIR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PAGAN, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PAGAN, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PAGAN, XIOMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PANCORDO, ROBERT E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PANIAGUA, SILVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PARIS, CHRISTIAN C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PASTRANA, ALFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PASTRANA, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PEREZ, CARLOS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PEREZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PEREZ, CLARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PEREZ, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PEREZ, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PEREZ, GLENDA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PEREZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PEREZ, MARIA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PEREZ, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PEREZ, SONIA O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PINEIRO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO PINERO, CARLOS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO POLO, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO QUILES, XIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO QUINONES, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO QUINONES, IVAN I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO QUINONES, NELITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RAMOS, EMANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RAMOS, ERC D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RAMOS, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RAMOS, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RAMOS, RAYMOND           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RAMOS, ROSA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RESTITUYO, MARIANO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO REYES, ALEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO REYES, JUAN D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6610 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                     Schedule E3 Page 1611 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TIRADO REYES, PAULA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO REYES, XAVIER              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIOS, JUAN                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIOS, MARIO A.             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, ANTONIO L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, CARLOS M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, CIRILO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, DENISSE MARIE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, EDIER E            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, EFRAIN A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, EUGENIO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, HERNAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, JARITZA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, JESSICA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, JOSE               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, JOSE A.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, JOSE J             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, JOSE L.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, LYMARIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, MARIANELA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, MAYRA I.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, MILAGROS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, OSVALDO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, RAFAEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, RAYMOND            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, YELITZA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVERA, ZULEIKA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RIVRA, BRIZETTE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROBLES, DANIEL E.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, CARMEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, CARMEN I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, CELSA M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, CHRISTOPHER L   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, CONSUELO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, DANIEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, EDNA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, IVETTE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, JORGE O         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, JUAN D.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, LYCIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, MARGIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, MARIA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, MARIBEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, NATIVIDAD       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, NELLY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, NEREIDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, NORMA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, OMARIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, OMARIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6611 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1612 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TIRADO RODRIGUEZ, TAHIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, YARELIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, YARELIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIGUEZ, YARIELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RODRIQUEZ, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROLDAN, OCTAVIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROLON, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROLON, LUIS I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROMAN, ANA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROMAN, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROMERO, ABIGAIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROMERO, ERIC O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROMERO, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROSA, CARLOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROSA, ENEIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROSA, MARIA G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROSA, MAYRA A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROSA, NATACHA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROSADO, ANGEL M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROSADO, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROSADO, FAUSTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROSADO, KEILA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROSARIO, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROSARIO, KASEY J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROSARIO, MARIA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROSARIO, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROSARIO, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ROUCO, LIZMARIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RUBERTE, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RUBERTE, CARMEN R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RUIZ, ELIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RUIZ, ERNESTINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RUIZ, GLORIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RUIZ, JUAN B             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RUIZ, LIMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RUIZ, LIMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO RUIZ, NICOLAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SALTARES, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANCHEZ, .SALLY A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANCHEZ, ANDRES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANCHEZ, ANGELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANCHEZ, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANCHEZ, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANCHEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANCHEZ, JUAN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANCHEZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANCHEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANCHEZ, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTANA, FAUSTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6612 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1613 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TIRADO SANTANA, IRIS L.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTANA, KEILA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTANA, MILAGROS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTIAGO, ALBA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTIAGO, ALBA J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTIAGO, BETHZALI A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTIAGO, DAISY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTIAGO, EVERIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTIAGO, JACQUELINE I.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTIAGO, JOHNNY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTIAGO, LUZ E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTIAGO, MARIA J.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTIAGO, MARIBEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTIAGO, YAHAIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTOS, ARACELIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTOS, ARACELIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTOS, DONOVANTH L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTOS, ESPERANZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTOS, ESPERANZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTOS, MYRIAM MILEIDA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTOS, SOLIMAR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SANTOS, YAJAIRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SEMIDEY, JOSE ANTONIO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SEPULVEDA, GLORIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SEPULVEDA, TINA MARIE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SERRANO, LUZ R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SERRANO, RICARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SHORTER, CARMELA A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SIERRA, BRUCE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SIERRA, DARRELL D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SIERRA, NOEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SIERRA, NOEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SILVA, MARIBEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SOLER, IRIS DEL C.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SOSTRE, AWILDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SOTO, CECILE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SOTO, HIRAM               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SOTO, HIRAM               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SOTO, NANCY               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SOTO, NANCY J             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SOTO, RAQUEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SOTO, ROBERTO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO SUAREZ, MARIE E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TAVAREZ, DEBBIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TEJEDA, ITZA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TIRADO, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TIRADO, CELIANNETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TIRADO, ESTHER            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TIRADO, GRISSELLE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6613 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1614 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TIRADO TIRADO, ORLANDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TIRADO, RUTH I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TOLEDO, ANICETO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TORRES, CARMEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TORRES, DIONISIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TORRES, EDANNETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TORRES, ILBIA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TORRES, ISRAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TORRES, JOSE F            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TORRES, JULIA MARGARITA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TORRES, LYDIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TORRES, MARILYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TORRES, NITZA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TORRES, ROSEMARIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO TORRES, SAMUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO URRUTIA, RAFAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VALENTIN, ALANA N         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VALENTIN, GILENE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VALENTIN, ISRAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VALENTIN, KEISHLA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VAZQUEZ, GLORIA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VAZQUEZ, JOSE E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VAZQUEZ, JOSE L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VAZQUEZ, KEISHLA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VAZQUEZ, LUZ B.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VAZQUEZ, MARIA V          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VAZQUEZ, MARILYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VAZQUEZ, MERLYN I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VAZQUEZ, REBECCA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VAZQUEZ, YOLYMAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VAZQUEZ, YOLYMAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VEGA, AMERICA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VEGA, CARMEN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VEGA, CARMEN C            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VEGA, DAMARIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VEGA, DAMARIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VEGA, DAMARIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VEGA, JANICE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VEGA, JANICE M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VEGA, JORGE W             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VEGA, LUZ ENID            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VEGUILLA, FRANCISCO J     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VELAZQUEZ, ANAIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VELAZQUEZ, GLORIA M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VELAZQUEZ, LUZ E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VELAZQUEZ, RAMONITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VELAZQUEZ, VALERIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VELEZ, EDWIN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VELEZ, WILFREDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6614 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1615 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TIRADO VERDEJO, MARIA R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VILLANUEVA, JOSE L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VILLANUEVA, LUZ M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VILLEGAS, ANGELES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VILLEGAS, JOSE R.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO VILLEGAS, NORA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO ZAMOT, XIOMARA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO, AIDA L                   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO, ALBERT                   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO, ALEXIS O                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO, JOSE                     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO, MIGUEL                   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO, MIGUEL A.                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO, NAIDA L                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO, ROBERTO                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO, VICTOR                   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRADO,JUAN M.                   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRAVANIJA, RIRKRIT J.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU ALVAREZ, AUREA J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU ALVAREZ, DIXON A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU ARROYO, CARMEN M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU CHERENA, FELICITA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU MEJIAS, IVETTE A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU MORALES, SANDYBELL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU NIEVES, JOSE                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU QUINONES, CARMEN G.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU RUIZ, ZOILA                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU RUIZ, ZOILA                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU SEGARRA, JUAN M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU SEGARRA, JUAN M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU SEGARRA, ODEMARIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU SEMIDEY, CARMEN I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU VELAZQUEZ, OMAR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU VELAZQUEZ, REYNALDO I.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIRU VELEZ, JUANA M              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TITLEY CORREDOR, AGNES           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TITLEY MELENDEZ, JOSEFINA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TITTLEY MELENDEZ, JOSEFINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIZOL JIMENEZ, LYDIA GABINA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIZOL PILLICH, AIXA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIZOL RIVERA, JORGE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIZOL ROBLES, GABRIEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIZOL RODRIGUEZ, LIDI AG.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TIZOL VIVAS, VALERIA N           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOBAJA LOPEZ, MARIA D.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOBAJA LOPEZ, MARIA DE LOS A     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOBAJA RODRIGUEZ, MARIA DEL RO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOBAL CORTES, JULIO A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOBAL GUZMAN, ABIGAIL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TOBAL GUZMAN, JULIO A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOBAL GUZMAN,JULIO A.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOBAR GARCIA, ARMANDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOBAR GARCIA, ARMANDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOBI RUIZ, JACQUELINE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOFANI MONTALVO, ELSIE M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO ABRAMCYZK, RICHARD        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO ABRAMCZYK, EVA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO ABRAMCZYK, EVA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO ACEVEDO, IDALIA D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO ACOSTA, URIEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO ADORNO, LUIS A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO ALAYON, HIPOLITO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO AMILL, RUTH               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO APONTE, LUZ M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO ARROYO, JULIO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO BAEZ, HECTOR R.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO BALAGUEZ, ZULEYKA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO BARRIONUEVO, BERGUEDYS    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO BELTRAN, JACLYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO BELTRAN, JACLYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO BERDEGUEZ, DAMARIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO BONILA, JESSICA N         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO BONILLA, JESSICA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO BRAVO, RUBEN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CABAN, MARIA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CAGIGAS, ELSA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CAJIGAS, ELSA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CALDERON, FRANKLIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CAMACHO, CHARLES H.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CANDELARIO, LYDIA A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CANINO, SARA I.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CARABALLO, ASDRUBAL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CARRASQUILLO, GLADYS E.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CARRASQUILLO, GLADYS E.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CARRASQUILLO, JESUS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CASTRO, ALEXYS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CASTRO, DIMARYS M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO COLON, ANGEL LUIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO COLON, DENICE E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO COLON, EDWIN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO COLON, ISSA L.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO COLON, IVAN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO COLON, MADELINE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO COLON, MYRCIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO COLON, YADIRIS Y          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO COLON, YADIRIS Y          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CORDERO, ANGEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CORREA, GRICHELLE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6616 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1617 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

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                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TOLEDO CORUJO, ZULMA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CRESPO, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CRUZ, ANGEL M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO CUEVAS, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO DE JESUS, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO DEL VALLE, CAROLYN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO DELGADO, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO DELGADO, ARCADIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO DELGADO, MAYRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO DIAZ, EMILIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO DIAZ, JUAN M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO DIAZ, KAISHA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO DIAZ, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO ESTEVES, DERMALY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO ESTREMERA, EILEEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO FELIX, EMELE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO FERNANDEZ, FERNANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO FIGUEROA, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO FRANQUIZ, BENITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GALAN, EDWIN J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GALARZA, MAYRA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GARCIA, ARISTIDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GARCIA, DORA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GARCIA, JACKELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GARCIA, JOSELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GARCIA, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, JOSE E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, JOSE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, LEONARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, MARIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, MELISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, PABLO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GONZALEZ, ROLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GUTIERREZ, ENID L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO GUZMAN, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO HERMINA, ERNESTO B       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO HERMINA, ERNESTO B.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO HERMINA, JUAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1618 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TOLEDO HERNANDEZ, ANIBAL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO HERNANDEZ, EILEEN T       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO LEON, JESSICA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO LIZASUAIN, WANDA IVETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO LOIZ, DARLENE M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO LOIZ, ORLANDO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO LOPEZ, CARMEN J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO LOPEZ, LUIS A             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO LOPEZ, LUIS A.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO LOPEZ, LUIS V             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO LOPEZ, MANUEL A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO LOPEZ, ROSANGELIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO LOPEZ, TANIA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO LUCENA, ANGEL M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO LUNA, JUAN                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MACEIRA, ANA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MALDONADO, CARELI         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MALDONADO, ELICA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MALDONADO, JOSE C.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MALDONADO, NELLY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MARRERO, KATHERINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MARRERO, KATHERINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MARRERO, KATHERINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MARRERO, SOL N.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MARTINEZ, JUAN A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MATOS, MARGARITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MEDERO, GRETCHEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MEDINA, MIGUEL A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MELENDEZ, ALVIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MELENDEZ, ALVIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MELENDEZ, JOSUE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MENDEZ, FRANCISCO J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MENDEZ, GEORGE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MENDEZ, LUIS J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MERCADO, KARLA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MOLINA, ARISTIDES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MONTALVO, CARMEN M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MORALES, CRISTINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MORALES, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MORALES, KAYLEEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MORALES, TATIANA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MORALES, WANDA E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MOREU, AIXA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MOREU, WILFREDO G III     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MOYA, ZULEYKA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO MOYA, ZULEYKA J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO NAZARIO, SANTIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO NEGRON, JUAN R.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO NIEVES, ANGEL A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6618 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1619 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TOLEDO OLIVO, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO OQUENDO, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO ORTIZ, ENID V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO ORTIZ, GEORGE N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO ORTIZ, INES A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO ORTIZ, KARINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO ORTIZ, MEAGAN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO ORTIZ, ULISES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO OTERO, LAURA V.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PACHECO, NILDA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PADUA, JANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PADUA, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PADUA, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PAGAN, MARIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PAGAN, MARIE C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PASTRANA, CARMELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PERAZA, CAROL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PEREZ, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PEREZ, DALMA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PEREZ, GARYCELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PEREZ, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PEREZ, SANDRA D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PEREZ, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PITRE, CATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PITRE, MARY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PITRE, MARY A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO POL, ENID                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO POL, MANUEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO PONCE, ROSA AMELIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO QUINONES, CARLOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO QUINONES, EDWARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO RAMOS, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO RAMOS, JAILENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO RAMOS, MARIA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO REYES, CARLOS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO REYNA, JORGE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO RIVERA, ANA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO RIVERA, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO RIVERA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO RIVERA, MARIA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO RIVERA, MELISSA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO RIVERA, MELISSA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO RIVERA, NYDIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO RODRIGUEZ, BENEDICTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO RODRIGUEZ, FERNANDO L    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO RODRIGUEZ, IRVIA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO RODRIGUEZ, JUSTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO RODRIGUEZ, MARLIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO RODRIGUEZ, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6619 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1620 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TOLEDO RODRIGUEZ, RUTH E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO RODRIGUEZ, TOMMY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO RODRIGUEZ, VIVIAN E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO RODRIGUEZ, VIVIAN E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO ROJAS, CRISTIAN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO ROMAN, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO ROMAN, ELIEZER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO ROMAN, ELIEZER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO ROMAN, NOELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO ROSA, ALFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO ROSA, JOSE G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO ROSADO, IRIS G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO ROSARIO, VIRGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO ROSARIO, VIRGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SANCHEZ, AIDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SANCHEZ, CARMEN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SANCHEZ, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SANCHEZ, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SANTANA, JOSE C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SANTIAGO, KAREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SEPULVEDA, SANDRA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SERRANO, NITZA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SOSA, NOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SOTO, CARMEN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SOTO, DELMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SOTO, FRANK              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SOTO, JANET              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SOTO, JANET              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SOTO, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SOTO, MARITZA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO SOTO, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TELLADO, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TOLEDO, ANTONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TOLEDO, CLAUDETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TOLEDO, ELIESER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TOLEDO, ELIEZER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TOLEDO, ELISEO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TOLEDO, YILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TORRES, ALEXANDER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TORRES, ANGEL E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TORRES, ARCADIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TORRES, ARNALDO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TORRES, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TORRES, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TORRES, JULYSBETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TORRES, JULYSBETTE D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TORRES, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TORRES, MICHAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TOLEDO TORRES, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



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SCHEDULE E
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1621 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TOLEDO TORRES, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO TRISTANI, ANA ROSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO UGARTE, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO UGARTE, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VALENTIN, ANGEL P        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VALENTIN, ROSA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VAZQUEZ, ANGIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VEGA, MELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VELEZ, CLAUDIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VELEZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VELEZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VELEZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VELEZ, ELSIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VELEZ, ELSIE H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VELEZ, JANNICE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VELEZ, JORGE E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VELEZ, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VELEZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VELEZ, MARIA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VELEZ, MARTA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VELEZ, NELIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VELEZ, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VELEZ, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VELEZ, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO VICENS, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLEDO, SYLVIA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO ACOSTA, MONIQUE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO CASTRO, VICTOR S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO COLON, LEONOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO COLON, MERARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO CRUZ, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO DIAZ, BARBARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO FEBO, ARLENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO FEBO, ARLENE R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO FEBO, BLANCA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO FEBO, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO FEBO, IRMA N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO FEBO, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO FEBO, WANDA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO FELIX, YARISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO HERNANDEZ, SHAIRA D   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO LOPEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO LUYANDO, NATALIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO MALDONADO, ANGEL B.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO MARRERO, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO MESTRE, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO MORALES, LISSETE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO MORALES, MARIA L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO ORTIZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6621 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1622 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TOLENTINO ORTIZ, LUZ             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO ORTIZ, LUZ E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO PINTO, MIGUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO PINTO, MIGUEL A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO RIVERA, DAVID          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO RIVERA, DELIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO RIVERA, ELIANI         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO RIVERA, JOAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO RIVERA, LISABETH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO RIVERA, MARJORIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO RIVERA, MARJUDITH      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO RIVERA, REYNALDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO RIVERA, VIVIAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO RODRIGUEZ, VICENTE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO SALCEDO, EFRAIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO SALCEDO, MELISSA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO SALDANA, MIGUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO SANABRIA, ANGEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO TIRADO, LILIBETH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO TIRADO, LILIBETH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO TOLENTINO, FELICITA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO TOLENTINO, VICTORIA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO TOLENTINO, VICTORIA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO TORRES, JORGE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO TRINIDAD, LESLIAN M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO VALDEZ, ALTAGRACIA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO VALDEZ, ALTAGRACIA Y   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO VAZQUEZ, DINORAH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINO, LAUDELINA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLENTINODAVILA, AGDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLINCHI BEAUCHAMP, ADIEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLENS BAEZ, ORLANDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLENS ORTIZ, OLGA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLENS ORTIZ, ORLANDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLENTS ORTIZ, LAURA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLENTS ORTIZ, REINALDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLENTS RIVERA, MAYRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLINCHE MIRANDA, SOFIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLINCHE MONTANEZ, ARNALDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLINCHE MONTANEZ, CARLA M.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLINCHI BEAUCHAMP, DIOSDADO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLINCHI BEAUCHAMP, GRICELIDA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLINCHI BEAUCHAMP, LUZ N       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLINCHI DELGADO, LUZ           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLINCHI DELGADO, VILMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLINCHI PEREZ, CARMEN L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLINCHI RODRIGUEZ, LEONARDO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLINCHI RODRIGUEZ, MARISSA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLINCHI RODRIGUEZ, OLWING      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6622 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1623 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TOLLINCHI RUIZ, JICELA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLINCHI RUIZ, JICELA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLINCHI TORRES, ILIAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLINCHI TORRES, ILIAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOLLINCHI VELAZQUEZ, CAMIR        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMAS PAREDES, AUSTRIA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMAS RODRIGUEZ, HILDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASINI GOMEZ, JEANNETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASINI MUNIZ, JOANNE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASINI PARES, JUAN B.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASINI RODRIGUEZ, BETZAIDA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASINI TARRIA, CARMEN B         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI ACEVEDO, SHEILA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI ACEVEDO, SHEILA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI ADAMES, NANCY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI ADAMES, NANCY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI ARCE, NORBERTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI CARDONA, CARMEN D       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI CORIANO, KATIRIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI CORIANO, KATIRIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI CORIANO, KEYLA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI CRESPO, FERNANDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI DEL TORO, MILTON        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI LEBRON, CINDY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI PENA, ARLENE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI PENA, RUBEN J           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI RESPETO, MARIA D        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI RESPETO, MARIA DEL CA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI RODRIGUEZ, ROSA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMASSINI SEGARRA, LUIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEI AVILES, CHARLES R.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEI AVILES, SEASKA M.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEI CRUZ, JUAN M                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEI MERCADO, MOISES             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEI MILLAN, KARIANA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEI MILLAN, ZULAIKA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEI PEREZ, ABRAHAM A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEI PEREZ, BERNICE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEI PEREZ, JUAN M               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEI PEREZ, MARIA M.             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEI RODRIGUEZ, JOANNE M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEI RODRIGUEZ, JOANNE M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEI SORRENTINI, NATIVIDAD       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEI VAZQUEZ, DORIS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEY IMBERT, ALFRIDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEY IMBERT, AURET               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEY VARGAS, KEYSHLA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOMEY VARGAS, ZULIMAR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOORES MASSAS, SUSAN E            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6623 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1624 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORAL MUNOZ, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORANO CORDERO, ANGELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORANO DIAZ, ABNER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORANO DIAZ, BRENDA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORANO DIAZ, FELIX A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORANO GONZALEZ, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORANO GONZALEZ, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORANO GONZALEZ, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORANO GONZALEZ, VICTOR R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORANO HERNANDEZ, MARIA P       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORANO ROBLES, CARMEN H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORANO TORRES, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOREES CARRERAS, CAROLINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORES BERRIOS, WALESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORES GONZALEZ, LILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORES MEDINA, CARMEN N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORES ORTIZ, KEILA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORES RIVERA, DIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORES SANTANA, NELSON R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORES VEGA, JOHANNY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORIBIO MATEO, JULIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORIBIO MATEO, JULIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORIBIO RIVERA, ENID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORMES GOTAY, LEILA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORMES OLAN, LUZ D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORMES OLAN, MARIA DE LOS A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORMES RUIZ, HAZEL J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORMOS ARROYO, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORMOS GERENA, JOSE G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORMOS PICON, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ACEVEDO, MARIA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ADORNO, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ADORNO, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO AGRAIT, GLORIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO AGRAIT, TANIA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ALEQUIN, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ALFONSO, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ALMODOVAR, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ALMODOVAR, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ALVAREZ, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ANDUJAR, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO APONTE, JANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO APONTE, JULIO ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO AROCHO, ELSIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ARROYO, FELIX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ARROYO, HETZER O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ARROYO, SIXTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ARROYO, WANDY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ARSUAGA, RAFAEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6624 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1625 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORO ASENCIO, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO AVILES, DIANELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO AYALA, ADA R               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO AYALA, ANA E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO AYALA, OTNIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO AYALA, OTNIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO AYALA, OTNIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO AYALA, SYLVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO BAEZ, MAYRA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO BALAGUER, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO BERRIOS, DAISY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO BIRCH, RAFAEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO BOBE, JOSE M.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO BONILLA, JOSE D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO BORRAS, ILYCELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO BURGOS, IRIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CABRERA, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CALDERO, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CAMACHO, EDGAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CAMACHO, FLOR E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CAMACHO, JARANAIZA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CANCEL, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CANCEL, GISSELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CANDELARIA, LAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CARABALLO, MARIELY Z       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CARABALLO, MARIELY Z       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CARLO, JAVIER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CARLO, NANCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CASELLAS, ALBERTO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CASIANO, MARY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CASIANO, MARY E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CASIANO, NEREIDA T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CASTILLO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CASTILLO, JULIUS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CASTRO, ROSA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CHARRIEZ, GLORIVEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CHIQUES, ROSARIO A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CINTRON, KEYSHLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO COLLAZO, DIANA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO COLLAZO, JENSSEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO COLOME, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO COLON, ERICK M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO COLON, JOMAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO COLON, JUAN J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO COLON, MILDRED I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO COLON, MILDRED LANTHE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO COLON, RICARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO COLON, RICARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO COLON, SANTOS L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6625 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1626 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORO COMAS, HEBER G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CORA, BENJAMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CORDERO, YAIZA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CORDOVA, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO COSTAS, ADRIAN KARLO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO COTTE, ALICIA D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO COTTE, WANDA E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CRUZ, AXEL H.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CRUZ, AXEL HERNAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CRUZ, DAMASO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CRUZ, DAMASO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CRUZ, EDXEL H.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CRUZ, HECTOR F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CRUZ, JOAN M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CRUZ, LISSETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CRUZ, MIRTA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CRUZ, MONSERRATE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CRUZ, MYRNA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CRUZ, MYRNA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CRUZ, NOEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO CUEVAS, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO DE JESUS, AISHA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO DE JUAN, BELMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO DE JUAN, BETHZAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO DE LEON, HENRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO DE LEON, YOHEILY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO DEL TORO, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO DELGADO, BETSY L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO DELGADO, BETSY L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO DELGADO, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO DIAZ, JULIO S              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO DOMINICCI, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ECHEVARRIA, NILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ECHEVARRIA, NILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ESCALERA, ANGELA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ESPIET, KEISY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ESPIET, KEISY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO FELIBERTY, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO FELICIANO, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO FELICIANO, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO FELICIANO, JULIO C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO FIELHAWER, JASON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO FIGUEROA, DENNIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO FLORES, ENEIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO FONT, IXION O.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO FONT, JOSE A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO FRANCO, TOMAS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO FRED, OLGA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GALARZA, JENNIFER MARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6626 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1627 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORO GARCIA, ISIDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GARCIA, JANICE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GARCIA, MARISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GAUD, MERCEDES V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GAUD, ROSA M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GODINEAUX, JOE E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GONZALEZ, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GONZALEZ, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GONZALEZ, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GONZALEZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GONZALEZ, JULITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GOTAY, ZAYMI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GOYCO, FEDERICO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GUADALUPE, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GUADALUPE, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GUERRERO, LUZ O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GUERRERO, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GUERRIDO, ERIC M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GUERRIDO, VIRGEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GUZMAN, LESTER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GUZMAN, MARIA DEL CA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO GUZMAN, MARIA DEL CARMEN   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO HEREDIA, JANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO HEREDIA, JANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO HEREDIA, PATRICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO HERNANDEZ, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO HERNANDEZ, ELBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO HERNANDEZ, KEVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO HERNANDEZ, NELIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO HERNANDEZ, NELIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO HERNANDEZ, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO HORRACH, ASUNCION          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO HORRACH, LEODEGARIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO HUERTAS, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO HUERTAS, MAUREEN I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO HURTADO, MARIA DEL M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO IGLESIAS, LILIANA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO IRIZARRY, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO IRIZARRY, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO IRIZARRY, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO IRIZARRY, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO IRIZARRY, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO IRIZARRY, RICARDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO JUSTINIANO, LESLEY F.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO JUSTINIANO, VICTOR E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LABOY, JOSE M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LABOY, REBECA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LEBRON, ZULMA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LEYRO, MOISES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6627 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1628 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORO LLANOS, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LOPEZ, ANTHONY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LOPEZ, ARLEEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LOPEZ, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LOPEZ, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LOPEZ, MARGIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LOPEZ, MARIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LOPEZ, PEDRO J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LOPEZ, SOL M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LOZADA, CHAREDYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LUCCIONI, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LUCENA, ALBERTO R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LUGO, CARLOS R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LUGO, HILDAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO LUGO, NEREIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MADERA, MADELINE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MALAVE, KARINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MARCANO, DILCIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MARRERO, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MARRERO, DARWIN N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MARRERO, ELBIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MARTINEZ, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MARTINEZ, MICHELLE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MARTINEZ, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MARTINEZ, ROXANNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MARTINEZ, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MATIAS, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MATOS, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MATOS, PABLO ARMANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MATOS, WALTER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MEDINA, LISANDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MEDINA, ZULMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MEDINA, ZULMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MELENDEZ, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MELENDEZ, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MELENDEZ, FRANCES I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MELENDEZ, MADELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MELENDEZ, MADELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MELENDEZ, MELISSA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MELENDEZ, MELISSA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MELENDEZ, MICHELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MERCADO, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MERCADO, VIRGINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MILLAN, LEONARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MOLINA, FLOR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MONTALVO, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MONTALVO, WENDELL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MONTE, MILDRED             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MONTES, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6628 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1629 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORO MONTES, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MONTES, RICKY N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MONTES, VERONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MORALES, FRANCHESKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MORALES, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MORALES, GENOVA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MORALES, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MORALES, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MORALES, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MORALES, YOAMY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MORALES, ZANIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MUNIZ, BETSEY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MUNIZ, BETZAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MUNIZ, THOMAS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO MUNOZ, VIVIAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO NAZARIO, SONIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO NCCOWN, JORGE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO NIEVES, INA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO OCASIO, ARIEL E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO OCASIO, ERIC JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO OJIO, ANGELES M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO OJIO, RAMON A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO OJIO, RAMON A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO OLIVENCIA, MARTA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ORONA, NANETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ORTIZ, EDWIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ORTIZ, EDWIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ORTIZ, GERALDINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ORTIZ, GILBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ORTIZ, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ORTIZ, LUIS ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ORTIZ, MALMA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ORTIZ, NORMA E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PABON, MADELINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PACHECO, AMADY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PACHECO, PEDRO JUAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PADUA, ORLANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PAGAN, CARMEN J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PAGAN, CARMEN J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PAGAN, JULIO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PAGAN, JULIO A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PAGAN, MADELINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PAGAN, MADELINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PAGAN, MARIA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PAGAN, MIGUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PALACIO, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PALACIOS, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PARDO, NERY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PAVIA, MADELINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6629 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1630 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORO PELEGRIN, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PEREZ, ADA E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PEREZ, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PEREZ, CARMEN E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PEREZ, ELENA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PEREZ, HARRY M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PEREZ, ISRAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PEREZ, ISRAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PEREZ, NERY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO PEREZ, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO QUILES, YOMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO QUILES, YOMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO QUINONES, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO QUINTANA, DELMA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO QUINTANA, DELMA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RAMIREZ, ANGEL C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RAMIREZ, JOCELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RAMOS, GLORIMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RAMOS, GUSTAVO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RESTO, FREDERICK           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIOS, MARIA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, ALBA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, ALBA NYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, ANGEL R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, AWILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, GERALDINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, GERALDINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, GERALDINE J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, HECTOR M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, NARDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, ROBERTO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RIVERA, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUES, AHIMELEC        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, ALFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, EILEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6630 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1631 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORO RODRIGUEZ, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, ESPERANZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, EZEQUIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, ILIA R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, ILIA R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, IRMA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, JAILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, JAILYN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, JAILYN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, JOSE ANTONIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, JULIO E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, KAREN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, LILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, PATRIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, RADAMES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, RADAMES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, ROSA H.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, ROSALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, SONIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, VINCE G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, VIRGEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RODRIGUEZ, YADIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ROJAS, JETSENIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ROLDAN, DANYA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ROLDAN, ENID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ROLDAN, SAMUEL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ROMAN, CARLOS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ROMAN, STEPHANIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RONDA, ARLENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RONDA, MARILYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ROSADO, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ROSADO, GUILLERMO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ROSARIO, ILIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ROSARIO, MARIA T.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ROSAS, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ROSAS, WILMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RUIZ, AGNES D.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RUIZ, ALBERTO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RUIZ, CAROLINE P.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6631 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1632 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORO RUIZ, EFREN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RUIZ, JUAN G               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RUIZ, VIVIAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO RUIZ, WALDO L.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANCHEZ, BARTOLO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTANA, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTANA, MONSERRATE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTIAGO, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTIAGO, CESAR R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTIAGO, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTIAGO, EVY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTIAGO, EVY C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTIAGO, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTIAGO, JESUS I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTIAGO, JOELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTIAGO, JOELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTIAGO, JOELY I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTIAGO, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTIAGO, MANOLO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTIAGO, RENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTIAGO, RICARDO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTIAGO, ROBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTIAGO, SANTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SANTOS, MELQUIADES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SEDA, ALFREDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SEDA, ALFREDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SEGARA, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SERRANO, HANEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SERRANO, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SILVA, ELVIN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SOLA, NORMA S              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SOLER, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SOTO, ANGEL R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO SUGRANES, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TIRADO, MAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TOLEDO, JUAN E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORO, ALTAGRACIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORO, BRIAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORO, DIANA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORO, ELVIN C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORO, EVELYN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORO, JESSIKA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORO, LEONOR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORO, MAXIMINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORO, NILSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORO, ROSA N               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORRES, ANA J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORRES, CHRISTIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORRES, FERNANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6632 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1633 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORO TORRES, FERNANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORRES, FERNANDO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORRES, ISELL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORRES, ISELL S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORRES, IVAN E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORRES, LYMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORRES, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORRES, MIRTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORRES, MIRTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORRES, RITA V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORRES, RITA V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TORRES, WALDEMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TROCHE, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO TROCHE, VILMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VALENTIN, YEIDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VALLADARES, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VALLE, IDA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VALVARCEL, ZULMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VAZQUEZ, MANUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VAZQUEZ, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VAZQUEZ, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VAZQUEZ, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VEGA, ALEXIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VEGA, ENID                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VEGA, LUCIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VELAZQUEZ, BRENDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VELAZQUEZ, ISMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VELAZQUEZ, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VELEZ, ANA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VELEZ, ANA L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VELEZ, FELIPE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VELEZ, LISSETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VELEZ, LUZ D               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VELEZ, SANTOS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VELEZ, WILFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VENTURA, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO VILANOVA, ANGEL C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO WRIGHT, CARMEN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ZAMBRANA, ANTHONY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ZAPATA, JOANNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ZAPATA, LILLIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ZAPATA, LILLIAN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ZAPATA, LYDIA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ZAPATA, TERESA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO ZELAYA, ACISCLO E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO, CARMEN SILVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO, IRIS MIRTA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO, JOSE                      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO, LUIS                      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6633 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1634 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORO, MIRIAM                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORO, YAMIL                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOROMERCADO, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOROSOTO, EVEMILD               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRACA REYES, ISAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRACA SANTIAGO, ASTRID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRACA SANTIAGO, MAIRAM A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRACA VEGA, RUT               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO ANDUJAR, EVELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO COLON, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO DEL RIO, CARLOS JOSE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO DEL RIO, IRIS N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO FELICIANO, MAYRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO FELICIANO, NORMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO GONZALEZ, LEONELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO GONZALEZ, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO GONZALEZ, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO HERNANDEZ, NORA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO MENDEZ, CINTYA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO MENDEZ, MABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO MENDEZ, MABEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO MENDEZ, RICHARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO MORALES, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO MORALES, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO PEREZ, CAROLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO PEREZ, CAROLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO PEREZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO RAMIREZ, YOARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO REYES, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO ROJAS, ANDREA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO ROSADO, DIANICE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO SANTIAGO, ANGELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO SANTIAGO, ANGELA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO SANTIAGO, IVAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO TAPIA, ARANZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRADO TAPIAS, RUTH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRALBAS CAVREL, ALFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRALES ALVARADO, NYDENID      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRALES ALVARADO, ROSANID      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRALES CABRERA, VENERADA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRALES CHEVEREZ, CARLOS R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRALES CHEVEREZ, FRANCISCO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRALES CHEVEREZ, FRANCISCO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRALES DAVILA, CARMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRALES DAVILA, LUIS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRALES MALDONADO, ANGEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
MANUEL
TORRALES MALDONADO,             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
MARICARMEN



                                                                                                                                                               PAGE 6634 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1635 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRALES ROLON, ROSA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRALES ROLON, ROSA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRALES SOTO, JULIO V           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRE AVILES, NANCY E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRE CRUZ, LUIS                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRE CRUZ, LUIS E               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRE HERNANDEZ, MANUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRE LATORRE, SANTA A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRE LUGO, JOSE A.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRE LUGO, LUIS A               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRE MARTINEZ, JUAN B           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRE PEREZ, ARMANDO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRE RODRIGUEZ, MARIBEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRE ROLÓN, MAYRISE DE LA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRE SIRIZARRY, JESUS M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRE ZENQUIS, NESTOR O.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORREALBA RODRIGUEZ, SYLVIA E    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORREALBA RODRIGUEZ, SYLVIA E.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORREAS DE JESUS, JENIFFER       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRECH DIAZ, LAURA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRECH JIMENEZ, TINA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRECH MONTALVO, RAFAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRECH ORTIZ, ALEXANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRECH PRIETO, CARLOS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRECH PRIETO, CARLOS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRECH RODRIGUEZ, JESUS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRECH ROSARIO, JACINTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRECH‐DIAZ SANCHEZ, CARLO A G REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORREGROSA ALONSO, MIRIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORREGROSA DE LA ROSA, ENID      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORREGROSA ENCHAUTEGUI, IVELISSE REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED

TORREGROSA HUERTAS, JACQUELINE   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
TORREGROSA MIRANDA, YEVETTE M    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
TORREGROSA MURATTI, LYZIVEL      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
TORREGROSA NIEVES, ANA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
TORREGROSA SANCHEZ, NORA F       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
TORRELLAS CASTRO, PATRICIA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
TORRELLAS DE JESUS, WANDA I      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
TORRELLAS DIAZ, WILLIAM          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
TORRELLAS ECHEVARRIA, JAVIER E   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
TORRELLAS GONZALEZ, BRENDALLE    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
TORRELLAS LOPEZ, SANDRA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
TORRELLAS MEDINA, BRENDA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
TORRELLAS MORALES, MIRIAM        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
TORRELLAS MORALES, WILLIAM       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
TORRELLAS PEREZ, AGNES           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
TORRELLAS PEREZ, AGNES           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
TORRELLAS PEREZ, NORMA I         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6635 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1636 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRELLAS PEREZ, SANDRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRELLAS SOMONETTI, VICTORINA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRELLAS VEGA, KARLA T.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRELLAS, JOSHUE                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS AGUIRRE, JOAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS BANUCHI, JAIME           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS BONANO, MARILU           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS CANALES, EILEEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS CANO, MARY CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS CASTRO, MARIA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS COLON, ROSA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS CRUZ, VANESSA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS DE JESUS, DIEGO E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS DE JESUS, NICOLAS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS DE JESUS, RUFINO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS FIGUEROA, JOSE L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS HERNANDEZ, ADA J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS JUSINO, DEBBIEMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS LOPEEZ, KEISHLA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS MERCADO, JANICE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS MERCADO, JANICE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS MORELL, MARTA T          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS PACHECO, RAUL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS PIZARRO, NORMAN O        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS QUINONES, YAMIRIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS QUINONES, YAMIRIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS QUINONEZ, YAMIRIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS RAMIREZ, JERICA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS REYES, MIGUEL A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS ROBLES, EDNA B           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS ROBLES, EDNA B           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS RODRIGUEZ, JAHAIRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS RODRIGUEZ, LAUREENTH     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS RODRIGUEZ, NICOLAS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS ROSA, GLORIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS ROSA, IRIS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS SANES, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS SOTO, EDUARDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS TRAVIESO, GIOVANNIE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS VELEZ, EDGARDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS VELEZ, JULIO I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENS VERGARA, ANTHONY M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENT COLON, ALLEN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENT COLON, ALLEN JOSE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENT CRUZ, MARIA T.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENT CUADRADO, IVONNE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENT RIVERA, EDELINDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRENTS VILLARINO, SANTIAGO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, AURORA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6636 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1637 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ., AMADOR                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ABAD, DANIA A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ABALADEJO, ALBERT        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ABREU, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ABREU, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ABREU, YASHIRA MARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACABEO, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, AMADO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, ANTHONY J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, AURA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, BETZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, CARLOS E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, CRUZ NOEMI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, EDGAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, EDITH E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, ELYMAR E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, HECTOR E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, HECTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, IRIS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, IRWIN A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, JUAN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, LENNYS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, MAGDALENA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, MARIA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, MAYRA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, MIRTA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, MYRTELINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, NYDIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, PEDRO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, ROLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, WILSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, YAIMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACEVEDO, YARELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACOSTA, ADA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6637 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1638 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ACOSTA, ALBENICK         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACOSTA, ALFONSO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACOSTA, ASTRID L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACOSTA, CARMEN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACOSTA, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACOSTA, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACOSTA, ILIA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACOSTA, JUANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACOSTA, LESLIE ANN.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACOSTA, LINAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACOSTA, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACOSTA, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACOSTA, WILEMIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACOSTA, WILEMIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ACOSTAS, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADAMES, ADLIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADAMES, ADLIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADAMES, ADLIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADAMES, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADAMES, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADAMES, SONIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADORNO, ANGIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADORNO, DINORA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADORNO, GUMERCINDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADORNO, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADORNO, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADORNO, JOSEFINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADORNO, KEILA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADORNO, LYDIA MARIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADORNO, MARIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADORNO, MARIELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADORNO, MARTA B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADORNO, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADORNO, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADORNO, WILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADORNO, YESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ADROVER, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AFANADOR, JASMINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGOSTINI, JOSUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGOSTINI, JOSUE D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGOSTO, DAVIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGOSTO, DENNISE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGOSTO, DIMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGOSTO, JANET R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGOSTO, JANET R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGOSTO, LILAENID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGOSTO, LILAENID E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGOSTO, RAFAEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGOSTO, VIGINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6638 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1639 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES AGRONT, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGUAYO, MARISEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGUAYO, ZULLEY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGUIAR, IRSA DE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGUILAR, SUJEIL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGUILU, DEBORAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGUILU, DEBORAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGUILU, NAHIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AGUIRRE, LILLIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AHEDO, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALAGO, WILNELYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALAMEDA, EDWIN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALAMO, BETZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALAMO, KAMALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALAMO, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALAMO, PEDRO A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALAMO, ROLANDO O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALAMO, SHEYLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALBALADEJO, LUZ E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALBARRAN, MELQUIADES     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALBERTORIO, BLADIMIR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALBERTORIO, HERIBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALBERTORIO, REINALDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALBERTY, ALI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALBINO, JOSE O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALBIZU, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALBIZU, XIOMARA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALCALA, RUTH E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALCAZAR, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALCAZAR, LUZ N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALDARONDO, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALEJANDRO, CARLOS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALEJANDRO, ILEANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALEJANDRO, JENNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALEMAN, DELMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALEMAN, DELMA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALEMAN, EDNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALEMAN, ELBA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALEMAN, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALEMAN, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALEMAN, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALEMAN, NILSA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALEQUIN, KEILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALEQUIN, REINALDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALEQUIN, SYLVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALERS, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALEXANDRINO, MAX A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALFONSO, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALGARIN, DIANA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6639 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1640 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ALGARIN, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALGARIN, LEYCHAMARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, ABDEL L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, ABRAHAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, ANA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, CLYDE O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, ELIBETH M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, ELSA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, ELSIE YADIRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, IRIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, LYMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, LYMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, MAGDA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, MIRIAM V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, NICHOLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, OMAR A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, PEDRO M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, PIER A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, SHEILA G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALICEA, WANDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALIER, JOSE E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALMEDINA, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALMEDINA, ZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALMESTICA, ZULAIKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALMODOVAR, CARMEN D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALMODOVAR, CARMEN D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALMODOVAR, CHRISTIAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALMODOVAR, CRISTINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALMODOVAR, CRISTINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALMODOVAR, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALMODOVAR, HILDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALMODOVAR, JUAN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALMODOVAR, JUAN R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALMODOVAR, JULIO C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALMODOVAR, NICKOLE M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALMODOVAR, WILNELIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALSINA, ELBA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALSINA, JORGE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALSINA, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALTIERI, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6640 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1641 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES ALVARADO, ALEJANDRO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, ANTULIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, AURYMIL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, CARMEN A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, CARMEN M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, CLARISOL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, CLARISOL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, DAISY E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, DILCIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, DORIS E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, ELBA A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, GABRIEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, GABRIEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, GLADYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, GLADYS J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, GUILLERMINA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, IVETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, JOSE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, KIMBERLEY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, LEE A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, LILLIANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, LOURDES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, LUISA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, LUZ H           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, LUZ H           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, LUZ I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, MAREL J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, MAREL J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, MARIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, MARIA D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, MARIA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, MARIA I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, NITZA CELESTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, NITZA J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, NOEMI           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, NYDIA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, OMAR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, OSCAR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, RAFAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, ROSA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, ROSA A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, SANDRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, SANDRA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, SANDRA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, SONIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, SONIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, VICTOR J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, VIRGEN D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6641 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1642 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES ALVARADO, WALTER A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVARADO, WILLEYSHKA T.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, ASUNCION         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, CARMEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, CARMEN D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, EDWIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, ESTEBAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, HECTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, HECTOR L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, ILUMINADA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, IVETTE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, JESSICA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, KARLAMARIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, LARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, LUCY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, LYMARIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, NELLIE Y.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, NELSON           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, PABLO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, ROGELIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, SHAILA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, SHAILA E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, VANESSA V        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, VANESSA V.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, VICTOR I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, VICTOR LUIS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, VIVIANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, WANDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVAREZ, YIMARA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ALVERIO, NILDA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AMADOR, ELIEZER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AMADOR, ELIEZER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AMARO, ANGEL L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AMARO, MARIA DEL C        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AMARO, NATIVIDAD          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AMARO, SAMUEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AMEZQUITA, ZULMA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AMIGO, MARIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AMIGO, MARIA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ANAYA, CARLOS R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ANDUJAR, ANA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ANDUJAR, FREDDIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ANDUJAR, HILDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ANDUJAR, JESUS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ANDUJAR, LUIS A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ANDUJAR, MIGUEL D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ANTIGUA, ERIC             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6642 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1643 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ANTUNA, ADIANES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, AIDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, ANNA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, BARBARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, CINTHIA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, DALILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, ELIUD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, ENID N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, FRANCISCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, HILDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, IRIS N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, IRIS N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, ISABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, JOMIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, JOSEFINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, JOSEFINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, LUISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, MARIA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, MARIA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, MIRTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, RAMON L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, SANTOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES APONTE, SONJA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AQUINO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AQUINO, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AQUINO, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AQUINO, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AQUINO, MICHAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AQUINO, MICHAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AQUINO, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARAGONES, ISMAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARAGONES, LISSETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARBELO, BARBARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARCE, ANTHONY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6643 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1644 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES ARCE, ASTRID              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARCE, CARLOS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARCE, DIANA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARCE, GRETCHEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARCE, JESSICA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARCE, JORGE L.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARCE, LIZA MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARCE, LUCILLE E.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARCE, NYDIA M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARCE, TAMMY               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARCELAY, AIDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARCHEVAL, JUAN E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARCHEVAL, MARIA DEL R     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARCHEVAL, MARIA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARCHILLA, SOL A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARENAS, IDALIA A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AROCHO, ANGEL J.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AROCHO, ELSA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AROCHO, LILIBETH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AROCHO, LISSETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AROCHO, MARIBEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AROCHO, SOL I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AROCHO, SONYA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AROCHO, TAMMY M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROCHO, LILIBETH         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, ALFREDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, BARBARA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, BLANCA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, CARLA A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, CARMEN L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, EDWIN R.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, ERNESTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, ETHEL M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, FRANCISCO ANGEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, HIRAM             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, JAIME LUIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, JUAN A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, LAURA A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, LUIS A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, LUIS M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, LUIS M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, MARLYN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, MIGUEL ANGEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, MILAGROS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, NILSA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, REYES             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, RUBEN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, VANESSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6644 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1645 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ARROYO, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, XAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, YAIRAIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARROYO, ZULMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARUELO, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARVELO, LIZZETTE C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARZOLA, DAVID J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARZOLA, HOMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARZOLA, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARZOLA, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARZOLA, RUDESINDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ARZOLA, RUDESINDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ASENCIO, LUIS JOSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ASTACIO, DOMINICK J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ASTACIO, MARIO ANTONIO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ATANACIO, ABIMAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ATANCES, JACKELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ATANCES, JACKELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AUGUSTO, PEDRO LUIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AUGUSTO, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVALO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVALO, GUILLERMO E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVELLANET, GRACE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVELLANET, GRACE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILA, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILA, PEDRO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILES, ALEXANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILES, ANGEL M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILES, AUREA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILES, BRENDA LIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILES, DEBRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILES, DEBRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILES, EVA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILES, HENR Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILES, MIRSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILES, MIRSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILES, RAUL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILES, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILES, SANDRINET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILES, VICTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AVILES, YAMILY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, AIDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, AURELIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, CARLOS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, CINDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, DAVID J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, DOMINGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, DOMINGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1646 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES AYALA, EULOGIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, FRANCISCO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, GLORIBED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, GLORIBED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, GLORIBED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, HILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, IDA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, MAGDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, MARIA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, MARIA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, OLGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, ROSA J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, SOL M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, TERESA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, YADIRA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYALA, ZAIRY A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AYES, ALIMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AZIZ, ROSALYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AZIZ, ROSALYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES AZIZ, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BACHIER, FIORELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BACO, MARIA DE LOS A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BADEA, MARIA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BADILLO, RAMONITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, ANGEL I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, DIYANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, EDUARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, GLORIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, GLORIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, HECTOR R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, ISRAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, IVETTE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, JAIME              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, JEANMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6646 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1647 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES BAEZ, JESELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, JONELYS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, JOSUE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, LILLIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, LOREN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, LOURDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, MARIA DEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, MARIA DEL R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, MARIA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, MARTHA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, MARTHA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, MAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, MAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, MIOZOTIS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, SALVADOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAEZ, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAGUE, CHRISTIAN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAGUE, ELLIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BALTRUSIS, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BALTRUSIS, CARLOS R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BALTRUSIS, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BANREY, JOSE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BANREY, JOSUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARAJAS, ARICK           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARBOSA, CYD MARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARBOSA, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARBOSA, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARBOSA, ISMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARBOSA, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARBOSA, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARBOSA, WANDA Z.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARRETO, AMANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARRETO, ANGEL I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARRETO, BRENDA LIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARRETO, DENIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARRETO, ELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARRETO, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARRETO, MAGALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARRETO, MAGALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARRETO, NELIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARRETO, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARRETO, ZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARRETO, ZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARRETO, ZILKIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6647 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1648 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES BARRIERA, ELISEO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARRIOS, FRANCES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARROSO, KATHIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BARROSO, KATHIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BASCON, MARCELINO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BATISTA, CARMELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BATISTA, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BATISTA, LEXIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BATISTA, MAXIMO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAUZA, ESMERALDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAUZA, MARIA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAYRON, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BAYRON, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BELLO, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BELTRAN, ANGELICA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BELTRAN, BRENDALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BELTRAN, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BELTRAN, JUAN G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BELTRAN, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BENGOCHEA, WANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BENIQUEZ, MAYRA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BENITEZ, ELBA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BENITEZ, HILDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BENITEZ, LEONEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BENITEZ, MARIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BENITEZ, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BENJAMIN, RAIZA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BENVENUTTI, BRINELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERIO, JOSE G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERLINGERI, YAZMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERLY, NESTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERLY, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERMUDEZ, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERMUDEZ, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERMUDEZ, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERMUDEZ, LYNNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERMUDEZ, MIGDALI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERMUDEZ, MIGDONIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERMUDEZ, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERMUDEZ, RUTH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERNABE, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERNARD, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERNARD, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERNARD, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERNARD, TERESITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERNARDI, MICHELLE M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, ADA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, ALEXANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, ALEXIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1649 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRES BERRIOS, ALVIN G           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, ALVIN G.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, ANGEL LUIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, AXEL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, CARMEN I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, DAISY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, DAVID             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, EDGARDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, HECTOR L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, HILARIO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, ISABEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, ITZA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, JEANNETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, JESUS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, JOSE E            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, JOSE H            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, JOSE R.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, LAURA E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, LEONARDO J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, LUIS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, MARIA DE LOS A.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, MARIBEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, MIGUEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, MIRIAM M.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, MYRNA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, MYRTELINA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, NADIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, NANCY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, WILDALIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, WILMARIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, WILZARIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, YANIRA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERRIOS, YOLANDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERROCAL, CARLOS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERROCAL, CORALYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERROCAL, HERIBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERROCAL, MARIA C.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERROCAL, MARIA C.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BERROCAL, NILDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BETANCOURT, EDGARDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BETANCOURT, EDGARDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BETANCOURT, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BIANCHI, JONAS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BILLOCH, ROBERTO V         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BIRRIEL, ALEX              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BIRRIEL, IRIS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BISBAL, JAVIER             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BLANC, HILDA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BLANCO, CARMEN DELIA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6649 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1650 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRES BLANCO, JOSE M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BLANCO, RAFAEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BLONDETT, HILDA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BOBYN, JUAN                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BOBYN, JUAN                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BOGUE, CHRISTIAN A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONES, EDGARDO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONES, LUIS E.             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, ANA L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, ANGEL A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, ANGEL D.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, BRENDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, CARMELO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, CARMEN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, CARMEN G          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, CATHERINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, CATHERINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, ELBA N.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, FRANCISCO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, FRANCISCO J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, JANETTE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, JENNYFER MYRIAM   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, JOHANNA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, JOSE M.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, LILLIAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, LUIS A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, LUIS A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, LYDIA E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, MARIA D           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, MARYSET           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, MELISSA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, MIGUEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, NORMA R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, NORMA R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, NYDIA E.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, PEDRO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, RAUL R            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BONILLA, TAYMARIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORDOY, ABIGAIL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORGES, AIDYL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORGES, LUIS R             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORGES, VICTOR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORGES, WANDA I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORGES, WANDA I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORRERO, BRENDA I.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORRERO, CAMILISSE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORRERO, EDNA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORRERO, GLADYS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORRERO, GLORIA N          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6650 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1651 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES BORRERO, HAYDEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORRERO, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORRERO, MARIA V.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORRERO, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORRERO, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORRERO, ORPHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORRERO, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORRERO, RUTH E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORRERO, TAMARA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BORRERO, THOMAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BOSQUE, ANA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BOSQUES, LUIS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BOUGAL, NILSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BRACERO, DIONISIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BRACERO, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BRACERO, YARITZA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BRANA, LIZA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BREBAN, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BRIGNONI, REGINALD       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BRITO, YANEIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BRUCELES, MYRNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BRUCELES, MYRNA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BRUNET, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BRUNET, VILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BRUNO, DHARMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BRUNO, MIRIAM Z          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BRUNO, ZENAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BRUNO, ZENAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGO, ARNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, ANA D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, ANA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, ANDREITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, ANGELA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, ARNALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, AXEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, CARLOS D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, CARMEN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, CARMEN V.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, CATHERINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, DESIREE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, EDNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, EDNA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6651 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1652 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES BURGOS, EMISAEL O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, EVA N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, LISETTE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, LISSETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, LUIS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, MARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, MARIA DE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, NILSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, NIXALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, ODALIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, ODALIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, PEDRO P          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, RAMON A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, TAMMY T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, YAHAIRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, YASHIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, YASHIRA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, YINO R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BURGOS, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BUTLER, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BUTLER, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES BUTLER, MIGUEL ANGEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABALLERO, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABALLERO, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABALLERO, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABALLERO, RAMON O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABAN, BETHZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABAN, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABAN, JANICE D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABAN, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABAN, JUDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABAN, LILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABAN, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABAN, MONICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABEZUDO, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABRERA, AMAURY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABRERA, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABRERA, FLORINDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABRERA, GLORIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABRERA, GLORIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABRERA, HILDA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6652 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1653 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRES CABRERA, ISRAEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABRERA, LUIS A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABRERA, LUIS A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABRERA, MERCEDES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABRERA, MERCEDES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABRERA, RAQUEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABRERA, RUBEN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABRERA, WILFREDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABRET, CARLOS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CABRET, CARLOS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CACERES, LIVIAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CACERES, NATALIA DEL MAR   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CACERES, SANDRA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CADIZ, IDELIA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CADIZ, WILMA M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAEZ, CARMEN L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAEZ, CARMEN L.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAEZ, MARIA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAEZ, MYRNA L              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAEZ, MYRNA L              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAJIGAS, BRENDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAJIGAS, JULIO RAFAEL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CALAFF, MARIA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CALDERON, ALBERTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CALDERON, ANA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CALDERON, CARLOS M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CALDERON, ELAINE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CALDERON, ELAINE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CALDERON, HECTOR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CALDERON, HECTOR A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CALDERON, JESUS F.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CALDERON, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CALDERON, MILAGROS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CALDERON, RAFAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CALDERON, WILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CALDERON, YENAIRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CALERO, CARLOS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CALVO, RENIER O            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, ALMA N            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, CARMEN T.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, ENID              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, HECTOR            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, JOSE A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, LUIS A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, LUZ C.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, LYDIA E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, MANUEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, MARIA J           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, MARIA L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6653 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1654 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRES CAMACHO, MARISELA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, OMAYRA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, SAMUEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, VICTOR N.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, YOLANDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, YOLANDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, YOLANDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMACHO, ZULEYKA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMARENO, LUZ M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMPIS, WALLY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMPOS, LEONARDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMPUSANO, ESPERANZA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMPUSANO, ESPERANZA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMPUSANO, MAGDALENA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMPUSANO, MAGDALENA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAMPUSANO, SONIA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CANCEL, EDWIN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CANCEL, ELOINA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CANCEL, LIDUVINA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CANCEL, NANNETTE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CANCELA, ANGEL L.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CANCELA, GEORGE J.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CANDELARIA, ANA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CANDELARIA, ANA R          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CANDELARIA, DESIREE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CANDELARIA, DINAIDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CANDELARIA, MIGDALIA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CANDELARIA, MIGDALIA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CANDELARIO, ALFREDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CANDELARIO, MARIA DEL C.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CANTRES, WANDA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAPA, HERIBERTO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAPIELLO, JOSHUA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAPIELLO, RENE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAPPIELLO, DIANNA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAQUIAS, CARMEN DEL R      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAQUIAS, MARIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAQUIAS, OSCAR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, AIDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, ANDRES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, AXEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, AXEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, EVANGELISTA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, FELICITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, FELICITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, GILBERT         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, ILEANA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, JERY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, JOSE A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1655 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES CARABALLO, JOSE D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, JOSE D.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, LOURDES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, LUIS M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, LUZ D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, LUZ D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, MAILYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, MARIA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, MAYRA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, MERIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, MILDRED        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, NELLY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, NELLY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, NOEMI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, RADAMES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, RUTH E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, SARYNES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, WILLIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, YADIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, YASMIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARABALLO, YASMIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARASQUILLO, ANGEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARDENALES, ANTONIO L     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARDENALES, DAMARIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARDENALES, DAMARIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARDENALES, SUJEY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARDONA, CARMEN M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARDONA, DELIES S         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARDONA, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARDONA, LISSETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARDONA, LISSETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARDONA, TRINIDAD         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARDONA, WILMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARDONA, YARITXA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARDONA, YARLINE M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARLE, MIGUEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARLO, GABINO J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARLO, IVETTE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARLO, LUIS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARMONA, DANIEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARMONA, JOSE M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARMONA, MARIA E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARMONA, ROGELIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARMONA, VILMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARPIO, ELBA L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASCO, MERCEDES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASCO, YOLANDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASQUILLO, CARLOS C    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASQUILLO, CARLOS H.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1656 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES CARRASQUILLO, CELIETTE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASQUILLO, DIOSELINA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASQUILLO, DIOSELINA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASQUILLO, EVELYN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASQUILLO, FRANCISCO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASQUILLO, JO ANN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASQUILLO, LUIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASQUILLO, LUIS A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASQUILLO, LUIS J.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASQUILLO, LUZ I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASQUILLO, MIGUEL A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASQUILLO, WALESKA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASQUILLO, WALESKA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRASQUILLO, YANIRA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRAU, MARINA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRAU, MARINA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRER, MARIA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRER, MARIA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRERAS, BELINDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRERO, CARLOS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRERO, CARLOS L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRERO, LUZ Z.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRILLO, FE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRILLO, FE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRILLO, JONATHAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRILLO, MYRIAM E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRION, ANGELA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRION, EDWIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRION, JESSICA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRION, JOEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRION, OMAYRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRION, OMAYRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRION, RICARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRION, ROLANDO J.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRION, TRINIDAD         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRION, VICENTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRION, ZENNY E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRUCINI, ANTOINETTE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARRUCINI, ANTOINETTE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARTAGENA, ANA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARTAGENA, ANA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARTAGENA, BETSY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARTAGENA, DENISE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARTAGENA, ELVIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARTAGENA, JULISSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARTAGENA, LUZ M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARTAGENA, MADELINE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARTAGENA, MARIA D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARTAGENA, MARIA V.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6656 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1657 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES CARTAGENA, MARILYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARTAGENA, MARISOL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARTAGENA, MARTA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARTAGENA, MYRIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARTAGENA, PAULA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARTAGENA, SOLEIMY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARTAGENA, WILMA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CARUCINI, ANTOINETTE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASABLANCA, MAYRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASABLANCA, MAYRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASANOVA, ESTHER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASAS, JOHANNA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASIANO, ARCANGEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASIANO, AWILDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASIANO, CARLOS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASIANO, CARLOS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASIANO, CARMEN L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASIANO, CRISTINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASIANO, ELVIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASIANO, KEISHLA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASIANO, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASIANO, LUZ A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASIANO, SONIA N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASIANO, SONIA N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASIANO, VANESSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASIANO, VANESSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASIANO, WANDA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASILLAS, JULIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASILLAS, RENE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTA, DULCE M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTAING, ADA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTAING, ENRIQUE A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTANER, ANGEL A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTELAR, AGUSTIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTELLANO, ANA ANGELES   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTELLANO, CARLO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTELLANO, CARMEN E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTELLANO, LOURDES M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTELLANO, LOURDES M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTELLANO, WILSON        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTELLAR, LINA G.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTILLO, ADELINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTILLO, ADELINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTILLO, ANTHONY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTILLO, BETZAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTILLO, BEZLYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTILLO, ELIZABETH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTILLO, ELIZABETH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTILLO, GUILLERMO J     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6657 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1658 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES CASTILLO, HILDA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTILLO, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTILLO, MARIA DEL C.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTILLO, MILDRED M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTILLO, MONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTILLO, OLGUIMARI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTILLO, OSVALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTILLO, WALDEMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, ANTOLIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, EHIDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, JASON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, JAZMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, LEISHLA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, LUIS O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, MARA J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, MARTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, NAPHIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, ROBIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, SANTY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, SUSANA B.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, SUSANA B.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, WENDEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRO, YESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASTRODAD, MARILYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASUL, ALMA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASUL, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASUL, JENISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASUL, JENISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASUL, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CASUL, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CATALA, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CATALA, MARIA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CAZARETTE, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CECILIO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CEDENO, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CEDENO, LUZ A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CEDENO, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CENTENO, ANTONIO J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CENTENO, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6658 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1659 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES CENTENO, DAISY J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CENTENO, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CENTENO, DILMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CENTENO, DOMINGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CENTENO, JESSICA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CENTENO, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CENTENO, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CENTENO, REINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CENTENO, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CENTENO, REYNALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CEPEDA, CARMEN R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CEPEDA, JOEL O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CEPEDA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CEPEDA, MONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHACON, KARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHAMORRO, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHAPARRO, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHARDON, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHARDON, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHARDON, JOSE ENRIQUE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHAVEZ, LEONARDO E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHERVONI, MARIEVELYN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHERVONI, RAFAEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHERVONI, VIVIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHERVONI, VIVIAN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHERVONI, VIVIAN I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHEVERE, ELSIE NILDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHEVERE, OSCAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHICO, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHICON, EMMANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHINEA, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHINEA, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CHINEA, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CIARALLI, JEANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CIARALLI, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CIARALLI, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, AIDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, ANAMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, ANAMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, ANECTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, ANGEL R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, DARVING         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, DARVING         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, DOMINGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, EFIGENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, EVELIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, EVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, EVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6659 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1660 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES CINTRON, EZEQUIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, FELIX L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, GUILLERMO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, HOMAR E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, JOAQUIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, JOHN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, JOHNNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, JOSUE R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, JUAN C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, JUAN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, LISSETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, LISSETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, LOURDES I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, MARIELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, MELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, MONICA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, RAMONITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, ROSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, SARAHI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, SHEILA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, SHIRLEY M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, TOMAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CINTRON, XIOMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CLASS, ASHLEY A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CLASS, IRENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CLASS, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CLASS, SOL L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CLASS, SOR AUREA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CLAUDIO, EMILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CLAUDIO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CLAUDIO, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CLAUDIO, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CLAUDIO, REBECA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CLAUDIO, WILSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CLEMENTE, SONIA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COBLES, MARIA T.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLL, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLADO, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLADO, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, ADRIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, AMILCAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6660 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1661 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES COLLAZO, BIATRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, CARLOS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, ERNESTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, GENIVERA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, JOSE G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, LAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, MARIA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, MARIA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, MICHELLE I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, MILTON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, PAULINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, PAULINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, PAULINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, SANDRA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, VICTOR S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLLAZO, WILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, ABIGAIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, AIDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, AIDA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, ANGEL G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, ANGEL R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, ARACELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, BARBARA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, BERTHA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, CARLA T.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, CARLOS G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, CARMEN E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, CATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, CESAR A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, CIRILO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6661 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1662 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES COLON, CRISANTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, CRISTABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, CRISTOPHER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, CRUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, DENNIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, DOLLY M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, DORCA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, EDGAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, EDNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, ELIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, ELIEZER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, EMILIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, EMILIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, EMILIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, ESTHER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, FABIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, FAVIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, FERMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, GILSENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, GINESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, GLADYS I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, GLADYS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, GLORIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, GLORIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, GLORIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, HECTOR G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, HECTOR R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, HILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, HIRAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, IDALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JEANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JINAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JINAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6662 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1663 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES COLON, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JORGE LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JORGE LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JOSE G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JOSE G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JOSE S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JOSUE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JUAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JUANITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JULIO CESAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, JULIO F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, KAREN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, KEISHA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, KEISSY Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, KRYSTAL S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LEONEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LILLIAM I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LILLIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LIMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LOURDES J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LOYDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LUIS ALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LUIS F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LUIS R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LUISA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LUZ L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LUZ R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LUZ V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, LYNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MAGDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MAGDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MAGDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MARCOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MARIA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6663 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1664 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES COLON, MARIA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MARILYN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MELANIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MELISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MELVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MELVIN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MILAGROS V.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, MYRIAM DE J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, NARCISO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, NARCISO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, NELSIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, NIMIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, NYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, NYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, OLGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, OLGA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, ORLANDO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, OSCAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, PEDRO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, PEDRO L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, REINA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, REINA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, REINALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, RUBEN DARIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, SAMIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, SAMIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, SANDRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, SANDRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, SIGFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, TANIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6664 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1665 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES COLON, VALETINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, VILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, WINDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, YACELENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, YARIBELL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, YARIELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, YARIELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, YESENIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, ZILKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, ZILKA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON, ZILKA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLON,ALBERTO J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLONDRES, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COLONDRES, VIVIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SUSSETTE
TORRES COLORADO, HECTOR J.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONCEPCION, CARMEN D     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONCEPCION, DESERIE M.   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONCEPCION, EDDIE R      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONCEPCION, EDGARDO A.   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONCEPCION, ELSIE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONCEPCION, ERWING       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONCEPCION, JOSE M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONCEPCION, KENNETH      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONCEPCION, LANE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONCEPCION, MARTA I      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONCEPCION, PEDRO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONCEPCION, WANDA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONCEPCION, ZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONDE, AZIZA M.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONDE, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONDE, ELSA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONDE, FRANCISCO J       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONDE, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONDE, YARILIS           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONTRERAS, FRANCES A.    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONTRERAS, LISSETTE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONTRERAS, MINERVA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONTY, OLFA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CONTY, RUTH E            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CORA, OSVALDO            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CORA, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CORA, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CORCHADO, ABIGAIL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CORCHADO, GUADALUPE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CORDERO, AMELIA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES CORDERO, DAMARIS I       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6665 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1666 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES CORDERO, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDERO, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDERO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDERO, GUSTAVO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDERO, HILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDERO, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDERO, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDERO, JEREMY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDERO, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDERO, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDERO, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDERO, LUCRESIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDERO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDERO, ROSIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDERO, WILLIAM O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDOVA, ELBA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDOVA, LISSETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDOVA, LISSETTE T.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORDOVAS, ELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES COREANO, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORIANO, CONRADA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORIANO, XIOMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORNIER, JAIME M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORONADO, CARMEN A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORONADO, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORONADO, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORRADA, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORRADA, GLORIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, ANNA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, ANTONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, CARLOS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, CARLOS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, CARLOS J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, ERIC M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, JOE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, MAGALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, MARISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, PEDRO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, SANDRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, SONIA N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORREA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORTES, ASBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CORTES, ASUNCION         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6666 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1667 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES CORTES, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, ELBA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, ESTHER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, GLENDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, GRECIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, JOSE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, MANUELITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, MILDRED I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, REBECA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, ROSANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, SUSETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTES, SUSETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTEZ, CRUZ C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTEZ, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CORTINA, JOAQUIN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COSME, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COSME, BEATRIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COSME, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COSME, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COSME, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COSME, JARILUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COSME, JARILUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COSME, KIARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COSTA, CESAR J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COSTA, JULIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COSTA, JULIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COTTO, CARMEN I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COTTO, CARMEN L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COTTO, CAROL L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COTTO, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COTTO, GLENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COTTO, GLENDA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COTTO, JOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COTTO, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COTTO, LUIS R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COTTO, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES COUVERTIER, GLORIA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRESPI, LIZZETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6667 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1668 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES CRESPO, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, CARMEN P         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, DAPHNE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, INGRID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, JUANITA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, MARICELYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, MAXIMINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, MAXIMINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, MAXIMINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, OCTAVIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, ROMUALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, URAYOAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRESPO, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ADA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ADINORATH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ADRIAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ADRIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ADRIANE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, AIDA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ANABELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ANGEL E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ANGEL J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ANTONIO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ASUNCION           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, BENITO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, BENJAMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, BONIFACIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, BONIFACIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, BRENDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, BRENDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, BRENDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, CARLOS E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, CARMELO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6668 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1669 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES CRUZ, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, CARMEN D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, CHRISTIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, DAFNY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, DAGMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, DAVID A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, DORIS N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, EFRAIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, ELBA A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, ELIEZER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, ELIEZER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, ELISA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, ELIUBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, EMMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, ERNESTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, FELIX L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, FLOR TAINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, FRANKLIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, GISSETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, GISSETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, GLENDA LIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, HENRY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, HILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, HILDA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, IDALIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, IRMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, IRMA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, ISMAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, IVAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, JACKELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, JACKELYN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, JACQUELINES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, JANETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, JANNY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, JAVIER J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, JAVIER J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, JERRY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, JESUS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, JESUS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES CRUZ, JINMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6669 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1670 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES CRUZ, JOANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, JOSE D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, JOSE I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, JUAN E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, JULIAN JR.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, KAREN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, KARINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, KARLA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, LENID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, LEYDA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, LILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, LUCIAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, LUCIAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, LUIRMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, LUIS AMERICO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, LUIS N.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, LUIS R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, LUISA F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MAGALY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MAGDA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MARELY M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MARIA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MARIA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MARIA DE LOS A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MARIA DEL ROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MARIA DEL ROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MARIA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MARIANGELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MAYBELLINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MIGUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MIGUEL C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MOISES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, MYRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, NAHIOMY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6670 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1671 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES CRUZ, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, NILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, NILDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, NOEMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, NOMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, NORMA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, OLGA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, OMAR A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, OSCAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, RADAMES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, RAFAEL J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, RAMON A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, RAMONITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, REYNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, RICKEY J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ROBERT             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ROLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ROSA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ROSA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ROSA N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ROSALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ROSALYNN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, RUTHIRIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, SANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, SANDRA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, SANDRA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, SARA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, SUAEL O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, TIFFANY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, VILMA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, WANDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, WANDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, WILDALYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, YAHAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ZORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZ, ZORALIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZADO, ARTURO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CRUZADO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6671 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1672 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES CRUZADO, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUADRADO, JANET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUADRADO, MARCELINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUADRADO, MARIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUADRADO, MAXIMINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUADRADO, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUADRADO, RAHDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUADRADO, RAQUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUADRADO, YAIRA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUBELO, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUBERO, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUBERO, GLORIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUBIAN, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUESTA, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUEVAS, ANNIE I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUEVAS, ANNIE I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUEVAS, JANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUEVAS, JENNIFER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUEVAS, JOSE R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUEVAS, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUEVAS, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUEVAS, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUEVAS, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUEVAS, MARISELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUEVAS, ZOELYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CURBELO, NELIDA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CURET, ERICK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES CUSTODIO, YOHMARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVID, AIDA B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, AIDA B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, ANGEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, ARTURO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, BEATRIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, BEATRIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, BEATRIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, DIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, DINORAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, FREDDIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, GILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, HERNAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, HILDELISA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, JEINCY M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, JESSICA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, JESSICA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, JOSE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, KAREN L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6672 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1673 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES DAVILA, KAREN LEE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, LAIZA Y           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, LUZ               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, LUZ V             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, MARGARITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, MARGARITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, NAYLA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, NAYLA I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, RUBEN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, SUGEIL J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, VICTOR M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, VIVIANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, WILLIAM J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVILA, YARIS V           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVIS, ROBERTO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DAVIS, ROSARITO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE ALVIRA, PAULA IVETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE ARCE, JESUS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE BAEZA, HILDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE CASTRO, DAISY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE COLON, ZORAIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE GOMEZ, HILDA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE GRACIA, BRYAN I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE GRACIA, ISMARIELLI     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE GUZMAN, ENEIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE HERNANDEZ, GLORIA E.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE HOSTOS, MIGDALIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, ABNER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, ALICIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, ANA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, ANGEL ANTONIO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, ANGEL G         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, BEATRIZ         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, BETHZAIDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, BETHZAIDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, BRUNILDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, CARMEN A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, CARMEN A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, CHRISTOPHER     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, DIANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, DOLORES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, DOMINGO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, EDWIN A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, EFRAIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, ELIZANDRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, EUNICE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, FELIPE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, FELIPE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, GABINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1674 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRES DE JESUS, GLADYNELL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, GLADYNELL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, GLADYNELL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, HERIBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, IRIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, IRIS M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, ISRAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, JANICE ZOBEIDA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, JASHLYMAR        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, JASON            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, JOSE A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, JULIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, JULIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, LARRY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, LUIS A.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESÚS, LUIS A.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, LUIS ALFREDO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, LUIS E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, LUIS R.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, MAGALI           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, MARGARITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, MARIBEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, MARITZA I.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, MELBA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, MICHELLE M.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, MIGUEL A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, PEDRO D          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, PEDRO J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, PEDRO J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, RADAME           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, RAFAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, RAMONITA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, RAUL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, REBECCA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, RICHARD          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, ROBERT           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, ROSA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, TOMAS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, VIVIAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, YOLANDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS, ZORAIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE JESUS787, MILAGROS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE LA CRUZ, NESHVIE D      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE LA TORRE, RONALD        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE LA VILLA, MIRELSA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE LEON, AIDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE LEON, AIDA L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE LEON, AUREA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6674 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1675 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRES DE LEON, JESUS M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE LEON, KERMTH            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE LEON, LETICIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE LEON, MARIA DE LOS A    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE LEON, MICHAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE LEON, NAYDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE LEON, ZAIDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE LLEGUAS, DEMESIO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE LOPEZ, LOURDES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE LOS SANTOS, JOSUE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE LOS SANTOS, LEONARDO.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE MOYA, KAROLY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE ORTIZ, ELSIE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE RIVERA, ZULMA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE ROLDAN, WANDA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE SANCHEZ, IRMA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE SANTIAGO, ANA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE SANTIAGO, LIDIA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE TORRES, EDA O           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE VEGUILLA, NOEMI         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE VEGUILLA, NOEMI         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE ZAYAS, ROSA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE, JESUS RAUL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE, PEREDA ZORAYA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DE_JESUS, MIGUEL A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DEGRO, MIGUEL A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DEL HOYO‐SOLORZAN,         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
HECTOR R
TORRES DEL RIO, LYDIA E           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DEL RIO, NANCY             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DEL VALLE, ANGEL LUIS      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DEL VALLE, GRISSELLE       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DEL VALLE, JAVIER          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DEL VALLE, JOMARIE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DEL VALLE, JULIO           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DEL VALLE, KARLA M         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DEL VALLE, MARIA I         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DEL VALLE, MARIANSOL       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DEL VALLE, MARIANSOL       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DEL VALLE, MERCEDES        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DEL VALLE, NATIVIDAD       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DEL VALLE, RAUL            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DEL VALLE, RENE            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELBREY, GILBERTO          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELESTRE, MELISSA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELESTRE, MIRELIS          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, ADLIN Y           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, AMILCAR           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, ANA D             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6675 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1676 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRES DELGADO, ANA L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, ANIBAL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, ARNALDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, CARLOS E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, CARMEN M.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, CHELINDA L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, CHELINDA L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, DANNY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, EDWIN DOMINGO     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, ELIZABETH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, EVELYN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, EVELYN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, JESSICA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, JESSICA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, JOAN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, JOAN M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, JOSE E            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, JOSE F            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, JOSE F            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, JUAN R            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, LILLIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DELGADO, LOURDES           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
MARISELA
TORRES DELGADO, LUISA             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, MARITZA D         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, MARJORIE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, MARTHA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, MIGDALIA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, MIGDALIA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, NILDA             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, NORMA I           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, RAFAEL            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, RAFAEL A          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, RAPHAEL A         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, REBECA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, SAMUEL            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, SAMUEL            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, SARITZA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, SHEILAJ.          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, SONIA M.          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, SYLVIA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, SYLVIA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, SYLVIA MILAGROS   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELGADO, YOLANDA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELIZ, MIGUEL A            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DELVALLE, BARBARA M        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DETRES, PEDRO E            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DEYNES, RICHEL             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES DIANA, ADA I               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6676 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1677 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES DIANA, GRISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIANA, GRISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIANA, LIMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIANA, LUIS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, ADA R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, ADALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, ANGELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, ARMANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, BRIZEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, BRUNILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, BRUNILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, BRUNILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, CARLOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, CARLOS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, CARMEN D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, CAROL L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, CINTHIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, CISMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, DEBBIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, DENISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, EDGARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, EYLEEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, FELICITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, FELIX A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, FELIX R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, GERARDO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, GLADYS N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, GLENDA LIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, GRISELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, GRISELLE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, HIROHITO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, HUMBERTO R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, IDA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, IDALIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, JANET              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, JANETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, JEAN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, JORGE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6677 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1678 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES DIAZ, JOSE M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, JOSE O             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, JOSE R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, JUANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, JUANITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, JULIAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, JULIO A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, KALEBJOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, LILLIAM R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, LISSY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, LOURDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, LUIS D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, LUIS O             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, LUIS R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MADELINE IVETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MAREL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MARIA DEL C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MARIA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MARTA G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MERCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MICHELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MICHELLE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MIGUEL ANGEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MYRNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, MYRNA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, NANCY E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, NATALI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, NAYDA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, NORMA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, PABLO I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, PATRICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, PETRA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, RAMONA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, RAYMOND            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, RAYMOND            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES DIAZ, ROSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6678 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1679 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES DIAZ, ROSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, ROSA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, ROZANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, RUBEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, SANDY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, SHEILA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, SULEIKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, VERENICE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, VICENTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, VICTOR L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, VICTOR M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, VIRGEN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, VIRGEN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, VIVIANEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, XIOMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, YADIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, YASELLE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIAZ, ZUGEILY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DIEPPA, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DOMENECH, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DOMINGUEZ, AMALIE J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DOMINGUEZ, CARLOS O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DOMINGUEZ, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DOMINGUEZ, WILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DONES, EDWIN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DONES, EDWIN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DONES, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DOUGLAS, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DROZ, CARMELO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DROZ, MIRIAM Z.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DUARTE, EYLIN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DUCHESNE, JOYCE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DUMAS, JORGE I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DUPEROY, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DUPEROY, LUIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DURAN, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DURAN, NORMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DURAN, NORMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DURAN, NORMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DURAN, VIVIANNE G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES DURIEAUX, WANDALEEN D.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES ECHEVARIA, RAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES ECHEVARRIA, CARMEN D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES ECHEVARRIA, CONSTANCIA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES ECHEVARRIA, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES ECHEVARRIA, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TORRES ECHEVARRIA, FERNANDO H   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6679 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1680 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES ECHEVARRIA, HECTOR L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ECHEVARRIA, JAIMIERA I.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ECHEVARRIA, JAMIERA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ECHEVARRIA, JAVIER A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ECHEVARRIA, JOSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ECHEVARRIA, JUDITH C      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ECHEVARRIA, KAREN M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ECHEVARRIA, MARILYN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ECHEVARRIA, OLGA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ECHEVARRIA, REY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ECHEVARRIA, VICENTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ECHEVARRIA, WALBERT       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ECHEVARRIA, YOLANDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ELEUTICE, ANDRES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ELEUTICE, ANDRES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES EMMANUELLI, GISELLE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES EMMANUELLI, MIGUEL A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ENCARNACION, RAFAEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ERAZO, MAGALI             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESCALERA, MABEL J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESCALERA, MIGUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESCOBAR, ALBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESCOBAR, ALBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESCOBAR, ELIOT            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESCOBAR, ELIOT            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESCOBAR, FERNANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESCOBAR, JANICE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESCOBAR, YAHAIRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESCOBAR, YAHAIRA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESCRIBANO, ANA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESCRIBANO, LUIS E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESCUTE, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESPADA, DAVID             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESPADA, EDUARD            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESPADA, HORACIO A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESPADA, JOSE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESPADA, JOSE L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESPADA, NELSON            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESPADA, ODALYS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESPARRA, CARMEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESPINET, MARTA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESPINET, MARTA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESQUILIN, ANGEL L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESQUILIN, JOHANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESTELA, IRIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESTELA, IRIS A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESTEVES, ROSA B           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESTRADA, ARELIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESTRADA, ARELIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6680 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1681 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ESTRADA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESTRADA, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESTRADA, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESTRADA, LOURDES J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESTRADA, MARIELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESTRADA, MARIELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESTRADA, MERCYBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESTRADA, MIGNERIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESTRADA, NERIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESTRADA, ROSAURA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESTRADA, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ESTRONZA, VICTOR M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES EVELYN, MALDONADO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FAJARDO, NELIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FALCON, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FALCON, SHEILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FALERO, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FARIA, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FEBO, AUREA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FEBO, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FEBO, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FEBRES, CARLOS O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FEBUS, CARLOS G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FEBUS, JOSEPHINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FEIJOO, HECTOR F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELIBERTY, JOSUE I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, AGRIPINO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, ALBA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, AMELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, AUREA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, CARLOS L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, DARYNESS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, DORAIMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, EDGAR A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, GISELA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, GLADYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, GLORIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, GLORIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, GRISELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, HECTOR L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, HENRY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, IDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, IDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, IRIS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, IRMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6681 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1682 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES FELICIANO, JOSE JUAN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, JOSE M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, JOSE M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, JOSE RAMON     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, JOSELYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, JOSELYN M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, JOSELYN M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, KATHIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, KEILA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, LILLIAN I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, LILLY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, LILLY M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, LINNETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, LINNETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, LIZ A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, LUIS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, LUIS F         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, MARIA A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, MARIANO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, MARIANO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, MARIEL A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, MARTA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, MIGUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, MIGUEL A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, MIGUEL A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, MIGUEL A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, MOISES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, OSCAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, PEDRO JAVIER   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, RAFAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, ROSA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, SAMUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, SILVERIO L.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, WILBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, WILBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, WILBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELICIANO, WILFREDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELIX, ELIZABETH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELIX, LEIMARIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELIX, LEIMARIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELIX, LEIMARIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELIX, LUIS D             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELIX, MARITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELIX, NEMIAS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELIX, RAMON              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FELIX, XHAOMI C           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, AIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, AILEEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6682 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1683 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES FERNANDEZ, ANICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, BRENDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, CARLOS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, DEBORAH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, DEBORAH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, EDBLIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, EDBLIN R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, FEDERICO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, FELIPE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, IRIS Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, JANICET       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, JOSE B.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, JOSE R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, JOSEFA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, JOSEFA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, JUAN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, KATIA Z       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, LESLIE E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, LISETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, LIZAURIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, LIZAURIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, LYDIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, LYNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, MANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, MASSIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, NELSON J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, NYRMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, PILAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, RAQUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, RAQUEL R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, SOCORRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, VICENTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDEZ, WILLNELIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERNANDINI, CARLOS R.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERREIRA, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERRER, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERRER, BENIGNO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERRER, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERRER, DORIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERRER, JOSUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERRER, LORENZO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FERRER, LORENZO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIDALGO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIDALGO, MARCIAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIDALGO, YANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUERAS, ANA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUERAS, SHALOM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6683 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1684 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES FIGUEROA, ADA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, ANA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, ANGEL J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, ANTONIO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, AZALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, BENJAMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, CANDIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, CARLOS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, CARLOS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, DAISY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, DAPHNE I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, DARILIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, DOLORES E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, DOMINGO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, EDGARDO G.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, ELISEO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, EMIGDIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, ERNESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, FELIPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, FELIX A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, HAROLD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, HILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, JOEDDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, JOSE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, KAREN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, LEYLANIE M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, LILLIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, LUIS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, LUZ N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, MARI S.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6684 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1685 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRES FIGUEROA, MARIA DEL C      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, MARIA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, MARIA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, MARIA S.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, MARIELYS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, MARILYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, MATILDE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, MELAINE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, MELAINE N        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, MIGDALIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, MIGDALIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, MIGDALIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, MILTON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, MINERVA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, MYRTA A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, NELSON J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, NIURKA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, OSCAR            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, SARITA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, SONIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, TOMAS A.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, VIRGENMINA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, WANDIVETTE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, WILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, WILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, YESENIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, YESENIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, YOLANDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FIGUEROA, ZORAIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLECHA, CARLOS I.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, ADNERIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, ALBERTO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, CARMEN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, CECILIA DE LAS M   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, CESAR R            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, DIANE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, DIANE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, ELIEZER            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, FRANK R            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, FRANK R.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, IGDALIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, IRAIDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, IRIS               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, IRIS T             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, IRIS T             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, JACQUELYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, JAMALIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, JOSE J.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, JOSUE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6685 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1686 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES FLORES, LUIS D.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, LUZ C.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, LUZ I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, LUZ IDALIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, MARIBEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, MARY L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, MINERVA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, NILKA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, NILKA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, ROSA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, SERGIO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, SOL D             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, TANISHA LEE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, TERESA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FLORES, TERESA DE J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FOJO, ERIC M              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FOJO, MIGUEL A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FOJO, WILLIAM             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FONSECA, ASHLEY M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FONSECA, HECTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FONSECA, HECTOR L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FONSECA, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FONSECA, MARIA S          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FONSECA, MARIBEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FONSECA, SOILAINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FONT, ISABEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FONT, MARIA I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FONTAN, AWILDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FONTAN, MARTA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FONTANE, LIZBETH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FONTANEZ, BRENDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FONTANEZ, CARMEN NOELIA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FONTANEZ, FELIX G.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FONTANEZ, HILDA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FORTI, ELIS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FORTI, JOSE A             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FORTY, JOSE L             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRAGOSO, LINDA H          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRANCESCHI, LYDIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRANCESCHINI, IVAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRANCESCHINI, LUZ M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRANCESCHINI, MARIELY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRANCO, AIDA L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRANCO, BELKIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRANCO, DANIELLE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRANCO, FRANCIS D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRANCO, IRIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRANCO, JECILIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRANCO, MAYRA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6686 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1687 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES FRANCO, ZULMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRANCO,JOSTINIANO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRANQUI, NORMA H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRANQUI, SHARLEEN E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRANQUIZ, SOLEDAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRATICELLI, GLADYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRATICELLI, RAUL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRED, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FRESE, GUARIONEX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FUENTES, ADRIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FUENTES, ADRIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FUENTES, ADRIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FUENTES, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FUENTES, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FUENTES, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FUENTES, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FUENTES, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FUENTES, VICTOR J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES FUENTES, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GABRIEL, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GAGLIANI, RAPHAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ANTHONY
TORRES GALAN, WANDYSEL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GALARZA, ABIGAIL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GALARZA, ANA T           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GALARZA, ANA T           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GALARZA, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GALARZA, FERNANDO L      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GALARZA, KATHERINE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GALARZA, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GALARZA, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GALARZA, MINTIA I        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GALARZA, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GALINDO, RUPERTA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GALLOZA, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GANDULLA, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GARAU, GLADYSSA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GARAU, GLADYSSA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GARAY, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GARCED, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GARCIA, ADRIANA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GARCIA, ADRIANNA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GARCIA, ALEX A.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GARCIA, ALEYDA L         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GARCIA, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GARCIA, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GARCIA, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GARCIA, ANUBIS D         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES GARCIA, ARLENE I         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6687 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1688 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES GARCIA, ARNALDO J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, BASILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, BASILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, BLANCA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, BRENDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, DAMIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, DANNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, DELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, DENNISE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, DENNISE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, EDIMIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, EDNA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, EMIDEL M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, EMILIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, GLORIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, GLORIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, HARRISON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, HARRISON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, HIPOLITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JAIME E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JOAN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JOANNIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JOHANNA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JORGE LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JOSE F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JOSE LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6688 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1689 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES GARCIA, JOSE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JUAN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, JUANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, KEILA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, KELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, KHAREN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, LIZMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, LUIS F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, LUIS O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, LUZ I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, LYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, MARCOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, MARIA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, MAYRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, MERCEDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, MIGUEL R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, MILDELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, NELSON I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, NELSON LUIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, NIDIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, NILSA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, NILSA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, PABLO R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, PROVIDENCIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, RAHEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, RAHEL O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, RALPHIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, RAMON L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, ROSA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, ROSAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, SAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, VIRGENMINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1690 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES GARCIA, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, YESSENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, YESSENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIA, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GARCIAS, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GASCOT, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GASCOT, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GASTON, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GAUD, CARMEN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GAUD, MAGDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GAUD, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GAUDIER, DAILIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GERENA, LOURDES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GERENA, MICHAEL J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GERENA, MICHAEL J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GERENA, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GHIGLIOTTI, ANA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GIERBOLINI, NICOLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GINORIO, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GINORIO, RICKY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GINORIO, VICTOR M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GIRON, ALBERTO L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GIRON, NYDIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GLUCK, JUAN A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GODINEAUX, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOMEZ, DAISY I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOMEZ, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOMEZ, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOMEZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOMEZ, JOSE E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOMEZ, JUAN J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOMEZ, MARIA C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOMEZ, MARIELLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOMEZ, NESTOR L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOMEZ, R AFSHEICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOMEZ, RAMON E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOMEZ, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOMEZ, ROSE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOMEZ, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOMEZ, SHEILA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOMEZ, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ABIMAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ADA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ADA W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ADELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6690 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1691 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES GONZALEZ, AIDA R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, AIXA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ALEXANNETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, AMALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, AMERICO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ANA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ANGEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ANGEL M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ANGELICA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, AUREA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, AURORA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, AURORA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, AURORA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, AWILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, BRAULIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CARLOS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CARMEN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CARMEN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CARMEN INES    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CARMEN N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CARMEN N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CATHERINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CHIARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CLARA B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CLARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CRISTINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CYNTHIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, CYNTHIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, DELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, DYLIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, DYLIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, EDGAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, EDGAR M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, EDGAR R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1692 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES GONZALEZ, EDGARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, EDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, EDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, EDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, EDITH E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, EDWIN G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, EDWIN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ELIAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ELSA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ELSA R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ELVING         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ELVING         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ELVING         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ELYBETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, EMILY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ESPERANZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ESTHER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, FELIBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, FELICITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, FERNANDO L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, GABRIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, GILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, GLORIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, GLORIVEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, GRISEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, GRISEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, GUILLER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, HARRY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, HECTOR F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, HECTOR L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, HECTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, HECTOR M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, HERNAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, HERNAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6692 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1693 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES GONZALEZ, INES G          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, IRAIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, IRENE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, IRIS M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ISIDORA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, IVELISSE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, IVELISSE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JAIME           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JAIME           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JAIME           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JAMES           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JANET L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JANITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JAQUELINE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JEANNETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JESSICA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JESUS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JOANNE I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JOEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JOEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JOEL A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JOHANNA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JOHANSSEN L.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JORGE L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JOSE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JOSE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JUAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JUAN A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JUAN C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JUAN L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JUANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JUDITH J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JULIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, JULIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, KARINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, KATHLYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, KEVIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, KEVIN J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LAURA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LAYLANNIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LESLIE MARY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LESLIE MARY M   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LESVIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LIADAMING       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LILLIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LISSETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LISSETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LISSETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LIYSARI D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6693 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1694 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRES GONZALEZ, LIZ N.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LIZETTE N        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LOURDES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LOURDES R.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LOYANN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LUIS A.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LUIS G.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LUIS M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LUIS M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LUIS R.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LUZ              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LUZ A.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LUZ C            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LUZ C            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LUZ D            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LUZ E.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LYDIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, LYMARI           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MADELINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MADELINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARGARITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARGARITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARIA DE L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARIA ELENA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARIA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARIA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARIA V          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARIANO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARIBEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARILYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARISOL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARITZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARTA J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARTA J.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MARVIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MAYRA DE L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MAYRA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MELVIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MIGUEL A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MIGUEL A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MILAGROS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MILTON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6694 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1695 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRES GONZALEZ, MIRIAM I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MONICA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, MONICA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, NANCY M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, NANCY M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, NATANAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, NELSON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, NELSON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, NICHOLE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, NILMARIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, NITZA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, NIURKA J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, NOELIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, NYDIA R          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, NYDIA Z          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, OCTAVIANA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ODETTE D         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, OMY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ORLANDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ORLANDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, OSCAR DE JESUS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, OSVALDO E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, PEDRO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, PEDRO A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, PRIMITIVO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, RAFAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, RAFAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, RAFAEL A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, RAFAEL T         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, RAFAELA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, RAMON A.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, RAQUEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, RAUL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, RAUL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, REYES            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, RICHARD          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, RIGOBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, RITA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ROSA E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, RUBEN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, SANDRA I.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, SHEILA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, SOL A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, SOL A.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, STEPHANIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, VICTOR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, VICTOR M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, VILMA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, VILMA M.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6695 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1696 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES GONZALEZ, VIRGEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, VIVIAN V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, VIVIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, WILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, WILMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, WILMER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, WILSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, WILSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, XIOMARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, YADIRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, YADIRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, YAMIL I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, YECENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, YEISSA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, YESENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, YINA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, YISEL M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, YITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, YITZA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, YITZA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, YOLANDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ZULMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GONZALEZ, ZULMA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOOD, GILBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GORRITZ, JOMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOTAY, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOTAY, GISENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOTAY, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOTAY, MARIVANGELI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOYCOCHEA, ODALYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOYCOCHEA, WENDALYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOYTIA, JESUS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GOYTIA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GRACIANI, GISELA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GRANELA, ANA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GRANELA, WILLIAM N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GRATEROLI, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GRAU, MARTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GREEN, AIDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GREEN, FRANCES M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GREEN, FRANCES M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GREEN, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GREGORY, DAMARYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GREGORY, SARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUADALUPE, ANICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUADALUPE, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6696 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1697 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES GUADALUPE, DORILU        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUADALUPE, FELIPE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUADALUPE, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUADALUPE, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUADALUPE, JOSE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUADALUPE, JUAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUADALUPE, RUBEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUADALUPE, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUADALUPE, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUARDIOLA, BLANCA R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUERRA, ELSIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUERRA, IVANETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUERRERO, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUILBE, DELVIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUILOT, LIANNY R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUIVAS, VIVIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUTIERREZ, ALWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUTIERREZ, AMERICO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUTIERREZ, ERICK         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUTIERREZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUTIERREZ, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUTIERREZ, LISBET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUTIERREZ, PEDRO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUTIERREZ, WALESKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUTIERREZ, WILSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, ALEX J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, BETHZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, EDNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, FERDINAND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, HARRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, IDENIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, IVETTE J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, JORGE I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, JOSE H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, LILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, LUILLY A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, LYDIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, MEGGY J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, MORAIMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, MORAIMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, NILSA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, PEDRO LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6697 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1698 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES GUZMAN, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, SONIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, SYLVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, VICTOR D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, WALESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES GUZMAN, WIGBARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HADDOCK, MAILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HADDOCK, ROLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HADDOCK, ROLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HADOCK, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HENRIQUEZ, CARLOS JUAN   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HEREDIA, DAIRELSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HEREDIA, DAIRELSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERMIDA, EDDALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERMIDA, EDDALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERMIDA, EDDALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERMIDA, JUAN ANIBAL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERMIDAS, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNAND, MANUEL DE J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ACSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, AIDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, AIXA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ALEX D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ALFREDO J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ANA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ANTONIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ARACELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, AURA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, AUREA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, AUREA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, AUREA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, CARLOS M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, CARLOS M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, CARMEN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, CARMEN D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, CARMEN G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, CARMEN M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, CLARIBEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, CLARIBEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, CRISOSTOMO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, CYNTHIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES HERNANDEZ, DAISY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, DAISY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, DALITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, DANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, DARIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, DARIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, DIANA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, EDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, EDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, EFRAIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ELIEZER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ELSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ELVIN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, EMILIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, EMILIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ERIC M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ERIC M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, FLORENTINO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, FRANK J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, GERARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, GLENDA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, GLENDALI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, GLENDALYS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, GLORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, GLORIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, GRICELIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, HECTOR D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, HILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, IRIS V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ISABEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ISAMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, JACOB         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, JAHAIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, JALYCER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, JESSICA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, JESSIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, JOSE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, JOSE O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, JOSE R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, JOSEPH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6699 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1700 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES HERNANDEZ, JUANITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, JULIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, JULIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, KEVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, LISANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, LISSETE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, LISSETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, LUIS DAMIAN   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, LUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, LUZ A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, LUZ A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, LUZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, LYMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MARCOS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MARIA DEL C   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MARIANETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MARIANETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MARILYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MARILYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MAYRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MAYRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MOISES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, MYRNA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, NAILA R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, NANICHI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, NATIVIDAD E   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, NELLY V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, NESTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, NEYSHA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ORLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ORLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, RENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, RUBEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6700 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1701 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES HERNANDEZ, RUTH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, RUTH E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, SOLIMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, VANESSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, VIDAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, VILMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, VIVIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, WILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, YAITZA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, YAITZA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, YARELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ZORAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERNANDEZ, ZULMA V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERRERA, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERRERO, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HERRERO, KATHLEEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HIRALDO, ANGEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HUERTAS, AUREA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HUERTAS, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HUERTAS, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HUERTAS, JOSE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES HUERTAS, NELLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IBANEZ, VERONICA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IBARRONDO, ANGEL G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ILARRAZA, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ILITERA, JOANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES INGLES, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, ALBERTO C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, CARLOS J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, ED MARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, ELI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, EVADNE L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, JIZLEIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, JIZLEIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, JOMAIRY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, JONATHAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, JORGE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, LILLIAN I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, LOYDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1702 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
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                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRES IRIZARRY, LOYDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, LUIS A.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, LUZ              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, LUZ I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, MAGDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, MANUEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, MARIA S          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, MARIO O          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, MIRNALY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, MONSERRATE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, NAKIRALEE N      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, OMAYRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, RAFAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, SANDRA Y         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, WILMARY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, WILMARY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, YAILEEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, ZOE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, ZOE D            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IRIZARRY, ZULIAN M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ISAAC, GREGORIO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ISASA, ALEJANDRO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ISASA, MARIA DEL P         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ITHIER, MARIA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ITHIER, MARIA V            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES IZQUIERDO, JULIO A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JAIME, ANIBAL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JAIME, JUDITH F            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JAIME, YASNELLY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JAMES, JOSE                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, AIDA I.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, BRAULIO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, CANDIDA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, CHRISTOPHER       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, DOMINGO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, EDGARDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, FRANCIS N         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, FRANK C.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMÉNEZ, FRANK C.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, GEIGEL L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, GEIGEL L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, HECTOR LUIS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, JAMITZA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, JANNICE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, JOANILL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, KAYLA A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, LEONILDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6702 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1703 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES JIMENEZ, LILIA A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, LUZ D            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, LUZ M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, MARIA A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, MARIA O          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, MARIA V          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, MARIANYELI       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, MARILU           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, MARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, MARITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, MELVIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, MIGDALIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, NEREIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, NORAH            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, OSVALDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, PEDRO L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, ROBERT E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, ROBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMENEZ, SORIMAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JIMERSON, JUAN L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JORGE, JOSE L.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JUAN, IMISIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JUARBE, GLORIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JULIAN, JONATHAN M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JUSINO, EILEEN D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JUSINO, FRANKLIN O.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JUSINO, KAREN M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JUSINO, LYDETTE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JUSTINIANO, ANGEL D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JUSTINIANO, ANGEL D.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JUSTINIANO, DAISY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES JUSTINIANO, REYNALDO W.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES KARRY, EDGAR              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES KERCADO, EDUARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES KILGORE, JUDITH A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LA COURT, JOYNETTE P.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LA LLAVE, GLORIMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LABIOSA, JORGE L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LABOY, ABIMAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LABOY, DINELIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LABOY, EDGAR O            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LABOY, LUIS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LABOY, LUIS ANTONIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LABOY, MARIA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LABOY, MARIA L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LABOY, MARIA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LABOY, MIRIAM IVELES      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6703 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1704 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES LABOY, NOEL A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LAJARA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LAMBOY, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LAMBOY, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LANDRAU, LUZ E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LAO, FRANCISCA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LAPORTE, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LAPORTE, HERNIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LARA, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LARA, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LARA, ISABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LARA, MARIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LARA, MARIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LARA, MARIO A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LARACUENTE, ELSIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LARACUENTE, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LARACUENTE, MIRNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LASSUS, KARELY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LATIMER, IRIS B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LATORRE, BRIZEIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LATORRE, BRIZEIDA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LAUREANO, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LAUREANO, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LAUREANO, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LAWSON, PEGGY S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEANDRY, JAZMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEANDRY, JULIO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEANDRY, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEANDRY, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, DEBORA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, FELIX A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, IRIS S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, JANNITZE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, MARIA DE LOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, MARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, MAXWELL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, MICHAEL J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, MICHAEL J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6704 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1705 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES LEBRON, RAFAEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, ROSE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, TOMASA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, WANDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEBRON, YARED DE J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEDEE, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEDEE, WANDALYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEDEE, WANDALYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEFEBRE, EMILY A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEFEBRE, MONICA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEON, ANGEL RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEON, DALY A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEON, GAMALIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEON, GENARO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEON, IRIS MARINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEON, JUDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEON, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEON, MARIANELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEON, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEON, OSCAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LEON, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LINARES, NERMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LINARES, NERMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LIZARDI, XILMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LLADO, EDIA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LLADO, EDWARD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LLADO, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LLANOS, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LLANOS, WILNERIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LLANOS, XENIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LLITERAS, JOANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LLOPIZ, EDWIN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LLORENS, EILLEEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LLORENS, FERNANDO J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LLORENS, FERNANDO J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LLORENS, NYDIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LLORENS, SYLMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOMBA, TERESA P          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPERENA, YANELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPES, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ADDYTH G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ADELINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, AIDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ALBERTO CARLOS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ALMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ALMA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ANA F.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ANA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6705 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1706 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES LOPEZ, ANDRES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ANGELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ANGELIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ANGELINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, AUREA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, BLANCA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, BLANCA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, BRENDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, BRENDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, CARLOS JOSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, CARLOS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, CARLOS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, CARMEN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, CAROLINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, DALILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, DIARMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, DIVELIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, EDGAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, EDIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, EDWARD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ELBA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ELBA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ELBERTO LUIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ELSIE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ELVIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ENEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ENEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, EUSEBIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, FRANKLIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, GLENDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, GLENDA LIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, GUADALUPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, HECTOR E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, HEXAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, HUMBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, HYLSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, IRMA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6706 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1707 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES LOPEZ, ISABELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ISABELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, IVAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, IVETTE G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JANELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JEAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JENNIFER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JENNIFER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JENNIFFER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JESSENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JOANY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JOHN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JORGE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JOSEFA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JUAN R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JUAN RAMON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, JULIO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, KEISHLA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, LEE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, LIONEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, LIZANGELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, LUCILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, LUIS F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, LUIS I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, LUMARI R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MAGALY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MANUEL DE J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MARIA DE LOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MARIA J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MARIA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MARIA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MARICELL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MARICELL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MARIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MARISEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6707 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1708 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES LOPEZ, MARTA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MARTHA CAROL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MICHEANN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, OCTAVIO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, OMAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, ONIX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, OSCAR JOSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, OSWALD W.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, PORTALATIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, RAMON L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, RAYMOND           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, RENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, SANTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, SELENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, SHAKTY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, SIGFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, SULLY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, TAMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, THAIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, TULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, VALERIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, VILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, VILMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, YELITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, YELITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, YESSENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOPEZ, YOSAYKA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LORENZANA, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LORENZO, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOZADA, ALBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOZADA, ALBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOZADA, ARMANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6708 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1709 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES LOZADA, CARMEN MARIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOZADA, CARMEN MARIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOZADA, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOZADA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LOZANO, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUBRES, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUCIANO, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUCIANO, CARMEN L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUCIANO, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUCIANO, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUCIANO, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUCIANO, LYANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUCIANO, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUEENA, GILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, ADRIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, ARACELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, BRUNILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, CARLOS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, CHRISTOPHER M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, DIANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, DIONISIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, DORIS D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, ELSA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, ERNESTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, GINO L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, IRMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, JONATHAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, JONATHAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, JOSE NOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, JUAN C.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, JULIANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, KENNY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, LEIDUVINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, LEMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, MYRNA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, MYRNA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, NELIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, NORMA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, PAULINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, RADAMES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, RAMON A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, RICARDO L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, ROBERTO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6709 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1710 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES LUGO, ROSA E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, WIGBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUGO, WIGBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUINA, REICHLIANNE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUIS, MARIA T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUIS, MARIA T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUJAN, JOSE C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUNA, ANA H              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUNA, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUNA, CARLOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUNA, DARWINIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUNA, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUNA, LAUDELINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUNAS, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUYANDA, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUZARDO, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUZARDO, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUZARDO, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUZUNARIS, EMMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUZUNARIS, EMMA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES LUZUNARIS, PRISCILA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MABEL, VÁZQUEZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MACHICOTE, ANIBAL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MACHICOTE, MICHAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MADERA, BETHZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MADERA, BETHZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MADERA, CLARISE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MADERA, EDSON A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MADERA, EDSON A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MADERA, SATURNINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MAISONET, MARIEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALAV, SHIRLEY A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALAVE, CARMEN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALAVE, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALAVE, EUNICE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALAVE, EVALINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALAVE, JOSELIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALAVE, MIGUEL ANGEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALAVE, MIGUEL ANGEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALAVE, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALAVE, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDOANDO, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, ANDY F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, ANGEL J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, ANGELITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6710 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1711 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES MALDONADO, ANTONIO L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, AURELIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, BLANCA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, BRYAN T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, CARMELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, CARMEN R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, CAROLINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, CESAR R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, CYNTHIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, DANNY H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, DELIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, DENNISE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, EDNA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, EDUARDO A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, ELIEZER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, ELVIA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, FRANCIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, GERARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, GILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, GLORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, GLORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, GLORIA A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, HECTOR L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, HECTOR O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, HIRAM A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, JANELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, JANELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, JANELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, JERRY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, JERRY J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, JOANETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, JOHANY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, JOHNNY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, JOSE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, JOSUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, JOSUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, JUAN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, KAREN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, KARIE D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, LAURA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, LUCILA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, LUIS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, LYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, MANUELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, MARIA DEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
MAR
TORRES MALDONADO, MARIA S.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6711 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1712 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES MALDONADO, MARIANO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, MAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, MELBA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, MELISSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, MILTON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, NANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, NELIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, NELIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, NELSON M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, NORMARYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, RAISA P.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, RAMON A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, RAQUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, REINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, RENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, ROSA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, RUBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, RUPERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, SHEILLY B     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, SOL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, SUSANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, VANESSA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, VILMA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, VILMA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MALDONADO, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MANDRY, AUREA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MANDRY, AUREA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MANFREDY, CARMELITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARCANO, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARCANO, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARCANO, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARCANO, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARCANO, GADDIEL N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARCANO, IRMA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARCANO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARCANO, MARIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARCANO, NILSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARCIAL, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1713 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES MARCIAL, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARCIAL, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARCUCCI, NESTOR A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARIANI, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARIN, CRISSMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARIN, FRANKIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARIN, FRANKIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARIN, FRANKIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARIN, LILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARIN, MARIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARIN, YARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARISCAL, MARCOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARISCAL, MARCOS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARQUEZ, AIDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARQUEZ, AMARILIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARQUEZ, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARQUEZ, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARQUEZ, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARQUEZ, MARIA DEL C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARQUEZ, MAYBELLINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARQUEZ, MAYBELLINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARQUEZ, MYRNA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARQUEZ, REUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARQUEZ, RUTH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, ALINA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, AMILCAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, BLANCA D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, BRENDA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, DARLENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, DENNIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, ESTHER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, FRANCES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, FRANCES I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, JOHANNIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, KEREN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, LOREN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, LUIS L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, MINELI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, MONICA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6713 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1714 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES MARRERO, RICKY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, TAMARA B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, TOMAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARRERO, TOMAS D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTELL, CAROL Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTELL, RICHARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTI, JUAN A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTI, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTI, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTI, NANCY I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTI, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTI, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINES, LIZ I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ABNER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ADAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ALBA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ANA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ANAMARI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ANGEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ANGEL Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ANIBAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ARELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, AURIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, AURIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, BASILIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, CARMEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, CARMEN N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, CRUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, DESIREE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, DIANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, EDDIE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, EDMUNDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ELIUD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ELSIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, EMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ESTHER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, FELICITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, FRANCES E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, FRANCISCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, FRANK R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6714 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1715 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES MARTINEZ, GUILLERMINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, HECTOR J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, INEABELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, IRIS I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ISALI G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JACKELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JARILYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JAVIER A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JENNYS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JESUS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JORGE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JOSE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JOSEA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JOSEFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JUAN A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JUAN P.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JUANITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JULIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JULIO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JULIO E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JULIO E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, JULISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, KAREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, KAREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, KRIZIA V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, LEMAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, LIZANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, LUIS D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, LUIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, LUIS H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, LUIS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, LUZ D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, LUZ M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, LYANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, MANUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, MARIA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6715 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1716 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES MARTINEZ, MARIA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, MARIA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, MARIVI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, MARIVI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, MARTHA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, MARYLINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, MAYRA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, MELISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, MIGUEL ANGEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, MIRTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, MIZAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, NANCY I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, NATALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, NELSON R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, NOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, OLGA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, OSVALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, PORFIRIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, RAFAELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, RAQUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, REYMUNDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, REYMUNDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ROSA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ROSALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, SANDRA V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, SOFIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, SUGEILY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, SUGEILY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, SULIN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, SULMARI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, SULMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, TERESA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, TOMAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ULISES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ULISES A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, WILLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, YADIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, YAJAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, YALIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, YAZMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTINEZ, ZULMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6716 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1717 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES MARTINEZ, ZULMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTIR, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTORELL, ANA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARTORELL, RUBEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MARZAN, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MASS, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MASSA, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MASSAS, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATEO, JUAN A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATEO, JUAN E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATEO, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATEO, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATEO, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATEO, PEDRO LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATIAS, FIDEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATIAS, IDYS WILNELIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATIAS, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATIAS, SHEILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATIENZO, MIRIAM L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, ADRIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, ANABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, ANGEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, ARNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, BEVERLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, CARLOS I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, CLARISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, GARY J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, GIOVANNI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, IRIS N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, JAIME L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, JENNY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, JOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, JOSE O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, MARY ANN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, REYNALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, SHIRLY D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, TERY ANN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, YAMILIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, ZAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATOS, ZAYRA DEL R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MATTEI, ROSA H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MAURAS, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6717 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1718 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES MAXAN, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MAYSONET, AIXA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MAYSONET, BARCELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MAYSONET, EINITZA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MAYSONET, IRIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, ANGELITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, BRAULIO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, BRENDA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, CESAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, ESTHER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, EUGENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, FEDERICO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, ILBIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, ISAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, JANICE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, JESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, JULIO A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, LUIS ANTONIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, LUZ N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, LYDIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, MARIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, MARIDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, MARIELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, MARINELDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, MYRTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, NAIOMYLEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, NESTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, OLGA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, RICARDO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, ROSA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, ROSA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, ROSANA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, SARY L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, SIXTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, TANIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEDINA, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEJIAS, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEJIAS, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEJIAS, JUANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEJIAS, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MEJIAS, VIRGINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6718 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1719 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES MELECIO, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, AIDA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, ALEJANDRO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, ANA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, ARIEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, AWILDA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, BETTY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, BRENDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, CARLOS J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, DALILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, DOMINGO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, EDGAR L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, ENEIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, EVA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, GILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, HELEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, HELEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, IDALIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, IRMA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, JAKE B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, JAKE B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, JOHANNA L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, JULIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, LILLIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, LUIS RAUL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, LUZ S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, MARIA DE LOS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, MARIA DEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
CARMEN
TORRES MELENDEZ, MARIA DEL P    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES MELENDEZ, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES MELENDEZ, MARIEL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES MELENDEZ, MARIELY        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES MELENDEZ, MARY LIZ       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES MELENDEZ, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6719 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1720 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES MELENDEZ, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, OCTONIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, PEDRO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, ROSA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, SANDRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, SUANIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, TANIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, TERESITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, WILLIAM E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, YASMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, YILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELENDEZ, ZENAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MELLADO, JORDAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENA, JOSE R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENCHACA, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, ADA N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, ADNEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, ANEUDI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, ANEUDI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, ANGEL L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, ANIBAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, ANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, CARLOS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, DENNISSE N.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, ESTEBAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, FRANKIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, GREGORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, JEANNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, JOSE G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, JUAN F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, LITMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, LIZMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, LUIS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, MYRTHIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, OLGA C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, PADUIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6720 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1721 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES MENDEZ, VIRGEN N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, VIRGINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, YERIELD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, YERIELD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, ZAADE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, ZILMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDEZ, ZUNY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDOZA, ANGEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDOZA, ANGEL F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDOZA, ANGELDEDIOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDOZA, ARMANDO E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDOZA, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDOZA, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDOZA, LINDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MENDOZA, VERONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, ABIGAIL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, ADELAIDA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, AGNES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, AGNES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, AGNES E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, ALEJANDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, ARMANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, BETHZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, BIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, BLANCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, CARMEN D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, DACHIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, DORIS N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, ELSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, EMMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, JOHANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, KARLA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, LIMARYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, LIMARYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6721 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1722 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRES MERCADO, LISVETT           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, LIZ I             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, MALISSA C.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, MARIA DE LOS A.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, MARIA E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, MARIA E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, MARIANO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, MARILYN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, MARILYN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, MARISOL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, MARITSA I.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, MARTHA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, MARTHA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, NEREIDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, NILSA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, NORA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, NORA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, PEDRO C           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, ROBERTO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, RUBEN O           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, SAMUEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, WANDA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, XIOMARA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCADO, ZORIMAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCED, ANA M.             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCED, DAVID J            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCED, JOMARY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCED, JORGE L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCED, JUAN C.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCED, JUSTO              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCED, LILIAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERCED, OLGA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MERQUEZ, SUSAN D           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MICHELI, FRANCISCO M.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MICHELLI, LUIS JOSE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MILAN, JULIANNE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MILET, CARMEN B            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MILET, RICKY               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MILIAN, MARILYN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MILLAN, MARILU             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MILLAN, MIREIA DEL M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MILLAN, MIREIA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MILLAN, MIRELA DEL M.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MILLAN, VIVIAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MILLET, ELBA M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MILLS, ENRIQUE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, ALEX              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, ANGEL L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, ANGEL L.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6722 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1723 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES MIRANDA, ANTONIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, BRIDGETT K       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, CARMEN G.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, ELIZABETH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, ELIZABETH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, ELNYS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, ELNYS DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, ELSA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, EVALI            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, FELIX E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, HENRY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, ISABEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, IVELISSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, JOANNA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, JOANNA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, JORGE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, JORGER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, JOSE L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, KATHERINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, MARGARITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, MARIA C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, MARIA P          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, MIGUEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, MIGUEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, MIGUEL A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, MIGUEL A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, NABEL O.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, RAMON LUIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, RICARDO L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, ROBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, YESENIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA, ZOMAYRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MIRANDA,FRANCISCO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MISLA, JOSE               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MISLA, RAFAEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MODESTI, CARMEN R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOJICA, AIDA I.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOJICA, MARIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOJICA, MIGNALIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOJICA, PRAXEDES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, ADAN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, EDGARD A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, EDWIN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, ELSA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, GERARDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, ISMAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, JAVIER A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, JHORDAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, JUAN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6723 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1724 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES MOLINA, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, KARLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, LUIS O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, MARLENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, MAXIMINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, PERFECTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, RAMON A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOLINA, STEVEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONGE, AGUSTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONROIG, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONSEGUR, ELI A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, CARMEN B.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, CRUZ A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, DARIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, EDDIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, EMMA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, FELIX L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, HILCA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, HIRAM A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, HIRAM J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, JUAN R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, LIZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, LIZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, LUIS ANIBAL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, LUIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, MIGUEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, NORA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, OLGA DAMARIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, RIGOBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, SARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, SHEILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, VIVIAN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTALVO, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTANEZ, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTANEZ, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTANEZ, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTANEZ, IRIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTANEZ, JOEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTANEZ, JOSE H.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTANEZ, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTANEZ, NILKA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTANEZ, NILKA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6724 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1725 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES MONTERO, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTERO, DAHIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTES, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTES, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTES, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTES, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTES, JENNY I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTES, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTES, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTES, ZAHIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTES, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTESINO, GLADYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTESINO, GLADYS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTESINO, MARIELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTESINOS, ANGELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTESINOS, ANGELA H     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTESINOS, ANGELA H     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MONTIJO, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOORE, ALBERTO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOORE, DIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOORE, SOL E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOORE, SYLVIA ELENA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORA, JEFFREY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORA, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, ADA WILMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, AIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, AIDA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, AIDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, ALBERT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, ALEJANDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, ALEJANDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, ANGEL D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, ANIBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, ARMANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, ASHLEY M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, BETHZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, CARMEN H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, CARMEN N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, CARMEN Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, DELVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6725 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1726 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES MORALES, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, EMILIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, ENEIDA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, EVA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, FELIPE J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, GRISELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, GUILLERMINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, HARRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, HARRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, HECTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, HECTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, HILDA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, HUMBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, INES M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, JEANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, JESSIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, JOHNNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, JORGE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, JOSELINE R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, JULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, JULIO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, JULIO C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, JULIO C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, LESLIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, LESLIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, LIZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, LIZMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, LORAINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, LUIS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, LUIS G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, LYDIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, MARILEIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6726 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1727 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES MORALES, MARILLIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, MARILLIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, MERCEDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, MIGUEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, MYRNA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, MYRTA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, NITZA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, NORA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, NYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, OSCAR A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, PABLO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, PEDRO I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, RICARDO H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, TAMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, URIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, WALDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, YANITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORALES, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORAN, CARMEN D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORELL, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORELL, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORELL, ZULMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORENO, CARMEN Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORENO, CRUZ JR.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORENO, EDMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORENO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORENO, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORENO, KIMBERLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORENO, MARIA DE LOS A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORENO, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORENO, NITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORENO, PEDRO L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORENO, SALATHIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORILLO, AIDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORIN, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORLA, RAQUEL M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORO, JENNIE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORO, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORO, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MORO, ZAHIRA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MOYA, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MULER, ELISA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MULER, ELISA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6727 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1728 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES MULER, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MULER, ROSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MULER, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MULERO, CARMEN J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MULERO, JULY M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNIZ, AIRITZA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNIZ, AMNERIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNIZ, BRENDA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNIZ, DAISY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNIZ, DOMINGO A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNIZ, ELENA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNIZ, GILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNIZ, HERMINIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNIZ, IRENE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNIZ, IRENE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNIZ, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNIZ, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNIZ, MILLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNIZ, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNIZ, SHARON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNIZ, SHARON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, CARLOS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, DAISY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, DAISY E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, DENISE E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, ELIEZER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, ESTHER M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, JOSE H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, MARIA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, MARILYN ENID      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, NEREIDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, RUBEN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUNOZ, TAMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MUQIZ, OMAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES MURGA, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NADAL, BETHZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NADAL, RICHARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NARANJO, JESUS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NARANJO, MODESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6728 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1729 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES NARCAEZ, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NARVAEZ, CAMELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NARVAEZ, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NARVAEZ, LILLIAN S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NARVAEZ, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NARVAEZ, VICTOR H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NARVAEZ, VIRGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NATAL, ILEANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAVARRO, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAVARRO, EDITH F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAVARRO, ERICK           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAVARRO, GARIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAVARRO, GARIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAVARRO, GARIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAVARRO, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAVARRO, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAVARRO, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAVARRO, LUIS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAVARRO, PEDRO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAVAS, JUAN J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAVEIRA, HILDA P         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAZARIO, ANGEL D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAZARIO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAZARIO, CELYMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAZARIO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAZARIO, GLORYMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAZARIO, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAZARIO, JOSE I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAZARIO, JUDYMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAZARIO, JUDYMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAZARIO, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAZARIO, MILTON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAZARIO, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NAZARIO, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, ADRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, ALBERTO R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, ANGEL M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, BERNICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, BLANCA T.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, CARMEN N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, CHRISTIAN N.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, EDITH N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, EVA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, FABIOLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6729 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1730 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES NEGRON, GLORIA ESTHER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, JAMES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, JESLIANN K       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, JOAQUIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, LESLIE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, LUIS G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, LUZ D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, LUZ E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, MARIA DE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, MARIELA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, MARIELA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, NORIVELL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, NORIVELL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, SANDRA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, URIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, VARESIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, WANDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, WILFREDO D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEGRON, ZAHYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEIFA, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEVAREZ, ELIAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEVAREZ, JULIO C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEVAREZ, LILLIAM E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEVAREZ, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEVAREZ, SONIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NEVAREZ, YARALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, ABNER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, ANGELICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, ARMANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, BRAULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, CARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, CARLOS I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, CARLOS R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, CARMELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, CARMEN B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, CECILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6730 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1731 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRES NIEVES, DAMARIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, ELIZABETH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, ELIZABETH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, ELYNN M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, ELYNN M.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, EVERLIDYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, FELIX              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, GILBERTO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, IRIS N             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, ISRAEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, JAVIER A.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, JO ANN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, JOSE A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, JOSE L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, JOSE L.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, JOSE L.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, JUAN A.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, KEILA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, LUIS D.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, LUZ                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, LYVIET             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, LYVIET             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, MANUEL A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, MARIA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, MARIA DE LOURDES   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, MARIA T.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, MAYRA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, MIRIAM             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, NANCY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, NATIVIDAD          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, NATIVIDAD          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, RAFAEL E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, RAMON              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, RAMON              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, RAUTELLY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, ROBERTO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, STEPHANIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, STEVEN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, VIVIANA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, YADIRA E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, YAISHA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, YOLANDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, ZAMIRA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NIEVES, ZAMIRA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NO TENGO, YOLANDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NOLASCO, CHRISTIAN O       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NOLASCO, CHRISTIAN O       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NORIEGA, EMMARIE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NORMANDIA, VANESSA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6731 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1732 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES NOVALES, ZAMAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NUCCI, ISAURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NUNEZ, ALEXANDER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NUNEZ, ANILKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NUNEZ, CARMEN Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NUNEZ, DIMAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NUNEZ, ILEANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NUNEZ, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NUNEZ, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NUNEZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NUNEZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NUNEZ, MARIA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NUNEZ, RICHARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES NUNEZ, VICTOR M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES O FARRILL, GLENDA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, ABIMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, ABIMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, ANN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, BLANCA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, GUILLERMO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, ISA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, JIMARYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, JOSE G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, JOSE O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, LAURA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, LISMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, LYDIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, LYEA DORAE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, MARIELISA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, NANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, NIVIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, PETRA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, SONIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, VIRTUDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, VIRTUDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCASIO, YVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OCONNER, MARK            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES O'CONNER, MARK W.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES O'FARRIL, ARELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6732 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1733 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES O'FARRIL, ARELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OJEDA, CINTHIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OJEDA, GUILLERMINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OJEDA, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OJEDA, SHELY M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OJEDA, SHELY M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OJEDA, WANDA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLAN, ADALIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLAN, ADALIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLAN, LIZMARI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLAVARRIA, MARIA G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVENCIA, ARELIS B.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVENCIA, ILDEFONSO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVENCIA, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVENCIA, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVENCIA, NOELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERA, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERA, JOSE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERA, JOSEFINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERA, MARIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERA, RIALDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERAS, AIDALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERAS, AIDALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERAS, DINORAH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERAS, EDGAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERAS, EMMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERAS, HILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERAS, IVETTE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERAS, LESTER R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERAS, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERAS, STEVE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERAS, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERAS, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERO, FRANCES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVERO, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVIERI, HERIBERTO A.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVO, EDIIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVO, JACQUELINE I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVO, JENNY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVO, JENNY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLIVO, JEYSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLMEDA, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLMEDA, JORGE V.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLMEDA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OLMO, JOSE F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ONEILL, JUAN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OPPENHEIMER, ANGELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OQUENDO, CARMELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OQUENDO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6733 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1734 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES OQUENDO, DANNY E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OQUENDO, DORA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OQUENDO, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OQUENDO, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OQUENDO, NERI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OQUENDO, NERI E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OQUENDO, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OQUENDO, WANDA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORELLANO, BRENDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORENGO, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORENGO, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORENGO, KAREM A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORENGO, KAREM A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORENGO, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORENGO, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORENGO, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORENGO, ROGELIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORENGO, RUZ I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORENGO, WENDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORENGO, WENDY I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORENS, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORONA, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OROZCO, TANIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OROZCO, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORSINI, ANGEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORSINI, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTA, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTA, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTEGA, EMELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTEGA, GERARDO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTEGA, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTEGA, KAREN D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTEGA, MAGDALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTEGA, OMARELYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTEGA, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTEGA, PEDRO J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTEGA, PEDRO J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ADA E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, AGUEDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, AGUSTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ALEXANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ALICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ALMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, AMEGUI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ANABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ANETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6734 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1735 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ORTIZ, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ANGELICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ARNELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ARTEMIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, BILY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, BRENDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, BRENDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, BRENDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, BUENAVENTURA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARLOS L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARLOS O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARLOS O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARLOS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARMELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARMELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARMEN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARMEN E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARMEN I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARMEN I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CESAR E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CLARIRIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CLARIRIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CYNTHIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, CYNTHIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, DALILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, DANNY L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, DEBBIE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, DEBBIE ANNE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, DELIRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, DENNIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, DORKA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, EDDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1736 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ORTIZ, EDMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ELISBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ERIC              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ESTEBAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, EVA J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, FABIOLA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, FELICITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, FELICITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, FELITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, FELIX E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, FRANCES N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, FRANCESCA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, FRANCESCA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, GABRIEL G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, GENESIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, GLADYS I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, GLENDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, GLENDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, HECTOR L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, HEIDI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, HILDA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, HIRAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, HUMBERTO E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ILEANA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, IRIS B.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ISABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ISRAFEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JAIME E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JARRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JASON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JEANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JESUS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JESUS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JOHANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JOHANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JOHNNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JORGE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6736 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1737 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ORTIZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JOSE O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JOSE S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JOSEFINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JUDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, JULIO C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, KRISTAL J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, LAURA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, LINDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, LISA JANICE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, LOURDES A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, LOURDES C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, LOURDES C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, LUIS D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, LUIS F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, LUZ ODETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, LUZ Z             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, LYANNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MAGDA F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MAISY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MARGIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MARIA DE LOS R    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MARIA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MARIDALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MARIDALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MARTA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MAXIMINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MAXIMINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MAYRA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MELVIN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1738 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ORTIZ, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MILTON E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MIRTELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MYRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, MYRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, NELITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, NICHOLAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, NICOLAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, NILSA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, NOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, NOELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, NORMA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, OLGA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, PABLO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, PAOLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, PEDRO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, PEDRO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, RAUL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, REBECCA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, RITA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ROSA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ROSA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ROSA J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ROSALIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ROSALINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, ROSEMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, SERGIO RAFAEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, SHEYLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, SIOMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, VICTOR E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, VICTOR E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, VICTOR I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, VIRGINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, VIRGINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, VIRGINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, VIVIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6738 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1739 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ORTIZ, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, WINDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, YANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, YANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, YAZMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, YOLANDITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, YOLIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ORTIZ, YVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OSAQA, SHANA Y.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OSORIO, AGUSTIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OSORIO, NANCY E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OSTOLAZA, CRUZ M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OSTOLAZA, GUILLERMO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OSTOLAZA, JOSE G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OSTOLAZA, LUIS G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, ANA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, ANGEL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, FELIX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, ILIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, ILIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, IRAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, IRIS I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, JUANITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, LIXANDER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, RUBEN O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, WALESKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, WALESKA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OTERO, YARIMIR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OVALLES, DAMIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OYOLA, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OYOLA, KAREN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES OYOLA, KEILA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1740 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES OYOLA, LUZ C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PABELLON, HERMINIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PABON, ANA R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PABON, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PABON, DEILANY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PABON, JECKSAN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PABON, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PABON, MELVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PABON, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PABON, PEDRO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PABON, SUHEIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PABON, WILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PACHECO, BLANCA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PACHECO, ELVIN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PACHECO, FRANCELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PACHECO, GILSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PACHECO, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PACHECO, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PACHECO, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PACHECO, JULIO OSCAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PACHECO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PACHECO, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PACHECO, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PACHECO, MARJORIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PACHECO, WILBUR D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADILLA, ADA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADILLA, ADA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADILLA, HECTOR J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADILLA, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADILLA, LUIS G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADILLA, LUIS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADILLA, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADILLA, MELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADILLA, NORBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADILLA, OLGA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADILLA, RADAMES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADOVANI, GEOVANNIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADRO, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADRO, NAPHIS ARIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADRO, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADRO, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PADUA, YADIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, AIDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, AIDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, ALEJANDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, ALEX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, AMADA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, AMNERIS L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, AMNERIS L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1741 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES PAGAN, ANGEL G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, BERTHA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, BEVERLY A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, CARLOS ALBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, DAMARIS L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, DORIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, GILARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, GRISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, GUILLERMINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, HECTOR L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, HECTOR M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, JINNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, JORGE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, JULIO C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, JULIO C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, LEONARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, LEONELL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, LIDIA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, LINDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, LINDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, LINDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, MADELINE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, MAGDA Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, MARIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, MIREYA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, MYRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, NICOLAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, NICOLAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, OSVALDO E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, RAMON L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, REBECCA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6741 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1742 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES PAGAN, TEODORO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, VIVIANA Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, WILLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, WILLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PAGAN, WILMALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PALMER, HENRIETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PALMER, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PANETO, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PANETO, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PANETO, JOSUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PANIAGUA, WANDA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PANTOJA, DENISE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PANTOJA, ERICK           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PANTOJA, MARIA DEL C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PANTOJAS, BILLY J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PANTOJAS, BILLY J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PARDO, AIDAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PARES, MARIMER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PARIS, GABRIELA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PARRA, KAREN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PARRA, KAREN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PARRA, KARIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PARRA, KARIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PARRILLA, ANA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PASCUAL, HERMINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEDHQGQ, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEDROGO, JOSE F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEDROGO, NELSIDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEDROGO, ZENAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEDROSA, CARMEN R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEDROZA, ANGELICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEDROZA, ELENA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEDROZA, ELENA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEDROZA, MARIA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PELLOT, FRANK R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PELLOT, NITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PELUYERA, MARANGELY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PENA, ARIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PENA, CHRISTIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PENA, DAMIAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PENA, HEIDY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PENA, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PENA, JOSE R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PENA, RAISA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PENA, RAISA A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PENALOZA, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PENALOZA, ANGEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PENALOZA, CARLOS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PENCHI, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6742 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1743 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES PERALES, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PERALTA, LUCIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PERALTA, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PERCY, HAROLD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PERCY, HAROLD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREIRA, PEDRO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ABIGAIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ADA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ADALIA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ALLISON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ANA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ANA MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ANDREA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ANDREA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ANGEL DE J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ARACELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ARACELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ARNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, BALDOMERO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, BARBARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, BERNARDINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, BERNARDINO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, BERNARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, BEYSAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, BLANCA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, BRENDA LEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, BRYAN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, CARLOS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, CARLOS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, CARMEN D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, CARMEN E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, CAROLINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, CHRISTIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, CLARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, CLARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, CLARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, CYNTHIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, DAISY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, DAISY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, DENNY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, DORCALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6743 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1744 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES PEREZ, EDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, EDNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, EDNA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, EDNA S.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, EDWIN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ELAINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, EPIFANIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ERICK D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ERNESTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, EVA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, EVA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, EVARISTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, FIARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, FRANCIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, FRANCIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, GABRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, GABRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, GABRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, GABRIEL J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, GEORGINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, GINASARILY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, GLADYS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, GLORIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, GREGORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, HARRY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, HECTOR J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, HILDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, IBIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, INGRID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, INGRID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, IREMIG            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, IRENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, IRMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, IRMA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ISAAC             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JACKELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JAVIER A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JAVIER A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JESSIE Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6744 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1745 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES PEREZ, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JIANY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JORGE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JOSE ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JOSE GABRIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JOSE J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JOSE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JOSEFINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JOSSELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JUANITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JULIO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, JUNIO O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, KARLAMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, KRIZIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, LAURA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, LILIBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, LUCIANO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, LUIS ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, LUIS F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, LUISWAND M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, LUZ D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, LUZ MIGNELIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, LY MARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, LYDIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MAGDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MAGDA F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MARCOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MARIA DEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MARIA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MARIA F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MARIA H.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6745 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1746 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES PEREZ, MARIANNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MARIE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MELVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MELVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MICHELLE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MILDRED N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MILTON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MONSERRATE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MYRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MYRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MYRIAM R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, MYRTA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, NELIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, NELIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, NELIDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, NINOCHKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, NYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, OLGA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, OMAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, PEDRO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, PEDRO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, PEDRO O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, PRIMITIVO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, RAMON L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, RAMON M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, RODOLFO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ROGELIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, RUTH L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, RUTH M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, SAMARY L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, SAMARY L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, SAUL E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, SHEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, SHEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, SHEILA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, SHERLYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6746 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1747 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES PEREZ, SHIRLEY J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, SHIRLEY J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, SORELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, SYLVIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, VICKIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, WILBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, WILMA LUZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, YENILICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, YETZEBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, YETZEBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ZYLKIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ, ZYLKIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PEREZ,MARCOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PETERSON, GILBERTO H     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PICA, LIZ A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PICART, EVELIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PICART, MIRIAM S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PICCOLI, CARLOS L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PICCOLI, LOUIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PICCOLI, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PIERANTONI, DAISY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PILLICH, INGRID GAIL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PIMENTEL, MARIANN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PINA, ROGELIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PINEDA, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PINEIRO, KATHIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PINEIRO, KATHIE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PINERO, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PINERO, ESPERANZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PINERO, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PINTADO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PINTO, NOELY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PIZARRO, ALEXANDER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PIZARRO, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PIZARRO, CARLOS E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PIZARRO, CARLOS E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PIZARRO, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PIZARRO, JUAN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PIZARRO, JUANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PIZARRO, LUIS H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PIZARRO, MARIA J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PIZARRO, MARIA JUDITH    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PIZARRO, RAFAELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PIZARRO, TANIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLACA, TOMAS JAVIER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLANAS, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLANELL, RAMON A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLATET, ERI E.M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6747 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1748 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES PLAZA, ANGELA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLAZA, IRMA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLAZA, JORGE L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLAZA, JOSE L.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLAZA, MABEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLAZA, MARIA I.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLAZZA, EDWIN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLUMEY, ANGELA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLUMEY, BENJAMIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLUMEY, CARMEN A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLUMEY, CARMEN J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLUMEY, MIGDALIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLUMEY, MIRIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLUMEY, MYRNA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PLUMEY, ROSA N            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES POLANCO, SONIA N.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES POLLOCK, JOSEFA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES POLLOCK, JOSEFA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES POLLOCK, TERESA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES POMALES, EDGARDO E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES POMALES, LYDIA O          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PONCE DE LEON, CLARISSA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PONCE, LUIS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PONCE, MARIA J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PONSA, ROBERTO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PORRATA, EDGA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PORRATA, GLADYS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PORTALATIN, FRANCISCO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PORTALATIN, FRANCISCO E   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PORTALATIN, JOSE F        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PORTALATIN, NELSON        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES POZZI, JOSE A             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES POZZI, LUZ N              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PRATTS, CARLOS A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PRATTS, DAMARIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PRATTS, HECTOR D.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PRATTS, LAUXELINDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PRIETO, AWILDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PRIETO, JOSE A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PUJOLS, ADA N             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PUJOLS, ARTAJERJES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PUJOLS, ARTAJERJES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PUJOLS, GABRIEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES PUJOLS, GRABIEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUESTELL, EDGARD G.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUESTELL, JACKELINE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUI&ONEZ, JOSELINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUIJANO, YESCENIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUILES, ABIGAIL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6748 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1749 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRES QUILES, ANGEL L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUILES, BLANCA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUILES, FELICITA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUILES, FELIX DANIEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUILES, HEIDYLIZ           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUILES, HILDA M.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUILES, JAMES W.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUILES, JORGE L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUILES, NORA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUILES, VICTORIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUILES, ZENAIDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUILES, ZENAIDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, ANGEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, ANGEL M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, BEATRIZ E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, BEDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, BENJAMIN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, CHARINETTE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, CRISTIAN O       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, DAYANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, EDGAR OSVALDO    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, EDWARD           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, EFRAIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, ELIZABETH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, ELVIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, EPIFANIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, FORTUNA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, FRANCES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, FRANCISCO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, GERARDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, GERARDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, HERIBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, JANICE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, JESSE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, JOMARIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, JOSE A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, JOSE M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, JOSE R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, JOSELINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, JUANA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, KIARA LIZ        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, KIARALIZ         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, MARIA E.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, MARIA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, MARITZA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, NOEMI            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, RICARDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6749 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1750 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES QUINONES, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, WANDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONES, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONEZ, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONEZ, ALEJANDRINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONEZ, LIZZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINONEZ, VICTOR M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINTANA, MARINETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINTANA, RENE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUINTANA, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUIQONES, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUIRINDONGO, MILDRED     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUIRINDONGO, MINERVA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUIRINDONGO, MIVIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUIRINDONGO, MIVIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUIRINDONGO, NELMALYS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUIROS, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUIROS, JULIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES QUIROS, JULIO C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAICES, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAICES, JOSE VICTOR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAICES, LETICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAICES, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, ALBERTO I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, ANA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, CAMILLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, CARMEN D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, DIXON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, DIXON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, DIXON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, DIXON E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, DORILIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, DORIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, EMANUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, ESTANISLAO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1751 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRES RAMIREZ, FERNANDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, FRANCISCO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, GERARDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, GLORIA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, HILDA E.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, IVELISSE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, IVETTE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, IVETTE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, JESUS G.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, JESUS M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, JESUS M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, JOSE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, JOSE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, JOSE A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, JOSE A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, JOSE L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, JOSE L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, JUAN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, JUAN C.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, LILLIAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, LILLIAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, LUIS M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, LUISA MARIA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, LYDIA N.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, MARIA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, MARIA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, MARITZA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, MARITZA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, MARLYN I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, MAXIMINO J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, PEDRO J           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, RAMSELIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, SONIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, SONIA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, VILMA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, WILLIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, YOLANDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, YOLANDA IVETTE    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIREZ, ZORAYA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIS DE AYREFLOR, DORIS REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMIS DE AYREFLOR, DORIS M REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED

TORRES RAMIS DE AYREFLOR, LUZ M   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES RAMOS, ABIMAEL             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES RAMOS, ADA N               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES RAMOS, ADABEL              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES RAMOS, ADABEL              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES RAMOS, ADAN                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES RAMOS, AIDA                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6751 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1752 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RAMOS, AIDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ALISON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ANA E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ANDRES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ANGEL C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ARNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, BLANCA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, CARMEN B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, CARMEN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, CARMEN S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, CARMEN T.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, CYNTHIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, CYNTHIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, DEBORAH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, DENNIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, EDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ELEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ELIEZER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ELIEZER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ENEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ENEIDA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ENEIDA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ENID L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, FRANCES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, FRANK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, GUILLERMO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, GUSTAVO IVAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6752 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1753 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES RAMOS, HECTOR D.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, HELGA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, IDALI              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, IRIS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, IRIS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, IRIS M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, IRIS M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, IRMA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ISRAEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, ISRAEL CELESTINO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, IVETTE Y.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JADIER A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JAMILEYKA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JAMITH             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JANEUDY M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JENNEFER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JORGE L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JORGE L.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JOSE A             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JOSE G             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JOSE L             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JOSE LUIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JOSE M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JUAN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JUAN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JUAN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JUAN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JUAN L             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, JULIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, LAURA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, LAURA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, LAURA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, LILIA Z            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, LILLIAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, LILLIAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, LIZMARIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, LIZSAMARI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, LOURDES            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, LUIS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, LUIS D.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, LUIS E             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, LUISA J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, LUZ H              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, LYNETTE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MARGARITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MARIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MARIA C            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MARIA D            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MARIA DE L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6753 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1754 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RAMOS, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MARIA DEL C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MARIA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MARIEANNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MAYRA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MELVA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MERCEDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MIOSOTIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MIRIAM I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MYRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, MYRLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, NESTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, NORMAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, PEDRO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, PRISCILLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, PURA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, RANDOLPH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, SESHA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, SIMARA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, SOL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, VIVIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, WALDEMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, WALTER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, WANDA C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RAMOS, YALETTE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RANAL, JANELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RANGEL, YADIANGEL M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RDZ, RAFAEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RDZ, RAFAEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RECIO, AIDELISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RECIO, NIVEA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6754 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1755 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RENTA, IVAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RENTA, MARI A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RENTAS, BARBARA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RENTAS, BETHZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RENTAS, BETHZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RENTAS, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RENTAS, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RENTAS, GLORIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RENTAS, HECTOR O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RENTAS, LOURDES J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RENTAS, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RENTAS, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RENTAS, NESTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RENTAS, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RENTAS, RAMON A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RENTAS, RAMON A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RENTAS, ROLANDO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REPOLLET, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RESTO, LILIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RESTO, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RESTO, QUETZY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RESTO, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RESTREPO, GLORIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REXACH, IVETTE V.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, AGLAITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, AGLAITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, ALEXIS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, ANA C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, ANA C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, ANTONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, ARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, ARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, AYDYL S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, BLANCA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, BRISEIDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, CARMEN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, CARMEN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, CLEMENTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, DAHIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, DAISY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, DARGGIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6755 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1756 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES REYES, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, ELIAS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, EMELINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, ERIC              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, ERNIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, EZEQUIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, GEOMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, GILBERTO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, GILBERTO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, GIOAVANNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, IGNACIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, JAIME L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, JULIO C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, JULIO C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, LESLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, LUIS F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, LUIS R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, LYMARI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, MARCELINO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, MARIA R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, MARIA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, MYRTA V.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, NATALIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, NEISA MINERVA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, NILDA S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, NIULKA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, NORMA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, PEDRO I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, RICHARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, SILMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, THAIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, VANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, VILMA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, VIVIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES REYES, YOCASTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6756 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1757 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RIERA, YOSSEAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOLLANO, LORYANNZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, ANALIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, CARLOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, CARLOS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, CARMEN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, CARMEN S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, CARMEN S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, CORALISSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, EDUARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, EILLIM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, EMILIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, ERIC               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, FRANCISCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, HILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, IDA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, ILIANA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, IVETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, JESMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, JESSMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, JUAN BAUTISTA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, MARIANO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, MARIANO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, MARIE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, MARILUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, MELISSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, MILDRED I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, MYRIAM DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, NANCY B.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, NOEMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, OMAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, PABLO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, PABLO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, PAMELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, PAMELA A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, PEDRO A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, RICHARD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, WILDA LUZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, YAHAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIOS, ZULMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIPOLL, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6757 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1758 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RIVAS, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVAS, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVAS, MARIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVAS, NOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVAS, NOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVAS, NORMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVAS, OSVALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ADA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ADA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ADELAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ADIANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ADLYN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ADRIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, AGNES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, AIDA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, AIDA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, AILEEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ALBA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ALBA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ALEJANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ALEXANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ALICEMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ALWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, AMANDA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, AMARIS DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANA DAISY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANDREA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANDRES X         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANGEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANGEL D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANGEL G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANGEL L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANGELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANIBAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ANTONIO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6758 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1759 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES RIVERA, ARQUIMIDE L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ARTURO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ASUNCION          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, AVELINA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, BARBARA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, BARBARA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, BASILIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, BELKLIZ Y.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, BLANCA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, BRENDA I.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, BRUNILDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, BRUNILDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CAMILLE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CANDIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CARLOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CARLOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CARLOS A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CARLOS J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CARMEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CARMEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CARMEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CARMEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CARMEN M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CARMEN MILAGROS   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CARMEN R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CARMEN YASMINA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CAROL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CAROL M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CECILIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CESAR A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CHARLIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CHARLIE J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CHENIEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CHRISTIAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CHRISTIAN E.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CLARIBEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CLARISABEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CONCEPCION        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, CYNTHIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, DADSY J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, DAISY M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, DASHIRA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, DAVID             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, DAVID             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, DEBORAH           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, DEBORAH           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, DEBORAH           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6759 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1760 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RIVERA, DELIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, DIALIS S.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, DIANA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, DORIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, EDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, EDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, EDWARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, EDWIN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ELBA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ELIAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ELIAS O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ELIECEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ELIEZER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ELVIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, EMILIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, EMILY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, EMMANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, EMMANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ERIKA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ERIS I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ERNESTO J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ERNESTO J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ESTHER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ETTIENNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, EZEQUIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, FLOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, FLOR M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, FRANCES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, FRANCES M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, FRANCES MARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, GABRIEL J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, GERARDO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, GIANINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, GISELE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6760 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1761 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RIVERA, GISSELE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, GISSELLE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, GLENDALY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, GLORIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, GLORIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, GLORY L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, GUILLERMO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, GUILLERMO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, GUILLERMO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, HECTOR J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, HECTOR J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, HECTOR L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, HECTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, HECTOR X         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, HEIDI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, HELEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, HILARIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, HILDA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, HIRAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, HUMBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, IDALI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, IDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ILIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, INGRID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ISTVEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, IVETTE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, IVIS L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JACKELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JALYANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JALYANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JAVIER A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JAZMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JEAN CARLO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JIRALIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOANN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6761 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1762 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RIVERA, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOEL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOHANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOHN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JORGE E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE ARIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE MANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE NELSON      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSE REYNALDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSHUA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JOSSELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JUAN G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JUAN R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, JULIO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, KEVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LEIDA S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LEIDA S.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LEONARDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LILIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LILIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LILIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LISA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LISVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6762 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1763 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RIVERA, LISVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LIZANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LIZBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LIZETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LOURDES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LOURDES M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUIS E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUIS OSCAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUIS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUZ B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUZ L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUZ S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, LUZ Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MAGALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MAGDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARCELINO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA DE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA DEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6763 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1764 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES RIVERA, MARIA DEL P.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA DEL PILAR   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA DEL S       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA N.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIA T           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIBEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIBEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIE L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIE L.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIELY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARILYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARILYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARILYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIO E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARIO E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARISOL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARISOL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARISOL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARITZA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARITZA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARITZA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARITZA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARTA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARTA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MARY L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MAXIMINO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MELANIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MELISSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MELMARI           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MERCEDES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MERVIN L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MIGDAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MIGUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MIGUEL A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MIGUEL A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MIGUEL A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MIGYARIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MILADYS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MILDRED           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MILDRED           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1765 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RIVERA, MILTON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MIRIAM I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MIRIAM R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MIRNA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MIXAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MORAYMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, MYRNA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NATALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NATALIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NATASHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NEFTALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NEFTALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NELSON A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NILSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NITZANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NOEMI J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NORBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NORMA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, OSCAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, OSCAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, OSCAR L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, OSVALDO J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, PASCUALA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, PEDRO J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, PEDRO J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, PERCYCHEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, RAFAEL OMY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, RAMON L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, REBECA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, REBECA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6765 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1766 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RIVERA, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, RENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, RENE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ROBERTO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ROBERTO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ROSA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ROSIVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, RUTH D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, RUTH M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, RUTH M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SANTOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SARA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SARA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SARA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SARA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SARAH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SARAH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SHEILA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SOCORRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SOLIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SONIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SONIA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SONIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SONYMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SONYMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, SUJEY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, TANIA C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, TATIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, TEODORO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, TOMAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, URSULA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, URSULA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, VALERIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, VICTOR J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, VICTOR J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, VILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, VILMA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, VILMALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6766 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1767 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RIVERA, VIRGILIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, VON M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, VON M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, WANDA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, WENDOLYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, WILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, WILSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, YADIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, YAHAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, YAMILKALEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, YAMILKALEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, YAMILKALEE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, YANIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, YARA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, YOLIVETTE C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, YOLIVETTE DE C   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ZENAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ZULMARELYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RIVERA, ZULMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROA, CARMEN G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBERTO, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, AIXA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, ALICE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, ANA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, GISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, GISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, GISELLE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, HENRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, IDAMIS C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, JASON E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, LUIS IVAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, LUIS R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, MARIA F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, MILLIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, NANCY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6767 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1768 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ROBLES, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, RAFAEL M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROBLES, WILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROCA, BETZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROCA, LEILANI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROCA, NARDIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROCA, NEFTALI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROCA, NEFTALI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROCA, NOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROCA, NORBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROCA, SANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROCA, SANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROCAFORT, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROCHE, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROCHE, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ABIMAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ABIU          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ADA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ADA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ADAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ADELIXA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, AGUEDA R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, AIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, AIDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, AIDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, AIDANGELY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ALEXANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ALEXIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ALTAMIRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ALVIN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, AMARALIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, AMARILIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, AMELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, AMY LOU       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANDRES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANGEL L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANGEL L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6768 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1769 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RODRIGUEZ, ANGEL L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANGELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANGELICA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ANTONIO S     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ARACELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ARLENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ARMANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ARMANDO A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ARMANDO A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ARNALDO L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, AWILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, BELINDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, BELINDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, BENJAMIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, BILLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, BLANCA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, BRENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, BRENDALIZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, BRUNILDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARLOS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARLOS J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARLOS L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARLOS R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARMEN G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARMEN H      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARMEN J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARMEN M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARMEN M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARMEN S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARMEN S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARMEN S.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CARMEN V.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CECILIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CELIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CESAR E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CHRISTIAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CHRISTIAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CHRISTIAN O   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CIAMARA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CIARA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1770 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RODRIGUEZ, CINTHIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CLARIBEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CLEMENTE A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, CLEMENTE A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DAIMA ELIZ    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DAISY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DAISY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DARIALIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DAYLIZ J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DELENISE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DELENISE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DIANA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DIANA R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DIANETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DIONISIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DOMINGO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DOMINGO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DOMINGO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DORAYMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DORAYMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, DORIS N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EDDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EDDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EDILTRUDIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EDILTRUDIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EDISON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EDNA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EDWIN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EDWIN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EFRAIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ELBA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ELSIE J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ELVIN L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ELVIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EMILY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ENRIQUE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ERICK         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6770 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1771 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES RODRIGUEZ, ERICK G        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ERICK S.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ESTEFANIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EVA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EVA N.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EVELYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EVELYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EVELYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EVELYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EVELYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, EVELYN S       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, FABIAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, FELIX          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, FELIX          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, FELIX L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, FELIX R.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, FRANCES M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, FRANCISCA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, FRANCISCA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, FREDDY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GENESIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GERALDINA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GERARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GERARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GERSON D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GERSON I.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GERSON J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GERTRUDIS M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GIL S          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GILDALYS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GLADYS C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GLENDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GLENDALYS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GLORIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GRACIELA M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GREGORIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GRISEL E.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GRISELLE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GRISELLE S     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GUETZAIDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, GUILLERMO J.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, HAYDEE V       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, HECTOR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, HECTOR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, HEIDY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, HERMINTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, HERMINTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, HEROILDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, HEROILDA L     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6771 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1772 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RODRIGUEZ, IDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, IDALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ILDEFONSO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, IRMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ISMAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, IVAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, IVETTE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JAIME         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JAN CARLOS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JANELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JANELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JANELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JANET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JANET I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JANICE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JEANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JENNYMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JIMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JIMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOAN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOANNA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOCELYNE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOCELYNE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOHN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JORGE IVAN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JORGE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6772 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 1773 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


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CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
TORRES RODRIGUEZ, JOSE A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE B           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE E           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE FRANCISCO   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE I           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE L           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE L.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE LUIS        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE N.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE O           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE R           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSE U.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JOSEPHINE        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JUAN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JUAN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JUAN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JUAN A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JUAN C           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JUAN D           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JUAN F.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JUAN G           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JUAN PABLO       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JUANA E          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JUANITA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JULIO A          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JULIO C          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, JUSTO G.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, KEILA M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, KEILA M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, KERVIN O         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, KEVIN            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, KIARA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, KILSYS           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LAURA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LAURA R          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LEMUEL           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LESLIEANN        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LESLIEANN        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LILY             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LILY I           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LINNETTE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LINNETTE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6773 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1774 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RODRIGUEZ, LISNNETTE       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LIZETTE M.      REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LIZMARIE        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LOURDES S       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LUCY            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LUIS            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LUIS            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LUIS            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LUIS A          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LUIS A          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LUIS A          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LUIS ALFREDO    REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LUIS O          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LUISA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LUZ A           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LUZ E           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LUZ M           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LUZ M           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LUZ M.          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, LUZ N           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MAGALY          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MAGALY          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MAGLIS E        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARGARITA       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARGARITA       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARGARITA       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARGARITA       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARGARITA M REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA A         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA DE L      REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA DE L      REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA DE LOS A. REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA DE LOS    REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ANGELES
TORRES RODRIGUEZ, MARIA DE LOS    REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ANGELES
TORRES RODRIGUEZ, MARIA E         REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA E         REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA E.        REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA E.        REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA E.        REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA I         REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA J         REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6774 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1775 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RODRIGUEZ, MARIA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIANELA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIANO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARICELLY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARICELLY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARIELYS D.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARILYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARITJIM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARTA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MARTIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MAYLINE G     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MAYRA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MELANIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MERARI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MERCEDES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MERCEDES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MERCEDES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MICHELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MICHELLE M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MIGUEL A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MIGUEL A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MILAGROS Y    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MILAGROS Y    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MILTO L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MILTON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MISCHAYRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MONSERRATE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MYRIAM H      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, MYRNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NADIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NANCY I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NATACHE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6775 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1776 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RODRIGUEZ, NEISHMA S.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NELLY I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NELSON R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NELVA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NESTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NESTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NILDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NILDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NILDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NILMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NIVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NORA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NORBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NORDELLIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NORMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, NYDIA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, OLGA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, OMAYRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ONIX F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ORLANDO I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, OSVALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, PILAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, PURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, RAMON F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, RAMON L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, RAMON L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, RAMONA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, RAQUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, REY D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, RI SANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, RICARDO J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, RICHARD A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ROSA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ROSA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ROSA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ROSABEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, RUTH V.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, RUTH V.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, SAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6776 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1777 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TORRES RODRIGUEZ, SANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, SANDRA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, SEBASTIAN M.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, SHAILIN G      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, SONIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, SONIA M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, SONIA M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, SUEHEIL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, SYLVITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, TAHIRA N       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, TANIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, TANIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, TERESITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, VALERY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, VALERY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, VANESSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, VANESSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, VICTOR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, VICTOR J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, VILMA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, VILMA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, VIRGINIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, VIRGINIA R     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, VIVIAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, VIVIAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, VIVIANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, VLADIMIR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, VLADIMIR J     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, WALTER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, WANDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, WANDA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, WANDA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, WANDA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, WILDA T        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, WILFREDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, WILLIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, WILMA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, WILMA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, XAVIER J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, YADIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, YAJAIRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, YALITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, YANICE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, YARELIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, YARELIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, YARITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, YASMINDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, YOALYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6777 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1778 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RODRIGUEZ, ZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ZELIDETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ZIMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ZIMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ZOLAIMA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ZORAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ZUJEYRIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIGUEZ, ZULMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RODRIQUEZ, GABRIELA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROIG, EDITH M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROIG, LUCY I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROIG, YVONNE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROJAS, AURIE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROJAS, EDICTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROJAS, EILEEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROJAS, ERIC J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROJAS, VIVIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROJAS, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROJAS, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLDAN, EUNICE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLDAN, ISAAC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLDAN, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLDAN, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLDAN, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLDAN, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLON, ADA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLON, AN‐JOLET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLON, ELSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLON, ENID M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLON, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLON, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLON, MARCOS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLON, NYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLON, RAMONA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLON, RAYMOND           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLON, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROLON, YADARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, AGDEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, ANABELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, BARBARA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, DELMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, EDGARDO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, ELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, ELVIN O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6778 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1779 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ROMAN, EUGENIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, EUNICE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, FRANCISCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, HECTOR A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, INEABELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, IRIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, IRMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, JOAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, JORGE OMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, JOSE E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, JOSE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, JOSE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, LOUIS IVAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, MANUEL G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, MANUEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, MARCELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, MARIA ELISA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, MARY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, MYRIAM E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, NICOLE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, NIDIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, OLGA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, OSVALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, OSVALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, PEDRO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, RICHARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, RUTH D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, URAYOAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, VICTOR ANGEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, VICTOR M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, VIRGILIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, WALTER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, YARIZA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMAN, YISEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMERO, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMERO, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMERO, GILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMERO, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6779 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1780 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ROMERO, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMERO, KEISHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMERO, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMERO, MYRIAM I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMERO, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMERO, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMERO, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROMERO, WANDA IVELISSE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RONDON, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RONDON, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROQUE, DAYANARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROQUE, EDWARD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROQUE, LOURDES M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROQUE, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROQUE, WALLY ALBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROQUE, WALLY ALBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROQUE, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROQUE, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROS, SELENA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, AMAYAJOSUNE J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, CARLOS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, DAMARIS J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, DAMIAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, DEBORAH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, DENISE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, DOMINGO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, EDGARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, ELYSANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, FRANCES E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, FRANCES E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, HELGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, IDSIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, JOSHUA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, KARIMIR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, LINETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, MALVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, MARIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, MARIO R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6780 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1781 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ROSA, MAYRA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, MELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, MIGUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, MIGUELINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, MIGUELINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, NICOLE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, ORLANDO L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, REBECA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, ROLANDO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, ROSA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, SOR A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, VICTOR L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, WANDA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSA, ZULEIKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO MARIA, DE LOS A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, ABRAHAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, ADAMS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, ADOLFO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, BENJAMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, BETHZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, CARMELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, CATHERINE D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, DAYSIREE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, DEVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, DEVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, DEVIN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, DIANA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, DOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, EDMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, FELIPE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, ICHARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, JACKLYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, JOSEFINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, LEMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, LEMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, LUZ B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, MAGDA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6781 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1782 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ROSADO, MARTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, MERCEDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, MIRIAM I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, ROSA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, SAMUEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, SOANY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, VANESSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, VILMALEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, VIVIAM E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSADO, VIVIAN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSALY, GREIGHTON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSALY, GREIGHTON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, ANDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, ANIBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, ARILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, BRENDA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, CAROLINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, CESAR J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, EDGAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, ERICK O.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, ERNESTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, FELIX D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, FELIX M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, FREDDIE O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, GLADYS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, GLORIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, GLORIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, HECTOR L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, JENNIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6782 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1783 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ROSARIO, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, LIAMARIS I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, LIZA V.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, LUIS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, LUIS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, LUIS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, MARGARITA R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, MARIA DE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, MARTIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, MYRNA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, NERY ENID       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, OLGA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, SANTIAGO G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, SULIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, SULIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, SULIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, SUSANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, SUSANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, TERANI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, VICTOR A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSARIO, WILSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSAS, CORALY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSAS, JOHN W            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ROSAS, WILMARY J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUBERTE, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUBERTO, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUBIO, MARLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, AMIRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, AMPARO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, ANA H              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, ANASTACIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, ANGEL L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, ANTONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, BERLIAN C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, BRENDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6783 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1784 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RUIZ, BRENDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, CARMEN S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, DAMELY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, DAMELY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, DENISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, DIANISELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, EFRAIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, EMILIO G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, ENID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, ERNESTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, ERNESTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, GLENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, GLORIA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, IRIS B             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, IRIS B.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, ISRAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, ISRAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, JENISA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, JULIA S.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, JULIO E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, LILIA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, LILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, LIZZETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, LOURDES M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, LUIS R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, LUZ D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, MARIA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, MARIANE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, MARIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, MICHELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, MIGUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6784 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1785 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES RUIZ, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, NOEMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, NORMA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, OMAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, OMAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, OSCAR J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, PABLO A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, PROVIDENCIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, RAMON L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, ROSA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, ROYAL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, RUBEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, SYLVIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, VIVIAN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, WILDER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, YAMILKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, YAMILKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, YAMIR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUIZ, ZORAYA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RULLAN, MAGDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RULLAN, NAGDIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUPERTO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUPERTO, MELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUPERTO, MELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES RUSSE, JOANA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SAAVEDRA, FELIPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SAEZ, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SAEZ, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SAEZ, FRANCES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SAEZ, HAMLYN ZENEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SAEZ, ILIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SAEZ, JOLIZMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SAEZ, LUIS R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SAEZ, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SAEZ, VICTOR L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SALAMAN, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SALAMAN, REYNALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SALAMO, HERMINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SALAMO, VICENTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SALAS, CHRISTIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SALAS, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SALAZAR, ALINES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SALDA, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SALGADO, BASILISA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SALGADO, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SALICHS, ADA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1786 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES SALINAS, HAYDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SALINAS, JAMARYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SALINAS, LESLIE D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SAMALOT, LIZ VANESSA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SAMBOLIN, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SAMBOLIN, RICARDO LUIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANABRIA, DALCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANABRIA, DALCY D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANABRIA, LYNETTE Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, ALEXIS B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, ALMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, ALMA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, AMPARITO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, ANGELES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, BENITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, CANDIDA R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, CARELIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, CARMEN A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, CESAR A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, CHARLOTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, CHRISTINE E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, DANALISE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, DENISE C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, DENISE C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, DIMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, DIMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, DIMAS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, EDDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, EDNA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, EISHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, ELBA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, ELMER M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, FRANCES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, FRANCHESKA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, FRANCISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, GEMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, GENOVEVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, GISELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, GLADYS H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, GLENDALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, GLENDALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, GLORIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6786 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1787 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES SANCHEZ, GLORIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, GUILLERMINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, HUMBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, INOCENCIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, IRENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, IRIS I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, JEANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, JUAN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, JUAN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, LESLIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, LIDA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, LILLIAM I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, LISA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, LISSETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, LITZ A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, LYD MARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, MARIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, MARIA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, MARIALYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, MARILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, MARISEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, MAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, NATASHA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, NILSA IVETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, REINA T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, ROSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, ROSEMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, RUBEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, SHAKIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, SHEILA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, SHENYSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, SHENYSE S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, SOLIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, SOLIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, VERONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, VILMA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, VILMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6787 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1788 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES SANCHEZ, VIVIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, WALESKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, YADIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, YOLANDE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANCHEZ, YOLANDE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANDOVAL, DIOYLLY N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANDOVAL, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANDOVAL, LUCIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANES, BIENVENIDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANES, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANES, NORMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANJURJO, EVELYN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANJURJO, MERSA H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANJURJO, OSCAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANOGUET, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTA, CARMELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTA, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTA, FIORDALIZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTA, KEILA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTA, RAMON ERNESTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTA, VILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTA, VILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, CORAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, DASHIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, EDDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, ELGA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, EMMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, GLORIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, GUILLERMO J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, HECTOR J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, IROILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, JAYSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, JESUS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, JOSE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, JOSIANA G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, JOVANY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, LIMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, LORENA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, LUMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, LUZ G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTANA, WALESKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6788 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1789 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES SANTELL, OLGA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ABIGAIL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ABIMAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ADIANEZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ALEIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ALEJANDRO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ALEX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ALICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ANGELICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ANGELICA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ANGELICA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ANNA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, AURIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, BENJAMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, BETZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, BETZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, CARMEN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, CARMEN T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, CARMEN Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, CHARLINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, CHARLINE D.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, CHRYSTIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, CLARYMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, CONCEPCION     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, CYDMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, DAGMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, DAISY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, DAISY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, DANEIRY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, DANISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, DELIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, DENICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, DENICIA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, DIANA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, DORCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EDIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EDUARD A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EDUARD A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EDWARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1790 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES SANTIAGO, EDWARD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EDWIN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EDWIN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EDWIN S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EFREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ELICARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ELICE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ELIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ELIEZER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ELSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ELYWILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ELYWILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EMMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EMMA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ENID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ENID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ERIC R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, FERMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, FLOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, FLORA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, FRANCISCA E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, FRANKY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, FRANZUANETTE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, GLORIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, GRACY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, GRISELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, HECTOR F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, HECTOR L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, IGNACIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, INIABELLIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, IRAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, IRAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, IRIS D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, IRIS D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, IRMA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, IVAN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JACINTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6790 OF 7285
SCHEDULE E
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                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES SANTIAGO, JANICE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JENNEY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JESENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JESENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JOCELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JOHN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JOSE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JOSE G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JOSE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JOSE MIGUEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JOSE T.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JUAN ARIEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JUAN RAMON     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JULIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, JULIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, KEILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LANNY E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LILINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LISETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LISSETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LIZETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LIZMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LORNA Y.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LOURDES J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LUCILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LUIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LUIS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, LYNDAISY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MABEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MABEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MANUEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6791 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1792 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES SANTIAGO, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARIA DE L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARIA V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARILIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARILIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARLINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARLYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MARTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MITCHEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MOISES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MOISES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MONICA B       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, MONICA B       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, NANCY M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, NATALI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, NEFTALI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, NELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, NELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, NILSA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, NOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, NOELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, NOELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, NOELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, NYDIA EDNA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, NYURKA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, OMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, OSVALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, PEDRO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, RAMON A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ROSA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6792 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1793 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES SANTIAGO, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ROSALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ROXANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, SASHA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, SAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, SONIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, SONIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, SUGEY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, SUHEIL E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, TAMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, TAMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, WANDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, WENCESLAO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, WILMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, YAMID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, YAMID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, YARIANNE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, YRIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ZUGEILY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ZUGEILY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTIAGO, ZULMA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTINI, AIDA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTINI, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTO DOMINGO, NANCY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTO DOMINGO, NANCY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTO DOMINGO, NANCY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTONI, LUIS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, ADA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, ADA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, ADA P            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, ADELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, ADRIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, AIDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, AIDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1794 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES SANTOS, ANA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, AUREA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, CARLOS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, CARLOS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, CARLOS H.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, CARMEN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, CARMEN H.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, DORIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, EDILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, ELBA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, ELBA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, ELBA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, ERIC O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, GARRET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, GEOVANNIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, GISELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, JACQUELYN I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, JULIANNA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, KEYLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, KEYLA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, LOURDES A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, MARIA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, MARISELMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, MARTA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, MILAGROS C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, MYRNA N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, SANDRA MARIBEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, VICTOR N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, VIMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, WANDA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SANTOS, YELLYTZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SARRAGA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6794 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1795 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES SARRIERA, WALESKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SATOS, JAINEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SAVAGE, VANESSA B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SAYAN, KATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SCINSKI, JORGE G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEDA, JULIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEDA, JULIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEDA, YARELIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEDA, ZANIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEGARRA, ALMA Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEGARRA, BELMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEGARRA, ELSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEGARRA, JAMILLETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEGARRA, KENNETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEGARRA, LILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEGARRA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEGARRA, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEGARRA, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEGUINOT, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEGUINOT, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEIN, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEIN, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEIN, ESTHER R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEISE, ALEJANDRINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEMPRIT, ERICK           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEPULVEDA, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEPULVEDA, ELENA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEPULVEDA, ELSIE I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEPULVEDA, FREDDY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEPULVEDA, JORANNIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEPULVEDA, ROLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SEPULVEDA, SIOMARA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRA, RAFAEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, ANGEL D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, ASTRID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, ASTRID E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, BETZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, CARMEN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, EILEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, ELVYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, FREDDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, HECTOR E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, IRIS N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, IRIS N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6795 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1796 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES SERRANO, JAIME L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, JOSE D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, JUAN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, JULIO C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, LIZAHILY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, LUIS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, LUZ D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, LUZ S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, MELVIN W        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, SANDRA GRISEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, SONIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, SOR E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, WANDA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, YARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, YARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO, YARA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANO,LUIS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRANT, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERRNO, VON M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SERVIA, ADALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SIACA, IANCARLO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SIERRA, ADAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SIERRA, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SIERRA, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SIERRA, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SIERRA, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SIERRA, JOSEPH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SIERRA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SIERRA, MICHAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SIERRA, NYDIA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SIERRA, NYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SIERRA, NYRA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SIERRA, TYRENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SILVA, ANYVEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SILVA, CARINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SILVA, CARINA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SILVA, CARMELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SILVA, DIOMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SILVA, JOSE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SILVA, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6796 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1797 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES SILVA, LEANDRA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SILVA, OMALIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SILVA, RITA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SILVA, SANTOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SILVA, VALERIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SILVA, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SILVA, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SKERETT, EZEQUIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SKERRETT, MARCUS R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOBA, HEPZIBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOBA, HEPZIBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOBA, HEPZIBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOLA, LYMARIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOLANO, ANTHONY L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOLER, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOLIS, ABELARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOLIS, ABELARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOLIS, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOLIS, HORTENSIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOLIS, JUDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOLIS, TEODORO ALEX      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOLIVAN, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SORIANO, FRANKIE JOEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SORONDO, AURA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOSA, AMARILIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOSA, OSDALYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOSTRE, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOSTRE, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTERO, YASMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, ADA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, ADA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, ALBERTO E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, AMNERIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, BLANCA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, BRIGZEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, BRIGZEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, DORIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, EDGARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, ELI A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, EMILIANO R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, ENILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, ENILDA T.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, ESPANA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, GADIER R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, HARRY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, HARRY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6797 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1798 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES SOTO, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, HECTOR L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, IDALIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, IRIS N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, IRIS N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, ISMADALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, ISRAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, JOSE J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, JOSE J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, JOSE L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, JOSE R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, JUANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, JUANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, MARIA DEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, MARIA DEL C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, MILAGROS N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, MYRNA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, NORMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, PAULINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, PAULINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, REINA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, STEPHANIE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, STEPHENIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, TAINA H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, VIRGEN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, WILNELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTO, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTOMAYOR, JOSE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTOMAYOR, MAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SOTOMAYOR, RAQUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6798 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1799 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRES STERLING, SHEILA A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, ANA E.             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, ANNETTE V          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, ARACELIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, BETSY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, CARMEN A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, EDGAR              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, ERICA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, FEDERICO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, GLORIA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, HECTOR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, IRIS J.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, JANETTE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, JORGE L.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, JOSE L.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, KATHIANET          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, LUCECITA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, LUCECITA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, MARIA DE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, MARIA DE L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, MARIA DEL CARMEN   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, MARIA J            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, MARIANO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, RAMON              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, RUBEN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, SANDRA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, SONIEL M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, VANESSA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, WILLIAM R          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAREZ, XAVIER             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAU, SARAH                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAU, SARAH A              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUAU, SARAH A              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SULIVERAS, ANTHONY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SURILLO, EMANUEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SURILLO, YOSUE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SUSTAITA, GUADALUPE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES SVEUM, ISMAEL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TALAVERA, MARICARMEN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TALAVERA, VICTOR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TALAVERA, VIVIAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TAMAYO,ISMAEL              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TANON, MARA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TANON, MARA J              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TANON, MARIANGELY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TANON, MARIANGELY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TAPIA, IRVING              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TAPIA, IRVING M.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TAPIA, MARIA DE LOS A.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6799 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1800 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES TAVAREZ, FELIX J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TAVAREZ, JOANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TEJADA, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TELLADO, FRANCHESCA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TELLADO, FRANCHESKA I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TELLADO, MAUREEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TELLADO, WILFREDO E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TELLADO, WILFREDO E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TERONI, MERQUISEDEX      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TEXIDOR, HECTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TEXIDOR, MILDRED I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES THOMAS, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TIRADO, AIDA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TIRADO, CONCESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TIRADO, DAPHNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TIRADO, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TIRADO, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TIRADO, JAN A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TIRADO, JISELYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TIRADO, JISELYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TIRADO, JISELYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TIRADO, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TIRADO, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TIRADO, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TIRADO, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TIRADO, WILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TIRU, JUAN L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TIZOL, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TOLEDO, ANABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TOLEDO, ANGELES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TOLEDO, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TOLEDO, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TOLEDO, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TOLEDO, JUAN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TOLEDO, NYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TOMASSINI, GRISELL M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORO, ADA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORO, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORO, EILEEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORO, ELAINE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORO, ELAINE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORO, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORO, LIANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORO, LIANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORO, LOUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORO, NELLIE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORO, SANDRA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORO, SANDRA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORO, WALTER R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6800 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1801 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES TORO, WANDA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORREGROSA, DORIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORREGROSA, JACINTO M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRENS, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ADA N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ADELIRIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ADOLFO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, AGLAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, AGNES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, AIDA A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, AIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ALEJANDRINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ALEJANDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ALENIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ALENIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ALEXIS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ALMA Z           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, AMID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ANA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ANA IRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ANA MARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ANA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ANA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ANABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ANGELICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ANGELIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ANIBAL JOSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ANIBAL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ARNALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, AURA LIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, AURA LIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, AUREA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, BEATRIZ AWILDA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, BENEDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, BERNICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, BETSY J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6801 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1802 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES TORRES, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, BLANCA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, BRENDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, BRIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, BRUNILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, BRYANT K         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CANDIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARLOS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARLOS J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARLOS L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARMELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARMEN A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARMEN D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARMEN R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CARMEN S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CESAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CLARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CRUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CYNTHIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, CYNTHIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, DALYMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, DANISHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, DAVID M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, DENISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, DENNIES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, DENNIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, DIANYELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, EDGAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, EDGARDO D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, EDIBURGOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, EDIBURGOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, EDWARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, EDWIN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, EDWIN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6802 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1803 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES TORRES, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ELBA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ELBA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ELIZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ELSIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ELVIN O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, EVELINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, EVELINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, EVERALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, EZEQUIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, EZEQUIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, FABIOLA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, FELIPE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, FELIPE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, FLORENCIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, FRANCISCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, FRANCISCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, GABRIELA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, GASPAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, GERMAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, GILEYZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, GISSELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, GISSELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, GLADYS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, GLORY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, GRISELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, HAIDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, HECTOR F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, HEIDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, HERIENYD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, HERMENEGILDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, HERMENEGILDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, INES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, IRIS N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, IRIS V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ISABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ISSENNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6803 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1804 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES TORRES, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, IVELISSE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JAIME L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JANELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JANET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JANET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JANICE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JESSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JESUS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOAN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JORGE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JORGE H.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JORGE O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JOSE RENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6804 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1805 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES TORRES, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JUAN G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JUAN J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JUAN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JULIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, JULIO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, KAMALYS DEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, KAREN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, KRYSTAL M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LADY J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LEGNA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LEONARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LILIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LIMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LINDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LISA D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LISA D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LISANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LIZANABELL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LOISNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LOISNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LOURDELIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LOURDES I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LUCIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LUIS G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LUZ A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LUZ N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LYANN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LYDIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, LYNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6805 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1806 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES TORRES, MARA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARANGELI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARIA B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARIA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARIANNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MAYRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MAYRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MELANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MILDRED I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MILDRED J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MILDRED J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, MYRIAM V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, NADINE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, NORBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, NYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, OMAR A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, OMAR FRANCISCO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, PATRICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, PEDRO A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, PEDRO A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, PEDRO A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, RACHELLE M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, RAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, REYNALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1807 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES TORRES, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, RICARDO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ROSA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ROSA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ROSA N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ROSARIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ROSIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SADUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SAMUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SANDRA B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SANDRA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SANDRA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SANDRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SANDRA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SANTA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SHALAMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SHALAMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SILVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SOL I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SONIA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SONIA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, SONIA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, TOMAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, VALERIANO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, VERALDO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, VICTOR J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, VICTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, VILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, VIRGEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, VIRGEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, WILMER E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, WILSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, XAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, YADEILY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, YAILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, YAKIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, YAMELY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, YANIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6807 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1808 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES TORRES, YANIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, YANIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, YANIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, YOJAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, YOJAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, YOMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, YVONNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ZAIDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ZOBEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ZOBEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRES, ZOBEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TORRS, KAREN Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TOSADO, MANUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TOUCET, JOHANN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TOUCET, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TOUCET, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TOUCET, SYLVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TRAVERSO, JOSE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TRAVIESO, ANGELINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TRAVIESO, ANGELINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TRAVIESO, ANGELINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TRICOCHE, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TRINIDAD, ABDIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TRINIDAD, JUAN J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TRINIDAD, JUAN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TRINIDAD, ROSA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TRINIDAD, VIRGEN I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TRINIDAD, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TRUJILLO, SYBIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TRUJILLO, SYBIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TURELL, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES TURELL, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES UBILES, LAURA R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES URBINA, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES URRUTIA, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES USED, MARIA DEL C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES UZCATEGUI, MARIA C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALDES, BARBARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALDES, BARBARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALDES, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALENTIN, AGUSTIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALENTIN, AL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALENTIN, ALEJANDRO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALENTIN, ARMANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALENTIN, AWILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6808 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1809 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES VALENTIN, CRISTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALENTIN, CRISTINA G     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALENTIN, ELLIOT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALENTIN, ERNESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALENTIN, EVANGELINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALENTIN, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALENTIN, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALENTIN, MARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALENTIN, NIEVES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALENTIN, NYDIA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALENTIN, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALES, ROSAMIR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALLE, EDWIN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALLE, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALLE, JOSE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALLE, JOSE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALLE, MAGALY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALLE, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALLE, WYDISBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALLES, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VALLS, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARAS, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARCARCEL, ANGEL R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARELA, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARELA, YADAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARG*, LIZALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, ARNALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, CARLOS L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, CARMEN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, EDGAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, HARRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, IRIS E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, IRIS E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, JERRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, JESSENETT        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, JESSENETT        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, JORGE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, JORGE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, JOSEFINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, LINDA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6809 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1810 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES VARGAS, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, LUZ C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, MARY L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, NILDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, PETRA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, RAMON L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, RAMON L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, SARAH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, VILMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, VILMA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, WANDA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VARGAS, YAMARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ADA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ADA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ADA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ALBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, AMARILYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, AMELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ANA H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ANDERSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ANNABELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ARYCELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, CARMEN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, CHARLEY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, CHRISTIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, DALMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, DALMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ELSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ELSA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ENGRACIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ERALIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ERNIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ESTHER E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, FELIX L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, FELIX O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, FRANCISCO J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, GAMALIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, GAUDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, GAUDY M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, GUSTAVO A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, HILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6810 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1811 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES VAZQUEZ, HILIANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, JEAN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, JORGE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, JORGE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, JOSE RAUL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, JOSUE D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, JUAN C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, JUANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, JULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, JULIO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, KEISHLA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, KELLIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, LILIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, LIZZETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, LIZZETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, LORI A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, LORI ANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, LUIS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, MANUEL J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, MARIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, MARIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, MARICELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, MAXIMINO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, MIGUEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, NARDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, NARDY M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, OTTO W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, PABLO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6811 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1812 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES VAZQUEZ, PEDRO          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, PERLA C        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, RAQUEL         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, SAMUEL ORLANDO REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, SANDRA         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, SERGIO         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, SHEILA         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, SHEILLA L      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, UZIEL DAVID    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, VANESSA        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, VICTOR         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, VILMARY        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, VILMARY        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, WALDO A        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, WILLIAM        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, WILLIAM        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, WILMARIE       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VAZQUEZ, YESENYA L      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, ADA R             REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, ADA R             REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, ALBERTO           REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, ANA R             REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, ARACELIS          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, CARLOS            REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, CARMEN            REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, CECILIA           REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, DAISY             REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, DOMINGA           REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, EDWIN             REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, ELBA I            REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, ELISABET          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, ELSA L            REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, EVELYN J          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, GERARDO           REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, GLADYS            REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, GLADYS            REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, HECTOR J          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, HENRY             REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, HERMINIO          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, JAIME             REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, JESSICA           REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, JESUS D           REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, JOANNY            REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, JONATHAN J        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, JORGE L.          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, JORGE O           REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, JOSE              REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, JOSE              REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, JOSE A            REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6812 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1813 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES VEGA, JOSE ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, JOSUE O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, JUANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, KEISHLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, LIZANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, LOURDES M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, MARCOS L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, MARIA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, MARTA V.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, MINDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, MIRNA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, MITZA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, MOISES J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, NILDA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, NILDA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, NOELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, PAULINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, RAFAEL H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, REINALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, REINALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, REINALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, ROSA D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, ROSAIDY E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, ROSELYN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, SALLY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, STEVEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, WALESKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, WILDA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, WILSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, YANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, YANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, ZELMA Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA, ZULEIKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA,CARLOS R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VEGA,JOSE D.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUE, ELDER G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEOO637, ALEXIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, ALBERT        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, ALEXANDRO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, ALEXANDRO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, ANGEL M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, BELLE M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, BRENDA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1814 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES VELAZQUEZ, BRENDA L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, CARLO R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, CRISTINA R    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, DENNIS E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, ERIC JAVIER   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, EVANGELINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, GILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, GLENDA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, HAYDEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, HAYDEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, IRMA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, ISABEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, JANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, JOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, JOSE ANIBAL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, JOSE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, JUAN L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, LEISMARY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, LEISMARY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, LOUIS Y.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, LUZ N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, MARELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, MARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, MARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, MARIA N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, MARIELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, NICOLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, PEDRO M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, RAFAELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, RUTH E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, VITERLINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, WANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELAZQUEZ, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, AMELIA JAZMIN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, ANA G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, ANGEL L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, BETSABEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, CARLOS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6814 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1815 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES VELEZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, CARMEN S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, DARLENE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, DORA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, DORIS L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, ELBA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, ELIEZER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, ELIZABETH T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, ELSIE N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, EMMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, ERNESTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, ERNESTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, EVA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, EVA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, FERDINAND         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, FRANK G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, FRANK G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, JOSE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, KAREM M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, KAREM M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, LOUISETTE K.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, LUCIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, LUIS R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, MADELINE Y.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, MARIA DE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, MARIANGELI M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, MARILU            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, MERARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, MICHAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, MILTON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, NATIVIDAD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, NERYS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, PEDRO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6815 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1816 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES VELEZ, REINALDO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, RIGOBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, RUBEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, WIGBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, YAHAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELEZ, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VELLON, RUTH E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VENCEBI, NYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VENDRELL, IRMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VENDRELL, SANDRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VENTURA, KELLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VENTURA, VIRGENMINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VERA, ELBA G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VERA, INGRID J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VERA, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VERA, JULIAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VERA, LUZ E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VERA, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VERA, MIGUEL O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VERA, MIGUEL O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VERA, RAQUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIADA, FRANK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VICENTE, ALEXA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VICENTE, CAMILLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VICENTE, CAMILLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VICENTE, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VICENTE, EMELY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VICENTE, IVONNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VICENTE, IVONNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VICENTE, MARCOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VICENTY, YANIRA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VICHES, YARITZA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VICKERY, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VICTORIANO, KARLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIDRO, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIERA, DILAYLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIERA, JOSE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIERA, LETTY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIERA, LETTY M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIERA, MARITZA A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIERA, SARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIERA, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIGO, SHARON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILANOVA, RICARDO L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLAFANE, MYRNA R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLALOBOS, ROXANA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLALOBOS, ROXANA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6816 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1817 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES VILLALOBOS, SAMUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLANUEVA, ANA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLANUEVA, BRYAN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLANUEVA, ESTHER E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLANUEVA, HERBERT      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLANUEVA, JUAN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLANUEVA, JUAN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLANUEVA, SANDRA I.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLANUEVA, SONIA N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLARIN, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLARONGA, CARMEN N     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLEGAS, ANGELA F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLEGAS, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLEGAS, ELIUD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLEGAS, ILADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLEGAS, LUZ M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VILLOCH, KARINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VINALES, GISSEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIRELLA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIROLA, JOHN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIROLA, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIRUET, ADA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIRUET, DORA LEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIRUET, RUTH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIVES, SARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIVES, VIRGINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIZCARRONDO, ELIETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES VIZCARRONDO, MARILYN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES WALKER, ALEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES WALKER, BOLIVAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES WALKER, JERRY L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES WEVER, ZULAIKA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES WILLIAMS, CYNTHIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES WILLIAMS, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES WILLIAMS, XIARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES WILSON, MILDRED M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES WILSON, MILDRED M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES YAMBO, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES YAMBO, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES YORDAN, LIZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES YORDAN, NELSON J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZABALA, RUTH DALLYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAMBRANA, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAMORA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAPATA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZARZUELA, GERONIMO B.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYALA, SIXTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, ALFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1818 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES ZAYAS, EDGAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, ERNESTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, FILOMENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, FILOMENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, HIPOLITO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, IBELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, LEYSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, MARIANELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, MAXIMINO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, NORDELLIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, ROSA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, YACO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZAYAS, YOALINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZENQUIS, NESTOR O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES ZENQUIS, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, ADA M                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, ALBA                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, ALEX                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, ANGEL J.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, ANGEL L.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, ANGEL L.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, ANGEL W                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, ANTONIA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, ANTONIO L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, AYESHA M                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, CAMELIA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, CARLOS                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, CARLOS                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, CARLOS A.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, CARLOS M                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, CARLOS M.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, CARMEN OLGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, CONCEPCION DEL C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, DARLIN JANICE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, DHAYNELISSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, DULCE M.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, ELISA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, ELMER                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, ENRIQUE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, EVANGELISTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, EVELYN                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, FELIX                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, FRANK JR                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6818 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1819 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES, FREIDA E                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, GLENDALY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, GLENDAMID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, GREGORIO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, GRISELLE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, HARRY H                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, HECTOR L                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, IDALIS                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, IDALIS                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, IRMA                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, JANICE                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, JARELYS Z               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, JAVIER                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, JEANNETTE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, JORGE                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, JORGE L                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, JOSE A                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, JOSE A.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, JUAN A                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, JUAN L                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, JUANITA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, JUDITH                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, LUCRECIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, LUIS                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, LUIS A                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, LUIS A.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, LUIS J.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, LYDIA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, MARIA DE LOS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, MARIA DE LOS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, MARIA DEL L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, MARIA M                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, MARIANELA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, MARIJOAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, MIDNALYS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, MILAGROS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, MILAGROS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, MODESTA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, ORLANDO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, PATRICIA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, PATRICIA N.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, PAULA E                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, PEDRO                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, PEDRO                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, QUETCY                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, QUETCY V                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, RALPHIE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, RAQUEL                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, RAUL                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6819 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1820 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TORRES, RICARDO                REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, ROSA A                 REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, ROSA MARIA             REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, SPIROS G               REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, VICTOR M.              REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, VIVIAN                 REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, WANDA                  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, WILFREDO               REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, WILFREDO               REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, WILFREDO               REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, WILLIAM                REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES, YOLANDA                REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES,CARLOS                  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES,CARLOS J.               REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES,FRANCISCO               REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES,HECTOR                  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES,JOSE M.                 REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES,LUIS                    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRES,ORLANDO                 REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TORRESARGUELLES, CARMENYAMAIRA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

TORRESARROYO, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESBONILLA, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES‐CARDOZA, IVONNE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES‐CORREA, LUZ E.           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESDEJESUS, HERNAN           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESDELVALLE, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESFONTAN, NELIDA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESGONZALEZ, EDDIE R         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESLOPEZ, JAMES              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES‐LOPEZ, PEDRO M.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESMERCADO, IGNACIO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESMIRANDA, YANEYSLA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESMORALES, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESNIEVES, JOANNE            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESOLA MERCED, NATALIA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESOLA MERCED, NATALIA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESORTIZ, CARLOS GUILLERMO   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESORTIZ, SHEYLA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESPAGAN, HIRAM              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESPEREZ, ARISTIDES          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESRAMOS, JUSTO              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESRIVERA, HIRAM             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESRIVERA, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESRIVERA, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESRIVERA, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESRODRIGUEZ, FREDDIE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRES‐RODRIGUEZ, NILDA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
TORRESRODRIGUEZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6820 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 1821 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
TORRESROLON, JOSE A                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRESROMAN, ABRAHAM               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRESROQUE, IGNACIO               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRESROSARIO, FLORENCIO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRESSANCHEZ, ANA M               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRESSANTOS, CARLOS               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRESSANTOS, FELIX                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRESSUED, MIGUEL                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRESVARELA, JORLAN               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRESVEGA, MIGUEL                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORREZ LOPEZ, MAXIMINA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORREZ MAIZONET, STEPHANIE P       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRON MARTINEZ, JOSE E            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRRES ACOSTA, ADA                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRRES RIVERA, LILLIAM            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRRESRIVERA, ROSA M.             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRS CAMACHO, BRAYAN              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRS SANTIAGO, ZOHARY             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA ARENAS, ANA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA ASENCIO, JOAQUINA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA CANCEL, ANGELICA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA CANCEL, AURELIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA COLON, BRENDA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA COLON, BRENDA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA COLON, MARIA DE LOS A.   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA COLON, SANDRA I.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA DELGADO, LIZA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA DELGADO, LIZA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA GARCIA, MINERVA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA GARCIA, PATRICIA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA GONZALEZ, DANIEL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA HERNANDEZ, EMMA J        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA MELENDEZ, MARISOL        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA MELENDEZ, MARISOL        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA MIRANDA, GABRIEL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA OLIVERA, YOLANDA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA PEREZ, JULIO O           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA RIVERA, ANA C.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA RIVERA, CESAR A          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA RIVERA, IRENE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA RIVERA, JACKELINE        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA RIVERA, MARIA A          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA RIVERA, RICARDO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA RIVERA, RICARDO          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA RIVERA, VILMA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA VAZQUEZ, JOSE M.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLA VELAZQUEZ, LUZ E         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS ., GIOVANNI             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS ARENAS, ANA L           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6821 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1822 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TORRUELLAS BAEZ, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS BERRIOS, VICTOR J      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS CORREA, GLADYS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS FARINACCI, GUILLERMO   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS FERRER, CELESTE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS FLORES, MARY J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS GARCIA, PEDRO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS IGLESI, GILBERTO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS IGLESIAS, EDWIN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS LOZADA, ALBA N         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS MARTINEZ, ERIC         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS PEREZ, CARLOS E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS RAMOS, HERIBERTO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS ROLDAN, ROSALYN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS SALVADOR, IRMA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS TIRADO, LOURDES M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS VELAZQUEZ, LUZ ENID    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORRUELLAS, CARMEN L              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORT LOPEZ, HELEN                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORT NEGRON, JOSE                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORT NEGRON, JOSE                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORT SANTIAGO, ETHELIN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORT, JOSE E.                     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORUELLA FARINACCI, GUILLERMO J   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORUELLA HERNANDEZ, REINA M.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TORUELLA PAGAN, RADAMES           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO ACEVEDO, WILFREDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO ALGARIN, MARIA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO APONTE, BLANCA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO ARBELO, GLORIVEE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO ARBELO, IVETTE M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO AROCHO, NESTOR E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO AVILA, HECTOR              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO AVILA, MARIA I             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO AVILA, MARIA I             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO BARRETO, AUREA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO BONILLA, RUTH M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO BUTLER, CARLOS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO BUTLER, EVELYN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO BUTLER, IVETTE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO CACERES, SANDRA L.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO CAJIGAS, CARMEN J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO CASTRO, ADA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO CASTRO, ADA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO CASTRO, MARGARITA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO CASTRO, MARGARITA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO CASTRO, VIVIEN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO CASTRO, VIVIEN J           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO CRUZ, KRIZIA MAIRIM        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6822 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1823 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TOSADO ESPINOSA, MARCOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO FELICIANO, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO FERNANDEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO FERNANDEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO FRANQUI, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO FRANQUI, WANDA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO GERENA, RAFAEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO GONZALEZ, RACHEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO GUTIERREZ, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO GUZMAN, CARMEN R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO GUZMAN, FEDERICO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO GUZMAN, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO HERMINA, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO HERMINA, MANUEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO HERMINA, OSCAR A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO HERNANADEZ, CELMA J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO IRIZARRY, MARYLENE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO IRIZARRY, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO JIMENEZ, ANEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO LOPEZ, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO LOPEZ, IRIS R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO MARTINEZ, ADRIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO MARTINEZ, ADRIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO MARZAN, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO MATOS, JOSE O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO MENENDEZ, ANA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO MENENDEZ, BETHZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO MORELL, MERBIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO MORELL, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO MORELL, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO NIEVES, PEDRO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO NUNEZ, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO OQUENDO, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO PEREZ, RAFAEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO POLANCO, JUAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO QUINONES, LUIS F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO RIVERA, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO RIVERA, LUZ S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO RIVERA, LUZ S.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO RIVERA, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO RODRIGUEZ, ARYAM E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO RODRIGUEZ, ASLIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO RODRIGUEZ, ISIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO RODRIGUEZ, MICHELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO RODRIGUEZ, MICHELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO RODRIGUEZ, MICHELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO RODRIGUEZ, PRISCILA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO RODRIGUEZ, YAHIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6823 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1824 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TOSADO ROMAN, ERIC              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO ROMAN, MARIA H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO ROMERO, MARLENE D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO ROMERO, MARLENE D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO TORRES, JOSE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO TOSADO, BETTY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO TOSADO, NANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO VAZQUEZ, KEYLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO VAZQUEZ, KEYLA Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO VAZQUEZ, WANDALEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO, DORADIS M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSADO, JAVIER R.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSAS SESENTON, MATILDE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSCA ALICEA, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSCA CASIANO, PAULA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSCA CASIANO, PAULA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSCA GONZALEZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSCA SERRANO, RAQUEL I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSSAS COLON, BEATRIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSSAS COLON, BEATRIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSSAS COLON, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSSAS COLON, LUIS ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSSAS CORDERO, NYDIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSSAS CORDERO, NYDIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSSAS COSTAS, ESTHER M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSSAS FLORES, MARIA DEL C.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSSAS GOMEZ, AIDA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSSAS GOMEZ, AIDA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSSAS ORTIZ, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSTE ARANA, MARIA T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSTE ARANA, NOEMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSTE CASTRO, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSTE ORTEGA, ALBERTO LUIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSTE TORRES, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSTE VELAZQUEZ, ILEANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSTE VELAZQUEZ, ILEANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSTE VILLANUEVA, MARJORIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOSTESON GARCIA, HUGH C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCE NIEVES, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCET ALVARADO, ARDEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCET BAEZ, GISELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCET BOSA, EDGAR L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCET BOSA, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCET CORDERO, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCET COTTI, WILLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCET DOX, ADALJISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCET MEDINA, MANUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCET MORALES, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCET NIEVES, LUIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6824 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1825 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TOUCET PEREZ, CIRY L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCET PEREZ, LUIS MANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCET PEREZ, SANDRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCET SANTOS, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCET SANTOS, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCET TORRES, EMILIO J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUCET TORRES, MELVA ZOE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUS CARDONA, JOSE M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUS CARDONA, LARRISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUS CHEVRE, SANDRA DE R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUSET BAEZ, MARISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUSET CASTELLAR, EMY A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUSET CASTELLAR, EMY ARLINE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUSET RODRIGUEZ, LUZ P         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUSET RODRIGUEZ, MYRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUSET SANTIAGO, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUSET VELAZQUEZ, BARTOLO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOUSSET HERNANDEZ, WILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOYENS DIAZ, JYVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOYENS GOYTIA, KRYSTAL G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOYENS MALDONADO, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOYENS MARTINEZ, JUANITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOYENS OJEDA, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOYENS QUINONES, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOYENS QUINTANA, ENID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOYENS QUINTANA, ENID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOYENS QUINTANA, PABLO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOYENS TORRES, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOYLLENS FUENTES, JENNIFER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOYOS GONZALEZ, OMAYRA J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TOZADO, JAVIER                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TQRRES MENDOZA, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL ALICEA, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL CANCEL, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL CANCEL, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL CARLO, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL CARLO, FLORENCE I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL CARRERO, GLENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL CUEVAS, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL ESTEVES, PERFECTO O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL ESTRELLA, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL GONZALEZ, EDIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL GONZALEZ, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL IRIZARRY, FRANCISCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL IRIZARRY, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL IRIZARRY, JUAN A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL MARTINEZ, SYLVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL ORTIZ, CRIMILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL PRATTS, MARILU           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6825 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1826 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TRABAL QUINTANA, AIDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL RIOS, DORIANN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL RIVERA, SASHA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL RODRIGUEZ, PEDRO V        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL ROSA, MANUEL A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL TORRES, NELSON            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL VALENTIN, LYVETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL VALENTIN, NOHELY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRABAL, JUAN A.                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRANA CUADRA, MARIA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAPOTE COWLEY, CRISTINA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO AVILES, WILKINS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO BONILLA, ZENONITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO CACERES, JORGE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO CAPO, MARIA TERESA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO CARDE, CARLOS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO CASTRO, ANTUAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO CORTES, ALEXANDRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO ECHEVARRIA, YAJAIRA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO FUENTES, LUZ E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO GONZALEZ, ENEIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO GONZALEZ, LETICIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO GONZALEZ, NELSON        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO MEDINA, YESENIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO MORALES, HECTOR W       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO PEREZ, NILMARIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO PEREZ, WANDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO QUINONES, SONIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO QUINONES, SONIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO RAMOS, ELAINE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO RAMOS, HECTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO RESTO, MIRIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO RIVERA, LOURDES C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO RIVERA, NELSON O.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO ROMAN, ANA C            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO ROSA, CARLOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO ROSA, CARLOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO ROSA, NANCY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO UBINAS, LUIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO VARGAS, JADIRA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO VAZQUEZ, DORIS M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO VAZQUEZ, DORIS M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO VAZQUEZ, OLGA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERSO VAZQUEZ, OLGA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERZO BARRETO, VIRGINIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERZO BARRETO, VIRGINIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERZO CARDONA, FRANCISCO A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERZO CARDONA, ROSA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERZO MENDEZ, HECTOR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6826 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1827 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TRAVERZO ORTIZ, ISMAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERZO PEREZ, SORYVETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERZO PEREZ, WANDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERZO QUILES, MARCOS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERZO SOTO, DORIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVERZO VERA, FRANCISCO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVESIER DE LEON, MARY T.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO ANDREU, AXEL G          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO CAMACHO, VANESSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO CAMACHO, VANESSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO CASTRO, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO CASTRO, MARCELINO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO CASTRO, VICTOR M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO COLON, CARMEN L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO COLON, VICTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO CRESPO, REY F           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO DIAZ, HECTOR I.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO DIPINI, ANGEL O         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO DIPINI, GRISSEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO DIPINI, GRISSEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO FLORES, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO GARCIA, RADAMES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO GONZALEZ, IRIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO GONZALEZ, IRIS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO GONZALEZ, MARIA DEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO GONZALEZ, MARIA DEL R   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO LEDUC, JOSE L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO LEDUC, SYLVIA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO MIRANDA, HECTOR R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO RIVERA, CHELIMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO RIVERA, CHELIMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO RIVERA, IRMA N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO RIVERA, NORAIL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO ROSARIO, ANGEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO SERRANO, ANGELICA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO SIERRA, CARLOS R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO TORRES, ABIGAIL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO TORRES, ABIGAIL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO TORRES, EDDIE D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIESO VILLAFANE, CHRISTIAN    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRAVIZA VELEZ, TANYA A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREJO GUTIERREZ, ANIRAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRELLES HERNANDEZ, MARIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREMOLS CALDERON, GLENDALEE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRENCHE AGOSTO, NILSA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRENCHE BETANCOUR, GRISELLE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRENCHE BETANCOUR, GRISELLE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRENCHE BETANCOURT, WANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRENCHE MARTINEZ, SERGIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6827 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 1828 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TRENCHE SURIA, RAYSSA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRENCHE VEGA, AIDA IRIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRENTO BIASSONI, MARIA V.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRESPALACIOS MALCUN, DAVID       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRESS GARCIA, MARGO              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRETO TORRES, JUANITA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO ALICEA, LINDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO CARRASQUILLO, YADIRA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO CUEVAS, ADOLFO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO MALDONADO, BEATRIZ       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO MENDEZ, RAMON            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO MIRANDA, JEANNETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO NIEVES, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO NIEVES, MARIA E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO ORTIZ, CARMEN I.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO ORTIZ, WANDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO PAGAN, MARTA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO REYES, ALBA T            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO REYES, JORGE E.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO RODRIGUEZ, MARIA A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO SALAMAN, CYNTHIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO SALAMAN, IVONNE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO SANTIAGO, TAINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TREVINO, NAIRKA                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRIANA LOPEZ, LARISSA M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRIANA LOPEZ, LARISSA M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRIANA MERLO, ANGEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRIAS CARTAGENA, LEIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRIAS DEL TORO, DIALYD R.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRIAY PARAJON, ANA J             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRICARICO GARCIA, LUZ            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRICARICO GARCIA, LUZ E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRICOCHE ALBERTORIO, LAUDA A.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRICOCHE CRUZ, MARIA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRICOCHE DE JESUS, LUZ N.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRICOCHE DE JESUS, PEDRO R.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRICOCHE GARAYUA, MYRNA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRICOCHE GONZALEZ, JOSE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRICOCHE GONZALEZ, RUBEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRICOCHE GUZMAN, CAROLYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRICOCHE MARTINEZ, EDWIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRICOCHE PEREZ, MYRTHA V         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRICOCHE RODRIGUEZ, ISAAC        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRICOCHE ROMAN, SAUL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRICOCHE, PEDRO                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRICOLI RODRIGUEZ, CARLA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRIDAS FERNANDEZ, JOSE M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRIDAS FERNANDEZ, ROSA DEL PIL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRIGO BELAVAL, JUAN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6828 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 1829 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TRIGO DIETRICH, JAQUELINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRIGO FERRAIUOLI, MARIA Z.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRIGO FERRAIVOLI, MERCEDES C      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRIGO FRITZ, EMILIANO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRIGO SUAREZ, SARA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRILLA QUINTANA, PATRICIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRILLA RAMOS, ALEJANDRO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRILLA RAMOS, ALEJANDRO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRILLA RUIZ, DAMARIS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRILLO RIVERA, ANA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRILLO RIVERA, ANA M              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRILLO TIRADO, ROBIN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINCHET MEDINA, MARIA T.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ADAMES, ZULEYKA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ADORNO, LORENZO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ADORNO, LORENZO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ALEJANDRO, MAGDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ALEJANDRO, WANDA R       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ALICEA, JOSHMAYRA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ALVARADO, EDWIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ALVARADO, MARITZA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ALVAREZ, ANGEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ALVAREZ, ANGEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ALVAREZ, ANGEL LUIS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ALVAREZ, DAISY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD AYALA, TILSA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD AYALA, TILSA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD BETANCOURT, JOSE G       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD BONILLA, MARILYN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CANCEL, LIANAIVETTE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CANCEL, VELMARY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CANCEL, VELMY L.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CANUELAS, SANDRA J.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CARABALLO, BRENDA L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CASTILLO, ALEXANDRA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CASTILLO, ALEXANDRA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CASTILLO, KARLA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CASTILLO, WILLIAM        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CONCEPCION, AWILDA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CONCEPCION, SARAHI       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CONCEPCION, VICTOR       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CORDERO, ORLANDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CORDERO, VERONICA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CORDOVA, JOHANNE DEL C   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CORTES, LYDIA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CORTES, MARTHA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CORTES, MARTHA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CORTES, MARTHA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CORTEZ, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6829 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1830 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TRINIDAD COTTO, JUAN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CRESPO, OSCAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CRUZ, ANA LEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CRUZ, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CRUZ, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CRUZADO, BRENDALIZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD CRUZADO, BRENDALIZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD DAVILA, GUELLIENT C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD DE CLEMENTE, SONIA N   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD DE SERRANO, ROSA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD DEL RIO, GLADYNEL M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD DEL VALLE, GLORIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD DIAZ, LIZA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD DIAZ, VALERIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD DONES, LEONIDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ESCALERA, PEDRO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ESTRADA, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ESTRADA, ORLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD FEBRES, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD FELICIANO, JESSICA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD FIGUEROA, ALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD FIGUEROA, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD FIGUEROA, TEOMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD FLORES, EUGENIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD FLORES, IDALIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD FLORES, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD FLORES, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD FONTANEZ, NORMA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD GALARZA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD GARAY, LUIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD GARCIA, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD GARCIA, JULIO E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD GARCIA, JULIO E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD GINES, IRIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD GOMEZ, JORGE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD GONZALEZ, ANGEL M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD GONZALEZ, ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD GONZALEZ, ARIS E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD GONZALEZ, EIXA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD GONZALEZ, INOCENCIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD GONZALEZ, JOSHUA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD GONZALEZ, MAGDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD GONZALEZ, WILMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD GUZMAN, MINERVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD HERNANDEZ, GLADYS N    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD HERNANDEZ, JOSE D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD HERNANDEZ, MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD HERNANDEZ, ROLANDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD HERNANDEZ, URBANO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6830 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 1831 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
TRINIDAD HERNANDEZ, VICTOR         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD JORGE, JOAN               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD LABOY, MARIANELA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD LANZA, BEATRIZ            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD LANZA, BEATRIZ            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD LANZA, ROBERTO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD LOPEZ, CECI I             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD LOPEZ, LUZ                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD LOPEZ, SANTOS F           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD LOPEZ, YARITZA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD LUGO, BARABARA A.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD LUGO, LORENZO             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD LUGO, ROSE M              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD LUNA, ISRAEL              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MALDONADO, JOSE M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MALDONADO, TRINIDAD       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MARRERO, JUAN L           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MARRERO, KARLA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MARRERO, MIGDALIA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MARTEL, MARGARITA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MARTELL, EVELYN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MARTIN, YAJAIRA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MARTIN, YAZLIN            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MARTIN, YELITZA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MAS, LUIS A.              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MAS, LUIS A.              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MATOS, ANGEL M            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MENENDEZ, MARILU          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MIRANDA, CHRISTOPHER      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MOJICA, JULIO C           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MONTANEZ, ELENA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MONTAS, LUCY              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MONTAS, MARIA I           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MORALES, EMMA M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MORALES, EMMA M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MORALES, NEIDALIZ         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MUNIZ, ELSA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MUNIZ, ELSA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD MURIEL, MARGARITA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD NARVAEZ, IVETTE M.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD NEGRON, ANTONIO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD NIEVES, EDWIN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD NIEVES, RAFAEL M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD OLMO, ERIC                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ORTEGA, CARMEN            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ORTIZ, CYNTHIA MICHELLE   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ORTIZ, DAVID A            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ORTIZ, ENEIDA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ORTIZ, ENEIDA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6831 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1832 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TRINIDAD ORTIZ, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ORTIZ, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ORTIZ, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ORTIZ, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD OTERO, CRUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD OTERO, CRUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD OTERO, CRUZ MICHELLE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD OTERO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD OTERO, NIVIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD PABON, AUREA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD PABON, DIANA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD PABON, NYDIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD PADILLA, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD PADILLA, JESSICA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD PADRO, JUDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD PADRO, JUDITH A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD PAGAN, ANGIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD PAGAN, ANGIE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD PERALTA, NAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD PERALTA, NAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD PERALTA, NAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD PEREZ, XIOMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD PIZARRO, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD PIZARRO, LUZ C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD QUILES, CARMEN I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD QUILES, YAMIRIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD QUINONES, MARIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD QUINONES, MARIA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD QUINONES, NICOLAS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RAMOS, IVETTE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RAMOS, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RAMOS, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD REYES, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD REYES, REBECCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD REYES, SUJEIRY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIGAU, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIGAU, ERICK           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIGAU, ERICK XAVIER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIOS, JESUS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIOS, ROSESMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, BRENDA LEE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, ELVIRA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, GILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, GILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6832 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1833 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TRINIDAD RIVERA, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, LUIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, LUIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, LUZ I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, NORAIMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, RAYMOND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RIVERA, ZAIDA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ROBLES, CRUZ M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ROBLES, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ROBLES, PEGGY E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RODRIGUEZ, ANGEL D.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RODRIGUEZ, CARLOS J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RODRIGUEZ, DIOSARA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RODRIGUEZ, DIOSAURA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RODRIGUEZ, IRMA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RODRIGUEZ, LIZ O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RODRIGUEZ, LUCIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RODRIGUEZ, LUCIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RODRIGUEZ, LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RODRIGUEZ, LUIS R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RODRIGUEZ, LUIS R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RODRIGUEZ, MARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RODRIGUEZ, MILDRED     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ROJAS, ELBA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ROJAS, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ROLON, LUZ E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ROLON, LUZ E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ROMAN, HIRAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ROMAN, LUIS E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ROSA, ADIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ROSA, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD ROSADO, ZAIDA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RUIZ, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD RUIZ, MARIA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD SANCHEZ, ANGELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD SANCHEZ, ANGELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD SANCHEZ, EVELYN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD SANTIAGO, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD SANTIAGO, LUIS G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD SANTIAGO, MANUEL A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD SANTOS, NORMA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD SEPULVEDA, ROBERTO J   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD SIERRA, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD SIERRA, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD SIERRA, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6833 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1834 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
TRINIDAD SILVA, SANDRA JANETTE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD SILVA, WANDA L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD SOLA, MIRTA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD SOTO, GADDIEL E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD TOLLENS, EDGARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD TORRES, BLANCA G.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD TORRES, CAROLYN G       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD TORRES, FILOMENA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD TORRES, MAYRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD TORRES, MILAGROS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD TRAVIESO, OLGA B        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD TRINIDAD, JENNY L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD TRINIDAD, JOSE L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VALCARCEL, JOSE F       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VALCARCEL, JOSE F       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VALENTIN, ERICA E.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VAZQUEZ, ALBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VAZQUEZ, ELSIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VAZQUEZ, FELICIANO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VAZQUEZ, GLADYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VAZQUEZ, JOSE A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VAZQUEZ, JOSE A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VAZQUEZ, JULIO C        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VAZQUEZ, JULIO C.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VAZQUEZ, LUIS A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VAZQUEZ, LUIS A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VAZQUEZ, LUIS D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VAZQUEZ, RAFAEL L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VELEZ, JOEMAR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VELEZ, JOEMAR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VELEZ, OMAR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD VIERA, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD WRIGHT, ANTONIO G.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDAD, LUIS                   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDADMALDONADO, NILDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINIDADVAZQUEZ, JOSE R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINTA CORREA, ALEXIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINTA CORREA, AWILDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINTA CRUZ, JOMARA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINTA CRUZ, JOMARA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINTA CRUZ, MARIA DELMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINTA DE LEON, MIRIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINTA GONZALEZ, ANA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINTA GONZALEZ, ANA V           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINTA LEBRON, MARILU            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINTA MALDONADO, MAIRENI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINTA NEGRON, VILMAR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINTA RODRIGUEZ, IVAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
TRINTA RODRIGUEZ, SYLVIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6834 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1835 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TRIPARI BARRETO, SONIA DEL C.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRIPARI CAPIELO, LIMARYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRIPARI CAPIELO, MARIELY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRIPARI QUINTANA, JOSE G          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRIPARI QUINTANA, MARIA DEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
CARMEN
TRIPPI FELIX, VANESSA             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRISTANI MARTINEZ, LINEL          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRISTANI RODRIGUEZ, CARMICHELLY   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRISTANI RODRIGUEZ, JORGE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRISTANI RODRIGUEZ, MARILYN       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRISTANI RODRIGUEZ, MARILYN       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRISTANI RODRIGUEZ, SONIA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRISTANI TORRES, JORGE            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRISTANI VILLOCH, KENNETH         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRISTANI VILLOCH, KENNETH         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRISTANI VILLOCH, MILLIE I.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRITSARE ARROYO, JOHN             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRITSARE ARROYO, JOHN             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE ACOSTA, DORA               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE ACOSTA, MIGDALIA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE ALBARRAN, GAMALIEL         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE ALLENDE, JOSEAN A          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE APONTE, ROUSELINE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE ARCE, MIRIAM               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE ARCE, MYRIAM               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE CAPPAS, FRANCHESKA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE CARABALLO, EDWIN           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE CARABALLO, KATIRIA V.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE CASTILLO, JAIME L          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE CASTILLO, JULIO E          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE COLON, ELIFELIU            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE CORDERO, ELIZABETH         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE CORDERO, JULIO A           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE CRESPO, BRAYAN             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE CRUZ, ONIEL                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE CRUZ, ONIEL                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE DASTA, MILTON              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE DE HOYOS, YANIRA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE DIAZ, RICHARD O.           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE DUCOT, FRANKLIN            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE ECHEVARIA, TALUMY          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE ECHEVARRIA, TALUMY         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE ECHEVARRIA, WANDA I        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE ECHEVARRIA, WANDA I        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE ESQUILIN, JEANETTE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE FIGUEROA, DAMARYS          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE FIGUEROA, JULIO            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TROCHE FIGUEROA, NILSA T          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6835 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1836 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TROCHE FLORES, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE FLORES, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE FLORES, LILLE I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE FLORES, LIZBETH M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE GARCIA, EILEEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE GARCIA, IVELISSE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE GARCIA, IVELISSE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE GARCIA, JASON J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE GARCIA, JOSE J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE GERENA, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE GUTIERREZ, ADRIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE HERNANDEZ, JUAN J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE HERNANDEZ, LOUIS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE HERNANDEZ, MAYRA F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE HERNANDEZ, YANISE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE HERNANDEZ, YANISE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE LOPEZ, EMILIANT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE LOPEZ, EMILIANT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE LOPEZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE LUGO, GILBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MALAVE, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MARRERO, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MARTI, JEANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MARTINEZ, JINETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MARTINEZ, LINNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MARTINEZ, LINNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MARTINEZ, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MARTINEZ, XAVIER A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MAS, CLOVIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MATOS, HARRY E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MAYA, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MAYA, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MAYA, JAMILETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MERCADO, ROBERTO I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MERCADO, ROSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MORALES, SALLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MORALES, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MORALES, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MUNIZ, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MUNOZ, MARILYN I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE MUNOZ, MARYLIN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE NIEVES, FELIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE NIEVES, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE OLAN, CLAUDIA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE ORTIZ, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE ORTIZ, ARELYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE ORTIZ, CARMEN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE ORTIZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
TROCHE ORTIZ, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 6836 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1837 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TROCHE ORTIZ, MEREDITH M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE ORTIZ, SHERLIE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE OTERO, MILAGROS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE PACHECO, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE PACHECO, IVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE PACHECO, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE PADILLA, LEYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE PADILLA, XAIMARA T.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE PAGAN, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE PAGAN, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE PAGAN, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE PASTRANA, MELISA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE PASTRANA, MELISA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE PASTRANA, SARA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE PINA, ARNOLD A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RAMIREZ, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RAMIREZ, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RAMIREZ, JOHNNATTAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RAMOS, ADIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RIVERA, ALEXIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RIVERA, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RIVERA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RIVERA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RIVERA, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RIVERA, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RIVERA, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RIVERA, OFELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RIVERA, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RODRIGUEZ, AUREA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RODRIGUEZ, BRYAN K       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RODRIGUEZ, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RODRIGUEZ, CELIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RODRIGUEZ, FRANCES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RODRIGUEZ, JULIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RODRIGUEZ, ROSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RODRIGUEZ, VILSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE ROLON, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE ROLON, JENNIFER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE ROSA, GUILBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE ROSADO, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RUIZ, LILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE RUIZ, LILLIAM F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE SAMBOLIN, MIGUEL A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE SANTIAGO, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE SANTIAGO, LUZ C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE SANTIAGO, LUZ C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE SANTIAGO, WALESKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE SOSA, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE SOTO, EFRAIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6837 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TROCHE TOBAR, FREDDIE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE TORO, ROSA V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE TORO, ROSA V.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE TORRES, ALBERT M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE TORRES, ANGIEDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE TORRES, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE TORRES, EULOGIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE TORRES, JUAN C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE VARGAS, AGUSTIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE VARGAS, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE VARGAS, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE VARGAS, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE VARGAS, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE VARONA, ADALINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE VAZQUEZ, FERNANDO L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE VAZQUEZ, TAMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE VAZQUEZ, TAMARA O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE VAZQUEZ, TAMARA O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE VEGA, YASELIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE VEGA, ZULMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE VELEZ, MILKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE VELEZ, RENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE, EDISON BL.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE, HECTOR                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROCHE, TOMAS                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROGOLO IRIZARRY, FRANK E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROMP MULERO, CHRISTINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRONCOSO FELIZ, EIMY Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRONCOSO GANDIA, GRACIELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRONCOSO GANDIA, GRACIELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRONCOSO MONTANEZ, IDELISA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRONCOSO SANTIAGO, JUAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRONCOSO SANTIAGO, JULIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRONCOSO SANTIAGO, PAULA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRONCOSO SANTIAGO, ROSA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROSSI MORALES, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROSSI MORALES, JULIO F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROSSI OLIVERA, GERARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROSSI OLIVERA, ORISON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROSSI ORLANDI, ORISON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TROSSI ORTIZ, LOIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO ACEVEDO, ZORY E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO AGOSTO, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO AGOSTO, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO ARJEMI, ELIBEL L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO BARRETO, CARMEN I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO BATISTA, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO BENITEZ, ENEIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO BENITEZ, JOSE G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6838 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                     Schedule E3 Page 1839 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
TRUJILLO BRACERO, MILDRED         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO CARABALLO, BRENDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO CARDONA, JUAN E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO CASTILLO, HILDA P        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO CASTRO, MARIA M.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO CASTRO, MARISOL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO CHAVERRA, YANET          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO CINTRON, ANGEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO CINTRON, LUIS A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO CUADRADO, OMAYRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO DAVILA, ULISES           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO DE BLAKEMAN, MARIA DE    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
LOS ANGELES
TRUJILLO FERNANDEZ, ROSAURA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO FERNANDEZ, ROSAURA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO GINES, ILEEIN            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO HERNANDEZ, HILDA E       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO HERNANDEZ, LUIS R        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO HERNANDEZ, MARIA A       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO LEDEE, JEANNINE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO LOPEZ, MISAEL            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO MALDONADO, YERELIS       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO MARRERAO, DARILIS        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO MARRERAO, DARILIS        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO MARRERO, DANIEL JOSUE    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO MEJIAS, RAUL             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO MIRANDA, RODOLFO         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO MOJICA, ROSA             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO MORALES, CRHISTINA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO MORALES, CRISTINA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO MUNDO, DIANA L.          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO MUNDO, LIZBETH M.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO MUNIZ, IVETTE M          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO NEVAREZ, KETHY           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO NIEVES, NELIDA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO ORTEGA, ABNER            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO ORTEGA, JUAN M           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO ORTEGA, LEONALDO M       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO ORTEGA, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO ORTEGA, MAXIMILIANO J.   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO ORTEGA, MILDRED          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO ORTEGA, MILDRED          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO ORTIZ, TERESA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO PAGAN, FELIPE            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO PAGAN, FELIPE            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO PAGAN, FELIPE            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO PAGAN, LUIS              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO PANISSE, MARGARITA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
TRUJILLO PLUMEY, ROSAMAR          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6839 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TRUJILLO RAMOS, LEONIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO REBOLLO, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO RIVERA, CECILIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO RIVERA, EVA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO RIVERA, GABRIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO RIVERA, NANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO ROBLES, JACKELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO RODRIGUEZ, GINETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO RODRIGUEZ, LUIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO RODRIGUEZ, MANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO RODRIGUEZ, MANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO RODRIGUEZ, NORBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO RODRIGUEZ, RUTH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO ROMAN, ANGELICA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO ROSADO, CARMEN E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO ROSADO, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO SANTANA, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO SANTANA, MICHELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO SANTANA, PAULA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO SANTIAGO, SHEILA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO SANTOS, NATYA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO SANTOS, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO TORRES, EDWIN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO TORRES, LIZBETH M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO TRUJILLO, DANIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO VELEZ, IVONNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO VICTORIA, OSCAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUJILLO, CARLOS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TRUYOL VAZQUEZ, ENGRACIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TSANG CRUZ, CHRISTIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TSE HERNANDEZ, MICHYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TSIMAS ROSA, KYRIACOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TSINTAS COLON, IVY A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TSOUNIS ALAMO, DENNIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TSOUNIS ALAMO, DENNIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA ALGARIN, CALVINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA ALGARIN, LIZAVEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA CARMONA, ALFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA CASARES, JACKELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA CASARES, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA CRESPO, HECTOR L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA GONZALEZ, HERBERT           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA GONZALEZ, MELANIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA GONZALEZ, MELANIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA GONZALEZ, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA GRANELL, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA GRANELL, JUAN HERIBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA LOPEZ, ANAYRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA MALDONADO, ELVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6840 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1841 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TUA MARRERO, MICHAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA MENDEZ, LILLIAN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA PADILLA, MONICA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA REYES, NELSON I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA REYES, YASIRA V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA TORRES, IRVING              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA TORRES, WANDA IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA TORRES, WANDA IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA VAZQUEZ, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA VIZCARRONDO, INGRID M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUA, ALFREDO                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBEN MAYO, ROSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS ACEVEDO, ROSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS CANDELARIA, GLENDALIZ    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS CORTES, JESSIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS CRESPO, NAYDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS CRESPO, NAYDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS GUZMAN, GLORIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS HERNANDEZ, ARNALDO A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS HERNANDEZ, ARNALDOA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS LASALLE, ALEXANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS LOPEZ, EDDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS MERCADO, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS PEREZ, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS RAMOS, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS RODRIGUEZ, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS SANCHEZ, GONZALO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS SOTO, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS SOTO, MADELINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS TORRES, ALEJANDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS TORRES, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENS TORRES, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUBENSVALENTIN, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUCKLER GOMEZ, AARON B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUDO MARTINEZ, ILKA G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUDO SIERRA, ALMA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUDO SIERRA, ALMA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUDO SIERRA, EDITH J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUDO SIERRA, EDITH J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUDO SIERRA, ELIAS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUDO SIERRA, EMILIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUERO MARRERO, XIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUERO MARRERO, XIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUESTA TORO, HUGO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUFINO DE JESUS, ANA DELIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUFINO SOTO, PABLO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TULIER CRUZ, JUAN G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TULIER POLANCO, ETHEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TULIER RODRIGUEZ, LYNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6841 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1842 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
TULL BAEZ, MARISA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TULLER CINTRON, JAMES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURBAY, TAMID                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURBI MALENA, FEDERICO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURBI MALENA, FEDERICO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURBIDES DIAZ, DIOGENES O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURELL CAPIELO, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURELL CAPIELO, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURELL CAPIELO, LERIVIVIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURELL CAPIELO, LERIVIVIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURELL CARABALLO, LOUELUDIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURELL DIAZ, HIRAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURELL RETAMAR, MARYCELI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURELL ROBLES, SHEILLIE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURELL ROBLES, YEIMEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURELL ROSARIO, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURELL VEGA, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURINO HERNANDEZ, NORA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURKOVICH ALICEA, YAHAIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURKOVICH ALICEA, YAJAIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURNER DE ECHEVARRIA, GLORIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURNER LUGO, FRANKLIN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURNER LUGO, ROBERT L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURNER REYES, SHARLENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURPO CAMPOS, ALICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURPO GONZALEZ, JUSTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURPO HERNANDEZ, HORACIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURPO PEREZ, ROXANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURPO RODRIGUEZ, JUNEILY M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURULL ARROYO, IRMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TURULL ARROYO, RUTH V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUSELL BONET, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUVENS AGOSTO, AGUSTIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TUYA LOPEZ, ITZI                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TYSON COLON, THERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TYSON GRIFFIN, ILKA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
TYSON GRIFFIN, ILKA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UBARRI APONTE, CARMEN L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UBARRI APONTE, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UBARRI BARAGANO, MARIA T.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UBARRI GONZALEZ, LOURDES I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UBARRI GONZALEZ, ZUBEIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UBARRI GONZALEZ, ZUBEIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UBARRI NEVARES, CARMEN T.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UBARRI TORRES, LUIS MANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UBIDES PEREZ, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UBIDES RENTAS, YAFNA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UBIERA GALVEZ, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UBIERA ZORRILLA, ALFONZO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6842 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1843 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
UBIETA LLORENS, NORMA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBILES DIAZ, CARMEN L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBILES DIAZ, CARMEN L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBILES FIGUEROA, AIDA L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBILES FIGUEROA, AIDA L.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBILES GONZALEZ, JOSE E.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBILES LAO, VICTOR E              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBILES LOPEZ, DEVORAH E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBILES MALDONADO, OLGA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBILES MESTRE, LU Z M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBILES MESTRE, RUTH               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBILES RIVERA, LESLIE ANN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBILES VAZQUEZ, MARIA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBILES ZAYAS, LUIS                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS ACOSTA, JACQUELINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS CABAN, ELICER              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS DE LEON, BRENDA Z          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS DE LEON, JORGE L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS DE LEON, JORGE L.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS LAZZARINI, RUBEN G.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS MEDINA, JUAN A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS RAMOS, ANA I               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS RAMOS, ANA I               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS RAMOS, ANA I.              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS RAMOS, CARLOS A.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS ROMAN, HECTOR              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS ROMAN, MIRIAM J            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS TAYLOR, WILLIAM            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS TORRES, JESSICA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS TORRES, MONICA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBINAS WILLIAMS, RAQUEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBIOR MIRANDA, ANDREA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UBIOR ROSADO, JORGE J             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UC TUYUB, JUAN G                  REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UCETA GRULLON, RAFAEL J           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UFARY REYES, ILIANA I             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UFRED MARTINEZ, FABIOLA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UFRET ADROVER, MARIDI             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UFRET CASTILLO, GISELA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UFRET MARTINEZ, ROSA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UFRET PEREZ, GERMAN R.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UFRET PEREZ, JORGE                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UFRET VAZQUEZ, SHEILA Y           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UFRET VEGA, HIRAM E               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UFRET VINCENTY, MARIA DEL PILAR   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UGARTE ALLERS, JOSE G             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UGARTE ARAUJO, SYLVIA B.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UGARTE AVILES, IRIS R             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
UGARTE AVILES, IRIS R             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6843 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1844 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
UGARTE AVILES, NYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UGARTE CUBERO, LUISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UGARTE FERRER, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UGARTE LORENZO, ANITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UGARTE LORENZO, GERGINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UGARTE MIRANDA, EMILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UGARTE PAGAN, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UGARTE ROSA, LUINI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UGARTE VEGA, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UGARTE VEGA, YAZMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UGARTE VENDRELL, ELIAZER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UGARTEMORALES, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UJAQUE ABREU, DOMINGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UJAQUE ABREU, LILLIAN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UJAQUE DE JESUS, LAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UJAQUE DE JESUS, WALESKA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UJAQUE MARTINEZ, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ULANGA SOTO, VANESA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ULANGA SOTO, VANESA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ULBAN ORTEGA, LETICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ULLOA CORCHADO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ULLOA MACHADO, PEDRO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ULLOA ORTIZ, PEDRO J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ULLOA PENA, ALFONSO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ULLOA SOANE, LUISA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ULLOA SOANE, LUISA R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ULLOA VILLAMIL, NUBIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMANA PEREZ, OSCAR R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMANA PEREZ, RICARDO E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE CHAAR, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE CHAAR, YASMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE CORREA, JORGE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE CORREA, OMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE FERNANDEZ, LOURDES R   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE GALARZA, EDWIN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE GARCIA, BARBARA G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE GARCIA, LUIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE GONZALEZ, PATRICIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE JUARBE, AURORA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE LOPEZ, ELISA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE MARCHAND, MARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE MEDINA, TIMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE MORALES, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE QUINONES, KARELYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE RIVAS, ALFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE RIVERA, RODOLFO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE VAZQUEZ, MINERVA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE VELA, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE VELA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6844 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1845 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
UMPIERRE VELEZ, WILMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UMPIERRE VELEZ, WILMARIE I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UPIA DE LOS SANTOS, RAQUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URACA MARTINEZ, ALEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBÁEZ FUENTES, SYLVIA H.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBAEZ GALVEZ, ESTEFANI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBAEZ PEGUERO, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBAEZ SANTIAGO, ASIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBAEZ TORRES, JOHANNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBAN ANDUJAR, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBAN CARDONA, JAIME M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBAN LLANTIN, RUTH E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA ACOSTA, LUANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA AGOSTO, WENDOLIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA ARCE, GARYMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA BURGOS, RAFAEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA CORREA, AMPARO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA CORREA, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA FIGUEROA, NAIMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA FIGUEROA, NAIOMY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA FIGUEROA, NAIOMY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA FLORAN, EFRAIN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA FLORES, ANGEL D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA FLORES, BENJAMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA GARCED, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA GUZMAN, JUANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA LEON, MARIA LISANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA LOPEZ, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA MACHUCA, GUILLERMO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA MACHUCA, GUILLERMO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA MEDINA, ISABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA MERCED, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA MONTALVO, JACINTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA NEGRON, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA NEGRON, JEHUD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA ORTEGA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA ORTEGA, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA PEREZ, GIL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA PEREZ, GIL X             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA RAMOS, CARMEN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA REYES, GLORIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA REYES, GLORIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA RIVAS, AIDA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA RIVERA, JOHANNA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA RIVERA, JOHANNA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA RIVERA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA RODRIGUEZ, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA ROQUE, ALEJANDRO L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA ROSADO, RAFAELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1846 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
URBINA ROSARIO, ESTHER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA SANCHEZ, OHMAR A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA SANCHEZ, YOMARI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA SANTIAGO, JANET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA UBARRI, ANTONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA URBINA, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA VELAZQUEZ, ESTERVINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINA, ANA                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINO DIAZ, FRANK              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBINO MONTALVO, JACINTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URBISTONDO CACERES, MARIA M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDANETA COLON, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDANETA COLON, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDANETA COLON, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDANETA COLON, ROLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDANETA DE RIVERA, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDANETA FELICIANO, ANGEL I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDANETA QUIROS, MIRILIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDANETA QUIROS, NOELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDANIVIA MENDEZ, LILIANA B     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDAZ CORTES, HECTOR A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDAZ COSTA, MARIA T.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDAZ FIGUEROA, IRMA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDAZ HERNANDEZ, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDAZ LAMPON, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDAZ MARTINEZ, SONIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDAZ RIVERA, ANAIS V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDAZ ROSADO, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDAZ SANTIAGO, MARIA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URDAZ TRINIDAD, ROSALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URENA ALMONTE, ARILERDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URENA BERRIOS, AUDBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URENA DE LA ROSA, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URENA GONZALEZ, DORA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URENA MEDINA, YAHAIRA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URENA PEREZ, DOMINGO G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URENA RIVERA, CESAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URENA RIVERA, RAPHAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URENA RODRIGUEZ, KASANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URENA RODRIGUEZ, KASANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URENA SENCION, GUIDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URENA ULLOA, LUCHY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URENA VAZQUEZ, NICOLE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URENA, ISIDRA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URENA, ISIDRA                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URGELL MIRANDA, JAVIER E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URGELL PERALTA, ADA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URIARTE DAVILA, ROSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URIARTE GONZALEZ, JORGE LUCAS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6846 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1847 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
URIARTE RIVERA, CARLO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URIARTE VEGA, SVEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URIBARRY CARMONA, CARLA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URIBE GARCIA, ALEXANDER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URIBE PENA, JESSY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URIBE PEREZ, STEFANIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URIBE PEREZ, STEPHANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URIBE RESTREPO, CECILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URIBE SANCHEZ, MERCEDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URICARI CENTANNI, JULIO C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URIONDO FIGUEROA, RAMON L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URIONDO QUINONES, NATALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URIZ RUBIO, IGOR                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UROZA SUAREZ, ESTRELLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UROZA SUAREZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UROZA SUAREZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URQUIZA ROMAN, MARIA DEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URQUIZA ROMAN, MARIA DEL P      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRACA PALACIO, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URREA GIRALDO, MONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URREHMAN BEGUN, HAFEEZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA CABAN, YARILIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA CABRERA, RHADAMES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA CRUZ, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA GUERRA, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA MARQUEZ, ESMERALDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA MORENO, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA NUNEZ, ESTEBAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA PEREZ, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA PESQUERA, HECTOR L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA QUINONES, JOSE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA RAMOS, SHARON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA RAMOS, SHARON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA SANTIAGO, LISMAR E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA TORRES, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA TORRES, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA TORRES, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA TORRES, SAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA VELEZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA VELEZ, ZULMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URRUTIA, ZULMARIE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URSULICH MORGADO, LUIS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URUENA GONZALEZ, SONIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
URVINA ALVIRA, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
USERA MARTINEZ, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
USERA, HECTOR T.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
USINO RODRIGUEZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
USINO RODRIGUEZ, NILSA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
USTARITZ PABON, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6847 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1848 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
UTRERAS MERCADO, RUTH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UWAKWEH, STEPHANIA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UYERA PEREZ, RAYSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
UZCATEGUI, ELI                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VACA SUAREZ, STELLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VACHIER CRUZ, LORRAINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VACHIER CRUZ, MYRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VACHIER FIGUEROA, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VACHIER FIGUEROA, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VACHIER MUJICA, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VACHIER SERRANO, ANDRES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VADDY MARTINEZ, JULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VADI AYALA, VANESSA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VADI BADILLO, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VADI BOURDOY, ANA D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VADI DONES, ANGEL ULISES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VADI FANTAUZZI, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VADI MALDONADO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VADI MORALES, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VADI NIEVES, MAGDALENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VADI RODRIGUEZ, IRMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VADI ROLDAN, JORGE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VADI ROMERO, JULIO A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VADI SANCHEZ, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VADI SOTO, MIGUEL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VADI SOTO, NELSON J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VADI VELAZQUEZ, VILMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAELLO BERMUDEZ, MOISES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAELLO BERMUDEZ, YADIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAELLO BRUNET, ILEANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAELLO BRUNET, MARTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAELLO BRUNET, MARTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAGNETTI PEREZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAILLANT RODRIGUEZ, VICTOR F    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAL MERNIZ, NICOLE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALAZQUEZ, TOMAS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL APONTE, LETICIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL APONTE, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL BAEZ, HARRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL BAEZ, HARRY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL BAEZ, JUSTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL BAUZA, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL BENITEZ, MIGUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL CATALA, ROSA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL CINTRON, MARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL CORDOVA, NAYDA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL CORTIJO, LUIS RAUL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL CORTIJO, LUIS RAUL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL DE LEON, JOHAN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6848 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1849 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VALCARCEL DE LEON, JOHAN M.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL DELGADO, ARLEEN LUZ     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL DELGADO, GUSTAVO A.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL DIAZ, CLARIBEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL DIAZ, CLARIBEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL DIAZ, PATRICIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL DIAZ, SANDRA M.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL FERRER, ANGEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL GARCIA, NATANAEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCÁRCEL LOURDES, DÍAZ           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL MARQUEZ, AYADETT        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL MARQUEZ, PEDRO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL MARTINEZ, DAVID         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL MELENDEZ, WILLIAM M     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL NAVARRO, LETICIA A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL ORTEGA, MANUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL ORTIZ, LARITSA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL ORTIZ, TANYA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL OSORIO, VICTOR MANUEL   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL PEROZA, MARIA DE L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL RIOS, CANDIDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL RIVERA, VANESSA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL RODRIGUEZ, ADA N.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL RODRIGUEZ, MIREDYS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL ROSARIO, MARIA DE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALCARCEL ROSARIO, MARIA DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
A.
VALCARCEL RUIZ, ALBERTO           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL RUIZ, ROSALINA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL SANCHEZ, SARA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL SANCHEZ, SARA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL SANCHEZ, SARA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL SANTANA, LUZ E          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL SANTANA, MANUEL A.      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL SOSTRE, BENJAMIN        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL TORRES, GRISELLE        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL TRINIDAD, NICOLAS       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL TROCHE, ADA C           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL VALCARCEL, LEYDA G.     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL VELAZQUEZ, EVA L        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL VIERA, ELEICHA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL, CATALINA               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL, YARITZA                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL, YARITZA                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCARCEL, YARITZA                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCOURT CRUZ, JOSE E.            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCOURT GONZALEZ, MARIFELI       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALCOURT RODRIGUEZ, ILEANA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALDEJULI,HENRY                   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1850 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                      ADDRESS 1                        ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALDERRABANO MARINA, FERNANDO REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALDERRABANO, RODRIGO         REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALDERRAMA ALICEA, ZORAIDA    REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALDERRAMA AVILES, EVA L      REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALDERRAMA BERR, MIGDALIA I   REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALDERRAMA CINTORN, DENNISE   REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALDERRAMA CINTRON, DENNISE   REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALDERRAMA CONCEPCION, CARMEN REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

VALDERRAMA COREZ, GLADYS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA CUMBA, ARTURO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA DE JESUS, RAMON      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA FIGUEROA, MELITZA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA LOPEZ, IVONNE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA LOPEZ, IVONNE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA MARRERO, MIRIAM      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA MELENDEZ, JESUS      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA NAVEDO, GEISHA Y     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA OJEDA, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA OJEDA, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA PADRO, DALIA I       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA PEREZ, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA PINEIRO, MARISOL     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA PINEIRO, MARISOL     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA PINTO, CANDIDA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA REYES, JENNIFER      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA ROBLES, SENAIDA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA RODRIGUEZ, CARMEN    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
M.
VALDERRAMA SOTO, CRUZ           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA TOSADO, VIONESSA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA, ANA L               REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDERRAMA, INOCENCIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDES ADORNO, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDES APONTE, ANGEL H.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDES AVILES, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDES AYALA, JEANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDES AYALA, SANDY             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDES BELEN, ADRIAN            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDES CARABALLO, SAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDES CARRASCO, CARMEN D.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDES CLAUDIO, MARLENE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDES CLAUDIO, MARLENE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDES COTTO, FARIAM            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDES CRUZ, DIANY P            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDES CRUZ, PEDRO L.           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDES DE JESUS, GLENDALY       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDES DE JESUS, HIRAM          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALDES DE JESUS, JULIO A        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6850 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1851 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VALDES DE JESUS, MYRNA S.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES DE LEON, MIRIAM BEATRIZ   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES DE LEON, NEYDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES DEL VALLE, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES DELGADO, JOSE C.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES DELGADO, JOSE CLEMENTE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES DIAZ, BRYAN KEVIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES DIAZ, MABEL               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES ESCALERA, FRANCISCA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES ESQUILIN, JULIO O.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES FELICIANO, NILSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES FERNANDEZ, AMPARO A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES FERNANDEZ, ERNESTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES FERNANDEZ, LAURA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES FIGUEROA, DAISY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES FIGUEROA, ISAAC           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES GARCIA, ALICIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES GARCIA, ERIKA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES GARCIA, ERIKA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES GONZALEZ, JULISSA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES GUTIERREZ, GABRIEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES GUTIERREZ, HIRAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES GUTIERREZ, LILAMARI       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES LABOY, ALEX E             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES LINARES, ROLANDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES LOPEZ, JOSE ANTONIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES LOPEZ, NARCISA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES LOPEZ, ZAYNID L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES MANSO, YANIRA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES MARCANO, RAUL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES MARTINEZ, DAISY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES MARTINEZ, DANIEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES MORALES, JEANETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES MORALES, JEANETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES NEGRON, MARISOL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES NIEVES, DEBORAH           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES ORTA, JOSE A              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES ORTIZ, FRANCISCO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES OYOLA, VIRGEN D.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES PENA, ANTONIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES PEREZ, LUIS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES PEREZ, MARIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES PILLOT, NOEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES PINEDA, ALIDA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES PLAZA, BENIGNA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES PLAZA, FELICITA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES PRIETO, ARMANDO A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES QUINONES, DORIS W.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES QUINONES, DORIS W.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6851 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1852 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VALDES QUINONES, VEREMUNDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES RAMOS, ELSIE               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES RAMOS, RODRIGO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES RIJOS, JOSE A              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES RIVERA, LUIS A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES RIVERA, NYDIA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES RIVERA, NYDIA W            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES RIVERA, PEDRO              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES RODRIGUEZ, SHEILA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES ROLDAN, MIGUEL A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES ROSADO, CARMEN DEL PILAR   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES ROSARIO, YARITZA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES SANTOS, DIANA E            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES SANTOS, MARIA T            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES SOLIVAN, ALEJANDRO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES TEXIDOR, ANTONIO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES VALENCIA, VICTORIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES VARGAS, SHEILA E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES VAZQUEZ, YESMARY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES VAZQUEZ, YESMARY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES VELAZQUEZ, MIGUEL A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES VIERA, JOSE F.             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDES, FABIAN                    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDESPINO SANTIAGO, CARLOS J     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDESSANCHEZ, HIPOLITO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ ADORNO, BENJAMIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ AYALA, JESUS A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ BASTIDES, MILAGROS C.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ CALDERON, CARLOS N         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ DE NUNEZ, GLADYS M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ DELGADO, ELIDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ DIAZ, ROSA                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ LABOY, ALEXA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ MARTINEZ, ELIZABETH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ MARTINEZ, ELIZABETH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ MARTINEZ, LETICIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ MORALES, FRANCISCO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ PERALTA, PAOLA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ PEREZ, ANDREW              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ PEREZ, DENISE M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ PIZARRO, KINNIE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ RAMOS, AMY                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ RAMOS, AMY Y               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ REYES, SORIDANIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ RIVERA, SYLVIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ SALVA, WILLIAM             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ SANTANA, CARLOS S          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ SIERRA, FELIX C            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDEZ VALDEZ, CARMEN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6852 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1853 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VALDEZ, ANA                       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIERI COSTAS, BRUNILDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIA DELGADO, ISRAEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIA FLORES, WANDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIA ROSADO, YAITZA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIA ROSADO, YAITZA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIA SANTIAGO, PEDRO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIESO COLON, EUGENIA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIESO DE JESUS, LIZZETTE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIESO GALIB, LUCAS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIESO GALIB, LUCAS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIESO GALIB, YESMIN M.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIESO HERNANDEZ, KEYSHALEE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIESO LUCIANO, HARRY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIESO ORTIZ, GUILLERMINA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIESO PAGAN, FELICITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIESO PEDRAGON, KERMARIE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIESO SANJURJO, ALFREDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIESO SUAREZ, KERMITH J      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIESO VAZQUEZ, ELBA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIVIESO VELAZQUEZ, DAYANARA    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIZAN LOPEZ, KEVIN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALDIZAN LOPEZ, KEVIN PAUL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE ACEVEDO, JESELYN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE ACEVEDO, JOSEPH              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE ACEVEDO, LISSETTE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE ADORNO, HEIDY S              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE ADORNO, NILDMARIE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE BABILONIA, WILLIAM N         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE BARRETO, ROBERTO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE BELTRAN, OMAYRA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE BLAS, BRENDA I               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE BOSQUES, WILLIAM             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE CABAN, MARTHA I              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE COLON, CARLOS A.             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE COLON, SOL T                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE COLON, WILLIAM J             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE CORTES, JONATHAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE CRUZ, WILDA                  REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE CRUZ, WILDA L                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE DEL RIO, GIAN                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE DEL RIO, JONATHAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE DIAZ, MARILIA DEL MAR        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE DIAZ, MARILIA DEL MAR        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE FELICIANO, JOSE J.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE FIGUEROA, GILARIE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE GONZALEZ, HECTOR M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE GONZALEZ, JESUS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALE GONZALEZ, ZAIDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6853 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1854 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALE HERNANDEZ, JOSELITO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE HERNANDEZ, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE JUSTINIANO, GABRIEL J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MARTINEZ, BETSY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MARTINEZ, BETSY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MARTINEZ, JACKELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MARTINEZ, JACKELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MEDINA, MIGUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MEDINA, MIGUEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MEDINA, MYRNA JANISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MEDINA, ROSA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MENDEZ, CHRISTOPHER J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MENDEZ, CHRISTOPHER J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MENDEZ, JENNIFER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MENDEZ, LOREANE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MENDEZ, NILZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MERCADO, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MERCADO, SAMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MORALES, DAMIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE MUNIZ, YASHIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE NEGRON, DARIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE PAGAN, BEATRIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE PEREZ, ELVI E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE PEREZ, ELVI E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE PEREZ, IRIS A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE PEREZ, IRIS A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE PEREZ, VILMA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE QUINONES, MANUEL O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE RAMOS, EDWIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE RAMOS, JEANETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE RAMOS, YOLANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE RODRIGUEZ, ESTHER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE RODRIGUEZ, JO ANN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE RODRIGUEZ, JUAN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE ROLDAN, ABNER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE ROLDAN, ADELAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE ROLDAN, ADELAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE ROMAN, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE ROMAN, GLADYS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE ROMAN, MICEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE SIRAGUSA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE SOTO, ANA M                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE TORRE, JUAN F.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE TORRES, CELIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE TORRES, DELVA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE TORRES, EDUARDA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE VALE, EDUARDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE VALE, EDUARDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALE VALE, RICARDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6854 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1855 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VALE VALENTIN, IRIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALE VALENTIN, IRIS M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALE VELEZ, JOSE A               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALE ZAPATA, LESLIE I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALE, LORENZO                    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON DOMINGUEZ, DAISY I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON GARCIA, SYLVIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON LLORENS, LAURA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON LLORENS, LAURA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON MATIAS, JEAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON MONTES, HECTOR I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON MONTES, HECTOR I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON MONTES, MARISABEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON MONTES, MARISABEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON MONTES, MARISABEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON MORALES, DAISY E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON ORTIZ, CARLOS J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON ORTIZ, FELIX             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON ORTIZ, FELIX R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON PEREZ, JAIME LUIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON ROJAS, SANDRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON SANTIAGO, FRANCISCO J.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON SANTIAGO, NINA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON SOTO, FELIMARIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON TORRES, CARLOS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEDON TORRES, CARLOS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEIRAS MINI, EVELIO J.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALEN IN DEL VALLE, ZAHIRA M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA ALVAREZ, IRIS E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA ALVAREZ, NITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA BALDONI, CARLOS M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA BERNAL, DIANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA BUJOSA, DINA R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA BUJOSA, JOSUE D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA CORTIJO, NOEMI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA CORTIJO, NOEMI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA CRUZ, DAFNE I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA CRUZ, DAFNE I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA DIAZ, CARMEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA FERNANDEZ, MIRIAM       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA FIGUEROA, AXEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA FIGUEROA, AXEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA GARCIA, RAUL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA GATELL, ANGEL J.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA GUZMAN, GADIEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA MAYSONET, MAGDA V.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA MEDINA, DAXAMARA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA MERCADO, EVELYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA OLMO, CARMELO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6855 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1856 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALENCIA OLMO, DANILO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA OLMO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA PEREZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA PEREZ, RAUL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA PRADO, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA RIVAS, KARLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA RIVERA, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA ROJAS, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA ROMAN, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA SANCHEZ, NORMA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA SANTANA, JUDITH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENCIA TOLEDO, SONIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTE VELEZ, ANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIIN VARGAS, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MENDEZ, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ACEVEDO, FELIX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ACEVEDO, FELIX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ACEVEDO, FELIX J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ACEVEDO, GERMAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ACEVEDO, GILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ACEVEDO, GIOVANNY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ACEVEDO, IRIS I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ACEVEDO, JOSE D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ACEVEDO, JOSE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ACEVEDO, JUDITH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ACEVEDO, PABLO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ACEVEDO, YAJAYRA A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ACOSTA, ENRIQUE D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ACOSTA, ENRIQUE D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ACOSTA, NIDACHY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ADROVER, LIZZETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN AGRON, DANIEL O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN AGUAYO, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALEJANDRO, ILEANA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALERS, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALFONSO, MIOSOTIS N    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALICEA, EMMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALICEA, MILTON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALMA, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALMA, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALONSO, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALSINA, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALVARADO, LELIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALVAREZ, AGNERIS C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALVAREZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALVAREZ, ELBA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALVAREZ, HELEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALVAREZ, HILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALVAREZ, KEREM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6856 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1857 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN ALVAREZ, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ALVAREZ, NOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ANAYA, CELMARIE C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ANAYA, ISAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ANAYA, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ANAYA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ANDINO, ERIKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN APONTE, GIOVANNI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN APONTE, MARTA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN APONTE, MARTA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN APONTE, MILDRED J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN AQUINO, ABRAHAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN AQUINO, FLORENCIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN AQUINO, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN AQUINO, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN AQUINO, ROSARIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ARBELO, EUCLIDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ARBELO, OMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN AROCHO, NORMA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ARROYO, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ARVELO, LEONIDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ARZOLA, CECILIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN AVILA, CELSO JUAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN AVILA, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN AVILA, WIDILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN AVILES, COLLEEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN AYALA, JULIANNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN AYALA, SAUL J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BAEZ, AIXA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BAEZ, ANGIE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BAEZ, ASTRID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BAEZ, ASTRID E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BAEZ, EDILTRUDIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BAEZ, JOSEPH R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BAEZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BARBOSA, MARIELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BARROS, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BATISTA, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BEAUCHAMP, EDUARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BEAUCHAMP, ILEANA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BEAUCHAMP, ILEANA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BELEN, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BELLAFLORES, MARILYN   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BELTRAN, RAMON L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BERMUDEZ, YOLANDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BERRIOS, PATRICIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BERRIOS, STEPHANIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BEZARES, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BLAY, TOMAS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6857 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1858 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN BONET, EVELYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BONET, ZENAIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BORRERO, BENIGNO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BRAVO, JUAN R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BRAVO, MARIA DEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BRAVO, NATASHA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BRENES, ROSALIND        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BRITO, JESUS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BRITO, JUAN A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BRITO, REBECCA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BURGOS, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN BUSCAMPER, ISIS M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CABAN, ALEXIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CABAN, BETHZAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CABAN, BETHZAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CABAN, BIENVENIDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CABAN, EULALIA R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CABAN, GABRIEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CABAN, ILEANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CABAN, ISRAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CABAN, ISRAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CABAN, JAVIER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CABAN, LYDIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CABAN, VIRGINIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CABAN, ZORAIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CABRERA, JOANNIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CALDERON, JOSE M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CALUDIO, JUAN A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CAMACHO, ABIGAIL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CAMACHO, ALBERTO JOSE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CAMACHO, CARMEN E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CAMACHO, MICHELLE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CAMACHO, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CANDELARIA, AMARILIS    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CANDELARIO, BENJAMIN    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CANDELARIO, ZACHARY H   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CANTERO, BRUNILDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CAPELLA, WENDELYN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARABALLO, GISELLA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARABALLO, LUIS O       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARABALLO, MARIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARBO, MARIA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARDE, EDWIN J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARDE, KRYSTAL M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARDONA, ASHMED         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARDONA, HILDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARDONA, RENE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARMONA, XIANILIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARMONA, XIANILIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6858 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1859 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN CARO, JOSE A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARO, MARI O            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARRASQUILLO, RUTH D    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARRERO, ELISA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARRERO, EMELLY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARRERO, EMELLY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARRERO, EMELLY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARRERO, FABIOLA M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARRERO, LORENA A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARRERO, MIGDOEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARRERO, NAMYR Y.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARRERO, OSCAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CARRION, VICTORIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CASIANO, EDMIL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CASIANO, EDMIL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CASTANON, EDDIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CASTRO, LUZ A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CENTENO, ALEIXA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CHAPARRO, JENNY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CHAPARRO, JENNY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CHAPARRO, MILAGROS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CINTRON, JACQUELINE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CINTRON, JESSICA A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CLAUDIO, ALMA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CLAUDIO, BENJAMIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CLAUDIO, JUAN ANTONIO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CLAUDIO, MILTON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLL, CARMEN X          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLLAZO, ENID           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, AIDALISE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, AILEEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, CARMEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, CARMEN I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, CINDY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, EFRAIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, EMERCILY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, EMILIO E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, EVA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, FELIPE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, GELBERT          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, GRISELLE M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, JAIME            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, JAIME            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, JAIME            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, JOHANNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, JOHANNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, LUIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, LUZ M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6859 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1860 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN COLON, LUZ M.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, OSCAR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, PABLO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, REINALDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, VENERANDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COLON, YOLANDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CONCEPCION, ROSITA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CORA, FELIX              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CORCHADO, YESENIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CORDERO, BERNICE M.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CORDERO, EDWIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CORDERO, JACKELINE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CORDERO, JULIO A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CORDERO, NOEMI           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CORDOVA, RICARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CORREA, ELIZABETH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CORTES, JORGE R.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CORTES, ROBERTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CORTEZ, HARRY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN COTTO, JOSE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRESPG, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRESPO, BRAULIO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRESPO, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRESPO, EMILY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRESPO, GILBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRESPO, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRESPO, LESLIE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRESPO, LESLIE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRESPO, MADELINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRESPO, MERARI           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRESPO, NITZA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRESPO, NORMA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRESPO, WANDA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRUZ, BRUNILDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRUZ, GIL                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRUZ, JESSENIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRUZ, LUIS A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRUZ, MABEL ENID         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRUZ, MARISEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRUZ, MAXIMINO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRUZ, MIGUEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRUZ, MILDRED            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRUZ, RAMON              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRUZ, WANDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRUZ, WILLIAM            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CRUZ, WILSON             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CUBERO, GLADYS M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CUBERO, OLGA M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CUEBAS, JOSEPH E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6860 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1861 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN CUEVAS, CARLOS J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN CUSTODIO, WANDA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DAVILA, ANGEL D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DAVILA, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DAVILA, KATHIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE BARBOSA, CARMEN L.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE BEARDSLEY, MILDRED   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE JESUS, ALBA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE JESUS, CLOTILDE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE JESUS, EDDIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE JESUS, EFREN J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE JESUS, HECTOR R      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE JESUS, ISMAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE JESUS, ROSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE JESUS, TEODORO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE JESUS, VIRGILIO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE LA PAZ, ASHLEY N     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE LA ROSA, RICARDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE LEON, MIGUEL A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE ORTIZ, CARMEN H      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE PABLO, MILAGROS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE RODZ., CARMEN E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE VAZQUEZ, EVA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DE VEGA, JULIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DEL RIO, GISELA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DEL VALLE, MARIA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DELGADO, EVANGELINA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DELGADO, JESUS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DELIZ, ALEXIS O.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DIAZ, ADA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DIAZ, BRUNILDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DIAZ, ELSA R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DIAZ, FELIX             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DIAZ, ISABEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DIAZ, ISABEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DIAZ, IVETTE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DIAZ, MICHELLE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DIAZ, PABLO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DIAZ, PABLO E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DIAZ, SAMUEL J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DIAZ, SANDRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DIAZ, SHALYN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN DIAZ, VIRGEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ECHEVARRIA, GLADYS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ECHEVARRIA, GRACIELA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ELIAS, FELIPE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ESCOBALES, MAYRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ESQUILIN, ANNETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ESQUILIN, ANNETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6861 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1862 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN ESQUILIN, BENJAMIN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ESQUILIN, MINERVA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ESQUILIN, MINERVA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ESTRADA, ARCIDES         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ESTREMERA, MELISSA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ESTREMERA, RODOLFO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FAGUNDO, SANTA ELBA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FELICIANO, ADA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FELICIANO, ANGEL A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FELICIANO, AWILDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FELICIANO, CARMEN M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FELICIANO, DAMIAN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FELICIANO, FRANCISCA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FELICIANO, JOSE A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FELICIANO, JOSUE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FELICIANO, JOSUE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FELICIANO, LUISA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FELIX, ANA S             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FENEQUE, CLISANTA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FEO, KARELY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FERNANDEZ, DAVID         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FERNANDEZ, KAREN E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FERNANDEZ, YESABEL M.    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FERRER, EVANGELINA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FIGUEROA, AMELIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FIGUEROA, DANIEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FIGUEROA, ELVIRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FIGUEROA, GERMAN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FIGUEROA, JUANA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FIGUEROA, JUANA DEL R    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FIGUEROA, JULIO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FIGUEROA, MARTIN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FIGUEROA, RUBEN E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FIGUEROA, SONIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FIGUEROA, SORY I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FIGUEROA, VENESSA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FLORES, ALICE V.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FLORES, AMARILYS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FLORES, ERICK            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FONFRIAS, RITA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FONRODONA, SOLIMAR       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FONRODONA, SOLIMAR       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FORTUNET, HANNELORE Y.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FRANCO, MILDRED          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FRED, LISSY V.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FRED, LISSY VANESSA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FRED, NEFTALI            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FUENTE, WILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FUENTES, SARAH           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6862 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1863 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN FUENTES, YAMIRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FUENTES, YAMIRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FUENTES, YASMIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN FUERTES, CARMEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GALINDEZ, SILDA L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GARCIA, BETHZAIDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GARCIA, DANIEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GARCIA, GABRIEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GARCIA, HECTOR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GARCIA, HECTOR J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GARCIA, LUIS D           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GARCIA, MICHELLE M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GARCIA, NILMA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GARCIA, OLGA J           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GARCIA, SANDRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GARCIA, VIVIAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GINORIO, ABIMAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GINORIO, EFRAIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GINORIO, HERIBERTO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GIOVANETTI, ROCIO DEL    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
MAR
VALENTIN GIRAUD, ROSA I           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, AGUSTINA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, ALEX           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, DAMARIS A      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, EMILY D        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, EVA L          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, GERALDO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, GERMAN         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, GLADYS         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, GLORIA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, HARRY          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, HAYDEE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, HILDA E        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, INES           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, IRISBELSY      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, JEANNETTE D.   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, JEANNETTE D.   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, JOSE H         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, JUAN           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, JUAN           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, KIOMYE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, LEILANY        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, LUZ M          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, MARIA DE       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, MARYLIN        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, MICHELLE       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, MIGDALIA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN GONZALEZ, MIGDALIA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6863 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1864 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN GONZALEZ, MILAGROS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GONZALEZ, MILAGROS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GONZALEZ, NILSA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GONZALEZ, PABLO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GONZALEZ, PABLO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GONZALEZ, PABLO J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GONZALEZ, PEDRO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GONZALEZ, PLACIDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GONZALEZ, RAMON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GONZALEZ, SIXTA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GONZALEZ, VERONICA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GONZALEZ, WAYDALIS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GONZALEZ, ZORAIDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GUERRA, EDWIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GUERRERO, ESTEBAN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GUZMAN, ALICIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GUZMAN, ALICIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GUZMAN, ANGEL L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GUZMAN, DANNY R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GUZMAN, GRISEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GUZMAN, HECTOR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GUZMAN, JORGE A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GUZMAN, RADAMES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN GUZMAN, RAMON           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNADEZ, ELIECER       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDE, CARMEN D      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDEZ, ADA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDEZ, ANA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDEZ, CARLOS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDEZ, EDWIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDEZ, EMANUEL J.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDEZ, IVETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDEZ, JESUS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDEZ, JOSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDEZ, JUAN A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDEZ, LY M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDEZ, LY MARIE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDEZ, MAYRA L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDEZ, NELLY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDEZ, NELLY D      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDEZ, WANDA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HERNANDEZ, WANDA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN HURTADO, RAMON L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ILDEFONSO, SANDRA N.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN IRIZARRY, DELIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN IRIZARRY, EFRAIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN IRIZARRY, HILDA Y       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN IRIZARRY, MARIA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN IRIZARRY, ONELIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6864 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1865 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                            ADDRESS 1                  ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN IRIZARRY, PAOLA            REDACTED                   REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN JIMENEZ, ISIDORA DEL PILAR REDACTED                   REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED

VALENTIN JIMENEZ, JESUS            REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN JIMENEZ, JESUS A          REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN JIMENEZ, SAMUEL           REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN JIMENEZ, SAMUEL           REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN JOUBERT, EDNA O.          REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN JUARBE, JUAN G            REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN JUARBE, JUAN G.           REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN JUSINO, SHIRLEY           REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN JUSINO, SHIRLEY           REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN KUILAN, XIOMARA I.        REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN KUILAN, ZULMA ENID        REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LABORDE, FELIPE           REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LAMBOY, ANGEL             REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LANDIN, DANIEL            REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LARACUENTE, LIZZETTE      REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LATORRE, BRUNILDA         REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LAUREANO, MANUEL A        REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LEBRON, DANIEL            REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LEBRON, DANIEL            REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LEBRON, DANIEL            REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LEBRON, ELAINE            REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LEBRON, EVELYN            REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LEBRON, JOCELINE          REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LEBRON, JOSE A            REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LEBRON, JOSE A            REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LEBRON, SALLY E           REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LEBRON, SALVADOR          REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LEON, NORMAN R            REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LEON, ORLANDO A           REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LEON, ORLANDO A           REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LEON, SUHAIL              REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LOPEZ, ADA L              REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LOPEZ, ANGEL              REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LOPEZ, BLANCA             REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LOPEZ, CARMEN             REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LOPEZ, DAMIAN             REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LOPEZ, DIANA I            REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LOPEZ, EDIBERTO           REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LOPEZ, EDMARY             REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LOPEZ, EVANNY             REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LOPEZ, GLORIA             REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LOPEZ, HECTOR I.          REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LOPEZ, JENNIFER           REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LOPEZ, MIGDALIA           REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LOPEZ, MIGUEL A           REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN LOPEZ, VIRGINIA           REDACTED                    REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6865 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1866 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN LUCIANO, BRENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN LUCIANO, BRENDA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN LUCIANO, MAVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN LUGO, JOSE F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN LUGO, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN LUGO, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN LUGO, NORY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN LUGO, YANIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN LUGO, YARI N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN LUGO, YARINELSI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN LUNA, MELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN LUNA, VIVIANA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN LYON, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN LYON, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MACHADO, LINNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MAISONET, ONEIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MALAVE, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MALAVE, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MALDONADO, CELIA R.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MALDONADO, DOMICIANO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MALDONADO, EVELIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MALDONADO, JORGE D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MALDONADO, JORGE D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MALDONADO, MIGUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ANGEL
VALENTIN MALDONADO, NICOLE N    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MALDONADO, NOELIA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MALDONADO, NOELIA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MALDONADO, RAQUEL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MALDONADO, SALVA D.    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MALDONADO, SONIA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MANTILLA, CARLOS G     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARCIAL, EFRAIN O      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARI, JEFFRY           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARI, MARIA DE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARQUEZ, ALEXANDRA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARQUEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARRERO, AIXA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARRERO, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARRERO, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARRERO, LUIS L.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARRERO, MARIA A       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARRERO, MARIA DEL C   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARRERO, NOELIA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARRERO, SONIA E       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARTI, HELDALIS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARTI, MARILANE E      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARTIN, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN MARTINE, ETANISLAO     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6866 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1867 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN MARTINEZ, BETSAIDA    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MARTINEZ, ESMERALDA M REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MARTINEZ, MARAVILLA   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MARTINEZ, MARCELINO   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MARTINEZ, MARIA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MARTINEZ, MARIA D     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MARTINEZ, MARTA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MARTINEZ, MARVILLA    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MARTINEZ, OSVALDO     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MARTINEZ, OSVALDO     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MARTINEZ, SYLVIA      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MARTINEZ, VANESA E    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MARTINEZ, WILLIAM     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MARTINEZ, WILMA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MASSA, FRANCISCO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MASSANET, GISELLE     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MATIAS, HERMINIA      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MATIAS, HERMINIA      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MATIAS, ROSA          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MATIAS, ROSA N        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MATOS, ANGEL LUIS     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MATOS, KELLY          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MAURAS, FELIX         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MAURAS, FELIX         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MAURAS, FELIX L       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MAYA, LUIS ANGEL      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MAYA, SIBARYS         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MAYMI, ELBA I         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MEDINA, ERMELINDA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MEDINA, JANICE        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MEDINA, JANICE        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MEDINA, JANICE E      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MEDINA, JAVIER        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MEDINA, JORGE L       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MEDINA, JUAN          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MEDINA, NARDO D       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MEDINA, ORLANDO       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MEDINA, PEDRO J.      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MEDINA, RODOLFO       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MEDINA, WANDA L       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MEJIAS, JAIME         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MEJIAS, JOMARY        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MELENDEZ, MANUEL      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MELIA, CHRISTIAN      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MELIA, FELIX          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MELIA, FELIX          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MELIA, WALESKA        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MENDEZ, ALEXANDRA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MENDEZ, ANA           REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6867 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                     CONTINGENT


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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN MENDEZ, ANGEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MENDEZ, BENJAMIN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MENDEZ, EUGENIO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MENDEZ, IRIS Y           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MENDEZ, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MENDEZ, JUAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MENDEZ, JUAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MENDEZ, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MENDEZ, RAMON            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MENDEZ, VICTOR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MENDIZABAL, GLENDA LEE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MENDOZA, RAMON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MENDOZA, SAMUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MENENDEZ, SANDY E.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MERCADO, ALICE M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MERCADO, ALICE M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MERCADO, EDUARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MERCADO, GRISEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MERCADO, MIGUEL A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MERCADO, SOCORRO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MERCED, ENEIDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MILLAN, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MIRANDA, IRIS M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MIRANDA, JUANITA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MIRANDA, MOISES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MIRANDA, NILDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MIRANDA, WILSON          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MIRO, JOSHUA A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MOLL, CHRISTIAN J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MONROIG, MILAGROS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MONTALVO, CARLOS E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MONTALVO, JOSE A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MONTALVO, JOSE A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MONTALVO, JOSE R         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MONTAQEZ, ANA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MONTILLA, CATHY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, ADA N           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, ALBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, ANGEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, BRENDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, CARMEN L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, DAMARIS D       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, DAVIDSON        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, DAVIDSON        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, EDWIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, EVELYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, ISABEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, JEANETTE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, JOSE A.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6868 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1869 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN MORALES, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, JOSUE E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, JOSUE E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, LISSETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, LIZMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, MILTON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, MONSERRATE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, SILMA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, SILMA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MORALES, YESENIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MOUNIER, LILLIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MUNIZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MUNIZ, JUDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MUNIZ, JUDITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MUNIZ, LYMARIE D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MUNIZ, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MUNIZ, SAMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MUNIZ, SAMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MUNIZ, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MUNIZ, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MUNOZ, AIDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MUNOZ, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MUNOZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MUNOZ, IRIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MUNOZ, NYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN MUNOZ, NYDIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NATER, ESTHER V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NAZARIO, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NAZARIO, MARIA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NAZARIO, OLGA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NAZARIO, OLGA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NAZARIO, OLGA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NEGRON, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NEGRON, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NIEVES, ADA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NIEVES, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NIEVES, LILLIAN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NIEVES, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NIEVES, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NIEVES, LUIS O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NIEVES, PETRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NIEVES, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NIEVES, SANTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NIEVES, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NUNEZ, ESTHER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NUNEZ, ESTHER M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NUNEZ, ESTHER M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NUNEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6869 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1870 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN NUNEZ, NOEMI             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NUNEZ, VILMARIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NUQEZ, MARIA V           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN NUQEZ, RIGOBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN OCASIO, EDWIN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN OCASIO, YOLANDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN OCASIO, YOLANDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN OLAZAGASTI, VILMA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN OLIVENCIA, MARIADEL C    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN OLIVER, REYNALDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN OLIVO, EVELYN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ORENGO, ELIZABETH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ORENGO, LUZ N            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ORTA, ARELIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ORTA, JOSE ABDIEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ORTIZ, ANGEL L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ORTIZ, DORIS M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ORTIZ, EVELYN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ORTIZ, SONIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ORTIZ, ZULMA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PABELLON, AMBAR N        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PACHECO, CECILIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PADILLA, ROSA I.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PADUA, CESAR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PADUA, CESAR A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PADUA, WILGEN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PADUA, YANIRA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PAGAN, ANTONIO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PAGAN, JOSE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PAGAN, RODOLFO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PARDO, HECTOR G.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PARDO, LUIS A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PARDO, MARITZA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PASCUAL, CARMEN L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEDROZA, GERMAN ALEXIS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PELUYERA, LYDIA E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, ALICIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, ANGELITA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, AWILDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, AWILDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, AWILDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, AWILDA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, BENJAMIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, BRENDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, BRENDA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, BRENDA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, CARMEN A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, DENNISSE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, EFRAIN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6870 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1871 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN PEREZ, EMERITA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, ENEDINA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, EUCLIDES          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, FREDERICK         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, JOSE              REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, JOSE I            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, JOSE M            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, JULIO             REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, LOURDES M         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, MADELINE          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, MANUEL            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, MANUEL            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, MIRIAM            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, MONSERRATE        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, MONSERRATE        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, ROBERTO           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, SERGIO            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PEREZ, WILLIAM           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PLANAS, HECTOR E         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PLAZA, WILFREDO          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PONCE, MARITZA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PONCE, MARITZA           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PONCE, WILKINS           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PORRATA, IRIS            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PRATTS, DENISE           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN PRATTS, DENISE           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN QUILES, ANGEL L.         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN QUILES, JUAN H           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN QUILES, SONIA            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN QUINONES, ANGEL          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN QUINONES, EMERITA        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN QUINONES, MELISSA J      REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN QUINONES, WANDA          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN QUINONES, WANDAC         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN QUINONES, WILBERT        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN QUINONES, YAZMIN         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN QUINONEZ, JOSE DANIEL    REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN QUINONEZ, YAZMIN         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RAMIREZ, CARLOS J.       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RAMIREZ, ELIZABETH       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RAMIREZ, MARIA DE LOS M. REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

VALENTIN RAMIREZ, NELSON         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN RAMOS, AGUEDA J         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN RAMOS, AGUEDA J         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN RAMOS, AGUEDA J.        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN RAMOS, BENJAMIN         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN RAMOS, BIENVENIDO       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN RAMOS, BLANCA           REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6871 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1872 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN RAMOS, BLANCA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RAMOS, CESAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RAMOS, DEBRA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RAMOS, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RAMOS, HECTOR A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RAMOS, JESMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RAMOS, JOANNIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RAMOS, LIZZETTE C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RAMOS, MAGDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RAMOS, MONSERRATE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RAMOS, MONSERRATE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RAMOS, OSCAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN REYES, CESAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN REYES, JUAN RAMON      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN REYES, MYRNA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN REYES, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN REYES, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN REYES, RUTH E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN REYES, SHARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIOS, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIOS, JEANETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIOS, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIOS, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIOS, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIOS, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIOS, JOSE J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIOS, MAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIOS, MAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIOS, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIOS, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIOS, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIOS, YADHIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, ANA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, CARMEN N.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, CESAR E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, FELIPE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, FERNANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, GLENDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, HELEYDIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, IRITZA S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, JOMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, JULIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, KRISTAL M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6872 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1873 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN RIVERA, MAGDALENA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, NANETTE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, NELSON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, NELSON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, NELSON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, OSVALDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, PROVIDENCIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, RAISA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, RAMON L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, RAMONA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, VANESSA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, VICTORIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA, WILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RIVERA,SIDNEY W          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROBLES, MARIA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROBLES, ROSA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROBLES, SANDRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROBLES,CYNTIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROCHE, JORGE A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROCHE, MAYDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROCHIN, AURORA T         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, ANGEL L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, CARLA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, CARMEN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, CLARIBEL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, CRISTINA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, CRISTINA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, CRISTINA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, CYNTHIA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, CYNTHIA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, DAISY E.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, DALILA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, DANIEL M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, EDWIN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, EMELY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, ERNESTO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, EVELYN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, FRANCES       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, GENESIS M     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, GISELLE M     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, IRVIN D       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, JOHANN L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, JOHANN L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, JOSE RAFAEL   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, JUDITH J      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, KENNY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, KENNY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, LINDJOANAIR   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, LOURDES       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6873 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1874 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN RODRIGUEZ, LUZ I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, LYDIA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, MARIA DEL C   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, MARIA V       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, MARILIN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, MARILYN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, MISLAEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, NANCY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, NELSON        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, OBED          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, PATRIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, RAUL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, RAUL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, RENIER        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
MIGUEL
VALENTIN RODRIGUEZ, ROBERTO       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, SERGIO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, SOL M         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, TERESA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, WILFREDO      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, WILMARIE      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN RODRIGUEZ, ZORAIDA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROLDAN, ALEXIS           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROLDAN, CARMELO          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROLDAN, FRANCISCO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROLDAN, ROSA             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMAN, ADISON Y          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMAN, ALEXA             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMAN, ANNETTE           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMAN, CARMEN            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMAN, CARMEN A          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMAN, ELBA I            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMAN, HILDA M           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMAN, IVELISSE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMAN, LUZ Z             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMAN, LYNETTE           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMAN, MARIMER           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMAN, MILTON            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMAN, MILTON            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMAN, ROBERTO           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMAN, VICTOR            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMERO, ANA A            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMERO, EDUENIS          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROMERO, PAUL             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROSA, ARMANDO            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROSA, CARLOS R           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROSADO, ANGEL L.         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROSADO, HILDALIZ         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VALENTIN ROSADO, HILDALIZ         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6874 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1875 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN ROSADO, HILDALIZ         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROSADO, IGNACIO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROSADO, JOSE M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROSADO, KENMARIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROSADO, LESLIE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROSADO, MOISES           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROSARIO, ADALBERTO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROSARIO, ANGEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROSARIO, ANTONIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROSARIO, ELISA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROSARIO, MICHAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROSARIO, WANDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN ROSARIO, WANDA Y         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RUIZ, ALEX M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RUIZ, BENJAMIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RUIZ, JOSE F             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RUIZ, KEYLA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RUIZ, RICHARD            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RUIZ, SAUDIE M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RUIZ, WILFREDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN RUPERTO, JOSE R.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SALAS, ANTONIO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SALAS, EDWIN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SALAS, RAMONITA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SAMOT, EDGAR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SAN INOCENCIO, MARIA R   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANABRIA, DORIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, ADE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, ADE M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, ANGEL D.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, BETZAIDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTÍN SÁNCHEZ, CELIMAR M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, ISAMARIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, JASMIN E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, JASMIN E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, JESUS M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, JULIANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, LUZ M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, MARIA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, MIGUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, NOELIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, SALUA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, WALTER K        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, WANDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANCHEZ, YALITZA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTANA, AMPARO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTANA, BEATRIZ         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTANA, MARIANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTELL, CARMEN M.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6875 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1876 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN SANTELL, EDWIN G.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, ARLENE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, CARLOS J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, ELIZABETH      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, FRANCISCO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, JENNIFER       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, JENNIFER       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, JORGE L.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, LYDIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, MARIA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, MARIA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, MARIEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, MARLEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, MERANGELI      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, MONSERRATE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, NOHALIZ        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, NORMA IVETTE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, OSCAR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, ROBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, ROSA M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, SHEILA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, YOELY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTIAGO, YOELY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTOS, ALFREDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SANTOS, ORLANDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SAY, NIDIA ELENA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SEGARRA, ANGEL J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SEGARRA, OLGA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SEGARRA, RAFAEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SEGUINOT, PROVIDENCIA    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SERRANO, ALVIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SERRANO, AUREA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SERRANO, FRANCISCO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SERRANO, GILBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SIERRA, CATHERINE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SIERRA, CATHERINE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SILVA, LUIS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SILVA, LUIS A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SILVA, MARIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SILVA, MARIA A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SIVICO, MARINELLY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SKERRETT, YARITZA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOLARES, IRIS G          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOLARES, IRIS G          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOLER, SANDRA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTO, ALFREDO A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTO, AMADIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTO, AMADIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTO, AMY                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6876 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1877 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN SOTO, AMY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTO, ARTURO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTO, ELIEZER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTO, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTO, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTO, MARIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTO, MARY A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTO, MYRTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTO, OTONIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTO, RENIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTO, RODOLFO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTO, YAIDELIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTOMAYOR, ANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTOMAYOR, ANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTOMAYOR, ANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTOMAYOR, ESTER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTOMAYOR, ESTER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTOMAYOR, NOEMI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTOMAYOR, NOEMI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTOMAYOR, SARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SOTOMAYOR, SARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SUAREZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SUAREZ, CARMEN LYDIA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SUAREZ, CARMEN S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN SUAREZ, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TALAVERA, YANIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TALAVERA, YANIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TIRADO, SHEILA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TOMASSINI, MONICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TOMASSINI, MONICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORO, ASTRID M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORO, MARIANO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, CARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, CYD M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, DAISY M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, DENISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, ESTEBAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, IVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, JESUS O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, JESUS O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, JOSE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, JULIO A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, KAREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, KAREN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, KRISTIE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, LUIS H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, MANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1878 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN TORRES, MARILYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, MELANIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, MIGDALIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, MINIVETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, NAIDA W.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, OSCAR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, PABLO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, WILFREDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TORRES, WINDALIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TOSADO, JUANITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN TRVIESO, JANNETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN UGARTE, MARIA S.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALDES, CARMEN M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALDES, MARIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALE, CARLOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALE, CARLOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALE, NEREIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALE, RAYMOND           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALENTIN, AMARILYS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALENTIN, ANGEL M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALENTIN, ANGELINA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALENTIN, ARNALDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALENTIN, CECILIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALENTIN, FREDESWINDA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALENTIN, JORGE W.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALENTIN, JOSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALENTIN, LUIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALENTIN, MAYRA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALENTIN, NEREIDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALENTIN, NORBE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALENTIN, ORLANDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALENTIN, WILLIAM       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALLE, FRANCISCO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALLE, ISABEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALLE, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALLE, JOSE D           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALLE, LINDA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALLE, LINDA M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VALLES, CARMEN T        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VARELA, JESSENIA M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VARELA, MARIA A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VARGAS, ANIBAL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VARGAS, CARLOS J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VARGAS, CARMEN L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VARGAS, MARIVETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VARGAS, MARIVETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VARGAS, ODALYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VARGAS, VIRGINIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUETELLES, ALFREDO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6878 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1879 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN VAZQUEZ, ANABEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, AURELIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, BETZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, CARMEN L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, HERIBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, JOHN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, JUMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, LIZBETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, LIZBETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, LYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, MICHELLE M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, NATALIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, RAMON L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VAZQUEZ, SONIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGA, ABRAHAM A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGA, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGA, ANA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGA, EDWIN E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGA, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGA, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGA, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGA, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGA, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGA, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGA, NEHEMIAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGA, RAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGA, SHAKIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGA, YAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGA, YAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VEGUILLA, ASHLEY P     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VELAZQUEZ, BYAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VELAZQUEZ, CHRISTOP    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VELEZ, ANA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VELEZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VELEZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VELEZ, ISMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VELEZ, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VELEZ, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VELEZ, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VELEZ, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VELTRAN, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VERA, NEFTALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VICENTY, NORMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN VILLANUEVA, MARITZA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6879 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1880 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VALENTIN VILLEGAS, LISANDRA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN YERA, HECTOR J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN, CARLOS                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN, EDWARD M.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN, FREDERICK              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN, IVETTE DE L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN, JOSE M.                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN, LUIS                   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN, MARCOS G               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN, MIGUEL A.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN, RAMONA                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN, RAMONA G               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN, SAULO J                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN, TIFFANY C              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN, WANDA I.               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN,ANGEL                   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTINACOSTA, ANGEL L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTINBERMUDEZ, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTINCRESPO, EFRAIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTINCUEVAS, CARMELO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTINE OCASIO, SARINA D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTINE RIVERA, HECTOR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTINE SANTIAGO, MICHELLE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTINE SANTIAGO, MICHELLE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTINE SANTIAGO, MICHELLE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTINE SINGLE, ANNIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTINE SINGLE, ANNIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTINMARTINEZ, AIDA ELISA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTINMONTALVO, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTIN‐SANTANA, AMPARO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTINSOTO, PEDRO              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENTINVALE, NICASIO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENZUELA ALEJANDRO, SORAYA A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENZUELA ALVARADO, D'GLENEIS   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENZUELA ALVARADO, JOSE E.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENZUELA BAEZ, WALTER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENZUELA CAMACHO, ROBERTO B    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENZUELA DE JESUS, NANCY Y     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENZUELA DE JESUS, NANCY Y     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALENZUELA DE LOS SANTOS,        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ALFREDO
VALENZUELA HERNANDEZ, JORGE E    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENZUELA MARIA, FRANCISCA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENZUELA MEJIAS, MARY A.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENZUELA RIVAS, ALICIA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENZUELA SANCHEZ, THELMA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENZUELA SANTIAGO, MIGUEL      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENZUELA VEGA, JOSE            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALENZUELA VEGA, JOSE LUIS       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6880 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1881 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VALENZUELA VELEZ, ZULMA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERA LAGUER, AMADARYS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERA RIOS, ROBERTO              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERA SALTARES, CARMEN L.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERA SANCHEZ, ELSIE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERIO ALGARRA, MANUEL A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERIO CACERES, MARIA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERIO CASTILLO, JOSE I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERIO DE FONTANEZ, ALTAGRACIA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERIO FERRARI, ELVIRA M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERIO GONZALEZ, CAROLINE J      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERIO GUZMAN, NAUDYS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERIO NEGRON, CARLOS H.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERIO RIVERA, JOSE A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERIO RODRIGUEZ, ZASKIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERIO, JORJE                    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERIO, LOURDES                  REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERO ALVARADO, MINERVA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERO ALVAREZ, JAIME R.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERO COLON, ANCELI              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERO COLON, JORGE L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERO DE JESUS, EMMA R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERO NOBLE, RICARDO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERO ORTIZ, GUILLERMO E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERO RAMIREZ, MARITZA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERO RODRIGUEZ, ZAYRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALERO VIRUET, EDUARDO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALES ARBELO, ISAAC               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALES BUTLER, MIGUEL A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALES DEL MANZANO, RAMON          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALES HERNANDEZ, CARMEN M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALES LOPEZ, URIEL J              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALES MEDINA, AIDA R              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALES MEDINA, AIDA R              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALES MENDEZ, PROVIDENCIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALES RAMOS, DANIEL               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALES RODRIGUEZ, LUIS F           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALES TORRES, GERARD              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALESKA CRUZ, PORTALATIN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALETIN MORENO, MIRAIDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALETTE PARIS, GLORIMAR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALIENTE GIL, HANS                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALIENTE JUAN, FELICIANO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALIENTE MALDONADO, GLORIA M.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALIENTE PAGAN, JORGE O.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALIENTE RIVERA, FRANCISCO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALIENTE VINAS, FRANCISCO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES ARROYO, MARGARITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES ARROYO, MARGARITA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6881 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                     Schedule E3 Page 1882 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VALLADARES CABAN, STHEPHANIE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES CRESPO, NORBERTO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES DIAZ, ALMA R.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES FIGUER, GRETCHEN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES LORENZO, JAIME         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES NATAL, RICARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES OLAN, DELIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES RAMOS, MARIBEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES RAMOS, MARIBEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES REYES, RUTH J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES RIVERA, ISABEL MARIA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES SOLER, JEANNETTE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES TORRES, ALICIA I.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES TORRES, MOISES         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES TORRES, SONIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLADARES TORRES, SONIA C        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLAS ROMAN, CARLOS J.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLDEJULI ABOY, ALBERTO L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLDEJULI REYES, GINELLE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLDEJULI REYES, JORGE E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ABREU, NELSON L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ACEBEDO, AIDA L.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ACEVEDO, ARIAM              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ACEVEDO, BELINDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ACEVEDO, ELVIN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ACEVEDO, JOSE M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ACEVEDO, JOSE M.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ACEVEDO, THAIRA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ACEVEDO, YAMILETH E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE AGRONT, SADITH              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ALICEA, CARMEN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ALMA, NILSA L               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ALMODOVAR, CARLOS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ALMODOVAR, CARLOS J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ALVAREZ, AIDSA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ANDINO, HERMINIO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE APONTE, EDWIN               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE APONTE, MARITERE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE AROCHO, EDNA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ARROYO, ANTONIO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ARROYO, ANTONIO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE AVILES, MARI                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE AVILES, YVETTE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE AYALA, JANICE               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE AYALA, RAFAEL               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE BAEZ, WALESKA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE BAEZ, WALESKA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE BEAUCHAMP, MILAGROS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE BELLO, REBECCA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6882 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1883 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALLE BENIQUEZ, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE BENIQUEZ, ZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE BENIQUEZ, ZAIDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE BETANCOURT, CAMILLE I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE BONILLA, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE BRENES, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE BRENES, JORGE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CABAN, JONATHAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CARDONA, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CARRERO, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CLASS, MARTIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE COLON, CARMEN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE COLON, PETER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE COLON, PETER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE COLON, URDA IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CORTES, BETMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CORTES, EDGAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CORTES, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CRESPO, QUINTIN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CRESPO, ROSEMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CRUZ, HAYDEE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CRUZ, IVONNE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CRUZ, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CRUZ, LEONARDO J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CRUZ, RAFAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CRUZ, ZULEIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CUEVAS, BETHZABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE CURBELO, HILDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE DE JESUS, ALEXANDER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE DE OLMO, LUZ M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE DELGADO, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE DOMINGUEZ, ZAIDA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE DONATO, LEILANI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ESPINOSA, ITZA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE FELIBERTY, JASMIN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE FELIBERTY, JASMIN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE FELICIANO, ISAIAS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE FELIX, OLGA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE FIGUEROA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE FLORES, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE GARCIA, ALBERTO JUAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE GARCIA, NILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE GONZALEZ, ANDRES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE GONZALEZ, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE GONZALEZ, CHARLEY O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE GONZALEZ, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE GONZALEZ, HECTOR A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE GONZALEZ, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE GONZALEZ, JESUS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1884 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALLE GONZALEZ, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE GONZALEZ, RAUL N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE GONZALEZ, YCNAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE GOURZONG, JUAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE GOURZONG, JUAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE GUADALUPE, MARCELINO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE HILERIO, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE IRIZARRY, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE IZQUIERDO, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE JAUME, PAULINA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE JAVIER, DAFNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE JIMENEZ, NEYSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE JIMENEZ, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE JIMENEZ, TENDERLEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE JUSINO, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE LASALLE, ANAYDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE LASSUS, IRAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE LAUREANO, STELLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE LAUREANO, STELLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE LEBRON, ERIC M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE LEBRON, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE LEBRON, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE LOPEZ, ANNETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE LOPEZ, JAIME              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE LOPEZ, JOSE I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE LOPEZ, KATIE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE LOPEZ, MELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE LOPEZ, NELIDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE LOPEZ, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE LOPEZ, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MACHADO, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MACHADO, MARTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MALAVE, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MALAVE, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MALDONADO, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MARRERO, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MARRERO, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MARTI EZ, HIRAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MARTINEZ, HERMINIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MARTINEZ, JESUS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MASS, AIDA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MASS, AIDA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MEDINA, ELIUD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MELENDEZ, EDISON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MELENDEZ, GADIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MELENDEZ, MANUEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MENDEZ, BELEN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MENDOZA, FRANCO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MERCADO, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1885 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALLE MERCADO, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MERCADO, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MERCADO, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MERCADO, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MERCADO, SOFIA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MILAN, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MOJICA, BRENDA G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MOLINA, PEDRO A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MOLINA, ZAIDA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MOLINARY, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MONAGAS, EILLEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MONTES, VIVIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MONTES, VIVIAN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MORALES, SANTOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MORAN, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE MUNIZ, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE NIEVES, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE OJEDA, DELSI M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE OJEDA, ROY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE OLAVARRIA, ALFONSO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE OLAVARRIA, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE OLIVERAS, ANA Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ORENGO, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ORONA, ADRIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ORTIZ, CARMEN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ORTIZ, KRISTIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ORTIZ, LUIS J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ORTIZ, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ORTIZ, MIGNA LUZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE OTERO, ESTHER M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PADILLA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PADILLA, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PADILLA, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PAGAN, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PAGAN, JOSE M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PAULI, HELGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PELLOT, JOSSIE V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PELLOT, JOSSIE V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PENA, RAFAEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, AGUSTIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, AIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, AIDA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, ANA D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, BRENDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, EDUARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, ELIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, GUDELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6885 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1886 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VALLE PEREZ, IRAIDA M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, JESSLYN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, LISSETTE V.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, MARIA A              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, MARILYN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, MICHELLE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, VIDALINA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PEREZ, YADIRA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE PUJALS, DORIS               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE QUINONES, GABRIEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RAMOS, EDWIN                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RAMOS, EVARISTA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RAMOS, MIGDALIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RAMOS, MYRIAM               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RAMOS, MYRNA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RAMOS, RAMONITA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RAMOS, RONALD               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RAMOS, YVETTE V             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE REYES, ANGELA M.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE REYES, BRENDA L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE REYES, JOSEFINA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIEFKOHL, GRETCHEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIEFKOHL, JOSE A.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIVERA, ARACELIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIVERA, ASTRIVELISSE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIVERA, AURORA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIVERA, CARLOS E            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIVERA, CARMEN L.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIVERA, CARMEN T            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIVERA, IRMA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIVERA, JOSE G              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIVERA, MARIA D             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIVERA, OMAR                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIVERA, SOLIMAR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIVERA, SOLIMAR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIVERA, SOLIMAR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIVERA, SOLIMAR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIVERA, YAJAIRA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RIVERA, YOMARA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RODRIGUEZ, EDWIN I.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RODRIGUEZ, JONATHAN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RODRIGUEZ, JUAN A.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RODRIGUEZ, LILLIAN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RODRIGUEZ, LORIEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RODRIGUEZ, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RODRIGUEZ, MARIEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RODRIGUEZ, MILAGROS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RODRIGUEZ, MILDRED          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RODRIGUEZ, SARKIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1887 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALLE RODRIGUEZ, SERGIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RODRIGUEZ, SOFIA K        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ROJAS, VIRGINIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ROLDAN, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ROMAN, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ROMAN, JOEL D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ROSADO, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ROSADO, KRYSTAL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ROSADO, WANDALIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ROSADO, WANDALIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ROSARIO, CYNTHIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ROSARIO, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE ROSAS, BRENDALEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RUIZ, ARMANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RUIZ, EDMEE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RUIZ, ENELIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RUIZ, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RUIZ, SUGEIL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE RUIZ, YADIEL O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE SALGADO, ANGEL D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE SANCHEZ, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE SANCHEZ, RAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE SANCHEZ, ZIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE SANDOVAL, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE SANTANA, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE SANTIAGO, IRMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE SANTIAGO, MARIA DEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE SANTIAGO, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE SANTIAGO, MAXIMINO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE SANTOS, MONICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE SANTOS, NELLY I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE SERRANO, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE SOLER, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE SOSTRE, GLORIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE TAVAREZ, ISABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE TAVAREZ, JORGE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE TORRES, ADDYTH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE TORRES, EDNA J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE TORRES, GRACIELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE UMPIERRE, RENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VALENTIN, JANNETTE E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VALENTIN, JOSE D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VALENTIN, PEDRO ENRIQUE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VALENTIN, WALDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VALLE, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VALLE, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VALLE, ISRAEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VALLE, MARGA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VARELA, IDALIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 1888 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
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CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
VALLE VARGAS, ABRAHAM              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VARGAS, ARMANDO              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VARGAS, IVELISSE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VARGAS, TERESA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VAZQUEZ, AWILDA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VAZQUEZ, FRANKIE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VAZQUEZ, SONIA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VEGA, AITZA M.               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VEGA, CARMEN J               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VEGA, CARMEN JUDITH          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VEGA, JOSE A                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VEGA, SANDRO                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VEGA, SONIA I                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VEGA, WENDELL J              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VELAZQUEZ, JORGE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VELAZQUEZ, JORGE L           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VELEZ, MARIA                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VELEZ, MARIA I               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLE VICENTY, ARMANDO             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLECILLO COLON, LUIS E           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLECILLO SANCHEZ, CARMEN B.      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEDOR SANTIAGO, MARIA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO ALMEDA, NELSON             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO CHARDON, DESIREE F.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO DE JESUS, DARLIN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO DE JESUS, KARLA M          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO FLORAN, YOLANDA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO FLORES, JOSE A             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO GONZALEZ, JOSE R           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO GORDIAN, MARIA E           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO LEBRON, MARIA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO LEBRON, MARIA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO LEBRON, TEODORA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO LOPEZ, ISABELITA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO LOPEZ, JOSUE               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO MARIN, YARA ENITZ          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO MARRERO, OBED              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO MIRANDA, IRIS G            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO MORALES, ALFREDO           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO MORALES, CARLOS            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO MORALES, LILLIAM M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO MORALES, LILLIAM MINEIRY   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO MORENO, HECTOR             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
FRANCISCO
VALLEJO MUNOZ, ANTONIO             REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
VALLEJO MUNOZ, JACQUELINE          REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
VALLEJO MUNOZ, ORLANDO             REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
VALLEJO MUNOZ, ORLANDO             REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED
VALLEJO ORTIZ, LAURA M             REDACTED                    REDACTED    REDACTED       REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                    Schedule E3 Page 1889 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VALLEJO PEREZ, YANELIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO RAMOS, JUAN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO RAMOS, JUAN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO RAMOS, WANDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO RIVERA, CARMEN D         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO RIVERA, JENNIFER M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO RIVERA, MARILYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO RIVERA, VANESSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO RODRIGUEZ, CARMEN N      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO RODRIGUEZ, HECTOR L.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO RODRIGUEZ, ILEANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO RODRIGUEZ, ILEANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO RODRIGUEZ, MARIA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO ROSADO, RAMON E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO RUIZ,JOSE                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO SANTOS, MARIA E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO SANTOS, ZAYRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO SANTOS, ZAYRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO SEPULVEDA, PATRICIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO VAZQUEZ, PABLO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO VEGA, MAGDALENA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO VILLAFANE, ELBA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJO, LUIS                    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJOS VILCHEZ, ANDY W         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLEJOS VILCHEZ, ANDY W         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLELLANES BELT, HERIBERTO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLELLANES COLON, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLELLANES COLON, CARMEN M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLELLANES COLON, CARMEN M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLELLANES FIGUEROA, SHEILA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLELLANES FUENTES, MARYLUZ     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLELLANES LAUREANO, ROSA A     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLELLANES RODRIGUEZ, LOURDES   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VALLELLANES RODRIGUEZ,           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
MARGARITA
VALLELLANES SANTOS, NILDA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALLELLANES SUAREZ, EDNA I       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALLELLANES, LUZ M               REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALLELLANOS ORTIZ, EVANGELINA    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALLELLANOS SERRA, ALEXANDER     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALLENILLA GALARZA, MARIA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALLES ALVAREZ, DANIEL A         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALLES AMARO, NIDIA              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALLES ANDUJAR, JOSE A           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALLES CARABALLO, JESSICA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALLES CARABALLO, JESSICA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALLES CINTRON,EDGAR             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALLES COLLAZO, CRISTIAN O       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VALLES COLLAZO, HECTOR           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6889 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1890 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALLES CORREA, ELBA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES CORREA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES CRUZ, JOSEPH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES DIAZ, MARIELA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES DIAZ, MAYRA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES GOMEZ, JUAN R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES GOMEZ, SAYMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES GONZALEZ, FRANK          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES GUTIERREZ, HECTOR M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES HERNANDEZ, JAIME H.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES MENDEZ, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES MENDEZ, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES MENDEZ, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES MERCED, CARLOS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES MONTALVO, HAYDEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES NARVAEZ, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES NEVAREZ, YAMIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES ORTIZ, LYDELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES ORTIZ, LYDELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES PEREZ, LUIS O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES QUINONES, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES QUINONES, CARLOS R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES QUINONES, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES QUINONES, WANDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES RAMOS, EMMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES RAMOS, EMMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES RAMOS, EMMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES RAMOS, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES RIVERA, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES SANTIAGO, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES SOTO, NOELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES TORRES, CARMEN N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES TORRES, RAMON L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES VARGAS, JOSSIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES VAZQUEZ, HEIDEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES VAZQUEZ, HILDA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES VAZQUEZ, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLES VELAZQUEZ, MARTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLESCORBO CLEMENTE, ANTONIO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLESCORBO CLEMENTE, ANTONIO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLESCORBO CLEMENTE, HILDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLESCORBO COLON, CARLOS I.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLESCORBO CUEVAS, ADRIANA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLESCORBO CUEVAS, ADRIANA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLESCORBO CUEVAS, TATIANA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLESPI CARRION, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLI SOTO, JOSE P.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLINES CABRERA, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLS ALONSO, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6890 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1891 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VALLS BORRERO, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLS CORNEJO, JOANNE E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLS DAPENA, GUSTAVO J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLS FERRERO, FRANCISCO J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLS FERRERO, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLS RIVERA, ANGEL F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLS RIVERA, FERNANDO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLS RIVERA, SARAH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLS VEGA, JAN A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALLS VEGA, JOAN M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALOY NUNEZ, FRANKLIN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALPAIS COLON, PABLO R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALPAIS RIVERA, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALPAIS RODRIGUEZ, ISABEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALPAIS SANTIAGO, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALPAIS SANTIAGO, YDDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALTUENA RUIZ, SUSANA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALVERDE LARA, MANUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALVERDI CARABALLO, CLAUDIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALVERDI RONDON, EDITH M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALVERDI SURIS, LYNNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VALVERDI SURIS, LYNNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAN HARLINGER, DEBORAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAN TULL RODRIGUEZ, JAVIER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAN ZANDT GONZALEZ, LESLIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAN ZANDT GONZALEZ, LESLIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANATTA BRUTVAN, DAWN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANBRACKLE FERNAN, ISMAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANDERPOOL ORTIZ, BARBARA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANDESSPPOOLL ROMAN, ANGEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANDESSPPOOLL ROMAN, ANGEL B    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANDESSPPOOLL ROSADO, AISHA M REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANDESSPPOOLL ROSADO, JUAN A.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANDO ARROYO, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANDO MONAGAS, ILANIT M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANDO TORRES, RICARDO FRANCISCO REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANDO VELEZ, EMELI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANGA GARCIA, JOSE E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANGA RODRIGUEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANGAS PEREZ, CARLOS N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANTARPOOL CORA, ODESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANTERPOOL ORTIZ, CARLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANTERPOOL ORTIZ, CARLA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAN‐TULL RODRIGUEZ, ESTEFANI    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAQUER CASTRODAD, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAQUER CASTRODAD, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAQUER LUGO, RICARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAQUER RIVERA, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAQUER RODIGUEZ, JUANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6891 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
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                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAQUER RODRIGUEZ, JUANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAQUER RODRIGUEZ, JUANA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAQUEZ FRESSE, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAQUEZ SERRANO, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAQUEZ TORRES, GLENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARADA LOPEZ, JOHNNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARAS ALEMAN, CLEMEN JOSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARAS BAEZ, RAFAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARAS GARCIA, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARAS GARCIA, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARAS JIMENEZ, ROBERTO E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARAS JIMENEZ, ROBERTO E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARAS RODRIGUEZ, LORELL C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARAS SANTISTEBAN, ESTEBAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARAS SANTOS, ILEANA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARAS, CARMEN Z.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARCARCEL CATALA, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA ALVELO, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA ANDINO, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA BETANCOURT, ELVIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA BUNKER, MARIA CRISTINA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA CALDERON, IRIS L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA CANDELARIA, ANGELINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA CARABALLO, JUANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA CARABALLO, JUANA C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA CARRERO, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA CARTAGENA, PATRIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA CINTRON, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA CORTES, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA CRESPO, JESUS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA CRESPO, MICHELLE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA DE MATIAS, ALMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA FERNANDEZ, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA FERNOS, ROXANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA FLORES, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA FLORES, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA FLORES, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA FLORES, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA FUENTES, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA FUENTES, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA GARCIA, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA GARCIA, SONIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA GARCIA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA GARCIA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA GUZMAN, GISELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA GUZMAN, GISELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA GUZMAN, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA IBANEZ, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA JIMENEZ, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6892 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1893 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARELA JIMENEZ, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA JIMENEZ, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA LAGUER, DAMARYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA LASTRA, DAVID D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA LLAVONA, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA LLAVONA, ANGIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA MARRERO, TANIA D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA MATIAS, DIXIE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA MATIAS, ELVIN W.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA MEJIAS, MYRTA N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA MORALES, CHRISTIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA MORALES, CHRISTIAN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA MORALES, SASHAYMA V      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA MORALES, SIOMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA NEGRON, ANNER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA NEGRON, LYDIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA NEGRON, OSCAR E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA NEGRON, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA NIEVES, ROSA ELENA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA OCASIO, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA OCASIO, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA ORTIZ, BLANCA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA ORTIZ, LAURA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA OTERO, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA OTERO, LILIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA PADRO, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA RAMIREZ, ANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA REYES, MIGUEL ANGEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA RIESTRA, MELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA RIJO, ANA V              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA RIVERA, ARAMID E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA RIVERA, ARAMID E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA RIVERA, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA RIVERA, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA RIVERA, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA RIVERA, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA RIVERA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA RIVERA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA ROHENA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA ROMAN, JUAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA ROMAN, MORAYMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA ROSA, VIVIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA ROSA, YARINEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA RUIZ, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA RUIZ, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA RUIZ, YADITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA SOTO, AIDA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA SOTO, ANA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA SOTO, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6893 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1894 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARELA SOTO, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA SOTO, LEYLA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA SOTO, LEYLA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA SOTO, PROVIDENCIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA TORRES, IRMA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA TORRES, IVELISSE R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA TORRES, OLGA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA VALENTIN, CHRISTIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA VALENTIN, CHRISTIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA VEGA, NORIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA VEGA, NORIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA VELAZQUEZ, MAGALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA VELAZQUEZ, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA VELEZ, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA VELEZ, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA VELEZ, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA VELEZ, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA VILLA, FABIOLA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA VILLALTA, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARELA, RICARDO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGA CARO, ASHLEY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGA HERNANDEZ, ANAIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGA SANCHEZ, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FONTANEZ, MARIA G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ABRAMS, ANIVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ABREU, CHRISTIAN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ACEVEDO, ADOLFO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ACEVEDO, ASHLEY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ACEVEDO, DELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ACEVEDO, DORISELLE M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ACEVEDO, MERCEDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ACEVEDO, NETZIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ACEVEDO, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ACEVEDO, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ACOSTA, GERMAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ACOSTA, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ACOSTA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ACOSTA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ACOSTA, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ACOSTA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ACOSTA, ZAIDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ADORNO, BERNARDINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ADORNO, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AGOSTINI, ANA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AGOSTO, AIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AGOSTO, MARCOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALAMEDA, ILUMINADA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALDEA, DELMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALDECOA, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6894 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1895 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS ALEMAN, CARMEN GLADYS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALGARIN, LUCIANO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALICEA, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALICEA, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALICEA, LUIS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALICEA, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALICEA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALICEA, OMAR G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALICEA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALICEA, RAMON L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALICEA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALMODOVAR, ANDREA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALMODOVAR, CARMEN Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALMODOVAR, JOHAILYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALMODOVAR, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALTIERI, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALTIERY, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALTIERY, CARMELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALTIERY, DOMINGA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALTIERY, DOMINGA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALTIERY, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALTIERY, TEOFILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALTIERY, TOMAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVARADO, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVARADO, MIGUEL ANGEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVAREZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVAREZ, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVAREZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVAREZ, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVAREZ, JENYEIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVAREZ, JENYEIRA Z      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVAREZ, JORGE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVAREZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVAREZ, JUAN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVAREZ, LUZ D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVAREZ, NORBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVAREZ, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVAREZ, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVAREZ, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVERIO, PABLO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVERIO, PABLO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVERIO, RYAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVIRA, DIGNA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVIRA, RAMON L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ALVIRA, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AMEZQUITA, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ANDUJAR, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ANDUJAR, JOSE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ANTONSANTI, ANGELA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6895 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS APONTE, ANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS APONTE, EDWARD H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS APONTE, GREGORIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS APONTE, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS APONTE, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS APONTE, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS APONTE, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS APONTE, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS APONTE, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS APONTE, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS APONTE, MELBA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS APONTE, YOLANDA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ARCE, EDNA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ARCE, WILMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ARENAS, ROBERTO LUIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ARRIAGA, ARIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ARRIAGA, ARIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ARRIAGA, ARIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ARROYO, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ARROYO, ANGEL D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ARROYO, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ARROYO, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ARROYO, JOSE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ARROYO, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ARROYO, SENEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ASENCIO, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ASMEQUITA, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ATANCES, ROBERT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AVILES, JOEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AVILES, JOEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AVILES, JOSE ANGEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AVILES, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AVILES, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AVILES, SANTA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AVILES, SARAI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AVINO, DESIREE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AVINO, DESIREE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AYALA, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AYALA, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AYALA, EDDIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AYALA, EVA H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AYALA, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AYALA, L UZ S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AYALA, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AYALA, MARIA SYLVIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AYALA, NATANAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS AYALA, YAMIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS BABA, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS BADILLO, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6896 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1897 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS BAEZ, ANGELO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS BAEZ, EDGARDO L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS BAEZ, EMMANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS BAEZ, NELIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS BAEZ, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS BAEZ, YVETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS BAIGES, VICTOR F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS BARRETO, AUDELIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS BARRETO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS BARRETO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS BARRETO, FELIPE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS BARRETO, JOEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS BARRETO, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ALEJANDRO
VARGAS BARRETO, RAUL A.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BARRIERA, ARELIS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BATISTA, BETZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BATISTA, BETZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BATISTA, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BATISTA, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BECERRIL, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BERNAL, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BESARES, TERESITA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BEZARES, TERESITA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BONET, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BONILLA, ANA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BONILLA, KIANY LEE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BONILLA, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BONILLA, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BONILLA, MONSERRATE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BRACERO, YANIRES         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BRACERO, YANIRES E       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BRITO, ULISES A          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BRUNO, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS BUENO, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS CABALLERO, LEIDA L       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS CABALLERO, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS CABALLERO, REISA M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS CABAN, IVELISS           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS CABAN, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS CABAN, JENNIFER          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS CABAN, PABLO OMAR        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS CABAN, SOL J             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS CACERES, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS CACERES, LUZ S           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS CAJIGAS, DAYANIRA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS CAJIGAS, DAYANIRA V      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS CAJIGAS, DAYANIRA V.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VARGAS CALVENTE, ADALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1898 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS CALVENTE, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CAMACHO, DIALMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CAMACHO, ELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CAMACHO, ENMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CAMACHO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CAMACHO, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CAMACHO, YISBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CAMACHO, YISBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CAMARENO, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CAMPOS, SHARON L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CANALES, NESTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CANCEL, JENITSA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CANCEL, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CANIZARES, ISMAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CANIZARES, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CANIZARES, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CAPRILES, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CARABALLO, MARIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CARCANA, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CARDONA, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CARDONA, LUZ I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CARMONA, MIGUEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CARO, INGRID L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CARO, JESSIKA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CARO, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CARO, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CARO, NORBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CARRASQUILLO, LIZ E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CARRASQUILLO, MARIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CARRERO, CARLOS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CARRERO, JUAN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CARRILLO, NELMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CARRION, VIVIAN E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASIANO, JUAN C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASIANO, JUAN C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASIANO, NOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASIANO, NOEL R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASIANO, RAMON J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASIANO, YARLEEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASILLAS, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTILLO, CHRISTIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTILLO, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTILLO, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTILLO, JOEL C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTILLO, JUAN CARLOS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTILLO, JULIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTILLO, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTILLO, NANCY I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTILLO, NANCY I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1899 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS CASTILLO, NORBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTILLO, YOMALIS D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTRO, ANDRES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTRO, DELIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTRO, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTRO, JOHN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTRO, MARIA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTRO, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTRO, NAIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTRO, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CASTRO, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CERVANTES, LISNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CERVANTES, LISNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CINTRON, DELIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CINTRON, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CINTRON, MARIA DE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CINTRON, MARIA DE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CINTRON, PEDRO N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COLLADO, JOSE J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COLON, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COLON, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COLON, BERNARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COLON, BERNARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COLON, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COLON, ENID V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COLON, GABRIEL O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COLON, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COLON, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COLON, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COLON, VIVIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COLON, VIVIAN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COLON, VIVIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COLON, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CORCHADO, MARIA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CORCINO, JAIME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CORDERO, SARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COREANO, LOYDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CORONA, JUAN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CORREA, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CORREA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CORTES, HENRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CORTES, HUMBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CORTES, JENNIFER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CORTES, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CORTES, NANCY E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CORTES, NELLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COSME, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COSME, ROSALYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS COTTO, AUROLIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6899 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1900 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS COTTO, AUROLIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRESPO, EDITH G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRESPO, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRESPO, NELLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRESPO, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, ABDIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, ADA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, ANGEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, CAROLYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, ERICK G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, GERONIMO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, GLORIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, IBIMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, ILEANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, IVAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, IVETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, JOSE J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, JULIAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, LISEL M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, LUIS E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, MARY N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, MARY N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, NELSON L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, PEDRO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, ROSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, VICTOR M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, WANDA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, YANILKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CRUZ, YANILKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CUCHI, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS CUEVAS, KEISHLA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DAVILA, AMARILYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DAVILA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DAVILA, XIOMARA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DAVILA, YAZMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DAVILA, YAZMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE JESUS, ALEXANDRA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE JESUS, AMNERIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE JESUS, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE JESUS, GEORGINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6900 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1901 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VARGAS DE JESUS, JACQUELINE M.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE JESUS, JOMARIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE JESUS, JUAN D.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE JESUS, PETER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE JESUS, REGINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE JESUS, UBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE JESUS, VERONICA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE JESUS, WILMA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE JESUS, WILMARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE JESUS, WILMARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE JESUS, YESENIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE LA PAZ, JULIO C.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE LA PAZ, LEILANY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE LEON, CARMEN I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE LEON, FRANCISCO B.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE LEON, RAMONA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE RUIZ, BETTY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DE WYNNE, MARIA S         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DEL PILAR, FELIX          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DEL VALLE, ELIZABETH      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DELBREY, JOSE E.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DELGADO, ADIANEZ          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DELGADO, IVELISSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DELGADO, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DELGADO, YARITZA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DENIZARD, LUCIA T.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DESA, EDUARDO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DIAZ, ANGELEE A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DIAZ, EDGAR I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DIAZ, EDGAR I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DIAZ, EDUARDO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DIAZ, HECTOR              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DIAZ, IVONNE E.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DIAZ, IVONNE E.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DIAZ, JOSE                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DIAZ, LILLIAM             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DIAZ, MARTA E.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DIAZ, NELSON              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DIAZ, PAZ J               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DOMINGUEZ, SONIA V        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DONES, DAISY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DROS, OLGA G              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS DURAN, NATIVIDAD          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ECHEANDIA, NILSA N.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ECHEVARRIA, AIDA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ECHEVARRIA, BRENDA L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ECHEVARRIA, ELSON J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ECHEVARRIA, PEDRO A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ECHEVARRIA, RICARDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6901 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1902 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS ECHEVARRIA, VANESSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ELENO, MAYRA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ESCOBAR, CELESTINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ESCOBAR, EBELIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ESCOBAR, EBELIN E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ESCOBAR, EMILIO T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ESCOBAR, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ESPIET, WILLIAM R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ESTELA, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ESTELA, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ESTRADA, EDDIE O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ESTRADA, GRISEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ESTRADA, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ESTRADA, VLAMIR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ESTRADA, VLAMIR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FALCON, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FALCON, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FALCON, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FANTAUZZI, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, AIXA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, AIXA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, ANGEL L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, DANISLAO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, DEBORAH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, EDELSEILN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, EDGAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, GISELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, HERNAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, JESSENIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, NELLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, NESTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, SAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, TEODORO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, WANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FELICIANO, ZUHAY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FERNANDEZ, CLAUDIO E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FERNANDEZ, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FERNANDEZ, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FERNANDEZ, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FERRER, CARLOS J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUERO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, CARMELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, CHARLIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6902 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VARGAS FIGUEROA, JOSE A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, JOSE O          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, LOURDES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, LOURDES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, LOURDES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, MORAIMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, NICOMEDES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, NIVIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, NORMA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, SANDRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, SANDRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FIGUEROA, WILFREDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FLECHA, ALEXANDER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FLECHA, GISELLE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FLECHA, GISELLE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FLORES, INGRID            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FLORES, MARIA T           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FLORES, WILSON            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FONTANEZ, PEDRO A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FRANQUI, LORNA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FRANQUI, SUGHEILY E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FRATICELLI, ASBERTLY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FRATICELLI, MIRIAM D.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FRATICELLI, SONIA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FRATICELLY, KELLY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FUENTES, AIDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FUENTES, JOAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FUENTES, NICOLE A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FUMERO, KARLA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FUMERO, KARLA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS FUMERO, KARLA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GALARZA, MERCEDES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GALARZA, NORMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, ADMARY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, ANDRES            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, EDWIN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, EURY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, JUDITH            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, MARIA D           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, MARIA D           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, MAYRA ALEJANDRA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, MAYRA T           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, OLGA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, OLGA N            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, ORLANDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, ORLANDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, ORLANDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, SANDRA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, VANESSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6903 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1904 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS GARCIA, WANDA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GARCIA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GASCOT, RAFAEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GELABERT, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GELABERT, MISAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GERENA, JESUS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GERENA, JOSEFINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GERENA, LEANDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GERENA, LISSETTE E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GERENA, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GERENA, NATIVIDAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GERENA, NATIVIDAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GERENA, PROVIDENCIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GERENA, PROVIDENCIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GERENA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GERENA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GIBBS, MARTHA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GIBBS, VIVIAN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GIRALD, YAJAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GOICOECHEA, AINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GOIRE, VIRNALYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GOMEZ, ARNES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GOMEZ, CARMEN LAURA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GOMEZ, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GOMEZ, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GOMEZ, LILIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GOMEZ, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GOMEZ, TOMAS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONALEZ, YANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, ADA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, AMBAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, AUREA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, AUREA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, CARLOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, CLARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, EDISON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, EMILIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, EPIFANIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, ERIKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, FAUSTINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, FAUSTINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, HECTOR L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, HILDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, ISMAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 1905 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS GONZALEZ, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, JOHN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, JUAN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, MANASHKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, MARIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, NYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, SARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, SOL B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, SOLANYA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, SOLYMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, VICTOR E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, YANIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, YARITZA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GONZALEZ, YELIXA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GRAJALES, VANESSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GRATACOS, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GREGORY, JENICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GUADALUPE, FRANCISCO J   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GUTIERREZ, REBECA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GUZMAN, DAIANA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GUZMAN, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GUZMAN, GREGORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GUZMAN, ISABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS GUZMAN, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HENRIQUEZ, ALFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HEREDIA, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, ANGELA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, EFRAIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, ESTHER L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, FRANCES A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, GLORIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, ILENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, JAVIER A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, KATHERINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, KATHERINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6905 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1906 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS HERNANDEZ, LUZ M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, MARANGELY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, MARIA V.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, PEDRO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, ROSA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, VIETSY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, YAMILETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, YELISKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERNANDEZ, ZEYHASH L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HERRERA, AURIE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HORTA, DIANITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS HORTA, ZULIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IBARRA, MARIO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IGLESIAS, ANGEL M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IRIZARRY, AGUSTIN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IRIZARRY, AMALIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IRIZARRY, AMALIA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IRIZARRY, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IRIZARRY, ARELIS L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IRIZARRY, CARMEN IRIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IRIZARRY, ELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IRIZARRY, ERIC           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IRIZARRY, ERIC           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IRIZARRY, EUGENIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IRIZARRY, HILARIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IRIZARRY, JANIRA N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IRIZARRY, JOAN B         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IRIZARRY, WILLIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS IRIZARRY, WILMARILIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JIMENEZ, ANIBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JIMENEZ, ANIBAL D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JIMENEZ, BETSY Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JIMENEZ, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JIMENEZ, HAZEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JIMENEZ, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JIMENEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JIMENEZ, JOVANSKA V      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JIMENEZ, MICHAEL Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JIMENEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JIMENEZ, RANDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JIMENEZ, YESCENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JIMENEZ, YESCENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JIMENEZ, YESENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JORGE, DERBERT J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JUARBE, ADA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JUARBE, ADA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6906 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1907 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS JUARBE, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JURADO, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JUSINO, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JUSINO, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JUSINO, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JUSTINIANO, JOAN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JUSTINIANO, JOAN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS JUSTINIANO, OSVALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS KORTRIGTHT, CARLOS A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LABOY, ANA L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LABRADOR, CARLA P        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LAMBOY, VENUS T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LANDIN, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LANDIN, MARIA DEL CA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LANDIN, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LANDOR, PRIMITIVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LANDRO, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LANDRO, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LANDRO, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LANDRO, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LARACUENTE, SELINETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LASALLE, ARLENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LAUREANO, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LAUREANO, SWINNY E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LEON, CARMEN O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LEON, KARVING            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LEON, KARVING            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LEYRO, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LEYRO, IRMAHE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LEYRO, JOHANNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LEYRO, JOHANNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LISBOA, MARCELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LISBOA, MARCELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOAIZA, MICHELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, ASHLEY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, BRENDALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, CLAVEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, DAISY ANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, HECDALIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, HECDALIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, JOAQUIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, LINDA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, LINDA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1908 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS LOPEZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, MARCO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, MIOSOTIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, RAFAEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, SANTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOPEZ, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LORENZO, KATIA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LORENZO, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOUBRIEL, RANDY O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOYSELLE, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOZADA, CLARABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOZADA, CLARABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOZADA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LOZADA, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUCIANO, BARBARA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUCIANO, GLEEISSY M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUCIANO, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUCIANO, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUGO, DORIS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUGO, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUGO, ERICK              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUGO, FELIX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUGO, GRABIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUGO, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUGO, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUGO, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUGO, MARIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUGO, RAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUGO, SAHILY M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUGO, VIVECA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS LUQUE, PIER ANGELLY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MADERA, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MALAVE, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MALAVE, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MALDONADO, ANGEL D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MALDONADO, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MALDONADO, EMMANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MALDONADO, ESTEBAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MALDONADO, EVA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MALDONADO, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MALDONADO, LUIS F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6908 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1909 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS MALDONADO, MARIA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MALDONADO, MARIA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MALDONADO, MICHELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MALDONADO, MICHELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MALDONADO, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MALDONADO, WILSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MANTILLA, ALEJANDRINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MANTILLA, FRANK          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARCANO, AURA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARISCHAL, DOMINGA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARQUEZ, CARLOS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARQUEZ, DELWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARRERO, ALEJA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARRERO, GUILLERMO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARRERO, HEICHA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARRERO, JORGE J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARRERO, MEDARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTELL, ARISBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTELL, EDITH V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTELL, LUIS J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTI, LAURA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTIN, VIAVIAN E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, CARMEN N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, DIGLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, ELMO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, FERNANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, JANET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, JANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, LUIS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, MARIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, MARIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, REYNALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, SANTIAGO M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, SHARLENE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, SIXTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, VANESSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTINEZ, VIVIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTY, IRIS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MARTY, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MASSARI, JOSE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6909 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1910 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS MATIAS, ANGELES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MATIAS, GISELDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MATIAS, SANTOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MATOS, BETZY E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MATOS, DAYNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MATOS, DAYNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MATOS, JENNY M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MATOS, JOMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MATOS, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MATOS, MARIANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MATOS, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MEDIAVILLA, GLADYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MEDIAVILLA, GLADYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MEDINA, ANGELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MEDINA, CHRISTIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MEDINA, DEBORAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MEDINA, LUCIANO M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MEDINA, MARIA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MEDINA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MEDINA, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MEDINA, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MEDINA, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MEDINA, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MEDINA, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MEDINA, ZENAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MELENDEZ, ARTURO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MELENDEZ, ARTURO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MELENDEZ, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MELENDEZ, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MELENDEZ, MARIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MELENDEZ, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MELENDEZ, SORYVETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MELENDEZ, SYLVIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MENA, NYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MENDEZ, ALMINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MENDEZ, ARMANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MENDEZ, ARTURO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MENDEZ, BRENDA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MENDEZ, CARLOS G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MENDEZ, CHRISTIAN X      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MENDEZ, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MENDEZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MENDEZ, JUAN E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MENDEZ, KATHERINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MENDOZA, YAIDI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MERCADO, CARMEN H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MERCADO, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MERCADO, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MERCADO, IRENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6910 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1911 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS MERCADO, ISAAC           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MERCADO, ISAAC           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MERCADO, JUAN C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MERCADO, LINDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MERCADO, LINDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MERCADO, LINDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MERCADO, MARIA DE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MERCADO, PEDRO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MERCADO, ROSA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MILLAN, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MINGUELA, RAMONITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MIRANDA, IVYDARLIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MIRANDA, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MOJICA, JOSE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MOJICA, ZUHEIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MOLINA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MOLINA, SUHAIL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MONTALVO, EDDIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MONTALVO, EDELMIRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MONTALVO, ELSIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MONTALVO, ELSIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MONTALVO, IDAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MONTALVO, JULIO C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MONTALVO, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MONTALVO, NAYDAMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MONTALVO, NAYDAMAR N     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MONTALVO, NAYDAMAR N     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MONTALVO, SONIA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MONTANEZ, JORGE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MONTES, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MONTES, IVETTE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORALES, ANA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORALES, BRENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORALES, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORALES, CESAR A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORALES, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORALES, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORALES, JOSE C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORALES, JULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORALES, KIMBERLY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORALES, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORALES, LYNELLY E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORALES, MARIA DEL C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORALES, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORALES, TOMAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORENO, ASHLEY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORINGLANE, JESUS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MORISCO, FELIX O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MOYA, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6911 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

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                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS MOYA, EDGARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MOYA, EDGARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MOYA, EDGARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MULLER, BENIGNO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MUNIZ, GLENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MUNIZ, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MUNIZ, LEOMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MUNIZ, MONICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MUNIZ, OLGA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MUNIZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MUNIZ, SHEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MUNIZ, SHEILY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MUNIZ, WALESKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MUNIZ, WENDELL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS MUQIZ, MONICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NAVARRO, SONIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NAZARIO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NAZARIO, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NEGRON, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NEGRON, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NEGRON, HERMINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NEGRON, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NEGRON, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NEGRON, LILLIAN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NEGRON, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NEGRON, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NEGRON, NILKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NEGRON, NILKA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NEGRON, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NEGRON, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NELSON, DEBORAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NELSON, DEBORAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NIEVES, BENISMIR J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NIEVES, CARMELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NIEVES, HECTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NIEVES, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NIEVES, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NIEVES, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NIEVES, MARIA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NIEVES, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NIEVES, SASHA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NIEVES, VIRGINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NIEVES, YARELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NIEVES, YARELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NIEVES, ZULLYMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NIVAL, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NOESI, ANDY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NUESI, FELIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NUEZ, MEREDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 1913 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
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                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VARGAS NUNEZ, AIDELISA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NUNEZ, CARMEN M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS NUNEZ, KATHERINE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OCASIO, EMMANUEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OCASIO, JOSE A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OCASIO, OSCAR A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OJEDA, JENNIFFER M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OLIVENCIA, MARIA D         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OLIVERAS, BRENDA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OLIVERAS, DAVID            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OLIVERAS, JORGE L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OLIVERAS, JORGE L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OLIVERAS, JUAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OLIVERAS, JUAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OLIVERAS, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OLIVERAS, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OLIVERAS, SONIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OLIVIERI, ZULEIKA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OLIVO, LUIS F              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OLIVO, ROXANA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OLMO, HASANI               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OLMO, HECTOR A             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OLMO, JANET                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORENGO, EZEQUIEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, ALSEDES             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, ANA M               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, ANGEL J             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, ANGEL L.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, AWILDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, BENJAMIN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, CARMEN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, CARMEN T            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, EDGAR E.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, EDGARDO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, EDUARDO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, EFRAIN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, ENID                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, HECTOR              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, HECTOR M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, JACQUELINE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, JOSE LUIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, LILLIAM I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, MAGDA ENID          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, MARIA DEL MA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, MARIA S             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, MARIANITA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, NADYA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, NEMESIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, NEMESIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6913 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1914 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS ORTIZ, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, RAFAEL E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, TAMARA AIMEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, URICHA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ORTIZ, URICHA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OSORIO, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OSORIO, SILVIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OTERO, ELSA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OTERO, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OTERO, WILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS OTERO, WILMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PACHECO, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PACHECO, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PACHECO, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PACHECO, EDGARDO L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PACHECO, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PACHECO, NATALIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PADILLA, ALICE I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PADILLA, EDWIN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PADILLA, RUTH M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PADILLA, RUTH M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PADIN, LETICIA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PADIN, LISA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PADIN, RUBEN O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PAGAN, ANGELICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PAGAN, CARMEN N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PAGAN, CHRISTIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PAGAN, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PAGAN, ELBA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PAGAN, GEORGINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PAGAN, GETINA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PAGAN, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PAZ, GLORIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PAZ, GLORIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PENA, HEBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, ADLIN MARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, ALEXANDER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, ANA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, ANA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, BEATRIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, CARMEN N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, EDITH N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, ERENIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6914 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1915 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS PEREZ, ESTHER M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, EUFEMIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, FELIX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, HIRAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, JUANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, JUANITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, LILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, MARIA DEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, MARISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, MARISEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, MONSERRATE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, MYRTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, NOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, NOELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, OSCAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, PABLO L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, PEDRO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, RODOLFO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, ROSA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, SALVADOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, TOMASITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, VIVIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PEREZ, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PESANTE, MYRIAM I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PINERO, MARIA J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PINTO, SUSANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PIZARRO, JONATHAN G.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PLAZA, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS POLANCO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS POLANCO, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS POU, SARA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS POU, SARA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS PUENTE, LILLIET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6915 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1916 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS QUIJANO, SARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUILES, ANGEL Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUILES, FRANCHESKA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUILES, MARCOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUINONES, AMALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUINONES, ANGELICA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUINONES, CARLOS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUINONES, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUINONES, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUINONES, CRISTIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUINONES, GABRIELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUINONES, IRVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUINONES, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUINONES, JEANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUINONES, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUINONES, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUINONES, SONIA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUINONES, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUINONES, YARITZA D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUINTANA, JUAN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS QUIQONES, ROSAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAICES, ANTONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMIREZ, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMIREZ, CLARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMIREZ, EDWIN III       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMIREZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMIREZ, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMIREZ, JAIME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMIREZ, MERCEDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMIREZ, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, ANABELL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, ANGEL L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, BETZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, CARMEN D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, DARVING           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, DOMINGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, GLORYMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, HERMINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, HERMINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, HERNAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, JUAN L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, JUDITH M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6916 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1917 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS RAMOS, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, MELINDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, MONSERRATE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, MYRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, MYRTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, OBDULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, YANITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, YANITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, YIMARI A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RAMOS, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS REGUERO, MARYLIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS REGUERO, MARYLIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS REGUERO, VICTOR A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS REILLO, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS REYES, AGNES MARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS REYES, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS REYES, HECTOR I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS REYES, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS REYES, LYDIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS REYES, MARIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS REYES, MARLENYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS REYES, YACHIRA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS REYES, YASHIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIOS, ALEX O.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIOS, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIOS, BENJAMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIOS, BENJAMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIOS, DELIA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIOS, ISMAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIOS, JUAN R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIOS, JULMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIOS, LINDA T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIOS, RONALD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, ANA G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, ANA ROSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, ANGELA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, ANGELA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, ANGIE I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, ANTONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, AWILDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, BENITO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6917 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1918 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS RIVERA, BERNARDINO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, BETSAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, BLANCA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, CLEMENTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, DIAMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, IGMEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, ISAI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, ISAI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, ISAURA D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, IVAN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, JASMINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, JOSE D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, LEONIDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, LUIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, MARCOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, MARIA ESTHER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, MARIA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, MARINELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, MARINELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, MARLYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, MARTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, MARTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, MARY A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, MARYLI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, MERARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, MOISES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, NAYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, RAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, ROMUALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, SALVADOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, SAUL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6918 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS RIVERA, SAUL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, TOMASITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, WESLEY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, YADMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RIVERA, YOMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROBLES, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROBLES, HOLVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROBLES, MARIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROBLES, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROBLES, SALVADOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGHUES, ERNESTO J.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, ALICE J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, ANA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, ANA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, ANGELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, BIANCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, BIENVENIDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, BRENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, BRENDA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, CARLOS A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, CATALINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, CHALITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, DIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, DIANA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, DIANE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, EMMA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, ENID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, ENRIQUE A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, ESTHER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, EVELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, FELIX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, FREDDIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, GLADYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, GLORIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, HECTOR L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, HECTOR L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, ILEAMIL L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, IRIS D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, IRIS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, JANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, JASHIRA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, JOEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, JORGE LUIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, JUAN CARLOS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VARGAS RODRIGUEZ, JUNA D.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, JUNA D.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, LADISLAO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, LETICIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, LIZMARY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, LOURDES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, LUIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, LUZ Z          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, MARCOS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, MARIA C        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, MARIA ESTHER   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, MARIA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, MARIANA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, MARISOL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, MARITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, MARLENYS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, MAYRA Y        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, MIGDALIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, MIGUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, MIGUEL A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, MILDRED        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, NAYSHMETT      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, NORMA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, OSCAR A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, PABLO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, RAMON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, RAUL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, REINALDO O     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, REY E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, RICHARD        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, RICHARD A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, ROSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, ROSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, SANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, SILVIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, SONIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, VALERIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, VIVIAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, WALESKA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, WILMER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, WILMER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, YERITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, YESLIN D.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, YESLIND        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RODRIGUEZ, ZAIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROHENA, MARITZA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROJAS, ELIZABETH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROLDAN, JULIO E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROLDAN, MELISSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6920 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1921 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS ROLDAN, MILDRED J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROLDAN, MILDRED J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROLON, ERIKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROLON, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROLON, NYDIA C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROMAN, ALVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROMAN, ANITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROMAN, IRIS I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROMAN, IRMA O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROMAN, LESLIE K.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROMAN, MIGUEL J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROMAN, MYRNA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROMAN, TERESITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROMERO, CARMEN G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROMERO, YUMILKA B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSA, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSA, NAYDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSADO, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSADO, AIDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSADO, AMERICO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSADO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSADO, ELFREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSADO, JULIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSADO, JULIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSADO, JULIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSADO, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSADO, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSADO, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSADO, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSADO, YAMIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSARIO, AYDINES M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSARIO, JOSE D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSARIO, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSARIO, NESLIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSARIO, NESLIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSARIO, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSARIO, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSAS, AIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSAS, ALVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSAS, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ROSAS, WILLIE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUBIO, ALVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUBIO, ALVIN J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUIZ, EDDA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUIZ, GERARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUIZ, JOSE L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUIZ, LISANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUIZ, LORNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6921 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1922 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS RUIZ, LORNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUIZ, MYRNA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUIZ, MYRNA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUIZ, NORAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUIZ, REBECA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUIZ, ROLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUIZ, ROLANDO G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUIZ, ROLANDO G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUPERTO, HECTOR D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUPERTO, HECTOR D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS RUSCALLEDA, JOSE A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SALERNA, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANABRIA, FRANCISCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANCHEZ, DANALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANCHEZ, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANCHEZ, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANCHEZ, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANCHEZ, EXOR MIGUEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANCHEZ, JASSELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANCHEZ, JASSELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANCHEZ, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANCHEZ, JUAN C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANCHEZ, MERCEDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANCHEZ, ROSA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANCHEZ, SANTOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTANA, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTANA, EDGARDO E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTANA, ELANE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTANA, FERDINAND       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTANA, JOHNBERTY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTANA, LINSAY M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTANA, MILLIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTANA, MILLIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, ANA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, BENJAMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, BESS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, BESS L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, CARMELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, CHRISTIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, CHRISTIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, EDMUNDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, ENRICO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, IRIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6922 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1923 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS SANTIAGO, JOSE JAVIER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, JOSELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, KARINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, LUIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, LUZ M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, MARIA J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, RAFAELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, SALLY E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, YAMIL R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, YVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTIAGO, YVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTOS, CHARLENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTOS, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTOS, FELIX D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTOS, FELIX E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTOS, FELIX J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTOS, FELIX M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTOS, FELIX N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTOS, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTOS, IRIS C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTOS, JENNIFER M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTOS, MARDYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTOS, MARIA DE LOS A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTOS, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTOS, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SANTOS, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEDA, CARMEN S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEDA, JEDELY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEDA, JOMARYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEDA, NORBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEGARRA, ALEX F.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEGUI, CARLOS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEGUI, CARLOS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEMIDEY, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEMIDEY, RAMON F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEPULVEDA, AMILCAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEPULVEDA, ANA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEPULVEDA, ANA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEPULVEDA, EMELINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEPULVEDA, GUILLERMINA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEPULVEDA, MILTON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEPULVEDA, RAFAEL W      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEPULVEDA, REINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEPULVEDA, RUTH D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SEPULVEDA, TETELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SERRANO, JACOBO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6923 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1924 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS SERRANO, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SERRANO, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SERRANO, YIMAZOA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SIERRA, SONIALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SIERRA, SONIALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SILVA, GRICELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SILVA, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOEGAARD, ENOELLYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOLER, HECTOR I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOLER, HECTOR I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOLIS, KARLA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOSA, ARMANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOSA, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOSA, MICHELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOSA, MICHELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOTO, GABRIEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOTO, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOTO, JOSE R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOTO, KEILA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOTO, KEILA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOTO, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOTO, LUIS E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOTO, MANUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOTO, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOTO, MAYRA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOTO, MAYRA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOTO, NELIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOTO, VILMA F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOTO, VILMA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOTO, WILNELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SOTO, YANIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SUAREZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS SUAREZ, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TAPIA, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TAVAREZ, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TIRADO, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TIRADO, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TIRU, JULIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TOLEDO, MISAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TOLEDO, ODALLIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TOLEDO, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORES, MILADY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORO, LIZA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORO, NELIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORO, WILMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, ALIZENET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, AMNERIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6924 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1925 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS TORRES, BUENAVENTURA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, CARMEN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, DALLYMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, DALLYMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, DANULKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, DORIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, ELIZ MARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, EUNICE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, FRANKIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, HECTOR E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, IVELISSE I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, JOSE B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, JOSE E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, JOSE S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, KAREN Z          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, KHARELY R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, MARIELIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, NILSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, PILAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, VICTOR J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, VICTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TORRES, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TRINIDAD, NEFTALI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TROCHE, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TROCHE, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TROCHE, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS TRUJILLO, NILSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VALDES, EDNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VALDES, LEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VALDES, LEIDA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VALENTIN, EDELMIRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VALENTIN, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VALENTIN, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VALENTIN, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VALENTIN, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VALENTIN, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6925 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1926 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS VALENTIN, LYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VALENTIN, NANCY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VALENTIN, VANESSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VALLE, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VALLE, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARELA, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, ALFONSO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, ANA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, EDGAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, EDWIN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, EMERITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, ENEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, ERIC             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, EVA JULIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, FERDINAND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, GREGORIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, GREGORIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, INES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, LILLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, LIMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, LUIS FELIPE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, RODRIGO E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, SANDRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, SHELLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, TOMAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, WENDELL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VARGAS, ZENAIDA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, ALIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, ALIDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, ANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, CELIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, DIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, EMERITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6926 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1927 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS VAZQUEZ, IRMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, JOSE J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, JOSE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, LILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, LYDIA V.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, VERONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, VERONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, WALESKA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VAZQUEZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VEGA, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VEGA, ELIGIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VEGA, HIPOLITO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VEGA, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VEGA, JUAN R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VEGA, KEISHLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VEGA, MACHALY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VEGA, MARCOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VEGA, NILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VEGA, ROSA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VEGA, WILLYS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VEGA, WILLYS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VEGA, YAREY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELAZQUEZ, DIXON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELAZQUEZ, ELVIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELAZQUEZ, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELAZQUEZ, ROSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELAZQUEZ, WENDOLINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELAZQUEZ, WENDOLINE V   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, ELBA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, FLORES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, KASANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, LIXIADARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, LOUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, LOURDES M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, LUCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, MARIANGELICE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, MAXIMINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, MIGUEL ANGEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, NATALIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, NATALIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6927 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1928 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VARGAS VELEZ, PABLO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, RUTH L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, SANDRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, WANDA B.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, YAMILETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VELEZ, ZUHEIL MARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VICENTY, ANGIERIES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VIENTOS, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VIERA, LIZBETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VILLALOBOS, VERONICA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VILLALOBOS, VERONICA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VILLANUEVA, ANGEL D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VILLANUEVA, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VILLANUEVA, MIGUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VILLANUEVA, WILFREDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS VILLAR, MARISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS WALKER, ANTONIA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS WALKER, FRANCISCO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ZAPATA, ISABEL Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ZAPATA, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ZAPATA, SOL B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ZAYAS, CARMEN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ZAYAS, EDDIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ZAYAS, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ZENO, ELAINE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS ZENO, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS, ALEXIS                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS, BENITO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS, BENITO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS, HECTOR                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS, JENNIFER                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS, JOEL                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS, JOSE                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS, KARENIN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS, LEONARDO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS, LUIS                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS, MAGDA E                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS, MILAGROS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS, OLGA I                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS, RAUL O                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS, ROSALIA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGAS, TERESA E.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGASBURGOS, LUIS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGASCOLON, EDDIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGASGONZALEZ, LOURDES I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGASROMAN, EMILIA VERA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARGS GARCIA, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARNER GONZALEZ, HILDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VARONA BLANCO, HUGO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6928 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 1929 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VARONA BLANCO, HUGO L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARONA COLLAZO, BRUNILDA M.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARONA COLLAZO, JUANJESUS N       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARONA COLLAZO, MARIELACRISTINA   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARONA ESCRIBANO, JOSE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARONA MORALES, CARLOS A.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARONA RODRIGUEZ, ANYELINE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARONA RODRIGUEZ, ANYELINE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARONA ROSARIO, JOSE RAMON        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARONA ROSARIO, VICENTE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARONA RUEMMELE, JOSE R.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARONA VAZQUEZ, ANA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VARONA VAZQUEZ, ANA M             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASALLO ACEVEDO, JAIME L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASALLO ACEVEDO, MARIA DEL C.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASALLO ANADON, VICTOR L.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASALLO APONTE, HAYDEE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASALLO BORRERO, ISALY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASALLO BORRERO, ISALY E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASALLO ECHEVARRIA, WANDA D.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASALLO GAUTIER, IVONNE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASALLO GUZMAN, CYNTHIA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASALLO MALDONADO, OBBAL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASALLO OCASIO, ISABEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASALLO VERDEJO, MARITZA D        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASCOT ORTIZ, VICTOR M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASGUEZ SERRANO, SILVIA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASQUEZ CARABALLO, RICARDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASQUEZ CRUZ, ROSEMARIE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASQUEZ LEBRON, MIGDALIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASQUEZ LUCIANO, ETERVINA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASQUEZ MARTE, MALDELIN C         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASQUEZ PICA, CAROLINE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASQUEZ RIVERA, ZELITA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASQUEZ SALAZAR, CESAR            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASQUEZ SANCHEZ, AMAURY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASQUEZ SANTIAGO, KEVIN A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASQUEZ SANTOS, LUIS D.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASQUEZ SOTO, ALONSO              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASQUEZ TOLENTINO, ANN LIZ        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASQUEZ VILA, FELIPE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASSALLO ACEVEDO, IVONNE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASSALLO COLON, MILAGROS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASSALLO GAUTIER, IVONNE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASSALLO MIRANDA, IDALIA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASSALLO MIRANDA, RAFAEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASSALLO MIRANDA, RAFAEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASSALLO OCASIO, MARIA E.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASSALLO OLMO, GIANINA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6929 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VASSALLO RODRIGUEZ, LYMARI        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASSALLO RODRIGUEZ, LYMARI V      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASSALLO VIZCARRONDO, HECTOR E.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VASSALLO VIZCARRONDO, HECTOR      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
EDGARDO
VASSUP VALENTIN, VICTOR           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAYAS LLERA, AILENE               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAYAS LLERA, MARIA                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAYAS LLERA, MARIA L.             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZ CORTES, MARTHA                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZ CORTES, MARTHA E              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZ MORALES, DEBBIE               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZ ORTEGA, SHEILA M.             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZ ROSADO, SULEIKA               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZAQUEZ MORENO, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZGEN ARTOUNIAN, ROGER           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZGUEZ GONZALEZ, AILEEN          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZOUEZ SANCHEZ, EUMIR            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUE VAZQUEZ, VIICENTE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUES DIAS, KAREN               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUES FUENTES, YESENIA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUESGUZMAN, HERIBERTO          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ COSTA, ADELA              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, MARITZA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ABADIA, EMILIO            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ABREU, ROSA               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ABREU, ROSA I             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACEVEDO, ANGIEMER         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACEVEDO, CARMEN A         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACEVEDO, DANIEL           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACEVEDO, EVELYN           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACEVEDO, GISEL D          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACEVEDO, GLENDALY         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACEVEDO, IRIS J.          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACEVEDO, JUAN             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACEVEDO, SHARYMER         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACEVEDO, TERESA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACEVEDO, TERESA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACEVEDO, VIDAL            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACEVEDO, XIOMARA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACOSTA, ALBY              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACOSTA, BONNIBELLE        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACOSTA, IVELLISSE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACOSTA, LUZ M             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ACOSTA, MARIA E           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ADORNO, LUIS A            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AGOSTO, AIDIL             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AGOSTO, AIDIL             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AGOSTO, BRUNILDA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6930 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1931 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ AGOSTO, DORIELIZ         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ AGOSTO, ELBA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ AGOSTO, FELIX            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ AGOSTO, FELIX            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ AGOSTO, JULIO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ AGOSTO, WANDA I.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ AGUILA, JOEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALAMEDA, LUIS A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALAMO, GENNELICH         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALAMO, GENNELICH D       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALAMO, LILLIAM E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALBALADEJO, IRIS M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALBALADEJO, IRIS M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALBALADEJO, IRIS M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALBALADEJO, JESSICA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALBELO, ELIEZER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALBERTY, CARLOS A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALBINO, HAYDEE L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALBINO, HILDA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALBINO, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALBINO, VIOLETA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALBOLADEJO, ROSANGELIS   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALCALA, LINNETTE M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALCANTARA, NATALIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALDARONDO, MARIBEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALDRICH, BRENDA I.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALDUEY, CAROL A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALEJANDRO, VERONICA E    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALEQUIN, FEDERICO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALEQUIN, FEDERICO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALFONSO, LUIS A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALFONSO, PAULINO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALGARIN, JOSE M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALGARIN, LUZ A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALGARIN, MILDRED         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALGARIN, REYNALD         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALIBRAM, RAFAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALICEA, BENJAMIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALICEA, BENJAMIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALICEA, CAMILLIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALICEA, CARLOS A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALICEA, CESAR E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALICEA, CHRISTIAN R      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALICEA, FELIX            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALICEA, HECTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALICEA, JANET            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALICEA, JANET            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALICEA, MARIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALICEA, YOLANDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6931 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1932 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ ALIERS, REYNALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALLENDE, LIZETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALMENA, JULIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALMENA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALMENA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALMODOVAR, AMERICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALMODOVAR, ANGEL M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALMODOVAR, ROSA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALMONTE, FLORICELDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALOMAR, IRIS W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALOMAR, KETSY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALONSO, GLADYS E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVALLE, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVARADO, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVARADO, ERASMO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVARADO, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVARADO, JUAN C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVARADO, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVARADO, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVARADO, MARLON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVARADO, MIRIAM E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVARADO, VILMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVARADO, VILMA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVARADO, YELLY E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVAREZ, CARLOS R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVAREZ, EDNA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVAREZ, EVA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVAREZ, IDALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVAREZ, IDALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVAREZ, ILEANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVAREZ, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVAREZ, JUAN MANUEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVAREZ, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVAREZ, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVAREZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVAREZ, ROBERTO Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVERIO, ALEXANDER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVIRA, ENID V.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVIRA, MARANGELIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ALVIRA, MARIANGEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ AMBERS, ANGEL R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ANAJA, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ANAYA, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ANAYA, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ANDINO, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ANDINO, MARIA B.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ANDINO, MARIA B.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ANDINO, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ANDINO, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6932 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1933 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ ANDINO, WESLEY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ANDINO, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, ALICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, EDGAR J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, GABRIELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, JAIME N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, JELENNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, JELENNE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, LINNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, MARTA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, MARTA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, NESTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, SONIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, WALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, WALIS L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, WALTER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ APONTE, WILMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ AQUINO, CINDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ AQUINO, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ AQUINO, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ AQUINO, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARANGO, LUCIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARCE, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARCE, FELICITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARCE, JOHANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARCE, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARCE, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARCE, YADIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARCHILLA, LOURDES V     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARGUELLES, JOSE J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARROYO, ANDREA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARROYO, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARROYO, ARMANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARROYO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARROYO, EZEQUIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARROYO, GILBERTO L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARROYO, HECTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARROYO, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARROYO, JESSICA Z       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARROYO, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARROYO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6933 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1934 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ ARROYO, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ARROYO, MARIA DEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
CARMEN
VAZQUEZ ARROYO, NAMYR           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ARROYO, RAMONA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ARROYO, SACHA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ARROYO, SHARONNE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ARROYO, SHARONNE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ARROYO, SHARONNE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ARROYO, STEPHANIE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ARROYO, YANILISS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ARVELO, HAMILTON        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ARZON, SHARON X         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ASENCIO, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ASENCIO, MARIO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ASTACIO, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ASTACIO, ONEIDA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ASTACIO, ROSARIO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AVENAUT, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AVILA, MELBA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AVILA, WANDA M          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AVILES, CARMEN O        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AVILES, ELENA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AVILES, ELENA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AVILES, JORGE A         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AVILES, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AVILES, LUIS D          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AVILES, LUIS O          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AVILES, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AVILES, MARTHA I.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AVILES, OLGA I          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AVILES, VICTOR A.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AYALA, BERNABELA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AYALA, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AYALA, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AYALA, DELMALIZ         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AYALA, ELISUARA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AYALA, HECTOR G.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AYALA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AYALA, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AYALA, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AYALA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AYALA, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AYALA, MEISALI          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AYALA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AYALA, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ AYALA, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ BABA, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ BABA, MATILDE           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6934 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1935 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ BABA, MATILDE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BADILLO, ANDRES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BADILLO, AWILDA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BADILLO, GLORIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, ANGELA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, ANTONIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, AURELIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, AURELIO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, CARMEN B           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, CARMEN M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, ELIZABETH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, ELIZABETH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, GILBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, GILBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, IRIS DEL C         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, JORGE R.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, JUAN A             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, LUIS D             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, LUIS DANIEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, MARIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, MARIA DEL C        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, MARIA E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, RAMON              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, ROCHELLY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, SILQUIA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, VIRGEN M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAEZ, WILLIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BALASQUIDE, JOSE M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BALSEIRO, SONIA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BANDAS, NELSON H.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BARRETO, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BARRETO, HARVEYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BARRETO, REYNALDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BARRETO, TERESA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BARROSO, HECTOR L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BATISTA, CATALINO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BATISTA, RAFAEL A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BATIZ, NATIVIDAD         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAUZA, KAREN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BAUZA, WANDA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BEALES, EDGARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BEAUCHAMP, MARIA DEL P   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BELEN, MARIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BELEN, MARILYN I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BENITEZ, HILDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BENITEZ, JONATHAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BENITEZ, JOSE L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BENITEZ, NERLIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BENITEZ, NERLIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6935 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1936 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ BENVENUTTI, JUSTINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERGANZO, REY A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERLY, DESIREE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERLY, DESIREE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERLY, DESIREE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERMUDEZ, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERMUDEZ, ENID M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERMUDEZ, ENID M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERMUDEZ, GUILLERMO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERMUDEZ, JOSE G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERMUDEZ, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERMUDEZ, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERMUDEZ, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERMUDEZ, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERMUDEZ, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERMUDEZ, RUTH N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERMUDEZ, ZORAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERNIER, JAIME L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERRIOS, ADA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERRIOS, ANABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERRIOS, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERRIOS, CESAR O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERRIOS, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERRIOS, GLADYS S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERRIOS, HECMARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERRIOS, LYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERRIOS, MARIA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERRIOS, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERRIOS, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERRIOS, MIRTA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERRIOS, OLGA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERRIOS, OSCAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERRIOS, ROSANGELA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BERRIOS, YARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BESTARD, YANIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BETANCOURT, AGNES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BETANCOURT, AGNES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BETANCOURT, IRMA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BETANCOURT, MARIA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BETANCOURT, MARIA E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BETANCOURT, MERARI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BETANCOURT, MIGDALIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BETANCOURT, NANCY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BIRRIEL, TAHIS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BIRRIEL, TAHIS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BLANCO, CYNDIE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BONETA, DOLORES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BONILLA, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BONILLA, BRUNILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6936 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1937 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ BONILLA, CECILIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BONILLA, DIANA I.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BONILLA, ISABEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BONILLA, LEOVIGILDO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BONILLA, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BONILLA, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BONILLA, NORIS G.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BONILLA, SHERY A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BORRERO, CECILIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BORRERO, CINDY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BORRERO, EMERIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BORRERO, ILEANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BORRERO, IRIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BORRERO, ISABEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BORRERO, ISABEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BORRERO, ISABEL Z         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BORRERO, LOURDES M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BORRERO, LYNNETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BORRERO, LYNNETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BORRERO, MORAYMA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BOSCH, YADIRA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BOU, JONATHAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BOU, JOSE                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BOU, JOSE                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BOU, JOSE C               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BRACERO, MARIA DE LOS R   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BRANA, VICTOR M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BRAVO, AWILDA P           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BRAVO, DAFNERYS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BRAVO, PEDRO              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BREA, MIGUEL A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BRIOSO, LOURDES           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BRIOSO, LOURDES           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BRITO, IRMA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BRITO, IRMA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BRYAN, CHRISTOPHER J      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BURGOS, CRUZ              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BURGOS, CRUZ              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BURGOS, CRUZ              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BURGOS, CRUZ M.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BURGOS, EDUARDO A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BURGOS, FELIX             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BURGOS, GUALBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BURGOS, JESSENIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BURGOS, JOSE A.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BURGOS, JOSE M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BURGOS, LUIS A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BURGOS, ZAIDA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ BURGOS, ZAIDA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6937 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1938 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ BUSIGO, VIVIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CAAMANO, RAFAEL E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CABRERA, ABIGAIL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CABRERA, EDGAR J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CABRERA, GILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CABRERA, IRIS D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CABRERA, ISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CABRERA, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CABRERA, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CABRERA, ROSALINDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CABRERA, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CABRERA, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CABRERA, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CABRERA, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CACERES, ADELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CACERES, ANGEL D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CACERES, JOSE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CADIZ, SOLEMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CALDERO, CLARIBEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CALDERO, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CALDERON, MANUEL A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CALLEJA, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CALLEJAS, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CALO, DELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CALVO, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CAMACHO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CAMACHO, GLADYS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CAMACHO, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CAMACHO, LIZBETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CAMACHO, MYRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CAMARGO, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CAMARGO, ALEXIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CANCEL, JAIME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CANCEL, LUIS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CANCEL, LUIS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CANDELARI, ROBINSON     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CANDELARIA, JOSE A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CANDELARIA, RICHARD     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CANDELARIO, EDGARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CANDELARIO, GLADYS M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CANDELARIO, JOSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CANDELARIO, LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CANDELARIO, LYDIANA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CAPO, YVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARABALLO, AWILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARABALLO, DENNISSE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARABALLO, ELIZABETH    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARABALLO, ISABEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARABALLO, IVETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6938 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 1939 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ CARABALLO, IVETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARABALLO, NAIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARABALLO, NANNETTE M     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARABALLO, YOEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARCANA, JOSE A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARDENAS, MARIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARDENAS, MARIA T         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARDONA, IVONNE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARDONA, JAIME            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARDONA, LYDIANET         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARMONA, DIEGO A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARMONA, JUAN CARLOS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARMONA, MARY E.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARRASQUILLO, CARLOS H    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARRASQUILLO, CRISARLIN   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARRASQUILLO, EVE L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CARRASQUILLO, FELIX       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
ARMANDO
VAZQUEZ CARRASQUILLO, IVIS O      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARRASQUILLO, IVIS O      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARRASQUILLO, JENNY       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARRASQUILLO, JENNY       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARRASQUILLO, MIRIAM      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARRERAS, MARIA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARRILLO, ELIONEXIS       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARRION, ANA E            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARRION, GRACIELA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARRION, ROSA M           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARTAGENA, ANGEL R        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARTAGENA, ANTONIO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARTAGENA, CARLOS G       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARTAGENA, CARLOS G       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARTAGENA, CARMEN L       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARTAGENA, EDWIN D.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARTAGENA, IRAIDA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARTAGENA, JOAQUIN        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARTAGENA, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARTAGENA, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARTAGENA, NEISHA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARTAGENA, NEREIDA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARTAGENA, RICARDO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CARTAGENA, VIRGILIO       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CASANOVAS, MILAGROS       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CASAS, AYMARA             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CASAS, WILLIAM E.         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CASAS, WILMARIE           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CASIANO, MILAGROS E       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CASIANO, NOEL             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ CASILLAS, CARMEN M        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6939 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                      Schedule E3 Page 1940 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


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CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ CASILLAS, JOSE G           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASILLAS, RAMON A.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTELLANO, HECTOR         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTELLANO, OLPHA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTELLANO, OLPHA L        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTILLO, ANGEL            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTILLO, BENJAMIN         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTILLO, ELBA I           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTILLO, IRAIDA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTILLO, IRMA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTILLO, MARIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTILLO, OLGA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTILLO, OLGA B           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, ADELA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, ALICE V            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, ALLISON            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, ANNETTE            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, ARELIS             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, ARLENE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, CARMEN A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, CARMEN A           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, FIDELINA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, IVETTE             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, IVETTE M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, JEFFREY            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, JOSE JUAN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, KIRZA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, NYRMA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, NYRMA I            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, PETER              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, SONIA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASTRO, VIVIAN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CASUL, LIZBETH             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CATALA, ALEXANDER          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CEDENO, JORGE L            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CEDENO, JUAN               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CENTENO, DILIA E.          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CENTENO, GLORIA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CENTENO, LUIS A            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CENTENO, SOLYEIRA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CERPA, YARITZA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CERVERA, LOIRA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CHACON, HECTOR             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CHACON, SOFIA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CHERENA, ELBA N            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CHERENA, MAGALY            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CHEVEREZ, ARACELIS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CHEVEREZ, JUANA F.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CHEVEREZ, MARIA DE LOS A   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 6940 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ CHICLANA, WILMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CHINEA, ANGEL R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CHINEA, LIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, ABIGAIL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, AIDA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, CARMEN G.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, CARMEN N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, CARMEN N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, DAYNESS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, ELBA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, INES N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, JESSENIA B     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, JESSICA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, JIMMY A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, LESTER R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, LIZZETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, LIZZETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, MARIA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, NILSA J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, ROSA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, SABINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CINTRON, SONIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CLASS, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CLASS, ERNIC RUBEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CLAUDIO, GENARO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CLAUDIO, MIRIAM M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CLAUDIO, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CLAUDIO, RUBEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLADO, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLAZO, ADNERYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLAZO, ADNERYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLAZO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLAZO, ELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLAZO, ELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLAZO, GIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLAZO, GLORIMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLAZO, HECTOR R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLAZO, HILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLAZO, IDAIRIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLAZO, ISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLAZO, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLAZO, LISAMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLAZO, MARIA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLAZO, MARTA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6941 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1942 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ COLLAZO, RAMON L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLLAZO, WALESKA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, ADA CELESTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, AHMED             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, BETHELIZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, BETHELIZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, CARMEN S.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, EDWIN F.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, ELBA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, ENRIQUE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, GILBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, GLORIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, GLORIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, GRENDALIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, GRENDALIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, GRENDALIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, GRENDALIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, GRENDALIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, GRISELL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, GRISELL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, HECTOR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, HERMINIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, JACKELINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, JAIME A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, JASMIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, JEANY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, JOSE LUIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, JUANITA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, JUANITA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, KATHERINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, KORALIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, LEONARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, LOURDES           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, LUIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, LUIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, LUIS A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, LUIS R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, MANUEL A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, MARIA DEL PILAR   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, MARIA J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, MARISEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, MARISEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, MIGDALIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, ODNALYS S         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, RAFAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, RAFAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, RAMON L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, RAUL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6942 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1943 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ COLON, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, SHERLIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, SONIA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, VICTOR R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, WANDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, YESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, YESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, ZASHA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLON, ZULEIKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COLORADO, CARMEN D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CONCEPCION, BEATRIZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CONCEPCION, ERIC M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CONCEPCION, VIRGINIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CONDE, CARMEN N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CONDE, DAISY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CONDE, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CONTE, DIANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORA, CELIA H.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORDERO, CRUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORDERO, EILEEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORDERO, ERIC J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORDERO, ERIC JOSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORDERO, OMAR G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORDERO, ROQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORDERO, ROQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORDERO, SYLVIA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORDOVA, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORDOVA, CARMEN R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORIANO, WALTER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORREA, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORREA, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORREA, HOMELL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORREA, JONATHAN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORREA, JONATHAN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORREA, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORREA, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORREA, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORREA, SONIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORTES, ANGEL J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORTES, IVONNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORTES, IVONNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORTES, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORTES, MARIO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORTES, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORTES, MYRIAM E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORTES, NELIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CORUJO, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6943 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1944 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ CORUJO, MARIA DE LOS A.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COSME, DARY L.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COSME, FRANCIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COSME, FRANCIS L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COSME, JOSE               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COSME, JOSE L.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COSME, MARCELO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COSME, VILMA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COSME, VILMA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTE, ALEXEI             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTI, MARIA R            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTO, APDIEL O           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTO, JARITZA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTO, JARITZA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTO, JESSICA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTO, JESSICA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTO, JUAN E             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTO, LESLIE M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTO, MARIA DE LOS A     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTO, MARIA I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTO, MARIA I.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTO, ROSA T             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTO, ROSA T             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTO, YINELIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTO, YINELIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ COTTO, YOEDVIN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CREPO, FELICITA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRESPO, ANDRES            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRESPO, GERTRUDIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRESPO, JOSE L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRESPO, MAGALIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRESPO, MARTA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRESPO, MIRIAM            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRESPO, RAFAEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRESPO, RIELA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, ANDRES              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, ARIS                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, BLANCA I.           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, BRENDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, CARLOS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, CARLOS G            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, CARMEN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, CARMEN              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, CARMEN L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, CARMEN M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, CARMEN M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, DAMARIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, DAMARIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, DAMARIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6944 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1945 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ CRUZ, DELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, DELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, DIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, DIANA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, EDGAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, GRISEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, GRISSELLE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, HUMBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, JOSE E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, JOSEFINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, KEYSHLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, LILLIAM M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, LIZVETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, LUIS O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, LUISA MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, MARICELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, MELANIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, NELDYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, RAMON A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, REINALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, ROSA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, ROSA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, SONIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, VANGEMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, VICTOR M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, YANAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, YASLEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZ, ZORAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZADO, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CRUZADO, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CUEVAS, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CUEVAS, DORIS C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ CUEVAS, YAMILZA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAMIANI, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6945 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1946 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ DAMIANI, RAFAEL G.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DANOIS, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVILA, ABNER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVILA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVILA, CRISTAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVILA, CRISTAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVILA, JUANA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVILA, KETSY I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVILA, KRYSTAL F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVILA, LUZAMAR Z       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVILA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVILA, PALOMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVILA, RICHARDY R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVILA, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVILA, RUBINSKY N.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVILA, SANDRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVILA, SANDRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVILA, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVIS, ZAYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DAVIS, ZAYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE ARROYO, SONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE BERDECIA, LAURA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE COAMANO, GLADYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE GONZALEZ, ANGELICA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE GONZALEZ, MARIA Y.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, ALFONSO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, ALICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, ANGEL L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, ANGEL L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, BLANCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, BRENDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, CARLOS H.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, CARMELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, CARMELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, CARMELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, CARMEN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, CARMEN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, CESAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, FELIX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, GILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, GRACE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, HECTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, IVETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, LILLIAM V     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, LINNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6946 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1947 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ DE JESUS, LUIS A.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, LUIS M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, LUZ C           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, MAYLENE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, MICHAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, PABLO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, PEDRO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, RITA A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, SANTA S.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, WILFREDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, YADIRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE JESUS, YARALIZ         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE LA CRUZ, AXEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE LEON, ANA A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE LEON, IRMA N           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE LEON, RAFAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE LEON, WANDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE LEON, WANDA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE LOS SANTOS, LAURY      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE MATOS, CARMEN M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE MOLINA, RAQUEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE MUNOZ, DIANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE QUINONEZ, SONIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE RUISANCHEZ, MYRNA I    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE SANTIAGO, RODERICK D   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DE, MAYLENE               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DEGRO, ALICIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DEGRO, ALICIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DEGRO, JOHANNA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DEJESUS, LIZETTE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DEJESUS, SUSANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DEL ROSARIO, MARIA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DEL VALLE, JAIME          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DEL VALLE, JUAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DEL VALLE, KARLA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DEL VALLE, NORMA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DEL VALLE, ROSA E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELFI, ENIB               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, ADA N            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, ANA B            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, ANA B            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, ANA G            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, ARILYS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, DIGNA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, FRANCES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, GLORY L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, MIGUEL A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, MIRALBA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, MIRALBA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6947 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1948 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ DELGADO, MIRIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, NIDYA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, VANESSA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, YANIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, YANIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, YEISSETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DELGADO, YEISSETTE F    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DENIEVES, GLADYS T      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, ALICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, ANGEL LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, ARISTIDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, CANDIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, CANDIDA R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, CARMEN N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, DANIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, DANIEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, DANIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, DANIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, EDNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, EDNA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, ELISEO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, EMANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, EVELYN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, FREDDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, FREDDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, HIRAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, HORTENSIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, INES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, INES M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, ITCHELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, JANCY J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, JEANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, JEANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, JOSE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, JOSE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, JUAN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, KAREN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6948 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1949 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ DIAZ, LORELL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, LORENZO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, LUZ A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, LUZ C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, LUZ M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, LUZ M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, MARYAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, MELITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, MELITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, MORAYMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, MYRNA Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, NADYABELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, NAYADETT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, NAYDIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, NAYDIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, NITZA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, NORMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, PATRICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, PAULA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, RAMONA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, RICHARD GIL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, ROBERTO C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, ROSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, ROSALINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, ROSELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, ROSITA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, SANDRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, SANDRA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, YANITSIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, YAZMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DIAZ, ZORAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DILLARD, FRANK          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DOMENECH, IGNACIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6949 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1950 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ DOMENECH, ROSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DOMENECH, VICTOR M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DOMINGUEZ, ENID          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DONES, CATALINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DONES, CATALINA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DONES, LUIS E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DONIS, MARIBEL I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DROZ, IVETTE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DUPREY, CARMEN M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DUPREY, JOSUE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DURAN, ESTHER            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DURAN, KARLA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DURAN, ROSYMAR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DURAN, ROSYMAR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ DURAN, SARAI             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ECHEVARRIA, CARMEN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ECHEVARRIA, IRIS M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ EMMANUELLI, ZORA H       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ENCHAUTEGUI, CRUZ M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ENCHAUTEGUI, CRUZ M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ESCALANTE, RICHARD       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ESCALERA, EVA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ESCALERA, LILLIAM M.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ESMURRIA, FELIX          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ESMURRIA, MADELINE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ESMURRIA, MAGALY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ESPADA, SOCORRO M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ESPINAL, ERIDANIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ESQUILIN, WANDA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ESTRADA, ALEX            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ESTRADA, CYNTHIA E.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ESTRADA, HECTOR D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ESTRADA, HECTOR D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ESTRADA, MIGUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ESTRELLA, CARMEN E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ EUIZ, DALIANY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FAJARDO, MELISSA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FALCON, CARLOS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FALCON, CARLOS ALBERTO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FALCON, LILLIAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FEBRES, MEI‐LING         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FEBUS, JENIFFER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FELICIANO, BETSY B       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FELICIANO, EMILIANO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FELICIANO, FEDERICO A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FELICIANO, FERNANDO L    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FELICIANO, FRANK         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FELICIANO, GISELLE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FELICIANO, IRISMELDA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6950 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ FELICIANO, JOSE A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FELICIANO, MARIA ELENA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FELICIANO, MICHAELO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FELICIANO, ROLANDO J     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERMIN, ANA H.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERMIN, ANA L.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, ADA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, ADA E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, CARMELO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, CRISTOBAL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, DAGMALIZ      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, HILDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, IRIS Y        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, ISARUBIE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, JAIME         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, JAVIER L.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, JOSE O        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, LILLIAM       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, MADELINE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, MARIA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, MARIA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, MYRLA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERNANDEZ, YANIDZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERRER, ANA L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERRER, CARMEN I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERRER, CATHERINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERRER, CATHERINE D      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERRER, CATHERINE D      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERRER, EDWIN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERRER, EVA M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERRER, GERONIMO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERRER, ROBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FERRI, NIVIA ROSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEREDO, ANGEL E.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, ADELINA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, AIDITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, ANA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, ANGELLY M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, BRENDA M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, CARLOS A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, CARMEN G       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, CHRISTIAN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, ENIDSA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, ERICK          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, ESTRELLA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, FELIX          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, GRACE L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, HECTOR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, HUMBERTO A.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6951 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1952 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ FIGUEROA, IDELISA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, JORGE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, JOSEM.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, JUAN C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, KAREN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, KATHYMARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, KATHYMARIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, LIZMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, LUZDARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, LYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, LYDIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, LYMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, MARCELINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, MARIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, MARIA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, MARIA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, MARILU        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, MARILU        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, MIGUEL A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, NEREIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, NORMA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, OLGA IRIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, OMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, OMAR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, OMAR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, PRISCILA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, ROSALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, SENIC         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, VALENTIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, VIDIVER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUEROA, VIODVELIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIGUERORA, ROSALI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIOL, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIOL, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIOL, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIOL, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FIQUEROA, YANICE G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FLORES, ALEXANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FLORES, ALEXANDRA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FLORES, ANALDI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FLORES, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FLORES, DEYAHAYRA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6952 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1953 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ FLORES, DIONISIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FLORES, EDDY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FLORES, ESTEBAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FLORES, FRANCISCA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FLORES, HECTOR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FLORES, JOSEFINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FLORES, LUIS D.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FLORES, MARGARITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FLORES, MARIA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FLORES, RAMON            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FLORES, ROSA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FONSECA, CARLOS J.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FONSECA, MANUEL E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FONSECA, STEPHANIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FONTANEZ, EBIDI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FONTANEZ, EBIDI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FONTANEZ, FRANCISCO G.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FONTANEZ, LUZ M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FONTANEZ, MARIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FONTANEZ, MARIA J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FONTANEZ, MELISSA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FONTANEZ, NICOLE M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FORTI, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FRAGUADA, CARMEN L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FRANCO, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FREIRE, JOSEFA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FRESSE, JONATHAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FRET, LUZ E.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FUENTES, AUREA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FUENTES, AUREA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FUENTES, CARMEN S        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FUENTES, LUZ S.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FUENTES, YESENIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FUSTER, AURA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FUSTER, CARLOS L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FUSTER, WILFREDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ FUSTER, WILLIAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GABRIEL, ASTRID M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GAETAN, ARACELY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GAETAN, VALENTIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALARZA, ADA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALARZA, ADA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALARZA, DELIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALARZA, ELSA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALARZA, ELSA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALARZA, HECTOR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALARZA, HECTOR D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALARZA, JAVIER A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALARZA, JULIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6953 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1954 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ GALARZA, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALARZA, ROSA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALI, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALI, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALI, MARIA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALI, MARIA V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALINDER, KENEIDY M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALINDEZ, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALINDEZ, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALINDEZ, NANCY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALINDEZ, RAFAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALLOZA, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GALVEZ, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARAY, AIXA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARAY, CRISTINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARAY, SILVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARAY, SYLVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCED, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, ALICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, ALIPIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, AMARILIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, ANA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, ANDREA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, BLANCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, BLANCA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, BRENDA LIZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, CARMEN E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, CARMEN M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, CARMEN S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, DORIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, ESTHER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, GABRIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, GRICEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, GRICEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, HAYDEE J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, HECTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, HECTOR R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, JAMILETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, JOSE F.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, JUAN C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, JUAN CARLOS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, LINDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, LINDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6954 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1955 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ GARCIA, LINDMARYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, LUZ N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, MARIA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, MARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, NIRMA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, PILAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, ROLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, SONIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, TANYA N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, WANDA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, XIOMARA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, XIOMARA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, YAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GARCIA, ZAIDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GAUD, JOSE MANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GENARO, JUAN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GERENA, EMILIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GOMEZ, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GOMEZ, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GOMEZ, ETANISLAO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GOMEZ, EVA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GOMEZ, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GOMEZ, JOSE R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GOMEZ, MYSABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GOMEZ, VIOLETA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GOMEZ, YAMILETTE D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, AIDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, AIDA R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, AILEEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, AILLEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, ALEX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, ANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1956 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ GONZALEZ, ANA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, ANA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, ANGEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, ARNALDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, AUREA V        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, AWILDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, BRUNILDA E     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, CARLOS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, CARLOS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, CARLOS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, CARMEN F       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, CARMEN L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, CARMEN M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, DOLORES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, EDILTRUDIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, ENID           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, ENID M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, FERNANDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, FRANCHESCA Y   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, FRANCO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, HERIBERTO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, IGMEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, IGMEL R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, IRAIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, IRMA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, IRMA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, IVELISSE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, IVETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, JAMIRELIZ      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, JAVIER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, JESSIKA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, JOSE E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, JOSE E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, JOSE J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, JOSE J.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, JOSE L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, JOSEFINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, JOSHUANN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, JOVANNY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, JULIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, JULIO A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, KADIR G        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, KATIRIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, LINNETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, LIZ            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, LIZ M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, LIZBETH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6956 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1957 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ GONZALEZ, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, LUIS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, LYNNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, LYSMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, LYVETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, MAGALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, MARGIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, MARIA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, MARIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, MARIA S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, MARTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, MARTHA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, MIGUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, NAYDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, NEISA C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, NYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, NYDIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, OMAYRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, OMAYRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, PAOLA A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, RAQUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, REYNALDY E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, ROSA ARELYS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, ROSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, SAMUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, SAUL E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, VANESSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, WANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, WILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, YANIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, YANIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GONZALEZ, ZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GRACIA, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GRACIA, HAYDEE J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GRACIA, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GRACIA, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GRACIA, MANUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GRACIA, MARIELIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUADALUPE, ALPHONSO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6957 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ GUADALUPE, JOSE R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUADALUPE, JULIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUADALUPE, JULIE A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUEMAREZ, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUERRA, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUIDO, TASHANNET        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUILBERT, NANCY M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUTIERREZ, ADOLFO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUTIERREZ, ADOLFO C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUTIERREZ, JOSE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUTIERREZ, JOSE I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUTIERREZ, LUZ D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUTIERREZ, LUZ D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUTIERREZ, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUZMAN, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUZMAN, ANA Z           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUZMAN, CYNTHIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUZMAN, EDDIE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUZMAN, ELVIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUZMAN, ERICKS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUZMAN, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUZMAN, JUAN F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUZMAN, MARIA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUZMAN, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUZMAN, VIMARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUZMAN, YESENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ GUZMAN, YISELLY M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HADDOCK, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HENRIQUEZ, GLORIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HEREDIA, NELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, ALCIDES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, ARNALDO J.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, AUREA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, AUREA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, BIANCA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, CARMEN H     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, DAPHMARI     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, DAVID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, ERASMO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, FELIPE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, GENESIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, GERALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, GILBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, GLORIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, HERNAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, IVELIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, IVELIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6958 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1959 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ HERNANDEZ, JOHANNA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, JOSE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, JUAN A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, LAURA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, LILLIAN I     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, LOURDES V.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, LUCIA A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, LUIS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, LUIS D.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, LUZ           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, LUZ M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, LUZ M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, LUZ N.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, LUZ N.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, MARIA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, MARIA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, MARIA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, MARIA V.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, MIGUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, NOELIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, NYDIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, PEDRO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, SAMUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, SANDRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, SANDRA H      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, SHIRLEY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, SHIRLEY A.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, VICTOR M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, YABEYRIS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, YADIRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, YARELIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, YASHIRA M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, YELITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERNANDEZ, YELITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERRERA, DAYNA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HERRERA, JOSE A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HIDALGO, ANDRES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HINOJOSA, PILAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HIRALDO, JOSE L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HUERTAS, ESTHER M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HUERTAS, JULIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HUERTAS, LOURDES V       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ HUERTAS, NILDA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ IBANEZ, SONIA L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ INIGO, LUCILA M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ IRIZARRY, ALICE N        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ IRIZARRY, ALMA IRIS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ IRIZARRY, JAZMINE M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ IRIZARRY, JEREMIAS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6959 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1960 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ IRIZARRY, JOHNNY         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ IRIZARRY, MAYRA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ IRIZARRY, RAFAEL ANTONIO REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ IRIZARRY, WILLIAM        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ISAAC, ONEIDA            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ISONA, IRAIDA            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ITHIER, DEBORAH          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ITHIER, EUNICE M         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ITHIER, JOSE B.          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ITHIER, LUIS A           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ IZQUIE, GUILLERMINA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ IZQUIERDO, ANTONIA DE LO REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
S
VAZQUEZ IZQUIERDO, JOSE A        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JENARO, JUAN M           REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JIMENEZ, ANGEL E.        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JIMENEZ, BRENDA L        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JIMENEZ, GLORIVEE        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JIMENEZ, LINDA I         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JIMENEZ, LUIS A.         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JIMENEZ, LYSSAN L        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JIMENEZ, MONICA          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JIMENEZ, RUBEN           REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JIMENEZ, RUBEN A         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JUAN, CARLOS             REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JUAN, CARLOS A.          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JUAN, RUTH J.            REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JULIA, ANA               REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JULIA, ANA M             REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JULIA, JOSE              REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ JUSTINIANO, ELIZABETH    REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ KARMA, JOSE E            REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ KARMA, JOSE E            REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ LABOY, ANGEL L           REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ LAGO, ISABEL V           REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ LAINEZ, LOURDES          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ LAINEZ, RAFAEL           REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ LALINDEZ, MARIA          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ LAM, KATIUSKA            REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ LAMBERTY, CARLOS E.      REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ LAMBERTY, XORAHIMA       REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ LANDEIRA, ANDREA         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ LARRAURI, JOSE A         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ LASSEN, ANA M            REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ LATIMER, ENZO R          REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ LAUREANO, MYRIAM         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ LAUREANO, RAQUEL         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ LAUREANO, RAQUEL         REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ LEBRON, ALONDRA N        REDACTED                      REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6960 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1961 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ LEBRON, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEBRON, CARLOS H.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEBRON, CARMEN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEBRON, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEBRON, JOSE JAVIER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEBRON, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEBRON, KEILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEBRON, LUIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEBRON, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LECLERC, JOSEFA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEON, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEON, ELISELOTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEON, ELISELOTTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEON, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEON, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEON, TANIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEOTO, ARACELY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEVANTE, EDWARD R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LEVANTE, EDWARD R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LICEAGA, DAYLENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LLANERA, MARIANGELI     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LLANIS, MARIANGELLIE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LLANOS, ANGELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LLANOS, CHRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LLANTIN, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LLANTIN, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, ADELAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, AIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, ALICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, ANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, ANDRES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, ANDRES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, ANGEL G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, AURELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, CARMEN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, CLOTILDE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, ELSIE G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, FRANCES J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, GABRIEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, GABRIEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, GLADYS Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, GUILLERMO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6961 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1962 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ LOPEZ, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, IRMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, IRMA P           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, IRMA Z           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, JOSEFINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, JOSELLE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, JUAN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, JULIO C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, JULIO E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, KATIRIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, KEILA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, LAURY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, LILIANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, LISAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, LUZ N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, LUZ N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, LUZ N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, LUZ S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, MARIA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, MARIEL I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, MELBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, MELIXA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, MELIXA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, MIGUEL J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, NATALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, NESTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, NORMA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, OMAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, OMAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, OMAYRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, RAFAELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, RUTH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6962 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1963 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ LOPEZ, RUTH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, SHALANE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, SILKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, SOL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, STEFANY A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, SUGEIL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, SYLVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, TOMAS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, VIGIBETH M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, YAMILETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, YARITZA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, ZAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOPEZ, ZULEIMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOZADA, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOZADA, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOZADA, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOZADA, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOZADA, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOZADA, STEPHANIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOZANO, RALPH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LOZANO, RALPH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUCIANO, LUZ B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUCIANO, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, ADA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, ADA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, CELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, EDGARDO L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, EDY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, FELIX L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, FELIX L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, FELIX R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, HECTOR D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, IRIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, KARIELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, KARIELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, MARCIAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, ROSA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, SAYOHNARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUGO, WILLMER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUNA, ARQUIMIDEZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6963 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1964 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ LUNA, CLARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUNA, JACKELINE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ LUNA, MARIALLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MACHADO, ADELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MACHADO, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MACHADO, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MACHADO, MARIA DE LOS A REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

VAZQUEZ MADERA, FRANK R         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MADERA, MAY LYNN        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MADERA, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MAESTRE, IRIS           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MAESTRE, IRIS N         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MAESTRE, IRIS N         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MAISONET, IDA I         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MAISONET, JUDITH        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MAISONET, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALAVE, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALAVE, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALAVE, JOEL D          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALAVE, RAMONA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALAVE, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, ALICIA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, AWILDA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, BRENDA L     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, DAMARIS      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, DAMARIS      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, DANNY A      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, EDGARDO J    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, EVANGELIO    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, GILBERTO     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, GLADYS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, IRIS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, ISABEL       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, ISABEL       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, IVETTE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, JESUS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ALBERTO
VAZQUEZ MALDONADO, JOAN M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, JOSE A       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, JOSE M.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, JOSE X.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, JOSETTE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, JOSETTE A    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, JOSETTE A    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, JOSUE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, LILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ MALDONADO, LILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6964 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1965 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ MALDONADO, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MALDONADO, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MALDONADO, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MALDONADO, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MALDONADO, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MALDONADO, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MALDONADO, MAGDA O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MALDONADO, MARIO O      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MALDONADO, MARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MALDONADO, MIGUEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MALDONADO, MILDRED      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MALDONADO, NEFTALI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MALDONADO, NITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MALDONADO, RIGOBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MALDONADO, ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MALDONADO, YARITZA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MALDONADO, YVONNE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MANDRY, CARMEN H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MANGUAL, ALEJANDRO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MANZANO, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MANZANO, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARCANO, ANTONIO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARCANO, EMMANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARCANO, GIOVANA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARCANO, GIOVANA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARCANO, RAMIRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARCANO, RAQUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARCANO, RAQUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARCANO, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARCHALL, JOY L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARGARITO, MIGUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARGENAT, JESUS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARIANI, DOMINGO M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARIN, BRENDALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARIN, CANDIDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARIN, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARIN, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARIN, JANET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARIN, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARIN, LUIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARISTANY, DAMARYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARQUEZ, JOSE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARQUEZ, MELISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARQUEZ, SANDRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARQUEZ, SONIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, CARLOS I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, CARLOS L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, FEDERICO J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6965 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1966 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ MARRERO, GRACE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, HIRAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, INA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, JOSE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, LINES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, MARALIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, MARIA T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, MARIE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, MARISELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, MARJORIE R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, SUSANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, SUSANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, VILMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARRERO, YAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARSHALL, KAY S.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARSHALL, LUZ E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTIN, ISAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTIN, NOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTIN, SAMAURY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTIN, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, AIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, ANA B.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, ANA CARMEN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, ARLEEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, BENIGNO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, CANDIDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, CARMEN S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, CHARLIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, DIANA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, EDGAR E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, ELBA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, ELBA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, ELVING        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, FELIX D.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, GUILLERMO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, ILEANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, ILEANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, IRIS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, JEANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, JEANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, JENNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, JENNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, JENNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, JESUSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6966 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1967 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ MARTINEZ, JOHANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, JONATHAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, JOSUE E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, JUANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, LAURA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, LEONARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, LISSETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, LUIS F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, LUZ E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, MAGDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, MAGDALI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, MARISSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, MARTA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, MITCHELL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, MYRNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, NAHIR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, NATIVIDAD     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, NOEMI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, NOEMI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, ORLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, ORLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, PEDRO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, ROXANNIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, SAMUEL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, SARA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, SHAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, TAMARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, TILSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, TILSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, VICTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, VICTOR M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, VIKEYLA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, VILMA J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, VILMA Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, WANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, WILDENISE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, WILFREDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MARTINEZ, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MASSA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MASSA, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MASSA, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6967 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1968 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ MATA, CLARISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATEO, EVANGELINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATEO, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATEO, ROSA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATEO, VIVIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATIENZO, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATIENZO, LOURDES M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATIENZO, MAGDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATOS, ARAGRICELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATOS, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATOS, CHRISTIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATOS, CHRISTIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATOS, DOLCAR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATOS, DOLKYS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATOS, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATOS, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATOS, IVELISSE C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATOS, JEANMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATOS, JOELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATOS, LUIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATOS, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MATOS, PROVIDENCIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MAURAS, JACKELINE M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MAURENT, ILEANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MAYSONET, ANA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MAYSONET, GLORIBELL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MAYSONET, HECTOR L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MAYSONET, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MAYSONET, OMAYRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MCLEAR, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MCLEAR, CARMEN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MCLEAR, SORAYA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, ANDRES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, ANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, BENJAMIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, BERMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, CELIS E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, CLAUDIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, CRISTINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, FAVIOLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6968 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1969 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ MEDINA, OMAR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, SANDRA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, WALTER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, WANDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEDINA, WILFREDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MEJIAS, LYDIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, AIXA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, BENEDICTA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, CARLOS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, DOMINGO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, EVELYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, EVELYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, FRANCISCO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, FRANCISCO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, ILIABEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, INGRID M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, JAVIER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, JOAQUIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, JOSE A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, KARLA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, KARLA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, LILLIANA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, LILLIANA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, LUIS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, MARISOL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, MERCEDES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, MIGUEL A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, MILDRED        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, NITZA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, NITZA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, ROBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, ROSAMY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, RUBEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, RUBEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, SANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, SANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, SANDRA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, STEVEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, WANDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MELENDEZ, ZULIANI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MENDEZ, ADA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MENDEZ, CARLOS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MENDEZ, DENISE J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MENDEZ, ENRIQUE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MENDEZ, JOSE E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MENDEZ, LESLIE A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MENDEZ, MONICA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MENDEZ, XAVIER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, ANDREA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6969 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1970 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ MERCADO, ANDREA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, JOAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, JOSUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, JUANITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, KEILA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, KEILA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, LUZ I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, LUZ I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, MORAYMA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, ROSA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCADO, VICTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MERCED, LOURDES M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MESTRE, GUELMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MESTRE, KELLER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MIELES, CARLOS A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MILLAN, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MILLAN, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MIRANDA, BENJAMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MIRANDA, BENJAMIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MIRANDA, JOSE D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MIRANDA, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MIRANDA, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MIRANDA, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MIRANDA, TAHIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOCTEZUMA, NENSEY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOJICA, LINDA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOJICA, LOURDES I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOJICA, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOJICA, WILMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOJICA, YAHAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOJICA, ZAMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOJICA, ZAMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOLINA, DANNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOLINA, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOLINA, O'BRIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOLINA, OSCAR J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOLINA, SONIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOLINA, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOLINA, ZORAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6970 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1971 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ MONGE, NATIVIDAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONSANTO, GRETCHEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONSERRATE, LIZAYDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONSERRATE, LUZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTALVO, AIMEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTALVO, DALIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTALVO, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTALVO, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTALVO, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTALVO, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTALVO, MYRTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTALVO, PAULA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTALVO, SAIDA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANEZ, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANEZ, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANEZ, INGRID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANEZ, INGRID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANEZ, INGRID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANEZ, JULISSA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANEZ, LISSETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANEZ, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANEZ, MARIA V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANEZ, MARIELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANEZ, NERIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANEZ, PEDRO A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANEZ, PEDRO JUAN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANEZ, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANO, ESTHER E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANO, IVELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTANO, IVELISSE N     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTERO, ROSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTEROSA, MARIA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTES, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTES, PELEGRIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTES, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTIJO, PEDRO ANIBAL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MONTIJO, ROSALYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, ABNER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, AIDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, AISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, ARNALDO E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, BARBARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, CONCEPCION     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, DAYIANNA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6971 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1972 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ MORALES, DIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, EDGARDO L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, ELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, ELEACIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, ELEACIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, EMMANUEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, ERHARD A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, FREDDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, FREDERICK      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, GIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, GIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, HECTOR E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, ISABEL V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, JENNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, JESSIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, JESSIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, JONATHAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, JOSE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, JULIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, KELVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, KELVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, KELVIN S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, LEDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, LEONARDO E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, LEONARDO E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, LITZY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, LITZY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, LYXIAMARY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, MARIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, MILEYELY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, NILSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, NILSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, OLGA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, PEDRO L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, SARAH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, SHEILA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALES, VICTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6972 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 1973 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ MORALES, VICTOR M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORALEZ, ANA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORAN, CLAUDIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORAN, LUIS A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORENO, ALEIDY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORENO, JESUS A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MORENO, WILFREDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOTA, ANGELA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MOYET, LUIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MULERO, CARMEN R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MULERO, ESTHER F         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MULERO, JUANITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MULERO, LUIS M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MULERO, LUZ V            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MULERO, RITA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MULERO, TERESA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNIZ, ANA I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNIZ, CYNTHIA IVONNE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNIZ, ELBA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNIZ, ESTRELLA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNIZ, GREGORIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNIZ, JESUS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNIZ, LUIS A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNIZ, LUIS A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNIZ, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNIZ, MARIA DEL PILAR   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNIZ, MARIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNIZ, OSVALDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNIZ, RAFAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNIZ, ROSA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNOZ, AILEEN V          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNOZ, JAYSON            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNOZ, JOSE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNOZ, JUAN MIGUEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNOZ, KEVIN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNOZ, NEISHA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNOZ, RAFAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MUNOZ, RAFAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MURIEL, ANDRES           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MURIEL, ASHLEY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MURILLO, EDUARDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ MURILLO, EDUARDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NARVAEZ, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NARVAEZ, EDDIE W.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NARVAEZ, SANDRA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NATAL, ALEXANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NATAL, ALEXANDRA J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NATAL, TERESITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NATER, CARLOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6973 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1974 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ NATER, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NAVARRO, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NAVARRO, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NAVARRO, IVONNE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NAVARRO, JESENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NAVARRO, PAULINO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NAVARRO, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NAZARIO, ILIANETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NAZARIO, JUAN J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NAZARIO, JUSTINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NAZARIO, LORNA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NAZARIO, MARIELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NAZARIO, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, ALEX J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, AMYR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, DAISY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, EDUARDO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, ELBA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, EMILY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, FRANCELYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, GRETCHEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, GRETCHEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, GRISEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, LILIA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, MARIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, MARTA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, VALERIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, VILMA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, WANDA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, WILNELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, YAMIRCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEGRON, YAMIRCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NEVAREZ, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6974 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ NIEVES, ADA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NIEVES, AIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NIEVES, BRENDA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NIEVES, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NIEVES, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NIEVES, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NIEVES, ELSIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NIEVES, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NIEVES, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NIEVES, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NIEVES, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NIEVES, MYRNA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NIEVES, NELIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NIEVES, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NIEVES, REBECCA FRED    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NIEVES, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NISTAL, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NOGUERAS, YARISSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NOLASCO, MAYTE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NUNEZ, AIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NUNEZ, ENEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NUNEZ, GINAROSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NUNEZ, GINAROSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NUNEZ, LUZ C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NUNEZ, LYDIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ NUNEZ, VILMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ O FERRAL, ANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ O FERRAL, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OCASIO, ANA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OCASIO, BALBINO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OCASIO, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OCASIO, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OCASIO, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OCASIO, JACKELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OCASIO, JEOVANY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OCASIO, JOSE E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OCASIO, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OCASIO, JUAN C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OCASIO, JUAN C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OCASIO, MAGDALENA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OCASIO, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OCASIO, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OJEDA, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OJEDA, CARMEN I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OJEDA, EMILIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OJEDA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OJEDA, YADIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OJEDA, YADIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLIVENCIA, ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6975 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1976 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ OLIVENCIA, ROSA E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLIVENCIA, WANDA IVETTE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLIVERA, ISRAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLIVERA, ZORAIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLIVERAS, FELICITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLIVERAS, MIGUEL A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLIVERAS, ROBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLIVERAS, ROBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLIVIERI, GRETCHEN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLIVIERI, MICHELLE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLIVIERI, MILDRED M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLIVO, GLORIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLIVO, GLORIA E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLIVO, LORRAINE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLIVO, ZAIDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLMEDA, CARMEN M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLMEDA, JEMIL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLMEDA, KRISTINE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLMEDA, LESLIE A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLMEDA, LESLIE A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OLMEDA, MARIA DEL C       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OQUENDO, CARLOS R.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OQUENDO, JUAN L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OQUENDO, LINNETTE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OQUENDO, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OQUENDO, SILDALY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OQUENDO, YAZAIRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OQUENDO, YAZAIRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORAMAS, LIANNE M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORELLANA, JAVIER          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORENCH, DIANA L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORENCH, DIANA L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORENCH, LISBETH           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORENCH, SHEILA B          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORENGO, JESSE J.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORLANDI, LIVIA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORLANDO, YOMAIRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTA, ANGEL               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTA, FRANCISCO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTA, LUIS                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTA, ROBERT              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTEGA, CARMEN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTEGA, CARMEN A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTEGA, DIANA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTEGA, DIANA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTEGA, ELSIE I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTEGA, JOSEA.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTEGA, MARINA J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTEGA, MARTA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1977 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ ORTEGA, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTEGA, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTEGA, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTEGA, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTEGA, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTEGA, RIGOBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ADAMINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ADRIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ALMICELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ALMICELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ANGEL L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ARELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, AWILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, BETZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, BRENDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, CARLOS G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, CARLOS GABRIEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, CARMEN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, DANNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, DENIDSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, DENIDSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, DENISE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, DENNIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, DIANA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, DOLORES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, EDGAR A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, EILINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ELBA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ENEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ERIC F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ERIC M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1978 of 2285
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ ORTIZ, FELICITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, GAUDY J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, IDRIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, IDRIA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, INEABELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, IRIS N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, IRMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, IRMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, IRMILEY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, JANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, JANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, JANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, JAVIER I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, JAXEL E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, JENNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, JENNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, JENNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, JERRY L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, JOMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, JOSE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, JULIO C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, KARLA N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, KEVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, KEVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, KEVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, LUIS O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, MARANGELI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, MARIA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, MARIA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, MARTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, MELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6978 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1979 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ ORTIZ, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, OSCAR R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ROLAND           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, SARAIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, SARAIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, TANIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, VILMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, WANDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, WHITNEY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, YESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ZENAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ZULEIKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ORTIZ, ZULEYKA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OSORIO, FRANCIS Z.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OSORIO, FRANCIS Z.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OSORIO, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OSORIO, JULISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OTERO, ANDRES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OTERO, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OTERO, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OTERO, ELIAS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OTERO, GONZALO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OTERO, JOSE M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OTERO, JUAN ANIBAL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OTERO, KATTY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OTERO, LEONCIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OTERO, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OTERO, MARIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OTERO, PABLO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ OTERO, VIVIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PABELLON, LOYDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PABON, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PABON, ANTHONY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PABON, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PABON, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PABON, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PACHECO, CEDRIC         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PACHECO, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PACHECO, JOSE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PACHECO, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PACHECO, JUAN F.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PACHECO, MARIANO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6979 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ PACHECO, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PACHECO, MORAYMA F      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PACHECO, RAYMOND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADILLA, ARACELYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADILLA, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADILLA, EDNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADILLA, ISABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADILLA, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADILLA, JOEL D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADILLA, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADILLA, JOSE I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADILLA, JOSE I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADILLA, LETICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADILLA, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADILLA, MARTHA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADILLA, MARTHA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADILLA, NILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADILLA, VICTOR J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADIN, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADIN, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADOVANI, ANGEL O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADRO, AILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADRO, BENJAMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADRO, BENJAMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADRO, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADUA, DENNIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PADUA, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAEZ, CANDITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, ALMIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, CARMEN H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, CRISTOBAL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, CRISTOBAL A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, DAMARIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, DAMARIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, IDELIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, ILUMINADA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, ILUMINADA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, JENICE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, JOHANNA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, JOHANNA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, JORGE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, MARIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6980 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ PAGAN, MARIA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, MELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, PEDRO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, SHAKIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, WALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, WANDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, WANDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAGAN, WILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PANEL, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PANIAGUA, ISABEL L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PANIAGUA, ISABEL L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PANIAGUA, MARIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PANTOJA, MARIA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PANTOJA, ROSALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PANTOJAS, MARITZA A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PARDO, EDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PARDO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PARDO, ERIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAREDES, NEIZA H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAREDES, VANESSA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PARRA, IDALIZ M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PARRILLA, IRIS J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PARRILLA, IRIS J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PASTRANA, GLORIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PASTRANA, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PASTRANA, ROXANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAZ, ADA I.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PAZ, MARIA DE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEDRAZA, HAROLD         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEDRAZA, LEONIDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEDROSA, AWILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEDROZA, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PELUYERA, SILVERIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PENA, FELIX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PENA, LETTY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PENA, LETTY E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREIRA, GRACE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREIRA, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREIRA, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREIRA, MARICELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, ADA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, AIXA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6981 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1982 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ PEREZ, ANGELES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, CARLOS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, CHRISTIAN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, DORIS O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, EILEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, ELIUT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, GERARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, GILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, GREG             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, HIPOLITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, IDABELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, IRMA Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, JANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, JATISHA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, JIBRIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, JIBRIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, JORGE O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, JUAN P           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, JULIO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, LILLIAM E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, LINDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, LUCILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, MAGDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, MAGDA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, MARCELINO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, MARIA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6982 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1983 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ PEREZ, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, NATASHA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, NELSSIE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, NITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, NITZA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, ORLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, PABLO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, RAFAEL L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, RAUL G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, RAUL G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, RIGOBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, ROSALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, SARAH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, SOFIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, SUSAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, VARIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, XIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, XIOMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, YANIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, YASHIRA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, YESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, ZENAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PEREZ, ZULMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PESQUERA, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PESQUERA, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PI, SONIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PIAZZA, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PICA, ROMANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PIETRI, JANET V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PINERO, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PINERO, MAYRA V.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PINTO, CLARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PIZARRO, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PLA, XAYMARA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PLA, XAYMARA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PLATA, MARA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PLAZA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PLAZA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PLAZA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ POMALES, BETZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ POMALES, EFRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ POMALES, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ POMALES, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PONCE, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6983 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1984 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ PORRATA, JONATHAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PRATTS, JOSE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ PROSPER, LIZBETH M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUIANES, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUILES, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUILES, ANESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUILES, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUILES, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUILES, IRIS N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUILES, JOSE O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUILES, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUILES, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUILES, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUILES, MARIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUILES, MONSERRATE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUILES, MONSERRATE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUILES, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUILES, PRAXEDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUILES, PRAXEDES D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUILES, ZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINONES, DARLENA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINONES, DARLENA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINONES, ELIA SARA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINONES, IRIS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINONES, LUIS G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINONES, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINONES, NILDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINONES, NILMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINONES, OSCAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINONES, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINONES, RICHARD       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINONEZ, GERALDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINONEZ, JUAN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINONEZ, MADELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINONEZ, RICARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINTANA, AIDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINTANA, CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINTANA, IBIS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINTANA, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINTANA, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINTANA, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINTANA, MARIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUINTANA, MARIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUIROS, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUIROS, VILMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUIROS, VILMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ QUNONEZ, KEISHA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RABASSA, YESSICA K.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMIREZ, ANA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6984 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ RAMIREZ, ANGEL L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMIREZ, ANGELA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMIREZ, DOMINGO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMIREZ, EMMA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMIREZ, ERIC G          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMIREZ, IRMA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMIREZ, JOSE N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMIREZ, LIDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMIREZ, LUIS ENRIQUEZ   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMIREZ, OSCAR           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, ADOLFO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, ADRIEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, ALBERTO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, ALVARO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, ANALIZ            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, ANGEL S           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, CARMEN S          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, CELINES           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, CESAR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, CESAR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, DANESSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, EDGARDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, EDNA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, EDUARDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, ELBA N.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, GISEL M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, IRIS V.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, JOAN A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, JORGE L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, JULIA R.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, KAREN I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, KATHERINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, KEILA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, KEILA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, LEONARD A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, LUIS A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, LUIS A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, MARIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, MARIA DEL C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, MARIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, MARIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, MARITZA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, NEXAIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, OBDULIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, RAMON L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, RENE D            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, ROSABELL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, SANTOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6985 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1986 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ RAMOS, STEPHANIE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, TAINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, TAINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, TAINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, TANIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, WALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, WILLIAM R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, YANELYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RAMOS, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RASPALDO, CANDIDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REAL, HAROLD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REAL, LORIYACK M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REBOYRAS, MARITZA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REINAT, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VÁZQUEZ RENTAS, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REPOLLET, KAYLEE A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RESTO, ANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RESTO, ANDREA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RESTO, DENISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RESTO, DENISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RESTO, LUZ DELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RESTO, NYDIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RESTO, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RESTO, VIRGINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYAS, LILYBELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, AIMEE Z.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, ANA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, AXEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, CAMILLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, CAMILLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, CARMEN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, CARMEN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, CARMEN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, EDWIN F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, EFRAIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, ELBA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, EVA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, JOSE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, JOSE I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, KARIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, KARLA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, LEIZA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, LILLIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, LILLIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, LILYBELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6986 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1987 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ REYES, MARIA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, MARIA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, MARIFELI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, MARIFELI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, MARTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, MARTA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, NORA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, NORIS DELSY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, OMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ REYES, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIBERA, PAULA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIJOS, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIOS, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIOS, CARLOS ANDRES     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIOS, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIOS, DARINA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIOS, DIANNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIOS, JACKELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIOS, JANICE V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIOS, JOAMIR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIOS, JOSE MANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIOS, JOSEFA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIOS, JOSEFA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIOS, NOLASHKA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIOS, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIOS, PAULINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIOS, ZORAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVAS, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVAS, DEREK M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVAS, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVAS, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVAS, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVAS, NICOLAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVAS, RUTH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVAS, RUTH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ADA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ADALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, AIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ALBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ALEJANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ALEXANDER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ALEXANDER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ALEXANDER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ALEXANDER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, AMERICO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ANA C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ANA H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ANA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ANDRES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6987 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1988 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


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CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ RIVERA, ANGEL D           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ANGELITA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ANIBAL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ANTONIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ANTONIO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ARTURO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, BERNARDINA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, BETZAIDA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, BLANCA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, BLANCA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, BRENDA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CAMILL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARLOS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARLOS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARLOS E.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARLOS F          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARLOS J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARLOS R          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARLOS R.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARLOS RAFAEL     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARMEN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARMEN B          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARMEN B          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARMEN H          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARMEN I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARMEN J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARMEN J          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARMEN M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CARMEN M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CELIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CENEIDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, CHARLES           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, COSME             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, DAMARIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, DAMARIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, DAMARIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, DIANIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, DILCIA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, DORCA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, DULCE I.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, EDDIE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, EDGARDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, EDGARDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, EDUARDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, EDUARDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, EFRAIN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, EILEEN TRINIDAD   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ELISA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ELIZABETH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6988 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1989 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ RIVERA, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ELOIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ELSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ELVIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ERIC BENJAMIN   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ERIC N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, FELICITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, FLOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, FRANKY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, GABRIELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, GLENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, GRACE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, GRACE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, GREGORIE E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, GRISELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, HECTOR L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, HECTOR R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, HERI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ILIANED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ISAMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ISRAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, IVAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, IVONNE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JACKELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JACOB J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JAIME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JAIME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JAIME J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JAIME J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JANICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JANIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JESSICA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JESUS D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JESUS D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JOHANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JOHANA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JORGE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JORGE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6989 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 1990 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ RIVERA, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JOSE A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JOSE M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JOSE M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JOSEFINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JOSMARIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JOYCE L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JUAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JUAN A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JUAN A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JUAN R.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JUANITA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JULIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JULIO C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JULIO C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, JULIO G          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, KATHERINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, KATHERINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, KATHERINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, KATTY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, KAYSI L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, KEILA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, LEYRA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, LINNETTE M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, LOURDES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, LUCIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, LUCY M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, LUIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, LUIS J.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, LUIS O           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, LUIS R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, LUIS Y           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, LUZ D.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, LYDIA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, MAIRA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARANGELY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARGARITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARGARITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARGARITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARGARITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIA D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 6990 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 1991 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ RIVERA, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIA DEL SO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIA DEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
SOCORRO
VAZQUEZ RIVERA, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIA J         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIA S         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIBELLA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIE C         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIELA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARIMAR         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARTIN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MARTIN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MELKY           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MIGUEL ANGEL    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MIGUEL E.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MIGUEL E.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, NAIRA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, NANCY E         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, NATALIE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, NATALIE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, NATALIE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, NELIVETTE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, NILMARIE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, NORA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, OTONIEL         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, PAULA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, PEDRO E         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, POLICARPIO      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, RAIZA MARIE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, RAMIRO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ RIVERA, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ RIVERA, ROSA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, SHEILA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, SHEILA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, SOL ENID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, SONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, STEPHANIE I.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, SUGEIN N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, TANIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, TANYAT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, TANYAT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, TOMAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, TOMAS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, TOMASA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, VILMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, VILMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, VIRGEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, VIRGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, WILDALIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, YAMILETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, YAMILIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, YAMIRELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ZENAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RIVERA, ZULEYKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROBLEDO, PEDRO F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROBLES, ALEXANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROBLES, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROBLES, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROBLES, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROBLES, GLADIZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROBLES, GLADIZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROBLES, GLADIZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROBLES, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROBLES, LEOCADIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROBLES, LILLIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROBLES, LILLIAN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROBLES, YADIZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROBLES, YADIZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROCHE, JENNIFFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROCHE, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROCHE, MELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROCHE, MELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ABRAHAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ALEX         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6992 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 1993 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ RODRIGUEZ, ALWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, AMINTA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ANA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ANA T        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ANABELLE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ANGEL B.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ANGEL L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ANGEL L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ANGEL L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ANGEL M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ANGEL R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ANTONIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ARACELIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ARLENE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ARLETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ARNALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, BETXAVER M   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, BRENDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, CARMELINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, CARMEN C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, CARMEN L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, CARMEN N     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, CELINDA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, CESAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, CESAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, CESAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, CHRISTIAN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, DAISY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, DEYRAH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, DIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, DORIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, DORIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, DORIS E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, DORIS J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, EDDIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, EDUARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, EDWIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, EDWIN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ELIZABETH    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ELIZABETH    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ELIZMARY     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ELSA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, EMMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, EMMA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6993 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1994 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ RODRIGUEZ, ESTHER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, EUGENIO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, EULALIO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, EVELYN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, EVELYN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, FELISA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, FRANCHESKA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, FRANCISCA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, FRANCISCO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, FRANCISCO A.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, GLENDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, GLORIA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, GLORIA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, GLORIBEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, GREGORIA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, HARRY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, HECTOR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, HECTOR R       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, HERIBERT       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, HERIBERT       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, INOCENCIO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, IRMA N         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ISRAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, IVONNE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, JAIME A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, JESUS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, JESUS M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, JO‐ANNE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, JONATHAN L     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, JOSE A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, JOSE D.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, JOSE I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, JOSE LUIS      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, JUAN C         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, JULIO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, KARLAMARIE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, KARLAMARIE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, KATHERINE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, KORALIZ D      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, KORALIZ D      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, LAIZA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, LAURA E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, LETICIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, LILIANA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, LINETTE J      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, LINETTE J      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, LISSETTE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6994 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ RODRIGUEZ, LIZETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, LOURDES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, LOURDES A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, LUIS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, LUIS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, LUIS ANGEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, LUIS F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, LUIS R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, LUISA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MAGDALENA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MANUEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MARGARITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MARGARITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MARIA DEL    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MARIA T      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MARIED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MARINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MARIO M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MARISOL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MARISOL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MARITZA A.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MARLENE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MARLENE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MARTA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MELISSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MERIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MIGUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MIGUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MIGUEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MILDRED      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, MONICO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, NANCY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, NERYLIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, NERYLIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, NILKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, NITZA D.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, NOEMI M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, NORIMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, OLGA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ORLANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, OSCAR II     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, OSWALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, PABLO A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, PAULY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, PETRA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6995 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 1996 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ RODRIGUEZ, RAFAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, RAFAEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, RAMON A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, RAYMOND        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, REINALDO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, REYNALDO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, RICARDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, RICHELLE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, RITA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ROMANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ROSA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ROSE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, ROZANA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, SAMMY A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, SANTIAGO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, SCHERENID      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, SCHERENID      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, SHEILA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, SHEILA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, SOL E.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, SUE E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, SUJEI          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, TULIO B        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, VIANCA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, VICTOR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, VICTOR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, VICTOR M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, VICTOR M.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, VICTOR M.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, VILMA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, VIMARIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, VIONNETTE Y.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, VIVIAN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, VIVIAN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, WALESKA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, WANDA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, WENDALEE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, WILSON         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, XAVIER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, XIOMARA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, YADIRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, YARISELL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, YARISELL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, YAZMINNIE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RODRIGUEZ, YOMAIRA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROJAS, EDUARDO            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROJAS, KARLA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROLDAN, MARJORIE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROLON, CARMEN I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 6996 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1997 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ ROLON, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROLON, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROLON, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROLON, MARIA DE L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROLON, MARYLIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROLON, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROMAN, ALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROMAN, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROMAN, CAMILO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROMAN, CELIS N.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROMAN, CESAR O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROMAN, EDELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROMAN, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
MARCELINO
VAZQUEZ ROMAN, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMAN, HECTOR D         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMAN, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMAN, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMAN, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMAN, NOEMI            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMAN, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMAN, URIEL            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMAN, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMAN, YANICCE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMERO, ABDIEL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMERO, AIXA T          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMERO, BEATRIZ         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMERO, CARMEN M.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMERO, DAISY M.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMERO, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMERO, ELSA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMERO, ISMAEL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMERO, JOSE L.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMERO, MARIA C.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMERO, MELVIN O.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMERO, ROLANDO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMERO, ROSARELIS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMERO, TERESA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMERO, VERONICA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROMERO, VIRGENMINA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROQUE, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROQUE, KARLA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROSA, ALMA D            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROSA, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROSA, CLARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROSA, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROSA, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROSA, JOHANN S          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ ROSA, KAROL L.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6997 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1998 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ ROSA, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSA, LORENA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSA, LUZ A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSA, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSA, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSA, NELSON A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSA, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, AILLEEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, ALTAGRACIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, ANDRES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, ANGELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, ANTONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, BALTAZAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, CELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, CELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, CELIDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, CELIDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, DAUSET O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, EVELINETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, FIDEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, GENOVEVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, GERARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, GLORIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, HIRAN D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, IVONNE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, JAZMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, JOSE H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, KEILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, MARIA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, MARIA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, MYRNA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, MYRNA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, NEISHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, NEISHA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, NILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, OLGA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, PEDRO S.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, PRICILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6998 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 1999 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ ROSADO, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, RONALD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, SANDRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, VIANELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, VIANELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, VILMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, YADITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSADO, YAMIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, ANA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, AREMELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, CARLOS I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, CARMELO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, DEBBIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, IRIS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, IVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, JAIME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, MARIA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, MAYDA G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, MIGUAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, MILADY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, MINERVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, SANTIAGO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROSARIO, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROTHE, ALVARO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROURA, MEI‐LING         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ROURA, REBECA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUBINAN, JOSE R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, ANA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, BRAULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, HECTOR L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, LUCIANO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, MILAGROS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, NIKOLE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, OSVALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 6999 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2000 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ RUIZ, PETRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, RUPERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, SOFIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, VIVIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ RUIZ, YOLIVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SAAD, ZAIDA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SAAVEDRA, EDWARD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SAAVEDRA, LILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SAEZ, ELBA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SAEZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SAEZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SAEZ, KAREN X           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SAEZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SAEZ, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SAEZ, NORMA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SAEZ, NORMA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SALAME, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SALAS, ROSA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SALAZAR, RAMONA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SALDANA, ALEX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SALDANA, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SALDANA, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SALGADO, YALIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SALINAS, ANA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SAN ANTON, MIGUEL S     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANABRIA, IRMA LEE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, ALEXIS R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, ANA IRIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, ANABELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, ANGEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, ASHLEY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, ATANACIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, BRENDA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, CARLOS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, CARMEN S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, CORALYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, CORALYS L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, DAISY N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, EUGENIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, GENOVEVA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, HECTOR L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, ISHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, IVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7000 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2001 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ SANCHEZ, JAVIER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, JORGE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, JOSMARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, JUANITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, LUCAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, MAGDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, MARTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, MOHAMED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, NESTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, OLGA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, OLGA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, PEDRO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, RICARDO S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, RITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, ROSA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, RUTH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, RUTH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, SANNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, SIGFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, VICTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, YADIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, YADIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANCHEZ, YARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANDOVAL, ANGELA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANDOVAL, MELISSA C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANES, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANES, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTA, JESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTA, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTAIGO, MARGARITA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTANA, CARLOS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTANA, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTANA, EUSEBIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTANA, GLORIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTANA, LIDUVINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTANA, OLGA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTANA, PORFIRIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTANA, ROBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTANA, ROSALINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTANA, VICTOR M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTANA, WANDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTANA, WILMA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTANA,WILSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTAS, FLORA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7001 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2002 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ SANTELL, MERKY           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTELL, WANDA I.        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTI, JOSE ARNALDO      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, ALBERT         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, ALEXANDER J    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, ALIDA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, ALIDA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, ANABEL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, ANDRES         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, ANGEL M        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, ANGEL R        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, ANGEL R.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, ANTONIO        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, AUREA R.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, BEBERLANE      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, BRAULIO        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, BRENDA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, BRENDA L       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, CARLOS         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, CARLOS M.      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, CARMEN I       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, CARMEN L       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, CARMEN M       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, CARMEN M.      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, CARMEN S       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, CHRISTIAN M    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, DIDY           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, EDETTE M       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, ENID           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, ERNESTO I      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, EVELYN         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, EVELYN M       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, FRANCISCO      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, FRANCISCO      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, FRANCISCO      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, GRETCHEN M     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, ILEANA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, IRMA           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, ISMAEL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, IVELISSE       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, IVETTE         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, JEAN C         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, JENNIFER       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, JENNIFER MARIE REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

VAZQUEZ SANTIAGO, JIANGIE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, JIMMY         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, JOAN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, JORGE O       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7002 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2003 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ SANTIAGO, JOSE G         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, JUAN A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, JUAN I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, LETICIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, LETICIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, LORENA R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, LOURDES L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, LUIS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, LUZ H          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, MANUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, MANUEL A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, MARIA DE L.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, MARIA I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, MARIA I.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, MARIELIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, MARTA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, MARYLITZA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, MIGUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, MINERVA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, MIRIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, MIRTA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, MIRTA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, MYRIAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, NELSON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, NERIALIS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, OLGA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, OSVALDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, PETRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, RAFAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, RAMON L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, RAMONITA M.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, ROSA E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, SONIA N        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, STEPHANIE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, VANESSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, VIRGEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, WILFREDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, WILMA S        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, YOLANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTIAGO, ZULEIMA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTISTEBAN, HECTOR J.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTO DOMINGO,           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
MARANGELIE
VAZQUEZ SANTO DOMINGO,           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
MARIELYS
VAZQUEZ SANTOS, AILEEN           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ SANTOS, AILEEN I         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ SANTOS, ANTONIO          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VAZQUEZ SANTOS, AXEL             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7003 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2004 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ SANTOS, AXEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, BERNARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, ELBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, GIOVANNI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, GIOVANNI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, IDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, IRMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, IRMA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, JOSE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, LIZA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, MARIELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, MARIELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, MARISEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, RAUL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, RUTH L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, YAHAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, YAHAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SANTOS, YAHAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SEARY, MARIA T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SEGARRA, CESAR A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SEGARRA, HERNAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SEGARRA, HERNAN R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SEGARRA, SANDRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SEIJO, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SENTI, JOSE O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SEPULVEDA, DENNIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SEPULVEDA, JOSEFINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SEPULVEDA, JUNOT        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SEPULVEDA, LUZ E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SERRA, CESAR E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SERRANO, ADA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SERRANO, ADA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SERRANO, AMARILYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SERRANO, CARMEN B B     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SERRANO, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SERRANO, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SERRANO, MARIA DE L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SERRANO, MARIA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SERRANO, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SERRANO, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SERRANO, REINALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SERRANO, VILMARILY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7004 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2005 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ SERRANO, VILMARILY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SERRANO, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SERRRANO, CARMEN B      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SEVILLA, GLENDA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SEVILLA, GLYMARI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SIERRA, ALEJANDRA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SIERRA, CHARLIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SIERRA, ISMAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SIERRA, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SIERRA, YAJAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SIERRA, YOMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SILVA, DELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SILVA, LINNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SILVA, YESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SILVA, YESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SIMONETTY, MILBIA J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SIMONS, MARIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SIMONS, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SIMONS, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLA, ANTONIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLA, GLORIA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLA, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLANO, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLER, AWILDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLER, BETSY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLER, BETSY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLER, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLER, NANCY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLER, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLIS, IVETTE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLIS, JAMNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLIS, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLIS, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLIS, MIGUEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLIVAN, MARICELLIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOLIVAN, OMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SORIA, LYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOSTRE, PETER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTERO, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTILLO, ELSIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, ABNER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, ABNER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, ALICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, ALONSO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, CLARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, ELBA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, EMILY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7005 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2006 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ SOTO, EVA DORIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, ISIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, JACKTANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, JOHAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, LISVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, MARIANO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, MONSERRATE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, MONSERRATE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, SONIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTO, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SOTOMAYOR, MARIA M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SUAREZ, ANAYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SUAREZ, BETSY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SUAREZ, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SUAREZ, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SUAREZ, ELBA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SUAREZ, GRISELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SUAREZ, IRAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SUAREZ, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SUAREZ, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SUAREZ, PEDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SUAREZ, PEDRO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SUREN, LUIS F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SUREN, MARIA H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SUREN, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ SUREN, VICTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TANON, ADIARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TANON, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TAPIA, TEDDY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TAVAREZ, EDUARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TAVAREZ, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TAVAREZ, KRIZIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TELLADO, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ THIELES, TAMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TIRADO, GERMAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TIRADO, GERMAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TIRADO, INGRID V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7006 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2007 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ TIRADO, JEICK           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TIRADO, MORAIMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TIRADO, MORAIMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TIRADO, SAMEDA B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TIRADO, SARA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TIRADO, SARA S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TOLEDO, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TOLEDO, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TOLEDO, REBECA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TOLEDO, SASHA T.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORO, ARLYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORO, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORO, JOSE V.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORO, ZULMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRENT, VICTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ADALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ADALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ADRIANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ALBERT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ALBERTO O.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ALFONSO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ALICIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, AMARILIS M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ANA VIRGINIA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ANGEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ANGEL D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, BEATRIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, CARMEN G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, DIANA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, EFRAIN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, EFRAIN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ELI GADIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, EMMANUEL J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ERICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, FELIX A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, GIL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7007 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2008 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ TORRES, GODOFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, GODOFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, GUMERSINDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, HEIDI W         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, HEIDI W         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, HILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, IRIS N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, IVONNE S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, JANICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, JANICE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, JANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, JAYSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, JOET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, JORGE O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, JOSE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, JOSE F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, JUAN P.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, JUAN P.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, KARLA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, KEVIN G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, LINDSAY M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, LISANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, LIZ M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, LIZ M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, LIZMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, LUIS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MARIA DE L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MARIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MARIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MICHELLE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7008 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ TORRES, MIRIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, NANCY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, NICOLAS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, NICOLE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, NOEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, NORMA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, NYDIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, OMAR A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ORIOL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ORLANDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ORLANDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, PEDRO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, RAMON C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, RAUL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ROSA B           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ROSA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, ROSA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, RUBEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, RUTH             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, SANDRA I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, SANTOS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, STEVEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, SUGEILY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, SUNY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, VANESSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, VIRGINIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, WILFRED          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, YESENIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TORRES, YOLANDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TRAVADO, RAUL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TRAVERSO, CELINDA E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TRAVERSO, GLORIA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TRINIDAD, EDWIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TRINIDAD, LISETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TRINIDAD, LOURDES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TRINIDAD, LUIS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TRINIDAD, MARIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TRUJILLO, LUIS ALBERTO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TURELL, JUANA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ TURELL, ROSA N.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ UMPIERRE, JOHAITZY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ UMPIERRE, JOHANUEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ URBINA, MERCY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ URBINA, MERCY M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ URBINA, NORAIMA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ URDANETA, MANUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ URDANETA, MARIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ URDAZ, CARLOS G.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ UYEDA, JOSE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7009 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2010 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ VALDES, LEYDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VALENTIN, ALEIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VALENTIN, ANGEL R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VALENTIN, ANGEL R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VALENTIN, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VALENTIN, JAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VALENTIN, LUZ C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VALENTIN, MARIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VALENTIN, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VALLEJO, JOSE J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VALLES, IRIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VARELA, SHEILA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VARGAS, ANGEL O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VARGAS, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VARGAS, CHRISTIAN J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VARGAS, EDGAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VARGAS, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VARGAS, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VARGAS, LIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VARGAS, MELBA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VARGAS, NEYSHA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAXQUEZ, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, AIDA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, ANTHONY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, ANTHONY X      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CARLOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CARLOS ENRIQUE REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CARLOS G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CARMEN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CARMEN J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CARMEN R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CELESTINO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, CONNIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, DAMIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, DIONISIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, DORIS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, EDNA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, ELI RAMON      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7010 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2011 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ VAZQUEZ, EPIFANIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, ERICK          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, ERNESTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, ESPEDITO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, ESTEBAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, ESTEBAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, ESTELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, EUGENIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, EVA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, FE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, FIDEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, FIDEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, FLOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, FRANCES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, GABRIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, GABRIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, GERMAN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, GILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, GISELA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, GLENDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, GLORIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, HAYDEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, HECTOR A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, HECTOR L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, HECTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, HECTOR M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, HERIBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, INES M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, ISMAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, IXIA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JACINTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JACKELINE A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JACKELINE A.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JERRYSON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JINNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JORGE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JORGE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JOSE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JOSEFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JOSEFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, JUAN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7011 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2012 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ VAZQUEZ, KATHERINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, KATHERINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, KEISH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, LENICE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, LENICE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, LETICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, LIBIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, LIBIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, LILLIAM I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, LILLIAM S      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, LUZ C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, LUZ E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MADELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MANUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MANUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MARIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MARIA DEL C.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MARIA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MARIA S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MARTIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MAYRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, MINERVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, NELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, OLGA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, OREALIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, RAMON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, RAMON L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, RENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, ROSALINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, SARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, SHARNHA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, SHARNHA L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7012 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2013 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ VAZQUEZ, SHARON M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, SONIA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, SUSANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, TEDDY SIMON    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, VILMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, WALDEMAR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, WILBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, YNGRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, YNGRIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, YOLANDA N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, ZAHIRA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VAZQUEZ, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, ANA L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, CONCEPCION        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, DIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, ENID S.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, JUAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, JUAN A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, MARTIZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, MELISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, NORMA IRIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, PAULA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, RAYMOND           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, SANTOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, SANTOS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, TATIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, VIDAL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, WILSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, YAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGA, YAZMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VEGUILLA, MYREIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, AIDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, ALICIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7013 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2014 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ VELAZQUEZ, ARACELI       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, BENJAMIN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, CHRISTOPHER   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, CLARIBEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, CLARIBEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, DIANA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, JOSE I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, LILLIAM       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, LILLIAM       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, LUIS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, MARISOL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, MILAGROS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, OSCAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, ROBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, ROBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, RUBEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, SANDRA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELAZQUEZ, WESLEY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, ALMA N            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, ANA J             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, ANGEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, CARMEN E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, GLORIAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, GREGORIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, JESSICA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, JESSICA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, JUAN A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, KEYSHLA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, LOURDES E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, LUIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, LUIS A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, LUIS N            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, LUIS R.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, LUZ E.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, MADELINE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, MADELINE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, MARIA T           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, MARIA T           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, MARITEE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, MILTON            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, NANCY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, NILSA Y.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, OSCAR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, RAUL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, ROSA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, TULIO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, YEILA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7014 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2015 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ VELEZ, YEILA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELEZ, ZULEIKA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VELZ, MANUEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VENTURA, WALESKA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VENTURA, YAHAIRA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VERA, EFRAIN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VERA, JOSE CARLOS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VERDEJO, EDWIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VERGARA, ALEX ORLANDO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VERGARA, MARTA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VERGES, GLORIA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VICENS, LUZ Y            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VICENS, LUZ Y            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VICENTE, CARLOS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VICENTE, CARLOS M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VIDAL, ADA I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VIDAL, RAMON             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VIDAL, RAMON             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VIDOT, MARTA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VIERA, KATHERINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VIERA, ZYNTHIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VILANOVA, EDUARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VILLAFANE, FRANCISCA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VILLAFANE, HECTOR M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VILLAFANE, SARITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VILLALOBOS, JUAN ISAAC   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VILLALONGO, GRISSELLE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VILLANUEVA, ARNALDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VILLEGAS, AMANDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VILLEGAS, YADIRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VIRELLA, AWILDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VIRELLA, CARIANN C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VIROLA, CARLOS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VIRUET, ANGEL MANUEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ VIZCARRONDO, MILDRED E   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ WALKER, SARELY V         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ZABALETA, JAVIER J.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ZAMBRANA, WILLIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ZAYAS, ANA L             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ZAYAS, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ZAYAS, CARMEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ZAYAS, EVELYN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ZAYAS, JUSTO J.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ZAYAS, LAURA JANETTE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ZAYAS, MIGUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ ZUBILLAJA, LUIS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, ANA MARIA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, CARLOS G.               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, ELIA                    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7015 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2016 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZ, EVELYN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, EVELYN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, FERNANDO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, GERARDO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, IDALIA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, ISRAEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, IVAN                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, IVAN A                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, IVAN R                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, JAN M                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, JASMIL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, JAZMIL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, JOSE A                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, JOSE A.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, JOSE A.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, JOSE L.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, JOSE M                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, JUAN                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, KEILA N.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, LEOCADIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, LORENZO E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, LUIS                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, LUIS R                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, MANUELITA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, MARIA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, MARIA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, MARIA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, MARIA CRISTINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, MARIA DEL R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, MARIA I.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, MARIA V                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, MARIANGELIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, MARIANO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, NICOLAS S              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, NITZA E.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, PRIMITIVO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, ROBERTO R.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, SANDRA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZ, SANDRA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZALVARADO, MARIA DEL C.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZBATISTA, KEYSHLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZBURGOS, IVONNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZCOLON, AMADA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZCOLON, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZESTRADA, OLGA IRIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZFONTANEZ, NAYDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZMALDONADO, JULIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZMOJICA, GAMALIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZORTIZ, JOSE E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7016 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2017 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VAZQUEZRODRIGUEZ, FRANKLIN J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZRODRIGUEZ, MAXIMINO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZROSA, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZSALGADO, YAMIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZTELL CORDERO, NATASHA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZTELL RUBIO, REYNALDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZVALENTIN, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUEZVELEZ, EDILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZQUUEZ CORUJO, MARIA DE L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VAZUEZ BAEZ, FELIX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEAZ MORALES, MARIA IVETT       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEAZ MORALES, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VECCHINI PEREZ, ANA IVETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VECCHINI RODRIGUEZ, VICENTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VECCHIOLI RIVERA, ZAIDA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEDRELL DONES, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, NAISHA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ., JACGLIX J               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACEVEDO, ANAIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACEVEDO, ANAIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACEVEDO, ARCILIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACEVEDO, HERNAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACEVEDO, HERY A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACEVEDO, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACEVEDO, IVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACEVEDO, JEINOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACEVEDO, LILLIAM J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACEVEDO, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACEVEDO, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACEVEDO, SAIMARIE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACOSTA, ANGEL S.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACOSTA, LIZBETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACOSTA, MIGUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACOSTA, PEDRO A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ACOSTA, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ADORNO, CRISTOBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ADORNO, DOMINGO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AGOSTO, AMELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AGOSTO, JORGE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AGOSTO, MARIA DEL C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AGOSTO, ROSA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AGUIAR, BLANCA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALAMO, DORA J.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALAMO, IRIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALAMO, IRIS R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALAMO, RAMON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALBERTORIO, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALBINO, LIDIAN S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALDIVA, ELEUTERIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7017 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2018 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA ALDIVA, JOSE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALGARIN, HECTOR L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALICEA, AURORA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALICEA, CARMEN P.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALICEA, GLENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALICEA, GLENDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALICEA, JANET C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALICEA, JUAN C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALICEA, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALMODAR, FLORA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALMODOVAR, CARLOS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALMODOVAR, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALMODOVAR, LUZ N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALMODOVAR, NORBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALMODOVAR, SCIPIO R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALONSO, WAYNE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALSINA, LUZ N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALSINA, OSVALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVARADO, ABIEZER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVARADO, DENISE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVARADO, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVARADO, FELICIANO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVARADO, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVARADO, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVARADO, KEILA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVARADO, MOONYEEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVARADO, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVARADO, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVAREZ, ALMA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVAREZ, BENJAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVAREZ, BENJAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVAREZ, BENJAMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVAREZ, CANDIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVAREZ, CARLOS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVAREZ, CONFESOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVAREZ, FRANCES M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVAREZ, FRANCES M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVAREZ, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVAREZ, LUIS O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVAREZ, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVAREZ, MIGUEL A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVAREZ, YAZMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVAREZ, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVAREZ,CONFESOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVELO, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVEO, ARACELY DEL R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVEO, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVEO, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVERIO, CHARIMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7018 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2019 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA ALVERIO, CRISTALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVERIO, CRISTALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVIRA, NILDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ALVIRA, ROSA IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AMARO, JOSE E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ANADON, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ANDINO, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ANDINO, JAHAIRA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ANDUJAR, IRIS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA APONTE, ADELINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA APONTE, ANIBAL J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA APONTE, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA APONTE, NESTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA APONTE, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AQUINO, SIXTO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AQUINO, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AQUINO, YOLANDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ARANA, AGUSTIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ARBELO, EDA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ARBELO, JOSE D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ARBELO, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ARBELO, PEDRO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ARCE, JANET M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ARCE, MIGDALIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ARENAS, TERESA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ARRIAGA, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ARRIAGA, JORGE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ARROYO, BLANCA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ARROYO, CARMEN G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ARROYO, LISANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ARROYO, OMAR J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ARROYO, YAMILKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ARROYO, YAMILKA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AVILA, ANGEL R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AVILA, ELSA D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AVILES, ALICIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AVILES, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AVILES, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AVILES, EMANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AVILES, HECTOR L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AVILES, MARYLEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AYALA, AGUEDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AYALA, ANGEL L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AYALA, ANGEL L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AYALA, ANTHONY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AYALA, CATHERINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AYALA, CATHERINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AYALA, EDA L.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AYALA, EDWIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7019 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2020 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA AYALA, ELBA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AYALA, MARIO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AYALA, MELISSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AYALA, MELISSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AYALA, SARY N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA AYALA, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BADILLO, ALBERTO G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BADILLO, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BADILLO, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BADILLO, RENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BADILLO, VALERY E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BAEZ, AIXA I               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BAEZ, GRISELLE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BAEZ, IVANNELIZ T          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BAEZ, JOHANNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BAEZ, LUZ E                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BAEZ, NEMESIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BAEZ, NEMESIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BAEZ, ROBINSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BAEZ, SANDRA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BAEZ, SONIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BAEZ, SONIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BAEZ, TOMAS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BAHAMUNDI, EDGARDO O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BARREIRO, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BARRERA, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BARRERAS, CARLOS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BARRETO, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BARRETO, ELIEZER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BARRETO, ELIEZER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BARRETO, LUIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BARRETO, PASTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BARRIOS, JORGE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BARROSO, ABIGAIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BAUZA, GUILLERO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BEAZ, EUGENIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BECERRA, LORRAINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BELEN, ANIBAL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BELEN, NOE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BELEN, OLGA A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BELTRAN, ALEX J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BELTRAN, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BELTRAN, NELMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BELTRAN, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BENITEZ, ELISAURA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BENITEZ, JOSE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BENITEZ, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BERGOLLO, LORI B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BERMUDEZ, EDWIN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7020 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2021 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA BERMUDEZ, EDWIN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BERMUDEZ, GRACIELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BERMUDEZ, JOAN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BERMUDEZ, JOSE J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BERNARD, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BERNARD, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BERNARD, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BERNARD, PEDRO O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BERRIOS, HORTENSIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BERRIOS, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BERRIOS, MIGDALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BETANCOURT, MARTIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BLANCO, ADA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BLANCO, ERNESTO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONET, YATZMELLIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONETA, JULIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONILLA, AYLEEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONILLA, DOMINGO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONILLA, EDDIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONILLA, ERICK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONILLA, IRMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONILLA, IRVING R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONILLA, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONILLA, JULIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONILLA, LESMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONILLA, MARIA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONILLA, RAMON A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONILLA, REGIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONILLA, REGIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONILLA, YAMAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BONILLA, YAMAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BORGES, ANIBAL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BORGOS, JENNIFER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BORGOS, VIRGEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BORRAS, SANTOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BORRERO, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BORRERO, JUANITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BORRERO, LEIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BORRERO, MIRTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BORRERO, MYRTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BORRERO, VIRGINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BOYA, LYDIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BRUNET, JUDITH R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BRUNO, ARMANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BRUNO, MYRNA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BULTRON, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BURGOS, FRAN K             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BURGOS, FRANKIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BURGOS, JOAMELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7021 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2022 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA BURGOS, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BURGOS, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BURGOS, NELIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BURGOS, NILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA BURGOS, SANDRA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABALLERO, BRUNILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABALLERO, VALERIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABALLERO, VALERIE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABAN, ANGEL M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABAN, ASHLEY M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABAN, CRISTIAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABAN, FERNANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABAN, JORGE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABAN, JORGE L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABOT, RAFAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABRERA, HELGA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABRERA, IRIS N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABRERA, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABRERA, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABRERA, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABRERA, NESTOR R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CABRERA, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CADAVEDO, SILVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CALDERA, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CALDERO, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CALDERON, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CAMACHO, HECTOR J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CAMACHO, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CAMACHO, LOURDES A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CAMACHO, MYRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CAMACHO, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CAMARGO, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CAMBIAN, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CAMBIAN, GEORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CANCEL, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CANCEL, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CANDELARIA, JUAN CARLOS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CANDELARIO, DALITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CANDELARIO, FRANCISCA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CAPELES, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARABALLO, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARABALLO, ENID M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARABALLO, FERNANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARABALLO, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARBONELL, JOSE EMILIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARDE, KYSTAL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARDONA, BRENDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARDONA, LAVINIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARDONA, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7022 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2023 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA CARMONA, ELIUDIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARMONA, JANICE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARMONA, MARIA J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARMONA, MAYRA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARO, ALEXANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARO, JORGE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARRERO, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARRERO, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARRILLO, HARRY O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARRILLO, JAVIER O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARRION, NELLY M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARTAGENA, GLENDA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CARTAGENA, KEISHLA P       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASIANO, LISANDRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASIANO, RUNEFTALI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASIANO, ZAHIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTILLO, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTILLO, ARACELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTILLO, RICARDO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTILLO, RICARDO A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTRO, AIDA LUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTRO, AMAURY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTRO, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTRO, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTRO, DORIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTRO, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTRO, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTRO, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTRO, JULIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTRO, NELLY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTRO, ROSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTRO, SYLVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CASTRO, YELITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CEDENO, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CEDREZ, IRIS NANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CENTENO, MARIA DEL R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CENTENO, SANDRA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CHACON, CARLOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CHAPARRO, EDWIN E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CHAPARRO, EDWIN E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CHAPARRO, ELSA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CHAPARRO, SONIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CHAVES, ARACELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CHAVEZ, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CHERENA, ANIBAL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CHERENA, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CHEVERE, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CHIMELIS, EMMANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CIDRAZ, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7023 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2024 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA CINTRON, JESUS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CINTRON, JOSE H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CINTRON, JOSE H.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CINTRON, LUCY I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CINTRON, LUIS C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CINTRON, MARIA C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CINTRON, MARIA DE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CINTRON, MARTA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CINTRON, NYDIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CINTRON, YENCEY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CLAUDIO, DALILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CLAUDIO, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CLAUDIO, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CLAUDIO, SANDEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CLEMENTE, RAYMOND          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLLAZO, ADA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLLAZO, ARLIVON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLLAZO, DARIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLLAZO, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLLAZO, LUBRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLLAZO, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLLAZO, WILMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLLAZO, WILMA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLLET, KALISHA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, AIDA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, ALEJANDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, AMELIA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, ANA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, ANA L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, ANA MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, ANDREA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, ANDREA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, ANTHONY J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, ARTURO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, BARBARA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, CARLOS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, CARMEN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, DAMARIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, DAMARIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, DAMARIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, DAMILMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, DAMILMA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, DARLING             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, EDWIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, ELISA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, ERNESTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, EXIO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, FELIPE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7024 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2025 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA COLON, FLORENCIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, HERIBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, HILDA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, IRIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, IVAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, JACKELINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, JOSE A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, JOSE M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, MARCOS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, MARIA I.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, MARIBEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, MARIBEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, MARILYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, MINERVA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, MINERVA MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, NICOLE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, PATRICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, ROSELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, ROXANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, ROXANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, SILVIA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, TANIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, ULYSSES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, VANIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, VANIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, VICTOR M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLON, ZENAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COLONDRES, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CONCEPCION, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CONCEPCION, VICTOR L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CONTRERAS, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CONTRERAS, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CONTRERAS, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORA, ADA R                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORA, ADA R                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORA, AIDA L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORA, AIDA L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORCINO, WILLIAM G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORDERO, ANA R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORDERO, ANDRES R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORDERO, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORDERO, JEANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORDERO, JUAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORDERO, LUIS J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORDERO, LYDIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORDERO, MIRELLYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORDERO, MIRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7025 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2026 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA CORDERO, MIRNA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORDERO, PEDRO L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORDERO, WALTER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORDERO, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORDOVA, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORDOVA, ROMUALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORREA, EDITH E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORREA, KATHIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORTES, AMADO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORTES, ANGEL D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORTES, BERNARDINO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORTES, CLARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORTES, CLARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORTES, ELVIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORTES, GLORIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORTES, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORTES, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORTES, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORTES, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORTES, MIRIAM E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORTES, RAUL A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORTIJO, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CORTIJO, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COSME, ALEJANDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COSME, ANA H               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COSME, IRIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COSME, JORGE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COSME, JULIO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COSME, JULIO E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COTTO, DAMARIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COTTO, DAMARIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COTTO, DAMARIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COTTO, ISRAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COTTO, JOEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COTTO, JOEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COTTO, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COTTO, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COTTO, NICOLE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COTTY, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA COUTO, MARISOL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRESPI, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRESPI, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRESPO, BRENDALIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRESPO, DIEGO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRESPO, JOSE R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRESPO, JOSE RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRESPO, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRESPO, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRESPO, PAULA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7026 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2027 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA CRESPO, RACHEL MARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRESPO, SANDRA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRESPO, VICTOR J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRIADO, HECTOR R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, ABIMAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, ADRIAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, ANA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, ANA E                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, ANA I                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, ARLEEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, BRENDA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, CARMEN A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, CARMEN M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, CRISTINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, DAISY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, EDNALIZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, ESTHER A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, EVELYN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, FELIX                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, GILBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, IRAIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, JAIME                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, JESSICA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, JOSE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, JOSE A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, JULIO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, JULIO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, JULIO C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, KATIA Y              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, MARCELINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, MARICARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, MELISA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, MIGDALIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, MIGUEL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, OLGA N.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, ORIALIZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, RADAMES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, RADAMES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, RADAMES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, RAMON                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, ROSA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, ROSA C               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, RUBEN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, SAMUEL A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, SENEN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, TITO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, TITO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, VALERIE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CRUZ, WILLIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7027 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2028 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA CRUZ, YAZMIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CUADRA, BIANCA DELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CUADRADO, VIRGINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CUEVAS, ALFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CUEVAS, ELISA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CUEVAS, JORGE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CUEVAS, RUBEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA CUMBA, NESTOR H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DARVAI, KARLA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DAVILA, CARMEN N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DAVILA, CARMEN N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DAVILA, JOSE G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DAVILA, PAOLA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DAVILA, SAILLY A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE ALMESTICA, ELBA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE COTTO, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, ANGELICA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, CRUZ ENEIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, GLENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, GLENDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, ISABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, JOSE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, LOURDES A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, LUZ I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, NATHANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, NORMA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, SANDRA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JESUS, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE JIMENEZ, GILBERTA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE LA CRUZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE LA ROSA, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE LA ROSA, ROBERTO L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE LEON, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE LEON, LUZ D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE RIVERA, ESPERANZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE ROBLES, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE SOTO, MARIA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DE SOTO, NOELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DECLET, EDWIN D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DEJESUS, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DEL MORAL, BLANCA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7028 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2029 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VEGA DEL VALLE, JOSE L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DEL VALLE, OLGA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DELGADO, ANDY               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DELGADO, ANGEL L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DELGADO, CARMEN M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DELGADO, DANIEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DELGADO, DANIEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DELGADO, EDGARDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DELGADO, EDMEE M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DELGADO, ESTRELLITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DELGADO, ESTRELLITA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DELGADO, KARLEANNYE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DELGADO, RAMON              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DELGADO, WEBSTER            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, BRUNNIE               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, CARMEN D              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, CHRIS                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, EMMANUEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, ERIC W                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, FELICITA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, FRANCISCO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, GLORYMAR              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, HARRY O.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, IBIS                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, IVETTE                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, JORGE I.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, JOSE F                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, LISANET               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, LUIS M                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, LUZ A                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, LYDIA                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, MADELINE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, MADELINE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, MARIA DE LOS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, MELVIN                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, RAFAEL                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, RAMON E               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, ROSALINA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, RUBEN D.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, WILFREDO              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DIAZ, WILMARIE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DOMINGUEZ, DALIZZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DOMINGUEZ, DALIZZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DOMINGUEZ, DALIZZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DOMINGUEZ, INES M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DOMINGUEZ, MARIA A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DOMINGUEZ, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DONCELL, CESIAH             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DORTICOS, RAMON             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7029 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2030 of 2285
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA DRAUNKUS, KENNETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DUCHESNE, CRISTINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA DUQUE, SANDRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ECHEVARRIA, FRANCES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ECHEVARRIA, MELEDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ECHEVARRIA, MELEDY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ECHEVARRIA, NILSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ECHEVARRIA, NILSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ECHEVARRIA, RAMON A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ENCARNACION, LILIA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ENRIQUE, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ESCALANTE, WILMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ESCALERA, VIVIANET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ESCOBAR, CARMEN B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ESCUDERO, LEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ESPADA, DARLENE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ESPADA, VILMA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ESTRADA, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ESTRADA, BLANCA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ESTRADA, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FALCON, ANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FALCON, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FALCON, NILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FEBO, BLANCA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FEBO, FELIX                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FEBO, JUANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, BRENDALIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, EDWIN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, GLENDALY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, HERIBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, IRENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, IRIS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, JOSE H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, LUIS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, LUIS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, MARIBELLA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, MARICELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, MARICELY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, PEDRO L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELICIANO, YANTAMIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7030 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2031 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA FELIX, PEDRO J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FELIX, ROSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FERNANDEZ, AMALUK          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FERNANDEZ, EDUARDO L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FERNANDEZ, JENNIFFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FERNANDEZ, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FERNANDEZ, MARY C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FERNANDEZ, REYNALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FERNANDEZ, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FERNANDEZ, ROSA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FERRER, CARLOS J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FERRER, JONNATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FERRER, VERONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, CARMEN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, CLAUDIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, ESTEBANIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, GERALDINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, GRETCHEL Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, GRISELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, HECTOR A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, JACQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, KARLA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, LAZARO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, LORNA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, MARIA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, MELANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, MILKA W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, NEIDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, PEDRO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, TANIA W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FIGUEROA, VIRGINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FLECHA, MARYVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FLECHA, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FLORES, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FLORES, DAFNE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FLORES, DAFNE O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FLORES, DAFNE O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FLORES, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FLORES, FELIX J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2032 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA FLORES, GLORIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FLORES, KEYSIANN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FLORES, ROCHELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FLORES, STEPHANIE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FLORES, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FONSECA, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FONSECA, IRIS S.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FONTANEZ, ARMANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FONTANEZ, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FONTANEZ, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FONTANEZ, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FONTANEZ, MARCOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FORTUNO, DEBORAH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FOURNIER, FELIX R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FRAGOSO, MINELLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FRANCO, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FRANCO, ILEANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FRANQUI, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FRANQUI, NORMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FRANQUI, SARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FRANQUI, VRENLLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FRED, EDMARI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA FUENTES, MARANGELI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GALARZA, DINARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GALARZA, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GALARZA, LINDAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GALARZA, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GALARZA, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GALIANO, JOSE J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, ABDIEL J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, AGUSTIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, ARACELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, ARACELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, BRENDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, CONSTANCIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, EDGAR O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, EDGARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, ERVIN R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, EXAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, JEANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, JEANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, JEANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, JOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, JOEL A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, JONATHAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, KAREN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7032 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2033 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA GARCIA, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, LUIS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, MARIA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, MARTHA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, MARTHA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, MERARI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, NATALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, NATALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, NATALIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, NEYSSA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, NOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, OMAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, OMAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, REBECCA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, REBECCA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, RUTH M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GARCIA, SARAHI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GELICA, CARLOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GELICA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GELICA, CARMEN S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GELIGA, ENID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GELIGA, MAYRA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GELIGA, ROSA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GERENA, ISHTAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GINORIO, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GODEN, MARIA D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GOMEZ, CARMINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GOMEZ, DANIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GOMEZ, ILIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GOMEZ, JOANLY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GOMEZ, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GOMEZ, JOSSIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GOMEZ, LUIS M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GOMEZ, MARCO A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GOMEZ, MIGUEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GOMEZ, MYRNA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, ALFONSO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, ALICE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, ALICE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, ANGEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, ANTHONY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, BRENDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7033 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2034 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA GONZALEZ, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, CESAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, EDDIE N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, ELBA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, ELBA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, ELUCIANO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, ENEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, FRANCHESKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, FRANCHESKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, GLENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, GLENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, GLORIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, HECTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, IRIS Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, IRIS Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, IVELISSE DEL C   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, LIZMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, LUISA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, LUZ D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, LYNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, MORAYMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, ONEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, PEDRO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, PETRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, RAFAEL JOSUE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, RAMON A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, RAYMOND          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, RIGOBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, RITA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, RUTH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7034 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2035 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA GONZALEZ, SANTOS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, SERGIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, SOAMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, TERESITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, VANESSA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, WALESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, YAJAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, ZAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GONZALEZ, ZAIDA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GOTAY, OMARIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GRACIA, EDUARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GRANADO, CHEMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUADALUPE, IVELISSE M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUALDARAMA, CARMEN M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUALDARRAMA, CARMEN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUASH, ARLENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUEVARA, BLANCA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUTIEREZ, ZILCA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUTIERREZ, CRUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUTIERREZ, DAGMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUTIERREZ, JENNIPHER M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUTIERREZ, JUAN D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUTIERREZ, MICHKA R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUZMAN, ABBY M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUZMAN, CARLOS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUZMAN, CARMEN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUZMAN, ERIC C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUZMAN, GABRIEL I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUZMAN, JOSE E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUZMAN, JOSE O.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUZMAN, JOSE W             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUZMAN, JOSE W             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUZMAN, MONICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA GUZMAN, VICTORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HENCHYS, ARIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HENCHYS, CARMEN G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HENCHYS, REBECA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HENCHYS, REBECA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HENCHYS, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HEREDIA, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, AGUSTIN S       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, ALEXIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, AMARILIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7035 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2036 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA HERNANDEZ, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, ANTHONY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, CARLA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, DIGNA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, DOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, DOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, EDELMIRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, EDELMIRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, ELBA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, ELBA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, FABIAN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, FELIPE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, GLORIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, HAYDEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, HENERLINDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, IRIS BETSY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, IRMALISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, IRMALISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, LYVETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, MELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, MYRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, REBECCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, RUBEN A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, RUTH M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, RUTH M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, STEPHANIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HERNANDEZ, ZAIDA G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HILERIO, REBECA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA HIRALDO, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA IGLESIAS, MARIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA IRAOLA, LAWRENCE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA IRIZARRI, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA IRIZARRY, ANA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA IRIZARRY, AURORA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA IRIZARRY, BETTY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA IRIZARRY, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA IRIZARRY, EDIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA IRIZARRY, EDITH N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA IRIZARRY, EVA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA IRIZARRY, ILEANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA IRIZARRY, JOSELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA IRIZARRY, YADIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7036 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2037 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA IRIZARRY, ZULMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA IRLANDA, ERNESTO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA JAURIDES, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA JIMENEZ, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA JIMENEZ, CARMEN C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA JIMENEZ, JULISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA JUARBE, MELISSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA JUSINO, SUZETTE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA KONHAUSER, ANGEL T.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LABOY, RUBEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LABOY, VICTOR E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LABOY, VICTOR E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LABOY, WANDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LADUCER, MICHELLA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LAGUER, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LAGUER, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LALINDEZ, SANTOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LAMANDO, JANE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LAPORTE, ELSIE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LARA, ANTHONY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LARA, ANTHONY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LARA, DENISE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LARA, DENISE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LASANTA, JENNIFER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LASSALLE, IVAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LASSUS, LILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LAUREANO, YESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LAVERGNE, CORAL J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LEBRON, ALEX               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LEBRON, BERENICE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LEBRON, MIGUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LEBRON, PAOLA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LEBRON, ROGELIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LEON, LEIDA E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LEON, LORELL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LEON, NORMA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LEONARD, ROBERT E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LIND, AILEEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, AMARYLLIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, CARLOS J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, DIMARY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, DORIMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, DORIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, EDGAR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, EDGAR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, EDWIN M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, FELIX               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, GLORIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7037 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2038 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA LOPEZ, IRENE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, JAYSON P.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, JENNIFER L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, JORGE LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, JUAN R.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, LIMARY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, LIMARY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, LUIS R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, LUMIELYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, LUZ C               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, MAGDALIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, MAGDALIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, MARIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, MARIA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, MARIELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, MILEYNIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, OMAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, RANDY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, RENE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, WESLEY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOPEZ, YOLANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LORENZO, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LORENZO, EUFEMIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LORENZO, JOHANY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LORENZO, MOISES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LOZADA, LUIS H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUCENA, SONIA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUCIANO, ANTOMANET         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUCIANO, EUGENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUGO, ANGELA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUGO, CESAR                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUGO, DELMARIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUGO, DIANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUGO, ELSIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUGO, GREGORIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUGO, IVONNE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUGO, JUAN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUGO, MARIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUGO, MARIA DEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUGO, NYDIA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUGO, NYDIA E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUGO, OLGA I               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUGO, RAFAEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUNA, NORMA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA LUNA, RUTH E.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MACHAL, LUZ I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MACHICOTE, NITZA R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MACHUCA, DIDIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2039 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA MADERA, ILEANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MADERA, ILEANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MADERA, MAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALAVE, PEDRO J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALDONADO, AGAPITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALDONADO, ANABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALDONADO, BAUDILLIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALDONADO, CARLOS D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALDONADO, CHARLES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALDONADO, CRUZ D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALDONADO, GLENDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALDONADO, IDALISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALDONADO, JANIABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALDONADO, JENNIFFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALDONADO, JENNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALDONADO, MILDRED A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALDONADO, OMAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALDONADO, PRISCILA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALDONADO, RAFAEL E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MALDONADO, YAMIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MANGUAL, GEORGIE E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MANGUAL, GISAEL O.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MANGUAL, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MANSO, RAMON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MANZANET, MILCA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARIN, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARIN, CARMEN I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARIN, XAIMARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARITNEZ, JOHANNYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARQUEZ, MARIA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARQUEZ, MARIA SOCORRO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARRERO, ALMA D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARRERO, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARRERO, ANGELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARRERO, ARIEL E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARRERO, DELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARRERO, FRANCHESKA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARRERO, JEANETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARRERO, JOSE O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARRERO, KEDDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARRERO, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARRERO, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARRERO, MARIA CRISTINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARRERO, ROSA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, AGMEL JOSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, ANABELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, ANTONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2040 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA MARTINEZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, DIGNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, DORCAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, GEORGINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, GERALINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, GILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, HECTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, HIRAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, ISRAEL E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, JACQLIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, JAREMY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, JEANNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, JESUS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, JOHANNYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, JOHEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, JOSE F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, JOSEFA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, JULIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, JULIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, JULIO C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, LUIS ALBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, LUIS ALBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, MAGDALENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, MARCEL JOSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, MARGIE I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, MARIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, MARIA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, MARY E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, NICIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, NILSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, NILSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, NORMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, REINARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, RENOIR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, SASHA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, SYLVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, SYLVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7040 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2041 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA MARTINEZ, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MARTINEZ, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MATOS, CONSUELO H.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MATOS, JANETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MATOS, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MATOS, WILMARIES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MATTA, NORA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MAYSONET, CARLOS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MAYSONET, EDGARDO E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MAYSONET, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDERO, JENNIFER L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, AMARILIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, AMARILIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, CARLOS H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, EVELYN N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, FERNANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, GLORIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, JESUS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, JOAI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, JOSE L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, LORIAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, MOISES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, MYRNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, MYRNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, XIOMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MEDINA, ZOILAIRI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MELENDEZ, ALINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MELENDEZ, CYNTHIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MELENDEZ, DALSY M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MELENDEZ, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MELENDEZ, GIOVANNI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MELENDEZ, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MELENDEZ, JOSE R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MELENDEZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MELENDEZ, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MELENDEZ, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MELENDEZ, MELISSA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MELENDEZ, SIGFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MELENDEZ, VILMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MELENDEZ, VIVIANETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENA, ADA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENA, ADA N                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENA, LIZ D                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENA, MIRIAM J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENA, MIRIAM J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7041 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2042 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA MENDEZ, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENDEZ, JOSE E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENDEZ, JOSE L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENDEZ, LYDIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENDEZ, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENDEZ, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENDEZ, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENDEZ, RUBEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENDEZ, YAITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENDEZ, YAITZA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENDOZA, DORAYMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENDOZA, DORAYMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENDOZA, ENEIDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENDOZA, JOHANNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENDOZA, JUAN R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MENENDEZ, NIRSA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, ANA H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, ARCANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, BAUDILIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, GLYNESSE S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, NADIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, NADIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, NADIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, NILKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, SYLVIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, WENCESLAO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, YACHIRA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, YACHIRA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, YAIRA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, YAIRA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, YAIXA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCADO, YAIXA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCED, CARMEN G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCED, HECTOR M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MERCED, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MESA, ANA T                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIELES, IGMEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MILAN, ANTHONY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MILLAN, ALEXIS F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MILLAN, ALEXIS F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7042 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2043 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA MILLAN, DORIS N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MILLAN, NYDIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIRANDA, ANALI A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIRANDA, CATALINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIRANDA, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIRANDA, ELMIS N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIRANDA, ERIKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIRANDA, FLOR M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIRANDA, IDALYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIRANDA, JOSE E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIRANDA, LISA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIRANDA, MARANGELIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIRANDA, MARE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIRANDA, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIRANDA, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIRANDA, SAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIRANDA, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MIRANDA, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MISLA, MIGUEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MISLA, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MOJICA, JOANN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MOJICA, JOANN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MOJICA, MARTIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MOLINA, ADA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MOLINA, EDISON S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MOLINA, ELBA GISELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MOLINA, JOSE R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MOLINA, LUCIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MOLINA, LUCIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MOLINA, PEDRO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONELL, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONSERRAT, LUZ M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, ANGEL S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, BRUNILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, EILEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, JULIO E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, LIZZETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, MARIA DEL C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, MILTON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, MILTON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, RAMON C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, VIRGINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTALVO, YASHIRA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7043 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2044 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VEGA MONTANEZ, CRUZ C            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTANEZ, ELBA L.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTANEZ, JULIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTANEZ, MARIA DE LOS A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTANEZ, ORLANDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTES, HECTOR R.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTES, JESSE               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTES, RAFAEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTES, REINALDO M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTES, SONIA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTESINO, CYNTHIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTESINO, YOLIMAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MONTIJO, MARISOL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORAL, GLENIS               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, ALEXIS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, ANA                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, ANA M              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, ANTONIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, CARLOS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, CARMEN D           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, CARMEN I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, CARMEN I.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, CIARA K.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, DAMARIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, EFRAIN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, EVA M              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, GEOVANNIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, IRZA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, JACQUELINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, JESUS A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, JORGE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, LEISVELVET         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, LISMARY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, LUIS R             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, LUZ C              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, LUZ L              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, MARIA M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, MARILIZ            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, MARTA N            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, MIGDALIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, MIGUEL A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, ROSA M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, ROSA M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, SANDRALI           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, SONIA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, STEPHANIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, STEPHANIE Y        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, VASTHI N           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, VENERANDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7044 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2045 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA MORALES, WANDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORALES, WANDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORAN, HECTOR J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MORENO, ANIBAL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MULERO, JERMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MULERO, LIMARIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MUNIZ, MARIBEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MUNIZ, MARISOL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MUNIZ, MAYRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MUNIZ, OMAR K              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MUNIZ, RAQUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MUNOZ, ELSIE H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MUNOZ, ELSIE H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MUNOZ, IVAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MUNOZ, SARA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA MURPHY, AMYBELLYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NATAL, DANIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAVARRO, HERNAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAVARRO, HERNAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAVARRO, LILLIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAVARRO, LILLIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAVARRO, SONESTCHKA Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAZARIO, ALIDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAZARIO, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAZARIO, ANGEL S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAZARIO, ANGEL S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAZARIO, ANGEL S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAZARIO, ANGNERYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAZARIO, CARLOS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAZARIO, IRIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAZARIO, ISRAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAZARIO, JOSE A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAZARIO, LIANY A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAZARIO, LILIBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAZARIO, LILIBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAZARIO, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAZARIO, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NAZARIO, MIGUELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, ADYANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, AMERICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, AMERICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, DIXALY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, GILMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, GILMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, GILMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, IRAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, JANICE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7045 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2046 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA NEGRON, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, JUAN L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, KENNY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, LIONEL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, LISSETTE W         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEGRON, XAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEVAREZ, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NEVAREZ, MAYKA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, ANGEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, ANGEL L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, ARACELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, CAROLINE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, CLARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, CLARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, EDNA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, EVELYN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, EVELYN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, FAVIOLA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, ILEANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, LITZA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, MARIA D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, MARIE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, MELANIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, MELANIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, RAMONA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NIEVES, ROSALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NOGUE, IRIS D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NOLLA, ANNETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NUNEZ, ANGELA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NUNEZ, ANTONIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA NUNEZ, WILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OCASIO, FELIX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OCASIO, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OCASIO, IVETTE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OJEDA, REBECA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OLAN, CARLOS E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OLIVENCIA, IPHRAIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OLIVERA, SHALIM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7046 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2047 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA OLIVERAS, DOLORES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OLIVERAS, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OLIVERAS, MARIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OLMEDA, JACKIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OLMO, MARIBEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OLMO, MARIBEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OLMO, MAYRA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OQUENDO, ILKIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OQUENDO, ILKIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OQUENDO, JUAN R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OQUENDO, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORELLANA, BELKIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORRIOLA, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORRIOLA, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTA, CARMEN I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTA, CHRISTIAN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTA, LUCY A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTA, MARGARITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTA, SAMUEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTA, ZORAIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTA, ZORAIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ADNELIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, AGAPITO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ALBA N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ANA L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ANA M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ANGEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ANTONIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, CANDIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, CARLOS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, DAISY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, DANIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, DELIANAMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, DOMINGA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, EILEEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ELBA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ELENA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ELSA E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ELVIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, EMILY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ENID                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ENID                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ENID Z.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ERNESTY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ESPERANZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, FELICITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, FREDESWINDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, GERALDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7047 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2048 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA ORTIZ, GERARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, HAYDEE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, HECTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, HECTOR LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ISRAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ITSA M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, JAIME               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, JEANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, JESSICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, JESSICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, JOSE R.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, JOSEAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, JOSEAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, JUAN A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, JULIO A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, JULIO C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, JULIO C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, KARLA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, LESVIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, LIZANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, LUIS ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, LUZ MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, LYSETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, MADELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, MARGARITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, MARIA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, MARIA L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, MARIBEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, MARISELLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, MELVIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, MIGUEL A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, NOELIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, NORMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, NORMA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, RADAMES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, RADAMES F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, RAMON A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, RAMONITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, RAYMOND             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, RAYZA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, REBECCA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, REBECCA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, SHEILA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, VIRGEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, VIVIAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, WIL R               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, WILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ORTIZ, ZAHIRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7048 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2049 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA OSORIO, ALFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OSORIO, MELBA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OTERO, AMELIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OTERO, AMELIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OTERO, HEMENEGILDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OTERO, JAZMIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OTERO, MIRIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA OTERO, MIRIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PABON, AGUSTIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PABON, AWILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PABON, CELIA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PABON, JESSICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PABON, JESSICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PABON, MAYRA L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PABON, NEREIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PABON, WILFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PACHECO, HERNAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PACHECO, LYDIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PACHECO, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PADILLA, ALBA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PADILLA, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PADILLA, DENNIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PADILLA, EDWIN R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PADILLA, FREDESWINDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PADILLA, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PADILLA, MARLEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PADILLA, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PADRO, IVELISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PADRO, IVELISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PADRO, JANET               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAGAN, ANGEL L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAGAN, ANIBAL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAGAN, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAGAN, GRISELLE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAGAN, JOSE D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAGAN, JUAN DEL C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAGAN, MAGDALYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAGAN, MAGDALYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAGAN, MARIA DEL C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAGAN, MARIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAGAN, MILDRED             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAGAN, NILSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAGAN, VANESSA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAGAN, WILADYS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAGAN, YOLANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAMIAS, JESUS O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAREDES, MAGNA G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PAREDES, SILMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PARRILLA, LUCELNNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7049 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2050 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA PEDROZA, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEDROZA, JANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEDROZA, JUANITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PELLICIER, DORIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PENA, LEIRALYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PENA, PEDRO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PENA, PEDRO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PENA, YAREISY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PERALES, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PERALES, OMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, ALEXIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, ALEXIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, ANGEL M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, ARCADIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, AUREA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, BETZAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, BETZAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, CAMILLE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, CARLOS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, CARLOS O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, CARMEN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, CLARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, EILEEN A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, EMMA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, ERIK I.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, FRANKIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, GABRIEL J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, GEOVANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, HELLEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, HELLEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, HIRAM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, IRAIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, IZARY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, JENNIFFER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, JUAN J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, JULIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, JUNOT               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, JUNOT               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, KELVIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, KELVIN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, LUCAS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, LUIS ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, LUIS J.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, MIGUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, MONICA DEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, NANCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, NANCY L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7050 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2051 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA PEREZ, NICOLE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, OLGA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, OSCAR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, PABLO E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, REINALDO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, REYNALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, ROSA E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, RUBEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, SHEILA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, SHIRLEY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PEREZ, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PINA, GERALDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PINA, LOURDES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PINA, NEFTALI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PINEIRO, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PINERO, OLGA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PINTO, MAYRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PINTO, ROLANDO M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PIRELA, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PIZARRO, JESUS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PLAZA, CARLOS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PLAZA, DELIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PLAZA, EDUARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PLUGUEZ, DENISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PLUGUEZ, DENISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PORFIL, JENNIFER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PUIG, JAIME                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA PUIG, MIGUEL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUIJANO, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUIJANO, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUILES, CARMEN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUILES, DENNIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUILES, ENRIQUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUILES, ENRIQUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUILES, JACQUELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUILES, KAREN L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUILES, KAROL D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUILES, KAROL D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUILES, NORMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUILES, ROCIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUILES, VERONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUINONES, ADA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUINONES, CARMEN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUINONES, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUINONES, ELVIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUINONES, IDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUINONES, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUINONES, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUINONES, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7051 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2052 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA QUINONES, REYNALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUINONES, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUINONEZ, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUINONEZ, GLADYS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA QUINONEZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RALAT, CARLOS J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMIREZ, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMIREZ, CARLOS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMIREZ, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMIREZ, JACKELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMIREZ, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMIREZ, JOANLEY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMIREZ, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMIREZ, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMIREZ, MEIRA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMIREZ, ROSEMERIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMIREZ, ROSEMERIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMIREZ, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMIREZ, SANDRA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMIREZ, TAYNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMIREZ, VALERIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMIREZ, WALDEMAR J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, ABDIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, AIRA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, ALEXANDER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, ANA L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, FELIX               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, ISRAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, IVELISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, IVELISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, IVETTE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, JOAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, JORGE R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, JOSE C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, JOSE E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, JOSE E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, JUAN A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, JUAN C.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, LILLIAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, LUISA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, MARIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, MARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, MARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, MARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2053 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA RAMOS, MARIVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, MARIVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, MARY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, MARY L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, NANCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, NORMA D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, ROSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, TERESITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, TERESITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, VICTOR M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAMOS, VILMARY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAPACZ, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RAPACZ, VANESSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REINA, JOSE R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REINA, JOSE R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RENTAS, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RESTO, ELBA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RESTO, ELBA J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RESTO, MARTIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RESTO, MARTIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, ALEX J.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, ARELIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, DESIREE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, DIANE MARY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, EDNA Z              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, ERIC A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, FELIX               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, GILBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, HECTOR L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, JOHN ANTHONY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, JUAN A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, MARY CHEILA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, RICARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, ROSA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, ROSA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA REYES, YANELIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIBOT, JUANITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIEFKOHL, MARIA D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIOLLANO, IBIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIOLLANO, NYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIOPEDRE, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIOS, ADA I.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIOS, AIDA L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIOS, ANA I                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIOS, CARLOS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIOS, CARLOS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIOS, GLADYS M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIOS, JUANITA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7053 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2054 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA RIOS, LUIS A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIOS, LUIS M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIOS, MARTHA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIOS, MARTHA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIOS, MIGUEL O.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIOS, VIMARI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVAS, ANA T               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVAS, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVAS, YOLANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVAS, YOLANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ADALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, AGNES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, AIDA L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, AILEEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, AIVLYS Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, AMARILYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ANA G.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ANA H.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ANGEL G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ANGEL I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ANGEL L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ANGEL M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ANTONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, BENITO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, BETTY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, BETTY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, BRIGIDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, CARLOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, CARLOS L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, CARMEN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, CARMEN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, CARMEN G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, CASSANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, CELEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, CHARLIES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, CHRISTIAN X.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, DIANA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, DIANI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, DIANI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ELWOOD A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ERMELINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7054 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2055 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA RIVERA, EVA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, EVA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, EVA N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, FELICITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, FERNANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, GILBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, GILBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, GILBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, GLADYS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, GLENDALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, GLORIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, GUILLERMINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, GUILLERMINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, HAYDEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, HEISEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, HEISEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, HILDA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, IRMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, IRMA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ISMAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ITZAMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, JESUS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, JILLIANIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, JOSE L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, JOSE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, JUAN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, JUAN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, JUAN CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, JULIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, JUSTINO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, JUSTINO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, KARYLIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, KATISCHA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, KEITH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, LIISA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, LIISA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, LIZBETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, LIZZA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, LUIS F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, LUIS J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, LUIS VICENTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, LUISA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, LUZ E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, LUZ ENID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7055 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2056 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA RIVERA, LYMARI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, LYMARI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MARIA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MARIA DE LOS A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MARIA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MARIA S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MARICELY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MARILUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MARIMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MARTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MARTA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MIRNA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MOISES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, MYRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, NADIUSCHKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, NILDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, NITZA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, NORMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, OMAR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, OSCAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, OSCAR L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, PALMIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, PALMIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, RAFAEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ROSA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ROSALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, ROSALINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, RUBEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, SANDRA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, SHEFALY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, SILVANO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, STEVEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, STIPHANY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, WANDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, WILSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, YALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7056 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2057 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA RIVERA, YALEXIS L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, YANIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, YANIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, YARA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, YARELIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RIVERA, YEISHKA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROBLES, LUIS M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROBLES, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODIGUEZ, ESTHER E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ADA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ADELAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ADELAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ALEXANDER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ANAMAR F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ANGEL L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ANGEL R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ANNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ARSENIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, CARMEN B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, CATALINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, CATHERINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, CHRISTIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, DANNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, DECENIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, DENNIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, DENNIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, DENNISE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, EDGARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, EDGARDO L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7057 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2058 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA RODRIGUEZ, EFRAIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ELISAMUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ENID I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, GABRIELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, GERMAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, GUSTAVO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, HILDENID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, JESUS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, JORDAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, JORGE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, JOSE C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, JOSE G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, JOSE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, JOSEPH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, JOSSIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, JOSUE D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, JUAN ALBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, LISANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, LISANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, LUIS HUMBERT    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, LUIS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, LUZ A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, MAGDALENA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, MANFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, MANUELLY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, MANUELLY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, MARIA C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, MARIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, MARLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, MINERVA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7058 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2059 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA RODRIGUEZ, MISAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, MISAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, MITCHEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, NAYDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, NITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, PILAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, PILAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, RADAMES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, RUTH E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, SHEILA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, SHIRLEY M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, SONIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, STEPHANIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, SUHEIL N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, VERONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, VICTOR S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, VILMA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, WALDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, WENDY L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, YADYBELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RODRIGUEZ, YEOVANA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROHENA, WALESKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROJAS, ARMANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROJAS, ROSA HAYDEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROLDAN, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROLDAN, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROLDAN, SANTA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROLON, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROLON, EDITH               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROLON, EDITH               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROLON, EDITH               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROMAN, ANDRES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROMAN, DAVID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROMAN, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROMAN, EMILIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROMAN, HECTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROMAN, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROMAN, LILLIANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7059 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2060 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA ROMAN, LUCILA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROMAN, MADELINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROMAN, MANUELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROMERO, CARLOS L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROMERO, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROMERO, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROMERO, LIBRADA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROMERO, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROMERO, TATIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROMERO, YESENIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROQUE, JOSE LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSA, CARLOS J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSA, GLADYS M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSA, MANUEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSA, MANUEL C.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSA, MANUEL C.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSA, TANIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, AIXA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, BETTY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, CAMELISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, EDGAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, ENITSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, ERNESTO R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, GLORIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, LUCELENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, MONSERRATE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, NORMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, RUBY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, RUBY M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, SILMA J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, VENEICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, VENEICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSADO, YESSENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, ALMA B.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, CLEMENTINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, EDITH A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, ERICK J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, FELIPE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, KARLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, KEILA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, KEVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, KRIMILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7060 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2061 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA ROSARIO, KYMARIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, LUZ Z             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, MARLON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, NILDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, NORA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, NYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, RONALD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, SIGFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROSARIO, VIANET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROZAS, OLGA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROZAS, SUZETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROZAS, SUZETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ROZAS, SUZETTE T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUBIO, CHRISTIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, AIDA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, ANA L                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, ANGEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, AURELIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, CARMEN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, CELSO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, DIANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, ELIUDIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, GAMALIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, GRISELLE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, IVELISSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, JAIME E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, JAIME E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, JOSE ELIAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, LOURDES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, LUIS A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, MARIA T              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, MARICEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, MICHELE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUIZ, VERONICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA RUPERTO, JOSIE O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SAEZ, ROSA J               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SAGARDIA, WENDELL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SALAMANCA, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SALAMANCA, JUAN R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SALAS, JORGE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SALAS, TOMAS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SALEH, KARIM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SALSEDO, MARCOS J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7061 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2062 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA SANABRIA, GERTRUDIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANABRIA, GERTRUDIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANABRIA, MARY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANABRIA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANABRIA, NILSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, ALMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, ANDRES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, CECILIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, DINELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, EDGAR A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, IRMA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, JACQUELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, JACQUELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, JORGE I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, KARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, KENNED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, LILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, LUIS ARMANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, MARGARITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, MARIA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, MARISEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, MILAGROS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, MYRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, PEDRO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, RICHARD J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, WALESCA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, WILLIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, WYDALYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANCHEZ, ZENAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANOGUET, BIANCA P         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, ALEJANDRINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, BETSY L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, DIANA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, ELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, GERTRUDIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, IXA A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, JANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, JESSICA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7062 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2063 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA SANTANA, JESUS M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, JORGE S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, JUAN J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, LUIS R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, LUZ D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, LUZ M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, MARIA DEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, MARIA DEL C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, MONSERRATE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTANA, XIOMARA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTELL, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTELL, HECTOR I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, AIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, AILSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, ANA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, ANA D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, ANNA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, ANUSHCKA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, ARAMINTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, BRUNO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, CARMEN S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, CARMEN Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, EDMARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, ELBA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, ELSIE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, ELSIE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, FELIX A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, FRANCIS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, GLORIMEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, HECTOR I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, HECTOR I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, INES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, INES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, IRIS N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, JAIME L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, JOANN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, JOHANNA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, JOSE D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7063 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2064 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA SANTIAGO, JOSE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, JOSE L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, JOSEPH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, JOSSIE I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, JULIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, LEOPOLDO G.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, LILY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, LYANN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, MAHALETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, MARIED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, MARILU           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, MELISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, MICHELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, MICHELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, MYRNALIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, NATALIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, NELIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, NILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, NORMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, PEDRO A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, RAFAELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, ROSABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, ROXANY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, VICENTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, WANDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, WILSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, YADIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, YADIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTIAGO, ZULMA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTINI, ILAINE C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTOS, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTOS, FELICITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTOS, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTOS, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTOS, JUAN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7064 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2065 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA SANTOS, JUANITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTOS, LUZ I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTOS, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTOS, MARIA DEL C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTOS, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTOS, MARIA O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTOS, MARILU             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTOS, MARYLIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTOS, NANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTOS, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SANTOS, YOANI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SEDA, CARLOS R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SEDA, JANET                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SEDA, JANET M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SEDA, JANET M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SEGUI, GILINES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SEIN, LUIS A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SENQUIZ, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SEPULVEDA, ALEXANDER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SEPULVEDA, ARSENIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SEPULVEDA, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERBIA, DADSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERBIA, DADSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERPI, CONCEPCION          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERRANO, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERRANO, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERRANO, EDWARD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERRANO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERRANO, ELSIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERRANO, ELSIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERRANO, GERARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERRANO, GLADYS S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERRANO, HECTOR R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERRANO, IVETTE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERRANO, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERRANO, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERRANO, URANIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERRANO, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SERRANO, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SIERRA, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SIERRA, EVA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SILVA, ERICK               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SILVA, ERVING J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SILVA, JOSE V              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SILVA, MARIA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SILVA, NANCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SILVA, RICARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SMITH, SAYEED M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SMITH, SAYEED M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7065 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2066 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA SOBERAL, IVAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOBRIANO, RIGOBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOLER, DENISSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOLER, JOEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOLIVAN, NAHOMY K          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SONERA, ROBERT             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SORIANO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SORIANO, LUIS R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SORIANO, RIGOBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOSA, CARMEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOSA, JONATHAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOSA, RAUL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOSTRE, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, ANA D                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, CARMEN E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, ELIEZER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, ELIZABETH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, ENID M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, ESTRELLA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, JAZMIN M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, JOSE I.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, KEYLA A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, LUZ                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, LUZ D                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, MYRNA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, ORLANDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, TITO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, VIVIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, VIVIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, VIVIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, WILFREDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTO, YEIZA L.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SOTOMAYOR, DAMARICIE V.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SUAREZ, AWILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SUAREZ, EDNA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SUAREZ, GEOVANNI A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SUAREZ, JUAN E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SUAREZ, JUAN E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SUAREZ, MARCOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SUAREZ, MARIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SUAREZ, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA SUSTACHE, ENDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TAPIA, ITZA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TELLADO, ADA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TELLADO, ADA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TEXIDOR, JAKE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TIRADO, IRAIDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TIRADO, RENE D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORO, MAYTE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2067 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA TORO, MERCEDES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORO, MILAGROS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORO, MILAGROS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORO, MILAGROS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, AMBAR ISAURA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, ANA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, ANGEL R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, ARLENE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, BRIAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, CARMEN S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, CATALINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, EDWIN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, ELSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, ELVIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, ELWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, EMICHELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, ESMERALDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, EVANGELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, FELIX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, GABRIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, GLADYMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, GLOEMY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, ISABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, ISABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, ISRAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, JOMARIE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, JOSUE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, JULIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, LIBRADO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, MANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, MARI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, MARIA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, MARIA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, MARIA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, MARIANNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, MARTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, MARTA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 2068 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA TORRES, MELBA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, MELBA L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, MONSERRATE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, NORMA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, PEDRO A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, REBECA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, REINALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, ROSA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, RUTH               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, SAMARIS ORELISSE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, SERGIO H.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, SHERLINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, TERESA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, TIFFANY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, VIVIAN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, WALMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, WALMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, WILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TORRES, WILMA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TOSADO, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TOSADO, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TRINIDAD, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TRINIDAD, HERIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TRINIDAD, MELISSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TROCHE, GERARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TROCHE, JAMARYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TROCHE, JESENIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TROCHE, WISTER A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TRUJILLO, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA TRUJILLO, NOELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA UBIAS, MARCO A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA UBILES, CARMEN G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALENTIN, ALEJANDRO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALENTIN, ANLUISHGIE E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALENTIN, HECTOR L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALENTIN, JESUS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALENTIN, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALENTIN, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALENTIN, LYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALENTIN, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALES, IRMA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALLE, BRENDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALLE, BRENDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALLE, GABRIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALLE, HAYDEE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALLE, HAYDEE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7068 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2069 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA VALLE, ISELA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALLE, IVELISSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALLE, JOSSY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALLE, JOSSY G.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALLE, MANASES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALLE, NELSON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALLE, NELSON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VALLEJO, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, ABIGAIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, ALFONSO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, ANGELA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, IRISEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, JOHN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, JOHN L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, JOHN L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, KRISTALIZE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, MILTON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, MILTON D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, NOEMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, SAIMALYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, SAIMALYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VARGAS, WILMADEL C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, ALVIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, ANGEL L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, ANGEL L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, ANGELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, BRENDA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, BRUNO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, CARMEN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, CELSO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, CHRISTAL C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, EILEEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, ELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, FANNY I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, GREGORIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, IRIS N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, ISABELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, JOSSIE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, JOSSIE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, LUIS O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, MARIA DEL C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, MARIXA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2070 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA VAZQUEZ, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, MIRTA IVETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, NELSON I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, NINA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, OLGA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, PABLO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, RANDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ, YAHAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VAZQUEZ,EDISON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ABDIEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ADALI                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ADALI                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ADAM                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ADAN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ADELAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ADELAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ALBERTO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ANIBAL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ANTONIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ANTONIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ARIEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ARIEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, CANDIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, CARMEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, CARMEN I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, CARMEN L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, CARMEN M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, DAMARIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, DANIEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, EDWIN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, EFRAIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ELAINE DEL C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, FELICITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, FELIX                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, FELIX                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, GLENDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, GLENDA L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, GLORIA A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, GUILLERMO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, HILDA J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, HILDA R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, HIRAM                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, IDELFONSO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ILEANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ILEANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ISAAC O              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ISAAC O              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7070 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2071 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA VEGA, JAVIER               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, JEKSAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, JESSICA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, JOEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, JORGE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, JORGE L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, JOSE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, JOSE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, JOSE A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, JUAN L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, JUDITH               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, JUDITH               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, KARLA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, KAYVAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, KAYVAN S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, KENNY                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, LESTER L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, LUIS                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, LUIS G               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, LUZ N                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, MAGDA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, MAGDA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, MARITZA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, MILAGROS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, MIRIAM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, MYRNA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, NELSON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, NORBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, OLGA M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, PEDRO                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, PEDRO L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ROSA M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, VERONICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, VIRGILIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, WANDA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, WANDA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, YAZMIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, YINELIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGA, ZUHEY M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VEGUILLA, PABLO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VELAZQUEZ, ANA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VELAZQUEZ, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VELAZQUEZ, ARTURO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VELAZQUEZ, BETHZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VELAZQUEZ, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VELAZQUEZ, CARLOS J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VELAZQUEZ, FELIX A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VELAZQUEZ, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA VELAZQUEZ, IRIS N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7071 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2072 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA VELAZQUEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELAZQUEZ, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELAZQUEZ, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELAZQUEZ, MIRTA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELAZQUEZ, ORLANDO J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELAZQUEZ, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, AMERICO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, CARMEN Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, EDGAR O             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, HUMBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, JANICE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, JOANN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, JOSE M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, LIMARIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, LIMARIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, LISETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, LORRAINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, MARIA DE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, MARIA DE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, MILDRED M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, MIRTA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, NAYLIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, NAYLIN N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, NIDIA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, OMAR                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, PEDRO J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, RUTH                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, RUTH                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VELEZ, STEPHANIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VERA, GLADYS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VEVE, ANNE M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VEVE, ANNE MARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VEVE, ANNE MARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VIDAL, MAGDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VIDAL, MAGDA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VIDRO, ILEANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VIDRO, LESBIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VIDRO, MARGARITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VIDRO, PASTORA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VILA, KARLA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VILARINO, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VILARINO, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VILLAVICENCIO, DORIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VILLAVICENCIO, MARY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VILLAVICENCIO, MARY R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA VILLEGAS, JOSUE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA ZABALA, ERMELINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA ZAMBRANA, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VEGA ZAMBRANA, KARLA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 7072 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2073 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGA ZAMBRANA, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ZAMBRANA, REBECCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ZAMORA, YARIHMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ZARAGOZA, ADALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ZARAGOZA, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ZAYAS, ALBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ZAYAS, HECTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ZAYAS, HERMINIO J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ZAYAS, JOSE H              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ZAYAS, LOURDES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ZAYAS, MARTA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA ZENO, WILDA Z              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA, ANGEL L                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA, ANTONIO                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA, DEBORAH M                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA, ELISAURA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA, GLENDALY                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA, IRIS Z                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA, JUAN J                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA, KERMIT                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA, OVADIS                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA, PEDRO J                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA, RAQUEL                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA, RODOLFO                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA, VIRGENMINA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA,ANGEL                      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA,ANTONIO                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA,ERICK J.                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA,JESUS M.                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA,JOSE                       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA,JOSE A.                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA,REYMOND                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGADUQUE, JORGE L.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGAGARCIA, QUETCY A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGAMARTINEZ, ELIUD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGAMELENDEZ, YAMIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGANAZARIO, VICTOR M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGAPEREZ, NELSON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGA‐RIOS, MYRIAM               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGARODRIGUEZ, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGAS RODRIGUEZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGASOTO, FRANCISCO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGAVEGA, CANDIDO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGERANO ASCENCIO, LISBETH I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGERANO ASENCIO, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGERANO DELGADO, AMANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGERANO DELGADO, MELISSA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGERANO SANTO, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGILLA FIGUEROA, ILEANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7073 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2074 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VEGLIO GUZMAN, LUIS E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGLIO VELAZQUEZ, RAMON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA COLON, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA COLON, ANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA COLON, MARIA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA COLON, MARIA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA CRUZ, HECTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA DE JESUS, JOSE J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA DE JESUS, MARGYMAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA DE JESUS, MARGYMAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA DIAZ, EDWIN DAVID D    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA FIGUEROA, ANGEL M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA FIGUEROA, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA FIGUEROA, ILIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA FIGUEROA, LUISA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA FIGUEROA, VICTOR J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA FIGUEROA, VICTOR M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA GARAY, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA GONZALEZ, EDGARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA GONZALEZ, JULIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA JAURIDES, NORMA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA KUILAND, SUSAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA MARTINEZ, JOSEFINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA MARTINEZ, JULIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA MONTANEZ, CRESCENCIA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA MONTANEZ, GERARDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA NAVARRO, LUIS D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA PAGAN, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA PEREIRA, GUSTAVO E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA RIVERA, JOCELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA RIVERA, WALTER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA RODRIGUEZ, CARLOS M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA ROSARIO, YADIRA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA TIRADO, MARTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA TORRES, CINDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA TORRES, CINDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA TORRES, CORALLY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA VEGA, WANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA VEGA, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA ZAYAS, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA, ANTONIO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLA, GABRIELA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEGUILLAHERNANDEZ, RICHARD      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEIGA BERTELLI, SERGIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEINTIDOS VARGAS, ZULEYKA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEIRA MIRANDA, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEITIA MUNIZ, DENNISE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEL, JEAN CARLOS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELA BENITEZ, ELENA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7074 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2075 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELA BIRRIEL, ROSENDO J.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELA CORDOVA, RAMON G.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELA VIDAL, MARLENE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELANDIA SANCHEZ, ELVIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAQUEZ FELICIANO, LUIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAQUEZ GRACIA, ANGEL L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELARDE BARRIONUEVO, KUKULI A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELARDE MANRIQUE, RUTH           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELARDO CARRASQUILLO, EUGENIO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELARDO CARRASQUILLO, LUCIRA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELARDO CASIANO, WILSON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASCO DERIBERPREY, LUZ A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASCO GONZALEZ, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASCO GONZALEZ, ROMAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASCO GONZALEZ, ROMAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASCO LASSALA, NILDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASCO MARTIR, LUIS R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASCO MARTIR, SUSANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASCO MARTIR, SUSANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASCO MARTIR, SUSANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASCO MELLA, JORGE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASCO RIVERA, AIXA M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASCO RIVERA, ALFONSO R.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASCO RULLAN, CARMEN M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASCO VELEZ, MARLA DEL C.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASQUEZ BOBE, EMMANUEL J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASQUEZ ECHEVARRIA, SHANNON    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASQUEZ FLORENCIO, MARIELY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASQUEZ MENDEZ, ESPERANZA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASQUEZ OLMEDA, EMANUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASQUEZ PEREZ, MIGUEL A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELASQUEZ RAMIREZ, JULIANA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZCO ALVARADO, MADELINE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZCO APONTE, JERITZA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZCO FIGUEROA, GAMALIEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZCO MALDONADO, JOSE A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZCO MARTINEZ, JOSE D.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZCO PARRA, URBANO A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZCO RODRIGUEZ, ANAYANSI      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZCO RODRIGUEZ, KARINA M.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZCO ROMAN, DIANA L.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZCO VARGAS, DAMARIS S        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZCO VARGAS, DAMARIS S.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZCO VAZQUEZ, XIOMARA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZCO ZAVALA, ARGENIS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZGUEZ SOTO, ANA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUES FELICIANO, MIGUEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUES MORALES, RAFAEL A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ., JOSE M              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7075 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2076 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ ACEVEDO, BRENDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ACEVEDO, ELINES         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ACEVEDO, IMARIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ACEVEDO, IVEMAR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ACOSTA, JAIME           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ACOSTA, JAIME E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ACOSTA, MARIEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ACOSTA, MARIEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ADORNO, CARMEN M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ADORNO, HECTOR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ADORNO, JOSE R.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ADORNO, NILZA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AGOSTO, CARLOS A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AGOSTO, DEVIAN J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AGOSTO, IVONNE A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AGOSTO, LUZ N           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AGOSTO, MIRIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ALAMO, CARMEN L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ALDARONDO, MARIA E      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ALEJANDRINO, BRENDA L   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ALEJANDRINO,            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
MARIANGELEE
VELAZQUEZ ALICEA, JOSE A          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALICEA, LUCY            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALICEA, PASCASIO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALICEA, RAMONA I        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALICEA, ROSA M.         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALICEA, SONIA I.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALICEA, VICTOR N        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALLENDE, MELISSA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALMESTICA, IRVING       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALMODOVAR, BRENDA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALMODOVAR, JORGE L      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALMODOVAR, NELSON       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALVARADO, CARMEN A      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALVARADO, ISRAEL        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALVARADO, NELIDA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALVARADO, OSCAR         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALVARADO, OSCAR         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALVARADO, VICTOR        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALVARES, ILIANY         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALVAREZ, CARMEN L       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALVAREZ, EDNA L         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALVAREZ, ELIAS O.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALVAREZ, GERMAN         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALVAREZ, LUZ N          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALVAREZ, LUZ S          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALVAREZ, MIGDALIA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ALVAREZ, NORMA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7076 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2077 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ ALVAREZ, NORMA          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ALVAREZ, NORMA I        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ALVAREZ, PEDRO J        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ALVAREZ, SUGEIL         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ALVERIO, LESLIE A       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ALVERIO, NYDIA E        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ALVIRA, EMILIA          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ALVIRA, EVELYN          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ALVIRA, LUZ M           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ANAYA, SAMUEL           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ANDALUZ, ANA EVA        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ANDINO, GILMILLIE       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ANDINO, MILLIE GIL      REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ANDROVER, FRANCISCO R REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ANDUJAR, DENISE I       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ANDUJAR, NELLYBELLE     REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ APARICIO, LUISA         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ APONTE, ALICE M         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ APONTE, FRANCIS J.      REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ APONTE, JEANETTE        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ APONTE, JEANETTE        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ APONTE, JUAN C.         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ APONTE, LARRY           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ APONTE, LUIS FELIPE     REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ APONTE, MIGUEL F.       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ APONTE, NORLYANA E.     REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ APONTE, OLGA            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ APONTE, RUTH E          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ APONTE, SARA            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ APONTE, ZORAIDA         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AQUINO, JERIBERTO       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARCE, MIGUEL A          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARCE, WILFREDO          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARCE, WILSON            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARCELAY, DANNA M        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARCELAY, JOSTENS        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARES, ROBERTO           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARIAS, ANA R            REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARIAS, MARITZA          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARRIETA, ANGELA         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARRIETA, EUGENIA DEL P. REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARROYO, ANGEL           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARROYO, ANGELA L        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARROYO, ANGELA L        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARROYO, DORIS           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARROYO, EVA LUZ         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARROYO, FLOR M          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARROYO, GLADYS          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ARROYO, NANCY           REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7077 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2078 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ ASTACIO, MCDANIEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ASTACIO, MCDANIEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AVILES, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AVILES, EMMANUEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AVILES, EVELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AVILES, LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AYALA, ANA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AYALA, BRENDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AYALA, FLOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AYALA, JANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AYALA, JANNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AYALA, JENNIFER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ AYALA, WILSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BABILONIA, GASPAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BAERGA, CATALINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BAEZ, BETHZAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BAEZ, ERICK           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BAEZ, ERIKA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BAEZ, GRISELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BAEZ, JAQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BAEZ, MARVIN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BAEZ, PEDRO O         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BARRETO, MARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BARRETO, MARIA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BATISTA, DAMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BATISTA, ROSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BATISTA, ROSA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BATIZ, ARIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BATIZ, LYDIA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BATTISTTINI, JUAN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BELEN, BETHZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BELLO, DAMARIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BELLO, DAMARIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BELLO, EFREN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BELLO, ELMA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BELLO, MAYDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BELTRAN, MINERVA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BELTRAN, SOSTENIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BENITEZ, ANA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BENJAMIN, JUANITA H   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BERBERENA, JUANA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BERMUDEZ, BENJAMIN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BERMUDEZ, BENJAMIN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BERMUDEZ, MARA Y.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BERMUDEZ, MARGARITA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BERMUDEZ, OLGA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BERMUDEZ, PAULINO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BERMUDEZ, RAMON A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BERMUDEZ, WILLIAM     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7078 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2079 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ BERMUNEZ, ISRAEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BERRIOS, ARGYNIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BERRIOS, CARMEN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BERRIOS, CHRISTIAN      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ BETANCOURT, VICTOR      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
JOEL
VELAZQUEZ BILBRAUT, IRVING        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BIRRIEL, IRIS Y.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BORRERO, ANASTACIA      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BORRERO, ELLIOT         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BORRERO, ELLIOT         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BORRERO, ELLIOTT        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BORRERO, JANICE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BORRERO, JANICE A       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BORRERO, LUIS E         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BORRERO, OLGA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BOSCH, MARIA L          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BOSCH, MAYRA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BOSCH, MAYRA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BOSH, ZARITZIA M        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BOSQUES, MARIA D        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BRIGANTTY, WILNELLY A   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BRIGNONI, ILKA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BRIGNONI, NORMA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BRISTOL, MAYRA I.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BRITO, JANNETTE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BURGOS, ANA I           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BURGOS, ANDREA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BURGOS, JOSE A.         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BURGOS, LUZ E           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BURGOS, MARITZA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BURGOS, PATRICIA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BURGOS, PATRICIA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ BURGOS, SONIA I.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CABAN, EVELYN           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CABAN, JUAN F           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CABAN, MILIAM           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CABRERA, LERAIDA E.     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CABRERA, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CABRERA, MARIA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CAEZ, CHARLOTTE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CAEZ, CHARLOTTE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CAEZ, CHARLOTTE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CAEZ, ELIS              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CAEZ, ELIS              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CAEZ, ELIS A            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CAEZ, YAMIRA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CAJIGAS, MANUEL         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CALDERA, JOSE A.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7079 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2080 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ CALDERON, AMELIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CALDERON, ANA D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CALDERON, DINORAH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CALDERON, GUILLERMINA REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

VELAZQUEZ CALDERON, RAQUEL I    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CALDERON, SARA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CALDERON, WILFREDO    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CALERO, IDALIZZ       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CALERO, IDALIZZ       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CALES, ADA R.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CALES, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CALZADA, LUIS R.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CAMARENO, ILEANA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CANCEL, FAREL S.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CANDELA, MADELINE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CANTRE, GLORIA M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CANTRES, ELSA I       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CAPO, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARABALLO, EDA L      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARABALLO, ELBA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARABALLO, GABINA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARABALLO, JOEL       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARABALLO, JOSE J.    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARABALLO, LUIS A     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARABALLO, OLGA I     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARABALLO, VILMA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARDONA, MONSERRATE REDACTED                         REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARMONA, LUZ M        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARMONA, WANDA I      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARRASQU, AGUSTIN     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARRASQUILLO, CARLOS REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARRASQUILLO, CYNTHIA REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARRASQUILLO, EDDY    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARRASQUILLO,         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
GLORIMAR
VELAZQUEZ CARRASQUILLO, GRISEL  REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARRASQUILLO, GRISEL  REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARRASQUILLO, JUAN R. REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARRASQUILLO, LUIS    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARRASQUILLO, LUIS Y  REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARRASQUILLO, LUZ E   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARRASQUILLO, MONICA REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
B
VELAZQUEZ CARRASQUILLO, YOLANDA REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

VELAZQUEZ CARRION, HENRY        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARRION, LUZ S        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ CARRION, MIGUEL A     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7080 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2081 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ CARRION, OMAIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CARRION, RUTH M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CARRION, WANDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CARTAGENA, EFRAIN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CASANOVA, DANIEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CASILLAS, NANCY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CASTILLO, OMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CASTRO, AWILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CASTRO, EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CASTRO, JORGE R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CASTRO, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CASTRO, LOHARINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CASTRO, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CASTRO, LUZ E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CAUSSADE, VICTOR M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CEPEDA, GUILLERMO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CINTRON, CARLOS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CINTRON, CARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CINTRON, CESAR C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CINTRON, HECTOR R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CINTRON, JOHANNIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CINTRON, MILAGROS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CINTRON, SORINIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CIRINO, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CIRINO, YADIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CLASS, EMANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CLAUDIO, MELANIE Y    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLLAZO, EDWIN J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLLAZO, EDWIN X.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLLAZO, YARISMAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLLAZO, YARISMAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLLAZO, YARISMAR     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, ALICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, ASHLEY J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, EDIL I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, EDWIN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, JUAN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, KARLA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, KELVIN A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, LUZYANEIRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, MARYELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, MIGUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7081 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2082 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ COLON, ROSAURA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, RUDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, RUTH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, YEHILLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COLON, YEHILLA V.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CONTY, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORCHADO, BRENDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORCHADO, BRENDA M.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORCHADO, VICTOR E    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORDERO, GLADYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORDERO, IRIS J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORDERO, RUBY Z       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORDERO, SONIA N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORDOVA, DAVID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORDOVA, FELIX        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORDOVA, RAMONA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORREA, JORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORREA, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORREA, MARYLIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORREA, MINELLYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORREA, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORTES, ELDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORTES, JUANITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORTES, JUANITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORTES, LILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORTES, MARANGELLY    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORTES, MIGUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CORTES, YOLANDA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COSME, BLANCA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COSME, CARMEN M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COSME, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COSTOSO, AIDALINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COTTO, NASHLIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COTTO, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COUVERTIER, DAMARIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COUVERTIER, DAMARIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COUVERTIER, JOSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ COUVERTIER, JOSE A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRESPO, CARLOS M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRESPO, GERMAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRESPO, LUZ C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRESPO, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRESPO, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRISPIN, AUREA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRISPIN, CARLOS M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRISPIN, ELIZABETH    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRISPIN, HECTOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRISPIN, LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRISPIN, RUBEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7082 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2083 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ CRISPIN, VERONICA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRISPIN, YETZENIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, BETSY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, BEVERLY M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, CARLOS J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, CLARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, EMIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, JADIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, MARIELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, MARIELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, MARILUZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, MIGUEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, ONEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, ONEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, PETRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, RAMON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, SOL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, YASHIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, YASHIRA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CRUZ, YOLANDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CUADRADO, DARILIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CUADRADO, IRENE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CUADRADO, IRENE J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CUADRADO, NORAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CUESTA, EDUARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CUESTA, FRANCES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ CUEVAS, IVELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DAVILA, MARITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DAVILA, NITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DAVILA, ROSALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7083 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2084 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ DAVILA, SANDRA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DAVILA, ZULMA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DAVILA, ZULMA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE ARCE, AIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE BASABE, ROSA L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE JESUS, ADELAIDA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE JESUS, ANGELICA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE JESUS, CARMEN G     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE JESUS, EDNITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE JESUS, EFRAIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE JESUS, ELBA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE JESUS, JUAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE JESUS, JUAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE JESUS, LUIS A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE JESUS, LUZ T        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE JESUS, OFELIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE JESUS, TOMASITA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE JESUS, VICTOR D     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE LA ROSA, KARINA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE LEON, JOSMARIE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE LEON, MIGUEL A.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE RAMOS, JULIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE RAMOS, JULIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DE TORRES, ADA L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DEFENDINI, JOSE A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DEL VALLE, ALEXANDER   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DEL VALLE, JUANA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DEL VALLE, MIRIAM      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DEL VALLE, PATSY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DEL VALLE, RICARDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DEL VALLE, RICARDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DEL VALLE, VIMARY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DELGADO, ALEXANDRA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DELGADO, ANA H         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DELGADO, ANGEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DELGADO, BEATRIZ       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DELGADO, BEATRIZ       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DELGADO, BENJAMIN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DELGADO, CARLOS R      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DELGADO, DANIEL I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DELGADO, JARRIZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DELGADO, JORGE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DELGADO, JUDITH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DELGADO, MIGNA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DELGADO, RUTHMARY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DELGADO, VERONICA M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DELGADO, YADEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, ADA I.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, ADA M.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7084 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2085 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ DIAZ, ALEX A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, ANGEL R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, BRENDA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, BRENDA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, CESAR J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, CHRISTOPHER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, DAMASO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, EDNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, EDNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, GUILLERMO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, ITCHELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, JAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, JAVIER A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, JOSE I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, JUANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, JUANA Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, KEILA N.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, KEVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, MABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, MAGALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, MARCIA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, MYRNA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, NEREIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, REINALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, RUBEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DIAZ, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DOBLE, CARLOS J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DOMINGUEZ, CARMEN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DOMINGUEZ, CARMEN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ DONES, YAHAIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ECHEVARRIA, DAMARYS REDACTED                         REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ECHEVARRIA, DIGNA I   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ECHEVARRIA, DIGNA I   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ENCARNACION, ADELA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ENCARNACION, JOSE L   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ENCARNACION, VICTOR M REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

VELAZQUEZ ESCOBALE, MARISOL     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ESCRIBANO, NORMA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ESPARRA, ERIC         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ ESPINOSA, NAYDA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7085 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2086 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ ESTELA, ZORAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ESTRADA, ALBERTO L.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ESTRELLA, AILEEN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ESTRELLA, NATALIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ESTRELLA, NATALIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ESTRONZA, NEFTALI      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FACCIO, MAYDA J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FALCON, JOSE A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FALCON, SIXTO A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FAS, DIEGO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FEDRICK, LAURINE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, ARIEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, CARMELO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, EDITH E     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, ELIZABETH   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, FRANCELIN   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, FREDDIE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, GIOVANNA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, GIOVANNA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, JOSE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, LUZ         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, LYDIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, LYDIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, MELVIN J.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, MIGUEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, MILADYS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, MILADYS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, NANCY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, RAYMOND     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, SILMARY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELICIANO, SILMARY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELIX, AIDA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELIX, BENEDICTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELIX, CARMEN L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELIX, MARIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELIX, MARIA B         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELIX, NORMA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FELIX, OMAR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FERNANDEZ, AIDA M.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FERNANDEZ, EDIL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FERNANDEZ, EDIL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FERNANDEZ, MARIA S     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FERNANDEZ, NOEMI       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FERNANDEZ, RICARDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, CYDMARIE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, DINORAH      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, EDNA Y       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, EMILIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, EMILIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7086 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2087 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ FIGUEROA, ESTEFANI F   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, GLORIA M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, IRMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, JEFREY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, JOSE A.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, LESLIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, LUIS E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, LUZ D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, LUZ E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, MARCIAL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, MYRIAM       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, MYRIAM       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, MYRNA L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, SORANYELIS   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, SORANYELIS   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, VIRGEN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, VIRGEN S     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, WILLIAM      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUEROA, YASSENIA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FIGUROA, EDGAR M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FLORE, BIENVENIDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FLORENCIO, MARIELY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FLORES, ARIANA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FLORES, ARIANA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FLORES, CONCEPCION     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FLORES, EUGENIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FLORES, GLADYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FLORES, IVELISSE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FLORES, MARLANE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FLORES, RICARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FLORES, SELMA I.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FLORES, VICTOR M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FONSECA, MARISOL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FONSECA, MARISOL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FONSECA, MARISOL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FONTANEZ, EDGARDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FONTANEZ, ERIC         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FONTANEZ, EUGENIO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FONTANEZ, JOSE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FONTANEZ, JOSE E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FONTANEZ, WANDA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FORTIS, MAGDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FORTIS, MAGDA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FORTYS, ISABELO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FRANQUI, ROSARIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FUENTES, CARLOS R      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FUENTES, FREDDY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FUENTES, LUIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ FUENTES, LUIS A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7087 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 2088 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ FUENTES, SHAIRIRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GALARZA, DAMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GALARZA, EVA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GALARZA, GLADYS M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GALARZA, LUIS F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GALARZA, LUIS F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GANDIA, MICHELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GANDIA, MICHELLE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, ALEJANDRO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, ALVIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, ANGEL L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, DANIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, DISMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, ERNESTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, EVANGELISTA   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, IRMA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, JOHN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, JUAN R.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, LINES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, LUIS D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, MARIA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, MARISABEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, PASCUAL E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, RAMON L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, REINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GARCIA, WINDY I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GAUDINO, MYRTA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GERENA, RAUL E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GERMAIN, MARTHA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GERMAIN, MARTHA H     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GIROT, MARELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GIROT, MARELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GOMEZ, BLANCA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GOMEZ, JORGE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GOMEZ, JOSEFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GOMEZ, MARILUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GOMEZ, SANDRA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, ANA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, ANA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, ANA W       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, BENNY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, CRUZ T      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, DAVID E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, EDDYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7088 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2089 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ GONZALEZ, EDNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, EDUARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, EDUARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, EDWIN O     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, ELIZABETH   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, EVELYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, GERARDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, GLENDALIS   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, HARRY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, HECTOR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, HECTOR J    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, ILEANA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, JOHANNA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, JORGE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, JORGE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, JOSE D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, JOSEFA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, JUAN F      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, JUAN F.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, JUDITH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, KEISHLA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, LUIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, LUIS A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, LUZ M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, MAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, MAIDA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, MARIA DE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
LOS A.
VELAZQUEZ GONZALEZ, MARIA DEL P REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, MARIA T     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, MYRNA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, OLGA I.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, OMAYRA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, OMAYRA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, ORLANDO     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, PEDRO J     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, RUTH V.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GONZALEZ, YOMARA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GOTAY, MARITERE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GRACIA, ELSIE JANETTE REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GRAU, JOSE ANGEL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GRAU, LYNNETTE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GUADALUPE, YARELIS    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GUADARRAMA, MIGUEL A REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GUTIERREZ, ANDRES     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GUTIERREZ, YAHIRA     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ GUZMAN, ALEX DOMINGO REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED




                                                                                                                                                               PAGE 7089 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2090 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ GUZMAN, ANGEL E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GUZMAN, CATALINO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GUZMAN, DARMARY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GUZMAN, ELIZABETH      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GUZMAN, JEANNY L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ GUZMAN, MADLYN I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HEREDIA, WILNELIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNADEZ, YARILLE M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNADEZ, YARILLE M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, ADA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, ADA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, ADA M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, AIDA L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, ANA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, BARBARA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, CARMEN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, CARMEN J    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, CHRISTIA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, DANIEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, DANIEL A    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, DANIEL A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, DELIA J     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, DENIRIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, EDWIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, ELIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, ELIA I      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ,             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
FUNDADORA
VELAZQUEZ HERNANDEZ, GRISEL      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, HECTOR      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, HERIBERTO   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, JORGE       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, JORGE L     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, JOSE L      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, JULIO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, MABEL       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, MARIA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, MARIA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, MARIA E     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, MARIA J     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, MARIA L.    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, MARITZA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, MAYRA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, MAYRA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, NELIDA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, NYDIA E     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, SANDRA I    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, URIEL       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, WANDA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7090 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2091 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ HERNANDEZ, YITZA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERNANDEZ, ZULMA E     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ HERRERA, JOSE L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ IRIZARRY, GILBERTO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ IRIZARRY, IRIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ IRIZARRY, JOSEFINA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ IRIZARRY, JULIANA L    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ IRIZARRY, LESBIA Z     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ IRIZARRY, LIZETTE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ IRIZARRY, MARITZA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ IRIZARRY, PATRICIA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ISAAC, JUDITH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ IZQUIERDO, JOSE R.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ JIMENEZ, ANDRES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ JIMENEZ, CARMEN ANA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ JIMENEZ, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ JIMENEZ, LUZ S         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ JIMENEZ, MANUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ JIMENEZ, RAMON L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ JR., LEANDRO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ JURADO, FRANCES A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LABOY, LUIS DANIEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LABOY, SANTA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LABOY, SANTA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LARACUENTE, DANIEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LASSALLE, JULIO C.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LASSALLE, WANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LASSALLE, ZAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LEBRON, FELIX DANIEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LEBRON, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LEBRON, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LEBRON, JOSE M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LEBRON, JUANITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LEBRON, LUZ            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LEBRON, RAMON L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LEON, ANA E.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LEON, XAYMARA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LEON, XAYMARA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LIND, JUANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LIZARDI, LEXIE G       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LIZASUAIN, SYLVETTE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, ARAMELIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, CARMEN D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, CARMEN V        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, CATALINO U      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, CHARLYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, DAPHNE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, ELBA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7091 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2092 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ LOPEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, GLADYS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, JANET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, JEANNETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, JOSE F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, JOSE F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, JOSE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, JOSE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, JOSEFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, JOSUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, LEONEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, LOURDES M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, MADELYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, MARTHA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, MARTHA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, NANETT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, NANETT ZOE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, NAYRAH M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, RAYMOND        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, VIRGINIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, WANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, YAHIZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOPEZ, YAHIZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOZADA, CARMEN G      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOZADA, DAMARIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOZADA, GREGORIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOZADA, IDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOZADA, JOSE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOZADA, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOZADA, LORIANNS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOZADA, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LOZADA, NILSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LUCENA, ARMINDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LUCIANO, CARMEN L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LUCIANO, JOSE R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LUCIANO, KEYLA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LUCIANO, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LUGO, CONCEPCION      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LUGO, CONCEPCION      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7092 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 2093 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ LUGO, EDNA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LUGO, ILEANA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LUGO, ILIANA E           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LUGO, MARIA DE LOS A     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LUGO, NILDA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LUGO, NOEMI              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LUYANDA, LEONOR          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ LUYANDA, LEONOR          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MADERA, AMADO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MADERA, DALY E           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MALDONADO, CARMEN        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MALDONADO, CECILIA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MALDONADO, EMMA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MALDONADO, EVA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MALDONADO, GLORIA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MALDONADO, HECTOR L      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MALDONADO, JORGE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MALDONADO, JOSE A        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MALDONADO, LUIS          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MALDONADO, LUIS C        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MALDONADO, MILADY        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MALDONADO, NORMA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MALDONADO, NORMA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MALDONADO, SANDRA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MALDONADO, SANDRA        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MALDONADO, TOMAS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MANANA, JOHANNES F       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MANZANO, RAFAEL E        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARCANO, ALEXANDRA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARCANO, IVAN A          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARCANO, NEREIDA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARQUEZ, BENJAMIN        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARQUEZ, MARIA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARRERO, CARLOS A        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARRERO, OMAYRA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, ALEXIS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, ANAIS M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, ANGEL D        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, CARMEN N       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, CARMEN N.      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, DORIS A.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, EDWIN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, ELIAS          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, ERIC G         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, EVA I          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, FELICITA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, FELICITA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, IRIS NANETTE   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, JOSE A         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 7093 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2094 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ MARTINEZ, JOSE R     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, JUAN R     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, LESBIA E.  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, LUIS A     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, MARIA L.   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, MARIA S    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, MARIA T    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, MARIA V    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, MARILU     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, MARILU     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, MARIO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, OSCAR      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, RUTH D     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, YADIRA     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, YESENIA    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MARTINEZ, ZAIDA      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MATEO, LILLIAN A     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MATEO, MILDRED       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MATIAS, EDWIN        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MATIAS, MAYLEEN      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MATOS, PEDRO S.      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MATOS, ROLANDO       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MATTEI, LIMARY       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MATTEI, MARIA E      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MATTOS, SARA         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MEDERO, JOSELYN      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MEDERO, JOSELYN      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MEDERO, JOSSIE J.    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MEDINA, ANTONIO      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MEDINA, EMILIA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MEDINA, EMILIA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MELENDEZ, ABIGAIL    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MELENDEZ, BRUNYMARIE REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MELENDEZ, CARMEN M   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MELENDEZ, JULIA      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MELENDEZ, MARIA      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MELENDEZ, MARIA      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MELENDEZ, MARIA A    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MELENDEZ, MILDRED    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MELENDEZ, SYLMAR     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MELENDEZ, VICLOUIS   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MENDEZ, CARLOS M     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MENDEZ, GLADYS       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MENDEZ, HUGO L.      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MENDEZ, JOSE A       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MENDEZ, LUIS         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MENDEZ, VICTOR       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MENDOZA, CARLOS M    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MERCADO, ANTONIO L   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7094 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 2095 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ MERCADO, BELIZABETH   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MERCADO, BELIZABETH   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MERCADO, DELIMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MERCADO, GERAMEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MERCADO, IRVING       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MERCADO, JAVIER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MERCADO, JULIMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MERCADO, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MERCADO, MARGARITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MERCADO, MARGARITA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MERCADO, ORLANDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MERCED, MARIELYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MILETE, WIDNY M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MILLAN, KAMYNIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MILLAN, MARIOTTI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MILLAN, MARIOTTI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MILLAN, WANDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MILLET, NORMA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MIRANDA, BRUNILDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MOJICA, ALBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MOJICA, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MOLINA, ANGIEBELL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MOLINA, IRIS N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MOLINA, KATIRIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MOLINA, MILDRED       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONCLOVA, JOSE A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONGE, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONGE, JOSE R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONGE, ROSALINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTALVO, AWILDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTALVO, ELISA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTALVO, IRVISON     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTALVO, JAVIER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTALVO, JUAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTALVO, NOANGEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTALVO, NOANGEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTALVO, NOANGEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTALVO, SHEILA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTANEZ, ALEXANDER   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTANEZ, EFRAIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTANEZ, JULIO C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTANEZ, JULIO C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTANEZ, RAFAEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTANEZ, SONIA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTANEZ, XAVIER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MONTIJO, JOHANNA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORA, ASHLEY M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, ALEIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, ALEIDA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7095 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ MORALES, ANGEL L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, ARTURO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, CARMEN Y      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELÁZQUEZ MORALES, CORALYS M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, DAYANARA M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, EDDIE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, ENEIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, GILBERTO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, JESMARY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, JESUS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, JESUS M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, JOSE M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, KARINA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, KATHERINE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, KATHIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, LUIS A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, LUZ E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ MORALES, MARIA DEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
CARMEN
VELAZQUEZ MORALES, MARIA LUISA   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORALES, MERE L        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORALES, MIGDALIA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORALES, MIRIAM I      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORALES, MORAIMA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORALES, MORAIMA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORALES, NANCY         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORALES, NELSON J      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORALES, NORA H        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORALES, ORLANDO I     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORALES, RAFAEL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORALES, SAMUEL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORALES, VALERIE       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORALES, YANIRA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORALES, ZILMA E       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORDES, GLENN          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORELL, LUIS A         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MORENO, LIDA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MULER, JESUANGEL       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MUNIZ, JOSUE           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MUNOZ, ADA C           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MUNOZ, ELIZABETH       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MUNOZ, LYDIA E         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ MUNOZ, MARIBEL         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ NARVAEZ, DANIEL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ NATAL, ARMANDO L.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ NAZARIO, AMILCAR       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ NAZARIO, MISAEL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ NEGRON, AUREA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7096 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2097 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ NEGRON, JUDITH         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NEGRON, JUDITH         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NEGRON, KAREN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NEGRON, ROSA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NEGRON, SANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NEGRON, ZULEYKA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NICOLINI, CARMEN A     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, ALEJANDRINA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, ANGEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, BENJAMIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, BLANCA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, CARMEN E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, ELIEZER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, EUGENIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, HILDA R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, JENNIFER M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, JENNIFFER      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, JENNIFFER M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, JOSUE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, LIZBETH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, LIZETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, LUIS A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, MELIZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, MERCEDES       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, MIGUEL A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, MIGUEL A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, MISAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, MISAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, OLGA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, PEDRO L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, ROBERTO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, ROSA A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, SAMUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVES, SONIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIEVEZ, ABNER          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ NIGAGLIONI, GLORIMABEL REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED

VELAZQUEZ NIGAGLIONI, ROMAN JR   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ NUNEZ, JORGE L.        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ NUNEZ, RUBEN           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ OCASIO, BENEDICTA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ OCASIO, CALIXTO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ OCASIO, GLORIA M       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ OCASIO, IVELISSE       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ OCASIO, LEONIDES       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ OCASIO, MARIA C        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ OCASIO, ROSALIA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ OCASIO, WILLIAM        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ O'FARRILL, LORNA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7097 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2098 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ OLIVERAS, GERARDO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ OQUENDO, BRENDA L.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ OQUENDO, BRENDA LIZ     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ OROZCO, MIOZOTIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ OROZCO, ORLANDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ OROZCO, ORLANDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTEGA, JULIO A.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, ANGEL G          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, ANTHONY JOEL     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, CARLOS J         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, ELIZABETH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, ELIZABETH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, ESPERANZA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, GLENDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, GREGORIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, ILEANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, ILEANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, ISRAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, IVELIZ           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, JOSE A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, KAYLA M.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, KIMBERLY S       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, LILLY MICHELLE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, LUZ M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, MARIA DE L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, MARIBEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, MIGDALIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, MIGUEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, MINERVA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, MINERVA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, NOEMI            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, REYNALDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, ROSA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, ROSALIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, VERONICA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, VILLANUEVA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, VIRGEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, WILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, WITHNA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, YAMELIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, YAMELIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ORTIZ, YARELYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ OSORIO, ALVIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ OSORIO, MARILENA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PABON, FERMARIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PACHECO, CARLOS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PACHECO, CARLOS M.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PACHECO, CRISTINA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PACHECO, JESUS A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7098 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2099 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ PACHECO, JORGE L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PACHECO, MIGUEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PACHECO, MIRNA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PACHECO, MYRNA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PACHECO, NILSA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PACHECO, VERONICA DEL   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
C.
VELAZQUEZ PADILLA, HECTOR         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PADILLA, JUAN A         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PADILLA, JUAN A.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PADILLA, LIZA M.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PADILLA, MARY CRUZ      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PADILLA, NANCY          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PADRO, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PAGAN, AILEEN           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PAGAN, AILEEN M         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PAGAN, ARAMINTA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PAGAN, CARLOS A         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PAGAN, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PAGAN, JOSE M           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PAGAN, NEFTALI          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PAGAN, ROSA M           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PAGAN, STEPHANIE        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PAGAN, WANDA I          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PAGAN, ZULMA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PALERMO, JESSICA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PALERMO, JESSICA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PAZ, RAUL O.            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PENA, GILBERTO          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PENA, ISABEL            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, ALEJANDRO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, AMELIA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, ANGEL J          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, AUREA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, BRENDA L.        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, CARMEN L         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, CASTO A          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, CLOTILDE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, DESIREE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, EDGARDO          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, ELBA IRIS        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, ERNESTO          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, FELIPE A         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, FRANCISCO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, GLORIA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, GLORIA E         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, HECTOR L         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, ISMAEL           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ PEREZ, JOSE A           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7099 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2100 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ PEREZ, JULIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PEREZ, KIARA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PEREZ, LUIS V          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PEREZ, LUIS V          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PEREZ, MAGALY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PEREZ, MIGUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PEREZ, MIGUEL A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PEREZ, NORMA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PEREZ, PABLO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PEREZ, PEDRO R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PEREZ, RAMON L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PEREZ, VICTOR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PEREZ, YARANID         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PIERANTONI, JOSE L     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PIERANTONI, LUIS M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PIERANTONI, MANUEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PIERANTONI, RAMON A    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PINA, DESIREE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PINA, ODALYS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PINEIRO, ANA I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PINEIRO, ANA I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PINOL, ALICIA A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PINOL, MARIA DEL MAR   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PINTO, DIANA A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PINTO, FERNANDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PIZARRO, ANGELICA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PIZARRO, FEDERICO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PIZARRO, GLORIMAR      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PIZARRO, GLORIMAR      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PIZARRO, JUAN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PIZARRO, NIULKA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ POLA, CAREL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ POLA, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ POLACO, YAMIL E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ POMALES, JOSE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PONS, MARISOL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ PORTALA, HECTOR M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ QUILES, ANA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ QUILES, ELI            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ QUILES, ELIEZER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ QUILES, MANUEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ QUINONE, GREGORIO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ QUINONES, ANGEL L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ QUINONES, ARACELIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ QUINONES, EDWIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ QUINONES, ELIZABETH    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ QUINONES, ELIZABETH    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ QUINONES, JEFFREY      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ QUINONES, WILFREDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7100 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2101 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ QUINONEZ, JOSE        REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ QUIRINDONGO, MARIA M. REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED

VELAZQUEZ QUIRINDONGO, MARIA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
MILAGROS
VELAZQUEZ RAMIREZ, CARLOS A.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMIREZ, FELIPE        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMIREZ, FELIPE DE J   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMIREZ, HILTON        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMIREZ, IVETTE        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMIREZ, JACQUELINE    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMIREZ, JACQUELINE    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, ANA G           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, ANGEL L         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, BIENVENIDO      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, BRUNILDA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, BRUNILDA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, EDNA            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, EFRAIN          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, ERIC O          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, ILUMINADA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, IRVING          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, IVAN A          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, JANET I         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, JAPHET          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, JOHANY          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, JOSE            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, JOSE J.         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, LIZBEL C        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, LOYDA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, LUIS N.         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, MAGALY          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, MAGDALYS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, MAYRA           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, PABLO           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, ROSA M          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, SAMUEL          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, SHEILA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, SHEILA I        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, SUSANA          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, WILLIAM G.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELÁZQUEZ RAMOS, WILLIAM G.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RAMOS, YAMILCA M.      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RANDOLPH, STEVEN       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RECHANI, EDNA F.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RECHANI, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RECHANI, MARISOL       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ RECHANI, RUTH          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ REMIGIO, SOCORRO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7101 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2102 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ RESTO, JHONEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ REYES, EMMANUEL O     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ REYES, ERMMIS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ REYES, GLENDALYZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ REYES, GLENDALYZ      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ REYES, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ REYES, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ REYES, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ REYES, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ REYES, ROBERTO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ REYES, ROBERTO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIOS, JUAN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIOS, SHADITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, ALCIDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, AMY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, AMY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, ARLENE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, ARLENE L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, AWILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, BENJAMIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, BETZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, BRUNILDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, CARMEN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, CARMEN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, DAISY J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, DARIZ J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, EDGAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, EDWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, EDWIN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, EDWIN O       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, ELIANA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, ELIEZER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, EVARISTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, FELIX J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, GABRIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, GERALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, GERAMEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, GILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, GILBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, HECTOR R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, HERIBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, HERIBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, HIRAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, IDALYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7102 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2103 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ RIVERA, JANET           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, JOAQUIN J.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, JOHANNA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, JOHNNY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, JORGE L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, JOSE L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, JOSEFINA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, JUANITA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, JULIAN A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, JULIO A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, LAYLA N         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, LISSY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, LORRAINE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, LOURDES         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, LOURDES         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, LUCILA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, LUIS A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, LUIS A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, LUIS A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, LUIS E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, MAGDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, MAGDA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, MAIRIM D        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, MAIRIM D        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, MARIBEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, MARIBEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, MARIBEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, MARIBEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, MARIBEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, MARILYN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, MARISOL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, MARITZA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, MATILDE M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, MIGDALIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, MILCA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, NAOMY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, NEELKA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, NEELKA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, NEREIDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, NOEMI           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, PATRICIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, RAQUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, REBECCA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, REBECCA F       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, ROBERTO CARLO   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, ROSA E          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, SANDRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, SHELL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, SOLMARY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7103 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2104 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ RIVERA, SONIA I.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, SONIA I.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, SONIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, TERESITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, YANIRIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, YANIRIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, YARA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, YELITZA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RIVERA, ZORAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROBINSON, NATALIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROBLEDO, LETICIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, AIDA E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, ANA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, ANA H       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, ANGEL M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, ARCADIO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, AUDALINA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, BEATRIZ     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, BETSINDA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, BEVERLY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, BEVERLY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, BOLIVAR     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, CARLOS D.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, CARLOS E    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, CARMEN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, DARYSABEL   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, DIGNA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, ELISA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, FELIX       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, FLORIBEL    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, FLORIBEL    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, GILBERTO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, GLENDA I    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, HAROLD L    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, HIRAM       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, IVANY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, IVETTE L    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, JAIME       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, JEDSENIA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, JENNIFER    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, JOEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, JORGE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, JORGE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, JORGE L     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, JORGE L.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, JORGE W     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, JOSE A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, JOSE A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, JOSE L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7104 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2105 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ RODRIGUEZ, JOSE M.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, JOSE W      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, JUAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, LAIZAN Y    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, LISA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, LUIS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, LUIS A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, LUIS E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, LUZ E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, MAGDA I     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, MARIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, MARIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, MARIAN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, MARIBEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, MIGUEL A.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, MIRIAM      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, NEREIDA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, NILDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, OBDULIA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, OSCAR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, PEDRO J     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, RAFAEL J    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, RIGOBERTO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, ROSA M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, ROXANNE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, RUBEN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, SILMA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, SUGEILY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, SUGEILY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, URSULA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, VALERIE E   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, VANESSA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, VELL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, VILMARIE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, WANDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, WANDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, WILMARIE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RODRIGUEZ, YAMARIS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROJAS, GLADYS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROLDAN, JUAN P         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROLDAN, WILSON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROMAN, AGUSTIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROMAN, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROMAN, CARMEN L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROMAN, DANIEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROMAN, JAIME R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROMAN, JESUS M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROMAN, JESUS M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROMAN, JORGE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7105 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2106 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ ROMAN, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROMAN, JOSE ALBERTO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROMAN, LYDIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROMAN, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROMAN, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROMAN, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROMAN, YANIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROMERO, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROMERO, FRANCES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RONDON, IRIS L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROQUE, MILCARELI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROQUE, YARELI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSA, AXEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSA, CARLOS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSA, FREDDIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSA, GUMERSINDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSA, HECTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSA, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSA, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSA, SANDRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSADO, ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSADO, ANGEL J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSADO, FLORITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSADO, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSADO, MARILUZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSADO, MELANIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSADO, MIGDALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSADO, MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSADO, RAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSARIO, BEIMARIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSARIO, JAVIER       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSARIO, JOHANNA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSARIO, LAWRENCE K   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSARIO, MAYRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSARIO, NYDIA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSARIO, SANTY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSARIO, SHAMIR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ROSARIO, YARIRA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RUIZ, ADAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RUIZ, ADAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RUIZ, ANIBAL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RUIZ, EDNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RUIZ, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RUIZ, INGRID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RUIZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RUIZ, JOSE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RUIZ, JOSEPH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RUIZ, VIRGINIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ RUPERTO, NATIVIDAD    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7106 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2107 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ SABALA, VIRGINIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SABATHIE, MARTA F       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SALAZAR, JESSICA M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SALAZAR, JESSICA M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SALICRUP, MARIA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SALINAS, HECTOR L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SAN JUAN, LIZVETTE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANABRIA, ANATALIO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANABRIA, DANIEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANABRIA, DIALMA I      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANABRIA, MILDRED       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANABRIA, MILDRED       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANABRIA, WILLIE O      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANCHEZ, ALDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANCHEZ, ALEXANDRA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANCHEZ, DANNARIE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANCHEZ, EDGARDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANCHEZ, ELVIRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANCHEZ, JOSE L.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANCHEZ, MIGUEL A       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANCHEZ, MIGUEL A.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANCHEZ, ORLANDO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANCHEZ, SONIA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTANA, LUZ N          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTANA, WINDALIZ       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, ALFREDO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, ALONDRA M     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, ANA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, BRENDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, CARMEN N      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, CHRISTOPHER   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, DANA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, EDGARDO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, EDIBERTO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, EDUARDO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, EDURADO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, ELIDIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, ELIZABETH     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, ELIZABETH     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, ELSA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, ERNESTO J     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, EVELYN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, HECTOR L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, IRMA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, IRMA R        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, JEAN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, JOSE A.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, JOSE L.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, JOSE R        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7107 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2108 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ SANTIAGO, JOSE R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, JOSE R.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, JUAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, JULIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, KARICHA N   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, LUIS A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, LUZ A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, LYDIA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, MALEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, MALEN J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, MARIA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, MARILYN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, MARILYN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, MARTA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, MAXIMINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, MAXIMINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, MIGUEL A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, NANCY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, NARDA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, NELS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, NELSON      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, OBDULIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, OLGA E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, OLMARIELI   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, PEDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, PEDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ROBERTO
VELAZQUEZ SANTIAGO, RICHARD     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, RICHARD     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, RICHARD     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, RUBEN       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, SUREII      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, WANDA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, WANDA E     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, WANDA E     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, WILMA I     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO, YARILL      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTIAGO,ERNESTO      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTOS, JUAN C        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTOS, LYDIA M       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTOS, ONEIDA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTOS, RAMDY         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTOS, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTOS, YESENIA I     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTOS, YULIRIS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SANTOS, YULIRIS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SEDA, VON M           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ SEGARRA, DORIS        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7108 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2109 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ SEGARRA, JOSE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SEMIDEY, AIDA L         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SEPULVEDA, LUIS E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SEPULVEDA, RAFAEL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SERRANO, ANDRES         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SERRANO, ANGEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SERRANO, CECILIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SERRANO, CECILIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SERRANO, ELIAS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SERRANO, GLADYS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SERRANO, MODESTA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SERRANO, MODESTA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SERRANO, RAFAEL YAMIL   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SERRANO, WILSON         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SIERRA, ALEXIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SIERRA, GLADYS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SIERRA, RAYMER J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SILVA, FRANCISCO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOLER, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOLER, LUIS F           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, ANA L             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, CARMEN I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, CLARIVEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, DAVID             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, DELMARY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, EDWIN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, ELIZABETH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, EMMARIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, GLADYS A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, IRENE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, IRIS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, IRIS A            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, IRIS Y            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, IRMA R            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, JAILINE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, JORGE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, JULIO C           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, MABELINE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, MARIA DEL S       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, MIGUEL A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, MYRNA D           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, ORLANDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, PABLO             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, RICARDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, SANDRA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOTO, SANDRA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOUCHET, EVA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SOUCHET, NYDIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ SUREN, LYDIA O          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7109 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2110 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ SUREN, ROSA E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TAPIA, NICOLAS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TARDI, RICARDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TARDI, RICARDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TEXIDOR, ERICA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TILO, ELBA Y            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TIRADO, ADALBERTO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TIRADO, CARMEN J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TOLEDO, YADIRA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TOLENTINO, EMILIA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TOLENTINO, IVETTE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, ALEXANDR        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, ARMANDO L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, CARMEN M.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, CARMEN N        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, CATHERINE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, CATHERINE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, DAMARIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, DARIANNA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, EDGARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, EDGARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, EDNANDRA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, EDWIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, ELIZABETH       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, EVA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, GERSON          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, GIOVANNA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, GIOVANNA M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, GLADYS ESTHER   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, HECTOR L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, IVAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, JORGE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, JOSE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, LIBERTAD        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, LIBERTAD        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, LILIANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, LILLIAM         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, LILLIANA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, LUIS D.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, LUZ E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, LYDIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, MAGALLY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, MAGALLY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, MAGALLY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, MARCOS A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, MARIA DEL C     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, MARIA V         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, MARILYN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, MARISEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7110 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2111 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ TORRES, MARJORIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, MARLINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, MASSIEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, MIGUEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, MILAGROS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, MILDRED         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, MINERVA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, NORMAN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, PASCUAL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, RAMON           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, RAUL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, ROMER           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, SOLMARIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, VERONICA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, VERONICA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, WILBERTO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRES, WILLIAM DAVID   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRUELLA, ILIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRUELLA, RICARDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TORRUELLAS, MARTA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TRINIDAD, MARA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TRINIDAD, MARA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TRINIDAD, RONNY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TRINIDAD, SANDRA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ TROCHE, BEATRIZ         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ UBINA, BETZAIDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ UMANA, DAYSI M.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VALCARCEL, MARIANITA    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VALDES, TERESA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VALENTIN, ANGELA D      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VALENTIN, GUSTAVO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VALENTIN, LYMARI E.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VALENTIN, MARIA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VALENTIN, OLGA C        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VALLE, CARMEN M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VALLE, DARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VALLE, VILMARIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VARCARCE, GERALDO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VARGAS, ANA R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VARGAS, ESPERANZA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VARGAS, FRANCISCO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VARGAS, GRISEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VARGAS, HEYLEN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VARGAS, ISABEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VARGAS, JOSE A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VARGAS, LUIS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VARGAS, MARA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VARGAS, MARGARITA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VARGAS, MERCEDES        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7111 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2112 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ VARGAS, RAMONA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VARGAZ, DOLORES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, ANA T         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, BRAULIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, CARMEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, CARMEN G      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, CARMEN M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, CARMEN M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, CASTA S       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, DARLEEN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, DIGNA M.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, GILBERTO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, IVELISSE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, JANECE A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, JAYLINE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, JORGE I.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, JOSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, JUANITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, MERIANGELLY   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, RIXA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VAZQUEZ, ROBERTO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, ANGEL L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, ANGEL L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, ANIBAL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, CARLOS J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, CARMEN I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, EASLIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, EASLIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, ERIKA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, EVELYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, GLADYS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, GRISELLE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, GRISELLE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, ILIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, IRMA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, JOSE A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, JUNIANNIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, RICHARD          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, SENEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, SUHEY M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VEGA, ZULEIKA J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, ALBERTO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, ALFREDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, AMARILIS    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, AMERICO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, ANA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, ANA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7112 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2113 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ VELAZQUEZ, ANA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, ANGEL R     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, BETZAIDA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, CARMEN Y    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, CLARITZA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, DANIEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, DAVID       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, DELIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, EDGARDO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, EDWIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, EDWIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, EDWIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, EDWIN N     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, EILEEN F    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, ELIZABETH   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, FIDELINA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, GLADYS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, GLORIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, GLORIA E    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, HERNAN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, HUMBERTO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, JACKELINE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, JOSE A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, JOSE M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, JOSE R      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, JUAN DE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
DIOS
VELAZQUEZ VELAZQUEZ, JUANITA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, JUANITA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, LIZ         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, LIZ V       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, LIZVEL      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, LIZVEL      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, LUIS        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, LUIS J.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, LUIS M      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, LUISA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, LUZ E       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, LYSANDRA    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, MARGARITA   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, MARILIZ     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, MIGUEL A    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, MIGUELINA   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, MIRIAM      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, NELLY       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, NEREIDA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, NEREIDA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, RAUL I      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, RAUL I      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7113 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2114 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ VELAZQUEZ, SANDRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, SAUL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, WILLYSON   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, YAHAIRA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELAZQUEZ, ZULEYKA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELEZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELEZ, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELEZ, DEBORAH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELEZ, HENRY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELEZ, ISAMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELEZ, LILLIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELEZ, MARIANGIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELEZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELEZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELEZ, RUTH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELEZ, SALVADOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELEZ, SALVADOR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELEZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VELLON, JADIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VENTURA, JANIRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VERA, AIDA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VERA, AIDA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VERA, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VERA, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VERA, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VERA, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VERA, GERARDO L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VERA, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VERA, SANTIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VICENTE, LIMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VICENTE, LIMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VILA, ARELIS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VILELLA, EMILIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VILLANUEVA, LAURA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VILLARES, JUAN JOSE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VILLEGA, RAQUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VILLEGAS, ISMAEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VILLEGAS, OMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VILLEGAS, VICTOR M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VINAS, LUZ N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VINCHIRA, DIANA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VINCHIRA, DIANA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VIVES, CARMEN R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ VIVES, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ WEBB, GINA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ WEBB, JOSEPH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ YAMBO, JOSEPHINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ZABALA, JESNID        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ZANABRIA, ALEJANDRO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7114 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2115 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELAZQUEZ ZARATE, EDIL G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ZARATE, EDIL G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ZAYAS, ANA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ZAYAS, ANA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ZAYAS, ISMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ZAYAS, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ZAYAS, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ ZENQUIZ, WILLIAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, ANGEL M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, BUENAVENTURA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, CARMEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, CARMEN M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, CRUZ                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, EETIS A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, ERNESTO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, EUNICE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, IVETTE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, JAIME                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, JOHN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, JOSE L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, JOSE M.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, LUIS A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, MAGDALENA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, MARCOS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, MARCOS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, MARIA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, MARIA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, MELITZA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, MYRIAM S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, NILSA C.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, RUBEN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ, SUGEILY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ,LUIS R.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZACOSTA, LUZ N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZ‐APONTE, JOSE G.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZCRUZ, JOSE F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZDEJESUS, SANTIAGO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZMERCADO, NORMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZMOJICA, CANDIDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZNIEVES, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZROSA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZTORRES, ALIPIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZTOSADO, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZVARGAS, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUEZVAZQUEZ, CARMEN R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUUEZ MELENDEZ, CARMEN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUUEZ TRIDI, FABIOLA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELAZQUZ PINOL, MARIA DEL MAR   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELES BLAS, DORIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7115 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2116 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELES COLON, VIVIAN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ., JANIRA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ABAD, SHEILA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ABADIA, JANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ABRAMS, ANA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ABREU, OSCAR L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, ALFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, GLORIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, GRENDALIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, GUSTAVO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, HOGLAS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, HOGLAS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, JOSELITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, KEISA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, KEISHLA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, KEISHLA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, LUZ              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, LUZ E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, LUZ M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, MAGDALENO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, OMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, ROLANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, UBALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, VERONICA N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACEVEDO, ZAIDA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACOSTA, ADA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACOSTA, CARMELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACOSTA, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACOSTA, LELIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACOSTA, MILTON M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ACOSTA, MIRCA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ADAMES, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ADAMES, CARMEN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ADAMES, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ADORNO, CALIXTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ADORNO, LUISA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AFANADOR, DAVIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AFANADOR, DAVIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AGOSTO, HOLVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AGOSTO, HOLVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AGOSTO, JUANITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AGOSTO, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AGUILA, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AGUILAR, MILDRED          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7116 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2117 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ AGUILAR, MILDRED J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AGUILAR, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AGUILAR, YAMIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALAMO, MORAIMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALBARRAN, ELVIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALBARRAN, RAMONITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALBINO, EDWINEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALBINO, JOANIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALBINO, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALBINO, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALCAIDE, MARIEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALDAHONDO, TANIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALEJANDRO, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALEMAN, JOSE H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALEMAN, NAHIR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALEMAN, PABLO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALEMAN, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, ALEXIS O          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, ANGEL R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, CARMEN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, IRMA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, KEISHLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, MONICA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, ORVIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, STEPHANIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, YIHSRAEL Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALICEA, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALOMAR, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALVARADO, MARIANELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALVARADO, SUSAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALVAREZ, HECTOR M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALVAREZ, JESSYBETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALVAREZ, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALVAREZ, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALVAREZ, JORGE E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALVAREZ, JORGE E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALVAREZ, LILIAN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALVAREZ, LIZBETH O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALVAREZ, MARGARITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALVAREZ, MARIELI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALVAREZ, MARTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALVAREZ, MAYRA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7117 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2118 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ ALVAREZ, SULIBETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ALVELO, EDIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ANDREW, DIMARY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ANDUJAR, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ANDUJAR, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ANDUJAR, KATHERINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ANDUJAR, LUZ N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ANDUJAR, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ANDUJAR, WILNA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ANTONGIORGI, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ANTUNA, HAROLD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ANTUNA, HAROLD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ANTUNA, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ANTUNA, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ APONTE, JANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ APONTE, JANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ APONTE, JANETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ APONTE, MARANGELLY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ APONTE, PASCUAL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ APONTE, RUTH V.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ APONTE, SONIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AQUINO, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARCE, ALEXIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARCE, ALEXIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARCE, DERRICK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARCE, ELBA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARCE, ORLANDO S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARCE, WANDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARENAS, SALVADOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARES, JUANITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARES, JUANITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARIAS, DAVID F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARIAS, JANETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARIAS, MARIA DEL MAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARIAS, VILMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARIAS, VILMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VÉLEZ ARNALDO, HERNÁNDEZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AROCHO, ANA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AROCHO, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AROCHO, CYNTHIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AROCHO, CYNTHIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AROCHO, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AROCHO, GERALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AROCHO, JAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AROCHO, MARIA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AROCHO, NATALY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARROYO, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARROYO, EITOWN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARROYO, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7118 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2119 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ ARROYO, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARROYO, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARROYO, JOSEPHINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARROYO, JUAN C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARROYO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARROYO, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARROYO, MODESTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARROYO, VIDALINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARROYO, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARROYO, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARROYO, WILLIAM A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARROYO, YARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARROYO, YARITZA N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARROYO, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ARZOLA, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ATRESINO, ANGEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ATRESINO, LUZ E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AUGUSTO, JAIME R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AVILA, EMMA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AVILA, YADIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AVILES, BETZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AVILES, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AVILES, JOESED RAUL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AVILES, MARCOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AVILES, ROSA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AYALA, EMILIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AYALA, EUGENIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AYALA, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AYALA, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AYALA, JUAN M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AYALA, JULIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AYALA, NORMAN N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AYALA, RAFAEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AYALA, RUBEN E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ AYALA,RAFAEL A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BADILLO, CARLOS D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BADILLO, CARLOS D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BADILLO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BADILLO, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BADILLO, FRANCISCO H      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BADILLO, JESSICAMIR       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BADILLO, RAMONITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAERGA, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAERGA, JUAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAERGA, LESLIE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAERGA, LESLIE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAERGA, PEDRO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAEZ, ABDON A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAEZ, BRUNILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7119 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2120 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ BAEZ, DUHAMEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAEZ, EDDA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAEZ, EDDA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAEZ, ENID                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAEZ, ERIC N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAEZ, ERIC N.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAEZ, ISMAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAEZ, JULIO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAEZ, MARCIAL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAEZ, MIGDALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAEZ, MIGDALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAEZ, WANDA E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BALLESTER, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BALLESTER, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BARBOSA, MIRTA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAREA, ARSENIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BARRADAS, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BARRETO, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BARRETO, ESTHER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BARRETO, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BARRETO, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BARTOLOMEI, VICTOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BARTOMEI, JOSE G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BATTISTINI, YADIR H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAUZA, LOURDES M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BAYRON, VIRGINIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BELTRAN, DORIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BELTRAN, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BELTRAN, MARIE I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BELTRAN, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BELVIS, JUAN F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BENITEZ, EDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BERDECIA, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BERDECIA, CARMEN L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BERGOLLO, GRICELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BERMUDEZ, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BERMUDEZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BERMUDEZ, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BERMUDEZ, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BERNARD, EDWARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BERNARD, RAYMOND          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BERNARD, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BERNARD, ROBERTO J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BERRIOS, EILEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BERRIOS, EILEEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BERRIOS, EILEEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BERRIOS, JOSE O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BETANCOURT, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BIANCHI, OLGA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7120 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2121 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ BLAY, PABLO J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BOADA, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BOADA, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BOBE, SHIRLEY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BOBE, SHIRLEY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONANO, JESSENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONANO, JESSENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONET, DALLY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONET, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONILLA, ALBA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONILLA, ALEXANDER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONILLA, BLANCA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONILLA, BLANCA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONILLA, CARMEN M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONILLA, GEORGINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONILLA, GILBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONILLA, JOSE C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONILLA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONILLA, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONILLA, MARTA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONILLA, MARTA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BONILLA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BORGES, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BORRAS, CARMEN RITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BORRERO, LUIS D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BRACERO, GERA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BRACERO, GERA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BRAVO, YVONNE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BRIGANTTI, KEVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BRUNO, MIGUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BURGOS, DORA H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BURGOS, JESSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BURGOS, JOEY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BURGOS, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BURGOS, LESLIEC.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BURGOS, LINDA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BURGOS, MARYANN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BURGOS, OLVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BURGOS, TATIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BURGOS, VICTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BURR, AMBER L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ BUTLER, DEBORAH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CABA, WANDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CABAN, GIOVANNI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CABAN, JOSUE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CABANAS, ANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CABANAS, JOSE F           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CABRERA, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CABRERA, VALERIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7121 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2122 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ CACHO, MYRNA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CAJIGAS, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CALDER, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CALDERON, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CALDERON, CECILIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CALDERON, EDGAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CALDERON, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CALDERON, JANET           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CALDERON, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CALDERON, LUIS V.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CALDERON, MARIA SOFIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CALDERON, NEFTALI J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CALDERON, RAFAEL H.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CALIZ, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CALZADA, EVA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CAMACHO, ARLENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CAMACHO, BENJAMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CAMACHO, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CAMACHO, DIANA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CAMACHO, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CAMACHO, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CAMACHO, MONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CAMACHO, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CAMACHO, NICK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CAMACHO, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CAMACHO, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CAMACHO, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANABAL, ELBA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANALES, A. THERESA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANCEL, AGUSTIN A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANCEL, EDISON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANCEL, GEOVANY R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANCEL, JUAN ANTONIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANCEL, MARIOLA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANCEL, NORMAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANCEL, RAMONA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANDELARIA, LUIS G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANDELARIA, MARIA C.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANDELARIO, ADAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANDELARIO, BRUNILDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANDELARIO, CESAR A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANDELARIO, HARRY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANDELARIO, HARRY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANDELARIO, MARIA F       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANDELARIO, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANDELARIO, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANDELARIO, MARISOL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CANTRES, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CAQUIAS, YVONEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2123 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ CAQUIAS, YVONNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARABALLO, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARABALLO, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARABALLO, ELSIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARABALLO, ELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARABALLO, EMMANUEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARABALLO, GLADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARABALLO, IRIS N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARABALLO, IVAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARABALLO, JORGE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARABALLO, JOSE N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARABALLO, MARIA ELENA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARABALLO, MARYLUZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARABALLO, OTONIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARABALLO, ROSEMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARABALLO, WILLIAM A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARDEC, ANGEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARDONA, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARDONA, AIDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARDONA, AIXADEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARDONA, BARBARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARDONA, DAIHANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARDONA, EVA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARDONA, EVELISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARDONA, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARDONA, LAURA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARDONA, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARDONA, SALVADOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARDONA, WALESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARDONA, YOLANDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARLO, KARELY M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARMONA, GLORIVEE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARRASQUIILLO, IVAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARRASQUILLO, ANGEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARRASQUILLO, CARLOS D    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARRASQUILLO, DEBORAH A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARRASQUILLO, GLADYS M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARRASQUILLO, HECTOR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARRASQUILLO, HECTOR I.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARRERO, SANDRA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARRION, JORGE I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARRION, JULIE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CARRION, ZULMA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASANOVA, MARIA DEL P     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASANOVA, REYNALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASIANO, DORIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASIANO, ELSIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASIANO, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTILLO, EVELYN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7123 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2124 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ CASTILLO, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTILLO, JOAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTILLO, JOAN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTILLO, KENNETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, CRISTIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, CRISTIAN O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, DAYANARALIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, EGUY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, EUGENIO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, EULALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, JOSE F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, MARIA DE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, MARIA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, MYRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, MYRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, MYRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, NAYDA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, NAYDA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, NORAYDEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, YAJAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, YANITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, ZAHIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CASTRO, ZAHIRA L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CEPEDA, DIANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CERVANTES, DOUGLAS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CERVANTES, RAMON A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CERVANTES, RANFI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CHACON, KRISTINA G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CHETRANGOLO, ODRA Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CHEVERE, NATIVIDAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CHEVEREZ, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CHICO, GLORIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CINTRON, BERNICE E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CINTRON, BERNICE E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CINTRON, EDNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CINTRON, EDNA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CINTRON, JENNY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CIURO, AIDA L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CIURO, ENRIQUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CLASS, CARLOS I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CLASS, JARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CLASS, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CLASS, MARTIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7124 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2125 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ CLAUDIO, DENNISSE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CLAUDIO, HILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CLAUDIO, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CLAVIJO, CRUZ A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CLAVIJO, SYLVIA S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CLEMENTE, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CLEMENTE, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COCEPCION, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLADO, BORGES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLADO, NORBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLAZO, ANGEL G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLAZO, EDWIN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLAZO, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLAZO, KATIRIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLAZO, KATIRIA L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLAZO, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLAZO, MARIA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLAZO, MARIBELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLAZO, SIGMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLAZO, SIGMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLAZO, WALDO S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLAZO, YALIGSI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLAZO, ZULEYMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLAZO, ZULEYMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLLAZO, ZULEYMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, DAISY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, DAYANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, EDIVIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, EDVIN O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, GILBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, GISELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, GRACE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, ISRAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, JEANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, JENIFFER M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, JENIFFER M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, JESSICA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, JESUS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, JORGE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, JOSE CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, JOSE R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, KAREN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, LAURA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, MARIA DE LOS A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, MARILYN DEL C.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, MARIO R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, MARIO R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, MARNIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7125 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2126 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ COLON, MYRNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, NAYDA F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, NAYDA F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, ULISES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, VIVIAN L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, ZAIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COLON, ZAIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CONCEPCION, ELIUT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CONCEPCION, LISSETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CONCEPCION, LISSETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CONCEPCION, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CONCEPCION, MARIA T       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CONCEPCION, NITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CONDE, ARNALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORDERO, ANA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORDERO, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORDERO, CARLOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORDERO, DANIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORDERO, HELLEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORDERO, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORDERO, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORDERO, MARICELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORDERO, MARICELY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COREANO, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORIANO, JANET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORIANO, JANET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORIANO, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORIANO, SOPHY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORNIER, MARTA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORREA, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORREA, DANIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORREA, EDGAR R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORREA, ISABEL M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORREA, JULIO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORREA, LAURA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORREA, ROSA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORREA, ROSA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORTES, ALEX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORTES, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORTES, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORTES, ILDA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORTES, JUAN L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORTES, LUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORTES, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORTES, NEFTALI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORTES, RAFAELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CORTEZ, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ COSME, BRIGIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7126 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2127 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ COSME, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ COTTE, WALDEMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ COTTO, CARMEN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ COTTO, NORMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ COTTO, RAMONITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ COURT, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CQRREA, ERNESTO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRESPO, ADA C             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRESPO, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRESPO, ELSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRESPO, ELSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRESPO, FELIX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRESPO, JACKELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRESPO, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRESPO, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRESPO, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRESPO, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRESPO, RAUL E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRESPO, RENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, ANDRES              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, ANGEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, ANGELES M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, ANIBAL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, ARACELIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, ARYSMICHELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, AXEL J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, CARLOS ALBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, CARLOS F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, CECILIA J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, CONSUELO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, DAISY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, DAMIAN E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, DORIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, EDNA D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, ELISA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, EPIFANIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, FELIX               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, FERMIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, GERTRUDIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, GUILLERMO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, JACQUELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, JACQUELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, JOSE M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, LEISA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ CRUZ, MARIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 7127 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2128 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ CRUZ, MIGUEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, NELIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, NIZA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, NORMA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, PILAR DEL R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, RAMONITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, ROSA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, RUBEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, RUBEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, SALVADOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, SAMUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, SONIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, TANIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, TANIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, VICTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, YARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, ZAIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CRUZ, ZULMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CUADRADO, GILBERT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CUBA, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CUBERO, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CUBERO, TANAIRI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CUEBAS, MARCELINO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CUEVAS, DEBORAH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CUEVAS, ELIDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CUEVAS, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CUEVAS, MARIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CUEVAS, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CUEVAS, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CUEVAS, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CUMBA, FABIOLA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CURBELO, JUAN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CUSTODIO, MILADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CUSTODIO, MILADYS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ CUSTODIO, SHAROL N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DAMIANI, SONNY L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DASTA, ISMAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DAVILA, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DAVILA, ITZAMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DAVILA, MILKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DAVILA, ROGEL R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DAVILA, SONETCHKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DAVILA, YANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE ARMAS, ABRAHAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE ARROYO, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE CORDERO, ANGELES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE GRACIA, AUREA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE GRACIA, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7128 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2129 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ DE GRACIA, WILFREDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE JESUS, ENELIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE JESUS, HECTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE JESUS, JAQUELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE JESUS, JULIO C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE JESUS, JULIO C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE JESUS, MARIANGELY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE JESUS, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE JESUS, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE JESUS, STEPHANIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE JESUS, THELMA B        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE LA ROSA, HAYDEE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE LA ROSA, SALVADOR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE LA TORRE, EMILIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE LEON, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE LEON, ELSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE LEON, ELSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE LEON, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE LEON, MIRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE PADUA, ROSA MARIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE PEREZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE PEREZ, HAYDEE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DE RIVERA, LUISA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DEJESUS, NATALIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DEL RIO, LUIS O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DEL RIO, LUIS O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DEL TORO, CRISTINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DEL TORO, SILVANO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DEL VALLE, LETTY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DELGADO, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DELGADO, JANISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DELGADO, JANISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DELGADO, JENNETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DELGADO, MARIA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DELGADO, PAULINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DELGADO, PAULINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DELGADO, SONIA N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DELGADO, YOLANDA E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DENIZARD, ANA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DENIZARD, ANA Y.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DETRES, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DEZARDEN, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, ADALBERTO I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, AMARILIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, AMELIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, ANGEL L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, ANGEL X             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, ANTONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, CARLOS I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7129 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                    Schedule E3 Page 2130 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELEZ DIAZ, CARLOS I.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, CRISTIAN J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, ERICCA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, FLOR                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, GILDA L              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, IDEL O               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, JAVIER               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, JENNIFER             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, JUANITA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, LUZ I                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, MABELISE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, MABELISE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, MARITZA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, NANCY                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, NATALIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, RAFAEL               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, RAFAEL               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, RAMON L              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, ROMUALDO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, SAMUEL               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, SHAIRA M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, VIDAL                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DIAZ, ZULMARIE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DOBLE, LUZ M.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DOMENA, JOSE A             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DOMENECH, LORIE A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DUENO, AILEEN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DUENO, AILEEN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DUENO, CARLOS R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DUQUE, RAFAEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DUQUE, RAFAEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ DURAN, NEREIDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ECHEVARIA,RAFAEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ECHEVARRIA, ANGEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ECHEVARRIA, FRANKIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ECHEVARRIA, HIRAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ECHEVARRIA, JEAN D.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ECHEVARRIA, JENIFFER       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ECHEVARRIA, MARIA DEL C    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ECHEVARRIA, NORIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ECHEVARRIA, RAFAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ELLIN, LUIS R              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ESCALERA, JOSE M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ESCOBALES, MARIA DE LOU    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ESCOBALES, MARIA DE LOUR   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ESCOBALES, MARIBEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ESPINOSA, HILDA D          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ESPINOSA, HILDA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ESPINOSA, HILDA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7130 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2131 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELEZ ESPINOSA, JUAN R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ESQUILIN, HECTOR M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ESTRADA, YARITZA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ESTRADA, YARITZA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ESTREMERA, HECTOR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FARIA, ALLEN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FARIA, ELIUT               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FARIA, JOSE M.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FARIA, NYDIA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FARINACCI, AMANDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FEBLES, RICARDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FEBUS, LUIS                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FELICIANO, DAVID           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FELICIANO, ENEIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FELICIANO, ENEIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FELICIANO, HECTOR O        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FELICIANO, HECTOR O        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FELICIANO, IRVING E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FELICIANO, JIMMIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FELICIANO, SANDRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FELICIANO, WALTER JAVIER   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FELICIANO, WILFREDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FERNANDEZ, BETTY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FERNANDEZ, DAMARIS I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FERNANDEZ, EFRAIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FERNANDEZ, JOSE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FERNANDEZ, JOSE L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FERNANDEZ, JOSE L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FERNANDEZ, ROSA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FERRER, AMPARO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FERRER, ANGEL L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FERRER, ANGEL L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FERRER, NELSON             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FERRER, ROBERTO E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FERRER, SYLVIA Y           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FIGUEROA, ABRAHAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FIGUEROA, ANGEL L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FIGUEROA, ASHLEY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FIGUEROA, CARLOS E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FIGUEROA, CHRISTIAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FIGUEROA, FRANCES          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FIGUEROA, FRANCESCA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FIGUEROA, FRANCISCO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FIGUEROA, JOSE A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FIGUEROA, JOSE L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FIGUEROA, JOSHUA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FIGUEROA, LINETTE M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FIGUEROA, LIZA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ FIGUEROA, LIZA M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7131 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2132 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ FIGUEROA, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FIGUEROA, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FIGUEROA, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FIGUEROA, LYDIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FIGUEROA, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FIGUEROA, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FIGUEROA, NILSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FIGUEROA, NILSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FIGUEROA, SAMAYRI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FIGUEROA, TANIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FIGUEROA, YADIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FIGUEROA, YADIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FIGUEROA, YELITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FILIBERTY, HENRY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FLAQUER, JOSE H           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FLORES, ARCADIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FLORES, EDISON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FLORES, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FLORES, JANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FLORES, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FLORES, JOSE LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FLORES, JUDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FLORES, MICHELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FLORES, NYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FLORES, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FLORES, SALVADOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FLORES, WANDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FLORES, WANDA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FLORES, YANZELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FONSECA, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FONSECA, VICTOR D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FONT, PEDRO A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FOURNIER, MARIELAINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FOURNIER, MAYRA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FRANCESCHI, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FRANCESCHI, NIXIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FRANCESCHI, NIXIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FRANCESCHI, RAQUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FRANCO, DESIREE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FRANCO, DESIREE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FRANCO, FRANCES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FREITES, MARIA D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FUENTES, CARLOS G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ FUMERO, NATALIA P         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ GAETAN, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ GALARZA, CARIDAD N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ GALARZA, JACQUELINE J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ GALARZA, JACQUELINE J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ GALARZA, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 7132 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2133 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ GALARZA, YARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GALARZA, ZULMA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GALARZA, ZULMA Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARAY, LEYDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCES, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, ABNER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, ANDREW L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, BRENDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, BRENDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, ELSIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, ELSIG M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, ERICK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, FREDDY E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, HILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, JOHANNE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, JULIO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, LINETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, MARIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, MIRIAM L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, MIRTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, NITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, SALVADOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, SAMUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, SIGFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, SOTERA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, SYLVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, XAVIER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GARCIA, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GASTON, ROCHELLY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GASTON, ROSEVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GELABERT, CARLOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GELABERT, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GELABERT, ROBERTO A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GERENA, FREDESWINDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GERENA, FREDESWINDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GERENA, LEOMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GERENA, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GIL, LISANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GILBES, BRENDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GINORIO, EDWIN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GIRAU, SINDY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GOMEZ, ANNA G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7133 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2134 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ GOMEZ, ESPERANZA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GOMEZ, HIPOLITO J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GOMEZ, JOHANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GOMEZ, LUCRECIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GOMEZ, MELISSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GOMEZ, MISAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GOMEZ, MISAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GOMEZ, ROSA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GOMEZ, YADIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALES, GLODIRES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ABDIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ADA GRICELL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, AIDA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ALEX A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ALFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ANA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ANA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ANA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ANADINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ANGEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ANGELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ANNELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ANNELISSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ANNUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ARIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ARIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ARLENE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, BENJAMIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, BRENDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, CARLOS D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, CARMEN Z        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, CHARITO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, CINTHIA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, DACIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, DINORAH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, DOLLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, EDDIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, EDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, EDNA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ELVA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2135 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ GONZALEZ, EUNICE         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, EUNICE N       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, EVELYN         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, EVELYN         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, FELIPE A       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, FERNANDO       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, FRANCES        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, FRANCES        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, FRANCISCO J    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, GILBERTO       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, GLADYS         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, GLADYS         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, GRISELLE       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, HECTOR         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, HECTOR         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, IRIS D         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ISRAEL         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, IVELISSE       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, JAVIER         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, JAVIER         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, JESUS N        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, JOSE I.        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, JOSE LUIS      REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, JOSE N.        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, JUAN C         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, JUAN C.        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, JUAN R         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, JUANA P        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, JULIO A        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, KENNY          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, LISANDRA       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, LIZBETH        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, LOURDES M.     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, LUIS           REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, LUIS           REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, LUIS A         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, LUIS F         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, LUIS O         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, LUIS S         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, LUZ            REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, LYZZETTE       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, MALQUISUASOHAM REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

VELEZ GONZALEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ GONZALEZ, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ GONZALEZ, MARIANO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ GONZALEZ, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ GONZALEZ, MELVIN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ GONZALEZ, MIGUEL E        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7135 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2136 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ GONZALEZ, MILAGROS C      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, NILMA IVETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, NILSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, PATRICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, PEDRO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, RAMON L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, RAYMOND         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ROSA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, SAVIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, SIDNIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, SOL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, TIFFANY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, VADI J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, WALDEMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, YAIMELISSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, YANIRA S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GONZALEZ, ZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GORDIAN, HENRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GORGAS, ANA MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GORGAS, MAYRA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GOYCO, LUZ M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GRACIA, LAURA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GREEN, MARCOS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GUADALUPE, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GUARDIOLA, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GUERRA, ROBERT E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GUTIERREZ, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GUZMAN, CARLOS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GUZMAN, DAILY W           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GUZMAN, EDWARD Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GUZMAN, REINALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ GUZMAN, YAJAIRA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HEREDIA, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, AIXA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, AIXA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, ALBERTO L.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, ANA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, ANGELES M.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, ASHLEY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, CARLOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
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THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2137 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ HERNANDEZ, CHRISTIAN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, DENISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, ERIC N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, GLORIVEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, GLORIVEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, HERBERT        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, INES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, IVIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, IVIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, JERRY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, JOANABEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, JOSE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, JOSEFINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, JUAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, LENNICK        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, LESLIE J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, LINNETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, LIZETTE I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, LYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, MADELINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, MARIANO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, MAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, MICHAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, MIGUEL A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, MILTON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, NEYSHA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, NOEMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, PILAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, RAMONITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, RAMONITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, SAMUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, SARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, SAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, WILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, ZULMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERNANDEZ, ZULMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERRERA, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERRERA, OSCAR F.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HERVAS, FLORENCIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HOMS, NILSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HOMS, NILSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HOMS, NILSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HOMS, NOEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ HOMS, SANDRA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7137 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2138 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ HUERTAS, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IGLESIAS, WALESKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, GRETCHEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, IRAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, JENNIFER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, JOSE D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, LAURA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, MARCOS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, MARIA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, MONSERRATE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, NATIVIDAD       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, PURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, YOAMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, YUBETZIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, ZENERIS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ IRIZARRY, ZULMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ ITHIER, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ ITHIER, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JACA, ANGEL L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JAIME, MARIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, ADA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, ANA DE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, ANGELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, CARMEN S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, EMILIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, FRANCIS E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, FRANKIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, HERNAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, IGNACIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, MAGDIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, MAGDIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JIMENEZ, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JUARBE, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JUARBE, JORGE H.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JUARBE, LUZ MILAGROS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JUSINO, ADA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JUSINO, JOHN J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ JUSINO, NORMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ JUSTINIANO, MARIA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ KERCADO, EDWIN C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LABOY, ANTONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LABOY, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LACOMBA, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LAFFOSE, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LAFONTAINE, DIXIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LAFONTAINE, DIXIE I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LAFONTAINE, OMAR F        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LAJARA, VILMA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LAMBOY, TERY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LARA, CAROL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LARACUENTE, JERRY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LASTRA, YARA A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LATORRE, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LATORRE, JOSE B.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LAUREANO, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LAUREANO, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LAUREANO, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LAZARINI, IRIS Z.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LAZARINI, IVIS Z          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LEBRON, ELDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LEBRON, ELDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LEBRON, IRMA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LEBRON, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LEBRON, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LEBRON, MARTA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LEBRON, MERALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LEBRON, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LEBRON, ROSA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LEDESMA, RAFAEL E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LEON, ANDRES J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LEON, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LEON, MARIA F.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LEON, WILFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LICIAGA, IRIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LICIAGA, IRIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LIZARDI, NYDIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LIZARDI, NYDIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LLAUGER, YAMIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LLITERAS, BRENDA IVETTE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, ALEXANDER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, ALFREDO R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, ANTHONY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, ARIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, CANDIDA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, CARIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2140 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ LOPEZ, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, CARMEN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, CLARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, CLOTILDE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, FERNANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, GILBERT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, HAYDEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, HAZEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, HAZEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, JEANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, JORGE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, JOSE G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, JOSE R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, JUAN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, MANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, MARIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, MARTA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, MOISES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, MOISES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, MOISES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, ROSA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, SONIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, TOMAS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, VERONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, WILBERT            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOPEZ, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LORENZO, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LORENZO, EUSEBIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOUBRIEL, MARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOUBRIEL, NORMA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOUBRIEL, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOUCIL, SHEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOYOLA, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LOZADA, RAIZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUCIANO, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUCIANO, FELIX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUCIANO, HEVEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUCIANO, NELSON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUCIANO, NILDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUGO, ANGEL P.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUGO, BETTY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUGO, EMIRBA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUGO, ERIKA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7140 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2141 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELEZ LUGO, FRANCISCO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUGO, FRANCISCO J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUGO, ILIA                 REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUGO, JOANNY               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUGO, JOSE J.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUGO, MARISOL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUGO, MYRTA                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUGO, NILDA G              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ LUGO, SAMUEL               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MACHADO, JOSE E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MACHADO, NORMA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MAGRIZ, YALITZA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MAISONET, MARIA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALAVE, ELIZABETH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALAVE, ERIEL              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALAVE, GREGORIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALAVE, HECTOR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALAVE, HECTOR A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALAVE, OLGA E.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALAVE, RICARDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALAVE, VIVIAN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALAVE, WILFREDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALAVE, WILKIN OMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, ALMA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, ANA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, ANGEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, CARLOS H.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, CARLOS L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, CRISTINA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, DENIDES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, ELIO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, GILBERTO E.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, IVETTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, IVETTE Z        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, JAVIER FELIPE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, JUAN C          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, KIDEAN J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, KIDEAN J.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, LUIS ENRIQUE    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, MARIA C         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, MARYANNE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, MIGUEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, NERILY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, ROBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, SHEILA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, WANDA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MALDONADO, WANDA I.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MANFREDY, FRANCISCO J.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7141 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2142 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ MANGUAL, VIOMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MANGUAL, VIOMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARCANO, ENID I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARGRIZ, YALITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARI, ROSA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARIN, JUAN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARQUEZ, EDNA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARQUEZ, RUFINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARRERO, CARLOS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARRERO, IRIS L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARRERO, JUAN C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARRERO, LUIS DAVID       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARRERO, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARRERO, MARLIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARRERO, MARLIN Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARRERO, MARLIN Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARRERO, MAXIMO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARRERO, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTELL, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTELL, MICHAEL L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTELL, YARILIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTIN, ROSALINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, ALEXIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, AMALIA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, ANTONIO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, ARTURO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, BLANCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, CARMEN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, DOMINGO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, DORA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, ELBA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, FELICITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, GEORGINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, GYANNA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, GYANNA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, ILSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, INES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, ISAI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, JENICE L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, JOSE DANIEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7142 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2143 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ MARTINEZ, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, MARIA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, MARTA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, MONSERRATE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, MYRNA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, PATRICIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, RADAMES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, RAMONA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, RICARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, WALTER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, WILSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, WILSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, YADIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINEZ,ARTURO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINO, SYLVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTINO, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MARTIS, WALDEMAR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MAS, AIDA L               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MASS, NOEMILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MASSOL, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MASSOL, JUAN D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MASSOL, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATEO, JOSELYN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATEO, JOSEPHINE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATIAS, ANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATIAS, GELMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATIAS, JOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATIAS, NOE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATIAS, REINALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATIENZO, IVAN NELSON     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATIENZO, MARY CELIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATOS, ARLEEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATOS, JESUS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATOS, LUIS O             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATOS, MYRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATOS, TERESITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATOS, WILSON E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATOS, WILSON E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MATTEI, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MAYMI, SHARON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7143 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2144 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ MEDIAVILLA, SILVETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, BERLICE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, BRENDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, CARMEN D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, EDWIN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, ILKYA C.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, ILKYA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, KEYLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, KEYLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, MELANIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, MELANIE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, MERNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, NANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, NANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, NERMARIS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, NERMARIS E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, OBDULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, OMAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, ROSA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, SAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEDINA, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MEJIAS, CARLOS JAVIER     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELENDEZ, CARLOS I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELENDEZ, DAMAYANTI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELENDEZ, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELENDEZ, GODO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELENDEZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELENDEZ, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELENDEZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELENDEZ, MELANIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELENDEZ, MILDRED X       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELENDEZ, SULLYMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELENDEZ, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELENDEZ, VICTOR MANUEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELENDEZ, VICTOR MANUEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELENDEZ, WILMA Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELON, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELON, JOANA JUDITH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELON, LYMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MELON, YANIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, ABIMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, AIDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, AIDA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, ALIEZER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 7144 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2145 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ MENDEZ, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, DIANA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, DIANA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, EDGAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, JACQUELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, JANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, JERSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, JOSE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, JUAN A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, LISSET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, LIZA MICHELLE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, LORRAINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, REBECA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, SHERRIE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDEZ, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDOZA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDOZA, DEYANIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDOZA, DEYANIRA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MENDOZA, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, AIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, AIDA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, BRUNILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, CARMEN L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, CRUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, EDITH C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, HERMINIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, JOSE R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, LUIS O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, NOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MERCADO, OBED             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MILIAN, YACIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MILLAN, GLORA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MILLAN, MARLENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MILLAN, NAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MIRANDA, ANGEL E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MIRANDA, AURORA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MIRANDA, AURORA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 7145 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2146 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ MIRANDA, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MIRANDA, EDWIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MIRANDA, ESTHER LYDIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MIRANDA, GLORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MIRANDA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MIRANDA, RUTH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MIRANDA, SHIRLEY N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOJICA, WANDA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOLINA, ADAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOLINA, AMERICO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOLINA, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOLINA, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOLINA, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOLINA, ISAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOLINA, JANELEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOLINA, LUZ N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOLINA, MARIA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOLINA, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOLINA, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOLINA, OHAD Y.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOLINA, RAQUEL E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOLINA, REGALADA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOLINE, FRESSY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONELL, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONROIG, ANA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONROIG, INIOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTALVO, ARNOLD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTALVO, ERICK C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTALVO, GRICEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTALVO, GRICEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTALVO, JAMMY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTALVO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTALVO, JOSE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTALVO, LEANETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTALVO, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTALVO, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTALVO, WALDY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTALVO, YAHAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTANEZ, WALESKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTANO, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTERO, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTERO, MERCEDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTERO, SHEILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTES, HECTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTES, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTIJO, IDAMIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTIJO, LIONEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTIJO, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MONTIJO, RITA MARIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2147 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ MORA, XAIMARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, ADA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, AUREA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, CARMEN L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, DESIREE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, EDDIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, EDIBERTO A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, EDSON H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, EMILIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, ISMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, ISRAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, JENNIFER F.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, JONATHAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, JONNATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, JUAN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, JUAN O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, LISSETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, MARIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, RAQUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, RAYMOND          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, RICHARD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, ROSA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, SAMUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, SHEILA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, SONIA B.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, VANESSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, WANDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, YAHIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORALES, YVONNE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORAN, ANDRES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ MORENO, ANA L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 7147 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2148 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ MORENO, LUIS O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MORO, MYRIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MORO, WILMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOTTA, LOURDES M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOTTA, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MOYA, AGUSTIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MUNIZ, ADA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MUNIZ, IRIS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MUNIZ, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MUNIZ, JOSE M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MUNIZ, JUANITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MUNIZ, LILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MUNIZ, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MUNIZ, ROSA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MUNOZ, GRISELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MUQIZ, CARMEN E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ MURIEL, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NAZARIO, LUIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NAZARIO, MAYRA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NEGRON, ANA DEL C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NEGRON, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NEGRON, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NEGRON, EDWARD D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NEGRON, ELVIN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NEGRON, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NEGRON, GENESIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NEGRON, GUALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NEGRON, JOSE F.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NEGRON, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NEGRON, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NEGRON, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NEGRON, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NEGRON, NELSON A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NEGRON, NORMA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NEGRON, YVONNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, ALEJANDRINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, AUDELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, BETZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, BETZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, BETZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, CARMEN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, CARMEN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, DOWAN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, EDGARDO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, EVELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, GRISELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, HIDDENIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, JAIME             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, JEAN C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7148 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2149 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ NIEVES, JUAN A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, LUZ S             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, MARCOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, NAHIR I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, NAHIR I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, NEHEMIAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, PETRIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, SHEILA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, SHEILA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, TERESA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, TERESA D.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, XIOMARA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, YATZEL M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NIEVES, ZENAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NORIEGA, CYNTHIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NORIEGA, SUZETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NUNCCI, MARISELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NUNCCI, MARISELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NUNEZ, AIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NUNEZ, AIDA L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NUNEZ, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NUNEZ, JO ANN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NUNEZ, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ NUNEZ, ROBERTO L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OCASIO, AFORTUNADA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OCASIO, CARMEN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OCASIO, CARMEN G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OCASIO, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OCASIO, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OCASIO, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OCASIO, RUTH Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OCASIO, SHEILA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OCASIO, VICKY M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OCASIO, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OCASIO, YAMILKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OJEDA, ALMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OJEDA, ASTRID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OLABARRIETA, ADA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OLAN, ENID                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OLAN, MARIBEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OLAN, MARIBEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OLAVARRIA, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OLAVARRIA, CARMEN I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OLAVARRIA, JUAN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OLIVARI, ANA Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7149 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2150 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ OLIVERA, RICARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OLIVIERY, IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OLIVO, DAVID              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OLMEDA, ANGEL R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OLMEDA, OBDULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OLMEDA, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OLMEDA, YESENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OLMO, ISMAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORENGO, CLARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORENGO, NATANAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTA, ANGEL R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTA, CARMEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTA, EDLUWINCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTA, EDWIN N.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTA, OLGA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTEGA, HECTOR R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTEGA, ZHAMIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, ABRAHAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, ADELINA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, AIDA IRIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, AIDA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, AIDITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, AMARILIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, ANA I.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, BENJAMIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, CARMEN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, CLEMENTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, DEREKA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, EFRAIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, ELSIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, ERIKA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, HILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, ILIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, JANELYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, JOEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, JOSE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, KARELIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, LILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, LIZETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, LORIANNIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, LORIANNIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, LUZ E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, MARIA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, MARIA TERESA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7150 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2151 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ ORTIZ, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, MARTIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, MYRIAM E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, NORMA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, OLGA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, OLGA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, ORLANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, REYNALDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, ROSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, ROSA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, SERGIO C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, SILKIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, SILKIA Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ORTIZ, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OSORIO, JUAN C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OSORIO, JUAN R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OSORIO, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OTERO, ANA MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OTERO, BARBARA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OTERO, DENISE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OTERO, FELIX S.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ OTERO, VIRGINIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PABON, EUNICE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PABON, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PABON, JESUS O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PABON, JESUS O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PABON, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PABON, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PABON, WILLIAM D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PACHECO, CYNTHIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PACHECO, CYNTHIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PACHECO, DELIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PACHECO, DIANA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PACHECO, FABIOLA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PACHECO, GRACES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PACHECO, HOGLAS T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PACHECO, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PACHECO, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PACHECO, KARMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PACHECO, LESLIE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PACHECO, MARTA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PADILLA, CLEMENTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PADILLA, DAVID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PADILLA, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PADILLA, FRANCISCA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PADILLA, MARISOL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7151 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2152 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ PADILLA, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PADILLA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PADILLA, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PADILLA, RENALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PADILLA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PADILLA, ROSA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PADILLA, ROSA N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PADRO, ANA TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PADRO, MARIA V.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PAGAN, BELITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PAGAN, BELITZA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PAGAN, CHRISTIAN J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PAGAN, EDITH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PAGAN, KEILA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PAGAN, KEILA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PAGAN, LUDYMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PAGAN, LUDYMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PAGAN, MAGDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PAGAN, MILTON A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PAGAN, PALMIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PAGAN, RAMONA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PAGAN, SEVERO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PAGAN, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PAGANI, JOSE R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PAIGE, MELISSA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PARDO, CARMEN J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PARRILLA, JOANN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PARRILLA, RUTH M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEDRO, ILEANA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEDRO, ILEANA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PELLICIA, RAQUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PELLICIER, VICTOR M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PELLOT, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PENA, RHODE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREA, BELINDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREA, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREA, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREIRA, CARLOS M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREIRA, JOSE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREIRA, SARA T.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PERELEZ, ANTONIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, ADALBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, AIDA D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, ALFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, ANA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, ANGEL D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, ANGEL J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, ANGEL M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7152 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2153 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ PEREZ, ARSENIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, ARSENIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, BRADLEY ORLANDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, CARMEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, CARMEN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, CHARLES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, DARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, EDGAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, EDNA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, EDWIN FRANCISCO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, EFRAIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, ELBA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, ELISA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, ELSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, ELVIN M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, EMMANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, FELIX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, FERMIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, GELSON L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, GILBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, GLADYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, GLENDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, HECTOR M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, HEIDY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, HILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, IRMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, IRMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, ISMAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, IVETTE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, JANITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, JENNIFER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, JESSICA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, JESUS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, JESUS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, JORGE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, KAREN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, LEONER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, LUIS ANGEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7153 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2154 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ PEREZ, LUZ A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, LUZ M.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, MADELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, MANUEL ANTONIO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, MARIA DEL C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, MARIA DEL C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, MARIA G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, MARICELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, MARIELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, MARIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, MAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, MAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, MISAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, MISAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, MOISES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, NANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, NERI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, NINOSHKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, PEDRO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, RAQUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, RUBEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, RUBEN G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, TERESA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, VICTOR J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, WALDEMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, YANIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, YARET              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEREZ, YESENIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PERULLERO, ABRAHAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PEZZUTO, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PINA, ARACELIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PINA, FELIX A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PINA, JAIME               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PINO, ALVIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PINO, MELVIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PIZARRO, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PIZARRO, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PIZARRO, HECTOR R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PIZARRO, ROSALBA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PLUMEY, NILDA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PLUMEY, RHAIZA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PONCE, SOFIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ POSTIGO, JAHAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PRATTS, MYLEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2155 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ PUENTE, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ PULLIZA, SYLMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUILES, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUILES, CARMEN D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUILES, JOSE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUILES, JOSE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, ALEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, ALEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, ALFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, ANASTACIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, BENJAMIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, BERNARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, DIANA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, ERICA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, EVELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, FELITA O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, INGRID M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, JOSE LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, LUIS REY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, LUZ D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, MARIA T.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, NELSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, RIGOBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, SALLY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, SERGIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONES, VICTOR A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONEZ, BERNARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONEZ, CARMEN R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONEZ, DAMARIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONEZ, HIRAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONEZ, JAIME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONEZ, MELISSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINONEZ, MILAGROS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUINTANA, HIRAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUIQONES, RIGOBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUIRINDONGO, PABLO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ QUIROS, WILMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RABASSA, SANDRA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMIREZ, ENEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMIREZ, FREDESWINDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMIREZ, FREDESWINDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMIREZ, GERMAINE Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7155 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2156 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ RAMIREZ, GISELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMIREZ, IRVING           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMIREZ, JEANNETTE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMIREZ, JEISEMIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMIREZ, JEISEMIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMIREZ, JOAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMIREZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMIREZ, LAURA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMIREZ, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMIREZ, RAMON D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMIREZ, RICHARD E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMIREZ, ROSA DE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMIREZ, ROSA DE L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMIREZ, ROSIRYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMIREZ, STEPHANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMIREZ, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMIREZ, ZOEMIL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMON, NATALIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, ALEX D.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, ANGEL L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, ANGEL M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, ANTHONY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, ARCANGEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, BLANCA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, BRENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, BRENDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, BRIGIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, CARLOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, CARMEN B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, CARMEN L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, CHRISTIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, DAISY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, DANIEL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, DANIEL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, EDGARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, ELBA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, ELSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, EMILETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, EPIFANIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, EPIFANIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, FELIPE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, FILADELFIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, GREGORIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, IRMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, ISRAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, JAIME DARIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RAMOS, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 7156 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2157 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ RAMOS, JOSE LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, JOSE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, JOSE RAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, JUAN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, JUANA D.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, LENNYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, LENNYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, LOURDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, LOURDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, MARCOS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, MARIA T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, MELISSA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, MICHAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, MICHAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, MIGUEL ANGEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, MILAURI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, NATIVIDAD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, REINA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, REINA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, REINA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, ROBNEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, ROSELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, SYLVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, SYLVIA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, TAYMI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, TERESA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, WALMER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOS, YEIDIE Z           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAMOSS, ZULEIDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RAZON, ERICK              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ REBOYRAS, JOSE R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RENTAS, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RENTAS, SANTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RESTO, JORGE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ REVERON, HERMELINDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ REYES, ANGELICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ REYES, CARMEN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ REYES, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ REYES, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ REYES, DANICO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7157 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2158 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ REYES, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES, HILDA ENID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES, JANICE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES, JANICE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES, JESSICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES, MARCO A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES, MARIA DEL R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES, MARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES, MARITZA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES, MERCEDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES, MILKA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES, NILDA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES, ROGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES, YARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ REYES,CARLOS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, CARMEN E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, DAVID               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, EDUARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, ISABEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, IVONNE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, JAVIER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, JEANETTE I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, JEANETTE I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, JORGE D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, JORGE LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, MARGARITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, MYRIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, MYRIAM I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, NOEMI               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, NORAYA O            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, ROSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, ROSA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, ROSA M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, SACHA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, SANTIAGO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, SHARON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, SHEILA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIOS, WILFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIVERA, AIXA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIVERA, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIVERA, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIVERA, ANA NYDIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIVERA, ANA ZORAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIVERA, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ RIVERA, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 7158 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2159 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ RIVERA, AUREA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, AWILDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, BETZAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, BRENDA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, CAMILLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, CARLOS R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, CARMEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, CATHERINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, CELIVY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, CLARIVEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, DAMIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, DARLENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, EDWIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, EDWINEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, ELMER O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, ELSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, ENRIQUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, GENESIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, GRISELL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, HEIDY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, HILDA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, ISABEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, ISEUT G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, ISEUT G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, IVETTE MARIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, JACQUELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, JEAN L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, JISENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, JISENIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, JOHAN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, JORGE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, JOSSY L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, JUAN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, JUAN JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, KAREN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, KAREN P           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, KARLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, LEILA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, LEIXA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, LINO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, LUIS O.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, LUZ N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7159 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2160 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ RIVERA, LYDIA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, MARI R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, MARIA C           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, MARYAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, MAYDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, MIGUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, MIGUEL R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, NAYDA LINETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, NIVEA N.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, NORAH E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, OLGA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, PABLO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, PEDRO I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, RAYMOND           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, RAYMOND           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, RICARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, ROBERT H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, ROBERTO L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, ROSARIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, SAMUEL R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, SHEILA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, SHEILA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, SHIRLEY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, SOL N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, SORGALIM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, SORGALIM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, SULLY M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, TANIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, VIVIAN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, WALESKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, WANDALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, WILIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, WISBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, YADIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RIVERA, ZELIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROBERTE, WANDA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROBLEDO, CAROLINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROBLEDO, LUIS O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROBLES, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROBLES, ARA D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROBLES, CARMEN I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROBLES, FELIX             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROBLES, IVETTE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7160 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2161 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VELEZ ROBLES, KARLA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROCA, RAFAEL                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROCHE, LUIS ANGEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODNIE, OLMO                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, AIDA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, AIDA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ALBERT A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ALEX             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ALEXIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, AMARILIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, AMARILIS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, AMELIO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ANA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ANA J            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ANATILDE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ARAEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ARNALDO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, BRENDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, BRUNILDA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, CARLOS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, CARMEN E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, EDGARDO L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, EFRAIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ELGA E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ELIUT            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ELIZABETH        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ELIZAMIR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ELSIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ELYDIA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, EMILIO E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, EMMA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ESDRAS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, EVELYN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, EVELYN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, EVELYN YAMARIE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, GIANLYNNE M.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, GIOVANNA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, GLADIMAR         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, GLORIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, GLORIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, GRENDA LIZ       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, HECTOR M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, HECTOR M.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, HERMINIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, HILDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, IRIS N.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, IRMA D           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ISABEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2162 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VELEZ RODRIGUEZ, IVAN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, JEANNETTE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, JERRY L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, JOEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, JOEL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, JOHN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, JORGE L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, JOSE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, JOSE L.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, JOSE M.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, JUAN A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, JUAN A.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, JUAN B           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, KENNETH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, KENNETH          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, KIMBERLY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LEONARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LINDA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LINETTE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LORRAINE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LUIS A           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LUIS E.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LUIS E.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LUIS M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LUIS R           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LUIS R.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LUZ              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LUZ              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, LYSENIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MARIA DE LOS A   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MARIA DEL R      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MARIA H.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MARIA L.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MARIA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MARIA S          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MARICARMEN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MARILYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MARIO JOSE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MARLENE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MAYRA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MELANIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MELISSA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MIGDALIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                     Schedule E3 Page 2163 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VELEZ RODRIGUEZ, MONICA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MYRIAM E         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MYRIAM E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, MYRNA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, NAIDALI          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, NANCY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, NANCY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, PAUL JR          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ROCKY O          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ROSELINE M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, ROSELINE M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, SANDRA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, SANDRA E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, SANTOS B         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, SARITA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, SILVIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, SOCORRO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RODRIGUEZ, SOCORRO DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
A
VELEZ RODRIGUEZ, SUSANNE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ RODRIGUEZ, VALERIA D        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ RODRIGUEZ, VALERIE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ RODRIGUEZ, VALERIE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ RODRIGUEZ, VANESSA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ RODRIGUEZ, VERONICA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ RODRIGUEZ, VICTOR M         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ RODRIGUEZ, VICTOR M         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ RODRIGUEZ, WALDEMAR         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ RODRIGUEZ, WALDO E.         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ RODRIGUEZ, WILBERT          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ RODRIGUEZ, WILFRED          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ RODRIGUEZ, WILFREDO         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ RODRIGUEZ, WILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ RODRIGUEZ, YAHAIRA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ RODRIGUEZ, YASHAIRA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ RODRIGUEZ, YASHAIRA B       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ ROJAS, IDALIZ               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ ROJAS, YAINIS               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ ROJAS, YAINIS               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ ROJAS, YAINIS               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ ROLDA, VILMA                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ ROLDAN, BLANCA N            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ ROLDAN, MORAYMA             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ ROLDAN, PEDRO               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ ROLDAN, STEPHANIE           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ ROLON, OLGA LYDIA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ ROLON, TERESA               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ ROMAN, ANA J                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VELEZ ROMAN, BERNIE               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7163 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ ROMAN, BLANCA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, CARMEN D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, DELIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, DORCAS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, EDDIE J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, EDWARD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, EDWARD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, EDWARD             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, EMMARIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, JOANNIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, JOANNIE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, JOSE F             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, LINDA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, LYDIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, ROBERT             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, ROSA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMAN, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMERO, DAVID J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMERO, LIZ MARIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROMERO, VILMA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RONDA, MADELINE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RONDA, SAMUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RONDA, SONIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RONDA, SONIA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RONDA, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, ANGEL R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, ANGEL R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, AWILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, AWILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, DHELMA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, JOSE L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, MAGALLY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, MAGALY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, MARIBELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, MARIBELLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, MITZIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, RAMON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, RAMON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, RAMON E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, RAMON PORFIRIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, ROLANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, RUBEN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSA, VIVIAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7164 OF 7285
SCHEDULE E
                                    Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                 Desc:
AS REPRESENTATIVE OF                                       Schedule E3 Page 2165 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                    UNLIQUIDATED
                                                                                                                       CONTINGENT


                                                                                                                                                   DISPUTED
CREDITOR                            ADDRESS 1                  ADDRESS 2   ADDRESS 3       CITY       STATE ZIP CODE                                               AMOUNT
VELEZ ROSA, VIVIAN                  REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, ALFONSO               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, ANGEL LUIS            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, CARLOS                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, DAISILY               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, DAVID                 REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, DAVID                 REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, EDGARDO               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, ERICKA                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, ERIKA                 REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, GILBERTO              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, JESSICA M             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, JESUS                 REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, LETHZEN M.            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, LUIS O.               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, LUIS W                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, MARIA R               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, MERCEDES              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, MICHELLE              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, ORGEO_JR              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, RUTH H.               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, SATURNINO             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, YAMIRA                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, YANIRA                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSADO, YAZMIN E              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, AMNERIS I            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, AWILDA               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, BETSY                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, GRACIELA             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, JOSE A               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, JOSE A.              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, JOSE A.              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, JOSE A.              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, JOSE E               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, JOSE E               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, JOSE E               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, JOSE M               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, MARIA A              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, MARIA C.             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, MARIA DE LOS REYES   REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, SONIA                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSARIO, SUJEIN M             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSAS, MANUEL                 REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSAS, NORMAN A               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSAS, OMAR G.                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROSSNER, NILDA M              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ROTGER, JOSE A                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUBERTE, MARIO A              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUBIO, ZAIDA                  REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                   PAGE 7165 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2166 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ RUBIO, ZAIDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, ADEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, BEATRIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, CARLOS J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, CARMEN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, DIANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, DIANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, EDWIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, GILBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, GLORIVELL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, HECTOR L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, HECTOR L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, HECTOR M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, HECTOR M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, ILEANA H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, IRACK A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, IRMA R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, IVONNE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, IVONNE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, JAVIER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, JESSICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, JOSE H              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, LUIS F.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, MARGARITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, MARIA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, MARIMAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, MARTIN A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, RAQUEL M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, THAYLLIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, WILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RUIZ, WILLIAM S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RULLAN, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ RULLAN, JAVIER F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SAEZ, ANIBAL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SAEZ, NILSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SALAS, SHALEYDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SALCEDO, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SALCEDO, SANDRA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SALDANA, ANGELA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SALDANA, ANGELA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SALGADO, WANDA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SALICRUP, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SAN MIGUEL, RUBEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANABRIA, AMARILIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, ABRAHAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, ADRIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, ADYMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, BRENDA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7166 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2167 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ SANCHEZ, DENNIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, ENID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, ENID M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, ERNESTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, FERNANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, FERNANDO L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, GRISEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, HILDA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, IDALIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, IDALIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, ISABELITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, IVAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, JEANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, JULIO J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, LIZBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, NIURKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, NYDIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, RAFAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, SONIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, VIVIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, VIVIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANCHEZ, ZORAIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANJURJO, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANJURJO, VICTOR M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANOS, ANNETTE Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTAELLA, SONIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTALIZ, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTALIZ, MARIA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTANA, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTANA, GABRIEL E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTANA, GABRIEL E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTANA, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTANA, MYRNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTANA, ROSARIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTANA, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, ABRAHAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, ADA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, ADELAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, ADELAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, ARCELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, ARCELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, BRYAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, BRYAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, CARLOS J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7167 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2168 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ SANTIAGO, CESAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, DIONISIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, DOTTY L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, EDELMIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, ELIUD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, ELIUD E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, EMANUELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, EMMA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, EVA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, JOSE LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, JOSEFINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, JUAN E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, KEISHA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, LUZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, MANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, MARGARITA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, MICHELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, MICHELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, MIGUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, MOISES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, NAYRIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, NELSA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, NESTOR L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, OSVALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, PAMELA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, RAMONA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, ROBERT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, RODNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, SAMUEL A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, VICTOR O        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, WANDA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO, WILMER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTIAGO,LUIS E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTOS, ALFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTOS, GEORGINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTOS, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTOS, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SANTOS, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7168 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2169 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VELEZ SANTOS, SIGFREDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEDA, JOSE L               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEDA, MILAGROS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEDA, NELSON               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEDA, NOEMI                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEGARRA, EDISON            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEGARRA, IVELISSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEGARRA, MANUEL DE JESUS   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEGARRA, NILDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEIN, HECTOR M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEPULVEDA, CARLA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEPULVEDA, ISABEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEPULVEDA, KEYLA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEPULVEDA, LESLIE ANN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEPULVEDA, LYMARI          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEPULVEDA, MARIA A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEPULVEDA, MILAGROS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEPULVEDA, NANNETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SEPULVEDA, NYDIA E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SERRA, DAVID               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SERRA, KENNETH J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SERRANO, ADA E             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SERRANO, ANGIE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SERRANO, FRANCISCO O       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SERRANO, IRIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SERRANO, IRIS B            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SERRANO, KATHERINE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SERRANO, LUIS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SERRANO, LUIS ANGEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SERRANO, LUIS S            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SERRANO, ZAHIRA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SIERRA, ELSA I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SIERRA, JAVIER F           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SIERRA, JOSE               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SIERRA, MARJORIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SIERRA, MARJORIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SILVA, MARINA G.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SILVA, XENIA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SILVESTRE, JULIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SILVESTRE, RAFAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SINDO, RAMON A             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SISCO, LUZ M               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SISCO, MARIA E             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SIVERIO, YOLANDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOLANO, ERNESTO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOLER, WILFREDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOLIVAN, ANA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOLIVAN, ANA H             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SONERA, AWILDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7169 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2170 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ SOTO, ARLEEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, ARLEEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, BEATRIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, CARLOS OBED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, CARMEN E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, CRISTIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, DANIEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, FRANCISCO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, HECTOR M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, ISIDRO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, JAIME               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, JESSICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, JOSE R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, KEVIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, LESLIE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, LUZ                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, LUZ E               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, LUZ MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, MARIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, MARIANGIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, MAYRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, MINELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, MYRIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, NILDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, NILDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, OMAYRA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, SHALOMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, SONIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, SYLVIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, TERESA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, VANESSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, WILLIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, XIOMARA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, YARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SOTO, YARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SUAREZ, ANDRES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SUAREZ, CAROLINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SUAREZ, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SUAREZ, IRMA V            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SUAREZ, JANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SUAREZ, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SUAREZ, MABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SUAREZ, MARIA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SUAREZ, RAUL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SUAREZ, YAIRA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ SUAU, GABRIEL BERNARDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TAPIA, DEYRA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TAVAREZ, INGRID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7170 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2171 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ TAVAREZ, INGRID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TAVAREZ, YESENIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TEJERO, MEDERLINE V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TIRADO, JANET             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TIRADO, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TIRADO, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TIRADO, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TIRADO, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TIRADO, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TOLEDO, ADRIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TOLEDO, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TOLLINCHI, MARELY M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TOMASSINI, REBECA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORO, CARLOS G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORO, CARMEN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORO, CELESTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORO, GILBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORO, HENRY L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORO, LUISA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORO, OLGA I.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORO, SOFIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORO, SOFIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORO, VICTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORO, WILFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORO, ZULEYCA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRADO, DOMINGO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRE, JONNATTAN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRE, LUZ                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, ADRIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, AILEEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, AILEEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, AILIN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, ALVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, ALVIN O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, AMELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, ANA M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, ANDRES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, ANGEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, ANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, ANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, ARLEEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, AUDELIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, AUREA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, BETHZAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, BRENDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, BRUNILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 7171 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2172 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ TORRES, BRYAN R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, CARLOS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, CASTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, CYD MARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, DOLORES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, EDUARDO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, EDUARDO L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, ELAINE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, ELIEMIR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, ELIEMIR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, EMILIANO J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, EVA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, FELIX A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, FRANKLIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, GABRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, HARRY E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, HAYDEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, HECTOR L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, IGNACIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, INES B            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, INES B.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, IRIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, IRIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, ISMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, JEFFREY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, JOSE E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, JOSE NOEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, JOSE RADAMES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, JUAN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, KATHELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, KELVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, LETICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, LUIS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, LUIS ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, MAGDALENA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
VELEZ TORRES, MARIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2173 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ TORRES, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, MARIA DE LOS A    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, MARIA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, MARIA S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, MARIA T           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, MARLIN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, MARTA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, MELISSA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, MIRIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, NELIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, NYDIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, RAMONITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, TED               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, VILMALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, VIRGEN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, VIRGEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, WILSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, YASMIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, YOLANDA ENID      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TORRES, ZORAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TOSADO, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TOSADO, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TRABAL, VIDIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TRINIDAD, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TRINIDAD, LIZBETH J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TRINIDAD, LIZBETH J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TRINIDAD, ROSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TROCHE, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ TUA, ALEXANDER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ UFRET, RAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALDIVIESO, WILLIAM       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALEDON, ELVIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALEDON, JULIO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALEDON, PABLO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALEDON, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALEDON, ROSA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALEDON, ROSA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, ALFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, ALVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, ANGEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, DANNY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, ELVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, FELIX R.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7173 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2174 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ VALENTIN, JANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, JOEL MANUEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, LIZBETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, OLGA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, OLGA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, SILVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, SILVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALENTIN, XIOMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALLE, RAFAEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALLE, SIFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALLE, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VALPAIS, FRANCES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, ALFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, ANGEL JESUS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, CARMEN J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, JEMINA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, JESMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, JORGE LUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, JOSE MARTIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, JOSE R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, LOURDES I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, LUIS E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, LUZ M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, NYDIA RUTH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VARGAS, YELITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, ANN N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, CAROLYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, CAROLYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, ELBA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, FRANCES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, FREEDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, LUCIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, MAGDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2175 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ VAZQUEZ, MARTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, MONICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, NESTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, RAMON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, SYLVIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, TAHISHA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VAZQUEZ, ZULEYKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEEZ, HERNAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, ALBERT              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, ANGEL L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, ANIBAL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, ANTONIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, ARLYN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, ARMANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, ARMANDO IVAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, DELMA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, ELBA ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, GLADYS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, HECTOR S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, JAIME               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, JOSE J.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, JUAN B              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, LUZ M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, MANUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, MARISOL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, MIGUEL A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, NILDA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, NORMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, OLGA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, PATRICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, SYLVIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, WILFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VEGA, YOLANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELAZQUEZ, ALEJANDRO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELAZQUEZ, ANIBAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELAZQUEZ, ANTONIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELAZQUEZ, CARMEN E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELAZQUEZ, CARMEN Y       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELAZQUEZ, DENISE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELAZQUEZ, EMILY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELAZQUEZ, GABRIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELAZQUEZ, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELAZQUEZ, HIRAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELAZQUEZ, MARCOS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELAZQUEZ, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELAZQUEZ, PEDRO J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELAZQUEZ, PETRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7175 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2176 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ VELAZQUEZ, SANDRA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, ABIMAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, ALICE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, ANDRES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, ANTHONY J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, BENILDE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, BETZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, BRUNILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, CARLOS F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, DAISY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, DAISY D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, DANIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, EDGAR A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, EDGAR A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, EDWIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, ELBA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, ELLIOT             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, ELSIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, ENRIQUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, EVA D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, FELIX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, FELIX J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, FRANCIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, GERIBETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, GLORIVEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, HERNAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, HILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, JANICE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, JANICE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, JEANNETTE Y.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, JESUS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, JOHANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, JOSE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, JOSEPH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, JOVITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, LAURA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 2177 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ VELEZ, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, LUIS OSCAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, LYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, MANUEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, MARIA DE LOURDES   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, MARISOL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, MIGUEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, NELLY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, NELLY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, NIVIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, NIVIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, OSVALDO A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, PEDRO LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, RAMON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, RAMONITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, RENE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, SILVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, SONIA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, SYLVIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, SYLVINEETT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, TAINA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, VICENTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, WILLIAM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, WILLIAM J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, WILLY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, XIOMARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VELEZ, ZAIDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VENTURA, ENRIQUE V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VENTURA, ENRIQUE V        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VENTURA, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VENTURA, MELINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VENTURA, MELINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VERA, CARMEN E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VERA, JEANMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VERA, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VERA, JOSUE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VERA, VANESSA L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VERA, VICTOR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VERA, VIVIAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VERA, WILMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VERGARA, KATHERINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VICENTI, JOSE G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VIERA, DIARA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VIGO, ALEC X.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VILA, ALEXIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7177 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2178 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZ VILA, ALEXIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VILLALOBOS, BEXSAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VILLALOBOS, BEXSAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VILLANUEVA, CARMEN R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VILLARAN, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VILLARAN, GLORIA H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VILLEGAS, ZAIRA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VIRELLA, JUANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VIROLA, EDDIE O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ VISION, KRISTIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ WALKER, SHANTEY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ YAMBO, INET               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ YAMBO, INET               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ YEJO, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ YEJO, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ZAYAS, IRIS B             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ZENO, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ZENO, LUIS J              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ ZUBIATE, PATRICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, ANGEL M.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, ANTONIO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, CAMILLE                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, CAMILLE E.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, CARLOS X.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, CARMEN L                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, CLARISSA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, CONSUELO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, DANIEL                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, FREDDY                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, GUSTAVO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, HENRY                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, IRIS MARTA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, LUIS F                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, MANUEL                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, MARGARITA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, MIGUEL A.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, ORLANDO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, RAFAEL A                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, RAMON                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, REBECCA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, RICHARD                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, SULLIENID C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ, VANESSA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ,MIGUEL A.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZ,WILLIAM                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZALEMAN, PABLO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZAVILES, GILBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZITHIER MEDINA, XAHYMARA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZITHIER MEDINA, XAHYMARA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7178 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2179 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELEZOLIVO, WALESKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZPEREZ, FRANCHESKA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZQUEZ NIEVES, NOEMI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZRAMOS, MARIA B.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZRIVERA, JOSE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZRODRIGUEZ, ELMER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZRODRIGUEZ, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELEZTORRES, CRUZ               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA AGOSTO, JUAN C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA ARCE, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA COTTO, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA COTTO, JAVIER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA GARCIA, ANA G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA GARCIA, ANA G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA GARCIA, CARMEN S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA GARCIA, CARMEN S.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA GONZALEZ, MARIA A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA LOPEZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA LOPEZ, NEFTALI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA MIRABAL, VIVIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA NUNEZ, SARAH I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA ORTIZ, SANDRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA REYES, JUDITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA RODRIGUEZ, AIDA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA RODRIGUEZ, JEANNY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA ROSADO, ENEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA ROSADO, NORA H.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA RUIZ, BRIZEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA SEGARRA, MAGALY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA SOTO, EMILIANO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA SOTO, GAMALIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA VALEDON, JUAN E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELILLA, JUAN E.                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELIZ RIVERA, LUZ D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELIZ ROMAN, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELIZ SOTO, INDIRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELIZ SOTO, INDIRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON BURGOS, NICKOLE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON CASTRO, LISARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON CINTRON, JOSE D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON COLON, MIRELISS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON COLON, MIRELISS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON CRUZ, GERMAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON CUADRADO, JESSENIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON DE JESUS, NAOMI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON DE LEON, BENJAMIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON DE LEON, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON DE LEON, SARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON DE LEON, SARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2180 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VELLON DE THOMAS, MANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON FERNANDEZ, JINNESSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON FERNANDEZ, JINNESSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON HERNANDEZ, CRUZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON LLANOS, OSVALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON MALDONADO, ANA H         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON MARQUEZ, ROSA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON ORTIZ, ANA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON PELLOT, ALBA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON PELLOT, ALBA LYDIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON REYES, OLGA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON RIVERA, NICOLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON RODRIGUEZ, MARIELA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON SANCHEZ, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON SANCHEZ, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON SANCHEZ, JOSE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON SANTANA, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON SOTO, DINORAH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON SOTO, DINORAH M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON TORRES, MARTIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON VELAZQUEZ, PERFECTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON VILLANUEVA, MIGUEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON VILLANUEVA, MIGUEL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLON, GILNAEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELLONPELLOT, ALBA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELOZ CAPELLAN, CRISTINA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELOZ IRIZARRY, GIOVANNI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELOZ IRIZARRY, NIKOLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELOZ IRIZARRY, NIKOLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELOZ PACHECO, CUUNSI Z         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELY MEDINA, ROSIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VELZ PEREZ, GUMERSINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENCCHINI ZAYAS, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENCEBI GARCIA, ENRIQUE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENCEBI RIVERA, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENCEBI VELAZQUEZ, ANAIDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDREL IRIZARRY, ANA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDREL PINO, JORGE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL BARRETO, JANERIES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL BENITO, GERARDO J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL CARDONA, YADIRA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL COLON, CELSO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL COLON, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL CORREA, MERCEDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL CUBANO, OLGA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL GARCIA, TATIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL GONZALEZ, NILSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL LOPEZ, LYDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL MAISONAVE, CARMEN M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7180 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2181 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VENDRELL MAISONAVE, CARMEN M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL MANTILLA, MARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL NIEVES, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL NIEVES, SANTOS W       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL PELLOT, LUIS A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL PINO, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL PINO, SARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL PINO, SARA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL REVERON, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL REVERON, MIGUEL A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL ROSA, JOSE GUSTAVO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL ROSA, RACHEL M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL RUIZ, LYMARI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL RUIZ, MICHELL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL SANTIAGO, MARIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL TORO, ANNIE M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL TORRES, CARMEN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENDRELL TORRES, MADELINE C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEGA RIVERA, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEGAS ANDINO, CARMEN L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEGAS AVILA, HAYDE E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEGAS AVILA, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEGAS BIGAS, KARLA G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEGAS BROWN, NAYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEGAS CARMONA, EVA G          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEGAS DIAZ, LIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEGAS GONZALEZ, ANGEL M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEGAS GONZALEZ, ANGEL M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEGAS HONORE, NORMA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEGAS LAFFITE, GILDA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEGAS SANCHEZ, FRANCISCO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEGAS SANCHEZ, ROSA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEGAS VAZQUEZ, YELINDY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEREO RIVERA, IVONNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENERO MENDEZ, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENERO MENDEZ, MARIA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENES MEDINA, ALEX              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENES MEDINA, OSCAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENES NOVOA, PABLO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENES SANTIAGO, DIMARIES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENES SANTIAGO, IVAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEZUELA LA PLACE, MARIA E.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEZUELA LOPEZ, EDGARDO L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEZUELA MIRANDA, CLARISSA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEZUELA RODRIGUEZ, GLORIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENEZUELA RODRIGUEZ, GLORIA I   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTOSA FEBLES, EDUARDO A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA ARROYO, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA ARROYO, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7181 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                    Schedule E3 Page 2182 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VENTURA BAEZ, MIGDALIA V         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA BAEZ, MIGDALIA V         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA BERBEREN, RUPERTO L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA BETANCOURT, JEAN C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA BONET, YAZMILETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA CALDERON, CESAR A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA CAMACHO, VILMA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA CANDELARIA, YOVANNI      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA CARABALLO, FRANCISCO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA CARDONA, AMELIA G        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA CASERES, LUIS F          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA CINTRON, ROSA M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA COLON, EDNALISE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA COLON, EDNALISE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA COMAS, MARIANELA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA CORREA, ZELIMAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA CORTES, DARIANA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA COTTO, JOSE R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA COTTO, LORISA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA DAVILA, LUZ L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA DE CINTRON, MILAGROS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA DE JESUS, LILLIAM        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA DIAZ, DAMARIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA GARCIA, CORALY           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA GARCIA, ROSA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA GERENA, KARLA IVELISSE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA GOMEZ, MARIA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA ISALES, ANGEL M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA MADERA, JORGE L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA MASSAS, RUTH             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA MELENDEZ, HECTOR E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA MONGES, HEFZIBA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA MORALES, ISAMAR          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA MORALES, MARLEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA NIEVES, ZULEYKA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA NUNEZ, MARIA Z.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA ORTIZ, LUZ ENEIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA PAOLI, ALEJANDRO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA PERALTA, LUIS R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA PEREZ, ALFREDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA PEREZ, ANA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA PEREZ, ANA R             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA PEREZ, JUAN              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA PEREZ, RAFAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA PEREZ, SOFIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA PEREZ, SOFIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA REYES, DEIDAMIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA REYES, FRANCISCO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA RIVERA, MARILYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7182 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2183 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VENTURA RIVERA, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA RIVERA, ROLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA RIVERA, WILSON          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA RODRIGUEZ, ANA D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA ROMAN, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA ROMAN, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA RUIZ, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA RUIZ, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA RUIZ, JACQUELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA SANCHEZ, CARLOS M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA SANCHEZ, JULIO C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA SANCHEZ, LIZAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA SANCHEZ, MARCOS J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA SANCHEZ, MARIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA SANCHEZ, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA SANES, YERIKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA SOTO, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA SOTO, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA SOTO, MYRNA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA TAVARES, NEIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA TEXEIRA, AGUSTIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA TEXEIRA, CARMEN R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA VALENTIN, CECILIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA VALENTIN, MARILEX       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA VALENTIN, MARYLEX       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA VALENTIN, MARYLEX A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA VAZQUEZ, LIANY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA VAZQUEZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA, ISRAEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA, JOSEPH A.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA, LUIS E                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA, MARIA DEL C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURA, MARIBEL DEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTURAPADILLA, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VENTUREIRA RIVERA, CARMEN M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEQUILLAS REYES, LUIS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VER CABAN, JENELLYS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ACEVEDO, ARLEEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ACEVEDO, DANIRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ACEVEDO, EMANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ACEVEDO, MARTHA T.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ACEVEDO, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ACOSTA, AMALIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ALEQUIN, LUZ D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ALMA, EDWARD               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ALMA, ELLIOT               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ALMA, XAVIER               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ALVARADO, JUAN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ALVARADO, MARIA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7183 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2184 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VERA ALVAREZ, JUAN LUIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ANDRADE, DINORAH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ANDRADE, DINORAH E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ANDRADE, DINORAH E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA AROCHO, CARLOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA AROCHO, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA AROCHO, RUBEN E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ARROYO, VERUSHKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA AVILES, ENILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CALDERON, MARIA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CAMACHO, ELIZABEHT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CAMACHO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CAPELLAN, NARCISA A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CARABALLO, DANIL J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CARABALLO, DANIL J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CARABALLO, LIONEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CIURO, LUIS R              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CLEMENTE, KELLYMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA COLLAZO, HELION R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA COLLAZO, HELION RAFAEL     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA COLLAZO, VICTOR L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA COLLAZO, VIVIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA COLON, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA COLON, MONSERRATE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA COLON, MYRIAM              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CONCEPCION, CARMIN D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CONCEPCION, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CORDERO, ANA T.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CRESPO, ARCIDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CRESPO, LUIS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CRUZ, ALEJANDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CRUZ, FRANCISCO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CUESTA, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA CUEVAS, GABRIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA DE EGUIA, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA DE JESUS, FRANCES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA DE LA PAZ, NOELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA DEL VALLE, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA DELVALLE, JUAN A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA DIAZ, BETHZAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA DIAZ, BETHZAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA DIAZ, DANIEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA DIAZ, DANIEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA DIAZ, MARIA DEL C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA FANTAUZZI, NILSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA FELICIANO, IVETTE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA FUENTES, MARILU            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA FUENTES, MARILU            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GARCIA, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7184 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2185 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VERA GARCIA, MARIA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GARCIA, NITZA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GOMEZ, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GONZALEZ, ARIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GONZALEZ, EMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GONZALEZ, EMMANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GONZALEZ, ESTEBAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GONZALEZ, FRANCES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GONZALEZ, FRANCISCO J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GONZALEZ, JORGE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GONZALEZ, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GONZALEZ, JUAN E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GONZALEZ, NAYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GONZALEZ, NAYDA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GONZALEZ, NORMA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GONZALEZ, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GUERRERO, DARANIZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GUERRERO, DARANIZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GUERRERO, DARANIZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GUERRERO, NADYA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA GUERRERO, NADYA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA HERNANDEZ, ALEXANDRO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA HERNANDEZ, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA HERNANDEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA HERNANDEZ, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA HERNANDEZ, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA HERNANDEZ, NILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA JACKSON, ANGELA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA JIMENEZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA JIMENEZ, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA JIMENEZ, NATALIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA JUSTINIANO, ARTURO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA JUSTINIANO, CRISTINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA JUSTINIANO, GLORIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA LAMBOY, SONNELYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA LINARES, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA LLORENS, MARIANGELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA LOPEZ, FERNANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA LOPEZ, FRANCISCO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA LOPEZ, HIRAM F.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA LOPEZ, MAYRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA LOPEZ, MISAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA LOPEZ, PEDRO A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA LOPEZ, SAMUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA LOPEZ, ZULMA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MALPICA, JESUS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MALPICA, JOSEFINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MALPICA, ZENAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MARGOLLA, ERICK            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7185 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2186 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VERA MARRERO, ALBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MARRERO, ANTONIO JAVIER    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MARSHALL, LINDA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MARTINEZ, KETTY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MATIAS, SANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MATIAS, SANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MAYA, VIVIAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MENDEZ, AMELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MENDEZ, ANA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MENDEZ, ANACELYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MENDEZ, DANIEL A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MENDEZ, GAMALIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MENDEZ, INEABELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MENDEZ, JORGE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MENDEZ, NELSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MERCADO, ROLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MIRO, BRENDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MOLINA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MOLINA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MONROIG, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MONROIG, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MONROIG, JOSEFINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MONROIG, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MONROY, SILVERIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MONTALVO, RAMON A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MORALES, AGNES O           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MORALES, AGNES O.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MORALES, ELSY E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MORALES, MAIRYM            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MORALES, MAIRYM E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MUNIZ, JOSE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MUNIZ, LOURDES M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA MUNOZ, JALITZA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA NATAL, ALEJANDRO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA NEGRON, AMPARO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA NEGRON, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA NEGRON, CONSUELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA NEGRON, CONSUELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA NEGRON, DOLORES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA NEGRON, GLORIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA NEGRON, LUIS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA NEGRON, SHARA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA NIEVES, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA NIEVES, ELSIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA NIEVES, ELVIN H.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA NIEVES, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA NIEVES, MELVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ORTIZ, LIDEA Y             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ORTIZ, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7186 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2187 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VERA ORTIZ, MANUEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ORTIZ, TANIA J             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ORTIZ, TANIA J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PACHECO, EDUARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PACHECO, JEANNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PACHECO, JEANNE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PEREZ, ANA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PEREZ, ARLEEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PEREZ, BENIGNO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PEREZ, CARMEN L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PEREZ, CELIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PEREZ, EDWIN XAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PEREZ, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PEREZ, LYDDA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PEREZ, LYDDA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PEREZ, LYDIA A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PEREZ, MARIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PEREZ, MARIO A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PIETRI, ADOLFINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PINO, DANIEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PINO, ESPERANZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PINO, ESPERANZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA PITRE, YARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA QUILES, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RAMIREZ, LIONEL ATILAS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RAMIREZ, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RAMOS, EDGARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RAMOS, HIGINIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RAMOS, ILEANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RAMOS, RAMON A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RAMOS, ROBERTO A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RAMOS, SID M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA REYES, ALEX X.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RIOS, ANARDIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RIOS, ANARDIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RIOS, ANTHONY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RIOS, ANTHONY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RIOS, ERIKA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RIOS, REBECCA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RIVERA, AGNES M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RIVERA, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RIVERA, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RIVERA, ALEXIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RIVERA, CARLOS L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RIVERA, JUAN CARLOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RIVERA, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RIVERA, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RIVERA, MARIA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RIVERA, MARICELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7187 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2188 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VERA RIVERA, VIVIAN M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RODRIGUEZ, CHRISTIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RODRIGUEZ, DENISSES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RODRIGUEZ, ELBA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RODRIGUEZ, ELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RODRIGUEZ, HELIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RODRIGUEZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RODRIGUEZ, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA RODRIGUEZ, LUIS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ROJAS, BERNICE N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ROLON, GEOMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ROMERO, ARADELIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ROSADO, SANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ROSADO, SANDRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA ROSADO, VIVIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SAAVEDRA, JUAN J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SAAVEDRA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SAAVEDRA, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SALAS, TOMAS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SANCHEZ, GEREMIAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SANCHEZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SANCHEZ, MARITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SANTIAGO, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SANTIAGO, JUAN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SANTIAGO, MILAGROS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SERRANO, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SILVA, RAFAEL A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SILVA, RAFAEL A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SOTO, ELIESNER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SOTO, GIOVANNA R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SOTO, MELVIN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA SOTO, SAMUEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA TORO, AIDA L.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA TORRES, BRYAN H            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA TORRES, EDUARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA TORRES, EDUARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA TORRES, EDUARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA TORRES, JOSE ANTONIO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA TORRES, MELENY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA TORRES, MILAGROS C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA TORRES, ROSA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA TORRES, WIDNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA TORT, VICTOR E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA UMPIERRE, RITA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA UMPIERRE, RITA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VALLE, ANA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VALLE, ANA M               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VALLE, BENITA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VALLE, BONIFACIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2189 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VERA VALLE, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VALLE, JUANITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VARGAS, EMERIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VARGAS, OMAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VAZQUEZ, CARLOS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VAZQUEZ, JUAN J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VEGA, ANGELICA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VEGA, CARMEN M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VEGA, ELADIO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VEGA, LUIS H               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VELAZQUEZ, BLANCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VELAZQUEZ, BLANCA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VELAZQUEZ, DELIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VELAZQUEZ, DELIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VELAZQUEZ, DORIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VELEZ, MARIA R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VERA, ARMANDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VERA, ARMANDO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VERA, ELBA I               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VERA, JUAN                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VERA, SILVIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA VIROLA, LUZ N              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA YAMBO, VANESSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA, ELIAS JR                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERA, FELISA A.                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERARDI MATOS, JAVIER A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERAS PICHARDO, ARELIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERAS ROSARIO, RODYS I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERAS RUIZ, ORLANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERAS SANTIAGO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERAS, YANIRA DEL C.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERAY AZPIRO, AMELIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERAY AZPIROZ, MAYRA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERAY DAVILA, AIDIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDECIA MALDONADO, MAGDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDECIA MALDONADO, MAGDA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDECIA ORTIZ, LUCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDECIA RIVERA, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDECIA RODRIGUEZ, HEIDY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDECIA VALLE, VERONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDECIA VALLE,VERONICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEGUEZ BOCACHICA, PEDRO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO BORIA, ISMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO BORIA, OLGA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO CALDERON, FELIPE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO CALDERON, MARCOS X      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO CARRASQUILLO, BRENDA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO CASTRO, MARIA F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO CLEMENTE, FRANCISCA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7189 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2190 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VERDEJO COLON, LUIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO CORAZON, MAITE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO CRUZ, FELIX DAVID       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO CRUZ, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO DAVILA, DELIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO DE JESUS, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO DE JESUS, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO DEL TORO, AYMAT         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO DELGADO, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO ESCALERA, ANGEL E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO FERRER, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO FIGUEROA, JULIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO GARCIA, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO GEIGEL, DENNIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO GONZALEZ, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO LEON, LUIS F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO LLANOS, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO LOPEZ, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO MALDONADO, ANA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO MARQUEZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO MASSO, MARCELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO MELENDEZ, CELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO MONTANEZ, VERONICA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO NAVEDO, DEBORAH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO OQUENDO, ANTONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO OSORIO, GLORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO PARRILLA, MARILYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO PARRILLA, MELBA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO PIZARRO, RAFAELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO PIZARRO, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO RAMOS, AMAURY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO RAMOS, AMAURY E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO RAMOS, VIRGINIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO RAMOS, WILFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO RIVERA, GLORIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO RIVERA, GLORIA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO RIVERA, JEAN C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO RIVERA, MAGALY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO RODRIGUEZ, CARMEN I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO RODRIGUEZ, CHRISTIAN    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO RODRIGUEZ, LUIS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO RODRIGUEZ, YANILDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO SANCHEZ, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO SANCHEZ, NORA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO SANTANA, CARMEN S.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO SANTANA, ROSARIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO SANTOS, PROVIDENCIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO SOLER, KAREENA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO VAZQUEZ, EDMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7190 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2191 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VERDEJO VERDEJO, MARGARITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO VIGO, JOYCE               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJO VIGO, JOYCE               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJOCANALES, GERARDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEJOPIZARRO, JOSE M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERDEZ SOTO, SANTA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERDI FRANQUIZ, CARLOS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERDIALES COSTA, ALEXANDRA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERDIALES MORALES, MIGUEL A.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA ACEVEDO, LYNETTE N.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA AGOSTINI, EDUARDO J.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA AGOSTINI, LILLIANA E      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA AYALA, KENIA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA AYALA, KENIA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA COLON, PEDRO J            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA CRUZ, ANTONIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA CRUZ, YOLANDA I.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA CRUZ, YOMARY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA FERNANDEZ, LUIS ANTONIO   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA GASCOT, MAYRA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA GOMEZ,STEVE               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA GONZALEZ, MARIA A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA GONZALEZ, MARIA A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA HENRIQUEZ, AIDA I         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA HERNANDEZ, YADIRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA HERNANDEZ, YADIRA S       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA HUERTAS, HECTOR R.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA HUERTAS, MAGDALENA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA LEBRON, YESENIA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA MARRERO DE CASTRI,        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
CARMEN
VERGARA MARRERO, MILAGROS         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA MEDINA, LEEMARIE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA MELENDEZ, MARIA D         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA MOJICA, ANAIS             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA NIEVES, ANALIZ            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA OCASIO, JULIO             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA OCASIO, YOLANDA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA ORTEGA, YARITZA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA ORTIZ, MIRIAM             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA ORTIZ, NERI L             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA ORTIZ, NORMA              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA ORTIZ, RICARDO            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA ORTIZ, VIRGINIA           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA PEREZ, JOSE A             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA PEREZ, JOSUE              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA REYES, MAGALIE            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA REYES, MAGALIE            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VERGARA REYES, MIRIAM             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7191 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2192 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VERGARA RIVERA, YAMIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA RODRIGUEZ, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA ROMAN, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA ROMAN, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA SERRANO, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA TORRES, MADELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA TRINIDAD, JOSE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA TRINIDAD, PEDRO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA VEGA, CLAUDIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA VEGA, NORMA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGARA VILLANUEVA, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGE HERNANDEZ, ENRIQUE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGE HERNANDEZ, NELISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGE SOTO, SONIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGELI ROJAS, MARY KARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES GONZALEZ, JORGE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES GONZALEZ, SONIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES HERNANDEZ, ADALBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES HERNANDEZ, ADALBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES HERNANDEZ, FRANCISCO J   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES HERNANDEZ, NILDA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES HERNANDEZ, NILDA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES INSERNI, ROSA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES MEDINA, SOPHIE RUTH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES ORTIZ, NEREYDA JANISSE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES OSUNA, ADOLFO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES RIVERA, DORIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES RODRIGUEZ, CARLOS M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES RODRIGUEZ, GERARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES RODRIGUEZ, IRIS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES RODRIGUEZ, JUAN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES RODRIGUEZ, MYRNA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES ROSA, MAGDA DE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES ROSA, MAYRA DEL C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES SANTIAGO, DENICHE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES SOLDEVILLA, ANNABELLE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGES VAZQUEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGNE MIRABAL, JOSEPHINE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGNE SOTOMAYOR, FRANCES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGNE SOTOMAYOR, LUIS A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERGNE VELEZ, EMILIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERNAZA CONTRERAS, GLORIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VERNAZA CONTRERAS, GLORIA A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VESCOVACCI NAZARIO, ELIZABETH   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VESCOVACCI NAZARIO, MILTON      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VESSUP SANTIAGO, VICTOR D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VESSUP VALENTIN, VICTOR D       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEVE OLIVERAS, IRMA B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VEVE OLIVERAS, URSULA X         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7192 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2193 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VIADA BELLIDO DE LUNA, MARTA L    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIADA BELLIDO, EDNA E             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIALET GREEVES, EARL L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIALIZ ARROYO, ALESSANDRA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIALIZ FELICIANO, MERVIN M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIALIZ FERRER, LOURDES M.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIALIZ FERRER, LOURDES M.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIALIZ FONT, CARMELO              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIALIZ GONZALEZ, ENID             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIALIZ MARRERO, ANAIDA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIALIZ MONTALVO, MIGUEL ENRIQUE   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIALIZ MONTALVO, VANESSA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIALIZ ORTIZ, MILAGROS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIALIZ ORTIZ, MILAGROS            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA CASTRO, FRANCES O           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA DE JESUS, BETSABE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA DE JESUS, ELIZABETH         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA FIGUEROA, JONATHAN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA QUILES, MYRIAM I            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA SAEZ, GEANNETTE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA SAEZ, GEANNETTE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA SALAS, MELISSA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA SALDANA, JOHANNA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA SALDANA, JOHANNA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA SALDANA, JOHANNA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA SOLA, EMANUEL               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA VARGAS, ELISA               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA VAZQUEZ, CALEB              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA VAZQUEZ, CALEB L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA VAZQUEZ, CALEB L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA VAZQUEZ, LINDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA VAZQUEZ, NANCY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIANA ZAPANTIS, HECTOR            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIAS CORDERO, ELIASIB             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIAS CORDERO, ELIASIB             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIAS MARRERO, SONIA N             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS ACEVEDO, MARIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS ACEVEDO, MARIELLIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS AGUILAR, MARISOL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS CAMPOS, KRIZIALEE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS COMAS, ANGEL               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS GONZALEZ, BARTOLOME        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS GONZALEZ, BARTOLOME        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS GONZALEZ, CESAR L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS GONZALEZ, JAVIER           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS GONZALEZ, RAQUEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS JIMENEZ, OMAR              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS JIMENEZ, OMAR              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS LOPEZ, BRYAN               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7193 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2194 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VICENS LOPEZ, CORALYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS MESTRE, DIANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS MONTERO, CRISTOBAL A     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS OCASIO, BRENDA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS ODUARDO, VENANCIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS PADRO, HECTOR H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS PINERO, MARILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS RAMOS, BEATRIZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS RIVERA, ALBA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS RIVERA, BLANCA T         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS RIVERA, GABRIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS RIVERA, MYRNA V          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS RODRIGUEZ, MARIA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS ROSARIO, DIANE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS ROSARIO, JACQUELINE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS SALGADO, CARLOS E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS SANCHEZ, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS VARGAS, NATIVIDAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS VARGAS, NATIVIDAD        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS VERDEJO, RADAMES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS VICENS, ANGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENS, ANTONIO                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENSRIVERA, MONICA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENT HERNANDEZ, MATILDE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENT HERNANDEZ, MONSERRATE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE ALEJANDRO, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE ALICEA, IRVIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE ALVARADO, WILDA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE AMARO, LYDIA E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE AMARO, NILDA R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE APONTE, FRANCISCA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE BERRIOS, AMARILYS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE BERRIOS, MIGDARELYS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE BERRIOS, MIRAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE BRITO, HAYDEE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE BURGOS, ICHEL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE CAMPOS, YOLANDA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE CARATINI, MARIA N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE CARATTINI, CARMEN D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE COLON, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE COLON, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE COLON, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE COLON, MYRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE CORA, CAMILLE I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE CRESCIONI, MELISSA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE CRUZ, GILBERTO A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE CRUZ, IVETTE DEL L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE CRUZ, JOELY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE CRUZ, MOSHAYRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7194 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2195 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VICENTE CRUZ, REYNALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE DE RIVERA, ROSA I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE DE VICENT, CARMEN L.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE DONES, RAFAELA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE FIGUEROA, PORFIRIO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE FLORES, JUAN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE FONSECA, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE FONSECA, GERARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE GONZALEZ, CARMEN L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE GONZALEZ, VIRGEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE GONZALEZ, VIRGEN A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE GONZALEZ, VIRGEN N      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE GUILFU, IRIS Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE HERNANDEZ, CARMEN J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE LABOY, CLARIBELL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE LAMBOY, IDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE LAMBOY, IDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE LANDRON, MARILYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE LEON, LUZ D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE LOPEZ, ANGELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE MARQUEZ, JESUS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE MARTINEZ, JOSE RAFAEL   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE MARTINEZ, MARIA DEL R   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE MARTINEZ, SONIA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE MARTINEZ, XAVIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE MEDINA, KARINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE MELENDEZ, ISRAEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE MELENDEZ, KARINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE MELENDEZ, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE MELENDEZ, VICTOR J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE MENDOZA, ANA H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE MERCED, LAURIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE MOJICA, MARIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE MORALES, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE NIEVES, LINOSHKA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE NUNEZ, BRENDA L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE OLMEDA, CARMEN D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE OLMEDA, ONELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE OLMO, TERESA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE OLMO, WANDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE OLMO, WANDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE ORTIZ, ALICIA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE ORTIZ, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE ORTIZ, MELISSA J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE ORTIZ, NESTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE ORTIZ, NESTOR L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE ORTIZ, NESTOR L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE ORTIZ, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE OYOLA, DIANNE I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7195 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VICENTE PAGAN, JOSE ELIAS         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE PEREZ, VICTOR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE QUINONES, JOSE R.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RAMOS, KELVIN             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE REYES, MILITZA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RIVERA, BRENDALIZ         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RIVERA, EDDIE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RIVERA, EDDIE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RIVERA, JANELY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RIVERA, LESLIE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RIVERA, MARIA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RIVERA, MARIA E           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RIVERA, MARIELY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RIVERA, MARIELY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RIVERA, MICHAEL ELVIN     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RIVERA, MICHELLE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RIVERA, NELLY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RIVERA, NELLY             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RIVERA, NELSON            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RIVERA, VIRGINIA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RODRIGUEZ, DEBBIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RODRIGUEZ, DEBBIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RODRIGUEZ, JUAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RODRIGUEZ, NELSON E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RODRIGUEZ, YOLANDA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE ROSARIO, JESSICA L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RUIZ, IRMA                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RUIZ, ROSA M              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE RUIZ, ROSA M              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE SANCHEZ, ANGEL L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE SANTIAGO, JOSE L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE SANTOS, ANA C             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE SANTOS, LIZMARY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE SANTOS, LIZMARY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE SOSTRE, MARIA DE LOS A.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE TOLEDO, EDUARDO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE TORRES, CANDIDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE TORRES, JESSICA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE VARGAS, ILIANA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE VARGAS, MARIA C.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE VAZQUEZ, CAONABO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE VICENTE, ANGELINA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE VICENTE, MARIA C.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE VIDAL, YAMNELLY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE VIZCARONDO, AILENE M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE ZAMBRANA, ROSARIO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE, AMERICO                  REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE, FELIX J                  REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE, JUAN                     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7196 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2197 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VICENTE, ROBERTO                  REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTE, ROBERTO                  REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTI CAPO, MADELINE            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTI COLON, LUIS E             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTI SANCHEZ, MIRIAM           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTI SANCHEZ, WILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTI VELEZ, KARLA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTY ASAD, SARA L.             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTY AYMAT, NESTOR             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTY AZIZI, SARAH              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTY BERRIOS, IRMARIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTY BEZARES, AWILDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTY CORTES, CARLOS A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTY DE CANALES, VIRGINIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTY GARCIA, NELSON            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTY GOMEZ, CARMEN D.          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VICENTY HERNANDEZ, MARIA DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
A
VICENTY LOPEZ, HORMIZILDA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY LUGO, NORMA I.            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY MARTELL, JOSE A           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY MUNIZ, JOSELITO           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY NAZARIO, MIRINDA Y.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY RAMOS, GLORIA I           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY RAMOS, GLORIA I           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY RAMOS, LUIS               REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY RIVERA, WILFREDO          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY RODRIGUEZ, CARLOS A       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY RODRIGUEZ, JESSENIA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY RODRIGUEZ, MARIA DE LOS   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
N.
VICENTY RODRIGUEZ, NYDIA E.       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY ROMAN, MARIA E            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY SANTANA, LOURDES          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY SANTANA, LOURDES          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY SANTANA, MARIA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY SANTANA, MARIA E          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY SANTIAGO, IVAN E.         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY TORRES, BRYAN             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY TRINIDAD, MARA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY TRINIDAD, MARA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICENTY VALENTIN, HAYDEE          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICK DIAZ, ELUIS                  REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICTORIA CASTELLANOS, BLANCA M    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICTORIA CASTELLANOS, BLANCA M.   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICTORIA LOPEZ, CARLOS            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICTORIA ROSADO, CARMEN           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VICTORIO SANCHEZ, JAMMILE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAILLET ROLDAN, EDWIN           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7197 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2198 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIDAL ACEVEDO, GLORIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL ACEVEDO, LIZA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL ACEVEDO, MARIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL AFANADOR, JOEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL ALVIRA, BIENVENIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL ALVIRA, BIENVENIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL ARBONA, CARLOS L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL ARBONA, ROSARIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL AVILA, CARLOS H.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL AYALA, MARIBEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL BURGOS, VIVIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CABANAS, MARCOS A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CARBONELL, YADIRA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CARDONA, RAMONA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CARO, MARIBEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CARRERAS, JUAN C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CERRA, ANA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CINTRON, FELIX J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CLARILLO, NILDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CLAUDIO, JULIO C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL COLLAZO, LEYDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL COLON, ERICK J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL COLON, OMAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CORDERO, CARLO E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CRESPI, FELIX D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CRESPO, ARCENETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CRESPO, ARCENETTE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CRUZ, ALLYSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CRUZ, BRENDA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CRUZ, ERIC D.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL CRUZ, HORTENSIA V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL DE GARCIA, JULIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL DE JESUS, GLORIMAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL DE JESUS, PEDRO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL DE RODRIGUEZ, PETRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL DEL VALLE, MARIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL DELGADO, MARCO A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL DIAZ, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL DIAZ, CARLOS D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL DIAZ, MIRELSA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL DURAN, FRANKLIN E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL ECHEVARRIA, JOHNY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL ESPINOSA, ADA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL ESPINOSA, ORLANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL FEBUS, SUANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL FIGUEROA, WANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL FONT, JORGE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL FONTANEZ, ANGEL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL GIL, EDDIE                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2199 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIDAL GONZALEZ, ALEX            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL HERNANDEZ, AMARILIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL IRIZARRY, MARLENE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL IRIZARRY, NILSA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL ISAAC, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL LOMBARDERO, MARIA DE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
LOURDES
VIDAL LOPEZ, ANA D              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL LOPEZ, GLADYS Y           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL LOPEZ, TOMAS              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL LOPEZ, TOMAS              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL LORENZO, DANIEL U.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL LUGO, MIGUEL A.           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MALDONADO, DOLORES        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MALDONADO, LUZ M.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MALDONADO, PEDRO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MARTE, NATIVIDAD          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MARTINEZ, ANA V           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MARTINEZ, ANA V           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MARTINEZ, ELISEO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MARTINEZ, GRISERLIS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MATOS, LUIS E.            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MELENDEZ, MARIE T.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MERCADO, GRISEL           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MERCADO, NILSA E          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MERCADO, NILSA E          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MIRANDA, KATHYA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MOLINA, MYRIAM            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MONTALVO, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MONTALVO, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MORALES, GLENDA I         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MORALES, JULIO            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL MORAN, JOSE M             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL NIEVES, MARIBETH          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL NIEVES, MARIBETH          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL NUNEZ, MARIA T            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL NUNEZ, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL OBREGON, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL OBREGON, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL OLIVO, ESTEBAN            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL ORENGO, CARMEN A.         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL ORENGO, NYLDA A           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL ORTEGA, HERIBERTO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL ORTIZ, VERONICA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL OSORIO, MICKEY W          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL PAGAN, NADIA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL PAGAN, NADIA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL PEREZ, CHRISTOPHER        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIDAL PEREZ, YESSICA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7199 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2200 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIDAL PINEIRO, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL PIQEIRO, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL PUJOLS, BERNARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL QUILES, GUSTAVO E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL QUINONES, ADA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL QUINONES, MANUEL D        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL QUINTERO, RUTH A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RAMOS, HECTOR L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL REYES, DAISY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL REYES, DAISY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL REYES, ENICK Z            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL REYES, HERNAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RIOS, ANTONIO R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RIOS, MILAGROS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RIOS, MILAGROS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RIOS, ORLANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RIVERA, CARLOS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RIVERA, CARLOS D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RIVERA, GIOVANI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RIVERA, IVELISSE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RIVERA, JACKNEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RIVERA, JESSICA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RIVERA, JESSICA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RIVERA, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RIVERA, RAFAEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RODRIGEZ, MARIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RODRIGUEZ, ADA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RODRIGUEZ, CECILIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RODRIGUEZ, FRANCES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RODRIGUEZ, JUDITH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RODRIGUEZ, MABEL E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RODRIGUEZ, NADJA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RODRIGUEZ, NOE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RODRIGUEZ, RAYZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RODRIGUEZ, ROSSANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RODRIGUEZ, VIVIANA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RODRIGUEZ, YVONNE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL ROSADO, NEREIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL ROSADO, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL ROSADO, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL ROSARIO, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL ROSARIO, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RUIZ, CORALYS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL RUIZ, IRMA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SAENS, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SAENZ, MARIANO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SALCEDO, ADLIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SALCEDO, ADLIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SANJURJOS, LIZ Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7200 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2201 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIDAL SANTANA, LORRAINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SANTANA, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SANTIAGO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SANTIAGO, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SANTIAGO, EDMARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SANTIAGO, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SANTIAGO, ELIZABETH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SANTIAGO, EWRAY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SANTIAGO, JOSELLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SANTIAGO, JULINES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SANTIAGO, KARLA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SANTIAGO, SHEILA M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SANTOS, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SOSA, JUAN C              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SOTILLO, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SOTO, RAMON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SOTO, RAMON               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL SUSTACHE, SAMUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL TINAJERO, OLGA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL TORRES, IDALITH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL TORRES, ILEANETTZY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL TORRES, ZAIRA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL VALDIVIA, TERESA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL VALENTIN, ARLENE J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL VARGAS, EDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL VAZQUEZ, MAX LOUIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL VAZQUEZ, MIGUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL VAZQUEZ, MIGVIA DEL C.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL VELAZQUEZ, ANIBAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL VELAZQUEZ, ANIBAL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL VELAZQUEZ, BETTY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL VELAZQUEZ, DARIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL Y SEPULVEDA, RAUL R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL, FREDDIE                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDAL, JOSE R                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDALES GALBAN, AUREA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDALES GALBAN, AUREA R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDO VELEZ, RICARDO J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT ARBELO, LUZ E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT BIRRIEL, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT BIRRIEL, IVETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT BIRRIEL, IVETTE Y         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT BIRRIEL, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT BIRRIEL, JOSE A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT BUTTER, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT FERRER, MARILYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT HERNANDEZ, CYNTHIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT HERNANDEZ, CYNTHIA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT HERNANDEZ, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7201 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2202 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIDOT HERNANDEZ, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT HERNANDEZ, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT HIDALGO, FRANCES P        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT ORTIZ, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT RIOS, DELIZ K             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT RIOS, DELIZ K             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT RIVERA, VICTORIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT RODRIGUEZ, CARMEN I.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT ROSADO, GABRIEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT ROSARIO, ESTEBAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT SOTO, JOEL A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT TORRES, VICTOR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT VALENTIN, JOSE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT VIDOT, AWILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT VIDOT, MARIA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT VIDOT, MARIA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT, LISANDRA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDOT, RUBEN                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO ALBINO, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO ALICEA, ANTONIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO ALICEA, NOHEMI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO AYALA, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO BAEZ, JANNETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO COTTY, ANGELIES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO GONZALEZ, MYRNA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO GONZALEZ, NYDIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO GONZALEZ, WILFRANCIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO LOPEZ, CORALIZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO MARTINEZ, WILFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO MARTINEZ, WILL F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO MONTALVO, WANDA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO NUNEZ, LUIS A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO OCASIO, ANGEL L.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO OLMEDA, SORGEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO ORTIZ, KEILA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO PAGAN, MARTA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO RODRIGUEZ, GUDELIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO RODRIGUEZ, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO SANTANA, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO SANTANA, FERMINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO SANTIAGO, WILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO TIRU, ISRAEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO TRUJILLO, AIDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO VALENTIN, LUIS ALBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO VALENTIN, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO VEGA, LINDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO VEGA, LINDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO VELAZQUEZ, CARLOS J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIDRO ZAYAS, MERCEDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7202 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2203 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIDROVEGA, ROBERTO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIEJO RULLAN, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIENTOS CASILLAS, DAVID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIENTOS CHAPARRO, BARBARA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIENTOS CHAPARRO, BARBARA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIENTOS CRUZ, DALIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIENTOS CRUZ, DALIA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIENTOS CRUZ, ROMULO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIENTOS GUZMAN, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIENTOS JACA, NELSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIENTOS NIEVES, MATILDE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIENTOS ORTIZ, ANA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIENTOS PEREZ, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIENTOS SANTIAGO, SOL M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ACEVEDO, GERMAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA AGOSTO, ELBA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA AGOSTO, LUIS R.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ALAMO, GISELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ALAMO, JUAN E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ALVIRA, JULIO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA APONTE, ASTRID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA APONTE, ASTRID            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA AYALA, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA BAEZ, SANDRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA BAEZ, SHAYRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA BATISTA, ROSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA BETANCOURT, GLADYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA BETANCOURT, RAMONA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA BOSCH, MIRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CALDERON, ALBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CALDERON, CARMELO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CALDERON, EDGARDO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CANALES, ROXANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CARABALLO, ADRIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CARDONA, AURA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CARDONA, AURA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CARO, ZENAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CARRASQUILLO, CARMEN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CARRASQUILLO, GILB        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CARRASQUILLO, HEIDI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CARRASQUILLO, HEIDI       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CARRASQUILLO, IRELIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CARRASQUILLO, JISETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CASTILLO, WILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CASTRO, GLADYS P          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CASTRO, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CATALAN, FRANCISCO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CENTENO, LUIS RAFAEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CINTRON, JOSEPH A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7203 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2204 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIERA CINTRON, LINNETTE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CLAUDIO, JOCELYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA COLON, LINA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA COLON, VIVIANETT          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CONDE, PAOLA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CORCHADO, ALBA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CORCHADO, EVELYN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CORCHADO, EVELYN ALBA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA COSME, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA COUVERTIER, DELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA COUVERTIER, DELIA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CRUZ, CARMEN A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CRUZ, FRANCISCO JOSE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CRUZ, OSVALDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA CRUZ, PETRA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA DAVILA, ARIS D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA DE JESUS, KASANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA DE JESUS, ODALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA DELGADO, ZOE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA DIAZ, LESLIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA DIAZ, MAGGIE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ESTREMERA, DARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA FEBO, ARACELIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA FEBO, GRISEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA FELICIANO, KERWIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA FELICIANO, REYNALDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA FERMAINT, YARITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA FIGUEROA, ELI M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA FIGUEROA, HILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA FIGUEROA, MARISELA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA FIGUEROA, ROBIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA FONSECA, JACKELINE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA FORTIS, ADA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA FORTIS, ADA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA FRATICELLI, YAIDI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GARAY, ELIZABETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GARCES, WILFREDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GARCIA, CARLOS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GARCIA, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GARCIA, JUDITH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GARCIA, JUDITH I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GARCIA, NILKA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GARCIA, NILKA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GOMEZ, YARITZA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GONZALEZ, ELIACIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GONZALEZ, GLORIA S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GONZALEZ, IVELISSE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GONZALEZ, LILLIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GONZALEZ, LUZ M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2205 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIERA GONZALEZ, MARILYN AIXA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GONZALEZ, MIGDALIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GONZALEZ, NORA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GONZALEZ, TAMARA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GRACIA, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA GUZMAN, LOURDES C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA HERNADEZ, NELSON O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA IRRIZARRY, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA JIMENEZ, JOSE A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA JIMENEZ, MARITZA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA JOY, ABLYN M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA LAGUERRA, MARITZA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA LEBRON, RAMON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA LEBRON, SYLVIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA LLANOS, NORMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA LLANOS, NYDIA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA LOPEZ, ALEXANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA LOPEZ, PROVIDENCIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA LOPEZ, SYLVIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA LOZADA, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA LOZADA, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA LUGARDO, EMMANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA LUGO, CHRISTIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MAISONET, MARISABEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MAISONET, MARISABEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MALDONADO, EDGARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MALDONADO, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MALDONADO, LUZ M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MARCANO, CARMELO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MARTINEZ, EDGARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MARTINEZ, ERIC            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MARTINEZ, GISELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MARTINEZ, GISELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MARTINEZ, LEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MARTINEZ, MIGUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MATEO, JEANNETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MATEO, JEANNETTE W        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MATOS, ANGEL L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MATOS, THAILENI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MEDINA, MANNY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MELENDRES, ALBA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MENDOZA, ANGEL L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MERCADO, DELIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MORA, AILEEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MORALES, CARLOS J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MORALES, GUILLERMO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA MORALES, WILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA NEGRON, KARLA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA NIEVES, MAGALI            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7205 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2206 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIERA NIEVES, UBALDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA OLIVERAS, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA OLIVERAS, WANDA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ORTIZ, CHINTHIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ORTIZ, HILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ORTIZ, MARIA DEL C.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ORTIZ, NADEIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ORTIZ, VIDANILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA OSORIO, FRANCISCO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA OSOSRIO, KEICHA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA PAGAN, JUANITA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA PAGAN, PEDRO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA PAGAN, STEVENS I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA PEDROZA, JOEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA PENALOZA, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA PEREZ, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA PEREZ, JUAN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA PEREZ, LUIS E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA PEREZ, MARAGRITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA PEREZ, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA PEREZ, STEVEN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA PICCARD, MADELINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA PLANAS, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA PORTALTIN, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA QUINTERO, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RABELO, VANESSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RAMOS, ARELIZ J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RAMOS, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RAMOS, CARMEN P           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RAMOS, FELIX J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RAMOS, FELIX JUAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIOS, JORETSSIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIOS, JORETSSIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIVERA, CARMEN L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIVERA, CARMEN M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIVERA, CARMEN M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIVERA, CESAR E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIVERA, FELIPE A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIVERA, GLENDA MARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIVERA, GLOMARIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIVERA, HECTOR M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIVERA, JUAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIVERA, JUAN C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIVERA, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIVERA, LISANDRA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIVERA, LIZZETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIVERA, LIZZETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIVERA, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RIVERA, SHIRLEY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7206 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2207 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIERA RIVERA, YAHAIRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ROCHER, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, ALBA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, ANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, ANNETTE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, BRYAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, CARMEN J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, JENNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, JESUS M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, JUAN R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, LISANDRA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, MARIO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, MITZY J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, PALMIRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, PEDRO L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, RAFAEL LUIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, RUTH E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, SHELEPH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, SHELEPH M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RODRIGUEZ, WANDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ROMERO, LUENGY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ROSA, MARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ROSA, NEREIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ROSADO, ILEANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ROSADO, KARELY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA ROSARIO, ANGEL M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RUIZ, LEONARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA RUIZ, VELMAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SAN MARTIN, BEATRIZ       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SANCHEZ, ALEMI E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SANCHEZ, FILIBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SANCHEZ, JAVISH M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SANCHEZ, JAVISH M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SANTANA, MINERVA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SANTANA, NEREIDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SANTIAGO, GODELENI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SANTIAGO, GODELENI        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SANTIAGO, JOSEPH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SANTIAGO, LUIS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SANTIAGO, SHERYL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SEIJO, KARLA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SERRANO, GLORIMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SERRANO, LOURDES          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SERRANO, LOURDES M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SERRANO, MILTON A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SOTO, NYDIA Y             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SOTOS, CARLOS F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA SUAREZ, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7207 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2208 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIERA SUAREZ, ROSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA TIRADO, FRANCISCO J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA TOMASSINI, YAITZA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA TORRES, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA TORRES, LUIS A.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA TORRES, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA TORRES, NOEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA TORRES, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA TORRES, PEDRO A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA TORRES, SONIA B           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA TORRES, SONIA B.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VALCARCEL, MARISOL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VALCARCEL, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VALCARCEL, ROSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VARGAS, CHRISTIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VARGAS, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VARGAS, JOSE C.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VAZQUEZ, ANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VAZQUEZ, WANDA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VEGA, ANA A               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VEGA, ELIZABETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VEGA, PEDRO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VELAZQUEZ, ISRAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VELAZQUEZ, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VELAZQUEZ, JUAN C.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VELAZQUEZ, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VELAZQUEZ, SONIA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VELAZQUEZ, VIVIAN L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VELEZ, CARMENCITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VELEZ, FRANCES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VIERA, LUZ S              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VIERA, MARIA G            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERA VILLAFANE, JOSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERAFIGUEROA, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERAS FARGAS, CARLA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIERRA GONZALEZ, JUANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIETA RIVERA, MARIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGIL DELGADO, ADA J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGIL DELGADO, CARLOS ALBERTO   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGIL DIAZ, DIANA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGIL HERNANDEZ, MARIA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGIL LEBRON, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGIL LEBRON, LUISA B.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGIL MEDINA, BRENDA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGIL POLLOCK, RAMED W          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGIO CONTRERAS, MARIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGIO RIVERA, DAVID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGIO RIVERA, LILLIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGIO RIVERA, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7208 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2209 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIGO AVILES, MARTA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO AYALA, MARIELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO CALDERON, CARMEN V.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO CARABALLO, JAIME           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO CASTRO, AUDREY Y           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO CEPEDA, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO CINTRON, JOSE M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO CINTRON, STEPHANIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO CRESPO, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO FIGUEROA, NANCY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO GARCIA, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO GARCIA, CARMEN S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO GARCIA, LUIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO GARCIA, LUIS I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO GARCIA, MITZA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO GARCIA, ODETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO GARCIA, WILFREDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO GONZALEZ, FEDERICO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO GONZALEZ, GASPAR E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO GONZALEZ, GUAYTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO JORGE, EDGARDO M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO LOPEZ, ANGEL A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO MALDONADO, CARMEN Y.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO MARQUEZ, LISA V.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO MARTINEZ, JOEL S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO MUNOZ, ANGEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO MURRAY, CATHERINE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO ORTIZ, EDWIN A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO OTERO, AUERA E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO OTERO, MARITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO PEREZ, MONICA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO PEREZ, MONICA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO POLLOCK, ANGEL L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO RAMOS, GLORIA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO RIVERA, GLENDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO RIVERA, SANDRA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO RIVERA, SHEILA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO RIVERA, TEREK              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO ROSARIO, SHARON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO SANTOS, ALFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO SANTOS, ALFREDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO SANTOS, ANGEL              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO SANTOS, ANGEL L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO SOLER, JONATHAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO SOLER, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO SOTO, JULIAN J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO TOSADO, MANUEL E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO VIGO, CARMEN L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGO VIGO, RONALD               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7209 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2210 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIGOA BARRIOS, LAZARO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGOREAUX BORRERO, JUAN C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGOREAUX BORRERO, JUAN C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGOREAUX HERNANDEZ, ANGEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGOREAUX HERNANDEZ, ARLENE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGOREAUX LORENZANA, ROBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGOREAUX SANCHEZ, SHEILA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIGUERAS, ANDREW P              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA BAEZ, MARTA E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA BIAGGI, INGRID M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA BURGOS, IGNACIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA CARRERAS, EMILO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA DE JESUS, RIGOBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA FELICIANO, IVIS K.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA FIGUEROA, GREGORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA FRANQUI, ELISABET          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA FUENTES, MELISSA W         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA GARCIA, BIANCA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA GARCIA, PEDRO M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA GOMEZ, IVONNE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA GONZALEZ, MARIA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA GONZALEZ, MARIA H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA JIMENEZ, MARIA A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA MALDONADO, EDUARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA MARRERO, ELIEZER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA MARTINEZ, IVETTE A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA MOJICA, MARILYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA NIEVES, EDNA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA OJEDA, LUIS I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA PAGAN, ANGEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA PEREZ, GILBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA PEREZ, PATRICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA PEREZ, WANDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA PEREZ, WANDA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA PIZARRO, MAXIMINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA RAMOS, CARMEN S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA RAMOS, OTONIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA RAY, MANUEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA RIVERA, ENID DEL S         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA RIVERA, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA RIVERA, KARINA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA RIVERA, MAGDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA RIVERA, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA RIVERO, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA RODRIGUEZ, ZULMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA ROSADO, CARMEN J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA ROSARIO, VICKY A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA RUIZ, JENNIFER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILA SANTIAGO, ISABEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7210 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2211 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VILA SELLES, VILMA J.             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILA SERRANO, AIDA E              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILA SERRANO, EMMANUELLE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILA SERRANO, EMMANUELLE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILA SOLANO, MIGUEL A.            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILA TORRES, RUBI                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILA VALLE, EDWIN                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILA VAZQUEZ, ENRIQUE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILA VAZQUEZ, IRACEMA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILA VAZQUEZ, IRACEMA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILA ZENGOTITA, JOSE L            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILA ZENGOTITA, ROBERTO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILANOVA ALEMAN, IDALIS M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILANOVA COLLADO, EDWIN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILANOVA COLLADO, ROBERTO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILANOVA FLORES, VICTOR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILANOVA PABON, SAYNIL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILANOVA PORTALATIN, JOSE J.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILANOVA RAMOS, LUIS              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILANOVA RIVERA, HECTOR           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILANOVA RIVERA, IVELISSE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILANOVA RIVERA, IVELISSE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILANOVA SAN MIGU, NORBERTO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILANOVA VILANOVA, HEYDA A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILANOVA VILANOVA, JORGE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILAR FUSSA, JUAN                 REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILAR MARTINEZ, SIGDIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILAR REYES, JOSE A               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILAR SANTOS, ESTELLE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILARDI RIZZUTO, JOY              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILARINO RODRIGUEZ, NELLY         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILARINO SANTIAGO, JAVIER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILARO CARO, NELMARIE             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILARO CRESPO, MADELINE           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILARO LOPEZ, ELGA N              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILARO SUAREZ, HECTOR L           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILARO TORRES, LILLIAM            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILARO VALDERRABANO, CHARLES E.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILARO VELEZ, LUIS                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILCHES NEGRON, MARIEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILCHES NEGRON, MARIELA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILCHES NEGRON, MARISEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILCHES NORAT, OLGA NANETTE       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILCHES NORAT, YOLANDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILCHES RIVERA, LINNETTE Y.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILCHES SANCHEZ, AIXA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILCHES SANCHEZ, JELIXSA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILCHES ZAYAS, MIRIAM             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILCHEZ VALENZUELA, DENIS A.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7211 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2212 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VILELA GAY, JOSE E               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILELLA CASASNOVAS, ANA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILELLA COLL, ANGELA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILELLA DEL TORO, REGINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILELLA DIAZ, JACKELINE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILELLA FIGUEROA, CHRISTINA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILELLA GONZALEZ, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILELLA GONZALEZ, MARISOL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILELLA HECHT, LIGIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILELLA MOLINA, LAZARO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILELLA NATAL, JULIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILELLA NATAL, JULIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILELLA RIVERA, ONEYDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILELLA RIVERA, ONEYDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILELLA ROSARIO, JOSEFINA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA AGRON, OTONIEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA ARMENDARIZ, SANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA ARMENDARIZ, SANDRA C       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA AYALA, JANET               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA BENVENUTTI, FERNANDO III   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA ELIAS, IVETTE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA ELIAS, IVETTE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA FLORES, ADALBERTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA FLORES, JOSE L             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA GARCIA, JOSELINE M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA GONZALEZ, LUIS L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA LORENZO, ELIDO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA MALAVE, LILLIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA MEDINA, HEIDY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA MEDINA, LEONOR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA MOURA, JOSE R              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA ORTIS, JOSE SAN MART       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA ORTIZ, JOSE SAN MART       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA ORTIZ, XAVIER A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA PACHECO, YADAIRETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA REYES, VANESSA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA RIOS, MARIA G              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA RIVERA, BARBARA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA RODRIGUEZ, MAILEEN A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA RODRIGUEZ, ZACHIRA S.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA ROSARIO, RICARDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA RUIZ, ZORAIDA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA RUIZ, ZORAIDA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA SILVA, TAMEYRA L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA SOTO, GLORIA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA SOTO, MARIA                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLA VELEZ, ANGELIZ             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLABOL FIGUEROA, JOCABED       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLABOL LOPEZ, FRANKIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7212 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 2213 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VILLABOL LOPEZ, FRANKIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLABOL RIVERA, RAFAEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLABOL RODRIGUEZ, FRANKIE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLABOL RODRIGUEZ, JOAQUIN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLABOL RODRIGUEZ, JOAQUIN     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLABONA VILAS, BEATRIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLACIS, EDER                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLADAMIGO DE ZAYAS, LOURDES M REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAESPESA ZALDUONDO, FERNANDO REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

VILLAFA&E JIMENEZ, JUAN E       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANA ROSA, GRISEL          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE ACOSTA, ARCADIA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE ANDUJAR, FABIOLA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE ARROYO, SANDRA I      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE AYALA, LISBEL I       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE AYALA, LISBEL I       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE BERRIOS, SARAI        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE BLANCO, ANA Y         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE BLANCO, MANUEL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE BORRETO, SUHEILY      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CAMACHO, JOSE R       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CAMACHO, JUAN J       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CAMACHO, NANCY I      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CAMACHO, PEDRO D.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CANDELAS, IVONNE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CARMONA, LUCE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CARRION, OMAR         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CENTENO, MARIBELLA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CHAMBERS, JOEL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CLAUDIO, AIMEE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CLAUDIO, MONICA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CLAUDIO, MONICA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE COLLAZO, PEDRO        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE COLON, ALEXANDRA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE COLON, MARIA DEL M    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE COLON, MARIA DEL. M   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE COLON, NERIVALIZ      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CONDE, JUAN C.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CORA, VICTOR R        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CORDERO, ZOILA E      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFAÑE CORDERO, ZOILAE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CRUZ, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CRUZ, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CRUZ, MARIA M         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CRUZ, PATRICIA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CRUZ, ROGELIO         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CRUZ, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE CRUZ, VANESSA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7213 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2214 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VILLAFANE CUBELO, LETICIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE CURBELO, LETICIA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE DE JESUS, CARMEN H      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE DE JESUS, IVYANNETTE    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE DE JESUS, NITZA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE DEL VALLE, BLANCA I     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE DEYACK, EILEEN C        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE FONT, MARGARITA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE FREYTES, PEDRO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE GARCIA, IVELISSE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE GARCIA, MARIA V         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE GOMEZ, MEI‐LING         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE GONZAL, FRANCISCO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE GONZALEZ, CARLOS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE GONZALEZ, CARMELO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE GONZALEZ, GREYSHA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE GONZALEZ, JUAN CARLOS   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE GONZALEZ, KEVIN J       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE GONZALEZ, MARIA DEL C   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE GONZALEZ, MINERVA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE GONZALEZ, STEPHANIE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE GONZALEZ, STEPHANIE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE GUZMAN, EDMAGALLY       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE HERNANDEZ, JESUS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE HERNANDEZ, NOEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE IRIZARRY, WILSON        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE IZGUIERDO, GUADALUPE    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE JAIME, RAUL             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE JORDAN, LIANABEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE JORGE, LUIS             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE LEBRON, WILMARIE        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE LOPEZ, ERIC LUIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE LOPEZ, JUHANNIE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE LOPEZ, MARIA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE LOPEZ, MYRNA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE LOPEZ, MYRNA L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE LOPEZ, NADJA H          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MARQUES, MARLYN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MARTINEZ, ANGEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MELENDEZ, LORRAINE      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MONTIJO, JORGE L        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MONTIJO, WILLIAM        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MORALES, ANTONIO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MORALES, KARMIN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MORALES, LUZ            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MORALES, LUZ B          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MORALES, MARIANN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MORALES, MARLEEN        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MORALES, MILAGROS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7214 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                     Schedule E3 Page 2215 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VILLAFANE MORALES, MILAGROS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MOREIRA, JUAN A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MOREIRA, JUAN A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MOYET, JUDITH           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MOYETT, JOSE L          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE MUNOZ, SONIA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE NEGRON, BENEDICTA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE NEGRON, MARIELA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE NIEVES, HECTOR J        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE NIEVES, JOSE G          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE ONGAY, ANA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE OROZCO, RICARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE ORTIZ, LUIS J           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE ORTIZ, LYZMARY          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE OSORIO, EDUARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE OSORIO, EDUARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE PADILLA, CAMILE I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE PAGAN, ALEIDA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE PAGAN, CARMELO JAVIER   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE PARRILLA, LUIS          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE PERDOMO, EVELYN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE PEREZ, ARLYN I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE QUINONES, NORMA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE QUINTERO, RUTHMARIE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE QUINTERO, RUTHMARIE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RAMIREZ, LUIS E.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RAMOS, GIANCARLO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RAMOS, JENNIFER         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RAMOS, JOSE LUIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RAMOS, WILLIAM          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RAMOS, WILMAYRA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE REYES, ANA M            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE REYES, MIGNA Y          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RIERA, GUILLERMO J      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RIERA, GUILLERMO J      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RIERA, RAFAEL           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RIVERA, ABIGAIL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RIVERA, ADA I           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RIVERA, ARACELIS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RIVERA, EDGARDO         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RIVERA, ELSA I          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RIVERA, IRAN            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RIVERA, MARICELIS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RIVERA, PEDRO A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RIVERA, ROSSMERRI       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RIVERA, YOSEPH M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RIVERA, YOSEPH M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE ROBLES, AMARILYS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RODRIGUEZ, ANA CELIA    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7215 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2216 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VILLAFANE RODRIGUEZ, DANALIZ    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RODRIGUEZ, JOSE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RODRIGUEZ, SAMIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RODRIGUEZ, ZAIDA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RODRIGUEZ, ZAIDA M    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE ROMERO, SHARLENE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE ROSARIO, HILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE RUIZ, EILEEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SANCHEZ, DIANA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SANDOVAL, LISSETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SANDOVAL, LISSETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SANDOVAL, ZORAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SANTANA, LOURDES      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SANTIAGO, ANGEL A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SANTIAGO, EFRAIN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SANTIAGO, GISELLE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SANTIAGO, IXIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SANTIAGO, MAGALY      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SANTIAGO, MARILIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SANTOS, DINAH L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SANTOS, MIRIAM        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SANTOS, MYRIAM E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SANTOS, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SANTOS, SONIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SASSO, SANTIAGO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SASTRE, SHEMILL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SASTRE, SHEMILL E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SASTRE, WILLANYS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SASTRE, WILLIAM G     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SEGUINOT, ANGEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SERRANO, NORMA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SERRANO, NORMA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SERRANO, ROBERTO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE SOTO, MARTA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE TARRATS, EDGAR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE TORRES, ANA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE TORRES, GILDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE TORRES, NELSON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE VALENTIN, ILIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE VALENTIN, VINIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE VASALLO, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE VAZQUEZ, FELIX E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE VAZQUEZ, RAFAEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE VEGA, FELIX E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE VELAZQUEZ, GLADYS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE VELAZQUEZ, GLORIA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE VELEZ, ALEJANDRINA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE VICENTY, NILSA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE VIDAL, LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7216 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2217 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VILLAFANE VILLAFANE, DARYSABEL    REDACTED                     REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAFANE VILLALOBOS, CHRISTOPHER REDACTED                     REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED

VILLAFANE ZAVALA, EDGARDO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE ZAYAS, ELIZABETH       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFAÑE ZAYAS, ELIZABETH       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE ZAYAS, MARIBEL         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANE, VANESSA M.            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANES RIOS, EVARISTO        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANEVEGA, JUAN              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFANEZ ROURE, JOHN           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFAQE DE LEON, HIGINIO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFAQE DEL VALLE, SUSAN       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFAQE RIVERA, IRAN           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFRANCA BASTIA, MYRNA Z      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAFUERTE, KATHERINE           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAGRAN DE LEON, RUTH          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAGRANA TORRES, ANGELICA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAGRASA FLORES, ELIZABETH     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAHERMOSA CANDELARIA,         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WILLIAM
VILLAHERMOSA HERNANDEZ, CARLOS   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAHERMOSA MARTINEZ, DALMA L   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAHERMOSA MARTINEZ, MAYRA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAHERMOSA RIVERA, EYBEL       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAHERMOSA RIVERA, ILSA M      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAHERMOSA RODRIGUEZ,          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ALEJANDRA
VILLAHERMOSA RODRIGUEZ,          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ALEJANDRA
VILLAHERMOSA, ENRIQUE L          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAIZAN GONZALEZ, NILDA E      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA ALVAREZ, KASANDRA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA ARANA, ERNESTO          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA ARANA, GILBERTO         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA ARANA, GILBERTO         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA BONET, LUIS A           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA COSTA, NICOLE           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA DE MALAVE, ANA L        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA IRLANDA, LORENZO R.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA LOPEZ, SIARA            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA OJEDA, AWILDA M         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA OLIVERAS, GLENDALY      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA OLIVERAS, VIDAL         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA ORTIZ, JAMARIS          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA ORTIZ, JAMARIS          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA PEREZ, CHRISTINA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA PEREZ, CRISTINA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLALBA PEREZ, GILBERTO         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7217 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2218 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VILLALBA REY, ERIC B              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALBA RIVERA, ALBERTO          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALBA RIVERA, JORGE A          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALBA RIVERA, JORGE A.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALBA RODRIGUEZ, EMMA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALBA ROLON, ALBA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALBA ROLON, LORENZO           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALBA VALENTIN, LUIS A         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALBA VAZQUEZ, JAVIER          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALBA, JAIME                   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALBA, REYES, TERESA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALI ANDUJAR, VIVIAN           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALI COLON, AURIMAR            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALIB BAEZ, ANA M              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBO COLON, TERESA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBO COLON, TERESA           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS ALICEA, CARMEN M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS AVILES, MARIA DEL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS AVILES, MARIA DEL C.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS AYALA, GLORIA E        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS AYALA, RAFAEL          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS AYALA, ROSA M          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS BRACERO, ALCIDES       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS COLON, MARIANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS COLON, RUTH M.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS CRUZ, MARILYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS CRUZ, MARILYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS CRUZ, MARILYN          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS CUASCUT, ANGELICA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS CUASCUT, BRENDA L      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS DIAZ, DORIS N          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS ESPINO, ELIZREBECA     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS FERRER, MARION E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS FIGUEROA, JOSE J.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS FIGUEROA, RICARDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS GONZALEZ, JIMMY        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS GONZALEZ, VILMARIE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS GONZALEZ, VILMARIE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS HEREDIA, YOMAYRA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS HEREDIA, YOMAYRA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS IRIZARRY, EDENIA       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS MARRERO, IVETTE M      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS MARRERO, LYDIA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS MARRERO, LYDIA G       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS MARRERO, MANUEL A      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS MARRERO, MARTA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS MARTINEZ, GLORIA M     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS MILAN, JASON F.        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS NATER, ANA             REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7218 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 2219 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
VILLALOBOS OCASIO, JANET           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS OCASIO, JANET A         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS ORTEGA, IRIS D          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS ORTIZ, MIGUEL A         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS OTERO, CATALINA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS OTERO, CATALINA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS PELLOT, MARIA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS RIVERA, ANITZA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS RIVERA, ELIZABETH       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS RIVERA, ELIZABETH       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS RIVERA, JULIA A         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS RIVERA, MARIA L.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS RIVERA, MARIA L.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS RIVERA, MARISOL         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS RIVERA, MARLENE         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS RIVERA, MARLENE D       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS RIVERA, SANDRA I.       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS ROBLES, ANA M           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS ROBLES, ELBA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS ROBLES, GERARDINA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS ROBLES, KEVIN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS ROBLES, LUCY            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS RODRIGUEZ, CAROLYMIR    REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS RODRIGUEZ, EDGARDO J.   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS RODRIGUEZ, LIZAIDA      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS RODRIGUEZ, LIZAIDA      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS RODRIGUEZ, LIZAIDA      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS ROSARIO, JOSE L.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS RUIZ, BRIAN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS SALGADO, ANDRES         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS SALGADO, MARIA T        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS SALGADO, MARIBEL        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS SALGADO, MARIBEL        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS SALGADO, MARIBEL        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS SANTANA, JIMMY          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS SANTANA, XIOMARA I      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS SANTIAGO, JUAN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS SANTIAGO, MYRTIS        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS SOLIS, CARLOS R         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS TORRES, WILLIAM         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS VARGAS, RAMONA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS VAZQUEZ, EDDIE          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS VELE, LUZ N             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS VELEZ, CARLOS M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS VELEZ, JANICE M         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS VILLAL., SUSAN          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS VILLALOBOS, CARMEN D    REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS VILLALOBOS, YARITZA     REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALOBOS, AUREA                  REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 7219 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2220 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VILLALOBOS, JOSE LUIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALON CEDENO, JOSE L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALON CEDENO, LUIS V         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALON RENOVALES, KAREN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALON RIVERA, TANIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALON SMITH, KASANDRA R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONA LORENZO, MARILYN      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONA MALDONADO, MARITZA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONA MALDONADO, MARITZA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONA VIERA, BARBARA Y.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO ADORNO, XIOEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO ADORNO, XIOEL O.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO AGOSTO, XINEIRALY    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO CANALES, GRISELLE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO CANALES, GRISELLE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO CANALES, LISANDRA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO CARRILLO, EDDIE R.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO CEDENO, IRMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO CORREA, GUILLERMO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO CORREA, NETZAIDA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO CORREA, ROSA V       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO CRUZ, WIDALYS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO FIGUEROA, ARNALDY    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO GARCIA, JULIO E      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO LLANOS, ANACELIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO LLANOS, ANACELIS     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO MARIN, RENIER        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO OCASIO, WANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO OCASIO, WANDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO RIVERA, CARLOS J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO RIVERA, CONSUELO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO RIVERA, HENRY        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO RIVERA, VICTOR M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO RIVERA, ZAIDA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO RODRIGUEZ, OMAR      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO SANTANA, MARIA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO TORRES, ELISA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONGO VAZQUEZ, AIDA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALONRIVERA, TANIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALTA BERNABE, DORIS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLALTA BERNABE, PEDRO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMAN LACEN, MARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMAN MARTINEZ, JOYFRED      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMAN MELENDEZ, JOSE A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMAR RIVERA, JEISHA L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIDES GONZALEZ, XAYMARA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL ALLENDE, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL BONILLA, SANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL CARRION, HECTOR M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7220 OF 7285
SCHEDULE E
                                    Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                 Desc:
AS REPRESENTATIVE OF                                       Schedule E3 Page 2221 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                    UNLIQUIDATED
                                                                                                                       CONTINGENT


                                                                                                                                                   DISPUTED
CREDITOR                            ADDRESS 1                  ADDRESS 2   ADDRESS 3       CITY       STATE ZIP CODE                                               AMOUNT
VILLAMIL CARRION, HECTOR M          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL CASANOVA, JOSE E           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL CASANOVA, MARIA C          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL DONATO, LORENNA            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL FARAUTA, MARIA DEL PILAR   REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL GARCIA, JOSE I             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL HERRANS, LOURDES M.        REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL HERRANS, ROSA M.           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL HERRANS, VICTOR            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL HERRANS, VICTOR A          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL IRIZARRY, ADANGELI         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL IRIZARRY, JOSEPHINE        REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL JARAUTA, MARIA DE          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL LINDSLEY, JOHN             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL MORALES, NAYDA A           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL MORALES, VINELZA E         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL MORALES, VINELZA E.        REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL OLMEDA, BRENDA             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL OLMEDA, MARIA DEL          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL ORTIZ, GLADIMAR            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL ORTIZ, ISABEL              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL ORTIZ, JOSE M.             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL PEREZ, MIRTHA              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL PORRATA, JUANITA           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL PORRATA, JUANITA           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL PORRATA, JUANITA           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL PORRATA, MARISABEL         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL PORRATA, MARISABEL         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL RIVERA, JEANNETTE          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL RODRIGUEZ, MARTA M         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL RODRIQUEZ, LOURDES         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL ROSARIO, MARIA I           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIL SILVEY, BLANCA A.          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIZAR FIGUEROA, JENNIFER       REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIZAR FIGUEROA, JENNIFER       REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIZAR GUZMAN, LILIAN E         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAMIZAR MORALES, JORGE           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA DIAZ, YARINNETTE M.      REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ABREU, JOSE              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ACEVEDO, ALEJO           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ACEVEDO, FRANCISCO       REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ACEVEDO, JUAN            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ACEVEDO, JUAN            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ACEVEDO, JULIA           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ACEVEDO, JULIA           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ACEVEDO, MARGARITA       REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ACEVEDO, MARIA L         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ACEVEDO, YAJAIRA M       REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA AGOSTO, EVELYN           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                   PAGE 7221 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2222 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VILLANUEVA AGOSTO, JUAN          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA AGOSTO, WALBERTO      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA AGOSTO, WALBERTO      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ALDARONDO, EFRAIN     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ALICEA, NERITZA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ALICEA, NERITZA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ALONSO, ANTONIO       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ALVAREZ, CARMEN L     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ALVAREZ, GYFAEL A     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ANDUJA, WILFREDO      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ANDUJAR               REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ANIBARRO, MARIA P.    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA APONTE, BERED         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA APONTE, CARMEN        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA APONTE, MANUEL        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA APONTE, MARIA HAYDEE REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA APONTE, OLGA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ARCE, IRIS L.         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ARCE, JOSE            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ARCE, KEVIEL A.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ARMAN, CARMEN         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ARMAN, IRIS M.        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ARROYO, WIDALICE      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ATANACIO, CRUCITA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA AVILES, ANTONIO       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA AVILES, ANTONIO       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA AVILES, GLOVITTE      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA AYALA, ELISEO         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA AYALA, LYDIA E        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA BADILLO, JOSE         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA BAEZ, WANDA I         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA BALASQUIDE, HECTOR E. REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA BARBOSA, ANDRES       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA BERRIOS, IRVIN H      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA BERRIOS, RICARDO      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA BIRRIEL, MARTHA M     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA BONILLA, FERN         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA BONILLA, FERNANDO     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA BONILLA, JESSICA E.   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA BONILLA, MAYRA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA BONILLA, TASHA A      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA BOSCH, HELENA         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CABRERA, YADIRA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CABRERA, YADIRA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CACERES, MANUEL A     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CAMACHO, NOEL         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CANDELA, NITZA E      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CANDELARIO, JORGE     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CARCANA, CHRISTIAN    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7222 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 2223 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VILLANUEVA CARCANA, ORVIN          REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CARDONA, NELSON         REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CARDONA, OSCAR          REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CARDONA, ROSALIA        REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CARO, IVONNE            REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CARRASQUILLO, VILMA I REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CARRION, AMARILIS       REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CARRUCINI, ELOIER       REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CARRUCINI, GRACELY      REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CARTAGENA, LYDIANIZ     REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CASTRO, ANA             REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CENTENO, MARIAM         REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CENTENO, MARIELYS       REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CENTENO, NEREIDA        REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CENTENO, NEREIDA        REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CENTENO, SANTOS A.      REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CHAPARRO, BRENDALIZ REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CHAPARRO, NELSON L.     REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CLASSEN, ALBERTO        REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CLASSEN, ALBERTO A.     REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA COBIAN, LUZ D           REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA COBIAN, LUZ D           REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA COLON, HECTOR           REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA COLON, JOSE H           REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA CONCEPCION,             REDACTED                    REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
FERNANDO
VILLANUEVA CONCEPCION, JOSE J      REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA CORDERO, LUIS RAUL      REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA CORDERO, MIRIAM         REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA CORTES, AIDA            REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA CORTES, GERARDO         REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA CORTES, RICARDO         REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA CRUZ, ANA L             REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA CRUZ, FELIX A           REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA CRUZ, JEAN              REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA CRUZ, JEAN A            REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA CRUZ, KEYSHLA Y         REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA CRUZ, MARIA D           REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA CRUZ, MARIBEL           REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA CRUZ, RAIMUNDO          REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA CRUZ, SYLVIA            REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA CUBERO, EDRICK          REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA DAVILA, NARCISO         REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA DE JESUS, NESTOR JAVIER REDACTED                    REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

VILLANUEVA DE LEON, HERMES        REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA DE SANTANA, ILDA       REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA DEL RIO, GRISELA       REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA DEL RIO, GRISELA       REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7223 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2224 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VILLANUEVA DEL RIO, GRISELA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA DELGADO, FRANCHESKA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
M
VILLANUEVA DELGADO, JOANABIES   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA DELGADO, MIGDALIA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA DELGADO, WILLIAM     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA DIAZ, DENNIS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA DIAZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA DIAZ, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA DIAZ, LILLIAM        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA DIAZ, OMAYRA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA DIAZ, PRISCILLA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA DONATE, MAYRA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA DURIEAU, MARIA S     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA DURIEAUX, MARIA S    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA ECHEVARRIA, ALVIN    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA ERAZO, HAYDEE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA ESCOBAR, ROSA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA ESCOBAR, ROSA        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA ESTEVES, JOSUE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA FELICIANO, MIGUEL A  REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA FELICIANO, OMAYRA    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA FELICIANO, ORVILLE   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA FELIX, WILMA I       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA FERNANDEZ, MARANGELI REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

VILLANUEVA FERNANDEZ, MARANGELI REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

VILLANUEVA FIEL, VIVIAN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA FIGUEROA, AMY        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA FIGUEROA, AMY        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA FIGUEROA, IVETTE M   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA FIGUEROA, LUZ E      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA FIGUEROA, LUZ E.     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA FIGUEROA, LYMARI     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA FLORES, AMADEO       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA FLORES, KENDRA L     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA FUENTES, FRANCES     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA GALARZA, JOSE M      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA GALINDEZ, IVONNE     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA GALLOZA, CLARIBEL    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA GARCIA, ANGEL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA GARCIA, JUAN E       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA GARCIA, LYNETTE      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA GARCIA, MARCOS       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA GARCIA, MARILYN      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA GARCIA, MARILYN      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA GARCIA, SAMUEL       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA GARCIA, SANDRA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7224 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2225 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VILLANUEVA GERENA, CARMEN G     REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA GERENA, LUZ Z        REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA GERENA, LUZ Z.       REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA GONZALE, EUFEMIO     REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA GONZALEZ, ANNA G     REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA GONZALEZ, CARMEN     REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA GONZALEZ, CARMEN L   REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA GONZALEZ, DAVID      REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA GONZALEZ, ELSA       REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA GONZALEZ, ELSA       REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA GONZALEZ, IRMA       REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA GONZALEZ, JESMARIE   REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA GONZALEZ, JOLENE     REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA GONZALEZ, JOLENE     REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA GONZALEZ, JOSE A.    REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA GONZALEZ, JOSEPH     REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA GONZALEZ, LOURDES    REDACTED                       REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
MARIA
VILLANUEVA GONZALEZ, MARTINA    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA GONZALEZ, MIRIAM     REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA GONZALEZ, YOLANDA    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA GONZALEZ, YOLANDA    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA GRAJALES, EDDA MARIA REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA HEREDIA, HECTOR R    REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA HERNANDEZ, ANGEL J   REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA HERNANDEZ, GEOVANNY REDACTED                        REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED

VILLANUEVA HERNANDEZ, JEANNETTE REDACTED                       REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED

VILLANUEVA HERNANDEZ, ODALYS     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA HERNANDEZ, RAFAEL     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA HERNANDEZ, RAUL       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA HERNANDEZ, SANTIAGO   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA HERNANDEZ, SANTIAGO   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA HERNANDEZ, TANIA M    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA HERNANDEZ, XIORIMAR   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA JIMENEZ, CARMEN M     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA JIMENEZ, GLORIA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA JIMENEZ, MELVIN       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA JORGE, IRMA E         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA JUSINO, ELIEZER       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA LAFINA, FLOR M        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA LAGUER, LUIS R.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA LAGUER, MANUEL A      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA LAPORTE, DAVID        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA LAPORTE, MYRIAM       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA LAUSELL, TANIA L.     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA LLORENS, IVELISSE     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLANUEVA LLORET, LOURDES       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7225 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2226 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VILLANUEVA LOPEZ, ALBERT         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA LOPEZ, BIEVENIDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA LOPEZ, CARMEN M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA LOPEZ, CARMEN M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA LOPEZ, DANIEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA LOPEZ, FRANCISCA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA LOPEZ, JEAN PAUL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA LOPEZ, LOURDES        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA LOPEZ, NELSON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA LOPEZ, NELSON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA LOPEZ, OSVALDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA LOPEZ, PHENILDA M.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA LOPEZ, WILFREDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA LOPEZ, ZAIDE R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA LORENZO, SOFIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA LORENZO, SULEIKA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MALDONADO, ALBERTO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MALDONADO, MARIA E.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MARCANO, DARY L.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MARCANO, LUZ D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MARRERO, KALYNELL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MARTINEZ, ELBA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MARTINEZ, FRANK       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MARTINEZ, ISANGELY    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MARTINEZ, ISANGELY    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MARTINEZ, LUIS A.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MARTINEZ, RAYMOND     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MARTINEZ, YAZMIN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MARTINEZ, YAZMIN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MATIAS, CARLOS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MATIAS, DAVID         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MATIAS, EDWIN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MATIAS, HIRAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MATIAS, PABLO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MATIAS, PEDRO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MATOS, ANA M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MATOS, CANDITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MATOS, HEYDEE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MATOS, ISRAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MATOS, JUAN A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MATOS, JUAN A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MATOS, ODALYS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MATOS, VANESSA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MEDINA, NANNETTE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MELENDEZ, CARLOS E    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MENDEZ, ABIEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MENDEZ, ANGEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MENDEZ, CINDYMAR      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MENDEZ, EDGAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7226 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2227 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VILLANUEVA MENDEZ, JANICE         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MERCADO, NEMESIS A     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MERCADO, RAFAEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MERCADO, ROSITA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MILLET, JENNIFER       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MILLET, SANDRA E       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MOLINA, GLORIA M       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORA, ALICIA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORA, TAISHA M         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORALES, ADOLFO J.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORALES, ALBA N.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORALES, ANGELA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORALES, CARLOS J      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORALES, ERNESTO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORALES, ISMAEL        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORALES, JOSE          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORALES, MADELYN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORALES, MARIA DEL     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORALES, MARIA DEL C   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORALES, MARISOL       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORALES, NELSON        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORALES, REINALDO      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORALES, ROBERTO       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORALES, WANDA I       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MORENO, EDDIE N.       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MUNIZ, ULISES          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA MUNOZ, MILAGROS        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA NAZARIO, CARMEN M.     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA NEGRON, ERIKA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA NIEVES, EUFEMIO        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA NIEVES, ILEANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA NIEVES, ILEANA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA NIEVES, IRIS V         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA NIEVES, LAURA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA NIEVES, LAURA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA NIEVES, LAURA M        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA NIEVES, LUIS           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA NIEVES, VANESSA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA NUNEZ, JOSE R          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA OCASIO, EVELYN         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA OCASIO, NILSA I        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA OLIVERAS, CARLOS       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA OLIVERAS, LETICIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA OLIVO, REBECCA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA OLIVO, REBECCA         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ORELLANO, CARLOS J     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ORELLANO, CARLOS J     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ORTEGA, NATIVIDAD      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ORTIZ, AIDA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7227 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2228 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VILLANUEVA ORTIZ, AIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ORTIZ, AIDA L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ORTIZ, JOHANNE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ORTIZ, LUZ CELENIA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA OSORIO, CARLOS J      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA OSORIO, MARTA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PEDRAZA, IRIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PEDRAZA, IRIS I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PELLOT, HECTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PEREZ, ADALBERTO JR   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PEREZ, ANGEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PEREZ, ANGELITA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PEREZ, JAVIER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PEREZ, JOEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PEREZ, MARIEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PEREZ, MARILIX        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PEREZ, OLGA N         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PEREZ, RAFAEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PEREZ, SARA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PEREZ, ZULEYKA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PICON, MARIA E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PINERO, ELIZABETH     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA PRUNA, JESSE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA QUILES, ROBERT        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RAMOS, HENRY          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RAMOS, ROBERTO A.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RESPETO, GRISSEL      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA REYES, AILEEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA REYES, AILEEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA REYES, ANGEL L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA REYES, CARLOS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA REYES, KARMARY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, ANIBAL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, CARLOS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, CIELO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, GLADYS        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, GLORIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, GRACE M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, HECTOR L.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, IRMA N        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, IVELISSE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, IVELISSE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, JUAN A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, JUDITH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, KENNETH       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, LORY G        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, LUIS R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, LUZ L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, MARIA E.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7228 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2229 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VILLANUEVA RIVERA, MILAGROS      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, NYDIA L.      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RIVERA, SONIA N       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RODRIGUEZ, AWILDA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RODRIGUEZ, DAMARIS    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RODRIGUEZ, JAVIER     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RODRIGUEZ, JAVIER     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RODRIGUEZ, JAVIER     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RODRIGUEZ, JOCELYN    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RODRIGUEZ, MANUEL     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RODRIGUEZ, MARY       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RODRIGUEZ, MARY L     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RODRIGUEZ, NELSON     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RODRIGUEZ, TAYSHA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RODRIGUEZ, WANDA L. REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ROJAS, ZENAIDA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ROMAN, HECTOR L.      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ROMAN, LEILA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ROMERO, LUZ M.        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ROSA, JORGE R.        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ROSA, JOSE A          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ROSADO, ROBERTO       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ROSARIO, FELICITA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ROSARIO, FERNANDO     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ROSARIO, FERNANDO     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RUIZ, BRENDA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RUIZ, EFRAIN          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RUIZ, PABLO           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA RUIZ, PABLO           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SANABRIA, OMAYRA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SANCHEZ, GREATCHEN    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SANCHEZ, GRETCHEN     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SANCHEZ, LIANABEL C   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SANTA, MARGARITA      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SANTANA, JULIO A.     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SANTANA, LISSETTE     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SANTANA, LISSETTE     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SANTIAGO, ARISTIDES   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SANTIAGO, GUSTAVO     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SANTIAGO, LUIS A      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SANTIAGO, MILDRED     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SANTOS, AIXA          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SANTOS, NELSON J.     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SERRANO, IDELIS       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SERRANO, LUCAS        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SERRANO, MILAGROS     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SERRANO, ZAIDA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SOLA, JOSE C          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SOLANO, JOSE EMILIANO REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7229 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2230 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VILLANUEVA SOLER, XIOMARA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SOLER, XIOMARA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SOTO, EDITH D         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SUAREZ, HEIDY         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA SUSTACHE, MIRTA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA TORO, JOSUAH R.       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA TORRES, ANA           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA TORRES, MARIA E       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA TORRES, MARITZA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA TORRES, MARITZA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA TORRES, NYDIA R       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA TORRES, NYDIA R       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA TORRES, WINELYS       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA TORRES, WINELYS       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA TRAVERSO, IDALIZ      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA TRAVERSO, MARISOL     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA TRINIDAD, SONIA       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA TRINIDAD, SONIA N     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VALENTIN, DAISY       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VALENTIN, DAISY L     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VALENTIN, YELITZA     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VALENTIN, YOLANDA I   REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VALLE, JOSE A         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VARGAS, CARLOS        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VARGAS, CARLOS R      REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VARGAS, LOURDES       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VARGAS, LOURDES       REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VAZQUEZ, ELSIE L.     REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VAZQUEZ, LUIS ANTONIO REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VEGA, ANGELINA        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VEGA, MARIEN          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VEGA, RUTH            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VELEZ, ANA M.         REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VILLANUEVA, FLAVIA    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VILLANUEVA, FLAVIA    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VILLANUEVA, IDALIZ    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VILLANUEVA, IRIS M    REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA VIUST, TITZA S        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ZABALA, ELIA E        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ZABALA, RAFAEL        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ZAPATA, JAVIER        REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ZAPATA, JORGE ALBERTO REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ZAPATA, JUAN          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA ZAPATA, JUAN          REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA, ARIEL                REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA, ERIK                 REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA, FRANCISCO            REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA, GLORIBELLE           REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA, LOURDES              REDACTED                      REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7230 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2231 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VILLANUEVA, LUCILA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA, MANUEL E.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVA,NELSON N.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVACORTES, AMARILIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVAHERNANDEZ, EUSEBIO     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVAPALERMO, VICTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVAROQUE, ALIBEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLANUEVAS RODRIGUEZ, DAMARIS   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAPLANA SANTOS, NORMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAPLANA SANTOS, NORMA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAR FEBO, CARMEN L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAR IRIZARRY, EVELYN G.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAR ORTIZ, ISAURA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAR ORTIZ, JOSE E.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAR PADROS, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAR ROBLES, FERNANDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAR ROBLES, FRANCISCO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAR SERGES, FELIX M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAR, JUAN                     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN AYALA, RAMON            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN CALCANO, WILNELIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN CALCANO, WILNELIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN CASANOVA, JOSE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN CASANOVA, VILMA L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN CRUZ, JUAN A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN CRUZ, SARA N.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN DIAZ, XENIA M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN GUTIERREZ, SANTOS       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN MONTES, JOSEPH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN ORTIZ, OSCAR            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN OSORIO, DORIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN OSORIO, DORIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN OSORIO, VIVALDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN OSORIO, VIVALDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN OSORIO, VIVANES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN OSORIO, VIVANES         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN OSORIO, YAMALIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN RAMOS, KELVIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARAN SANTIAGO, AMERICA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAREAL CAMACHO, IRIS N        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAREAL LOPEZ, MARIA V         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAREAL LOPEZ, NEYSA Z         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAREAL ORTIZ, LUCILA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAREAL RIVERA, NORMAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARES SENERIZ, MARIA E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARES SENERIZ, MARTA M.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARIN BAEZ, AMPARO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARIN CRUZ, MILAGROS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARIN CRUZ, YESENIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7231 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2232 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VILLARIN PABON, CLARIBEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI BAQUERO, DANIEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI BONILLA, ANGELA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI BONILLA, ANGELA L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI CASTELLAR, NATALIA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI FALERO, FERNANDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI GEORGETTI, CARMEN G    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI GUZMAN, HANNIA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI HERNANDEZ, IVONNE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI HERNANDEZ, IVONNE J    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI HERNANDEZ, IVONNE J    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI IRIZARRY, MILAGROS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI IRIZARRY, MILAGROS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI MERCADO, NYDIA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI PEREZ, ISRAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI PEREZ, ISRAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI PEREZ, MARIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI QUINONES, ELIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI SANCHEZ, DENISE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINI SANCHEZ, DENISE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARINIJUSINO, JULIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLARMARZO FERNANDEZ,           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
GUILLERMO A
VILLARN OSORIO, VIVALDO          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARONGA SWEET, MARIA V        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARRAGA OTERO, ANDREA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARREAL CARDONA, EILEEEN      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARREAL CRUZ, CARMEN I.       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARREAL CRUZ, JOSE N          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARREAL ROBLES, JOSE M        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARRUBIA GALLOSA, MARIA L     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARRUBIA GALLOZA, YOLANDA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARRUBIA GONZALEZ, NORMA      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARRUBIA MENDOZA, SHEILYMAR   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARRUBIA MENDOZA, SHEILYMAR   REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARRUBIA MORENO, FELIPA       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARRUBIA RIVERA, GEYSA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARRUBIA RODRIGUEZ, CARLOS    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARRUBIA SANCHEZ, ALMA E      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARRUBIA SANCHEZ, ORLANDO     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARRUBIA SOTO, EVELYN         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARRUBIA TRAVERSO, NYDIA M    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARRUBIA VELEZ, VILMA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARUBIA GALLOSA, LYDIA E      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARUBIA MENDEZ, ANIBAL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARUBIA RAMIREZ, HECTOR J.    REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARUBIA ROMAN, MARIBEL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARUBIA RUIZ, OMAR F          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
VILLARUBIA VEGA, YANITZA         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7232 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2233 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VILLARUBIATRAVERSO, HERMINIA      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLATE VALLE, MAYDA              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAVEITIA TRAVERSO, HECTOR L    REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAVEITIA TRAVERSO, LINDA A     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAVICENCIO CAMACHO, JORGE J.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAVICENCIO CAMACHO, NILDA N.   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAVICENCIO COLON, DIANA        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAVICENCIO COLON, MARIBEL      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VILLAVICENCIO HUERTAS,            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
FRANCHESKA M
VILLAVICENCIO, JORGE J            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLAZAN SOTO, GLICET             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGA BAEZ, ELBA R              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGA DELGADO, PABLO            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGA GONZALEZ, LILLIAM I       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGA LOPEZ, EMELIA             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGA MENDEZ, JESUS             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGA ORTEGA, ELIZARIAN         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGA REYES, ORLANDO            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS ADORNO, YELITZA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS AGOSTO, CARLINA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS ALEJANDRINO, MARIA       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS ALICEA, ANA              REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS ALICEA, ANA D            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS ALICEA, MARIMAR          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS ALICEA, SONIMAR          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS ALICEA, SONIMAR          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS ALVAREZ, AIDA L.         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS ALVAREZ, MIGUEL A        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS ALVERIO, ARIEL           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS ANDINO, JUAN E.          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS AVILES, BETZAIDA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS AVILES, FRANCISCA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS AVILES, JENNIE           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS AVILES, MARISELL         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS BAEZ, MANUEL             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS BAEZ, MARITZA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS BAEZ, MARITZA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS BAEZ, MARITZA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS BANREY, MIRNA            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS BENITEZ, MARTHA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS BERRIO, FABIO            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS BERRIOS, JUAN            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS BERRIOS, JUAN            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS BERRIOS, JUAN            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS BOU, MILDRED             REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS CALDERON, FELIX          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS CANALES, ANGEL           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VILLEGAS CANALES, GLADYS          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7233 OF 7285
SCHEDULE E
                                    Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                 Desc:
AS REPRESENTATIVE OF                                       Schedule E3 Page 2234 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                    UNLIQUIDATED
                                                                                                                       CONTINGENT


                                                                                                                                                   DISPUTED
CREDITOR                            ADDRESS 1                  ADDRESS 2   ADDRESS 3       CITY       STATE ZIP CODE                                               AMOUNT
VILLEGAS CANALES, GLADYS Y          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CANALES, JEFFREY           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CANALES, LUIS M.           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CANCEL, ARCADIO            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CANCEL, BEATRIZ            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CANTRES, GUADALUPE         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CARABALLO, LIZETTE E.      REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CASILLAS, CLARIBEL         REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CASTRELLO, JOSE A          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CASTRO, BRENDA S           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CASTRO, DAVID E            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CATALA, CECILIA            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CATALA, GLADYS             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CATALA, LYNNETTE           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CATALA, MYRNA L            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CEBALLOS, DAVID            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CEBALLOS, DAVIS            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CENTENO, EVELYN            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CENTENO, JULIO A.          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CLEMENTE, GLADYS           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CLEMENTE, MARYNELBA        REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS COLON, DARLENE M           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS COLON, JOSE M.             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CONCEPCION, ELSIE          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CORREA, ALMA               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CORREA, FRANCISCO JAVIER   REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CORREA, ILSA               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CORREA, VICTOR             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CORTIJO, AIDA L            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CORTIJO, ELBA I            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CORTIJO, ZAIDA             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CORTIJO, ZAIDA             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS COTTO, NOEMI               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS COTTO, VALERY              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS COURET, MARIA DEL P.       REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS COUVERTIER, MOISES G       REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CRUZ, ANGEL                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CRUZ, GILBERTO             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CRUZ, GLORIA E.            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CRUZ, MARIA B.             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CRUZ, YARIRA               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CUEVAS, JESUS E            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CUEVAS, MIGUEL A.          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS CURET, ROSARIO             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS DE JESUS, JULIA            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS DE JESUS, MARIA            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS DEL VALLE, DAVID           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS DEL VALLE, GLENDA          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS DEL VALLE, IDALISSE        REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                   PAGE 7234 OF 7285
SCHEDULE E
                                    Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                 Desc:
AS REPRESENTATIVE OF                                       Schedule E3 Page 2235 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                    UNLIQUIDATED
                                                                                                                       CONTINGENT


                                                                                                                                                   DISPUTED
CREDITOR                            ADDRESS 1                  ADDRESS 2   ADDRESS 3       CITY       STATE ZIP CODE                                               AMOUNT
VILLEGAS DIAZ, ALFREDO E.           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS DIAZ, CHIARA M             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS DIAZ, JANE                 REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS DIAZ, LUZ E                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS DIAZ, LUZ E                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS DIAZ, MARIA I.             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS DIAZ, MARIA M              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS DIAZ, ZAIDA                REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ECHEVARRIA, BETSAIDA       REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ENCARNACION, NELSON L      REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ENCARNACION, NELSON L      REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ESCRIBANO, WILFREDO        REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ESCRIBANO, WILFREDO        REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ESTRADA, AYESHA K          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS FALU, EDNA M               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS FEBRES, JUSTA              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS FERNANDEZ, MOISES I        REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS FIGUEROA, LUZ M            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS FIGUEROA, LUZ M            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS FIGUEROA, MARIA DE LOS A   REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS FIGUEROA, RAFAEL           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS FILOMENO, LOURDES V        REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS FOLCH, CARMEN M            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS FONSECA, ERICK G.          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS FRANQUI, EUSEBIO           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GARCIA, DHYALMA            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GARCIA, KALI R.            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GARCIA, VIDAL              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GERENA, SHEILA L.          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GINES, GRICEL              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GOMEZ, AIDA N              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GOMEZ, CARLOS A.           REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GOMEZ, JOSE A              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GOMEZ, JOSE ARMANDO        REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GOMEZ, JOSE D              REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GONZALEZ, BEATRIZ          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GONZALEZ, FELIX J          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GONZALEZ, LOURDES          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GONZALEZ, MARIA DEL C.     REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GONZALEZ, RICARDO          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GONZALEZ, SAUL             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GUZMAN, ALBERTO            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GUZMAN, JOSE               REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS GUZMAN, JOSE O.            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS HANCE, VIRGINIA            REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS HENRIQUEZ, ENID Y          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS HERNANDEZ, BETZAIDA        REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS HUERTAS, LEOBARDO          REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS LABOY, VICENTE             REDACTED                   REDACTED    REDACTED        REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                   PAGE 7235 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2236 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VILLEGAS LABOY, VICENTE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS LEBRON, MANUEL R.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS LEON, LUIS A.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS LEON, NERY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS LEVIS, IRELIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS LEVIS, IRELIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS LEVIS, IRELIS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS LIND, DORCAS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS LIND, FELIX             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS LOPEZ, ADA N            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS LOZADA, ERIKA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS LOZADA, ERIKA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS LUGO, SONIA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MARIA DE LOS, ANGELES   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MARRERO, ARLENE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MARRERO, NELLY M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MARRERO, ROSA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MARTI, ANTONIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MARTINEZ, ELIGIO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MARTINEZ, GLORIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MARTINEZ, IRIS Y.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MARTINEZ, NITZA I.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MARTINEZ, ROSITA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MAYSONET, DARELY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MELENDEZ, AMELIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MELENDEZ, MARIBEL       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MELENDEZ, MILAGROS      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MELENDEZ, PABLO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MELENDEZ, PABLO R       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MELENDEZ, WILMARY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MELENDEZ, WILNELIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MENDEZ, EVELINDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MENDEZ, GAMALIER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MENDEZ, GAMALIER        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MIRANDA, FRANCISCO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MIRANDA, MIRAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MOJICA, DIANA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MOJICA, DIANA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MONTANEZ, LILIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MORALES, ANGEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MORALES, DIANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MORALES, GEORGINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MORALES, ISAURA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MORALES, JULIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MORALES, MARTA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MORALES, MARTA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MORENO, MARTA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS MORENO, MARTA J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS NAVARRO, EDUARDO        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7236 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2237 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VILLEGAS NEGRON, HECTOR J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS NIEVES, CARLOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS NIEVES, CARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS NIEVES, ELVIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS NIEVES, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS NIEVES, HECTOR L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS NIEVES, JACKELINE N.   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS NIEVES, JOSE M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS NIEVES, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS NIEVES, MARGARITA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS NIEVES, RICARDO A      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS NIEVES, XIOMARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS NIEVES, XIOMARA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS OLIVERO, BRYANT        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ORTIZ, ARMANDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ORTIZ, ILDEFONSO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ORTIZ, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ORTIZ, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ORTIZ, JOSE ANTONIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ORTIZ, JULIO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS OTERO, GEORGE W        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS OTERO, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS PACHECO, FILIBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS PAGAN, ANA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS PAGAN, ELIDA D         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS PENA, TERESA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS PEREIRA, BELITZA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS PEREZ, ANGEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS PEREZ, ZENNY L.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS PINET, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS QUILES, SHEILA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS QUINONEZ, CARMEN D     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS QUINTERO, CARMEN J.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RAMOS, ANA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RAMOS, KEVIN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RAMOS, KEVIN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RAMOS, YELITZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RIVERA, ALICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RIVERA, ALICIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RIVERA, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RIVERA, CARLOS D.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RIVERA, HEIDI          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RIVERA, MARANGELI      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RIVERA, MAYLIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RIVERA, MILAGROS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RIVERA, MILAGROS A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RIVERA, MILDRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RIVERA, NAYDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RIVERA, NAYDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7237 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2238 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VILLEGAS RIVERA, PEDRO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RIVERA, YAMIRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ROBLES, FELIPE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RODRIGUEZ, BILLY        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RODRIGUEZ, HECTOR M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RODRIGUEZ, IGDAMY       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RODRIGUEZ, MARA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RODRIGUEZ, RANDI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS RODRIGUEZ, VICTOR       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ROMAN, AURORA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ROSA, DORCA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ROSA, JOCELYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ROSA, MARY LOURDES      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ROSA, RAQUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ROSADO, EILEEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ROSARIO, CARMEN L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ROSARIO, EVELYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ROSARIO, EVELYN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ROSARIO, JOSE R         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ROSARIO, JULIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS ROSAS, ANGELINA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS SANCHEZ, CARLOS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS SANCHEZ, JOSE V         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS SANTIAGO, MILDRED       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS SERRANO, EDWIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS SERRANO, KEVIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS SERRANO, LINZARIN M     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS SERRANO, RAMON          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS SOLIVAN, ANAMILENA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS SUAREZ, ISRAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS TANCO, JACKELINE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS TORRES, CARLOS J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS TORRES, CARMEN L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS TORRES, CARMEN M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS TORRES, DEIMARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS TORRES, ENRIQUE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS TORRES, ENRIQUE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS TORRES, LUIS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS TORRES, WANDA I         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS TRINIDAD, CRUZ M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VALCARCEL, JAVIER       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VALCARCEL, JESSIBEL A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VAZQUEZ, ALBA N         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VAZQUEZ, MYRNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VELAZQUEZ, ROBERTO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VIERA, JULIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VIERA, LUZ E            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VILA, GLADYS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VILLAIZAN, FRANCISCO    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7238 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2239 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VILLEGAS VILLEGAS, ARLYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VILLEGAS, AURORA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VILLEGAS, CARMEN B     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VILLEGAS, ELIZABETH    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VILLEGAS, ENID         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VILLEGAS, GILBERTO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VILLEGAS, GLORIA M     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VILLEGAS, JANNETTE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VILLEGAS, JESUS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VILLEGAS, LIZ A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VILLEGAS, MARTA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VILLEGAS, MYRNA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VILLEGAS, RAMON        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VILLEGAS, RAMON L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VILLEGAS, SANDRA L     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VIROLA, JUAN F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VIROLA, LUZ D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS VIROLA, LUZ D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS, IDALIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS, JONATHAN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS, JORGE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGAS, NELSON                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGASCOLON, REYMUNDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLEGASRODRIGUEZ, DANIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLELA GONZALEZ, ROCIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLELA GONZALEZ, ROCIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLENUEVE ROMAN, MARIA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLERRAEL HERNANDEZ, SANDRA    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLETA GARCIA, JAIME F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLOCH RIVERA, ANNIE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLOCH RIVERA, MODESTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLOCK OLMO, SANTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLODA NAVARRO, INDIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLODAS COLON, PEDRO A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLODAS GOMEZ, ISABEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLODAS GOMEZ, NATIVIDAD       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLODAS LEBRON, CARMEN A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLODAS LOZADA, JACQUELINE     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLODAS LUGO, MARIA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLODAS MELENDEZ, WILFREDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLODAS NAVARRO, ROBERTO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLODAS PASTRANA, JOSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLODAS SANES, JOSE A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLODAS TEXIDOR, GUILLERMO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLODAS VEGA, MARIA C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLODAS VELEZ, KRICIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLODAS VELEZ, KRICIA N        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLOT MARTINEZ, SANDRA W       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VILLOT ORTIZ, JUANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7239 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2240 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VILLOT REYES, ANTHONY            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILMENAY ALTIERI, JOSE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VILORIA SANCHEZ, MIGUELINA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINA MATOS, BERNARDO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINA VEGA, DAIMY E.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINALES HERNANDEZ, GRISELLE E.   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINALES HERNANDEZ, WILFREDO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINALES MAISONET, LYDIA M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINALES RODRIGUEZ, MARIA DEL C   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINALES SIERRA, JEANNETTE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINALES SIERRA, LINNETTE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINALESS RODRIGUEZ, EVA L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINALS SANTIAGO, ALBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINALS SANTIAGO, ALBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINAS CARDONA, LILLIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINAS CRUZ, LUIS A.              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINAS CURRIEL, OLGA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINAS DE LOPEZ, CECILIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINAS LEDEE, JULIA I             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINAS MARTIN, CARLOS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINAS MATOS, OLAF                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINAS PEREZ, ALEXY               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINAS VAZQUEZ, CARMEN A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINAS, NANCY                     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINCENTI CAPPAS, ZULMA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINCENTY AZIZI, FRANCISCO A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINCENTY FERNANDEZ, ZORAIDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINCENTY FERNANDEZ, ZORAIDA T    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINCENTY FLORES, YAMIL A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINCENTY LUYANDO, MARIA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINCENTY MEDINA, ISMAEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINCENTY PAGAN, EV A R           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINCENTY RAMIREZ, SANTA B        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINCENTY RUIZ, ERICK             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINCENTY VAZQUEZ, WILMA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VINCENTY VEGA, CARLOS E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIOCHIOLI RIVERA, BEATRIZ        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIOLETTE BURGOS, ROBERT          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIQUEIRA MARIANI, ILEANA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIQUEIRA PATTON, JEAN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIQUEIRA RIOS, MIGUEL A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIQUEIRA RIOS, ROBERT            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRCHIS CRESPO, VALERIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA ALBINO, ALFONSO E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA ARROYO, ROSAURA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA AYALA, TERMARIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA AYALA, TERMARIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA BOU, LORNA               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA CABRANES, IRMARIE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7240 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2241 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
VIRELLA CABRERA, IRIS M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA CABRERA, IRIS M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA CABRERA, SARA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA CAMACHO, JESSICA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA CAMACHO, LEE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA COSME, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA COTTO, DAMARYS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA COTTO, MARILYN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA COTTO, SANDRA I.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA COTTO, YAHAIRA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA CRESPO, BRENDA A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA DAVILA, ABDIEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA DEL VALLE, SANDRA ENID   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA DIAZ, CARMEN C           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA FERNANDEZ, CARMEN M.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA GARCIA, CARLOS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA GARCIA, VANESSA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA HERNANDEZ, EVELYN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA IRIZARRY, ERIC           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA IRIZARRY, WINDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA JOUBERT, CARMEN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA LOPEZ, GLORIA I          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA LOPEZ, YANILSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA MALDONADO, JOSE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA MATIAS, CARMEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA MATIAS, GLORIMAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA MATIAS, JOEL J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA MELENDEZ, JOSE A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA MELENDEZ, MAYLANE Y.     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA MIRANDA, LUIS F          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA MORRABAL, MYRNA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA MORRABAL, MYRNA S        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA NIEVES, LAURA N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA NIEVES, LAURA N.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA OROPEZA, TANIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA OROPEZA, TANIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA OROPEZA, TANIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA ORTIZ, JAVIER            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA ORTIZ, JAVIER A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA OTERO, TAISHA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA PAGAN, LEILA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA PAGAN, LEILA M.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA PAGAN, SAMUEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RAMIREZ, BIANCA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RAMIREZ, NORMA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RAMIREZ, NORMA C         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RAMOS, DESIRE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RAMOS, DESIRE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RIOS, IRIS D             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7241 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2242 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIRELLA RIOS, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RIVERA, AIXA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RIVERA, AIXA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RIVERA, AIXA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RIVERA, LUIS E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RIVERA, MARILYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RIVERA, ZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RIVERA, ZAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RODRIGUEZ, KELVIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RODRIGUEZ, LILLIAM I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RODRIGUEZ, LILLIAM I    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RODRIGUEZ, NILDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA RODRIGUEZ, OMAR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA ROJAS, JANET M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA ROJAS, MARICARMEN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA ROSADO, BRENDA L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA ROSADO, NANCY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA SANABRIA, JOSE E.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA SANTANA, JOSE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA SANTIAGO, FRANCIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA SANTIAGO, NOEMI         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA SANTIAGO, YOLANDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA TORRES, AMARILIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA TORRES, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA VAZQUEZ, BRENDA LIZ     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA VAZQUEZ, ELIZABETH      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA VELAZQUEZ, BERNISE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLA, CESAR A.               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRELLE MARCANO, PAOLA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIROLA COLLAZO, ANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIROLA COLLAZO, ANA G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIROLA COLON, PABLO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIROLA CRUZ, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIROLA FIGUEROA, LILLIAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIROLA FIGUEROA, ROSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIROLA FIGUEROA, TERESA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIROLA LOPEZ, MARCOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIROLA MARTINEZ, KERMIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIROLA MELENDEZ, JEFFREY J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIROLA RIVERA, RAYMOND          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIROLA RODRIGUEZ, JOSE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIROLA SANCHEZ, EDNA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIROLA SANCHEZ, EDNA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIROLA SOTO, AWILDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIROLA, LYDIA E                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET ACEVEDO, JOSE L.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET ACEVEDO, MARIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET ACEVEDO, MIRSONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET ALBERTY, YASMIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7242 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2243 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIRUET ALICEA, YAHAIRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET ALVAREZ, REYNALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET BERNACET, LUZ I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET CANDELARIA, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET CANDELARIA, JUDITH       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET CARTAGENA, JUAN A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET CENTENO, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET CENTENO, JONATHAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET CENTENO, JUAN A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET CORDERO, OMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET CORREA, MARIBEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET CRESPI, NILKA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET CRUZ, GUILLERMINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET CRUZ, JOSE J.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET CRUZ, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET CRUZ, MILAGROS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET DELGADO, RAYMOND         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET GALARZA,CONFESOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET GARCIA, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET GARCIA, MIRIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET GENESIS, AMEIJEIRAS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET GONZALEZ, DANIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET GONZALEZ, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET IRIZARRY, ADRIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET JIMENEZ, EMANUEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET LOPEZ, EMILYURELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET LOPEZ, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET LOPEZ, IRIS J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET LOPEZ, MICHELLE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET MAESTRE, FELIX           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET MALDONADO, MAYRA E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET MALDONADO, MAYRA E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET MALDONADO, ORLANDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET MALDONADO, REINALDO      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET MARTELL, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET MARTIN, MICHAEL J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET MENDEZ, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET MOLINA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET MUNIZ, BIENVENIDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET NAPOLEON, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET NEGRON, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET NEGRON, EVELYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET NEGRON, HAYDEE M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET NEGRON, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET NEGRON, LUIS E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET NEGRON, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET NEGRON, MILAGROS ENID    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET NEVAREZ, JAILYN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET NEVAREZ, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7243 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2244 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIRUET NIEVES, NAYSHA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET OLIVERO, MIRIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET OQUENDO, YISAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET OQUENDO, YISAIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET OTERO, ERICK             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET PABON, MIGDALIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET PABON, RENE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET PEREZ, ANGEL M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET PLAZA, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET RAMOS, DALMA J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET RAMOS, NITCHIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET REYES, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET REYES, LUIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET REYES, PABLO A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET RIOS, ELSON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET RIOS, ELSON              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET RIOS, ENRIQUE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET RIOS, MARIA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET RIOS, NILSA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET RIOS, WILSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET RIVERA, LILLIAM          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET RIVERA, MARIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET RIVERA, RAUL F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET RODRIGUEZ, CARMELO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET RODRIGUEZ, JESUS M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET ROSA, IRIS D             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET RUPERT, ADALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET SANTIAGO, JAVIER E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET SANTIAGO, LUIS E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET SERRANO, NELSON I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET TORRES, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET TORRES, HENRY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET VAZQUEZ, AWILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET VELEZ, VERONICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET VILLAFANE, AIDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET VILLANUEVA, REINALDO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIRUET, JOSE A                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISALDEN CONCEPCIO, JAHAIRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISALDEN REYES, LUIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISALDEN ROMERO, LYDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISALDEN ROMERO, LYDIA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISALDEN ROMERO, ROSALYN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISALDEN VAZQUEZ, JULIA M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISBAL CAJIGAS, RAFAEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISBAL CASTRO, BRENDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISBAL ORTIZ, FABIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISCARRONDO CRUZ, MARLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISOT RODRIGUEZ, IVETTE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISOT RODRIGUEZ, LUIS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7244 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2245 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VISPO FIGUEROA, ERIKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISSEPO CINERA, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISSEPO DIAZ, RUTH T            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISSEPO MUNOZ, DARIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISSEPO MUNOZ, OMAR D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISSEPO VAZQUEZ, MARCOS A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISSEPO VAZQUEZ, RAFAEL L.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISSEPO VELEZ, KAREN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VISTORIA ANDUJAR, JEANETTE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VITA FERRARO, GIANNILIVIGNI     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VITALE CABRERA, ELIZABETH M.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VITALI FIGUEROA, ANDRES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VITALI FIGUEROA, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VITALI FIGUEROA, NELSON         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VITALI ORTIZ, LYDIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VITALI ORTIZ, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VITALI, CANDIDA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VITALI, CANDIDA R               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVALDI PICO, ANTONIO A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVALDI RIVERA, JOSE P.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVALDI RODRIGUEZ, CESAR A.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVANCO LOPEZ, MANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVAS ADAMES, EDEN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVAS ALVAREZ, AMYBETH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVAS ALVAREZ, CAROLINE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVAS COLON, IRIS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVAS GONZALEZ, JULIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVAS NEGRON, NICOLAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVAS RODRIGUEZ, VERONICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVAS SANCHEZ, WILMA Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVAS, CHRISTOPHER              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVERITO ESCOBAR, ELIZABETH     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES ARAUT, ANTHONY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES BENITEZ, CARMEN I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES BENITEZ, CARMEN I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES BENITEZ, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES BENITEZ, RAMON L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES BENTANCOURT, JOSE F.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES CASTRO, MARTIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES COLON, LYDIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES DIAZ, LUIS E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES DIEPPA, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES FANTAUZZI, LOURDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES FIGUEROA, ANA R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES FIGUEROA, EVA D.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES FIGUEROA, JULIO F         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES GOMEZ, ALEIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES GONZALEZ, GERARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES GONZALEZ, KEISHLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7245 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2246 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIVES GONZALEZ, KEISHLA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES GUAL, EDITH N             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES GUAL, FERNANDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES GUAL, IRMA L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES HERNANDEZ, CARLOS E.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES IRIZARRY, CARLOS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES IRIZARRY, CARLOS H        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES LINARES, STEPHANIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES MARTINEZ, CARLOS R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES MATOS, SHIRLEY A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES MERCADO, CRUZ A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES MORALES, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES MORALES, BRENDA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES MORENO, ELIEZER D.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES PACHECO, GALVENSTON       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES PEREZ, JUAN P             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES PEREZ, LUZ D              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RIOS, NANCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RIVERA, JAMARIE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RIVERA, VANESSA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RIVERA, VANESSA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RIVERA, ZAIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RIVERA, ZAIDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RODRIGUEZ, DENNIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RODRIGUEZ, LAUREANO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RODRIGUEZ, MAYRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RODRIGUEZ, MAYRA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RODRIGUEZ, MERCEDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RODRIGUEZ, NOELIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RODRIGUEZ, RAFAELINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RODRIGUEZ, YOLANDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RODRIGUEZ, YOLANDA E.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RODRIGUEZ, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RODRIGUEZ, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES ROSA, ERIONEXIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES ROSARIO, LUCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES ROSSO, NORIS A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RUIZ, JOSE L              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES RUIZ, PEDRO R.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES SOLIS, HENSON             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES SOSA, ANGEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES SULIVERES, FRANCES L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES SURILLO, HILDA Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES TORRES, HAYDEE M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES URDANETA, GILDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES URDANETA, VICTORIA I      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES VILLANUEVA, ARLENE I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES VILLODAS, LYDIA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIVES VILLODAS, VENTURA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7246 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2247 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
VIVEZ GONZALEZ, GERARDO         REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIVIER AYALA, JOSE A            REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIVIER IRIZARRY, EDGAR J        REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIVO CASTRO, ALEXANDRA M.       REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIVO CASTRO, MIGUEL             REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIVO CASTRO, SARIVETTE          REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIVO COLON, PAQUITA             REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIVO SEGARRA, SILVIA I          REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIVONI LEBRON, SAHIRA           REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIVONI NAZARIO, CARLOS J.       REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIVONI ORTIZ, FRANCES JOAN      REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIVONI SUAREZ, JOHANNA          REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIVONI SUAREZ, JOSEPHINE        REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
VIVONI SUAREZ, PIERRE CHARLES   REDACTED                       REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
EDMUND
VIVONI UMPIERRE, DIANA          REDACTED                       REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCAINO COSTOSO, MERCEDES A.   REDACTED                       REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCAINO COSTOSO, RAFAEL        REDACTED                       REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARONDO VERGES, ELIZA M      REDACTED                       REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO ALVARADO, EVELYN    REDACTED                       REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO ALVIRA, CARLOS L.   REDACTED                       REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO AYALA, CARMEN M     REDACTED                       REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO AYALA, LEDIA M      REDACTED                       REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO AYALA, LEDIA M      REDACTED                       REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO AYALA, NADIA        REDACTED                       REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO AYALA, NADYA        REDACTED                       REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO AYALA, ZAIDA        REDACTED                       REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO AYALA, ZORAIDA      REDACTED                       REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO CALDERON, ELIZABETH REDACTED                       REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO CAMACHO, EVILYANNE REDACTED                        REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED

VIZCARRONDO CARTAGENA, TAINA V    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO CASIANO, ROXANNA B    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO CASIANO, ROXANNA B    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO COLON, JEANNETTE      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO COLONDRES, JAVIER     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO CORDERO, LISSETTE M   REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO CORDERO, PURA C       REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO CRUZ, HILDA Y         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO FIGUEROA, ILEANA      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO FIGUEROA, MARIA L     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO FIGUEROA, RAFAEL      REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO FIGUEROA, SARA E.     REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO GARCIA, ANA M         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO GARCIA, MILADY        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO GODREAU, MARIA        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
CECILIA
VIZCARRONDO GONZALEZ, AN          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO GONZALEZ, ANA         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2248 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIZCARRONDO GUERRA, IRIS M.       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO GUZMA, SONSIRRE       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO GUZMAN, EUNICE        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO HERNANDEZ, ANA M REDACTED                          REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO IRRIZARRY, CARLOS     REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO LLANOS, GLORIMAR      REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO LLANOS, JOANN         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO LUZUNARIS, AINEX S    REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO LUZUNARIS, NATACHA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO MAGRIS, MINERVA L     REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO MAGRIZ, ELIZABETH     REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO MAGRIZ, JOSE C        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO MARRERO, KAREM        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO MARTINEZ, SARAH       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO MATOS, VERONICA       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO NARVAEZ, ANTONIA      REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO NATER, AIDA L         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO NAZARIO, PEDRO        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO ORTIZ, ARNELLA        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO ORTIZ, NILSA M        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO PADIN, JUAN A         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO PADIN, JUAN A.        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO PARSON, JULIO         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO PEREZ, JOSE M         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO PIZARRO, CARMEN S. REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO PIZARRO, HECTOR L     REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO PIZARRO, MYRNA        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO PIZARRO, RUTH         REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO RAMOS, CESAR          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO RAMOS, CESAR          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO RAMOS, MARIA I.       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO RIOS, CARLOS          REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO ROBLES, SHAMILA B     REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO RODRIGUEZ, IRIS VELIA REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO RODRIGUEZ, LUIS A     REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO RODRIGUEZ, NORMA I REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO ROMERO, RUTH E        REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO ROSADO, MARIELA       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO ROSADO, MARISOL       REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO SANCHEZ, CARLOS J     REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO SANCHEZ, HECIRIS V    REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO SANCHEZ, HECIRIS      REDACTED                     REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VANESSA
VIZCARRONDO SANCHEZ, LINA I       REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO SANTANA, ALANA        REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO SANTIAGO, BENICIO     REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO SOMOHANO, JORGE L REDACTED                         REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO SOTO, RAUL            REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO THOMAS, ANGEL M       REDACTED                     REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7248 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2249 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
VIZCARRONDO VELAZCO, ANGELES   REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
VIZCARRONDO VIZCARRONDO, MARIA REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

VIZCARRONDO WOOD, SHIRLEY       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO ZAVAL, GREGORIO     REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO ZAYAS, ARLENE       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO, EVANGELINA         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO, JOSE R             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO, NITZA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCARRONDO, PASTOR             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCAYA MARRERO, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCAYA RUIZ, CHARLIE           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCAYA RUIZ, CHARLIE           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCAYA RUIZ, MARISOL           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCAYA RUIZ, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZCAYA RUIZ, RAQUEL            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VIZOSO LOPEZ, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VOKAC SAYLES, ROSEMARY          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VOKAC SAYLES, SHIRLEY S.        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VOLCY INCLAN, ADRIAN            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VOLCY SANCHEZ, ALEX             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VOLGAMORE WRIGHT, KAREN         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VOLMAR MATOS, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VOLMAR MENDEZ, ANDRES           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WALDEMAR
VOLMAR RODRIGUEZ, PORFIRIO      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VOLPE CANCHANI, ELISA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VOLPE CANCHANI, ELISA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VOLTAGGIO FIGUEROA, CASSANDRA   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VON KESSEL, JOHANN H.           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VONKESSEL LLABRES, JOANETTE Z   REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VONKESSEL LLABRES, JOANNETTE    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
VSZQUEZ FRANQUI, IVANHOE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WADE MARTINEZ, KENNETH A        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WAGNER MENDEZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WAGNER MENDEZ, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WAGNER ROMAN, CAROLINE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WAGNER ROMAN, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WAGNER VEGA, KARLEEN            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WAH ORTIZ, KARLA M              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WAH REYES, CARLOS R.            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WAH REYES, NOEL                 REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WAH REYES, ROBERTO C.           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WALDERRAMA JAIME, JOYCIE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WALDERRAMA JAIME, JOYCIE        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WALDRON GUEVARA, CLEMENCIA      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WALE SEPULVEDA, WILMA I         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WALKER ARROYO, MARIE C          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
WALKER AYALA, DAMARIS           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2250 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
WALKER AYALA, DELIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER AYALA, LUZ                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER AYALA, LUZ M.             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER CALDERON, IRIS JUSTINA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER CARRASQUILLO, CARMEN A    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER CASALS, ELVIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER CLEMENTE, LESLIE          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER CLEMENTE, LESLIE A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER CLEMENTE, LESLIE ANN      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER DEL VALLE, ELIZABETH      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER DIAZ, ANGEL               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER DIAZ, MIRELLA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER DIAZ, YADIRA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER DIAZ, YADIRA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER DOMINGUEZ, IRIS A.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER ENCARNACION, GLADYS R     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER FARGAS, GLENDA Y          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER FERRER, MARIA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER FUENTES, BENITO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER GONZALEZ, AMANDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER GONZALEZ, YOLANDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER GONZALEZ, YOLANDA J       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER GONZALEZ, ZORAIDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER GUZMAN, DELMER O          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER GUZMAN, JAVIER U.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER GUZMAN, JAVIER U.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER LLANOS, GLADYS E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER LOPEZ, JESSICA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER MALDONADO, LUIS A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER MOLINA, LENNIE YOMAYRA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER ORTIZ, LUZ N              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER PEREZ, FRANCES Z          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER PEREZ, FRANCESS           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER POLIDURA, ANA I           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER RAMOS, WANDA I.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER RIVERA, BENITO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER RIVERA, CECILIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER RIVERA, ISRAEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER RIVERA, LILLIAM E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER RIVERA, SANTOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER RODRIGUEZ, EMILY M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER RODRIGUEZ, JUAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER RODRIGUEZ, MICHAEL M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER ROLON, BERNETTE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER ROLON, BERNETTE M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER ROMERO, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER ROMERO, CARMEN C.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER SALAMAN, ELIZABETH        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER SALAMAN, MIGUEL ANGEL J   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7250 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2251 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
WALKER TRUMP, SHARRON R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER VAQUER, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER VAZQUEZ, JESSICA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER VAZQUEZ, JOSUE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER VEGA, JESELYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER VELAZQUEZ, ELIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER VELAZQUEZ, ELIA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER VELAZQUEZ, LOURDES       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER VELAZQUEZ, LOURDES E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER VELAZQUEZ, LOURDES E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER VELAZQUEZ, MARITZA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALKER VELAZQUEZ, MARITZA I     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALLACE ACEVEDO, RICARDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALLE ROSADO, FRANCINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALLE ROSADO, FRANCINE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALLE ROSADO, FRANCINE M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALLIS GOMEZ, LISANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALTERS MARQUEZ, THELMA C       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALTERS NIEVES, RUTH            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALTERS RODRIGUEZ, EVELYN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALTERS RODRIGUEZ, EVELYN C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WALTERS, JENNIE                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WARD CABALLERO, CAROL L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WARD CID, MARIA REBECCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WARE RODRIGUEZ, GREGG           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WARINGTON CRUZ, PETRA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WARINGTON, ROBERTO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WARREN GONZALEZ, GLORIA J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WARRIGTON MARIN, ANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WARRINGTON COLON, MARIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WARRINGTON MARIN, ANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WARRINGTON RIVERA, LUIS E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WARRINGTON SOTO, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WARRINGTON SOTO, JESSICA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WARRINGTON SOTO, JESSICA D      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WATANABE BALLANTA, DORA EICK    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WATERS, STEVEN                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WATLEY ALBERT, ABIEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WATTLEY, VIBEKE REBECA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WATTS REYES, BARBARA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WATTS SANTANA, LISETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WAYS NEGRON, DENNIS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WAZAR DE LEON, SUSANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WEAVER CAMPILLO, PETER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WEBB GUERRA, CARMEN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WEBB GUERRA, CARMEN A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WEBER LOPEZ, REBECA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WEBER LOPEZ, REBECA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
WEBER RODRIGUEZ, ALIDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7251 OF 7285
SCHEDULE E
                                  Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                               Desc:
AS REPRESENTATIVE OF                                     Schedule E3 Page 2252 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                  UNLIQUIDATED
                                                                                                                     CONTINGENT


                                                                                                                                                 DISPUTED
CREDITOR                          ADDRESS 1                    ADDRESS 2   ADDRESS 3     CITY       STATE ZIP CODE                                               AMOUNT
WEBER RODRIGUEZ, ELISA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WEBER RODRIGUEZ, ELISA            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WEBER RODRIGUEZ, INGRID           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WEBER RODRIGUEZ, INGRID           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WEIDISCH QUINONES, ZULLY A        REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WEIR MALAVE, JESSE                REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WEIR SANTIAGO, SHIRLEY            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WEIR,STEVEN                       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WEIR,STEVEN                       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WELSH DIALLO, KARINE              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WERBISTSKY SOLIVAN, CHRISTINE M   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WERBISTSKY SOLIVAN, CHRISTINE M   REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WERMUS MUNOZ, SANDRA J.E.         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WERNEIWISKEY RIOS, ROBERT J.      REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WERNET MONZON, GABRIEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WERNET MONZON, GABRIEL            REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WERT SERRANO, SUSAN               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WERT SERRANO, SUSAN               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WESOL SANTIAGO, JANEL M           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WEST MUNOZ, CARL R.               REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WESTER, DAVID E.                  REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WESTERBAND BORRERO, LILLIAN       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WESTERBAND COTTO, SHEILA          REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WESTERBAND GARCIA, WALDEMAR       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WESTERBAND GARCIA, WALDEMAR       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WESTERBAND MILLAN, CONCEPCION     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WESTERBAND MILLAN, MANUEL         REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WESTERBAND ORDEN, NELLY           REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WESTERBAND ORTIZ, EUGENIO L       REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WESTERBAND QUINONES, ROSELINE     REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
WESTERBAND QUINONES,              REDACTED                     REDACTED    REDACTED      REDACTED         REDACTED    C            U                        UNDETERMINED
YAMISSETTE
WESTERBAND RAMOS, JENNISE         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
WESTERBAND SEMIDEY, SERGIO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
WESTERBAND SEMIDEY, SERGIO        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
WESTERBAND VAZQUEZ, AMERICA M.    REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
WESTERN ALEJANDRO, RAMON L        REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
WESTERN MORALES, LUZ I            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
WESTERN QUINONES, ANA H           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
WESTERN QUINONES, ZULMA E         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
WESTON RIVERA, JOYCE M.           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
WETHERELL ZELASKO, JANE M         REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
WEYNE ROIG, ANGELA                REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
WHARTON CABALLERO, ADELA          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
WHARTON GARCIA, WANDA I           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
WHARTON GARCIA, WANDA I.          REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
WHARTON GOMEZ, ROBERTO            REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
WHARTON ROSA, LIZ                 REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED
WHARTON ROSA, LIZ KANEL           REDACTED                     REDACTED    REDACTED      REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                 PAGE 7252 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2253 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
WHARTON VELAZQUEZ, IRMA J        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHATTS ALBINO, NELAIDA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHATTS GONZALEZ, BETHZAIDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHATTS OSORIO, ROBERTO A         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHATTS PEREZ, WILLIAM J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHEELINGS LOPEZ, LINDA J         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHELAN RAMOS, FATIMA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHITE ALEXANDRIN, MARILYN E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHITE AYALA, TAMMY               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHITE AYALA, TAMMY N             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHITE GIRALDEZ, MICHELLE M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHITE GONZALEZ, JUDY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHITE GONZALEZ, JUDY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHITE, BILLY W.                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHITEHEAD CABAN, CARMEN L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHITEHEAD CABAN, CARMEN L.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHITEHEAD CABAN, JIMMY G         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHITMAN NIEVES, PAUL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHITMORE VELAZQUEZ, ROBIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WHITTENBURG GUZMAN, ANDRE E      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WIEDEMANN KROPP, ANITA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILCHEZ QUINTERO, WILSON         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILKES ALICEA, VANESSA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILKINSON MARTINEZ, MARTHA I.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILKINSON MARTINEZ, MERCEDES E   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLEMS MARTINEZ, FRANCISCO      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAM BATIZ, AGNES J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAM MORALES, ALBERTO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAM PARIS, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS AGOSTO, CARMEN L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS AGOSTO, MYRIAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS AGOSTO, SYLVIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS AGOSTO, SYLVIA E        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS ALVAREZ, MARIA DEL C    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS ANDINO, CARMEN D        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS ASENCIO, YVETTE M       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS BATIZ, AGNES            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS BRACHE, ANGELA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS BRANA, ALICE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS BRANA, ERNESTO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS BRANA, RICHARD          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS BRANA, RICHARD          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS BRANA, RICHARD          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS BRIDGEWATER, GLADYS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS CARLO, CECILIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS CRUZ, AUREA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS CRUZ, BRENDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS CRUZ, DEBORAH L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS CRUZ, IDALIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2254 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
WILLIAMS CRUZ, IDALIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS DE LEON, CARMEN L       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS DE ROCHE, STEFANNIE     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS FIGUEROA, HIRAM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS FUENTES, LIENNE         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS GARCIA, KAMALIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS GARCIA, KAMALIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS GARCIA, MARILU          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS GARCIA, OFELIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS GARDENS, CLARENCE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS GROMOVSKAJA, OLGA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS GROMOVSKAJA, OLGA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS LEBRON, JONATHAN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS LOPEZ, ISARITZA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS LOPEZ, JAIME R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS MALDONADO, PETRA N      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS MANGUAL, HORACE F       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS MANGUAL, HORACE F.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS NIEVES, SARA E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS PEREZ, JOY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS PEREZ, JOY J            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS PEREZ, ZOE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS PEREZ, ZOE A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS PIMENTEL, AILEEN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS POWLIS, ELROY ENRIQUE   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS RAMIREZ, CHRISTINE      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS RIJOS, MIRIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS RIOS, CARLA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS RIOS, CARLA A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS RIVAS, EDGARD           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS RIVERA, MARIBEL         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS ROBLES, YETTDALI        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS ROJAS, MIRIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS ROSA, LUCIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS ROSARIO, SANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS ROSARIO, SANDRA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS ROUSS, RICARDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS RUIZ, CARLOS F.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS SUAREZ, NORMA E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS VAZQUEZ, JAVIER         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIAMS WALKERS, IVETTE S       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLIS, JASON L                  REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLMER VICENCIO, PATRICIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILLMER VICENCIO, PATRICIO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILSON ESCOBAR, JOSE A           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILSON ESCOBAR, JOSE A.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILSON GONZALEZ, ALEJANDRO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILSON LAUREANO, CARMEN I        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILSON MAGRIS, CLARA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7254 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2255 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
WILSON MAGRIS, CLARA E           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILSON MAGRIS, JUDITH            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILSON MAGRIS, JUDITH            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILSON RIVERA, JOSE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WILSON RODRIGUEZ, CARLOS F       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WINFIELD RENDON, ELGA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WINFIELD RENDON, SIXTA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WISCOVICH CARDOZA, EMELIE M      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WISCOVICTH PAGAN, ADANETTE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WISCOVISH TORRES, MAIRIM         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WISCOVITCH CORALI, ISMAEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WISCOVITCH CORALI, SAMUEL        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WISCOVITCH FERRER, MILTON A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
WISCOVITCH GUZMAN, ALEJANDRINA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
M
WISCOVITCH GUZMAN, GUSTAVO       REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WISCOVITCH GUZMAN, HARIM         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WISCOVITCH GUZMAN, ISABEL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WISCOVITCH IRIZARRY, REBECCA     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WISCOVITCH MONTALVO, HERBERT     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WISCOVITCH MORALES, LINDA        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WISCOVITCH PADILLA, JENIFFER     REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WISCOVITCH PRADERE, ANNETTE      REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WISCOVITCH RUIZ, CARLOS          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WISCOVITCH SILVA, MARIMAR        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WISCOVITCH, MARIA DEL C.         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WOLFE CLAUDIO, ROBERT A.         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WOLFE CLAUDIO, ROBERT A.         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WOLFE, MARGARET                  REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WOLMART SANCHEZ, DAVID           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WONG PEREZ, JOSE A               REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WONG PIERALDI, MEYLING           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WONG PINEIRO, JORGE L            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WONG VALDES, JOSE D              REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WOO CORTES, YAN                  REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WOODROFFE CASIANO, JUAN          REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
ANTONIO
WOODS HERNANDEZ, GERSABEL        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WOODS QUINONES, JOHN P           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WOODSON ALICEA, MIGUEL A         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WOOLCOCK RODRIGUEZ, ALEX         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WORLEY LOPEZ, FRANK E            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WRIGHT FUENTES, ERIN MAR         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WRIGHT GARCIA, MARLENE           REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WRIGHT HILEMAN, DANELLE J        REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
WRINKLE, IRIS M.                 REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
XXXXXX AQUINO, FABIAN            REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
YACE CHINEA, ERNIX E             REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED
YACE DE ARMAS, VANNEZA E         REDACTED                      REDACTED    REDACTED     REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7255 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2256 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
YACE RODRIGUEZ, DOLORES M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YACE SANTOS, LILLIAM M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YACE VAZQUEZ, MARIANNE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO ACEVEDO, BLANCA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO AGUADA, SONIA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO CANCEL, JUAN J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO CANCEL, JUAN J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO CANCEL, SYLVIA M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO CASANOVA, GLADYS M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO CRUZ, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO CRUZ, LYDIA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO CRUZ, NILSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO CRUZ, OLGA I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO FEBUS, JOSE MANUEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO GONZALEZ, MARCELINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO HERNANDEZ, GISELLE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO HERNANDEZ, GISELLE M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO MEDINA, TATIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO NEGRON, NIXZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO NEGRON, SILVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO NEGRON, SILVETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO ORTIZ, LUCIANO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO PENA, GILBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO RAMOS, IVETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO RAMOS, JUAN E.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO RAMOS,JUAN E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO RIVERA, JOSEPH D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO RIVERA, MARILYN E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO RIVERA, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO RIVERA, ROSALIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO RIVERA, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO SANTIAGO, CONFESOR        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBO VELAZQUEZ, ANTONIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBOT SANTIAGO, CONCEPCION     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMBOT SANTIAGO, CONCEPCION     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMIN RIVERA, CARLOS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMIN SANTIAGO, ADELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMPIER MONTANEZ, MONICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMPIER PEREZ, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAMPIER PEREZ, SOCORRO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YANCE GARCIA, MAYRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YANCE RIVERA, IVETTE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YANCY CRESPO, BENJAMIN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YANCY CRESPO, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YANCY CRESPO, LAURA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YANCY CRESPO, LAURA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YANES BOSH, ANA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YANES RAMOS, ESTHER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YANEZ, NERY                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7256 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2257 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
YANIZ GIL, LEONOR               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YANIZ VELEZ, ADRIAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YANTIN RIVERA, JORGE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YANTIN SALOME, JORGE J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAPOL FADUL, SUSANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAPUR HERNANDEZ, GABRIEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YAREMA HERSACK, DENNIS W.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YASHIRA VIDAL, PACHECO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YASIN CERON, NURA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YASIN SANTOS, ABDEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YASIN, FARES                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YBANEZ MENENDEZ, NOEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YBARZABAL COSMO, GLORIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YEAMPIERRE ADORNO, DAMARIS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YEJO ROSADO, NYDIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YEJO VEGA, VILMA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YEPES RUIZ, MARINA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YEPEZ GIORDANO, CLAUDIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YEPEZ MARCANO, MAIGUALIDA E     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YERA CAMACHO, MORIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YERA LOPEZ, IDALIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YERA ORTIZ, CARMEN M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YERA SANTIAGO, BENJAMIN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YERO DIAZ, JESSICA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YERO DIAZ, JESSICA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YERO REYES, SARAHI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YERO REYES, SARAHI              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YEVE GARCIA, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YEYE BARRIERA, JOSE R           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YEYE GARCIA, ILKIA S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YEYE GARCIA, IVELISSE C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YGLESIAS QUINONES, LOLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YIASKI GARCIA, SANDRA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YIK FIGUEROA, WAYLING L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YIMET ACABA, BRENDA IVELISSE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YINAT FIGUEROA, LYDIA L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YINAT RODRIGUEZ, AIMME          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YLLESCAS HERNANDEZ, JUAN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YLLESCAS HERNANDEZ, JUAN M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YNOA, ANGIE G.                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YOBOBYS FERRER, DIANA I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YOLANDA ORTIZ, TORRE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YON CRUZ, RUTH N                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YORDAN BERRIOS, MARTA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YORDAN CENTENO, MADELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YORDAN GONZALEZ, NICOLE M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YORDAN JOVET, JOSE L.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YORDAN MARTINEZ, MICHELLE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YORDAN MOLINI, JORGE LUIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7257 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2258 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
YORDAN PADRO, LISSETTE M.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YORDAN RAMIREZ, LYDIA G         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YORDAN RIVERA, DORIS Y          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YORDAN RIVERA, DORIS Y.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YORDAN RODRIGUEZ, CARMEN R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YORDAN RODRIGUEZ, IRENIA M      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YORRO MORALES, SHENIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YORRO RIVERA, MILDRED           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YOUNG ALERS, INGRID             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YOUNG FIGARELLI, DAVID          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YOUNG FIGARELLI, ROSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YOUNG HERNANDEZ, ROLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YOUNG IRIZARRY, VERETTA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YOUNG RODRIGUEZ, GEORGE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YOUNG VEGA, ELISHA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YOUNGER MEDINA, MARIA DEL C     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YOURNET CORTES, LISAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YOURNET CORTES, LISAIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YOURNET CRESPO, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YOURNET PIZZINI, YOULIANA B     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YOURNET SANTIAGO, GILBERT       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YRIMIA GIL, LYDIA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YRIMIA HERRERA, ANTHONY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YSAAC ROSARIO, EMILY R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YSERN BORRAS, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YTHIER GARCIA, MANUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YTHIER WILSON, HECTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YUFRA RIVERA, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YUFRA RIVERA, SONIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YULFO BELTRAN, LUIS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YULFO BELTRAN, MICHELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YULFO BERTIN, IVETTE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YULFO BLAS, MARIA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YULFO BLAS, MARIA V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YULFO CABAN, CHERLIMAG          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YULFO CONCEPCION, JOSE R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YULFO HOFFMANN, BEATRIZ         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YULFO LOPEZ, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YULFO MATIAS, KARIANA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YULFO PEREZ, STHELA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YULFO RAMOS, JAVIER             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YULFO SOSA, HERIBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YULFO UGARTE, GRISETTE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YULIAN ROSARIO, ANTONIO I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YULIAN ROSARIO, JOEL D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YUMET SOLIS, PATRICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YUMET SOLIS, PATRICIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YUNQUE AVILES, AWILDA J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
YUNQUE OSORIO, ABIGAIL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2259 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
YUNQUE OSORIO, ASUNCION          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
YURET VERA, LORRAINE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
YZQUIERDO RODRIGUEZ, ANNIE       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA BETANCOURT, CRISTINA M    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA CARRASQUILLO, MARIA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA CARRASQUILLO, MARIA L     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA COTTO, CARMEN M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA DE COLLAZO, MARTA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA DEL VALLE, EDWIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA DURAN, NOEMI              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA GALARZA, YAHAIDA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA GARCIA, AIDA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA GARCIA, EDGAR             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA GARCIA, ENID              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA LOPEZ, JOHANNA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA MENDEZ, ANA M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA MOLINA, ALBA NYDIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA MONTANEZ, KATHIA E.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA NAVARRO, IVETTE YOLANDA   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA ORTIZ, CONSUELO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA PEREZ, GLADYS             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA PINEIRO, CARMEN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA REYE, MARIA DE LOS A      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA RIVERA, DIMARIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA RIVERA, DIMARIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA RIVERA, ZULMA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA SANTIAGO, IRVIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA SANTIAGO, IRVIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA SANTIAGO, IRVIN L.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA SILVA, ROSALYN E          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA SOLER, ALBERTO C.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA TORO, ROBERTO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA VARGAS, ROSALIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA VAZQUEZ, CARMEN E         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA VELAZQUEZ, KEVIN A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALA, ORLANDO J                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALETA ALVAREZ, ZENAIDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALETA BAEZ, ANTONIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALETA BAEZ, ANTONIO M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALETA OQUENDO, CARMEN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALETA OQUENDO, DELIA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALETA PACHECO, ESTRELLITA     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALETA ROMAN, JEHONEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABALETA ROSARIO, JANET          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZABORSKY VALLE, DEBORAH          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZACARIAS ACEVEDO, IRMA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZACCHEUS SOTO, CARLOS            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZACCHEUS VIZCARRONDO, CARLOS     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZACHEUS CONDE, MELISA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7259 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2260 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ZACHEUS CONDE, MELISA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZACHEUS FIGUEROA, BRUNILDA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZACKEY MENDEZ, JAKZAMARA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZADEYEH REYES, ABDEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZADIEYH LACLAUSTRA, WALESCA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZADIEYH LACLAUSTRA, WALESCA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAES CASIANO, LUIS M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAFRILLA MORELL, MARIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAGRAFAKIS ARCIA, EVANGELIA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAIDI ALLEN, HASNAIN             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALABARRIA APONTE, PEDRO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALDUA VIVAS, EDUARDO            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALDUONDO DELGADO, CLARISSA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALDUONDO DELGADO, CLARISSA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALDUONDO FLORES, LISANDRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALDUONDO FLORES, LISANDRA       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALDUONDO FLORES, LUZ P          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALDUONDO FLORES, MIGUEL A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALDUONDO GARCIA, VIVIAN         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALDUONDO GONZALEZ, SOFIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALDUONDO NEGRON, JULIO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALDUONDO NEGRON, JULIO A.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALDUONDO RODRIGUEZ, MILTON      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALDUONDO RUIZ, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALDUONDO VELEZ, MIGUEL A        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALDUONDO VILLANUEVA, CARLOS F   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALDUONDO VILLANUEVA, MIGUEL     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZALEDON LIRA, KARINA J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBANA DE JESUS, AMANDA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA AGUILA, MYRNA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA AGUILA, MARIA DEL C     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA BATISTA, JUAN H         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA BATISTA, JUAN H.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA BURGOS, DANNETTE L      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA CABRERA, ANGEL L        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA CANDELARIA, JOSE        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA CASTRO, NOEMI           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA COLON, EDDIE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA COLON, MARIA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA COLON, MARIA L          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA CRESPO, CYNTHIA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA CRESPO, JOSE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA CRUZ, DIGJOAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA CRUZ, DIGJOAN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA CRUZ, JORGE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA CRUZ, JUAN I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA CRUZ, JUAN M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA CRUZ, JUAN M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA CRUZ, NORMA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2261 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                       ADDRESS 1                       ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAMBRANA CRUZ, NORMA I         REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA CRUZ, ZINNIA          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA DE JESUS, CRYSTAL     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA DE LEON, DAISY        REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA DIAZ, LUZ R.          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA ECHEVARRIA, PATRICIA  REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA FAJARDO, DANIEL       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA FONT, LUCILA          REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA GARCIA, AWILDA C.     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA GARCIA, EDMUNDO       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA GARCIA, EDMUNDO       REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA GARCIA, MARIBEL A     REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA GIERBOLINI, GLORIA    REDACTED                        REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ILEANA
ZAMBRANA GOMEZ, AURILYNN       REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA GONZALEZ, CARLOS      REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA GONZALEZ, DORIS M.    REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA GONZALEZ, ELIDA A     REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA GONZALEZ, ELIDA A     REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA GONZALEZ, GABRIEL     REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA GONZALEZ, LIZETTE     REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA GONZALEZ, LUIS A.     REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA GONZALEZ, SILKIA      REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA GONZALEZ, YANSEL      REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA GRANA, JAIME L        REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA GUADALUPE, JOSEPH     REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA IRIZARRY, RAFAEL      REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA LIMARDO, RUTH         REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA LLANOS, MARTA Z       REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA LUNA, SONIA           REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA MALDONAD O,           REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
MARGARITA
ZAMBRANA MALDONAD O,           REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
MARGARITA
ZAMBRANA MARTINEZ, DAMARYS DEL REDACTED                        REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED

ZAMBRANA MARTINEZ, JULIO I      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA MAS, DORIS             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA MELENDEZ, JOHNNY       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA MONTOSA, BARBARA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA MORALES, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA MORALES, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA MORALES, JOSE          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA MURIEL, ARLENE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA NEGRON, ABIGAIL        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA NERIS, SHIRLEY J.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA NIEVES, JORGE O.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA OLIVENCIA, ALLAN P.    REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMBRANA ORTIZ, ANA I.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7261 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2262 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAMBRANA ORTIZ, ANA I.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA ORTIZ, CELIDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA ORTIZ, MARIBEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA ORTIZ, PETER J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA ORTIZ, PETER J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA PADILLA, SANTOS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA PEREZ, GUSTAVO A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA QUILES, ELVIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA QUINONES, ANIBAL J     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA QUINTANA, ANDREA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA QUINTANA, BRUNO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA QUINTANA, NATALIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA RAMIREZ, TOMASA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA RAMOS, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA RAMOS, JENNIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA RAMOS, JOSNALIAN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA RIVERA, ANA J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA RIVERA, FELIX          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA RIVERA, FELIX L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA RIVERA, JUDITH E       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA RIVERA, NORMA E        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA RIVERA, OSVALDO L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA RIVERA, SANDRA L       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA RODRIGUEZ, ADAMARIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA RODRIGUEZ, MARIETTE    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA RODRIGUEZ, MARISELY    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA RODRIGUEZ, OLGA Y      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA ROJAS, JUANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA ROJAS, JUANITA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA ROSADO, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA ROSADO, FRANKLIN       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA ROSARIO, MARIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA SANCHEZ, LUIS G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA SANCHEZ, MELINDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA SANTIAGO, DANIEL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA SANTIAGO, VIVIAN V     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA SANTIAGO, YINEFER      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA SANTOS, ANIBAL R       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA SANTOS, LUIS M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA SIERRA, ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA TORRES, ANA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA TORRES, ANGEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA TORRES, ARNALDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA TORRES, LOURDES V      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA TORRES, MABELIN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA TORRES, MARCELINA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA TORRES, NILDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA TORRES, NORA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA TORRES, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7262 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2263 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAMBRANA TORRES, NORMA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA TORRES, ROXANA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA TRINIDAD, ALBA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA VALENTIN, ANA C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA VEGA, MARIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA ZAMBRANA, KATIRIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA ZAMBRANA, KATIRIA      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANA ZAYAS, LUIS M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANAESPADA, JEAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMBRANO RIJOS, MARISOL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMORA ALVAREZ, ANGEL J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMORA ARCAY, LINDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMORA ARCAY, MARIA DE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMORA CEIDE, AMANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMORA COLLAZO, GLADYS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
JEANNETTE
ZAMORA CRESPO, DANIEL J         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA ECHEVARRIA, JAVIER       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA ECHEVARRIA, JAVIER       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA FERNANDEZ, JOSE A.       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA GONZALEZ, CARLOS         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA GUZMAN, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA LEANDRI, MAGDA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA LEANDRY, MARGARITA       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA LEANDRY, MAYRA           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA LEANDRY, MAYRA G         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA LOPEZ, MARY JOSE         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA LOPEZ, MARY T            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA LUGO, DENNYS             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA MORALES, IRAIDA          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA OQUENDO, JUDITH          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA OTERO, ANGELA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA QUILES, MELVA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA QUILES, MELVA G          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA QUINONES, JOEL J         REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA RIVERA, EDNA             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA RUIZ, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA SANTOS, JUAN J.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA SANTOS, PEDRO            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA SANTOS, RUTH E.          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA VAZQUEZ, CRISTOBAL       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA VAZQUEZ, LIDYSVETT       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA VAZQUEZ, LIDYSVETT       REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORA ZAMOT, JEAMARY           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMORANO LAGUNA, SUSANA M.      REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMOT ARBELO, ANAIDA            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMOT ARCE, ANTONIO             REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMOT ARCE, SORAYA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAMOT ARCE, SORAYA              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7263 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2264 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAMOT AYALA, HECTOR M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT BETANCOURT, JESSICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT CRUZ, ELVIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT GONZALEZ, JUAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT LOPEZ, MARGARITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT MALDONADO, VALERIA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT MERCADO, ENRIQUE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT MISLA, ALBA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT MISLA, ESTELIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT MONTALVO, NILLIAM M.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT PEREZ, ORLANDO J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT RODRIGUEZ, ANGEL L.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT RODRIGUEZ, JOEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT ROJAS, NORMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT ROJAS, NORMA D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT ROJAS, RENE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT SALGADO, BRENDA G.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT SOTO, CRISTIE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT VELEZ, ANA K              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT VELEZ, MARICARMEN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT VELEZ, ROXANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT VELEZ, ROXANA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOT ZAMOT, NICASIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMOTT COLON, HAZELL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMPIEROLLO VILA, JAIME J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAMPIEROLLO VILA, ROMANO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZANABRIA COLON, EDDIE A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZANABRIA TORRES, DIGNA D.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZANABRIA TORRES, DIGNA DANYSE   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZANUTTI LAZZARI, CINDY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZANUTTI LAZZARI, MARCELA L      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA ROBLES, HARRY M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA ALVAREZ, JUAN A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA ALVAREZ, JUAN ANTONIO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA ARROYO, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA ARROYO, TANYA K.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA ASENCIO, MARISEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA BEAUCHAMP, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA BELEN, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA BELTRAN, ANTHONY J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA BLANCH, DARMA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA BONILLA, JEANDRES J.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA BURGOS, MARIANO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA CABRERA, VICTOR          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA CABRERA, VICTOR U        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA CALDERON, LETTY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA CAMACHO, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA CANCEL, CARLOS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA CARDERON, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7264 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                   Schedule E3 Page 2265 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAPATA CASABLANCA, CONCEPCION   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA CASABLANCA, CONCEPCION   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA CASABLANCA, CONCEPCION   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA CASIANO, LILLIAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA CHAPARRO, MIRTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA CRESPO, NELLY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA CRUZ, ERIBERTO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA CRUZ, KIOMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA CRUZ, LOURDES            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA CRUZ, NYDIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA DIAZ, MARIA DE LOS A.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA FAGUNDO, RONALD          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA FEBUS, ZULMA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA FLORES, FREDDIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA FLORES, FREDDIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA FONG, RYAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA GARCIA, JESSICA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA GOMEZ, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA GONZALEZ, DENNY          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA GONZALEZ, MARIA V.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA IRIZARRY, ANABEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA IRRIZARRY, JOSE A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA LOJANO, DANIEL A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA LUCCA, IVAN F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA LUGO, NANCY S            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA MARIN, MARIA E.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA MARRERO, WANDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA MARTINEZ, MILDRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA MARTINEZ, MILDRED        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA MEDINA, MICHELLE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA MEDINA, ROBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA MELENDEZ, ANGEL M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA MERCADO, YELITZAH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA MONTALVO, MELVIN J.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA MORALES, SYLVIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA ORTIZ, CHERLY C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA OTERO, MARTA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA PADILLA, ARLYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA PADILLA, ARLYN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA PADILLA, DORIS N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA PADILLA, ELMER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA PADILLA, OSCAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA PAGAN, EDNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA PAGAN, EDNA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA PAGAN, OSCAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA PAGAN, WILFRIDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA PEREZ, JULIO V           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA PEREZ, WENDELL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RAMIREZ, EDITHLU         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7265 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2266 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAPATA REYES, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA REYES, NOEMI             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA REYES, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RIVERA, ISIOMARA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RIVERA, JAIME            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RIVERA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RIVERA, JOSE R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RIVERA, JOSE R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RIVERA, MARILUZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RIVERA, SYLKIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RODRIGUEZ, CARMEN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RODRIGUEZ, CARMEN J      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RODRIGUEZ, DILMARY       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RODRIGUEZ, FRANCISCO     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RODRIGUEZ, JAIME         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RODRIGUEZ, JORGE J       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RODRIGUEZ, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RODRIGUEZ, NORMAN        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA ROSARIO, ALFREDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA ROSAS, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA ROSAS, LOURDES           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA ROSAS, RICARDO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA ROSAS, RICARDO J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RUSCALLEDA, MARICELLI    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA RUSCALLEDA, MARICELLY    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA SANABRIA, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA SANTIAGO, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA SEDA, BRENDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA SEDA, HELDIE M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA SEGARRA, JOSEFA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA SEGARRA, TOMAS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA SOLA, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA SUAREZ, BENITO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA SUAREZ, ELIZABETH        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA TORO, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA TORO, PRISCILLA Y.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA TORRES, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA TORRES, EDGARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA TORRES, EDNA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA TORRES, TANIA A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA VALENTIN, LUZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA VALENTIN, LUZ C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA VALENTIN, LUZ C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA VALLADARES, TERESA S.    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA VAZQUEZ, ILEANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA VAZQUEZ, OLGA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA VEGA, MARIA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA VEGA, SARAH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA YEPEZ, GILBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7266 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2267 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ZAPATA ZAPATA, JAIME             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA ZAPATA, REINALDO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA ZAPATA, VIRGEN M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA, ANGEL                    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATA, SUSANA                   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATER MORALES, BENJAMIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATER RODRIGUEZ, MONICA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPATERO VARGAS, BENNETT         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPIAIN CASTRO, MARCO A.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAPOLSKIKH LA CRUZ, ALEXANDRA    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOSA RIVERA, EFRAIN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA BAEZ, FREDDIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA BAEZ, FREDDIE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA BAEZ, MAYDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA BUXO, JOSE R.           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA CASTILLO, ANA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA CASTILLO, WILLY         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA CLAS, LUCILA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA COLON, GILDA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA DEJESUS, ANGELA I.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA GOMEZ, JOSE             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA GOMEZ, JUAN C.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA GONZALEZ, EFRAIN        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA GUTIERREZ, CARMEN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA GUTIERREZ, CARMEN C.    REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA MALDONADO, JOSE F.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA MALDONADO, JOSE F.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA MAYSONETT, LUZAIDA      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA NEVAREZ, DIANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA RIVERA, CELLYMAR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA RIVERA, ORLANDO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA RUIZ, DANIEL J          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA SANTIAGO, KENYA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARAGOZA VAZQUEZ, XENIA R.       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARATE FERNANDEZ, DIALMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARATE FERNANDEZ, DIALMA         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARATE HOYOS, JEAN               REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARATE VILLARD, ZORAIDA R        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARET PLUMEY, ENRIQUE            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARGARIAN, MOHAMMAD              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZARZA MARTIN, MARIA I            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZATAR FONOLLOSA, NASER           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZATIROPOULOS TUBENS, YESENIA M   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA AGUEDA, JANET             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA APONTE, LUIS R            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA CALDERON, ANTONIO         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA CALDERON, ELISA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA COTTO, CARMEN M           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA CRUZ, ELIA T              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7267 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2268 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


                                                                                                                                                DISPUTED
CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ZAVALA DIAZ, IVAN                REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA ESTRADA, MARIA DE LOS A   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA GALVEZ, ASTRID G          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA GALVEZ, FERDINAND A       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA GARCIA, INES              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA GONZALEZ, CARYS MITSY     REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA MALDONADO, IDALIA I.      REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA MALDONADO, WILFREDO       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA MARTINEZ, ROSA A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA MARTINEZ, RQSA A          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA MUNOZ, MICHELLE E.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA NUNEZ, LUIS R.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA ORTIZ, NATYALIZ           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA PEREZ, ISAURA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA PEREZ, JESUS              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA RAMOS, JOSE A.            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA RIVERA, ANGIE L           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA RODRIGUEZ, SANDRA I       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA RUIZ, LOURDES             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA TORRES, REBECA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA TRIAS, SILVIA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA TROCHE, HILDA             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA VILLARAN, ROSA M          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALA ZEGARRA, DIEGO E.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALATORRES, JOSUE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALETA CALDERON, SYLVIA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALETA TEXIDOR, BENJAMIN       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAVALETA TEXIDOR, ZAFIRA E       REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAWAHRA ALEJANDRO, IZAM          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ACEVEDO, NORAIMA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ACOSTA, GLEISHA            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS AGOSTO, DARIANN N          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ALBINO, ANABEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ALBINO, ANABEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ALICEA, ANA C              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ALVARADO, MIRIAM           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ALVAREZ, ANNETTE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ALVAREZ, ANNETTE           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ALVAREZ, CARMEN            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ALVAREZ, DANNY             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ALVAREZ, MARISEL           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ALVAREZ, OLGA L            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ALVELO, FRANCISCO          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS AMARAL, JORGE              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ANGLADA, PEDRO J           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS APONTE, ALEXANDRA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS APONTE, PEDRO              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ARCA, BRAULIO              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ARCA, BRAULIO A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                PAGE 7268 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2269 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAYAS ARCE, WANDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ARCE, WANDA M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ARROYO, CARLOS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ARROYO, ESPERANZA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS AVILES, BLANCA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS AVILES, BLANCA I.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS AVILES, LILLIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS AVILES, LILLIANA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS AYALA, VICTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BARRIOS, BERTHA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BAUZA, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BELLO, ALEXIS M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BELLO, PEDRO JUAN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BENGOCHEA, LYDIA I.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BENITEZ, DIANA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BERDECIA, LUZ S.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BERMUDEZ, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BERMUDEZ, ANTONIO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BERMUDEZ, JOSE H          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BERRIOS, DIGNA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BERRIOS, EDISON           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BERRIOS, IRIS J           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BERRIOS, JUAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BERRIOS, LISNERY R        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BERRIOS, LUCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BERRIOS, MAGDALIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BERRIOS, MARIA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BLANCO, LUIS M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BLANCO, NITZA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BONILLA, JORGE L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BONILLA, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BONILLA, JOSE U           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BONILLA, LIZNELLY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BURGOS, AIDA I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BURGOS, ANA L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BURGOS, ANA V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BURGOS, HUGO I.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BURGOS, JESUS A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS BURGOS, NITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CALDERON, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CALDERON, JOSE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CAMACHO, LIZ A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CANDAL, NANCY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CARMONA, MAYRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CARRASQUILLO, CAROL       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CARRASQUILLO, GILBERTO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CARTAGENA, HECTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CARTAGENA, MELISSA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CASTRO, PABLO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
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AS REPRESENTATIVE OF                                  Schedule E3 Page 2270 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAYAS CEDENO, LILLIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CEDENO, LILLIAN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CHACON, AGNES             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CHACON, MABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CINTRON, GRISSEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CINTRON, IVELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CINTRON, JOSE U           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CINTRON, LUZ A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CINTRON, MAGALY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CLASS, ADALIZ             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CLAUDIO, ZAYLIAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLLAZO, EDUARDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, AUREA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, CARLOS R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, DIANA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, DORA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, DORA E             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, DORA ELY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, EDGAR              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, EVANGELINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, FELIX A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, FELIX E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, HERIBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, IDA                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, IDA E              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, JAYMIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, JAYMIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, JAYMIL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, JOSE LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, LETICIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, LILLIAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, NILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, OGLA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, PERSIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, RICARDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, VICTOR M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, VIVIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COLON, ZAYDA LIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CORDERO, CINDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CORREA, GLORIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CORREA, IRMA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CORREA, IRMA L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CORREA, RUTH              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CORREA, YOLANDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CORTES, ANA MARIE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS COSS, STEPHANIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2271 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




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                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAYAS CRUZ, ANA D.              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CRUZ, AWILDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CRUZ, CHRISTIAN J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CRUZ, EVELYN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CRUZ, GLORIVET            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CRUZ, HILDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CRUZ, JENNIFER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CRUZ, JOSE A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CRUZ, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CRUZ, LUZ                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CRUZ, YAHAIRA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CRUZ, YARELIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS CUBERO, ZACHA MARIE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DAVILA, IRMAHE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DAVILA, KEVIN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DE JESUS, ANA HILDA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DE JESUS, CARLA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DE JESUS, LOURDES M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DE JESUS, NOEMI           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DE JESUS, SHERLEY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DELGADO, ERIMART          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DIAZ, ANGEL L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DIAZ, HECTOR J.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DIAZ, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DIAZ, JUAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DIAZ, JUANITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DIAZ, JUANITA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DIAZ, SYLVIA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DIAZ, YANITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DIAZ, YANITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DIAZ, YANITZA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DORTA, GLENDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DORTA, GLENDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DRAGONI, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS DUCHESNE, RAUL EDUARDO    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ECHEVARRIA, ADLYN G       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ECHEVARRIA, MIGUEL R      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ESCOBAR, ALEIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ESCOBAR, JOSE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ESCUDERO, JUAN C          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ESCUDERO, KELLY L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ESCUDERO, PETRIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ESPADA, ZULEYKA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS FERNANDEZ, ALBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS FERNANDEZ, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS FIGUEROA, EDWIN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS FIGUEROA, ERNESTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS FIGUEROA, JAVIER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS FIGUEROA, JORGE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7271 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2272 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAYAS FIGUEROA, JORGE I.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS FIGUEROA, KASANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS FIGUEROA, KASANDRA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS FLORES, ANTONIO J         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS FLORES, DELIA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS FLORES, JOHN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS FLORES, LUIS F            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS FLORES, MAY C.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS FONTANEZ, CARMEN M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GARCIA, EDGARDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GARCIA, ELBA R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GARCIA, IVIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GARCIA, IVIS N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GARCIA, JORGE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GARCIA, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GARCIA, JUAN D            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GARCIA, MYRIAM DAMARIS    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GARCIA, PEDRO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GARCIA, PEDRO M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GARCIA, RAYNALDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GELI, IVAN                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GIERBOLINE, DHARIANE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GIERBOLINI, MAYRA M       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GOMEZ, ROBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, ANNELISS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, CINDIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, ELIZABETH T     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, IRIS J          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, JOAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, JOSE B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, JOSE C.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, JUAN B          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, KARINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, KARLA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, LOURDES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, LUIS E.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, MARIA E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, MARIELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, MARIELIS        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, MERCEDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, MERCEDES        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, MIGUEL A.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GONZALEZ, RAISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GRAVE, ROSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GRULLON, EUNICE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GUTIERREZ, AVELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GUTIERREZ, AVELINA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GUZMAN, EFRAIN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS GUZMAN, GERSON            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2273 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAYAS GUZMAN, ORLANDO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS HERNANDEZ, CARMEN H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS HERNANDEZ, IBELCA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS HERNANDEZ, JESSICA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS HERNANDEZ, JUAN C         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS HERNANDEZ, MAGDA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS HERNANDEZ, MARIANGELA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS HERNANDEZ, MARIANGELA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS HERNANDEZ, MARIBEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS HERNANDEZ, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS HERNANDEZ, ORLANDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS HERNANDEZ, RAUL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS HERNANDEZ, WALESKA I.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS JIMENEZ, BRENDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS JIMENEZ, GLORIA E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LEBRON, CAMILLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LEBRON, CAMILLE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LEON, JOSE A.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LEON, RAQUEL Y.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LEON, VANESSA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LLANES, EMMANUEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LOPEZ, ELIEZER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LOPEZ, JOSE L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LOPEZ, MARIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LOPEZ, MARIA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LOPEZ, MARIA CRISTINA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LOPEZ, MEIGDELIZ J        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LOPEZ, MEIGDELIZ J.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LOPEZ, MILDRED            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LOPEZ, WANDA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LOTTI, KAREN W            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LUNA, JOSE I              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LUNA, NANCY               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS LUNAS, FELIX M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MALAVE, LILIN G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MALDONADO, ANGEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MALDONADO, ANGELICA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MALDONADO, MIRTA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MALDONADO, SAMARY         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MARRERO, ANA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MARRERO, HARRY N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MARRERO, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MARTINEZ, CARMEN I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MARTINEZ, ENIMER          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MARTINEZ, GERARDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MARTINEZ, JOSE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MARTINEZ, JOSE R.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MARTINEZ, LUIS HIRAM      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MARTINEZ, LUZ N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7273 OF 7285
SCHEDULE E
                                Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
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AS REPRESENTATIVE OF                                   Schedule E3 Page 2274 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAYAS MARTINEZ, LUZ N           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MARTINEZ, MARIA DEL R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MARTINEZ, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MARTINEZ, TIBURCIO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MARTINEZ,JOSE R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MARXUACH, EDUARDO A.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MARXUACH, LUIS F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MATOS, HECTOR F.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MATOS, LESLEY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MATOS, LESLEY A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MATOS, ROSA H             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MEDINA, JAIME G.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MEDINA, JESSICA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MELENDEZ, GERMAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MENDOZA, BRYAN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MENDOZA, DENNIS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MENDOZA, EDLISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MENDOZA, EDLISA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MIRANDA, MARIA DE LOS A   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MIRANDA, OLGA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MIRANDA, ROSA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MIRANDA, ROSA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MIRANDA, RUBEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MONGE, LUIS A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MONTANEZ, DAVID           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MONTANEZ, LUIS A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MORALES, CARLO E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MORALES, EDELMIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MORALES, PEDRO J.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MORENO, LUIS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MORENO, LUIS E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MORENO, MADELINE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MORENO, MARIBEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MORENO, MARICELIS         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MORENO, MELISSA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MORO, NOEL                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MUNET, ARLEN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS MUNIZ, YAMILETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS NATAL, VIVIANA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS NAVARRO, ELBA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS NAVARRO, ELBA M.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS NEGRON, BETSY A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS NEGRON, NAYDA E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS NIEVES, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS NIEVES, LIZETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS NIEVES, LIZETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS NOVOA, RAMON A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS NUNEZ, CARLOS A           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS OCASIO, JOSE A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7274 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2275 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAYAS OCASIO, JOSE Z.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS OCASIO, LYDIA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS OCASIO, MIGUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS OLIVER, MILAGROS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS OLIVERAS, RAMONITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS OLIVO, OMAR A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS OQUENDO, HECTOR M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS OQUENDO, MARIA I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTEGA, MANUEL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTEGA, MANUEL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, ANGELITA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, AURELYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, CARMEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, CARMEN JULIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, CARMEN L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, CAROLYN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, CAROLYN S          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, CESAR E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, ERVIN              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, IVETTE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, JESSICA M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, JORGE L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, LIONEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, LUIS R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, LUIS R             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, LUZ ZORAIDA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, MARIA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ORTIZ, MYRIAM             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS OTERO, ALBERTO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS OTERO, SHEYLA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PABON, NOEMARIE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PABON,RAMON G.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PACHECO, ERIKA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PADILLA, LUIS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEDRAZA, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEDRAZA, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEDRAZA, DAMARIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEDROSA, JOSE E           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PELLICCI, MYRTELINA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PENALBERT, TOMAS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, EVELYN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, IDALIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, IRIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, IRIS M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, IRIS M.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7275 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2276 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAYAS PEREZ, JAIME L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, JUDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, JUDITH             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, KARIMAR            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, KARINA R.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, KARLA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, MAYRA A            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, NANCY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, PABLO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, PABLO E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, RAYMOND            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, ROSA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, SONIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PEREZ, SONIA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PITYNSKA, ROBERTO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS POMALES, JOSE J.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS POZO, ROBERTO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS PRIETO, ENID M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS QUERO, ANABEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS QUINONES, LILLIAM         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RAMIREZ, DIANA ELIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RAMOS, EILEEN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RAMOS, FRANSHESKA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RAMOS, GABRIELA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RAMOS, IRMA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RAMOS, IRMA V             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RAMOS, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RAMOS, IVELISSE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RAMOS, LISSETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS REYES, FERNANDO E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS REYES, YOLANDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIOS, CARMEN R            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIOS, LOURDES S           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIOS, PEDRO               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIOS, PEDRO G             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIOS,FELIX R.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVAS, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, ABIMAEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, ADRIA Y.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, ALEXIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, ANIBAL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, CARMELO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, CARMEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, CARMEN N          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, DARLENE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, DELIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, ELBA M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, GLADYS M          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, HECTOR I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7276 OF 7285
SCHEDULE E
                                 Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                              Desc:
AS REPRESENTATIVE OF                                    Schedule E3 Page 2277 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                 UNLIQUIDATED
                                                                                                                    CONTINGENT


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CREDITOR                         ADDRESS 1                     ADDRESS 2   ADDRESS 3    CITY       STATE ZIP CODE                                               AMOUNT
ZAYAS RIVERA, HIRAM              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, JAVIER F.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, JORGE A            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, JOSE G             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, JOSE VICTOR        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, KETSY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, MARIA DE L         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, MARIA S            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, MARISOL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, MIGNA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, MIGUEL             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, NANCY              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, RAMON              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, ROSA M             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, RUBEN DAVID        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, SONIA              REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, SONIA M            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, VIVIAM             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, WILFREDO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, WILLIAM            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RIVERA, YAVIERLIS          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROBLES, KANELLY M.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROCHE, ORLANDO             REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, ALEX R          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, ALEX R.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, AMILCAR         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, ANA G.          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, BRUNILDA        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, CARMEN M        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, DAMARIS         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, EDWIN           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, EDWIN ALBERTO   REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, HERBERT         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, HERBERT         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, ILEANA          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, ISABEL          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, JACLYN          REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, JOEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, JOEL            REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, JOSE L.         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, KEILA M.        REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, LISBETH         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, LIZBETH         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, MARIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, MARIA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, MARIA M         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, MARIA Y         REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, MARIO           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, MARTA           REDACTED                      REDACTED    REDACTED     REDACTED         REDACTED    C            U                        UNDETERMINED



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SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2278 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAYAS RODRIGUEZ, MERLYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, MIGDALIA       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, MINERVA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, NILSA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, OMAR J.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, SONIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, VICTOR         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, XAVIER R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, XAVIER R.      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RODRIGUEZ, YANIRA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROLDAN, EDWIN NOEL        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROLON, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROMAN, MARALIZ            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROMAN, ZAYRA G.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROMERO, JULIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROMERO, PRISCILLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROMERO, PRISCILLA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RORIGUEZ, MARIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROSARIO, CARLOS R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROSARIO, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROSARIO, MIGDALIA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROSARIO, MIGUEL A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROSARIO, NOEL A.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROSARIO, RUBELISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROSARIO, RUBELISA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ROSARIO, YADALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RUBERT, YARANDELIZ        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS RUNKEL, GLORIA E          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SAN MIGUEL, GUELYNEL      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SAN MIGUEL, NORMA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SAN MIGUEL, NORMA I       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANCHEZ, AQUILINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANCHEZ, EGBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANCHEZ, EGBERTO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANCHEZ, GLADYS           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANCHEZ, GLORIA M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANCHEZ, PEDRO M.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTA, CATALINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTA, RAFAEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTANA, ANDRES E         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTANA, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, ANGELITA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, ANGIE E.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, BRAULIO H       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, CARLOS L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, CARLOS O.       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, CARMEN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7278 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2279 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAYAS SANTIAGO, CARMEN G        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, ELIEZER         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, EMMA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, FRANCISCO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, GILBERTO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, GLORIA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, GLORIA Y        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, KEN M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, NILDA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, NORMA I         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, OTONIEL         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, PEDRO A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, REGALADA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, ZAMIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, ZAMIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTIAGO, ZULMARIE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SANTOS, GLADYS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SEIJO, FRANCISCO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SERRANO, EILEEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SERRANO, NAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SIERRA, YARADITH          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SIMMONS, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SOTOMAYOR, ALFREDO        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SOTOMAYOR, CARMEN N       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SOTOMAYOR, EVELYN         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SOTOMAYOR, IRMA A         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS SOTOMAYOR, NORMA I        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TIRADO, CRISTINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TIRADO, WILLIAM M.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TIRU, RAFAEL J            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TORRES, AUREA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TORRES, BELINDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TORRES, BRYAN             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TORRES, CARLOS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TORRES, DANNA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TORRES, EDWARD            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TORRES, FELIX M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TORRES, IDALIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TORRES, INGRID G.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TORRES, LOURDES Y.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TORRES, MARIA DE LOS      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ANGELES
ZAYAS TORRES, MARIA M           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAYAS TORRES, MARILY            REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAYAS TORRES, MARY GLORY        REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAYAS TORRES, NOEL              REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAYAS TORRES, PATRICIO          REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAYAS TORRES, REYNI M           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED
ZAYAS TORRES, ROBERTO           REDACTED                       REDACTED    REDACTED    REDACTED        REDACTED     C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7279 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2280 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAYAS TORRES, VIRGEN            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TORRES, WILMER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TORRES, WILMER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS TRISTANI, ROSA D          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VALLEJO, EDWIN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VALLEJO, EDWIN R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VARGAS, ABIGAIL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VARGAS, ROSALINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VAZQUEZ, ANDRINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VAZQUEZ, BRISEIDA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VAZQUEZ, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VAZQUEZ, CARMEN DEL R     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VAZQUEZ, GLENIVETTE       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VAZQUEZ, HEIDY            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VAZQUEZ, HEIDY Z          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VAZQUEZ, IRMA V.          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VAZQUEZ, JOSE L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VAZQUEZ, JUANITA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VAZQUEZ, MARIA DEL C.     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VEGA, JAKE S.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VEGA, JAMES L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VEGA, JORGE               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VEGA, MILDRED             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VEGA, MILDRED             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VEGUILLA, OMAR A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VEGUILLA, ONIX A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VEGUILLA, YELISSE         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VELAZQUEZ, EDDIE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VELAZQUEZ, EDWIN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VELAZQUEZ, MARITZA        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VELEZ, ELIEZER            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VENDRELL, CARMEN L        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VENDRELL, MILDRED         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VERA, IRIS MARTA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VERA, JAIME L             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VERA, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VERA, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VERA, ORLANDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VIERA, VALERIE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS VILLAFANE, PAOLA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAMBRANA, AMURY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAMBRANA, ANGELES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, ANTONIO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, BLANCA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, CARLOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, CARMEN I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, ELBA I             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7280 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2281 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
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CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZAYAS ZAYAS, JOHANNA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, JOSE A             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, JOSE A.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, LUZ E.             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, LUZ M              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, LYDIA E.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, MARIA C            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, MARIA DE L         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, NELIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, NILDA I            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, SILVIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, SONIA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, SONIA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS ZAYAS, VANESSA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS, ARMANDO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS, ELIEZER                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS, GEANETTE DEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS, JOSE                     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS, JOSE L                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS, JOSE R                   REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS, MARIA                    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS, MARIA DE LOS             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYAS, ROBERTO                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZAYED BADWAN, AYAT              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEA ALMONACID, PABLO F          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEA APONTE, JEANNETTE           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEA BAJANDAS, IRMA N            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEA BAJANDAS, IRMA N.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEA CORTES, ALEXANDER           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEA PELLOT, NEREIDA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEDA BATISTA, JOSEFINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEDA CASTILLO, ESTELA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEDA CASTILLO, VALERIE C        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEDA COLLAZO, SUHAIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEDA COLLAZO, SUHAIL            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEDA DOMENECH, CARMEN           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEDA DOMENECH, CARMEN M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEDA DOMENECH, ROSALINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEDA MORALES, GUSTAVO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEDA MORALES, GUSTAVO A.        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEDA QUINONES, MARIBELLE        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEDA RIESTRA, FERNANDO          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEDA SANCHEZ, DALIMAR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEDA SANCHEZ, DALISSA M         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEDA TORO, MARIA DE LOS A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEDA VELEZ, IRAIDA E            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEGARRA VILA, JAN PAUL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEGARRA, GUILLERMO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZEGARRA, MYRNA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                               PAGE 7281 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2282 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZEGRI GARCIA, WILLIAM           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZEIDAN CUEBAS, EDMEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZEIDAN CUEBAS, EDMEE            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZEISKY FIGUEROA, LINDA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZEISKY FIGUEROA, LINDA M        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZELDA RIVERA, LISBETH           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZELEDON LIRIA, KARINA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENEN RODRIGUEZ, CRUZ           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENGOTITA RAMOS, NELSON A       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENGOTITA TORRES, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENGOTITA TORRES, JUAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENGOTITA TORRES, JUAN A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENGOTITA TORRES, NELMARIE      REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENGOTITA VELAZQUEZ, OMAYRA     REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO ACEVEDO, BETSY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO ACEVEDO, BETZY             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO ACEVEDO, ELIZABETH         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO ADORNO, ANGEL L            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO AGOSTO, AIDA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO AYALA, CARLOS              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO AYALA, CARLOS M            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO BETANCOURT, MARIA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO BETANCOURT, MARIA A        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO BETANCOURT, MARIA DEL C    REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO BOSQUE, HAYDE              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO BRACERO, CAROL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO BURGOS, JUAN               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO CARDONA, MARIA D           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO CASTRO, DAMARIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO CENTENO, RICHARD           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO COLLAZO, DANNA M           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO COLON, LEOPOLDO            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO COLON, YESENIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO COLON, YESENIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO CORDERO, CESAR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO CORTES, HECTOR             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO DIAZ, ALMA                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO DIAZ, GLADYS M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO DIAZ, MIGUEL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO FIGUEROA, CESAR I          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO FLORES, BRENDA L           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO FLORES, IRIS               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO GONZALEZ, BETTINA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO GONZALEZ, ED EDGARDO       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO GONZALEZ, VIMARY           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO GUZMAN, YESENIA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO HERNANDEZ, RAUL A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO HERNANDEZ, SANDRA          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO LOPEZ, RICARDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 7282 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2283 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZENO MARTINEZ, CRISTINA         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO MARTINEZ, VICTOR           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO MENDEZ, BRENDALIZ          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO MENDEZ, CAMILE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO MOLINA, FEDERICO           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO MONTALVO, ORITZA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO MONTALVO, REINALDO         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO OLMO, AIDA IRIS            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO PAGAN, DALMA               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO PEREZ, GLORIA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO PEREZ, LUIS                REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO PEREZ, MONSERRATE          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO RAMOS, JORGE LUIS          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO REYES, LUIS A              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO REYES, YANIRA              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO RIVERA, MARIA M.           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO ROBLES, HAYDEE             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO RODRIGUEZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO RODRIGUEZ, CARMEN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO RODRIGUEZ, CARMEN S        REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO ROMAN, EDGARDO G           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO ROMAN, KEISHLA I           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO RUIZ, NOEL                 REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO SANCHEZ, YADIRA L          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO SANDOZ, MARY L.            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO SANTIAGO, ELVIS R          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO SANTIAGO, LESLIE R         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO SERRANO, EMANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO SERRANO, EMANUEL           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO SERRANO, ITZA Y            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO SERRANO, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO SERRANO, JONATHAN          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO SERRANO, SANDRA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO SERRANO, SANDRA A.         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO TORRES, PAUL               REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO TORRES, ZENAIDA            REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO ZAMOT, ARMINDO             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO ZAMOT, YETZIEL             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENO, SAMANTHA                  REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENON CASILLAS, DANIEL          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENON COTTO, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENON COTTO, MIGDALIA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENON COTTO, PATRIA             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENON CRUZ, SERGIO              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENON DE JESUS, ELBA IRIS       REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENON GONZALEZ, LUIS A          REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENON MATOS, KELLY              REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENON MELENDEZ, FRANCES         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED
ZENON MENDEZ, CAMILLE N         REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C           U                         UNDETERMINED



                                                                                                                                                               PAGE 7283 OF 7285
SCHEDULE E
                                   Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                                Desc:
AS REPRESENTATIVE OF                                      Schedule E3 Page 2284 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT


                                                                                                                                                  DISPUTED
CREDITOR                           ADDRESS 1                   ADDRESS 2   ADDRESS 3      CITY       STATE ZIP CODE                                               AMOUNT
ZENON RIVERA, MARIA L              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZENQUIS CASTRO, SHAYRA             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZENQUIS VIZCARRONDO, ROSA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZENQUIS VIZCARRONDO, ROSA M        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZENQUIS VIZCARRONDO, SYLVIA M      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZENQUIZ ORTIZ, GILBERTO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZEPEDA CRUZ, GEORGE                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZEPEDA RIOS, LAURA                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZEPPENFELDT MERCADO, LAURA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZEQUEIRA CLAUSELLS, CARLOS         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZEQUEIRA CLAUSELLS, INES E.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZEQUEIRA LA TORRE, ADABELLE        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZERPA HUERTA, LUIS                 REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZERPA HUERTA, LUIS E               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZILLERUELO IRIZARRY, ADRIANA       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZIMMERMAN, JOARIS M                REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZIZELMAN MARTINEZ, JAIME I.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZOBIATE MOJICA, EDUARDO            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZORILLA RAMIREZ, YUDERKA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZORRILLA BILLAR, YANIRA            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZORRILLA CORDERO, MARIA A.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZORRILLA JIMENEZ, TERESA S.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZORRILLA MALDONADO, CRISSY Z       REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZORRILLA MALDONADO, FRANK          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZORRILLA MARIN, CRISTINA           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZORRILLA MEJIA, RAMONA L           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZORRILLA MERCADO, EVELYN           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZORRILLA MERCADO, EVELYN L.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZORRILLA MERCADO, JIMMY D.         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZORRILLA REINA, ALEXANDRA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZORRILLA SORIANO, ANDREA P.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZORRILLA, JACINTA                  REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZOSH VARGAS, YANUSKA               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZUAZNABAR LUGO, MAYRA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZUBIAGA BAEZ, JUAN A               REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZULETA DAVALOS, MARIO R.           REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZULUAGA ESPEJO, MARIA DE LA CRUZ   REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZULUAGA RODRIGUEZ, MARIA G.        REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZULUETA MARTINEZ, ANA              REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZUMAETA FERRER, DEBRA A            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZUNIGA HERNANDEZ, JUAN             REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZÚÑIGA HERNANDEZ, JUANC            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZUNIGA LOPEZ, ESTEBAN G            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZUNIGA RODRIGUEZ, RAFAEL L         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZUNIGA, RAMON                      REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZUQIGA RODRIGUEZ, FLAVIO J         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZURINAGA PIZARRO, HELVETIA         REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZURITA FRANCO, ALTAGRACIA          REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED
ZURITA FRANCO, MERCEDES            REDACTED                    REDACTED    REDACTED       REDACTED         REDACTED    C            U                        UNDETERMINED



                                                                                                                                                                  PAGE 7284 OF 7285
SCHEDULE E
                               Case:17-03283-LTS Doc#:1215-11 Filed:08/30/17 Entered:08/30/17 20:56:50
THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
                                                                                                             Desc:
AS REPRESENTATIVE OF                                  Schedule E3 Page 2285 of 2285
THE COMMONWEALTH OF PUERTO RICO, DEBTOR.
PROMESA TITLE III; CASE NO. 17 BK 3283‐LTS

SCHEDULE E ‐ EMPLOYEE OBLIGATIONS




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT


                                                                                                                                               DISPUTED
CREDITOR                        ADDRESS 1                      ADDRESS 2   ADDRESS 3   CITY       STATE ZIP CODE                                               AMOUNT
ZURITA PAGAN, ZENAIDA           REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED
ZWERG BAKKE, ANNE M             REDACTED                       REDACTED    REDACTED    REDACTED         REDACTED    C            U                        UNDETERMINED

TOTAL SCHEDULE E ‐ EMPLOYEE OBLIGATIONS                                                                                                                   UNDETERMINED




                                                                                                                                                                PAGE 7285 OF 7285
SCHEDULE E
